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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION



STATE OF TEXAS, et al.

                    Plaintiffs,

        v.                                       Case No. 1:14-cv-254

UNITED STATES OF AMERICA, et al.

                    Defendants.



APPENDIX TO BRIEF FOR AMICI CURIAE THE MAYORS OF NEW YORK AND LOS
 ANGELES, THE MAYORS OF THIRTY-ONE ADDITIONAL CITIES, THE UNITED
STATES CONFERENCE OF MAYORS, AND THE NATIONAL LEAGUE OF CITIES IN
   OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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  Learn about the estimated 11.4 million unauthorized immigrants living in the United States. Where do they live? When did
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    Hover over a state for data, and for dark teal states, click on state for detailed profile




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  COUNTY PROFILES

  To access detailed data profiles for the 94 counties in the United States with the largest unauthorized populations, click on
  the state of interest below to display individual profiles. For topline estimates of the total unauthorized population and
  numbers potentially eligible for deferred action, download the spreadsheets at right.


            Arizona
            California
            Colorado
            Connecticut
            Florida
            Georgia
            Illinois
            Indiana
            Maryland
            Massachusetts
            Minnesota
            Nevada
            New Jersey
            New York
            North Carolina
            Oklahoma
            Oregon
            Rhode Island
            Tennessee
            Texas
            Utah
            Virginia
            Washington
            Wisconsin




  Acknowledgments

  This data tool is based on a methodology that imputes unauthorized status using U.S. Census Bureau 2008-12 American
  Community Survey and 2008 Survey of Income and Program Participation data. James Bachmeier at Temple University
  analyzed the data on legal status of immigrants that provide the basis for these estimates. Jennifer Van Hook at The
  Pennsylvania State University advised in developing the methodology.




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     The Data Hub showcases the most current national and state-level demographic, social, and economic facts about immigrants
     to the U.S.; as well as stock, flow, citizenship, net migration, and historical data for countries in Europe, North America, and
     beyond.

     Contact the Data Hub manager at data@migrationpolicy.org.




     Links
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     County-Level Estimates on DACA & DAPA Populations
     Press Release on National and State Profiles
     Press Release on County Profiles




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FOR IMMEDIATE RELEASE: 09/17/2014

                                                             New s Release

       Mayor K asim Reed Annou nces Resu lts of W elcom ing Atlanta W or king Gr ou p

     Mayor Reed announces city’s commitment to recommendations provided by the Working Group to
                    ensure that Atlanta’s newly arrived communities are integrated and supported

ATLANTA – Mayor Kasim Reed and members of the Welcoming Atlanta Group announced today the
recommendations being implemented to foster a welcoming environment in the City of Atlanta for all
individuals regardless of race, ethnicity, or place of origin. The 20 recommendations will focus on
community engagement, developing and harnessing talent, and public safety. The announcement was
made during National Welcoming Week which highlights the contributions of immigrants from across the
globe and their instrumental impact on the day to day lives of all Americans. Metro Atlanta boosts the
second fastest growing foreign-born population in the country, second only to Baltimore.


“As Atlanta positions itself to be a global leader, attracting and retaining talent is imperative,” said Mayor
Reed. “The Welcoming Atlanta initiative builds upon the existing priorities for the city – public safety,
welfare, economic development, civic engagement and education – and in so doing, will not only create an
environment that is welcoming to new arrivals, but a stronger community for all Atlantans.”


Earlier this year, Mayor Reed announced the creation of the Welcoming Atlanta Working Group. The 20-
member group was tasked with developing recommendations to ensure that Atlanta’s newly arrived
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communities are being integrated and supported. Over the course of the summer, Welcoming Group co-
chairs Jeffrey Tapia, executive director of the Latin American Association, and Charles Kuck, managing
partner of Kuck Immigration Partners, met regularly with subcommittees to discuss key areas of immigrant
integration including: ensuring equitable access to services; expanding educational opportunities;
facilitating economic empowerment; enhancing public safety and fostering a connected community; and
building immigrant civic engagement and leadership.


“We are thrilled to be a part of Mayor Reed’s historic commitment to the immigrant and refugee
communities,” said Co-Chair Charles Kuck. “It’s been an honor to be entrusted with the responsibility to
advise our city’s leader on the issues that we work on day in and day out and we are confident that the lives
of all Atlantans will be enriched as we welcome America’s newest communities.”


In August, the Welcoming Atlanta Working Group presented recommendations to Mayor Reed. The City of
Atlanta now commits to implementing the following recommendations proposed by the Welcoming
Atlanta Working Group:


Com m u nity Enga gem ent R ecom m end a tions
Goal: To reduce barriers to full civic participation while fostering positive relationships between the
receiving community and new arrivals. To achieve the City of Atlanta will:
1. Create an Office of Multicultural Affairs with a Director who is part of the Mayor’s executive team.
2. Establish a Welcoming Atlanta Advisory Committee.
3. Create a website dedicated to the Welcoming Atlanta initiative.
4. Establish a citywide inclusive certification program.
5. Organize city dialogues with immigrant and refugee communities and groups in receiving communities.
6. Establish a My City Academy educational program.
7. Partner with Invest Atlanta and the Atlanta Beltline to expand pre-public notification of affordable
housing options to include immigrant and refugee communities.
8. Partner with U.S. Citizenship and Immigration Services (USCIS) to establish citizenship corners in
Atlanta-Fulton public libraries.
9. Enlist well-known celebrities within the foreign-born communities to promote Welcoming Atlanta with
an emphasis on the benefits of citizenship and community engagement.
10. Provide free booths for partner nonprofits to conduct voter registration and outreach at City of Atlanta
festivals.
11. Assess current use of cultural competency training for all city employees and partner with nonprofits
that specialize in cultural competency to develop a resource list and develop and implement curriculum.
12. Evaluate the city’s capacity to effectively serve immigrants and refugees by contracting a third party to
conduct an internal and external needs assessment of public safety and customer service-oriented agencies,
including a customer service assessment component.
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Develop ing a nd Ha r nes s ing Ta lent R ecom m end a tions
Goal: To better harness the talents of, and provide opportunities for, today’s willing and able workers
and develop a strong multicultural workforce for tomorrow. To achieve the City of Atlanta will:
13. Partner with non-traditional facilities to fund and expand opportunities for adult English language
learning in the communities where immigrants and refugees live.
14. Use the Atlanta Workforce Development Agency (AWDA) to create targeted programming that recruits,
trains and connects foreign-born workers to fill jobs critical to Atlanta’s economic competitiveness.
15. Assess and increase minority participation in the Small Business Enterprise Program.
16. Create a web-based one-stop shop for all entrepreneurs that clearly outlines the process, steps and
requirements for starting a business in the city in multiple languages.
17. Address food deserts through immigrant entrepreneurship by providing incentives and assistance to
grocers to open markets in food deserts.
18. Augment the findings of the disparity study with a survey of best practices to strengthen Atlanta’s Equal
Business Opportunity Program.


Pu blic S a fety R ecom m end a tions
Goal: To foster a community of trust between Atlanta’s foreign-born population and the officers
entrusted with protecting our streets. To achieve the City of Atlanta will:
19. Launch an initiative within APD and the City Prosecutor’s office to investigate and prosecute individuals
who prey on immigrants (e.g., tax, credit card and other scams).
20. Create a Multicultural Liaison Unit in APD through scaling and expanding the existing Hispanic Liaison
Unit.


In October 2013, the City of Atlanta joined the Welcoming Cities and Counties, an initiative of Welcoming
America – a national, grassroots-driven collaborative that works to promote mutual respect and
cooperation between foreign-born and native-born Americas. As one of 41 U.S. cities participating in the
initiative, Atlanta has access to new tools and resources to help advance welcoming resolutions, initiatives
and strategies, receive support for efforts to foster more vibrant, inclusive, and welcoming communities
and participate in national and translantic learning exchanges that highlight best practices from globally
competitive cities. Americas Society/Council of the Americas (AS/COA), an international business and
policy organization working in new immigrant gateway cities around the country, is also serving as a
strategic partner for the Welcoming Atlanta initiative as is the Partnership for a New American Economy,
an organization that brings together leaders from all sectors to make the case for sensible immigration
reform as a way to boost economic growth and create jobs for Americans.


On Thursday, as part of National Welcoming Week, Mayor Reed will join Welcoming America and officials
from Detroit, MI and Dayton, OH on a national press call to further discuss Atlanta’s commitment to
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achieving global competitiveness by being welcoming.


Mem ber s of the W elcom ing Atla nta W or king Gr ou p inclu d e:
• Co-Chair: Jeffrey Tapia, Executive Director, The Latin American Association
• Co-Chair: Charles Kuck, Managing Partner, Kuck Immigration Partners
• Rudy Beserra, Vice President of Latin Affairs, The Coca-Cola Company
• Alejandro Coss, President, Latin American Chamber of Commerce
• Walter Dukes, Metro Atlanta Region Senior Vice President, Georgia Power
• Jason Esteves, Board Member, Atlanta Public School Board of Education
• Jerry Gonzalez, Executive Director, Georgia Association of Latino Elected Officials
• Helen Kim Ho, Executive Director, Asian American Legal Advocacy Center
• Eloisa Klementich, Managing Director Business Development, Invest Atlanta
• Stefanie Jehlitschka, Vice President, German American Chamber of Commerce
• Pedro Marin, Representative, House District 96
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• Chuck Meadows, Vice President of Public Policy, Metro Atlanta Chamber of Commerce
• Kathy Palumbo, Director of Community Partnerships, The Community Foundation for Greater Atlanta
• Emily Pelton, Chair, Coalition of Refugee Serving Agencies
• Hon. Ricardo Cámara Sánchez, Consul General, Consulate General of Mexico, Atlanta
• Liz Sanford, Manager of Community Engagement, Atlanta Regional Commission
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Kate Brick, Americas Society/Council of the Americas
David Lubell, Welcoming America
Rachel Peric, Welcoming America
Dan Wallace, Partnership for a New American Economy

                                                                    ###

      For more information about the City of Atlanta, please visit http://www.atlantaga.gov or watch City
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                                                on Facebook and Twitter @Kasim Reed




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     Department » Economic Development » Media » Austin promotes immigrant-friendly, welcoming environment




                             CITY OF AUSTIN
                             FOR IMMEDIATE RELEASE
                             Releas e Date: Jun. 27, 2013
                             Contac t: Natalie Betts 512-974-7833        Email




     AUSTIN PROMOTES IMMIGRANT-FRIENDLY, WELCOMING ENVIRONMENT
     Austin’s hospitable reputation precedes itself once again with its new initiative designed to ease the
     transition to life in Austin for international newcomers.

     The City of Austin’s International Welcome Program, has joined the ranks of the Welcoming Cities and
     Counties Initiative by Welcoming America, as one of 14 innovative cities leading the nation in
     promoting immigrant-friendly, welcoming environments.

     Welcoming America, a national grassroots-driven collaborative, works to promote mutual respect and
     cooperation in communities to help immigrants integrate into the social fabric of their adopted
     hometowns, and has also been recognized as a 2013 Clinton Global Initiative Commitment to Action.

      “Austin’s immigrant population is a key driver of our economic prosperity and an asset to our entire
     community,” said Natalie Betts, the City of Austin’s Acting International Economic Development
     Program Manager. “It is imperative for our continued success that new immigrants feel welcome and at
     home in Austin, and I’m thrilled to be joining this national initiative to learn new welcoming strategies
     from other communities.”

     Welcoming Cities and Counties affiliates will share promising practices with each other and serve as a
     model to help communities across the nation learn from their local level innovations that support
     economic development and create vibrant global communities that are great places to live, work and
     do business.

     Welcoming Cities and Counties Affiliates include:

http://austintexas.gov/news/austin-promotes-immigrant-friendly-welcoming-environment                                                               1/2
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     Allegheny County, Pennsylvania
     Austin, Texas
     Baltimore, Maryland
     Boise, Idaho
     Chicago, Illinois
     Columbus, Ohio
     Dayton, Ohio
     High Point, North Carolina
     Lincoln, Nebraska
     Macomb County, Michigan
     Montgomery County, Maryland
     Philadelphia, Pennsylvania
     St. Louis, Missouri (city)
     St. Louis, Missouri (county)

     The City’s International Economic Development Program within the Economic Growth and
     Redevelopment Services Office hosts the International Welcome Program. These quarterly orientation
     sessions serve as information and resource fairs, and convene representatives from City agencies and
     community partners to provide valuable information to new residents. Information on everything from
     how to connect utilities, or start a business to access City resources such as libraries is shared.

     The Program also offers a Welcome Ambassadors service which matches international newcomers
     with local volunteers who familiarize newcomers with Austin and act as their point of contact for
     questions about life in the United States and Austin. In partnership with GlobalAustin, the program also
     developed an online portal for all things international in Austin, www.internationalaustin.org, which will
     soon include a robust online Newcomer’s Guide.

     For information about the City of Austin International Welcome Program, visit
     http://austintexas.gov/internationalwelcome.

                                                                            ###

     City of Austin International Economic Development Program
     The City of Austin International Economic Development Program is housed within the Economic
     Growth and Redevelopment Services Office and is dedicated to promoting Austin’s position in the
     global marketplace to create a sustainable cultural and economic environment for the community that
     enhances the livability and economic vitality of Austin.
                                     Communications and Public Information Office 301 W. 2nd Street, Austin, TX 78701
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  OFFICE OF MAYOR WILLIAM PEDUTO
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  Mayor William Peduto launches Welcoming Pittsburgh Initiative                                                                          Home

  City joins nationwide effort to boost quality of life and economic prosperity for immigrants                                           Biography
  and native born residents                                                                                                               Executive Team
                                                                                                                                          Transition Teams
  PITTSBURGH, PA - With more than 100 community leaders in attendance, Mayor William
                                                                                                 Published:
  Peduto today launched Welcoming Pittsburgh, an effort to improve quality of life and                                                   Feedback Form
                                                                                                 Wednesday, May 28, 2014
  economic prosperity for immigrants and native born residents alike.                                                                    Group Proclamation Form
                                                                                                 Contacts
  The initiative is part of Welcoming America, a national and grassroots-driven                                                          Individual Proclamation Form
  collaborative that promotes mutual respect and cooperation between foreign-born and            Timothy McNulty
                                                                                                 Communications Manager                  Boards, Authorities &
  U.S.-born Americans.                                                                           City of Pittsburgh                      Commissions
                                                                                                 Cell: 412-660-1999
  Through Welcoming Pittsburgh the city will support efforts such as resettling refugees                                                 servePGH
                                                                                                 Email
  eager to build new homes in the city; working with organizations including the Allegheny
                                                                                                                                         Communications
  Conference on Community Development, Global Pittsburgh, and Vibrant Pittsburgh to
                                                                                                 Tools
  support efforts that keep international students in the city and their contributions to the                                            Press Releases
  city’s economy; reviving its Sister Cities program with the help of the World Affairs                                                  Letter of Support Request Form
  Council; and supporting job growth of all kinds, from small businesses to manufacturing        More Education &                        Executive Orders
  to high-tech.                                                                                  Neighborhood
                                                                                                 Reinvestment articles
  “Pittsburgh has long been home to generations of immigrants -- it drew my family here                                                  Stay Updated
                                                                                                 Chief Education & Neighborhood
  and so many others -- but there is much more we can do, especially in supporting               Reinvestment Officer Ends City
  business opportunities and innovation among all our residents, old and new. While we           Government Service
                                                                                                 Jan 16, 2015
  celebrate our immigrant past, we need to build on a welcoming future,” Mayor Peduto
                                                                                                 Mayor William Peduto Appointed
  said.                                                                                          Co-Chair of National League of
                                                                                                 Cities Council on Youth, Education
  Studies show Pittsburgh lags behind most peer cities in net immigration, yet the               and Families                            Share this page
  immigrants it does host are among the highest-educated in the nation.                          Jan 16, 2015
                                                                                                 Mayor William Peduto Addressing            Like       Share   12
  As of early 2013, the had more than 1300 Bhutanese, nearly 500 Burmese, almost 200             White House Summit on Early
                                                                                                 Education                                  Tweet       6
  Iraqi, and over 260 Somali who resettled in Pittsburgh. Also the landscape is changing         Dec 10, 2014
  for the region’s Latinos -- across the county, there are 24,000 Hispanics, most of which       Pittsburgh and Allegheny County                   0
  live in the city.                                                                              Take Next Steps in "My Brother's
                                                                                                 Keeper" Initiative
  “It was our great honor to host Mayor Peduto’s kickoff of Welcoming Pittsburgh,” said
                                                                                                 Oct 24, 2014                            Stay Connected
                                                                                                 Mayor's Education Task Force to
  CEED Executive Director Rufus Idris. “As an immigrant from Nigeria and someone who             Hold Fourth Meeting Tuesday
  works directly with this population, I see firsthand every day the numerous contributions      Evening
                                                                                                 Oct 20, 2014
  the immigrant community is making in Pittsburgh through innovative startups and new
  business ventures.”                                                                                Archive
  Welcoming Pittsburgh will work to bring those communities out from the shadows and
  let them know that their stories matter. The city is currently taking applications for those
  seeking to join a Welcoming Pittsburgh Advisory Council to contribute to the rollout the
  effort’s implementation plan and set key initiatives. Policies will also be shaped with the
  guidance of this core team. The Council will also be tapped to lead a listening tour to
  engage community members every step of the way.

  Those interested in joining the Welcoming Pittsburgh Advisory Council may apply at:
  http://pittsburghpa.gov/personnel/jobs/pittsburgh_advisory_council The application
  will remain open until June 20.

  Additionally, the fall 2014 class of the city’s Civic Leadership Academy is set to include
  half new Americans/immigrant leaders, totaling roughly 10 to 15 people of the 25 to 30
  enrolled in the class. Depending on the interest from the community, next year the city
  may launch a CLA class specifically for new Americans to further open the doors of local
  government to all of Pittsburgh

  June is Immigrant Heritage Month, and speakers at the Welcoming Pittsburgh event

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  talked about the Global Great Lakes conference coming to the city June 12, and a
  regional Puerto Rico outreach strategy that includes a concert by El Gran Combo on
  June 22. Both are free events and open to the public.

  Wednesday’s ceremony included remarks from: CEED Program Officer Lavender
  Wachira; City of Pittsburgh Nonprofit and Faith-Based Manager Betty Cruz;
  philanthropist and community leader Cecile Springer; Latino Family Center Executive
  Director Rosamaria Ponciano; immigration attorney and former diplomat Kamana
  Mathur; Vibrant Pittsburgh CEO Melanie Harrington; and Allegheny Conference
  Executive Vice President, Corporate Relations, Bill Flanagan.

  In addition to community leaders who spoke to their immigrant story, attendees enjoyed
  performances by the Balafon West African Dance Ensemble, led by Artistic Director
  Kadiatou Conte-Forte, and Bésame with Jorge Delgado on guitar, Paul Cindric on sax,
  Melissa Alliston on percussion, and Roger Day on tuba. The musicians set the tone for
  the day by adding a cultural feel spanned the globe. Light refreshments were provided
  by Kenyan-owned Lydia’s Coffeehouse.

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  M ay 13, 2008

  A C ONVER S ATION W ITH ALFR EDO QUIÑONES -HINOJOS A

  A Su r geon’s Path Fr om Migr ant Fields to Oper ating Room
  By C LAUDIA DR EIFUS

  Correction Appended

  At the Johns Hopkins School of Medicine, Alfredo Quiñones-Hinojosa has four positions. He is a
  neurosurgeon who teaches oncology and neurosurgery, directs a neurosurgery clinic and heads a laboratory
  studying brain tumors. He also performs nearly 250 brain operations a year. Twenty years ago, Dr.
  Quiñones-Hinojosa, now 40, was an illegal immigrant working in the vegetable fields of the Central Valley
  in California. He became a citizen in 1997 while at Harvard.

  Q. WHERE DID YOU GROW UP?

  A. Mexicali. My father had a small gas station. The family’s stability vanished when there was a devaluation
  of the Mexican peso in the 1980s. My father lost the gas station, and we had no money for food. For a while,
  I sold hot dogs on the corner to help.

  As the economic crisis deepened, there seemed no possibility for any future in Mexico. I had big dreams
  and I wanted more education. So in 1987, when I was 19, I went up to the border between Mexicali and the
  United States and hopped the fence.

  Some years later, I was sitting at a lunch table with colleagues at Harvard Medical School. Someone asked
  how I’d come to Harvard. “I hopped the fence,” I said. Everyone laughed. They thought I was joking.

  Q. AFTER YOU CROSSED THE BORDER, WHAT KIND OF WORK DID YOU FIND?

  A. I was a farm laborer in the San Joaquin Valley, seven days a week, sunup to sundown. I lived in this little
  trailer I paid $300 a month for. It didn’t take long to see that farm work was a dead end.

  After a year of it, I moved to Stockton, where I found a job loading sulfur and fish lard onto railroad freight
  cars. My eyes burned from the sulfur, and my clothes smelled from fish lard, but it paid me enough so that I
  was able to go to night classes at San Joaquin Delta Community College. There, I met this wonderful
  human being, Norm Nichols, the speech and debate coach. He took me into his family and mentored me.
  Norm helped me apply for and get accepted to the University of California, Berkeley.

  Once at Berkeley, I took a lot of math and science classes to up my G.P.A. Science and math are their own
  language. You didn’t need to write in perfect English to do well in them. I pulled straight A’s in science. In
  my senior year, someone told me to go see this guy, Hugo Mora, who helped Hispanics with science talent.
  I brought him my transcript and he said: “Wow! With grades like these, you should be at Harvard Medical

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  School.” That’s how I got to Harvard. All along, I had much luck with mentors.

  Q. DID YOU FIND HARVARD TOUGH?

  A. Not really. Compared to working in the fields, it was easy. The question was what kind of doctor should I
  become? For a while, I thought I’d be a pediatric oncologist, because I wanted to help children. But then I
  thought, I’m good with my hands. Maybe I should do surgery.

  One day, I was walking through Brigham and Women’s Hospital and I saw Dr. Peter Black, the chairman of
  neurosurgery. I introduced myself, and he invited me that day to come to watch him do an operation. As it
  happened, he was doing an “awake” surgery, where the patient’s brain is exposed and the patient is awake
  so that the surgeon can ask questions. As I watched that, I fell in love with brain surgery.

  Q. WHAT ABOUT IT SPOKE TO YOU?

  A. Imagine, the most beautiful organ of our body, the one that we know least about, the one that makes us
  who we are, and it was in Dr. Black’s hand. It was in front of me. It was pulsating! I realized I could work
  with my hands and touch this incredible organ, which is what I do now. I cannot conceive of a much more
  intimate relationship than that. A patient grants you the gift of trusting you with their lives, and there is no
  room for mistakes.

  Dr. Peter Black, he was a very humble person. And he took me under his wing. So here again, I was very
  fortunate with mentorship.

  Q. I’M TOLD THAT YOU DO SOMETHING THAT NOT ALL SURGEONS DO: YOU SPEND A LOT OF
  TIME WITH PATIENTS BEFORE AN OPERATION. WHY?

  A. I meet them several times, and their families. They don’t know if they are going to wake up after the
  operation. Not all the time am I successful. I do about 230 to 240 brain tumor operations a year. The
  majority make it. Some have complications. And some — 2 to 3 percent — it takes awhile for the patients to
  wake up. I need to meet everyone so that they know the risks. But getting to know these patients, it’s the
  most painful part.

  I was at a funeral yesterday. This was a 21-year-old man with a young wife, pregnant. Three surgeries, and
  the tumor kept growing and growing. And he told me, “There’s no possible way I’ll give up.” He fought so
  hard. He trusted me with his life. Not once, several times. I owed him my presence.

  Q. HOW DO YOU HANDLE SUCH LOSSES?

  A. One of the ways I work it out is through research, the laboratory. I’m trying to learn about the causes of
  these recurring tumors. The patients, they can donate tissue, which we will examine.

  My hypothesis is — and there are quite a few scientists who believe this — there are within these brain
  tumors a small subset of cells that can keep growing, even when you think you’ve taken them all out. We
  call them brain stem cells. They can keep making themselves, and they can make “daughter cells” that can
  become anything else in the brain. They have the ability to go to sleep for a little bit and then wake up and

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  do it again. So we’re trying to identify this small subset of cells we may be leaving behind when we make
  these beautiful surgeries.

  Q. HAVE YOU ACTUALLY FOUND THEM?

  A. Yes, but only in the laboratory. When we’ve found them, they may be a product of the experimental
  conditions of the laboratory. We haven’t found them yet in live patients. The next challenge is to see if they
  truly exist in the human brain while the patient is alive.

  Q. WHEN YOU HEAR ANTI-IMMIGRANT EXPRESSIONS ON TALK RADIO AND CABLE TELEVISION,
  HOW DO YOU FEEL?

  A. It bothers me. Because I know what it was that drove me to jump the fence. It was poverty and
  frustration with a system that would have never allowed me to be who I am today.

  As long as there is poverty in the rest of the world and we export our culture through movies and television,
  people who are hungry are going to come here. There’s no way to stop it.

  This article has been revised to reflect the following correction:

  Correction: May 14, 2008
  An article on Tuesday about a neurosurgeon who came to the United States as an illegal immigrant 21 years
  ago misstated the doctor’s given name in some copies. He is Alfredo Quiñones-Hinojosa, not Alberto.


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                                                                DR. Q'S STORY

                                                                A Doctor Without Borders
                                                                From the humblest beginnings in Mexicali, Mexico, Dr.
                                                                Quiñones-Hinojosa literally jumped the border fence
                                                                into the United States for a better future. With a drive
                                                                and passion unparalleled, he worked to become an
                                                                internationally renowned neuroscientist and
                                                                neurosurgeon at Johns Hopkins Hospital in Baltimore,
                                                                Maryland. Whether he’s comforting a patient, in the
                                                                operating room, or working on his cutting-edge
                                                                research, Dr. Q is always approachable, inventive, and
                                                                driven.

                                                                He enters an exam room in the Johns Hopkins
                                                                Outpatient Center, sits down on an easy-rolling chair,
                                                                and greets his patient and their loved ones with a sincere
                                                                smile and a warm handshake. With an accent endearing
                                                                and a presence comforting and confident, Dr. Alfredo
                                                                Quiñones-Hinojosa begins every patient consultation the
                                                                same way—with a modest personal query. “How’s your
                                                                family,” he’ll say to a post-op patient. Or to someone he’s
                                                                meeting for the first time a more open-ended “tell me
                                                                about yourself.” Dr. Quiñones, or Dr. Q as his patients
                                                                know him, believes that the personal interaction he has
                                                                with his patients is what makes his job so special. “You
                                                                can literally train a monkey to do what we do. The
                                                                challenge in what we do is not in the surgery—it’s in the
                                                                emotional connection you form with the patients.”

                                                                Dr. Quiñones started out as the first-born child of six,
                                                                growing up outside Mexicali, Mexico. Always the
                                                                advanced go-getter, he started working at the age of five,
                                                                selling food to drivers at gas stations to make some extra
                                                                money for his family. Though they were a poor family, Q
                                                                himself did exceptionally well in public schools, and
                                                                graduated with a teaching license from a local college by
                                                                the time he was 18. He then decided that it was time to
                                                                join his extended family up north, to advance his career
                                                                and return to help his family and his country. But that
                                                                soon became a false dream for young Alfredo.

                                                                In 1987, at the age of 19, Alfredo Quiñones-Hinojosa

http://doctorqmd.com/dr-q-s-story---a-doctor-without-borders/                                                                 1/4
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                                                                literally jumped the border fence between Mexico and
                                                                the United States. Border police caught him and sent
                                                                him back, but later that day he tried again, and
                                                                succeeded. This however was only the beginning, for he
                                                                had no money, and at the time couldn’t speak English.

                                                                “I knew the risks,” he said. “I had big dreams, and I
                                                                would rather risk my life than stay in Mexico…I never
                                                                felt like my life was hard though. It was a privilege for me
                                                                to be here. I enjoyed every step because I knew it was all
                                                                leading to something bigger.”

                                                                Quiñones made his way to Fresno, California where he
                                                                worked for two years as a cotton picker, painter, and
                                                                welder. His home was a trailer patched together with
                                                                plywood, and he later shared a one-room apartment
                                                                with five other members of his family. One day in the
                                                                fields he told his cousin he wanted to go to school, learn
                                                                English, and have a better future, but his cousin looked
                                                                at him in amazement and said “this is your future! You
                                                                came to this country to work in the fields just like us.”
                                                                Refusing to accept this, Alfredo began putting himself
                                                                through school, learning English, tutoring other
                                                                Spanish-speaking students in math and science,
                                                                practicing his language skills on the debate team, and
                                                                working as a welder for a railroad company.

                                                                It was around this time that he almost died. Still an
                                                                illegal immigrant, Q was working for the railroad crew on
                                                                April 14, 1989, when, at just 21 years of age, he fell into
                                                                an empty petroleum tank, a fall of about 18 feet. Alive,
                                                                he began climbing up a rope tossed down by his
                                                                coworkers and watched his whole life flash before his
                                                                life. As he reached the top and grabbed a hand to help
                                                                pull him up, Alfredo was overcome by fumes and fell
                                                                back into the tank once more, this time waking up in an
                                                                intensive care unit in a nearby hospital.

                                                                “I’ve always felt that everything that has happened since
                                                                then has been a gift. I don’t think I was meant to go
                                                                beyond that.” It was a miraculous wake-up call, an
                                                                experience that he tries to give to his patients every day
                                                                in surgery: you are lucky to be alive, now live your life to
                                                                its fullest potential.

                                                                In 1992, Quiñones happily quit his railroad job for good,
                                                                and received a scholarship to University of California
                                                                Berkeley where he majored in psychology. Though he
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                                                                struggled with speaking and writing assignments,
                                                                Alfredo took many calculus, physics, and chemistry
                                                                courses to keep his grade point average up. There he
                                                                found a mentor in the psychology department—Joe
                                                                Martinez and his neurobiology lab. It captured Q’s
                                                                imagination. He had big plans. While deciding between
                                                                law school and medical school he thought of his
                                                                grandmother. She was a curandera, or village healer,
                                                                back in Mexicali, Mexico and inspired him to choose
                                                                medicine. Q did an honors thesis on neuroscience, and
                                                                was encouraged by Martinez and his other mentor,
                                                                director of UC Berkeley’s Hispanic Center of Excellence
                                                                Hugo Mora, to apply to Harvard Medical School, where
                                                                he was accepted.

                                                                At Harvard Alfredo was introduced to Ed Kravitz and his
                                                                famous neurobiology lab by Martinez. Kravitz was a
                                                                Bronx street kid who had made Harvard professor by 30
                                                                and he and Quiñones bonded instantly. Q himself
                                                                became very distinguished not only academically, but for
                                                                his outreach activities helping less fortunate students by
                                                                giving them a place to stay. His years at Harvard
                                                                included large amounts of research fellowships and
                                                                academic honors, his American citizenship, the birth of
                                                                his daughter, and finally graduating cum laude (with
                                                                honors) and giving the commencement speech for his
                                                                Harvard med class of 1999.

                                                                For the next six years Dr. Quiñones (as he now officially
                                                                was) did his internship, residency, and some post-
                                                                doctoral work at the University of California San
                                                                Francisco. Over this time he found his true calling as a
                                                                neurosurgeon and in 2005 came to Johns Hopkins as a
                                                                professor and surgeon specializing in brain cancer and
                                                                pituitary tumors. His official titles today include
                                                                Associate Professor of Neurological Surgery, Associate
                                                                Professor of Oncology, Director of the Brain Tumor
                                                                Surgery Program at Johns Hopkins Bayview Medical
                                                                Center, and Director of the Pituitary Surgery Program at
                                                                Johns Hopkins Hospital.

                                                                When he’s not teaching or in the operating room, Dr.
                                                                Quiñones is in the lab working on his research to try and
                                                                cure cancer. He believes that there are natural stem cells
                                                                in the brain that, if put in just the right spot, could halt
                                                                the spread of cancerous cells in the brain, working more
                                                                effectively naturally than any surgery or radiation
http://doctorqmd.com/dr-q-s-story---a-doctor-without-borders/                                                                  3/4
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                                                                treatment currently in use. There is still a lot of work to
                                                                be done, but Dr. Quiñones-Hinojosa looks forward to a
                                                                day when he no longer has to feel like he is entering the
                                                                brain illegally, and cancer becomes an illness no more
                                                                troublesome than the common cold.

                                                                  LEARN MORE ABOUT DR Q IN THE VIDEO SECTION OF

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  What It Takes: Fr om Salvador an
  immigr ant to millionair e owner of
  Todos Super mar kets
  By Avis Thomas-Lester
  Washington Post Staff Writer
  Monday, September 27, 2010; 30

  Northern Virginia entrepreneur Carlos Castro was a 24-
  year-old factory worker living in poverty in San
  Salvador when he decided to try his luck at coming to
  the United States more than 30 years ago.

  It was 1980 and El Salvador was in the midst of a
  political conflict that would lead to 12 years of bloody
  civil war. Castro, then the father of a young daughter and son, left his country on a warm January day,
  with his cousin, among a group of men and women escorted by a man hired to get people into the U.S.
  illegally. The trip took two weeks, from Central America through the rugged terrain of Mexico, across
  the Rio Grande River to El Paso. Minutes after the group arrived, a van in which they were riding was
  pulled over by border patrol agents. Everyone inside was carted off to a detention center and later
  deported. A few weeks later, Castro and his cousin headed north again and this time made it to California
  where he worked odd jobs before heading east to the District.

  His first local job was scrubbing toilets at a bar in Adams Morgan. He worked as a cook and dishwasher.
  He stood with other day laborers on street corners to compete for jobs to send money home to his family.
  After his wife, Gladis, entered the United States in 1982, he focused on starting a business. In 1985, he
  bought his first car and started a company doing odd jobs. He later started a small construction company.
  In 1990, 10 years after he left El Salvador, he opened the first Todos Supermarket, in Woodbridge.

  Today, Castro, 55, is a U.S. citizen -- and a millionaire whose company was named one of the Fantastic
  50 businesses by the Virginia Chamber of Commerce for three years straight beginning in 2005 and
  business of the year in 2007 by the Virginia Merchant and Retailers Association. He operates Todos (the
  Spanish word for "everybody") in Woodbridge and Dumfries, which specializes in foods and services for
  people from Latin America, the Caribbean and parts of Africa. In January, he will relocate his 16,000-
  square foot Prince William Plaza store to 53,000 square feet of space in a former Giant supermarket in
  nearby Marumsco Plaza. He also owns an insurance company and provides services including money
  transfer, a notary public and tax preparation to his customers.

  Castro said he feels fortunate, despite seeing a slowdown in his business over the last year because of the
  economic crisis. He slashed his advertising budget, reduced his profit margin on some products, sliced
  his salary in half, froze pay raises, left vacant jobs unfilled and renegotiated prices with suppliers to cut
  costs.

  "We are slowly recovering some of the ground we lost with the economic bust," he said. "We are seeing
  some increase in sales."

  Castro is also an advocate for illegal immigrants who came to this country seeking opportunity. Now the
http://www.washingtonpost.com/wp-dyn/content/article/2010/09/24/AR2010092406003_pf.html                                  1/2
                                                                           A22
1/23/2015        Case 1:14-cv-00254     Document
                                What It Takes:          127 immigrant
                                               From Salvadoran Filed on   01/30/15
                                                                      to millionaire ownerinof TXSD      Page 28 of 879
                                                                                               Todos Supermarkets

  father of three grown children and a 12-year-old son, he said he knows their struggle.

  "It was difficult when I had to leave my wife and family behind to come to the United States. We were
  all living at my mother's house, and I had to provide for my wife, my mother and father and my family,"
  he said. "I worked at restaurants so I could have coffee and muffins in the morning and a free lunch. I
  didn't eat the lunch -- I saved it for dinner. That saved me a lot of money. I also had part-time jobs in the
  evenings cleaning offices. With the two salaries, I was making $180 per week. I was able to send home
  $100. That was a lot of money in El Salvador back then."

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    Car los Castr o, Fou nder Of Todos Su per m ar ket, Says
    B u siness Clim ate Mu ch Har sher For Im m igr ants Today
    Posted: 06/27/2012 11:28 am EDT       Updated: 06/27/2012 3:48 pm EDT



                                                                                                                           ADVERTISEMENT




    Carlos Castro thought coming to America would free him from life in war-torn El
    Salvador. But after paying someone $800 to help him cross the border in 1979, Castro
    was caught by immigration officers and spent 45 days in a detention facility. "My
    dreams of being in the U.S. or being safe were suddenly cut off," Castro said.

    He kept trying. Castro went on to not only realize those dreams, but to attain the so-
    called American Dream. Soon after being deported, he returned to the U.S. in 1980,
    became a citizen in 1990 and started Todos Supermarket
    (http://todossupermarket.com/), which specializes in Hispanic foods and services.
    Today his company earns $18 million annually and employs 140 people.

    Immigrants are now twice as likely to start a new business as someone born in the
    U.S. (http://www.huffingtonpost.com/2012/05/08/immigrants-new-
    businesses_n_1499719.html) But would Castro be able to achieve his level of success
    if he immigrated today, given the government crackdown on undocumented
    immigrants, passage of strict state rules in light of the lack of federal immigration
    reform and the Supreme Court's recent split ruling on Arizona's controversial
    immigration law (http://www.huffingtonpost.com/2012/06/25/arizona-                                                     SUGGESTED FOR YOU
    immigration-law-ruling_n_1614067.html?flv=1)?
                                                                                                                                   2. Man Protests Arrest With
    "Conditions are much worse. I don't think I would have had the same opportunities
                                                                                                                                   Unforgettable Mug Shot
    that luckily I had 30-something years ago," Castro said. "I believe nothing is
    impossible, but it would be nearly impossible the way things are now."



                                                                                              A24
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Castro        1:14-cv-00254
        recently                         Document
                 spoke with HuffPost Small  Business about127      Filedto give
                                                           why he wants     on back01/30/15   in TXSD Page 30 of 879
to the country that gave him a new life, and how current laws restrain his ability to
create jobs.                                                                                     a day ago huffingtonpost.com The
                                                                                                 Huffington Post Huffington Post
W hat w as it like gr ow ing u p in El Salvador ?                                                Mobile David Moye David Moye
                                                                                                 Most Popular on HuffPost
My family had 10 children living in a two-room house without running water or a                  1. Guess Who This Little Cutie Grew
sewer system. We had to work from an early age, running errands for neighbors. After             Up To Be
sixth grade, I attended school at night so I could work as a laborer during the day.

How did you escape that cycle of pover ty?

My father told us that to succeed, we needed to read a lot, because knowledge was
already in books. The book "You Can Become The Person You Want To Be" [by Robert
H. Schuller] convinced me that success was a matter of how much effort I put into my
life. I graduated from high school with honors. And I was extremely happy with my
                                                                                                 21 hours ago huffingtonpost.com The
                                                                                                 Huffington Post Huffington Post
job as a technician.                                                                             Mobile mandy moore throwback
                                                                                                 thursday
Coming to the U.S. was never in my plans. But the [Salvadoran civil] war was taking a            3. Feminist, Body-Positive Pin-Ups
turn for worse. There were kidnappings, and my town was taken over by guerrillas.                Are Unbelievably Gorgeous
You could feel bullets flying around you. Being immersed in that environment for so
many years was getting to be too much. A family friend offered to help me with the
expenses to come to the U.S. I found someone bringing people from El Salvador all
the way to Texas, but we got stopped on the way to L.A.

How did you com e back?
                                                                                                 3 days ago huffingtonpost.com The
Someone was helping my cousin come this way, so I tagged along. I am a man of faith              Huffington Post Huffington Post
and I knew that God would provide us the way if he wanted us to get through. We                  Mobile Nina Bahadur Nina Bahadur
crossed the border to Tijuana and from there went to L.A, then Washington [D.C.],                Most Popular on HuffPost
where I worked for an architect as a laborer, then a carpenter, then a foreman. The              4. Bikini'd Miley Cyrus Has Some
architect sponsored my wife as a maid, and it was through my wife that me and my                 Fun In The Sun With Patrick
kid got residency in 1985. We went back to El Salvador to see the consulate and then
                                                                                                 Schwarzenegger
had to ask the U.S government for forgiveness. After five years of being residents, we
became U.S. citizens.

How did you feel becom ing a U.S. citizen?

A big sense of pride. Here, your vote, your voice counts, and you can get anything
accomplished. I thought, this is a great opportunity to make the best of this. I set up a        a day ago huffingtonpost.com The
remodeling company, then started the grocery store so my wife could run it rather                Huffington Post Huffington Post
than cleaning houses. In 1992, I abandoned my construction business to run the
                                                                                                 Mobile Stephanie Marcus Stephanie
                                                                                                 Marcus Most Popular on HuffPost
grocery store. We predicted that because of the low cost of housing and the proximity            5. #TBT: Sofía Vergara's Life Before
to D.C., this area would become a hub for immigrants. We started at 2,500 square                 'Modern Family' Was Very Different
feet, then because of the demand we moved to 5,000 square feet in 1996, then again
in 2001 to 18,000 square feet. Our final move to 52,000 square feet was to serve the
entire community, not just my Hispanic customer base.

Did ow ning a bu siness feel like the Am er ican Dr eam ?

Absolutely. By age 48, I owned a house and owned a business, which gave me the
opportunity to help others achieve their dreams, the way I was helped by other                   3 days ago huffingtonpost.com The
people. I'm on the board of the community college and the hospital, and I'm involved
                                                                                                 Huffington Post Entertainment
                                                                                                 Huffington Post Mobile The
in the political world, making sure we can represent the Hispanic community. I                   Huffington Post Carolina Moreno
always prayed to God that if I had the opportunity to make money, to keep me humble              Carolina Moreno Most Popular on
and give me the strength to help other people.                                                   HuffPost
                                                                                                 6. Simple Experiment Debunks
Do you think r ecent state law s tar geting im m igr ants ar e stifling those                    Theory About Dino-Killing Asteroid
kinds of oppor tu nities?

I think they're creating confusion. I've seen people change from seeing Latinos'
potential to being suspicious. One day I was walking out of a pharmacy, and
somebody said to me, "You guys are up to no good." She didn't know I was a U.S.
citizen. She just put that label on me. We're made to feel that we're an underclass,
even if we're successful professionals. Although I have always tried to ignore it, it's          6 hours ago huffingtonpost.com The
there.                                                                                           Huffington Post HuffingtonPost.com
                                                                                                 (AOL) Macrina Cooper-White
How ar e you par ticipating politically in this issu e?                                          Macrina Cooper-White Most Popular
                                                                                                 on HuffPost
I have mainly given my opinion to legislators, participating in forums or town hall              7. South Korean Girls Try American
meetings in hopes that one day we'll find a magic bullet that will bring about a                 Snacks, Are Promptly Grossed Out
solution. Hopefully before the election, one of the candidates will come up with a plan
that works.                                                                                      2 days ago huffingtonpost.com The
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other s the w ay the ar chitect helped you ?
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In the        1:14-cv-00254
       past, we could hire people          Document
                                    and apply                   127
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                                                                                       I                 in TXSD Page 31 of 879
became citizens, but I can't do that because of new regulations. I want to go out
tomorrow and hire 10 people  69-- I just can't because of the laws in place.
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I interviewed a young lady this week and determined she didn't have a work permit or
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social security. I had to explain to her that my hands are tied. It was hard -- I came
                               33
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here illegally and had to tell her I couldn't hire her because she [didn't have                        a day ago huffingtonpost.com The
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documentation]. It's something Tweet we run into every day. It's very difficult, knowing               Huffington Post AOL Forex Eline
there are good people who  (https://twitter.com/intent/tweet?
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they can't get a job. It brings tears to my eyes.                                                      9. Thanks To John Kerry, Israel Stunt
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                            (https://www.linkedin.com/cws/share?url=http://www.huffingtonpost.com/2012/06/27/carlos-castro-todos-supermarket-
                          117
Nam e: Carlos Castro former-undocumented-immigrant-starts-business_n_1597663.html)
Com pany: Todos Supermarket
                        Comment
Age: 57                                                                                                   FOLLOW HUFFPOST
Location: Two locations, in Woodbridge and Dumfries, Va.
Fou nded: 1990
Em ployees: 140
2012 Pr ojected Revenu e: $18 million                                                                       Email Address                        Sign me up!
W ebsite: todossupermarket.com (http://todossupermarket.com/)
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  Carlos Castro, Owner of Todos Supermarket                                     1 of 5 
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                                                                               Todos Supermarket



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           Ah, the old "end-around" for getting citizenship. When he got deported (which was
(/social/mikennz?


                                                                              A27
         the right thing), did he ever think of applying the right way to get into the country
action=comments)
      Case 1:14-cv-00254 Document 127 Filed on 01/30/15 in TXSD Page 33 of 879
         and get citizenship? Nope. Why? Because it was "easier" to just run across the
         border. We have got to stop this. I don't care how successful a businessman he is
         now. I'm sure there are plenty of future successful businessman/women sitting it
         their native countries right now waiting to enter the country LEGALLY. Oh, I'll get
         the bleeding heart responses to this comment. We're making citizenship a joke.
         28 JUN 2012 8:45 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/MIKENNZ/CARLOS-CASTRO-
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           mikennz, execellent post we have had immigration laws on the books for years
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           that have not been followed. The stance this administration has taken on this issue
         as we all know is nothing but a means to increase their voting base. Action's taken
         by them should make all of those who followed the law very angry.
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         jss1220 (/social/jss1220?action=comments)                                                    3
         37 Fans      · En boca cerrada no entran moscas.

            Great article! I think it has a lot of interesting points. It seems that people arguing
(/social/jss1220?
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            against more just immigration laws like the DREAM Act frequently leave out the
         many cases like Carlos Castro's. If immigrants are twice as likely to start a
         business here in the U.S., how can people argue that they are "stealing American
         jobs"? If we deported all of the people who were here illegally, (just like Carlos
         Castro once was) we'd be shipping out people with the potential to funnel as much
         money into our economy and create as many jobs as he has.
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            Hey Carlos baby we aren't against (legal) immigrant but ILLEGAL ALIENS. And
(/social/Tich_Tran?
action=comments)
            you are now a businessman thank to BEING LEGAL. Illegal CAN'T LEGALLY own
         a business here. What part of LEGAL don't you comprende?!
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            So he is racist by his own words and actions
(/social/ctyankee21?
action=comments)

         "In the past, we could hire people and apply for certifications the way my wife and I
         became citizens, but I can't do that because of new regulations. I want to go out
         tomorrow and hire 10 people -- I just can't because of the laws in place." ... what
         no white,black or asians looking for work where you live??

         "I interviewed a young lady this week and determined she didn't have a work
         permit or social security. I had to explain to her that my hands are tied. It was hard
         -- I came here illegally and had to tell her I couldn't hire her because she [didn't
         have documentation]. It's something we run into every day. It's very difficult,
         knowing there are good people who deserve a job, need to raise their kids, and
         chances are, they can't get a job. It brings tears to my eyes. "

         There are plenty of American born citizens, black, white and latino who deserve a
         job, need to raise their kids and yet this man crys cause he can't hire an Illegal

                                                                               A28
      "immigrant"
     Case         ?
            1:14-cv-00254 Document 127 Filed on 01/30/15 in TXSD Page 34 of 879
         this double standard brings tears to my eye!
         28 JUN 2012 8:40 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/CTYANKEE21/CARLOS-
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         jmac8577 (/social/jmac8577?action=comments)
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           you are so right there are so many Americans of all races looking for work and he
(/social/jmac8577?
action=comments)
           want to hire illegal's instead of people who were born her and do you know why?
         because he can pay them the lowest pay possible. this needs to stop if the
         government just enforced the laws that are there now this country would be better
         off. but no our government carters to everyone who comes in the wrong why. why
         should illegals from all over the world come heir and rep the rewards that we as
         Americans can't get like FREE SCHOOLING FOR OUR KIDS, FREE MEDICAL,
         AND NOT HAVE TO PAY THERE FAIR SHARE. don't get me wrong if an illegal
         comes here and is doing the right thing by working on the books, obeying the
         laws, then there should be a system in place to help them become citizens but not
         only good hard working people come here don't for get that repast's, thief's,
         molesters, junkeys, and all other sorts of criminals come here to so don't be to
         sympathetic to all immigrants.
         28 JUN 2012 10:38 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/JMAC8577/CARLOS-
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         Norma G. (casinolover91) (/social/casinolover91?action=comments)                      8
         135 Fans

           People take one of a few illegals who reached the 'american dream' and run with
(/social/casinolover91?
action=comments)
           it. Yes, there are those who made it big - but - it's more of an exception than a
         rule! Show me where ALL 12/20 million illegals in our mist have done what this
         man did. I will be waiting. Entering the USA ILLEGALLY is breaking the law! We
         are either a country of laws or we are not - NO EXCEPTIONS!
         27 JUN 2012 12:42 PM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/CASINOLOVER91/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
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           you are so right and why not make the law that any employer who hires illegals
(/social/jmac8577?
action=comments)
           pay $50,000 per head and then lets see if we can bring our people back to work
         and boost our economy but make the fine stick not less if anything more
         28 JUN 2012 10:45 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/JMAC8577/CARLOS-
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         Charley V. (charleyvldm9) (/social/charleyvldm9?action=comments)                      3
         SUPER USER · 310 Fans        · He thinks outside the box.

           Just buckle down,work hard,save invest and you can make it here,so why do 42
(/social/charleyvldm9?
action=comments)
           million Americans choose to remain poor? They live happy on govt. handouts.
         28 JUN 2012 4:20 PM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/CHARLEYVLDM9/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164596194.HTML)

           FAVE      SHARE         MORE




         Pam512 (/social/Pam512?action=comments)                                               1
         120 Fans

           I'm going to guess that this guy got some kind of help from the government. I am a
(/social/Pam512?
action=comments)
           59-year-old white female and I can't get any kind of assistance. And I'm so glad
         you think that poor people are happy. You are living in a dream world.
         28 JUN 2012 8:31 PM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/PAM512/CARLOS-CASTRO-
         TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-

                                                                          A29
       BUSINESS_N_1597663_164675013.HTML)
      Case   1:14-cv-00254 Document 127 Filed on 01/30/15 in TXSD Page 35 of 879
            FAVE     SHARE         MORE




    7 PEOPLE IN THE CONVERSATION                                      Read Conversation →




         Dan Crabtree (Dan_Crabtree) (/social/Dan_Crabtree?action=comments)                      5
         SUPER USER · 743 Fans

           Employs 143 people is great.. how-ever hispanics employ only hispanics...mexican
(/social/Dan_Crabtree?
action=comments)
           restaurants employ only mexican llaborers..hispanic contractors employ only
         hispanic laborers..hispanic roofing companies employ only hispanic employees
         and hispanic lawn care and landscaping employs yep you guessed it hispanic
         workers..last but certainly not least hispanics vote for only hispanic canidates just
         as son as they can get one on a ballot.. there-fore turning this nation into there old
         nation they left.So in reality all you accomplsh here is giving america away to
         hispanic people..The sad truth here is there is only one race that is allowed illegal
         entry into this nation ..hispanics...
         28 JUN 2012 12:35 PM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/DAN_CRABTREE/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164513399.HTML)

            FAVE     SHARE         MORE




         BiggpussJr (/social/BiggpussJr?action=comments)                                         2
         485 Fans     · pissin em off one comment at a time.

            Hispanic is not a race, but other than that you are spot on. And once an American
(/social/BiggpussJr?
action=comments)
            hires a latino that place will become all latino. They have already ruined their own
         countries so now it our turn. We had a good 400 years, well except for the slavery
         part.
         28 JUN 2012 4:46 PM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/BIGGPUSSJR/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164605291.HTML)

            FAVE     SHARE         MORE




    3 PEOPLE IN THE CONVERSATION                                      Read Conversation →




         Robert_DeFrank (/social/Robert_DeFrank?action=comments)                                 3
         SUPER USER · 8 Fans

           It's amazing how "immigrants" are able to start a business so easily. I was born in
(/social/Robert_DeFrank?
action=comments)
           this country and would love to start/own a business, but it seems like it is easier
         when you come from another country...
         28 JUN 2012 9:54 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/ROBERT_DEFRANK/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164455986.HTML)

            FAVE     SHARE         MORE




         buddys14 (/social/buddys14?action=comments)                                             2
         14 Fans

           Maybe you should try harder. Don't think about failing, just make it happen for
(/social/buddys14?
action=comments)
           yourself
         28 JUN 2012 11:32 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/BUDDYS14/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164489886.HTML)

            FAVE     SHARE         MORE




    6 PEOPLE IN THE CONVERSATION                                      Read Conversation →




         prov2thet (/social/prov2thet?action=comments)
         0 Fans

            Do immigrants in the United States have to pay the same business taxes as
(/social/prov2thet?
action=comments)
            Americans?
         28 JUN 2012 2:21 PM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/PROV2THET/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164553398.HTML)

            FAVE     SHARE         MORE



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      Case 1:14-cv-00254 Document 127 Filed on 01/30/15 in TXSD Page 36 of 879
         Dan Crabtree (Dan_Crabtree) (/social/Dan_Crabtree?action=comments)                                          4
         SUPER USER · 743 Fans

           no!!!!..plus immigrants who are here retain the right to sponsor members of there
(/social/Dan_Crabtree?
action=comments)
           family into this nation that includes uncles aunts brothers parents and grand
         parents..your accepted automatically...same for the dream act if and when is is
         assed or declared legal from the dictator now running this nation....
         28 JUN 2012 4:17 PM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/DAN_CRABTREE/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164595145.HTML)

            FAVE       SHARE         MORE




    4 PEOPLE IN THE CONVERSATION                                                     Read Conversation →




         mspat44417 (/social/mspat44417?action=comments)                                                             5
         186 Fans      · Rock it if ya got it...Music

           So this guy only wants to hires Illegals..... That's pretty sad...And not very
(/social/mspat44417?
action=comments)
           American....So much for wanting to come here to be an "American"...He wants to
         break the law...Just yet another reason why deportation is a good thing...
         28 JUN 2012 10:54 PM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/MSPAT44417/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164709381.HTML)

            FAVE       SHARE         MORE




         lifehub (/social/lifehub?action=comments)
         377 Fans      · I don't answer (to) libs.

             HP also conveniently omits the word 'illegal' in their description, "....$800 to help
(/social/lifehub?
action=comments)
             him cross the border in 1979."
         29 JUN 2012 5:57 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/LIFEHUB/CARLOS-CASTRO-
         TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164754991.HTML)

            FAVE       SHARE         MORE




    2 PEOPLE IN THE CONVERSATION                                                     Read Conversation →




         dsh1007155 (/social/dsh1007155?action=comments)                                                             4
         185 Fans

           Deport ALL illegal aliens.
(/social/dsh1007155?
action=comments)
           28 JUN 2012 9:05 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/DSH1007155/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164446053.HTML)

            FAVE       SHARE         MORE




         buddys14 (/social/buddys14?action=comments)
         14 Fans

           He's not illegal
(/social/buddys14?
action=comments)
           28 JUN 2012 11:32 AM (HTTP://WWW.HUFFINGTONPOST.COM/SOCIAL/BUDDYS14/CARLOS-
         CASTRO-TODOS-SUPERMARKET-FORMER-UNDOCUMENTED-IMMIGRANT-STARTS-
         BUSINESS_N_1597663_164489998.HTML)

            FAVE       SHARE         MORE




    5 PEOPLE IN THE CONVERSATION                                                     Read Conversation →




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Style


From journalism to activism:
Jose Antonio Vargas’s life on
the run
By Marc Fisher November 23, 2014

Jose Antonio Vargas is running. He’s fresh off the red-eye from California to Dulles — his
third overnight flight in as many weeks — to deliver yet another speech. He grabs his
backpack and goes, delivering nearly 300 talks in 44 states over the past three years. He
has moved, in just five years, from Washington to New York to San Francisco. He’s in a
hurry to convince his fellow Americans that people like him should be considered fellow
Americans.


Vargas, 33, has always been running, since he found out at 16 that he was in the United
States illegally, and before that too, as a child whose mother put her 12-year-old on a
plane from the Philippines to California, telling him that if anyone asked where he was
going, he should say “Disneyland.” He hasn’t seen her since.


He runs because it got him to where he is. When he was a 27-year-old reporter at The
Washington Post, his editors assigned him to cover the 2008 presidential campaign
because they thought he could see what young voters were thinking. ABC’s Diane Sawyer
called him “one of the most successful young men in this country.” Arianna Huffington
hired him to help her Huffington Post staff connect with digital natives.


He runs because he never knows when the immigration authorities or the Border Patrol or
any cop in the land might grab him, as they did this summer in Texas, tossing him in a cell

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for eight hours. Vargas has never had a valid visa or green card; he used to travel with an
illegally obtained driver’s license and, after 2011, a Philippines passport. Now, he has been
ordered to pass through Transportation Security Administration checkpoints using the
oddest of travel documents, a “Warrant for Arrest of Alien” on U.S. Border Patrol
letterhead. It says Vargas is “within the country in violation of the immigration laws and is
liable to being taken into custody.” He keeps it in his backpack. He calls the document
“my first American papers.”


Vargas runs because he has much to prove, even after a meteoric rise as a reporter; even
after he achieved his golden ambition, a piece in the New Yorker; even after a sudden flip
from journalism to activism and instant celebrity in that field — the cover of Time, live
coverage on CNN of his arrest in July. And yes, even after Thursday night, when President
Obama announced his move to at least temporarily lift the threat of deportation from
millions of illegal immigrants, including Vargas.


“So now I get a real work permit for the first time in my life?” he says a few hours after the
president’s address to the nation. “I get a driver’s license? I get to see my mom? Is that
how it works? It feels real to me, even if it’s temporary.”


He runs even now, because there are millions of undocumented immigrants whose status
remains unchanged by Obama’s executive action. He runs because he misses his mother
and has no idea when he will be able to see her. And because if he slows down, his secrets
might catch up to him. And because to stop would be to face the depths of his loneliness.


Joseiswriting. That’s his Twitter handle. He tweets, e-mails, writes essays, scripts,
speeches and stories. It’s 6:17 a.m. and Vargas is flying from Chicago — where he’d been
for 36 hours, giving two talks about immigration — to San Francisco, where he’ll be for 18
hours before another red-eye to Washington, where he’ll spend eight hours, then jump on
Amtrak to New York.



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“I have a lot on my mind and feel compelled to share some thoughts with you,” he writes
me from his eighth flight of the week. “I’ve been running since I was 16, since my Lolo
[grandpa] told me my papers were fake, when he said, ‘You’re not supposed to be here.’
But . . . since I am here, I better contribute and I better prove to people that I am here —
hence my journalism. . . .”


He arrived in Los Angeles on Aug. 3, 1993, to live with his grandfather, a security guard,
and his grandmother, a food server. He had 37 relatives in this country and he was the
only one among them who was not here legally. He didn’t know that until he went to the
DMV to apply for a driver’s permit. He showed his green card and was informed it was a
fake.


“I spent all of my 20s being scared s---less: scared of the government, scared of myself,”
he writes. “I didn’t know if I could keep going, if I could keep lying.”


He writes about the places he would visit if he were free to travel: the beaches of the
province where he grew up; Prince Edward Island in Canada, where his favorite movie,
“Anne of Green Gables,” was filmed; Paris, where his hero James Baldwin wrote.


He writes now about how Americans see him — not as a journalist, not even as a gay man
(he came out in high school, in history class), but as an illegal immigrant: “We were
terrorized in 9/11. Then we started terrorizing each other, with the immigrant — the
illegal, the alien — as the quintessential ‘other’ in America.”


He writes now about himself: “I feel like my life — my real life, a more honest life, a more
fulfilling life — started three summers ago, when I ‘outed’ myself as undocumented.”


But what Vargas thought would liberate him turns out to have hemmed him in. “Instead
of feeling freer and relieved, I’ve watched him now become so burdened,” says a longtime
close friend, Nathalie Wade. “Ironically, because he’s become this symbol of


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undocumented Americans, all these judgments are imposed upon him and he’s lost his
ability to be himself, to be unafraid. He’s ended up something he never meant to be.”


Vargas resists the idea that he has become a political animal: “I had a career before, and I
intend to have one after,” he says one day. “I am more than an immigration activist.”


Two weeks later, in another conversation, he tries on a different hat: “In the detention
cell, I realized this is now my life. Maybe my plan to do this for three years wasn’t right.
But I can’t do this forever. I’m still running. But I’m not running away anymore. I’m
running toward something.”


Jose Vargas is pushing.


In July, Vargas went to the Texas-Mexico border to film scenes of large numbers of
children arriving from Central America. He knew before he went that people within 100
miles of the border were subject to a check of their immigration status. At the airport in
McAllen, Tex., as he was heading home, Vargas was stopped, questioned and taken into
custody. A local reporter, tipped off by immigration activists that Vargas would be trying
to get onto a plane, shot video of the encounter.


The story went viral. Some accused Vargas of staging a provocation, seeking attention for
himself as much as for his cause.


“Some people in the media say it was a stunt,” Vargas says, “but I needed to get out of
there. And I feel like my job is to expose all the cracks in the system.”


He spent eight hours in a cell with some of the children who had been pouring over the
border.


Vargas calls his decision to go to McAllen an exercise in “radical transparency,” of a kind
with the time he called immigration authorities to ask what they intended to do with him

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(they had no answer).


Since his stint in detention, Vargas has worn his cordovan oxford shoes loose, with empty
eyelets, because the guards took away his laces and he wants to remember his humiliation
and anger.


“Undocumented people get arrested all the time,” he says. “I get arrested, and it’s front-
page news. I feel guilt.”


Even if the president’s initiative stands and the threat of deportation is lifted for some, the
politics of immigration remain volatile and Vargas’s future is still uncertain, all of which
leaves him eager to keep confronting the system. “I want to be as creatively disruptive as
possible,” he says. “I want to be radically transparent in a way that isn’t showboating.”


He is writing a memoir and recently announced a deal with MTV to direct a documentary
on what it means to be young and white in America.


Some longtime activists on immigration issues “want Jose to be even more disruptive,
more confrontational,” says Gaby Pacheco, a veteran of the movement who has grown
close to Vargas. “He would get pushback from kids who see him as privileged — he has a
career, success, awards, famous friends.”


But Vargas is more comfortable viewing his activism as an art form or an act of
journalism. With Ryan Eller, a Baptist preacher who heard Vargas speak at a college in
Indiana, he runs Define American, a nonprofit group that pushes for more liberal
immigration law.


“My job is taking the artistic brilliance of Jose Vargas, this unhinged willingness to do
something that feels like jumping off a bridge, and use it to build support for immigrants,”
says Eller. “Every day, we get requests to have Jose walk at the front of a march, join a
boycott, get arrested at the Capitol. But that’s not who Jose is.”

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Vargas’s split identity has won over many activists who initially worried that his approach
was too soft. “People saw that he could get our message out in such sophisticated ways,”
Pacheco says. “We’ve been preaching to the choir for so long, and Jose comes along and
gets on ‘Colbert’ . . . and ‘O’Reilly’ and talks to white America. Because he is a prize-
winning journalist, he has access that no immigrant had.”


Jose Vargas is hiding.


In high school in Mountain View, Calif., he did everything — choir, debate, plays, student
government, newspaper.


Soon after he learned about his immigration problem, Vargas started keeping a list of the
things he needed to do to be successful. He wanted to direct a show; make a movie; write
for the Wall Street Journal, Washington Post or New York Times. He wanted to win a
journalism prize, cover a presidential campaign and, above all, be published in the New
Yorker, which he’d discovered at the public library.


Before he turned 30, he’d done nearly everything on his list.


“That list was going to be the solution,” Vargas says. “But I did all those things, and it
wasn’t better.”


He built his supercharged escalator to success with energy, smarts, creativity, deceit and
outright lies. Beginning in high school, Vargas hid his immigration status from each of his
employers as he rose through his profession, winning over editors who were hungry for
young talent.


“We were behind the curve on all things digital and along came Jose,” says Peter Perl, a
Washington Post editor who was in charge of hiring when Vargas was a summer intern in
2003. Vargas quickly established himself as an innovative, energetic reporter.


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He was hired into a full-time position and became “the voice of youth in the newsroom,”
Perl says. “He’s charming and charismatic.”


But within a year of arriving at The Post, Vargas, shaking and evidently troubled,
approached Perl and asked him to walk over to Lafayette Park. On a bench there, Vargas
told the editor what he had not told anyone at his previous jobs, what no one at The Post
had detected — that, according to the law, he didn’t belong there.


“He was unburdening himself to a father figure,” Perl says. “He didn’t ask for anything.”


For seven years, Perl who has since retired from The Post, told Vargas’s secret to no one
but his wife. (In 2011, when Vargas came clean, Perl was reprimanded, but he has no
regrets about keeping silent to protect Vargas’s career.)


Some of Vargas’s colleagues saw in him a vital energy and a comfort with the digital world
that eludes some veteran print journalists. But others felt suspicious or at least mystified.


“Jose is a man of so many layers, so many secrets,” says his friend and former roommate,
Ernesto Londoño, a former Post reporter who now works at the New York Times. When
Londoño, a native of Colombia, first came to The Post, the newspaper sponsored his
application for a work permit and Londoño confided in Vargas about “how anxious I was
and how this was a shaky way to start a career.” Vargas only listened.


After the two had been living together in the District for eight months, Londoño invited
Vargas to travel to Colombia with him for a vacation. Vargas awkwardly demurred.


“I don’t like travel,” he said.


“I said, jokingly, ‘Are you not here legally?’ ” Londoño recalls.


Vargas remembers the moment: “Ernesto was about to make a left at the McDonald’s on

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U Street, and I heard myself lie. A week or so later, I moved out. I hated that I lied to
him.”


Londoño recalls his roommate coming to him and saying, abruptly, “ ‘I can’t live with you
anymore.’ He was very clearly overwhelmed.”


Secrets shaped his friendships and his work. In 2004, Vargas wrote a story in The Post’s
Style section about spouses who kept big secrets from one another for years. “Secrets
come in many forms,” he wrote, “from the trivial to the consequential. . . .”


At The Post, Vargas was part of a team that won the Pulitzer Prize for coverage of the
shootings at Virginia Tech. But to protect his secret, he turned down a chance to cover the
war in Iraq. When he had to interview a State Department official, he panicked about
being caught at the building’s security checkpoint; he called the source and asked, “Can
we do the interview at Caribou [coffee shop]?”


He left The Post in 2009, worked at Huffington Post and in 2010, he landed the story that
would tick off the last item on his high school list. He got Mark Zuckerberg to cooperate
on a profile for the New Yorker. Vargas and the Facebook founder took a long walk in
Menlo Park, Calif., “and Mark turns to me and says, ‘So where are you from?’ ” Vargas
recalls. “I stopped and looked at him. The simple answer was I was from the town next to
there. The full answer was, ‘I can’t talk to my mom. I’m interviewing you, and I’m not
supposed to be here.’

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“I didn’t say that. Instead, I gave him a blank look and continued the interview.”


In December 2010, the Senate voted down the Dream Act, which would have created a
path to citizenship for young people brought to the country illegally as children. Vargas
went out for a long walk to the Brooklyn Bridge, listening to Rachmaninoff’s Piano

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Concerto No. 2 — by turns delicate, melodramatic, overbearing. By the time he got back to
his apartment, he says he knew he would end the lies. He hadn’t seen his mother in 16
years.


“It must seem strange that somebody who seems so social and friendly could keep secrets
for so long,” Vargas told me. “I don’t know how the hell I managed it. The moment you tell
someone, you feel guilty, because you’re endangering them. I was a coward. A ticking time
bomb. Either someone was going to out me, or I would out myself, or I would have to shut
the f--- up for the rest of my life.”


He set out to write a first-person piece for his old employer, this newspaper, in which he
would come out as an illegal immigrant. The Post assigned a team of editors to check the
story rigorously; a story about lies had to be airtight.


In the end, The Post’s editor at the time, Marcus Brauchli, decided not to publish the
story. Vargas offered it to the New York Times, which put it on the cover of its Sunday
magazine. Brauchli says he has nothing to add to his original explanation, which said: “We
made a judgment not to run the piece.”


Vargas says he thinks The Post bailed out because he had a second illegally obtained
driver’s license that he hadn’t mentioned in his first draft. But he says he was committed
to telling all and gladly added any fact the editors wanted.


Some fellow journalists read the Times story and felt as if they’d been made unwitting
parties to a lie.


“I was duped,” wrote Phil Bronstein, editor of the San Francisco Chronicle, where Vargas
had worked at the start of his career. “Jose lied to me and everyone else he worked for,
and that’s not kosher.”


The Post’s ombudsman then, Patrick Pexton, wrote that Vargas had a reputation in the

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newsroom “for being tenacious and talented but also for being a relentless self-promoter
whom many colleagues didn’t trust.” Pexton concluded that Vargas had now “crossed the
line from journalist to advocate.”

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The Times story would liberate Vargas from the constant elisions and deceptions, but not
from life on the run. Soon after the piece appeared, Washington state revoked his driver’s
license, which he had obtained illegally (he had never lived in the state). These days, he
gets around by cadging rides from friends and supporters. He takes a lot of taxis.


When a student attending a speech at American University asks him where he lives now,
he replies, “On Delta Air Lines.”


Jose Vargas is charming.


Wade, his friend since freshman year of high school, remembers coming home to find
Vargas on her couch — he had a key to her house — watching videotapes of figure skater
Michelle Kwan that her mother had recorded for Jose.


“He was really building a family for himself,” Wade says, “reaching out to adults to be
mother figures.”


Pat Hyland, Vargas’s high school principal, first focused on him as he fell into crisis after
coming out as gay in school, leading his grandfather to throw him out of the house. Now,
as Vargas lived from couch to couch, walking five miles a day because he didn’t have
money for a bus pass, the principal says she saw him survive “by making people around
him feel like the center of the world.”


“His head tilts like a puppy, and he’s listening and asking good questions,” says Hyland,
now dean of students at Foothill College in Los Altos Hills, Calif. “At the same time, he

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had this constant, nagging sense that he was not good enough. He would constantly seek
affirmation. That can get tedious. But he’s so inquisitive, so resourceful — and so fearful.
If everything you’ve got about yourself is a secret, you’re pretty lonely.”


Vargas’s fellow interns watched as he impressed his editors. “He had a way to ingratiate
himself to people in authority to stay afloat,” Londoño says. “It’s what he’s always done to
survive. He has this huge desire to belong, because there was this big part of him that
didn’t.”


Marcia Davis, who edited Vargas in the Style section and became a close friend, says some
bosses mistook his fear about his fragile immigration status for being manipulative.

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“He connects to a Don Graham, an Arianna Huffington, a Mark Zuckerberg, because he
lives in a world of big ideas and he’s got the passion of a young person,” she says. “This
idea of him being a self-promoter: I really think issues of race and class factored into
people saying that about him. There’s anxiety in Jose, there’s self-doubt, and it can all be
exhausting. But he’s passionate about telling stories, so full of wanting to get things done.”


Vargas arrives at American University to give a speech. Stopping by the student TV
station, he checks his hair (“I learned early on that I can’t look like I’m stressed out,” he
says), and then, when a young woman tells him he inspired her to open up about her
undocumented status, he lowers his voice, tilts his head and spends 30 seconds with her
as if there weren’t 11 other people in the room.


In a quiet moment between speeches, he says he collected parental figures — for a
purpose.


“I traffic in empathy,” Vargas says. “I try to be vulnerable with people so they can be
vulnerable back. I’ve always been searching for empathy in other people. It’s when I feel

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most not alone.”


Vargas is running, still. He came out as gay and still felt compelled to run. Came out as
undocumented — still running. He finally admitted to himself that he has a mother (for
years, he’d refused her request to be listed as his parent on Facebook, for fear that people
would ask questions — “Do you miss her? Why don’t you go see her?” He kept a shoe box
full of her letters, unopened). As yet, no rest.


Even now, he holds secrets, about things he did as a young man, about his family, about
why he runs. In his mind, he keeps a catalogue of which friends he’s told which secrets.
He’s not sure he remembers who knows what.


His hardest moment so far was reconnecting with his mother, Emelie Salinas. Vargas
spent nearly three years working on his film, “Documented,” which ends with an extended
passage about his first visit with his mother via Skype. (She has applied three times for a
tourist visa to visit her son. She has been turned down each time.)


Footage of his mother did not appear in early cuts of the movie. Now, he sees, “she is the
film. She’s this mother who put me on a plane. She and I meet on film.”


After he finally decided that the movie could not be fully honest without her, Vargas spent
weeks working with the 10 hours of footage his crew brought back from the Philippines.
As soon as he finished editing his mother into the film, he did something he’d thought
about for a decade: He went to see a therapist.


“I’ve become a little more open in the past few months about depression,” he says.


These days, mother and son chat on Facebook from time to time. The conversation is not
easy. The anger he felt toward her for sending him away has subsided, but there’s only so
much he can repair from 7,000 miles away.


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He remains afraid of the dark. He doesn’t sleep — just short bits here and there. He keeps
no pictures of himself.


Vargas is forever coming out, revealing himself layer by layer, yet always holding
something in reserve.


Londoño, his former roommate, came to believe that Vargas is a good man imprisoned by
his silence. “His secrets came to dominate and poison every aspect of his life,” says
Londoño, who remains on good terms with Vargas. “He could never let anybody get close.
It kept him from having a real romantic relationship. He was lonely, hugely lonely.”


Vargas confirms he has never had a serious partner. “I just never really allowed that,” he
says. “It would be unfair to impose that on someone else.”


In high school, after his grandfather kicked him out, he lived for a time with a middle-
aged man he’d met at a coffee shop, his first steady relationship. He says the relationship
was not abusive, but consensual and convenient.


“If he was taking advantage of me, I was also taking advantage of him,” Vargas says. “I
had a place to sleep, right?”


He didn’t tell even his closest friends about the man. “I didn’t want them to know,” he
says. “What am I supposed to do, tell them I’m sleeping with a man to have somewhere to
sleep? That’s putting a lot on them.”


Even now, his old friend Nathalie Wade says: “Jose will come to a point where he pushes
people away if somebody gets too close. It’s hard to let somebody love you when you don’t
think as highly of yourself as you could.”


In his apartment, Vargas keeps a globe, a symbol of the places he wants to see someday.



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Hyland, his high school principal, hopes Vargas will finally come to rest: “He’s on a race
with no particular end. He thinks if he just talks to enough people, they’ll see the problem.
That’s just not going to work. Does he have the energy to sustain the work without seeing
progress? I don’t know. You begin to repeat yourself.”

                              Advertisement



She’s not optimistic that he can stop. “No one has the authority to tell him to take a
timeout,” she says. “It would scare him.”


Wade sent Vargas a note after she saw his documentary. She said she understood now
“why you are the way you are. Of course, someone with something to prove, someone who
constantly needs to show that he belongs . . . would need to achieve, and surpass, and
impress to no end. . . .


“You are constantly striving to find ways . . . to be loved by more and more people around
you when the most important person, the one person who would make you feel whole
again . . . is separated from you by such deep geographical, emotional and especially
political lines.”


In every Skype conversation, his mother assures her son that he is worthy, good, accepted.
In his movie, she tells the film crew he sent that “more than anything else, I want to be
able to, like any mom, embrace my child, even without words. I just want to be able to hug
him, like I did before.”


Her son wants the same thing, and now he believes it will happen. He called her on Skype
after Obama’s speech. It was a short conversation with a simple message. “I’m going to try
to see you,” he said, “and there would be no cameras. No, no, no, no, no.”



               Marc Fisher, a senior editor, writes about most anything. He’s been The Post’s enterprise
               editor, local columnist and Berlin bureau chief, and he’s covered politics, education, pop
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  culture, and much else in three decades on the Metro, Style, National and Foreign desks.




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FRBSF ECONOMIC LETTER
2010-26              August 30, 2010



The Effect of Immigrants on U.S. Employment
and Productivity
BY   GIOVANNI PERI


The effects of immigration on the total output and income of the U.S. economy can be studied by
comparing output per worker and employment in states that have had large immigrant inflows
with data from states that have few new foreign-born workers. Statistical analysis of state-level
data shows that immigrants expand the economy’s productive capacity by stimulating investment
and promoting specialization. This produces efficiency gains and boosts income per worker. At the
same time, evidence is scant that immigrants diminish the employment opportunities of U.S.-born
workers.



Immigration in recent decades has significantly increased the presence of foreign-born workers in the
United States. The impact of these immigrants on the U.S. economy is hotly debated. Some stories in the
popular press suggest that immigrants diminish the job opportunities of workers born in the United
States. Others portray immigrants as filling essential jobs that are shunned by other workers.
Economists who have analyzed local labor markets have mostly failed to find large effects of immigrants
on employment and wages of U.S.-born workers (see Borjas 2006; Card 2001, 2007, 2009; and Card and
Lewis 2007).

This Economic Letter summarizes recent research by Peri (2009) and Peri and Sparber (2009)
examining the impact of immigrants on the broader U.S. economy. These studies systematically analyze
how immigrants affect total output, income per worker, and employment in the short and long run.
Consistent with previous research, the analysis finds no significant effect of immigration on net job
growth for U.S.-born workers in these time horizons. This suggests that the economy absorbs
immigrants by expanding job opportunities rather than by displacing workers born in the United States.
Second, at the state level, the presence of immigrants is associated with increased output per worker.
This effect emerges in the medium to long run as businesses adjust their physical capital, that is,
equipment and structures, to take advantage of the labor supplied by new immigrants. However, in the
short run, when businesses have not fully adjusted their productive capacity, immigrants reduce the
capital intensity of the economy. Finally, immigration is associated with an increase in average hours per
worker and a reduction in skills per worker as measured by the share of college-educated workers in a
state. These two effects have opposite and roughly equal effect on labor productivity.

The method

A major challenge to immigration research is the difficulty of identifying the effects of immigration on
economic variables when we do not observe what would have happened if immigration levels had been
different, all else being equal. To get around this problem, we take advantage of the fact that the increase



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in immigrants has been very uneven across states. For example, in California, one worker in three was
foreign born in 2008, while in West Virginia the comparable proportion was only one in 100. By
exploiting variations in the inflows of immigrants across states at 10-year intervals from 1960 to 2000,
and annually from 1994 to 2008, we are able to estimate the short-run (one to two years), medium-run
(four years), and long-run (seven to ten years) impact of immigrants on output, income, and
employment.

To ensure that we are isolating the effects of immigrants rather than effects of other factors, we control
for a range of variables that might contribute to differences in economic outcomes. These include sector
specialization, research spending, openness to trade, technology adoption, and others. We then compare
economic outcomes in states that experienced increases in immigrant inflows with states that did not
experience significant increases.

As a further control for isolating the specific effects of immigration, we focus on variations in the flow of
immigrants that are caused by geographical and historical factors and are not the result of state-specific
economic conditions. For example, a state may experience rapid growth, which attracts a lot of
immigrants and also affects output, income, and employment. In terms of geography, proximity to the
Mexican border is associated with high net immigration because border states tend to get more
immigrants. Historical migration patterns also are a factor because immigrants are drawn to areas with
established immigrant communities. These geography and history-driven flows increase the presence of
immigrants, but do not reflect state-specific economic conditions. Hence, economic outcomes associated
with these flows are purer measures of the impact of immigrants on economic variables.

The short- and the long-run effects of immigrants

Immigration effects on employment, income, and productivity vary by occupation, job, and industry.
Nonetheless, it is possible to total these effects to get an aggregate economic impact. Here we attempt to
quantify the aggregate gains and losses for the U.S. economy from immigration. If the average impact on
employment and income per worker is positive, this implies an aggregate “surplus” from immigration. In
other words, the total gains accruing to some U.S.-born workers are larger than the total losses suffered
by others.
                                            Figure 1
Figures 1 and 2 show the response of
                                            Employment and income
key economic variables to an inflow of
                                               1
immigrants equal to 1% of
                                                          % response of
employment. Figure 1 shows the               0.8        incom e per worker
impact on employment of U.S.-born
                                             0.6
workers and on average income per
worker after one, two, four, seven, and      0.4
                                                                                    % response of
ten years. Figure 2 shows the impact         0.2
                                                                            U.S.-born worker em ployment
on the components of income per
worker: physical capital intensity, as         0

measured by capital per unit of output;     -0.2
skill intensity, as measured by human
capital per worker; average hours           -0.4
                                                      1          2           4          7         10
worked; and total factor productivity,                             Years until response
measuring productive efficiency and
technological level. Some interesting patterns emerge.

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First, there is no evidence that           Figure 2
immigrants crowd out U.S.-born             Capital intensity, hours per worker, and total factor
workers in either the short or long run.   productivity
Data on U.S.-born worker employment         1.5
imply small effects, with estimates                      % response of
                                              1      total factor productivity
never statistically different from zero.
The impact on hours per worker is           0.5                        % response of hours
similar. We observe insignificant                                          per worker
effects in the short run and a small but      0
significant positive effect in the long                       % response of skill
                                           -0.5                  per worker
run. At the same time, immigration
reduces somewhat the skill intensity of                                          % response of
                                             -1                                  capital intensity
workers in the short and long run
because immigrants have a slightly         -1.5
lower average education level than                    1            2            4           7        10
                                                                       Years until response
U.S.-born workers.

Second, the positive long-run effect on income per U.S.-born worker accrues over some time. In the
short run, small insignificant effects are observed. Over the long run, however, a net inflow of
immigrants equal to 1% of employment increases income per worker by 0.6% to 0.9%. This implies that
total immigration to the United States from 1990 to 2007 was associated with a 6.6% to 9.9% increase in
real income per worker. That equals an increase of about $5,100 in the yearly income of the average U.S.
worker in constant 2005 dollars. Such a gain equals 20% to 25% of the total real increase in average
yearly income per worker registered in the United States between 1990 and 2007.

The third result is that the long-run increase in income per worker associated with immigrants is mainly
due to increases in the efficiency and productivity of state economies. This effect becomes apparent in
the medium to long run. Such a gradual response of productivity is accompanied by a gradual response
of capital intensity. While in the short run, physical capital per unit of output is decreased by net
immigration, in the medium to long run, businesses expand their equipment and physical plant
proportionally to their increase in production.

How can these patterns be explained?

The effects identified above can be explained by adjustments businesses make over time that allow them
to take full advantage of the new immigrant labor supply. These adjustments, including upgrading and
expanding capital stock, provide businesses with opportunities to expand in response to hiring
immigrants.

This process can be analyzed at the state level (see Peri and Sparber 2009). The analysis begins with the
well-documented phenomenon that U.S.-born workers and immigrants tend to take different
occupations. Among less-educated workers, those born in the United States tend to have jobs in
manufacturing or mining, while immigrants tend to have jobs in personal services and agriculture.
Among more-educated workers, those born in the United States tend to work as managers, teachers, and
nurses, while immigrants tend to work as engineers, scientists, and doctors. Second, within industries
and specific businesses, immigrants and U.S.-born workers tend to specialize in different job tasks.
Because those born in the United States have relatively better English language skills, they tend to
specialize in communication tasks. Immigrants tend to specialize in other tasks, such as manual labor.

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Just as in the standard concept of comparative advantage, this results in specialization and improved
production efficiency.

If these patterns are driving the differences across states, then in states where immigration has been
heavy, U.S.-born workers with less education should have shifted toward more communication-intensive
jobs. Figure 3 shows exactly this. The
share of immigrants among the less           Figure 3
                                             Communication/manual skills among less-educated
educated is strongly correlated with
                                             workers
the extent of U.S.-born worker
                                               0.45
specialization in communication tasks.
Each point in the graph represents a




                                               Comm/manual avg, U.S.-born wkrs
U.S. state in 2005. In states with a            0.4
heavy concentration of less-educated
immigrants, U.S.-born workers have
                                               0.35
migrated toward more
communication-intensive occupations.
Those jobs pay higher wages than                0.3
manual jobs, so such a mechanism has
stimulated the productivity of workers
                                               0.25
born in the United States and
                                                     0                   0.2               0.4                    0.6
generated new employment                                       Share of immigrants among less educated
opportunities.                               Note: The data on average communication/manual skills by state are from
                                                        Peri and Sparber (2009), obtained from the manual and communication
                                                        intensity of occupations, weighted according to the distributional
To better understand this mechanism,                    occupation of U.S.-born workers.
it is useful to consider the following
hypothetical illustration. As young immigrants with low schooling levels take manually intensive
construction jobs, the construction companies that employ them have opportunities to expand. This
increases the demand for construction supervisors, coordinators, designers, and so on. Those are
occupations with greater communication intensity and are typically staffed by U.S.-born workers who
have moved away from manual construction jobs. This complementary task specialization typically
pushes U.S.-born workers toward better-paying jobs, enhances the efficiency of production, and creates
jobs. This task specialization, however, may involve adoption of different techniques or managerial
procedures and the renovation or replacement of capital equipment. Hence, it takes some years to be
fully realized.

Conclusions

The U.S. economy is dynamic, shedding and creating hundreds of thousands of jobs every month.
Businesses are in a continuous state of flux. The most accurate way to gauge the net impact of
immigration on such an economy is to analyze the effects dynamically over time. Data show that, on net,
immigrants expand the U.S. economy’s productive capacity, stimulate investment, and promote
specialization that in the long run boosts productivity. Consistent with previous research, there is no
evidence that these effects take place at the expense of jobs for workers born in the United States.

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   the Federal Reserve Bank of San Francisco.




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IMMIGRATION
    MYTHS FACTS


                        AND
                                 October 24, 2013

                                 Dear Reader,

                                 Despite the numerous studies and carefully detailed economic
                                 reports outlining the positive effects of immigration, there is a
                                 great deal of misinformation about the impact of immigration.
                                 It is critical that policymakers and the public are educated about
                                 the facts behind these fallacies.

                                The U.S. Chamber of Commerce’s Labor, Immigration &
                                Employee Benefits Division last prepared this pamphlet in
                                May 2011 to refute many of the most common myths about
                                immigrants coming to our country. This report updates our
    2011 pamphlet and examines new myths and facts that have emerged during the current
    immigration reform debate. We summarize the facts on the relationship of immigrants to Jobs,
    Wages, Taxes, Entrepreneurship, Population, Crime, Integration, Welfare, and Border Security.

    Our compilation shows that immigrants significantly benefit the U.S. economy by creating
    new jobs, and complementing the skills of the U.S. native workforce, with a net positive
    impact on wage rates overall.

    Recognizing that legislative solutions are difficult, the U.S. Chamber is also working to
    promote regulatory and policy reforms at the relevant federal executive agencies. We hope that
    these administrative reforms along with much needed legislation that overhauls our broken
    immigration system, will lead to concrete improvements so that our country can reap the full
    benefits of immigration.

    The U.S. Chamber of Commerce will continue to champion common-sense immigration
    reforms, and we urge you to join us in our efforts.

    Randel K. Johnson




    Senior Vice President
    Labor, Immigration & Employee Benefits


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JOBS                                                     census data, the Partnership for a New American
                                                         Economy estimates that immigrant-owned
MYTH:	Every job filled by an                            businesses “generate more than $775 billion in
       immigrant is a job that                           revenue, $125 billion in payroll, and $100 billion
       could be filled by an                             in income, employing one out of every 10 workers
       unemployed American.                              along the way.” Moreover, “immigrants started 28
                                                         percent of all new U.S. businesses in 2011.”6
FACT:	Immigrants typically do not
       compete for jobs with native-                     Immigrants play an important role in job creation
       born workers and immigrants                       in both small and large businesses. A report from
       create jobs as entrepreneurs,                     the Fiscal Policy Institute found that immigrant-
       consumers, and taxpayers.                         owned small businesses employed 4.7 million
                                                         people and had $776 billion in receipts in 2007,
Employment is not a “zero-sum” game.1 The                the last year for which data are available. In
U.S. economy does not contain a fixed number             addition, 18 percent of all small business owners
of jobs for which immigrants and native-born             in the United States are immigrants, higher
workers compete. For instance, if the eight million      than the immigrant share of the population
undocumented immigrant workers now in the                (13 percent) or labor force (16 percent).7 With
United States2 were removed from the country,            respect to large businesses, a report from the
there would not be eight million job openings            Partnership for a New American Economy
for unemployed Americans.3 The reason for                estimated that Fortune 500 companies founded
this is two-fold. First, removing eight million          by immigrants account for 18 percent (or 90)
undocumented workers from the economy would              of all Fortune 500 companies, generate $1.7
also remove eight million entrepreneurs, consumers,      trillion in annual revenue, and employ 3.7 million
and taxpayers. This would cause the U.S. economy         workers worldwide. These companies include
to lose jobs. Secondly, native-born workers and          AT&T, Verizon, Procter & Gamble, Pfizer, Kraft,
immigrant workers tend to possess different skills       Comcast, Intel, Merck, DuPont, Google, Cigna,
that often complement one another, and are               Kohl’s, Colgate-Palmolive, PG&E, Sara Lee, Sun
therefore not interchangeable.4                          Microsystems, United States Steel, Qualcomm,
                                                         eBay, Nordstrom, and Yahoo!8 Similarly, a 2008
One of the principal ways in which immigrants            study found that one-quarter of all engineering
create jobs is through the businesses they establish.    and technology-related companies established in
Immigrants to our country join native-born               the United States between 1995 and 2005 had an
Americans in being risk takers. According to             immigrant founder or co-founder, and that these
the Kauffman Index of Entrepreneurial Activity,          companies had $52 billion in sales and 450,000
“immigrants were more than twice as likely to            employees as of 2005.9
start businesses each month in 2010 than were
the native-born.” This reflects an upward trend in       Immigrants also create jobs as consumers.
immigrant entrepreneurship since 2006.5 Using            Immigrant workers spend their wages buying food,


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IMMIGRATION
    MYTHS FACTS


                            AND
    clothes, appliances, cars, and other products and      African Americans. Latino immigrants and African
    services from U.S. businesses.10 Further, businesses   Americans fill complementary roles in the labor
    respond to the presence of new immigrant workers       market—they are not simply substitutes for one
    by investing in new restaurants, stores, and           another. In addition, cities that have suffered the
    production facilities.11 The end result is more jobs   effects of declining population are rejuvenated by
    for more workers. For instance, a study by the         an inflow of Latino immigrants.15
    University of Nebraska, Omaha, estimated that
    spending by immigrants generated roughly 12,000        Immigrants do not “steal” jobs from American
    jobs for the state of Nebraska in 2006—including       workers. Immigrants come to the United States
    more than 8,000 jobs in the Omaha and Lincoln          to fill jobs that are available, or to establish their
    metropolitan areas.12                                  own businesses. Research has found that there
                                                           is no correlation between immigration and high
    Leaving aside the role that immigrants play in job     unemployment at the regional, state, or county
    creation, the fact remains that most immigrant         level.16 Nor is there any correlation between
    and native-born workers are not competing with         immigration and high unemployment among
    each other, even in times of high unemployment.13      minorities.17 Immigrants go where the jobs are, or
    Most foreign-born workers differ from most             they create jobs on their own.
    native-born workers in terms of what occupations
    they work in, where in the country they live,
    and how much education they have. Even
    among less-educated workers, immigrants and            WAGES
    native-born workers tend to work in different
    occupations and industries. If they do work in the     MYTH: Immigrants drive down
    same occupation or industry—or even the same           the wages of American workers.
    business—they usually specialize in different tasks,
    with native-born workers taking higher-paid jobs       FACT: Immigrants give a slight boost
    that require better English-language skills than       to the average wages of Americans
    many immigrant workers possess. In other words,        by increasing their productivity and
    immigrants and native-born workers usually             stimulating investment.
    complement each other rather than compete.14
                                                           Immigrant workers increase the wages of native-
    This dynamic is illustrated by the fact that cities    born workers in two ways. First, immigrants
    experiencing high levels of immigration tend to have   and natives tend to differ in the amount of
    relatively low or average unemployment rates for       education they have, the occupations in which
    African Americans. A 2012 analysis of census data      they work, and the skill sets they possess. The jobs
    by Saint Louis University economist Jack Strauss       which immigrants and natives perform are often
    found that cities with greater immigration from        interdependent. This increases the productivity of
    Latin America experience lower unemployment            natives, which increases their wages. Second, the
    rates, lower poverty rates, and higher wages among     addition of immigrant workers to the labor force


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stimulates new investment in the economy, which         ECONOMY
in turn increases the demand for labor, exerting
upward pressure on wages.18                             MYTH: The sluggish U.S. economy
                                                        doesn’t need more immigrant workers.
The average wage increase that native-born workers
experience as a result of immigration is measurable.    FACT: Immigrants will replenish the
A 2010 report from the Economic Policy Institute        U.S. labor force as millions of Baby
estimated that, from 1994 to 2007, immigration          Boomers retire.
increased the wages of native-born workers by
0.4 percent. The amount of the wage gain varied         The U.S. economy is facing a demographic crisis.
slightly by the education level of the worker.          Roughly 77 million Baby Boomers (one-quarter
College graduates received a boost of 0.4 percent;      of the U.S. population) are now starting to reach
workers with some college 0.7 percent; high             retirement age.24 This wave of aging over the
school graduates 0.3 percent; and workers without       next two decades will have a profound economic
a high school diploma 0.3 percent.19 Similarly,         impact. Our Social Security and Medicare systems
economist Giovanni Peri has estimated that, from        will be stretched to the breaking point. Labor-force
1990 to 2006, immigration increased the wages           growth will fall. And a smaller number of workers
of native-born workers by 0.6 percent. College          and taxpayers will support a growing number of
graduates experienced an increase of 0.5 percent,       retirees. Under these circumstances, immigrants
workers with some college 0.9 percent, high school      will play a critical role in replenishing the labor
graduates 0.4 percent, and workers without a high       force and, therefore, the tax base.25
school diploma 0.3 percent.20
                                                        As the native-born population grows older and
Local-level studies have reached similar                the Baby Boomers retire, immigration will prove
conclusions about the positive impact of                invaluable in sustaining the U.S. labor force.
immigration on wages. Studies of two                    Projections by the Bureau of Labor Statistics (BLS)
communities that experienced a large influx of          indicate that, between 2010 and 2020, the U.S.
immigrants over a short time period (Dawson             population age 55 and older will increase by 21.7
County, Nebraska,21 and Miami, Florida22) found         million—reaching 96.3 million, or 36.6 percent of
that wages increased—even for lesser-skilled            all people in the country.26 As a result, “replacement
workers who were most likely to be in competition       needs”—primarily retirements—will generate 33.7
for jobs with new immigrants. Likewise, a study         million job openings between 2010 and 2020.
of more than 100 cities by economist David Card         On top of that, economic growth is expected to
found that the wages of natives tend to be higher       create 21.1 million additional job openings.27 In
in cities with large immigrant populations.23           other words, demand for workers will increase. Yet
                                                        as more and more older Americans retire, labor-
                                                        force growth will actually slow, averaging only
                                                        0.7 percent between 2010 and 2020 (even with
                                                        calculating current rates of immigration).28 The


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IMMIGRATION
    MYTHS FACTS


                             AND
    rate of labor-force growth would be even lower           example, unemployment for the native-born
    over the coming decade if not for the influx of new      is particularly low in science, technology,
    immigrants into the labor market.29                      engineering, and mathematics (STEM)
                                                             occupations, such as petroleum engineers
    Immigrant workers will do more than replace              (0.1 percent), computer network architects
    retiring native-born workers in the labor force. They    (0.4 percent), nuclear engineers (0.5 percent),
    will also look after the retirees themselves. BLS        environmental scientists and geoscientists (1.2
    expects that the aging of the U.S. population will       percent), database administrators (1.3 percent),
    generate a high demand for healthcare workers of all     statisticians (1.6 percent), engineering managers
    kinds, both high-skilled and lesser-skilled.30 Between   (1.6 percent), and aerospace engineers (1.9
    2010 and 2020, employment is projected to increase       percent).33 Under these circumstances, the U.S.
    by 34.5 percent in healthcare support occupations,       economy would benefit from channels of legal
    25.9 percent in healthcare practitioner and technical    immigration that are flexible enough to respond
    occupations, and 26.8 percent in personal care and       to labor shortages in particular occupations at
    service occupations.31 Many of these healthcare          a particular time and place. Temporary worker
    workers will, of necessity, be immigrants.               programs provide just the sort of flexibility that is
                                                             required in many industries.34 Moreover, evidence
                                                             indicates that expanding the supply of temporary
                                                             workers from abroad would not undermine wages
    UNEMPLOYMENT                                             or job prospects of native-born workers. This is
                                                             true at both the high-skilled and lesser-skilled ends
    MYTH: At a time of high                                  of the occupational spectrum.
    unemployment, the U.S. economy
    does not need temporary foreign                          Among the many types of temporary worker visas,
    workers.                                                 the largest category is the “H,” which includes one
                                                             subcategory for highly skilled workers and two
    FACT: Temporary workers from                             for lesser-skilled workers. The H-1B is for highly
    abroad fill specialized needs in                         educated and skilled professionals and is capped
    specific sectors of the U.S. economy.                    by Congress at 65,000 per year with an additional
                                                             20,000 visas available for immigrants with
    Although the unemployment rate for the                   graduate degrees from U.S. universities. The H-2B
    United States as a whole remains relatively high,        program is intended for nonagricultural seasonal,
    the demand for specific kinds of workers in              peak load, or intermittent workers (landscaping,
    particular sectors of the economy remains high           forestry, amusement parks, etc.) and is capped at
    as well. For instance, farm workers, nurses, high-       a maximum of 66,000 per year. And the H-2A
    skilled manufacturing workers, and high-skilled          program is designed for seasonal farm workers.
    technology workers continue to be in short               While this last program is not subject to any
    supply.32 Unemployment for Americans in some             numerical cap, it is too cumbersome to respond to
    of these areas remains remarkably low. For               the often rapid fluctuations in agricultural labor


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demand and is little used. Given that the kinds of     offices or administrative support jobs. They’re also
work covered by the H-2A and H-2B programs             twice as likely as immigrants to work in sales. In
require jobs that are seasonal or temporary in         contrast, low-skilled immigrants are three times
nature, they most clearly demand a temporary           more likely than low-skilled Americans to fill
work force. However, in the case of all three          farming, fishing and forestry jobs.”37
programs, demand fluctuates with the condition
of the U.S. economy—rising when times are good         Moreover, BLS projects that 29.5 percent of job
and falling when they are bad. The caps placed         openings from 2010 to 2020 will not require a
on the H-1B and H-2B programs have proven to           high-school diploma, while an additional 39.7
be grossly inadequate when economic conditions         percent will require no more than a high school
are favorable.35 For example, this year the H-1B       education.38 In other words, there will be too few
cap was met within the first few days of the filing    less-educated native-born workers willing and
period preceding the fiscal year, and for several      able to fill all of the lesser-skilled jobs the U.S.
years the H-1B cap has been met before, or early       economy creates. Lesser-skilled immigrant workers
in, the fiscal year.36                                 will fill this gap.39

Regardless of skill level, where U.S. employers        At the other end of the spectrum, the high-skilled
first test the labor market to locate qualified        recipients of H-1B visas fill available jobs in
and available workers already here, temporary          STEM occupations without “crowding out”
workers from abroad fill gaps in the U.S. labor        or reducing wages for their native-born
force and do not harm the employment prospects         counterparts.40 According to a 2013 report by
of native-born workers. In the case of the H-2A        researchers from The Brookings Institution,
and H-2B programs, the lesser-skilled workers          “evidence suggests that the H-1B program
who obtain these visas find themselves in direct       does help fill a shortage in labor supply for
competition with few native-born Americans. A          the occupations most frequently requested
2013 study by the American Enterprise Institute        by employers. Most of these are for STEM
and ImmigrationWorks USA notes that the rising         occupations.” The report also found that for
educational attainment of native-born workers          “occupations with the most H-1B requests, recent
suggests that few of them are in the market for the    wage growth has been much higher than the
kinds of less-skilled seasonal jobs filled by H-2A     national average.” On average, in the 100 largest
and H-2B visa holders. According to this study, “in    metropolitan areas in the United States, 46 percent
1950, more than half of U.S.-born workers had          of job openings requiring significant STEM
not completed high school. Today the figure is less    knowledge go unfilled for one month or longer.
than 5 percent—compared to nearly one-quarter          In San Jose, California, for example, two-thirds of
of immigrant workers.” In addition, less-skilled       job vacancies that remain unfilled after one month,
immigrant workers tend to work in different fields     despite advertising the positions, are for STEM
than less-skilled native-born workers. The study       occupations. In many other metropolitan areas,
observes that “low-skilled Americans are twice         that share remains close to half.41 Significantly,
as likely as low-skilled immigrants to work in         the American Enterprise Institute has found that


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IMMIGRATION
    MYTHS FACTS


                              AND
    each approved H-1B worker is associated with an           HIGH-TECH WORKERS
    additional 1.83 jobs among native-born
    American workers.42                                       MYTH: There is no shortfall of native-
                                                              born Americans for open positions in
    A 2013 report from Regional Economic Models,              the natural sciences, engineering, and
    Inc. (REMI) explores the outcomes of an                   computer science and thus no need
    expansion of high-skilled (H-1B) and lesser-              for foreign-born high-tech workers.
    skilled (H-2A and H-2B) visas.43 The report
    finds that overall economic effects of the policy         FACTS: Job openings are expanding at
    changes would be positive, increasing gross               educational levels where demographic
    domestic product (GDP) for the entire country             data show too few native-born
    and gross state product (GSP) for each state, as          students, so we can expect these
    well as increasing net new jobs across industries.        shortfalls to persist in the future.
    Specifically, employment and GSP is estimated             Moreover, relative to other economic
    to increase for all states and in all years as a result   indicators, wages are increasing in
    of an H-1B high-skilled program expansion.                STEM jobs requiring higher education.
    Nationwide, this would amount to 1.3 million
    jobs and a GDP increase of more than $158                 Some claim that job creation in STEM fields
    billion by 2045. An increase in H-2A agricultural         cannot properly be viewed as outstripping the
    visas would result in total employment increases of       supply of qualified Americans since higher than
    around 39,600 by 2045. Fully utilizing the H-2B           desirable unemployment persists for American
    seasonal worker visas up to the cap would increase        workers in some STEM occupations, and plenty
    total U.S. employment by around 24,000–25,000             of STEM grads work in non-STEM positions.
    over the next 30 years. The creation of a lesser-         Three critical facts belie this approach. First of all,
    skilled, nonseasonal temporary worker program             this outlook ignores the fact that over 35 percent
    would lead to a total gain of about 365,000 jobs          of STEM jobs are those that require less than a
    by 2045, and a rise in GDP of $31 billion.                Bachelor’s degree, while immigration reform efforts
                                                              target, in particular, the approximately 20 percent
                                                              of STEM jobs that require a Master’s degree or
                                                              higher. Secondly, job growth in positions requiring
                                                              graduate level STEM training is exploding, far
                                                              outpacing the American STEM training pipeline.
                                                              Currently, the number of American students
                                                              pursuing STEM fields is growing at less than
                                                              one percent per year, and by 2018 there will be
                                                              more than 230,000 advanced degree STEM jobs
                                                              that will not be filled even if every new American
                                                              STEM grad finds a job.44 Thirdly, data shows
                                                              that wages are increasing in STEM jobs requiring


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higher education, with wage increases an accepted        duties are best filled by individuals with STEM
indicator that the number of qualified Americans         degrees, more than 40 percent of master’s and
is insufficient to fill jobs being created.              doctoral degrees in STEM fields awarded by U.S.
                                                         universities go the foreign born.48 With respect to
First, in assessing which job openings in STEM           bachelor-level STEM degrees, a notable disparity
areas have sufficient numbers of qualified Americans     is displayed among the native-born as compared
and where there is a shortfall, it is important to       to foreign-born degree holders. About 19 percent
be specific about what types of jobs, requiring          of the native-born pursue bachelor’s degrees in
what type of skills and education, employers are         STEM fields, while about 35 percent of the foreign
having difficulty filling with sufficient numbers        born residing in the United States possess a STEM
of Americans. For example, in the computer               bachelor’s, most often earned abroad.49
science and mathematical occupations, more
than 35 percent of jobs, and some of the                 Lastly, wages reflect the existence of a shortfall
STEM job growth, including many production               with regard to the supply of qualified professionals
manufacturing jobs, is in jobs that require less         to fill STEM jobs requiring higher education.
than a bachelor’s degree. The job distribution in        Engineer wages have risen by seven percent
computer science and mathematical jobs is: 6.9           relative to all other occupations since 2003 and
percent of jobs are filled by workers with high          by three percent since 2008.50 Longer-term trends
school diploma–level skills or less, 18.7 percent        suggest a similar point. For example, from 1999
with skills based on some college, 10.5 percent          to 2011, wages grew by 54 percent for computer
with associate-level skills, 43.8 percent with           and information research scientists, 38 percent for
bachelor-level skills, 17.7 percent with master-level    computer programmers, 40 percent for software
skills, 0.8 percent professional degree–level skills,    applications engineers, 52 percent for systems
and 1.7 percent doctorate-level skills.45                software engineers, 31 percent for computer
                                                         support specialists, and 47 percent for database
Furthermore, the Bureau of Labor Statistics has          administrators.51 Meaningfully, from 1999 to
projected that 22 percent of new job openings            2011, the consumer price index increased by 36
through 2020 will require a master’s degree or           percent while the average wage for computer and
higher.46 At the same time that one-fifth of new         mathematical occupations increased 44 percent.52
jobs will require individuals with graduate degrees,
there are one-quarter more foreign-born graduate
degree holders in the U.S. than native-born. In
order to fill these job openings in our economy,
employers will be faced with a situation where
10.6 percent of the foreign born in the U.S.
age 25 to 34 have earned master’s, professional,
or doctoral degrees, while 8.5 percent of the
native-born population of the same age have the
same credentials.47 Moreover, to the extent job


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IMMIGRATION
     MYTHS FACTS


                              AND
     COMMUNITY IMPACT                                           Furthermore, the five new jobs created for each
                                                                new high-tech job benefits a diverse group of
     MYTH: Immigrants hurt communities                          workers: two new jobs for professional workers
     that are struggling economically.                          such as attorneys and doctors, and three new
                                                                positions in nonprofessional occupations such as
     FACT: Immigrants have economically                         service industry jobs.56 In many U.S. metropolitan
     revitalized many communities                               areas, the innovation economy, and the high-
     throughout the country.                                    skilled jobs related to it, drive prosperity for a
                                                                broader base of workers living in the region.57
     In addition to boosting the national economy and
     strengthening America’s global competitiveness,            Beyond the Silicon Valleys and Research Triangles
     immigrants and immigrant entrepreneurs are                 of the United States, immigrants and immigrant
     important for metropolitan regional economies.53           entrepreneurs are making significant contributions
     This is true not only in San Jose and Silicon Valley,      to local economies and communities across
     but in many regions across the country. In Texas,          America’s heartland. In many places, the need
     San Antonio and Austin have built knowledge                for foreign talent is critical. For decades, large
     economies around the universities and research             numbers of U.S. workers have been migrating
     industries located there. Houston attracts high-           from “Rustbelt” cities to the “Sunbelt.” The cities
     skilled workers for the area’s oil industry. In            and towns experiencing a decline in native-born
     South Carolina, Greenville and Spartanburg have            populations must find ways to maintain a viable
     attracted industries that need high-skilled workers.       workforce. As a result, an increasing number of
     In Boise, Idaho, knowledge-based employment has            local communities are recognizing the need to be
     spurred the local economy and population growth.           receptive to immigrants and are officially becoming
     The universities and research organizations of the         places of welcome that encourage openness to
     North Carolina piedmont, in Raleigh, Greensboro,           immigration and support immigrant integration.
     and the Research Triangle area, create a high
     demand for high-skilled workers.                           In Michigan, for example, while only six percent of
                                                                the state’s population is foreign-born, immigrants
     Long-term research shows that in addition                  founded about one-third of the high-tech
     to bringing more jobs and higher salaries to               companies in the state over the past decade.58 The
     communities where they cluster, the impact of              state, through its “Welcoming Michigan” campaign
     innovative industries has a profound multiplier            of building immigrant-friendly communities,
     effect on localities.54 Jobs in the innovation             clearly sees the need to attract immigrants to the
     economy generate a disproportionate number of              area.59 Detroit also recognizes this need. In 2010,
     local jobs in other industries. An analysis of 11          the city released the “Global Detroit” report, which
     million American workers in 320 metropolitan               documents a start-up rate for immigrant-founded
     areas shows that each new high-tech job in a               high-tech firms in Michigan that is six times the
     metropolitan area creates five additional long-            rate for the native-born population.60
     term local jobs outside of the high-tech sector.55


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Additionally, cities such as Dayton, Ohio61                withheld from billions of dollars in wages earned
have passed “welcoming resolutions”—formal                 by workers whose names and Social Security
proclamations by local elected leaders expressing their    numbers do not match the records of the Social
recognition of the importance of immigration to their      Security Administration (SSA). According to the
local economy, and their openness to the continued         SSA, undocumented immigrants paid $13 billion
contributions of immigrants.62 In Minnesota, local         in payroll taxes into the Social Security Trust Fund
leaders also acknowledge the positive contributions        in 2010 alone.65
of immigrants. As a member of the Minnesota
Chamber of Commerce stated, “Immigrants aren’t             Tax payments by undocumented immigrants and
just an asset because they numerically increase            their families are also sizable at the state and local
the workforce. They are also playing a key role as         levels. The Institute for Taxation and Economic
entrepreneurs in Minnesota and have transformed            Policy (ITEP) estimates that households headed
neighborhoods in both Minneapolis and St. Paul             by undocumented immigrants paid $10.6 billion
while helping revitalize downtowns in several              in state and local taxes in 2010. That included
regional centers around our state.”63                      $1.2 billion in personal income taxes, $1.2 billion
                                                           in property taxes, and $8.1 billion in sales taxes.
                                                           The states receiving the most tax revenue from
                                                           households headed by undocumented immigrants
TAXES                                                      were California ($2.2 billion), Texas ($1.6 billion),
                                                           New York ($744.3 million), Florida ($706.3
MYTH: Undocumented immigrants                              million), and Illinois ($562.1 million).66
do not pay taxes.
                                                           Other studies have yielded similar findings.
FACT: Undocumented immigrants pay                          The Texas State Comptroller estimated that
billions of dollars in taxes each year.                    undocumented immigrants in Texas generate $1.6
                                                           billion per year in state tax revenue.67 In Georgia,
Undocumented immigrants pay sales taxes, just              the annual tax contributions of undocumented
like every other consumer in the United States.            immigrants are estimated at $215.6 million to
Undocumented immigrants also pay property                  $252.5 million.68 In Colorado, undocumented
taxes—even if they rent housing. More than half            immigrants pay between $159 million and $194
of undocumented immigrants have federal and                million.69 In Oregon, they pay between $134
state income, Social Security, and Medicare taxes          million and $187 million—plus, employers in
automatically deducted from their paychecks.               Oregon pay between $97 million and $136 million
However, undocumented immigrants working “on               in taxes on behalf of undocumented workers.70 In
the books” are not eligible for any of the federal or      Iowa, undocumented immigrants pay $40 million
state benefits that their tax dollars help to fund.64      to $62 million—and their employers contribute
As a result, undocumented immigrants provide an            $50 million to $77.8 million on their behalf.71
enormous subsidy to the Social Security system
in particular. Each year, Social Security taxes are        The tax payments of now-undocumented


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IMMIGRATION
     MYTHS FACTS


                              AND
     immigrants would be significantly greater if             state’s immigrants generate $2.4 billion in tax
     they had legal status. According to ITEP, if             revenue per year, which more than offsets the
     undocumented immigrants were allowed to work             $1.4 billion worth of educational, healthcare, and
     legally in the United States, they would pay $12.7       law enforcement resources they utilize.75 A study
     billion in state and local taxes—an increase of $2.1     in Florida estimated that, on a per capita basis,
     billion over what they pay now. This would amount        immigrants in the state pay nearly $1,500 more in
     to $2.8 billion in income taxes (an increase of $1.6     taxes than they receive in public benefits.76
     billion), $1.3 billion in property taxes (an increase
     of $76.1 million), and $8.5 billion in sales taxes (an   Nonetheless, some studies have sought to
     increase of $420.5 million).72                           demonstrate that households headed by
                                                              immigrants make costly use of public-benefits
                                                              programs. Invariably, most of the “costs”
                                                              calculated by such studies are for programs
     WELFARE                                                  utilized by the native-born, U.S.-citizen children
                                                              of immigrants. These children are counted as a
     MYTH: Immigrants come to the                             “cost” of immigration if they are under 18, but
     United States for welfare benefits.                      as part of the native-born population if they
                                                              are working, taxpaying adults. Yet all people are
     FACT: Undocumented immigrants are                        “costly” as children who are still in school and
     not eligible for federal public benefit                  have not yet entered the workforce. Economists
     programs, and even legal immigrants                      view expenditures on healthcare and education for
     face stringent eligibility restrictions.                 children as investments that pay off later, when
                                                              those children become workers and taxpayers.
     Undocumented immigrants are not eligible for             Healthy, well-educated children are more
     federal public benefits such as Social Security,         productive, earn higher wages, and pay more
     Supplemental Security Income, Temporary                  in taxes as adults.77
     Assistance for Needy Families, Medicaid,
     Medicare, and food stamps. Even most legal
     immigrants cannot receive these benefits until they
     have been in the United States for five years or
     longer, regardless of how much they have worked
     or paid in taxes.73 Given these restrictions, it is
     not surprising that U.S. citizens are more likely to
     receive public benefits than are noncitizens.74

     A number of state studies have demonstrated that,
     on average, immigrants pay more in taxes than
     they receive in government services and benefits.
     For instance, a study in Arizona found that the


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INTEGRATION                                              the “low-income” level rose from 35 percent to 66
                                                         percent. The share who were U.S. citizens grew
MYTH: Today’s immigrants are not                         from seven percent to 56 percent.79
assimilating into U.S. society.
                                                         Likewise, data from the Office of Immigration
FACT: Today’s immigrants are buying                      Statistics at the Department of Homeland Security
homes, becoming U.S. citizens, and                       (DHS) reveal that the number of immigrants
learning English.                                        applying for U.S. citizenship has been growing
                                                         for decades. A DHS report found that the average
Throughout U.S. history, each new wave of                number of immigrants naturalizing each year
immigrants has been accused of not “assimilating”        increased from fewer than 120,000 during the
into U.S. society. The Italian, Polish, and Eastern      1950s and 1960s, to 210,000 during the 1980s,
European immigrants who came here at the end             500,000 during the 1990s, and 680,000 between
of the nineteenth century faced this accusation,         2000 and 2009. The number of naturalizations
and subsequently proved it wrong as they and their       grew from 619,913 in 2010, to 694,193 in 2011,
children learned English, bought homes, got better       to 757,434 in 2012.80 Moreover, immigrants today
jobs, became U.S. citizens, and integrated into          are naturalizing at a faster rate than in the past.81
their communities in many other ways. The Latin          According to a 2008 DHS report, “approximately
American and Asian immigrants who have come here         one third of immigrants who obtained LPR [legal
more recently now face the same accusation. As with      permanent resident] status from the mid-1970s
their predecessors, they are proving that accusation     through the mid-1980s naturalized within 10
to be false and are integrating into U.S. society and    years, whereas nearly half the immigrants who
climbing the socioeconomic ladder over time.78           obtained status in the mid-to-late-1990s did so.”82

A study by demographer Dowell Myers                      The economic and social integration of
demonstrates the integration and socioeconomic           immigrants is an ongoing process that will
progress of immigrants over the course of two            continue over the decades to come. In a 2011
decades. Myers focuses on those immigrants who           report, Myers concludes that the share of
came to the United States between 1985 and               immigrants who own homes is projected to
1989. He uses census data to take a socioeconomic        increase from 25.5 percent in 2000 to 72 percent
snapshot of these long-term immigrants in 1990           in 2030. The share that speak English “well” or
and again in 2008—after they had lived in the            “very well” is projected to grow from 57.5 percent
United States for 18 years. The data indicate that,      to 70.3 percent over the same period. And the
since coming here, a growing number of long-             share living in poverty is projected to decrease from
term immigrants have bought homes, earned                22.8 percent to 13.4 percent.83 In other words,
higher wages, and become U.S. citizens. Between          immigrants are not settling into “ethnic enclaves”
1990 and 2008, the share of these immigrants             that exist apart from mainstream America. Rather,
who owned homes jumped from 16 percent to                they are becoming progressively more “American”
62 percent. The share who earned incomes above           in every sense of the word.


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IMMIGRATION
     MYTHS FACTS


                             AND
     Integration and upward mobility are most              rate declined 45 percent and the property crime
     apparent among the children of immigrants.            rate fell 42 percent.88 Likewise, a report from
     For instance, according to surveys by the Pew         the conservative Americas Majority Foundation
     Research Center, “adults in the second generation     found that crime rates are lowest in states with the
     are doing better than those in the first generation   highest immigration growth rates. In 2006, the 10
     in median household income ($58,000 versus            states with the most pronounced, recent increases
     $46,000); college degrees (36 percent versus 29       in immigration had the lowest rates of crime in
     percent); and homeownership (64 percent versus        general and violent crime in particular.89
     51 percent). They are less likely to be in poverty
     (11 percent versus 18 percent) and less likely to     Moreover, immigrants are much less likely to be
     have not finished high school (10 percent versus 28   behind bars than native-born Americans. A study
     percent).”84 A study by economist James P. Smith      by sociologist Rubén Rumbaut found that, among
     found that the wages and educational attainment of    young men, incarceration rates are lowest for
     Latino men increase significantly from generation     immigrants. This holds true regardless of ethnicity
     to generation, with wages increasing 15 percent       or educational attainment, even for Mexicans,
     from the first generation and in between the second   Salvadorans, and Guatemalans who comprise a
     and third generations, an additional 5.6 percent.85   majority of the undocumented population. In
                                                           2000, the incarceration rate for young immigrant
                                                           men was only 0.7 percent—five times lower than
                                                           the 3.5 percent incarceration rate among young
     CRIME                                                 native-born men.90 A study by the Public Policy
                                                           Institute of California yielded similar results. The
     MYTH: Immigrants are more likely                      study found that, in 2005, the incarceration rate
     to commit crimes than native-born                     for foreign-born adults in California was 297
     Americans.                                            per 100,000—compared to 813 per 100,000 for
                                                           native-born adults. Moreover, immigrants made
     FACT: Immigration does not cause                      up 35 percent of California’s adult population, but
     crime rates to rise, and immigrants                   only 17 percent of the state prison population.91
     are actually less likely to commit
     crimes or be behind bars than                         Similarly, economists Kristin Butcher and Anne
     native-born Americans.                                Morrison Piehl used data from the 1980, 1990, and
                                                           2000 censuses to demonstrate that, during the 1990s,
     High levels of immigration are not associated         “those immigrants who chose to come to the United
     with more crime. Between 1990 and 2010,               States were less likely to be involved in criminal
     the foreign-born share of the U.S. population         activity than earlier immigrants and the native born.”
     grew from 7.9 percent to 12.9 percent86 and the       The analysis by Butcher and Piehl established that
     number of unauthorized immigrants tripled from        the lower incarceration rate for immigrants could
     3.5 million to 11.2 million.87 During the same        not be explained away with the argument that there
     period, FBI data indicates that the violent crime     are fewer immigrants in prison because so many of


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them are deported. Nor could it be dismissed on the    already living in the country, with the creation of
grounds that harsher immigration laws are deterring    flexible avenues for future immigration (through
immigrants from committing crimes because they are     temporary worker programs), and mandatory
afraid of getting deported.92                          employment verification, would enhance border
                                                       security and reduce illegal immigration.
These studies are only the most recent in a very
long line of research demonstrating that immigrants    Broad immigration reform in the 113th Congress
are less likely than native-born Americans to          would enhance border security in multiple ways.
commit crimes or to be incarcerated.93                 To begin with, reform would reduce the flow
                                                       of undocumented immigrants by providing a
                                                       mechanism for them to legally come and work
                                                       in the United States by creating more flexible
BORDER SECURITY                                        legal limits on employment-based immigration.
                                                       Workers admitted under employment-based
MYTH: Reforming the legal                              visa programs would be screened against law
immigration system will not                            enforcement databases prior to entering the
help secure the border.                                country. Paired with a workable employment
                                                       verification system, once their visas expire, these
FACT: Immigration reform is an                         new temporary workers would be unable to work
integral part of any effective                         in the United States.
border security strategy.
                                                       Further, an earned lawful status program for the
Since 1986, after passage of the Immigration           undocumented would also have a comparable impact
Reform and Control Act, the federal government         on national security as the undocumented come out
has spent an estimated $186.8 billion on               of the shadows, register with the federal government,
immigration enforcement.94 Yet during that time,       and undergo background checks. Additionally, an
the unauthorized population has tripled in size to     earned lawful status program for the undocumented
11 million.95 This did not occur because $186.6        would reduce the lucrative fraudulent document and
billion was not enough to get the job done. It         smuggling industry that currently persists as well as
occurred because this money was spent trying to        “shrink the haystack,” allowing law enforcement to
enforce immigration laws that have consistently        concentrate on removing individuals with criminal
failed to match either the U.S. economy’s demand       backgrounds rather than those entering the country
for workers or the natural desire of immigrants        legitimately to work.96
to be reunited with their families. Therefore,
enforcement coupled with commonsense reforms
to our legal immigration system is one of the
most effective ways to enhance national security.
Immigration reform that includes a pathway
to legal status for undocumented immigrants


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    E P I B R I E F I N G PA P E R
                Economic Policy Institute                                  ●   F ebr u ar y 4 , 2 0 1 0           ●   B riefing P aper # 2 5 5




          Immigration and Wages
              Methodological advancements confirm
                modest gains for native workers
                                                                B y H e i d i Sh i e r h o l z




Executive summary
In the ongoing debate on immigration, there is broad agreement among academic economists that it has a small but
positive impact on the wages of native-born workers overall: although new immigrant workers add to the labor supply,
they also consume goods and services, which creates more jobs.
     The real debate among researchers is whether a large influx of a specific type of worker (say, workers with a par-
ticular level of education or training) has the potential to have a negative impact on the wages of existing workers of that
same type. Some research argues that immigrant competition is quite costly to certain groups of native-born U.S. work-
ers, while other research finds that native workers—even those who have levels of education and experience similar to
new immigrants—may actually reap modest benefits from immigration.
     We begin this paper with a review of the scholarly
literature on immigration’s effect on wages, focusing on
                                                                               Ta b l e o f Co n t e n t s
recent methodological advancements. We then use Cur-
                                                                     Executive summary..............................................................................1
rent Population Survey (CPS) data from 1994 to 2007 to               Introduction............................................................................................2
conduct our own empirical analysis of immigration’s ef-              Basic trends in immigration and wages ...................................4
fect on wages over this period, incorporating these recent           A brief look at the recent advancements in
                                                                         the research ....................................................................................9
methodological advancements. Our analysis finds little               Estimates of the effect of immigration on wages.............. 11
evidence that immigration negatively impacts native-born             Conclusion............................................................................................. 22
workers.                                                             Appendix A: Data............................................................................... 24
                                                                     Appendix B: Methodology............................................................ 25
     A key result from this work is that the estimated effect
                                                                     Appendix C............................................................................................ 27
of immigration from 1994 to 2007 was to raise the wages
of U.S.-born workers, relative to foreign-born workers, by
                                                                                                     www.epi.org
0.4% (or $3.68 per week), and to lower the wages of foreign-
born workers, relative to U.S.-born workers, by 4.6% (or

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$33.11 per week). In other words, any negative effects                  tion flows respond strongly to the conditions of
of new immigration over this period were felt largely by                the U.S. economy.
the workers who are the most substitutable for new
                                                                    •   An analysis of the four states with the highest immi-
immigrants—that is, earlier immigrants.
                                                                        gration over this period—California, Florida, New
Additional key results from this analysis:                              York, and Texas—revealed some interesting departures
                                                                        from the national average. In these states, like at the
•     For workers with less than a high school education,               national level, the overall relative effect of immigra-
      the relative wage effect of immigration was similar               tion was positive on native workers. However, some
      to the overall effect. U.S.-born workers with less                subgroups in these states fared worse—particularly
      than a high school education saw a relative 0.3%                  male workers with less than a high school degree.
      increase in wages (or $1.58 per week), while foreign-
      born workers with less than a high school education
                                                                    Introduction
      saw a relative 3.7% decrease in wages (or $15.71 per
                                                                    In the ongoing debate over immigration policy in the
      week). In other words, immigration among workers with
                                                                    United States, the impact of immigrants on the wages
      less than a high school degree served to lower the relative
                                                                    of native-born workers has been a central point of dis-
      wages of other immigrant workers with less than a high
                                                                    agreement. There is broad agreement among academic
      school degree, not native workers with less than a high
                                                                    economists on one point: that immigration has a small
      school degree.
                                                                    but positive impact on the wages of native-born work-
•     The wages of male U.S.-born workers with less than            ers overall. Although new immigrant workers add to
      a high school education were largely unaffected by            the labor supply, they also consume goods and services,
      immigration over this period, experiencing a relative         creating more jobs. In other words, as the labor force ex-
      decline of 0.2% due to immigration (or $1.37 per              pands (as it is always doing, due to both native popula-
      week). Female U.S.-born workers with less than a              tion growth and immigration), the economy adjusts and
      high school education experienced a relative increase         expands with it, and average wages are not hurt.
      in wages of 1.1% due to immigration ($4.19 per week).              The actual heart of the debate is whether a large influx
                                                                    of a specific type of worker (say, workers with a partic-
•     Around 3% of the increase from 1994 to 2007 in
                                                                    ular level of education or training) has the potential to
      wage inequality between workers with less than a high
                                                                    have a negative impact on the wages of existing workers
      school degree and workers with a college degree or
                                                                    of that type. Some parties in the debate argue that im-
      more can be attributed to immigration.
                                                                    migrant competition is quite costly to some native-born
•     This analysis finds no evidence that young workers in         U.S. workers, particularly workers with low levels of edu-
      particular are adversely affected by immigration.             cation, among whom immigrant inflows have been rela-
                                                                    tively high. Others argue that a simple supply/demand
•     While the methodology used in this paper does not
                                                                    framework may lead to that conclusion, the real world is
      allow for a racial breakdown of the effect of immi-
                                                                    more complicated. In fact, native workers who have simi-
      gration on U.S.-born workers in different education
                                                                    lar levels of education and experience to new immigrants
      groups, we find that the overall effect of immigration
                                                                    may even reap modest benefits from immigration.
      on wages is similar for white non-Hispanic U.S.-born
                                                                         This more-nuanced research has gained sway in recent
      workers (+0.5%) and black non-Hispanic U.S.-born
                                                                    years. It argues that it is not simply the increased supply
      workers (+0.4%) .
                                                                    of one group of workers that determines outcomes for
•     From 1994 to 2007, the effect of immigration on               another group. Were that so, then there would be little
      wages did not vary greatly over periods of very               to argue about: a disproportionate increase in the supply
      different labor demand, in part, because immigra-             of foreign-born workers of a certain type would lower


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the wages of native-born workers who are also of that             of large negative impacts, though we acknowledge that
type. Instead, the characteristics of the added workers,          this may be masking very different outcomes in certain
and the specific role they play in the economy, make a            localities, industries, and occupations.
big difference.                                                        The methodology used in this analysis is explained in
     In the language of economics, it matters a great deal        detail below. Note that we do not estimate the absolute
whether immigrant workers are substitutes for or comple-          effect of immigration on wages—instead, throughout this
ments to native-born workers. The terms refer to how              paper, we estimate the effect of immigration on the wages
employers use workers in the production of their goods            of subgroups of workers relative to other subgroups. A
and services. If native workers are indistinguishable in          key result from this work is that the estimated effect of
this process from immigrants—if they are substitutes—             immigration from 1994 to 2007 was to raise the wages
it follows that a large influx of immigrant labor may hurt        of U.S.-born workers, relative to foreign-born workers,
natives’ earnings prospects. But if natives and immigrants        by 0.4% (or $3.68 per week), and to lower the wages of
fulfill different roles in the production process, then they      foreign-born workers, relative to U.S.-born workers, by
may play complementary roles, and it is less likely that          4.6% (or $33.11 per week). In other words, any negative
the supply shock in one group will hurt the other group,          effects of new immigration over this period were felt largely
and it may in fact help them.                                     by those workers who are the most substitutable for new
     The economic literature, as described below, finds           immigrants—earlier immigrants.
evidence to support both of these scenarios, and is thus
somewhat ambiguous. This analysis, which uses Current             Additional key results from this analysis:
Population Survey (CPS) data from 1994 to 2007 and
                                                                  •   For workers with less than a high school education,
incorporates recent advancements in the methodology
                                                                      the relative wage effect was similar to the overall effect.
used to estimate the effect of immigration on relative
                                                                      U.S.-born workers with less than a high school edu-
wages, finds little evidence of negative impacts on sub-
                                                                      cation saw a relative 0.3% increase in wages, which
groups of workers.
                                                                      translates into an increase in weekly wages of $1.58
     Note that we are only able to look at the effect
                                                                      for this group, while foreign-born workers with less
on native wages of increases in foreign-born workers.
                                                                      than a high school education saw a relative 3.7%
Foreign-born workers may be naturalized U.S. citizens,
                                                                      decrease in wages, or $15.71 per week. In other words,
permanent residents, temporary visa-holders, refugees,
                                                                      the surge in immigration among workers with less than
or undocumented workers. While naturalized U.S. citizens
                                                                      a high school degree served to lower the relative wages
are identified in the CPS, if a foreign-born worker is
                                                                      of other immigrant workers with less than a high school
not a citizen, it is impossible to determine whether he
                                                                      degree, but not native workers with less than a high
or she is a permanent resident, temporary visa-holder,
                                                                      school degree. This story is retold in each education
refugee, or undocumented worker. This unfortunately
                                                                      category—U.S.-born workers see small positive rela-
limits the policy relevance of the research presented
                                                                      tive wage effects and foreign-born workers see sizeable
here, since we are unable to determine the effect of various
                                                                      negative relative wage effects.
subgroups of foreign-born workers on native labor
market outcomes. We cannot, for example, answer the               •   The wages of male U.S.-born workers with less than a
question of whether the H1B temporary visa program is                 high school education were largely unaffected by immi-
suppressing the wages of high tech workers, or whether                gration over this period, experiencing a relative decline
undocumented farm workers are suppressing wages in                    of 0.2% due to immigration, or $1.37 per week. Female
agriculture. What we estimate is the effect of increases              U.S.-born workers with less than a high school educa-
in the foreign-born labor supply on the relative wages                tion experienced a relative increase in wages of 1.1% due
of native-born workers overall and by education level,                to immigration, or $4.19 per week.
gender, and age. In this analysis, we find little evidence

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•     Around 3% of the increase from 1994 to 2007 in                  which was 0.4%. However, some subgroups in these
      wage inequality between workers with less than a high           high immigrant states fared worse—particularly male
      school degree and workers with a college degree or              workers with less than a high school degree. Research
      more can be attributed to immigration.                          by Jeffrey Passel and D’Vera Cohn at the Pew Research
                                                                      Center (Passel et al. 2009) could perhaps shed some
•     This analysis finds no evidence that young workers in
                                                                      light on this finding. In particular, their work shows
      particular are adversely affected by immigration.
                                                                      that unauthorized immigrants make up a particularly
•     While the methodology used in this paper does not               large portion of the workforce in these four states
      allow for a racial breakdown of the effect of immi-             relative to other states. Since, as shown in their work,
      gration on U.S.-born workers in different education             unauthorized immigrants are more likely than other
      groups, we find that the overall effect of immigration          workers to be male and also more likely than other
      on wages is similar for white non-Hispanic U.S.-born            workers to be without a high school degree, a larger
      workers (+0.5%) and black non-Hispanic U.S.-born                inflow of unauthorized immigrant workers, who are
      workers (+0.4%).                                                easily exploited by employers, may put downward
•     Immigration flows respond to the conditions of the              pressure on the wages of similar native workers in
      U.S. economy. From 1994 to 2000, when labor                     these states, a pressure that is largely masked in esti-
      demand was very high and job growth averaged 2.5%               mates at the national level.
      per year, 941,000 immigrant workers entered the
      United States annually. From 2000 to 2003, when             Basic trends in
      labor demand was weak and employment declined               immigration and wages
      0.5% per year, immigration flows plummeted to               Figure A shows the share of the U.S. population between
      342,000 new immigrants per year. From 1994-2000,            1900 and 2007 that is foreign-born. In 1910, the peak
      a period of high labor demand and high immigra-             immigrant share of the last century, immigrants made up
      tion, immigration increased the relative wages of           14.7% of the U.S. population. The immigrant share
      U.S.-born workers without a high school degree              declined dramatically, to 4.7%, over the six decades from
      by 0.02% annually. From 2000-03, a period of                1910 to 1970. In the last 40 years, however, immigration
      low labor demand and low immigration, immigra-              has been on a steady upward climb—by 2007, 12.6% of
      tion decreased the relative wages of U.S.-born workers      the population was foreign born.
      without a high school degree by 0.04% annually. The              As immigrant flows have surged in the last few
      fact that the relative effect of immigration on wages       decades, interest in the effect of immigration on the labor
      does not vary greatly over periods of dramatically          market outcomes of native workers has, unsurprisingly,
      different labor demand offers some limited evidence         increased dramatically.
      that the immigrant-flow response to labor demand in              This section focuses on the 14-year period from
      the United States helps to smooth the effects of immi-      1993 to 2007. The data used are from the Current
      gration on native wages across periods of strength and
                                                                  Population Survey (CPS), which started tracking immi-
      weakness in the U.S. labor market.
                                                                  gration status in 1994. (Because respondents are asked
•     An analysis of the four states with the highest immi-       information about the previous year, data since 1993
      gration over this period—California, Florida, New           are available. A full description of the data used is given
      York, and Texas—revealed some interesting depar-            in Appendix A.)
      tures from the national average. In these states, the            Figure B shows the immigrant share of total hours
      overall relative effect of immigration was positive         worked each year. In 1993, immigrants contributed 9.9%
      on native workers, around 0.7%, which was higher            of total hours worked in this country; by 2007, immi-
      than the overall effect on native workers nationally,       grants were contributing 15.8%. This increase was driven


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                                                                       Figure a

                   Foreign-born population as a share of total U.S. population, 1900 to 2007
        16%

        14%                                                                                                     2007: 12.6%

        12%

        10%

         8%

         6%

         4%

         2%

         0%
           1900            1910           1920       1930       1940     1950        1960        1970        1980        1990        2000
    Source: 900-90 data from Bureau of the Census “We the American...Foreign Born”; 1995-2004 data from Bureau of the Census Foreign Born
            Population Annual Data Tables; 2005-07 data from American Community Survey Tables.



                                                                       Figure B

                            Immigrant share of total hours worked each year, 1993 to 2007
        20%




        15%

                       1993: 9.9%
                                                                                                                           2007: 15.8%

        10%




         5%




         0%
                  1993 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007
    Source: EPI analysis of CPS data.



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                                                                Figure c

                     Immigrant share of total annual hours worked by gender, 1993 to 2007
         20%
                                                                                                          2007: 17.3%
         18%

         16%                                                    Male

         14%
                       1993: 10.7%
         12%                                                                                                2007: 13.8%
         10%
                                                                        female

           8%
                        1993: 8.9%
           6%

           4%

           2%

           0%
                   1993 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007
    Source: EPI analysis of CPS data.



by the addition of 9.6 million foreign-born workers over               shows the immigrant share of total hours worked among
this period.                                                           workers with less than a high school degree, a high school
                                                                       degree but no additional schooling, some college training
Gender                                                                 but no college degree, and a college degree or more. Im-
There have been increases in both female and male                      migrants make up a much larger and faster-growing share
immigration: from 1993 to 2007, 3.8 million female                     of the less-than-high-school category in comparison to
immigrant workers and 5.8 million male immigrant                       other education categories. The immigrant share among
workers were added to the U.S. workforce. Figure C                     workers with less than a high school degree rose from
shows the immigrant share of total hours worked among                  28.4% in 1993 to 47.5% in 2007, while the immigrant
men and women separately. Immigrants make up a some-                   share among workers with a college degree or more rose
what larger share of the male workforce, and the difference            from 9.9% to 14.8% from 1993 to 2007.
had been growing up to 2004. Since then, the difference                     It is important to note that because workers with
has narrowed slightly. By 2007, immigrants made up                     less than a high school degree make up a small (and
13.8% of the labor supply among women and 17.3% of                     shrinking) portion of the labor force (9.9% in 2007),
the labor supply among men.                                            high immigrant shares in this category do not actually
                                                                       represent a disproportionate number of new immigrants
Education levels                                                       relative to other categories. And similarly, since workers
The inflow of immigrants has been unequal across detailed              with a college degree make up a relatively large (and growing)
education categories, a fact of key importance in the debate           portion of the labor force (32.8% in 2007), low immigrant
on the labor market effects of immigration. Figure D                   shares in this category represent a surprisingly large number


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                                                                         Figure d


            Immigrant share of total annual hours worked by level of education, 1993 to 2007
        50%

        45%
                                                                                                                              2007: 47.5%
        40%                                   less than high school

        35%

        30%

        25%

        20%                                                                                                              2007: 14.8%
                                     College
        15%                                                     High school

                                                                                                                       2007: 14%
        10%

          5%
                                                                                     some college                         2007: 9.3%
          0%
                  1993 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007
    Source: EPI analysis of CPS data.



of new immigrants. From 1993 to 2007, there was an in-                            hours worked by immigrants relative to the total hours
crease of 2.2 million immigrants with less than a high school                     worked by immigrants and natives in 1993). Immigration
degree, an increase of 2.5 million with exactly a high school                     led to a 21.2% increase in total labor supply among workers
degree, an increase of 1.4 million with some college training,                    with less than a high school degree, an 11.9% increase
and an increase of 3.5 million with a college degree.                             among those with a college degree, and much smaller per-
     Table 1 gives, by education category, the percentage                         centage increases among workers with education levels in
increase from 1993 to 2007 in hours worked that was due                           between. That is, immigration patterns into the United
to new immigrants (or the increase from 1993 to 2007 in                           States are marked by high immigration at very low levels


                                                                         TA B L E 1

          Percentage increase in hours worked due to immigration by education, 1993 to 2007
                                                       Increase in hours worked                               Increase in hours worked
                                                          due to immigration                                     due to immigraion
              Less than high school                              21.2%
                                                                                       High school or less             10.2%
              High school                                         6.9
              Some college                                        4.6
                                                                                      More than high school             8.3
              College                                            11.9


    Source: EPI analysis of CPS data.



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                                                                   Figure e


               Average real weekly wages of native workers by level of education, 1993-2007
      $1,600


      $1,400                                                                   College


      $1,200


      $1,000
                                                          some college

         $800
                                                                         High school

         $600
                                                                less than high school

         $400
                   1993 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007
    Source: EPI analysis of CPS data.



of education, high immigration at very high levels of edu-                degree saw much greater gains over this period than any
cation, and much less immigration between those poles.                    other group—in 1993, the average college-educated worker
     The right half of Table 1 shows a further aggregation                made 2.5 times what a worker without a high school
by education. When breaking workers into just two edu-                    degree made, but by 2007, the ratio had risen to 2.9.
cation categories, high school or less and more than high                 One question addressed in this paper is how much of this
school, we see that immigration has been quite balanced                   increased inequality can be attributed to immigration.
over these two categories over the last 15 years, with “high                   Figure F shows average weekly wages for native workers
school or less” seeing an increase in labor supply of 10.2%               over time by gender for just two education groups, workers
due to immigration, and “more than high school” seeing                    with less than a high school education and workers with a
an increase of 8.3%. Perhaps surprisingly, immigration                    college degree or more. In both education categories over
over the last 15 years has been roughly the same among                    this period, the female average weekly wage is roughly
“low schooling” and “high schooling” workers.                             two-thirds of the male average weekly wage. Inequality
     Figure E shows the average real (inflation-adjusted)                 has increased among both men and women—in 1993, the
weekly wage from 1993 to 2007 by education category.                      average college-educated female made 2.6 times what a
Native-born workers with less than a high school degree                   female worker without a high school degree made, and
made an average of $456 per week in 1993, and that in-                    the ratio was 2.5 among men. By 2007, the ratio had risen
creased by less than 8% to $489 per week in 2007. Workers                 to 3.0 for both. The methodology used later in this
with a college degree or more made an average of $1,129                   paper will allow us to examine the effects of immigration
per week in 1993, and that increased by nearly 25%                        on wages by gender, including its impact on inequality
to $1,404 per week in 2007. Workers with a college                        among both men and women.

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                                                                 Figure f

                                             Average weekly wages for native workers:
                                         gender and education level comparison, 1993-2007

       $1,800

       $1,600                                                               College, Male

       $1,400

       $1,200                                           College, female

       $1,000

         $800                                                       less than high school, Male

         $600

         $400
                           less than high school, female

         $200
                    1993 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007
    Source: EPI analysis of CPS data.



A brief look at the recent                                                approach compares the wages of native workers in U.S.
advancements in the research                                              metropolitan areas with small immigrant inflows to the
There is currently no consensus in the economic literature                wages of native workers in U.S. metropolitan areas with
on the effect of immigration on the labor market out-                     large immigrant inflows. Research using this approach
comes of various groups of native workers. In fact, there                 (see, for example, Card (2001) and Card (2007)) generally
is considerable disagreement among reputable research-                    finds very modest, and sometimes modestly positive,
ers. Raphael et al. (2007) provide a very readable review                 effects of immigration on the wages of native workers,
of the literature on the effects of immigration on native                 including workers with low levels of education.
labor market outcomes, and a more detailed review of the                       The second main approach in this literature is the
literature pertaining to the two advancements in the lit-                 “national approach.” Scholars using this approach often
erature discussed below can be found in Ottaviano and                     contend that it is impossible to suitably account for the
Peri (2008).                                                              fact that there may be movement of capital and native-
                                                                          born labor between metropolitan areas in response to
Area vs. national                                                         immigration, and that this means that an analysis of the
Broadly speaking, there have been two main methodological                 effect of immigration on native wages must use national-
strategies for studying the effect of immigration on the                  level data. This approach is dominated by the work of
wages of native workers. The “area approach,” dominated                   George Borjas, and tends to use a production function
by the work of David Card, exploits the fact that there are               framework that combines workers of different skills,
large differences across regions of the United States in the              estimates the degree of substitutability between workers
relative size of the immigrant population. Essentially, this              of different skills using national data, and simulates the

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impact on wages of relative labor supply shifts due               labor supply of one type can cause a reduction in wages
to immigration. Historically, research using this approach        not just in that type but also in the type that they are sub-
(see, for example, Borjas, Freeman, and Katz (1997) and           stitutes for. On the other hand, if two types of workers are
Borjas (2003)) found relatively large negative effects of         not good substitutes, then an increase in the labor supply
immigration on the wages of native workers, especially            of one type will likely not cause a reduction in wages of
those with low levels of education.                               the other. In fact, it may increase the wages of the other if
                                                                  the two types of workers are complements in some way so
Two advancements in                                               that as the supply of one type increases, the demand for
the national approach                                             the other type increases as well (for example, an increase
Until recently, that is where the main divide in the litera-      in the supply of taxi drivers may cause an increase in
ture stood, with researchers using the “area approach”            demand for dispatchers, and therefore bid up the wages
finding no or little effect of immigration on the wages           of dispatchers).
of native workers, including workers with low levels of                Immigrant/native substitutability. The first recent
education, and with those researchers using the “national         advancement in the immigration and wages literature
approach” finding a relatively large negative effect, espe-       has been the identification of a small but detectable level
cially on workers with low levels of education. However,          of imperfect substitution between immigrant and native
in the last couple of years there have been two important         workers who have the same levels of education and ex-
advancements in the literature on immigration and wages           perience (see, for example, Ottaviano and Peri (2008),
that help shed light on the differences in results between        Card (2009), Manacorda et al. (2005) and D’Amuri et al.
these two approaches. Both are somewhat complicated to            (2008)). In other words, immigrant and native workers
derive but are extremely intuitive conceptually. This paper       with the same levels of education and experience are not
provides the intuition; see Ottaviano and Peri (2008) for         perfectly substitutable. This may arise, for example, among
a more detailed explanation.                                      workers with low levels of education if native workers are
     Both advancements have to do with what economists            more likely to be concentrated in jobs that require strong
refer to as “elasticities of substitution.” In a labor market     English skills and immigrant workers are more likely to
context, essentially what an elasticity of substitution mea-      be more concentrated in jobs that do not (for example,
sures is how substitutable one type of labor is for another.      waitstaff versus line cooks). Previous national approach
For example, consider a firm that hires graphic designers.        estimates of the effect of immigration on wages have
To the employer, left-handed designers may be perfectly           assumed that immigrants and natives of similar education
substitutable for right-handed designers, meaning that the        and experience levels are perfectly substitutable. Correctly
elasticity of substitution between left-handed and right-         characterizing the elasticity of substitution between immi-
handed designers is very large or infinite. Conversely, a         grants and natives is of enormous importance, because, as
graphic designer who does not know the graphic design             explained above, if natives and immigrants are perfectly
software the firm uses is likely not very substitutable for       substitutable, an increase in immigration in a particular
one who does, so that the elasticity of substitution between      education/experience class will tend to reduce the wages
these two types of workers is small. In other words, the          in the entire education/experience class, including native
more substitutable two types of workers are, the higher           workers in that class. However if, as has been shown to
the elasticity of substitution between them.                      be the case, immigrants and natives within the same edu-
     Elasticities of substitution have enormous importance        cation/experience class are imperfect substitutes, then an
in estimates of changes in labor supply on wages (which           increase in immigration in a particular class will have a
include estimates of the effect of increased immigrant            strong adverse effect on the wages of earlier immigrants in
labor supply on native wages). If two types of workers are        that class—since they are direct substitutes, or com-
very substitutable for one another—if the elasticity of sub-      petitors—but have a smaller effect on the native workers
stitution between them is high—then an increase in the            in that class.

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     Substitutability by educational attainment. The sec-         workers without a high school degree affects only workers
ond recent advancement has been the application to the            without a high school degree, which is a very small por-
immigration and wages literature of something that was            tion of the labor force (9.9% in 2007), so that essentially
already accepted as fact in the rest of the labor economics       the entire impact of “less-than-high-school” immigra-
literature: that the elasticity of substitution is not constant   tion is assumed to be felt by the relatively small number of
across education categories. To understand the intuition          “less-than-high-school” workers. If, on the other hand,
behind this, consider a broad grouping of workers by edu-         we recognize that workers without a high school degree
cation level: workers with a high school education or less        are relatively substitutable for workers with a high school
and workers with more than a high school education. The           degree, then the impact of “less-than-high-school” immi-
labor economics literature has long established (see, for ex-     gration is more diffused across the much larger share
ample, Katz and Murphy (1992)) that these two groups              of the workforce that has a high school degree or less
are not good substitutes for each other—workers with a            (38.7% in 2007), greatly reducing the impact on the
high school degree or less tend to do different jobs than         least-educated American workers.
workers with more than a high school degree.                           These new innovations in the national approach
     Now consider a subgrouping of the high school or             literature essentially solve the earlier divide between the
less category into two additional groups—workers with             national approach and the area approach. When the key
no high school degree and workers with exactly a high             elasticities of substitution are correctly accounted for in
school degree. There is a much greater degree of substi-          the national approach methodology, the results using
tutability between these two types of workers. Workers            that approach come in line with the results from the
with less than a high school degree are more likely to do         area approach, namely that the effects of immigration on
similar jobs as those with exactly a high school degree.          native workers is modest, including the effect on native
These comparisons suggest that the elasticity of substitu-        workers with low levels of education.
tion between two education categories varies depending
on which two education categories are being considered.           Estimates of the effect
     Previous national approach estimates of the effect of        on immigration on wages
immigration on wages have essentially assumed that the            Methodology for computing this effect
elasticity of substitution between workers in two different       This analysis computes the effect of immigration on wages
education categories is the same regardless of which pair of      using an approach outlined in Ottaviano and Peri (2008),
education categories is being considered. But it turns out        which is based on standard practice in the national
that incorporating different elasticities of substitution         approach literature on immigration and wages but incor-
between different pairs of education categories is enor-          porates the two advancements described above. Within
mously important to estimates of the effect of immigration        that general approach, we use consensus estimates from
on native wages. The main problem with ignoring this              the labor economics literature of the relevant elasticities,
point arises with what it implies—that workers without a          along with our own calculations of changes in immigrant
high school degree and workers with a high school degree          and native labor supply using the CPS data described in
have very low levels of substitutability. This is strongly        Appendix A. We then simulate the impact of immigration
refuted by the literature (see, for example, Ottaviano and        on relative wages using these components. As is standard
Peri (2008) and Card (2009)). Both of these studies show          with this approach, there are no confidence intervals for
empirically that there is a relatively high degree of substi-     the estimates; the methodology employed here does not
tutability between workers without a high school degree           easily lend itself to calculating standard errors. To ensure
and workers with exactly a high school degree.1                   that sample sizes are large enough for our estimations of
     Ignoring this fact distorts the estimated effects of         the effect of immigration on wages, we pool 1993 and
immigration on workers without a high school degree,              1994 data for a “year 1994” sample, and pool 2006 and
since it suggests that an increase in immigration among           2007 data for a “year 2007” sample. We then calculate

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the impact of immigration over the resulting 13-year                                range, and that the substitutability of natives and immi-
period. A more detailed description of the methodology                              grants within the same education/experience class is at
is given in Appendix B.                                                             the high end of the range, both of which, as discussed
     It is important to note that the methodology employed                          above, will give the gloomiest outlook for the effect of
here estimates only the relative wage effects of immigration                        immigration on the wages of natives with low levels of
(for example, how immigration affects native high school                            schooling. Conversely, the column “high” assumes that
dropouts compared to other workers,) and not the absolute                           the substitutability of workers in different education
wage effects of immigration. The framework we use (and                              categories is at the high end of the range, and that the
that is used in the “national approach” more generally)                             substitutability of natives and immigrants within the same
assumes that the economy adjusts to absorb new immigrants                           education/experience class is at the low end of the range,
and that the overall real wage effect of immigration in the                         both of which will give the rosiest outlook for the effect
long run is zero. Note that the results in, for example, Table                      of immigration on the wages of natives with low levels of
2 show that the overall impact is zero; this is an assumption,                      schooling. The column “typical” assumes a typical set of
not an estimate. Our estimates are in the relative impacts                          elasticities, neither at the high end or low end of their
found between subgroups—in how much immigration                                     respective ranges, and these columns represent the estimates
affects one subgroup of workers compared to another.                                we believe to be the most accurate.
                                                                                          Looking first at the “All” category, we find that the
Education                                                                           effect of immigration from 1994 to 2007 was to reduce
Table 2 presents the impact of immigration from                                     the wages of workers with less than a high school degree,
1994-2007 on the wages of U.S.- and foreign-born                                    relative to other workers, by somewhere between -1.4%
workers separately and for all workers combined. For each                           and -0.4%, most likely by -0.7%. But looking at the break-
group (U.S.-born, foreign-born, and all) there are three                            down by immigration status, we find that the burden of
columns representing different sets of elasticities. The dif-                       these losses is shouldered entirely by foreign-born workers,
ferent sets reflect the fact that for each relevant elasticity,                     who saw a relative reduction in wages of -3.7%, compared
there is a range of estimates in the labor literature. (The                         to a modest increase of 0.3% among native workers. In
ranges are given in Appendix B, along with an explana-                              other words, the surge in immigration among workers with
tion of how these elasticities are generally estimated.) The                        less than a high school degree served to lower the wages of
column “low” assumes that the substitutability of workers                           earlier immigrant workers with less than a high school degree,
in different education categories is at the low end of the                          not native workers with less than a high school degree.


                                                                          TA B L E 2


                      Impact of immigration on wages from 1994 to 2007 by education level

                                                   U.S.-born                           Foreign-born                          All
                                         Low         High       Typical       Low          High       Typical     Low       High      Typical
     Less than high school               -0.7%       1.0%        0.3%        -3.3%         -4.3%      -3.7%      -1.4%      -0.4%      -0.7%
     High school                          0.3%       0.4%        0.3%        -2.9          -6.1       -4.5        0.1%      -0.1%       0.0%
     Some college                         0.6%       0.8%        0.7%        -1.9          -4.3       -3.1        0.5%       0.4%       0.4%
     College                              0.2%       0.5%        0.4%        -3.8          -7.4       -5.6       -0.2%      -0.2%      -0.2%

     All                                 0.3%        0.6%        0.4%        -3.2          -6.0       -4.6       0.0%       0.0%       0.0%



    Source: EPI analysis of CPS data.



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                                                                          TA B L E 3

                                          Results using incorrectly characterized elasticities
                                                                U.S.-born              Foreign-born              All
                             Less than high school                -6.2%                    -6.1%                -6.2%
                             High school                          1.2%                     1.2%                 1.2%
                             Some college                         1.9%                     1.9%                 1.9%
                             College                              -1.1%                    -1.1%                -1.1%

                             All                                  0.1%                    -0.9%                 0.0%

    Source: EPI analysis of CPS data.



     This story is retold in each education category—the                            Mischaracterized elasticities
impact on overall wages in each category is modest, but                             Table 3 demonstrates the importance of correctly char-
when looking at breakdowns by immigration status, we                                acterizing the elasticities. This table shows what the esti-
find that immigrants in the category see sizeable negative                          mates would be if we were (incorrectly) to assume that
effects and natives see small positive effects. Looking at                          the elasticity of substitution is constant across education
all education categories combined, we find that the over-                           categories, and that immigrants and natives within the
all effect of immigration from 1994-2007 was to reduce                              same education/experience class are perfect substitutes.
the wages of the foreign-born population by 4.6%,                                   Results in the table would suggest that the burden of
relative to an increase in the wages of the U.S.-born                               increased immigration over these 13 years was shouldered
population of 0.4%.                                                                 largely by workers without a high school degree, and in

                                                                          TA B L E 4

                            Impact of immigration on wages by education level, 1994-2007
                                                   U.S.-born                           Foreign-born                         All
                                          Low        High       Typical       Low          High       Typical     Low      High      Typical
     Female
     Less than high school               0.6%        1.7%        1.1%        -1.8%         -3.1%      -2.5%       0.1%     0.6%       0.3%
     High school                         1.5%        1.2%        1.1%        -1.0          -3.9       -2.6        1.3%     0.8%       0.9%
     Some college                        0.1%        0.4%        0.3%        -2.5          -4.8       -3.6       -0.1%     0.1%       0.1%
     College                             -0.4%       0.2%        0.0%        -5.1          -9.3       -7.1       -0.8%     -0.7%      -0.7%

     All                                 0.3         0.6        0.4          -3.2          -6.3       -4.7        0.0      0.0        0.0


     Male
     Less than high school               -1.5%       0.5%       -0.2%        -4.3%         -5.1%      -4.4%      -2.3%     -1.0%      -1.4%
     High school                         -0.5%       -0.2%      -0.2%        -4.2          -7.7       -5.8       -0.8%     -0.7%      -0.6%
     Some college                        1.0%        1.0%        0.9%        -1.4          -3.9       -2.7        0.8%     0.7%       0.7%
     College                             0.6%        0.8%        0.7%        -2.8          -6.2       -4.6        0.3%     0.2%       0.2%

     All                                 0.3         0.6        0.4          -3.1          -5.9       -4.5        0.0      0.0        0.0

    Source: EPI analysis of CPS data.



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particular that native workers in this category have                              change the wages of U.S.-born men with less than a high
experienced large negative wage impacts. What this exercise                       school degree, relative to other workers, by somewhere
demonstrates is that the large negative values found in the                       between -1.5% and 0.5%, most likely by -0.2%.
traditional “national” approach to estimating the effect                               Table 5 can shed some light on this difference. Table 5
of immigration on wages are due primarily to incorrect                            is similar to Table 1, which shows increased hours worked
characterizations of key elasticities.                                            from 1993 to 2007 due to immigration, but it is broken out
                                                                                  by gender. While the increase in hours worked due to
Gender                                                                            immigration is fairly balanced between “less than or equal
Table 4 shows the results (once again with appropriately                          to high school” and “more than high school,” there are
characterized elasticities) separately for men and women.                         gender differences. Among women, there have been slightly
Looking first at the overall effect for U.S.-born workers by                      greater increases in hours in the more-educated group than
gender, we find that both men and women have seen a rela-                         in the less-educated group, whereas among men, there have
tive increase in wages of 0.4% due to immigration from                            been somewhat greater increases in hours in the less-
1994 to 2007, compared to a loss by earlier immigrants of                         educated group than in the more highly educated group.
around 4.6%. However, the breakdowns by education are                             These differences help explain why native women with
somewhat different. U.S. women with lower levels of edu-                          lower levels of education gain due to immigration (1.1%
cation gain more from immigration than female workers                             increase in wages), whereas native men with lower levels of
with higher levels of education, whereas U.S. men with                            education see modest declines (-0.2% decrease in wages).
lower levels of education see modest declines compared to
male workers with higher levels of education (who have                            Inequality
seen modest increases). In particular, we find that the                           The estimates presented above show that immigration
effect of immigration from 1994 to 2007 was to increase                           from 1994 to 2007 had a modest positive effect on the
the wages of U.S.-born women with less than a high                                overall wages of both male and female native workers (0.4%
school degree, relative to other workers, by somewhere                            relative increase). Within that overall change, women with
between 0.6% and 1.7%, most likely by 1.1%, and to                                less than a high school education experienced a nontrivial


                                                                        TA B L E 5

                Impact of immigration on wages from 1994 to 2007 by gender and education

                                                       Increase in hours worked                              Increase in hours worked
                                                          due to immigration                                    due to immigraion
              Female
              Less than high school                             16.4%
                                                                                       High school or less             7.3%
              High school                                        5.1
              Some college                                       5.0
                                                                                     More than high school             9.0
              College                                           13.6

              Male
              Less than high school                             23.6%
                                                                                       High school or less            12.2%
              High school                                        8.3
              Some college                                       4.3
                                                                                     More than high school             7.7
              College                                           10.8


    Source: EPI analysis of CPS data.



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                                                                          TA B L E 6

                            How much of the increasing wage inequality from 1994 to 2007
                                         can be explained by immigration?
                                                                   U.S.-born                    Foreign-born                    All
                                                           All      Female      Male     All      Female       Male    All     Female       Male
    Growth in less than high school wages                   7.2%      3.9%       8.1%     9.9%      10.4%      9.2%     5.4%     5.0%        4.6%
    Growth in college wages                               24.3       19.7       31.2     29.4       26.2       33.5    24.6     20.1        31.0
    Difference in growth rates                            17.2       15.7       23.1     19.5       15.9       24.3    19.2     15.1        26.3
                                                           %          %          %                                      %        %           %
    Growth in less than high school wages
    due to immigration                                      0.3%      1.1%       -0.2%   -3.7%      -2.5%      -4.4%   -0.7%     0.3%       -1.4%
    Growth in college wages due to immigration             0.4        0.0        0.7     -5.6       -7.1       -4.6    -0.2     -0.7         0.2
    Difference in growth due to immigration                0.1        -1.2       0.9     -1.9       -4.6       -0.1     0.5     -0.9         1.5


    Portion of difference in growth rates
    that is due to immigration                              0.3%      -7.5%      3.9%    -9.7%     -29.0%      -0.6%    2.8%    -6.1%        5.8%


    Source: EPI analysis of CPS data.



increase (1.1%), while women with a college degree saw                                 For native workers, only 0.1 percentage point of the
no change due to immigration, so immigration likely                               17.2 percentage-point difference in growth rates between
decreased inequality among women over this period. On                             “less than high school” and “college or more” can be
the other hand, men with less than a high school edu-                             explained by immigration. However, this overall effect
cation experienced a modest decline (-0.2%), while men                            masks differences by gender. Immigration decreased in-
with a college degree saw a modest increase (0.7%), so                            equality among native women—the differences in growth
immigration likely was a factor in increasing inequality                          rates between the two education groups would have been
among men over this period.                                                       7.5% higher in the absence of female immigration. Among
     Table 6 uses the estimates of the relative wage impacts                      men, 0.9 percentage points of the 23.1 percentage-point
of immigration to quantify how much of the growth over                            difference in growth rates between the two education
this period in wage inequality between workers with less                          categories can be explained by immigration.
than a high school degree and workers with a college degree                            For foreign-born workers of both genders, but par-
or more can be explained by immigration. The table shows                          ticularly for women, immigration caused larger wage
the difference in wage growth rates from 1994-2007 for                            declines among college workers than among less than high
workers with less than a high school degree and workers                           school workers, so new immigration reduced inequality
with a college degree or more, and it shows the difference                        among immigrants. However, because immigration is never-
in the effect of immigration on wages for both groups (the                        theless concentrated at the high end and low end of the
latter taken from the “typical” estimates in Tables 2 and                         overall wage distribution, increased immigration increases
4, above). The final row shows the difference in growth                           overall wage inequality. We find that immigration con-
rates due to immigration divided by the difference in wage                        tributed 2.8% of the increase in inequality overall, though
growth rates—in other words, it gives the share of                                the effect was concentrated among men. Among women,
the difference in wage growth rates that is due to immi-                          the difference in wage growth rates between the two educa-
gration. This is the measure we use of the amount of                              tion groups would have been 6.1% higher without immi-
increased inequality over this period that can be attributed                      gration, but immigration contributed 5.8% of the overall
to immigration.                                                                   increased inequality among men. In sum, immigration has


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                                                                          TA B L E 7

               Impact of immigration on wages from 1994 to 2007 by gender, education, and age
                                                                U.S.-born                      Foreign-born                    All
                                                        All      Female     Male         All     Female       Male    All     Female   Male
         Less than high school
         All                                            0.3%       1.1%      -0.2%      -3.7%      -2.5%      -4.4%   -0.7%    0.3%    -1.4%
         18-27                                          1.8        3.0       1.2        -0.3        1.8       -1.1    1.2      2.7      0.4
         28-37                                          0.5        2.0       -0.4       -2.6       -0.1       -3.8    -0.5     1.4     -1.5
         38-47                                          -0.9      -0.2       -1.3       -6.2       -5.4       -6.9    -2.3     -1.6    -2.8
         48-57                                          0.4        0.6       0.1        -5.8       -5.2       -6.4    -0.6     -0.5    -0.9
         High school
         All                                            0.3%       1.1%      -0.2%      -4.5%      -2.6%      -5.8%   0.0%     0.8%    -0.6%
         20-29                                          0.5        1.3       0.0        -3.1       -2.0       -3.7    0.2      1.1     -0.3
         30-39                                          0.4        1.3       -0.1       -3.9       -1.5       -5.5    0.2      1.1     -0.5
         40-49                                          0.2        1.1       -0.5       -4.8       -2.5       -6.8    -0.2     0.8     -0.9
         50-59                                          0.2        0.8       -0.3       -6.9       -5.4       -8.0    -0.2     0.4     -0.7
         Some college
         All                                            0.7%       0.3%      0.9%       -3.1%      -3.6%      -2.7%   0.4%     0.1%     0.7%
         22-31                                          1.2        0.9       1.4         0.1       -0.1        0.2    1.1      0.8      1.3
         32-41                                          0.9        0.5       1.2        -1.6       -2.3       -1.0    0.8      0.4      1.0
         42-51                                          0.4        0.1       0.6        -5.5       -5.2       -5.9    0.1      -0.3     0.2
         52-61                                          -0.2      -0.9       0.3        -8.4      -10.9       -6.4    -0.7     -1.5    -0.1
         College
         All                                            0.4%       0.0%      0.7%       -5.6%      -7.1%      -4.6%   -0.2%    -0.7%   0.2%
         24-33                                          0.6        0.2       0.9        -5.1       -6.7       -4.0    0.2      -0.3     0.5
         34-43                                          0.6        0.1       0.9        -4.2       -6.1       -3.2    0.2      -0.4     0.5
         44-53                                          0.4       -0.1       0.7        -5.3       -6.5       -4.6    -0.1     -0.7     0.2
         54-63                                          -1.0      -1.6       -0.6      -10.9      -14.1       -9.1    -2.0     -2.8    -1.4
         All
         All                                            0.4%       0.4%      0.4%       -4.6%      -4.7%      -5.9%   0.0%     0.0%     0.0%
         Age Group 1                                    0.8        0.7       0.8        -2.7       -3.3       -2.5    0.5      0.4      0.5
         Age Group 2                                    0.6        0.6       0.7        -3.4       -3.6       -3.3    0.3      0.3      0.3
         Age Group 3                                    0.3        0.3       0.3        -5.4       -5.1       -5.6    -0.2     -0.2    -0.2
         Age Group 4                                    -0.3      -0.3       -0.2       -8.5       -9.1       -7.9    -1.0     -1.0    -0.9

    Source: EPI analysis of CPS data.



not been a significant contributor to wage inequality among                         young workers, especially young men with low levels of
native workers, but about 3% of the overall increase in in-                         education. Table 7 breaks down the effect of immigration
equality from 1994 to 2007 between college educated workers                         on wages by age category and gender. Here and for the
and high school dropouts can be attributed to immigration.                          rest of the paper, unless otherwise noted, results are shown
                                                                                    for the “typical” set of elasticities. Also note that, as is
Age                                                                                 common practice in the labor economics literature,
One question that arises in the debate on immigration                               definitions of age categories are slightly different across
and wages is the effect of immigration on the wages of                              education categories to reflect the fact that, for example,

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                                                                         TA B L E 8

                  Education shares by age, gender, and race for non-Hispanic native workers , 2007
                                                     White non-Hispanic U.S.-born workers          Black non-Hispanic U.S.-born workers
                                                          All       Female             Male          All         Female          Male
            All                                       100.0%        100.0%            100.0%       100.0%         100.0%        100.0%
            Less than high school                          5.3           4.1             6.4         9.9            8.1          12.0
            High school                                   28.3       25.9               30.3        35.1           32.3          38.3
            Some college                                  30.1       32.0               28.5        33.7           36.0          31.0
            College                                       36.3       38.0               34.8        21.4           23.6          18.7


    Source: EPI analysis of CPS data.



a worker with only a high school education is generally                          Race
available to start work four years earlier than a worker with                    The methodology used in this paper does not allow for
a college degree. The categories thus represent 10-year                          a breakdown of the effect of immigration on U.S.-born
groupings of “potential labor market experience.”                                workers in different education groups separately by race.
     The results show that in fact older native workers face                     However, using the estimated wage effects of immigration
bigger impacts of the increasing foreign-born workforce                          by education and experience group, we can aggregate the
over this period. Native workers with 31 to 40 years of                          results separately for white and black native workers to
potential labor market experience (age group 4) saw a                            look at the overall impact of immigration on these two
modest decline of 0.3% in wages relative to native workers                       groups. The differences in the overall effects by race will
with one to 10 years of potential experience (age group 1)                       essentially reflect the fact that educational breakdowns are
who saw a modest increase in wages due to immigration of                         different for blacks and whites. Education breakdowns
0.8%. The overall pattern generally holds across education                       for 2007 for native blacks and native whites are given in
categories, in particular, for native workers without a high                     Table 8. They show that native blacks have somewhat
school degree, 18-27-year olds of both genders gained due                        lower educational attainment than native whites, with
to immigration while it was middle-aged workers—workers                          a higher percentage of black native workers than white
age 38-47—who saw modest declines. These results                                 native workers not having a high school degree (9.9% vs.
provide no evidence that younger workers in any category                         5.3%), and a lower percentage of black native workers
are being particularly hard-hit by immigration relative to                       than white native workers having a college degree (21.4%
older workers.                                                                   vs. 36.3%). However, since (as Table 4 shows) the positive

                                                                         TA B L E 9


       Aggregate impact of immigration on wages from 1994 to 2007 of native workers by race
                                                   White non-Hispanic U.S.-born workers             Black non-Hispanic U.S.-born workers
                                                   Low            High               Typical        Low            High           Typical
      All                                           0.3%           0.6%                0.5%         0.3%            0.6%            0.4%
      Female                                        0.4            0.6                 0.5          0.3             0.5             0.4
      Male                                          0.2            0.5                 0.4          0.3             0.6             0.4


    Source: EPI analysis of CPS data.



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impact of immigration does not rise monotonically across                             was much stronger than it was in the later period. From
education groups, it is not a priori obvious what the                                1994-2000, job growth averaged 2.5% per year, whereas
aggregate impact will be.                                                            from 2000 to 2003, which captures the period of job loss
    The overall impacts by race are given in Table 9. They                           associated with the recession of 2001, employment
show that in the aggregate, immigration has essentially                              declined 0.5% per year. From 2003 to 2007, employment
the same relative effect on native blacks as it has had on                           growth picked up somewhat, growing at an average of
native whites—a small positive relative impact on wages.                             1.4% per year.
These results reflect the fact that there is not a great deal                             Immigration flows, unsurprisingly, respond to the
of variation across education categories in the relative                             conditions of the U.S. economy: from 1994 to 2000,
impact of immigration on wages, so even though blacks                                941,000 immigrant workers entered the United States each
and whites have different education breakdowns, in                                   year, but from 2000 to 2003, the number plummeted to
aggregate the effect of immigration on wages is similar.                             342,000, and then picked up somewhat to an average of
                                                                                     502,000 per year from 2003 to 2007.
Does the impact of immigration on                                                         Was the impact of immigration on wages different
wages vary with overall labor demand?                                                over these three periods of very different overall labor
Over the period from 1994 to 2007, labor demand varied                               demand? Table 10 shows the impact of immigration on
widely—in particular, from 1994-2000, the labor market                               wages by gender and education separately for these three


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                                         Average annual impact of immigration on wages for
                                              periods of different overall labor demand
                                                                U.S.-born                        Foreign-born                      All
                                                       All       Female     Male         All       Female       Male      All     Female   Male
      1994-2000
      Less than high school                            0.02%      0.03%      0.01%      -0.37%      -0.42%      -0.36%   -0.08%   -0.08%   -0.08%
      High school                                      0.02       0.03       0.01       -0.42       -0.35       -0.48    -0.01     0.00    -0.02
      Some college                                     0.07       0.05       0.07       -0.27       -0.27       -0.27    0.04      0.03    0.05
      College                                          0.04       0.03       0.04       -0.50       -0.51       -0.50    -0.01    -0.02    -0.01
      All                                              0.04       0.04       0.04       -0.42       -0.41       -0.43    0.00      0.00    0.00
      2000-03
      Less than high school                           -0.04%      0.04%     -0.10%      -0.28%      -0.09%      -0.39%   -0.13%    0.00%   -0.21%
      High school                                     -0.05       0.04      -0.10       -0.22       -0.17       -0.25    -0.06     0.02    -0.12
      Some college                                     0.06       0.03       0.07       -0.03       -0.05       -0.02    0.05      0.03    0.06
      College                                          0.04       0.01       0.06       -0.14       -0.32       -0.04    0.02     -0.03    0.05
      All                                              0.02       0.02       0.02       -0.16       -0.21       -0.13    0.00      0.00    0.00
      2003-07
      Less than high school                            0.04%      0.15%     -0.04%      -0.05%       0.10%      -0.14%   0.00%     0.13%   -0.09%
      High school                                      0.04       0.15      -0.04       -0.15        0.06       -0.30    0.02      0.14    -0.07
      Some college                                     0.03      -0.01       0.06       -0.17       -0.24       -0.11    0.01     -0.02    0.04
      College                                          0.01      -0.02       0.04       -0.23       -0.33       -0.16    -0.02    -0.06    0.02
      All                                              0.03       0.02       0.03       -0.18       -0.19       -0.17    0.00      0.00    0.00


    Source: EPI analysis of CPS data.



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periods. It should be noted that unlike the other tables in       of all workers in 2007. California saw an increase of 1.7
this paper, which report the impact over the entire period        million immigrants from 1993 to 2007, Florida saw
from 1994-2007, this table gives the average impact per           824,000 new immigrants, New York 811,000, and Texas
year over each period for ease of comparison.                     1.1 million. Because these are the four largest states, we
     The results show that the main effect of the different       are able to conduct an analysis separately for each of these
periods is felt by immigrants themselves, who faced much          states without running into major sample size issues.
larger negative effects during the period of greater im-               Table 11 shows the results by education category
migration in the 1990s. For native workers overall, there         and gender for these four states. In these high immi-
was not large variation in the impact of immigration over         grant states, the overall effect of immigration is similar to
the three periods, though the gains were greatest during          the effect at the national level—small positive effects for
the 90s, since immigration was higher. For workers with           native workers and nontrivial negative effects for earlier
less than a high school education, there were some small          immigrant workers. By education category, however, there
differences: these workers experienced a modest relative          is some variation. In particular, in California and Texas,
decline of 0.04% per year due to immigration during the           immigration has led to a decline in the relative wages
downturn of the early 2000s, compared to a modest rela-           of U.S.-born workers with less than a high school edu-
tive increase in the other periods (0.02% in the 1990s and        cation—by 1.6% in California and by 1.7% in Texas.
0.04% from 2003-07). By gender, the differences were              These effects were concentrated among men, with males
slightly larger—male workers with a high school educa-            without a high school education in California seeing an
tion or less saw a relative decline of 0.1% per year due          estimated relative wage decline of 2.9% due to immigra-
to immigration from 2000-03, whereas women with a                 tion, and males without a high school education in Texas
high school education or less experienced a relative gain         seeing an estimated relative wage decline of 1.8% due
of 0.04% per year over this period.                               to immigration (while “less than high school” women
     The fact that the relative effect of immigration on          gained 0.8% in California and lost 0.6% in Texas). Native
wages does not vary dramatically over periods of dramati-         workers without a high school education were essentially
cally different labor demand offers some limited evidence         unaffected as a group in New York (relative decline of
that immigrant-flow response to labor demand in the               0.1%), but there was a gender imbalance, with “less than
United States helps to smooth the effects of immigration          high school” women gaining 1.7%, while “less than high
on native wages across periods of strength and weakness           school” men lost 1.3%. In Florida, workers with less than
in the U.S. labor market. While we do not have data that          a high school education gained 1.2% due to immigration,
allow us to conduct our simulation on the current eco-            but those gains were entirely among women, who saw a
nomic downturn, this analysis suggests that it is likely that     2.9% relative increase in wages.
the relative impact of immigration on the wages of native              In sum, in these very high immigrant states, the
workers during the 2008/2009 recession will not be out of         overall relative effect of immigration is positive on native
line with the relative impact experienced in earlier periods.     workers, around 0.7%, which is higher than the overall
                                                                  effect on native workers nationally, which was 0.4%. Thus,
The effect of immigration                                         on average, native workers in these high immigrant
in high-immigration states                                        states gain somewhat more than the national average
Immigrant flows vary widely by state. (Table C1 in                due to immigration. However, some subgroups in these
Appendix C shows immigrant flows by state from 1993               high immigrant states fare worse, as described above,
to 2007.) Here we examine the four states that have seen          particularly male workers with less than a high school
the largest increase in numbers of immigrant workers:             degree. Research by Jeffrey Passel and D’Vera Cohn at the
California, Florida, New York, and Texas. Together, these         Pew Research Center (Passel et al. 2009) could perhaps
four states represent 46% of all increases in immigrant           shed some light on this finding. Their work shows that
workers over this period, though they made up only 32%            unauthorized immigrants make up a large portion of the

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        Impact of immigration on wages from 1994 to 2007 in states by gender and education
                                                                  U.S.-born                      Foreign-born                     All
                                                           All     Female      Male      All       Female       Male      All    Female   Male
       United States
       Less than high school                               0.3%      1.1%      -0.2%     -3.7%       -2.5%       -4.4%   -0.7%    0.3%        -1.4%
       High school                                        0.3        1.1       -0.2      -4.5        -2.6        -5.8    0.0      0.8         -0.6
       Some college                                       0.7        0.3       0.9       -3.1        -3.6        -2.7    0.4      0.1         0.7
       College                                            0.4        0.0       0.7       -5.6        -7.1        -4.6    -0.2     -0.7        0.2
       All                                                0.4        0.4       0.4       -4.6        -4.7        -5.9    0.0      0.0         0.0
       California
       Less than high school                              -1.6%      0.8%      -2.9%     -1.9%        0.9%       -3.6%   -1.8%    0.9%        -3.4%
       High school                                        -0.4       2.2       -2.0      -3.0         0.0        -4.9    -0.9     1.8         -2.6
       Some college                                       1.2        0.6       1.6       -1.7        -2.6        -1.1    0.8      0.1         1.2
       College                                            0.9        0.0       1.4       -2.9        -5.1        -1.3    0.1      -1.0        0.9
       All                                                0.7        0.6       0.7       -2.5        -2.6        -2.5    0.0      0.0         0.0
       Florida
       Less than high school                              1.2%       2.9%      -0.4%     -1.0%        2.0%       -2.5%   0.6%     2.6%        -1.0%
       High school                                        1.3        3.0       -0.1      -3.9        -0.8        -6.6    0.7      2.4         -0.9
       Some college                                       0.9        0.2       1.4       -2.6        -2.7        -0.8    0.4      -0.2        1.1
       College                                            0.3       -0.4       0.8       -6.9        -9.2        -5.4    -0.7     -1.7        -0.1
       All                                                0.8        0.7       0.7       -4.3        -4.2        -3.9    0.0      0.0         0.0
       New York
       Less than high school                              -0.1%      1.7%      -1.3%     -3.3%       -1.6%       -4.9%   -1.3%    0.4%        -2.6%
       High school                                        -0.1       1.5       -1.5      -3.7        -1.0        -5.7    -0.7     1.1         -2.2
       Some college                                       1.2        0.6       1.7       -1.6        -2.3        -0.8    0.9      0.3         1.4
       College                                            0.8        0.2       1.4       -3.9        -6.2        -2.3    0.1      -0.7        0.8
       All                                                0.6        0.6       0.6       -3.4        -3.6        -3.3    0.0      0.0         0.0
       Texas
       Less than high school                              -1.7%     -0.6%      -1.8%     -5.1%       -5.2%       -5.2%   -3.0%    -1.9%       -3.2%
       High school                                        -1.6      -0.6       -1.7     -11.6        -9.2       -12.8    -2.0     -1.1        -2.2
       Some college                                       1.6        1.2       1.7       -3.8        -5.9        -5.0    1.4      1.0         1.4
       College                                            1.3        0.9       1.5       -4.1        -6.7        -3.0    0.8      0.2         1.1
       All                                                0.5        0.6       0.6       -5.4        -6.7        -5.0    0.0      0.0         0.0


    Source: EPI analysis of CPS data.




workforce in these four states relative to other states. They                     grants are more likely than other workers to be male and
estimate that in the United States in 2008, unauthorized                          also more likely than other workers to be without a high
immigrants made up 5.4% of the labor force. However,                              school degree, a larger inflow of unauthorized immigrant
they found that in California, for example, 9.9% of the                           workers, who are easily exploited by employers, may put
workforce was an unauthorized immigrant, which was                                downward pressure on the wages of similar native workers
the largest percent of the workforce in any state except                          in these states, a pressure that is largely masked in estimates
Nevada. Since, as shown in their work, unauthorized immi-                         at the national level.

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The impact of immigration                                                        lost. (Table C2 in Appendix C gives the average weekly
on wages in dollar terms                                                         wages for 2007 for all of the subgroups in Table 11.) Based
This paper has presented results in terms of percentage                          on average weekly wages in 1994, along with the relative
relative wage gains or losses due to immigration. How-                           wage effect of immigration in Table 11, Table 12 gives, in
ever, because there is a great deal of variation in average                      dollar terms, the relative effect of immigration from 1994
weekly wages for different subgroups, a similar percentage                       to 2007 on the average weekly wages in 2007.
effect of immigration on wages may have very different                                Table 12 shows that at the national level, the effect
effects by subgroup in terms of actual dollars gained or                         of immigration from 1994 to 2007 on wages of native

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                                 Dollar impact of immigration on wages from 1994 to 2007
                                                       U.S.-born                        Foreign-born                         All
                                                All     Female      Male       All        Female        Male       All     Female     Male
        United States
        Less than high school                 $1.58      $4.19      -$1.37   -$15.71       -$8.78      -$20.47    -$3.48    $0.93     -$7.37
        High school                            2.16       5.87      - 1.82    - 26.13      - 12.86     - 37.98      0.07     4.26     - 4.56
        Some college                           5.21       1.93        8.39    - 23.25      - 22.33     - 23.18      3.33     0.37         6.25
        College                                4.46      - 0.48       9.13    - 64.46      - 64.85     - 60.03    - 2.17    - 6.34        2.23
        All                                    3.68       2.78        4.32    - 33.11      - 28.53     - 46.92      0.00     0.00         0.00
        California
        Less than high school                 -$8.79     $3.52     -$18.52    -$7.97        $3.02      -$16.43    -$8.17    $3.17    -$16.89
        High school                           - 3.03     13.32     - 17.15    - 16.21        0.20      - 27.84    - 6.51    10.19    - 20.20
        Some college                          10.53       4.08      16.29     - 12.91      - 16.87      - 9.26      6.85     1.00     12.07
        College                               11.96      - 0.21     21.59     - 33.82      - 48.79     - 16.95      1.90   - 10.79    13.06
        All                                    6.65       5.04        7.98    - 16.74      - 15.32     - 17.83      0.00     0.00         0.00
        Florida
        Less than high school                 $5.90      $9.69      -$2.13    -$3.67        $6.43       -$9.61    $2.63     $8.66     -$4.78
        High school                            8.15      14.54      - 0.98    - 19.51       - 3.48     - 37.92      3.92    11.62     - 6.34
        Some college                           6.54       1.51      12.34     - 19.54      - 16.62      - 7.00      2.68    - 1.18        9.50
        College                                3.41      - 4.00     11.35     - 76.37      - 83.40     - 68.15    - 8.56   - 15.52    - 0.88
        All                                    6.12       4.81        6.46    - 29.69      - 24.27     - 30.41      0.00     0.00         0.00
        New York
        Less than high school                 -$0.53     $7.12      -$8.12   -$15.24       -$5.78      -$26.25    -$6.49    $1.66    -$15.27
        High school                           - 1.07      8.45     - 12.26    - 24.23       - 5.42     - 42.81    - 5.29     5.91    - 17.84
        Some college                           9.70       4.13      16.13     - 10.59      - 13.61      - 6.04      6.90     1.74     13.02
        College                               10.79       2.05      20.58     - 45.57      - 59.27     - 30.06      1.56    - 7.23    11.83
        All                                    5.97       4.90        6.76    - 26.54      - 22.84     - 29.07      0.00     0.00         0.00
        Texas
        Less than high school                 -$7.46    -$2.10      -$9.42   -$20.73      -$15.27      -$22.47   -$13.02   -$6.01    -$15.61
        High school                           - 9.60     - 2.86    - 12.48    - 57.10      - 44.63     - 63.94   - 12.46    - 5.28   - 15.69
        Some college                          12.33       7.34      14.89     - 23.84      - 29.66     - 34.67    10.49      5.75     12.06
        College                               16.05       8.83      20.89     - 45.60      - 55.96     - 37.55      9.80     1.91     14.58
        All                                    4.39       3.43        5.34    - 32.00      - 34.17     - 31.98      0.00     0.00         0.00


    Source: EPI analysis of CPS data.



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workers was modest—it raised the relative average weekly               An important thing to keep in mind is that the labor
wage of native-born U.S. workers by $3.68. However, the           force is growing all the time. All else equal, more people,
impact varied somewhat across education category and              including more foreigners, do not mean lower wages or
gender. For workers without a high school education,              higher unemployment. If they did, every time a baby
immigration increased the weekly wages of women by                was born or a new graduate entered the labor force, they
$4.19 and reduced the weekly wages of men by $1.37.               would hurt existing workers. But new workers do not just
Earlier immigrants, on the other hand, experienced large          have supply-side impacts, they also affect demand. Those
declines due to new immigration. On average, immigra-             new graduates buy food and cars and pay rent. In other
tion from 1994 to 2007 reduced the relative weekly wages          words, while new workers add to the supply of labor, they
of immigrants by $33.11.                                          also consume goods and services, creating more jobs. An
     For high immigration states, some of the effects on          economy with more people does not mean lower wages
native workers were more dramatic. In California, male            and higher unemployment, it is simply a bigger economy.
workers with less than a high school education saw a              Just because New York is bigger than Los Angeles does not
relative decline in weekly wages of $18.52 due to immi-           in and of itself mean workers in New York are worse off
gration, while in Florida, New York, and Texas, their             than workers in Los Angeles.
losses were $2.13, $8.12, and $9.42, respectively. Female              However, a large influx of a particular type of worker
workers without a high school education in California,            has the potential to have a negative impact on the wages
Florida, and New York saw increases of $3.52, $9.69,              of existing workers who are also of that type; workers who
and $7.12, respectively, while they experienced declines          are highly substitutable for new immigrants stand to lose
of $2.10 in Texas.                                                when there is a large influx of new immigrants. The immi-
                                                                  grant share of total hours worked by workers with less
Conclusion                                                        than a high school education rose from 28.4% in 1993 to
The methodology used in this paper follows the latest             47.5% in 2007. How is it that this has not caused large
developments in the “national approach” to analyzing              negative effects on native-born workers with less than a
the effect of immigration on wages. In contrast to the            high school education?
“area approach,” the national approach has traditionally               There are two factors that largely shelter native-born
found relatively large negative effects of immigration on the     workers with less than a high school education from these
wages of native workers, especially native workers with low       negative impacts. The first is their relatively high degree of
levels of education. However, when recent developments            substitutability with workers with a high school education.
in the national-approach methodology are incorporated,            While these two types of workers are likely not perfect
the results are very similar to those found in the area           substitutes, the fact that their substitutability is relatively
approach—that recent immigration has had little effect            high means that the impact of an influx of less-than-high-
on the relative wages of native workers, including workers        school immigrants is not shouldered entirely by the 9.9%
with low levels of education. A key finding in the results        of the U.S. workforce that has less than a high school degree,
is that the workers who stand to lose the most from new           but that it is to some extent diffused across the much
immigration are those workers most substitutable for new          larger share of the workforce—38.7% in 2007—that has
immigrants, namely earlier immigrants.                            a high school degree or less. This greatly reduces the
     To those unfamiliar with the scholarly literature on         impact on the least-educated American workers.
the effect of immigration on native labor market out-                  The other key factor is that even when considering
comes, the findings of little relative impact on native wages     workers within the same education/experience “class,”
may come as a surprise. The immigrant share of total              native-born workers and immigrants are not perfect sub-
hours worked rose from 9.9% in 1993 to 15.8% in 2007.             stitutes. In other words, substituting immigrant workers
How is it possible that economists have been unable to            for native workers who have the same level of education
find more evidence of adverse effects on native workers?          and experience is possible, but limited due to the different

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characteristics of these two types of workers, including          to note that, since it takes time for capital to adjust to
fluency in English. The workers who are the most sub-             increases in the labor force, a large unexpected increase
stitutable for new immigrants are earlier immigrants,             in the labor force will likely depress wages temporarily,
so this is the group that ends up shouldering much of             something not accounted for here. Ottaviano and Peri
the impact of new immigration, rather than native-born            (2008) find, for example, a 0.3% long-run relative wage
workers. Native-born workers in a given education/                increase of workers with less than a high school education
experience “class,” on the other hand, can in fact be helped      due to immigration from 1990-2006, but a 0.7% short-
by immigration, if, for example, their language advantage         run relative wage decrease. To give an idea of the speed of
means they are more likely to be given a supervisory role         the effect of capital adjustment, they find that after five
when there is a large influx of immigrants with their same        years, about 40% of the distance between the short-run
general level of education and experience.                        effects and long-run effects has been eliminated, with the
     There are a few limitations of the research presented        medium-term effect of immigration from 1990-2006 on
in this paper that are important to mention. First, this          the wages of workers with less than a high school degree
analysis looks at the effect of immigration on wages, not         being a decrease of 0.4%.
on employment. However, the limited effect we find of                  Except perhaps for male U.S.-born workers with no
immigration on native wages suggests there is also likely         high school degree in California (where we find immi-
a limited effect on native employment. Second, the                gration from 1994-2007 has led to a 2.9% relative real
approach used here does not allow for a separate estima-          wage decline), we find little evidence that recent immi-
tion of the effect of immigration on different racial and         gration has had sizeable adverse effects on the wages of
ethnic subgroups by education level. While the empirical          U.S.-born workers. Instead, it has generally had modest
challenges are nontrivial, further research into the effect       positive effects. Declining job quality for the least-educated
of immigration on non-Hispanic black U.S.-born workers            American workers is due to a host of factors aside from
by educational attainment is warranted. Third, we are             immigration, including declining unionization rates,
only able to look at the relative effect on native wages          the eroding real value of the minimum wage, and trade
of increases in foreign-born workers. Foreign-born workers        practices that expose U.S. workers with low levels of edu-
may be naturalized U.S. citizens, permanent residents,            cation to competition from much lower wage workers
temporary visa-holders, refugees, or undocumented workers.        around the globe. While it remains crucial to reform our
If a foreign-born worker is not a naturalized citizen, it is      broken immigration system, a larger economic agenda
impossible to determine with our data whether he or she           that will spur growth, reduce economic insecurity, and
is a permanent resident, temporary visa-holder, refugee,          provide broadly shared prosperity is more central to
or undocumented worker. This unfortunately limits the             improving their economic status.
policy-relevance of the research presented here, since we
are unable to determine the effect of various subgroups of
foreign-born workers on native labor market outcomes.
Better data are needed to further investigate the effect of       —We thank Lawrence F. Katz of Harvard University,
different types of foreign-born workers, in particular            Ray Marshall of the University of Texas at Austin, and
unauthorized immigrants and temporary visa holders.               David Dyssegaard Kallick of the Fiscal Policy Institute for
     Finally, this paper estimates the long-run effect of         extremely helpful comments and discussions. We also thank
immigration on wages, assuming the economy has fully              Anna Turner for excellent research assistance. We gratefully
adjusted to absorb new immigrants and that the overall            acknowledge funding from the Carnegie Corporation of
real wage effect of immigration is zero. It is important          New York and the Evelyn and Walter Haas, Jr. Fund. The
                                                                  statements made and views expressed are solely the respon-
                                                                  sibility of the author.



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Appendix A: Data
The data used are from the March supplement to the Current Population Survey, which asks detailed demographic and
labor market questions about the previous year. We are using March supplement data because with these data we can
compute the total hours worked in a year for each worker, which offers the most comprehensive measure of labor supply.
     Note that these data do not distinguish between documented and undocumented immigrants; survey respondents
are not questioned about their legal status. While undocumented immigrants are included in the survey sample, it is
widely considered likely that there is higher survey non-response among undocumented immigrants than among others
in the sample. In any event, we are unable to distinguish between the effects of documented and undocumented immi-
grant flows on native workers.
     Following standard practice, we restrict the sample in the following way: 1) we restrict to workers who are at least 18
years old; 2) we define “potential labor market experience” as age minus 17 for workers without a high school degree,
age minus 19 for workers with exactly a high school degree, age minus 21 for workers with some college training but
no college degree, and age minus 23 for workers with a college degree or more, and restrict the sample to workers with
between one and 40 years of potential experience; and 3) we define annual hours worked as weeks worked in a year times
hours worked per week and drop people who have zero annual hours. When calculating average weekly wages, we further
restrict the sample to people who report positive annual wage and salary income. To compute average weekly wages,
we divide annual wage and salary income by weeks worked in a year, and calculate a mean weighted by the CPS person
weight times annual hours (in order to properly account for varying hours worked across workers).
     To ensure that the sample sizes are large enough in each cell for our estimations of the effect of immigration on wages,
we pool 1993 and 1994 data for a “year 1994” sample, and pool 2006 and 2007 data for a “year 2007” sample. For the
section that conducts the impact analysis separately by time period (1994-2000, 2000-03, and 2003-07), we additionally




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pool 1999 and 2000 together for “year 2000” data and pool 2002 and 2003 together for “year 2003” data.

Appendix B: Methodology
We compute the effect of immigration on wages using an approach outlined in Ottaviano and Peri (2008), in which
they simulate the impact of immigration on wages based on a production function structure which combines workers
of different education and experience levels. There are two main education groups, “high school or less” and “more
than high school.” There are two education subgroups within each main education group, “less than high school,”
“exactly high school,” “some college,” and “college or more.” There are eight experience groups, 1-5 years, 6-10 years,
11-15 years, 16-20 years, 21-25 years, 26-30 years, 31-35 years, and 36-40 years.
     Let wDbkjt be the average weekly wage of native workers in main education group b, education subgroup k, experience
group j, at time t, and similarly, let wFbkjt be the average weekly wage of immigrant workers in main education group b,
education subgroup k, experience group j, at time t. Let Fbkjt be the total hours worked by immigrants in main education
group b, education subgroup k, experience group j, at time t, and ∆Fbkjt be the change between the two periods in total
hours worked by immigrants in main education group b, education subgroup k, and experience group j. Let sFbkjt be the
share of total wages (both immigrant and native) in year t paid to immigrant workers in main education group b, education
subgroup k, and experience group j. Let sbkjt be the share of total wages in year t paid to workers in main education group
b, education subgroup k, and experience group j. The elasticity of substitution between the two main education groups is
given by sHL , the elasticity of substitution between two education subgroups is given by sbb , the elasticity of substitution
between workers within the same education subgroup with different experience levels is given by sEXP , and the elasticity of
substitution between immigrants and natives within the same education/experience group is given by simmi .
     The percentage change in the wages of native worker with education level k and experience level j due to immigration




is given by equation (25) in Ottaviano and Peri (2008). Assuming long run effects (i.e., ignoring the term that accounts
for capital adjustment), it is




Similarly, the percentage change in the wages of immigrant worker with education level k and experience level j due to
immigration, assuming long run effects, is given by
All of the wage and hours terms in the above equations are calculated using CPS data as described in Appendix A. The
different sets of elasticities we use, presented in Table B1, are taken from the literature (see Ottaviano and Peri (2008)
and Card (2009) for detailed discussions). These elasticities of substitution are generally estimated by regressing the
relative wage between two groups on their relative labor supply, exploiting variation over time and (where applicable)
between education and/or experience categories. The intuition behind this methodology is the following: if an increase

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in the labor supply of group A relative to group B leads to very little decline in the wage of group A relative to group B,
then the two groups are highly substitutable, and the elasticity of substitution between them is high. Conversely, if an
increase in the labor supply of group A relative to group B leads to a large decline in the wage of group A relative to group
B, then the two groups are not good substitutes, and the elasticity of substitution between them is low.
     Using the percentage wage changes due to immigration in each education/experience group identified above, we
aggregate to various levels (education, education by four experience groups, and overall) using sums weighted by the
share of total wages in each group, as outlined in Appendix A of Ottaviano and Peri (2008). For the aggregations by race,
we weight using wage shares by race.
     To compute breakdowns of wage impacts by gender, we use the elasticities in Table B1 but calculate all other
components separately by gender. Finally, to compute breakdowns of wage impacts for the four high-immigration states,
                                                                TA B L E b 1

                                                                Elasticities
                                                                Low         High   Typical   Table 3
                               sHL                              1.4            2      2        2
                               sHH                              10           10      10        2
                               sLL                              10           50      20        2
                               sEXP                             3.3         10        5        5
                               simmi                            30           15      20        ∞




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we use the elasticities in Table B1 but calculate all other components separately by state.

                                                                             TA B L E C 1

                                                                   Immigration by state

                                                                   Increase in                                                     Increase in
                              Immigrant          Immigrant         number of                              Immigrant   Immigrant    number of
                               share of           share of         immigrant                               share of    share of    immigrant
                               workers,           workers,           workers                               workers,    workers,      workers
       State                    1993               2007           (thousands)          State                1993        2007      (thousands)
       California                28.9%              34.7%           1668.4             Iowa                  2.2%        6.7%         69.0
       Texas                     12.0               20.0            1088.0             Missouri              2.0         4.1          63.0
       Florida                   17.5               23.6             823.5             Kentucky              0.4         3.7          60.4
       New York                  18.3               26.6             811.1             Kansas                2.8         7.1          58.3
       New Jersey                17.4               27.7             448.4             Arkansas              1.1         5.4          56.9
       Georgia                       5.8            13.2             400.9             Louisiana             2.7         5.4          50.7
       Illinois                  11.8               16.6             352.8             New Mexico            6.7        10.6          44.1
       Virginia                      7.6            16.2             349.0             Nebraska              2.2         6.7          42.5
       Maryland                      7.6            19.7             325.7             Connecticut          11.9        13.5          39.5
       Arizona                   11.4               18.2             294.6             Mississippi           1.0         3.6          32.1
       North Carolina                2.7             8.0             248.5             Delaware              3.6        10.6          28.8
       Nevada                    11.2               24.9             216.9             Idaho                 4.3         7.4          26.0
       Washington                    7.4            12.7             212.4             Hawaii               17.9        20.0          24.4
       Colorado                      4.1            10.9             198.1             New Hampshire         4.0         6.4          21.8
       Massachusetts             11.9               18.0             179.1             Rhode Island         13.0        15.6          17.8
       Ohio                          1.7             4.7             159.5             Oklahoma              4.7         5.1           9.5
       Pennsylvania                  3.5             6.1             155.1             Washington, D.C.     15.6        17.4           8.9
       Oregon                        5.7            13.1             151.1             Alaska                5.2         6.8           7.7
       Tennessee                     1.2             6.3             141.9             South Dakota          2.2         3.4           5.9
       Minnesota                     3.5             7.9             124.6             Montana               0.7         1.7           4.6
       Utah                          3.4            12.2             116.5             Wyoming               1.5         2.7           3.3
       Michigan                      4.3             6.7             114.4             West Virginia         0.7         1.1           3.0
       Wisconsin                     1.6             5.2             100.9             Maine                 2.5         2.8           2.4
       Alabama                       1.0             6.1              94.4             North Dakota          2.0         2.6           2.3
       South Carolina                1.1             5.3              85.8             Vermont               3.4         3.3           -0.4
       Indiana                       1.7             4.2              72.4



    Source: EPI analysis of CPS data.




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                                                                           TA B L E c 2

                                                        Average weekly wages in 2007
                                                  U.S. Born                             Foreign-born                          All
                                          All      Female        Male          All         Female       Male        All      Female      Male
     United States
     Less than high school           $535.13       $399.28      $611.55      $467.95       $374.57     $504.78    $502.91    $388.90    $557.30
     High school                         731.55     571.05       842.30       618.26        509.37      682.68     716.05     563.27     819.30
     Some college                        855.71     704.74       991.53       779.78        662.28      877.93     848.60     700.90     980.55
     College                         1,504.79      1,145.65     1,808.55     1,470.66      1,116.21    1,723.81   1,499.76   1,141.65   1,795.25
     All                             1,027.82       813.88      1,197.82      876.53        727.29      966.43    1,003.79    801.92    1,157.42
     California
     Less than high school           $608.63       $456.01      $689.53      $476.82       $367.60     $520.40    $504.19    $388.94    $553.09
     High school                         825.34     680.72       917.60       624.09        514.12      683.11     752.92     624.89     829.75
     Some college                        973.23     812.29      1,115.81      824.04        757.80      877.21     940.68     800.89    1,061.90
     College                         1,778.79      1,419.41     2,070.12     1,480.83      1,142.27    1,776.26   1,696.29   1,340.44   1,990.72
     All                             1,249.24      1,024.24     1,424.59      852.66        746.41      917.22    1,109.17    935.25    1,233.46
     Florida
     Less than high school           $535.44       $428.11      $587.48      $429.83       $350.65     $461.71    $485.21    $393.74    $525.87
     High school                         722.08     596.43       813.38       579.06        488.16      644.18     688.31     571.03     773.25
     Some college                        864.52     688.55      1,021.50      723.96        600.26      852.17     839.98     672.13     993.68
     College                         1,452.34      1,118.03     1,748.19     1,335.11       980.61     1,628.22   1,426.65   1,088.77   1,721.26
     All                             1,003.39       804.87      1,164.55      824.57        666.62      942.45     961.99     774.01    1,111.66
     New York
     Less than high school           $508.36       $361.84      $581.36      $464.47       $395.51     $501.85    $484.21    $380.82    $538.19
     High school                         770.97     605.27       882.88       674.37        540.81      757.25     741.78     586.49     844.03
     Some college                        887.24     767.26       996.39       847.35        726.20      951.06     879.55     759.55     987.44
     College                         1,645.04      1,219.04     2,065.09     1,346.21      1,095.30    1,551.38   1,571.27   1,190.70   1,929.63
     All                             1,143.58       912.28      1,337.84      898.57        762.45      994.48    1,075.58    873.61    1,237.19
     Texas
     Less than high school           $509.04       $381.58      $590.67      $460.01       $336.52     $499.71    $480.46    $360.60    $532.97
     High school                         708.50     544.29       820.87       560.35        428.97      642.44     686.70     528.10     793.80
     Some college                        834.46     706.75       950.34       748.77        588.04      848.97     827.61     698.98     940.96
     College                         1,478.70      1,112.44     1,780.94     1,434.92      1,059.65    1,696.07   1,471.99   1,105.00   1,767.11
     All                                 976.43     772.73      1,137.70      747.75        608.71      816.04     932.46     748.01    1,066.16


    Source: EPI analysis of CPS data.




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                RETHINKING THE EFFECTS OF IMMIGRATION ON WAGES

                                       Gianmarco I.P. Ottaviano
                                            Giovanni Peri

                                         Working Paper 12497
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Rethinking the Effects of Immigration on Wages
Gianmarco I.P. Ottaviano and Giovanni Peri
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                                            ABSTRACT

This paper asks the following question: what was the effect of surging immigration on average and
individual wages of U.S.-born workers during the period 1990-2004? We emphasize the need for a
general equilibrium approach to analyze this problem. The impact of immigrants on wages of U.S.-born
workers can be evaluated only by accounting carefully for labor market and capital market interactions
in production. Using such a general equilibrium approach we estimate that immigrants are imperfect
substitutes for U.S.- born workers within the same education-experience-gender group (because they
choose different occupations and have different skills). Moreover, accounting for a reasonable speed
of adjustment of physical capital we show that most of the wage effects of immigration accrue to native
workers within a decade. These two facts imply a positive and significant effect of the 1990-2004
immigration on the average wage of U.S.-born workers overall, both in the short run and in the long
run. This positive effect results from averaging a positive effect on wages of U.S.-born workers with
at least a high school degree and a small negative effect on wages of U.S.-born workers with no high
school degree.


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1     Introduction

During the last three and a half decades the United States has experienced a remarkable surge in immigration.
The share of foreign-born workers in the labor force has steadily grown from 5.3% in 1970 to 14.7% in 20051 ,
progressively accelerating; in the period between 1990 and 2005, almost one million immigrants entered the
country each year. In parallel to this surge, the debate about the economic eﬀects of immigrants on U.S. natives,
and particularly on their wages, has gained momentum both inside academia and in the policy and media arenas.
Two facts have contributed to feeding the debate. On the one hand, the proportion of uneducated workers
(without a high school degree) has become increasingly large among recent immigrants and it is estimated that
an increasing share of these workers is comprised of undocumented immigrants, mainly from Mexico and Central
America2 . On the other hand, the real wage of uneducated U.S.-born workers has performed very poorly: it even
declined in real terms during recent decades (see, for example, Autor, Katz and Kearney, 2005). However, when
scrutinizing the poor wage performance of uneducated U.S. workers in the context of labor market competition
from immigrants the recent empirical literature has provided a mixed set of results.
    Ten years ago an influential survey by Friedberg and Hunt (1995) summarized the literature, concluding
that, “the eﬀect of immigration on the labor market outcomes of natives is small.” Since then, a number of
studies have re-examined the issue, refining the estimates by accounting for important problems related to the
endogeneity of immigrant inflow and the internal migration of U.S. workers. Even with more accurate and
sophisticated estimates at hand, a consensus has yet to be reached: some economists identified only small
eﬀects of immigration on wages (Card, 2001) while others found larger negative eﬀects (Borjas, Friedman and
Katz, 1997)3 . Recently, the latter view of a significant negative impact of immigration on wages, particularly of
uneducated workers, seems to have gained momentum. An influential article by George Borjas (2003), followed
by Borjas and Katz (2007) and Borjas (2006) who use a similar empirical method, argues using national data
from five decennial U.S. Censuses (1960-2000) that U.S. workers lost, on average, about 3% of the real value
of their wages due to immigration over the period 1980-2000 and that this loss reached almost 9% for native
workers without a high school degree (Borjas, 2003, Table IX, page 1369), at least in the short run.
    Our paper builds on the model presented in Borjas (2003), and takes a fresh look at some critical issues
which imply significant revisions of several results. The key idea is that the eﬀects of immigration on wages
can only be measured within a general equilibrium framework. More specifically, a study on the eﬀects of
immigration on wages of workers who diﬀer by education, experience, nativity and gender should build on
a production function that describes how these diﬀerent types of workers interact with each other and with
   1 Authors’ calculations using 1 percent Integrated Public Use Microdata Series (IPUMS) data for the year 1970 and Current

Population Survey March Supplement, Ruggles et al (2006), for the year 2005.
   2 See for instance Passel (2006).
   3 We are aware of only one previous paper, Friedberg (2001), that finds a positive partial eﬀect of immigration on native wages.

In most cases, however, that eﬀect is not significant.



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physical capital to produce output. Then, one can derive the demand for each type of labor, which depends
on the productivity and employment of the other labor types as well as on physical capital. Finally, market
clearing conditions can be used to obtain wage equations from the labor demands and supplies, and these
can be used to estimate empirically the elasticities of substitution (relative wage elasticities) between workers.
Going back to the production function, these estimates can then be used to assess the eﬀect of immigration
(a change in the supply of diﬀerent types of workers) on wages (the marginal productivity of diﬀerent types
of workers). In contrast, several existing empirical studies directly estimate a reduced-form wage equation for
native workers with certain characteristics (such as educational or occupational groups) obtaining the elasticity
of wages with respect to new immigrants in the same group. Such an approach only provides the “partial” eﬀect
of immigration on wages (as it omits all cross-interactions with other types of workers and with capital) and as
such is uninformative on the overall eﬀect of immigrants on wages.
   The general equilibrium approach is accompanied by two novel features of our analysis. First, we remove
the usual assumption that foreign- and U.S.-born workers are perfect substitutes within the same education-
experience-gender group. Whether it is because immigrants tend to choose a diﬀerent set of occupations, because
they are a selected group, or because they have some culture-specific skills, it seems reasonable to allow them
to be imperfect substitutes for natives even within an education-experience-gender group and to let the data
estimate the corresponding elasticities of substitution. While acknowledging that in principle “[im]migrants may
complement some native factors in production... and overall welfare may rise” (Friedberg and Hunt, 1995, page
23), most studies thus far have focused on the partial eﬀects of immigrants on the wages of those native workers
who are their closest substitutes (i.e., within the same occupation, education-experience or skill groups). By
modeling labor as a diﬀerentiated input in general equilibrium, we enlarge the picture to better capture the
eﬀects of immigration within and between diﬀerent groups.
   The second novel feature of our analysis is a more careful consideration of the response of physical capital
to immigration. Since physical capital complements labor it is important to account for its adjustment in the
short and in the long run. In particular, when evaluating the “short run” response of wages to immigration
it seems rather artificial to maintain a fixed stock of capital, while accumulating immigration flows occurring
over ten or twenty years, as is currently done in the literature. Immigration happens gradually over time (not
at the beginning of the decade) and investors respond continuously, although with sluggishness, to increased
marginal productivity of capital caused by immigration. As for the long run response of capital, any model of
growth (Solow, 1956; Ramsey, 1928), and the empirical evidence as well, implies that capital adjusts in order to
maintain a constant real return (and capital output ratio). For the short run, we use estimates of the speed of
adjustment of capital taken from the growth and the real business cycle literature to evaluate the average wage
impact of immigration. We are also able to assess how long it takes for full adjustment to take place. Rather



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than reporting the eﬀects of fourteen years of immigration for fixed capital and for fully adjusted capital, we
are able to estimate the eﬀect of immigration during the 1990-2004 period as of 2004, and then we show that
within the following 5 years the largest part of “the long run eﬀect” has set in.
   Once we account for the aforementioned eﬀects, we significantly revise several commonly estimated eﬀects
of immigrants on the wages of U.S. natives. First, in the long run the average wage of U.S.-born workers
experienced a significant increase (+1.8%) as a consequence of immigration during the 1990-2004 period. Even
in the short run (as of 2004) the average wage of U.S. native workers increased moderately (+0.7%) because
of immigration. This result stems from the imperfect substitutability between U.S.- and foreign-born workers
so that immigration increases the wages of U.S.-born workers at the expense of a decrease in wages of foreign-
born workers (namely, previous immigrants). Second, the group of least educated U.S.-born workers suﬀers a
smaller wage loss than previously calculated. In the long run native workers only lost 1.1% of their real wage
due to the 1990-2004 immigration. Even in the short run (as of 2004) the negative impact was a moderate
2.2% real wage loss. The methodology used in the previous literature would estimate larger losses, around -8%
in the short run and -4.2% in the long run. The fact that uneducated foreign-born do not fully and directly
substitute for (i.e., compete with) uneducated natives is the reason for this attenuation. Third, all other groups
of U.S.-born workers (with at least a high school degree), accounting for 90% of the U.S.-born labor force in
2004, gained from immigration. Their real wage gains in the long run range between 0.7% and 3.4% while even
in the short run they either gain (high school graduates) or have essentially no wage change (college graduates).
Finally, considering only the relative eﬀect of immigration on real wages of natives, namely its contribution to
the widening of the college graduates-high school dropouts wage gap and of the college graduates-high school
graduates wage gap, we find only a small contribution of immigration to the first and a negative contribution
(i.e., reduction of the gap) to the second for the 1990-2004 period. The group whose wage was most negatively
aﬀected by immigration is, in our analysis, the group of previous immigrants; however, it is they who probably
receive the largest non-economic benefits from the immigration of spouses, relatives or friends, making them
more willing to sustain those losses.
   The remainder of the paper is organized as follows. Section 2 summarizes the relevant literature. Section
3 introduces the aggregate production function, derives the demand for each type of labor and identifies the
key parameters for calculating the elasticity of wages to the inflow of immigrants. Section 5 presents the data,
illustrates some preliminary evidence of diﬀerences between native and foreign-born workers in the labor market
and produces the key estimates of the relevant elasticities. Using those estimates, Section 6.1 evaluates the
eﬀect of immigration on the wages of U.S. natives for the period 1990-2004. We revisit, in Section 6.2, the
distinction between short and long run analysis and consider the short run eﬀects (as of year 2004) and the
long run eﬀects (during the following five years and with full capital adjustment) and we compare our results to



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previous findings on the eﬀects of immigration. Finally, in Section 6.4, we analyze by how much immigration
contributed to the increased wage dispersion during the period 1990-2004. Section 7 concludes the paper.



2     Review of the Literature

There is a long list of contributions in the literature dealing with the impact of immigrants on the wages of
natives4 . Some of these studies explicitly consider the contribution of immigration to increased wage dispersion
and to the poor performance of real wages of the least educated since 1980. Two questions are typically analyzed
by the existing literature. The first is imbued with a “macro” flavor: Does the inflow of foreign-born workers
have a positive or negative net eﬀect on the average productivity and wages of U.S.-born workers? This question
requires that we aggregate the wages of heterogeneous workers. The second question is more “micro” in focus:
How are the gains and losses from immigration distributed across U.S.-born workers with diﬀerent levels of
education? The consensus emerging from the literature is that the first (macro) eﬀect on average U.S. wages
is negligible in the long run, as capital accumulates to restore the pre-migration capital-labor ratio. However,
for fixed capital in the short run there can be a large depressing eﬀect of immigration on wages. Most of the
literature represents immigration as an increase in labor supply for a given capital stock (Borjas, 1995, 2003),
and consequently finds a negative impact of immigration on average wages (in the short run) and a positive
impact of immigration on the return to capital due to complementarities between the two factors. The recent
debate, however, has focused on the eﬀects of immigration on the relative wages of more and less educated
U.S.-born workers. Some economists argue for a large, adverse impact on less educated workers (Borjas, 1994,
1999, 2003, 2006; Borjas, Freeman and Katz, 1997), while others favor a smaller, possibly insignificant, eﬀect
(Butcher and Card, 1991; Card, 1990; Card, 2001; Friedberg 2001; Lewis, 2005; National Research Council,
1997). The size and significance of the estimated relative wage eﬀects from immigration remain controversial,
and possibly depend at least in part on the use of local versus national data.
    The present article uses a framework from which both the “macro” (average) and the distributional (relative)
eﬀects of immigration can be derived. We argue that only within such a framework, based on the aggregate
production function and general equilibrium outcomes, can one measure and discuss either of these eﬀects. Our
approach builds on the model employed in Section VII of Borjas (2003) and uses national data in performing
estimations. This approach avoids the problems arising from internal migration of natives and from endogenous
location choice and attenuation bias when using metropolitan or state data5 .
    The modern analysis of the eﬀects of immigrant inflows on the wages of natives began with studies that
treated foreign-born as a single homogeneous group of workers (Grossman, 1982; Altonji and Card, 1991),
   4 This review does not intend to be exhaustive. For a recent and articulate overview of the estimates of the eﬀect of immigration

on wages see Longhi, Nijkamp and Poot (2005).
   5 See Borjas (2006) and Borjas, Freeman and Katz (1997) for a discussion of these issues.




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imperfectly substitutable with U.S.-born workers. A number of studies on the relative supply of skills and
relative wages of U.S.-born workers made clear, however, that workers with diﬀerent levels of schooling and
experience are better considered as imperfectly substitutable factors (Katz and Murphy, 1992; Welch, 1979; Card
and Lemieux, 2001). As a consequence, more recent analysis has been carried out partitioning workers among
imperfectly substitutable groups (by education and experience) while assuming perfect substitution of native-
and foreign-born workers within each group (Borjas, 2003). The present article combines the two approaches in
the sense that both can be seen as special cases nested in our more general framework. Specifically, we assume the
existence of an aggregate production function that combines workers and physical capital, while using education,
experience, gender and place of origin (U.S. versus elsewhere) to categorize imperfectly substitutable groups.
Following Borjas (2003), we choose a constant elasticity of substitution (CES) technology but, diﬀerently from
that article, we treat the two groups of U.S.- and foreign-born workers as not perfectly substitutable and we
partition them across eight experience levels and four educational attainment classes. We also allow males and
females to be imperfectly substitutable in order to check whether within education-experience cells the gender
composition of immigrants aﬀected the gender-specific wage of natives. Within this framework we estimate three
sets of elasticities: (i) between U.S.- and foreign-born workers within education-experience groups, separately for
males and females as well as together; (ii) between experience levels within education groups; and (iii) between
education groups. There is scant literature estimating the first set of elasticity parameters. Often, however,
imperfect substitution between natives and immigrants has been cited as the reason for finding small wage eﬀects
of immigration on natives and larger negative eﬀects on wages of previous immigrants (see Longhi, Nijkamp and
Poot, 2005, page 468-469 for a discussion of this issue). We are only aware of two studies that explicitly estimate
the elasticity of substitution between natives and immigrants, namely Jaeger (1996) which only used 1980-1990
metropolitan data and whose estimates may be susceptible to attenuation bias and endogeneity problems related
to the use of local data6 , and Cortes (2006) who considers low-skilled workers and uses metropolitan area data
to find a rather low elasticity of substitution between U.S.- and foreign-born workers7 . The other two sets of
elasticities (between experience and between education groups) have been estimated in several studies (Card
and Lemieux, 2001; Katz and Murphy, 1992; Angrist, 1995; Ciccone and Peri, 2005) and are found to be around
2 (across education groups) and around 4 (across experience groups).
    As for physical capital, we explicitly consider its contribution to production and treat its accumulation
as driven by market forces that equalize its real returns in the long run. In particular, we revise the usual
approach that considers capital as fixed in short run simulations. The growth literature (Islam, 1995; Caselli,
et al. 1996) and real business cycle literature (e.g. Romer, 2006, Chapter 4) has estimated, using yearly data
  6 Jaeger   (1996) is also the only previous work we know of that considers male and female workers separately when analyzing the
substitutability between U.S.- and foreign-born.
   7 A recent paper by Manacorda, et al. (2006) applies a similar framework as this paper to British data and finds values of the

elasticity of substitution between natives and immigrants similar to those found in the present paper.



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on capital accumulation and diﬀerent types of shocks, the speed of adjustment of capital to deviations from its
long run growth path. Adopting 10% per year as a reasonable estimate of the speed of adjustment of physical
capital in the U.S. (confirmed by our own estimates for the 1960-2004 period) we analyze the impact of yearly
immigration on average wages as capital adjusts. We can evaluate the eﬀect of immigration that occurred in the
period 1990-2004 on average wages as of 2004, and we can evaluate its eﬀects after five or ten more years. This
is an important departure from the literature, which has not paid much attention to the response of physical
capital to immigration. When evaluating the wage eﬀects of immigration, the prevalent assumption has been
that of a fixed capital stock in the short run (Borjas, 1995; Borjas, 2003, Borjas, Freeman and Katz, 1997;
Borjas and Katz, 2007).
   Some studies on the eﬀects of immigration on wages have specifically focussed on immigration (along with
trade) as a proposed explanation for the worsening of income distribution in the U.S. during the years following
1980. In particular, Borjas, Friedman and Katz (1997) found that immigration contributed to the widening
of the wage gap between high school dropouts and high school graduates during the 1980-1995 period but did
not contribute to the widening of the college graduate-high school graduate wage gap. In light of new studies
(notably Autor, Katz and Kearney, 2005, 2006) that further document the evolution of college graduate-high
school graduate and high school graduate-high school dropout wage gaps during the 1990-2005 period, and in
light of our new results that reduce the adverse impact of immigration on wage distribution, we revisit this arm
of the literature by calculating the contribution of immigration to wage dispersion for the 1990-2004 period.
   Finally, as mentioned earlier, several studies on the relative wage eﬀects of immigrants have analyzed local
data (e.g., for metropolitan areas) accounting for the internal migration response of U.S. natives (Card, 2001;
Card and Di Nardo, 2000; Lewis, 2005) and correcting for the endogeneity of immigrant location choice (both
factors would cause an attenuation bias in the estimates). These studies find a small negative partial eﬀect of
immigrants on wages. On the other hand, our recent work (Ottaviano and Peri, 2005, 2006, 2007) and recent
work by David Card (Card 2007) points out a positive and significant eﬀect of immigration on the average
wage of U.S. natives across U.S. states and metropolitan areas. This positive and significant eﬀect survives
2SLS estimation, using instruments that should be exogenous to city-specific unobservable productivity shocks.
The complementarities in production illustrated in this paper are able to reconcile the negative partial eﬀects
of immigrants on wages estimated in previous studies (such as Borjas 2003) with the positive average eﬀect of
immigration on native wages at the local level8 .
  8 The   city model is developed in greater detail in Ottaviano and Peri (2007).




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3     Theoretical Framework

In order to evaluate the eﬀects of immigrants on the wages of natives and other foreign-born workers when each
group diﬀers by education, experience and gender we need a model of how the marginal productivity of a given
type of worker changes in response to changes in the supply of other types. At the same time, it is important to
account for the response of physical capital to immigration. A simple and popular way of doing this is to assume
an aggregate production function in which aggregate output (the final good) is produced using a combination
of physical capital and diﬀerent types of labor.


3.1    Production Function

Following Borjas (2003) who builds on Card and Lemieux (2001), we choose a nested CES production function, in
which physical capital and diﬀerent types of labor are combined to produce output. Labor types are first grouped
according to education and experience characteristics; experience groups are nested within educational groups,
that are in turn nested into a labor composite. U.S.-born and foreign-born workers and, within each of those
groups, men and women are allowed a further degree of imperfect substitutability within the same education and
experience cell. While the nested CES function imposes restrictions on the elasticities of substitution across skill
groups it has the advantage of being parsimonious in parameters and widely used. Moreover, it yields results
easily comparable with a large body of articles in the labor and macro literature. The aggregate production
function we use is given by the following expression:


                                                               1−α
                                                   Yt = At Lα
                                                            t Kt                                                (1)

where Yt is aggregate output , At is total factor productivity (TFP), Kt is physical capital, Lt is a CES
aggregate of diﬀerent types of labor (described below), and α ∈ (0, 1) is the income share of labor. All variables,
as indicated by the subscripts, are relative to year t. The production function is a constant returns to scale
(CRS) Cobb-Douglas combination of capital Kt and labor Lt . Such a functional form has been widely used
in the macro-growth literature (recently, for instance, by Jones, 2005 and Caselli and Coleman, 2006) and is
supported by the empirical observation that the share of income going to labor, α, is reasonably constant in the
long run and across countries (Kaldor, 1961; Gollin, 2002). The labor aggregate Lt is defined as:

                                                   " 4          # δ−1
                                                                   δ
                                                    X       δ−1
                                              Lt =     θkt Lkt
                                                             δ
                                                                                                                (2)
                                                      k=1

   where Lkt is an aggregate measure of workers with educational level k in year t; θkt are education-specific
                                         P
productivity levels (standardized so that k θkt = 1 and any common multiplying factor can be absorbed in the



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TFP term At ). As is standard in the labor literature, we group educational achievements into four categories
so that k = 1 denotes high school dropouts (HSD) , k = 2 denotes high school graduates (HSG), k = 3
college dropouts (COD) and k = 4 college graduates (COG). The parameter δ > 0 measures the elasticity
of substitution between workers with diﬀerent educational achievements. Within each educational group we
assume that workers with diﬀerent experience levels are also imperfect substitutes. In particular, following the
specification used in Card and Lemieux (2001), we write:

                                                    ⎡          ⎤ η−1
                                                                  η

                                                     X8    η−1
                                            Lkt             η ⎦
                                                  = ⎣ θkj Lkjt                                                 (3)
                                                     j=1



where j is an index spanning experience intervals of five years between 0 and 40, so that j = 1 captures workers
with 0 − 4 years of experience, j = 2 those with 5 − 9 years, and so on. The parameter η > 0 measures
the elasticity of substitution between workers in the same education group but with diﬀerent experience levels
                                                                                   P
and θkj are experience-education specific productivity levels (standardized so that j θkj = 1 for each k and
assumed invariant over time, as in Borjas, 2003). Since we expect workers within an education group to be
closer substitutes than workers across diﬀerent education groups, our prior (consistent with the findings of the
literature) is that η > δ. Distinct from most of the existing literature, we define Lkjt as a CES aggregate of
U.S.-born and foreign-born workers. Denoting the number of workers with education k and experience j who
are, respectively, U.S.-born and foreign-born, by Hkjt and Fkjt , and the elasticity of substitution between them
by σ > 0, our assumption is that:

                                             ∙        σ−1           σ−1
                                                                          ¸ σ−1
                                                                             σ
                                                       σ             σ
                                     Lkjt = θHkjt Hkjt + θF kjt Fkjt                                           (4)

The terms θHkjt and θF kjt measure the specific productivity levels of foreign- and U.S.-born workers and they
may vary across groups and years (in the empirical identification we impose a systematic structure on their
time variations) . They are standardized so that (θHkjt + θF kjt ) = 1. Foreign-born workers are likely to have
diﬀerent abilities pertaining to language, quantitative skills, relational skills and so on. These characteristics,
in turn, are likely to aﬀect their choices of occupation and their abilities in the labor force, therefore foreign-
born workers are diﬀerentiated enough to be imperfect substitutes for U.S.-born workers, even within the same
education and experience group. Diﬀerent productive characteristics between men and women could also imply
imperfect substitutability between genders within the groups of native and foreign-born workers. While the
gender gap literature does not explicitly explore the possibility that men and women are imperfect substitutes
in production, recent studies emphasize the use of diﬀerent skills and diﬀerent task performances between men
and women (Bacolod and Blum, 2006; Black and Spitz-Oener, 2007). Hence in Section 5 below, we test the
degree of substitutability between U.S.-born men and women and foreign-born men and women allowing any


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degree of substitutability between men and women within education-experience-nationality cells. In practice,
we allow each of the terms Hkjt and Fkjt to be CES aggregates of gender-specific labor units that can be
represented as:


                                   λ−1                 λ−1     λ                        λ−1                λ−1     λ
              Hkjt = (θHMkjt HMkjt
                               λ
                                   + θHW kjt HWλkjt ) λ−1 , Fkjt = (θF Mkjt FMkjt
                                                                              λ
                                                                                  + θF W kjt FWλkjt ) λ−1                       (5)

    where HMkjt and FMkjt measure male employment and HW kjt and FW kjt measure female employment
among natives and immigrants, respectively, and the terms θHMkjt , θHW kjt θF Mkjt θF W kjt capture their
respective productivity. In the empirical part we test whether the restriction 1/λ = 0, which would imply
perfect substitution between men and women, is rejected by the data or not. Ultimately, we allow the empirical
analysis to reveal whether U.S.-born workers and foreign-born workers within the same education and experience
group are perfect substitutes or not and whether their substitutability depends on their gender or only on their
foreign origin.9
    A simplification adopted here is that the elasticity of substitution between U.S.- and foreign-born, σ, is
taken to be equal across education and experience groups. Such a simplification seems empirically sound— in
fact in Ottaviano and Peri (2006) we allowed diﬀerent elasticities between diﬀerent education groups (namely
σ k , for k = HSD, HSG, COD, COG) and we could never reject the restriction of identical values across groups
(σk = σ). At the same time such a restriction allows us to estimate much more precisely the parameter σ since
we can pool observations from all education and experience groups.


3.2     Physical Capital Adjustment

Physical capital adjustment to immigration may not be immediate. However, investors respond continuously to
inflows of labor and to the consequent increase in the marginal productivity of capital; how fast they respond
is an empirical question. Further, immigration is not an unexpected and instantaneous shock. It seems odd,
therefore, to treat the short run eﬀect as the impact of immigration with a fixed capital stock, which prompts
the question: for how long is capital fixed and why? Immigration is an ongoing phenomenon, distributed
over years, predictable and rather slow. Despite the acceleration in legal and illegal immigration after 1990,
the inflow of immigrants measured less than 0.6% of the labor force each year between 1960 and 2004. It is
reasonable, therefore, to think of this issue more dynamically with investments continuously responding to the
flow of immigrant workers. In a dynamic context the relevant parameter in order to evaluate the impact of
immigration on average wages is the speed of adjustment of capital. In the long run, on the balanced growth
path, such as in the Ramsey (1928) or the Solow (1956) models, the variable ln(Kt /Lt ) follows a constant
   9 The standard assumption in the literature has been, so far, to impose that L
                                                                                  kjt = Hkjt + Fkjt , i.e., that once we control for
education and experience, foreign-born and natives of either gender are workers of identical type.




                                                                   10


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positive trend growth determined only by total factor productivity (ln At ) and is not aﬀected by the size of Lt .
Therefore the average wage in the economy, which depends on Kt /Lt , does not depend on immigration in the
long run. Shocks to Lt , such as immigration, however, may temporarily aﬀect the value of Kt /Lt , causing it
to be below its long run trend. How much and for how long ln(Kt /Lt ) remains below trend as a consequence
of immigration depends on the yearly inflow of immigrants and on the yearly rate of adjustment of physical
capital. The theoretical and empirical literature on the speed of convergence of a country’s capital per worker
to its own balanced growth path (Islam, 1995; Caselli et al. 1996), as well as the business cycle literature on
capital adjustment (Romer, 2006), provide estimates for such speed of adjustment that we can use together
with data on total yearly immigration to obtain the eﬀect of immigration over 1990-2004 on average wages in
2004 and in the subsequent 5 to 10 years as capital continues to adjust. We devote the next section, 3.2.1, to
showing in detail the connection between average wages and the capital-labor ratio. In our empirical analysis
we first focus on the long run eﬀects of immigration (Section 6.1), allowing for full capital adjustment, as a
natural reference. Then in Section 6.2 we use the estimated speed of capital adjustment to show the eﬀect of
fourteen years of immigration (1990-2004) on wages as of the year 2004, and we compare those results with the
traditional way of computing “short run” eﬀects on wages.


3.2.1    Partial Adjustment, Total Adjustment and Wages

Given the production function in (1) the eﬀect of physical capital Kt on the wages of individual workers operates
through the eﬀect on the marginal productivity of the aggregate Lt . Let us call wtL the compensation to the
composite factor Lt , which is equal to the average wage in the economy10 . In a competitive market it equals
the marginal productivity of Lt , hence:

                                                                   µ        ¶1−α
                                                       ∂Yt             Kt
                                               wtL   =     = αAt                                                          (6)
                                                       ∂Lt             Lt

   Assuming either international capital mobility or capital accumulation along the balanced growth path of
the Ramsey (1928) or Solow (1956) models, the real interest rate r and the aggregate capital-output ratio Kt /Yt
                                                                                                                   1
are both constant in the long run and the capital-labor ratio Kt /Lt grows at a constant rate equal to            1−α   times
the growth rate of technology At . This assertion is also supported in the data, as the real return to capital
and the capital-output ratio in the U.S. did not exhibit any trend in the long run while the capital-labor ratio
grew at a constant rate (Kaldor, 1961). In particular, this is true for our period of consideration 1960-2004. As
depicted in Figure 1 the capital-output ratio (Kt /Yt ) shows small deviations around a constant mean over the
44 years considered. Moreover, the de-trended log capital-labor ratio, ln(Kt /Lt ), shown in Figure 2 exhibits
  10 The “average wage” wL is obtained by averaging the wages of each group (by education, skill and nativity), weighting them
                           t
by the share of the group in total employment.




                                                             11


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remarkably fast mean reversion, as evidenced by the fact that the path of the variable crosses the mean (equal
to 0) eleven times in the sample. This suggests that deviations from the trend do not take more than 4 years,
on average, to be eliminated11 . In order to show the eﬀect of diﬀerent patterns of capital adjustment on the
average wage (wtL ) it is useful to write the capital stock as Kt =κt Lt , where κt is the capital-labor ratio. Hence
wtL (from equation 6) can be expressed in the following form:


                                                                          1−α
                                                       wtL = αAt (κt )                                           (7)

    Calculating the marginal productivity of capital and equating it to the interest rate, r augmented by capital
                                                                                                ³     ´ α1 1
depreciation δ, we obtain the expression for the balanced growth path capital-labor ratio, κ∗t = 1−α
                                                                                                  r+δ     Atα . Sub-
                                                                                        ¡ ¢∗        ³     ´ 1−α
                                                                                                             α     1
stituting it into equation (7) implies that the average wage in balanced growth path, wtL = α 1−α     r+δ        Atα
does not depend on the total supply of workers Lt . Hence, in the short run, the change in labor supply due to
immigration aﬀects average wages only if (and by the amount that) it aﬀects the capital-labor ratio. Assuming
that the technological progress (∆At /At ) is exogenous to the immigration process, the percentage change in av-
erage wages due to immigration can be expressed as a function of the percentage response of κt to immigration.
Taking partial log changes of (7) relative to immigration we have:

                                                                µ         ¶
                                             ∆wtL                   ∆κt
                                                  = (1 − α)                                                      (8)
                                             wtL                    κt     immigration

   where (∆κt /κt )immigration is the percentage deviation of the capital-labor ratio from kt∗ due to immigration.
With full capital adjustment and the economy in balanced growth path, (∆κt /κt )immigration equals 0. At the
same time, if one assumes fixed total capital, Kt = K, then (∆κt /κt )immigration equals the negative percentage
change of employment due to immigration: − ∆F
                                           Lt , where ∆Ft is the increase in foreign-born workers in the
                                              t



period considered and Lt is the labor aggregate at the beginning of the period. In the extreme case in which
we keep capital unchanged over fourteen years of immigration, 1990-2004, the inflow of immigrants, equal to
roughly 11% of the initial labor force, combined with a capital share (1 − α) equal to 0.34, implies a negative
eﬀect on average wages of 3.5 percentage points.
   Accounting for the sluggish yearly response of capital and for yearly immigration flows, however, we can
estimate the actual response of the capital-labor ratio to immigration flows in the 1990-2004 period without
the extreme assumption that capital be fixed for 14 years. We do this in Section 6.2 when we revisit the short
run/long run analysis.
 11 We   analyze the capital data and their dynamic behavior empirically in section 6.2.




                                                                12


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3.3       Eﬀects of Immigration on Wages

We use the production function (1) to calculate the demand functions and wages for each type of labor at a given
point in time. Choosing output as the numeraire good, in a competitive equilibrium the (natural logarithm of)
the marginal productivity of U.S.-born workers (H) in group k, j, equals (the natural logarithm of) their wage:



                                                   µ     ¶                   µ       ¶
                 ¡              ¢ 1                  1 1                       1   1                       1
ln wHkjt = ln        αAt κ1−α
                          t      + ln(Lt )+ln θkt −   −    ln(Lkt )+ln θkjt −    −     ln(Lkjt )+ln θHkjt − ln(Hkjt )
                                  δ                  δ η                       η σk                        σk
                                                                                                                (9)
To keep notation less cumbersome and because men-women diﬀerences are not the focus of this paper, in the
current section we maintain the aggregate male-female notation within education-experience-nativity groups.
Hence Hkjt (Fkjt ) represents the total input of male and female U.S.-born (foreign-born) workers of education
k and experience j and wHkjt (wF kjt ) represents the average wage of the group. In general Hkjt and Fkjt are
the aggregates described by (5). However if men and women of the same education, experience and place of
birth are perfectly substitutable the aggregates Hkjt and Fkjt are simply the sum of male and female U.S.-born
(foreign-born) workers in the group12 . We assume that the relative eﬃciency parameters, as well as total factor
productivity At , depend on technological factors and are therefore independent from the supply of foreign-born.
   We denote the change in the supply of foreign-born due to immigration between two censuses in group k, j
as ∆Fkjt = Fkjt+10 − Fkjt . We can use the demand function (9) to derive the eﬀect of immigration on native
wages. The overall impact of immigration on natives with education k and experience j can be decomposed into
three eﬀects that operate through Lkjt , Lkt and Lt . First, a change in the supply of foreign-born workers with
education k and experience j aﬀects the wage of natives with identical education and experience by changing
each one of the terms Lkjt , Lkt and Lt in expression (9). Second, a change in the supply of foreign-born workers
with education k and experience i 6= j aﬀects the wage of natives with identical education k but diﬀerent
experience j by changing the terms Lkt and Lt . Third, a change in the supply of foreign-born workers with
education m 6= k aﬀects native workers with diﬀerent education k only through a change in Lt . Aggregating
the changes in wages resulting from immigration in each skill group, as well as the response of the capital-labor
ratio κt , yields the wage change due to immigration for each U.S.-born worker13 .
   Before expressing the formula for the total eﬀect of immigration on the wage of a U.S.-born worker of
education k and experience j, let us show the formula for a partial eﬀect of the type emphasized in the large
part of the previous literature. If we only consider the impact of immigrants with education k and experience j
on the wages of natives with identical education and experience, keeping the aggregates Lkt , Lt and κt constant,
we obtain what much of the previous literature calls the “eﬀect of immigrants on wages”. This, in fact, measures
 12 This,  in fact, seems to be the empirically relevant case as we show in section 5.1.
 13 The   exact expression for each of the eﬀects described above is provided in Appendix 1 of Ottaviano and Peri (2006).



                                                                13


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a partial eﬀect, keeping supply in all other skill groups constant and keeping constant the aggregates Lkt and
Lt . Such eﬀects have been estimated in the existing literature by regressing the wage of natives ln(wHkjt ) on
the total number of immigrants in the same group k, j in a panel across groups over census years, controlling for
year-specific eﬀects (absorbing the variation of Lt ) and education-by-year specific eﬀects (absorbing the variation
of Lkt ) (e.g., Borjas 2003). The resulting partial elasticity, expressed as the percentage variation of native wages
(∆wHkjt /wHkjt ) in response to the percentage variation of foreign employment in the group (∆Fkjt /Fkjt ), is
given by the following expression:

                                                         ¯                        ∙µ           ¶µ            ¶¸
                                          ∆wHkjt /wHkjt ¯¯                             1   1        sF kjt
                            εpartial    =                                     =          −                                              (10)
                             kjt
                                           ∆Fkjt /Fkjt ¯Lkt ,Lt    constant            σ η           skjt

The variable sF kjt is the share of overall wages paid in year t to foreign workers in group k, j, namely sF kjt =
S     S     wF kjt Fkjt                                       S    wF kjt Fkjt +wHkjt Hkjt
                                                                   S
                                      . Analogously, skjt =                                           is the share of the total wage
  m    i (wF mit Fmit +wHmit Hmit )                           m     i (wF mit Fmit +wHmit Hmit )

bill in year t accounted for by all workers in group k, j.
   By construction, the elasticity εpartial
                                    kjt     captures only the eﬀect of immigration on native wages operating
                ³       ´
through the term η1 − σ1 ln(Lkjt ) in (9). According to the standard assumption in the existing literature, U.S.-
and foreign-born workers are perfect substitutes within group k, j (σ = ∞) and share the same eﬃciency (θ kjHt =
θkjF t ) which implies sF kjt /skjt = κF kjt /κkjt , where κNkjt denotes the share of total employment represented by
workers of nativity N (= H, F ), education k, experience j in year t, namely κF kjt =                        S    S Fkjt           .   Given
                                                                                                              m    i (Fmit +Hmit )

these assumptions, expression (10) simplifies to εpartial
                                                  kjt     = − η1 : the harder it is to substitute between workers
with diﬀerent levels of experience (i.e., the lower η), the stronger is the negative impact that immigrants have on
the wages of natives with similar education and experience. In the general case that we consider (0 < σ < ∞),
εpartial
 kjt     is still negative but smaller in absolute value than          1
                                                                       η,   the reason being that the negative wage eﬀect of
immigrants on natives is partly attenuated by their imperfect substitutability.
    Using estimates of the parameters σ and η, as well as data on wages and employment, the partial elasticity
εpartial
 kjt     can be easily calculated (see Section 5.3 below). The problem is that this elasticity does not provide any
indication of the total eﬀect of immigration on the wages of natives in group k, j. The reason is that in order to
calculate the total eﬀect we also need to account for the changes in Lkt and Lt produced by immigration, as well
as for the fact that immigration alters the supply of foreign-born workers in all other education and experience
groups and, finally, for the response of κt to immigration. Once we do so, and aggregate all the eﬀects, the total
eﬀect of immigration on the wages of native workers in group k, j is given by the following expression:




                                                                  14


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            µ              ¶T otal                 µ              ¶ µ           ¶µ ¶Xµ                     ¶
                ∆wHkjt                     1 XX             ∆Fmit         1 1        1               ∆Fkit
                                      =              sF mit          +      −                 sF kit         +        (11)
                 wHkjt                     δ m i             Fmit         η δ       skt   i
                                                                                                     Fkit
                                             µ       ¶µ      ¶µ               ¶           µ     ¶
                                               1   1      1             ∆Fkjt               ∆κt
                                           +     −               sF kjt         + (1 − α)
                                               σ η      skjt             Fkjt               κt immigration

    It is easy to provide intuition for each term in expression (11) by referring to the labor demand equation
                   XX³                   ´
(9). The term 1δ            sF mit ∆Fmit
                                   Fmit    is the positive, total eﬀect on the productivity of workers in group
                       m      i
k, j due to the increase in supply of all types of labor; that is, home labor benefits from the increase in
aggregate labor caused by imperfectly substitutable workers. This eﬀect operates through 1δ ln(Lt ) in (9) which
                               ³        ´³ ´X³                 ´
                                                         ∆Fkit
is positive for δ > 0. The term η1 − 1δ    1
                                          skt      sF kit Fkit   is the additional negative eﬀect on productivity
                                                            i
generated by the supply of immigrants within the same education group. Since those immigrants are closer
substitutes for natives in group k, j than workers in other education groups, they have an additional depressing
                                                                 ³      ´
eﬀect on their wage. This eﬀect operates through the term 1δ − η1 ln(Lkt ) in (9) which is negative if η > δ.
          ³       ´³       ´³             ´
                                    ∆Fkjt
The term σ1 − η1       1
                      skjt   sF kjt Fkjt    is the additional negative eﬀect due to the supply of immigrants with
                                                                                                 ³      ´
the same education and experience as natives in group k, j. This eﬀect operates through η1 − σ1 ln(Lkjt )
                                                                                                      ∆Fkjt
in (9) and it is exactly the partial eﬀect εpartial
                                            kjt     multiplied by the percentage change               Fkjt .   Finally, the
term (1 − α) (∆κt /κt )immigration is the wage change due to imperfect capital adjustment and operates through
  ¡         ¢
ln αAt κ1−α
        t     in (9). Clearly, since the total eﬀect aggregates the partial eﬀect plus 40 other cross-eﬀects (32
in the double summation and 8 in the single summation) and a capital-adjustment term, it will typically be
                                      ∆Fkjt
very diﬀerent from εpartial
                    kjt     ∗          Fkjt .
                                 In fact, when immigration is large in groups with education and experience
                                ³        ´T otal
                                  ∆wHkjt
diﬀerent from k and j, the eﬀect wHkjt           tends to be positive, while when immigration is large in the
                                                                      ³        ´T otal
                                                                        ∆wHkjt
group with the same education and experience as k and j, the eﬀect wHkjt               tends to be negative. In
                                      ∆Fkjt
contrast, the eﬀect εpartial
                     kjt     ∗        Fkjt      would always be negative for reasonable parameters values.
   As they are not perfect substitutes for U.S.-born workers, the impact of immigrants on wages of foreign-
born workers would be somewhat diﬀerent. The percentage change in wages of foreign-born of education k and
experience j as a consequence of total immigration is:



      µ             ¶T otal                   µ              ¶ µ          ¶µ ¶Xµ                      ¶
          ∆wF kjt                     1 XX             ∆Fmit        1 1        1                ∆Fkit
                                  =             sF mit         +      −                  sF kit         +             (12)
           wF kjt                     δ m i            Fmit         η δ       skt   i
                                                                                                 Fkit
                                        µ       ¶µ      ¶µ              ¶           µ     ¶
                                          1   1      1            ∆Fkjt               ∆κt                  1 ∆Fkjt
                                      +     −              sF kjt         + (1 − α)                      −
                                          σ η      skjt            Fkjt                κt immigration σ Fkjt

   The first four terms of expression (12) are identical to those in (11). Immigration in all other skill groups
(and capital adjustment) has the same eﬀect on the wages of U.S.- and foreign-born workers in group k, j.


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However, immigrants in the k, j group itself have an extra negative impact on the wages of foreign-born in the
                                                      ∆Fkjt
same group, represented by the final term − σ1        Fkjt .   This term is negative for σ > 0 . Immigrants compete in
occupations, sectors and jobs with previous immigrants more than natives and this causes an additional negative
eﬀect on the wage of foreign-born workers. For σ = ∞, the eﬀects of immigration on the wages of workers in
group k, j would be identical, independent of their nativity.
      Using the percentage change in wages for each skill group, we can then aggregate and find the eﬀect of immi-
gration on several representative wages. The average wage for the whole economy in year t, inclusive of U.S.- and
                                                                  P P
foreign-born workers, is given by the following expression: wt = k j (wF kjt κF kjt + wHkjt κHkjt ). Similarly,
the average wage of U.S.-born and foreign-born workers can only be expressed as weighted averages of individ-
                          P P                  P P                       P P                  P P
ual group wages: wHt = k j (wHkjt κHkjt )/ k j κHkjt and wF t = k j (wF kjt κF kjt )/ k j κF kjt ,
respectively (recall that the variables κN kjt represent shares in total employment). The percentage change in
the average wage of native workers as a consequence of changes in each group’s wage due to immigration is
given by the following expressions:

                                         P P      ∆wHkjt wHkjt                P P            ∆wHkjt
                               ∆wHt        k   j ( wHkjt wHt κHkjt )              k       j ( wHkjt )sHkjt
                                    =          P P                        =           P P                                                 (13)
                               wHt                k   j   κHkjt                           k       j   sHkjt

              ∆wHkjt
      where   wHkjt    represents the percentage change in the wage of U.S.-born in group k, j due to immigration,
and its expression is given in (11). Similarly, the percentage change in the average wage of foreign-born workers
is:

                                         P P      ∆wF kjt wF kjt              P P            ∆wF kjt
                               ∆wF t       k   j ( wF kjt wF t κF kjt )           k       j ( wF kjt )sF kjt
                                     =         P P                        =           P P                                                 (14)
                                wF t              k   j   κF kjt                          k       j   sF kjt

      Finally, by aggregating the total eﬀect of immigration on the wages of all groups, native and foreign, we can
obtain the eﬀect of immigration on average wages:



                       µ                                                  ¶       X X µ ∆wF kjt                                           ¶
      ∆wt X X              ∆wF kjt wF kjt          ∆wHkjt wHkjt                                                            ∆wHkjt
         =                                κF kjt +              κHkjt         =                                 sF kjt +          sHkjt
      wt    j
                            wF kjt wF t            wHkjt wHt                                  j
                                                                                                       wF kjt              wHkjt
               k                                                                      k
                                                                                                                                          (15)


      Recall that the variables sN kjt represent the share in total wages and notice that the correct weighting to
obtain the percentage change on average wages is the share in the wage bill and not the share in employment.
Due to constant returns to scale of the aggregate production function (1), while some of the wage changes are
positive and others negative, when weighted by their wage shares the summation of these changes equals 0
once capital has adjusted fully (i.e., in the long run); hence, the change in the overall average wage in (15) is
approximately 0 in the long run. However, if U.S.- and foreign-born workers are not perfectly substitutable,


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the overall eﬀect on the wage of U.S.-born workers (13) need not be 0 but will be positive instead and the
eﬀect on the average wage of foreign-born workers (14) will be negative. We also adopt the same averaging
procedure (weighting percentage changes by wage shares) in calculating the eﬀect of immigration on specific
groups of U.S.-born and foreign-born workers. For instance, the changes in average wages of college educated,
                                   P ³ ∆wHCOGjt           ´ P
U.S.-born workers is calculated as j wHCOGjt       sHCOGjt / j sHCOGjt and the change in average wages of
                                                    P ³ ∆w HSDjt         ´ P
foreign-born, high school dropouts is calculated as: j wFFHSDjt  sF HSDjt / j sF HSDjt , and so on.



4     Data Description and Preliminary Evidence

The data we use are from the integrated public use microdata samples (IPUMS) of the U.S. Decennial Census
and of the American Community Survey (Ruggles et al, 2005). In particular, we use the general (1%) sample
for Census 1960, the 1% State Sample, Form 1, for Census 1970, the 5% State sample for the Censuses 1980
and 1990, the 5% Census Sample for year 2000 and the 1/239 American Community Survey (ACS) Sample for
the year 2004. Since those are all weighted samples we use the variable “personal weight” to construct all the
average and aggregate statistics below. We consider people aged 17 to 65 not living in group quarters, who
worked at least one week in the previous year and earned a positive amount in salary income. We convert
the current wages to constant wages (in 2000 U.S. $) using the C.P.I.-based deflator across years. We define
the four schooling groups using the variable that identifies the highest grade attended (called “HIGRADEG”
in IPUMS) for Censuses 1960 to 1980, while we use the categorical variable (called “edu99” in IPUMS) for
Censuses 1990 and 2000 and ACS 2004. Years of experience are eﬀectively years of potential experience. They
are calculated using the variable “age” and assuming that people without a high school degree enter the labor
force at age 17, people with high school degree enter at 19, people with some college enter at 21 and people
with a college degree enter at 23. Finally, yearly wages are based on the variable salary and income wage (called
“INCWAGE” in IPUMS). Weekly wages are obtained by dividing that value by the number of weeks worked14 .
The status of “foreign-born” is given to those workers whose place of birth (variable “BPL”) is not within the
USA (or its territories overseas) and did not have U.S. citizenship at birth (variable “CITIZEN”)15 . Gender
is indicated as M (male) and W (female). The average wage for workers in a cell, (the variable wN Gkjt for
G = {M, W }, N = {H, F }, k = {HSD, HSG, COD, COG} and j = {1, 2..., 8}) is calculated as the weighted
average of individual wages in the cell using the personal weight (“PERWT”) assigned by the U.S. Census.
The total number of workers in each cell (HMkjt FMkjt , HW kjt and FW kjt ) is calculated as the weighted sum
of workers belonging to that cell. These data also allow us to construct the variables κN kjt and sNkjt , the
  14 For the Census 1960 and Census 1970 only a categorical variable that measures weeks worked exists and is called ”WKSWRK2”.

Individuals are assigned the middle value of the variable in the interval.
  15 The variable CITIZEN is not available in Census 1960. For that year we consider all people born outside the U.S. as foreign-

born.




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share of each group in the total wage bill and in total employment for each represented year t. These data are
used to estimate the parameters δ, η, σ and λ needed to calculate the eﬀects of immigration on the wage of
each type of worker. When estimating the structural parameters δ, η, σ and λ we always use the whole panel
of data, 1960-2004. When we simulate the eﬀects of immigration on real wages we focus on the most recent
period, 1990-2004. Before proceeding with the econometric analysis, let us present some salient features of the
immigration and wage data as well as some simple statistics suggesting the plausibility of the hypothesis of
imperfect substitutability between U.S.- and foreign-born workers with similar education and experience.
   Table A1 in the Appendix reports the share of foreign-born workers in each education-experience group for
each of the years considered, pooling men and women together. In the rows marked as “All Experience Levels”
we report the share of foreign-born for the whole educational group. One fact emerges even from a cursory
look at the table. The distribution of foreign-born across educational groups has been uneven (and increasingly
so) over the period considered. In 2004, almost 35% of the workers with no degree were foreign-born, with
some experience sub-groups counting more than 40% foreign-born. Following this group, college graduates
represent the second highest concentration of foreign-born: almost 15% in the overall group, reaching 18% in
some experience sub-groups. In contrast, the group of college dropouts contained only 9.5% of foreign-born
workers and, in some experience sub-groups, they were less than 8% of the total. Foreign-born were, and
increasingly are, over-represented among the groups of workers with the lowest and highest education levels and
are under-represented among the two intermediate groups.
   Table A2 in the Appendix reports the real weekly wages (in 2000 U.S. $) for U.S. native workers in each
education and experience group in each of the years considered. The wages for each group are calculated as
described above. The fact that emerges from Table 2 is the poor performance of real weekly wages of U.S.-
born workers without a high school degree, especially during the last two and a half decades. In contrast, the
performance of real wages of college educated workers has been very strong, particularly during the last two
and a half decades, with the two intermediate schooling groups performing in between.
   A synthetic and eﬀective representation of the two facts described above, focussing on the most recent 14
years, is presented in two figures. Figure 3 illustrates the percentage growth of immigrant employment for each
of the four educational groups. The lightly shaded columns represent immigrants for the 1990-2000 period as
a percentage of 1990 employment in each education group. The darkly shaded columns represent immigration
flows during the 1990-2004 period as a percentage of initial employment. The graph confirms the U-shaped
distribution of immigrants along the educational spectrum, with a more pronounced U-shape when we consider
the longer period 1990-2004. Figure 4, on the other hand, shows the growth rate of real wages of native workers
by education group. The lightly shaded columns represent the real percentage change of yearly wages in the
1990-2000 period and the darkly shaded columns represent the 1990-2004 change. One sees very clearly the



                                                      18


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negative performance of real wages for the least educated (almost one percentage point loss in real wage each
year) and the exceptional performance of real wages of college graduates (more than one percentage point gain
each year). The natural questions stemming from these facts are: (i) How much of the negative performance in
the wage of native dropouts is due to the large immigration flow in that group? (ii) How much of the college-high
school dropout wage gap widening is due to immigration? (iii) Given that the average wages of U.S. natives
grew by around 12.5% in the 1990-2004 period, and overall immigration increased employment by almost 12%,
would overall wage growth have been larger without the increase in labor supply due to immigration? We will
address these questions in Section 6.
   Before presenting the estimates of the structural parameters of our model, let us put forward some obser-
vations and facts that seem to suggest imperfect substitutability between U.S.- and foreign-born workers in
production. Even considering workers who have identical measurable human capital (education and experience)
and gender, foreign- and U.S.-born workers diﬀer in several respects that are relevant to the labor market. First,
immigrants are a selected group from their original populations and have skills, motivations and tastes that
may set them apart from natives. Second, in manual and intellectual work they have culture-specific skills (e.g.,
cooking, crafting, opera singing, soccer playing) as well as limits (knowledge of English language or American
culture), creating comparative advantages in some jobs and comparative disadvantages in other jobs16 . Third,
due to comparative advantages, migration networks or historical accidents, foreign-born tend to choose diﬀerent
occupations than natives, even for given education and experience levels. In particular, new immigrants tend
to work disproportionately in those occupations where foreign-born are already over-represented. This should
imply stronger wage competition (substitution) in those jobs compared to other jobs primarily held by natives.
Since services of diﬀerent occupations are imperfectly substitutable, this would imply imperfect substitutability
between natives and foreign-born even in the same education-experience group17 .
   Diﬀerences in the occupational choices of natives and foreign-born with the same education are illustrated
in Table 1. Following Welch (1990) and Borjas (2003) we calculate the “index of congruence” in the choice
of 180 occupations (from the variable “occupation 1950” homogenized across Census definitions), between the
group of native workers and the group of foreign-born workers that share the same education group. The index
of congruence is calculated by constructing a vector of shares in each occupation for each group and computing
the centered correlation coeﬃcient between these vectors for the two groups. A value of the index equal to 1
implies an identical distribution of workers among occupations for the two groups, a value equal to -1 implies an
exactly “complementary” distribution. The first column in the table reports the U.S.-foreign-born occupational
congruence within each education group. By way of comparison, the remaining columns report the indices of
  16 Peri and Sparber (2007) develops and tests this story of diﬀerent comparative advantages in production tasks between U.S.-

and foreign-born workers.
  17 Evidence in support of this fact is presented in Ottaviano and Peri (2006). There we find a positive and very significant

correlation between the initial share of immigrants in an occupation and the inflow of new immigrants in that occupation over the
subsequent decade.


                                                               19


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congruence between natives in diﬀerent education groups. The index of congruence between U.S.- and foreign-
born with identical education is between 0.6 and 0.7, a value comparable to the congruence between native high
school dropouts and native high school graduates (a value of 0.68 reported in the second column of Table 3).
Also (see Welch, 1979), these index values are comparable to the congruence between U.S.-born workers with
diﬀerent experience levels. Hence, given that an extensive literature shows imperfect substitutability between
U.S. workers with diﬀerent education and experience (Welch, 1979; Card and Lemieux, 2001), if part of imperfect
substitutability is due to occupational choice we would also expect it to hold for natives and foreign-born with
similar education.



5     Parameter Estimates

5.1    Estimates of λ and σ

The model developed in Section (3.1) provides us with the framework to estimate the parameters λ and σ.
Calculating the natural logarithm of the ratio of the wages of male and female workers within the same nativity
(N = H, F ) and skill (k, j) group we obtain the following relation:



                                         1
              ln(wN M kjt /wN W kjt ) = − ln(NMkjt /NW kjt ) + ln(θN M kjt /θN W kjt ) for N = H, F                (16)
                                         λ

    Similarly, the natural logarithm of the ratio of wages of U.S. to foreign-born workers within the same skill
(k, j) group for men (M ) is:


                                            1                  1
               ln(wHMkjt /wF Mkjt ) = −       ln(Hkjt /Fkjt ) − ln(HMkjt /FMkjt ) + ln(θHkjt /θF kjt )             (17)
                                            σ                  λ

    while for women (W ) it is:


                                            1                  1
               ln(wHW kjt /wF W kjt ) = −     ln(Hkjt /Fkjt ) − ln(HW kjt /FW kjt ) + ln(θHkjt /θF kjt )           (18)
                                            σ                  λ

    Equation (16) defines the relative male-female labor demand within each N, k, j group, while equations (17)
and (18) define the relative labor demand for male and female (respectively) foreign- and U.S.-born workers
                                                                                 1
in group k, j. The first equation can be used to estimate the coeﬃcient          λ   which can then be substituted into
                                                                1
(17) and (18), and those can then be used to estimate           σ.   In each case the estimates are consistent as long
as we identify a source of variation in the relative supply of ln(NMkjt /NW kjt ) and of ln(Hkjt /Fkjt ) that is
independent of the variation of relative male-female productivity ln(θN M kjt /θN W kjt ) and of the U.S.-foreign-
born productivity levels ln(θHkjt /θF kjt ).


                                                           20


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     Our estimation strategy proceeds as follows. Due to technological reasons such as skill-biased technical
change, sector-biased technical change, increased international competition, and other reasons over the period
1960-2004, the profiles of the returns to education and to experience have changed diﬀerently across occupations.
Accordingly, we allow the relative male-female and U.S.-foreign-born eﬃciencies to have a systematic component
that may vary by education and experience over time. We control for education-year fixed eﬀects (Dkt ),
and experience-year fixed eﬀects (Djt ). At the same time, diﬀerent education-experience groups may include
male-female and U.S.- and foreign-born workers of systematically heterogeneous quality; hence, we control for
experience-education fixed eﬀects (Dkj ). Conditional on these controls, we assume that the residual decennial
changes in relative male-female and U.S.-foreign-born employment within each education-experience cell over
time are due to random supply shocks such as demographic factors in the U.S. and in the immigrants’ home
countries. Using the IPUMS data from 1960 through 2004 we first estimate the following regression:


                                                                      1
                        ln(wN M kjt /wN W kjt ) = Dkj + Dkt + Djt −     ln(NM kjt /NW kjt ) + ukjt                      (19)
                                                                      λ

where ukjt is a residual, random, zero-mean disturbance. We estimate the regression separately for U.S.-born
(N = H) and foreign-born (N = F ) workers using 192 observations in each case (8 experience by 4 education
groups over 6 years: 1960, 1970, 1980, 1990, 2000, 2004) and then pooling U.S.- and foreign-born for a total
of 384 observations. The variables wHMkjt , wF Mkjt , wHW kjt , wF W kjt , HMkjt , FMkjt , HW kjt and FW kjt are
                                                                                                           1
constructed as described in Section 4 above. Table 2 reports the estimates of the parameter                λ.   The first row
is estimated by pooling cells of U.S.- and foreign-born workers, the second is estimated on cells of U.S.-born
workers only and the third on cells of foreign-born workers only. All specifications use weighted least squares
as the estimation method (weighting each observation by the total employment in the cell). Specifications in
Column 2 omit year 2004 (not a census year) and specifications in Column 3 omit year 1960, since immigration
was extremely low before 1960. Robust standard errors are clustered by education-experience groups. Two
                                                                            1
results emerge clearly from all specifications. First, the estimates of     λ   are always negative and small in absolute
                                                                        1                     1
value. Second, they are never statistically significant. A test of      λ       = 0 against   λ   > 0 never rejects the null
at any confidence level. While the estimates using foreign-born only are quite imprecise, those on U.S. natives
and on all individuals are rather precise. Considering the pooled sample, not only are we unable to rule out
1                                                                                       1
λ    = 0, but we can reject at a standard confidence level the hypothesis that          λ   = 0.04 against the alternative
     1
of   λ   < 0.04. These results imply that even rather small degrees of imperfect substitutability between men and
women are ruled out by the data. Essentially, men and women in the same education-experience-nativity cell
                                                  1
are close-to-perfect substitutes. Hence, using    λ   = 0, equations (17) and (18) can be simplified into a single
estimating equation:




                                                          21


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                                                                             1
                             ln(wHkjt /wF kjt ) = Dkj + Dkt + Djt −            ln(Hkjt /Fkjt ) + ukjt                             (20)
                                                                             σ

     where Hkjt = HMkjt +HW kjt and Fkjt = FMkjt +FW kjt and the fixed eﬀects and the error terms are defined
                                                                       1
as in (19). Table 3 reports the estimates of the parameter             σ   obtained using weighted least squares on (20). To
confirm the results of Table 2 and check that gender composition does not aﬀect the elasticity of substitution
between U.S.- and foreign-born workers, σ, we implement regression (20) alternatively on all workers (first row
of Table 3) or, separately, on men workers only (second row) and on women workers only (third row). We
also regress relative U.S.-foreign male wages on relative U.S.-foreign female employment (fourth row) or relative
U.S.-foreign female wages on relative U.S.-foreign male employment (fifth row).
     The basic specifications in Column 1 of Table 3 use yearly wages, are estimated using weighted least squares
(weighting each observation by the total employment in the cell) and include observations from years 1960,
1970, 1980, 2000 and 2004. Specifications in Column 2 use weekly wages. In Column 3 we do not weight the
observations and simply use OLS, in column 4 we omit the observations from 2004 (not a census year) and
in Column 5 we omit the observations from 1960, a year with very few foreign-born workers. The estimates
     1
of   σ   are significantly diﬀerent from zero in each estimate. They are quite stable across specifications and,
except for two cases, they are always between 0.09 and 0.21. The specifications using weekly wages tend to
produce somewhat smaller estimates (between 0.05 and 0.14), while those using yearly wages give estimates
between 0.13 and 0.21. Interestingly, this implies that a portion of U.S.-born workers’ adjustment in response
to the complementarities of foreign-born workers is reflected in an increase in their weeks worked, which is
consistent with higher relative productivity of natives in cells with higher relative supply of immigrants. The
standard errors are generally around 0.04.             There are no systematic diﬀerences in the estimates across rows
so that the gender dimension does not seem to play a relevant role in estimating the elasticity of substitution
between natives and foreign-born workers. This is consistent with the previous literature that did not, in
general, find diﬀerences in the impact of immigrants across genders, once skill level is controlled for (see the
discussion on page 468 of the meta-study by Longhi, Nijkamp and Poot, 2005). Let us also emphasize that
there is an extremely high correlation across education-experience groups between relative U.S.-foreign- born
employment calculated for both genders, Hkjt /Fkjt , and the relative U.S.-foreign-born employment for males
only (HMkjt /FM kjt ) or females only (HW kjt /FW kjt )18 . Hence the relative U.S.-foreign-born supply faced by
natives in each education-experience group is similar whether they are men or women.
     Table 4 is devoted to performing some further robustness checks in estimating σ1 . First, by grouping U.S.- and
foreign-born individuals according to their years of working experience, one could be classifying incorrectly the
  18 The partial R2 of the regression of ln(H
                                                 Mkjt /FMkjt ) on ln(Hkjt /Fkjt ) after controlling for all the dummies is 0.95 and for
ln(HW kjt /FW kjt ) on ln(Hkjt /Fkjt ) it is 0.93.




                                                                  22


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eﬀective skills of foreign-born, assigning them to a group that is not their most natural category for comparison.
Employers may value diﬀerently work experience accrued in the U.S. market from that accrued abroad. Hence
we re-classify foreign-born workers by splitting the years of working experience between experience in the U.S.
and experience abroad and then we use the “conversion” factors between foreign and U.S. experience calculated
in Borjas (2003)19 . Once we have calculated the eﬀective experience we group foreign workers in the usual 8
                                                                                                  1
groups (0 to 40 years by 5-years cells) using this new variable. The estimates of                 σ   using foreign-born workers
grouped by eﬀective experience are reported in the first row of Table 4. Specification 1 through 5 mirror the
corresponding specifications in Table 3. The estimates range between 0.12 and 0.18 with standard errors around
0.05. Specifications in the second row of Table 4 consider total weeks worked in each cell (rather than total
employment) as the measure of labor supply. This measure accounts for possible changes in the individual labor
supply decisions. The estimates are still in the 0.14 − 0.20 range and very significant. Finally, in the last row
                              1
of Table 4 we estimate        σ,   restricting the data to only the groups of workers with no high school diploma or
with just a high school diploma. These are the groups with the least education and are certainly those with
the largest number of undocumented immigrants. One might be concerned that mismeasurement due to low
coverage of undocumented immigrants could bias our estimates. Alternatively, complementarities between U.S.
and foreign-born workers in these groups could be weaker than within other groups. These issues would result
                                            1
in significantly diﬀerent estimates of      σ   when we restrict our sample to these groups. The estimates in the third
row of Table 4 are never significantly diﬀerent from those obtained using all workers, and the point-estimates are
slightly above those. This seems to indicate that the Census data do not suﬀer from significant mismeasurement
of undocumented workers and that the degree of U.S.-foreign-born complementarity is not very diﬀerent within
diﬀerent education groups.
                          1
    The estimates of      σ   as a whole strongly support the idea of imperfect substitutability between U.S.- and
foreign-born workers. Moreover, in general, the estimates imply a value of σ between 5 and 10. Hence, we observe
imperfect substitutability but, reasonably, not to the extent observed between educational groups (usually
credited with a 1.5 − 2.5 elasticity of substitution) and only slightly above that observed between experience
groups for U.S. natives (estimated between 3 and 5)20 .


5.2     Estimates of η and δ

We can use equation (20) to infer the systematic component of the eﬃciency terms θHkjt and θF kjt . In particular,
                                                                    b kj , D
those terms can be obtained using the estimates of the fixed eﬀects D      b kt and D
                                                                                    b jt from equation (20) as
  19 Those factors are based on a wage regression that calculates (pooling 1980-1990 data) the wage growth associated with one

year of work experience abroad, relative to the growth of wages associated with one year of work experience in the U.S. Specifically,
for immigrants who worked abroad, the years of experience abroad are multiplied by a factor of 0.4 while the years of experience
in the U.S. are multiplied by a factor of 1.6 (Borjas, 2003, page 1356). This implies an “under-accumulation” of useful skills per
year when working abroad and an over-accumulation (catching up) during the years of U.S. work experience.
  20 See section 5.2 below for those estimates in our paper and in the literature.




                                                                 23


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follows:
                            exp(Db kj ) exp(D b kt ) exp(D b jt )                               1
                b
                θHkjt =                                              ,b
                                                                      θF kjt =                                                 (21)
                          1 + exp(D b kj ) exp(D b kt ) exp(D b jt )                   b kj ) exp(D
                                                                               1 + exp(D          b kt ) exp(D
                                                                                                             b jt )

where we have imposed the standardization that the two eﬃciency terms add up to one. Using the values of
θHkjt and b
b         θF kjt from above and the estimate σ     b we can construct the aggregate labor input, following (4), as
       ∙         e −1
                 σ               e
                                 σ−1
                                      ¸ σ−1
                                        e
                                          e
                                          σ

b kjt = b
L        θHkjt Hkjtσe + b
                        θF kjt Fkjtσe       . Indeed, the production function (1) and marginal pricing imply the
following relationship between the compensation going to the composite labor input Lkjt and its supply:

                            ³                               µ     ¶
                                1  1−α ´ 1                    1 1                      1
             ln(W kjt ) = ln αAtα κt α + ln(Lt ) + ln θkt −    −    ln(Lkt ) + ln θkj − ln(Lkjt )                              (22)
                                         δ                    δ η                      η

where W kjt = wF kjt (Fkjt /Lkjt ) + wHkjt (Hkjt /Lkjt ) is the average wage paid to workers in the education-
experience group k, j and can be considered as the compensation to one unit of the composite input Lkjt 21 .
Equation (22) provides the basis for estimating the parameter η1 , which measures the elasticity of relative demand
for workers with identical education and diﬀerent experience levels. Empirical implementation is achieved by
rewriting it as:
                                                                1    b kjt ) + ekjt
                                    ln(W kjt ) = Dt + Dkt + Dkj − ln(L                                         (23)
                                                                η
                                                                    ³      1  1−α ´
where five-period fixed eﬀects Dt control for the variation of ln αAtα κt α         + 1δ ln(Lt ), time by education
                                                      ³       ´
fixed eﬀects Dkt control for the variation of ln θkt − 1δ − η1 ln(Lkt ) and education by experience fixed eﬀects
Dkj capture the terms ln θkj that we assume are constant over time. Once we control for these systematic
shifts in demand our identifying assumption, closely tracking Borjas (2003), is that the remaining variation in
employment of foreign-born workers is due to supply shifts. Under this assumption, we consistently estimate
the coeﬃcient − η1 in regression (23) by 2SLS, using ln(Fkjt ), the supply of foreign-born workers in each group,
                                     b kjt ). Table 5 reports the estimated values of
as an instrument for the variable ln(L                                                              1
                                                                                                    η.   The first row of Table 5
reports the estimates based on yearly wages, while the second row uses weekly wages. Specification 1 and 2 use
the value σ = 1/(0.16) = 6.25 and b
                                  θHkjt , b
                                          θF kjt estimated from the basic specification in the first row of column
                                    b kjt . To check whether the gender of workers interacts with the elasticity
1 of Table 3 to construct W kjt and L
of substitution across experience groups, specification 1 of Table 5 includes all workers in the calculation of
          b kjt while specification 2 uses male workers only. Finally, in specifications 3 and 4, in order to check
W kjt and L
how sensitive the estimate of η is to imperfect substitutability between U.S.- and foreign-born workers, we also
                                                                  b kjt . All the estimated values of
re-estimate the parameter η assuming σ = ∞ in the construction of L                                                        1
                                                                                                                               are
                                                                                                                           η

significantly diﬀerent from zero and between 0.25 and 0.3, with standard errors below 0.10. This implies a point
estimate of η between 3.3 and 4. These values are very similar to those previously estimated in the literature;
  21 The wage W
                kjt is an average of the wages paid to U.S.- and foreign-born workers in group k, j. The averaging weights are
equal to the employment of each group relative to the composite Lkjt , which are very close to their share of the employment of
group k, j.


                                                               24


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the parameter η was first estimated in Card and Lemieux (2001). Their preferred estimates of 1/η for the United
States over the period 1970-1995 (as reported in their Table III, columns 1 and 2) are between 0.2 and 0.26,
thus implying a value of η between 4 and 5. Borjas (2003) also produces an estimate of 1/η using immigration
as a supply shifter and assuming perfect substitutability between U.S.- and foreign-born workers. His estimate
is equal to 0.288 (with standard error 0.11), implying a value of η equal to 3.5.
   Aggregating one level further, we can construct the CES composite L     b kt . We obtain the estimates b θkj from
                                                                                              X
the experience by education fixed eﬀects in regression (23), as follows: b
                                                                         θkj = exp(D  b kj )/       b kj ). Then we
                                                                                                exp(D
                                                                                                               j
                                                                                           ⎡             ⎤ ηe−1
                                                                                                             e
                                                                                                             η

                                                                                            X8      e −1
                                                                                                    η
                                                                      b kt
use the estimated values of η to construct, according to formula (3), L                   =⎣ b        e ⎦
                                                                                                      η
                                                                                               θkj Lkjt         . The production
                                                                                               j=1
function chosen, together with marginal cost pricing, implies that the compensation going to the labor input
Lkt and its supply satisfies the following expression:

                                               ³   1  1−α ´ 1                 1
                                 ln(W kt ) = ln αAtα κt α + ln(Lt ) + ln θkt − ln(Lkt )                                             (24)
                                                            δ                 δ
                 P ³ Lkjt ´
where W kt =        j   Lkt    W kjt is the average wage in education group k22 . Following the same strategy that we
                                                                                               1
used before, we use the above expression as the basis for the estimation of                    δ.   In so doing, we rewrite (24) as
follows:
                                                              1    b kt ) + ekt
                                                                ln(L
                                      ln(W kt ) = Dt + (T ime T rend)k −                                                            (25)
                                                              δ
                                                              ³    1  1−α ´
                                                                                                     1
where the time dummies Dt absorb the variation of the terms ln αAtα κt α +                           δ   ln(Lt ) and the terms (T ime
T rend)k are education-specific time trends. These trends control for the systematic component of the eﬃciency
terms ln θkt that are assumed to follow a time trend specific to each educational group. Conditional on these
controls, our identifying assumption is that any other change in employment of foreign-born within a group is
                                                                                             P
a supply shift. Hence, we can estimate equation (25) by 2SLS using ln(Fkt ) ( where Fkt = j Fkjt is used
                                                                                   1
as an instrument for ln(Lkt )). Table 6 reports the estimates of                   δ   . The first row uses yearly wages in the
calculations, while the second uses weekly wages. Specifications 1 and 2 of Table 6 use the estimated values
   η and of b
of b                                                                b kt and W kt . Specifications 3 and 4
            θkj from specifications 1 and 2 of Table 5 to construct L
                                                 b kt and W kt . Independently of specification and workers’
use η = ∞ and symmetric weights θkj to construct L
gender, the estimated values are between 0.4 and 0.52 (with standard errors generally below 0.15), consistent
with an elasticity of substitution across education groups around 2. The parameter δ is certainly the most
analyzed in the literature. Its key role in identifying the impact of increased educational attainment (as well
as of skill-biased technological change) on wages made it the object of analysis in Katz and Murphy (1992),
  22 The weight for the wage of each group equals the size of the composite input for that education-experience cell, L
                                                                                                                         kjt , relative to
the size of the composite input for the whole education group Lkt . This is very similar to the share of group k, j in the employment
of educational group k.




                                                                   25


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through Angrist (1995), Murphy et al. (1998), Krusell et al. (2000) and Ciccone and Peri (2005). The estimates
for the parameter range between 1.4 and 2.5. Our estimates of 1/δ fall between 0.4 and 0.5 and imply a δ in
the vicinity of 2, which is consistent with previous estimates.


5.3        Partial Eﬀects of Immigration on Wages

Before using the estimated values of the parameters λ, δ, η and σ and the formulas derived in Section 3.3 to
calculate the eﬀects of immigration on wages, let us use those estimates to point out an important corollary to
our analysis. Most existing empirical studies on the eﬀect of immigration on wages, (including Borjas, Freeman
and Katz, 1997; Card, 2001; Friedberg, 2001; Section IV—but not Section VII—of Borjas, 2003; and Borjas, 2006)
carefully estimate the partial elasticity of native wages to immigration within the same skill group (expressed in
our equation (10)) and treat it as “the eﬀect of immigration on wages”23 . As we illustrated in Section 3.3, this is
simply a partial eﬀect uninformative of the actual overall eﬀect of immigration on wages unless we consider the
whole distribution of immigrant skills, the cross eﬀects among groups and the eﬀect of capital adjustment. More
importantly, the partial elasticity (10) is likely to be negative in any reasonable model as long as immigrants
are closer substitutes to natives in the same group (education-experience) than they are to natives in other
skill groups. Considering men and women within groups as perfectly substitutable and using estimates from
                          ³     ´
Tables 3 and 5, the term σ1 − η1 is calculated to be negative and between −0.05 and −0.20. This implies,
for instance, that the percentage change in the wage of native workers in group k, j, ∆wHkjt /wHkjt , would be
between -0.5% and -2.2% in response to an inflow of immigrants equal to 11% of the initial employment in
the group24 . We use 11% since this equals the inflow of immigrants over the 1990-2004 period as a percentage
of total initial employment. If one fails to notice the partial nature of the elasticity used in the calculations
above, one could be tempted to generalize these findings, interpreting them as saying that immigration caused a
negative 0.5 to 2.2 percent change (1990-2004) in average wages of natives and that groups such as high school
dropouts, for which the inflow of immigrants was as high as 20% of initial employment, lost as much as 4.4%
of their wage. No such generalization is possible, however, as expression (10) only accounts for the eﬀect on
wages of immigrants in the same skill group and omits all the cross-group eﬀects from immigrants in other skill
                                                                                                    ³       ´
groups. In fact (as we see in Section 6.1 below), while sharing the same negative partial elasticity σ1 − η1 , the
wages of natives across groups have very diﬀerent responses to immigration, some positive and others negative,
due to the relative sizes of skill groups and the relative strength of cross-group eﬀects. Limiting our attention
  23 Even the recent meta-study by Longhi, Nijcamp and Poot (2005) considers this partial eﬀect as the relevant estimate across

studies. They find a representative value of -0.11 that is in our range of -0.05 to -0.20.
  24
k This value
            is calculated
                   
               sF kjt
                           l using formula (10) and multiplying
                        ∆Fkjt
                                                                 the two sides by ∆Fkjt /Fkjt so that we obtain: ∆wHkjt /wHkjt =
                                                               sF kjt    ∆Fkjt                                 ∆Fkjt
   1       1
  σk
       −   η    skjt     Fkjt
                                . Then, notice that the term    skjt      Fkjt
                                                                                 is approximately equal to           if the share of wages of
                                                                                                             Hkjt +Fkjt
                                                                                             ∆Fkjt
                                                                                                                                  
foreign-born in group k, j is similar to its share of employment in that group. Using      Hkjt +Fkjt
                                                                                                        = 11% and −0.2 < σ1 − η1 < −0.1
                                                                                                                             k
we obtain a real wage change of −2.2% < ∆wHkjt /wHkjt < −1.1%.




                                                                        26


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to the elasticity εpartial
                   kjt     , or emphasizing this eﬀect too much would be misleading in evaluating the eﬀect of
immigration on wages.



6     Immigration and Wages: 1990-2004

We are now ready for the third and final step in calculating the eﬀects of immigration on wages of U.S.- and
foreign-born workers. The first step of the procedure (Section 3) required specifying a production function and
deriving labor demand curves and the elasticity of wages to immigration of workers with diﬀerent skills. The
second step (Section 5) required estimation of the relevant structural parameters (elasticities of substitution).
The third step (this section) uses these estimates and the actual flow of immigrants by group during the 1990-
2004 period in the formulas previously derived to calculate the eﬀects of immigrants on wages of U.S.- and
foreign-born workers in individual groups as well as overall.


6.1    The Long Run Eﬀects of Immigration on Wages

Table 7 contains the relevant simulation results, relative to the impact of immigration for the 1990-2004 period
on wages of U.S.- and foreign-born workers in the long run. We focus on the 1990-2004 period as it is the most
recent covered by available Census and ACS data and it is the period of largest immigration in recent U.S. history.
To obtain the simulated eﬀects we proceed in five steps. First, in light of the result of perfect substitutability
between men and women within cells ( λ1 = 0), we aggregate across genders as follows: Hkjt = HM kjt + HW kjt
and Fkjt = FMkjt + FW kjt . Second, using formulas (11) and (12), the estimated parameters δ, η and σ as
well as the percentage change in foreign-born workers by skill group (∆Fkj,1990−2004 / Fkj,1990 ), we calculate the
percentage change in real wages for U.S.-born and foreign-born workers in each skill group (k, j). Third, we
obtain the average wage change in each education group for foreign- and U.S.-born by weighting the percentage
change of each experience sub-group by its wage share in the education group. This provides the entries in rows
1 to 4 and 6 to 9 in Table 7. Fourth, we average the changes across education groups for U.S.- and foreign-born
separately, again weighting them by their wage shares as described in formulas (13) and (14). Those values are
reported in rows 5 and 10 (those in bold fonts). Finally, we average the changes for the two groups ( U.S.-
and foreign-born workers), still using wage-share weights (as described in formula (15)), to obtain the overall
wage change reported in the last row, number 11, also in bold fonts. Rows 1 to 5 of Table 7 can be compared
to the results obtained in the previous literature that mostly focuses on the eﬀect of immigration on wages of
U.S.-born workers. The lower part of Table 7 reports the eﬀects of immigration on the wages of foreign-born,
rarely considered in the previous literature. The table reports the “long run” eﬀects, namely the wage eﬀects
once capital has fully adjusted, (∆κt /κt )immigration = 0. In Section 6.2 below we focus on the eﬀects as of



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year 2004 and on how long it will take for full adjustment to set in. The four columns of Table 7 are reported
in order to better understand the diﬀerences with the traditional estimates implied by our new findings of
imperfect substitutability between U.S.- and foreign-born workers. Specification 4 calculates the eﬀects under
the traditional assumptions of perfect substitutability between U.S.- and foreign-born workers in each group k, j.
Proceeding leftward, Columns 3, 2 and 1 introduce imperfect substitutability between U.S.- and foreign-born
workers, where column 3 uses the highest estimate of σ = 10, Column 2 uses the median estimate σ = 6.6, and
column 1 uses the lowest estimate σ = 5.
   Let us begin focussing on the eﬀect of immigration on the wages of natives (upper part of Table 7). The
introduction of our novel feature (imperfect substitutability) has two important eﬀects: first, it modifies the
eﬀect of immigration on average wages of natives from null (0.1%) to positive (between 1.2% and 2.3%), and
second, it reduces the adverse distributional eﬀect of immigrants on wages of U.S.-born workers. Both eﬀects
are stronger the lower the substitutability between U.S.- and foreign-born workers. Considering the median
estimate of σ = 6.6, our estimates imply a positive long run eﬀect of immigration on wages of workers with at
least a high school degree. In particular, college graduates benefit from immigration (+0.7% in wages), while
under perfect substitutability they were hurt by it (as shown by the -1.5% in Column 4 ) and high school
graduates benefit up to 3.5% point in their real wage growth. Considering native workers with no high school
degree, their long run real wage loss due to immigration was evaluated by Borjas and Katz (2007), Table 11
at -4.8%25 . Column 4 of Table 7 reproduces that negative result obtaining a 4.2% loss in real wages for high
school dropouts when we impose perfect substitutability between U.S.- and foreign-born workers. Our preferred
estimates, however, shown in column 2 of Table 7, report only a small negative eﬀect (-1.1%) on wages of native
dropouts. Overall our results show in the long run a significant positive eﬀect of immigration on average U.S.
wages, and on each group of workers with at least a high school degree, and only a small negative eﬀect on
wages of workers without a high school degree.
   In our preferred specification 2 of Table 7, the group whose wages are hurt most by immigration are foreign-
born workers, i.e., previous immigrants. On average they lost 19% of their real wages while some groups (i.e.,
college graduates) lost up to 24% of their wage. Recall that, due to the assumption of constant returns to
scale in the aggregate production function, once capital fully adjusts to immigration the average overall wage
(last row) does not change. Hence, our hypothesis of imperfect substitutability simply shifts the distributional
eﬀects of immigration by increasing the wage competition eﬀect of immigrants on other foreign-born workers
and decreasing it for U.S.-born workers. If the negative eﬀect on wages of foreign-born workers seems large, this
is due to the massive inflow of immigrants over 1990-2004 relative to the initial size of foreign-born employment.
Immigrants in the labor force have more than doubled in the period 1990-2004; in particular, foreign-born
 25 The   Borjas and Katz (2007) estimates refer to the eﬀects of immigration between 1980 and 2000.




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workers have increased by 140% (∆F1990−2004 /F1990 = 1.4) during that period. Hence, even with a wage
elasticity for that group relative to the U.S.-born group equal to 0.10 (in column 3, σ = 10, hence the relative
                  1
wage elasticity   σ   = 0.1), one obtains a relative wage change of around 14%, split, as we see in column 3, into
an increase of native wages of 1.2% and a decrease in wages of foreign-born of 13.3%. Notice that if σ = ∞
the eﬀects of immigration on wages are identical for U.S.- and foreign-born in the same education-experience
group. The small diﬀerences reported in column 4 between the eﬀects on U.S.- and foreign-born wages are due
to the diﬀerent composition in employment distribution by experience and education between the two groups.
   Are the eﬀects of foreign-born workers on wages reasonable? First of all, simply considering the relative
U.S.- to foreign-born wages, reported in table A3, there are some skill groups that experienced large immigrant
inflows and a substantial deterioration of their wage relative to natives. For instance, among high school dropouts
between 20 and 24 years of experience, until 1970 wages of U.S.- and foreign-born workers were almost identical,
while in 2004 U.S.-born were earning 12-16% more than foreign-born workers. At the same time, among workers
with no high school degree, those with 0 to 4 years of experience did not experience a large increase in the share
of foreign-born and the relative U.S.- to foreign-born wages in this group did not deteriorate. The worsening of
wages of foreign-born relative to U.S.-born (see for instance Borjas 1999, page 27), which is usually attributed
to worsening in the quality of immigrants, is interpretable in light of our results as an eﬀect of increased wage
competition between foreign-born in those occupations that overwhelmingly employ immigrants. Moreover,
the reason that we do not observe larger native-foreign wage diﬀerentials in all skill groups is probably that
immigrants choose sectors/occupations/jobs with booming demand so that the systematic components of θF kjt
by year and skill (which we controlled for in equation (20)) partly oﬀset the negative eﬀect of increased supply.
Another reason why the eﬃciency term θF kjt may vary, in its systematic part, to oﬀset the increase in supply
of foreign-born, ∆Fkj,1990−2004 , has been proposed by Lewis (2005) and Card and Lewis (2007): sectors/jobs
where immigrants’ skills (in terms of education and experience) are more abundant induce technological choices
“biased” towards those skills and use them more eﬀectively, which increases the relative eﬃciency θF kjt . The
negative eﬀects on wages of other foreign-born are, therefore, in part oﬀset by systematic improvements in
relative eﬃciency. Finally, the simulation in Table 7 is done for a given level of employment of native workers.
The actual relative wages observed in Table A3 result from changes in employment of foreign-born as well as
changes in employment of natives. Due to the estimated complementarities, this second change mitigates the
negative wage impact on immigrants.
   Finally, let us provide an explanation for an apparent puzzle raised by our results. In light of our analysis,
previous immigrants are the group whose wages suﬀer most due to the arrival of new immigrants. Why, then,
are they consistently among the strongest supporters of more open immigration policies (see e.g., Hatton and
Williamson, 2005 and Mayda, 2006)? Obviously, while they may forego as much as 1% wage growth per



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year due to new immigrants, they are also the group that gains most from a non-economic point of view.
Since immigration (legal and illegal) in the U.S. works mostly through family reunions, network connections
and personal ties, new immigrants are likely to be spouses, siblings, friends and acquaintances of foreign-born
residents in the U.S. and hence are likely to have huge personal, aﬀective and amenity value to them, well above
the negative wage eﬀect that we identified.


6.2     Reconsidering the Short Run Eﬀects with Yearly Capital Adjustment

How long does it take for physical capital to adjust and restore its long run returns? And in the presence of
sluggish adjustment of capital what are the eﬀects of immigration on wages in the short run? As illustrated in
                                                                                    ³       ´
Section 3.3, accounting for capital adjustment simply adds a non-zero term, (1 − α) ∆κ κt
                                                                                          t
                                                                                                      , to the
                                                                                                  immigration
change in the wage of each group. Hence the short run wage response for each group and for the averages will
diﬀer from the long run response by a common constant, due to the chosen Cobb-Douglas structure in which κt
only aﬀects marginal productivity of workers through the overall average wage. A popular way to analyze the
deviation of ln(κt ) from its balanced growth path trend, used in the growth and business cycle literature, is to
represent its time-dynamics in the following way:


                                                                                 ∆Ft
                               ln(κt ) = β 0 + β 1 ln(κt−1 ) + β 2 (trend) + γ       + εt                              (26)
                                                                                 Lt
                                                                                                                ³            ´
                                                                                                       1            1−α
   where the term β 2 (trend) captures the balanced growth path trajectory of ln(κt ) equal to         α   ln       r+δ At

and the term β 1 ln(κt−1 ) captures the sluggishness of yearly adjustment to shocks. The parameter (1 − β 1 ) is
commonly called “speed of adjustment ” since it is the share of the deviation from the balanced growth path
                                         ∆Ft
(trend) eliminated each year. Finally,   Lt    are the yearly immigration shocks and εt are other shocks. Assuming
that immigration shocks cause a proportional decrease in κt for the same year (γ = −1), in order to calculate
the eﬀect of immigration on κt over, say, the 1990-2004 period, one needs an estimate of the parameter β 1 . Once
                                                               ∆Ft
we know β 1 and the sequence of yearly immigration flows,      Lt ,   one can use (26) to obtain an impulse response
of ln(κt ) and its deviation from trend as of 2004 (short run), as well as for later years (long run). The previous
                                                                                                        ∆Ft
migration literature has essentially assumed β 1 = 0 in the short run calculations cumulating the       Lt      over one
or two decades for fixed capital (implying a very large deviation from the trend). On the other hand, it has
assumed β 1 = 1, (full adjustment) in the long run calculations. The recent empirical growth literature (Islam,
1995; Caselli et al., 1996) and the recent business cycle literature (Romer, 2006, chapter 4), to the contrary,
provide model-based and empirical estimates of β 1 . The recent growth literature usually estimates a 10% speed
of convergence of capital to the own balanced growth path for advanced (OECD) economies (Islam, 1995; Caselli
et al., 1996), implying β 1 = 0.9. Similarly, the business cycle literature calculates speed of convergence of capital
around 10% (Romer, 2006, Chapter 4) for closed economies and faster for open economies. Hence β 1 = 0.9 seems


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a reasonable estimate. We estimated a simple AR(1) process with trend for ln(κt ). We constructed the variable
κt = (Kt /Lt ), dividing the stock of U.S. capital at constant prices (Net Stock of Private and Government Fixed
Assets from the Bureau of Economic Analysis, 2006) by the total non-farm employment from the Bureau of
Labor Statistics (2006) for each year during the period 1960-2004. We estimated several specifications including
                                       ³      ´                     ³     ´
changes in total employment as shock ∆L  Lt
                                            t
                                               , or immigrants only   ∆Ft
                                                                      Lt    as shock and instrumented those with
changes in population (to correct for endogeneity of employment)26 . All estimates of β 1 ranged between 0.8
and 0.9 (speed of adjustment of 10 to 20% a year) with standard errors ranging between 0.02 and 0.08. We
could never reject β 1 = 0.9, and we could always reject β 1 = 1 (no adjustment). Hence we consider 10%
a reliable and, if anything, conservative estimate of the yearly speed of capital adjustment. Using the series
of immigration rates over 1990-2004 and the estimated parameters of capital adjustment β 1 = 0.9, γ = −0.9
(assuming that capital adjustment begins the same year as immigrants are received) the recursive equation (26)
allows us to calculate (∆κ1990−2004 /κ1990 )immigration as of year 2004 and the share of the deviation from trend
that remains in 2009. Using formula (8) we can calculate the eﬀect of ∆κ on the average wage and on each
group’s wage. Recall that assuming no adjustment of capital in the short run ( β 1 = 1, γ = −1), since the
cumulated inflow of immigrants during the 1990-2004 period was 11% of the employment in 1990, this implies
an eﬀect of immigration on average real wages equal to (0.33) ∗ (−11%) = −3.6%, as of 2004. Using the actual
10% speed of adjustment of capital each year, however, we obtain only a −3.4% eﬀect of immigration on the
capital-labor ratio corresponding to a mere −1.1% (= 0.33 ∗ 3.4%) eﬀect on real wages as of 2004, and in five
more years (2009) the negative eﬀect on wages is reduced to −0.6%. Table 8 uses these adjustments of the
capital-labor ratio and shows the eﬀects of immigration on wages as of year 2004 (column 1) and as of year
2009 (column 2). Those columns use the same parameter values as column 2 of Table 7, i.e., the median and
preferred estimates of σ. We also report in column 3 the long run eﬀects for full capital adjustment (identical
to column 2 of Table 7) and, for comparison, the “short run ” eﬀects calculated assuming fixed capital (as in
the previous literature) in column 4. Finally, the short run eﬀects with fixed capital and perfect substitutability
between U.S.- and foreign-born workers are shown in column 5. Hence column 1 reports the newly calculated
“short run ” eﬀects of immigration while column 5 reports those calculated using the methods prevailing in the
previous literature. The diﬀerences are remarkable. The average wage of U.S.-born workers increased by 0.7%
in our estimates as of 2004, rather than experiencing a decrease of 3.5%. U.S. workers with no degree experience
a loss of 2.2% of their real wage rather than a loss of almost 8%. College educated, U.S.-born workers have
essentially no change in their wage (rather than a 5% loss) and the groups of high school graduates and college
dropouts experience, even in the short run, significant gains rather than significant losses in their real wages.
  26 We constructed ∆F , for each year from 1960 to 2004, using the following procedure. From the U.S. Department of Justice,
                        t
Immigration and Naturalization Service (2004) we obtain the number of (legal) immigrants for each fiscal year 1960-2004. We then
distribute the net change of foreign-born workers in each decade (measured from census data and from the American Community
Survey, which includes illegal immigrants as well as legal ones) over each year in proportion to the gross yearly flows of legal
immigrants.


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The benefits of immigration are already realized for most workers in the short run and certainly most benefits
are enjoyed by 2009, with an average wage gain of more than 1% distributed as gains for the three groups with
at least a high school degree and a small loss for high school dropouts. The wage losses, in the short run as well
as in the long run, are concentrated among previous immigrants who experience most of the competition from
new immigrants and undergo sizeable wage losses as a consequence.


6.3    Robustness Checks

Table 9 shows the changes in the calculated long run eﬀects when we use diﬀerent values for the parameters δ
and η in the simulations. While the values used in Table 8, equal to 2 and 4 respectively, seem to be right in the
middle of the estimated range for these parameters (both in our estimates and in previous ones), some scholars
report values of δ as low as 1.5 and as high as 2.5, while the range for η is between 3 and 5. We reproduce
simulations from columns 1-3 of Table 8 using, respectively, the low estimates of δ and η (columns 1-3 in Table
9) and the high estimates of δ and η (columns 4-6 in Table 9). While the average eﬀects on wages of native
and foreign-born workers are not sensitive to changes in those parameters, the distributional eﬀects between
education groups become stronger when we use lower estimates of δ and η . Considering columns 2 and 5 as
references, since they use the median estimate of σ, we see that the wage loss of U.S.-born high school dropouts
can be as large as −2.5%, when δ = 1.5. Still, this number is much smaller than the previous estimates. On the
other hand, if we use the higher elasticity of substitution estimates (δ = 2.5 and η = 5), unskilled natives barely
suﬀer a loss in wages (−0.3%) from immigration. A similar widening of the distributional eﬀects of wages of
foreign-born workers across education groups takes place using the lower estimates. The widening distributional
eﬀects would also be observed if we lowered δ and η in the simulation with σ = ∞.


6.4    Contribution of Immigration to the Average Wage and Wage Dispersion of
       U.S.-Born Workers

The diﬀerences in the real wage eﬀects of immigration on natives shown in Table 8 between specification 1 (our
preferred one) and specification 5 (representative of previously estimated short run eﬀects) are important. In
order to put them in perspective, it is instructive to compare them with the actual changes in average wages
of U.S.-born workers during the 1990-2004 period and with changes in the measures of their wage dispersion
during the same period. Specification 1 in Table 8 implies an eﬀect on average U.S. real wages 4.2% points
larger than the usually estimated short run eﬀects reported in column 5 of Table 10 (+0.7% vs. -3.5%). This is
a large diﬀerence even when compared to the average growth rate of wages of U.S.-born workers in the period,
which equals 12.5%, and is even more notable if compared to the typical changes of real wages over the business
cycle (amounting, on average, to less than 0.5%). Roughly 60% of the diﬀerence between specifications is due to


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the hypothesis of yearly capital adjustment, while about 40% is due to the imperfect substitutability between
U.S.- and foreign-born workers.
   Even more interestingly, since immigration has been connected to increased wage dispersion (e.g., Freeman,
Borjas and Katz 1997 and several others), we can inquire as to the fraction of that increase that could be due
to immigration. There are several ways of measuring wage dispersion across educational groups, depending
on which group we focus on. Columns 1 and 2 of Table 10 provide some standard measures of increased
wage dispersion across educational groups during the period 1990-2004. In particular, Column 2 reports, in
the first four rows, the percentage variation in the real wage for each of the four groups relative to the average
real increase in wages27 and, in the last 2 rows, the table shows the real increase in the college/high school
dropout wage premium and in the college/high school wage premium. All numbers are calculated for U.S.-born
workers only. Column 1 reports the actual percentage changes for each real wage group (not net of the average)
showing that high school dropouts actually experienced a real wage loss in the period. Notice, first of all,
that wage dispersion increased between any two groups, since lower wage groups (lower education groups) had
lower growth rates of wages. The performance of U.S.-born high school dropouts has been particularly bad,
with wages dropping by 24.4% relative to the average during the period. Also sub-average (but much less so)
were the performances of wages of high school graduates (6.1% lower than average) and college dropouts (4.1%
lower than average). On the other hand, wages of college graduates substantially out-performed the average
(8.9% better). As a consequence, the wage premium (as a ratio) between college graduates and high school
dropouts increased by 33% during the period and the college/high school wage premium increased by 15%.
These statistics are calculated using Census and American Community Survey IPUMS data on wages of all
U.S.-born workers as defined in Section 4. Column 3 shows the percentage changes in real wages attributed to
immigration by our model (specification 2 of Table 7) and column 4 shows the share they represent of the actual
1990-2004 change. Looking at the first four rows, immigration actually decreased wage dispersion for three
groups (HSG, COD and COG), in that it helped the first two groups which performed worse than average, and
hurt the last one that performed better. This is noted in Table 10 by the caption “attenuate dispersion ” under
the corresponding figures. As for native high school dropouts, immigration contributed to wage dispersion but
it explains less than one eighth (0.12) of the diﬀerence in the performance of this group’s wage with respect to
the average wage. Moreover, immigration does not contribute at all to explaining the increased college/high
school wage premium; if anything, immigration caused a reduction in that premium as the last row of column
4 shows, and immigration only explains one twentieth (0.05) of the increase in the college/high school dropout
premium (second-to-last row of column 4). These numbers seem to show that immigration cannot be considered
 27 The average increase is calculated by weighting the percentage wage increases of each group by the average wage share of that
group in the 1990-2004 period. It is diﬀerent from the change in the average wage which also includes the eﬀect of changes in
educational shares.




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as an important candidate in explaining increased wage dispersion. Even giving immigration the best shot at
causing wage dispersion by adopting the old assumption of σ = ∞28 (column 5 and 6) one still obtains the
result that immigration attenuated wage dispersion for three groups (helping those which are under-performing,
and hurting those outperforming, the mean) while it only contributed to the under-performance of high school
dropout wages. However, even in this scenario, only one sixth (0.17) of the growth diﬀerential with respect to
the average wage, and less than one tenth (0.087) of the increase in the college/high school dropout premium
can be attributed to immigration.



7     Conclusions

The main message of this paper is that only within a model that specifies the interactions between workers
of diﬀerent skills and between labor and physical capital (in a production function) can we derive marginal
productivity, labor demands and analyze the eﬀects of immigration on the wages of diﬀerent types of work-
ers. The existing literature on immigration has paid much attention to the estimates of the partial eﬀect of
immigrants on wages of U.S.-born workers with similar skills. Those estimates are partial in that they assume
a constant supply of all other groups and of physical capital and therefore are not informative of the actual
overall eﬀects of immigration on wages. In taking the general equilibrium approach instead, one realizes that
the substitutability between U.S.- and foreign-born workers with similar schooling and experience, as well as
the investment response to changes in the supply of skills are important parameters in evaluating the short and
long run eﬀects of immigration on wages. We therefore carefully tackle the tasks of estimating the elasticity
of substitution between U.S.- and foreign-born workers within education-experience and gender cells and we
account for physical capital adjustment in the short and long run. We find robust evidence that U.S.- and
foreign-born workers are not perfect substitutes within an education-experience-gender group. This fact, and
the yearly adjustment of capital to immigration, imply that average wages of natives benefit from immigration,
even in the short run. These average gains are, in the short and long run, distributed as a small wage loss to the
group of high school dropouts and wage gains for all the other groups of U.S. natives. The group suﬀering the
biggest loss in wages is the contingent of previous immigrants, who compete with new immigrants for similar
jobs and occupations. Finally, our model implies that it is hard to claim that immigration has been a significant
determinant in the deterioration of the wage distribution of U.S.-born workers during the period 1990-2004.
  28 Assumptions on capital adjustment do not have any impact on relative wages but only on the average wage. Hence the relative

changes in specifications 3 and 5 of Table 10 could be either for fixed or for fully adjusted capital.




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                                  Tables and Figures




                                  Table 1
       Index of Congruence in the Choice of Occupations, Census 2004


         Index of          Foreign,       Natives        Natives       Natives       Natives
        Congruence          Same           HSD            HSG           COD           COG
                          Education
       Natives, HSD          0.65            1
       Natives, HSG          0.68          0.68              1
       Natives, COD          0.61          -0.25           0.22            1
       Natives, COG          0.70          -0.73          -0.91          0.35           1

     Note: The Index of Congruence between the two groups (row and column headers) is
     calculated as the centered correlation coefficient using 180 different occupations and data
     from the 2004 American Community Survey in Ruggles et al. (2006). The exact definition
     of the index is provided in the main text. The index ranges between -1 and +1.




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                                                 Table 2
                   Relative Male-Female Wage Elasticity within Education-Experience Cells


                                                                  1                 2                   3
                     Table entries:                              Basic           Omit 2004           Omit 1960
        1/λ (male-female relative wage elasticity)
                     All Workers                               -0.04               -0.05                -0.04
                                                               (0.04)              (0.04)               (0.05)
                       US-born only                             -0.03              -0.05                -0.02
                                                               (0.04)              (0.04)               (0.04)
                    Foreign-Born Only                          -0.10               -0.09                -0.12
                                                               (0.08)              (0.08)               (0.07)



Note: All Regressions include education-by-experience fixed effects, education-by-year fixed effects and experience-
by-year fixed effects. The reported standard errors are heteroskedasticity robust and clustered by education-experience.
The dependent variable is the natural logarithm of relative male-female weekly wage of workers in the same education-
experience –nativity group, the explanatory variable is the relative labor supply of female to male workers in the same
education-experience-nativity group. The first row includes in the regression education-experience cells for U.S.- and
foreign-born workers. This implies a total of 384 observations for column 1 and 320 for columns 2 and 3. The second
row only includes cells with US-born workers and the third row only includes cells with foreign-born workers. This
implies 192 observations for column 1 and 160 for columns 2 and 3. Observations are weighted by the total employment
in the cell, in all specifications.




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                                                              Table 3
                Relative U.S.-Foreign-Born Wage Elasticity within Education-Experience Cells, Overall and by Gender

          Dependent Variable and Explanatory                 1            2                3               4                        5
                      variable:                             Basic    Weekly         Non weighted Omit 2004                       Omit 1960
                                                                      Wages
                         1/σ (US-Foreign born relative wage elasticity) Overall estimates and by gender groups
            Relative Wage and Employment             0.16**           0.14**            0.14**          0.14**                      0.18**
            U.S./Foreign Born, All Workers            (0.04)           (0.03)           (0.05)          (0.04)                      (0.04)
            Relative Wage and Employment             0.16**           0.09**            0.15**          0.15**                      0.17**
           U.S./Foreign Born , Male Workers           (0.05)           (0.03)           (0.07)          (0.05)                      (0.06)
            Relative Wage and Employment             0.18**           0.05**            0.13**          0.20**                      0.20**
          U.S./Foreign Born , Female Workers          (0.03)           (0.01)           (0.04)          (0.05)                      (0.03)
                              1/σ (US-Foreign born relative wage elasticity) Estimates across gender groups
          Relative Wage of U.S./Foreign Born ,       0.15**            0.09*            0.12**          0.13**                      0.17**
               Male Workers and Relative              (0.04)           (0.03)           (0.06)          (0.04)                      (0.04)
           Employment of U.S./Foreign Born ,
                        Female
          Relative Wage of U.S./Foreign Born         0.17**           0.05**            0.13**          0.21**                      0.20**
              Female Workers and Relative             (0.04)           (0.02)           (0.06)          (0.06)                      (0.05)
           Employment of U.S./Foreign Born
                     Male workers
                     Observations                      192              192              192             128                         128


Note: All Regressions include seducation-by-experience fixed effects, education-by-year fixed effects and experience-by-year fixed effects. Errors are
heteroskedasticity robust and clustered by education-experience. The dependent variable is natural logarithm of relative wage of US and foreign born
workers in the same education and experience group, the explanatory variable is the relative employment of US and foreign-born workers in the same
education experience group. Results in the first row are relative to regressions that use all workers to calculate employment and wages, results in the
second row use male workers only, and results in the third row use female workers only. The fourth row uses relative wages of male workers and
relative employment of female workers. The fifth row uses relative wages of female workers and relative employment of male workers. Observations
are weighted by total employment in the cell, in all specifications except for 3. Specifications 1 to 3 are estimated using observations for 1960, 1970,
1980, 1990, 2000 and 2004.


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                                                              Table 4
                  Relative U.S.-Foreign-Born Wage Elasticity within Education-Experience Cells: Robustness Checks


     Table entries: 1/σ                                      1                  2                3                 4                5
     (US-Foreign born relative wage elasticity)             Basic            Weekly         Non weighted        Omit 2004        Omit 1960
                                                                             Wages
      Using Effective Experience to construct              0.17**            0.12**              0.16**           0.16**           0.18**
             Education-experience cells                    (0.05)            (0.04)              (0.05)           (0.06)           (0.05)
      Using weeks-Person as measure of labor               0.14**            0.20**              0.12**           0.14**            0.14
                        supply                             (0.04)            (0.03)              (0.06)           (0.05)           (0.04)
     Restricted to the groups of workers with at           0.20**            0.18**              0.19**           0.19**           0.22**
             most a high school degree                     (0.03)            (0.03)              (0.04)           (0.02)           (0.03)

Note: All regressions include education-by-experience fixed effects, education-by-year fixed effects and experience-by-year fixed effects. Errors are
heteroskedasticity robust and clustered by education-experience. The dependent variable is the natural logarithm of relative wage of US and foreign born
workers in the same education and experience group, the explanatory variable is the relative labor supply of US and foreign-born workers in the same
education experience group. In the first row the effective experience for foreign-born workers is calculated by converting years of experience abroad into
years of US experience. The period considered is 1970-2004, since in 1960 there is no information on the year when immigrants entered the country. In
the second row we use week-person as measure of labor supply of each group and 1960, 1970, 1980, 1990, 2000 and 2004 as years. In the third row we
select only the education-experience groups within the two educational groups HSD (high school dropouts) and HSG (high school graduates) for a total
of 96 observations.




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                                                            Table 5
                              Estimates of 1 /η : Relative Wage Elasticity across Experience Cells


  Entries are estimates of      CES Foreign-U.S.- Born Using Estimated σ                     Simple Sum Foreign- U.S.-Born
            1 /η                                                                                    (imposing σ= ∞ )
       Specification                       1                         2                          3                    4
         Sample                      All workers                 Male only               All Workers           Male Only
       Yearly Wages                    0.30**                     0.30**                    0.26**                0.25**
                                        (0.09)                    (0.10)                     (0.06)               (0.07)
       Weekly Wages                    0.29**                     0.29**                    0.25**                0.25**
                                        (0.09)                    (0.10)                     (0.07)               (0.08)
        Observations                     192                       160                        192                   160

Note: Method of estimation is 2SLS using the log of foreign-born employed in the education-experience group as instrument for the
variable ln(Lkjt) that is constructed as described in the text. All regressions include education by experience fixed effects and education
by year fixed effects. Specifications 2 and 4 use male workers only to calculate the wages and employment. In parenthesis we report the
Heteroskedasticity Robust Standard error clustered by education group.




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                                                               Table 6
                             Estimates of 1 / δ : Relative Wage Elasticity Across Education Cells


 Entries are estimates of            CES across Experience Groups,                     Simple Sum Across Experience Groups
           1/ δ                                estimated η                                        ( imposing η= ∞ )
      Specification                       1                    2                              3                        4
         Sample                     All workers            Male Only                    All workers             Male Only
      Yearly wages                    0.45**                0.46**                        0.51**                   0.52**
                                       (0.12)               (0.14)                         (0.14)                   (0.16)
     Weekly Wages                     0.40**                0.40**                        0.44**                   0.44**
                                       (0.09)               (0.10)                         (0.11)                   (0.12)
      Observations                       24                   20                             24                       20

Note: Method of estimation is 2SLS using the log of foreign-born employed in the education group as instrument for the variable ln(Lkt)
that is constructed as described in the text. All regressions include 5 time fixed effects and 4 education-specific time trends.
Specifications 2 and 4 include male individuals only in calculating wages and employment. Specifications 1 and 3 use all individuals in
each education and experience group. In parenthesis we report the Heteroskedasticity Robust Standard error clustered by education
group.




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                                                             Table 7
                         Calculated Percentage Changes in Real Wages Due to Immigrant Inflows: 1990-2004.
                                                    Long Run Effects (Δκ/κ=0)




            Specification                            1                        2                        3                         4
            Estimates of σ                          Low                     Median                    High              σ , imposed = ∞
                                                    σ=5                     σ=6.6                     σ=10
                                % Real Wage Change of Us Born Workers Due to Immigration, 1990-2004
1) HS dropouts US-born                            -0.2%                     -1.1%                    -2.1%                    -4.2%
2) HS graduates, US-born                          +2.9%                     +2.4%                    +2.0%                    +1.0%
3) CO dropouts, US-born                           +3.7%                      +3.4                    +3.1%                    +2.4%
4) CO graduates, US-born                          +1.4%                     +0.7%                     0.0%                    -1.5%
5) Average, US-born                               +2.3%                     +1.8%                    +1.2%                    +0.1%
                             % Real Wage Change of Foreign Born Workers Due to Immigration, 1990-2004
6) HS dropouts Foreign-born                       -20.2%                    -16.3%                   -12.3%                   -4.4%
7) HS graduates, Foreign-born                     -31.7%                    -23.5%                    -15%                    +1.0%
8) CO dropouts, Foreign-born                      -17.4%                    -12.3%                    -7.3%                   +2.4%
9) CO graduates, Foreign-born                     -31.6%                    -24.2%                    -16%                    -1.6%
10) Average Foreign-born                          -26.3%                    -19.8%                   -13.3%                   -0.9%
11) Overall Average:                                0%                        0%                       0%                      0%
Native and US-Born


Note: Values of the other parameters used in the estimation: δ=2, η=4, α=0.66. The inflow of immigrants in the period 1990-2004 as a percentage of
initial employment in the group were as follows: High School Dropouts: 20%, High School Graduates: 9.9%, College Dropouts: 6.5%, College
Graduates: 14.1%, Overall 11.0%. The percentage change for the wage of each worker in group k, j is calculated using the formula (11) for US-born
and (12) for foreign-born. Then percentage wage changes are averaged across experience groups using the wage-share of the group in 1990 to obtain
the Table entries. The averages for US- and Foreign-born are obtained averaging the wage change of each education group weighted by its share in
the wage (as described in formulas 13 and 14). The overall average wage change adds the change of US- and foreign-born weighted for the relative
wage shares in 1990 (equal to 8.5% for foreign-born and 91.5% for US-born).

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                                                                 Table 8
                            Calculated Percentage Changes in Real Wages Due to Immigrant Inflows: 1990-2004.
                                       Short Run Effects, Accounting for Yearly Capital Adjustment.

             Specification                          1                     2                     3                     4                    5
             Estimates of σ                    As of 2004             As of 2009             Long Run              Fixed K            Fixed K and
                                               (short run)                                                       (Traditional       σ , imposed = ∞
                                                                                                                  Short Run)

                                     % Real Wage Change of US-Born Workers Due to Immigration, 1990-2004
  HS dropouts US-born                             -2.2%                  -1.7%                 -1.1%                 -4.8%                 -7.9%
  HS graduates, US-born                           +1.3%                  +1.8%                 +2.4%                 -1.2%                 -2.6%
  CO dropouts, US-born                            +2.3%                  +2.8%                  +3.4                 -0.2%                 -1.2%
  CO graduates, US-born                           -0.4%                  +0.1%                 +0.7%                 -2.9%                 -5.2%
  Average, US-Born                               +0.7%                   +1.2%                 +1.8%                 -1.9%                -3.5%
                                  % Real Wage Change of Foreign Born Workers Due to Immigration, 1990-2004
  HS dropouts Foreign-born                       -17.4%                 -16.9%                 -16.3%               -19.9%                -8.1%
  HS graduates, Foreign-born                     -24.6%                 -24.1%                 -23.5%               -27.1%                -2.6%
  CO dropouts, Foreign-born                      -13.4%                 -12.9%                 -12.3%               -15.9%                -1.2%
  CO graduates, Foreign-born                     -25.3%                 -24.8%                 -24.2%               -27.8%                -5.3%
  Average Foreign-born                           -20.9%                 -20.4%                 -19.8%               -23.4%                -4.7%
  Overall Average:                                -1.1%                  -0.6%                   0%                  -3.6%                -3.6%
  Native and US-Born

Note: Values of the other parameters used in the estimation of columns 1, 2, 3 and 4: σ=6.6, δ=2, η=4, α=0.66. Column 5 assumes : σ= ∞ ,
δ=2, η=4, α=0.66. The inflow of immigrants in the period 1990-2004 as a percentage of initial employment in the group were as follows:
High School Dropouts: 20%, High School Graduates: 9.9%, College Dropouts: 6.5%, College Graduates: 14.1%, Overall 11.0%. The formulas
used to obtain single entries and averages are identical to those used in Table 9. The method used to construct the percentage changes in wages
is identical to the one used in Table 9. The change in the capital-labor ratio due to immigration as of 2004 and 2009 is calculated using yearly
immigration flows and the recursive formula (26) in the text. The effect of immigration 1990-2004 on the capital-labor ratio as of 2004
(column 1) is -3.4% and it is -2.0% as of 2009 (column 2). To the contrary, the effect assuming fixed capital (column 4 and 5) is -11%.


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                                                        Table 9
                    Calculated Percentage Changes in Real Wages Due to Immigrant Inflows: 1990-2004.
                                Long Run Effects. Robustness Checks, for Different Values of δ, η.


            Value of δ                              1.5                                         2.5
            Value of η                               3                                           5
           Specification                1            2           3            4                 5                            6
            Value of σk               Low        Median       High           Low            Median                          High
                                      σ=5         σ=6.6       σ=10           σ=5             σ=6.6                          σ=10
                            % Real Wage Change of US-Born Workers Due to Immigration, 1990-2004
 HS dropouts US-born                 -1.6%        -2.5%       -3.5%         +0.6%            -0.3%                          -1.3%
 HS graduates, US-born               +3.3%        +2.8%       +2.3%         +2.7%            +2.2%                          +1.8%
 CO dropouts, US-born                +4.6%        +4.2%       +3.9%         +3.2%            +2.9%                          +2.6%
 CO graduates, US-born                0.9%        +0.2%       -0.6%         +1.7%            +1.0%                          -0.2%
 Average, US-Born                   +2.3%        +1.8%       +1.2%          +2.3%           +1.8%                          +1.2%
                        % Real Wage Change of Foreign -Born Workers Due to Immigration, 1990-2004
 HS dropouts Foreign-born           -21.0%      -17.8%       -14.0%         -19.3%         -15.3%                          -11.4%
 HS graduates, Foreign-born         -31.2%      -23.3%       -15.0%         -31.5%         -23.4%                          -15.3%
 CO dropouts, Foreign-born          -16.1%      -11.2%        -6.4%         -17.5%         -12.7%                           -7.8%
 CO graduates, Foreign-born          -32%       -24.8%        -17%           31.1%         -23.8%                           -16%
 Average Foreign-born                -26%       -19.6%       -13.6%          -26%          -19.6%                          -13.6%
 Overall Average:                     0%          0%           0%             0%             0%                              0%
 Native and Foreign-Born

Note: Inflow of immigrants in the period 1990-2004 as a percentage of initial employment in the group: High School Dropouts: 20%,
High School Graduates: 9.9%, College Dropouts: 6.5%, College Graduates: 14.1%, Overall 11.0%. The formulas used to obtain single
entries and averages are identical to those used in Table 9. The method used to construct the percentage changes in wages is identical
to the one used in Table 9.




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                                                               Table 10
                                    Effect of Immigrants on Real Wage Dispersion of US Natives, 1990-2004

                                       1                   2             3                 4                5                            6
                                     Actual          Percentage     Percentage        Share of (2)     Percentage                  Share of (2)
                                   Percentage          Change        Change         Explained by (3)    Change                    Explained by (5)
                                  Change 1990-                    (Relative to the
                                                    Relative to the                                  (Relative to the
                                      2004            Average        Average                            Average
                                                                  Change) Due to                     Change) Due to
                                                                   Immigration,                       Immigration
                                                                    Our Model                             σ= ∞
                                                                       σ=6.6
                                      Real Percentage Changes in Wages of Education Groups 1990-2004
Real Wage of US-born, HS             -11.9%          -24.4%            -2.9%              0.12            -4.3%                          0.17
dropouts
Real Wage of US-born HS               6.5%              -6.1%                +0.6%      -0.098                      +0.9%               -0.15
graduates                                                                             (Attenuate                                     (Attenuate
                                                                                      Dispersion)                                    Dispersion)
Real Wage of US-born CO               8.5%            -4.1%            +1.4%             -0.34                      +2.3%               -0.56
dropouts,                                                                             (Attenuate                                     (Attenuate
                                                                                      Dispersion)                                    Dispersion)
Real Wage of US-born, CO             21.5%           +8.9%             -1.1%             -0.12                      -1.4%              -0.015
graduates                                                                             (Attenuate                                     (Attenuate
                                                                                      Dispersion)                                    Dispersion)
                                            Real Percentage Changes in Wage Premia, 1990-2004
College/High School Dropout          +33.3%          +33.3%            +1.8%              0.05                      +2.9%               0.087
Wage Premium
College/High School                   +15%              +15%                 -1.7%              -0.11               -2.3%               -0.15
Graduates                                                                                    (Attenuate                              (Attenuate
Wage Premium                                                                                 Dispersion)                             Dispersion)

Note: The wages for each group are calculated considering all US-born workers between the ages of 17 and 65, from the IPUMS Census 1990 and
the IPUMS American Community Survey 2004 as described in the main text. The CPI deflator is used to convert the wages to constant 2000 $. The
average growth of real wages between 1990 and 2004 was 12.5%. It is calculated weighting the percentage increases in real wages of each education
group by their average wage shares in the period 1990-2004.


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                                                                                                    Figure 1
                                                                                              Capital-Output Ratio
                                                                  US Capital-Output ratio, 1960-2004

      3.500



      3.000



      2.500



      2.000
k/y




      1.500

                                                                                                                                                   capita/output ratio
                                                                                                                                                   average
      1.000



      0.500



      0.000
                                                                                                                          90

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                                                                                               year


                                                                                  Figure 2
                                                                      De-Trended Log Capital-Labor Ratio
                                                                        log Capital-Labor Ratio, de-trended, 1960-2004


                    0.06


                    0.05
                                                                                                                                             log Capital-Labor, de-trended


                    0.04


                    0.03


                    0.02
        deviation




                    0.01


                       0
                                                                                                                                                                                  04
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                    -0.01


                    -0.02


                    -0.03


                    -0.04
                                                                                                      Year




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                                                                                            Figure 3
                                                                 Immigration and Employment Growth, 1990-2004
                                                                Immigrants during the period as percentage of initial Employment,
                                                                                      by Education Group

                                                                  20.0
                                  20.0                    19.0                                                                               1990-2000

                                  18.0                                                                                                       1990-2004

                                  16.0
                                                                                                                                             14.1
                                  14.0
Percentage Growth




                                  12.0
                                                                                           9.9                                        9.5
                                  10.0


                                        8.0
                                                                                                                       6.5
                                        6.0                                        5.3                         5.3

                                        4.0


                                        2.0


                                        0.0
                                                    High School Dropouts    High School Graduates         College Dropouts       College Graduates
                                                                                           Educational Group



                                                                                            Figure 4
                                                            Growth of Real Yearly Wages of US Natives: 1990-2004.
                                                                  Percentage Change of Real Yearly Wage by Education Group



                                         25.0                                                                        1990-2000
                                                                                                                                             21.5
                                                                                                                     1990-2004       20.2
                                         20.0


                                         15.0


                                                                                     9.1                       9.9
                                         10.0                                                                          8.5
                    Percentage growth




                                                                                            6.5
                                              5.0


                                              0.0


                                          -5.0
                                                             -6.5

                                         -10.0
                                                                    -11.9
                                         -15.0
                                                        High School             High School            College Dropouts      College Graduates
                                                         Dropouts                Graduates
                                                                                                  Group




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                                                  Appendix
                                  Table A1:
           Share of Foreign-Born Workers by Education and Experience

             Group                                                            Year
 Education     Experience                 1960         1970          1980        1990          2000          2004
               0 to 4                     0.039        0.036         0.058       0.101         0.119         0.116
               5 to 9                     0.061        0.060         0.138       0.264         0.375         0.354
               10 to 14                   0.058        0.066         0.166       0.252         0.426         0.472
 High School   15 to 19                   0.056        0.072         0.143       0.262         0.416         0.493
 Dropouts      20 to 24                   0.058        0.070         0.132       0.270         0.364         0.442
               25 to 29                   0.055        0.061         0.124       0.222         0.363         0.377
               30 to 34                   0.083        0.061         0.101       0.179         0.358         0.382
               34 to 40                   0.122        0.058         0.086       0.161         0.281         0.345
               All Experience
                                          0.07          0.060        0.109        0.205        0.306         0.341
               Levels
               0 to 4                     0.019         0.025        0.032        0.057        0.095         0.107
               5 to 9                     0.025         0.028        0.038        0.062        0.125         0.148
               10 to 14                   0.028         0.033        0.046        0.057        0.118         0.167
 High School   15 to 19                   0.036         0.035        0.047        0.057        0.100         0.157
 Graduates     20 to 24                   0.035         0.037        0.051        0.062        0.085         0.119
               25 to 29                   0.046         0.041        0.050        0.059        0.082         0.105
               30 to 34                   0.065         0.040        0.051        0.060        0.081         0.097
               34 to 40                   0.108         0.049        0.054        0.055        0.072         0.097
               All Experience
                                          0.038         0.034        0.044        0.059        0.095         0.124
               Levels
               0 to 4                     0.030         0.031        0.046        0.062        0.084         0.081
               5 to 9                     0.042         0.047        0.051        0.071        0.097         0.104
               10 to 14                   0.048         0.054        0.058        0.066        0.103         0.110
 College       15 to 19                   0.055         0.058        0.065        0.063        0.095         0.117
 Dropouts      20 to 24                   0.048         0.054        0.070        0.065        0.084         0.101
               25 to 29                   0.052         0.058        0.065        0.070        0.076         0.087
               30 to 34                   0.076         0.046        0.067        0.074        0.074         0.077
               34 to 40                   0.099         0.057        0.067        0.072        0.077         0.076
               All Experience
                                          0.052         0.048        0.057        0.067        0.088         0.095
               Levels
               0 to 4                     0.035         0.035        0.042        0.070        0.121         0.114
               5 to 9                     0.045         0.064        0.062        0.090        0.143         0.173
               10 to 14                   0.053         0.069        0.080        0.094        0.153         0.178
               15 to 19                   0.056         0.060        0.097        0.087        0.138         0.160
 College       20 to 24                   0.052         0.053        0.088        0.093        0.120         0.149
 Graduates     25 to 29                   0.064         0.058        0.073        0.107        0.105         0.126
               30 to 34                   0.071         0.056        0.072        0.095        0.105         0.104
               34 to 40                   0.088         0.070        0.072        0.088        0.125         0.122
               All Experience
                                          0.054         0.056        0.070        0.089        0.128         0.146
               Levels


Note: Individuals included in calculations are those between 17 and 65 years, not living in group quarters who received
non-zero income and worked at least one week during the previous year. Foreign-born are workers born outside of the
US who are not citizens at birth. Sources: Authors’ calculations on individual data from Census IPUMS and ACS from
Ruggles, et al (2006).




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                                   Table A2:
Weekly Wages of U.S. Natives in Constant 2000 U.S. $ by Education and Experience

            Group                                                             Year
 Education   Experience                    1960         1970         1980        1990           2000          2004
             0 to 4                        207          246          207         180            214           179
             5 to 9                        324          384          370         358            406           357
             10 to 14                      377          442          415         423            480           446
 High School 15 to 19                      403          452          444         455            507           489
 Dropouts    20 to 24                      401          468          471         476            554           548
             25 to 29                      403          486          482         500            579           549
             30 to 34                      399          470          494         522            594           599
             34 to 40                      402          463          500         521            608           585
             All Experience
                                           374          431           495          402          424           400
             Levels
             0 to 4                        307          355           334          313          350           325
             5 to 9                        404          476           439          437          485           457
             10 to 14                      454          526           487          504          553           567
 High School 15 to 19                      472          538           526          537          606           631
 Graduates   20 to 24                      484          546           544          559          642           645
             25 to 29                      486          551           552          596          658           658
             30 to 34                      485          565           560          606          665           681
             34 to 40                      476          556           558          587          681           673
             All Experience
                                           463          501           478          507          579           576
             Levels
             0 to 4                        354          402           365          359          388           374
             5 to 9                        473          565           495          522          571           570
             10 to 14                      543          639           573          604          665           686
 College     15 to 19                      574          672           631          656          731           755
 Dropouts    20 to 24                      583          694           649          708          775           794
             25 to 29                      573          706           660          749          805           846
             30 to 34                      567          715           670          757          836           820
             34 to 40                      572          669           666          731          855           832
             All Experience
                                           516          593           537          600          685           693
             Levels
             0 to 4                        469          573           477          569          658           645
             5 to 9                        611          763           639          786          904           976
             10 to 14                      728          908           798          932          1155          1230
             15 to 19                      779          983           906          1024         1287          1349
 College
             20 to 24                      776          1036          964          1147         1318          1357
 Graduates
             25 to 29                      779          1038          992          1203         1340          1365
             30 to 34                      789          996           997          1213         1430          1347
             34 to 40                      782          950           953          1178         1413          1336
             All Experience
                                           693          863           761          950          1170          1201
             Levels

Note: Individuals included in calculations are those between 17 and 65 years, not living in group quarters, which received
non-zero income and worked at least one week during the previous year. Wages are in real US Dollars calculated using
the CPI deflator with 2000 as base year. Natives are workers born within the US or who are US citizens at birth. Sources:
Authors’ calculations on individual data from Census IPUMS and ACS from Ruggles, et al (2006).




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                                   Table A3:
Relative Weekly Wages Foreign-Born/ US-Born Workers by Education and Experience

              Group                                                             Year
  Education      Experience                 1960         1970          1980        1990           2000         2004
                 0 to 4                         1.172        1.147        1.304         1.463        1.756        1.442
                 5 to 9                         0.969        1.003        0.956         0.984        1.082        1.624
                 10 to 14                       0.969        1.030        0.942         0.904        1.062        1.031
  High School    15 to 19                       0.987        1.024        0.954         0.937        0.936        0.980
  Dropouts       20 to 24                       1.009        0.996        0.959         0.991        0.947        0.874
                 25 to 29                       1.008        0.966        0.925         0.868        1.038        0.859
                 30 to 34                       1.055        1.046        0.892         0.933        0.935        1.027
                 34 to 40                       1.075        1.007        0.882         0.909        0.859        0.921
                 All Experience
                 Levels                         1.030        1.027        0.977         0.999        1.077        1.095
                 0 to 4                         0.936        1.046        1.008         1.000        1.070        1.056
                 5 to 9                         0.948        0.977        0.918         0.988        0.961        0.970
                 10 to 14                       0.885        0.963        0.961         1.030        1.004        0.909
  High School    15 to 19                       0.984        1.011        0.962         1.037        1.057        0.938
  Graduates      20 to 24                       1.032        0.971        0.947         1.027        0.949        0.986
                 25 to 29                       1.063        0.965        0.962         0.982        0.988        0.905
                 30 to 34                       1.043        1.058        0.902         0.930        0.936        0.953
                 34 to 40                       1.060        1.022        0.961         0.976        0.980        1.142
                 All Experience
                 Levels                         0.994        1.002        0.953         0.996        0.993        0.982
                 0 to 4                         0.963        0.985        0.948         1.114        0.997        0.964
                 5 to 9                         0.920        0.966        0.955         1.013        1.053        1.142
                 10 to 14                       0.915        1.002        0.976         0.980        0.969        0.931
  College        15 to 19                       0.976        0.928        0.962         1.017        0.986        0.982
  Dropouts       20 to 24                       1.054        0.950        0.950         1.018        1.023        1.105
                 25 to 29                       1.011        0.919        0.954         0.952        0.967        0.915
                 30 to 34                       1.059        1.034        0.910         0.980        0.978        1.042
                 34 to 40                       1.005        1.053        0.953         1.026        0.959        0.967
                 All Experience
                 Levels                         0.988        0.980        0.951         1.012        0.992        1.006
                 0 to 4                         0.959        0.984        0.995         1.011        1.163        1.141
                 5 to 9                         0.929        0.917        0.959         0.934        1.120        1.002
                 10 to 14                       0.927        0.909        0.977         1.006        1.017        1.020
                 15 to 19                       0.946        0.966        1.005         1.047        0.945        0.967
  College
  Graduates      20 to 24                       0.980        0.991        0.956         1.014        0.946        0.905
                 25 to 29                       0.994        0.941        0.989         1.083        1.049        0.951
                 30 to 34                       1.021        1.011        0.933         0.996        0.973        0.965
                 34 to 40                       0.976        1.008        0.899         1.017        0.918        0.905
                 All Experience
                 Levels                         0.966        0.966        0.964         1.013        1.016        0.982

 Note: Individuals included in calculations are those between 17 and 65 years, not living in group quarters, which received
 non-zero income and worked at least one week during the previous year. The entries are equal to the ratio of foreign-born
 to native weekly wages. Natives are workers born within the US or who are US citizens at birth. Foreign-born are workers
 born outside the US and who are not citizens at birth. Sources: Authors’ calculations on individual data from Census
 IPUMS and ACS from Ruggles, et al (2006).




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                                                              Perspectives




     Allies, Not Enemies
         How Latino Immigration Boosts
    African American Employment and Wages
                              by Jack Strauss



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                                          ALLIES, NOT ENEMIES:

                         HOW LATINO IMMIGRATION BOOSTS AFRICAN

                              AMERICAN EMPLOYMENT AND WAGES


                                                   JUNE 2013

                                               BY JACK STRAUSS




ABOUT PERSPECTIVES ON IMMIGRATION

The Immigration Policy Center’s Perspectives are narratives written by leading academics, researchers, and
advocates who bring a wide range of multi-disciplinary knowledge to the issue of immigration policy.

ABOUT THE AUTHOR

Professor Jack Strauss is the Simon Chair of Economics at Saint Louis University and Director of the Simon Center
for Regional Forecasting. He is currently an adviser to the St. Louis Steering Committee on Immigration. The
taskforce, backed by both Mayor Slay and County Executive Dooley, is exploring avenues to promote a more
proactive and friendly immigration policy in the St. Louis region. Dr. Strauss was the keynote speaker at the
conference that kick-started the immigration taskforce, and his paper has shown that immigration can produce
significant positive economic effects to the St. Louis region. He is the author of more than three dozen refereed
articles in economics in top journals.

ABOUT THE IMMIGRATION POLICY CENTER

The Immigration Policy Center, established in 2003, is the policy arm of the American Immigration Council. IPC's
mission is to shape a rational conversation on immigration and immigrant integration. Through its research and
analysis, IPC provides policymakers, the media, and the general public with accurate information about the role of
immigrants and immigration policy on U.S. society. IPC reports and materials are widely disseminated and relied
upon by press and policymakers. IPC staff regularly serves as experts to leaders on Capitol Hill, opinion-makers,
and the media. IPC is a non-partisan organization that neither supports nor opposes any political party or
candidate for office. Visit our website at www.immigrationpolicy.org and our blog at
www.immigrationimpact.com.




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A comprehensive analysis of Census data from hundreds of U.S. metropolitan areas indicate
that immigration from Latin America improves wages and job opportunities for African
Americans. 1 This analysis serves to dispel the common myth that African Americans are
negatively impacted by the immigration of less-skilled workers from Mexico and elsewhere in
Latin America. It is often assumed that Latino immigrants and African Americans are locked in
ruinous competition for the same jobs, resulting in lower wages and higher unemployment
rates for African Americans. In fact, Latino immigrants and African Americans fill
complementary roles in the labor market—they are not simply substitutes for one another. In
addition, cities which have suffered the effects of declining population are rejuvenated by an
inflow of Latino immigrants who increase the labor force, tax base, consumer base, etc. To the
extent that there really is a “black-brown” divide, it is rooted in politics and perception—not
economics.

The Economic Impact of Latino Immigration on African Americans

Our analysis uses a cross-section of 907 Metropolitan Statistical Areas (MSAs) in 2010, and 455
Metros in 2005, making it the largest economic examination of immigration’s effect on African
Americans in terms of wages and employment. 2 The statistical tests carefully control for
simultaneity (cause and effect). The evidence shows that cities with greater immigration from
Latin America experience:

   1. Higher wages for African Americans. For every 1% increase in a city’s share of Latinos,
      African median and mean wages increase by 3%. This relationship is large. Consider St.
      Louis, which has 1.5% of its population from Latin America. If St. Louis were to have a
      Latino population share as large as other large metropolitan areas, African American
      wages would be approximately 30% higher. 3

   2. Lower shares of African Americans in poverty (less than $20,000) and greater shares of
      African Americans who are well-off (incomes exceeding $60,000). For every 1% increase
      in a city’s share of Latinos, the city experiences a 1.6% increase in relatively well-off
      African Americans and fall in poor African Americans. 4

   3. Less poverty across different African American age groups. A 1% increase in a city’s
      young (ages 18-24), middle aged (25-34) and more mature Latinos (35-64) yields
      approximately 1.1-2.3% fewer African Americans in poverty in the same age cohorts. At
      the same time, more young, middle-aged, and older Latinos lead to more African
      Americans of similar cohorts with incomes exceeding $60,000.

   4. Lower African American unemployment. This finding is significant at the 99% level
      across different age cohorts. For instance, cities with a 1% increase in Latinos ages 20-24
      leads to a .26% decrease in unemployment rates among African Americans ages 20-24; a




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       rise in Latinos ages 25-34 implies even greater declines in African Americans
       unemployment with ages 25-34.

   5. More jobs among all African American age cohorts. A 1% rise in Latino immigration
      contributes to a 1.4% increase in employment rates among African Americans, and
      increases in young Latinos (20-24) contribute to 0.5% increase in employment among
      young African Americans.

The positive economic impact of Latino immigration is related to population. Many metros,
particularly in the Midwest, including Cleveland, Dayton, Detroit, and St. Louis, are not
experiencing vibrant population growth.5 Instead, aging baby boomers and negative net
migration are leading to a hallowing out of cities, declining school revenue, falling housing
prices, big businesses moving their headquarters, and a dearth of small businesses. St. Louis, for
instance, has experienced a sharply declining population, and at the same time, very little
Latino immigration. As a result, Saint Louis has closed more than a dozen schools in recent
years, which has cost the jobs of hundreds of African American teachers, administrators, and
staff. Our research shows that an increase in immigration from Latin America would have
sustained St. Louis’s population, tax base, school enrollment, and most of the lost African
American jobs. Further, it would have reduced crime among young African American men by
giving them more economic opportunities.

Why are population size and composition so important for economic development? Edward
Glaeser and Joshua Gottlieb argue that larger cities are successful because they have thriving
clusters of people and companies working together. 6 More people from Latin America increases
the vibrancy of a city, its culture, and the opportunities it offers. Further, research shows that
specialization by encouraging different skill patterns leads to higher wages and more jobs.7
After all, as Adam Smith and David Ricardo pointed out long ago, specialization and
comparative advantage improve economic efficiency. The Economist likens immigration to
international trade which “benefits countries by letting workers specialize in activities in which
they are relatively more productive, raising output. And the larger market created by trade
spreads the fixed costs of innovation more thinly, encouraging the development of new goods
and ideas.” 8 From this perspective, Latinos are not substitutes for, but complements to, African
American workers—and an essential component of competition and capitalism.


Deficiencies in the Existing Literature

The impact of Latino immigration on the African American labor market is a critical but scarcely
addressed topic in the economic literature. The examination of the economic consequences of
immigration, particularly from Latin America—and explicitly on African Americans—is rooted
not in economic analysis, but in the popular perception that both ethnic groups tend to have
large numbers of low-skilled workers who possess similar education and demographic profiles,
live predominantly in urban areas, and sometimes compete directly for the same jobs. There is
also a prevailing view that immigrants, including Latinos, are willing to work for less, and




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therefore have taken jobs away from African Americans. As a result, widely reported tensions
between African Americans and Latinos have emerged, and been extensively covered by policy
institutes, political science and sociology journals, as well as the popular press. 9 Although these
strains are widely perceived as economic in nature, they have paradoxically received no recent
attention in the economic literature.

What are the effects of increases in Latino immigration on African American wages,
employment, and unemployment? A number of recent studies have begun to document, in
rising levels of detail, the tension that has emerged between immigrant groups and lower-
skilled American natives, a high proportion of whom are African American. 10 The studies
attribute these tensions to “economic competition among ethnic groups.” 11 Claudine Gay
focuses specifically on African American and Latino economic rivalry: “the trend is disturbing:
anti-Latino sentiment among the black mass public may undermine elite efforts to build black-
Latino alliances, putting at risk the group’s future political and economic status...most accounts
of the conflict identify the competition over scarce resources as a central force in Black-
immigrant relations.” 12 According to Leticia Saucedo: “Much has been written about the
tensions between African Americans and immigrants, especially Latino immigrants. For civil
rights advocates and African-American communities, the issue of immigration brings with it
concerns about the impact of immigration on African Americans, who are concentrated in the
domestic low-wage work force and are often said to face the greatest competition from
modern migrant flows into the United States.” 13

Although a perceived “brown versus black” conflict may exist, it is not based on economics.
Rather, it stems from political competition for representation and, at times, misinformation.
Claudia Sandoval surveys the recent literature on interethnic competition and discusses how
Latinos and African Americans compete for social status and political power. 14 The rapid rise of
Latinos carries with it the implication that they do not need African Americans for political
support, which might lead to an erosion of African American political power.


Conclusion

This paper provides extensive evidence that African Americans in MSAs with more Latino
immigration experience significantly higher wages, lower unemployment, and higher job
creation. The effect is typically very significant and robust across different age groups and
income levels. Cities experiencing Latino immigration have fewer African Americans in poverty
and more with higher incomes. Statistical tests that control for simultaneity and causality
further show that Latino immigration leads to/or causes improved African American economic
outcomes.




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Comments on Methodology

A central problem with many studies of immigration is the failure to determine causality. Cities
where an economic boom is occurring may simultaneously attract immigrants, who are drawn
to the jobs there, but who do not create them. In this case, increases in immigration will be
related to higher wages and job creation, but not contribute to or cause these improving
economic outcomes. To mitigate this “simultaneity,” this study adopts a method called GMM
(Generalized Methods of Moments), uses demographic/educational control variables identified
by the literature, controls for domestic migration of native-born Americans from other states,
and uses Granger Causality tests. If the simultaneity issue is relevant (and a driving factor
generating spurious significance), a significant relationship should occur between domestic
migration and improving economic outcomes, as well as between native and foreign-born
migration patterns, since both should respond similarly to economic incentives. However, this is
not the case.

The statistical evidence documents that there is little relationship between native and foreign-
born migration (including migration of Latinos), that domestic migration is not substantially
correlated to economic activity, and that Latino immigration and African American economic
activity are significantly, positively related. Further, controlling for native-born migration does
not affect the results since there is no relationship between native-born and foreign-born
inflows to a city. Overall then, there is significant evidence against the booming cities
hypothesis. The evidence instead shows that increases in foreign-born workers from Latin
America, not increases in native-born workers from other states, lead to significantly higher
African American wages, wage growth, and job growth. Granger Causality results reveal that
increases in Latino immigration result in higher wages and more jobs for African Americans, and
lower rates of African American unemployment and incarceration. Improved economic
outcomes in the African American community have no significant impact on Latino immigration.
Therefore, one-way causation exists from Latino immigration to improved African American
opportunities. Lastly, the results are robust across different sample sizes, different years, and
different specifications, including immigration shares of the population and changes in these
shares. Overall, there is significant evidence that Latinos contribute to an economic boom in a
city, and are not simply innocent or lucky bystanders.

Endnotes
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2
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Network, December 8, 2012).
3
  The response is significant at the 99.9% level.
4
  The response is significant at the 99.9% level.




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5
  At the same time, cities in the South with both large Hispanic and African American communities including Charlotte, Dallas,
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              open for business
                      how immigrants are driving
               small business creation in the united states

                                  a report by
                  the partnership for a New American Economy
                                 — august 2012 —




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The Partnership for a New American Economy
brings together more than 450 Republican,
Democratic, and Independent mayors and
business leaders who support immigration
reforms that will help create jobs for Americans
today. The Partnership’s members include
mayors of more than 35 million people
nationwide and business leaders of companies
that generate more than $1.5 trillion and
employ more than 4 million people across all
sectors of the economy, from Agriculture to
Aerospace, Hospitality to High Tech, and
Media to Manufacturing. Partnership members
understand that immigration is essential to
maintaining the productive, diverse, and flexible
workforce that America needs to ensure
prosperity over the coming generations.

Learn more at: www.renewoureconomy.org

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Professor of Economics
University of California, Santa Cruz




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open for business                                                                                                                                                                                                                                 1




open for business
how immigrants are driving small business creation in the united states




Executive Summary  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 2

   1        Introduction  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 4

 2          Immigrant Entrepreneurs Start Businesses at Growing Rates
		          While Native-Born Entrepreneurship Falters  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 6

   3        Immigrant-Owned Firms Drive the U.S. Export Economy  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 10

   4        Immigrant-Owned Businesses Generate Substantial Business Income and Revenue  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 12

 5          Immigrant-Owned Businesses Create Millions of Jobs
		          and Pay Out Billions of Dollars in Employee Salaries  . .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 14

   6        Immigrant-Owned Businesses Power Many Sectors of the American Economy  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 16

   7        Immigrants Punch Above Their Weight in States Across the Country .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 20

   8        Immigrant Entrepreneurs in the United States Come from Around the World  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 22

   9        Immigrants of All Education Levels Are Contributing to Business Creation and Growth  .  .  .  .  .  .  .  .  .  .  .  .  .  . 24

Conclusion  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 26

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2                                                                               partnership for a new american economy




                    Executive Summary
                    The axiom that small businesses drive job growth is not quite correct.
                    It is young businesses that drive job growth.
                    Businesses under five years old are responsible for     This report shows that the prevalence of immigrant
                    all net job creation over the past three decades in     entrepreneurs and their importance to the U.S.
                    America.1 Unfortunately, the rate of new-business       economy are only growing. Over the last 15 years,
                    generation is declining: In 2010, it reached the low-   while native-born Americans have become less
                    est rate in the 30-year history of recorded data.2 So   likely to start a business, immigrants have steadily
                    as America attempts to grow its way out of the re-      picked up the slack. Immigrants are now more than
                    cession and create more jobs for American work-         twice as likely as the native-born to start a busi-
                    ers, new-business generation should be one of, if       ness and were responsible for more than one in
                    not the, primary focus of our economic strategy.        every four (28 percent) U.S. businesses founded in
                        This report examines and assesses a critical        2011, significantly outpacing their share of the
                    driver of new business creation in America: entre-      population (12.9 percent).
                    preneurial immigrants. Leaving one’s home and               Relying on the American Community Survey,
                    immigrating to a new country to start a new life is     the Current Population Survey, and the Survey of
                    itself an entrepreneurial act, so it is perhaps un-     Business Owners, this report analyzes the expand-
                    surprising that immigrants are disproportionately       ing role that immigrant entrepreneurs play in our
                    entrepreneurial.                                        economy. While their businesses tend to be smaller
                         Previous research has shown how greatly we         than those started by their native-born counter-
                    depend on immigrant entrepreneurs. The Partner-         parts, collectively immigrant businesses are having
                    ship for a New American Economy found that im-          an enormous impact on the U.S. economy. Immi-
                    migrants or their children founded more than 40         grant-owned businesses now employ one out of
                    percent of America’s Fortune 500 companies,             every ten U.S. workers at privately owned-compa-
                    and the Fiscal Policy Institute recently reported       nies and add more than $775 billion dollars of rev-
                    that immigrants now own more than 18 percent of         enue to the U.S. gross domestic product.
                    all incorporated businesses in the United States.           From new laundromats in the neighborhood to
                                                                            new listings on NASDAQ, immigrants are making
                                                                            their mark – playing an ever-increasing role in start-
                                                                            ing new businesses, creating jobs, increasing ex-
                                                                            ports, and growing the economy. Even more remark-
                                                                            able, immigrant entrepreneurship is increasing at a
                                                                            time when the economy has lagged. As the country
                                                                            looks for ways to generate economic growth and
                                                                            new jobs, any serious discussion must include the
                                                                            growing impact of immigrants as drivers of new-
                                                                            business creation.




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open for business                                                                                       3




Key Findings
    Immigrants are increasingly likely to start a business, while the rate of new-business
    generation among the native-born is declining: The rate at which immigrants start new
    businesses grew by more than 50 percent between 1996 and 2011. During the same period,
    the business-formation rate for the native-born declined by 10 percent.



    Immigrants are more than twice as likely to start a business as the native-born.
    In 2011, the immigrant business-formation rate was 550 new businesses per month for every
    100,000 immigrants, while the native-born rate was only 270 new businesses per month for
    every 100,000 native-born.



    Immigrants started 28 percent of all new U.S. businesses in 2011, despite accounting for
    just 12.9 percent of the U.S. population. Just a decade and a half earlier, in 1996, only 15
    percent of new U.S. businesses were founded by immigrants.



    Immigrant businesses are smaller than those started by the native-born, but their collective
    impact on the U.S. economy is huge and growing. Over the last decade the income
    generated by native-owned businesses increased just 14 percent and failed to keep pace with
    inflation. Income from immigrant-owned businesses, meanwhile, increased by more than 60
    percent. Immigrant-owned firms now generate more than $775 billion in revenue, $125 billion
    in payroll, and $100 billion in income, employing one out of every 10 workers along the way.



    Immigrants start more than 25 percent of all businesses in seven of eight sectors of
    the economy that the U.S. government expects to grow the fastest over the next decade.
    From 2007 to 2011, immigrants founded an outsized share of new businesses in health care
    and social assistance (28.7 percent), professional and business services (25.4 percent),
    construction (31.8 percent), retail trade (29.1 percent), leisure and hospitality (23.9 percent),
    educational services (28.7 percent), “other services” (28.2 percent), and transportation and
    utilities (29.4 percent).




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4                                                                                partnership for a new american economy




                    introduction

                    Alex Torrenegra saw a computer for the first time at     Alex’s latest venture, VoiceBunny.com, uses pat-
                    his grandfather’s office in Bogota, Colombia when        ented technology to connect voiceover artists with
                    he was 4 years old, and he knew immediately that         companies that need them. VoiceBunny already
                    he needed to have one. Computers were not preva-         employs 11 people in the United States, has a pool
                    lent in Colombia at the time, so it took Alex until he   of over 100,000 voiceover artists using the site,
                    was 14 years old to obtain one. But it didn’t take him   and has clients that include the movie giant Pixar.
                    long to figure out how to use it. The same year he       The company even engages in what is effectively
                    got a computer he founded his first computer busi-       reverse-outsourcing, since many of its clients are
                    ness to offer IT solutions to small and mid-sized Co-    overseas companies that hire American voiceover
                    lombian companies. By the time he was 19 he al-          artists to promote their products.3
                    ready had 20 employees working for him.                       Alex’s story is repeated throughout the economy
                        Alex left Colombia with his family in 1998 for       every day. From Vietnamese immigrant Nancy Nguy-
                    security reasons and came to the United States,          en’s burgeoning Sweet T Salon in Raleigh, North
                    where he found not only safety, but also a ripe en-      Carolina to the empire that Belgian immigrant Liz
                    vironment to put his entrepreneurial savvy to work.      Claiborne launched with her eponymous fashion line,
                    The first computer company he founded in the             more than four thousand immigrants start new busi-
                    United States hired six employees in its first year.     nesses in America every day.4 Their path to come
                    That success inspired Alex to become a serial en-        here is often fraught with legal, economic, and social
                    trepreneur founding roughly a dozen companies            obstacles, but the entrepreneurial opportunities that
                    that together transact about $35 million each year.      await them in America are enough to draw many of
                                                                             the most creative, risk-taking individuals in the world.
                                                                             As the findings of this report demonstrate, millions
                                                                             of Americans have their jobs today because of busi-
                                                                             nesses founded by immigrants, and more than $100
                                                                             billion dollars in income is generated each year by
                                                                             immigrant-owned businesses.




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open for business                                                                                                                                                 5




the start-up rate of immigrants has grown by 50%
whereas the rate of U.S.-natives declined 10%
current population survey (1996-2011)

                                          700
                                                                                                                                                         immigrant
NUMBER OF NEW BUSINESS OWNERS PER MONTH




                                          600


                                          500
           PER 100,000 ADULTS




                                          400


                                          300

                                                                                                                                                        native-born
                                          200


                                          100


                                           0
                                                ‘96   ‘97   ‘98   ‘99   ‘00      ‘01      ‘02      ‘03      ‘04      ‘05      ‘06     ‘07   ‘08   ‘09   ‘10      ‘11




Past research has shown that immigrants play an                               To quantify the rise of immigrant entrepreneurship,
enormous role in founding American businesses,                                this report relies on three nationally representative
including a recent study by the Fiscal Policy Insti-                          datasets – the 2006-2010 American Community
tute that found that immigrants own 18 percent of                             Survey (ACS), the 2007-2011 Current Population
incorporated businesses.5 As this report explains,                            Survey (CPS), and the 2007 Survey of Business
U.S. dependence on immigrant entrepreneurs is                                 Owners (SBO). These datasets allow for analysis of
only increasing, while native-born entrepreneurial-                           the role that immigrants and the native-born have
ism has faltered. As the U.S. attempts to grow its                            in starting businesses, generating business reve-
way out of the recession, new-business creation                               nue and income, employing workers, and growing
by native-born Americans has hit a 30-year low.                               our export economy.6 And to better understand
But immigrant entrepreneurs are filling the gap                               who the new immigrant entrepreneurs are and in
and starting more businesses, creating more jobs,                             what regions and industries they are having the
and bringing more revenue to the economy, facts                               most impact, the report also examines where im-
that should be critical to policymakers looking for                           migrant business owners come from, what sectors
viable ways to promote economic recovery.                                     of the economy they contribute to most, and which
                                                                              states are the most impacted by their contributions.
                                                                                 The findings demonstrate that immigrant entre-
                                                                              preneurs like Alex Torrenegra are playing a large
                                                                              and increasing role in creating American jobs, ex-
                                                                              porting goods, and driving the U.S. economy.




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6                                                                               partnership for a new american economy




                    Immigrant Entrepreneurs Start Businesses At Growing
                    Rates While Native-born Entrepreneurship Falters

                    Young businesses are essential to job creation.         law by President Obama in April of 2012, out of a
                    After reviewing 30 years of Census Bureau busi-         belief that “small businesses and startups are driv-
                    ness data, the Kauffman Foundation found that           ing the recovery and job creation.” 8
                    startups create an average of 3 million new jobs in         Unfortunately, the rate of new startups in the U.S.
                    their first year, and that without them, “there would   has fallen dramatically since 2006, and in 2010
                    be no net job growth in the U.S. economy.”7 Re-         reached the lowest rate in 30 years of recorded
                    forms to encourage startup activity are central to      data.9 But even as the overall startup rate declines,
                    the job growth strategies of both Republican and        immigrant entrepreneurs are playing an increasingly
                    Democratic leaders. A recent example is the Jump-       important role in new-business creation across the
                    start Our Business Startups (JOBS) Act, a bill to       United States, and many are stepping up to fill that
                    make it easier to finance new startups that was         role at a crucial time for our economy.
                    introduced by House Republicans and signed into


                       Key Findings
                       The business startup rate of immigrants has increased by more than 50 percent
                       since 1996, while the business startup rate of the native-born has decreased by
                       10 percent over the same time period.
                       28 percent of all new small businesses started in the United States in 2011
                       were founded by immigrants.
                       Immigrants are now more than twice as likely to start a business as their native-
                       born counterparts.




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open for business                                                                                                                   7




               28%
                                           of u.s. small businesses started in 2011
                                           were founded by immigrants
                                           current population survey (1996-2011)




                                                                                                                             30 %




                                                                                                                             25%




                                                                                                                             20 %




                                                                                                                             15%




                                                                                                                             10 %




                                                                                                                              5%




                                                                                                                               0

        1996   1997   1998   1999   2000      2001   2002   2003   2004   2005     2006   2007   2008   2009   2010   2011




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8                                                                           partnership for a new american economy




                    U.S. Census data makes clear that we are in- An increase in the business-formation rate of immi-
                    creasingly relying on immigrant entrepreneurs to grants could not have come at a better time, consid-
                    drive new business growth in America. Twenty- ering that the native-born population became less
                    eight percent of all new businesses started in the likely to start a business over the 15-year period
                    United States in 2011 had immigrant founders. from 1996 to 2011. The native-born business for-
                    Not only does this number far outpace the immi- mation rate declined 10 percent during that period,
                    grant share of the U.S. population (12.9 percent) dropping from 300 new businesses per month per
                    and the U.S. workforce (16.3 percent), but it also 100,000 native-born to just 270 new businesses
                    represents a substantial jump over the role immi- monthly. So while immigrants were 20 percent more
                    grant entrepreneurs played in the U.S. just 15 likely to start a business in 1996, their increasing
                    years earlier. In 1996 immigrant entrepreneurs business-formation rate and the declining native-
                    started 15 percent of all new businesses in Amer- born business-formation rate meant that by 2011,
                    ica, which exceeded their share of the population immigrants were more than twice as likely to start a
                    at the time (roughly 9 percent10). While some of business as the native-born.
                    the growth experienced from 1996 to 2011 was
                    the result of immigrants’ increasing share of the
                    workforce and population, most of the growth was
                    due to the fact that immigrants are becoming in-
                    creasingly entrepreneurial. In 1996 the business-
                    formation rate for immigrants was 360 business-
                    es started per month for every 100,000
                    immigrants. By 2011 this number had jumped to
                    550 businesses per month for every 100,000 im-
                    migrants, an increase of more than 50 percent.




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open for business                                                                                                                9




                                                                        These two factors – the increase in entrepreneurial-
                                                                        ism of immigrants combined with the decrease in
Rohit Arora                                                             entrepreneurialism of the native-born – resulted in
                                                                        immigrants owning a growing share of all business-
Helping More Entrepreneurs                                              es in America. In the year 2000, when immigrants
Achieve the American Dream                                              accounted for 11.1 percent of the U.S. population,
                                                                        they owned 12 percent of all U.S. businesses,
                                                                        roughly equal to their share of the population. But by
 Rohit Arora, an immigrant entrepreneur from India, noticed
                                                                        2010, when the immigrant share of the U.S. popula-
 something surprising in the mid-2000s, when he was working at          tion had risen to 12.9 percent, their share of busi-
 Deloitte Consulting in New York City: Despite small businesses         ness ownership greatly exceeded it, and they left the
 being among banking institutions’ most profitable loan clients,        decade owning a full 20 percent of all U.S. busi-
 many entrepreneurs and small business owners from South Asia           nesses.
 and India seemed to be having trouble securing bank loans—
 even though such entrepreneurs boasted low default rates. In
 some less desirable neighborhoods, the problem was particularly
 acute, inhibiting the success of local businesses like gas
 stations, grocery stores, and medical practices. “Like any global
 entrepreneur,” Arora says, “I wanted to do something that would
 have a big impact.” So in 2007, Arora and his brother Ramit, who
 had long dreamed of founding a business together, started
 Biz2Credit, a New York City-based firm that helps match small
 business owners with banking loans, credit reports, and other
 financial products.
     Much like Arora imagined, his company is already dramatically
 changing the way many immigrant entrepreneurs access bank
 loans. Biz2Credit’s online platform lets small business owners—
 both immigrants and non-immigrants — upload information online
 that can be viewed by the company’s nationwide network of more
 than 1,000 financial institutions. Monthly subscribers are also able
 to tap into additional benefits like financial advice or in-person
 meetings with Biz2Credit’s loan specialists.
     Arora says that by connecting small businesses with the
 capital they need to expand, Biz2Credit has contributed to the
 creation of more than 11,000 new jobs since its founding in
 2007. The firm is on target this year to facilitate $600 million in
 new business loans, up from $200 million just two years ago.
“The work,” Arora says, “is incredibly fulfilling.”
     The company has also created its own jobs. Biz2Credit
 currently employs about 25 people in the United States, many of
 them highly experienced loan specialists, and the business
 continues to expand. Arora, a native of Delhi, says he’s proud of
 what he has built in the United States, a country he moved to in
 2003 to pursue an MBA degree at Columbia University. But he
 frequently meets would-be immigrant entrepreneurs, however,
 who head home after being unable to secure visas. “Our
 business has created real opportunities for people in America,”
 Arora says, “but many entrepreneurs never have that chance.”11




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10                                                                              partnership for a new american economy




                     Immigrant-Owned Firms
                     Drive the U.S. Export Economy

                     Perhaps the part of the economy benefitting most       grant-owned businesses helped cushion this fall.
                     from the increased prominence of immigrant-started     As the economists Giovanni Peri and Francisco
                     U.S. businesses has been U.S. exports. Over the past   Requena-Silvente have shown, “[t]hrough business
                     three decades, exports as a percentage of GDP          and social networks, expatriates increase the diffu-
                     have increased by 20 percent, growing from 10.1        sion of information and reduce the cost of doing
                     percent to 12.6 percent of GDP,12 and the value of     business with their ‘mother’ country.” 19 To the ex-
                     U.S. exports has increased by 60 percent in the last   tent that immigrant-owned businesses can export
                     decade alone.13                                        to their home countries or elsewhere, they can help
                        This is important because, as think tanks like      stem the decline in U.S. exports, expand total reve-
                     the CATO Institute have argued, exports are a          nues coming into the country, and create jobs for
                     good proxy for the state of our economy and job        American workers.
                     growth.14 When exports increase, so do economic            The data establishes that immigrant-owned
                     output and job creation. When they decrease, our       firms have a powerful role in promoting the U.S. ex-
                     economy tends to shrink and we tend to shed jobs.      port economy. Immigrant-owned businesses are
                     In 22 of the 25 years from 1983 to 2007, GDP,          more than 60 percent more likely to export than are
                     trade, and job creation all increased together or      non-immigrant owned businesses. And this is not
                     decreased together.15 Increasing exports helps al-     surprising. Immigrants often face lower barriers of
                     leviate the large U.S. trade imbalance with the rest   entry to foreign markets because they have estab-
                     of the world and, more importantly, helps create       lished networks in their home countries, an under-
                     U.S. jobs. By 2008, there were more than 10 mil-       standing of local markets, and shared languages
                     lion jobs in the United States supported by ex-        and culture.20 Only 4.4 percent of non-immigrant
                     ports.16 And these exports are driving the recent,     firms export, compared with 7.1 percent of immi-
                     limited growth of the U.S. economy. While exports      grant firms. For high-exporting companies, immi-
                     account for only about one-eighth of the nation’s      grants play an even more dominant role. While just
                     economy, they have accounted for about half of         1.2 percent of non-immigrant-owned firms export
                     the nation’s economic growth in recent years.17        more than 20 percent of their sales, 3.2 percent of
                         Worryingly, exports have declined in recent        immigrant-owned firms do, making immigrant firms
                     years. According to the Bureau of Labor Statistics,    more than two and a half times more likely to be
                     U.S. exports fell 2.1 percent between June 2011        high-exporting companies.
                     and June 2012, the largest yearly decline since the
                     period right after the stock market crashed, Octo-
                     ber 2008 to October 2009.18 Fortunately. mmi-


                        Key Findings
                        Immigrant-owned businesses are more than 60 percent more likely to export than
                        non-immigrant owned businesses.
                        Immigrant-owned businesses are more than two and a half times more likely to be
                        high-exporting companies.




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open for business                                                                                                                                                11




                                                                      Data on the exports of immigrant-owned firms were not collected until 2007,21
                                                                      so the extent to which we are dependent on the growth in exports from these firms
Metta Murdaya                                                         cannot be precisely made. But the data do show that immigrants are increasingly
                                                                      starting businesses and that those businesses are far more likely to export. And
Bringing the Ingredients of Home                                      that means that policy makers need to think about immigrant-owned firms when
to the Beauty Business                                                they think about reviving our export economy. America was the world’s leading
                                                                      exporter for the half-century after World War II, until surpassed early this century
                                                                      by Germany and more recently by China.22 If America is again to lead the world in
 Metta Murdaya, the co-founder of the beauty firm Juara Skin-         exports, immigrant entrepreneurs — with knowledge of, and access to, foreign
 care, says she’s always had an appreciation for the unique vir-      markets— will need to play a crucial role.
 tues of Eastern and Western culture. Born in Indonesia, her
 parents decided to send her to live with an aunt in America
                                                                       Immigrant Share of Export Economy:
 when she was just seven years old, hoping she’d receive a bet-
                                                                       Immigrants Account for A Higher Percentage
 ter education and more opportunities in the United States.
                                                                       of High-Export Companies
      Murdaya says she loved American culture and quickly ac-
 climated, but she also went back to Indonesia to visit her fam-       special tabulations from survey of business owners (2007)
 ily each summer, developing a fondness for many of the                Percentage of total sales                                   Percent of firms that are
 health tonics, flowers, and body treatments so ubiquitous             exported outside of the U.S.                                    owned by immigrants
 there. “It’s a culture with an innate understanding of beauty
 traditions,” Murdaya explains. “I was intrigued by the rituals        None                                                                           12.7%
 they’ve developed over hundreds of years.”                            Less than 1%                                                                   11.1%
      It wasn’t until after she obtained an MBA degree, however,
 that Murdaya saw her fascination as the seed of a potential busi-     1% to 4%                                                                       14.7%
 ness idea. In 2004, intent on breaking from their corporate jobs,
 she and three female friends founded Juara Skincare, a com-           5% to 9%                                                                       17.1%
 pany that uses the ingredients and remedies commonly found in         10% to 19%                                                                     20.2%
 Indonesia and Bali — such as candlenut and turmeric—to make
 organic, all-natural beauty products like face masks, perfumes,       20% to 49%                                                                     24.8%
 and body scrubs.
     The company launched with just three products, and Mur-           50% to 99%                                                                     35.1%
 daya says one of her partners trekked out in the snow to con-         100%                                                                           50.5%
 vince the first store to carry their brand, a small pharmacy chain
 in New York City. Within a year, the high-end Los Angeles bou-        Total Reporting                                                                13.0%
 tique Fred Segal was carrying Juara. Today, Murdaya says more
                                                                       Note: The sample includes firms that are classified by the IRS as sole proprietorships,
 than 100 stores in the U.S. and Canada stock the company’s            partnerships, 1120 corporations, or employers, and that have sales of $1000
 30-product line, which has also appeared on the QVC shopping          or more. Excludes publicly held and other firms not classifiable by owner status.
 network. It’s a fitting result for Juara — a company whose name
 literally means “winner” or “champion” in Indonesian.
      Murdaya says that just as her immigrant experience helped
 her found the company, it will also help it grow. Immigrant-owned
 businesses are more than 60 percent more likely than non-im-
 migrant owned firms to export their goods and services, and
 Juara is certainly no exception. “As an immigrant,” Murdaya says,
“you always view the world as your marketplace, instead of the
 city or country you happen to be in.” From the beginning, her
 team made sure all their ingredients were compliant with Euro-
 pean Union standards. And later this year, Murdaya says the
 company’s products will begin to appear in South America and
 Indonesia for the first time. 23




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12                                                                                  partnership for a new american economy




                     Immigrant-Owned Businesses Generate
                     Substantial Business Income and Revenue

                     The toll that the recession took on our GDP and our        Our GDP and our fiscal health present worrisome
                     national fiscal health was severe. The U.S. government     economic trends, but the data from this report plainly
                     estimates that the GDP shrank by more than eight           show that immigrant business owners have helped
                     percent in the last quarter of 2008 and an additional      prevent a far worse economic picture. While
                     four percent in the first quarter of 2009.24 To put that   immigrants are not starting massive companies at
                     in context, it has been 50 years since the GDP             the same rate as their native-born counterparts, they
                     shrank by four percent or more in two successive           are far more prolific in starting small businesses. And
                     fiscal quarters.25 U.S. GDP has recovered slowly           these businesses collectively generated $779.8
                     since, but our fiscal situation has remained unstable.     billion in revenue and $109.1 billion in income in
                     Until 2008, the U.S. had never before run a budget         2010,28 strengthening U.S. GDP, paying taxes to
                     deficit of $1 trillion. Since 2008, the U.S. budget        help balance the budget, and creating ripple effects
                     deficit has exceeded $1 trillion in every single year,     throughout the broader economy due to higher
                     according to the Congressional Budget Office.26            consumption of goods and services by the companies
                     When the loss of tax revenues, the spending and tax        and their employees.29
                     cuts included in the stimulus, the bank bailouts, and
                     other recession-related expenses are taken into
                     account, the recent recession added an estimated
                     $4.2 trillion to the federal deficit.27



                        Key Findings
                        Immigrant-owned businesses generated more than $775 billion in sales and
                        more than $100 billion in income in 2010.
                         he $109 billion in business income generated by immigrant-owned firms
                        T
                        in 2010 was a 60 percent increase over 2000. This growth greatly outpaced
                        the increase in business income generated by native-owned firms, whose
                        14 percent rise failed to outpace inflation.




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open for
     for business
         business                                                                                                                                                                13




businesses income generated
by immigrants (2000 vs 2010)
Immigrant-owned businesses generate a growing percentage
of all business income generated in the U.S. economy.

           20%




           15%
                                                                                                                      15.8%
                                                                                                                      ($110 Billion)

           10%
                                11.6%
                                ($67 Billion)

             5%




              0


                                                                 2000                                                                        2010




                                                                                                         Data on income from immigrant-owned businesses are available for
 Total Sales for Immigrant and Non-­Immigrant Owned Firms
 special tabulations from survey of business owners (2007)                                               both 2000 and 2010,30 allowing for a comparison of how our economic
                                                                                                         dependence on immigrant-owned businesses is changing over time.
                                                                                           total sales
 ownership                                                    number of firms             (thousands)
                                                                                                         And the data show that during the last decade, when native-owned
                                                                                                         business income stagnated and even declined in inflation-adjusted
 Immigrant (majority foreign-­born)                                 1,798,541          $779,833,279      dollars, immigrant-owned business income soared.
                                                                                                              Between 2000 and 2010, the business income generated by native-
 Non-immigrant (majority native-­born)                            11,578,280         $7,047,737,009
                                                                                                         owned firms increased from $510.8 billion to $584.1 billion, an increase of
 Total immigrant and non-­immigrant                               13,376,821         $7,827,570,287      14.4 percent and lagging far behind the 26.6 percent increase that would
                                                                                                         have been required to keep pace with inflation.31 The income of immigrant-
 Equally foreign-­and native-­born                                    244,070          $102,760,238
                                                                                                         owned businesses, however, grew from $67.0 billion in 2000 to $109.1
 Foreign-­born status indeterminate                               12,673,969         $3,019,131,351      billion in 2010, an increase of more than 60 percent that far outpaced in-
                                                                                                         flation. In fact, this jump of $42.1 billion in business income from immi-
 Note: The sample includes firms that are classified by the IRS as sole proprietorships, partnerships,
 1120 corporations, or employers, and that have sales of $1,000 or more. Excludes publicly held and      grant-owned businesses accounted for a full 36 percent of the entire
 other firms not classifiable by owner status.                                                           growth in business income in the United States during that decade. As a
                                                                                                         result, the share of national business income from immigrant-owned busi-
                                                                                                         nesses increased, rising from 11.6 percent of national business income at
                                                                                                         the beginning of the decade to 15.8 percent by the decade’s end.32
                                                                                                              Immigrant-owned businesses continue to have lower average
                                                                                                         incomes per business than their native-born counterparts – $49,779 in
                                                                                                         income on average per year, compared with $62,695 for non-immigrants–
                                                                                                         but businesses started by several specific immigrant groups, including
                                                                                                         those from India ($91,237 average annual income), Iran ($83,555), Can-
                                                                                                         ada ($83,132), Germany ($66,678), and Italy ($65,004), significantly
                                                                                                         outperform the national average.




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                     Immigrant-Owned Businesses Create Millions of Jobs
                     and Pay Billions of Dollars in Employee Salaries

                     The U.S. economy lost nearly 9 million jobs during           America.37 One out of every 10 workers at privately-
                     the recent recession.33 Unemployment reached 10              owned U.S. companies38 now works at an immigrant-
                     percent, a figure seen in only one other brief peri-         owned company. While immigrant-owned business-
                     od over the last sixty years.34 Long term unemploy-          es with employees each hire eight employees on
                     ment – defined as persons out of works for 27                average, as compared to 12 employees hired by
                     weeks or more– reached 4.4 percent in early                  businesses owned by the native-born — millions of
                     2009, dwarfing its previous high of 2.6 percent in           workers in America have their jobs today because of
                     the early 1980s.35 And even though some jobs                 immigrants. Altogether, immigrant-owned business-
                     have returned, more than 12 million Americans                es have collectively created four million jobs that ex-
                     are still unemployed, and millions more left the la-         ist today in the United States.
                     bor force entirely.36                                            Similarly, although the average payroll gener-
                          One fact, however, is abundantly clear. But for the     ated by immigrant businesses is smaller than that
                     recent increase in business startup activity among           of businesses owned by the native-born –
                     immigrants, the economic situation facing millions of        $252,758 on average for immigrant-owned busi-
                     Americans would be markedly worse. Immigrants are            nesses compared with $428,546 for businesses
                     starting companies that are smaller on average than          owned by the native-born – their aggregate con-
                     the native-born in terms of payroll and number of            tribution to the U.S. payroll is massive in scale.
                     employees, but they are starting these companies in          Immigrant-owned businesses pay out more than
                     increasingly large numbers and these small compa-            $126 billion per year in payroll.
                     nies collectively create millions of jobs and pay out
                     billions upon billions of dollars in payroll to workers in


                         Key Findings
                        One in every 10 people employed at a privately-owned U.S. company works at an
                        immigrant-owned firm.
                        Immigrant-owned businesses pay out $126 billion in payroll per year.




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open for business                                                                                                                                                                15




                                                                         employment and payroll for immigrant and non-immigrant owned firms
Sergio Bermudez                                                          special tabulations from survey of business owners (2007)
                                                                                                                                   number of            total        total payroll
Building a Family Grocery Empire                                         ownership                                             employer firms     employment          (thousands)
Catering to Mexican Tastes                                               Immigrant
                                                                                                                                        501,973    3,997,977       $126,877,578
                                                                         (majority foreign-­born)
                                                                         Non-­immigrant
 Sergio Bermudez, the President and CEO of the El Mezquite                                                                          3,049,698     36,426,585     $1,306,936,752
                                                                         (majority native-­born)
 Market chain in New Mexico, emigrated from the Mexican state of
 Sonora with his five siblings in the late 1980s and early 1990s.        Total immigrant and
They quickly found work in a wide array of construction jobs in                                                                     3,551,671     40,424,562     $1,433,814,330
                                                                         non-­immigrant
 Arizona — including concrete pouring and steel working. But ob-
 serving some cousins who owned a meat market in Phoenix, the            Equally foreign- and
                                                                                                                                         74,006      642,138         $21,106,032
 siblings began dreaming of having their own store.                      native-­born
      By 1998, they’d sold off family cars and borrowed money
 from family members to buy a small, 3,000-square-foot space             Foreign-­born status indeterminate                         1,564,291     15,559,855       $485,652,582
 in Albuquerque, New Mexico. They renovated it themselves —
 commuting in from Arizona on nights and weekends — and                  Note: The sample includes firms that are classified by the IRS as sole proprietorships, partnerships,
 bought used equipment on monthly installments. “It was hard,”           1120 corporations, or employers, and that have sales of $1000 or more. Excludes publicly held and
 Bermudez says. But Bermudez says his family learned the vir-            other firms not classifiable by owner status.
 tues of hard work in Mexico, a country with little social support.
“We’re used to an environment where if you don’t work hard,
 you don’t eat.”
     And their hard work paid off. The first El Mezquite store,
 which sold thin Mexican cuts of meat, as well as imported delica-
 cies like goats’ milk candy, tomatillo sauces, and fresh papayas,
 did so well with the local Latino population that the family was
 able to open a second store by the end of 1998. Today, their six
 large markets, decorated with piñatas and dotted throughout
 central New Mexico, serve 40,000 customers per week and
 provide a wide array of services needed by their largely Latino
 customer base. On-site restaurants let customers sit down for a
 leisurely lunch, and phone cards are sold in-house. “People are
 very comfortable with us, and they trust us,” Bermudez says.
“That’s incredibly important to our success.”
     Today, El Mezquite is one of the fastest growing Latino immi-
 grant-owned businesses in New Mexico, employing a staff of
 more than 220 people. “I never would’ve imagined we’d grow so
 fast,” says Bermudez, who never formally trained in the grocery
 business. His success has inspired others in the community:
 Although just two Latino-focused grocery stores existed in Albu-
 querque when his store opened, now there are at least 18. He and
 his siblings are now trying to help the next generation. In the last
 four years, his company has provided scholarships to 54 immi-
 grant students attending the University of New Mexico.39




                                                                        25	Telephone Interview with Sergio Bermudez (July 24, 2012).


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                     Immigrant-Owned Businesses Power
                     Many Sectors of the American Economy

                     As important as the frequency with which immi-            In each of these sectors, immigrants are founding an
                     grants are starting businesses is the diversity of        even larger share of new companies than the share
                     fields in which they are starting them. Past research     they currently own in them. For instance, while im-
                     has highlighted the role that immigrant entrepre-         migrants already own an impressive 17 percent of
                     neurs have had in isolated sectors of the economy         businesses in construction, they started 31.8 per-
                     such as technology,40 but the data from this report       cent of all new construction businesses from 2007
                     make clear that immigrant entrepreneurs are               to 2011. Unless immigrant businesses in construc-
                     founding companies all over the economy, particu-         tion fail at a much higher rate than those of their
                     larly in sectors that the U.S. government expects to      native-born counterparts – data that were not avail-
                     be the fastest growing in the next decade.41              able for the purposes of this report 46 – their share of
                         In seven of the eight industries that the U.S. Bu-    construction companies will only increase. Similar
                     reau of Labor Statistics estimates will grow fastest      patterns are observed across the top growth sectors
                     this decade, immigrants start an outsized share of       — from wholesale and retail trade to transportation
                     all new companies. From 2007 to 2011, immi-               and utilities, to educational and health services — all
                     grants founded 28.7 percent of health care and            fields where immigrants in recent years have been
                     social assistance companies,42 25.4 percent of pro-       responsible for nearly 30 percent of all new busi-
                     fessional and business services, 31.8 percent of          nesses start ups, far higher than their current share
                     construction firms, 29.1 percent of retail trade com-     of business ownership.47
                     panies,43 23.9 percent of leisure and hospitality
                     companies, 28.7 percent of educational services,44
                     28.2 percent of “other services,”45 and 29.4 percent
                     of transportation and utilities firms.

                        Key Findings
                        Immigrants start more than 25 percent of all businesses in seven of the eight
                        sectors of the economy that the U.S. government expects to grow fastest over
                        the next decade.
                        Immigrant-owned businesses generate more than 20 percent of all income in the
                        retail trade; transportation; health care and social assistance; and accommodation,
                        recreation and entertainment sectors.




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immigrants created an outsize share of businesses
in the fastest growing sectors of the economy
CURRENT POPULATION SURVEY (2007–2011)




Leisure and hospitalit y
                           23.9%


Professional and business services
                             25.4%


other services

                               28.2%


Health care and social assistance
                                  28.7%


Educational and health services
                                  28.7%


wholesale and retail trade

                                   29.1%


transportation and utilities
                                   29.4%


construction

                                     31.8%




0%                                              50%                                     100%



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 Number of New Immigrant Business Owners per Month by Industry
 CURRENT POPULATION SURVEY (2007-2011)

                                                                                              new immigrant business owners                                         All New Business Owners

                                                                                                              Percent of                  Percent of                                           percent of
 industry                                                                              number            Immigrant Total         U.S. Industry Total                   number                   u.s. total

 All industries                                                                       138,697                    100.0%                      24.9%                   556,470                     100.0%
 Agriculture and mining                                                                 1,245                      0.9%                       2.7%                     46,107                       8.3%
 Construction                                                                          38,872                     28.0%                      31.8%                    122,279                     22.0%
 Manufacturing                                                                           2,742                     2.0%                      16.6%                     16,490                       3.0%
 Wholesale and retail trade                                                            16,206                     11.7%                      29.1%                     55,783                      10.0%
 Transportation and utilities                                                           5,856                      4.2%                      29.4%                     19,889                       3.6%
 Information                                                                            1,466                      1.1%                      16.5%                      8,857                       1.6%
 Financial Activities                                                                   5,624                      4.1%                      16.0%                     35,144                       6.3%
 Professional and business services                                                    28.911                     20.8%                      25.4%                   113,598                      20.4%
 Educational and health services                                                       18.265                     13.2%                      28.7%                     63,547                     11.4%
 Leisure and hospitality                                                                8,848                      6.4%                      23.9%                     36,963                       6.6%
 Other services                                                                        10,661                       7.7%                     28.2%                     27,812                       6.8%
 Notes: The sample includes individuals who do not own a business in the first survey month and report starting a business in the second survey month with 15 or more hours worked per week.
 All reported estimates use sample weights provided by the CPS.




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open for business                                                                                                              19




Tashitaa Tufaa
Achieving a Childhood Dream by Building
a Successful Transportation Company                                   Similar to the story of immigrant businesses gener-
                                                                      ally, the businesses that immigrants are starting in
                                                                      these eight sectors tend to be smaller than those
Tashitaa Tufaa grew up on a farm in Ethiopia with 13 brothers         of their native-born counterparts but these busi-
and sisters and a dream of coming to America. “It was such a
                                                                      nesses collectively generate enormous amounts of
powerful country in our minds,” Tufaa says, “an almost imagi-
nary place where people were safe and achieving their
                                                                      business income. Immigrant-owned businesses in
dreams.” By the age of 24, Tufaa had immigrated to the U.S.           professional services and health care and social
as a political refugee. Despite holding a college degree in           assistance each generated more than $20 billion
history, Tufaa says he was thrilled when he got his first job         on average per year from 2006 to 2010. Immi-
working as a hotel dishwasher making just $5.35 per hour. In          grant-owned businesses also generated substan-
the 1990s and early 2000s, he was often employed at mul-              tial business income in construction (more than
tiple places at once, doing everything from school disciplinary       $16 billion in business income per year), retail
work to taxi driving. “Working eight hours a day,” he says, “that     trade (more than $11 billion), finance (more than
was nothing to me.” The hard work has paid off, and Tufaa is          $9 billion), accommodation, recreation, and enter-
now a transportation entrepreneur whose Minnesota-based
                                                                      tainment (more than $9 billion), transportation
company, Metropolitan Transportation Network, will employ
                                                                      (more than $6 billion), wholesale trade (more than
350 people during the upcoming school year. The firm also
owns 300 school buses.                                                $5 billion), and manufacturing (just shy of $5 bil-
    Tufaa took the first steps to achieving his dream of owning       lion). In many cases, immigrant-owned businesses
a company in 2003 when he began a tireless campaign going             contribute more than 20 percent of all income in
door-to-door, trying to convince Minneapolis-area hospitals           the sector, including sectors as diverse as retail
and schools to let his newly formed, one-person company               trade; transportation; health care and social assis-
shuttle needy patients or students back and forth from health         tance; and accommodation, recreation, and enter-
care facilities or schools. “Some people simply laughed at me,”       tainment. The billions upon billions of dollars gener-
he recalls, “but one person was willing to take a chance.” That       ated in these industries generate tax revenue,
person, a school district transportation director, agreed to let
                                                                      higher payroll, more employment, and increased
Tufaa use his taxi cab to drive three homeless students to
                                                                      consumption for the economy.
school who couldn’t fit into the normal bus schedule. Eight
years later, that one car company has turned into a growing               It is evident that immigrant-owned businesses
business with nearly $8 million in annual revenues.                   are going to play a central role in economic growth
    Tufaa credits his entrepreneurial success to his high stan-       in the coming decade. Economic growth is predict-
dards and focus on his employees. “We want everyone in our            ed to depend, in part, on these sectors, and in each
company to be treated the same — from top management down             of these sectors immigrants play an increasingly
to drivers,” Tufaa says. He says his driving jobs are well paid for   important part in starting new businesses and gen-
the industry, and he himself still drives one van of special needs    erating income. Taken together, these companies
children to school daily — just to show his workers “driving isn’t    will earn billions upon billions of dollars, generate
a leftover, undesirable job.” He’s particularly proud of having
                                                                      new tax revenue, expand payroll, create new jobs,
taken a chance on a young, inexperienced war veteran who ap-
                                                                      and increase consumption across the economy.
plied for a job as a mechanic several years ago — that person is
his head mechanic today. “America is a place where even the
poorest children can succeed,” Tufaa says. “I wanted to pay back
this society for all it has given me.” 48




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                     Immigrants Punch Above
                     Their Weight in States                                          Tom Szaky
                     Across the Country
                                                                                     Turning Trash Into Treasure
                     The impact of the businesses that immigrants are
                     starting is felt all over the country. In states that are
                     large enough for data to be available, immigrants               Tom Szaky, a green energy entrepreneur, credits
                     are starting businesses at rates that greatly exceed            his immigrant experience with helping him see a
                     their share of the population.                                  business opportunity few others did — and hav-
                                                                                     ing the motivation to pursue it. Szaky, who was
                         In California, immigrants make up 27.2 percent
                                                                                     born in Hungary, fled the country at the age of
                     of the population49 but own 36.6 percent of all busi-           four with his family. Settling in Toronto, Canada,
                     nesses – 676,537 in total – and start 44.6 percent              Tom says he and his parents were quickly
                     of all new businesses.50 The same can be said for               amazed by the things they saw neighbors casu-
                     New York, where immigrants make up 22.2 percent                 ally throwing out in the trash, including fully-
                     of the population, own 31.2 percent of businesses,              functioning televisions, a true luxury in a country
                     and are now starting 42.0 percent of new businesses.            as poor as Hungary. Away from the Iron Curtain,
                     Similar stories exist for states like New Jersey (im-           young Tom also quickly developed an admiration
                     migrants make up 21.0 percent of population, own                for the success that self-made entrepreneurs
                     28.6 of businesses, and start 35.2 percent of new               could achieve in the Western world. “The idea of
                                                                                     going from nothing to everything in a lifetime,” he
                     businesses), Florida (19.4 percent of population; own
                                                                                     says, “was inspiring to me.”
                     29.7 percent of businesses, and start 36.7 percent of                So it’s little surprise that Tom soon began
                     new businesses), Texas (16.4 percent of population;             exploring entrepreneurship. By age 14, he had
                     own 24.9 percent of businesses, and start 31.3 per-             a small but successful graphic design business.
                     cent of new businesses), Illinois (13.7 percent of              Five years later, while a sophomore in college
                     population; own 20.3 percent of businesses, and start           in the United States, Szaky dropped out of col-
                     32.1 percent of new businesses), Arizona (13.4 per-             lege to run TerraCycle, a New Jersey-based
                     cent of population; own 19.6 percent of businesses,             company he founded that recycles materials
                     and start 31.5 percent of new businesses), and Geor-            previously viewed as unrecyclable. It also up-
                     gia (9.7 percent of population; own 15.5 percent of             cycles other items of trash — turning refuse
                                                                                     like candy and gum wrappers into products like
                     businesses, and start 29.5 percent of new business-
                                                                                     backpacks, stereo speakers, and pencil cases.
                     es). Provided that the rate that immigrant-owned                The 120-person company, which collects trash
                     businesses fail does not dramatically exceed the fail-          in 22 countries and two-thirds of public
                     ure rate for businesses owned by the native-born –              schools in America, says it has rescued three
                     data that is not available for this report 51 – the find-       billion pieces of garbage that would otherwise
                     ings suggests that immigrant business-ownership                 be in a landfill. It projects it will earn $18.5 mil-
                     rates will only continue to increase.                           lion in revenues this year.
                         To provide context for what this increase in busi-               Szaky says he sees much bigger things in
                     ness generation will mean to the income generated               store. This winter, TerraCycle is planning to
                     by theses states, consider that immigrant-owned                 launch a recycling program that will allow dirty
                                                                                     diapers to be recycled into park benches —
                     businesses already produce more than $34 billion
                                                                                     a powerful idea considering that in the U.S.
                     per year in California alone, constituting 28.1 percent         alone disposable diapers account for 3.7 million
                     of all business income produced in the state and 4.2            tons of municipal waste each year. 52 Szaky says
                     percent of all business income in the United States.            he sees a multibillion-dollar market in his unique
                     In Florida the total income of immigrant business               corner of the recyclables industry. “I want to
                     owners represents nearly one-fourth of all business             wake up at the end of my life and know I’ve cre-
                     income in the state. And in New York, New Jersey,               ated a truly substantial business,” Szaky says.
                     and Hawaii, immigrant-owned businesses already                  The way things are going, he’s already well on his
                     produce 20 percent or more of the state’s income.               way to achieving that dream. 53




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open for business                                                                                                21




Immigrants are driving business and business growth in many states
CURRENT POPULATION SURVEY (2007-2011) and AMERICAN COMMUNITY SURVEY (2006-2010)



california
immigrants’ share of business owners                                                         36.6%
immigrants’ share of new businesses                                                                      44.6%




new york
immigrants’ share of business owners                                                31.2%
immigrants’ share of new businesses                                                                   42.0%




florida
immigrants’ share of business owners                                              29.7%
immigrants’ share of new businesses                                                           36.7%




new jersey
immigrants’ share of business owners                                        28.6%
immigrants’ share of new businesses                                                           35.2%




illinois
immigrants’ share of business owners                   20.3%
immigrants’ share of new businesses                                                  32.1%




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                     The Immigrants Starting Businesses in the
                     United States Come From All Over the World

                     There is no one country of origin for the immi-       native-born counterparts. This diversity opens up
                     grants driving new-business creation in America.      new economic opportunities, bringing outside
                     The largest number of immigrants starting new         knowhow to the U.S. and providing language skills
                     businesses come from Mexico, whose expatriates        and cultural understanding that allow American
                     start more than 50,000 new U.S. businesses every      businesses to grow and service customer bases
                     month. There are now more than 570,000 U.S.           both here and abroad.
                     businesses that are owned by immigrants from              The businesses that these immigrant groups
                     Mexico, constituting more than 1 in every 25 busi-    start are generating billions of dollars in income
                     nesses in this country. But the immigrants starting   for the U.S. economy. Immigrants from Mexico pro-
                     new businesses in the United States hail from all     vide the largest contribution to total U.S. business
                     over the world. Immigrants from Guatemala, Cuba,      income at nearly $17 billion per year (2.1 percent
                     Korea, El Salvador, India, Dominican Republic,        of total business income), but immigrants from In-
                     Honduras, Vietnam, and China all start more than      dia ($9.1 billion in business income), Korea ($7.1
                     2,500 U.S. businesses per month.54 More than 20       billion), Canada ($4.8 billion), Vietnam ($4.3 bil-
                     percent of Koreans, Iranians, Brazilians, and Ital-   lion), China ($3.9 billion), Iran ($3.8 billion), Cuba
                     ians currently living in the United States own a      ($3.7 billion), the Philipines ($3.3 billion), Germany
                     business, compared to 9.6 percent of native-born      ($2.4 billion), El Salvador ($2.2 billion), and Poland
                     Americans. Immigrants from Poland (15.6 percent       ($2.2 billion) also make large contributions to U.S.
                     of whom own a business), Cuba (14.8 percent),         business income.
                     Canada (14.2 percent), Vietnam (14.0 percent),
                     Germany (13.3 percent), Colombia (13.1 percent),
                     Peru (12.1 percent), Honduras (11.2 percent),
                     Guatemala (10.6 percent), and China (10.0 per-
                     cent) all own businesses at higher rates than their




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 Number of New Business Owners per Month by country of origin                                          Number of Business Owners by country of origin
 Current Population Survey (2007-2011)                                                                 american community Survey (2006-2010)

                                         new business owners       business formation rate                                            business owners                      total workforce

                                                                                                                                                   Percent                       percent       business
                                   number per        Percent of                   number per                                                              of                            of   ownership
 group                                 month          u.s. Total     percent          100,000          group                          number      u.s. Total       number       u.s. total         rate

 U.S. Total                               556,470       100.00%        0.32%              318          U.S. Total                13,385,470      100.00%       136,472,990     100.00%            9.8%
 U.S.-Born Total                          417,773        75.08%        0.28%              283          U.S.-Born Total           10,950,850        81.81%      114,299,860       83.75%           9.6%
 Immigrant Total                          138,697        24.92%        0.51%              507          Immigrant Total             2,434,620       18.19%      22,173,130        16.25%         11.0%
 Mexico                                    53,963         9.70%        0.62%              624          Mexico                        570,170        4.26%       6,754,700         4.95%           8.4%
 Guatemala                                  5,245         0.94%        1.08%             1079          Korea                         123,770        0.92%         535,750         0.39%         23.1%
 Cuba                                       4,438         0.80%        0.56%              557          India                          99,830        0.75%       1,056,150         0.77%           9.5%
 Korea                                      4,429         0.80%        0.75%              752      Vietnam                            98,950        0.74%         706,630         0.52%         14.0%
 El Salvador                                4,262         0.77%        0.51%              513          China                          75,530        0.56%         757,010         0.55%         10.0%
 India                                      3,689         0.66%        0.28%              282          Cuba                           75,050        0.56%         506,410         0.37%         14.8%
 Dominican Republic                         3,328         0.60%        0.55%              553          El Salvador                    73,540        0.55%         767,480         0.56%           9.6%
 Honduras                                   3,068         0.55%        0.92%              920          Canada                         57,650        0.43%         406,900         0.30%         14.2%
 Vietnam                                    3,029         0.54%        0.39%              391          Philippines                    55,450        0.41%       1,095,930         0.80%           5.1%
 China                                      2,641         0.47%        0.26%              263          Guatemala                      52,840        0.39%         496,900         0.36%         10.6%
 Notes: The sample includes non-business owners who do not own a business in the first                 Colombia                       49,670        0.37%         379,490         0.28%         13.1%
 survey month. The total sample size is 3,306,803. Business formation is defined as those
 individuals who report starting a business in the second survey month with 15 or more hours           Brazil                         47,060        0.35%         224,290         0.16%         21.0%
 worked per week. The reported immigrant groups represent the largest 10 groups based on
 the number of new businesses.
                                                                                                       Iran                           45,330        0.34%         186,150         0.14%         24.4%
                                                                                                       Dominican Republic             41,110        0.31%         446,940         0.33%           9.2%
                                                                                                       Poland                         40,870        0.31%         262,460         0.19%         15.6%
                                                                                                       Germany                        35,540        0.27%         266,910         0.20%         13.3%
                                                                                                       Honduras                       32,950        0.25%         293,200         0.21%         11.2%
                                                                                                   Jamaica                            31,890        0.24%         407,570         0.30%           7.8%
                                                                                                       Peru                           31,320        0.23%         259,580         0.19%         12.1%
                                                                                                       Italy                          30,750        0.23%         152,630         0.11%         20.1%
                                                                                                       Notes: The sample includes all workers with 15 or more hours worked per usual week. The total
                                                                                                       sample size is 6,644,017. All reported estimates use sample weights provided by the ACS. The
                                                                                                       reported immigrant groups represent the largest 20 groups based on the number of business owners.




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                     Immigrants of All Education Levels Are
                     Contributing to Business Creation and Growth

                     While much attention has been given to highly-edu-                         tracks the different educational profile of immigrants
                     cated immigrant entrepreneurs in the tech and other                        and native-born generally.55 This data also gives rea-
                     high-skilled sectors, the fact is that less-educated                       son to think that immigrant entrepreneurs may have
                     immigrant entrepreneurs are making an equally im-                          the largest impact on America’s most distressed
                     portant mark on the U.S. economy. More than 37                             communities. Communities with lower educational
                     percent of new immigrant business owners lack a                            attainment levels often have the fewest job opportu-
                     high school diploma, roughly equivalent to the 37                          nities and the highest unemployment rates.56 Immi-
                     percent of new immigrant business owners who                               grant entrepreneurs, who frequently move into
                     have some college or a college degree. This stands                         neighborhoods that have little economic activity57
                     in contrast to native-born new-business owners, only                       and are far more likely to start a business even when
                     16.4 percent of whom lack a high school diploma                            they themselves are less-educated, can play an out-
                     and 54.0 percent of whom have some college or a                            sized role in creating new jobs in some of these ar-
                     college degree. To a large degree, this difference                         eas most in need of new economic opportunities.


                      Number of New Immigrant Business Owners per Month by Education Level
                      Current Population Survey (2007-2011)

                                                                         new immigrant business owners                                    total workforce

                                                                                       Percent of          percent of u.s.                                   percent of
                      group                                         number        immigrant Total         education total                number               u.s. total

                      All education levels                         138,697                100.0%                   24.9%               556,470                 100.0%
                      Less than high school                         52,160                  37.6%                  57.0%                 91,470                  16.4%
                      High school graduate                          35,160                  25.4%                  21.3%                164,842                  29.6%
                      Some college                                  20,438                  14.7%                  15.0%                136,192                  24.5%
                      College graduate                              30,939                  22.3%                  18.9%               163,966                   29.5%
                      Notes: The sample includes individuals who do not own a business in the first survey month and report starting a business in the second survey
                      month with 15 or more hours worked per week. All reported estimates use sample weights provided by the CPS.




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Shukri Ali and
Mahamed Mahamud
Revitalizing Downtown Lewiston
with the Taste of Home


Shukri Ali and her husband Mahamed Mahamud were realizing
a dream when they opened The Taste of Three One Café in
Lewiston, Maine in 2008. The couple, both of whom fled Soma-
lia during the chaos of the 1990s, arrived in Lewiston in 2002.
By the following year Ali had already begun working double
shifts as an interpreter in the community — sometimes putting in
as many as 18 hours per day — so that she and her husband,
a hospital chef, could open their own restaurant. Five years later,
they debuted The Taste of Three One Cafe, a small, homey spot
downtown that serves Somali food, as well as Caribbean, East
African, and other international fare. “We wanted to create a
restaurant where everyone was welcome, a real community
space,” Ali says. And they quickly achieved that: By early this
year as many as 200 people were cycling through the beloved
15-seat restaurant on its busiest days, enjoying everything from
curried goat to spaghetti with muufa, or Somali flatbread.58
    Ali’s story is part of a long history of Somali immigrants in
Lewiston, Maine. Somali immigrants began arriving in the
community in 2002, and now make up almost one in 10 resi-
dents. After some initial community tension — most notably,
the decision by an outside white supremacist church to hold a
rally protesting the Somali migration in 2003 — immigrants
from the war-torn East African country began contributing
heavily to Lewiston’s economic revitalization and growth in the
last five years. Somali-owned businesses now crowd Lisbon
Street, a stretch of downtown Lewiston once plagued by high
vacancy rates and empty store fronts. “It used to be the kind of
place people were afraid to go to at night,” says Ismail Ahmed,
who used to work with newly arrived immigrants in the com-
munity, “but the Somali businesses changed it.” 59




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Politicians are looking to entrepreneurs to create the      So as policy makers consider measures to increase
companies that are going to help America grow its way       job growth, politicians may disagree on spending
out of the recession and create jobs to put the millions    more or cutting taxes, protecting or opening markets,
of unemployed back to work. As this report shows, im-       or the value of various regulations. But one thing
migrant entrepreneurs are central to new-business cre-      should be beyond argument: any serious plan on job
ation in this country, creating businesses at an increas-   growth must recognize and welcome immigrant en-
ing rate at a time when the rate of native-born             trepreneurs, who in the coming years will play an out-
business-generation is declining. Nearly three in every     sized role across the country and across industries in
10 businesses founded in the United States in 2011 was      starting new businesses, creating new jobs, and driv-
started by an immigrant, and millions of Americans—         ing economic growth.
roughly one in every 10 workers at privately-owned
companies — have their jobs today because of immi-
grant business owners. In addition to creating jobs, the
businesses that immigrants start also create revenue to
boost our GDP, exports to alleviate our trade imbalance,
taxes to fund our deficit, and new consumption that fu-
els our economy.




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Appendix A.
Data and
Methodology

                                               ACS: American Community Survey
                                               (2006–2010)

This study uses all three of the nationally   The primary sample used to examine immigrant business ownership and
                                              net business income is the 2006-2010 ACS. The ACS microdata include
representative Census Bureau datasets         11.6 million observations for adults. The sample is large enough to allow
                                              the exploration of differences in business income across states, indus-
with large enough sample sizes to study       tries, skill-level, and country-of-origin amongst immigrant and native-
immigrant business owners in detail.          born business owners.
                                                  Using the ACS data, business ownership is determined by the class-of-
                                              worker question that refers to the respondent’s main job or business activ-
Two of the datasets are household             ity (i.e., activity with the most hours) at the time of the interview. Business
                                              owners are individuals who report that they are 1) “self-employed in own
surveys — the American Community              not incorporated business, professional practice, or farm,” or 2) “self-em-
Survey and the Current Population             ployed in own incorporated business, professional practice, or farm.” This
                                              definition includes owners of all types of businesses—incorporated, unin-
Survey — and provide information on           corporated, employer, and non-employer firms. The samples used in this
                                              analysis include all business owners age 18 and over who work 15 or
business ownership, startup activity          more hours per week at their businesses. To rule out very small-scale busi-
and business income.                          nesses, disguised unemployment, or casual sellers of goods and services,
                                              only business owners with 15 or more hours worked are included.60 Fif-
                                              teen hours per week is chosen as the cutoff because it represents a rea-
The third dataset is a business-level         sonable amount of work effort in the business, about two days per week.
                                              Note that self-employed business ownership is defined as the individual’s
survey — the Survey of Business Owners —      main job activity, thus removing the potential for counting side businesses
and provides information on business          owned by wage-and-salary workers.

sales, employment, payroll and exports.
The datasets also provide detailed
information on immigrant owners such
as source country, skill level, state
of residence, and industry of business.




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CPS: Current Population Survey                                                SBO: Survey of Business Owners
(2007–2011)                                                                   (2007)

Although research on entrepreneurship is growing rapidly, very few na-        Estimates of business ownership and formation rates and of the net busi-
tional datasets provide information on recent trends in business forma-       ness income of owners are available using Census and CPS microdata, but
tion. This report derives a measure to study immigrant business startup       another source of information is provided by business-level data, where the
activity from matched data from the 2007-2011 Current Population              business, rather than the owner, is the focus of the analysis. The main advan-
Surveys (CPS). The measure captures the rate of business creation at          tage of business-level data is that they typically provide more information on
the individual owner level. The underlying datasets used to create the        business performance than individual-level data, but the main disadvantage
entrepreneurship or business formation measure are the basic monthly          is that they do not include information on the demographic characteristics of
files of the CPS. Although the CPS is commonly used as cross-section-         the owner.61 The only large nationally representative business-level data set
al data, longitudinal data can be created by linking the CPS files over       in which the immigrant status of the owner is identifiable is the 2007 SBO.
time. The surveys, conducted monthly by the U.S. Bureau of the Census         For the first time since 1992 (then called the Characteristics of Business
and the U.S. Bureau of Labor Statistics, are representative of the entire     Owners), the U.S. Census Bureau in 2007 collected information on the im-
U.S. population and contain observations for more than 130,000 peo-           migrant status of business owners in its main database of the ownership
ple. Combining the 2007 to 2010 monthly data creates a sample size            characteristics of U.S. businesses. The SBO is conducted by the U.S. Census
of 3.8 million adult observations.                                            Bureau every five years to collect statistics that describe the composition of
    Households in the CPS are interviewed each month over a four-             U.S. businesses by gender, race, and ethnicity. The universe for the most re-
month period. Eight months later they are re-interviewed in each month        cent survey is all firms operating during 2007 with receipts of $1,000 or
of a second four-month period. Thus, individuals who are interviewed in       more that filed tax forms as individual proprietorships, partnerships, employ-
January, February, March, and April of one year are interviewed again in      ers or any type of corporation.
January, February, March, and April of the following year. The rotation           The 2007 SBO includes information on whether the business owner
pattern of the CPS thus allows for matching information on individuals        is an immigrant which is determined by whether the owner is foreign-
monthly for 75 percent of all respondents to each survey. To match            born vs. U.S.-born. Following the convention used by the Census Bureau
these data, the report uses the household and individual identifiers pro-     in reporting business statistics by race, immigrant-owned businesses are
vided by the CPS and removes false matches by comparing race, sex,            defined as those with majority foreign-born ownership (51% or more).
and age codes from the two months. All non-unique matches are also            Similarly, non-immigrant businesses are defined as those with majority
removed from the dataset. Monthly match rates are generally between           U.S.-born ownership (51% or more). Equally-owned firms are also re-
94 and 96 percent, and false positive rates are very low.                     ported in the tables presented below but are not included in calculating
    The business-formation rate is estimated by first identifying all indi-   the immigrant shares.
viduals who do not own a business as their main job in the first survey           The 2007 SBO also includes information on the sales, employment,
month, then matching CPS files to determine whether they own a busi-          payroll and exports of the business. Unfortunately, however, only business
ness as their main job (with 15 or more usual hours worked per week)          and employer firm counts by foreign-born status were reported in pub-
in the following survey month. The business formation rate is thus de-        lished reports by the Census Bureau. Instead, the author commissioned
fined as the percentage of the population of non-business owners who          the U.S. Census Bureau to conduct special runs using the 2007 SBO that
start a business each month. To identify whether they are business            provide information on the sales, employment, payroll and exports of immi-
owners in each month, the survey uses information on their main job,          grant-owned businesses and non-immigrant owned businesses.62
defined as the one with the most hours worked. Thus, individuals who
start side or casual businesses are not counted if they are working
more hours on a wage-and-salary job.




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Appendix B.




 Number of Immigrant Business Owners by Industry
 American Community Survey (2006-10)

                                                                                                  immigrant business owners                                      All Business Owners

                                                                                                                Percent of                   Percent of                                percent of
 industry                                                                                number            Immigrant Total          U.S. Industry Total          number                 u.s. total

 All industries                                                                       2,434,607                    100.0%                       18.2%         13,385,470                 100.0%
 Agriculture                                                                             26,750                       1.1%                       4.1%           654,830                     4.9%
 Extraction                                                                               1,290                       0.1%                       3.9%             32,770                    0.2%
 Construction                                                                           417,540                      17.2%                      17.1%          2,439,020                   18.2%
 Manufacturing                                                                           78,640                       3.2%                      15.4%           509,810                     3.8%
 Wholesale trade                                                                         79,560                       3.3%                     20.3%            391,330                     2.9%
 Retail trade                                                                          263,250                       10.8%                     22.6%           1,116,500                    8.7%
 Transportation                                                                        143,110                        5.9%                      27.1%           528,530                     3.9%
 Information                                                                             19,880                       0.8%                     11.1%             179,440                    1.3%
 Finance                                                                               133,500                        5.5%                     11.4%           1,166,170                    8.7%
 Professional services                                                                 406,970                       16.7%                      15.5%          2,620,140                   19.6%
 Educational services                                                                    24,580                       1.0%                     14.1%             176,350                    1.3%
 Health Care and Social Assistance                                                      237,580                       9.8%                     20.0%           1,190,410                    8.9%
 Accommodation, Recreation, and Entertainment                                           207,670                       8.5%                     25.4%            816,960                     6.1%
 Other services                                                                         394,017                      16.2%                     26.0%           1,513,200                  11.3%
Notes: The sample includes all business owners with 15 or more hours worked per usual week. All reported estimates use sample weights provided by the ACS.




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 Total Net Business Income of Immigrant Business Owners by Industry
 American Community Survey (2006-2010)

                                                                                                  immigrant business owners                                              All Business Owners

                                                                          total business income                 Percent of                   Percent of                     total                percent of
 industry                                                                          (thousands)             Immigrant Total          U.S. Industry Total          business income                  u.s. total

 All industries                                                                  $121,192,740                      100.0%                       15.0%               807,756,996                     100.0%
 Agriculture                                                                        $1,140,354                        0.9%                       3.7%                30,928,391                        3.8%
 Extraction                                                                           $119,190                        0.1%                       3.7%                 3,254,884                        0.4%
 Construction                                                                      $16,326,888                      13.5%                      13.8%                118,107,884                        0.4%
 Manufacturing                                                                      $4,995,256                        4.1%                     14.8%                 33,669,541                      14.6%
 Wholesale trade                                                                    $5,181,506                        4.3%                      17.0%                30,426,138                        3.8%
 Retail trade                                                                      $11,369,322                        9.4%                     20.1%                 56,548,071                        7.0%
 Transportation                                                                     $6,650,261                        5.5%                     22.2%                 29,992,721                        3.7%
 Information                                                                        $1,170,723                        1.0%                      10.9%                10.723,739                        1.3%
 Finance                                                                            $9,615,241                        7.9%                       9.9%                96,716,145                      12.0%
 Professional services                                                            $22,043,620                       18.2%                      11.2%                196,518,675                      24.3%
 Educational services                                                                 $928,106                        0.8%                     13.2%                   7,043,089                       0.9%
 Health Care and Social Assistance                                                $22,613,813                         1.7%                     20.2%                111,712,047                      13.8%
 Accommodation, Recreation, and Entertainment                                       $9,329,834                        7.7%                     24.6%                  37,941,267                       4.7%
 Other services                                                                     $9,708,628                        8.0%                     22.0%                 44,144,676                        5.5%
Notes: The sample includes all business owners with 15 or more hours worked per usual week. All reported estimates use sample weights provided by the ACS. Income estimates are reported in 2010 dollars.




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 Number of Immigrant Business Owners by State
 American Community Survey (2006-2010)

                             new immigrant business owners            All Business Owners                                        new immigrant business owners                   All Business Owners


                                         Percent of                                                                                           Percent of
                                          Immigrant   Percent of                  percent of                                                   Immigrant     Percent of                          percent of
 industry                    number           Total   state Total       number     u.s. total        industry                     number           Total     state Total           number         u.s. total

                                                                                                     Missouri                     11,414           0.5%            4.6%          248,920              1.9%
 U.S. Total               2,434,607        100.0%         18.2%      13,385,470      100.0%
                                                                                                     Montana                       1,061           0.0%            1.5%            69,350             0.5%
 Alabama                       7,968           0.3             4.6     172,830              1.3      Nebraska                      3,905           0.2%            3.9%            99,770             0.7%
 Alaska                        3,394         0.1%         10.1%         33,720         0.3%          Nevada                       20,000           0.8%           20.7%            96,740             0.7%
 Arizona                     50,706          2.1%         19.6%        259,040         1.9%          New Hampshire                 4,253           0.2%            5.7%            74,550             0.6%
 Arkansas                      6,171         0.3%            5.0%      122,640         0.9%          New Jersey                  101,251           4.2%           28.6%          354,110              2.6%
 California                  676,537         27.8%        36.6%      1,850,810        13.8%          New Mexico                   11,440           0.5%           12.6%            90,500             0.7%
 Colorado                     27,645         1.1%            9.7%      283,680         2.1%          New York                   261,140           10.7%           31.2%          835,900              6.2%
 Connecticut                 31,320          1.3%         18.5%        169,730         1.3%          North Carolina               33,120           1.4%            8.4%          394,800              2.9%
 Delaware                      3,320         0.1%         10.5%         31,590         0.2%          North Dakota                    381           0.0%            1.0%            39,830             0.3%
 D.C.                          4,003         0.2%         19.2%         20,850         0.2%          Ohio                         20,768           0.9%            5.1%           407,610             3.0%
 Florida                    286,144         11.8%         29.7%        962,050         7.2%          Oklahoma                     11,983           0.5%            6.9%           174,320             1.3%
 Georgia                      63,342         2.6%         15.5%        409,390         3.1%          Oregon                       22,216           0.9%           10.7%           207,590             1.6%
 Hawaii                       15,997         0.7%         23.2%         68,940         0.5%          Pennsylvania                 38,799           1.6%            8.2%          470,980              3.5%
 Idaho                         4,051         0.2%            4.9%       82,060         0.6%          Rhode Island                  6,478           0.3%           14.4%            44,890             0.3%
 Illinois                     99,810         4.1%         20.3%        491,410         3.7%          South Carolina              11,869            0.5%            6.7%           176,990             1.3%
 Indiana                     11,995          0.5%            5.2%      230,190         1.7%          South Dakota                    606           0.0%            1.2%            50,760             0.4%
 Iowa                          4,823         0.2%            3.1%      155,110         1.2%         Tennessee                     15,369           0.6%            5.8%          264,480              2.0%
 Kansas                        7,378         0.3%            5.7%      129,940         1.0%         Texas                       256,849           10.5%           24.9%        1,032,100              7.7%
 Kentucky                      6,143         0.3%            3.8%      162,000         1.2%          Utah                          9,229           0.4%            8.5%          108,450              0.8%
 Louisiana                    14,726         0.6%            8.2%      179,790         1.3%         Vermont                        1,700           0.1%            3.7%            45,730             0.3%
 Maine                         2,711         0.1%            3.2%       85,040         0.6%         Virginia                      53,709           2.2%           17.5%          306,640              2.3%
 Maryland                    50,028          2.1%         21.2%        236,050         1.8%         Washington                   45,696            1.9%           15.0%          304,930              2.3%
 Massachusetts                50,778         2.1%            17.5%     290,360         2.2%         West Virginia                  1,486           0.1%            2.7%            54,270             0.4%
 Michigan                    30,223          1.2%            8.3%      365,190         2.7%         Wisconsin                     10,342           0.4%            4.3%          239,610              1.8%
 Minnesota                    15,001         0.6%            5.7%      261,030         2.0%         Wyoming                          809           0.0%            2.6%            31,180             0.2%
 Mississippi                   4,534         0.2%            4.2%      107,020         0.8%        Notes: The sample includes all business owners with 15 or more hours worked per usual week.
                                                                                                   All reported estimates use sample weights provided by the ACS.




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 Total Net Business Income of Immigrant Business Owners by State
 American Community Survey (2006-2010)

                             new immigrant business owners             All Business Owners                                      new immigrant business owners                   All Business Owners

                                Total                                       Total                                                  Total                                             Total
                            Business     Percent of                     Business                                               Business      Percent of                          Business
                              Income      Immigrant   Percent of          Income    percent of                                   Income       Immigrant     Percent of             Income       percent of
 industry                 (thousands)         Total   state Total     (thousands)    u.s. total     industry                 (thousands)          Total     state Total        (thousands)       u.s. total

                                                                                                    Missouri                  $650,043            0.5%            5.0%      $12,944,268              1.6%
 U.S. Total            $121,192,740        100.0%         15.0%     $807,756,996       100.0%
                                                                                                    Montana                     $44,083           0.0%            1.4%        $3,148,001             0.4%
 Alabama                    $337,298          0.3%           3.4%    $9,848,572          1.2%       Nebraska                  $126,155            0.1%            2.7%        $4,726,479             0.6%
 Alaska                    $160,452           0.1%           7.8%    $2,066,323          0.3%       Nevada                   $1,134,154           0.9%           16.8%        $6,737,466             0.8%
 Arizona                 $2,185,123           1.8%        14.2%     $15,395,685          1.9%       New Hampshire             $252,262            0.2%            5.8%       $4,344,390              0.5%
 Arkansas                   $286,727          0.2%           4.7%    $6,064,221          0.8%       New Jersey               $6,220,997           5.1%           22.4%       $27,772,582             3.4%
 California             $34,310,456         28.3%         28.1%     $121,889,173        15.1%       New Mexico                $388,780            0.3%            8.9%       $4,361,555              0.5%
 Colorado                 $1,221,867          1.0%           7.3%   $16,681,092          2.1%       New York                $12,637,581          10.4%           22.6%      $55,963,281              6.9%
 Connecticut             $2,051,211           1.7%        15.0%     $13,670,931          1.7%       North Carolina          $1,665,318            1.4%             7.7%     $21,532,068              2.7%
 Delaware                  $261,258           0.2%        12.6%      $2,074,398          0.3%       North Dakota                $20,648           0.0%            1.0%        $2,119,841             0.3%
 D.C.                      $242,333           0.2%        10.8%      $2,243,227          0.3%       Ohio                     $1,278,864           1.1%            5.7%      $22,383,638              2.8%
 Florida                $13,299,475         11.0%         23.8%     $55,946,379          6.9%       Oklahoma                   $476,515           0.4%            5.3%        $8,911,407             1.1%
 Georgia                 $2,920,530           2.4%        12.3%     $23,662,673          2.9%       Oregon                  $1,079,448            0.9%            9.8%      $11,019,656              1.4%
 Hawaii                    $771,663           0.6%        19.8%      $3,902,680          0.5%       Pennsylvania             $2,175,029           1.8%             7.6%     $28,738,393              3.6%
 Idaho                      $191,547          0.2%           4.7%    $4,098,994          0.5%       Rhode Island              $360,125            0.3%           13.0%       $2,769,586              0.3%
 Illinois                $5,404,305           4.5%        16.5%     $32,800,599          4.1%       South Carolina            $521,896            0.4%            5.3%        $9,792,601             1.2%
 Indiana                   $721,603           0.6%           5.6%   $12,935,951          1.6%       South Dakota                $13,137           0.0%            0.5%        $2,625,394             0.3%
 Iowa                      $215,793           0.2%           2.8%     $7,637,181         0.9%      Tennessee                  $850,604            0.7%            5.6%      $15,094,881              1.9%
 Kansas                    $351,433           0.3%           5.0%     $7,037,337         0.9%      Texas                   $10,038,746            8.3%           16.7%       $60,102,102             7.4%
 Kentucky                  $450,916           0.4%           5.4%    $8,399,602          1.0%       Utah                       $387,788           0.3%            6.1%        $6,353,397             0.8%
 Louisiana                 $690,922           0.6%           6.7%   $10,336,436          1.3%      Vermont                      $84,000           0.1%            3.8%        $2,201,572             0.3%
 Maine                     $119,688           0.1%           3.3%    $3,680,696          0.5%      Virginia                 $3,022,260            2.5%           14.9%      $20,255,140              2.5%
 Maryland                $2,750,312           2.3%        16.3%     $16,843,132          2.1%      Washington               $2,415,906            2.0%           13.1%      $18,436,686              2.3%
 Massachusetts           $2,818,756           2.3%        14.0%     $20,174,706          2.5%      West Virginia              $138,755            0.1%            5.1%        $2,719,038             0.3%
 Michigan                $1,844,369           1.5%           9.2%   $20,033,611          2.5%      Wisconsin                  $589,060            0.5%            4.6%      $12,756,994              1.6%
 Minnesota                 $771,888           0.6%           5.1%   $14,996,055          1.9%      Wyoming                      $59,612           0.0%            3.3%        $1,804,562             0.2%
 Mississippi               $181,050           0.1%           3.2%    $5,722,364          0.7%     Notes: The sample includes all business owners with 15 or more hours worked per usual week.
                                                                                                  All reported estimates use sample weights provided by the ACS.




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   (2010). Their impact has been especially well documented in certain sectors such as technology and engineering, where they play a disproportionately large role in founding companies and inventing the
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   developed countries have created special visas and entry requirements for immigrant entrepreneurs. See: Schuetze and Antecol (2006); Partnership for a New American Economy (2012).

6	The ACS is the only nationally representative dataset with a large enough sample size to examine business ownership among immigrant groups, and the SBO is the only business-level dataset with information
   on a large sample of immigrants. Matching consecutive months of CPS data creates the only longitudinal data source, which is needed to study business formation, with large enough immigrant samples. The
   full methodology is explained in greater detail in Appendix A. The results presented here build on an earlier related study using the 2000 Census 5 percent PUMS, 1996-2007 CPS and 1992 Characteristics
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21 T
    he data used to calculate exports come from the 2007 Survey of Business Owners which, for the first time, included information on both owner’s immigrant status and exports. Tabulations of export levels for
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29	The income generated by immigrant-owned businesses is measured by using the American Community Survey to examine the contribution of immigrant business owners to total business income generated by
    all U.S. business owners. This measure captures the owner’s income from the business and does not capture what is paid to employees (which was examined later). The revenue generated by immigrant-owned
    businesses is measured by examining the total sales and receipts by immigrant-owned businesses. As noted above, however, published estimates from the SBO do not report sales for immigrant business
    owners. Instead, estimates from specially commissioned tabulations from the SBO are reported. The SBO is the only large nationally representative business-level dataset that provides information on
    immigrant status. Total sales information in the SBO is based on administrative data collected by the Census Bureau from tax reporting. Total sales data do not subtract out total expenses or payroll expenses,
    and thus do not represent profits of the business. Total sales represent a gross measure and not a net measure of the productivity of the firm. But, total sales do capture the total gross flow of revenues to the
    business, and thus represent a good measure of business contributions to the economy. As noted above, following the convention used by the Census Bureau in reporting business statistics by race,
    immigrant-owned businesses are defined as those with majority foreign-born ownership (51% or more) and non-immigrant businesses are defined as those with majority U.S.-born ownership (51% or more).



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35 Id.

36 Press Release, U.S. Department of Labor, Bureau of Labor Statistics, The Employment Situdation—2012 (Aug 3, 2012), http://www.bls.gov/news.release/pdf/empsit.pdf.
37	Estimates of employment for immigrant-owned businesses are derived from specially-commissioned tabulations of the Survey of Business Owners, which is the only dataset with employment information for a
    large nationally representative sample of immigrant-owned businesses.

38	“Privately-owned companies” excludes the government, nonprofits, public companies, which have no one person or group of people that can be called the “owner,” and any other company where the owner is
    not identifiable.

39 Telephone Interview with Sergio Bermudez (Jul 24, 2012).
40	For example, research by Vivek Wadhwa has found that immigrants founded more than 25 percent of technology companies nationwide, and more than 50 percent of such companies in Silicon Valley. See:
    Wadhwa et al. (2007).

41 Press Release, U.S. Department of Labor, Bureau of Labor Statistics, Employment Projections—2010-20 (Feb 1, 2012), http://www.bls.gov/news.release/pdf/ecopro.pdf.
42	The CPS data from which the immigrant share of new companies is derived only exists for the category of “education and health services” and is not broken up precisely into “health care and social assistance”
    and “educational services,” which BLS lists as two separate categories.

43 The CPS data from which the immigrant share of new companies is derived gives data from “wholesale and retail trade,” and not specifically for “retail trade.”

44	The CPS data from which the immigrant share of new companies is derived only exists for the category of “education and health services” and is not broken up precisely into “health care and social assistance”
    and “educational services,” which BLS lists as two separate categories.

45	The Bureau of Labor Statistics uses the industry sector of “Other Services” to “comprise[] establishments engaged in providing services not specifically provided for elsewhere in the classification system.
    Establishments in this sector are primarily engaged in activities, such as equipment and machinery repairing, promoting or administering religious activities, grantmaking, advocacy, and providing drycleaning
    and laundry services, personal care services, death care services, pet care services, photofinishing services, temporary parking services, and dating services.” See: U.S. Department of Labor, Bureau of Labor
    Statistics, Description of Other Services (except Public Administration): NAICS 81, http://www.bls.gov/iag/tgs/iag81.htm (last accessed Aug 10, 2012).

46	The lack of available data has made it very difficult to conclusively analyze the failure rates of immigrant and native-owned businesses, and there are no conclusive studies on the subject. Some anecdotal
    evidence has suggested that immigrant startups fail at a slightly higher rate than those of the native-born. Conversely, a few studies have shown that some specific immigrant groups have lower failure rates
    than their native-born counterparts, such as Korean and Chinese retail storeowners, who were found to have failure rates more than 40 percent lower than both native-born white and African-American retail
    storeowners. See: Timothy Bates, Race, Self-Employment and Upward Mobility, Woodrow Wilson Center Press: 215 (1997). Evidence from other countries is equally inconclusive, but does seem to suggest that
    immigrants are in fact slightly less likely to have their startups succeed. In France, for example, researchers found that immigrant-owned startups failed at higher rates during growth periods (54 percent of
    native-owned startups were still in existence after three years, compared with 40 percent for immigrant-owned startups), but that in periods of slow economic growth the failure rates of the two groups were
    equivalent. See: Maria Vincenza Desiderio and John Salt, Main Findings of the Conference on Entrepreneurship and Employment Creation of Immigrants in OECD Countries, Organisation for Economic
    Co-operation and Development, Paris (June 9-10, 2010), http://www.google.com/url?sa=t&rct=j&q =&esrc=s&source=web&cd=3&ved= 0CFsQFjAC&url=http%3A%2F%2Fwww.oecd.
    org%2Fmigration%2F46424942.doc&ei=JMsjUJqlN6X40gHJ24DgDw&usg=AFQjCNE5obqcJmU1TZosBNkRQFSGKLOqww.
47 Immigrants already own more than one-quarter of all businesses in the transportation and more than 20 percent of all businesses in retail trade, wholesale trade, and health care and social assistance.

48 Telephone Interview with Tashitaa Tufaa (Jul 16, 2012).

49	The immigrant population numbers come from an analysis of the 2010 census conducted by the Migration Policy Institute. See: Migration Policy Institute, 2010 American Community Survey and Census Data
    on the Foreign Born by State, http://www.migrationinformation.org/datahub/acscensus.cfm (last accessed Aug 10, 2012).
50 This is consistent with previous findings on the importance of immigrants in California and the Silicon Valley. See: Saxenian (1999 & 2000); and Wadhwa et al. (2006).

51 See discussion of failure rates in footnote 46.

52 Alex Goldmark, Terracycle to Turn Dirty Diapers Into Park Benches, Fast Company, August 27, 2011, http://www.fastcoexist.com/1679425/terracycle-to-turn-dirty-diapers-into-park-benches.

53 Telephone Interview with Tom Szaky (Mar 30, 2012).

54	Estimates of immigrant-owned business starts are reported only for the 10 largest immigrant groups because sample sizes are not large enough. Although the number of non-business owners is large for each
    source country, the number of new business owners per month recorded in the data is relatively small (0.28 percent).

55	According to past research by the Brookings Institution and the Partnership for a New American Economy, Roughly 29 percent of immigrants lack a high school diploma compared with just 7.4 percent of the
    native-born. See: Brookings Institution & Partnership for a New American Economy, Slideshow: Immigrant Workers in the U.S. Labor Force (Mar 2012), http://www.renewoureconomy.org/brook_slideshow#3.

56	Unemployment in the U.S. tends to track educational attainment. In 2011, high school dropouts had an unemployment rate of 14.1 percent. The unemployment rate dropped to 9.4 percent for those with a high
    school degree, 4.9 percent for those with a college degree, 3.6 percent for those with a masters, and 2.5 percent for those with a PhD. New businesses in communities where many or most residents lack a
    high school diploma should therefore be a key priority of our economic recovery. And, to the extent that people in the United States tend to live in communities with people of similar educational attainment, the
    data suggest that immigrants are disproportionately poised to start new businesses among communities with the highest unemployment. See: U.S. Department of Labor, Bureau of Labor Statistics,
    Employment Projections (Mar 23, 2012), http://www.bls.gov/emp/ep_chart_001.htm/ (last accessed Aug 8, 2012).

57	See: U.S. Chamber of Commerce, Immigrant Entrepreneurs: Creating Jobs and Strengthening the Economy, www.uschamber.com/sites/default/files/reports/Immigrant%20Entrepreneur%20final%20
   1-22-2012.pdf; Wall Street Journal, Migrants Keep Small-Business Faith, (Jun 13, 2012), http://online.wsj.com/article/SB10001424052702303410404577464853249366254.html; and Immigrant Learning
    Center, Immigrant Entrepreneurs and Neighborhood Revitalization, http://www.ilctr.org/wp-content/uploads/2009/09/immigrant_entrepreneur.pdf.

58 Telephone Interview with Shukri Ali (Jul 15, 2012).

59 Telephone Interview with Ismail Ahmed (Jul 11, 2012).

60 Some unemployed individuals may report being self-employed if they sell a small quantity of goods or services while not working at their regular jobs.

61	For more discussion on the comparison between individual-level and business-level data on entrepreneurship, see: B. Headd and R. Saade, Do Business Definition Decisions Distort Small Business Results?
    U.S. Small Business Administration, Office of Advocacy working paper (2008); and Robert W. Fairlie and Alicia M. Robb, Race and Entrepreneurial Success: Black-, Asian-, and White-Owned Businesses in the
    United States, MIT Press, (2008).

62	Published data from the Census Bureau also only report foreign-born owners and not businesses (which is why no sales, employment, payroll and export information is reported). Nonetheless, research by
    Robert W. Fairlie finds that published estimates for the SBO report show a very similar ratio of foreign-born owners to foreign-born and U.S. born owners.




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          BRINGING
        VITALITY TO
        MAIN STREET
               How Immigrant Small
               Businesses Help
               Local Economies Grow




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        Bringing
      Vitality to
      Main Street
             How Immigrant Small
             Businesses Help
             Local Economies Grow

                                                                            —January 2015

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                              how immigrant small businesses help local economies grow      1

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          executive summary




          O
                                  ver the past decade,               want to come and live. What may have been
                                  several studies                    an area in disrepair becomes more vibrant
                                  have shown that                    and more economically viable, with an
                                  immigrants are more                increased tax base, more local spending, and
                                  likely than their U.S.-            more local jobs.
                                  born counterparts                    The statistics here include all immigrants,
                                  to be business                     including undocumented immigrants,
          owners. Less well known, however, is                       refugees and high-skilled visa holders.
          the outsize role immigrants are playing                    There are important distinctions among
          among “Main Street” businesses—the                         these groups, but there are business owners
          shops and services that are the backbone                   among all of them, in varying proportions.
          of neighborhoods around the country.                         The role of immigrants and immigrant
            Immigrants’ role in Main Street                          Main Street business owners in
          businesses is striking. While accounting                   neighborhood revitalization and local
          for 16 percent of the labor force nationally               economic development should be of
          and 18 percent of business owners,
          immigrants make up 28 percent of Main
          Street business owners. And, immigrants
          play an even bigger role in certain Main
          Street businesses. Data from 2013, the most
          recent year available, show that in the U.S.
                                                                            Immigrants
          as a whole immigrants make up 61 percent
          of all gas station owners, 58 percent of dry
                                                                            make up 28
          cleaners owners, 53 percent of grocery store
          owners, 45 percent of nail salon owners, 43
                                                                            percent of
          percent of liquor store owners, 38 percent
          of restaurant owners, and 32 percent of
                                                                            main street
          both jewelry and clothing store owners.
            And, immigrants make up a bigger pro-
                                                                             business
          portion of Main Street business owners in
          metropolitan areas with large immigrant
                                                                              owners.
          populations. Immigrants make up fully 64
          percent of all Main Street business owners
          in the Los Angeles metro area, 61 percent in
          metro San Jose, 56 percent in metro Wash-                  particular interest to cities that saw
          ington, D.C., and 54 percent in metro Miami.               significant population decline in the
            Main Street businesses make a direct                     1950s, 1960s and 1970s and are eager to
          contribution to the economy, but they also                 bring about a rebound in population
          leverage that contribution by playing a                    today—cities such as Baltimore, St. Louis,
          critical role in making neighborhoods                      Detroit, Pittsburgh, and Chicago. Over
          attractive places to live and work. A                      the past several decades, immigrants have
          restaurant comes into a part of town that                  given a critical population boost to cities
          has had boarded-up storefronts and—while                   with population decline. Among the 50
          mainly serving local customers at first—                   cities that had the largest populations in
          starts to attract a clientele from around                  1970, all of those cities with low levels of
          the city before long. A grocery store opens                immigration have seen a total population
          nearby, a few clothes stores, and maybe a                  decline from their mid-20th century peak.
          barber or a beauty salon. More eyes on the                   Offering a welcoming environment
          street mean safer streets, and before long the             and a supportive infrastructure for
          neighborhood becomes a place more people                   immigrant communities is a smart strategy


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                 how immigrant small businesses help local economies grow



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    for cities and states. And paying particular        business financing, culturally competent
    attention to immigrant Main Street business         approaches to providing business services
    owners can be a very valuable part of that          and classes, and a rethinking of how small
    strategy, boosting neighborhood growth              businesses relate to city agencies.
    and often helping U.S.-born business owners           Immigrants are not magic ingredients
    along the way.                                      to an economic development strategy, but
      Case studies from three metro areas that          they are an asset to the cities they join.
    have experienced population rebound or             When that asset is underutilized, it is a
    growth yield some important lessons about          loss to the local economy. Finding ways
    realistic ways to help nurture immigrant            to maximize the potential of immigrant
    Main Street business ownership and the             Main Street business owners while creating
    economic revitalization it can spur.                a positive climate for U.S.-born business
      In Philadelphia, city government and non-         owners should be an important project for
    profit groups have focused on supporting            cities seeking to leverage the contribution
    the integration of immigrant businesses into        of their immigrant populations.
    the commercial corridors around the city,             Some of the recommendations from our
    helping to boost their revival and to ease          research are:
    tensions with existing communities.                • Create a government office to address
      In Minneapolis–St. Paul, a range of non-            immigrant integration.
    profit groups, together with support from
    a federal tax credit program, foundations          • Provide culturally competent business
    and corporations developed a series of               training and services.
    mall-sized markets that are both incubators
    for new businesses and neighborhood                • Make sure programs are open to all.
    development projects in their own right.
      In Nashville, a broad coalition of business,     • Make financing innovative and
    labor, community, and political leaders came         community-based.
    together to push back against a referendum
    that was seen to be anti-immigrant, in the         • Strengthen incubators—especially
    process creating a lasting set of relationships      commercial kitchens.
    that have helped set a positive tone around
    immigrant integration in the city. And, in all     • Improve (and clarify) licensing and
    of the areas there were innovations in small         inspection processes for everyone.




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          Introduction




          D
                                 espite the growing body of research on the economic
                                 impact of immigrants, few studies have focused on
                                 the outsize role that immigrants have played in “Main
                                 Street” businesses—the shops that give a neighborhood
                                 its character, such as restaurants, grocery stores, clothing
                                 boutiques, and beauty salons. Even less research has
                                 looked at how various programs and initiatives can
          support immigrant small business owners, or the impact of removing barriers
          to immigrant entrepreneurship on a city’s economic development.
            This reports aims to address that gap. It seeks to uncover and quantify the
          valuable role immigrants play as business owners in cities around the country,
          and to highlight—through in-depth
          looks into three metro areas that
          are gateways for immigrants—how
          local government, civil society and
          the private sector can work together                 Few studies
          to support this population.
            Part One presents a quantitative                  have focused
          analysis of the impressive role
          immigrants are playing among                       on the outsize
          Main Street businesses in the U.S.,
          looking at Main Street business                       role that
          ownership in the country’s 50
          largest metro areas. It looks at the                 immigrants
          particular challenge of central
          cities with declining populations                   have played
          and considers the role Main Street
          businesses play in revitalizing                    in main street
          neighborhoods and rebuilding
          central city business districts.
            Part Two combines quantitative
                                                               businesses.
          analysis with a qualitative study of
          immigrant Main Street businesses—
          and efforts of local governments
          and non-profits to support them—in Philadelphia, Minneapolis–St. Paul and
          Nashville. In Philadelphia and Minneapolis–St. Paul, it examines the role
          immigrant businesses have played in reversing decades of population decline,
          and, in particular, how these businesses helped re-establish a commercial
          base for neighborhoods that were in disrepair, giving them new character
          and a critical economic boost. And, in Nashville, it shows how the vibrancy
          of immigrant neighborhoods have helped fill in and transform areas that
          were the less expensive parts of town, in some cases spurring the interest of
          a new generation of hipsters and foodies who now come to visit or to live in
          neighborhoods they might previously have overlooked.




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    Part I: Immigrants and Small
    Business Ownership: An Outsize




   O
    Role on Main Street
                            f the the country’s        also make up 28 percent of all immigrant
                            4.9 million business       business owners (Figures 2 and 3).5
                            owners, 900,000 are          Because Main Street businesses generally
                            immigrants.1 While         do not generate goods and services that
                            representing 16 percent    are sold around the country or globally—
                            of the labor force         unlike the high-tech sector, for example—
                            overall, they represent    they are infrequently the focus of
    18 percent of business owners (Figure 1).2         economic development efforts. Yet, Main
    This differential of two percentage points         Street businesses present an important
    means immigrants are about 10 to 15 percent        opportunity not only for residents who
    more likely to be business owners than their       start out with little; they are also often a first
    U.S.-born counterparts.3                           business for immigrants and a source
       More striking than the modest overrep-          of first jobs for people in the community.
    resentation of immigrants among all busi-          And, they play an important role in
    ness owners, however, is the outsize role          generating neighborhood-level economic
    that immigrants are playing among “Main            growth by making areas attractive places
    Street” businesses. While immigrants make          to live and work. Main Street businesses
    up 18 percent of business owners overall,          increase the tax base, and they spark further
    they make up fully 28 percent of the owners        economic activity through increased
    of Main Street businesses. Main Street busi-       consumer spending.
    nesses are defined here as those which fall          These are often businesses with a thin
    into three broad sectors: Retail (from jewelry     profit margin. Main Street business owners
    stores to florists to grocery stores), Accom-      represent 18 percent of all business owners
    modation and Food Services (restaurants,           but take home only 13 percent of business
    bars and hotels), and Neighborhood Services        earnings. Nonetheless, the earnings of
    (beauty salons, barber shots, nail salons, dry     Main Street business owners are significant,
    cleaning, and car washes). The first two           totaling $50 billion—$37 billion for U.S.-
    are standard industry categories, while the        born business owners and $13 billion for
    third is the majority of what is generally         immigrants (Figure 4).
    called “Other Services.”
       Immigrants make up 61 percent of gas
    station owners, 58 percent of dry cleaners
    owners, 53 percent of grocery store owners,         Figure 1.
    45 percent of nail salon owners, 43 percent of      28 Percent of Main Street
    liquor store owners, 38 percent of restaurant       Business Owners are Immigrants
                                                        Fiscal Policy Institute (FPI) analysis of American
    owners, and 32 percent of both jewelry and
                                                        Community Survey (ACS) 2013 5-year data.
    clothing store owners.4
      The owners of Main Street businesses                                                               28%
    make up a substantial share of the country’s
    business owners overall. Of the 4.9 million
    business owners in the U.S., Main Street
                                                                                          18%
    business owners make up 900,000. Not                                   16%
    only are immigrants important to Main                   13%
    Street businesses, Main Street businesses
    are also important to immigrants. Because
    the total number of immigrant business
    owners in the country is coincidentally also
                                                          Share of        Share of      Share of       Share of
    900,000, the country’s 255,000 immigrant             Population        Labor        Business      Main Street
    Main Street business owners make up 28                                 Force        Owners         Business
    percent of all Main Street business, and they                                                      Owners


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           Figure 2.
           Immigrants Make Up a Very High Share of
           Nearly All Main Street Business Owners
           FPI analysis of ACS 2013 5-year data.
           Business types with the highest concentration of immigrants shown first.
                                                                                                              FOREIGN-
                                                                                                FOREIGN-         BORN
                                                                                        ALL        BORN         SHARE
            Neighborhood Services                                                  145,777         45,220         31%
            Dry cleaning and laundry services                                        19,605          11,343       58%
            Nail salons and other personal care services                            30,874          13,963        45%
            Car washes                                                                8,336           1,861       22%
            Beauty salons                                                            78,107          16,312       21%
            Barber shops                                                             8,854            1,742       20%
            Accommodation and Food Services                                       237,224          84,748         36%
            Traveler accommodation                                                   15,944         6,440         40%
            Restaurants and other food services                                   204,252          76,828         38%
            Drinking places, alcoholic beverages                                     13,973           1,301        9%
            RV parks and camps, and rooming and boarding houses                       3,055             178        6%
            Retail                                                                 517,079        125,282        24%
            Gasoline stations                                                        19,002         11,508        61%
            Grocery stores                                                           49,715          26,116       53%
            Beer, wine and liquor stores                                             12,964           5,531       43%
            Specialty food stores                                                    16,618           5,813       35%
            Jewelry, luggage and leather goods stores                                16,892          5,437        32%
            Clothing stores                                                         23,429           7,385        32%
            Health and personal care stores, except drugstores                       17,029           5,169       30%
            Department and discount stores                                             3,117            871       28%
            Radio, TV and computer stores                                            16,389          4,164        25%
            Electronics stores                                                        3,929            996        25%
            All other                                                              337,996         52,293         15%
            Total                                                                 900,080        255,250         28%

           Source: FPI analysis of 2013 5-year ACS data. Business types with the highest concentration of
           immigrants shown first.




           Figure 3.
           Of 4.9 Million Business Owners, 18 Percent
           Have Main Street Businesses
           FPI analysis of ACS 2013 5-year data.

                                                                                                FOREIGN-
                                                                                     TOTAL         BORN
            Main Street Business Owners                                           900,080        255,250
            All business owners                                                   4,913,811       895,793
            Main Street share                                                           18%           28%




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                     how immigrant small businesses help local economies grow



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             Part I: Immigrants and Small Business Ownership

      Main Street businesses are also more likely      Figure 4.
    to be medium-sized employers. Analysis             Main Street Businesses Brought
    by the Fiscal Policy Institute (FPI) using the     $13 Billion in Earnings to Immigrant
    Survey of Business Owners (SBO) shows that         Business Owners
                                                       FPI analysis of ACS 2013 5-year data.
    while, overall, businesses are most likely
    to have 10 or fewer employees, Main Street
    businesses are a little more likely to have            $335                                 U.S.-Born

    11–49 employees. This is driven in large part                                               Foreign-Born
    by the accommodation and food services
    businesses (Figure 5).6
      The overwhelming majority of U.S.-
    born Main Street business owners are
    white. Just four percent are black, five
    percent Hispanic and one percent Asian—
    far less than their share of the labor force.
    Among immigrant Main Street business                                 $65              $37
                                                                                                       $13
    owners the very prominent place of Asians
    stands out: Asians make up 49 percent                     All Business                 Main Street
    of all immigrant Main Street business                       Owners                   Business Owners
    owners, playing an especially big role in
    restaurants, dry cleaners and nail salons.
    Whites are 26 percent of immigrant Main
    Street business owners, Hispanics 20               big part in the growth of Main Street
    percent and blacks 3 percent (Figure 6).           business ownership, but also in the growth
    Twelve percent of immigrant Main Street            of business ownership overall. Between
    Business owners were born in Korea, 10             2000 and 2013, immigrants accounted for
    percent in India, 10 percent in Mexico,            48 percent of overall growth of business
    and 8 percent in Vietnam—yet the top               ownership in the U.S. During this time,
    10 countries combined make up only 59              the number of U.S.-born business owners
    percent of the total, with immigrants              grew by 400,000, while immigrant-owned
    from around the world playing a role.              businesses grew by 370,000.
                                                         At the same time, immigrants accounted
    Immigrants, Main                                   for all of the growth in Main Street
    Street Businesses and                              businesses. The total number of U.S.-born
                                                       Main Street business owners actually
    Economic Growth


   A
                                                       declined by 30,000, while immigrant Main
           s immigration has grown, so                 Street business owners increased by 90,000,
           has overall immigrant business              for a total net gain of 60,000.
           ownership, with Main Street                   As in the country as a whole, immigrants
    businesses playing an important part in that       accounted for all of the growth in Main
    growth. This is a reassuring finding since it      Street businesses in 31 of the country’s
    helps explain why studies have repeatedly          50 largest metropolitan areas (Figure 7).
    found that immigrant workers are absorbed          Immigrants made up an impressive share of
    into the economy with only modest                  the increase in the remaining 19 metro areas
    displacement of some categories of U.S.-           as well, from 28 percent in Sacramento, 33
    born workers and no displacement overall:          percent in Austin and 36 percent in Denver
    Immigrants are not just workers; they are          to over 90 percent in Philadelphia, Miami,
    also entrepreneurs. Their arrival expands          San Diego, and San Francisco—96, 95, 92,
    the overall economy through new business           and 91 percent, respectively.
    development as well as through added                 The number of immigrant Main Street
    investment and consumer spending.                  business owners increased even in the seven
      Looking at the growth in business                metro areas that saw an overall decline in
    ownership in the U.S. and in the country’s         the number of Main Street business owners:
    50 largest metropolitan areas, we see that         Detroit, Birmingham, Columbus, Cleveland,
    immigrants are not only playing a very             Milwaukee, Pittsburgh, and Providence,

                                                                         bringing vitality to main street:
                                               how immigrant small businesses help local economies grow      7

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          Figure 5.
          There Are More Medium-Sized Employers Among Main
          Street Businesses than Among Private Businesses Overall
          FPI analysis of Survey of Business Owners (SBO) 2007. Foreign born-owned
          refers to businesses in which half or more of the owners are foreign born.

          Main Street Businesses                                                     50 employess or above

                       2%                                  4%                        11–49 employees

                                                                                     10 or fewer employees

                 17%
                                                  24%

                       81%                                    72%


                Foreign Born-Owned                   U.S. Born-Owned

          All Privately Owned Businesses

                      2%                                   4%

                 17%
                                                  19%


                     83%                                   77%



                Foreign Born-Owned                     U.S. Born-Owned



          Figure 6.
          Main Street Business Owners by Race and Nativity
          FPI analysis of ACS 2013 5-year data.

                                                                                                         U.S.-Born
                88%
                                                                                                         Foreign-Born




                                                                                                             49%



                           26%
                                                                                     20%
                                              4%           3%                 5%
                                                                                                   1%
                     White                         Black                       Hispanic/                Asian
                                                                                Latino



            8      bringing vitality to main street:
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                                             Part I: Immigrants and Small Business Ownership

         Figure 7.
                                                                                                                                                                                                                                                             change in number of U.S.–born
         The 31 Metro Areas in Which Immigrants Make Up All
                                                                                                                                                                                                                                                           	business owners
         Growth in Main Street Business Ownership
         Growth in Business Ownership in Metro Areas from 2000 to 2013 FPI                                                                                                                                                                                   change in number of foreign-
         analysis of Census 2000 and ACS 2013 5-year data.                                                                                                                                                                                                 	born business owners


 6,000




 4,000




 2,000




    0
         New York
                    Chicago
                              Dallas/Fort Worth
                                                  Houston
                                                            Washington
                                                                         Boston
                                                                                  Phoenix
                                                                                            Detroit
                                                                                                      Tampa
                                                                                                              Baltimore
                                                                                                                          Pittsburgh
                                                                                                                                       Portland




                                                                                                                                                                                                                                               Nashville




                                                                                                                                                                                                                                                                                                   Memphis




                                                                                                                                                                                                                                                                                                                                                          Richmond
                                                                                                                                                  San Antonio
                                                                                                                                                                Cincinnati
                                                                                                                                                                             Cleveland
                                                                                                                                                                                         San Jose
                                                                                                                                                                                                    Columbus
                                                                                                                                                                                                               Indianapolis
                                                                                                                                                                                                                              Virginia Beach


                                                                                                                                                                                                                                                           Providence
                                                                                                                                                                                                                                                                        Milwaukee
                                                                                                                                                                                                                                                                                    Jacksonville


                                                                                                                                                                                                                                                                                                             Lousville/Jefferson County
                                                                                                                                                                                                                                                                                                                                          Oklahoma City


                                                                                                                                                                                                                                                                                                                                                                     Hartford


                                                                                                                                                                                                                                                                                                                                                                                              Birmingham
                                                                                                                                                                                                                                                                                                                                                                                                           Buffalo
                                                                                                                                                                                                                                                                                                                                                                                New Orleans
–2,000




–4,000




–6,000




     though often by small numbers. There were                                                                                                                                                      other U.S.-born workers. Main Street busi-
     500 more immigrant Main Street business                                                                                                                                                        nesses are less capital intensive, small-scale,
     owners in Providence in 2013 than in 2000,                                                                                                                                                     and more locally oriented, giving them in
     400 in Detroit and Columbus, and numbers                                                                                                                                                       general lower profit margins. Owners of
     too small to be measured with reliability in                                                                                                                                                   Main Street businesses generally earn about
     the other areas.                                                                                                                                                                               the same as the overall median for the labor
       Figure 8 shows a different dimension:                                                                                                                                                        force—in some metro areas a little more and
     the change in immigrant share of business                                                                                                                                                      in some a little less. Nationally, the median
     owners in each metro area over the same                                                                                                                                                        earnings for immigrants overall are $35,000,
     period. There we can see not just the growth,                                                                                                                                                  with immigrant business owners making
     but the overall importance of immigrants as                                                                                                                                                    considerably more ($49,000) and immigrant
     Main Street business owners. Impressively,                                                                                                                                                     Main Street business owners making just a
     immigrants make up 64 percent of Main                                                                                                                                                          little more ($37,000). U.S.-born earners tend
     Street business owners in metro Los                                                                                                                                                            to make more in all categories, but the pat-
     Angeles today (up from 57 percent in 2000),                                                                                                                                                    tern is roughly the same, with the median
     61 percent in metro San Jose (up from 45                                                                                                                                                       earnings for U.S.-born Main Street business
     percent), 56 percent in metro Washington,                                                                                                                                                      owners slightly below the median for all
     D.C. (up from 43 percent), and 54 percent in                                                                                                                                                   workers at the national level (Figure 9).
     metro Miami (up from 46 percent).                                                                                                                                                                 The big numbers of immigrant Main Street
       Immigrants who own a business gener-                                                                                                                                                         business owners are all the more impressive
     ally do better than other immigrants, just                                                                                                                                                     when we consider that would-be immigrant
     as U.S.-born business owners do better than                                                                                                                                                    entrepreneurs face a host of challenges,

                                                                                                                                                                                                       bringing vitality to main street:
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             Figure 8.
             Immigrants Make Up a Big and Growing Share of Main Street Businesses
             50 Largest Metropolitan Statistical Areas
             Across Metro Areas, Immigrant Share of Main Street Business Owners Grew Between 2000 and 2013
      70%


      60%


       50%


      40%


      30%


      20%


       10%


       0%
                                                                                                                                   Boston
             New York




                                                                     Houston
                        Los Angeles

                                       Chicago

                                                 Dallas-Fort Worth




                                                                                 Philadelphia

                                                                                                Washington, DC

                                                                                                                 Miami

                                                                                                                         Atlanta




                                                                                                                                            San Francisco

                                                                                                                                                            Riverside

                                                                                                                                                                        Phoenix

                                                                                                                                                                                  Detroit

                                                                                                                                                                                            Seattle

                                                                                                                                                                                                       Minneapolis-St. Paul




                                                                                                                                                                                                                                                   St. Louis
                                                                                                                                                                                                                               San Diego

                                                                                                                                                                                                                                           Tampa




                                                                                                                                                                                                                                                               Baltimore

                                                                                                                                                                                                                                                                           Denver

                                                                                                                                                                                                                                                                                    Pittsburgh

                                                                                                                                                                                                                                                                                                 Portland, OR

                                                                                                                                                                                                                                                                                                                San Antonio

                                                                                                                                                                                                                                                                                                                              Orlando
             Figure 9.
             Main Street Business Owners Earn Less than Other Business Owners
             FPI analysis of Census, ACS 2013 5-year data. Median earnings are for
             people who worked full-time and year-round.

                Importance of Small Business Owners
                                                                               Earnings of Business Owners as a Share of the
                                                                                                                                                                                                                              6%
                                                                                    Earnings of All in the Civilian Labor Force
                                                                               Earnings of Main Street Business Owners as a
                                                                                                                                                                                                                              15%
                                                                                   Share of Earnings of All Business Owners
                Foriegn Born
                                                                                     Median Earnings in the Civilian Labor Force                                                                      $35,000
                                                                                                            Median Earnings of Business Owners                                                        $49,000
                                                                     Median Earnings of Main Street Business Owners                                                                                   $37,000
                U.S. Born
                                                                                     Median Earnings in the Civilian Labor Force                                                                      $45,000
                                                                                                            Median Earnings of Business Owners                                                        $60,000
                                                                     Median Earnings of Main Street Business Owners                                                                                   $44,000




             from linguistic and cultural barriers to                                                                                                          When immigrants try to get start-up
             institutional ones. To cite one example,                                                                                                        capital to open a business, for both Main
             immigrant small businesses often encounter                                                                                                      Street businesses and in general, they
             difficulties associated with not having a                                                                                                       are more likely than their U.S.-born
             credit history and with a lack of familiarity                                                                                                   counterparts to rely on savings and less
             with the American banking system.7                                                                                                              likely to get a bank loan (Figure 10).


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                                                                     Part I: Immigrants and Small Business Ownership

                                                     IMMIGRANT SHARE IN 2000

                                                     IMMIGRANT SHARE IN 2013Columbus




                                                                                                                                                                                                        Memphis

                                                                                                                                                                                                                  Louisville




                                                                                                                                                                                                                                               Richmond
Sacramento

             Cincinnati

                           Kansas City

                                         Cleveland

                                                     Las Vegas

                                                                 San Jose




                                                                                       Austin

                                                                                                Charlotte

                                                                                                            Indianapoli

                                                                                                                          Virginia Beach

                                                                                                                                           Nashville-Davidson

                                                                                                                                                                Providence

                                                                                                                                                                             Milwaukee

                                                                                                                                                                                         Jacksonville




                                                                                                                                                                                                                               Oklahoma City




                                                                                                                                                                                                                                                          Hartford




                                                                                                                                                                                                                                                                                   Raleigh




                                                                                                                                                                                                                                                                                                              Birmingham

                                                                                                                                                                                                                                                                                                                            Buffalo
                                                                                                                                                                                                                                                                     New Orleans




                                                                                                                                                                                                                                                                                             Salt Lake City
                                                The lower level of reliance on—or access                                                                                                       often accelerated in the 1960s and 1970s with
                                              to—bank loans is all the more pronounced                                                                                                        “white flight” from “inner cities.”
                                              in the sectors with the largest share of Main                                                                                                      A number of the cities whose political
                                              Street businesses—Retail, Accommodation                                                                                                          leaders have made a particular effort
                                              and Food Services (which includes                                                                                                                to make their hometowns attractive to
                                              restaurants and hotels). For startup capital                                                                                                     immigrants are among those that saw
                                              in retail businesses, the share of businesses                                                                                                    significant population decline in those
                                              to receive bank loans was 18 percent for                                                                                                         years—Baltimore, St. Louis, Detroit,
                                              immigrants and 28 percent for U.S.-born                                                                                                          Pittsburgh, and Chicago, for example.
                                              owners. In accommodation and food                                                                                                                  Immigrants have been a significant factor
                                              services, it was 21 percent for immigrants                                                                                                       affecting the demographic fortunes of cities
                                              and 34 percent for U.S.-born owners.                                                                                                             that saw their mid-20th century population
                                                                                                                                                                                               loss slow, stop and reverse course.
                                              Urban Population Rebound:                                                                                                                          By the same token, of the 50 cities with
                                              Immigration Is a Characteristic                                                                                                                  the largest populations in 1970, all cities
                                                                                                                                                                                               with low immigration have seen a total
                                              of Growth


                                            M
                                                                                                                                                                                               population decline from their mid-20th
                                                         etropolitan areas—cities plus their                                                                                                   century peak. None of the cities with a
                                                         surrounding suburban counties—                                                                                                        decline in immigrant population saw
                                                         have with rare exception been                                                                                                         their overall population grow or rebound
                                              increasing in population over the course of                                                                                                      between 1970 and 2013. In fact, no cities with
                                              the past half century, albeit at very different                                                                                                  low net growth of 10,000 immigrants or less
                                              rates of growth.                                                                                                                                 saw a population increase or rebound.8
                                                The central cities that lie at the core of                                                                                                       New York may be the most striking
                                              these regions, however, have seen a very                                                                                                         example of population rebound. New York
                                              different pattern. In many cases, cities saw a                                                                                                   City had a relatively stable population of
                                              dramatic decline in population in the 1950s                                                                                                      about eight million in the early post-WWII
                                              as suburbanization took off. These declines                                                                                                      period. That changed in the 1970s when the

                                                                                                                                                                                                       bringing vitality to main street:
                                                                                                                                                                             how immigrant small businesses help local economies grow                                                                                      11

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          population declined precipitously by one                    are an often underappreciated part of the
          million residents. Photographs from that                    story. Indeed, an influx of immigrants and,
          period look similar to photos of abandoned                  by extension, immigrant-owned Main Street
          properties in Detroit today.                                businesses often plays an important role in
            What is rarely recognized is that, although               the revitalization of neighborhoods and cities.
          New York’s population rebounded dramat-                     Immigrants often get a foothold in this coun-
          ically and has today reached a new peak of                  try by opening small businesses in run-down
          over 8 million, the U.S.-born population is                 areas, which also have immigrant residents.
          about the same as it was at the city’s decen-               A Dominican, Kurdish, or African immigrant
          nial census lowpoint of 1980: 5.3 million                   may have a better sense of what their compa-
          (Figure 11). The entire arithmetic differ-                  triots in the area would like to buy in a gro-
          ence between then and now is the increase                   cery or clothing store, or what would entice
          of the immigrant population from 1.7 to 3.1                 them to a restaurant. Often these stores and
          million. Immigrants now account for 37 per-                 restaurants begin to attract others from the
          cent of the city’s population. They—along                   community to that neighborhood, and they
          with people who stuck it out in depopulated
          neighborhoods and a mixture of other new-
          comers—helped revive neighborhood after
          neighborhood, playing an important role in
          making New York the global city it is today.9                      [immigrants]
             New York is not the only example of a
          city where an overall population decline                          helped revive
          was checked and eventually reversed by
          immigration gain. Seventeen of the 50 cities
          with the largest population in 1950 followed
                                                                            neighborhood
          this pattern of decline and then rebound,
          with immigrants playing an important
                                                                                   after
          role and not infrequently making up the
          difference between growth and decline.
                                                                            neighborhood
          Among them are San Francisco, Washington,
          D.C., Boston, Seattle, Kansas City, and
                                                                               [...] making
          Atlanta as well as Philadelphia, Minneapolis–
          St. Paul—cities that will receive detailed
                                                                            new york the
          attention in Part Two of this report.
             For a city, a bigger population is not always
                                                                              global city
          better, but a steeply declining population
          is almost always worse. Cities that are sev-
                                                                               it is today.
          eral hundred thousand people smaller than
          they were at their population peaks wres-
          tle with a fundamental structural prob-
          lem. They have to maintain infrastructure                   eventually break out and begin attracting the
          such as school buildings, roads and water                   general population. Gradually, the neighbor-
          supply on a tax base that is much smaller                   hood becomes more interesting, and with
          than the one it was originally designed                     more “eyes on the street” it starts to feel safer.
          to serve. The result is a seeming para-                     Before long, a vibrant neighborhood takes
          dox: high tax rates and low tax revenues.                   root, and the challenges may be more about
             Population growth certainly has its own                  rising rents than dangerous streets.10
          attendant challenges—from managing                            The lesson of these past 50 years is that
          gentrification and controlling suburban                     cities that expect to grow should also expect
          sprawl to ensuring a strong floor in the                    a growing immigrant population and would
          labor market. But, as leaders in any city with              do well to help make sure that immigrants
          a declining population will acknowledge,                    who come to an area will thrive. There
          these are challenges you want to have.                      are many ways that cities can welcome
             Main Street businesses are only one mod-                 immigrants, but supporting immigrant
          est aspect of population rebound, but they                  entrepreneurship is one good place to start.


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                      Part I: Immigrants and Small Business Ownership

    Figure 10.
    Immigrants Are Less Likely to Get Bank Loans
    and More Likely to Rely on Savings
    FPI analysis of SBO 2007.

    Main Street Businesses                                                               family loan

                      7%                                8%                               bank loan

                                                                                         credit card
               19%
                                                                                         savings
                                                 28%
               12%           68%                                   62%
                                                   11%


                   Immigrant-Owned                  U.S. Born-Owned

    All Privately Owned Businesses

                       5%                                  5%


                16%                               21%
               12%
                             69%                  11%               65%



                   Immigrant-Owned                  U.S. Born-Owned




    Figure 11.
    New York City Population Drop and Rebound, 1950 to 2013
    FPI analysis of Census and ACS data.

               9

               8

               7                                                                                          37%
                     24%       20%           18%                                          26%
               6                                            24%            28%
    Millions




               5                                                                                                      Foreign Born

               4                                                                                                      U.S. Born

               3

               2

               1

               0
                      1950       1960         1970           1980            1990          2000               2013
    Source: FPI analysis of Census historical data, ACS and the State of the Cities data system of the U.S.
    Department of Housing and Urban Development.



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          Part 2: Lessons from the Field:
          Philadelphia, Minneapolis–St.




        T
          Paul and Nashville
                          o get a clearer picture of the             the equation. This is not necessarily to say
                          role immigrants are playing                that if immigrants hadn’t come no one else
                          at the local level as well as              would have, but it is clear that for a time
                          the ways that role can be                  immigrants in these cities offset a decline in
                          supported and boosted to                   the U.S.-born population.
                          enhance growth further,                      In all three places immigrants have
                          we looked at three places:                 also played a big part in business growth.
          Philadelphia, Minneapolis–St. Paul, and                    Between 2000 and 2013, immigrants
          Nashville—one in the Northeast, one in the                 represented 18 percent of overall growth
          Midwest and one in the South.                              in the number of small business owners in
            These three areas are all in the middle                  Philadelphia, 16 percent in Minneapolis–St.
          range of the country’s experience with                     Paul and 32 percent in Nashville. In all three
          immigration. Nationally, the immigrant                     metro areas immigrants represented an
          share of the population is 13 percent. Only                even bigger share of growth in Main Street
          the city of St. Paul, with an immigrant share              business owners: 96 percent in Philadelphia,
          of 19 percent, has a substantially higher                  68 percent in Minneapolis–St. Paul and all of
          share than that—in Philadelphia it is 13                   the growth in Nashville.
          percent, in Minneapolis 16 percent and in                    Some commonalities emerge. In each
          Nashville 12 percent.                                      area there is a level of government
            All three metropolitan areas have seen                   support and messaging that signals that
          fast growth in immigration over the past                   immigrants are welcome. In Philadelphia
          two decades. In 1990, all were well below                  and Nashville in particular, the current
          the national average in immigrant share of                 mayors have been strong advocates
          population. In the Brooking Institution’s                  for immigrants, and both established
          categorization of immigrant gateways,                      mayor’s offices to address immigrant and
          Philadelphia and Minneapolis–St. Paul                      multicultural issues. There is also a strong
          are “re-emerging gateways,” places with a                  network of nonprofit groups supporting
          history of substantial immigration in the                  immigrant small business development.
          early 20th century that have only recently                   These three places—Philadelphia,
          regained that role. Nashville is a “pre-                   Minneapolis–St. Paul and Nashville—
          emerging gateway,” an area with little                     were chosen because the support systems
          immigration in the past century, but with                  in place for immigrant business owners
          an immigrant population that grew very                     provide good case studies of how to
          quickly in recent years.11                                 foster growth. That is not to say that the
            In Minneapolis–St. Paul and Nashville,                   infrastructure is fully developed or that
          refugee resettlement played a significant                  settlement is easy for immigrants. But,
          role in seeding the immigrant communities                  what follows are examples of how, when
          that grew around them. Secondary                           supported properly, immigrant small
          migration also played a role—immigrants                    businesses—and particularly Main Street
          who first settled in other parts of the U.S. but           businesses—can play a significant role
          then moved, often to join others from their                in neighborhood-level development.
          country or ethnic group who had gained a                   The ways that these cities support their
          footing in the local economy. Refugees have                immigrant population offer important best
          also been a part of the story in Philadelphia.             practices that can be replicated in cities
            The populations of all four cities would be              that are considering how to leverage the
          falling if immigration were removed from                   contributions of their immigrant population.




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    Street scene in
    Philadelphia's
    9th Street
    Italian Market.



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          Philadelphia                                                  In Philadelphia, where a number of
          Economic Integration                                       immigrants are in comparatively well-
                                                                     paying jobs, the median earnings for
          Strategy: Revitalizing the                                 immigrants overall are $42,000—higher



          W
          Commercial Corridors                                       than the corresponding national median
                      hen the newly elected Mayor of                 for immigrants of $35,000 cited above.
                      Philadelphia, Michael Nutter,                  On the other hand, median earnings for
                      promised in his 2008 inaugural                 immigrant Main Street business owners
          address to increase the population of the                  are about the same in Philadelphia ($36,000)
          city, more than a few observers raised their               as around the country ($37,000). Here as
          eyebrows. Philadelphia’s population reached                elsewhere, Main Street businesses are small
          a peak in 1950 and had fallen ever since—                  businesses with narrow profit margins, so it
          most dramatically in the 1970s, but with                   is not surprising that the earnings of Main
          significant declines continuing through the                Street business owners are not very high.
          2000 Census. Hoping for a rebound seemed                   At the same time, they are a good starting
          optimistic, to say the least.                              point for entrepreneurs, and a real help to
            But, a little-noticed change had begun to                neighborhood development. The annual
          take place in the 1990s that made the mayor’s              earnings of Main Street business owners in
          prediction realistic: for the first time since             metro Philadelphia are $1 billion, of which
          the early 20th century, Philadelphia was                   immigrant Main Street business owners
          seeing an increase in immigration. By 2000,                earn $295 million. This money, like the
          there were 32,000 more immigrants living                   wages paid to employees, expands the local
          in the city than a decade earlier. This influx             consumer base. And, particularly where
          was not enough to stop the overall decline                 storefronts had previously gone unused,
          in population on its own, but it did temper                these small businesses help build the local
          the loss. In the 2000s, the decline in U.S.-               tax base (Figure 14).
          born population slowed and the increase in                    Our analysis does not allow us to get a
          immigration picked up. By 2013, the city’s                 statistically significant breakdown of the
          total population had grown by a modest                     country of birth of Main Street business
          36,000 over its 2000 level, with an increase               owners in metro Philadelphia. But, we can
          of 60,000 immigrants offsetting a decline of               see that of the 13,000 immigrant business
          24,000 U.S.-born residents. This increase in               owners overall in metro Philadelphia, 1,800
          total population, though small, was a new                  were born in India—the largest single
          phenomenon for the city (Figure 12).                       country of birth for immigrant business
                                                                     owners. Metro Philadelphia’s next biggest
          Immigrants and Main Street Business                        group of immigrant business owners come
          As the growing immigrant population                        from Korea, followed by Greece, China,
          began to occupy residential neighborhoods,                 Vietnam, Ukraine, Italy, Pakistan, Mexico,
          immigrant small businesses started to                      and Iran.
          fill the city’s commercial corridors. In
          1990, immigrants made up five percent of                   Revitalizing Philadelphia’s
          the population, five percent of the labor                  Commercial Corridors
          force and eight percent of small business                  Immigrants’ strong representation as
          owners in the Philadelphia metro area. By                  independent business owners—and
          2013, FPI’s data analysis of ACS data shows                their equally strong contribution to
          that immigrants made up 10 percent of the                  neighborhood-level economic growth—is
          population, 12 percent of the labor force and              perhaps nowhere more visible than in the
          14 percent of business owners (Figure 13).                 9th Street Italian Market. Jennifer Rodriguez,
             And, in Philadelphia, as at the national                Executive Director of the Mayor’s Office
          level, immigrant business owners are highly                of Immigrant and Multicultural Affairs
          concentrated in “Main Street” businesses.                  (MOIMA), explains that immigration has
          Immigrants make up 28 percent of the area’s                played a major role in revitalizing the
          Main Street business owners, including 23                  market. “Ten years ago, the Italian Market
          percent of retail store owners and 34 percent              was in decline,” she recalls. In the 1980s
          of restaurant owners.                                      and 1990s, Italian and Irish shopkeepers


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                                                              Part 2: Lessons from the Field

            Figure 12.
            Philadelphia Population 1900 to 2013: Growth, Decline and Rebound
            FPI analysis of Census data from decennial Census and ACS. In 2013, immigrants
            made up 13 percent of the population of the city of Philadelphia, the same share as
            in the United States overall.

2,500,000                                                                                                       Foreign Born

                                                                                                                U.S. Born


2,000,000




1,500,000




1,000,000




 500,000




       0
              1900        1910     1920    1930      1940    1950      1960      1970      1980       1990      2000         2013




            Figure 13.                                                 tortilla shops, bakeries, restaurants that
            Immigrants Make Up 28 Percent of                           have sprung up and filled in the area.”
            Main Street Business Owners                                   The 9th Street Italian Market is one of
            Philadelphia Metropolitan Area                             265 commercial corridors identified by the
            FPI analysis of ACS 2013 5-year data.
                                                                       City Planning Commission. Reviving and
                                                                       expanding these corridors is an integral part
                                                        28%            of the city’s economic development plans.
                                                                          While the revitalization of the 9th Street
                                                                       Italian Market took place somewhat
                                                                       organically with the increase of the
                                                                       immigrant population, in recognizing the
                                           14%                         success of this model, a more concerted
                                 12%                                   effort to spur similar development is
               10%
                                                                       underway on the 5th Street corridor, which
                                                                       has become known as El Centro de Oro.
                                                                          In the 1950s and 1960s, 5th Street was
              Share of       Share of     Share of     Share of
             Population       Labor       Business    Main Street
                                                                       bustling with businesses owned mostly by
                              Force       Owners       Business        German immigrants and their descendants,
                                                       Owners          as well as some Italian, Polish and Irish,
                                                                       according to Gilberto Alfaro, Jr., the city
                                                                       appointed Business District Manager for the
                                                                       Centro de Oro corridor today. In the wake
             were retiring, and the stores started to                  of the area’s decline in the 1970s and 1980s,
             close. Since that time, Rodriguez notes,                  it has been repopulated by mostly Latino
            “Mexicans, then Vietnamese, Cambodian,                     immigrants—at first mostly by Puerto
             Indonesian, [and] lately Bhutanese                        Ricans, and later by Dominicans. Today it is
             immigrants have been starting businesses,                 home to a varied mix that includes Mexicans,
             and you see a new mix of barber shops,                    Guatemalans, Hondurans, Chileans,

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          Figure 14.
          Immigrant Business Owners’ Contribution to the Economy
          Philadelphia Metropolitan Area
          FPI analysis of Census, ACS 2013 5-year data. Median earnings
          are for people who worked full-time and year-round.

           Role of Immigrants as Small Business Owners (in millions)
                                               Total Earnings of Business Owners         $8,716
                                      Earnings of Foreign-Born Business Owners           $1,027
                                  Total Earnings of Main Street Business Owners          $1,065
                          Earnings of Foreign-Born Main Street Business Owners            $295
           Foriegn Born
                                      Median Earnings in the Civilian Labor Force      $42,000
                                             Median Earnings of Business Owners        $51,000
                               Median Earnings of Main Street Business Owners          $36,000
           U.S. Born
                                      Median Earnings in the Civilian Labor Force      $52,000
                                             Median Earnings of Business Owners        $69,000
                               Median Earnings of Main Street Business Owners          $47,000




          Venezuelans, and other immigrant groups.                    to services and opportunities that exist
             In the 1970s, Taller Puertoriqueño was                   than it is about bringing new resources to
          founded as a cultural center that helped                    the table. Once in a while, however, HACE
          anchor the neighborhood. A number of                        serves as an organizational node for the
          groups came together to try to combat                       district to come together to lift its profile or
          the proliferation of drugs, gangs and                       make improvements—for example, a largely
          other problems. Following this, in 1982,                    successful effort to create a “feel” for the
          the Hispanic Association of Contractors                     district by installing a wavy golden strip
          & Enterprises (HACE) formed to help                         in the sidewalk linking the neighborhood
          counter the decline of the area and to                      stores, and creating coordinated signage
          foster neighborhood growth. In addition to                  related to El Centro de Oro’s golden theme.
          several services, including constructing and
          rehabilitating homes and offering guidance                  Helping Immigrant and U.S.-Born
          to neighborhood residents on purchasing                     Business Owners While Easing
          or renting homes, HACE focuses on the                       Racial Tensions
          commercial revitalization of the corridor.                  Like so many other American cities,
             Today, the city has designated HACE as                   before the recent influx of immigrants,
          the official Business District Manager of                   Philadelphia was largely divided into
          the Centro de Oro commercial corridor—a                     African American and white sections.12 As
          task Alfaro carries out with funding from                   immigrant businesses began springing up
          the city as well as other funds raised by                   in districts that were previously primarily
          HACE. “My job is to help anyone who                         white or black, tensions and complex racial
          comes in our doors,” Alfaro says. He                        dynamics between the newcomers and
          helps individual businesses—or groups                       the existing residents and shop owners
          of businesses—form partnerships with                        often followed. Newcomers brought
          the police department, understand zoning                    new foot traffic to the corridors, but they
          regulations, find a small-business loan, and                also competed with the existing stores.
          other small-scale, day-to-day needs. “A lot                 Immigrants refreshed the mix of goods and
          of it is being the bridge,” Alfaro points out.              services available, but they also changed the
          It’s more about helping people get access                   look and feel of the old neighborhoods.


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      Figure 15.
      52nd Street Merchants
      Welcoming Center for New Pennsylvanians’ own data collection, 2009.

      52nd Street merchants

        4%                               african american
      4%   6%
                                         east asian

        6%              31%              african

        9%                               caribbean

                                         latino
                40%                      white

                                         south asian

      52nd Street businesses
                                         beauty & daycare services
           3%3%
         3%                              food services & drinking establishments

         5%                              provide general merchandise
        7%             26%
                                         professional services

                                         health care & social assistance
                         19%             finance & insurance

                 11%                     health & personal care

                                         real state & leasing




      The area frequently called West                       the Philadelphia Vendors Association,
    Philadelphia’s Main Street—52nd Street—                 and a number of other stakeholders.
    offers an interesting case study of how                   The Welcoming Center for New
    various groups are addressing these                     Pennsylvanians, a nonprofit group founded
    tensions. Like other corridors, the area                in 2003, has been closely involved in the
    was hit hard by decline in the 1970s                    efforts on 52nd Street since 2007. The
    and 1980s. By the 1980s, the area had                   Welcoming Center has roughly 25 full-
    become a primarily African American                     time staff members who provide a range
    neighborhood. The influx of immigrants                  of services to immigrants and U.S.-
    in recent decades has helped to revive                  born residents, including help finding
    businesses in the district but has also                 employment, English language programs,
    created new tensions—not only between                   and classes in how to start or expand a
    new businesses and African Americans                    small business. The Welcoming Center’s
    in the community, but also between store                annual budget of about $1.6 million comes
    owners and the growing number of street                 from government contracts for workforce
    vendors. (See Figure 15 for a racial and                development and education, private
    ethnic profile of 52nd Street businesses.)              foundations, and some corporate and
       Revitalization of the area has involved              individual donors.
    cross-sector efforts of the city government               Recognizing the tensions in the area,
    (including some funding from state                      which could at times be intense, the
    and federal sources), the Enterprise                    Welcoming Center set out to ensure that
    Center Community Development                            the interests of longtime residents were
    Corporation, the 52nd Street Business                   addressed as part of the “two-way street”
    Association, the Philadelphia Local                     of immigrant integration.
    Initiatives Support Corporation (LISC),                   This strategy, coupled with the

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          center’s reputation as an “honest broker,”
          contributed to several successes in the
          effort to bring both the area’s immigrant
          and receiving communities closer together.
          For example, the Welcoming Center was
          instrumental in aiding the area’s existing
          business association’s successful outreach—
          after many frustrated attempts—to the
          corridor’s immigrant business owners.
          The Welcoming Center also played a
          role, together with many other partners,
          in helping to establish a Community
          Development Corporation to receive city
          funds and house a corridor manager.
            The services the Welcoming Center offers,
          such as workshops for small business                       Immigrant businesses have diversified and revitalized a
                                                                     section of the 9th Street Market that had fallen into disuse.
          owners and those who aspire to launch
          a business, serve the entire community.
          While started with the intention of helping                however, he has been able to ease the way
          immigrants, it became clear that the need                  around difficult issues such as the removal
          for this kind of education was community-                  of a street-long awning, or ongoing issues
          wide. The curriculum developed to help                     around how to accommodate both street
          small-scale, often first-time entrepreneurs                vendors and shopkeepers.
          get started—which covers everything from                     Recognizing the time it has taken
          drawing up a business plan to navigating                   Nyamunga to develop relationships and
          city regulations—is accessible to everyone.                encourage the many small steps that
          Today, the Welcoming Center reports that                   can add up to neighborhood change
          roughly 70 percent of the people served by                 might lead to questions about how this
          the small business team are immigrants and                 type of initiative can be expanded city-
          30 percent are U.S. born.                                  wide. The Welcoming Center works in
                                                                     a handful of commercial corridors, and
          Direct Engagement with                                     additional groups work in others. The
          the Community                                              modest investment the Welcoming Center
          As a business association and a vendor’s                   has made in hiring Nyamunga to engage
           association were established, the Welcoming               directly with the community seems to be
           Center hired Herman Nyamunga, a                           paying off. But really bringing it to scale—
           Kenyan immigrant with an MBA from                         in Philadelphia or elsewhere—requires a
           Eastern University, to help business                      big step up in both staffing and resources.
           owners along the 52nd Street Corridor—                     “The work is very labor intensive,”
           immigrants and non-immigrants                             acknowledges Amanda Bergson-Shilcock,
           alike. Nyamunga lets business owners                      vice president for policy and evaluation for
           know about government assistance                          the Welcoming Center, noting for example
           for businesses, helps them navigate                       that it often takes three visits before busi-
           regulations, connects them with good                      ness owners will tell Welcoming Center staff
           professional service providers and sources                whether they have paid employees. “Many
           of financing, and mentors them based in                   people have admired the success of this pro-
           part on his own business experience.                      gram and said that’s great, what’s the short-
             Nyamung’s job is to help businesses,                    cut? There isn’t one. You can’t sit behind your
           but it is also to build trust. “There is a                desk and send out emails and expect that it
           lot of mistrust among the players here,”                  will magically result in economic growth.”
           Nyamunga explains, and that has stood in
           the way of coming up with compromises                     Financing Immigrant Businesses
           that would help move the area forward.                    Access to financial services is crucial for
          “Gaining their trust has not been easy.” Since             small business development. National data
           Nyamunga has been working on 52nd Street,                 presented in Part One of this report show


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    that immigrants are somewhat less likely                    ago,” FINANTA’s founder and president, Luis
    than U.S.-born business owners to get a                     Mora, explains. Today, the group works city-
    bank loan as a source of start-up capital, and              wide with a budget of $1.5 million and staff
    more likely to rely on other sources such                   of 15. It has made 235 loans to businesses in
    as savings, family loans or credit cards.                   its target areas, many of them run by Latinos.
    Relying on these sources, however, might                       FINANTA looks for the same qualities in
    mean waiting longer to start a business than                a borrower as traditional banks—character,
    someone who can get a bank loan. And,                       capacity, capital, credit, and collateral. But,
    borrowing on a credit card—or, indeed,                      as a mission-driven nonprofit, it works
    from a bank that charges usurious interest                  harder to understand how these “5 Cs”
    rates—can be a high cost to businesses.                     apply—sometimes in non-traditional ways—
       Consequently, Community Development                      in low-income communities, communities of
    Financial Institutions (CDFIs) have an                      color and immigrant communities.
    important role to play in small business                      This can include reaching out to lending
    development in general, and in immigrant                    circles—a way communities can pool
    small business development in particular.                   money together to invest in a business or
    In Philadelphia, there are several nonprofit                buy a home. Called tandas or cundinas in
    Community Development Financial                             Latin America, susu in West Africa and the
    Institutions that help fill this need. FINANTA,             Caribbean, and hui in China, lending circles
    a leading CDFI in the region, provides loans                have a similar basic structure—people who
    at below-market rates, often linked with
    business services such as assistance with
    credit building, accounting, legal issues,
    filing taxes, or creating a business plan.
    Furthermore, its staff is fully bilingual in
    Spanish and English. The group started by
    providing services in the Lower Kensington
    neighborhood—“Girard Street used to be
    the south boundary; banks didn’t use to
    make loans north of Girard eighteen years




                                Above: Gilberto Alfaro, Jr.,
                         business district manager for the
                            Centro de Oro. Right: A golden
                          ribbon on the sidewalk creates a
                            unifying design for the district.



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          know and trust each other put their funds                  lending to a population that no one
          together and take turns using the capital                  lends to,” Mora explains. As a nonprofit,
          for a big expense. The first payment from                  FINANTA operates in a margin that requires
          the members stays with the manager of the                  profitability, or at least precludes losses
          circle to pay for the work he or she does, and             that are bigger than the contributions it
          also to help cover costs in case one of the                gets. But, it does not have to maximize
          members defaults.                                          profitability. If FINANTA takes too much
             Several problems stem from the fact that                risk, it will soon have to close its doors, but
          lending circles generally deal in cash. There              it can take on risks on a different basis
          are risks in simply having so much cash                    than a commercial bank: focus on smaller
          on hand. And, these transactions are not                   loans, evaluate creditworthiness in a more
          reported to the credit bureaus, so they do                 time-consuming way and make sure it has
          not help members build a credit history.                   bilingual staff, for example, so that people
          When FINANTA first offered to manage the                   who present sound business opportunities
          lending circles of some of these groups—                   don’t get overlooked because they don’t
          collecting the money and dispersing it in                  fit the traditional mold of borrowers.
          exactly the way the group did, but with the
          added benefit that transactions would be                   The Role of City Government:
          registered with the major credit agencies                  Setting the Tone
          and that members could take out loans and                  In 2013, Philadelphia established the Mayor’s
          make their payments without having large                   Office of Immigrant and Multicultural
          sums of cash on hand—it also proposed a                    Affairs (MOIMA), which is currently headed
          Plan B. Instead of waiting their turn to get               by Jennifer Rodriguez.
          the money, members could all borrow as of                    MOIMA is not very big. It has a staff
          the first month and then pay the money back                of three and has about a $500 thousand
          the same way they would have otherwise.                    annual budget to provide translation and
          This plan makes the lending circle effectively             interpretation services. But MOIMA tries
          the same as a regular bank loan, with the                  to set a tone for the city’s relationship to
          exception that the risk is shared among a                  immigrant communities and works as a
          group of people who trust each other.                      kind of internal consultant to city agencies
             To date, every single lending circle has                to help them better reach out to and serve
          chosen the Plan B, Mora reports. “People use               those communities.
          the loans to buy inventory; they use it to pay               Rodriguez stresses the importance of
          for a city permit, or to pay their taxes—it is             cultural competency across the board
          a big help to a lot of businesses.” And, doing             for city agencies as a way of engaging
          it through a formal rather than an informal                immigrants, and also as a way of being more
          system “helps them to see their credit as an               effective in all of their operations. Cultural
          asset rather than a liability.” As of late 2014,           competency, the notion that institutions
          FINANTA has served 24 affinity groups with                 should learn how to work effectively with
          a total of 448 loans totaling $2.25 million.               people from a wide range of cultural
          The two oldest groups have each gone                       backgrounds, starts of course with language.
          through four cycles of borrowing—starting                  But it is also considerably more than that
          at $1,700 and reaching $15,000 by the fourth               and requires an understanding of different
          cycle—with no losses.                                      cultural norms. For instance, Rodriguez
             So far, the system has been functioning                 explains, “[Department of] Licensing and
          very well, as long as the groups are formed                Inspection staff are taught not to accept any
          before they come to FINANTA. The types                     gifts from customers. But, in many cultures,
          of lending circle that FINANTA has found                   people want to offer something as a thank
          do not work are those that try to group                    you. How do you communicate with them
          strangers together.                                        in a way that is culturally appropriate? You
             But, if these are sound loans—and                       have to learn to say thank you, but no thank
          FINANTA prides itself on being cautious                    you. You want to be clear, without seeming
          to protect its borrowers as well as itself—                to be rejecting them, or making them feel
          why don’t other banks make them? “This                     like they did something wrong.”
          doesn’t make money; it’s risky. We’re                        A focus on cultural competency


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     may be prompted by the need to serve                in the Twin Cities has been shaped by
     multicultural communities, but it often             refugee resettlement. The largest refugee
     winds up achieving an even larger                   communities are East African and
     goal. “In trying to be intentional about            Hmong (an ancestry group that includes
     including immigrants […] you end up                 immigrants from Laos, Vietnam, China,
     really thinking about the process and               and Thailand). There is also a population
     products and programs you’ve developed,”            of non-Hmong refugees from Laos and
     Rodriguez observes. “The barriers that              Vietnam, a significant number of refugees
     immigrants are facing are often the same            from the former Soviet Union, and other
     that residents are facing, but for one reason       refugees from hot spots around the world—
     or another they have not been addressed.”           from Burma to Iraq. Today, Mexicans
      “What I often say,” Rodriguez adds,                make up 15 percent of the immigrant
    “is that what’s good for immigrants is good          population of the Twin Cities metro
     for everyone.“                                      area, followed by Laos (7 percent), India
                                                         (7 percent), Vietnam (5 percent), China
    Minneapolis–St. Paul                                 (5 percent), and Thailand (4 percent).13
    Economic Development
                                                          Immigrants and Main
    Strategy: Real Estate                                 Street Businesses
    as an Incubator that                                  Immigrants in the Minneapolis–St. Paul
    Spurs Revitalization                                  metro area make up 10 percent of the



    T
                                                          population, 11 percent of the labor force, and
           he population trends in the cities             8 percent of business owners. This is one
           of Minneapolis–St. Paul echo                   of the few metro areas where immigrants
           those of Philadelphia, though the              make up a smaller share of business owners
    population decline ended earlier and the              than of the labor force—perhaps because
    rebound has a longer history. But, as in              of the significant refugee portion of the
    Philadelphia, the population rebound                  immigrant population, with people facing
    has been driven by immigrants.                        multiple barriers to starting a business. Yet,
       In Minneapolis, the total population               even here, immigrants are well represented
    was 519,000 in 1950. By 1990, it had fallen           among Main Street business owners,
    to a lowpoint of 368,000—a drop of                    making up 13 percent of all Main Street
    29 percent. From 1990 to 2013, the city               business owners (Figure 17).
    population grew by 32,000 to a total of                 In the Minneapolis–St. Paul metro area,
    400,000. But, the number of immigrants                as in metro Philadelphia, a good number
    grew by 42,000, while the number of                   of immigrants are in higher-paying jobs,
    U.S.-born residents fell by 10,000.                   and the overall median earnings for
      Across the river in St. Paul, the basic story       immigrants here are above the median
    is similar, though the city’s population              for their counterparts nationally—$39,000
    bottomed out a decade earlier and the total           compared to $35,000. The median for
    population decline from 1950 through the              Main Street business owners is the same
    1980 lowpoint was less extreme (a drop                in Minneapolis–St. Paul as at the national
    of 13 percent). The rebound, however, has             level ($37,000). These small, neighborhood-
    been largely the same. Since 1980, St. Paul’s         oriented businesses bring in $547 million
    total population has grown by 25,000, and             overall in the Minneapolis–St. Paul metro
    its immigrant population has grown by                 area, and $50 million of that to immigrant
    42,000, offsetting a decline of 17,000 in the         Main Street business owners. Main Street
    U.S.-born population. In Minneapolis–                 business earnings in turn boost local
    St. Paul, the U.S.-born population is lower           consumer demand and tax revenues,
    today than it was in each city’s respective           particularly in neighborhoods that formerly
    total population trough (Figure 16).                  had empty real estate (Figure 18).
       Mexico is the largest single country of              Looking at country of birth among
    origin for immigrants in Minneapolis–St.              immigrant business owners overall—since,
    Paul today, but to a greater degree than              again, the data do not allow a statistically
    Philadelphia or Nashville, immigration                significant analysis of immigrant

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          Becky George and Earlsworth Baba Letang, who work for the Neighborhood Development Center
          (NDC) as managers of the Midtown Global Market.



          Main Street business owners—in the                           consortium of four nonprofit groups—the
          Minneapolis–St. Paul metro area, there are                   Neighborhood Development Center, the
          5,700 immigrant business owners, with                        Latino Economic Development Center,
          the largest numbers coming from China,                       the African Development Center, and
          Canada, Vietnam, India, and Mexico. In                       the Cultural Wellness Center—that came
          a separate analysis, we considered the                       together to buy part of an enormous
          Hmong community, registered in Census                        abandoned property.
          data as an ancestry rather than a place                         The project started in 2005 around the
          of birth, and found roughly 400 small                        idea of transforming a central part of the
          business owners of Hmong descent,                            Midtown Exchange—formerly a retail and
          almost all of them foreign-born.                             distribution center for Sears Roebuck and
                                                                       Company—into a multicultural market.
          Building on Twin Cities Immigrants’                          The 1.2-million-square-foot property had
          Entrepreneurial Potential                                    been abandoned since 1994, and the site had
          In Philadelphia, nonprofit groups and                        become a dangerous island of urban decay.
          government agencies provide support to                       It was not an area most Twin City residents
          small businesses, reaching out in particular                 wanted to visit, and its presence cast a pall
          to immigrant and minority communities in                     on the surrounding neighborhood along
          a patchwork fashion that is centered around                  Lake Street, one of the most ethnically and
          that city’s historic commercial corridors. In                racially diverse in the city. Ryan Properties,
          contrast, in Minneapolis–St. Paul there are                  a private developer, bought the property
          a number of examples of nonprofit groups                     from the city, and in the end divvied up the
          acting as large-scale developers to help                     space into an area for mixed-income housing,
          restructure the environment in which local                   space for a major health care company
          businesses operate.                                          and the 80,000 square feet that became the
            A prime example of this approach is the                    Midtown Global Market.
          Midtown Global Market, a multi-million                          The nonprofit consortium was able to
          dollar development undertaken by a                           put together the modest amount of money


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    Figure 16.
    Minneapolis–St. Paul Population Rebound 1950 to 2013
    FPI analysis of Census data from decennial Census and ACS. Additional data for St. Paul
    in 1970 and 1980 State of the Cities Data Systems of the U.S. Department of Housing
    and Urban Development. In 2013, immigrants made up 16 percent of the Minneapolis and
    19 percent of the St. Paul population.

    Minneapolis
    600,000
                                                                                                        Foreign Born

    500,000                                                                                             U.S. Born


    400,000

    300,000

    200,000

     100,000

            0
                  1950        1960        1970        1980         1990          2000          2013

    st. paul
    350,000
    300,000
    250,000
    200,000
     150,000
     100,000
     50,000
            0
                  1950        1960        1970        1980         1990         2000           2013




    needed to buy the space—about $200,000.                   Figure 17.
    Raising the $18 million needed to renovate                Immigrants Make Up 13 Percent of
    the space was a much bigger challenge.                    Main Street Business Owners
    About half of the money was pieced together               Minneapolis–St. Paul Metropolitan Area
    from two federal tax credit programs (for                 FPI analysis of ACS 2013 5-year data.

    new markets and historic rehabilitation).
    Another $3 million came in the form of                                                                     13%
    equity equivalent loans, and the rest was                     10%            11%
    accounted for by long list of foundation                                                    8%
    grants and corporate contributions.
      The Neighborhood Development Center
                                                                Share of        Share of      Share of       Share of
    (NDC), which now runs the project together                 Population        Labor        Business      Main Street
    with the Cultural Wellness Center, had                                       Force        Owners         Business
    significant experience with this kind of real-                                                           Owners
    estate-centered development. Established
    in 1993, NDC currently has a staff of 26 and
    an annual budget of $2.5 million. Together
    with an interlocking set of institutional                 incubator spaces. These include Plaza Verde,
    and community partners, NDC has played                    a four-story, 43,000-square-foot building that
    a role in a variety of major real estate                  has a combination of retail, office and arts
    developments that also serve as business                  spaces; Frogtown Square, a series of low-rise

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          Figure 18.
          Immigrant Business Owners’ Contribution to the Economy
          Minneapolis–St. Paul Metropolitan Area
          FPI analysis of Census, ACS 2013 5-year data. Median earnings
          are for people who worked full-time and year-round.

           Role of Immigrants as Small Business Owners (in millions)
                                               Total Earnings of Business Owners       $5,800
                                      Earnings of Foreign-Born Business Owners           $402
                                  Total Earnings of Main Street Business Owners          $547
                          Earnings of Foreign-Born Main Street Business Owners            $50
           Foriegn Born
                                      Median Earnings in the Civilian Labor Force     $39,000
                                             Median Earnings of Business Owners       $51,000
                               Median Earnings of Main Street Business Owners         $37,000
           U.S. Born
                                      Median Earnings in the Civilian Labor Force     $39,000
                                             Median Earnings of Business Owners       $51,000
                               Median Earnings of Main Street Business Owners         $43,000




          buildings that house retail, restaurants and                ongoing support from the NDC’s business
          service businesses as well as housing; and                  services, including classes in the basement
          Mercado Central, a 30,000-square-foot space                 and consulting on specific issues they face.
          run by the Project for Pride in Living, NDC,                The market managers are also very active
          and a cooperative of tenants.                               in suggesting improvements, trying to keep
            The scale of the Midtown Global Market                    things fresh and current-looking.
          is substantial—there are some 40 stores                      “We work with people who don’t have
          and stands of varying size—and it has a                     access to other classes and programs,” says
          feel of commercial vitality that is rare in                 Becky George, cultural events and property
          a nonprofit venture.                                        manager for the Midtown Global Market.
            To get a workable mix of businesses,                      Language is one important reason—“we
          the nonprofit owners set up a leasing                       have classes in Oromo [the language of
          committee, which thought in terms of                        many East African refugees], English,
          three categories, according to Earlsworth                   Spanish, Hmong, Somali, and maybe Farsi.”
          Baba Letang, market manager for the                           The Neighborhood Development Center
          Midtown Global Market. “One was first-                      also has a loan program, providing start-up
          time business owners. This is an incubator                  capital or enabling business owners to invest
          of new businesses. Two was second-location                  in a new refrigerator or a new product idea,
          businesses—places that had been growing                     with an average loan of $16,000.
          in another area. And three was anchor
          tenants, places like Holy Land and Produce                  Financing Immigrant Businesses:
          Exchange,” Letang says, referring to a                      Culturally Competent Credit
          popular Middle Eastern specialty store and                  Cultural competency is deeply ingrained
          a fruit and vegetable market—two of the                     in everything NDC does. It provides
          bigger renters in the space. Some businesses                training classes in the neighborhoods and
          have a long-term lease, others rent month to                in the languages of the communities it
          month, and newcomers who want to test out                   works with. So, when Somali immigrants
          an idea without making a commitment can                     participating in a training class discussed
          rent a “day table.”                                         the challenges of running a business while
             Stores in the market have access to                      maintaining their Muslim beliefs about


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     not paying interest, NDC stepped up to                      working capital, for instance—there has to
     the challenge. NDC hired a Palestinian                      be something to buy and resell.”
     immigrant well versed in finance to help
     develop a loan product that was reba                       The Importance of Being on the
     free—an arrangement where no interest                      Ground: The role of trust
     is charged—as is commonly available                        “We start from the premise that all
     in Middle Eastern countries. Now, there                     low-income communities include
     are others that provide these loans as                      entrepreneurial people,” says Mihailo
     well. Nasibu Sareva, interim executive                     Temali, NDC’s founder and chief executive
     director of the African Development                         officer. “We look for people who have
     Center, another lender that provides reba-                  talent and try to remove the barriers that
     free loans, explains how the process works:                 prevent them from succeeding.” The NDC
    “We buy the asset. We add profit, and sell                   works with placed-based Community
     it to you. You then pay us on a monthly                     Development Corporations—partnerships
     basis. At the end of the day, the result is the             with community-based organizations that
     same,” but clients have not been paying                     can help “bring talented entrepreneurs out
     interest; they have been buying an asset.                   of the woodwork and help us gain their
        NDC won an award for this innovation,                    trust.” NDC runs 20-week training classes
     the first program of its kind tailored to the               in their neighborhoods, in community
     Muslim community in the United States. As                   organizations’ offices, and in multiple
     of 2014, Brian Singer, director of lending for              languages. “We’re in the background,”
     NDC, says more than 100 loans have been                    Temali says of the NDC’s role. “Everything is
     made through this program to about 60 or                    under the auspices of the community group.”
     70 small businesses. Repayment rates are                      There is the “business lab,” which
     generally strong, and some businesses have                  provides a range of business services and
     come back more than once. The program                       consulting to entrepreneurs. And there
     has been highly successful and has attracted                is “the connection of all of this back to the
     attention from around the country. For                      neighborhoods—we want as many of these
     all its success, however, there are also                    people as possible to open businesses in
     limitations. “You can’t finance everything                  their own neighborhoods, and we think
     this way,” Singer notes. “You can’t finance                 the successful small business people




    On the map: A coffeeshop in Midtown Global Market.



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inancial return to the neighborhood by businesses*
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 to subcontractors and cash workers
y taxes



/supplies/materials purchased  in the neighborhood**
                        Figure 19.
                         Alumni of NDC
nd contributions for neighborhood      Business Training in Frogtown Neighborhood
                                    organizations/events**
                               A study by the independent firm Wilder Research, commissioned by the NDC, mapped
                               65 businesses in the Frogtown neighborhood, with an estimated 576 full- and part-time
                               employees (including the business owners). Payroll is estimated at about $5 million, and
to the neighborhood            property taxes paid at $800,000. Wilder Research, 2013.
hey are a role
oung adults
d time, money,
butions to

as a leader for
ns in their

ss serves as a
the neighborhood

businesses
ed in a one mile

 ersity intersection
es surveyed are
 retail, 17%
ng, 7% construction,
ng
                                        30 NDC alumni businesses within a one mile radius
   owners identify                             of the Dale and University intersection.
 , 30% Asian,                         Larger icon on map represents more than one business.
 ucasian, and                      can become important leaders in their                   as the African Development Center or the
no                                 communities.” The Center prides itself on               Latino Economic Development Center) are
                                   its long-term relationships with individuals            having slow, but real, long-term impacts
                                   and with communities.                                   on local areas where crime and abandoned
surveyed businesses.                 There is also the question of financing. “A           properties were serious problems.
                                   certain percent
 financial contributions made by businesses          of people
                                            outside their       who
                                                          immediate   complete the
                                                                    neighborhood.            The effect of this type of work is beginning
                                   classes are ready to start a business, but no           to be felt, even at the city-wide level. The
                                   bank will finance them,” Temali explains.               above-referenced FPI analysis of ACS data
                                  Like Luis Mora of FINANTA, Temali talks                  shows that there are 67,000 business own-
                                   about the 5 Cs of lending, and how his group            ers in the Minneapolis–St. Paul metro area,
                                   can do better than a traditional bank at                5,700 of them immigrants. A 2013 evalua-
                                   assessing risk, allowing them to make loans             tion showed that the NDC alone helped 410
                                  where traditional banks wouldn’t. “One                   entrepreneurs who have businesses that
                                   of the Cs of lending is character,” Temali              were still in operation as of the study date in
                                   explains. “But we have a way of gauging                 2013. Of the 198 who were surveyed, about
                                   character that no bank will ever have: we’ve            half had employees. More than half of the
                                   seen people in our classes for 20 weeks. Did            businesses were in buildings that were for-
                                   they take advice; did they follow through?              merly vacant—a hugely important statis-
                                  And, of course, they have a connection to us,”           tic for neighborhood revitalization. These
                                   making it all the more likely they will go the          are not big businesses, but they are busi-
                                   extra mile to repay the loan.                           nesses that, together, are changing neigh-
                                     The scale is at the level of the block and            borhoods.14 (See Figure 19 for the density
                                   the neighborhood. The Center and its                    of businesses that received NDC train-
                                  partners and parallel organizations (such                ing in the Frogtown neighborhood.)


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                                              Part 2: Lessons from the Field

    Nashville–                                         median for immigrants of $35,000—with
    Davidson County                                    many immigrants working in lower-
                                                       wage occupations. Yet, immigrant Main
    Economic Integration                               Street business owners still earn about the
    Strategy: Welcome, Connect,                        same in Nashville as nationally and in the
    Incubate, Repeat                                   other metro areas—$36,000 (equivalent



    I
                                                       to metro Philadelphia, just one thousand
        n terms of its demographic trends,             dollars less than the national median
        Nashville stands in contrast to                and the median in the Twin Cities). The
        Philadelphia and the Twin Cities in two        aggregate earnings of immigrant Main
    important ways.                                    Street business owners is $52 million, out
      First, the immigrant population                  of a total of $220 million to Main Street
    in Nashville has been growing at an                business owners overall (Figure 22).
    exceptionally fast pace. Although Nashville          Countries of birth for immigrant
    today has an immigrant share that is               business owners in general in Nashville
    the same as the nation as a whole, it has          (not just Main Street business owners)
    experienced some of the fastest rates of           include India, Mexico, Korea, El Salvador,
    growth in the nation. Immigrants made              and Canada. East African, Kurdish, and
    up just two percent of the population as           Hmong refugees also make up notable
    recently as 1990, growing quickly to 7 and         fraction of immigrant business owners.
    then 12 percent in 2000 and 2013. As a result,     Of immigrant business owners in the
    the change seems dramatic: many people             Nashville metro area, 21 percent are from
    living in Nashville today can remember a           India, and 9 percent are from Mexico, El
    time when there were few immigrants in the         Salvador, Guatemala, Panama or Colombia,
    city, and now the percentage of immigrants         though it is difficult to give statistically
    matches the national average.                      reliable data with this level of detail in a
      And, second, the Nashville metro area did        metro area that is considerably smaller than
    not see a mid-twentieth-century population         Philadelphia or Minneapolis-St. Paul.16
    decline. Comparable data for Nashville–
    Davidson are not available for 1950 and 1960       Putting Out the Welcoming Mat
    since the consolidated government was              In any conversation about immigration in
    created in 1963. But from 1970 until today,        Nashville, one of the first things to come up
    both U.S.-born and immigrant populations           is the 2009 referendum on an amendment
    have been growing. Looking at Davidson             to the charter of the metro government that
    County as a whole allows for an apples-            would have prohibited government officials
    to-apples comparison back to 1950. Unlike          from using any language other than English
    in Philadelphia, Minneapolis or St. Paul,          in their work. The amendment failed, 43
    the trend has been continuous population           percent to 57 percent. But the very fact that it
    growth (Figure 20).                                was proposed and stood a chance of passing
                                                       galvanized and brought together a range
    Immigrants and Main                                of actors: business, labor, religious, and
    Street Businesses                                  immigrant leaders, as well as community
    In the larger Nashville metro area,15              leaders in general.
    immigrants make up 8 percent of the                   Garrett Harper, research director for
    population, 9 percent of the labor force,          the Nashville Area Chamber of Com-
    and 9 percent of business owners. But              merce, stresses the potential economic dam-
    immigrants make up a whopping 29 percent           age the English-Only initiative could have
    of Main Street business owners— a vastly           caused. “There was a high level of concern
    disproportionate role (Figure 21).                 in the chamber and among business lead-
      Immigrant Main Street business owners            ers,” Harper says. Looking back at what
    in Nashville are also doing considerably           happened in Arizona, where business lead-
    better economically than immigrants in the         ers deeply regretted not having been more
    labor force overall. In the Nashville metro        engaged in the effort to prevent passage of
    area, the median earnings for immigrants           SB1070, that state’s “show me your papers”
    overall are $30,000—well below the national        law,17 Harper notes: “Nashville has some

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          Figure 20.
          Nashville–Davidson County Population, 1950 to 2012
          FPI analysis of Census data from decennial Census and ACS. The Nashville–Davidson
          Metropolitan Government was formed in 1963, so comparable data for 1950 and 1960
          are not available. County data from the Nashville Area Metropolitan Planning Organization.
          In 2013, the immigrant share of the Nashville–Davidson population was 14 percent.
           700,000

           600,000                                                                                         Foreign Born

                                                                                                           U.S. Born
           500,000

           400,000

           300,000

           200,000

           100,000

                  0
                        1950         1960         1970         1980          1990   2000         2013

           daviDson county
           700,000

           600,000

           500,000

           400,000

           300,000

           200,000

           100,000

                  0
                        1950         1960         1970        1980           1990   2000         2013




          Figure 21.                                                  history of doing the right thing for the city,
          Immigrants Make Up 13 Percent of                            not having a knee-jerk reaction to issues.”
          Main Street Business Owners                                   Growth in the economy and growth in
          Nashville Metropolitan Area                                 immigration are clearly compatible, Harper
          FPI analysis of ACS 2013 5-year data.                       points out, making the English-Only pro-
                                                                      posal seem out of step with economic reality.
                                                         29%          Stephanie Teatro, interim co-director of the
                                                                      Tennessee Immigrant and Refugee Rights
                                                                      Coalition (TIRRC), a group that played a key
                                                                      role in the opposition, also stresses the role
                                                                      of groups like the chamber. “The business
                                                                      sector really threw down and committed
                           9%            9%                           themselves to stopping this bill,” she reports.
              8%                                                        Howard Gentry, as criminal court clerk,
                                                                      the African American with the highest
                                                                      elected position in metro government who
            Share of      Share of     Share of      Share of
           Population      Labor       Business     Main Street
                                                                      narrowly missed winning an election for
                           Force       Owners        Business         mayor, argues that the bill was a turning
                                                     Owners           point in Nashville’s social climate. “We


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     actually embarrassed ourselves,” Gentry
     says. “Everyone was like: What? Where
     did that come from? […] That absolutely
     was a good thing. The aftermath is that
     now we have an army of people who voice
     up anytime something like this occurs.
     Some will say: there’s still a lot of hate and
     discrimination out here. There certainly is.
     I feel it every day.” But, Gentry concludes,
    “This was a forced opportunity for us to
     become better with each other.”
        In September 2014, Nashville established
     the Mayor’s Office of New Americans.
     In many respects, this office is an outgrowth
     of the work to oppose the English-Only
     initiative. Shanna Singh Hughey, the
     director of the new office, said “the Mayor
     was very concerned that passing an
     English-Only law would have put up a
    ‘go away’ sign at the city border.”
        Although it is still in development, this
     office will expand on current city programs,       Stephanie Teatro, interim co-executive director of the
     such as MyCity Academy—which aims to               Tennessee Immigrant and Refugee Rights Coalition,
                                                        with a sign from the 2009 opposition to an English-Only
     help immigrants access and participate in          amendment proposed for Nashville.
     city government—and will rely on its New
    Americans Advisory Council. This council               Today, Conexión Américas has an annual
     represents Nashville’s diverse immigrant            budget of about $1.3 million and a staff of
     communities and has held monthly                    about a dozen people. But when it started
     meetings with the mayor since 2009.                 in the 1990s, José Gonzalez, a co-founder,
        Judging from the reaction of the business        explains, it was just three people. Gonzalez,
     community, being perceived as “anti-immi-           who was a recent transplant to Nashville
     grant” can put a damper on the economy.             himself, witnessed the explosive growth of
     But, can being perceived as welcoming spur          the Latino community.
     growth? Many Nashvillians think so.                   Nashville had some experience integrat-
        Nashville never went through the                 ing refugees—Kurds, Vietnamese, Laotians,
     depopulation of Philadelphia or the Twin            Cambodians, and Bhutanese. But, before
     Cities, so it never saw sections of the city        the 1990s there was not much immigration
     with abandoned stores. Residents will               besides refugee resettlement, and very few
     frequently point to three areas, however,           Latinos in the region.
     where immigrants and refugees have                    The first program Conexión Américas
     concentrated as places that have benefited          started was Negocio Próspero (“successful
     from immigrant Main Street business                 business”), a kind of “Business 101.” It
     growth: Nolensville Road, Murfreesboro              covered the basics: making a business plan,
     Road and Antioch. All three tend to be a bit        accounting, taxes, and so on. “People were
     more run-down, and they are less expensive          coming through our doors who were great
     than many parts of the city. But, today, rather     tradesmen,” Gonzalez says, “but they had
     than declining as older people moved out,           run into a problem. An assessment that they
     they have seen a transformation—what is             hadn’t paid, taxes they hadn’t filed, licensing
     sometimes called an ethnic succession. And          issues, marketing.” It was the basics, but
     they are surely growing more diverse.               Conexión Américas could help. And, they
        Nolensville Road is where visitors will          could offer the services in Spanish, which no
     find Casa Azafrán, an inviting and colorful         one else was doing.
     building that was bought and renovated by             Conexión Américas also addresses the
     Conexión Américas, a group that works to            issues undocumented immigrants often face.
     aid immigrant integration.                          Help in properly filing income tax returns—

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          for immigrants who are undocumented,                        Mark Janbakhsh

          using an Individual Taxpayer Identification                (right), developer
                                                                     of Plaza Mariachi,
          Number (ITIN) rather than a Social Secu-                           and a view
          rity number—is important to establishing                       (above) of the

          your income for bank loans, and for undoc-
                                                                     Plaza while under
                                                                          construction.
          umented immigrants it is an important way
          to show good citizenship in the hopes of
          eventually gaining legal status.
             Being without legal status is a huge
          challenge that cuts through the immigrant                  all fed into a similar virtuous cycle: people
          community in Nashville, as elsewhere.                      who own a home found it easier to start
          Conexión Américas makes a point of helping                 a business; people who paid taxes found
          immigrants, regardless of status, apply                    it was easier to get a loan; and all of the
          for and often get loans to buy a home by                   programming put people on a sounder
          working with local banks and credit unions                 social and financial footing.
          who give W-7 loans, which can be processed                    In its 2014 annual report, Conexión
          using information from tax forms filed with                Américas reports having had 70
          an ITIN.18 Buying a home is not directly                   entrepreneurs go through its Negocio
          a support to businesses, but of course it                  Próspero program, resulting in four new or
          brought many potential entrepreneurs into                  expanded businesses and six new jobs.
          their networks. It is also true that starting or              Renata Soto, co-founder and executive
          expanding a business, particularly getting                 director, describes a project in their
          a loan to do so, is much easier if you have                newly developed space that seems to be
          some collateral.                                           going particularly well: the Mesa Komal
             Negocio Próspero, home ownership                        commercial kitchen. “One of the things we
          services and taxpaying classes all brought                 saw from our students is that many were
          potential entrepreneurs into Conexión                      interested in food-related businesses, but
          Américas’s orbit. And the three programs                   the costs of entry are pretty high,” Soto


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    Figure 22.
    Immigrant Business Owners’ Contribution to the Economy
    Nashville Metropolitan Area
    FPI analysis of ACS 2013 5-year data. Median earnings are restricted to
    people working full-time and year-round.

     Role of Immigrants as Small Business Owners (in millions)
                                        Total Earnings of Business Owners              $2,021
                                Earnings of Foreign-Born Business Owners                  $141
                            Total Earnings of Main Street Business Owners                $220
                    Earnings of Foreign-Born Main Street Business Owners                  $52
     Foreign Born
                               Median Earnings in the Civilian Labor Force          $30,000
                                      Median Earnings of Business Owners            $43,000
                         Median Earnings of Main Street Business Owners             $36,000
     U.S. Born
                               Median Earnings in the Civilian Labor Force          $43,000
                                      Median Earnings of Business Owners            $36,000
                         Median Earnings of Main Street Business Owners             $45,000




    explains. “There’s only so much you can do                A great deal of trading ideas and supporting
    from your house, and it’s very difficult                  each other goes on among these groups,
    to get a home kitchen up to the requirements              spurring new projects and reinforcing
    to pass a health inspection.”                             existing ones.
      When Conexión Américas moved from                         As with all of the major capital projects
    their old space to the new one, they set                  in this report, Casa Azafrán was financed
    up the kitchen so that students from the                  with funds that were pieced together
    Negocio Próspero classes could have an                    from multiple sources, taking advantage
    affordable place to rent. The kitchen, it                 of support from foundations and
    turned out, also attracted a range of hipsters,           individual donors as well as unexpected
    foodies and people in general looking for a               opportunities that came up for funding—
    space to start out. While the construction-               in this case, FEMA support for rebuilding
    related businesses were started by men, the               after Tennessee’s 2010 floods.
    food-related businesses were primarily run                  At a much larger scale is the for-profit
    by women. So far, 14 food entrepreneurs                   development Plaza Mariachi. In some ways
    have launched or expanded their businesses                similar to the Midtown Global Market in
    in the kitchen.                                           St. Paul, Plaza Mariachi is a 60,000-square-
      Like everything at Casa Azafrán, there                  foot indoor space that is meant to feel like
    was also cross-pollination. Mesa Komal                    an outdoor market. The Plaza is being
    doesn’t just provide a kitchen space; it also             developed by Mark Janbakhsh, an Iranian
    provides opportunities for parties that                   immigrant who came to Nashville as a child
    introduced people’s food to new audiences,                and whose wife is Mexican.
    help with marketing and help finding staff.                 The Plaza is expected to open sometime
    Some people just rented the space; others got             in 2015, so it is too soon to judge its success.
    a range of business services support.                     The very planning of it, however, seems to
      Casa Azafrán is itself an economic                      be a testament to the vibrancy of the Latino
    development project, helping to revitalize                neighborhood as it has developed. And, of
    the Nolensville Road area. In addition to                 course, the hope is that the project’s success
    Conexión Américas and Mesa Komal, the                     will also help bring a new level of foot traffic
    building houses several other nonprofits.19               and customers to the area.

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          Conclusion & Best Practices:
          A TOOLKIT FOR SUPPORTING




          I
          IMMIGRANT BUSINESS GROWTH
                     mmigrants are playing an                        becomes clear is that what’s good for
                     important role in the revitalization            immigrants is also good for the rest of the
                     and growth of cities around the                 population. English language ability, trust
                     country. They are a key part of the             in institutions, knowledge of American
                     story of reversing the decline in               systems and processes, and questions of
                     population of a number of cities,               legal status are particularly salient for
                     sometimes despite a continued                   immigrants. But, when immigrants have a
          decline in U.S.-born populations. That’s                   hard time understanding how city forms
          a good thing for cities that have a hard                   should be filled out, or how to negotiate a
          time supporting their infrastructure                       lease, or what exactly health inspectors are
          without an adequate tax base. Immigrant                    looking for, it’s likely there are plenty of
          business owners also play an outsize                       others with the same problem.
          role on Main Street and are often at the                     Immigrants are not magic ingredients
          center of revitalizing business corridors,                 to an economic development strategy, but
          drawing a new consumer base to previously                  they are an asset to the cities they join.
          dilapidated areas, and giving new life and                 When that asset is underutilized, it is a
          character to cities that had previously been               loss to the local economy. Finding ways
          in decline. This was certainly the case in                 to maximize the potential of immigrant
          the three metro areas that were the focus                  small business owners, and to do so in a
          of this report: Philadelphia, Minneapolis–                 way that also creates a positive climate
          St. Paul, and Nashville. In all three,                     for U.S.-born business owners, is an
          immigrants made important contributions                    important project for anyone focused
          to neighborhood-level economic                             on city-based economic development.
          development and overall city growth.                         The initiatives described here are all
            We have also seen that the contributions                 relatively small. Even the biggest pale in
          immigrants make to their cities through                    comparison to major economic development
          Main Street business ownership can                         projects in cities such as building a stadium
          be maximized when local efforts work                       or luring a major company with tax breaks.
          to support them. In Philadelphia and                       The benefit of these programs being small,
          Minneapolis–St. Paul, where immigrants                     while perhaps difficult to bring to a much
          were a driving force in neighborhood-level                 larger scale, is that they are often low-
          revitalization, programs aimed at helping                  hanging fruit. For a very modest investment,
          immigrant business development—and                         a great deal can be achieved that can help
          along the way helping U.S.-born business                   a city’s neighborhoods and its overall
          owners as well—have played a role in easing                economic growth.
          the transition as newcomers arrive, and
          have removed numerous barriers to small                    What can cities and states looking to
          business startups and growth. In Nashville,                maximize the economic benefit of their
          where even low-income neighborhoods                        immigrant communities learn from these
          never declined to the point of having                      three case studies?
          boarded-up storefronts, there has been more
          of a transformation than a revitalization,
          with businesses growing as the population
          grows and changing character as the
                                                                     E   stablish a climate of welcoming.
                                                                         The first rule of welcoming is to do
                                                                     no harm. Business leaders in Nashville
          demographics of an area change. There,                     breathed a collective sigh of relief when
          the overall climate toward immigrants has                  that city’s controversial 2009 “English
          been an important factor, and modest-scale                 Only” referendum did not pass. Indeed,
          supports from nonprofit groups have also                   the coalitions and campaigns welcoming
          been a boost.                                              immigrants became a point of pride
            In all three metro areas, what quickly                   among many Nashvillians, and Mayor


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    Karl Dean has made a point of stressing            that plenty of U.S.-born residents have
    that “embracing [...] diversity only makes         trouble with as well. Proactively supporting
    [Nashville] stronger.”20 Leadership from the       communities that have historically not
    top makes an enormous difference, but so           had a big share of business ownership
    does a well-organized coalition, especially        should be a part of this process.
    one that goes beyond the usual suspects and
    includes the private sector.
                                                      B     e attentive to the challenges
                                                            undocumented immigrants face.

    C    reate a government office to address
         immigrant integration. In Philadelphia
    there is a Mayor’s Office of Multicultural and
                                                       At a time when there are an estimated
                                                       11 million undocumented immigrants
                                                       in the U.S. and any permanent federal
    Immigrant Affairs, and in Nashville a newly        solution seems remote, it makes sense
    created Mayor’s Office of New Americans.           for states and cities to do what they can
    About a dozen other cities and states have         to remove barriers for undocumented
    similar offices. These generally have a staff      immigrants living in their communities.
    of only a few people, but they can serve an        Some are business owners, and with
    important role in bringing together city           help can formalize many aspects of their
    agencies and helping them understand               businesses. And, with President Obama’s
    how to better address an area’s increasingly       recently announced executive action,
    multicultural population, and how to better        many will now have work permits as well,
    serve newcomers to the area. The symbolism         opening the door to further opportunities
    of an official office is also powerful: having     for their own advancement and for
    a representative of the government at a            economic growth in the places they live.
    meeting or issuing a statement on official
    letterhead can have a significant impact.
                                                      T    ake advantage of the valuable services
                                                           refugee resettlement agencies offer.

    P   rovide culturally competent business
        training and services. Opportunities
    to learn about American business practices
                                                       There are federal government resources to
                                                       aid refugees in their resettlement, though
                                                       funds are modest and extremely time-
    can be very valuable for immigrants. How           limited, and these are often supplemented
    to make a business plan, what licensing is         by private or state funds. Workforce
    required, how to do accounting and the like        development is generally a central
    are the basics of Business 101. But, there is      component of what resettlement agencies
    a huge difference when these services can          do; working with them to develop and
    be provided in the language of immigrants,         expand entrepreneurship programs can
    in their neighborhoods, and by people who          be a significant way to expand the base of
    understand their traditions. Helping people        immigrant entrepreneurship.
    to think of what they are already doing as
    businesses (cleaning carpets, providing
    daycare) and to formalize and expand
    those as “real” businesses can also be an
                                                      M       ake financing innovative and
                                                              community-based. Banks with a staff
                                                       that understands the communities they’re
    important benefit of classes.                      working with can often make loans that do
                                                       a lot better than traditional banks. Speaking

    M     ake sure programs are open to all.
          Immigrants are not the only ones
    who may need help in understanding
                                                       the language helps. Knowing the level of
                                                       responsibility potential borrowers showed
                                                       in a training class, as the Neighborhood
    how to navigate licensing procedures or            Development Center does, allows for a
    apply for a bank loan. Finding out where           different kind of evaluation of character,
    immigrants face a barrier in starting a            one of the 5 Cs of lending. And, being
    business often puts a spotlight on areas           creative can help overcome barriers—such

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          as bringing community lending circles into
          the world of formal banking, providing
          the option of reba-free loans to Muslim
                                                                     U    se place-based development strategies
                                                                          to help Main Street businesses
                                                                     build neighborhoods. Immigrant
          borrowers, or helping undocumented                         residents and businesses often cluster in
          immigrants apply for loans using Individual                certain neighborhoods, so placed-based
          Taxpayer Identification Numbers as they                    strategies for business development are
          attempt to adjust their legal status.                      particularly well suited to immigrant
                                                                     entrepreneurs. The commercial corridor

          L   ink financing to training and business
              support. Applying for bank financing
          for a business idea is a great way to identify
                                                                     work in Philadelphia, the Midtown Global
                                                                     Market in St. Paul and the for-profit Plaza
                                                                     Mariachi in Nashville are three very
          where a business plan may still need work.                 different but useful models for development
          What helps less experienced entrepreneurs                  that takes advantage of the geographic
          most is when financing sources can be                      patterns of immigrant business formation.
          linked to business services that help
          improve their business plans.
                                                                     E   xpand the reach of chambers of
                                                                         commerce and trade or interest

          E   stablish some incubators, especially
              commercial kitchens. Just as financing
          can be linked to business services, so can
                                                                     groups. Ethnic chambers of commerce, city
                                                                     chambers of commerce and associations
                                                                     such as a vendors’ association can help
          where you rent a space. Incubators provide                 organize interests in ways that make it easier
          below-market rate places to work, but good                 for businesses to deal with government, to
          ones also provide help with marketing,                     deal with each other, and to increase their
          staffing, accounting, making a business                    own level of business sophistication.
          plan, financing, and other services as
          needed. Commercial kitchens seem to be
          a type of incubator that is in particular
          demand because of the large number of
                                                                     H     elp manage cultural and economic
                                                                           tensions. While immigrant entrepre-
                                                                     neurship is good for a city and a neighbor-
          immigrant-related food businesses and the                  hood, it is important not to turn a blind eye
          challenges of meeting health inspection                    to the problems that can arise. Cultural and
          requirements in a home kitchen.                            economic tensions with businesses, cus-
                                                                     tomers and residents can be based on both

          I  mprove licensing and inspections for
             everyone. A constant refrain among
          people who work in small business
                                                                     real grievances and traditional resistance to
                                                                     change. Both types of tension should be met
                                                                     honestly and taken seriously.
          development is that there is confusion and
          red tape that seems unnecessary around
          licensing and inspection issues. When cities
          have made improvements aimed at making
                                                                     P  ay attention to wages for workers.
                                                                        Many Main Street businesses don’t have
                                                                     many employees or employ only family
          the process clearer to immigrants, it has                  members. But an important part of business
          often also resulted in an improved process                 development is to make sure that businesses
          for everyone.                                              move toward a solid footing in paying
                                                                     decent wages to workers and that they are
                                                                     compliant with wage and hours laws just as
                                                                     they are with health inspections.




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                 how immigrant small businesses help local economies grow



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    Methodology




 T
                   he statistical analysis in this report is based on two
                   sources for data about immigrant business owners: the
                   American Community Survey (ACS) and the Survey of
                   Business Owners (SBO).
                     When using the ACS, our unit of analysis is business
                   owners. Business owners are defined as people who
                   own an incorporated business, and whose main job is
    to run that business. To allow for detailed analysis, we pool the five
    most recent years of data available, from 2009 to 2013, and call it “2013
    5-year data.” The terms “immigrant” and “foreign-born” are used
    interchangeably, and refer to anyone currently living in the United
    States who was born in another country. This includes undocumented
    immigrants, naturalized citizens and refugees, among others.
      In using the SBO, our unit of analysis is businesses. Since many
    businesses have more than one owner, we define immigrant-owned
    businesses as those in which half or more of the owners were born
    in another country. We use the most recent year for which data are
    available, 2007. The SBO has a very large sample, but in using these
    data to look at immigrant business ownership it is important to note
    that there is a high non-response rate to questions about nativity. The
    analysis is based on cases with responses.
      When using the ACS, we define Main Street businesses owners as
    those who own a business in the Retail Trade or the Accommodations
    and Food Services sectors. Also included are a subset of the Other
    Services sector: drycleaning and laundry services, nail salons and
    other personal care services, car washes, beauty salons, and barber
    shops. We call this grouping Neighborhood Services. When using the
    SBO, we define Main Street businesses in the same way, except that all
    “other services” are included because data limitations do not allow us
    to focus just on neighborhood services.
      The author spent several days in each of the three metro areas
    over the course of six months in 2014, making site visits to programs
    that were identified as particularly good examples of work supporting
    immigrant entrepreneurship. In each metro area, he conducted
    interviews with over a dozen people, including government and
    private sector representatives and nonprofit service providers.
    He also spoke to researchers at universities, the Federal Reserve Bank
    and in the private sector. A full list of interviewees is avilable at
    www.fiscalpolicy.org/Acknowledgements.




                                                                         bringing vitality to main street:
                                               how immigrant small businesses help local economies grow      37

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          Endnotes
            1 Immigrants in this analysis include all people                 2000), and Timothy Bates’s Race, Self-Employment and
              born in a foreign country residing in the United               Upward Mobility: An Elusive American Dream (Baltimore:
              States. In Part 2, where possible, the report                  Johns Hopkins University Press, 1997).
              addresses distinctions between undocumented
                                                                          11 The most recent Brookings report with this
              immigrants and those with legal status, and
                                                                             categorization outlined and updated is “The Geography
              between refugees and non-refugee immigrants.
                                                                             of Immigrant Skills: Educational Profiles of Metropolitan
            2 According to a Fiscal Policy Institute analysis of the         Areas,” (Washington, D.C.: Brookings Institution, 2011).
              most recent Census statistics (American Community              An earlier classification categorized Philadelphia as a
              Survey 2013; the five-year data sample is used to give         former gateway, but recent levels of immigration have
              detailed results). Business owners are, in our analysis        shifted it to a re-emerging gateway.
              of this data set, defined as people who own an incorpo-
                                                                          12 In the course of the twentieth century, the city’s
              rated business—not publicly traded corporations—and
                                                                             Quaker, Jewish, Italian, Irish, and German populations
              whose full-time job is to run that business.
                                                                             maintained distinct identities, but also saw themselves
            3 Some reports have shown far more substantial                   clearly—and arguably primarily—as white.
              differentials between immigrant and U.S.-born business
                                                                          13 Cumulative data about refugee arrivals in Minnesota
              starts, although they show about the same differential
                                                                             is available at www.health.state.mn.us/divs/idepc/
              in business ownership. There is some question about
                                                                             refugee/stats/refcumm.pdf. This does not include the
              whether there may or may not be significantly more
                                                                             effects of secondary migration and does not include
              churn among immigrant businesses, but there is
                                                                             deaths since arrival.
              widespread agreement that immigrants are about 10
              to 15 percent more likely to be small business owners.      14 See “Neighborhood Development Center
              For a more detailed discussion of the findings on              Outcomes Evaluation,” (St. Paul: Wilder Research,
              immigrant business ownership, see www.fiscalpolicy.            2013), available on the center’s website at
              org/ImmigrantEntrepreneurs                                     www.ndc-mn.org/sites/default/files/NDC%20
                                                                             Outcomes%20Evaluation%20-%20April%20
            4 The first two sectors are standard definitions in the
                                                                             2013.pdf (accessed September 28, 2014).
              North American Industry Classification System (NAICS).
             “Neighborhood Services” are those types of businesses        15 “Nashville–Davidson,” or just “Nashville,” refers here
              listed above, all of which fall in the NAICS “Other            to the areas that were combined in 1963 to form the
              Services” category.                                            Nashville–Davidson Metro Government. The Nashville
                                                                             metro area refers to the Metropolitan Statistical Area
            5 Main Street is not the only place immigrant business
                                                                             that is used by the Census Bureau to give statistics
              owners are playing a disproportionate role. In health
                                                                             about a central city and its suburbs—effectively, a local
              care and social services, immigrants make up 21 percent
                                                                             labor market.
              of the business owners, including 27 percent of the
              private offices of physicians. In wholesale trade, with     16 Galen Hull, a longtime activist and researcher around
              its connections to both servicing retail and to import-        immigrant small business development in Nashville,
              export, immigrants make up 23 percent of business              developed a profile of Hispanic, East Indian, Somali,
              owners. And, immigrants are playing a big and often            Kurdish, Bhutanese, and Nigerian small business own-
              well-known role in high-tech businesses—as seen,               ers in “Immigrant Entrepreneurs: The Face of the New
              for example, in the manufacturing of computer and              Nashville,” published online in iBusiness, 2010, 2: 1-30.
              peripheral equipment (31 percent), aerospace products
                                                                          17 See David Dyssegaard Kallick, “Arizona Business
              and parts (27 percent), or medical equipment and
                                                                             Leaders: An Anti-Immigrant Reputation Hurts Our
              supplies (26 percent).
                                                                             Economy,” Huffington Post, April 16, 2014.
            6 See the Methodology regarding differences between
                                                                          18 Gonzalez notes that the financial crisis dramatically
              data from the Survey of Business Owners (SBO), which
                                                                             dampened the home ownership program. “Where before
              takes businesses as its unit of analysis and is conducted
                                                                             the crisis we were doing eight to ten a month, now
              only every five years, and the American Community
                                                                             we’ve done maybe ten this year.” One big reason: “the
              Survey (ACS), which takes as its unit of analysis people
                                                                             downpayment requirements have gone from 3 percent
              whose full-time job is running their own business. Where
                                                                             to 35 percent.”
              the SBO is used, Main Street Businesses are defined to
              include all “other services” rather than just some. SBO     19 These include the Tennessee Immigrant and Refugee
              data are from the most recent year available, 2007.            Coalition; the American Center for Outreach,
                                                                             representing Tennessee’s Muslim community; the
            7 Among the first empirical works with chapter-length
                                                                             American Muslim Advisory Council, which works to
              discussions of these factors were A. Portes & R. Bach,
                                                                             create a bridge between Muslim communities and law
              Latin Journey (UC Press 1985) and G. DeFreitas,
                                                                             enforcement and other government agencies; Family
              Inequality At Work: Hispanics in the U.S. Labor Force
                                                                             and Children’s Services, a center for families in crisis;
              (Oxford U. Press, 1991).
                                                                             the Financial Empowerment Center, which helps people
            8 For details see the interactive chart available at www.        open bank accounts, manage bills, deal with debt
              fiscalpolicy.org/50Cities                                      collectors, improve credit, and create a budget; the
                                                                             Global Education Center, which gives classes “from
            9 See, for example, David Dyssegaard Kallick,
                                                                             African drumming to ballet to folkloric dance, and
             “Immigration and Economic Growth in New York City,” in
                                                                             Zumba;” and the nonprofit United Neighborhood Health
              One Out of Three, Nancy Foner, editor (New York: New
                                                                             Services Clinic.
              York University Press, 2013). For an interesting look at
              crime data, see Jacob L. Vigdor, “Immigration and New       20 The contrast to Arizona after it passed the “show me
              York City: The Contributions of Foreign-born Americans         your papers” law, SB1070, is striking: “Six million media
              to New York’s Renaissance, 1975–2013,” (New York:              hits, almost all of them negative,” Denise Resnick, then
              America’s Society, April 2014).                                marketing chair for the Greater Phoenix Economic
                                                                             Development Council, said recently. “What does that
            10 Other studies that have addressed this story of neigh-
                                                                             do to your brand as a welcoming, diverse state?” (See
               borhood growth include: Sharon Zukin’s Naked City: The
                                                                             David Dyssegaard Kallick, “Arizona Business Leaders:
               Death and Life of Authentic Urban Places (New York:
                                                                             An Anti-Immigrant Reputation Hurts Our Economy,”
               Oxford University Press, 2010), Ivan Light and Steven
                                                                             Huffington Post, April 16, 2014.)
               Gold’s Ethnic Economies (San Diego: Academic Press,




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                                                                                                                                                                    "There has been ample opportunity for Congress to pass a bipartisan immigration bill
                                                                                                                                                                    that would strengthen our borders, improve the legal immigration system, lift millions of
                                                                                                                                                                    people out of the shadows so they are paying taxes and getting right by the law .... I
                                                                                                                                                                    indicated to Speaker Boehner several months ago that if, in fact, Congress failed to act,
                                                                                                                                                                    I would use all the lawful authority that I possess to try to make the system work better.
                                                                                                                                                                    And that’s going to happen." President Barack Obama, Burma, November 13, 2014




                                                                                                                                                            From the Shadows to the Mainstream:
              Estimating the Economic Impact of Presidential Administrative Action and
                                Comprehensive Immigration Reform


                                                                                                                                                                             Dr. Raul Hinojosa-Ojeda
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                                                                                                                                                                                                                                         With

                                                                                                                                     Maksim Wynn
                                                                                                            Analyst at the North American Integration and Development Center



                                                                                                                                                                                                                                   November 21, 2014



1. Introduction and Executive Summary

President Obama and the Congress stand at a historic crossroad that could significantly change
decades of undocumented status for millions of immigrant workers, while also providing
significant increases in output, employment, earnings and taxes, benefiting the U.S. economy as
a whole.1 Acting within his legal and constitutional authority, President Obama can act to
broaden the scope of temporary beneficiaries through expanding programs such as DACA
(Deferred Action for Childhood Arrivals) instituted in 2012 and renewed in 2014. Such
Presidential action would not impede Congress from voting on more permanent and
comprehensive immigration reform (CIR) legislation, which in fact would generate an even
greater positive impact for the U.S. economy.

In anticipation of such momentous actions, it is important that policy makers and the general
public understand the dimensions of the economic impact of alternative scenarios of action open


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
        A special thank you to Patrick Pastor and Juan Contreras for all of their work on this report.

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to the President and Congress. Towards these ends, this paper will provide estimates based on a
variety of methodologies for the following policy alternatives:

                           1. The DACA program’s economic impact, compared to the impact of Congressional
                              passage of the Dream Act.
                           2. Economic impacts of alternative administrative action scenarios based on scaling up the
                              size of the benefited population.
                           3. Economic impact of congressional passage of a Comprehensive Immigration Reform bill
                              approved by the U.S. Senate in 2013.

The President has now taken administrative action and our analysis of the initiative’s
economic impact can be found in Appendix A and here: http://naid.ucla.edu/estimating-
the-economic-impact-of-presidential-administrative-action-and-comprehensive-
immigration-reform.html

1) In the two years since the President created DACA through administrative action, the program
has had and will continue to have a positive economic impact on its recipients as well as the
economy as a whole. However, we find that these positive outcomes are less than what would
have been experienced had congress enacted the DREAM act, which was the legislative
equivalent of DACA.2 Our key findings related to DACA are:

                           •                          The DACA program of 2012-2014 appears to have spurred extraordinary growth in the
                                                      earnings of DACA beneficiaries. According to the results of two recent surveys, this
                                                      wage growth surpassed 240%, a number that far exceeds the expectations in the
                                                      literature.
                           •                          Using much more conservative earnings growth assumptions we estimate that legalizing
                                                      and educating all eligible DACA applicants (1.23 million) would generate $1.7 trillion in
                                                      cumulative earnings over forty years (the average length of a professional career).
                           •                          Expanding the pool of DACA beneficiaries to individuals who are currently too young to
                                                      enroll in the program, but meet all of the other requirements (for a total population of 1.7
                                                      million), would result in cumulative earnings of $2.4 trillion over 40 years.
                           •                          Congressional passage of the DREAM would allow for the inclusion of 2.15 million
                                                      potential beneficiaries who would earn an estimated income of $3.7 trillion over the
                                                      course of 40 years.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
2
 Raul Hinojosa, Paule Cruz Takash, et al., No DREAMers Left Behind: The Economic Potential of DREAM Act
Beneficiaries (Los Angeles: UCLA NAID Center, 2010).

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2) The President has the legal authority to build upon DACA’s success and institute a variety of
deferred action programs that would affect the earning potential3 of millions of undocumented
immigrants who are already working in the U.S. Our key findings4 related to expanding deferred
action indicate that:

                           •                          All scenarios for increasing the scope of potential beneficiaries would generate
                                                      significant economic growth, benefiting not only immigrants, but also the U.S. economy
                                                      as a whole. These positive economic outcomes increase in proportion to the number and
                                                      characteristics of immigrants to whom deferred action is extended.
                           •                           If deferred action were extended to the between 500,000 and one million undocumented
                                                      immigrants who are parents or legal guardians of DACA recipients, it would generate a
                                                      $1.39 billion increase in labor income; 32,000 jobs through an increase in direct, indirect
                                                      and induced employment; and $511 million in new tax revenue (estimated as a two year
                                                      short term impact). The $42 billion in GDP that these undocumented workers add to the
                                                      economy would also be formalized, ending the technical illegality of the value they
                                                      currently add to U.S. economy.
                           •                          If deferred action were extended to the 3.7 million undocumented immigrants who are
                                                      parents or legal guardians of minors that are U.S. citizens, legal permanent residents
                                                      (LPRs), or are DACA eligible, it would generate a short term $6.8 billion increase in
                                                      labor income, more than 160,000 jobs and $2.5 billion in new tax revenue. It would also
                                                      formalize the $210.2 billion in value that this population adds to the economy, thus
                                                      ending the technical illegality of their employment and production.
                           •                          If deferred action were extended to the 6.6 million undocumented immigrants who have
                                                      been present in the U.S. for at least ten years, it would generate a short-term $12.3 billion
                                                      increase in labor income, more than 289,000 jobs and $4.5 billion in new tax revenue.
                                                      $379 billion of GDP would also be legalized and formalized as a result of granting
                                                      deferred action to this population.
                           •                          If deferred action were extended to the 9.7 million undocumented immigrants who have
                                                      been present in the U.S. for at least five years, it would generate a short-term $18 billion
                                                      increase in labor income, more than 422,900 jobs and $6.6 billion in new tax revenue.
                                                      This would also formalize $553.8 billion dollars in GDP, bringing it out of the shadows
                                                      of technical illegality.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
3
  Throughout this report we use the alternative administrative action eligible population estimates of Randy Capps,
Marc R. Rosenblum, and James D. Bachmeier, Executive Action for Unauthorized Immigrants: Estimates of the
Populations That Could Receive Relief (Washington DC: Migration Policy Institute, September 2014). For
estimates of undocumented employment by sector we use Passel, Jeffrey, and D’vera Cohn. A Portrait of
Unauthorized Immigrants in the United States (Washington, DC: Pew Research Center, 2009).
4
  Analysis of the economic impact of administrative action scenarios is based upon the methodology used in Raul
Hinojosa and Marshall Fitz. Revitalizing the Golden State: What Legalization over Deportation Could Mean to
California and Los Angeles County. (Washington, DC: Center for American Progress, April 2011).

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3) While, the potential economic benefits of deferred action are significant, they can be enhanced
though the passing of a permanent comprehensive immigration reform bill. Our key findings5
related to the economic impact of CIR are:

                           •                          The CIR legislation passed by the senate, SB 744, has two key components that
                                                      determine its economic impact. First, how the bill addresses the undocumented
                                                      population that is currently living in the US. Second, the legal framework that it creates
                                                      to absorb future immigration flows.
                           •                          A CIR bill that grants legal status to all current immigrants would generate a short term
                                                      $63.19 billion increase in labor income, more than 1.4 million jobs and $23.2 billion in
                                                      new tax revenue.
                           •                          A CIR bill would also create legal avenues for new immigrants projected to be needed by
                                                      the U.S. economy and would generate over $1.5 trillion in additional GDP growth over
                                                      the next ten years.

This report will first review the available data for comparing the size and economic contributions
of the undocumented populations that would be affected by various immigration reform policy
alternatives, including the DACA program, a series of proposed administrative action scenarios
and comprehensive immigration reform. Second, we will review the methodological approaches
used to analyze the impact of DACA (dynamic human capital growth modeling), alternative
administrative actions (short term input-output IMPLAN modeling) and CIR (long term CGE
modeling and short term input-output IMPLAN modeling). Third, the report will estimate and
compare the economic impact of the administrative action that President Obama has already
taken (DACA), the alternative forms that future administrative action might take, as well as the
projected economic impact of future comprehensive immigration reform scenarios.

Researchers have used a number of methodologies to analyze the economic impact of
immigration policy reforms. The optimal choice of methodologies used depends on the nature
and characteristics of the policy initiative in question. In this report, we will analyze results
derived from three of these methodologies. The first methodological tool, computable general
equilibrium (CGE) modeling, is especially useful for predicting the dynamic effects of an
economic shock over time and at the multi-sectoral level.6 A second tool, input output modeling
(IMPLAN), is more useful for analyzing the short-term impact of a labor market policy shift

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
5
 These findings are based upon: Raul Hinojosa, Raising the Floor for American Workers: The Economic Benefits of
Comprehensive Immigration Reform (Center for American Progress and Immigration Policy Center, January 2010).
Raul Hinojosa, The Economic Benefits of Comprehensive Immigration Reform (CATO Institute, Winter 2012).
These findings align closely with the methodology and conclusions of: Congressional Budget Office, The Economic
Impact of S. 744, the Border Security, Economic Opportunity, and Immigration Modernization Act (Washington,
DC: June 18, 2013)

6
        See: Hinojosa, The Economic Benefits of Comprehensive Immigration Reform.

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within the current structure of the economy.7 Third, we will discuss a methodology that we have
devised specifically to adjust our IMPLAN-based findings so that they better reflect the unique
characteristics of immigration reforms that are directed towards childhood arrivals.8 Specifically,
this third methodology was devised to measure the economic impact of reforms that explicitly
encourage educational attainment and affect a younger demographic.

It is critically important that policy makers and the general public understand the positive
economic impact of administrative action, while also recognizing that these benefits are dwarfed
by the potential impact of comprehensive immigration reform, and especially by a reform bill
that includes a path to citizenship. Drawing on this analysis we can discern what lessons can be
learned from this policy comparison, and provide policy recommendations for maximizing the
effectiveness of administrative action going forward.

2. Data On Undocumented Population and their Economic Contributions

This section compares the size and economic contributions of the undocumented populations that
can be affected by alternative immigration reform policies. These policy alternatives are CIR, a
series of proposed administrative actions, and the DACA program.

                                                                                                                                                                                                                                   Table 1




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
7
  See: Hinojosa, Raul and Marshall Fitz. Revitalizing the Golden State: What Legalization over Deportation Could
Mean to California and Los Angeles County. Washington, DC: Center for American Progress, April 2011.
8
  See: Hinojosa and Takash, No DREAMers Left Behind.

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                                       Figure 1




                                       Figure 2




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Comprehensive Immigration Reform

There are an estimated 11.7 million undocumented immigrants living in the US of which 8.3
million are employed (see table 1). For our analysis of CIR, and throughout the rest of the paper,
we have used the MPI’s undocumented population estimates, and the Pew Hispanic Center’s
estimates of the ratio of total undocumented immigrants to employed undocumented
immigrants.9

Figure 1 shows that the estimated total 8.3 million undocumented workers contribute over $679
billion in total value added per year to the U.S. economy as a whole. While we assume that the
total undocumented population would be subject to comprehensive immigration reform
legislation, and that the total affected population would be subject to administrative actions, in
this report we focus on the employed undocumented population in order to determine the
economic contributions and impact of alternative policies (see table 1). We use CGE and
IMPLAN modeling to quantify this impact, and these methodologies require estimating the ratio
of employed to total undocumented workers, as well as the distribution of immigrants by sector
(see figure 2), as estimated by the Urban Institute’s Fortuny, Capps and Passel.10

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
9
  Population Estimate: Capps, Rosenblum, and Bachmeier, Executive Action for Unauthorized Immigrants. Ratio of
Undocumented to Employed Undocumented: Passel and Cohn, A Portrait of Unauthorized.
10
   Karina Fortuny, Randy Capps, and Jeffrey S. Passel, The Characteristics of Unauthorized Immigrants in
California, Los Angeles County, and the United States (Washington, DC: The Urban Institute, March 2007).

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Administrative Action

The economic impact of any new Presidential administrative action program will be a function of
the criteria for eligibility that is chosen to determine how many undocumented immigrants will
qualify. The Obama administration has a great deal of flexibility in terms of shaping the
program, so for the sake of comparison we have analyzed the economic impact of a broad set of
scenarios. These scenarios are:

                           1.                         Individuals present in the U.S. for at least five years (9.7 million - MPI)
                           2.                         Individuals present in the U.S. for at least ten years (6.6 million - MPI)
                           3.                         Parents of minor U.S. citizens, LPRs or DACA eligible (3.6 million - MPI)
                           4.                         Parents or legal guardians of DACA recipients (750,000 - CHIRLA)

For the first three of these scenarios, the Migration Policy Institute (MPI) estimated the general
range of eligible applicants,11 while the Coalition for Humane Immigrant Rights of Los Angeles
(CHIRLA) estimated the range of eligible applicants for the fourth scenario (see table 1).12

The populations that would be affected by administrative action currently make important
contributions to the US economy, despite the illegality of their employment. As figure 1 shows,
the total undocumented populations produces more than $679.7 billion dollars in GDP annually,
while those who have been present in the U.S. for at least five years add more than $553 billion
in value. Undocumented immigrants present in the U.S. for at least ten years add $379 billion in
GDP each year, while Parents of minors that are US citizens, LPRs or DACA eligible add $210
billion. In addition, the parents or legal guardians of DACA recipients add $42 billion in GDP
annually. Providing these populations with legal work authorization would formalize the value
they add to the economy, while bringing their productivity and income out of the shadows of
technical illegality.

DACA

The DACA program of 2012 has a number of requirements that limit the size of the eligible
population. The program requires applicants to have come to the US before the age of sixteen, to
have been present in the country as of June 15, 2012, and to have lived here continuously for at
least five years before that date. In addition, they must be between the ages of fifteen and thirty-
one at the time of their application, and either have received a high school diploma or its



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
11
   Randy Capps, Marc R. Rosenblum, and James D. Bachmeier, Executive Action for Unauthorized Immigrants:
Estimates of the Populations That Could Receive Relief (Washington DC: Migration Policy Institute, September
2014).
12
   Coalition for Humane Immigrant Rights of Los Angeles CHIRLA, “CHIRLA Memo to DHS Secretary,” (2014).

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equivalent, be currently enrolled in school, or be honorably discharged veterans of the US armed
forces or Coast Guard. They must not have a serious criminal record.13

                                                                                                                                                                                                                                   Table 2




Table 2 shows that to date over 1.2 million childhood arrivals meet these requirements, while
and additional 500,000 meet all but the age requirement, for a total of 1.7 million eligible and
soon to be eligible DACA applicants. So far 587,366 applicants have received the protections
afforded by DACA.14


Data on Relationship Between Legal Status and Wages, and Economic Activity

Researchers studying the economic impact of immigration reform have consistently noted that
legalization increased the wages of the newly legalized and total native population. However,
formalizing undocumented immigrants’ productivity and remuneration is not an all or nothing
proposition. Total economic benefits increase in proportion to the number of undocumented that
are offered inclusion. In addition, the greater the scope of that financial, social and political
inclusion, the greater the individual and total economic benefits. For example, temporary work
permits induce moderate wage growth for those that received them, while permanent legalization
fosters greater wage growth for the legalized, and citizenship would lead to maximum wage
growth.

Researchers have debated the degree to which these various legal statuses’ positively impact
wages. For our analysis of administrative action in this report we have used a conservative
estimate of the wage effect. The Princeton sociologists Douglas S. Massey and Kerstin Gentsch
have stated that undocumented immigrants make 20% percent less than legal immigrants and




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
13
             Jeanne Batalova et al., DACA At The Two-Year Mark (Washington DC: Migration Policy Institute, August 2014).

14
             Batalova, DACA at the Two-Year Mark.

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that those with temporary work permits make 13% less (see table 4).15 Rather that applying the
20% legalization increase to the wages of those affected by administrative action, we have
instead assumed that the wage affect will be equivalent to that of a temporary work program.

Looking back at the Immigration Reform and Control Act of 1986 (IRCA) is the logical way to
begin any analysis of immigration reform’s affect on the economy, and specifically on wages. In
all roughly 3 million unauthorized immigrants were legalized under IRCA, and in the short term
this had a positive impact on their wages and on the US economy as a whole.

                                                                                                                                                                                                                                   Table 3




A number of government agencies and economists have quantified this impact, and while their
findings are not uniform they generally agree that, as a result of legalization, the wages of the
newly legalized increased. In a widely cited report based on surveys five years after the
implementation of IRCA, US Department of Labor Survey of Legalized population reported that
overall the wages of the recently legalized rose by 15% in the four to five years following
legalization (see table 3).16 In his analysis of IRCA the economist Francisco Rivera-Batiz found
that the wages of male IRCA beneficiaries increased 8.4 percent while their female counterparts
increased by 13 percent (see table 3). He found that these increases were the direct effect of
legalization and were independent of any wage increase that may have resulted from acquiring
more education and further mastery of English among other factors.17 In 2007, the economists
Catalina Amuedo-Dorantes, Cynthia Bansak and Stephen Raphael also found that IRCA had
generated wage growth for its recipients. Controlling for broad changes in the US economy, they



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
15
 Douglas S. Massey and Kerstin Gentsch, “Undocumented Migration to the United States and the Wages of
Mexican Immigrants,” International Migration Review 48, no. 2 (June 2014): 482–99, doi:10.1111/imre.12065.

16
   Roger G. Kramer, Audrey Singer, Shirley G. Smith. Characteristics and Labor market Behavior of the Legalized
Population Five Years Following Legalization. Washington, DC: U.S. Department of Labor, May 1996.
17
   Franciso L. Rivera-Batiz, “Undocumented Workers in the Labor Market: An Analysis of the Earnings of Legal
and Illegal Mexican Immigrants in the United States,” Journal of Population Economics 12 (1) (1999): 91-116


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found that the real wages of male IRCA beneficiaries had increased by 9.3 percent; while for
women the increase was 2.1 percent (see table 3).18

Legalization also incentivizes the newly legalized to invest in themselves and their community
and this leads to wage as well as macroeconomic growth. Kossoudji and Cobb-Clark have shown
that the wages of unauthorized workers do not reflect their skill levels because their lack of legal
status pushes them into the lowest wage sectors and into the informal economy. 19 Legalization
encourages them to seek work that is commensurate with their skill level and to increase that
skill level in order to obtain higher wages. This investment in their human capital, and the social
mobility it affords, has a far-reaching and positive impact on the economy as a whole.

In order to gauge the wage impact of a diverse range of immigration reform scenarios we have
relied upon the findings of Massey and Gentsch. They argue that undocumented Mexican
immigrants make twenty percent less on average that do those with legal status, while those with
temporary work permits make thirteen percent less than those with legal status (see table 4).20
Massey and Gentsch were only describing undocumented Mexican immigrants, but since this
population constitutes an overwhelming plurality of the total undocumented population,21 we
assume that Massey and Gentsch’s figures are roughly representative of undocumented wages
generally.

The impact of citizenship provides even greater economic benefits than does simple legal status
(see Table 4). For example, immigrants with legal status earn significantly less than their
naturalized citizen counterparts. Manuel Pastor and Justin Scoggins have shown that the
citizenship naturalization of those with legal status fosters significant wage growth, which leads
to economic growth generally. Specifically they found that, “after controlling for many of the
characteristics that predict individual wages”, there is an 8 to 11 percent “earnings premium”
associated with naturalization.22

                                                                                                                                                                                                                                   Table 4
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
18
  Catalina Amuedo-Dorantes, Cynthia Bansak, and Steven Raphael, “Gender Differ- ences in the Labor Market:
Impact of IRCA,” American Economic Review 97 (2) (2007): 412-416.

19
  Sherrie A. Kossoudji and Deborah A. Cobb Clark, “Coming out of the Shadows: Learning about Legal Status and
Wages from the Legalized Population,” Journal of Labor Economics 20, no. 3 (July 2002): 598–628,
doi:10.1086/339611.

20
  Massey and Gentsch, “Undocumented Migration to the United States.”
21
  Mexican immigrants constitute 7 million of the 11.9 million undocumented living in the US according to the Pew
Hispanic Center’s A Portrait of Unauthorized Immigrants in the United States.

22
  Manuel Pastor and Justin Scoggins, Citizen Gain: The Economic Benefits of Naturalization for Immigrants and
the Economy (Center for the Study of Immigrant Integration, December 2012).


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Obtaining legal employment authorization provides the undocumented with labor market
mobility, allowing them to find work that is commiserate with their skills and to improve those
skills, which subsequently leads to increased earning power (see table 4). In addition, by gaining
the ability to move between jobs, the undocumented are able to maximize their productivity and
income, which increases the value they add to the economy (GDP) and the taxes they pay.
Increased GDP, labor income, and tax revenue result in job creation both in the public and
private sectors. These positive economic outcomes increase in proportion to the number of
people who are offered legal authorization to work, and the more complete their legal, social and
economic inclusion is. As a result, while administrative action has a positive economic impact
and granting temporary work authorization to all undocumented is even better; the impact of
granting legal status to undocumented immigrants through a CIR bill would produce the best
outcomes, especially if it includes a path to citizenship.



4. Methodologies for Estimating Economic Impacts of Immigration Policy
	  
Researchers	  have	  used	  a	  number	  of	  methodologies	  to	  analyze	  the	  economic	  impact	  of	  
immigration	  policy	  reforms.	  	  The	  optimal	  choice	  of	  methodologies	  used	  depends	  on	  the	  
nature	  and	  characteristics	  of	  the	  policy	  initiative	  in	  question.	  In	  this	  report,	  we	  will	  analyze	  
results	  derived	  from	  three	  of	  these	  methodologies.	  The	  first	  methodological	  tool,	  
computable	  general	  equilibrium	  (CGE)	  modeling,	  is	  especially	  useful	  for	  predicting	  the	  
dynamic	  effects	  of	  an	  economic	  shock	  over	  time	  and	  at	  the	  multi-­‐sectoral	  level.	  	  A	  second	  
tool,	  input	  output	  modeling	  (IMPLAN),	  is	  more	  useful	  for	  analyzing	  the	  short-­‐term	  impact	  
of	  a	  labor	  market	  policy	  shift	  within	  the	  current	  structure	  of	  the	  economy.	  	  Third,	  we	  will	  
discuss	  a	  methodology	  that	  we	  have	  devised	  specifically	  to	  adjust	  our	  IMPLAN-­‐based	  
findings	  so	  that	  they	  better	  reflect	  the	  unique	  characteristics	  of	  immigration	  reforms	  that	  
are	  directed	  towards	  childhood	  arrivals.	  Specifically,	  this	  third	  methodology	  was	  devised	  to	  
measure	  the	  economic	  impact	  of	  reforms	  that	  explicitly	  encourage	  educational	  attainment	  
and	  affect	  a	  younger	  demographic.	  
	  	  
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CGE	  Models	  
	  
CGE	  modeling	  has	  been	  used	  extensively	  to	  predict	  the	  economic	  impact	  of	  comprehensive	  
immigration	  reform.	  In	  an	  earlier	  report,	  published	  by	  the	  Center	  for	  American	  Progress	  
(CAP)	  and	  the	  CATO	  Institute,	  we	  used	  CGE	  modeling	  to	  predict	  comprehensive	  
immigration	  reform’s	  impact	  on	  future	  immigration	  flows	  and	  the	  GDP	  growth	  that	  the	  
equilibrium	  affects	  of	  these	  flows	  would	  create.	  In	  other	  words,	  CGE	  modeling	  is	  very	  good	  
at	  tracking	  the	  effects	  of	  new	  immigrants	  entering	  the	  workforce	  and	  the	  affects	  of	  these	  
new	  workers	  on	  the	  economic	  ecosystem.	  However,	  while	  such	  dynamism	  is	  one	  of	  CGE	  
modeling’s	  most	  positive	  attributes,	  in	  the	  context	  of	  this	  paper	  it	  presents	  a	  challenge.	  
Here,	  we	  are	  attempting	  to	  compare	  both	  comprehensive	  immigration	  reform	  and	  
administrative	  relief	  scenarios,	  and	  these	  two	  types	  of	  reform	  affect	  future	  immigration	  
flows	  in	  very	  different	  ways.	  To	  mitigate	  these	  differences	  we	  will	  include	  CGE	  findings	  
only	  in	  our	  discussion	  of	  CIR.	  We	  will	  not	  include	  CGE	  findings	  in	  our	  analysis	  of	  
administrative	  action	  since	  this	  analysis	  focuses	  on	  the	  undocumented	  who	  are	  currently	  in	  
the	  US,	  their	  contributions	  to	  the	  current	  US	  economy,	  and	  how	  a	  change	  in	  their	  
immigration	  status	  would	  affect	  their	  current	  and	  future	  contributions.	  
                        	  
Input-­‐Output	  IMPLAN	  Modeling	  
	  
We	  have	  based	  our	  analysis	  of	  administrative	  action,	  which	  would	  not	  impact	  future	  flows,	  
and	  our	  comparison	  of	  administrative	  action	  to	  CIR,	  which	  would	  impact	  future	  flows,	  on	  
IMPLAN	  and	  Census	  data,	  rather	  than	  a	  CGE	  model.	  IMPLAN	  is	  an	  input	  output	  
measurement	  based	  on	  the	  current	  structure	  of	  the	  US	  economy,	  and	  is	  a	  more	  appropriate	  
tool	  for	  comparing	  administrative	  action	  and	  CIR	  scenarios,	  their	  respective	  impact	  on	  the	  
economy	  and	  the	  role	  of	  immigrants	  within	  it.	  Using IMPLAN data we are able to quantify the
labor income, tax contributions and productivity of undocumented immigrants and illustrate the
economic impact of formalizing their role in the economy.

	  
Educational	  Attainment	  	  
	  
Using	  the	  IMPLAN	  model	  to	  analyze	  the	  economic	  impact	  of	  DACA	  is	  presents	  a	  challenge	  
because	  the	  IMPLAN	  model	  does	  not	  account	  for	  the	  relatively	  high	  level	  of	  educational	  
attainment	  that	  DACA	  encourages	  its	  beneficiaries	  to	  acquire.	  Instead,	  this	  model	  assumes	  
that	  DACA	  recipients’	  possess	  the	  same	  education	  and	  skills	  as	  the	  general	  undocumented	  
population.	  Because	  of	  DACA’s	  educational	  requirements,	  DACA	  beneficiaries	  have	  on	  
average	  a	  higher	  level	  of	  educational	  attainment	  than	  does	  the	  rest	  of	  the	  undocumented	  
population.	  Therefore,	  DACA	  recipients	  can	  expect	  to	  receive	  a	  greater	  average	  income	  
boost	  from	  legalization	  than	  can	  the	  remainder	  of	  the	  undocumented	  population.	  This	  

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means	  that	  an	  analysis	  based	  on	  the	  IMPLAN	  model	  understates	  the	  true	  financial	  impact	  of	  
DACA.	  In	  light	  of	  these	  differences,	  the	  benefits	  described	  by	  an	  analysis	  based	  on	  IMPLAN	  
should	  be	  taken	  as	  a	  baseline.	  DACA	  beneficiaries	  are	  able	  to	  find	  work	  that	  is	  
commensurate	  with	  their	  education,	  and	  the	  program	  incentivizes	  educational	  attainment.	  
Analyzing	  the	  increased	  earning	  power	  that	  this	  aspect	  of	  DACA	  affords	  beneficiaries	  leads	  
to	  a	  more	  accurate	  representation	  of	  the	  program’s	  economic	  impact.	  	  
                        	  
In	  order	  to	  adjust	  the	  IMPLAN	  based	  analysis	  to	  represent	  the	  economic	  benefits	  of	  DACA’s	  
educational	  requirement	  we	  have	  devised	  a	  methodology	  that	  is	  designed	  to	  account	  for	  
the	  characteristics	  of	  DACA,	  and	  the	  DACA	  eligible	  population,	  that	  are	  unique.	  First,	  we	  
calculate	  the	  highest	  degree	  earned	  by	  individuals	  that	  are	  eligible	  for	  DACA,	  or	  have	  
received	  it,	  and	  who	  have	  completed	  high	  school,	  a	  high	  school	  equivalent,	  or	  a	  post	  
secondary	  degree	  program.	  	  We	  then	  project	  this	  distribution	  onto	  the	  population	  that	  is	  
still	  enrolled	  in	  school.	  By	  multiplying	  the	  totals	  in	  each	  educational	  attainment	  category	  by	  
the	  Census’	  median	  income	  by	  educational	  attainment	  data,	  we	  are	  able	  to	  project	  the	  
single	  year	  and	  40-­‐year	  income	  of	  the	  DACA	  eligible	  population	  adjusted	  for	  educational	  
attainment.	  
	  
	  
	  
	  
5. Results of Economic Impact Analysis
	  
Potential DACA beneficiaries are a unique demographic within the undocumented population.
They are younger than the general undocumented population and, as a result of DACA’s
educational requirement, are more likely to possess a higher level of educational attainment.
Therefore, in order to quantify the economic impact of the program, we have developed a
methodology that reflects the unique characteristics of DACA and of its potential beneficiaries
(see section 4). In order to measure the increased earning potential that DACA’s education
requirement facilitates, we must first calculate DACA’s affect on educational attainment.

                                                             Figure 3




                                                                  14	  
	  

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                                                                                                 Educational Attainment of the DACAmented with Completed
                                                                                                                   Postsecondary Degrees!
                                                                                                                                                                                    9,000!




                                                                                                                                                                                                                                                                           43,000!




                                                                                                                                       48,000!




                                                                                                                                                                                Associate's Degree!                                Bachelor's Degree!   Advanced Degree!

                                                                                      Source: 1. Jeanne Batalova et al., DACA At The Two Year Mark (Washington DC: Migration Policy Institute, August 2014).!

             !
                                                                                                                                               !
                                                                                                                                                                                                                                                                                     	  
	  
The MPI, in their report DACA at the Two Year Mark, have estimated that 2.1 million childhood
arrivals could potentially qualify for the benefits offered by the DACA program.23 Within that
population they distinguish between the childhood arrivals who currently meet all of the DACA
program’s requirements (the immediately eligible population), and those that are potentially
eligible, either because they did not meet the program’s education requirements or because are
not yet old enough to apply.

The MPI report breaks down the immediately eligible population into four more categories: those
that have obtained a postsecondary degree, those that have completed high school and are
enrolled in some form of postsecondary education, those that have completed high school but are
not enrolled in some form of postsecondary education, and those that are still enrolled in high
school. Among the population that has earned some form of postsecondary degree, 43 percent
earned an Associate’s degree, 48 percent earned a Bachelor’s degree, and 9 percent earned an
advanced degree (see figure 3).24 If we project this distribution onto the DACA eligible
population who are still enrolled in either high school or a postsecondary program, as well as the
population that meets all but the age requirement, and then adjust for the percent of high school
graduates who are projected not to continue on with their education, we can more accurately
estimate the program’s long-term impact on its beneficiaries’ earnings.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
23
             Jeanne Batalova et al., DACA At The Two-Year Mark (Washington DC: Migration Policy Institute, August 2014).

24
             Jeanne Batalova et al., DACA At The Two-Year Mark (Washington DC: Migration Policy Institute, August 2014).


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                                                                                                                                                                                                                                   Table 5




Table 6 shows the projected educational attainment of those that currently meet DACA’s
education requirement, and that nearly 800,000 individuals within this population can be
expected to earn some sort of post-secondary degree (see table 5). Those that do so can be
expected to have a much higher income than the just over 919,000 students who are expected to
complete only high school.25




                                                                                                                                                                                                                                     Table 6




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
25
   While some of the DACA eligible population can be expected to drop out of high school, some of the potentially
eligible population that did not meet the education requirement can be expected to re-enroll and qualify for DACA.
We expect that these two cohorts to be nearly the same size, and to mitigate each others affect on the total economic
impact of the program.

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Table 6 reveals that educational attainment has a significant impact on the future wages of the
potentially eligible population (excluding those that do not meet the educational requirement).
We predict that the share of this population who complete a postsecondary degree will
collectively earn more than $35 billion a year. Those who earn advanced degrees will
collectively earn over $4.7 Billion a year, while those with associates and bachelor’s degrees are
expected to earn a collective annual income of more than $11.2 and $19 billion dollars
respectively. Those that are projected to earn a high school diploma or the equivalent are
expected to collectively earn more than $25.1 billion annually. In all this population will
collectively earn more than $60.2 billion annually.

The very nature of DACA not only insures that its recipients are, on average, more educated than
the general undocumented population, it also insures that they are younger. DACA’s age
requirement means that recipients have either just entered the work force or have yet to do so.
Because of this we have estimated their earnings over the course of forty years, or about the
length of the average career. Table 6 shows that over forty years the cumulative earnings of this
population will top $2.4 trillion.




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                                             Table 7




	  
Table 5 reveals that DACA has, and will continue to, spur job growth and create new tax revenue
(see table 7). If all 1.7 million potential applicants who currently meet the education requirement
enter the workforce (see table 2), their collective wages will be roughly $8 billion dollars higher
than they would have been before DACA. These increased earnings would directly generate
almost 105,000 new jobs. The resulting increase in indirect employment---which is a change in
employment in one industry being caused by a change in another, as a result of interaction
between the two---would account for more than 38,000 new jobs. Induced employment, which is
a change in employment based on changes in household spending, would increase by more than
46,000 jobs. In all the increase in labor income would generate more 106,000 new jobs. In
addition, this wage growth would bring in more than $1.6 billion dollars in new business,
personal and sales tax revenue (see table 7).

                                             Table 8




Two recent surveys, one conducted by the NAID center, and another by CHIRLA crystalize
DACA’s potential for an even greater impact on earnings. The survey conducted by the NAID
Center found that the wages of 167 DACA beneficiaries increased by an average of 246 percent

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(see table 8). Even when counting only those who were employed before and after receiving
DACA, thereby ignoring some of the most educated respondents, this cohort still experienced a
76 percent increase in wages. Another survey, conducted by CHIRLA, found that the wages of
its 309 respondents were 277 percent greater than they were before DACA (see table 8). This
wage growth is much stronger than that projected by the educational attainment model. Therefor
the job and tax growth projected by the educational attainment model should also be understood
as a very conservative estimate. Based on this survey data, we assume that DACA’s actual
economic impact is much greater than any of the estimates we have proposed in this section.

DACA’s economic impact is significant, but it is less than what would be generated by far
reaching administrative action, and much less than what would be generated by a comprehensive
immigration reform bill. This reflects the findings of the IRCA literature, and our earlier NAID
center research,26 which show that the economic benefits of immigration reform increase in
relation to the number of undocumented affected and the level of inclusion they are offered.
While a comprehensive immigration reform bill that would extend legalization to all
undocumented immigrants would have a far greater impact, this does not negate DACA’s
positive affect on the lives of its recipients and on the economy as a whole.

Administrative Action Results

Any upcoming administrative action will generate less wage growth per person affected than
DACA because DACA affected young people, many of whom were still in school, and are
therefore able the earn a relatively higher wage in the job market. However, if administrative
action affects a large cohort of working age adults the economic impact could still be great. The
size of the population affected is therefor of the upmost importance. The boldness of President
Obama’s action will determine the relative size of the economic impact in terms of labor income
gain (see figure 4), increased tax revenue (see figure 5) and direct, indirect and induced job
growth (see figure 6).




                                                                                                                                                                                                                                   Figure 4
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
26
             See: Hinojosa, The Economic Benefits AND Raul Hinojosa, Raising the Floor.


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                                       Figure 5




                                       Figure 6

                                          20	  
	  

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The most ambitious of the potential administrative reform scenarios, granting deferred action to
the nearly 9.7 million undocumented immigrants who have been in the US for five years or
more, would have the greatest economic and humanitarian impact. As Massey and Gentsch noted
temporary workers earn 7% higher wages than do the undocumented.27 If the affected population
experienced this 7% wage increase, their collective labor income would increase by more than
$18 billion (see figure 4). This wage growth would create nearly 423,000 jobs (see figure 5) and
bring in more $6.6 billion in new taxes (see figure 6).

More cautious action on the part of the administration would still generate significant economic
growth, but that this growth would be considerably less than what would have been created by a
more far-reaching reform. Extending deferred action to the more than 6.6 million undocumented
immigrants who have lived in the US for ten years or more would boost this population’s yearly
wages by more than $12.3 billion (see figure 4). This labor income increase would generate
289,560 jobs (see figure 5) and over $4.5 billion in new tax revenue (see figure 6).

Our analysis of the economic impact of extending deferred action to the 3.7 million parents of
children that are either US citizens, LPRs or DACA eligible emphasizes the importance of bold
administrative action If these 3.7 million parents apply for and receive deferred action, their
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
27
       Massey and Gentsch, “Undocumented Migration and the Wages.”

                                                                                                               21	  
	  

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collective income will increase by $6.8 billion (see figure 4). This wage growth would than
generate 160,528 jobs (see figure 5), and more than $2.5 million in new taxes (see figure 6).
While this scenario would still generate significant economic growth, this growth could
potentially be less than what DACA would generate at full enrollment.

Should the White House extend deferred action to only the parents of DACA recipients,
estimated to be between 500,000 and 1,000,000, the economic outcomes would be positive if
somewhat limited. For our analysis of this scenario we have split the difference between the high
and low population estimates and assumed that deferred action would be extended to a
population of 750,000. This scenario would generate a labor income increase of $1.3 billion (see
figure 4). Such limited wage growth would generate around 32,000 jobs (see figure 5), and just
$511 million in new taxes (see figure 6).

Comparing these four administrative action scenarios illustrates why it is critically important that
the Obama administration take bold and far-reaching action. There is a wide gulf between the
economic impact of the most ambitious scenario and that of the least ambitious. Extending
deferred action to those that have been in the US for five years or more would generate around
thirteen times the wage, employment, and tax growth than would extending deferred action only
to the parents of DACA recipients. The difference between granting deferred action to
undocumented that have been in the US for five years and those that have either been here for ten
years, or are the parents of US citizens, LPRs, and/or DACA recipients is not as stark but it is
still significant. In the case of the former comparison, granting deferred action to undocumented
immigrants who have been in the country for five years or more would generate fifty percent
more wage, job and tax growth than would extending it to the population that has been here for
ten years or more. In the case of the latter comparison, granting deferred action to the population
that has been here for five years or more would generate two and half times the wage, job and tax
growth.

Comprehensive Immigration Reform

The IRCA literature suggests that the economic impact of reform increases in proportion to the
number of people who are affected, and in proportion to the completeness of their legal, social
and economic inclusion. This would mean that while bold and far-reaching administrative action
on immigration reform would generate positive economic outcomes, these outcomes would not
be as positive as those that a comprehensive immigration reform bill would generate.

Our CGE analysis of comprehensive immigration reform supports this conclusion. In an earlier
report, published by the Center for American Progress (CAP) and the CATO institute, we laid
out three reform scenarios. They are:

          1) Comprehensive immigration reform that creates a pathway to legal status for

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                                                      unauthorized immigrants in the United States and establishes flexible limits on permanent
                                                      and temporary immigration that respond to changes in U.S. labor demand in the future.

                                                      2) A program for temporary workers only that does not include a pathway to permanent
                                                      status or more flexible legal limits on permanent immigration in the future.

                                                      3) Mass deportation to expel all unauthorized immigrants and effectively seals the U.S.-
                                                      Mexico border.28



                                                                                                                                                                                                                                   Figure 7




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
28
             See Hinojosa, Raising the Floor AND Hinojosa, The Economic Benefits.

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Our CGE analysis of these scenarios (published in 2010 and 2012) clearly illustrates the
advantages of full legalization over a temporary worker program, and the disastrous impact of
mass deportation. CIR with full legalization would generate GDP growth of $1.5 trillion over ten
years while a bill that extends temporary work authorization to all undocumented immigrants
would generate only $792 billion over the same time period (see figure 7). These findings a
closely aligned with those of a Congressional Budget Office report from 2013.29 On the other
hand, mass deportation would cause the economy to contract by $2.6 trillion (see figure 7). This
would cripple the US economy and set off a deep and lasting depression.30

Our IMPLAN based analysis of CIR reaffirms the positive economic impact of extending some
form of legal status to the entire undocumented population. It also reaffirms that the scale of
positive outcomes increases in proportion the completeness of the undocumented population’s
social, economic, and political inclusion. To illustrate this point we have slightly altered the CIR
scenarios we studied. Our IMPLAN-based analysis examined the following scenarios:

1) Comprehensive immigration reform that creates a pathway to legal status for
unauthorized immigrants in the United States.

2) Comprehensive immigration reform that creates a pathway to citizenship for
unauthorized immigrants in the United States.

3) A program for temporary workers only that does not include a pathway to permanent
status or citizenship.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
29
  Congressional Budget Office, The Economic Impact of S. 744, the Border Security, Economic Opportunity, and
Immigration Modernization Act. (Washington, DC: June 18, 2013).

30
             Hinojosa, Raising the Floor.

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                                       Figure 8




                                       Figure 9




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                                                                                                      Figure 10
                                                         Employment Growth by CIR Scenario
                       2,500,000                                                                                                                                                         Induced Employment
                                                                                                                                                                                         Gain
                                                                                                                                                                                         Indirect Employment Gain

                       2,000,000                                                                                                                                                         Direct Employment Gain
        Jobs Created




                       1,500,000




                       1,000,000




                        500,000




                              0
                                   Economic Impact of CIR Citizenship                             Economic Impact of CIR Legalization                               Economic Impact of CIR Temporary
                                              Scenario                                                        Scenario                                                      Worker Scenario

       The methodology used for this economic impact analysis is described in: Raul Hinojosa and Marshall Fitz. Revitalizing the Golden State: What
       Legalization over Deportation Could Mean to California and Los Angeles County. (Washington, DC: Center for American Progress, April 2011).
       The source of the methodology is: IMPLAN 2009, http://implan.com
       The population data is derived from: Randy Capps, Marc R. Rosenblum, and James D. Bachmeier, Executive Action for Unauthorized
       Immigrants: Estimates of the Populations That Could Receive Relief (Washington DC: Migration Policy Institute, September 2014).
       AND Coalition for Humane Immigrant Rights of Los Angeles CHIRLA, “CHIRLA Memo to DHS Secretary,” (2014).




As Massey and Gentsch noted, immigrants with legal status earn 20% more than their
undocumented counterparts, and 13% more than immigrants with temporary work permits.31
Therefore, a CIR bill that legalized the entire undocumented population would generate
economic growth well in excess of that generated by administrative action, since the latter
extends only temporary work permits, and does so to smaller cohort of undocumented
immigrants. If the wages of the 8.3 million employed undocumented grew by twenty percent it
would precipitate a $63.19 billion increase in labor income (see figure 8). This wage growth
would generate over 1,483,000 jobs nationwide (see figure 9) and a combined $23.2 billion in
new personal, business and sales taxes (see figure 10).

Comprehensive Immigration Reform with a path to Citizenship would generate the best
economic outcomes both for immigrants and for the US economy. As noted earlier, Pastor and
Scoggins found that naturalized citizens earn 8 to 11.5 percent more than legal immigrants.32 If
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
31
          Massey and Gentsch, “Undocumented Migration to the United States.”

32
          Pastor and Scoggins, Citizen Gain.

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all employed undocumented immigrants eventually became naturalized citizens, they would
experience a collective income increase of over $93 billion dollars (see figure 8). These
increased earnings would directly generate over 1.2 million new jobs. The resulting increase in
indirect employment would account for 443,063 new jobs. Induced employment would increase
by 536,522 jobs (see figure 9). This economic activity would also create over $34.2 billion in
new tax revenue (see figure 10).

Comprehensive immigration reform that grants temporary work permits to the undocumented
would also generate a significant increase in labor income, and subsequently spur job growth and
create additional tax revenue, however these gains would be far less than what we see in either of
the other CIR scenarios. This is significant because this scenario is the one that most closely
resembles the proposals for administrative action. The gains are tempered by the fact that, again
according to Massey and Gentsch, temporary workers make seven percent more than the
undocumented but thirteen percent less than fully legalized immigrants.33 If the 8.3 million
working undocumented were to experience an average wage increase of seven percent, it would
constitute a $22.1 billion increase in overall labor income (see figure 8). This would create over
519,000 new jobs (see figure 9) and over $8.1 billion in new taxes (see figure 10).




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
33
             Massey and Gentsch, “Undocumented Migration to the United States”	  

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6. Conclusion
                                     Figure 11




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                                     Figure 12




                                          29	  
	  

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                                     Figure 13




                                          30	  
	  

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Appendix A:
The Economic Impact of the President’s Administrative Action Plan

                                                                                                                                                                                                                                   Table 8

          Population for Reform Scenario                                                                                                                                                                                                      Population     Employed Population‡
          Total Population                                                                                                                                                                                                                     11,700,000*             8,300,000
          5 Years in the U.S.                                                                                                                                                                                                                   9,696,000*             6,762,000
          10 Years in the U.S.                                                                                                                                                                                                                  6,638,000*             4,629,000
          Parents of Citizens, LPRs, DACA Eligible                                                                                                                                                                                              3,680,000*             2,566,000
          Parents of DACA Recipients                                                                                                                                                                                                             750,000†                523,000
          Population Affected by President Obama's Action                                                                                                                                                                                       3,830,000*             2,671,000

       * Population Estimates: Randy Capps, Marc R. Rosenblum, and James D.
       Bachmeier, Executive Action for Unauthorized Immigrants: Estimates of the
       Populations That Could Receive Relief (Washington DC: Migration Policy
       Institute, September 2014).
       † Population Estimate: Coalition for Humane Immigrant Rights of Los
       Angeles CHIRLA, “CHIRLA Memo to DHS Secretary,” (2014).
       ‡ Ratio of Total Undocumented to Employed Undocumented: Jeffrey Passel
       and D’Vera Cohn, A Portrait of Unauthorized Immigrants in the United States
       (Pew Research Center, 2009).



The administrative action announced by President Obama will not affect the parents of DACA
beneficiaries. Instead, the administration will extend deferred action to the 3.33 million34
undocumented immigrants who are parents of citizens or lawful permanent residents (LPRs), and
who have been in the country since at least January 1st 2010.

In addition, the administration will also expand the pool of eligible DACA applicants by
removing the maximum age requirement, which formally required applicants to be under 30, and
the education requirement, which formerly required applicants to be enrolled in school, be
honorably discharged veterans, or have earned a high school diploma or equivalent. The
Migration Policy Institute has estimated that removing the age requirement would expand the
DACA eligible cohort by 200,000 potential applicants, while eliminating the education
requirement would expand that cohort by 430,000 potential applicants.35 Since we assume there


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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   Randy Capps, Marc R. Rosenblum, and James D. Bachmeier, Executive Action for Unauthorized Immigrants:
Estimates of the Populations That Could Receive Relief (Washington DC: Migration Policy Institute, September
2014).
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    will be some overlap between these two populations we have estimated that 500,000 new
    childhood arrivals will now be eligible for deferred action.

    Based on this new information, we have calculated the economic impact of extending deferred
    action to 3,830,000 undocumented immigrants. As a result of the President’s decision, this
    population will experience a labor income increase of $7.1 billion dollars. This wage growth will
    generate over 167,000 new jobs and more than $2.6 billion in new tax revenue. It will also
    formalize the $15.8 billion in GDP that this population contributes annually.


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                            on Immigration Reform
                            The Fiscal Benefits of Temporary Work Permits

                            By Patrick Oakford September 2014




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Administrative Action
on Immigration Reform
The Fiscal Benefits of Temporary Work Permits

 By Patrick Oakford September 2014




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                         and employers on the tax rolls


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 Introduction and summary

 In the coming months, President Barack Obama is expected to announce a series
 of administrative actions on immigration.1 These actions will come after more
 than a decade of inaction on immigration reform in Congress, including the
 House of Representatives’ recent refusal to vote on the bipartisan immigration
 reform bill, S. 744, passed by the Senate last summer.2 The Congressional Budget
 Office estimated that S. 744 would significantly reduce our nation’s deficit and
 spur economic growth.3

 Although any executive action adopted by the president will pale in comparison
 to the economic and fiscal impact of a comprehensive legislative solution such
 as S. 744, such actions can nonetheless deliver significant fiscal benefits. This
 report examines the fiscal impact of a variety of scenarios in which undocu-
 mented immigrants are temporarily protected from deportation and authorized
 to work in the interim.

 Confronted by a deteriorating immigration system and continued paralysis in
 Congress, President Obama requested Secretary of Homeland Security Jeh
 Johnson and Attorney General Eric Holder to identify which administrative
 actions could be adopted to begin the process of fixing our immigration system.
 One of the significant administrative steps the president can take is expand-
 ing a policy authorizing undocumented immigrants who are deemed to be low
 enforcement priorities to affirmatively request deferred action. Deferred action
 is a temporary, discretionary reprieve from deportation that enables the govern-
 ment to focus its limited resources on high-priority enforcement targets while
 bringing low-priority individuals out of the shadows. In addition to the obvious
 enforcement and security benefits that flow from expanding the universe of indi-
 viduals eligible to register and request this exercise of discretion, enabling these
 individuals to work lawfully, albeit temporarily, also triggers significant fiscal
 benefits in the form of additional payroll tax revenues.




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 Granting deferred action with work permits would increase the
 amount of payroll tax revenue collected each year. First, by allow-       Deferred action
 ing undocumented immigrants to work legally, many workers and
 employers will be able to emerge from the underground economy             The president has the legal authority and a great
 and pay payroll taxes for the first time. Today, slightly more than       deal of latitude when deciding how to enforce
 one-third of undocumented workers and their employers are                 our immigration laws in the most efficient and
                                                                           effective way. Just like a local police chief has the
 contributing payroll taxes.7 Providing work permits would create
                                                                           ability to decide whether to focus resources on
 a legal avenue for workers and employers to contribute taxes.
                                                                           ticketing people for jay walking or arresting peo-
                                                                           ple for driving while intoxicated, the president has
 Second, allowing undocumented immigrants to work legally                  the legal authority to determine which individuals
 will lead to higher wages. Providing work authorization to                are a priority for immigration enforcement. This is
 eligible undocumented immigrants would equip them with a                  known as prosecutorial discretion.
 shield against workplace exploitation and enable them to move
 freely across the labor market to find jobs that best match their         One type of prosecutorial discretion policies in the
 skills. Consequently, undocumented immigrants will observe an             immigration context is “deferred action,” which
                                                                           was formerly recognized by the Immigration and
 increase in their earnings. And as workers’ wages rise, so too will
                                                                           Naturalization Services in 1975.4 A deferred action
 their payroll tax contributions.
                                                                           policy identifies low-priority individuals, such as
                                                                           non-criminals, who are not the target of immigra-
 The magnitude of the tax revenue gains, however, varies based on          tion enforcement efforts, and creates a process for
 the number of immigrants eligible for deferred action. There are a        them to come forward and affirmatively apply for
 number of criteria that President Obama could choose from when            temporary relief from deportation. Most recently,
 determining who will be eligible for deferred action. For example,        this form of discretion was utilized in the Deferred
 deferred action may only be available to those who have been in           Action for Childhood Arrivals, or DACA, program.
 the United States for at least 10 years. Alternatively, the president     DACA was announced in June 2012 and extends
                                                                           to undocumented immigrants who have entered
 could extend deferred action to those who would have been able
                                                                           the United States before the age of 16 and meet
 to apply for legal status and citizenship under the immigration
                                                                           education requirements such as graduating high
 reform bill, S. 744, passed by the Senate in June 2013.                   school.5 To date, DACA has successfully allowed
                                                                           the U.S. Department of Homeland Security, or
 In the following analysis, the Center for American Progress               DHS, to better focus its resources on higher
 estimates the fiscal impact of a deferred action program for each         priorities by granting temporary reprieves from
 of these groups:                                                          deportation to nearly 600,000 individuals.6


 • Undocumented immigrants who have lived in the United
   States for at least five years.
 • Undocumented immigrants who have lived in the United States for at least
   10 years.
 • Undocumented immigrants who have a minor child living in the United States.




 2   Center for American Progress | Administrative Action on Immigration Reform
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 TABLE 1
 Fiscal benefits from deferred action
 Increase in payroll tax revenues by criteria of eligibility
                                       Number of eligible
                                                            Payroll tax gain   Cumulative payroll
                                        undocumented
                                                              in first year,   tax gains over five
                                         immigrants,
                                                               in billions      years, in billions
                                          in millions

 U.S. residency for at least
                                                   9.95          $6.08               $44.96
 5 years

 U.S. residency for at least
                                                   7.4           $4.52               $33.44
 10 years

 Undocumented immi-
 grants with
                                                   4.7           $2.87               $21.24
 a minor child in the
 United States

 Source: Author’s calculations. See Methodology.




 The analysis shows that the United States stands to gain a significant amount of
 new revenue from a deferred action program. Most striking is that the payroll tax
 revenue gains would be realized immediately—within the first year—and only
 grow over time as more immigrants apply for relief under the program and receive
 a work permit. The analysis finds:

 • Temporary work permits would increase the earnings of undocumented immi-
   grants by about 8.5 percent as they are able to work legally and find jobs that
   match their skills.

 • A deferred action program that allows undocumented immigrants who have
   lived in the United States for at least five years to apply for a temporary work
   permit would increase payroll tax revenues by $6.08 billion in the first year alone
   and increase revenues by $44.96 billion over five years.

 • If President Obama instead extends deferred action to a smaller number of undoc-
   umented immigrants then the payroll tax revenue gains would not be as high.

 This report begins with a discussion of why deferred action would trigger an
 increase in tax revenues. It then presents the findings of the CAP analysis that
 quantifies the increase in payroll tax revenues that would result from extending
 deferred action to undocumented immigrants.




 3    Center for American Progress | Administrative Action on Immigration Reform
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 Putting millions of workers
 and employers on the tax rolls

 Our broken immigration system has created a situation in which millions of
 undocumented immigrants are working, yet none of them have a legal avenue to
 contribute payroll taxes.8 Thus, billions of dollars are lost every year in tax revenues.
 A deferred action program, which allows undocumented immigrants to apply for
 a temporary work permit, would correct these inadequacies of our current system
 and increase payroll tax revenues by increasing the number of people paying taxes.

 There are currently 8 million undocumented immigrants in the United States who
 are working in a variety of industries, from agriculture to manufacturing.9 While
 these workers are vital to our economy and workforce, there is no legal way for             Ultimately, extending
 them to pay payroll taxes: Given their unlawful status and inability to work legally,
 these workers are unable obtain a Social Security number and therefore cannot file          a work permit to
 payroll taxes like other American workers.10
                                                                                             undocumented
 Despite this structural shortcoming, the Social Security Administration, or SSA,
 has estimated that about 3 million undocumented workers and their employ-                   immigrants will create
 ers paid payroll taxes in 2010, or about 38 percent of the estimated 8 million
 undocumented workers.11 According to the SSA, many of these workers likely                  a path for those
 pay payroll taxes through the use of false Social Security numbers.12 While these
 workers’ contributions have been significant, they are far less than what they              already working in the
 could be if the United States created the opportunity for undocumented work-
 ers to both legally work and pay taxes.                                                     United States to come

 Under a deferred action program, undocumented immigrants whose applica-                     forward and pay taxes.
 tions for a work permit have been approved would receive an Employment
 Authorization Card, or EAC.13 These cards contain a unique nine-digit number.
 Similar to a Social Security number, an EAC proves that an individual is eligible
 to work legally and allows him or her to fill out the needed IRS forms with an
 employer to contribute payroll taxes. Given that only a minority of undocumented
 workers and their employers are currently paying payroll taxes, providing undocu-
 mented immigrants with EACs would lead to a significant increase in the number
 of workers and employers contributing payroll taxes. Ultimately, extending a work
 permit to undocumented immigrants will create a path for those already working
 in the United States to come forward and pay taxes.

 4   Center for American Progress | Administrative Action on Immigration Reform
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 Higher wages for workers,
 increased tax revenues for America

 In addition to putting more employers and workers on the books, tax revenues
 would increase because the acquisition of a temporary work permit would likely
 increase the earnings of undocumented immigrants for two main reasons:

 • It enables workers to shed the negative effect their immigration status has on
   their earnings.
 • It allows undocumented workers to have full access to the labor market,
   enabling them to find jobs that match their skills and maximize their earnings.

 Since payroll tax contributions are based on an employee’s wages, as an employee’s
 earnings increase, their tax contributions generally increase as well.14



 Eliminating negative wage effects of undocumented status

 The interaction between our broken immigration system and employment and
 labor laws have made undocumented workers more susceptible to exploitation in
 the workplace, leading them to earn lower wages than they otherwise could.

 Undocumented immigrants, while not legally allowed to work in the United
 States, are still covered by many U.S. employment and labor laws, such as mini-
 mum-wage requirements and the right to organize a union.15 Despite having the
 same workplace rights as other American workers, undocumented immigrants in
 practice are not able to execute their workplace rights, making them more vul-
 nerable to exploitation.16 Given that in recent history, immigration officials have
 conducted enforcement actions in the interior of the country at workplaces or
 roadside checkpoints, rather than just at the border, many undocumented workers
 are fearful of coming forward and identifying employer wrongdoing.17 Similarly,
 employers use their duty to check workers’ immigration status under IRCA as
 a tool to deter employment complaints or to retaliate against undocumented
 immigrants who file such complaints.18 Thus, unscrupulous employers are able to
 take advantage of undocumented immigrants with minimal fear of being caught or
 penalized for their unlawful employment practices.

 5   Center for American Progress | Administrative Action on Immigration Reform
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 As a result of this tension between our immigration and employ-
 ment laws, researchers have found that undocumented immi-                 Undermining undocumented
 grants are nearly two times more likely to be paid below minimum
                                                                           immigrants’ workplace rights
 wage than native-born workers.19 Similarly, a study of undocu-
                                                                           harms all workers
 mented workers in Chicago found that these workers were three
 times more likely than documented immigrants to experience                In the United States, labor and employment laws
 wage theft—such as nonpayment or underpayment of wages20                  are most effective when everyone covered by
 —and 1.8 times more likely to work in unsafe conditions.21                these laws are able to execute their rights. Stifling
                                                                           undocumented workers employment rights,
                                                                           therefore, means that all workers are at a greater
 Providing a temporary work permit would remove the vulner-
                                                                           risk of being victims of unlawful employment
 ability associated with unlawful immigration status and dimin-            practices. Most employment investigations are
 ish the likelihood of employers exploiting undocumented                   initiated by individual workers filing complaints
 workers. Moreover, in the event that workers are still exploited,         against their employers. Thus, if undocumented
 they will be better positioned to exert their workplace rights,           immigrants are not able to report an employer’s il-
 since they will not be afraid that invoking their rights will result      legal practices, then all workers who are victims of
 in deportation. In short, allowing undocumented immigrants to             this wrongdoing are less likely to receive relief. In
 work legally decreases their workplace vulnerability, and their           addition, penalties imposed on employers aim not
                                                                           only to correct a specific instance of wrongdoing
 earnings will likely rise as a result.
                                                                           but also to deter other businesses from engag-
                                                                           ing in similar unlawful practices. The likelihood
                                                                           of other employers engaging in unlawful actions
 Increasing undocumented immigrants’                                       against American workers, therefore, increases
 labor-market mobility                                                     as the deterrence effect of enforcing labor and
                                                                           employment laws is weakened by undocumented
 There are millions of undocumented immigrants already working             immigrants’ inability to file formal complaints.
 in our economy in a variety of jobs. Their experience in the labor
 market at large, however, is very different than that of legal work-
 ers. Since it is illegal for employers to knowingly hire an undocumented immi-
 grant, these workers often self-select into jobs that minimize their risk of being
 detected as an undocumented immigrant and ultimately deported.22 The result
 is that undocumented workers frequently find themselves in low-wage jobs with
 little opportunity for upward occupational mobility.23 Unlike other workers in
 the labor market who can maximize their earnings by finding jobs that best match
 their skills and abilities, undocumented immigrants cannot do this and therefore
 ultimately earn less than they otherwise could.24

 For example, higher levels of education generally lead to higher earnings: A per-
 son with a high school degree is likely able to make more money than a person
 who has not graduated from high school, and so on. The relationship between
 education and earnings, however, is drastically different for undocumented




 6   Center for American Progress | Administrative Action on Immigration Reform
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 immigrants than it is for legal immigrants.25 One study found that legal Mexican
 immigrants’ wage returns on education attainment were double the returns
 observed by undocumented Mexican immigrants.26

 A temporary work permit would give undocumented workers greater labor-mar-
 ket mobility, allowing them to realize the wage potential of their skills. The ability
 to work legally allows undocumented immigrants to access jobs that value their
 human capital and compensate them fairly for it.




 7   Center for American Progress | Administrative Action on Immigration Reform
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 Estimating the fiscal benefits
 of administrative action

 It is clear from the discussion above that deferred action would increase payroll
 tax revenues, but by how much?

 If President Obama takes administrative action, there are many groups of undocu-
 mented immigrants who might benefit from deferred action. For example, the
 president could extend a deferred action program to undocumented immigrants
 who have been in the United States for at least five years, or he could extend the
 program to a smaller group, such as undocumented immigrants with minor chil-
 dren in the United States. In the following analysis, CAP estimates fiscal benefits
 if a deferred action program were available to three different groups of undocu-
 mented immigrants. (see Table 2)

 After considering the wage effects of acquiring legal status and analyzing cur-
 rent wage gaps between undocumented and legal immigrants, it is reasonable to
 expect undocumented immigrants’ wages to increase by about 8.5 percent under
 a deferred action program. (see the Appendix for a full discussion of the wage
 effects of deferred action) Moreover, the analysis assumes that undocumented
 immigrants who receive a work permit would have similar labor-force participation
 and employment rates as legal, noncitizen immigrants. Finally, since 38 percent of
 undocumented immigrants are already paying payroll taxes, the analysis assumes
 that the remaining 62 percent of undocumented workers will go on the books for
 the first time. (see the Appendix for a full discussion of the methodology)




 8   Center for American Progress | Administrative Action on Immigration Reform
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 TABLE 2
 Fiscal benefits from deferred action
 Increase in payroll tax revenues by criteria of eligibility
                                       Number of eligible
                                                            Payroll tax gain   Cumulative payroll
                                        undocumented
                                                              in first year,   tax gains over five
                                         immigrants,
                                                               in billions      years, in billions
                                          in millions

 U.S. residency for at least
                                                   9.95          $6.08               $44.96
 5 years

 U.S. residency for at least
                                                   7.4           $4.52               $33.44
 10 years

 Undocumented immi-
 grants with
                                                   4.7           $2.87               $21.24
 a minor child in the
 United States

 Source: Author’s calculations. See Methodology.




 This analysis shows that the United States would observe significant increases in
 payroll tax revenues if any of these groups were eligible for work permits under a
 deferred action program. Most notably, the analysis illustrates that benefits would
 begin accruing immediately. Within the first year of a program being established,
 U.S. tax revenues would increase by $6.08 billion, if undocumented immigrants
 with at least five years of U.S. residency were eligible to apply.27 Since not all
 eligible individuals will be able to apply and receive a permit within the first year,
 the tax gains will continue to rise as more immigrants receive their temporary
 work permit. Over five years, the benefits would only continue to grow to an
 estimated total of $44.96 billion.28




 9    Center for American Progress | Administrative Action on Immigration Reform
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  FIGURE 1
  Payroll tax revenue gains from deferred action
  First-year increase in payroll tax revenues by number of eligible immigrants
                                                              $7
      Payroll tax contributions, in billions


                                                                                4.7 million
                                                              $6          undocumented
                                                                        immigrants with a
                                                              $5
                                                                         minor child in the
                                                              $4            United States
                                                                         would contribute                                                                   9.95 million undocumented
                                                              $3           $2.87 billion.                                                                    immigrants who have lived
                                                                                                                          7.4 million undocumented             in the United States for at
                                                              $2                                                   immigrants who have lived in the                 least five years would
                                                              $1                                                    United States for at least 10 years       contribute $6.08 billion.
                                                                                                                    would contribute $4.52 billion.
                                                              $0
                                                                    1            2            3         4               5          6             7             8               9             10
                                                                                                  Number of eligible undocumented immigrants, in millions


  Cumulative payroll tax revenue gains over five years by number of eligible undocumented immigrant
                                                              $50
          Cumulative payroll tax contributions, in billions




                                                                                4.7 million
                                                              $40         undocumented
                                                                        immigrants with a
                                                                         minor child in the
                                                              $30           United States
                                                                                                                                                            9.95 million undocumented
                                                                         would contribute
                                                                                                                                                             immigrants who have lived
                                                                          $21.24 billion.
                                                              $20                                                                                              in the United States for at
                                                                                                                          7.4 million undocumented                  least five years would
                                                                                                                   immigrants who have lived in the         contribute $44.96 billion.
                                                              $10                                                   United States for at least 10 years
                                                                                                                   would contribute $33.44 billion.

                                                               $0
                                                                    1             2           3         4               5          6             7             8               9             10
                                                                                                  Number of eligible undocumented immigrants, in millions
  Source: Author's calculations. See Methodology.




 Similarly, if undocumented immigrants with minor children in the United States
 were able to apply for deferred action, tax revenues would increase by an esti-
 mated $2.87 billion in the first year and grow to an estimated $21.24 billion over
 five years.29 These findings indicate that the larger the number of undocumented
 immigrants who are covered by a deferred action program, the larger the tax rev-
 enue gains will be. Therefore, it would be in the United States’ financial interest to
 ensure that as many immigrants as possible who are eligible for a deferred action
 program are able to apply and receive work permits as soon as possible.




 10                                                 Center for American Progress | Administrative Action on Immigration Reform
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Impact of deferred action on American workers


The impact of providing temporary work permits to undocumented             modation sector,32 but these workers are not distributed evenly across
immigrants would not negatively affect American workers’ job op-           jobs within the industry. Instead, the majority of immigrants work
portunities or their wages. While an undocumented immigrant will           within only five occupations in the accommodation industry and fill 53
have greater access to the labor market and be able to apply for a         percent of all housekeeping jobs in the sector. Conversely, the majority
wider range of jobs, this will not increase labor-market competition for   of native-born workers are concentrated in higher skilled jobs and ac-
native-born workers. This is because undocumented immigrants—de-           count for nearly 90 percent of all desk clerks in the industry.33
spite greater mobility in the labor market—will not be applying for the
same jobs as native-born workers. For a better understanding of why        The experience of the broader, legal immigrant population in the
providing work permits to undocumented immigrants will not increase        labor force indicates that providing greater labor-market mobil-
competition for native-born workers, consider the current labor-market     ity to immigrants would not take jobs away from Americans but
relationship between legal immigrant workers and the native born.          instead would allow them to enter jobs that complement the work
                                                                           of native-born workers.
Researchers have long found that immigrants at large—not just un-
documented immigrants—and native-born workers do not compete               Similarly, undocumented immigrants’ increase in earnings will not
for the same jobs; instead, they often complement each other in the        have a negative wage effect on native-born workers. The reasoning
workforce as immigrants and native-born workers tend to work in            is straightforward: As immigrants earn more, they will spend more,
different industries.30 Even when they do work in the same industries,     leading to greater demand for goods and services and potentially
immigrants and native-born workers often occupy different jobs.31 For      higher profits for businesses. This will likely result not only in job cre-
example, immigrants make up 31 percent of all workers in the accom-        ation but also in higher wages for all workers as the economy grows.34




            The fiscal benefits of providing deferred action are significant, but they are far less
            than the fiscal and economic benefits of legislative immigration reform. As the
            analysis shows, the fiscal benefits of deferred action stem in part from the increase
            in earnings it would generate for undocumented immigrants. While deferred
            action will lead to an estimated 8.5 percent increase in wages, another CAP study
            shows that legislative reform that provides a pathway to citizenship would result in
            a 25 percent boost in earnings—meaning tax contributions and economic growth
            would be larger.35 The reason why legislative reform provides a higher wage
            increase is simple: The permanent nature of this reform creates an incentive for
            immigrants to invest in their education, which subsequently raises wages further.
            Moreover, researchers have found that the acquisition of citizenship is associ-
            ated with a 10 percent increase in wages.36 Comprehensive reform that includes a
            pathway to citizenship will, therefore, further boost immigration earnings, leading
            to bigger fiscal and economic impacts.




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 Conclusion

 A deferred action program that provides both a temporary reprieve from depor-
 tation and a work permit for millions of undocumented immigrants would offer
 much needed relief to American families and would mark an important step
 toward fixing our broken immigration system. But it isn’t just immigrant families
 that would benefit from this program: All Americans would be better off as the
 program would increase U.S. tax revenues.

 Our current broken immigration system has pushed undocumented work under-
 ground and resulted in the loss of billions of dollars in payroll taxes every year. A
 deferred action program would help fix this problem by allowing undocumented
 immigrants to apply for a temporary work permit, work legally, and move freely
 around the labor market to find jobs that best suit their skills. This would result in
 more workers being on the books and paying taxes, in addition to earning higher
 wages, resulting in a further boost in payroll tax revenues.

 In the first year of a deferred action program alone, the United States stands to
 gain $6.08 billion in payroll taxes.37 While these gains are significant, they are far
 less than the fiscal and economic benefits of full legislative reform. A pathway
 to citizenship would provide a greater increase in undocumented immigrants
 earnings and therefore generate a greater cascade of fiscal and economic benefits.
 In fact, the Congressional Budget Office has estimated that the Senate’s immigra-
 tion reform bill S. 744 would reduce the nation’s deficit by $135 billion over 10
 years.38 The analysis in this report shows that it is in all Americans’ best interest for
 President Obama to establish an expanded deferred action program to begin to fix
 our broken immigration system.




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 Appendix

 Methodology


 Estimating the wage gains of a temporary work permit

 In general, the effects of legalization on undocumented immigrants’ wages are the
 function of three things:

 • Changes in characteristics and human capital
 • Changes in the returns on human capital
 • The removal of discriminatory effect of one’s undocumented status

 Under a deferred action program, one would expect wages to increase due to the
 last two factors: A temporary work permit would increase labor-market mobility
 and would remove undocumented immigrants’ vulnerability to exploitation. It
 should be noted, however, that a temporary work permit may spur undocumented
 immigrants to invest in their human capital. In this analysis, we do not account for
 that effect as there is not a good indication of how much investment might occur.

 In this report’s analysis, CAP assumes that deferred action would increase the
 undocumented immigrants’ wages by 8.5 percent. This estimate is the midpoint
 between two different estimates of wage increases that might occur under a
 deferred action program. While no one can be completely certain about what
 will happen to undocumented immigrants’ future earnings, we considered likely
 increases under two approaches:

 • Historical: We can use the experience of immigrants in previous legalization
   programs to glean what might happen to undocumented immigrants’ earnings
   under a deferred action program.

 • Current disparities: The current wage differentials between undocumented
   immigrants and legal immigrants serve as a good indication of how much a
   worker’s wages would increase as a result of receiving a temporary work permit.

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 Lessons from the Immigration Reform and Control Act
 The United States passed the Immigration Reform and Control Act, or IRCA,
 in 1986, which legalized nearly 3 million undocumented immigrants in the
 United States.39 In the years following the enactment of IRCA, the United States
 conducted an extensive survey of recipients of legal status. Through this survey,
 researchers were able to identify the wage gains undocumented immigrants
 experienced after receiving legal status. The Department of Labor estimated that
 on average, immigrants’ earnings increased by 15 percent.40 Similarly, Rivera-Batiz
 found that on average, immigrants’ earnings increased by 17.7 percent. This wage
 gain, however, is not just the result of correcting the negative consequences of a
 worker’s undocumented status; it also reflects undocumented immigrants’ invest-
 ments in their human capital, such as increasing their level of education.

 While a deferred action program would likely increase undocumented immi-
 grants’ wages, the temporary nature of the program may not create the same
 incentive for undocumented immigrants to invest in their human capital. Thus,
 using immigrants’ wage gains under IRCA as an estimate of the potential increase
 in earnings under a deferred action program requires isolating the increase in
 wages that were due to immigrants’ change in legal status alone.

 Through the use of a Blinder-Oaxaca wage decomposition,41 researchers have been
 able to identify which share of the wage increase under IRCA is attributed to immi-
 grants’ change in legal status and how much is due to changes in human capital and
 other characteristics. Francisco Rivera-Batiz found that 40 percent of the observed
 wage gain by undocumented immigrant under IRCA was due to changes in their
 education attainment, language skills, and other measurable characteristic, while 60
 percent of the boost in earnings cannot be explained.42 In describing this portion of
 the wage gap, Rivera-Batiz writes that the unexplained wage gains “strongly suggest
 that the change in the legal status of [undocumented] immigrants had a strong
 positive effect on their earnings.”43 In other words, the unexplained portion of the
 wage decomposition can be viewed as a proxy for the increase in earnings due to a
 change in legal status. Thus, under IRCA, undocumented immigrants observed a
 10.5 percent wage increase as a result of acquiring legal status.

 Similar to the immigrants who received legal status through IRCA, undocu-
 mented immigrants who could apply for deferred action would be able to shed
 the negative wage effects of their unlawful immigration status. Thus, Rivera-Batiz’s
 analysis of undocumented immigrants’ experiences under IRCA provides a good




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 estimate of how much the earnings of undocumented immigrants would increase
 if they were eligible for deferred action. To be sure, some of the unobservable
 wage increases in Rivera-Batiz’s analysis may be due to less easily measurable
 changes in characteristics such as health outcomes. However, the changes that
 occurred as a result of changes in legal status under IRCA would likely also occur
 under deferred action as well.



 Current wage disparities between undocumented
 immigrants and legal immigrants

 A second approach to estimating the wage increase of undocumented immigrants
 if they received a temporary work permit is to identify the current wage penalty
 for being undocumented.

 Using the American Community Survey, or ACS, CAP first identified likely
 undocumented Mexican immigrants and legal noncitizen Mexican immigrants
 through an augmented residual method.44 Specifically, CAP used year of entry,
 government employee status, recipient of welfare benefits, veteran status, occupa-
 tion, health insurance coverage, and other indicators to identify likely undocu-
 mented Mexican immigrants in the ACS. CAP then estimated that the wage
 gap between undocumented Mexican immigrants and legal noncitizen Mexican
 immigrants is 9.89 percent. CAP conducted a Blinder-Oaxaca wage decomposi-
 tion to identify which portion of the wage gap is due to difference in measurable
 characteristics between the two groups. In the analysis, we controlled for the
 following: age, sex, marital status, number of children, English language abilities,
 education attainment, recent entry into the United States, self-employment status,
 and average hours of work.

 CAP found that differences in measurable characteristics can explain 34 percent of
 the 9.89 percent wage gap, meaning that there is a 3.4 percent wage gap between
 undocumented Mexican immigrants and legal noncitizen Mexican immigrants as
 a result of difference in group characteristics.45

 Most importantly, however, the wage decomposition illustrated that 66 percent of
 the 9.89 percent wage gap between the two groups cannot be explained by mea-
 surable characteristics. In other words, there is a 6.5 percent wage gap between
 undocumented Mexican immigrants and legal noncitizen Mexican immigrants due
 to reasons not explained by measurable characteristics. This 6.5 percent wage gap is




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 a reasonable estimate of the negative wage impact that undocumented immigrants
 experience due to their legal status.46 These findings are consistent with other stud-
 ies. For example, Mathew Hall and his co-researchers found that, when controlling
 for other characteristics, legal status was associated with a 2.73 percent wage advan-
 tage for Mexican women and a 7.42 percent wage advantage for Mexican men.47

 CAP selected to use a Blinder-Oaxaca wage decomposition for two reason: First, to
 ensure that the approach was similar and consistent with that used by Rivera-Batiz;
 but more importantly, because it is a common approach when attempting to quan-
 tify the wage impact of discrimination in the workplace. Similar to discrimination
 based on race or sex, the negative wage effects of an undocumented status are the
 result of discrimination and or exploitation by employers on the basis of a worker’s
 immigration status. Therefore, the use of a Blinder-Oaxaca wage decomposition is a
 reasonable way to quantify the negative wage impact of a workers unlawful status.

 Similar to the conclusions that can be drawn from Rivera-Batiz’s study, CAP’s
 analysis indicates that undocumented Mexican immigrants’ wages will increase
 by about 6.5 percent with the acquisition of a temporary work permit, as it would
 eliminate the negative wage effects associated with their undocumented status.



 Estimating payroll tax contributions

 CAP estimated the increase in payroll tax revenues contributed by undocumented
 immigrants and their employers by identifying which share of undocumented
 immigrants already pay payroll taxes, estimating undocumented immigrants’
 earnings, and the wage increase that would result from acquiring a temporary
 work permit. The analysis assumes that 38 percent of undocumented immigrants
 already pay taxes, meaning that 62 percent of undocumented immigrant would
 contribute payroll taxes for the first time. Using the sample of likely undocu-
 mented Mexican immigrants, CAP estimates that the average earnings of undocu-
 mented workers is $22,029. The analysis assumes that earnings of undocumented
 immigrants would increase by 8.5 percent. This number is the midpoint between
 the wage gains estimated under the two approaches discussed above.

 Under this analysis, CAP utilized the application rates observed under DACA
 and assumes that similar application rates would occur under a deferred action
 program. Specifically, CAP utilized a 62 percent application rate in the first year
 and raised it to 68 percent by the second year based on DACA. Recognizing that




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 applications would be filed over the course of two years, CAP phased in the acqui-
 sition of temporary work permits over the first two years, meaning the payroll tax
 benefits are also phased in. Moreover, CAP applied the labor-force participation
 rate and unemployment rates of noncitizen immigrants to the undocumented
 population under deferred action.



 Literature review

 There are multiple studies that have considered IRCA’s effect on the wages of for-
 merly undocumented immigrants. A review of the literature below is divided into
 studies that identify the wage impact of legalization and wage disparities between
 undocumented workers and legal workers.



 Wage impact of legalization

 Department of Labor (1996)
 Charged by Congress to investigate the social and economic characteristics of
 undocumented immigrants who were legalized under IRCA, the Department of
 Labor, or DOL, released a report in 1996 that, in part, identified what happened
 to the earnings of formerly undocumented immigrants five years after legalization.
 Specifically in this study, the DOL compared the earnings of undocumented
 immigrants at the time they applied for legal status to their earnings in 1992. The
 report found that legalized workers’ earnings rose on average by 15 percent. The
 DOL utilized the Legalized Population Survey to make these estimates and only
 studied those immigrants who received legal status under section 245A of the
 Immigration and Nationality Act.48

 Sherrie A. Kossoudji and Deborah A. Cobb-Clark (2002)
 In this study, Kossoudji and Cobb-Clark aimed to determine whether observed
 changes in formerly undocumented immigrants’ wages were the result of the
 acquisition of legal status or merely changes in the labor market, which affect
 wages. In order to answer this question, the authors compared the changes in
 undocumented immigrants’ earnings in the Legalization Population Survey, or
 LPS, to a group of legal workers in the National Longitudinal Survey of Youth.
 The authors first found that legalization lead to a change in the wage determi-
 nants of formerly undocumented immigrants. Specifically, they found that lack of
 English language ability after legalization led to higher wage penalties. They also




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 found that post legalization, workers received higher returns on their education
 levels, with the greatest increase on returns occurring for those with higher than
 a high school education. When taking into account the changes that occurred to
 the wages of the comparison group between 1986 and 1992, the authors con-
 cluded that the earnings of undocumented immigrants increased by 6 percent as
 a result of changes in returns on human capital. This estimate does not include
 increases in earnings as a result of changes in human capital.49

 Francisco L. Rivera-Batiz (1999)
 As described in the report above, Rivera-Batiz compared undocumented workers’
 wages before legalization to their earnings after they acquired legal status. Rivera-
 Batiz utilized the LPS to conduct this analysis. Similar to the DOL study, he found
 that wages of formerly undocumented men increased by 14.8 percent and the
 wages of women increased by 20.6 percent. On average, he found that 40 percent
 of the wage gains were due to changes in human capital and other characteristics.50



 Wage disparity

 Similar to the analysis CAP performed to identify the wage disparity between
 legal and undocumented immigrants, there are other studies that have compared
 the earnings of legal workers to that of undocumented workers. The following is a
 brief review of the most recent literature.

 Sherrie A. Kossoudji and Deborah A. Cobb-Clark (2002)
 In addition to looking at legalization’s impact on earnings, Kossoudji and Cobb-
 Clark also identified the wage gaps between undocumented and legal workers
 prior to legalization. The authors compared earnings of undocumented immi-
 grants as reported in the LPS survey to those of legal workers—both immigrants
 and natives—in the National Longitudinal Youth Survey. The authors found
 that if undocumented immigrants had received the wage returns of legal work-
 ers, their earnings would be 14 percent to 26 percent higher. It should be noted,
 however, that the authors were comparing undocumented immigrants to both
 legal immigrants—citizens and noncitizens—in addition to native-born workers.
 The authors’ comparison group is much broader than that used in CAP’s analysis,
 and therefore the result from this study is expected to be larger than that of CAP’s
 since both legal status and citizenship are associated with higher earnings.51




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 Mathew Hall and others (2010)
 This study’s authors compared the wage disparity between legal Mexican immi-
 grants to undocumented Mexican immigrants as reported in the Survey of Income
 and Program Participation. Additionally, the authors identified differences in wage
 determinants between these two groups. Similar to Kossoudji and Cobb-Clark,
 this study also found that undocumented workers received lower returns on their
 human capital, specifically education, than legal immigrants. With respect to the
 authors’ analysis of wage disparities, they found that after controlling for human
 capital, undocumented men earned 7.5 percent less than legal immigrant men,
 and women earned 3.8 percent less than legal immigrant women.52




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 Endnotes

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    2014).                                                         of earnings that are subject to payroll taxes. In 2014,
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    able Patrick J. Leahy, July 3, 2013 available at http://       Benefit Base,” available at http://www.ssa.gov/oact/
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                                                                   ployee.” In Rutherford Food Corp v. McComb (331 U.S.
  5 U.S. Citizenship and Immigration Services, “ Consider-         722), the Supreme Court ruled that when determining
    ation of Deferred Action for Childhood Arrivals (DACA),”       whether or not a worker qualifies as an “employee,”
    available at http://www.uscis.gov/humanitarian/                courts need only consider the day-to-day interaction
    consideration-deferred-action-childhood-arrivals-daca          between the worker and the employer. Thus, a worker’s
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  8 Under the Immigration Reform and Control Act, it is un-        tion duties to stifle workers’ employment rights, see
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    immigrants (8 USC Sec 1324 a). Despite this prohibition,       reform Will Benefit American Workers.”
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    Social Security card and therefore cannot file payroll         Unprotected Workers: Violations of Employment and
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    noted that self-employed undocumented immigrants               ing out of the Shadows: Learning about Legal Status
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    immigrants and a review of literature on the oc-                 in earnings with the acquisition of citizenship. For ex-
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    mented immigrants had the same return on human                   mated Impact on the Federal Budget for 2014 through
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    of immigrants on native-born workers but also identify
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    workers” (Washington: Economic Policy Institute, 2010).       49 Kossoudji and Cobb-Clark, “Coming out of the Shad-
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    analysis, that native-born workers had a slight increase
    in earnings as a result of immigration.                       50 Rivera-Batiz, “Undocumented workers in the labor
                                                                     market.”
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    Effects of Granting Legal Status and Citizenship to           51 Kossoudji and Cobb-Clark “Coming out of the Shad-
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    www.americanprogress.org/issues/immigration/                  52 Hall, Greenman, and Farkas, “Legal Status and Wage
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    ed-immigrants/.




 22    Center for American Progress | Administrative Action on Immigration Reform
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   for all. We believe that Americans are bound together by a common commitment to
   these values and we aspire to ensure that our national policies reflect these values.
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                     News from the
                     Fiscal Policy Institute
November 21, 2014
For immediate release

Contact
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  President’s Immigration Action Expected to Benefit Economy
     Higher Tax Revenues Expected, and Positive Impact on U.S.-Born Workers
In response to President Obama’s announcement that he will use the power of the executive office to
shield about 5 million people from deportation and give them authorization to work, the Fiscal Policy
Institute has prepared answers to the following questions.

What are the economic implications of administrative relief?

The Fiscal Policy Institute expects a 5 to 10 percent increase in wages for the roughly 5 million workers
expected to be eligible for legal work status. A number of studies have looked at the economic benefits of
gaining full legal status. In 2013, the Fiscal Policy Institute did a meta-study of these analyses, and found
that they converged around the conclusion that the wage gain is about 10 percent.

David Dyssegaard Kallick, director of the Fiscal Policy Institute’s Immigration Research Initiative,
explains the reason for the wage gain: “Administrative relief should help currently unauthorized
immigrants to find a better job match, and they will be less likely to be taken advantage of by employers.”

“We’re talking about immigrants who are already here, so the issue is not new workers competing with
existing ones,” adds Jared Bernstein, senior fellow of the Center on Budget and Policy Priorities. “In fact,
bringing these workers out of the shadows will not only boost their wages, it could also bring some
improvement for other workers. After all, if you find yourself working next to a group of workers who
can be taken advantage of by your employer, that’s bad for them but it’s bad for you, too.”

What about the impact on taxes and spending?

The net fiscal implications are expected to be clearly positive.

Immigrants who gain this status will be paying taxes, and they will pay them on somewhat higher
earnings than they have today. This will not change eligibility for programs such as SNAP (Food Stamps)
or Temporary Assistance for Needy Families, and the newly registered immigrants are specifically
excluded from subsidies in the Affordable Care Act.

State and local tax revenues would increase as a result of administrative relief. The Institute on Taxation




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and Economic Policy (ITEP) modeled a closely related question in 2013, and provides a state-by-state
breakdown. Tax revenues would go up for two reasons. First, immigrants would be paying taxes on
higher wages (see above). And second, they would be brought into full compliance in paying taxes.

The ITEP analysis considered a scenario in which all of the estimated 11 million unauthorized immigrants
were given legal status. Administrative reform would be available to a little less than half that number,
and wage gains would also be lower, so we estimate the gains in state and local tax revenues to be
correspondingly lower. How much less? About a third to a half the size, at a first very rough
approximation. The main reason is that administrative relief is expected to cover fewer people.

Looking at the cumulative gain in state and local taxes in all 50 states, Matt Gardner, executive director of
the Institute on Taxation and Economic Policy, concludes: “President Obama’s executive action could
raise nearly a billion dollars a year in new state and local tax revenue—and our research suggests that if
Congress were to enact a more comprehensive approach to legalizing undocumented families, the states
could bring in twice that amount.”

In New York State, for example, the net gain due to administrative relief would be about $100 million in
added state and local revenues per year.

What about federal taxes and spending?

Even before this action, roughly half of unauthorized immigrants had payroll taxes withheld (which
account for the biggest tax payment for all low-wage workers), and about the same share filed income tax
returns. Immigrants granted administrative relief would be brought into full compliance on both payroll
and income taxes.

The Council of Economic Advisors put out a report today that estimates that the federal deficit would be
reduced by $25 billion over the next 10 years as a result of the administrative relief.

Is this the immigration reform we’ve been waiting for?

This is a major step forward. But, it is not a full immigration reform. It leaves an estimated 6 million
unauthorized immigrants in the shadows. It does not address a system for workplace IDs. And, it does not
address the question of future flows of legal immigrants. To implement a full immigration reform, as
envisioned for example in the Senate bill passed in 2013, requires either that the House of Representatives
vote on S.744, or that both houses pass a new immigration reform bill.

“It’s a very good moment for the president to be doing this,” Kallick adds. “There has been comparatively
little unauthorized immigration in recent years. The next obvious step is for Congress to pass a bill that
will not just be a stopgap measure but will address this problem permanently.”




The Fiscal Policy Institute (www.fiscalpolicy.org) is an independent, nonpartisan, nonprofit research and education
organization committed to improving public policies and private practices to better the economic and social
conditions of all New Yorkers. FPI’s Immigration Research Initiative looks at immigration issues in New York State,
and around the country.




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                                                                                       August 2013

 HOW DACA IS IMPACTING THE LIVES OF THOSE WHO ARE NOW DACAMENTED:
        Preliminary Findings from the National UnDACAmented Research Project

                  Roberto G. Gonzales, Harvard Graduate School of Education
                    Veronica Terriquez, University of Southern California


As Congress continues to debate immigration reform, August 15th marks the one-year
anniversary of the Deferred Action for Childhood Arrivals (DACA) program. While not granting
a path to legalization and citizenship, DACA provides an opportunity for a segment of the
undocumented immigrant population to remain in the country without fear of deportation, allows
them to apply for work permits, and increases their opportunities for economic and social
incorporation. This research summary presents preliminary findings on the impact that DACA
has had on some of the young people who have received it.

We find that the DACA recipients we surveyed experienced a pronounced increase in economic
opportunities, such as getting a new job, opening their first bank account, and obtaining their first
credit card. Many seek further social integration beyond DACA. In fact, almost all DACA
recipients indicate that they would apply for U.S. citizenship if given the opportunity. Our study
also shows that DACA recipients are often fearful that family members and friends could be
deported at any time. Overall, our research indicates that although DACA opens up some
economic opportunities for young aspiring Americans, it does not address the constant threat of
deportation still facing those closest to them, including mothers, fathers, and siblings.

The findings from this research summary come from the National UnDACAmented Research
Project (NURP), a longitudinal mixed-methods study of the impact of DACA on the educational,
labor market, health, and civic engagement outcomes of young adult immigrants. The analysis
presented here draws from a national survey of 1,402 young adults ages 18-31 who were
approved for DACA through June 2013. While DACA eligibility is open to minors, our study
focuses on young adult DACA recipients.

DACA contributes to the economic and social incorporation of young adult immigrants.
Since receiving DACA, young adult immigrants have become more integrated into the nation’s
economic institutions. Approximately 61% of DACA recipients surveyed have obtained a new
job since receiving DACA. Meanwhile, over half have opened their first bank account, and 38%
have obtained their first credit card. Additionally, 61% have obtained a driver’s license, which




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has likely widened educational, employment, and other options for these young adult immigrants
{Figure 1}.

           Figure 1: Economic and Social Incorporation Since Receiving DACA




DACA recipients would likely become U.S. citizens if given the opportunity. Ninety-four
percent of survey respondents indicated that they would apply for citizenship if ever eligible.
This finding suggests that DACA recipients seek to be further integrated into U.S. society.

Although DACA recipients are experiencing its benefits, they continue to encounter
hardships related to the blocked pathway to legalization of their families and communities.
Over the last several years, enforcement efforts have heightened levels of anxiety in immigrant
communities and torn apart families. Survey results indicate that 49% of respondents worry “all
of the time” or “most of the time” that friends and family members will be deported.

Nearly 2/3 of DACA recipients personally know someone who has been deported.
Approximately 14% of DACA recipients in this study have experienced the deportation of a
parent or sibling. These young adults are likely to have suffered significant stress and family
hardships as a result of the forced departure of a close family member. Notably, nearly another
third (31%) of respondents report that other family members have been deported. Almost half
report that they know a neighbor, coworker, friend, or other acquaintance who has been deported
{Figure 2}.




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                    Figure 2: DACA Recipients’ Connections to Deported Individuals




Comprehensive immigration reform that provides a pathway to legalization could benefit
close family members of most DACA recipients. Approximately 86% of DACA recipients
reported that their mother could potentially benefit from comprehensive immigration reform.
Meanwhile, 74% said their fathers could benefit, and 62% said their siblings could benefit from
such a change in federal immigration policy {Figure 3}. 1

    Figure 3: Family Members Potentially Impacted by Comprehensive Immigration Reform




Description of Study Participants. NURP Survey respondents are slightly more diverse in terms of national origin
when compared to all DACA recipients to date. Although nearly two-thirds come from Mexico, DACA recipients

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    These results are based on a subsample of 850 survey participants.




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from other parts of Latin America and the Caribbean, as well as Asia and the Pacific Islands, are well-represented in
the sample. Survey respondents average 23 years of age, and women comprise 59% of the sample.




                                 The NURP web survey was collected in collaboration with community-based,
educational, and campus organizations that serve immigrant populations. To date the survey contains DACA
recipients from 38 states. The survey results presented here do not rely on probability sampling and cannot be used
to develop population estimates for all DACA recipients. However, findings provide important insights into how
some DACA recipients are benefiting from temporary documentation, but continue to face challenges.

This study is funded by the MacArthur, James Irvine, and Heising-Simons Foundations.

This report is published by the IPC in collaboration with the Center for the Study of Immigrant Integration (CSII) at
the University of Southern California.




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              Insecure Communities:
    Latino Perceptions of Police Involvement in
            Immigration Enforcement




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                               May 2013




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      Executive Summary
      This report presents findings from a survey of Latinos regarding their perceptions of law
      enforcement authorities in light of the greater involvement of police in immigration enforcement.
      Lake Research Partners designed and administered a randomized telephone survey of 2,004
      Latinos living in the counties of Cook (Chicago), Harris (Houston), Los Angeles, and Maricopa
      (Phoenix). The survey was designed to assess the impact of police involvement in immigration
      enforcement on Latinos’ perceptions of public safety and their willingness to contact the police
      when crimes have been committed. The survey was conducted in English and Spanish by
      professional interviewers during the period November 17 to December 10, 2012.

      Survey results indicate that the increased involvement of police in immigration enforcement has
      significantly heightened the fears many Latinos have of the police, contributing to their social
      isolation and exacerbating their mistrust of law enforcement authorities. Key findings include:

      •   44 percent of Latinos surveyed reported they are less likely to contact police officers if
          they have been the victim of a crime because they fear that police officers will use this
          interaction as an opportunity to inquire into their immigration status or that of people they
          know.

      •   45 percent of Latinos stated that they are less likely to voluntarily offer information about
          crimes, and 45 percent are less likely to report a crime because they are afraid the police
          will ask them or people they know about their immigration status.

      •   70 percent of undocumented immigrants reported they are less likely to contact law
          enforcement authorities if they were victims of a crime.

      •   Fear of police contact is not confined to immigrants. For example, 28 percent of US-born
          Latinos said they are less likely to contact police officers if they have been the victim of a
          crime because they fear that police officers will use this interaction as an opportunity to
          inquire into their immigration status or that of people they know.

      •   38 percent of Latinos reported they feel like they are under more suspicion now that local
          law enforcement authorities have become involved in immigration enforcement. This figure
          includes 26 percent of US-born respondents, 40 percent of foreign-born respondents, and
          58 percent of undocumented immigrant respondents.

      •   When asked how often police officers stop Latinos without good reason or cause, 62
          percent said very or somewhat often, including 58 percent of US-born respondents,
          64 percent of foreign-born respondents, and 78 percent of undocumented immigrant
          respondents.




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These findings reveal one of the unintended consequences of the involvement of state and local
police in immigration enforcement – a reduction in public safety as Latinos’ mistrust of the police
increases as a result of the involvement of police in immigration enforcement. The following
conclusions can be drawn from the survey findings:

1.   Isolation and disconnectedness from police: Many Latinos feel isolated from the law
     enforcement officers who are sworn to protect them. More than four in ten say that
     because police are more involved in enforcing immigration laws they have become less
     likely to volunteer information about crimes because they fear getting caught in the web
     of immigration enforcement themselves or bringing unwanted attention to their family or
     friends.

2. Withdrawal: Many Latinos feel isolated and admit to withdrawing from their community.
   A large share feels under suspicion and is afraid to leave their homes. This sense of
   withdrawal by a substantial portion of Latinos in the counties surveyed has short- and
   long-term negative consequences for public safety and community life. In the short term,
   crimes become more difficult to solve as the social distance between police and residents
   increases. Over the long term, a significant segment of the population may withdraw and
   develop a fear of law enforcement authorities.

3. Diminished sense of public safety: Rather than feeling safer because of increased police
   involvement in immigration enforcement, many Latinos feel less safe. Many Latinos say
   criminals are moving into their neighborhoods, making them and their neighbors less safe,
   because criminals know residents are less likely to report them to police given the increased
   involvement of police in immigration enforcement. Few feel safer because of the increased
   focus on immigration by local law enforcement.

The findings presented here indicate that the greater involvement of police in immigration
enforcement has significantly heightened the fears many Latinos have of the police, contributing
to their social isolation and exacerbating their mistrust of law enforcement authorities. This
fear, isolation and mistrust, in turn, has led to a reduction in public safety, a serious negative
consequence of the involvement of police in immigration enforcement.




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      Introduction: The Role of State
      and Local Police in Immigration
      Enforcement
      This report presents findings from a survey                Historically, the control of migration to the
      of Latinos regarding their perceptions of                  United States has fallen under the purview and
      the police in light of state and local law                 authority of the federal government. The U.S.
      enforcement’s increasing involvement in                    Supreme Court has repeatedly affirmed that
      immigration enforcement.1 A randomized                     the federal government has broad and exclusive
      telephone survey of 2,004 Latinos living in the            powers to regulate immigration and to set
      counties of Cook (Chicago), Harris (Houston),              immigration policy. Nevertheless, over the past
      Los Angeles, and Maricopa (Phoenix) was                    two decades, state and local law enforcement
      conducted to assess the impact of police                   authorities have increasingly been drawn into
      involvement in immigration enforcement on                  the enforcement of immigration laws. There
      Latinos’ perceptions of public safety and their            now exists a patchwork of federal, state and
      willingness to contact the police when crimes              local laws, as well as numerous formal and
      have been committed.                                       informal agreements, that call on state and
                                                                 local law enforcement agencies to actively
      Survey results indicate that the greater                   participate in immigration enforcement (see
      involvement of police in immigration                       Meissner et al., 2013; Rodríquez et al., 2010;
      enforcement has significantly heightened                   Varsanyi, 2010).
      the fears many Latinos have of the police,
      contributing to their social isolation and                 These new provisions have not been without
      exacerbating their mistrust of law enforcement             controversy. Concerns have been raised
      authorities. The results show that substantial             that the increasing involvement of state and
      numbers of Latinos are less likely to voluntarily          local police in immigration enforcement will
      contact the police if they are the victim of a             increase the mistrust immigrant communities
      crime, or to provide information about a crime,            have towards the police, thereby reducing
      because they are afraid the police will ask them           public safety. More specifically, concerns
      or persons they know about their immigration               have been raised that by increasing the priority
      status. These findings highlight one of the                given to investigating immigration matters, law
      unintended consequences of the involvement                 enforcement resources will be directed away
      of state and local police in immigration                   from important public safety objectives; police
      enforcement – a reduction in public safety                 may resort to racial profiling or be prone to
      as residents’ mistrust of the police increases             violating the civil liberties of possible suspects;
      as a result of the involvement of police in                the financial costs of immigration enforcement
      immigration enforcement.                                   will come at the expense of other public-safety
                                                                 priorities; undocumented immigrants may
                             ******                              be victimized in greater numbers because
                                                                 they will be fearful of police contact; and
                                                                 the trust between police and communities
                                                                 that is essential for effective policing will be

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       Numerous studies have identified a gap in the research literature on Latino perceptions of policing and public
      safety, noting the paucity of studies that examine Latino perceptions and interactions with the police. See for
      example, Correia (2010); Menjívar and Bejarano (2004); Rosenbaum et al. (2005); Weitzer and Tuch (2005).



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undermined (Capps et al., 2011; International           aliens in the United States …, may carry out
Association of Chiefs of Police, 2007; Khashu,          such function at the expense of the State or
2009; Meissner et al., 2013; Stepick et al.,            political subdivision and to extent consistent
2013).                                                  with State and local law.”4 Should a state
                                                        or local law enforcement agency consent to
The clearest expression of the desire to                entering into an MOU, officers must receive
see greater collaboration between federal               training in federal immigration law, the agency
immigration authorities and state and local             must provide written certification that officers
law enforcement agencies can be seen                    are trained in immigration law, and any officer
in the 287(g) program and the Secure                    who engages in immigration enforcement
Communities program. In 1996, Congress                  is subject to the direction and supervision of
enacted legislation that formally expanded              the US Department of Homeland Security.
the role of state and local law enforcement             According to US Immigration and Customs
authorities in immigration enforcement. The             Enforcement (ICE), as of December 31,
Illegal Immigration Reform and Immigrant                2012, more than 1,300 state and local law
Responsibility Act (IIRIRA) amended the                 enforcement officers in 19 states have been
Immigration and Nationality Act of 1952 to              trained and certified to enforce immigration
allow the Immigration and Naturalization                law, and the budget devoted to 287(g)
Service to deputize state and local law                 agreements has increased from $5 million in
enforcement officials in the event of a “mass           fiscal year 2006 to $68 million in fiscal year
influx” of immigrants, provided that the state          2012 (ICE, 2013a,b).
or local law enforcement agency consents to
this new role.2                                         The Secure Communities program began in
                                                        2008 as a pilot initiative in 14 jurisdictions,
IIRIRA also revised Section 287(g) of the               but subsequently expanded to nearly all of
Immigration and Nationality Act to authorize            the nation’s 3,181 jails and prisons under
the U.S. Attorney General to enter into written         President Barack Obama.          Through the
memoranda of understanding (MOUs) with                  program, law enforcement authorities submit
state and local law enforcement authorities             the fingerprints of arrestees to immigration
to formally involve them in immigration                 databases, allowing ICE access to information
enforcement.3 The IIRIRA states that “the               about persons who are being held by
Attorney General may enter into a written               authorities. A number of concerns have been
agreement with a State, or any political                raised about Secure Communities, including
subdivision of a State, pursuant to which an            that “many of the immigrants who have been
officer or employee of the State or subdivision,        identified and deported through the program
who is determined by the Attorney General               are not serious or violent criminals, do not
to be qualified to perform a function of                pose a threat to public safety, and may not
an immigration officer in relation to the               have any criminal history at all;” it may lead
investigation, apprehension or detention of             to unnecessary detentions; and it might deter


2
  Pub. L. No. 104-208, 110 Stat. 3009-646 (1996) 8 U.S.C. § 1103(a)(10). In 2003, the responsibilities of
the Immigration and Naturalization Service were transferred to three entities within the US Department of
Homeland Security: US Citizenship and Immigration Services, US Immigration and Customs Enforcement, and
U.S. Customs and Border Protection. US Immigration and Customs Enforcement is the entity that currently is
empowered to enter into MOUs with state and local law enforcement agencies.

3
    8 U.S.C. § 1357(g).

4
    8 U.S.C. § 1357(g)(1).



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      witnesses from coming forward while also               cooperation [with the police]… Without
      contributing to a loss of trust of the police by       this cooperation, law enforcement will have
      local residents (Waslin, 2011: 8, 14, 12-13; see       difficulty apprehending and successfully
      also Stepick et al., 2013).                            prosecuting criminals, thereby reducing
                                                             overall public safety for the larger community.”
      However, according to ICE (2013b), “By                 Such concerns stem from the recognition that
      working together, local and federal officers           it is exceedingly difficult for law enforcement
      can better identify and remove criminal aliens         authorities to investigate crimes, apprehend
      – a tremendous benefit to public safety.”              criminals, and deter criminal activity without
      But does the involvement of state and local            the trust and active participation of local
      law enforcement agencies in immigration                residents. Moreover, it is not only immigrants
      enforcement actually contribute to an                  who are affected. Approximately 85 percent
      improvement of public safety? Analyzing                of immigrant families are mixed-status
      arrest and detention records for the Secure            families that include a combination of citizens,
      Communities program in Miami-Dade                      authorized immigrants, and undocumented
      County, Florida, Alex Stepick and colleagues           immigrants (Morawetz and Das, 2009).
      (2013: 7-8) found that only 18 percent of those        Therefore, the family and community
      targeted by the program were high-priority             dynamics that are set in motion by state
      risks to public safety, and that “the majority         and local law enforcement’s involvement in
      of removals [deportations] are individuals             immigration policing affects immigrants and
      who pose little or no risk to public safety.”          non-immigrants alike.
      The authors conclude, “ICE’s detention and
      deportation of immigrants for minor crimes,            The remainder of this report presents the
      ordinary misdemeanors, and non-offense                 results of a survey that was designed to
      incidents reduces trust of law enforcement”            measure how and to what extent police
      (Ibid., 3).                                            involvement in immigration enforcement has
                                                             affected Latinos’ perceptions of the police and
      A report published by the Police Foundation            public safety. The next section describes the
      (Khashu, 2009: 23) raised similar concerns             methodology used for conducting the survey.
      about the impact of police involvement in              This is followed by a presentation of survey
      immigration enforcement stating, “local police         findings, and an analysis of factors associated
      involvement in immigration enforcement                 with Latinos’ propensity to report crimes.
      could have a chilling effect on immigrant




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Survey Methodology
A telephone survey of Latinos was designed and implemented by Lake Research Partners, a public
opinion research firm with extensive experience in administering telephone surveys. Professional
interviewers administered the survey during the period November 17 to December 10, 2012. The
survey reached 501 Latinos in each of the following counties: Cook (Chicago), Harris (Houston),
Los Angeles, and Maricopa (Phoenix). In total, 2,004 surveys were conducted. Seventy-nine
percent of interviews were conducted in Spanish. All interviewers were bilingual and were capable
of handling the interviews in Spanish or English. As will be explained in greater detail below, the
survey explored Latinos’ perceptions and experiences with law enforcement authorities in light of
the increasing involvement of police in immigration enforcement.

The survey sample was identified using random digit dialing (RDD) methods that targeted high-
density Latino census tracts, where Latinos represented 70 percent or more of the population in
Cook, Harris, and Los Angeles Counties, and 50 percent or more of the population in Maricopa
County (this lower threshold was used because of the relatively lower Latino population density
in Maricopa County). By using RDD, interviewers were able to reach respondents with unlisted
telephone numbers. The cell phone sample was pulled by county and then screened for city,
ethnicity, and zip code. All respondents were screened for Latino or Hispanic ethnicity, but not
for immigrant or citizenship status.

The averages represented in this report are composite averages, where each of the four cities
represents 25 percent of the total. Population samples are subject to possible sampling error; that
is, the results of a survey may differ from those that would be obtained if the entire population were
interviewed. The size of the sampling error depends upon both the total number of respondents
in the survey and the percentage distribution of responses to a particular question. The margin
of error for the 2,004 respondent averages is ±2 percent, while for each county individually it is
±4.4 percent.




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            Latinos’ Perceptions of the Police: A
            Summary of Findings
            The survey instrument was designed to                     are reluctant to voluntarily contact the police
            assess the impact of police involvement in                to report a crime or to provide information
            immigration enforcement on public safety and              about crimes specifically because they fear that
            on police-community relations. Respondents                police officers will inquire about the immigration
            were asked a randomized series of questions               status of themselves, their friends, or their family
            that explored (a) their willingness to contact            members.
            law enforcement authorities to report
            crimes or provide information about criminal              Willingness to Contact the Police
            activities, and (b) their perceptions of personal
            and public safety in light of increasing police
            involvement in immigration enforcement. This              Figure 1 reports the responses to four
            was followed by a second set of questions                 statements that explore the willingness
            pertaining to the nature of respondents’                  of Latinos to contact law enforcement
            contact with law enforcement authorities                  authorities and volunteer information about
            and their knowledge of contact that their                 criminal activities. Respondents were asked
            friends and family members have had with law              whether they strongly agree, somewhat agree,
            enforcement authorities in their area.                    somewhat disagree, or strongly disagree with
                                                                      the statements. This section of the report
                                                                      presents data on aggregated responses,
            Responses to the survey questions reveal a                combining the strongly agree and somewhat
            clear and consistent pattern: a substantial               agree categories, as well as the somewhat
            portion of the Latino populations in Cook,                disagree and strongly disagree categories.
            Harris, Los Angeles, and Maricopa Counties

Figure 1: Latinos’ willingness to contact law enforcement authorities

I am less likely to contact police officers if I have been a victim of a crime for fear they will ask me or other people I
know about our immigration status
                                                    Agree                 Disagree              Don’t Know
Total                                               44%                   50%                   6%
US Born                                             28%                   68%                   4%
Foreign Born                                        49%                   46%                   6%
    Undocumented                                    70%                   26%                   4%


I am less likely to voluntarily offer information about crimes I know have been committed because I am afraid the
police officers will ask me or other people I know about our immigration status
                                                    Agree                 Disagree              Don’t Know
Total                                               45%                   49%                   6%
US Born                                             29%                   66%                   5%
Foreign Born                                        50%                   44%                   6%
    Undocumented                                    67%                   28%                   5%



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 I am less likely to report a crime to law enforcement officers because I am afraid the police officers will ask me or
 other people I know about our immigration status
                                                     Agree               Disagree            Don’t Know
 Total                                               45%                 50%                 5%
 US Born                                             26%                 70%                 4%
 Foreign Born                                        50%                 44%                 5%
     Undocumented                                    67%                 28%                 5%


 Since local law enforcement has become involved in immigration if I am a victim or a witness to a crime I am more
 likely to tell my church or community leader about it than I am to tell local law officers
                                                     Agree               Disagree            Don’t Know
 Total                                               49%                 44%                 7%
 US Born                                             32%                 63%                 5%
 Foreign Born                                        54%                 39%                 8%
     Undocumented                                    68%                 26%                 7%

The responses to these statements indicate               crime because they are afraid that police will
that because police increasingly are involved            ask them or someone they know about their
in enforcing immigration laws, a substantial             immigration status. Among US-born Latinos,
share of the Latino population in the surveyed           29 percent reported they are less likely to
counties is less likely to initiate contact with         voluntarily offer information about crimes they
local law enforcement authorities, even if               know have been committed, and 26 percent
they have been the victim of a crime. Forty-             indicated they are less likely to report a crime,
four percent of Latinos surveyed reported                because they fear that police will ask them or
they are less likely to contact police officers if       someone they know about their immigration
they have been the victim of a crime because             status.
they fear that police officers will use this
interaction as an opportunity to inquire into            The findings here show that Latinos increasingly
their immigration status or that of people               are afraid to contact the police to report
they know. Undocumented immigrants were                  crimes and criminal activity because they are
especially fearful of such contacts (70%                 worried that law enforcement officers will use
reported they are less likely to contact law             this contact as an opportunity to investigate
enforcement authorities if they were victims             the immigration status of respondents or of
of a crime), but this fear is not confined to            people they know. In addition, a substantial
immigrants; 28 percent of US-born Latinos                proportion of Latinos said that they are more
expressed the same view.                                 likely to tell their church or community leader
                                                         about crimes than they are to report this
Similarly, 45 percent of Latinos stated that they        information to the police. Nearly half of Latinos
are less likely to voluntarily offer information         surveyed (49%) agreed with this statement,
about crimes, and 45 percent are less likely to          as did nearly one-third (32%) of US-born
report a crime because they are afraid the police        Latinos, more than half (54%) of all foreign-
will ask them or people they know about their            born Latinos, and more than two-thirds (68%)
immigration status. Again, undocumented                  of undocumented immigrant Latinos. This
immigrants were more likely to express such              suggests that Latinos’ lack of trust centers
fears. Two-thirds (67%) of undocumented                  on local law enforcement authorities and not
immigrants surveyed reported that they would             on community institutions or public figures in
be less likely to offer information or report a          general.



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            It is notable that when considering Latinos’              in immigration enforcement. But rather than
            willingness to contact law enforcement                    marked differences between the cities, what
            authorities, differences between the counties             stands out in the survey results is how closely
            in the sample are relatively modest. Overall,             respondents’ views converge around issues of
            Latinos in Maricopa County tend to report                 fear, isolation, and the growing social distance
            greater social distance between themselves                between police and Latino residents that is
            and law enforcement authorities, while in Cook            occurring as a result of police involvement in
            County a smaller proportion tends to express              immigration enforcement.
            such views. This perhaps is unsurprising
            given that Arizona has enacted new laws                   Figure 2 reports the responses to the
            that require police to become more involved               statements above for each of the four

Figure 2: Latinos’ willingness to contact law enforcement authorities, by county

I am less likely to contact police officers if I have been a victim of a crime for fear they will ask me or other people I
know about our immigration status
                                                    Agree                 Disagree              Don’t Know
Cook County                                         39%                   53%                   8%
Harris County                                       47%                   48%                   5%
Los Angeles County                                  40%                   55%                   5%
Maricopa County                                     50%                   45%                   5%


I am less likely to voluntarily offer information about crimes I know have been committed because I am afraid the
police officers will ask me or other people I know about our immigration status
                                                    Agree                 Disagree              Don’t Know
Cook County                                         42%                   50%                   8%
Harris County                                       45%                   50%                   5%
Los Angeles County                                  44%                   51%                   6%
Maricopa County                                     49%                   47%                   5%


I am less likely to report a crime to law enforcement officers because I am afraid the police officers will ask me or
other people I know about our immigration status
                                                    Agree                 Disagree              Don’t Know
Cook County                                         39%                   55%                   5%
Harris County                                       44%                   52%                   5%
Los Angeles County                                  44%                   50%                   6%
Maricopa County                                     52%                   44%                   4%


Since local law enforcement has become involved in immigration if I am a victim or a witness to a crime I am more
likely to tell my church or community leader about it than I am to tell local law officers
                                                    Agree                 Disagree              Don’t Know
Cook County                                         48%                   43%                   8%
Harris County                                       51%                   44%                   5%
Los Angeles County                                  44%                   47%                   8%
Maricopa County                                     52%                   42%                   6%



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counties. In Maricopa County, fully half of               have been committed: 49 percent of Latinos
Latinos surveyed (50%) reported that they are             surveyed in Maricopa County; 42 percent
less likely to contact police officers if they have       surveyed in Cook County, 45 percent surveyed
been the victim of a crime because they fear              in Harris County, and 44 percent surveyed in
that law enforcement authorities will ask them            Los Angeles County indicate they are less
or people they know about their immigration               likely to offer information to the police because
status. This compares to 39 percent of Latinos            they fear law enforcement authorities will ask
in Cook County, 47 percent in Harris County,              about the immigration status of themselves
and 40 percent in Los Angeles County.                     or someone they know. Finally, when asked
                                                          whether they agreed with the statement about
Reponses were similar when Latinos were                   whether they are less likely to report a crime
asked about their willingness to voluntarily              to law enforcement officers because they are
offer information about crimes they know                  afraid the police officers will ask them or people


Figure 3: Latinos’ perceptions of personal and public safety in light of police involvement in immigration
enforcement

 I feel safer knowing local law enforcement is involved in immigration enforcement
                                                      Agree                Disagree            Don’t Know
 Total                                                37%                  56%                 7%
 US Born                                              45%                  47%                 8%
 Foreign Born                                         35%                  59%                 7%
     Undocumented                                     40%                  55%                 5%


 There are fewer crimes committed in this area because of an increased police focus on immigration enforcement
                                                      Agree                Disagree            Don’t Know
 Total                                                41%                  48%                 10%
 US Born                                              34%                  54%                 12%
 Foreign Born                                         44%                  47%                 10%
     Undocumented                                     50%                  42%                 8%


 Criminals and drug dealers have actually begun moving into my neighborhood because they know we are afraid to
 report them now that law officers are more involved in immigration enforcement
                                                      Agree                Disagree            Don’t Know
 Total                                                45%                  43%                 12%
 US Born                                              31%                  60%                 10%
 Foreign Born                                         49%                  38%                 12%
     Undocumented                                     63%                  28%                 10%


 I feel less safe because local law enforcement is more involved in immigration enforcement
                                                      Agree                Disagree            Don’t Know
 Total                                                43%                  51%                 6%
 US Born                                              29%                  67%                 5%
 Foreign Born                                         47%                  47%                 6%
     Undocumented                                     65%                  31%                 5%



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      they know about their immigration status, 52          counties agreed with the statement that they
      percent of respondents in Maricopa County,            feel safer knowing local law enforcement is
      39 percent in Cook County, 44 percent in              involved in immigration enforcement, while 56
      Harris County, and 44 percent in Los Angeles          percent disagreed with this statement. Forty-
      County agreed with that statement.                    one percent of respondents agreed with the
                                                            statement that fewer crimes are committed
      In each of the four counties, a large share of        because of increased police focus on
      Latinos indicated they were more likely to            immigration enforcement, though 48 percent
      tell a church or community leader about a             percent disagreed with this statement. At the
      crime than they were to contact the police.           same time, 45 percent of respondents agreed
      Approximately half of the survey respondents          that criminals and drug dealers have been
      agreed with this statement in Cook (48%),             moving into their neighborhoods because they
      Harris (51%) and Maricopa (52%) Counties,             know that residents are afraid to report them
      as did 44 percent of respondents in Los               to law enforcement officers because police are
      Angeles County.                                       more involved in immigration enforcement;
                                                            and 43 percent indicated they feel less safe
                                                            because law enforcement is more involved in
      These responses show that the increased               immigration enforcement.
      involvement by the police in immigration
      enforcement has contributed to a fear of
      the police by a substantial share of Latino           Figure 4 reports the responses to the
      residents in the four counties where the survey       statements above for each of the counties
      was administered. This fear has led residents         included in this study. Responses show
      to become less likely to volunteer information        remarkable consistency across the four
      about criminal activities, even when they             counties.
      themselves have been the victims of a crime.
      This suggests that police involvement in              Responses to the set of statements in this
      immigration enforcement has contributed to            section of the report reveal a mixed reaction
      a growing mistrust of the police by Latinos,          to local law enforcement’s involvement
      increasing the social distance between the            in immigration enforcement. On the one
      police and the communities they serve.                hand, more than one-third of respondents
                                                            feel safer knowing local law enforcement is
      Personal and public safety                            involved in immigration enforcement, and 41
                                                            percent agree with the statement that fewer
                                                            crimes are committed because of this focus
      Survey responses exploring the impact of local        on immigration enforcement. On the other
      law enforcement authorities’ involvement in           hand, 43 percent indicate they feel less safe,
      immigration enforcement show that Latinos             and 45 percent report that criminals and drug
      are divided about whether they are safer as           dealers are moving into their neighborhood,
      a result of this involvement in immigration           because local law enforcement’s involvement
      enforcement. Figure 3 reports the responses           in immigration enforcement has caused
      to four statements concerning personal and            residents to be more afraid of police contact.
      public safety. Again, respondents were asked          Immigration status partly explains these
      whether they strongly agree, somewhat agree,          disparities. Undocumented immigrants are
      somewhat disagree, or strongly disagree with          more likely to indicate they feel less safe and
      the statements, and the results here report           to say that criminals are moving into their
      aggregated agree/disagree responses.                  neighborhood because police are involved in
                                                            immigration enforcement. But these views are
      Thirty-seven percent of respondents in the four       shared by nearly one-third of US-born Latinos




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Figure 4: Latinos’ perceptions of personal and public safety in light of police involvement in immigration
enforcement, by county

 I feel safer knowing local law enforcement is involved in immigration enforcement
                                                    Agree                Disagree           Don’t Know
 Cook County                                        37%                  54%                9%
 Harris County                                      42%                  52%                6%
 Los Angeles County                                 33%                  59%                8%
 Maricopa County                                    37%                  57%                6%


 There are few crimes committed in this area because of an increased police focus on immigration enforcement
                                                    Agree                Disagree           Don’t Know
 Cook County                                        41%                  49%                10%
 Harris County                                      44%                  47%                9%
 Los Angeles County                                 43%                  48%                10%
 Maricopa County                                    39%                  49%                12%


 Criminals and drug dealers have actually begun moving into my neighborhood because they know we are afraid to
 report them now that law officers are more involved in immigration enforcement
                                                    Agree                Disagree           Don’t Know
 Cook County                                        44%                  43%                12%
 Harris County                                      45%                  44%                11%
 Los Angeles County                                 45%                  44%                12%
 Maricopa County                                    45%                  41%                14%


 I feel less safe because local law enforcement is more involved in immigration enforcement
                                                    Agree                Disagree           Don’t Know
 Cook County                                        39%                  54%                7%
 Harris County                                      44%                  50%                6%
 Los Angeles County                                 41%                  53%                6%
 Maricopa County                                    47%                  47%                5%


and nearly half of all immigrant Latinos as well,        somewhat disagree, or strongly disagree
suggesting that concerns about the negative              with the statements. Again, responses were
influence of police involvement in immigration           aggregated, combining the strongly agree
enforcement are widespread and not simply                and somewhat agree categories, as well as
based on citizenship.                                    the somewhat disagree and strongly disagree
                                                         categories.
Social Isolation
                                                         Survey responses reveal that police involvement
Figure 5 reports the responses to two                    in immigration enforcement has resulted in
statements that explore issues of social                 a substantial share of Latinos feeling socially
isolation. Respondents were asked whether                isolated. Thirty-eight percent of respondents
they strongly agree, somewhat agree,                     agreed with the statement that they are afraid




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Figure 5: Latinos’ feelings of social isolation as a result of police involvement in immigration enforcement

 I feel afraid to leave my home because local law enforcement officials are more involved in immigration enforcement
                                                  Agree                Disagree            Don’t Know
 Total                                            38%                  56%                 6%
 US Born                                          22%                  73%                 5%
 Foreign Born                                     43%                  51%                 6%
     Undocumented                                 61%                  34%                 5%


 I feel more isolated because local law enforcement is more involved in immigration enforcement
                                                  Agree                Disagree            Don’t Know
 Total                                            42%                  51%                 7%
 US Born                                          27%                  67%                 6%
 Foreign Born                                     47%                  46%                 7%
     Undocumented                                 62%                  31%                 7%


            to leave their home because police are involved         Figure 6 shows that feelings of isolation affect
            in immigration enforcement, and 42 percent              many Latinos in Cook, Harris, Los Angeles and
            agreed that they feel more isolated because             Maricopa Counties. Approximately one-third
            of police involvement in immigration matters.           of respondents agreed that they are afraid
            Again, undocumented immigrants were more                to leave their homes in Cook (32%) and Los
            likely to agree with these statements (61% and          Angeles (38%) Counties. This figure rises
            62%, respectively), but they were not alone.            to 40 percent in Harris County and to 43
            More than one in five US-born Latinos agreed            percent in Maricopa County. When asked
            that they were afraid to leave their home, and          whether they felt more isolated because law
            more than one-quarter (27%) agreed they                 enforcement authorities are more involved
            felt more isolated, because of this change in           in immigration enforcement, 38 percent of
            policing priorities.                                    Latinos in Cook County, 43 percent in Harris

Figure 6: Latinos’ feelings of social isolation as a result of police involvement in immigration enforcement,
by county

 I feel afraid to leave my home because local law enforcement officials are more involved in immigration enforcement
                                                  Agree                Disagree            Don’t Know
 Cook County                                      32%                  60%                 8%
 Harris County                                    40%                  54%                 6%
 Los Angeles County                               36%                  58%                 6%
 Maricopa County                                  43%                  52%                 4%


 I feel more isolated because local law enforcement is more involved in immigration enforcement
                                                  Agree                Disagree            Don’t Know
 Cook County                                      38%                  54%                 8%
 Harris County                                    43%                  50%                 7%
 Los Angeles County                               37%                  55%                 8%
 Maricopa County                                  50%                  44%                 5%




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County, 37 percent in Los Angeles County, and            Figure 8 reveals few differences in response
50 percent in Maricopa County agreed with                rates in Cook, Harris and Los Angeles Counties,
this statement.                                          where about one-third of respondents in each
                                                         county agreed that they feel they are under
Mistrust of the Police                                   more suspicion now that police are involved in
                                                         immigration enforcement, and approximately
                                                         60 percent thought that police stop Latinos
Figure 7 reports the responses to one                    without good reason or cause. Response
statement and one question concerning their              rates to these questions were even higher in
trust in the police.                                     Maricopa County, where 45 percent perceived
                                                         that they are under more suspicion, and fully
Thirty-eight percent of respondents agreed               70 percent stated that police officers stop
that they feel like they are under more suspicion        Latinos without good reason or cause.
now that local law enforcement authorities
have become involved in immigration
enforcement. This figure includes 26 percent
of US-born respondents, 40 percent of
foreign-born respondents, and 58 percent of
undocumented immigrant respondents.

When asked how often police officers stop
Latinos without good reason or cause,
62 percent said very or somewhat often,
including 58 percent of US-born respondents,
64 percent of foreign-born respondents, and
78 percent of undocumented immigrant
respondents.


Figure 7: Latinos’ mistrust of the police

 Since local law enforcement has become involved in immigration enforcement I have begun to feel like I am under
 more suspicion
                                                    Agree                 Disagree             Don’t Know
 Total                                              38%                   56%                  6%
 US Born                                            26%                   68%                  6%
 Foreign Born                                       40%                   53%                  7%
     Undocumented                                   58%                   36%                  6%


 How often do you think police officers stop Latinos and Hispanics on the streets of your city without good reason
 or cause?
                                                    Very/somewhat often   Not very/not often   Don’t Know

 Total                                              62%                   29%                  8%
 US Born                                            58%                   32%                  10%
 Foreign Born                                       64%                   28%                  8%
     Undocumented                                   78%                   19%                  4%




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Figure 8: Latinos’ mistrust of the police, by county

 Since local law enforcement has become involved in immigration enforcement I have begun to feel like I am under
 more suspicion
                                                 Agree                 Disagree             Don’t Know
 Cook County                                     33%                   59%                  8%
 Harris County                                   34%                   58%                  8%
 Los Angeles County                              34%                   59%                  7%
 Maricopa County                                 45%                   51%                  4%


 How often do you think police officers stop Latinos and Hispanics on the streets of your city without good reason
 or cause?
                                                 Very/somewhat often   Not very/not often   Don’t Know

 Cook County                                     61%                   31%                  8%
 Harris County                                   58%                   33%                  9%
 Los Angeles County                              62%                   30%                  8%
 Maricopa County                                 70%                   22%                  9%




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Influences on Latinos’ Propensity to
Report Crimes to Police
The previous section presented results                             the police will ask me or people I know
showing that a substantial portion of Latinos                      about our immigration status.
surveyed are less likely to voluntarily contact
law enforcement authorities when they have                     •   Since local law enforcement has become
been the victim of a crime or if they have                         involved in immigration if I am a victim or
information about a crime that has been                            a witness to a crime I am more likely to
committed, because they fear that police will                      tell my church or community leader about
ask them or people they know about their                           it than I am to tell local law officers.
immigration status. To further explore the
association between an individual’s propensity
to contact police and his or her traits with                   Two additional scales were constructed in a
respect to demographic characteristics,                        similar manner to assess the respondent’s
previous experiences with law enforcement,                     attitudes about law enforcement. The first
and immigration and documentation status,                      measures the respondent’s feelings of social
we performed a multivariate ordinary least                     isolation as a result of law enforcement,
squares regression, with the respondent’s                      while the second measures the respondent’s
propensity to report crimes to the police                      feelings about the association between
serving as the dependent variable. To develop                  law enforcement and public safety. These
a more reliable measure of underlying feelings                 scales, a set of demographic variables, and
toward the police and public safety, a multi-                  additional variables pertaining to the nature of
item scale was constructed by converting the                   immigration and documentation status, were
mean of four individual Likert-scaled survey                   added to the model as independent variables
items into a single interval variable ranging                  (Figure 9). The results of the model are
from 0 to 1.5 The original items are:                          presented in Figure 10.


•      I am less likely to contact police officers             The model explained 63 percent of the
       if I have been a victim of a crime for fear             variance in responses, and both of the focal
       they will ask me or other people I know                 variables (ISOLATED and SAFETY) were
       about our immigration status.                           statistically significant at the .05 level and had
                                                               the expected influence on the unwillingness
                                                               of Latinos to contact police to report a crime
•      I am less likely to voluntarily offer                   or to provide information about a crime. The
       information about crimes I know have                    results suggest Latinos with high levels of
       been committed because I am afraid the                  social isolation have a weaker propensity
       police officers will ask me or other people             to voluntarily contact the police. Likewise,
       I know about our immigration status.                    Latinos who are concerned about a decline in
                                                               public safety as a result of police involvement in
•      I am less likely to report a crime to law               immigration enforcement also are less likely to
       enforcement officers because I am afraid                contact the police. In addition to these factors,



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    This scale was then tested for internal reliability using Cronbach’s Alpha, α = .844.



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Figure 9: Description of variables

Variable Name                        Description
ISOLATED                             Scale to measure respondent’s association between a sense of
                                     isolation and law enforcement, constructed from the following
                                     items:

                                     I feel more isolated because local law enforcement is more
                                     involved in immigration enforcement

                                     I feel afraid to leave my house because local law enforcement
                                     officials are more involved in immigration enforcement

                                     α = .716
SAFETY                               Scale to measure respondent’s association between law
                                     enforcement and public safety, constructed from the following
                                     items:

                                     I feel less safe because local law enforcement is more involved in
                                     immigration enforcement

                                     I feel afraid to leave my house because local law enforcement
                                     officials are more involved in immigration enforcement

                                     Criminals and drug dealers have actually begun moving into
                                     my neighborhood because they know we are afraid to report
                                     them now that law officers are more involved in immigration
                                     enforcement.

                                     α = .699
AGE1829                              Respondent is between the ages of 18 to 29
AGE4564                              Respondent is between the ages of 45 to 64
AGE65up                              Respondent is 65 years or older
HSGRAD                               Respondent is a high school graduate
IMMIG                                Respondent is foreign-born
COLLGRAD                             Respondent is a college graduate
UNEMP                                Respondent is currently unemployed
CHILD                                Respondent has children under the age of 18
DEPORT                               Respondent knows someone who has been deported
UNDOC                                Respondent is an undocumented immigrant
UNDOCASSOC                           Respondent has family, friends, or other associates who are
                                     undocumented
MALE                                 Respondent is male




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Figure 10: Influence of perceptions of public safety and social isolation on the willingness to voluntarily
contact the police to report crimes

                                                   B                                    SE
 ISOLATED                                          -.378                                .027***
 SAFETY                                            -.413                                .030***
 AGE1829                                           .025                                 .024
 AGE4564                                           .008                                 .018
 AGE65up                                           -.012                                .029
 HSGRAD                                            -.021                                .011
 IMMIG                                             -.044                                .014**
 COLLGRAD                                          .018                                 .020
 UNEMP                                             .001                                 .018
 CHILD                                             .025                                 .011*
 DEPORT                                            -.035                                .012**
 UNDOC                                             -.022                                .015
 UNDOCASSOC                                        -.026                                .012*
 MALE                                              -.008                                .010
 Constant                                          .948                                 .018***

 N= 1,472
 Adjusted r2 = .629
 *p<.05, **p<.01, ***p<.001


the following were found to be associated with          social isolation and public safety, Latinos who
Latinos’ reluctance to voluntarily contact the          are immigrants, those who who have family or
police:                                                 friends who are undocumented immigrants,
                                                        and those who have family or friends who have
•   Being an immigrant                                  been deported report a lower predisposition to
                                                        report crimes to the police. This finding is an
                                                        indication of how immigration status and high
•   Having friends or family who have been              levels of deportation can affect perceptions
    deported                                            of the police, by both immigrant and non-
                                                        immigrant Latinos, as well as by Latino
•   Having friends or family who are                    citizens and noncitizens. These factors are
    undocumented immigrants                             undoubtedly related, with deportation policies
                                                        leading to the increasing social distance
                                                        between police and Latinos.             The large
Conversely, parents of children under the age
                                                        share of “mixed status” families that include
of 18 are more likely to voluntarily contact the
                                                        undocumented          immigrants,       authorized
police with information about crimes that have
                                                        immigrants, and US citizens is likely a factor
been committed.
                                                        here as well; deportation policies frequently
                                                        result in family separation, and many Latinos
While these results are exploratory, they               perceive police contact as placing themselves
support the notion that, even when controlling          or their family members and friends at risk. As
for strong negative feelings about the impact           a result, they are less like to voluntarily contact
of police enforcement of immigration laws on            police to report crimes.



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      Conclusion
      The conventional wisdom in law enforcement circles is that for effective police-community
      relations to be developed and maintained, police must forge bonds of trust with the communities
      they serve. The willingness of residents to voluntarily contact the police when they have been the
      victim of or a witness to a crime depends on these bonds of trust. For this reason, law enforcement
      agencies proactively engage in efforts to foster closer working relationships with the communities
      they serve, including the widespread implementation of community policing initiatives. To the
      extent that law enforcement practices undermine bonds of trust with segments of the population,
      these aspects of policing are typically viewed as problematic and in need of reform.

      State and local law enforcement authorities increasingly are involved in immigration enforcement,
      whether under the 287(g) program, the Secure Communities program, or various state laws. This
      report has identified an important unintended consequence of police involvement in immigration
      enforcement: a substantial portion of the Latino populations in Cook, Harris, Los Angeles, and
      Maricopa Counties are reluctant to voluntarily contact the police to report a crime or to provide
      information about crimes, specifically because they fear that police officers will inquire about the
      immigration status of themselves, their friends, or their family members. The survey findings
      indicate that:

      1.   Isolation and disconnectedness from police: Many Latinos feel isolated from the law
           enforcement officers who are sworn to protect them. More than four in ten would be
           more likely to turn to a church or community leader than to law enforcement authorities
           if they are victims of or witness to a crime, for fear they would call attention to their own
           immigration status or that of someone they know. Similarly, more than four in ten say that
           because police are more involved in enforcing immigration laws they have become less
           likely to volunteer information about crimes because they fear getting caught in the web
           of immigration enforcement themselves or bringing unwanted attention to their family or
           friends.

      2. Withdrawal: Many Latinos feel isolated and admit to withdrawing from their community.
         A large share feels under suspicion and is afraid to leave their homes. This sense of
         withdrawal by a substantial portion of Latinos in the counties surveyed – especially those
         younger and raising children – has short- and long-term negative consequences for public
         safety and community life. In the short term, crimes become more difficult to solve as the
         social distance between police and residents increases. Over the long term, a significant
         segment of the population may withdraw and develop a fear of law enforcement authorities.

      3. Diminished sense of public safety: Rather than feeling safer because of increased police
         involvement in immigration enforcement, many Latinos feel less safe. Many Latinos say
         criminals are moving into their neighborhoods, making them and their neighbors less safe,
         because criminals know residents are less likely to report them to police given the increased
         involvement of police in immigration enforcement. Few feel safer because of the increased
         focus on immigration by local law enforcement.




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The findings presented here indicate that the greater involvement of police in immigration
enforcement has significantly heightened the fears many Latinos have of the police, contributing
to their social isolation and exacerbating their mistrust of law enforcement authorities. This
fear, isolation and mistrust, in turn, has led to a reduction in public safety, a serious negative
consequence of the involvement of police in immigration enforcement.




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              Department of Urban Planning and Policy
                  University of Illinois at Chicago




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 M.C.C. IMMIGRATION COMMITTEE
        RECOMMENDATIONS
                   For Enforcement of
                Immigration Laws By Local
                     Police Agencies




                           Adopted by:
                   Major Cities Chiefs
                                  1 2006
                                June
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                       Prepared By:

      M.C.C. IMMIGRATION
     COMMITTEE MEMBERS:




              Craig E. Ferrell, Jr., (M.C.C. General Counsel),
      Chairman of Immigration Committee, Houston Police Department


        Leroy D. Baca, Los Angeles County Sheriff’s Department
          William J. Bratton, Los Angeles Police Department
          Ella M. Bully-Cummings, Detroit Police Department
         Raymond W. Kelly, New York City Police Department
               Gil Kerlikowske, Seattle Police Department
              Richard Miranda, Tucson Police Department
            Robert Parker, Miami-Dade Police Department
              Richard D. Wiles, El Paso Police Department




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      M.C.C. NINE (9) POINT POSITION
                STATEMENT
               ENFORCEMENT OF IMMIGRATION
              LAWS BY LOCAL POLICE AGENCIES

A.    STATEMENT OF ISSUE
Illegal immigration is a problem that faces our nation and society as a whole and one, which
must be dealt with at the national level. It is absolutely critical that our country develop a
consistent unified national plan to deal with immigration and this plan must include the critical
component of securing our borders to prevent illegal entry into the United States.

Since the horrendous attacks of September 11, 2001, local law enforcement has been called
upon to do its part in protecting the nation from future terrorist attacks. The response of local
law enforcement to the call to protect the homeland has been tremendous. Today, local police
agencies stand as the first line of defense here at home to prevent future attacks. Local law
enforcement’s unending efforts include providing additional training and equipment to officers,
increasing communication and coordination with federal agencies, gathering, assessing and
sharing intelligence, modifying patrol methods and increasing security for potential targets such
as power plants, airports, monuments, ports and other critical facilities and infrastructure. Much
of these efforts have been at a high cost to local budgets and resources.

The federal government and others have also called upon local police agencies to become
involved in the enforcement of federal immigration laws as part of the effort to protect the
nation. This issue has been a topic of great debate in the law enforcement community since
September 11. The call for local enforcement of federal immigration laws has become more
prominent during the debate over proposed immigration reform at the national level.

Major city police departments have a long undeniable history of working with federal law
enforcement agencies to address crime in the United States whether committed by citizens,
visitors, and/or illegal immigrants. Local police agencies have not turned a blind eye to crimes
related to illegal immigration. They have and continue to work daily with federal agencies
whenever possible and to the extent allowable under state criminal law enforcement authority to
address crimes such as human trafficking and gang violence which have a nexus with illegal
immigration.

How local agencies respond to the call to enforce immigration laws could fundamentally change
the way they police and serve their communities. Local enforcement of federal immigration
laws raises many daunting and complex legal, logistical and resource issues for local agencies
and the diverse communities they serve. Some in local law enforcement would embrace


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immigration enforcement as a means of addressing the violation of law represented by illegal
immigration across our borders. Many others recognize the obstacles, pitfalls, dangers and
negative consequences to local policing that would be caused by immigration enforcement at
the local level.

It is important for Major Cities Chiefs [M.C.C.] as a leader and representative of the local law
enforcement community develop consensus on this important subject. The purpose of this
position statement is to evaluate and address the impact and potential consequences of local
enforcement of federal immigration laws and highlight steps, which if taken might allow local
agencies to become involved in immigration enforcement. It is hoped that this statement will
help to draw attention to the concerns of local law enforcement and provide a basis upon which
to discuss and shape any future national policy on this issue. In this regard it is absolutely
critical that M.C.C. be involved in all phases of this debate from developing this official position
statement to demanding input and involvement in the development of any national initiatives.

B.     OVERVIEW OF IMMIGRATION AND IMMIGRANT STATUS
The federal government has the clear authority and responsibility over immigration and the
enforcement of immigration laws. With this authority, the federal government has enacted laws,
such as the Immigration and Naturalization Act (INA), that regulate a person’s entry into the
United States, his or her ability to remain in the country, and numerous other aspects of
immigration. The federal government has given federal agencies such as Immigration and
Customs Enforcement [I.C.E.] the specific authority to investigate a person’s immigration status
and deport individuals who have no legal status or authority to be in the United States.

Under the current immigration laws there exists various immigration status classifications. The
immigration status of any particular person can vary greatly. The most common status
classifications include the following:

1) Legal Immigrants are citizens of other countries who have been granted a visa that allows
   them to live and work permanently in the United States and to become naturalized U.S.
   citizens. Once here, they receive a card, commonly referred to as a “green card” from the
   federal government indicating they are permanent residents. Some legal immigrants are
   refugees who fear persecution based on race, religion, nationality, membership in a
   particular social group, or political opinion in their home countries. Refugees are resettled
   every year in the United States after their requests for asylum have been reviewed and
   granted.

2) Nonimmigrant Visa Holders are persons who are granted temporary entry into the United
   States for a specific purpose, such as visiting, working, or studying. The U.S. has 25 types
   of nonimmigrant visas, including A1 visas for ambassadors, B2 visas for tourists, P1 visas
   for foreign sports stars who play on U.S. teams and TN visas for Canadians and Mexicans
   entering the U.S. to work under NAFTA. Visa Holders are allowed to stay in the U.S. as
   long as they meet the terms of their status.




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3) Illegal Immigrants are citizens of other countries who have entered or remained in the U.S.
   without permission and without any legal status. Most illegal immigrants cross a land or sea
   border without being inspected by an immigration officer. Some person falls into illegal
   status simply by violating the terms of a legal entry document or visa.

4) Absconders are persons who entered the United States legally but have since violated the
   conditions of their visa and who have had a removal, deportation, or exclusion hearing
   before an immigration judge and are under a final order of deportation and have not left the
   United States.

Currently there are between 8-12 million illegal immigrants living in the U.S., with another
estimated 800,000 illegal immigrants entering the country every year. These immigrants by
their sheer numbers have become a significant part of local communities and major cities in our
nation. Some major urban areas estimate that their immigrant communities, regardless of
immigration status, comprise 50%-60% of the local population and other areas report similar
trends. The reality for major local police agencies throughout the nation is that the communities
they serve and protect are diverse and include significant immigrant communities including
documented and undocumented immigrants.

C.    CONCERNS WITH LOCAL ENFORCEMENT OF FEDERAL
      IMMIGRATION LAWS

Local police agencies must balance any decision to enforce federal immigration laws with their
daily mission of protecting and serving diverse communities, while taking into account: limited
resources; the complexity of immigration laws; limitations on authority to enforce; risk of civil
liability for immigration enforcement activities and the clear need to foster the trust and
cooperation from the public including members of immigrant communities.

1) Undermine Trust and Cooperation of Immigrant Communities

Major urban areas throughout the nation are comprised of significant immigrant communities.
In some areas the immigrant community reaches 50-60 percent of the local population. Local
agencies are charged with protecting these diverse populations with communities of both legal
and illegal immigrants. The reality is that undocumented immigrants are a significant part of the
local populations major police agencies must protect, serve and police.

Local agencies have worked very hard to build trust and a spirit of cooperation with immigrant
groups through community based policing and outreach programs and specialized officers who
work with immigrant groups. Local agencies have a clear need to foster trust and cooperation
with everyone in these immigrant communities.     Assistance and cooperation from immigrant
communities is especially important when an immigrant, whether documented or
undocumented, is the victim of or witness to a crime. These persons must be encouraged to
file reports and come forward with information. Their cooperation is needed to prevent and
solve crimes and maintain public order, safety, and security in the whole community. Local




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police contacts in immigrant communities are important as well in the area of intelligence
gathering to prevent future terroristic attacks and strengthen homeland security.

Immigration enforcement by local police would likely negatively effect and undermine the level
of trust and cooperation between local police and immigrant communities. If the undocumented
immigrant’s primary concern is that they will be deported or subjected to an immigration status
investigation, then they will not come forward and provide needed assistance and cooperation.
Distrust and fear of contacting or assisting the police would develop among legal immigrants as
well. Undoubtedly legal immigrants would avoid contact with the police for fear that they
themselves or undocumented family members or friends may become subject to immigration
enforcement. Without assurances that contact with the police would not result in purely civil
immigration enforcement action, the hard won trust, communication and cooperation from the
immigrant community would disappear. Such a divide between the local police and immigrant
groups would result in increased crime against immigrants and in the broader community,
create a class of silent victims and eliminate the potential for assistance from immigrants in
solving crimes or preventing future terroristic acts.

2) Lack of Resources

The budgets and resources of local police agencies are not unlimited. Local police agencies
struggle every year to find the resources to police and serve their respective communities.
Since the events of September 11, local agencies have taken on the added duty of serving as
the first line of defense and response to terrorist attacks for our country. These efforts on the
local level to deter and prevent another terrorist attack and to be prepared to respond to the
aftermath of an attack have stretched local resources even further. Since the creation of the
Homeland Security Department, federal funding for major city police departments has been
greatly reduced. Local agencies have also had to take on more responsibilities in areas that
have traditionally been handled by the F.B.I. whose investigative resources are now more
focused on counter-terrorism efforts. Local agencies are forced to fill the gap left by the shift of
federal resources away from investigating white-collar crimes and bank robberies; areas
traditionally handled by federal agencies.

Enforcement of federal immigration laws would be a burden that most major police agencies
would not be able to bear under current resource levels. The cost in terms of personnel,
facilities and equipment necessary for local agencies to address the 8-12 million illegal
immigrants currently living in the United States would be overwhelming. The federal
government which has primary authority to enforce immigration laws has itself failed to provide
the tremendous amount of resources necessary to accomplish such enforcement to its own
agencies specifically charged with that responsibility. Local communities and agencies have
even fewer resources to devote to such an effort than the federal government given all the
numerous other demands on local police departments.

Local police agencies must meet their existing policing and homeland security duties and can
not even begin to consider taking on the added burden of immigration enforcement until federal
assistance and funding are in place to support such enforcement. Current calls for local police
agencies to enforce immigration come with no clear statement or guarantee to provide



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adequate federal funding. Local agencies also fear that the call for local enforcement of
immigration laws signals the beginning of a trend towards local police agencies being asked to
enter other areas of federal regulation or enforcement.

3) Complexity of Federal Immigration Law

Federal immigration laws are extremely complicated in that they involve both civil and criminal
aspects. The federal government and its designated agencies such as I.C.E. and the
Department of Justice have clear authority and responsibility to regulate and enforce
immigration laws. It is these federal agencies who have the authority to determine if a person
will be criminally prosecuted for their violations of immigration laws or be dealt with through a
civil deportation process. Based on their authority, training, experience and resources available
to them, these federal agencies and the federal courts are in the best position to determine
whether or not a person has entered or remained in the country in violation of federal
regulations and the applicability of criminal sanctions.

Immigration violations are different from the typical criminal offenses that patrol officers face
every day on their local beats. The law enforcement activities of local police officers revolve
around crimes such as murder, assaults, narcotics, robberies, burglaries, domestic violence,
traffic violations and the myriad of other criminal matters they handle on a regular basis. The
specific immigration status of any particular person can vary greatly and whether they are in
fact in violation of the complex federal immigration regulations would be very difficult if not
almost impossible for the average patrol officer to determine. At this time local police agencies
are ill equipped in terms of training, experience and resources to delve into the complicated
area of immigration enforcement.

4) Lack of Local Authority and State Law Limitations of Authority

The federal government has clear authority over immigration and immigration enforcement.
Federal law does not require the states or local police agencies to enforce immigration laws nor
does it give the states or local agencies the clear authority to act in the area of immigration.

Laws in their respective states define the authority of local police officers. The authority of local
police officers to act to enforce against criminal acts is clear and well established. However,
federal immigration laws include both civil and criminal process to address immigration
violations. It is within the authority of federal agencies such as I.C.E. and the Department of
Justice to determine if an immigration violation will be dealt with as a criminal matter or through
a civil process. Given the complexity of the immigration laws, it would be difficult for local police
agencies to determine if a particular violation would result in criminal charges or purely civil
proceedings and regulation. This duality in immigration law creates a gap in authority for local
police officers who generally are limited to acting only in criminal matters.

In addition state laws may restrict a local police officer’s authority to act even in criminal matters
in such a way that it would prevent or hinder the officer’s ability to investigate, arrest or detain a
person for immigration violations alone. Federal agents are specifically authorized to stop
persons and conduct investigations as to immigration status without a warrant. Local police



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officers may be constrained by local laws that deal with their general police powers such as the
ability to arrest without a warrant, lengths of detention and prohibitions against racial profiling.

An example of this conflict between the civil nature of immigration enforcement and the
established criminal authority of local police exists in the federal initiative of placing civil
immigration detainer notices on the N.C.I.C. system. The N.C.I.C. system had previously only
been used to notify law enforcement of strictly criminal warrants and/or criminal matters. The
civil detainers being placed on this system by federal agencies notify local officers that the
detainers are civil in nature by including a warning that local officers should not act upon the
detainers unless permitted by the laws of their state. This initiative has created confusion due
to the fact that these civil detainers do not fall within the clear criminal enforcement authority of
local police agencies and in fact lays a trap for unwary officers who believe them to be valid
criminal warrants or detainers.

5) Risk of Civil Liability

In the past, local law enforcement agencies have faced civil litigation and liability for their
involvement in immigration enforcement. For example, the Katy, Texas Police Department
participated in an immigration raid with federal agents in 1994. A total of 80 individuals who
were detained by the police were later determined to be either citizens or legal immigrants with
permission to be in the country. The Katy police department faced suits from these individuals
and eventually settled their claims out of court.

Because local agencies currently lack clear authority to enforce immigration laws, are limited in
their ability to arrest without a warrant, are prohibited from racial profiling and lack the training
and experience to enforce complex federal immigration laws, it is more likely that local police
agencies will face the risk of civil liability and litigation if they chose to enforce federal
immigration laws.




D.     M.C.C. NINE (9) POINT POSITION STATEMENT

Based upon a review, evaluation and deliberation regarding the
important and complex issue of local enforcement of federal
immigration laws, the members of M.C.C., who are the 57 Chief
Executive Officers of police departments located within a
metropolitan area of more than 1.5 million population and which
employs more than 1,000 law enforcement officers, hereby set
forth our consensus position statement, which is comprised of
nine crucial components.


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 1)    SECURE THE BORDERS

 Illegal immigration is a national issue and the federal government should first act
 to secure the national borders to prevent illegal entry into the United States. We
 support further and adequate funding of the federal agencies responsible for
 border security and immigration enforcement so they can accomplish this goal.
 We also support consideration of all possible solutions including construction of
 border fences where appropriate, use of surveillance technologies and increases
 in the number of border patrol agents. Only when the federal government takes
 the necessary steps to close the revolving door that exists at our national
 borders will it be possible for local police agencies to even begin to consider
 dedicating limited local resources to immigration enforcement.

 2)    ENFORCE LAWS PROHIBITING THE HIRING OF ILLEGAL IMMIGRANTS

 The federal government and its agencies should vigorously enforce existing
 immigration laws prohibiting employers from hiring illegal immigrants.
 Enforcement and prosecution of employers who illegally seek out and hire
 undocumented immigrants or turn a blind eye to the undocumented status of
 their employees will help to eliminate one of the major incentives for illegal
 immigration.

 3)    CONSULT AND INVOLVE LOCAL POLICE AGENCIES IN DECISION MAKING

 Major Cities Chiefs and other representatives of the local law enforcement
 community such as the International Association of Chiefs of Police and local
 district attorneys and prosecutors should be consulted and brought in at the
 beginning of any process to develop a national initiative to involve local police
 agencies in the enforcement of federal immigration laws. The inclusion of local
 law enforcement at every level of development would utilize their perspective and
 experience in local policing, address their concerns and likely result in a better
 program that would be more effectively implemented.

 4)    COMPLETELY VOLUNTARY

 Any initiative to involve local police agencies in the enforcement of immigration
 laws should be completely voluntary. The decisions related to how local law
 enforcement agencies allocate their resources, direct their workforce and define
 the duties of their employees to best serve and protect their communities should
 be left in the control of state and local governments. The decision to enter this
 area of enforcement should be left to the local government and not mandated or
 forced upon them by the federal government through the threat of sanctions or
 the withholding of existing police assistance funding.

 5)    INCENTIVE BASED APPROACH WITH FULL FEDERAL FUNDING




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 Any initiative to involve local police agencies in the enforcement of immigration
 laws should be an incentive based approach with full federal funding to provide
 the necessary resources to the local agencies that choose to enforce immigration
 laws. Federal funds should be available to participating local agencies to cover
 the costs associated with enforcement such as expenditures on equipment and
 technology, training and educational programs and costs of housing, caring for
 and transporting immigrants prior to their release to federal authorities.



 6)    NO REDUCTION OR SHIFTING OF CURRENT ASSISTANCE FUNDING

 The funding of any initiative to involve local police agencies in the enforcement of
 immigration laws should not be at the detriment or reduction directly or indirectly
 of any current federal funding or programs focused on assisting local police
 agencies with local policing or homeland security activities. Local police
 agencies are currently working on strained budgets and limited resources to
 meet local policing needs and strengthening homeland security and in fact need
 increased funding and grant assistance in these areas. Merely shifting or
 diverting federal funding currently available for local policing and homeland
 security activities to any new immigration enforcement initiative would only result
 in a detrimental net loss of total resources available to local police agencies to
 police their neighborhoods and strengthen homeland security.

 7)    CLARIFICATION OF AUTHORITY AND LIMITATION OF LIABILITY

 The authority of local police agencies and their officers to become involved in the
 enforcement of immigration laws should be clearly stated and defined. The
 statement of authority should also establish liability protection and an immunity
 shield for police officers and police agencies that take part in immigration
 enforcement as authorized by clear federal legislation.

 8)    REMOVAL OF CIVIL IMMIGRATION DETAINERS
       FROM THE N.C.I.C. SYSTEM

 Until the borders are secured and vigorous enforcement against employers who
 hire illegal immigrants has taken place and the concerns regarding lack of
 authority and confusion over the authority of local agencies to enforce
 immigration laws and the risk of civil liabilities are adequately addressed, M.C.C.
 strongly requests that the federal agencies cease placing civil immigration
 detainers on N.C.I.C. and remove any existing civil detainers currently on the
 system. The integrity of the system as a notice system for criminal warrants
 and/or criminal matters must be maintained. The inclusion of civil detainers on
 the system has created confusion for local police agencies and subjected them to
 possible liability for exceeding their authority by arresting a person upon the basis
 of a mere civil detainer.



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 M.C.C. would encourage the federal agencies to seek federal criminal warrants for
 any person they have charged criminally with violations of immigration laws and
 submit those criminal warrants on the N.C.I.C. system so the warrants can be
 acted upon by local police officers within their established criminal enforcement
 authority and training.



 9)    COMMITMENT OF CONTINUED ENFORCEMNT AGAINST                          CRIMINAL
       VIOLATORS REGARDLESS OF IMMIGRATION STATUS

 M.C.C. member agencies are united in their commitment to continue arresting
 anyone who violates the criminal laws of their jurisdictions regardless of the
 immigration status of the perpetrator. Those immigrants, documented and/or
 undocumented, who commit criminal acts will find no safe harbor or sanctuary
 from their criminal violations of the law within any major city but will instead face
 the full force of criminal prosecution.




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            Nashville Immigrants Too Scared to Call the Police                                                                                 email address
            MAY 19, 2014


            Author(s): Amy Braunschweiger                                                                                                     F O LLO W US
            Published in: New American Media


            For years Claudia lived a clandestine life in Nashville’s
            Clairmont Apartment complex – a clutch of buildings
            on the city’s south side that had become home to
            hundreds of low-income immigrants. Claudia rarely
            ventured outside the lines of daily routine, prepping her
            three children for school, getting herself to work, and
            then quickly back home in the evening. An
            undocumented immigrant, Claudia lives in fear of US
            authorities. She is desperate to remain in the United
                                                                               Enlarge
            States, as she fled Honduras after the father of her two
                                                                          US Immigration and Customs Enforcement agents detain a woman
            daughters was murdered by gangs who also threatened           in Phoenix, Arizona on August 17, 2013.                             LA T E ST NE WS
                                                                          © 2014 Reuters
            Claudia and her girls.
                                                                                                                                              Central African Republic: Multimedia Feature
                                                                                                                                              Recounts 2014 Violence
            Claudia’s deliberately quiet life in Nashville ended when her daughter Adriana, then 10 years old, was assaulted                  DECEMBER 30, 2014 Press release
            in an isolated stairwell.
                                                                                                                                              Top Five Human Rights Watch Videos of
                                                                                                                                              2014
            Claudia and her neighbors heard Adriana scream. Claudia raced to the stairwell. The man who assaulted                             DECEMBER 26, 2014 Commentary

            Adriana tried to run, but neighbors captured him. At that moment, despite her horror of what happened, Claudia                    Indonesia: Joint Inquiry Needed Into Papua
            didn’t want to call the police.                                                                                                   Killings:
                                                                                                                                              Credible Impartial Investigation, Witness Protection Crucial
                                                                                                                                              DECEMBER 24, 2014 Press release
            “One always has this fear of being illegal,” she said.
                                                                                                                                              Civilians Despair as Both Sides Break the
                                                                                                                                              Rules in East Ukraine
                                                                                                                                              DECEMBER 24, 2014 Commentary

                                                                                                                                              Russia: Mass Terror Verdict
                                                                                                                                              Strong Evidence Defendants Tortured, But No Investigation
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            Across Nashville and the rest of the United States, undocumented immigrants like Claudia are often terrified of
            the police – to the point that they hope to avoid officers even when they desperately need police protection. In
            Nashville and elsewhere, Human Rights Watch has interviewed immigrants who suffered assault, sexual


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            harassment, labor violations, being kidnapped, or robbed and were still scared to call the police. Some are
            terrified of calling an ambulance in an emergency. Not only does this mean immigrant communities may not
            receive the help that they need – it also means more violent criminals will likely remain free, staking out new
            victims.


            This fear, which permeates entire immigrant communities, became more pronounced when local police officers
            in many cities like Nashville began working in tandem with the US agency that enforces immigration law and
            deportations, Immigration and Customs Enforcement (or “ICE”). Since 2007, Nashville has taken part in two
            such programs which, to varying extents, mandated that law enforcement work together with ICE. Both these
            programs have seriously damaged the relationship between immigrants and the police.


            Yet Nashville, like many places within the United States, has had an evolving and contradictory relationship
            with their growing immigrant populations. Some local law enforcement officials have called for crackdowns on
            immigrants and collaborated with harsh federal immigration enforcement policies. At the same time, Nashville
            launched “El Protector,” an outreach program established in 2004 where police actively seek to build ties and
            trust with the city’s immigrants. And Nashville’s local nongovernmental organizations along with concerned
            citizens have pushed for greater tolerance and dialogue. All these factors work together to form the essential
            relationship between authorities and immigrants – ties that, if made correctly, could help keep people safe.


            Nashville is emblematic in the debate over how the United States interacts with undocumented immigrants.
            During the 2000s, Nashville’s foreign-born population doubled, soaring from 58,539 in 2000 to 118,126 in
            2010 – becoming 7.4 percent of Nashville’s total population. By the mid-2000s, the state of Tennessee began to
            clamp down, barring unauthorized immigrants from obtaining drivers’ licenses and creating barriers to social
            services such as healthcare for low-income people.


            The first program in which Nashville police collaborated with ICE was called “287(g),” a reference to the
            relevant section of the Immigration and Nationality Act. Under this program, specially trained local law
            enforcement officers are authorized by the federal government to identify and detain deportable immigrants they
            encounter in the course of their daily duties. In other words, any run-in with police could lead to deportation for
            any immigrant – even if he or she was not charged with a crime and had no criminal record.


            The assault against Claudia’s daughter happened in 2010, when Nashville was still part of 287(g), which helps
            explain Claudia’s reluctance to call the police.


            Under political pressure and the threat of lawsuits, the Davidson County Sheriff in Nashville announced in 2012
            that 287(g) would no longer be necessary because “the program was not having significant impact” in the
            community. Police officers for the city of Nashville told Human Rights Watch they understood the program had
            created a “culture of fear” in the community and hoped the end of 287(g) would mean “new ways to engage with
            law enforcement.” Unfortunately, when the 287(g) program ended, Nashville had already begun participating
            in another program, “Secure Communities” (which ICE claims is mandatory and is in effect across the United
            States). Under this program, immigrants are flagged for possible deportation through a database whenever their
            fingerprints are taken. If the program is implemented as intended, fingerprints of people in police custody
            submitted by local law enforcement to the FBI for background checks are automatically searched against
            immigration databases. If ICE determines that a person may be deportable it requests that local law enforcement
            detain him or her for transfer to ICE and possible deportation.


            A worrying byproduct of both programs is the chilling effect they have had on crime victims’ willingness to
            report crimes and collaborate with law enforcement. Despite efforts to improve outreach to immigrants, with
            Secure Communities still in place and without congressional action on immigration reform, deep fears that
            contacting the police could trigger deportation persist.


            They appear to be well-founded. Between August 2010 and May 31, 2013, Nashville’s Davidson County
            identified 9,632 people as “matches” with ICE databases and likely flagged them for deportation via Secure
            Communities. These figures appear quite similar to those from the 287(g) program. According to ICE, from
            287(g)’s inception in April 2007 through August 2012, 10,785 people were identified for deportation.


            In Claudia’s case, her neighbors ultimately convinced her that the police should be called. The man who
            assaulted her daughter needed to be stopped from hurting others, they said. After Claudia relented, a neighbor
            called the police.


            Claudia even agreed that her daughter could testify at the trial. She was told that she and her daughter likely
            now qualified for a U visa, created for crime victims. But during the trial, local police together with ICE raided
            Claudia’s building, searching for suspected gang members. Her terror of deportation took hold, and she fled the
            next day, as did many of her neighbors. She purposefully isolated herself, missed court dates for Adriana’s
            assailant’s trial, and was even too afraid to meet with lawyers about the potential visas.



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            She fled because, ultimately, living underground in the United States was better than going back to Honduras,
            where she feared for her own and her daughters’ lives.


            Claudia and her neighbors weren’t wrong in assuming that a run-in with Nashville’s police in 2010 could lead
            to deportation. The 287(g) program, implemented in Nashville from 2007 to 2012, was supposed to weed out
            serious criminals in the immigrant community. But this isn’t what happened.


            During this time, unauthorized immigrants who were caught fishing without a license or driving without a
            taillight had deportation proceedings brought against them. A study by the American Civil Liberties Union
            (ACLU) shows that before 287(g), the percentage of people in Nashville’s Davidson County who were arrested
            and then deported for driving without a license was 18 percent. After 287(g) began, that number skyrocketed to
            43 percent.


            During our research in Nashville in 2013, the unauthorized immigrants Human Rights Watch interviewed all
            had knee-jerk reactions in wanting to keep officers far away. Ultimately, however, most did call the police. But
            this may not always be the case.


            A 2008 study by the National Council of La Raza and the Tennessee Immigrant and Refugee Rights Coalition
            compared how African Americans and Latinos responded to crime. Their information showed that only 4
            percent of Black respondents said they knew of a crime that had not been reported to the police. However, a
            massive 42 percent of Latinos answered the same way. Also telling: while 27 percent of Blacks said they would
            not call the police to report a crime, 54 percent of Latinos would not.


            Elena’s story illustrates why this fear of contacting authorities wasn’t unfounded. Elena, living in Nashville but
            originally from Mexico, had just given birth to her son, Luis. She had been home from the hospital for four days
            when she heard a knock on her door and found a woman posing as an immigration official, saying that Elena
            was to be deported and her children taken into government custody. The woman tried to force her way into
            Elena’s home, and in the struggle, she stabbed Elena 12 times, then kidnapped her baby boy.


            Yet even in the wake of this horrific attack, Elena recalls that her immediate response to cries by neighbors to
            call 911 was to say “No.”


            “I still think about it … I was more concerned about my legal status,” she said. “Even when I was in the
            ambulance, bleeding, the thing I kept thinking was ‘Who will take care of my children when I am deported?’”


            Elena’s assailant was apprehended in Alabama. But instead of having her kidnapped child and her other
            children returned, they were all taken into temporary custody by child-protective service officials, while the FBI
            and police investigated a claim by the kidnapper that Elena had agreed to sell her baby. It took weeks before
            Elena regained custody of her four children. The assailant later pled guilty to kidnapping and was sentenced to
            20 years in prison.


            Ultimately, many in Nashville acknowledged the rift 287(g) created between the police and the immigrant
            community – a divide that makes Nashville a more dangerous city, as criminals are not necessarily properly
            apprehended – and some hoped the switch to Secure Communities would help heal the divide. But even that
            program still effectively intermingles federal immigration enforcement with public safety and feeds mistrust
            between police and the community.


            Nashville is still dealing with people who are terrified of reporting crimes, and they’re haunted by memories of
            families and friends being treated as criminals, or even deported, when they did so. Much of the terror is related
            to fall-out from 287(g), but some goes even deeper. Many immigrants come from countries where police are
            corrupt – and even violent – and not to be trusted. It can be a challenge to temper these inherent fears.


            Nashville’s El Protector program has helped. Under El Protector, officers conduct community meetings, go door-
            to-door in commercial strips, host youth camps, health fairs and sponsor community festivals. They also
            maintain a network of volunteer translators who are given dedicated cell phones and are on call to help when
            police are faced with a non-English-speaking victim or subject of a law enforcement stop. They work on
            improving their relationships with the community and on educating people on the importance of reporting
            crimes.


            But Nashville, indeed the state of Tennessee and other states and localities across the nation, should go further
            in repairing their relationships with immigrant communities and in treating immigrants fairly under the law.
            California, for example, passed the TRUST Act in October 2013, under which local law enforcement may
            respond to a request from immigration authorities to hold a flagged immigrant only if the immigrant has been
            convicted or arrested for certain serious offenses. Similarly, a Chicago ordinance prohibits local law
            enforcement from detaining individuals for immigration authorities except in certain instances, such as when
            individuals are charged with or convicted of felonies. A federal court in Oregon recently found that counties

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            could not detain people solely for ICE without violating their constitutional rights. In the wake of the decision,
            over a dozen Oregon counties announced that they would no longer comply with ICE “holds” or requests that a
            non-citizen be held.


            State bills similar to California’s have been proposed in Massachusetts and Maryland while in other places
            governors and local officials have acted to break the link between public safety and immigration enforcement.
            These laws and policies are not perfect. They still expose some immigrants to the harsh federal immigration
            regime that fails to consider family or community ties. However, they have the potential to begin to rebuild the
            trust of immigrant communities in law enforcement and ensure that all crime victims and witnesses can have
            recourse to the police.


            As Elena explains, the stakes, in terms of ensuring the safety of immigrants and citizens alike couldn’t be
            higher: “I feel tranquil now because I have my child and I am alive. But do I feel secure? Never.”




            (pseudonyms used to protect the privacy and identities of interview ees)

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  The Role of Local Police
    Striking a Balance
    Between Immigration Enforcement
    and Civil Liberties




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                  The Role of Local Police:
  Striking a Balance Between Immigration Enforcement
                    and Civil Liberties



                           by Anita Khashu

                                April 2009




                              Washington, DC




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           The Police Foundation is a national, nonpartisan, nonprofit organization dedicated to support-
           ing innovation and improvement in policing. Established in 1970, the foundation has conducted
           seminal research in police behavior, policy, and procedure, and works to transfer to local agen-
           cies the best information about practices for dealing effectively with a range of important police
           operational and administrative concerns. Motivating all of the foundation’s efforts is the goal
           of efficient, humane policing that operates within the framework of democratic principles and
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           An executive summary and the full report of The Role of Local Police: Striking a Balance
           Between Immigration Enforcement and Civil Liberties are available online at
           http://www.policefoundation.org/strikingabalance/.




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                                            Foreword



      merica’s efforts to find effective


A
                                                      of local police in immigration enforcement had
      solutions to its undocumented immigra-          been limited to such things as sharing infor-
      tion problem resulted in a series of            mation, providing back-up support for field
      debates at the federal, state, and local lev-   operations, coordinating efforts, and holding
els. These debates revealed the emotional             and transferring prisoners. In 1996, when the
intensity surrounding the issue and disclosed         Illegal Immigration Reform and Immigrant
divisions in the political and social fabric of       Responsibility Act added Section 287(g) to the
the country, all within the backdrop of a pres-       Immigration and Nationality Act, local police,
idential election.                                    upon entry into a memorandum of agreement
    The failure of Congress to move forward           with the U.S. Department of Homeland Secu-
with the development of a comprehensive               rity (DHS), were granted the authority to
national solution to this problem prompted            enforce federal immigration laws.
states and localities to act unilaterally in pass-         Pursuant to Section 287(g) agreements,
ing legislation to curb immigration by penal-         police who meet the requisite federal training
izing employers who hire immigrants,                  standards are authorized to enforce federal
prohibiting undocumented immigrant access to          immigration law under the supervision of DHS.
government benefits and services, and inten-          Local police are provided direct access to DHS
sifying enforcement of immigration laws.              databases and authorized to initiate the depor-
These measures generated so much fear and             tation process. This enables local police to
uncertainty that large numbers of immigrants          remove serious criminal offenders from the
simply uprooted, leaving communities where            community more expeditiously and in a less
they had lived for years.                             costly manner by leveraging federal resources
    This “immigration emergency” and demo-            to deport them. Notwithstanding the benefits
graphic shift of the undocumented population          derived from Section 287(g), only a fraction of
resulted in an expansion of the role of federal       a percentage of police and sheriffs’ depart-
immigration officials from maintaining the            ments has opted to participate.
security of the borders to the enforcement of              There are good reasons for this. Police
immigration laws in cities, towns, and villages       chiefs know that to be effective at crime control
throughout the United States. The relocation          in this community-policing era, they must have
of immigrants from farming communities and            public support. If local police are perceived
predominately rural areas to cities and subur-        as immigration enforcement officers, immi-
ban communities has resulted in a cultural            grants—both documented and undocumented—
clash and generated a backlash against immi-          will avoid contact with police because of fear of
grants, who look different, speak foreign lan-        arrest and deportation of themselves or a fam-
guages, and do not fit well within the social         ily member; 85 percent of immigrants in the
and political milieu of communities.                  U.S. live in mixed-status families. During our
    The influx of the immigrant population            focus groups, representatives of the immigrant
into cities and suburban communities has              community told us that they avoided going
caused the federal government to reallocate a         outside of their homes whenever immigration
higher percentage of its resources to these           authorities were in town. One mother said
areas and to encourage greater cooperation            that she would not even go to the store to buy
and support from state and municipal law              milk for her baby due to fear of arrest and
enforcement agencies. Prior to 1996, the role         deportation.



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               The reluctance of local police to enforce                     eral government, determined immigration
           immigration law grows out of the difficulty of                    enforcement to be a federal responsibility.
           balancing federal and local interests in ways                     Hence, the enforcement of federal laws do not
           that do not diminish the ability of the police                    supersede the responsibilities of local police
           to provide for public safety, which depends                       to enforce state statutes and provide for the
           heavily on public trust. In communities where                     public safety as derived from the police powers
           people fear the police, very little information is                embodied within the reserve clause of the
           shared with officers, undermining the police                      Tenth Amendment to the United States Con-
           capacity for crime control and quality service                    stitution.
           delivery. As a result, these areas become breed-                       As the role of local police shifts from a con-
           ing grounds for drug trafficking, human smug-                     centration on public safety issues to immigra-
           gling, terrorist activity, and other serious                      tion enforcement, the perception that
           crimes. As a police chief in one of the focus                     immigrants have of police presence changes
           groups asked, “How do you police a community                      from protection and service to arrest and
           that will not talk to you?”                                       deportation. Police chiefs must carefully weigh
               In order to overcome these obstacles, police                  and balance these divergent responsibilities to
           departments should take appropriate measures                      ensure that the primary mission and purpose of
           to improve relationships with immigrant com-                      the police department is not compromised by
           munities. They can do so by learning more about                   the voluntary assumption of immigration
           the cultures and traditions of immigrants who                     enforcement responsibilities. Therefore, the
           live within their jurisdictions. They should                      question for local police is not merely what
           develop the capacity to communicate with immi-                    they do, but how they do it. To the degree that
           grants more effectively by encouraging officers                   police departments can support the efforts of
           to become more proficient in Spanish and ensur-                   DHS without sending a message to the public
           ing that department representatives who can                       that local police have become immigration
           speak other languages are available. The police                   enforcement officers and that contacts with
           need to pursue these goals so that they can tap                   them could result in deportation, mutual coop-
           into the wealth of information and knowledge                      eration can be beneficial to all parties.
           about things that are going on within the immi-                        When local police execute the powers of
           grant community. This in turn facilitates their                   immigration enforcement officers—as is the
           ability to control crime, maintain public safety,                 case when they check for green cards at road-
           and provide meaningful support to DHS in its                      blocks, or stop people for motor vehicle vio-
           efforts to prevent another terrorist attack within                lations and request documentation or
           the United States.                                                information associated with immigration sta-
               Local police chiefs recognize the impor-                      tus—they execute an immigration enforcement
           tance of mutually cooperative and supportive                      function in contacts with the general public.
           relationships among law enforcement author-                       As a result, they assume all of the attendant
           ities, especially in efforts to remove violent                    risks and consequences associated with such
           offenders from communities. They understand                       activities. These risks are diminished consid-
           such cooperation strengthens the capacity of                      erably when the exercise of police authority
           government at all levels to ensure that our com-                  does not involve contacts with the general pub-
           munities and our nation remain safe and secure.                   lic, such as would be the case when officers
           Nevertheless, the states, in establishing a fed-                  are processing prisoners in connection with



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DHS to determine whether there are any out-          crime problems. Every effort should be made
standing warrants or holds against those indi-       to establish a mutually cooperative and sup-
viduals, or when transferring prisoners with         portive working relationship between local
warrants or holds into the custody of DHS.           police and the immigrant communities they
    Finally, local police are part of our nation’s   serve. Police departments that opt to enforce
framework of institutions and organizations          federal immigration law should do so in a man-
that insure the strength of our democratic           ner that does not erode their relationship with
republic by maintaining safe and secure com-         immigrant communities or subordinate munic-
munities. The effectiveness of the police is         ipal interests to those of the federal govern-
heavily dependent upon the nature of the rela-       ment.
tionship they have with the general public and                                Hubert Williams
the degree to which the police and commu-                                                  President
nity are able to work collaboratively to resolve                                  Police Foundation




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                                                      Acknowledgments



              s in any large-scale project, the Police

          A
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    n recent years, the United States has


I
                                                     were mostly directed at improving cooperation
    experienced historically high rates of immi-     between local law enforcement and federal
    gration. Not only has the population of immi-    immigration authorities with respect to crimi-
    grants increased four-fold since the 1970s,      nal detainees. In 1996, however, Congress passed
in the last fifteen to twenty years immigrants       legislation expanding the role of local law
have also settled away from traditional gateway      enforcement in federal immigration enforce-
cities and into new destinations throughout the      ment. The most well-known program is the U.S.
country that have had very little experience with    Immigration and Customs Enforcement’s (ICE)
integrating new immigrants. The immigrant            287(g) program, which authorizes federal offi-
population has also grown more diverse, origi-       cials to enter into written agreements with state
nating from all parts of the globe, in particular    and local law enforcement agencies to carry out
Latin America and Asia versus the predomi-           the functions of immigration officers, includ-
nantly Caucasian European migration of the           ing investigation, apprehension, and detention.
early twentieth century. These demographic               While local law enforcement agencies col-
shifts have produced racial tensions, particu-       laborate with federal immigration authorities
larly in new destination communities, and given      in a wide range of activities, most of this pro-
rise to contentious debate about the nation’s        ject’s discussions focused on the ICE 287(g)
immigration policies and practices, with long-       program. Police executives have felt torn
standing resident communities demanding that         between a desire to be helpful and cooperative
government—federal, state, and local—more            with federal immigration authorities and a con-
aggressively enforce immigration laws.               cern that their participation in immigration
    Traditionally, the prevailing view was that      enforcement efforts will undo the gains they
the responsibility for enforcing federal immi-       have achieved through community oriented
gration laws was solely in the purview of the        policing practices, which are directed at gaining
federal government. In recent years, however,        the trust and cooperation of immigrant com-
local law enforcement agencies throughout the        munities. Police are also concerned about the
country have been drawn into the middle of the       impact of local law enforcement of immigration
immigration debate, especially since 9/11,           law on already strained state and local resources,
through pressure placed on them by their elected     and particularly on the ability of local law
leaders, their communities, and the media to         enforcement to maintain its core mission of pro-
engage in federal immigration enforcement, a         tecting communities and promoting public
responsibility that has not traditionally been       safety.
part of their organizational mandate. Beginning          With support from the Ford Foundation, the
in the 1990s, federal immigration agencies, over-    Police Foundation launched a national effort to
whelmed by the enormity of the task of appre-        bring together law enforcement agencies, pub-
hending, detaining, and deporting the country’s      lic officials, and community stakeholders to col-
almost twelve million unauthorized immigrants,       laboratively examine the implications of local
launched programs and initiatives to induce the      law enforcement of immigration laws. The main
cooperation and assistance of the nation’s           goal of the project was to provide local law
approximately 18,000 state and local law             enforcement with a venue to debate and dis-
enforcement agencies in identifying and deport-      seminate their perspectives on the issue of their
ing unauthorized immigrants living in the inte-      role in immigration enforcement so that they
rior of the country. Prior to 1996, these programs   may have an influence in the national policy



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           debate. A central project component was a                         level of debate over specific issues, that cer-
           series of focus groups held across the country                    tain recommendations and policy positions
           that included local police, public officials, and                 listed below were widely held among the group.
           representatives of immigrant communities and                      I The costs of participating in the U.S. Immi-
           designed to elicit the perspectives and insights                  gration and Customs Enforcement’s (ICE)
           of those directly impacted by the issues sur-                     287(g) program outweigh the benefits.
           rounding immigration. The conversations and
                                                                             I  Police officers should be prohibited from
           questions raised in the focus groups influenced
                                                                             arresting and detaining persons to solely inves-
           the development of the agenda for a national
                                                                             tigate immigration status in the absence of
           conference in Washington in August 2008, at
                                                                             probable cause of an independent state crimi-
           which scholars, policy makers, law enforce-
                                                                             nal law violation.
           ment professionals, and immigrant commu-
           nity representatives from across the U.S.                         I  If a local agency nevertheless enters the
           participated in facilitated discussions and pre-                  287(g) program, its participation should be
           sented data and research on the issues involved                   focused on serious criminal offenders and
           in the debate. Finally, a short written survey                    should be limited to verifying the immigration
           was distributed to law enforcement executives                     status of criminal detainees as part of the 287(g)
           who attended the national conference.                             Jail Enforcement Officer program.
              Although there were clearly differences of                     I  Local and state authorities participating in
           opinion among the diverse group of law                            federal immigration enforcement activities
           enforcement representatives participating in                      should develop policies and procedures for mon-
           the various project activities regarding the                      itoring racial profiling and abuse of authority.
           costs and benefits of local law enforcement                       I  In order to preserve the trust that police
           participation in federal immigration enforce-
                                                                             agencies have built over the years by aggres-
           ment, a majority of police chiefs seem to regard
                                                                             sively engaging in community oriented polic-
           the costs of participation in civil immigration
                                                                             ing activities, local law enforcement agencies
           enforcement efforts, where there is no crimi-
                                                                             should involve representatives of affected com-
           nal nexus, as outweighing the potential bene-
                                                                             munities in the development of local immi-
           fits. In particular, many police executives were
                                                                             gration policies.
           concerned with the impact on the relationship
                                                                             I There is a need for empirical research on
           between immigrant communities and police
           and the probability of reduced cooperation of                     ICE’s 287(g) program and other methods of
           witnesses and victims of crime, thereby hav-                      police collaboration with federal immigration
           ing a negative overall impact on public safety.                   authorities so that we have more objective data
           They were also concerned about increased vic-                     by which to better understand the way in
           timization and exploitation of immigrants, a                      which these programs are carried out in the
           possible increase in police misconduct, the fis-                  field and their impact on public safety and civil
           cal impact on law enforcement budgets, the                        liberties.
           high possibility of error given the complexity                    I Local law enforcement agencies should

           of immigration law, the possibility of racial                     employ community-policing and problem-solv-
           profiling and other civil lawsuits, and the effect                ing tactics to improve relations with immigrant
           on immigrant access to other municipal serv-                      communities and resolve tension caused by
           ices. It also became clear, despite a healthy                     expanding immigration.



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I Local law enforcement leaders and policing      police is heavily dependent on the relation-
organizations should place pressure on the        ships the police have with the communities
federal government to comprehensively             they serve. Therefore, in developing and mon-
improve border security and reform the immi-      itoring local immigration policies, it is critical
gration system, because the federal govern-       that local law enforcement regularly com-
ment’s failure on both issues has had serious     municate with affected communities and
consequences in cities and towns through-         make every effort to establish a mutually
out the country.                                  cooperative and supportive relationship with
   While much of the dialogue generated dur-      immigrant communities.
ing the project centered on the specific ben-        The final project report presents the most
efits and costs of local law enforcement          salient arguments, positions, points of con-
participation in immigration enforcement,         sensus, and recommendations that arose dur-
the conversation often reverted to discussions    ing the focus groups, conference presentations
about the core role of police and general prin-   and discussions, and survey responses. Also
ciples of community policing. Local police        included, as appendices to the report, are a
must serve and protect all residents regardless   comprehensive summary of the focus group
of their immigration status, enforce the crim-    discussions, results of the conference law
inal laws of their state, and serve and defend    enforcement executive survey, the confer-
the Constitution of the United States. As         ence agenda, presenters’ bios, selected pre-
police agencies move away from their core         sentations, sample police department policies
role of ensuring public safety and begin taking   on immigration enforcement, and six papers
on civil immigration enforcement activities,      (abstracts below) prepared specifically for
the perception immigrants have of the role        the national conference by scholars from var-
of police moves from protection to arrest and     ious academic disciplines.
deportation, thereby jeopardizing local law
enforcement’s ability to gain the trust and       Abstracts of Papers Prepared
cooperation of immigrant communities. “How        for This Project
can you police a community that will not talk
to you?” asked one police chief participating     Legal Issues in Local Police Enforcement
in the project. Without the cooperation of        of Federal Immigration Law
immigrant witnesses and victims of crime,            by Nancy Morawetz and Alina Das,
local law enforcement’s ability to identify,         New York University School of Law
arrest, and prosecute criminals is jeopard-          As local police consider taking on enforce-
ized.                                             ment of federal immigration law, they should
   Over the past fifteen years, the commu-        carefully consider the legal complexity of
nity-policing movement has made significant       their role and legal constraints on methods
gains in making communities safer, and police     of enforcement in a legal and institutional
executives participating in the project           system that operates quite differently from
expressed concern that local immigration          local criminal justice systems. Local police
enforcement efforts threaten to undo these        enforcement of federal immigration law must
gains. The community-policing movement            account for local, state, and federal laws that
has demonstrated that the effectiveness of        govern the rights of community residents and



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          the obligations of localities. It must also                       local law enforcement agencies that still
          account for the civil nature of most immigra-                     choose to enforce immigration laws, as well as
          tion violations. Most importantly, it must be                     explains immigrants’ rights during these
          conducted in a way that avoids several com-                       police encounters.
          mon misconceptions about the supposed tar-
          gets of immigration law enforcement,                              Undocumented Immigration and Rates of
          including confusion over their rights, status,                    Crime and Imprisonment: Popular Myths
          and place in the community. The risk of error                     and Empirical Realities
          is high, and already several localities have                        by Rubén G. Rumbaut, University of
          been subject to lawsuits over unlawful arrests                      California-Irvine
          and detentions, the use of racial profiling in                       The perception that the foreign-born, espe-
          enforcement, poor conditions of confinement,                      cially “illegal aliens,” are responsible for
          and other violations of law. This paper dis-                      higher crime rates is deeply rooted in Amer-
          cusses the legal complexities of federal immi-                    ican public opinion and is sustained by media
          gration law enforcement in the local setting                      anecdote and popular myth. In the absence
          and the changing demographics of commu-                           of rigorous empirical research, stereotypes
          nities. Risks of liability provide yet another                    about immigrants and crime often provide
          factor for police departments to consider                         the underpinnings for public policies and
          before making a decision about whether to                         practices, and shape public opinion and polit-
          tread into this new field of enforcement.                         ical behavior. These perceptions, however,
                                                                            are not supported empirically; in fact, they
          Making Civil Liberties Matter in Local                            are refuted by the preponderance of scien-
          Immigration Enforcement                                           tific evidence. In addition to reviewing pre-
            by Raquel Aldana, William S. Boyd                               vious literature on immigrant criminality,
            School of Law, University of Nevada-                            Rumbaut looks at national violent and prop-
            Las Vegas                                                       erty crime rates since the early 1990s, during
             The exponential rise in local law enforce-                     the period of highest immigration. He then
          ment involvement in the enforcement of                            analyzes incarceration rates of young men
          immigration laws raises significant questions                     eighteen to thirty-nine, comparing differences
          regarding a state’s source of power to enforce                    between the foreign-born and the U.S.-born by
          a traditionally federal power. As well, this                      national origin and by education, and, among
          trend presents local police with new chal-                        the foreign-born, by length of residence in
          lenges on how to protect the civil liberties                      the U.S. Rumbaut also examines findings from
          and retain the trust of immigrant communi-                        two major surveys (IIMMLA and CILS) in
          ties. In this paper, the author explains the                      Southern California, the region of greatest
          unresolved controversy of the source and                          immigrant concentration in the United States,
          scope of local powers to enforce federal immi-                    and focuses comparative attention on those
          gration laws and details the civil liberties con-                 nationalities representing distinct modes of
          cerns that arise from local law enforcement’s                     incorporation.
          involvement in immigration enforcement.
          The author then offers recommendations for
          ensuring greater civil rights compliance by




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Why Integration Matters: The Case of                program and discusses some of the broad out-
Undocumented Immigrant Youth and                    lines of how it has been implemented to date.
Moving Beyond Enforcement                           Then, for further background, population and
  by Roberto G. Gonzales, University of             political trends that underlie the adoption of
  Washington-Seattle                                287(g) programs across the country are dis-
                                                    cussed. The third section of the paper relates
   Today’s immigration debates have brought
                                                    preliminary findings about the implementation
to the fore conflicting visions within the United
                                                    of 287(g) in Arkansas, based on a site visit there
States over how to address a population of
                                                    in June 2008. The site visit to the adjacent com-
eleven to twelve million undocumented immi-
                                                    munities of Rogers and Springdale, Arkansas,
grants. However, contemporary debates have
                                                    confirmed that 287(g) officers there were check-
yet to catch up to current realities and com-
                                                    ing immigration status in a variety of operations,
plexities of undocumented families and thus
                                                    including: routine traffic stops, worksite inves-
do not account, for the most part, for a growing
                                                    tigations, drug raids, and at the county jails in
population of undocumented children edu-
                                                    both communities. Several hundred immigrants
cated in the United States. Drawing upon three
                                                    had been arrested, detained, and sent into the
and a half years of fieldwork and over one hun-
                                                    custody of ICE for deportation over the course
dred life histories with adult children of undoc-
                                                    of the first six months. Latino community lead-
umented immigrants in Southern California,
this paper seeks to address the complicated         ers who had originally supported the program in
realities of contemporary immigration by exam-      Springdale had withdrawn their support due to
ining the experiences of undocumented youth         the wide net that the 287(g) officers had cast,
in the larger community context. It argues that     and the program’s broad impacts on local resi-
while enforcement efforts are counterpro-           dents, including schoolchildren. The paper ends
ductive, police and other community officials       with policy recommendations and general obser-
have an important role to play in the integration   vations about potential impacts of 287(g) oper-
process of undocumented youth.                      ations on cities, immigrant communities, and
                                                    children.
Local Enforcement of Immigration Laws:
Evolution of the 287(g) Program and Its             Immigration and Local Policing: Results
Potential Impacts on Local Communities              from a National Survey of Law
  by Randolph Capps, Migration Policy               Enforcement Executives
  Institute                                            by Scott H. Decker, Paul G. Lewis,
                                                       Doris Marie Provine, Arizona State
   By August 2008, sixty-two state and local
                                                       University, and Monica W. Varsanyi,
agencies had entered into 287(g) agreements
                                                       John Jay College of Criminal Justice
with U.S. Immigration and Customs Enforce-
ment (ICE), although most were signed since            One of the most important challenges for
2005. Most of the jurisdictions adopting agree-     law enforcement agencies in many communi-
ments are in southeastern and southwestern          ties is how to respond to immigration and the
states, in conservative political areas, and in     presence of undocumented residents. Depart-
locations where recent growth in unauthorized       ments often face conflicting pressures from
immigration has been rapid. This paper begins       local politicians, federal authorities, community
with a brief timeline and overview of the 287(g)    groups, and the private sector. Yet they have



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                                                    Executive Summary



          little available information to help them make                    ment authorities; and the range of policies on
          sound policy decisions. This paper reports on                     immigration policing being developed by cities
          the results of a recent nationwide survey of                      and departments. The survey also explores
          police executives on several issues, including                    levels of commitment to community policing
          differences between departments and com-                          practices and the potential for conflict with
          munities and their attitudes about immigra-                       enforcement of immigration laws by local
          tion and local law enforcement; relationships                     police.
          with federal immigration and customs enforce-




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About the Project
    n recent years, the United States has experienced historic levels of immigration.


I   During this time, not only did the immigrant1 population increase significantly but it also
    became more dispersed. Prior to 1990, immigrants tended to settle in the major gateway
    cities; beginning in the 1990s, they began moving to regions that have not been traditional
draws for immigration. In addition, unlike the last great period of immigration in the early twen-
tieth century, when the vast majority of immigrants were of European origin, the current immi-
grant population arrives from all parts of the globe and they bring with them a host of new
languages and cultures. As these demographic shifts started changing the racial and cultural
landscape of communities throughout the country and as local governments were struggling to
deal with the challenges of integrating these new immigrants into their communities, the pub-
lic began to demand government do more to enforce immigration laws.
      Even prior to the terrorist attacks of September 11, 2001, proponents of tightening immigration
control measures have argued that greater investment in immigration reform will improve pub-
lic safety by reducing crime, despite significant evidence to the contrary. Following the 9/11
attacks, public debate has become even more rancorous and has led to calls for greater involve-
ment of local and state governments in immigration control. As the federal government struggles
to resolve the complex and difficult issues surrounding immigration, local police are faced with
a serious dilemma regarding their role and responsibility in this area. On the one hand, the fed-
eral government is telling them that the enforcement of immigration laws by state and local
governments will assist the nation in controlling undocumented immigration. On the other
hand, they realize that enforcing immigration laws could undermine their efforts to build trust
with immigrant communities, whose cooperation they need to effectively provide public safety
and policing services.
      To address the dilemma facing so many local police agencies about how to balance civil
rights protections, community-policing priorities, and immigration enforcement, the Police
Foundation launched a national effort to bring together law enforcement leaders, public offi-
cials, scholars, and community stakeholders to collaboratively examine the implications of local
law enforcement of immigration laws. The goals of the project were to review practices, con-
stitutional issues, and budgetary factors; to provide state and local agencies with data and rec-
ommendations to inform policy; and to facilitate dialogue between immigrant communities and
law enforcement in order to reduce fear and mistrust and enhance cooperation and improve
public safety.
      To accomplish these goals, the foundation hosted four sets of focus groups across the coun-
try that included law enforcement personnel, elected public officials, members of immigrant
communities, and other interested groups. The hope was that by bringing immigrant communities
together with local police to begin a dialogue on the role of police in immigration enforcement,
we would also help to open up channels of communication and establish improved working
relationships between local police and the immigrant communities they serve. A total of thirty-
three local and state law enforcement agencies were represented in the four focus groups (see
appendix A for a summary of focus group conversations).
      The information derived from the focus groups was used to design an agenda for a national
conference that was an invitation-only event at which over two hundred law enforcement lead-
ers, policy makers, scholars, and community leaders participated in facilitated discussions geared
toward generating concrete recommendations for how local law enforcement can strike a balance



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          between civil liberties and immigration enforcement. (Photos from the conference illustrate
          this report. See appendix N for the conference agenda and presenters’ bios.) National conference
          attendees included over one hundred law enforcement executives, many of whom were police
          chiefs or elected sheriffs, as well as fourteen federal, state, and local government representa-
          tives. The foundation also invited scholars and other immigration experts to present papers on
          specific topics relating to the role of local and state police in immigration enforcement. The
          topics of the papers included the rights of undocumented immigrants and the legal framework
          for the enforcement of immigration laws, demographic research, immigration and criminality, eval-
          uation of federal efforts to collaborate with local police on immigration enforcement (287(g)
          program), a national survey of local police immigration policies, and the experience of undocu-
          mented youth (see appendices B-G).
                The foundation also distributed a survey to law enforcement executives who attended the
                                              conference. Fifty-four attendees completed the survey: forty
                                              police chiefs, nine deputy or assistant police chiefs, two sheriffs,
                                              one police superintendent, a major, and a respondent who is both
                                              a sheriff and police chief. Most of the participants were from
                                              urban agencies (n=29), while many were from urban/suburban
                                              areas (n=19). The remaining six were from rural type areas. The
                                              size of the jurisdictions ranged from just under fifteen thousand
                                              to more than four million. Also, the majority of respondents
                                              (n=47) were from municipal or local law enforcement agencies,
                                              while one was from a county police department, four were from
                                              sheriffs’ offices, one was from an urban county metropolitan
                                              area, and one was from both a sheriff’s office and a municipal
                                              department (Amendola, Williams, Hamilton, and Puryear 2008)
          Police Foundation President          (see appendix H).
          Hubert Williams and Phoenix
          Mayor Phil Gordon share a
                                                     This report presents an accumulation of the conversations,
          moment before the conference         findings,  and recommendations derived from the focus groups,
          convenes.                            conference sessions, and academic papers prepared for the con-
          ference. The goal of the report is to discuss the implications of local police enforcing immigration
          laws with respect to building constructive relationships with minority communities, and to provide
          state and local law enforcement agencies with information and recommendations for reviewing their
          immigration law enforcement policies. Underlying the design of this project and report is a belief
          that encouraging dialogue between police and communities will enhance public trust in state and
          local law enforcement and promote a balanced approach to providing police services and protect-
          ing civil rights. The capacity of the police to prevent and respond to crime, including acts of terrorism,
          requires public cooperation that is anchored in public trust of the police.

          History of the Role of Local Police in Immigration Enforcement
                In 1952, Congress defined the nation’s immigration laws in the Immigration and National-
          ity Act (INA), which contains both civil and criminal enforcement measures. Federal law, how-
          ever, has never been clear about the role of local and state authorities in immigration enforcement;
          until recently, the prevailing position in the policing and immigration fields has been that enforce-
          ment of civil immigration laws is solely in the purview of the federal government and that local
          and state police have authority to make arrests for only a small subset of criminal immigration vio-
          lations (Appleseed 2008, 11).



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       Federal law has never been clear about the role
 of local and state authorities in immigration enforcement.

       The trend towards greater cooperation between local law enforcement and federal immigra-
tion officials began years before September 11, 2001, in the 1990s, when the United States began to
experience historic levels of immigration. Overwhelmed by the task of detecting, arresting, and
detaining the growing population of unauthorized immigrants in the United States, federal immigration
authorities and proponents of greater immigration control began advocating for greater cooperation
between local police and federal immigration authorities. Proponents argued that the nation’s
approximately 700,000 local and state police officers would be an effective “force-multiplier;” that
is, they could dramatically increase the number of law enforcement officials who could detect undoc-
umented immigrants in the interior of the country. In addition, proponents such as Alabama Sena-
tor Jeff Sessions argued that the failure of police to enforce immigration law created an incentive for
greater inflows of unauthorized immigration into the United States (Venbrux 2006, 320).
       Prior to legislative reforms of 1996, federal efforts towards increasing local law enforcement’s
role in immigration matters were limited to increasing communication and assistance to states
regarding criminal detainees in violation of immigration law. For instance, in 1991, the legacy Immi-
gration and Naturalization Service (INS) established the Alien Criminal Apprehension Program to
foster greater cooperation between police and immigration authorities to deport criminal aliens. Under
this program, state and local law enforcement officials would notify federal immigration officials of
foreign-born nationals who had committed a crime and were taken into state or local custody
(Seghetti, Viña, and Ester 2004, 3). Subsequently, in 1994, California politicians began advocating
with the federal government for reimbursement of funds the state was expending to apprehend and
incarcerate criminal aliens who had illegally reentered the country following a final order of depor-
tation. Congress, in response to this advocacy, funded a program to reimburse states for costs
incurred in the apprehension and incarceration of foreign nationals who had committed crimes
(Appleseed 2008, 14).2 Congress also appropriated funds to create the Law Enforcement Support
Center (LESC) (Aldana 2008, 3).3 The LESC’s mission is to provide federal, state, and local law
enforcement with information on immigration status of individuals arrested, suspected, or detained
for a criminal offense. The LESC has operators working twenty-four hours a day, seven days a
week answering inquiries from law enforcement. These operators use information gathered from
various Department of Homeland Security (DHS) databases, the FBI’s national database, and state
criminal history databases (Appleseed 2008, 21).
       In 1996, Congress expanded the role for state and local law enforcement in the Antiterrorism
and Effective Death Penalty Act of 1996 (AEDPA) and the Illegal Immigration Reform and Immi-
grant Responsibility Act of 1996 (IIRIRA). Section 439 of the AEDPA amended federal immigration
law to provide authority to states to arrest and detain an immigrant who had a previous order of depor-
tation and had been previously convicted of a crime, to the extent authorized by state law (Apple-
seed 2008, 15). The law also required that state or local officials confirm immigration status with INS
and prohibited detention for a period longer than necessary to transfer to federal custody (Apple-
seed 2008, 15). In addition, Section 372 of IIRIRA amendments to the INA provided authority to INS
to deputize local and state law enforcement officials in the event of a mass influx of immigrants (Apple-
seed 2008, 15). IIRIRA also added section 287(g) to the INA, which authorized federal officials to



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              The trend toward greater involvement of state and local
                   officials in federal immigration enforcement
              gained significant momentum after the terrorist attacks
                                of September 11, 2001.

          enter into written agreements with state and local law officials to carry out the functions of an
          immigration officer, including investigation, apprehension, and detention “at the expense of the
          State or political subdivision and to the extent consistent with State and local law” (ICE Fact Sheet:
          287(g)). Moreover, by expanding the categories of criminal offenses that would subject immigrants
          (legal and unauthorized) to mandatory detention and deportation, IIRIRA reforms resulted in an
          increase in the number of criminal detainees subject to immigration deportation or removal
          proceedings (Chishti 2006, 462-463).
                In 1999, INS Interior Enforcement Strategy included the tactic of developing partnerships
          with local and state law enforcement agencies to assist the INS with their interior immigration
          enforcement efforts (Chishti 2002, 372). In this same year, Congress appropriated funds for INS
          to create Quick Response Teams that responded to requests from state and local law enforcement
          officers who believed they had an unauthorized immigrant in custody. The INS established
          Quick Response Teams in regions that had experienced increases in the unauthorized immi-
          grant population (Seghetti, Viña, and Ester 2004, 3).
                The trend toward greater involvement of state and local officials in federal immigration
          enforcement gained significant momentum after the terrorist attacks of September 11, 2001,
          when federal, state, and local officials began to promote efforts at tightening immigration con-
          trol as a counterterrorism measure (Venbrux 2006, 317). The most significant change that
          occurred in the aftermath of September 11 was the U.S. Department of Justice (DOJ) Office of Legal
          Counsel’s (OLC) reversal of its long-standing position that involvement of state and local author-
          ities in immigration enforcement should be limited, declaring that state and local police had
          inherent authority to make arrests for civil immigration violations (Chishti 2006, 467). Prior to
          2002, DOJ officials had made statements and drafted memoranda arguing that state and local police
          did not have authority to enforce federal civil immigration law. In 1978, for instance, DOJ released
          a statement that, “INS officers are uniquely prepared for this law enforcement responsibility
          because of their special training, and because of the complexities and fine distinctions of immi-
          gration laws” (Appleseed 2008, 13). In 1983, the Reagan Justice Department encouraged a little
          more cooperation but limited that role to primarily informing INS about suspected deportable
          immigrants taken into police custody for state criminal violations (Seghetti, Viña, and Ester
          2004, 7-8). The Reagan DOJ position also stated that where “state law authorizes local officers
          to enforce criminal provisions of federal law, “state and local police could exercise their author-
          ity to enforce criminal provisions of federal immigration law” (Appleseed 2008, 13). This posi-
          tion was confirmed as late as 1996, when the DOJ OLC issued an opinion concluding that state
          and local police do not have the authority to enforce civil immigration law violations (Seghetti,
          Viña, and Ester, 8). At a 2002 press conference, however, Attorney General John Ashcroft
          announced a reversal of DOJ’s long-standing opinion, stating that state and local officials have
          inherent authority to enforce federal immigration law (Seghetti, Viña, and Ester, 8).



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      After September 11, in an effort to increase assistance from state and local police in the
identification of unauthorized immigrants, DOJ also began putting information on civil immigration
violations into the FBI’s National Crime Information Center (NCIC) database. The NCIC data-
base is a computerized index of criminal justice information operated by the FBI. In 1930, Con-
gress first authorized the DOJ to maintain a clearinghouse for fingerprint records, rap sheets, and
warrants (Gladstein, Lai, Wagner, and Wishnie 2005, 6-7). Over time, Congress has expanded the
categories of records that can be included in the NCIC database. For the first time, in 1996, Con-
gress authorized the entry of immigration records relating to previously deported felons (Glad-
stein et al. 2005, 6-7). Congress has never authorized entry of civil immigration records other than
those relating to previously deported felons into the NCIC database (Gladstein et al. 2005, 6-7).
Yet, as stated earlier, soon after September 11 the federal government began entering thousands
of absconder records, most of which are purely civil violations. In December 2003, DHS officials
stated intention to include student visa violators and persons deported for minor criminal
offenses into NCIC (Gladstein et al. 2005, 6-7). Understanding that state and local law enforce-
ment are the entities that mostly query the NCIC database, and given the federal government’s
interest in increasing involvement of state and local law enforcement as a “force multiplier” in
immigration enforcement, it seems that the government’s purpose in adding these immigration
records to the database was a form of inducing local and state police to enforce immigration
law when they routinely check the database in the course of regular police work (Kalhan 2008,
10). Policing organizations such as the International Association of Chiefs of Police (IACP) and
the Major Cities Chiefs Association (MCCA) have criticized DOJ’s decision to include civil war-
rants in the NCIC database because most state and local law enforcement agencies do not have
authority to arrest for federal civil law violations according to state law governing the scope of
their authority (IACP 2004, 4; MCC 2006, 10).
       Since the 1996 immigration reforms, the federal government has had the authority to enter into
agreements with state and local law enforcement agencies to train and then deputize local offi-
cers to perform immigration enforcement functions. However, prior to September 11, 2001, no
state or local law enforcement agency had chosen to enter into such an agreement with the INS.
Immediately after the terrorist attacks of September 11, the Florida State Police signed a memorandum
of agreement with INS to train and deputize their officers. Since then, sixty-three law enforce-
ment agencies in the country have taken advantage of the 287(g) program (ICE Fact Sheet: 287(g)).
      For years, counter-balancing the movement toward greater federal/state/local coopera-
tion on immigration enforcement, several states and municipalities throughout the country have
passed local and state ordinances and laws limiting state and local government employees’ abil-
ity to collaborate with federal immigration officials in the identification of unauthorized immi-
grants. In 1996, Congress passed two laws explicitly to counter such policies, by disallowing a
federal, state, or local government entity from prohibiting their employees from communicating
with federal immigration officials regarding the immigration status of any individual (Aldana 2008,
13). The legislative history, however, makes it clear that the purpose of this provision was not to
require local or state governments to communicate with federal officials regarding immigra-
tion status (Pham 2005, 15). Since 1996, state and local governments have continued to limit
their employees’ ability to cooperate with federal immigration entities; however, rather than
prohibiting communication with the federal government regarding immigration status, these
state and local laws limit when employees can question individuals regarding their immigra-
tion status (Pham 2005, 23; Seghetti, Viña, and Ester 2004, 21). These municipalities have been
labeled by many as “sanctuary cities.” But as several conference participants argued, this term is



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          a misnomer because these communities do not and cannot provide sanctuary for individuals
          from federal immigration enforcement officials. Moreover, many local and state law enforce-
          ment agencies not only do not provide sanctuary from federal immigration agents but indeed col-
          laborate with federal officials to deport criminal aliens.

          The Call for Greater Enforcement
            During discussions, conference workshops, and presentations, participants provided various
          theories of factors influencing the movement towards greater participation in immigration
          enforcement by state and local officials. Some of these reasons are described below.
          Demographic Changes
            As stated early in this report, in the last fifteen to twenty years, the United States has experi-
          enced historically high levels of immigration. The immigrant population has quadrupled since
          1970. In the 1990s, the size of the foreign-born population grew by 57.4 percent (Singer 2004, 1).
          By March 2008, the foreign-born population reached a historic high of 37.4 million people, or 12.5
          percent of the population (Passel 2008) (see figure 1).

          FIGURE 1. IMMIGRANT NUMBERS KEEP GROWING —PERCENT APPROACHES HISTORIC HIGHS




          Source: Unauthorized Immigrants: Trends, Characteristics, and Surprises. Jeffrey S. Passel, Pew Hispanic Center. Pres-
          entation prepared for Police Foundation conference, The Role of Local Police: Striking a Balance Between Immigra-
          tion Enforcement and Civil Liberties, Washington, DC, August 21, 2008 (see appendix I).


               Not only is the number of immigrants in the United States reaching historically high levels,
          the population is also becoming more dispersed and areas of the country with no history of
          immigration are experiencing large influxes of immigrants (Singer 2007). In 1990, the top six immi-
          grant states had 75 percent of the immigrant population. In 2008, these six states had merely 65
          percent of the immigrant population (Passel 2008) (see figure 2).
               The United States has also experienced great increases in the unauthorized population in
          recent years. Undocumented immigrants currently make up 30 percent of the foreign-born popu-



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FIGURE 2. NEW IMMIGRATION GROWTH CENTERS




Source: Unauthorized Immigrants: Trends, Characteristics, and Surprises. Jeffrey S. Passel, Pew Hispanic Center. Pres-
entation prepared for Police Foundation conference, The Role of Local Police: Striking a Balance Between Immigra-
tion Enforcement and Civil Liberties, Washington, DC, August 21, 2008 (see appendix I).


lation. Almost twelve million unauthorized immigrants were living in the United States in March
2008, constituting approximately four percent of the total U.S. population. Since the beginning of
this decade, the unauthorized immigrant population increased by forty percent (Passel and Cohn
2008, i) (see figure 3).
      The new emerging destination gateways tend to have immigrants who are from Asia and
Mexico, are poorer than the native-born population, have low English proficiency, and lower rates
of citizenship than traditional gateway cities that have longer-residing immigrant populations
(Singer 2004, 1). New growth states are also seeing particularly high levels of unauthorized immi-
grants. Eighty percent of the undocumented population lived in six traditional immigrant gate-
way states in 1990, whereas in 2006 this percentage decreased to 60 percent (Passel 2008) (see
appendix I).
       In recent years, the average inflow of unauthorized immigrants appears to have slowed from
800,000 a year from 2000 to 2004 to approximately 500,000 yearly from 2005 to 2008. Yet, four out
of ten unauthorized immigrants arrived in the United States since 2000. While growth of the unau-
thorized population may have slowed in recent years, the legal immigrant population inflow has now
surpassed the undocumented population inflow, and thus communities continue to receive new immi-
grants (Passel and Cohn 2008, i-ii). The unauthorized population is largely Latino, with four out of
five unauthorized immigrants originating from Latin America (Passel and Cohn 2008, iii).




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          FIGURE 3. UNAUTHORIZED NUMBER HIGH — TREND UNCERTAIN, BUT SLOWING (?)


                   Millions of Unauthorized Migrants Living in the U.S.
                                                                                                                11.5
                                                                                                                  (2006)

                                                                                            8.4



                                                                                                    ~500,000 per year
                                       4                                  5
                                                                   3.9
             3        3.3
                                                   2.5

                 4-80 1-82              6-86       6-89        10-92     10-96              4-00           3-05



          Source: Unauthorized Immigrants: Trends, Characteristics, and Surprises. Jeffrey S. Passel, Pew Hispanic Center.
          Presentation prepared for Police Foundation conference, The Role of Local Police: Striking a Balance Between
          Immigration Enforcement and Civil Liberties, Washington, DC, August 21, 2008 (see appendix I).


                As the size of the immigrant population grows and
          immigrants move to new destination regions that have lit-
          tle or no experience with immigration, states and locali-
          ties are struggling to figure out how to integrate these new
          residents. In the absence of a comprehensive and effective
          federal immigration policy, immigration becomes a local
          policy challenge (Chishti 2006, 464). Moreover, as the racial
          and cultural landscape of these communities change as a
          result of these new demographic trends, long-standing res-
          ident communities have begun to put pressure on local gov-
          ernment, including police, to take measures to reduce levels
          of unauthorized immigration.
                A biannually conducted national survey of the non-
          institutionalized English-speaking population in the United
          States (General Social Survey) administered in 2000 con-
          firmed that perceptions of increasing minority population
          size influenced attitudes towards immigration. The survey
          found that respondents tended to overstate the size of the
                                                                                         A significant share of unauthorized fami-
          minority population; roughly half of the respondents stated
                                                                                         lies can be characterized as “mixed sta-
          that Whites had become a numerical minority in the United                      tus” in which there is one or more
          States. Residents of rural areas were more likely to exag-                     unauthorized parent and one or more
                                                                                         children who are U.S. citizens by birth,
          gerate minority-group size than urban residents. The sur-                      according to Dr. Jeffrey Passel of the
          vey also showed that perceptions of immigration issues                         Pew Hispanic Center.




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become more unfavorable as the perception of group size moves away from Whites as a majority.
In other words, the larger the non-Hispanic White population perceives minority-group size, the
more it supports greater immigration restrictions. Moreover, respondents that overstated minor-
ity-group size also tended to believe that Blacks and Hispanics are more violent than other racial
groups (Alba, Rumbaut, and Marotz 2005).
      Law enforcement executives participating in the focus groups and the conference agreed
that the changing demographics were driving the pressure from communities for a greater role
for local police in federal immigration enforcement. As one police executive in the Arlington,
Texas, session stated:
     I don’t think, generally speaking, people are complaining about the fact that some-
     one is here in this country without official legal authorization to be here . . . All of
     a sudden their community is becoming more heavily populated with people who
     are different from them, who enjoy doing things that are unlike what other people
     in the community have historically done. And so rather than addressing the uneasy
     feeling about differences among the newcomers, they just cast this label “illegal
     immigration” over that, and then they want us to enforce immigration laws to get
     rid of the people who are different from what they are accustomed.
      Providing concrete evidence of the argument that racial tensions are underlying the anti-
immigrant sentiment, one Dallas-Fort Worth Metroplex chief recounted that the morning of
the focus group he received a complaint about a Puerto Rican family that had moved into his com-
munity and set up a landscaping business that they ran out of their home. Throughout the day,
Puerto Rican workers were coming in and out of the house. Some neighbors complained to the
police requesting that the police do something to deport these new residents. The community
members clearly did not understand that these new residents were U.S. citizens. The chief pro-
vided this example to demonstrate that the problem with this family was not their immigration
status but rather their race or ethnicity that disturbed other community members.
      Several other participants in the focus groups and conference also strongly believed that
attacks against “illegal immigration” are often motivated by racial discrimination. An El Paso
participant stated, “It’s been easy for them to hide this whole racism that is happening against the
immigrant Mexicans, especially Latin America people, with the issue of the legality or illegality.”
As stated by a police chief from New Jersey:
     Where I see it is [when] people come to council meetings and talk about [undesirable]
     people out in front of their homes or hanging out in a public park in a particular
     neighborhood. My question is, well, how do you define who is undesirable? And
     essentially what it comes down to when you cut through the veneer of the issue is there
     are people in front of their homes and in the parks who speak a different language,
     have different customs, and then also engage in some problematic behavior.
     Some participants expressed concern that racial tensions were going beyond mere pressure
to control immigration into potentially violent and threatening behavior from a public safety per-
spective. In his conference keynote address (see appendix J), Phoenix Mayor Phil Gordon reported
that public protests over immigration are a regular occurrence in Arizona and participants are
sometimes armed with knives and guns, thereby requiring a strong police presence to ensure that
demonstrations do not spin out of control and turn violent. He displayed a protester’s sign with a
swastika at the bottom that stated: “Hooray for the slaughtering of the illegals. Boo to the Beaners!!”




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                                                                                                          Phoenix Mayor Phil
                                                                                                          Gordon shows conferees
                                                                                                          an anti-immigrant sign,
                                                                                                          which says, “Hooray for
                                                                                                          the slaughtering of the
                                                                                                          illegals. Boo to the
                                                                                                          Beaners!!”.




                 Mayor Gordon also reported an incident in which a United States Marine, in full uniform,
          was harassed, insulted, and called a traitor by a group of protestors, who shouted at the marine,
          “It’s too bad you didn’t die in the war; you’re a disgrace to your uniform. Go back to your own coun-
          try.” Mayor Gordon added:
                 Well, this American hero of Hispanic heritage is in his own country. He fought for
                 this country. These stories have nothing to do with green cards. They have every-
                 thing to do with brown skin. They were about racism and nothing else.
               Mayor Gordon also warned that if the federal government fails to reform the immigration
          system, communities in the interior of the country would begin to experience the racial tension
          they do on the border. In fact, communities throughout the nation are already experiencing a rise
          in hate crimes. Recently in Patchogue, New York, for instance, an Ecuadorian man was mur-
          dered by a group of teenagers looking for Latino immigrants to beat up (Macropoulos 2008).
          At the conference, a representative of the National Council of La Raza, Clarissa Martinez De
          Castro, stated that in recent years the organization has observed a rise in anti-immigration
          groups with direct links to hate groups.
          Perceptions of Immigrant Criminality
                Despite considerable empirical evidence to the contrary, much of the public believes that
          immigrants are more prone to engage in criminal behavior than the native-born population,
          which many project participants contended influenced the debate on the role of police in immi-
          gration enforcement. Seventy-three percent of respondents to the 2000 General Social Survey
          believed that immigration is causally related to more crime (Rumbaut 2008, 1). Stereotypes of immi-
          grant criminality are enforced through the media, in particular coverage of singular criminal
          events involving immigrant perpetrators (Rumbaut 2008, 1). Several focus group participants
          provided examples of singular criminal events or actors resulting in community pressure on
          local police to “do something about the immigration issue.” For example, a Dallas-Fort Worth
          Metroplex chief gave the example of a drug-trafficking cartel setting up base in his city, and the
          public’s outrage that immigration had brought this problem to their community.
                Several studies, however, have demonstrated evidence contrary to this perspective (Rum-
          baut 2008, Butcher and Piehl 2007, Nadler 2008). Rubén Rumbaut, professor of sociology at the
          University of California at Irvine, presented findings from his research on immigrants and crime



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at the national conference (see appendix D). He argued that empirical evidence has consistently
refuted the popular myth that influxes of immigrants lead to increases in crime. Since the early
1990s, over the same time period as legal and especially illegal immigration was reaching and sur-
passing historic highs, crime rates have declined, both nationally and most notably in cities and
regions of high immigrant concentration (including cities with large numbers of undocumented
immigrants such as Los Angeles and border cities like San Diego and El Paso, as well as New
York, Chicago, and Miami). The FBI Uniform Crime Reports showed a decline in both violent and
property crime during the era of mass migration of the 1990s. Data from the National Crime
Victimization Survey showed even more significant decreases in violent crime during this period
of time (Rumbaut 2008).
      This period of time also coincided with an era of mass incarceration; the number of incar-
cerated adults in U.S. federal or state prisons quadrupled from 500,000 in 1980 to over 2.2 mil-
lion in 2006. The incarcerated population is composed of mostly young men from ethnic minority
groups, who are low-wage workers and have low levels of educa-
tion. These characteristics are also common among the immi-
grant population in the United States, in particular the
undocumented population; and thus logic would suggest that
immigrants would have higher incarceration rates. To the con-
trary, Rumbaut’s analysis of incarceration rates of males between
the age of eighteen and thirty-nine who were in federal or state
prisons at the time of the 2000 U.S. Census showed lowest rates of
incarceration for the foreign-born population. The incarceration
rate for the U.S.-born population (3.51 percent) was five times the
rate of the foreign-born (.68 percent). The foreign-born incar-
ceration rate was less than half the incarceration rate for non-
Hispanic Whites (1.71 percent). Rumbaut’s research also points
out that in the state of California, which has higher overall incar-
                                                                       Although deeply rooted in
ceration rates than the rest of the country (4.5 versus 3.4 percent) American public opinion and
and the largest percentage foreign-born population, the foreign- sustained by media anecdote
                                                                       and popular myth, the percep-
born incarceration rates are lower than they are nationally (.4 to 1.0 tion that the foreign-born,
percent) (Rumbaut 2008). A study of the Americas Majority Foun- especially “illegal aliens,” are
dation disaggregated data by states, finding that from 1999 to 2006 responsible for higher crime
                                                                       rates is not supported empiri-
the total crime rate declined 13.6 percent in the nineteen highest cally, according to research by
immigration states as compared to a 7.1 percent decline in the Professor Rubén Rumbaut and
                                                                       others.
other thirty-two states (Nadler 2008, 9).
      Further evidence was presented at the national conference by Mayor John Cook of El Paso,
who pointed out that El Paso—with its large immigrant population and proximity to the bor-
der—has been named the second safest city with 500,000 or more people in the United States.
Economic Costs and Benefits of Migration
      One of the arguments put forth by proponents of immigration enforcement is that immigra-
tion, and in particular undocumented immigration, places financial burdens on government serv-
ices because undocumented immigrants do not pay their fair share of taxes. In Collier County,
Florida, participants cited the costs of undocumented immigration to include the drains to school
budgets to support bilingual education, emergency medical costs for undocumented who are unin-
sured, and law enforcement costs. One participant stated that because the vast majority of undoc-
umented he arrests do not have social security numbers, he assumed they did not pay taxes.



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          Professor Stephen Legomsky presented an overview of
          undocumented immigration and Professor Raquel Aldana
          discussed civil liberties concerns that arise from local law
          enforcement’s involvement in immigration enforcement.


                At the conference, Professor Stephen Legomsky of
          Washington University School of Law, in his overview
          of the current debate surrounding immigration, argued
          that, to the contrary, studies show that a majority of
          undocumented immigrants do pay income taxes,
          although they pay a below-average amount because of
          their relatively low incomes. He explained they can
          pay taxes using either a false social security number or
          under an individual tax identification card.
                A tax attorney who was a participant in the Topeka focus group confirmed that he often pre-
          pares tax returns for undocumented immigrants without social security numbers. Additionally,
          the U.S. Social Security Administration has estimated that three quarters of undocumented immi-
          grants pay payroll taxes, and that they contribute six to seven billion dollars in social security funds
          that they will be unable to claim (Capps and Fix 2005; Porter 2005).
                Experts have also argued that undocumented immigrants pay the same real estate taxes—
          whether as homeowners or through their rent payments—and the same sales and other con-
          sumption taxes as everyone else (Immigration Policy Center 2007). Most state and local services,
          such as schooling, are paid through these taxes.
                A study by the Americas Majority Foundation showed that regions with high resident popu-
          lation growth and high inflows of immigrants tend to have high levels of growth in gross state
          product, personal income, per capita personal income, disposable income, per capita disposable
          income, median household income, and median per capita income. By 2006, high immigrant juris-
          dictions also had lower rates of unemployment, individual poverty, and total crime than other
          states (Nadler 2008, 7-9).
          Political Pressure
                Conference and focus group law enforcement participants spoke openly about the political pres-
          sures that politicians and communities place on local police to enforce immigration law. Some par-
          ticipants attributed the rise in this political pressure in part to the media’s sensationalized coverage
          of immigration issues. Other commentators have noted that conservative media’s coverage of immi-
          gration and its ability to connect with the public’s frustration on the issue have been particularly influ-
          ential in pushing for stronger enforcement policies (Rodriguez, Chishti, and Nortman 2007, 2).
                A study conducted by a media watchdog organization of three conservative news programs,
          Lou Dobbs Tonight, The O’Reilly Factor, and Glenn Beck, showed that during 2007 the allegation
          that undocumented immigrants drain social services and/or do not pay taxes was discussed on
          seventy-one episodes of Lou Dobbs Tonight, thirteen episodes of Glenn Beck, and eight episodes of
          The O’Reilly Factor. Dobbs and Beck have also repeatedly discussed two myths—that there are
          plans to construct a NAFTA superhighway running from Mexico to Canada, and there are plans to
          join Mexico, Canada, and the U.S. into a North American Union. Dobbs discussed the North Amer-
          ican Union on fifty-six separate programs during the past two years (Media Matters Action Network
          2008).
                Media pressure and the public’s frustration with the federal government’s inability to control
          unauthorized immigration have led to elected officials placing pressure on their police chiefs to



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         Media pressure and the public’s frustration
      with the federal government’s inability to control
    unauthorized immigration have led to elected officials
            placing pressure on their police chiefs
             to enforce federal immigration law.

enforce federal immigration law. Law enforcement participants noted that while some of these
politicians are merely responding to the political pressures they are facing from the public and
media, others cynically use the immigration issue to gain votes. One participant recounted an inci-
dent in which a local politician in his community “was quoted in the media as saying that we should
sit at the border and shoot the illegal immigrants as they come across the border.” Another par-
ticipating police chief noted:
     Immigration was not such a big problem until the last national election . . . when
     the Republicans were worried about losing control of Congress. Then, all of a sud-
     den, we have this big problem and we need to fix it and they were thinking, where
     are we going to find the people to do it because we do not have the people in the fed-
     eral government. Oh, we will get state and local law enforcement involved.
     Another law enforcement participant in the Arlington, Texas, focus group explained:
     In my city and in other cities around here, [people] are getting elected and unelected
     on this issue alone. It’s that big . . . So people at the municipal level are running
     scared on this issue and are just trying to find their way, regardless of what their
     personal beliefs are . . . You have to figure out how far you are willing to go and what
     you are willing to get fired for on this issue.
       Seventy-four percent of participants responding to the conference survey (Amendola et al.
2008) stated that they are facing changing expectations and new demands as a result of the immigration
issue, and forty-four percent stated that they are responding to political pressure in their communities
as a result of the immigration issue. While few law enforcement agencies represented in the focus
groups and conference were in favor of entering agreements with federal immigration officials to dep-
utize their officers to perform immigration enforcement functions, many explained that they have
increased collaboration with DHS in recent years because of the politics surrounding the immigra-
tion issue. For instance, one Texas police chief explained that his agency has had a policy of asking
detainees their citizenship status since 1991 to ensure compliance with consular notification require-
ments. If they would encounter someone who they believed was illegally present in the United
States, they would on an ad hoc basis check the NCIC database for possible detainers. Occasion-
ally, they would find a detainer and contact immigration officials. More recently, because there has
been so much focus on the department’s immigration policy, they formalized the process of questioning
persons arrested and detained in the jail about whether they are U.S citizens or were born in the U.S.;
if the detainee answers “no” to either question, they check the NCIC database. In sum, it seems as if
many police departments have begun to formalize their processes of checking status of arrestees
due to political pressure and media attention being paid to the immigration issue.



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                     Since the terrorist attacks of September 11, 2001,
                            the federal government has made use
                                 of immigration law as a tool
                       to identify or investigate suspected terrorists.

                 A survey of police chiefs in large and medium-sized jurisdictions (60,000 residents or more),
          conducted by researchers at Arizona State University (ASU) and presented at the conference, pro-
          vides some insight into the reasoning behind the political pressure police are under to engage in
          civil immigration enforcement and why they are more resistant than many of their communities
          and politicians to engage in immigration enforcement. The survey found that on the question of
          immigration enforcement, there was a difference of opinion between community members and
          police, with police executives more frequently responding that immigration was a controversial
          topic within their community versus within the department. The survey also found that, according
          to police executives, community members are more likely than police to believe that it is simple to
          determine a person’s immigration status. Finally, chiefs also reported that gaining the trust of unau-
          thorized immigrants is a much greater priority for their department than for their community
          (Decker, Lewis, Provine, and Varsanyi 2008) (see appendix G).




          Professors Scott Decker, Doris Marie Provine, Paul Lewis, and Monica Varsanyi present findings from
          their national survey of law enforcement executives on immigration and local policing.


          Counterterrorism
                Prior to September 11, 2001, economic and social concerns were driving the debate about
          unauthorized immigration. After the terrorist attacks, however, with immigration law becoming
          a tool in the fight against terrorism, those who had long opposed rising levels of immigration from
          Latin America reframed their arguments in terms of the counterterrorism and national secu-
          rity objectives (Harris 2006, 19).
                Since the terrorist attacks of September 11, 2001, the federal government has made use of



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Clarissa Martínez De Castro, National
Council of La Raza, and Kareem
Shora, American-Arab Anti-Discrimi-
nation Committee, discuss the com-
munity impact of local immigration
enforcement.



immigration law as a tool to iden-
tify or investigate suspected ter-
rorists. Because violations of civil
immigration law are not criminal,
the government does not have to
respect the same constitutional
protections they would for a crim-
inal defendant and thus can detain
suspects while seeking removal,
without any proof of involvement in terrorist activities. However, according to Kareem Shora,
national director of the American-Arab Anti-Discrimination Committee, who presented at the con-
ference, federal counterterrorism programs using immigration tools have in practice become
just another tool in immigration law enforcement of noncriminal members of particular nation-
alities (see appendix L).

Do Local and State Police Have Legal Authority
to Enforce Federal Immigration Law?
      While the proposition that Congress has exclusive authority to regulate immigration
is uncontroverted, courts have had few opportunities to address the authority of state and local
officials in the realm of immigration enforcement (Venbrux 2006, 312-313). Many legal experts
believe that federal immigration law preempts local police from engaging in immigration
enforcement (Rodriguez, Chishti, and Nortman 2007, 34-35). While Congress has never
explicitly prohibited state or local involvement in federal immigration enforcement, these
experts contend that where Congress demonstrates intent to preempt a field of legislation, state
and local governments may be preempted from acting on this area of legislation (Appleseed
2008, 12). These experts argue that Congress’s express delegation of authority to state and
local officials to enforce immigration law under a narrow set of circumstances implicitly pre-
empt state and local enforcement of immigration violations (civil and criminal) that fall out-
side this narrow scope (Rodriguez, Chishti, and Nortman 2007, 35).
      Congress has expressly authorized state and local police to arrest for violations of certain
criminal violations of the Immigration and Nationality Act (INA). Specifically, they can make
arrests for the federal immigration crimes of smuggling, transporting, or harboring illegal
immigrants (§ 274 of the INA) and illegal reentry after a final order of removal (§ 276 of the INA)
(Aldana 2008, 2-3). Congress has also authorized federal immigration officials to deputize
state and local law enforcement in the event of a mass influx of immigrants (§ 103 of the INA)
Aldana 2008, 2-3). As stated earlier, in the AEDPA of 1996 Congress authorized state and
local law enforcement to arrest and detain an individual who is illegally present in the United
States and has been previously convicted of a felony and deported or left the United States after
such conviction (§ 8 U.S.C. § 1252c) (Seghetti, Viña, and Ester 2004). Finally, the 1996 IIRIRA
reforms amended the INA to include section 287(g) that gave the legacy INS authority to



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                  Whether or not local police have inherent authority
                   under federal law to enforce immigration laws,
                    they must still abide by state laws regarding
                         the scope of their arrest authority.

          enter into formal agreements with state and local law enforcement agencies to train and dep-
          utize some of their officers to perform immigration enforcement functions (Rodriguez, Chishti,
          and Nortman 2007, 34). Given these statutory provisions, legal experts have argued that state
          and local activity that extends beyond the scope of these narrow express delegations of author-
          ity are likely preempted (Rodrigez, Chishti, and Nortman 2007, 34-35). Courts, however, have
          diverged on the question of whether state and local authorities have inherent authority to
          arrest apart from these express grants of authority (Seghetti, Viña, and Ester 2004, 9-13).4
          But even the attorney general, who in his 2002 legal opinion reversing the long-standing
          opinion of the federal government that civil immigration enforcement was solely a federal
          function, argued that local police’s inherent authority to arrest is limited to a narrow set of cir-
          cumstances. According to the attorney general’s public statement in 2002:
                 When federal, state and local law enforcement officers encounter an alien of
                 national security concern who has been listed on the NCIC for violating immi-
                 gration law, federal law permits them to arrest that person and transfer him to
                 the custody of the INS. The Justice Department’s Office of Legal Counsel has con-
                 cluded that this narrow, limited mission that we are asking state and local police to
                 undertake voluntarily—arresting aliens who have violated criminal provisions of
                 the Immigration and Nationality Act or civil provisions that render an alien
                 deportable, and who are listed on the NCIC—is within the inherent authority of
                 states (Seghetti, Viña, and Ester 2004, 8).
                Much of the police activity in the realm of immigration enforcement occurs in the course
          of routine policing duties, rather than in the course of patrolling for immigration violators. Under
          such circumstances, police typically stop or arrest an individual upon suspicion of violation of a state
          law, and thus they do not need to rely on inherent authority to arrest or detain for violations of
          immigration law (Aldana 2008, 4). It is important to note, however, that such inquiries must not pro-
          long the duration of detention beyond that necessary for criminal law enforcement purposes (unless
          the federal government places a detainer on the detainee), and individuals have the right to refuse
          to answer police questions and to request an attorney (Rodriguez, Chishti, and Nortman 2007, 36).
                Whether or not local police have inherent authority under federal law to enforce immigration
          laws, they must still abide by state laws regarding the scope of their arrest authority. For this rea-
          son, many state attorneys general have issued legal memoranda on the issue of the authority of
          police working within their state to make arrests for immigration violations. The New York attor-
          ney general, for example, opined that state law on warrantless arrests would apply to the realm of
          federal immigration enforcement, which requires that criminal immigration offenses occur in the
          presence of the officer in order to make a warrantless arrest. The New York attorney general also
          stated that police in New York State do not have authority to arrest for purely civil violations. The



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Ohio attorney general concluded that Ohio sheriff offices may arrest and detain someone for vio-
lation of criminal provisions of federal immigration law but not for purely civil violations, based on
an interpretation of state law defining the general powers and duties of a county sheriff. South
Carolina’s attorney general concluded that state law authorizes law enforcement officers to
enforce state criminal laws, and thus no inherent authority to enforce immigration law exists in
the state of South Carolina. (Aldana 2008, 6-7).

Is Immigration Enforcement a Federal or Local Responsibility?
The Local Police Perspective
       While there is clearly a significant difference of opinion among this nation’s approximately
18,000 law enforcement agencies regarding whether state and local police share responsibility for
immigration enforcement, a majority of police chiefs seem to regard immigration enforcement as
the responsibility of the federal government.
       The ASU study found that 72 percent of police chiefs surveyed stated immigration enforcement
was a responsibility of the federal government (Decker et al. 2008, 8). Some policing experts believe
that strains on local policing budgets, particularly as homeland security responsibilities have
increased and as state and local budgets have shrunk, have contributed to this opposition (Harris
2006, 7). But much of the opposition is due to a shift in the policing field in the past fifteen to
twenty years towards more community- or problem-oriented policing, which requires the cooperation
and participation of communities in ensuring public safety (Harris 2006, 7). While the number of
287(g) agreements has increased in recent years, the number (sixty-three) (ICE Fact Sheet: 287(g))
is still very small compared with the total number of law enforcement agencies in the country
(nearly 18,000). Most police chiefs believe that local police activity in the realm of immigration
enforcement would make communities less safe (Harris 2006, 37).
       The majority of respondents to the conference survey felt that local law enforcement should
not even be partially responsible for enforcement of immigration laws (54 percent), whereas 24 per-
cent said they should. The remaining 22 percent neither agreed nor disagreed that local law enforce-
ment had at least partial responsibility. However, the majority (62 percent) of law enforcement
leaders believed that officers should ask for documentation of citizenship status when in contact with
those who break the law (including those violating traffic laws). Only 17 percent agreed they should
do so when in contact with crime witnesses, and even fewer (15 percent) when in contact with
crime victims. While 13 percent of respondents felt such decisions should be at the discretion of offi-
cers, just 7 percent said that officers should never ask for proof of citizenship (Amendola et al.
2008).

The Various Ways in Which Local Law Enforcement
and Federal Immigration Officials Collaborate
      Most conversations and dialogues on the role of state and local police in immigration
enforcement during the focus groups, at the conference, and in the media have focused on ICE’s
287(g) program of deputizing local and state police to perform immigration enforcement func-
tions. However, as we learned from project participants, state and local police collaborate with
federal immigration officials in a wide range of activities. Some of these activities only inciden-
tally involve immigration enforcement, while having a principally criminal law enforcement
purpose (such as joint anti-gang task forces), while other methods of collaboration involve local
and state officials performing in the role of immigration enforcement agents (such as the 287(g)
program). Some agencies collaborate with federal immigration officials in a formal program,



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          FIGURE 4. PERCENTAGE OF POLICE DEPARTMENTS THAT TYPICALLY CHECK IMMIGRATION STATUS
          AND/OR CONTACT ICE WHEN ENCOUNTERING POSSIBLE UNAUTHORIZED IMMIGRANTS IN THESE SITUATIONS


                                         Arrested for a violent crime

           Detained for parole violation or failure to appear in court

                                      Arrested for domestic violence

                Interviewed as possible victim of human trafficking

              Arrested for a non-violent crime, with no prior record

                                       Stopped for a traffic violation

             Interviewed as a crime victim, complainant, or witness
                                                                         0%    10%   20%   30%   40%   50%   60%   70%   80%   90%
          Source: Immigration and Local Policing: Results from a National Survey of Law Enforcement Executives (Decker et al.
          2008). Presentation prepared for Police Foundation conference, The Role of Local Police: Striking a Balance Between
          Immigration Enforcement and Civil Liberties, Washington, DC, August 22, 2008 (see appendix G).


          whereas others collaborate more informally and in a more ad hoc manner.
                The most common forms of collaboration take place in the regular course of criminal law
          enforcement. Either on a formal or informal basis, most agencies participating in the Police
          Foundation project check the status of individuals arrested and detained for a criminal law
          offense and inform ICE when they encounter noncitizens. Feedback at the conference suggests
          that this form of collaboration has always existed to some extent but not in such a systematic or
          formalized manner as in recent years. Participants cited political pressure as the reason behind
          the trend towards formalization of the process of verification of immigration status of criminal
          detainees. They also stated that this political pressure sometimes is sparked by media attention
          on cases where unauthorized immigrants have committed serious crimes after being released upon
          a prior arrest.
                The ASU survey of police executives found that the more serious the violation of criminal
          law, the more likely responding agencies were to contact ICE regarding criminal detainees in vio-
          lation of immigration law (see figure 4 ). Thus, for instance, only slightly more than 20 percent
          of respondent agencies check immigration status of traffic violators, whereas over 80 percent check
          immigration status of those arrested for a violent crime.
                Only state and local agencies that participate in the 287(g) program have direct access to DHS
          immigration databases. However, non-participating state and local law enforcement officials
          can contact the LESC to query its databases to check the status of an arrestee. In the El Paso
          law enforcement focus group, one small police agency with few resources mentioned it has on occa-
          sion also called U.S. Customs and Border Protection (CBP) to run a check on an arrestee or
          detainee because the agency does not have access to criminal justice databases and needs to
          confirm identity. This has on occasion resulted in deportation. In addition, as described above in
          the section describing the history of local law enforcement’s role in immigration, many law
          enforcement officers do not make an affirmative decision to cooperate with federal immigration



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efforts but end up doing so as a result of running a check on criminal detainees in the FBI’s
NCIC database.
      Some law enforcement agencies, such as the Phoenix Police Department, have chosen to
embed ICE officers within the police department, rather than have the local police be responsible
for verification of immigration status and other immigration enforcement functions. At the con-
ference, Mayor Gordon of Phoenix contended that in terms of cost and effectiveness, this model
of collaboration makes more sense than turning police officers into immigration agents. Many
departments, such as the Houston Police Department, have also collaborated with ICE on inter-
agency task forces, such as the Houston Police Department’s collaboration with ICE and other
federal agencies on an anti-gang task force. The federal government has also signed on state
and local police in various joint operations, such as the Absconder Apprehension Initiative, in which
local police assist DHS in identifying and arresting individuals with outstanding removal orders
(Seghetti, Viña, and Ester 2004, 3).
      DHS also collaborates with state and local law enforcement to address criminal activity
associated with border security. Some of the participants in the El Paso focus group discussed
DHS’s Border Enforcement Security Task Force initiative (BEST), whose mission is to disrupt crim-
inal organizations posing threats to border security. Operation Community Shield, an ICE anti-
transnational gang initiative, also sometimes engages local police in joint operations (ICE Fact
Sheet: Operation Community Shield).
      Finally, the most intensive immigration enforcement role for state and local law enforcement
occurs as part of the ICE 287(g) program. As discussed above, this section authorizes DHS to enter
into formal agreements with state and local law enforcement agencies to deputize local and
state officers to perform immigration law enforcement functions, under the supervision of sworn
ICE officers. Each agency that enters the 287(g) program must sign a memorandum of agreement
(MOA) that defines the scope and limitations of the authority designated to the local or state
officers. These agreements also must articulate a supervisory and monitoring structure for the
program. Section 287(g) also requires that state and local officers are trained in the enforce-
ment of immigration laws (ICE Fact Sheet: 287(g)).
      Not until after September 11, 2001, did any state or local agency sign a 287(g) agreement with
the federal government. In 2002, the Florida State Police became the first 287(g) partner (Capps
2008, 4) (see appendix F). Florida described the intent behind the agreement as to “address the
counter-terrorism and domestic security needs of the nation and the state of Florida by enhanc-
ing those efforts through the authorization of selected state and local law enforcement officers
… to perform certain functions of an immigration officer.” In 2003, the Florida MOA eliminated
the emphasis on counterterrorism in favor of greater emphasis on general domestic security
(Appleseed 2008, 23).
      In 2003, the state of Alabama followed Florida, and then there were a half dozen more
agreements signed in 2005 and 2006 in Arizona, California, and North Carolina. The number of
local and state agencies joining the 287(g) program started to increase more rapidly in 2007
when twenty-six law enforcement agencies signed MOAs, and during the first seven months of
2008 when twenty-eight more agencies entered agreements with ICE (Capps 2008, 4). Cur-
rently, there are sixty-three local and state law enforcement agencies participating in the 287(g)
program. The program has identified more than 70,000 people suspected of violating immigra-
tion law and trained more than 840 officers (ICE Fact Sheet: 287(g)).
      Geographically, agencies that have chosen to join the 287(g) program seem to be dispro-
portionately located in regions with large immigrant populations or are emerging gateways that



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         have recently begun seeing large influxes of immigrants. Forty-one out of sixty-two programs (as
         of August 2008) were located in the twenty-two new immigrant destination states (see figure 5).

         FIGURE 5. 1990-2000 IMMIGRATION GROWTH PATTERNS AND LOCATION OF 287(G) PROGRAMS ACROSS THE STATES




         Source: Local Enforcement of Immigration Laws: Evolution of the 287(g) Program and Its Potential Impacts on Local Com-
         munities. Randolph Capps, The Urban Institute. Presentation prepared for Police Foundation conference, The Role of
         Local Police: Striking a Balance Between Immigration Enforcement and Civil Liberties, Washington, DC, August 21,
         2008 (see appendix F).


               These new growth states tend to also have large unauthorized immigrant populations, high
         numbers of Latin American immigrants, and fewer citizens. In August 2008, thirty-seven of the
         287(g) participating agencies were located in the Southeastern part of the United States, eight-
         een in the Southwest, five in the Northeast, and two in the Midwest (Capps 2008, 8-9).
               The 287(g) program has two categories of agreements or classes of trained officers, Jail
         Enforcement Officers (JEO) and Task Force Officers (TFO). JEOs are trained solely to verify
         legal status of detainees in local jails, whereas TFOs can verify legal status of persons encountered
         in their regular policing duties and can participate with ICE in joint enforcement operations. As
         of August 2008, there were twenty-three law enforcement agencies with Task Force agreements,
         twenty-seven with Jail Enforcement agreements, and twelve with joint Task Force/Jail Enforce-
         ment agreements (Capps 2008, 7).
               Conference presenter Raquel Aldana, a University of Nevada Professor of Law, reviewed
         thirty-four of fifty-five 287(g) agreements. Aldana found that the agreements varied in nature and
         scope. Some granted a broad range of powers to local officers, while others were more restrictive
         (see appendix C for descriptions of these powers) (Aldana 2008, 8-10).
               Forty-six percent of respondents to the ASU survey reported that their local government had



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no official policy on immigration enforcement, while 12 percent reported that their local gov-
ernment expects that the police take a proactive role in immigration enforcement. Four per-
cent of respondents reported that they had an agreement with ICE for local police officers to
investigate and arrest immigration law violators and three percent had jail-based 287(g) pro-
grams. Eight percent reported that they had ICE officers embedded within one or more unit of
the police department. Only 4 percent of chiefs reported that their local governments have
openly declared themselves as “sanctuary cities” for unauthorized migrants who are not engaged
in criminal activities, while another 15 percent report that their cities unofficially operate under
a “don’t ask-don’t tell” policy (Decker et al. 2008).

State and Local Law Enforcement of Immigration Law: Benefits and Costs
      During the conference and the focus groups, there was a healthy level of debate over the role
of local law enforcement in enforcing federal immigration law. Law enforcement participants, com-
munity members, elected officials, and researchers presented varying arguments on the benefits
and costs associated with immigration enforcement. The great majority of comments made dur-
ing the focus groups and at the conference opposed local law enforcement’s participation in
purely civil immigration enforcement. However, some participants in the Collier County focus
group and at the conference also articulated some of the benefits of state and local law enforce-
ment sharing responsibility with the federal government for immigration enforcement. Below we
describe the main arguments for and against local participation in federal immigration enforce-
ment that were raised during project activities.
                                     Benefits
                                     1. Reduce Jail Population and Save Detention Costs
                                         Sheriff Don Hunter of Collier County, Florida, stated that
                                     Collier County decided to participate in the 287(g) program as
                                     part of their overall strategy to reduce jail crowding. The sher-
                                     iff ’s office had conducted a study of its jail population and
                                     found that 25 percent were removable aliens. Twenty-seven
                                     officers from the sheriff’s office were trained to identify, arrest,
                                     and detain immigration law violators. As a result, Sheriff
                                     Hunter argued, the jail population had dropped 14 percent
                                     between July 2007 and July 2008 (the program did not begin
Sheriff Don Hunter discusses his
agency’s participation as a 287(g)   until October 2007) (see appendix K). It is not clear if there
partner.                             were other factors contributing to the decline in jail population.
     2. Deterrent to Unauthorized Immigration
   One argument mentioned during the focus groups in favor of local participation in federal
immigration efforts, in particular the 287(g) program, is that communities where agencies par-
ticipate in the program receive a lot of media attention as places where unauthorized immigra-
tion is not tolerated. This reputation, they argue, could serve as a deterrent to unauthorized
immigrants settling in the area and/or could lead to unauthorized immigrants moving out of
these regions. But as one Collier County focus group participant pointed out, this deterrent
effect would merely displace unauthorized immigrants from a pro-enforcement community to
one in which the police and local government do not engage in immigration enforcement. For this
reason, the participant argued, there is a need for a nationally consistent policy or approach.
      Another project participant, who favored local participation in immigration enforcement,




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         stated that the size of the undocumented population in the United States is simply too large for
         federal law enforcement agencies to manage; therefore, without the assistance of state and local
         police, the federal government will never be able to solve its undocumented immigration prob-
         lem. One law enforcement conference participant challenged this argument, stating, “If you
         have people who are undocumented but are good, law-abiding, contributing citizens, I’m not
         sure all the negative impacts of this issue are worth removing a law-abiding person. There are other
         ways to work with federal agents than to use 287(g) to arrest otherwise good citizens.”
                3. Criminal Enforcement Tool
               Proponents of local police participation in immigration enforcement, such as some of the
         Collier County focus group participants, argue that immigration enforcement, and in particular
         the 287(g) program, could serve as a criminal enforcement tool. A Collier County participant
         argued that when sophisticated criminals successfully evade criminal prosecution, an agency
         could use immigration enforcement as a tool to rid that community of the individual if he or
         she is unauthorized to be present in the United States. James Pendergraph, executive director of
         ICE’s Office of State and Local Coordination, also asserted that deportation of a person who
         has previously committed a crime would reduce overall crime rates. Conference survey partic-
         ipants were also asked to describe the advantages and disadvantages of local participation in
         immigration enforcement; merely nine stated that it would help fight crime (Amendola et al.
         2008).
                4. Counterterrorism
               Proponents of increased immigration enforcement, such as Kris Kobach, former counsel to
         Attorney General John Ashcroft, have argued that because several of the September 11 terrorist
         attackers had overstayed their visas without significant interference from federal or local law
         enforcement, the abuse of U.S. immigration laws was responsible for the deaths resulting from
         those attacks (Olivas 2007, 47). Others have criticized this argument, stating that the real failure,
         as pointed out by the bipartisan 9/11 Commission, was the failure of the federal government’s var-
         ious intelligence offices to collaborate and to take seriously radical Islamic movements follow-
         ing the earlier bombing of the World Trade Center in New York (Olivas 2007, 50).
            These proponents argue that increased local immigration enforcement may identify individ-
         uals suspected of engaging in terrorist activities. For instance, in the course of routine policing,
         police may encounter an immigrant with an individual warrant in the NCIC database, and who
         may have plans at some point to engage in terrorist activities. However, as stated by Kareem
         Shora during his presentation at the national conference, a local department’s participation in immi-
         gration enforcement efforts may result in isolating communities, making them less willing to
         provide intelligence to police on possible terrorist and other criminal activity (see appendix L).
                5. Access to Federal Databases to Verify Identity
               Some participants who favored local police immigration enforcement argued that participa-
         tion in the 287(g) program has the advantage of giving local agencies access to federal databases to
         verify identity of suspects. One participant claimed that undocumented immigrants often give
         false names but that through the use of federal immigration databases it might be possible to accu-
         rately identify a suspect. As James Pendergraph noted, an agency has access to the various federal
         immigration databases only if it is a 287(g) partner. However, a non-participating agency can always
         contact the LESC if it needs additional information, and ICE is currently piloting an integration of
         the NCIC database with federal immigration databases so that when an agency runs a check on NCIC,
         it automatically searches federal immigration databases as well (Carroll 2008).



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          Policing experts and project participants
    have expressed concern that local police involvement
   in immigration enforcement could have a chilling effect
                 on immigrant cooperation.


     6. Immigration Violators are Lawbreakers
      A common argument heard in the media and mentioned during project conversations is
that, like criminal law violators, those individuals who have violated federal immigration law
are lawbreakers. Some participants argued that police are bound to enforce federal immigra-
tion laws just as they are violations of criminal law and cannot pick and choose which laws to
enforce. Conference participants engaged in lively discussion about whether police have dis-
cretion to choose which laws to enforce. While some argued police have no discretion, others dis-
agreed, maintaining that police everyday make choices about which laws to enforce. Furthermore,
some pointed out, police officers take an oath to uphold state not federal law.
Costs
     1. Reduced Trust and Cooperation in Immigrant Communities Would Undermine Public
        Safety
      Policing experts and project participants have expressed concern that local police involve-
ment in immigration enforcement could have a chilling effect on immigrant cooperation. Immi-
grant witnesses and victims of crime, many of whom already bring with them fear and mistrust
of police due to experiences with authorities in their home countries, would be less likely to
report crimes and cooperate as witnesses. Without this cooperation, law enforcement will have
difficulty apprehending and successfully prosecuting criminals, thereby reducing overall public
safety for the larger community. Immigrants need assurances that they will not be subject to
deportation proceedings if they cooperate with police.
   To demonstrate the fragility of the relationship between the police and immigrants, one mid-
western police chief recounted an incident where an unauthorized immigrant was a witness to
a crime and agreed to testify in a criminal case. The witness’s name appeared on a witness list in
preparation for the trial. As the court began to vet the background of this witness, defense attor-
neys revealed that he was an undocumented alien. A few days after the witness testified in the court
case, ICE arrested him and initiated deportation proceedings. Word of this incident rapidly
spread throughout the immigrant community and, as a result, the police have had difficulty
securing the cooperation of other immigrant witnesses. Even residents who were victimized
and exploited feared approaching the police because trust between the immigrant community and
the police had been destroyed.
      El Paso focus group participants and Mayor John Cook in his conference presentation also
reported a similar experience. Years earlier, the El Paso Police Department had a practice of con-
ducting joint patrol operations with CBP in El Paso City. They later discontinued this practice
because the joint operations had a chilling effect on immigrant communities. In particular, in the
context of domestic violence, they found a troubling decrease in reports.



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                                                                                 Mayor John Cook of El Paso, where the popu-
                                                                                 lation is over 80% Hispanic and there are 8.3
                                                                                 million pedestrian border crossings annually
                                                                                 between the U.S. and Juarez, Mexico.



                                                                        The Police Foundation has done
                                                                  much of the research that led to a new
                                                                  view of policing—one emphasizing a com-
                                                                  munity orientation—that is widely
                                                                  embraced today, and has played a princi-
                                                                  pal role in the development of community
                                                                  policing research, training, and technical
                                                                  assistance. Over the past fifteen to twenty
                                                                  years, community policing and problem-
                                                                  solving policing initiatives—a philosophy
                                                                  of policing that requires significant col-
         laboration and cooperation with community members—have become increasingly common-
         place in the policing profession (Harris 2006, 7). Community policing is an approach to policing
         where police officers engage communities in a working partnership to reduce crime and pro-
         mote public safety. It thus requires police to interact with neighborhood residents in a manner
         that will build trust and improve the level of cooperation with the police department (Moore 1992,
         123). Proponents of community policing have expressed concern that policies and practices
         that sanction police officers to act as immigration agents will undo the successes they have
         gained over years of developing police relations with immigrant communities (Appleseed 2008,
         8). As pressure for local police to proactively get involved with immigration enforcement
         increases, the public safety gains achieved through the community-policing movement are
         placed in jeopardy, particularly in communities and cities with significant immigrant popula-
         tions.
               The majority of respondents to the conference survey indicated that aggressive enforce-
         ment of immigration law would have a negative impact on community relationships by decreas-
         ing (1) community trust of the police (74 percent), (2) trust between community residents (70
         percent), and (3) reporting of both crime victimization (85 percent) and criminal activity (83 per-
         cent). Adding to those concerns are beliefs that aggressive enforcement of immigration laws would
         weaken (1) public trust initiatives (77 percent), (2) community-policing efforts (77 percent),
         (3) youth outreach (74 percent), (4) intelligence/information gathering (63 percent), (5) crim-
         inal investigations (67 percent), and (6) even recruitment (31 percent), thereby impacting oper-
         ations significantly (Amendola et al. 2008).
               Project participants expressed concerns that the loss of trust and cooperation would not
         be limited to undocumented immigrants. Eighty-five percent of immigrant families are mixed-
         status families, families with a combination of citizens, undocumented immigrants, and docu-
         mented immigrants (Morawetz and Das 2008, 10). The loss of cooperation resulting from local
         police involvement in immigration enforcement would extend to authorized immigrants living
         in mixed-status households who fear contact with police would lead to deportation of family
         members and other loved ones (Harris 2006, 39). A recent Pew Hispanic Center survey found
         that the majority of Latinos in the United States worry about deportation of themselves, a fam-
         ily member, or a close relative (Lopez and Minushkin 2008, ii).




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     2. Increased Victimization and Exploitation of Undocumented Immigrants
    Many law enforcement participants also emphasized their duty as police executives to
ensure public safety for all community members, regardless of legal status, and expressed their
concerns that criminal predators take advantage of undocumented immigrants’ fear and ten-
dency not to report crimes. As one northeastern city police chief stated:
     They [undocumented immigrants] refer to themselves as walking ATMs because
     everybody knows that they don’t have documentation enough to get bank accounts,
     checking accounts, and those kinds of things, and that their savings and whatever
     they have is on their person, not anywhere else. First of all, they live in an apartment
     with eight other people, so you can’t leave it behind. They carry it with them and
     the people who seek to victimize them take advantage of that.
      Fifty-three percent of respondents to the ASU survey stated that undocumented immi-
grants are more likely to be victims of theft or robbery (Decker et al. 2008). Similarly, respondents
to the conference survey were asked whether undocumented immigrants were likely or unlikely
to be crime perpetrators and crime victims. As figure 6 shows, respondents believed that undoc-
umented immigrants were more likely to be crime victims (81 percent) than crime perpetrators
(39 percent) (Amendola et al. 2008).
      Any police actions that result in exacerbating fear of police in immigrant communities could lead
to increased victimization and exploita-
                                              FIGURE 6. LIKELIHOOD OF CRIME PERPETRATION AND VICTIMIZATION
tion of immigrants as perpetrators of
crime take advantage of heightened            90%
immigrant fear to target them for crim-
                                              80%
inal activity. At least one El Paso focus
group participant believed that more          70%
enforcement would specifically lead to        60%
more human trafficking, as smugglers
or traffickers are more able to use the       50%
threat of deportation to coerce undocu-       40%
mented immigrants into situations of
                                              30%
forced labor. Several participants also
believed there would be an aggravation        20%
of employer abuse and exploitation of         10%
undocumented immigrants.
      Participants’ perceptions of im-         0%
                                                               Perpetrators               Victims
migrant victimization were confirmed
by research conducted in Memphis,                                                          Unlikely     Likely
Tennessee, on victimization of undoc-         Source: Law Enforcement Executive Views: Results from the Con-
umented immigrants and their inter-           ference Survey (Amendola et al. 2008) (see appendix H).
action with police. The study found that
undocumented workers experienced high rates of victimization, yet they were unlikely to report
the crimes to law enforcement officials. The study also found perceived deportation risk to be a fac-
tor driving both undocumented workers’ particular risk of victimization and their reluctance to re-
port crimes. Memphis is a city that reports interactions with undocumented victims and perpetrators
to immigration officials (Bucher, Tarasawa, and Manasse 2007).




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                3. Police Misconduct
               For similar reasons that immigration enforcement by local police could lead to increased vic-
         timization and exploitation of undocumented immigrants (fear of police and deportation), some
         participants expressed concern that it could lead to an increase in police misconduct. As one
         El Paso focus group law enforcement executive stated, “I might have issues out in the field with
         officers who are doing things they’re not supposed to be doing, but people are afraid to tell us, sim-
         ply because they’re afraid.” At the conference, Professor Raquel Aldana also argued that the
         extremely limited application of the exclusionary remedy in immigration court proceedings
         creates an additional risk of abuses of power not subject to judicial review and oversight (Aldana
         2008, 14). In another project that brought together police officials from the New York/New Jer-
         sey metropolitan area, one police official working in a jurisdiction that in the past collaborated
         with federal immigration officials confirmed that his agency’s prior involvement in immigra-
         tion enforcement had indeed led to corruption and extortion (King 2006, 25).
                4. Large Financial Costs of Immigration Enforcement Divert Resources from Traditional
                   Law Enforcement Activities
                In recent years, police departments throughout the country have experienced budget cuts
         because of the diversion of federal funds from traditional law enforcement funding streams, such as
         the Office of Community Oriented Police Services (COPS) and Bureau of Justice Assistance (BJA) Byrne
         grants, to homeland security programs, while simultaneously their workloads have increased as a result
         of current homeland security and counterterrorism responsibilities (Harris 2006, 12). In addition to
         having to take on additional counterterrorism responsibilities, local law enforcement has to make up
         for reductions in federal law enforcement manpower that was previously devoted to federal crimi-
         nal enforcement, such as drug trafficking and bank robbery (MCC 2006, 6). In this fiscal environment,
         local law enforcement simply does not have the resources to add immigration enforcement respon-
         sibilities (MCC 2006, 10). As one participant stated, “Law enforcement is struggling just to keep up
         with the things [we] need to do every day. So taking on an additional responsibility is probably
         impossible.”
                Federal immigration enforcement agen-
         cies contend they do not have adequate              TABLE 1. HIGHEST RANKED AGENCY CONCERNS
         resources to accomplish their immigration
                                                             In general, what do you consider to be the most critical issues fac-
         enforcement mandate. Local agencies have
                                                             ing you and your agency? Please list them in priority order, from
         even fewer resources given all their compet-
                                                             highest to lowest.
         ing demands (MCC 2006, 6). Moreover, focus
         group participants warned that were the fed-        1. Resources
         eral government to change its current prac-         2. Staffing
         tice and begin funding local agencies to            3. Violent Crime
         collaborate in immigration enforcement, those       4. Gangs
         resources should not come at the expense of         5. Community Relations; Drugs (tie)
         traditional crime fighting resources, such as       6. Property Crime
         what little is left in the COPS and BJA Byrne       7. Immigration Issues
         grant funding streams.                              Rankings were based on a weighted scoring system. Those ranked
                Indeed, respondents to the conference        first were given a score of 5, second scored 4, third scored 3, and so
         survey ranked resources as their highest            forth.
         agency concern, followed by staffing. Immi-
                                                             Source: Law Enforcement Executive Views: Results from
         gration ranked merely seven after the con-          the Conference Survey (Amendola et al. 2008) (see appen-
         cerns listed above (see table 1) (Amendola et       dix H).




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   Federal immigration law is very complicated, technical,
                 and constantly changing.

al. 2008). One of the biggest concerns discussed in policing today—as confirmed by the choice of
staffing as the second most urgent agency concern—is the challenge of police officer recruit-
ment (Raymond, Hickman, Miller, and Wong 2005). Therefore, even if the federal government
provided financial resources for local immigration enforcement, many police agencies would
have difficulty hiring quality police recruits to meet the additional workload demands of enforc-
ing immigration law.
      Because of the resource issues above, opponents of local law enforcement participation in
federal immigration enforcement contend that there could be a diversion of police resources
away from criminal investigations to immigration enforcement (Seghetti, Viña, and Ester 2004,
25). Financial costs listed by conference and focus group participants included the patrol resources
and overtime costs resultant from arresting and processing immigration detainees, costs of pro-
viding temporary detention space, transportation costs, and potential medical costs incurred
during detention. This diversion of resources, participants argued, could have a negative public
safety impact. Mayor Gordon gave the example of the immigration enforcement initiatives of
the Maricopa County Sheriff’s Office being responsible for its failure to investigate at least thirty
violent crimes, including a dozen sexual assaults, in the past year in a small city of 32,000 peo-
ple. “He [sheriff of Maricopa County] allows sexual assaults, homicides, and other serious crimes
to go unsolved, by arresting victims and witnesses and sending them to jail for violating immigration
statutes. That’s a direction that makes our community less safe.”
     5. Complexity of Federal Immigration Law and Difficulty in Verifying Immigration Status
      One of the arguments articulated against local participation in federal immigration enforce-
ment is that federal immigration law is very complicated, technical, and constantly changing.
Indeed, it has often been compared to the tax code in complexity (Harris 2006, 36). A conference
participant who supports local enforcement of immigration law argued that police are used to
enforcing all types of laws and that immigration would be no different. However, IACP has
stated that immigration enforcement would require specialized knowledge of “suspect’s status
and visa history and the complex civil and criminal aspects of the federal immigration law and
their administration. This is different from identifying someone suspected of the type of crim-
inal behavior that local officers are trained to detect” (IACP 2004, 4). MCCA has also said that
immigration law is very complicated and nothing like criminal violations, such as murder,
assaults, narcotics, robberies, burglaries, and so forth (MCC 2006, 7). If police departments
employ insufficiently trained officers to perform federal immigration enforcement duties, they
may also risk exposing themselves to substantial civil liability (Venbrux 2006, 330).
      At the conference, Nancy Morawetz, New York University Professor of Clinical Law, presented
a paper that describes in detail some of the complexities of immigration law enforcement and reveals
the challenges to local police participation in immigration enforcement activities (see appendix B).
Professor Morawetz begins by challenging the assumption that the immigration status of an individual
is easy to identify. Firstly, she points out that approximately 70 percent of the foreign born in the United
States are legal permanent residents or citizens. Of the remaining 30 percent, substantial numbers



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         have some form of lawful status or are in the process
         of obtaining lawful status. About 300,000 of these
         immigrants have temporary protected status (TPS),
         which allows them to live and work in the United
         States; and 617,000 are in the process of applying for
         legal permanent residency and have official permis-
         sion to work. Every year, approximately one million
         people receive legal permanent resident status. In
         addition, there are millions of people each year who
         are present in the United States with a lawful business,
         visitor, or student visa. The challenge this creates for
         police engaging in immigration enforcement is that
         there are no distinguishable factors that allow police
         to distinguish between the authorized and unautho-
         rized immigrant population.
               Furthermore, Professor Morawetz notes that Professor Nancy Morawetz describes the legal
         police will have difficulty verifying immigration complexity of local law enforcement’s role in
                                                                  immigration enforcement and legal constraints
         status because many people do not have the nec- on methods of enforcement in a legal and
         essary documentation to prove their lawful status, institutional system that operates quite differ-
                                                                  ently from local criminal justice systems.
         in part because immigration documents were not
         designed to function as identity documents. Thirteen million U.S. citizens lack papers proving they
         are citizens, permanent residency card (“green card”) renewals are frequently delayed, and there
         is no national database of citizens and the status of other people.
               Both Professors Morawetz and Aldana also observed that federal immigration databases are noto-
         riously inaccurate; thus, police reliance on these databases will most likely lead to error. The DHS
         Inspector General estimates that the immigration records relied upon by ICE’s fugitive teams are inac-
         curate in up to 50 percent of cases (Morawetz and Das 2008, 27). DHS also commissioned a study of
         Social Security Administration (SSA) databases and found that they were able to verify employment
         eligibility in less than 50 percent of work-authorized noncitizens (Aldana 2008, 17). The SSA itself
         has estimated that 17.8 million of its records contain errors with respect to name, date of birth, and
         citizenship status; and that 4.8 million of 46.5 million noncitizen records in its database contain
         errors (Aldana 2008, 17). A mismatch between employee records when checked against the SSA
         databases can turn into an immigration administrative warrant (Aldana 2008, 17). Immigration war-
         rants and information contained in the NCIC database have also proven to be inaccurate. A study by
         the Migration Policy Institute of calls to the LESC showed that 42 percent of all police inquiries to
         the LESC were false positives that DHS was unable to confirm (Gladstein et al. 2005, 3).
                6. Racial Profiling and Other Civil Litigation Costs
               Because local law enforcement agencies lack sufficient and ongoing training in federal
         immigration law, are prohibited from racial profiling, lack clear authority to enforce civil immi-
         gration laws, and are limited by state law on making warrantless arrests, those police agencies that
         get involved in civil immigration law enforcement risk being subject to civil litigation (MCC
         2006, 8). Prohibitions on racial profiling and state laws limiting the scope of police authority
         exist to protect community members from being victim to police error or abuse. Were these
         laws to be violated in the context of immigration enforcement, and given the complexity of fed-
         eral immigration law, it is likely that citizens and immigrants with lawful status would be arrested
         and detained. These errors are then likely to result in litigation.



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   Prohibitions on racial profiling and state laws limiting
  the scope of police authority exist to protect community
    members from being victim to police error or abuse.


      Indeed, there have been several lawsuits where citizens or legal permanent residents have
been arrested, detained, and in some cases deported. For instance, Pedro Guzman, a cognitively-
impaired U.S. citizen who had been arrested and detained in a Los Angeles County jail for mis-
demeanor charges, has sued the sheriff of Los Angeles County who erroneously identified Mr.
Guzman as an unauthorized immigrant and turned him over to federal immigration officials
who later deported him to Mexico. It took months for Mr. Guzman’s family to locate him after he
was deported to Mexico (Morawetz and Das 2008, 18).
      The likelihood of error in the context of immigration enforcement is higher for poor and
minority communities. A recent study showed that citizens with incomes under twenty-five
thousand dollars are twice as likely to lack citizenship documents as those earning more than
twenty-five thousand dollars. Twenty-five percent of African Americans lack any form of gov-
ernment-issued photo identification. As many as thirty-two million American women do not
have citizenship documents reflecting their current name. And, as stated above, there is no
national database of citizens to verify status (Morawetz and Das 2008, 16-17).
      Even well-intentioned police officers risk racial profiling and resultant lawsuits in the
course of enforcing immigration laws. As stated above, there are no discernible indicators of
immigration status; thus, it is difficult for police officers to observe behavior that indicates immi-
gration status as they would be able to observe criminal activity. As a result, police officers may
use ethnic or racial characteristics as a basis for stopping and questioning, and possibly detain-
ing, people from certain racial and ethnic groups (Chishti 2002, 374). The practice of using race
or ethnic characteristics to determine whether to investigate immigration status also wastes
valuable law enforcement resources. The number of erroneous stops or detentions resulting
from false positives will be particularly high in regions with high Hispanic and Asian populations
(Harris 2006, 51). Furthermore, many communities of color already have strained relations with
police, which will be further exacerbated as they feel targeted by immigration enforcement
efforts (Appleseed 2008, 10). A recent survey of Hispanic residents in the United States found that
nearly one out of ten Hispanic adults (native-born 8 percent and immigrants 10 percent) have been
stopped and questioned about their immigration status in the past year (Lopez and Minushkin
2008, i). Thus, it seems the trend towards greater participation by local law enforcement in fed-
eral immigration enforcement has already begun to impact the Hispanic community.
      Professor Morawetz emphasized during her conference presentation that 287(g) agree-
ments contain language clarifying that officers are bound by federal civil rights statutes and reg-
ulations and specifically prohibit the practice of racial profiling. The 287(g) agreements are also
narrowed to authorize behavior only to the extent that it is consistent with state and local law
(Morawetz and Das 2008, 14). Some state and local law enforcement officials participating in the
project were under the impression that the federal government would assume liability under
the Federal Tort Claims Act (FTCA) . However, because 287(g) limits police behavior as described



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         above, local agencies will not be protected or covered by the agreement where they have violated
         federal civil rights statutes, state or local law, or engaged in racial profiling in the course of
         immigration enforcement (Morawetz and Das 2008, 14-15).
               Several major lawsuits have already been filed alleging racial profiling by police depart-
         ments engaging in immigration enforcement. For instance, residents, alleging racial profiling
         among other violations, sued the Chandler, Arizona, Police Department as a result of a joint oper-
         ation with CBP. Complainants alleged that police officers were stopping and questioning dark-
         skinned, Spanish-speaking residents (who appeared “Mexican”) and requesting proof of citizenship
         (Venbrux 2006, 327-328). In addition to costing the city money as a result of the lawsuits, the
         police department created deep distrust in the Latino community, harming its ability to effectively
         police the city.
               Sheriff Joe Arpaio of the Maricopa County, Arizona, Sheriff’s Office (an ICE 287(g) partner)
         has faced several lawsuits, the allegations of which include racial profiling (Aldana 2008, 21). Mayor
         Gordon commented during his conference remarks that the sheriff, himself, says he can identify
         an unauthorized immigrant “by the way they dress and where they are coming from.” As Mayor
         Gordon stated, that is “the very definition of racial profiling.” Mayor Gordon further explained
         that sheriff’s deputies are stopping citizens in Maricopa County because they are brown and
         detaining them, even when they have documentation proving their legal status. Even a mem-
         ber of Mayor Gordon’s staff and her husband, who are third-generation Latino citizens, were
         stopped and asked for their social security cards by Maricopa sheriff deputies.
             7. Immigrants Will Fear Accessing Other Municipal Services
               The increased fear of deportation resulting from local law enforcement participation in
         immigration enforcement will not only impact police-community relations with immigrant com-
         munities but might also lead to fear among immigrant communities of accessing other state and
         local government services. Several focus group participants who worked for city agencies discussed
         the difficulty they already have encouraging immigrants to access municipal services. In a paper
         presented at the conference, Professor Roberto Gonzales of the University of Washington discusses
         the impact of immigration enforcement efforts on schools, including increased absences and
         students distracted by their anxiety over deportation (Gonzales 2008, 6) (see appendix E).

         Striking a Balance Between Immigration Enforcement and Civil Liberties:
         Recommendations
              The goal of the Police Foundation project was to begin a dialogue among police executives
         and professionals, scholars, public policy and community groups over the role of local law
         enforcement in federal immigration law enforcement, in order to improve law enforcement’s
         understanding of the issue and to begin to develop some consensus on how to strike the bal-
         ance between the competing federal need of immigration enforcement with local public safety
         priorities and civil liberties. As stated earlier in the About the Project section, the foundation con-
         ducted a series of focus groups throughout the country with police executives, local govern-
         ment officials, and community members; convened a national conference of leaders in the
         policing, public policy, academic, and immigrant communities; commissioned academic papers
         on pertinent topics; and conducted a written survey of police executives. Throughout this
         process, there was a healthy level of dialogue and disagreement about specific questions and
         issues. However, it also became clear that certain recommendations and policy positions were
         widely held among the group. In this section of the report, we describe some of these positions
         and recommendations.



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       Almost all project participants agreed that agencies
        should not be patrolling for immigration violators
       and that immigration enforcement activity should
        be limited to contacts incidental to a lawful arrest
                 for a state criminal law violation.


The Costs of the 287(g) Program Outweigh the Benefits
      As outlined earlier, the majority of police executives participating in the project did not see
the benefits to local agencies of participating in the 287(g) program. They felt that the 287(g) program
created substantial additional work for local agencies to fulfill a federal mandate for which they
would not receive any compensation or funding and, therefore, would divert resources from tradi-
tional law enforcement functions. Because of the complexity of immigration law, they would have to
invest significant labor hours and resources to provide and update training on developments in
immigration law. They also were concerned that public safety would suffer because of destroyed
trust and cooperation with immigrant communities. Participation in the 287(g) program, or at least
the media coverage and fear generated by it, would undermine years of community-policing efforts,
which in turn would compromise public safety. Finally, police leaders were concerned about racial
profiling and litigation costs: if state and local law enforcement officers engage in racial profiling, vio-
late federal civil rights laws, or violate state and local law defining the scope of police authority,
287(g) agreements will not protect them from liability.
Police Officers Should be Prohibited from Arresting and Detaining Persons to Solely Investi-
gate Immigration Status in the Absence of Probable Cause of an Independent Crime
      Almost all project participants agreed that, at the very least, local law enforcement agencies
should not be patrolling for immigration violators and that immigration enforcement activity
should be limited to contacts incidental to a lawful arrest for a state criminal law violation. Even
under the best of circumstances, many participants expressed the concern that the use of racial
profiling is almost inevitable where local police patrol for immigration violations. One police
chief from Arizona stated that in many parts of the country, particularly Arizona, race is being used
as a predictor of criminal behavior, which violates the equal protection clause of the Constitution.
He explained that citizens and legal residents are being targeted by local immigration enforce-
ment efforts because of the color of their skin. Many participants contended that there are no objec-
tive, visibly discernible factors indicating immigration status. “You cannot see immigration
status,” one participant stated. Therefore, Chief Harold Hurtt of Houston contended that were
local law enforcement to begin engaging in civil immigration enforcement activities, they would
have to ask everyone they stop for proof of citizenship. For example, he stated, the Caucasian wife
of a member of the chamber of commerce is pulled over for a traffic violation and is without
proof of citizenship. The police officer would have to ask her about her citizenship status and, in
the absence of such proof, arrest and detain her. “Imagine,” Chief Hurtt said, “the community out-
rage you would get then.”



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                                                                  Chief Harold Hurtt describes the Houston Police Depart-
                                                                  ment’s policy of focusing on the criminal nexus in immigra-
                                                                  tion enforcement.


                                                                  If a Local Agency Enters the 287(g) Program, it
                                                                  Should Limit Participation to Serious Criminal Of-
                                                                  fenders and Jail-Based Programs
                                                           Many participants believed that if state and local
                                                     law enforcement agencies were to enter a 287(g) agree-
                                                     ment with the federal government, it should be limited
                                                     to jail-based programs and that the delegated immi-
                                                     gration enforcement powers should be selectively
                                                     used to target serious felony offenders. One former
                                                     INS official mentioned that, in response to political
                                                     pressure to deport more unauthorized immigrants
                                                     and the lack of available federal resources to do so,
                                                     federal immigration officials designed the 287(g) pro-
         gram initially with the intent to focus on jails and prisons.
         Implement Policies and Procedures for Monitoring and Enforcing Racial Profiling Violations
               Because of grave concerns about racial profiling, in particular in jurisdictions operating
         287(g) programs in the patrol context (versus solely in the jail), it is important that both local agen-
         cies themselves and the federal government implement policies and procedures for monitor-
         ing and enforcing civil rights violations. While 287(g) agreements contain provisions prohibiting
         racial profiling, comments at the conference seem to suggest that the federal government has not
         been effectively policing compliance with these provisions of the 287(g) agreements. Indeed,
         Mayor Gordon of Phoenix stated that he had written a complaint letter to the U.S. Department
         of Justice’s Civil Rights Division arguing that the Maricopa County Sheriff’s Office has been
         using racially-biased enforcement practices, but the mayor stated that the federal government had
         not yet taken any steps towards investigating the allegations. Participants recommended that
         agencies engaging in immigration enforcement activities need to put into place their own racial
         profiling and civil rights violation self-monitoring policies and practices to prevent potential
         abuses of immigrant rights.
         Involve Community Members in Developing Immigration Policies
               Local law enforcement agencies depend on the trust and cooperation of immigrant com-
         munities to effectively police these communities. In order to preserve this trust that they built over
         the years by aggressively engaging in community-oriented policing trust-building activities,
         state and local law enforcement agencies should open lines of communication with immigrant
         communities to establish collaborative partnerships for public safety and crime control pur-
         poses and to obtain input from the immigrant community on the impact of police department poli-
         cies. Police departments should regularly meet with representatives of immigrant communities
         to educate them about their immigration policies, obtain their perspectives on immigration
         enforcement and other issues involving immigrant communities, and to monitor impact of their
         efforts. As a result of efforts by the Houston Police Department to educate the immigrant com-
         munity on the content and purpose of department policies and the rationale necessitating
         changes, a more aggressive posture in the enforcement of immigration laws adopted by the
         department had no discernible negative effects on police-community relations.



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             Whether or not a local agency is involved
           in immigration enforcement, it is important
                 that it make efforts to build trust
          with immigrant communities and ease tensions
                  between different communities.


Evaluation Research Should be Conducted of the 287(g) Program and Other Local Immigra-
tion Enforcement Initiatives
      Several participants suggested that there was very little research and empirical evidence of
the costs and benefits of the different forms of local law enforcement collaboration in federal immi-
gration enforcement efforts. As a result, we are asked to rely on subjective perspectives of law
enforcement executives and politicians who may be influenced by a need to support their own
policies. There is a great need for evaluation research of these programs, their outcomes, and their
impact. Some research questions suggested by program participants included (1) who conducts
the immigration status inquiry, (2) who is being arrested and detained, (3) who is being questioned
but released, (4) is there any racially disparate impact, (5) how often is error occurring, (6) how
often do civil rights violations occur, (7) what happens to those agencies that violate 287(g)
agreements, and (8) how many people are going to jail and deported because of these efforts.
Employ Community-Policing and Problem-Solving Tactics to Improve Police-Community Rela-
tions with Immigrant Communities and Resolve Tension Caused by Expanding Immigration
      Whether or not a local agency is involved in immigration enforcement, it is important that
it make efforts to build trust with immigrant communities and ease tensions between different
communities. Rapidly changing demographics, tougher enforcement of immigration laws, and
stricter limitations on the privileges and benefits authorized by the government for undocu-
mented immigrants have created an environment in which increased tension between commu-
nities and police exist. In this environment, police-community relations will be impacted
regardless of what local policy is. Several participants provided some good examples of strategies
that not only improved police-community relations but also diffused local tensions over immi-
gration.
      For instance, one northeastern city police executive reported that they were experiencing
tensions between communities over concerns attributed to increased immigration. The police
department, in response, organized dialogues in various neighborhoods, including representa-
tives of new immigrant communities and established communities. In these dialogues, using
problem solving policing techniques, the police department facilitated discussions that led com-
munities and police to jointly work out resolutions to neighborhood problems. In other words,
they focused the energy of the group on specific behavioral issues and jointly problem-solved. Over-
time, the police executive stated, “We’re not yelling. They’re not yelling anymore. They know each
other’s names now. They know the children. They know the teenagers. And we’re working at it.
And it’s not solved. And it probably never will get solved because they’re opposing cultures.



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         We’re like a mediator. But it’s not a crime problem. It’s a community problem and that’s how
         we’re dealing with it.”
               Another police chief from an east coast beach city gave a similar example. They were hav-
         ing trouble with complaints about migrant workers coming to town during weekends, when
         they get a very large Hispanic population at the beach. These migrants sometimes would hang
         up hammocks underneath the pier and they would drink and bring their own food, at times cre-
         ating a trash problem. For years, the police department had received complaints from the busi-
         ness community but since there was no real crime problem, there was little they could do. A
         few years ago, the department put up signs in Spanish explaining that drinking in public was
         illegal and could lead to arrest, placed garbage bins along the beach, and added showers to the
         beach. As a result, the chief explained, “Now we don’t have the same complaints we had before.
         We used problem solving to help overcome some of the complaints that citizens were having.”
               Most of the conference participating agencies engaged in some form of outreach to immi-
         grant communities. Respondents to the conference survey were asked to describe the strate-
         gies they have developed or would develop to engage the immigrant community. The most
         frequently cited strategies in the forty-five received responses were: organizing and/or attend-
         ing community meetings, events, and forums (n=19), establishing community outreach programs
         or using community liaisons (n=17), attempting to educate the community through the media and
         bilingual pamphlets (n=13), or creating specialized department positions or programs to focus on
         the immigrant community (n=13) (Amendola et al. 2008).
         The Federal Government Must Enact Comprehensive Border Security and Immigration Reforms
               One of the most universal recommendations made during the project was for police organ-
         izations to urge Congress and the federal government to make a real commitment to comprehensive
         border security and immigration reform. Participants expressed their frustration with Con-
         gress’s inability to comprehensively reform the immigration system. They explained that Con-
         gress’s failure has had severe consequences on cities and towns throughout the country that
         struggle to deal with the fiscal and administrative challenges of integrating immigrant commu-
         nities and must figure out how to manage the racial and ethnic tension generated by the presence
         of an increasingly large population of immigrants.
               Mayor Gordon, for instance, stated:
                I am calling upon this Congress and the next one, this president and the next one,
                to make the dual issues of border security and immigration reform their first order
                of national business. I don’t believe that certain members of Congress under-
                stand…the impact of their neglect…on cities. They don’t see the hate. They don’t see
                the division. They don’t hear the rhetoric. They don’t see the civil rights viola-
                tions. And they don’t understand the costs.
               At the conference, Julie Erfle, the widow of a Phoenix police officer killed by an unautho-
         rized immigrant who had previously been deported, discussed the psychological and social costs
         of Congress’s failure to pass comprehensive immigration reform, not only on law enforcement and
         their families but also on the undocumented and their families. She, like Mayor Gordon, suggested,
         “My solution is comprehensive immigration reform….It is time to stop pandering and time to
         stop talking about the issue and time to start enacting a real policy” (see appendix M).




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                                             Conclusion
                                                   Immigration issues are some of the most con-
                                             tentiously debated in the United States today. Increasing
                                             levels of immigration, the dispersal of immigrants to
                                             communities throughout the country that have no expe-
                                             rience with immigration, and the federal government’s
                                             failure to secure the borders and comprehensively reform
                                             the immigration system have created tensions between
                                             communities in regions throughout the country and the
                                             resultant pressure on state and local law enforcement
                                             to control unauthorized immigration. As one police chief
                                             stated, “Once again we [police] are found to be in
                                             between. In fact, much of the civil unrest in this country
                                             goes back to some conflict that erupted in one of our
                                             communities across this country, where police were at
Julie Erfle, an advocate for comprehen-      the fulcrum.” During conversations throughout the proj-
sive immigration reform, told conferees,
“We need to put compassion and human-        ect, we repeatedly heard law enforcement officials dis-
ity on an equal footing with immigration     cuss the pressure they are feeling to take sides in the
enforcement.”
                                             immigration debate.
      One of the ultimate goals of the foundation project was to give police a voice on this critical issue.
And, indeed, during much of the national conference, participants openly and passionately dis-
cussed a range of issues relating to the role of local police in federal immigration enforcement:
from the legal rights of the unauthorized immigrant population; to empirical evidence and research
conducted on the demographic characteristics of the population, immigrant criminality, the expe-
rience of the undocumented, and the impact of immigration enforcement programs; to the diverse
perspectives of law enforcement executives and community leaders on the issue. The conversations
were always lively but respectful and they included specificity, empirical evidence, and detail often
absent in national conversations about immigration enforcement.
      Ultimately, however, the conversations at the conference always came back to the core role
of local police and core principles of community policing. One police chief quoted the police
officer’s oath of office: “To support and defend the Constitution of the United States and to be faith-
                                           ful and bear true allegiance to state laws, and to the best
                                           of our skill and judgment diligently and faithfully without
                                           prejudice or partiality execute the office of the police offi-
                                           cer.” As this chief and many other law enforcement exec-
                                           utives stated, police have a duty to uphold state and local
                                           laws but must do so while respecting and protecting the
                                           Constitution. This includes the equal protection clause,
                                           which prohibits racially discriminatory enforcement prac-
                                           tices. In fact, great concern was expressed throughout
                                           the conference about the impact on the Latino community,
                                           in particular, and the risks of racial profiling where local
                                           law enforcement becomes involved in immigration


                                           Coatesville, PA, Chief of Police William Matthews moderates
                                           the open forum on the final day of the conference.




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                                         As one police chief asked,
                                      “How do you police a community
                                         that will not talk to you?”


         enforcement. Moreover, the participants generally agreed that their duty as a police executive is
         to provide public safety to all residents in their community, whether documented or undocumented.
         One police chief stated, “We need to draw the line and stand for justice and civil liberties. This
         has to be done by the police because others will not do it. It goes back to our oath of office to uphold
         the Constitution and justice.”
               Many police executives, particularly those working in communities with significant immi-
         grant populations, also expressed concern that police participation in immigration enforcement
         efforts has threatened to undo years of com-
         munity oriented policing efforts to build trust
         with immigrant communities. Police partici-
         pants discussed the difficulties they have gain-
         ing the trust and cooperation of immigrant
         communities because of fears of deportation
         and imported distrust and perceptions of police
         from their home country. Participants felt that
         they needed the support of these communities
         in order to effectively provide public safety. As
         one police chief asked, “How do you police a
         community that will not talk to you?” For this
         reason, one of the core recommendations dis-
         cussed in this report is that law enforcement
         agencies engage communities in the process
         of developing immigration policies and edu-
         cate them about agency policy and practices.
         By inviting communities to participate in the
         process of generating policies, agencies can
         make great headway towards striking a bal-
         ance between immigration concerns, civil lib-
         erties, and maintaining public safety.




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Endnotes
1
  The terms “immigrant” and “foreign-born” are used interchangeably throughout the report to describe individuals
who were not born in the United States, including unauthorized immigrants, legal permanent residents, and naturalized
citizens.
2
 The Bureau of Justice Assistance of the U.S. Department of Justice administers the State Criminal Alien Assistance
Program (SCAAP), in conjunction with the Bureaus of Immigration and Customs Enforcement and Citizenship and
Immigration Services, Department of Homeland Security (DHS). SCAAP provides federal payments to states and lo-
calities that incurred correctional officer salary costs for incarcerating undocumented criminal aliens with at least one
felony or two misdemeanor convictions for violations of state or local law and incarcerated for at least four consec-
utive days during the reporting period. In 1995, Congress appropriated $130,000,000 to the program, Public Law 104-
208 accessed at http://www.lib.umich.edu/govdocs/text/104208.txt. SCAAP awards totaled $377,323,723 in 2007,
$287,143,095 in 2005, $281,605,292 in 2004, $239,999,996 in 2003, and $545,090,055 in 2002. Accessed at
http://www.ojp.usdoj.gov/BJA/grant/scaap_site.html. Totals not posted for 2000, 2001, and 2006.
3
    In 2005 alone, LESC responded to 676,502 inquiries by state and local law enforcement officials (Aldana 2008).
4
 Citing Gonzalez v. City of Peoria, 722 F.2d 468 (9th Cir. 1983) (Court held that local police have authority to arrest for
criminal provisions of INA but no inherent authority to arrest for civil violations.); United States v. Vasquez-Alvarez,
176 F.3d 1294 (10th Cir. 1999) (Court held state and local law enforcement officers have the general authority to in-
vestigate and make arrests for federal immigration law. Case premised on Oklahoma law allowing local officers to make
arrests for violations of federal law.); and United States v. Santana-Garcia, 264 F.3d 1188 (10th Cir. 2001) (Court held
local law enforcement had authority to investigate and make arrests for violations of immigration law, relying partially
on Utah statute defining scope of authority of peace officers.).




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         Introduction
            The primary goal of the Police Foundation project, The Role of Local Police: Striking a Balance
         Between Immigration Enforcement and Civil Liberties, was to bring together law enforcement agen-
         cies, public officials, and community stakeholders to collaboratively examine one of the most timely
         and controversial topics in policing today—how local and state police strike the balance between
         civil liberties and federal immigration enforcement. One of the principal activities the Police Foun-
         dation undertook was to host a series of focus groups across the country including representatives
         of law enforcement, elected officials, and immigrant1 communities. Focus groups were held in Topeka
         (KS), El Paso (TX), Arlington (TX), and Collier County (FL). The objective of the focus groups was
         to elicit the perspectives and insights of those directly impacted by the issues surrounding immigration.
         As stated by the president of the Police Foundation, Hubert Williams, “It’s absolutely critical from our
         perspective that the people who are most directly affected at the ground level have their voices
         heard at the policy-making level and have some impact and discussion related to this issue.”
            The information derived from focus groups is cited at various points in the final project report, was
         influential in the development of the agenda for the national conference, and is one of the main
         sources of data upon which the ultimate recommendations proposed were based. Because of the
         key role played by focus groups, this summary of the conversations is included here as an appendix.
            This summary begins with an overview of focus group methodology, followed by a review of
         general themes raised across all or the majority of sites. Presented next is a description of each
         of the four focus group sites, including any issues unique to a specific site.

         Methodology
            In choosing focus group sites, the Police Foundation wanted to include a varied set of law
         enforcement agencies and geographic locations so that recommendations would reflect the
         diversity of this nation and the different environments in which law enforcement agencies
         throughout the country operate. Criteria established for selecting a host agency for each focus group
         included the police executive’s willingness to work with the Police Foundation, the makeup and
         size of the jurisdiction’s immigrant population, and the agency’s experience in confronting issues
         related to serving an immigrant population. Agencies directly involved in litigation were not
         selected. The local host law enforcement agency was responsible for assisting the Police Foun-
         dation in selecting a location that could accommodate focus group discussions.
            Two ninety-minute sessions were conducted at each site. Law enforcement executives and offi-
         cers of varying ranks attended the first session, scheduled from 11:00 a.m. to 1:00 p.m. Policy makers,
         legislators, community groups, service providers, and community members at large generally attended
         the second session, held from 6:30 p.m. to 8:30 p.m. The chief executive of the host law enforce-
         ment agency or his designee also attended the evening civilian session as an observer. A member
         of the Police Foundation staff with knowledge of policing and immigration facilitated the sessions.
         The foundation contracted with a local professional transcriber to record the conversation. As
         needed, the moderator or a participant interpreted for limited-English proficient participants.
            The Police Foundation president and each host law enforcement executive jointly signed a let-
         ter of invitation mailed to service providers, policy makers, special interest groups, ad hoc com-
         mittees, coalitions, and associations. The foundation also requested that host agencies draw



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from diverse neighborhoods, government departments, and organizations in order to obtain a var-
ied set of viewpoints and experiences at the civilian sessions. Finally, the foundation specifi-
cally requested that invitations be sent to representatives of minority groups and others impacted
by immigration issues. The designated point of contact invited selected, potential participants tele-
phonically and by a letter drafted by the Police Foundation, which included information about
the nature of the meeting but not focus group questions. Names of those confirming their inten-
tion to attend were forwarded to the Police Foundation. Once the maximum number of twenty
attendees was reached, the process was closed and additional persons were not permitted to
attend. The host agency also invited representatives of neighboring law enforcement agencies to
attend the morning law enforcement sessions. As a result, thirty-three local and state agencies were
represented in the four law enforcement focus groups.
   Each civilian and law enforcement session began with an introduction from the host chief
and from the president of the Police Foundation, who explained to participants the purpose of
the focus group. The facilitator then provided a short briefing on the process and set the ground
rules for discussion. The questions asked were open-ended and designed to elicit opinions,
experiences, and perspectives from participants regarding the following topics: challenges and
opportunities presented serving immigrant communities, agency practices and policies on immi-
gration enforcement and police-immigrant community relations, benefits and costs of local
involvement in immigration enforcement, political and economic factors involved with immigration
enforcement, constitutional and civil liberty implications, and recommended approaches to
striking the balance between immigration enforcement and civil liberties.

General Themes Discussed in Focus Groups
Challenges faced by communities adapting to a changing population
   In all sites except El Paso, participants discussed challenges associated with growth in the
population, or a shift in the composition, of immigrant communities and the tensions produced
by this change. In Arlington, for instance, law enforcement executives mentioned that the Dal-
las-Fort Worth Metroplex area has seen enormous population increases, which some partici-
pants attributed to growth in immigrant communities and “ethnic minorities.” In Topeka, where
immigration is relatively new and immigrants are still a very small part of the population, par-
ticipants expressed concern about the resultant budgetary burdens of a large growth in the
immigrant population. In Collier County, as well, participants discussed the growth in immi-
grant population and the resulting fiscal burdens placed on public services.
   This growth in immigrant communities produces challenges for immigrants, long-standing res-
idents, and police departments serving them because immigrants bring with them new cultures,
languages, and lifestyles. Some participants, both civilian and law enforcement, felt that the
introduction of these cultural differences can produce tensions with other communities. As one
police executive in the Arlington session stated:
     I don’t think, generally speaking, people are complaining about the fact that some-
     one is here in this country without official legal authorization to be here. . . All of
     a sudden their community is becoming more heavily populated with people who



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                are different from them who enjoy doing things that are unlike what other people
                in the community have historically done. And so rather than addressing the uneasy
                feeling about differences among the newcomers, they just cast this label “illegal
                immigration” over that, and then they want us to enforce immigration laws to get
                rid of the people who are different from what they are accustomed.
             Arlington and Topeka law enforcement participants also talked about challenges presented by
         language barriers, in particular that some officers become frustrated when they cannot com-
         municate with witnesses or victims and that Hispanic officers often are overburdened by respond-
         ing to the language barrier. In El Paso, a participant mentioned that because of language barriers
         it is difficult for different ethnic communities to communicate, thereby creating challenges to
         resolving differences or creating mutual understanding.
             In all sites except Collier County, many participants believed that attacks against “illegal
         immigration” are often motivated by racial discrimination. One Arlington participant stated:
                When the public talks about the open problem with illegal immigration, the focus
                is really on the Latino community. That same level of concern does not extend to
                the Asian population. And then I think the perception of the Muslim population is
                not that they’re really illegal immigrants as much as they are terrorists or poten-
                tial terrorists.
            An El Paso participant stated, “It’s been easy for them to hide this whole racism that is happening
         against the immigrant Mexicans, especially Latin America people, with the issue of the legality
         or illegality.” Topeka participants characterized the current anti-immigrant environment as a
         continuation of a historical pattern of racism against African Americans in Topeka. This per-
         spective could be due to the composition of the civilian group or the historical significance that
         the antiracism movement has played in Topeka, the home of Brown v. Board of Education.
            One police executive from the Dallas-Fort Worth Metroplex provided an anecdote demonstrating
         that racial discrimination is underlying the immigration debate. The morning of the focus group,
         he had received a report that a predominantly White neighborhood was incensed that a Puerto
         Rican family had moved into a home there, out of which they ran a landscaping business. The
         homeowner employs predominantly Puerto Rican workers who come and go from the home
         throughout the day. Unaware that the family and their workers are Puerto Rican or that they
         are U.S. citizens, the community demanded that the police take action towards deporting the
         family and their workers. A Topeka participant, who works with youth, gave another example
         indicative of the racial undercurrent to the debate. He was transporting a group of Latino youth
         to a Hispanic orientation at a college and, while he was standing away from the group, some
         locals mistook the group of Latino youth for gang members. El Paso was different from other sites
         in that it has traditionally been a Latino-dominated city and therefore there was less discussion
         of local racial tension; however, participants felt the national discourse on immigration often
         stemmed from racist attitudes towards Latinos.
             In Collier County, there was no discussion of racism against Latinos or the challenges of
         integrating new cultures and differences. The participants, however, discussed the financial
         challenges public agencies face integrating the needs of these new communities and commented



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on the belief that immigrants often do not contribute proportionately into the system by paying
taxes. A law enforcement official mentioned that the majority of arrested immigrants do not
have social security numbers, which he assumed meant they were not paying taxes. Other par-
ticipants explained that when the costs of immigration outweigh tax revenue, it provokes a very
emotional response in the community, particularly as the economy takes a downturn. In Topeka,
one participant suggested that as state and local budgetary burdens resultant from increased
migration rise, the local debate on immigration enforcement might grow more contentious. He
believed once Midwesterners “see their emergency rooms close, as they see their school dis-
trict costs go up 30 percent or 40 percent to deal with bilingual education, and as they see or per-
ceive that they see an increase in crime based on immigrant population, then [their] attitudes [are]
going to change too.” In El Paso, representatives of several law enforcement agencies talked
about the additional law enforcement resources needed to address the challenges produced by
the changing dynamics of migration across the southern border. For example, one officer explained
that they are encountering more corpses in the desert and that additional police resources are
required to deal with these bodies appropriately.
   The relation of immigration to crime was discussed in some of the sessions. Many partici-
pants spoke of the public’s perception that crime problems were caused in part by immigration.
A Dallas-Fort Worth Metroplex chief gave the example of a drug-trafficking cartel setting up a
base in his city and the resultant public outrage and perception that immigration had brought this
problem to their community. The police executive, on the other hand, did not believe there was
a connection between immigration and the drug traffickers’ decision to set up in his community.
There were, however, different viewpoints on the relation of gang activity to immigration. In
Collier County, one participant said “immigration exacerbates the gang problem,” versus an
Arlington participant who said the two issues are not connected. In El Paso, the sentiment was
expressed more generally that homegrown American problems are being blamed on Mexico.
In Arlington, one police chief stated that he regularly receives complaints about a day labor hir-
ing site in his city where typically twenty to forty “Latino-looking” workers congregate, which
community members fear is a threat to public safety.
   A couple of participants also attributed some of the tensions mentioned above not only to the
growth in immigrant communities but also to the growth in their visibility politically. For instance,
some Arlington law enforcement participants felt that large immigrant marches, where thousands
of Latinos and other immigrants publicly demonstrated in favor of immigrant rights, exacer-
bated racial tensions. In addition, a Topeka participant expressed the belief that the relative
youth of the Latino community also causes fear and, consequently, racial tension.
The role of politics and media in influencing local immigration enforcement policy
   In every site, law enforcement complained that media coverage of the immigration debate
and the role of law enforcement is often sensationalized and has exacerbated an already sensi-
tive environment. On both sides of this highly emotional and contentious debate, law enforcement
participants felt that media coverage was often inaccurate and that advocates manipulate media
coverage to advance their agenda. To demonstrate this position, one Topeka participant recounted
the story of an accident that occurred involving a van of undocumented immigrants. The driver



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         of the vehicle had a Mexican driver’s license and since the officers had no database to verify
         the validity of the document, they called Immigration and Customs Enforcement (ICE). ICE
         advised that it did not have resources available at that moment to respond to the scene and,
         since no criminal law had been violated, the deputies released the driver and the passengers.
         Subsequently, the police executive received a lot of criticism in the media about the decision of
         his officers to release the passengers. On the other side of the immigration debate, a Collier
         County law enforcement participant related his experience with the media publishing inaccurate
         stories, namely that the Collier County Sheriff’s Office was preparing to initiate immigration
         sweeps of undocumented immigrant communities, which he felt was an inaccurate portrayal
         of their 287(g) program. The participant stated that advocates for immigrants used the media to
         advance their agenda and, in the process, created fear in immigrant communities. In El Paso,
         one participant also commented that the media coverage of the border after the attacks of Sep-
         tember 11 was highly sensationalized and unnecessarily intensified the immigration debate.
             This hyped media coverage, combined with the racial tensions resulting from the demographic
         changes, can generate a lot of political pressure on local police to expand their activities into the
         immigration enforcement arena. In all but the Collier County focus group, law enforcement par-
         ticipants candidly talked about the pressures they face from politicians to be more aggressively
         involved in immigration enforcement. It is possible that this topic did not arise in Collier County because
         many of the participants were themselves elected officials, including three sheriffs. Some police
         executives also said that often they feel pulled in opposite directions; they need to preserve good police-
         community relations with a Caucasian majority community that often wants them to enforce immi-
         gration law, while simultaneously building trust in a minority immigrant community whose cooperation
         is essential to maintaining public safety. Some felt that many local politicians are under similar pres-
         sures. In fact, one sheriff, who is currently campaigning for reelection, stated that immigration is a
         big issue raised by constituents. Voters frustrated by the demographic changes in their communities
         put pressure on local politicians, such as mayors, city council representatives, and county commis-
         sioners, and these politicians in turn place pressure on police executives, some of whom were hired
         by those very same politicians. As one Arlington law enforcement participant stated:
                In my city and in other cities around here, [people] are getting elected and unelected
                on this issue alone. It’s that big. . . So people at the municipal level are running
                scared on this issue and are just trying to find their way, regardless of what their
                personal beliefs are. . . .You got to figure out how far you are willing to go and what
                you are willing to get fired for on this issue.
            Some law enforcement participants noted that, while some politicians are merely responding
         to political pressure they feel from the media and the public, other politicians use the immigra-
         tion debate and emotions surrounding it to win elections. One Arlington participant recounted,
         in outrage, an incident where a local politician in his community “was quoted in the media as say-
         ing that we should sit at the border and shoot the illegal immigrants as they come across the
         border.” Some participants noted that the politics surrounding immigration enforcement do not
         always reflect overall public sentiment on the issue, because a large proportion of Latinos are either
         ineligible to vote or do not choose to vote.



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The costs and benefits of local police enforcement of federal immigration law:
Is it a federal or local responsibility?
   Focus group participants disagreed over whether immigration enforcement is and should be
solely a federal responsibility or a dual responsibility of federal and local law enforcement. Gen-
erally speaking, the law enforcement perspective in three of the sites (all but Collier County)
was that immigration enforcement is a federal responsibility. One law enforcement official in the
Arlington session explained that local law enforcement’s authority to enforce laws comes from
the state. While he agreed that local law enforcement sometimes collaborates with federal
authorities on specific investigations, he stated that they must be cautious when doing so and those
police officials who sit on federal task forces often become federal officers to do so. When asked
whether immigration enforcement is a federal or local responsibility, one law enforcement offi-
cial in the El Paso group stated, “[I]f everybody does their own job and quits trying to be some-
thing that they’re not, we could get a lot more done. Border Patrol doesn’t answer calls in my
community. They don’t go and patrol neighborhoods and stuff like that. But I’ve got to go and
patrol their border?”
   Throughout the discussions, many arguments against and in favor of local enforcement of
federal immigration laws were discussed. Prior to discussing these costs and benefits, it would
be helpful to deconstruct the differing perspectives on what constitutes “immigration enforce-
ment” because the variations in definitions often result in miscommunication. Frequently, law
enforcement agencies assert they are not involved in immigration enforcement, while the immi-
grant communities served disagree, insisting that their community members have been deported
as a result of law enforcement’s actions.
   For instance, in the El Paso and Doña Ana County sessions, where law enforcement participants
across the board seemed to have a policy of nonenforcement of immigration laws, many community
members complained that police were indeed enforcing immigration law and had examples to
support their claim. Part of the reason for these diverging perspectives might be attributed to dif-
fering conceptions of what is “immigration enforcement.” For instance, a representative of the
Socorro Police Department explained that they do not ask immigrants or visitors for their immi-
gration documentation: “These are people; they deserve to be served.” But at the same time,
another representative of the Socorro Police Department stated that they do not have the kind
of databases that a larger agency, such as the El Paso Police Department, has to verify the iden-
tity of people who have perpetrated a crime. Therefore, they sometimes contact Customs and Bor-
der Protection (CBP), which has access to more sophisticated criminal databases, e.g., EPIC,
after which CBP typically takes steps towards deporting the undocumented immigrant. This,
the speaker explained, perpetuates the perception that they work with CBP. Another police rep-
resentative explained that once they arrest someone, CBP might interview the arrestee and later
initiate removal proceedings. This participant also complained that the community blames the
law enforcement agency for deportation of these detainees. From the community’s perspective,
however, these actions described by police participants might constitute “immigration enforce-
ment.”
   Even a participant from the Collier County Sheriff’s Office, a law enforcement agency that has
signed a memorandum of agreement with ICE as part of its 287(g) program (arguably the high-



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         est level of involvement of local law enforcement in immigration control), stated that the 287(g)
         program is not really an immigration enforcement program. “It is simply just so we can access the
         database so we [can] document the people we’re encountering who have already committed
         criminal law violations and informing ICE, filling out the paperwork, and subjecting those peo-
         ple to removal. So it’s not really performing all the duties of the ICE agency.”
            In the three sites where participants considered immigration enforcement solely a federal
         responsibility (Topeka, El Paso, and Arlington), participants provided numerous examples of
         the costs of local involvement in immigration enforcement. Many believed the little trust immi-
         grant communities have in police would disappear were local police to assist federal authorities
         deport unauthorized immigrants. Because so many families are mixed-status (they include both
         documented and undocumented members), not only would undocumented immigrants become
         difficult for police to work with, but also legally present relatives would be hesitant to cooper-
         ate. This reduced trust would lead to an underreporting in crime and less cooperation from wit-
         nesses, which in turn would make it more difficult to prosecute cases successfully. As one Topeka
         law enforcement participant expressed, “How do we police a community that won’t talk to us?”
         Moreover, civilian participants explained that when one victim or witness is deported, this infor-
         mation spreads rapidly within the social networks of immigrant communities and fear prolifer-
         ates. As a result of the lack of cooperation, the decrease in crime reporting, and the challenges this
         lack of cooperation presents to successful prosecutions, some participants believed that ulti-
         mately it would lead to an increase in crime.
            Many participants also believed that increased fear of police and deportation would lead to
         increased victimization and exploitation of undocumented immigrants. While there was a gen-
         eral consensus across sites that criminals already target undocumented immigrants, believing that
         they will not report the offense to police, many felt this dynamic would worsen. In particular, par-
         ticipants expressed concern that victims of domestic violence would not come forward and that
         batterers would not only use the threat of deportation of the victim but also use the threat that
         the principal earner in the family—the batterer—would be deported after arrest. One partici-
         pant in El Paso also believed that more enforcement would lead to more human trafficking, as
         smugglers or traffickers are better able to use the threat of deportation to coerce undocumented
         immigrants into situations of forced labor. In Collier County, one participant, while agreeing
         that undocumented immigrants are often targets of crime, had a slightly different perspective on
         immigrant victimization and stated that the increased patrol resources needed to deal with this
         increased victimization is another cost of undocumented immigration borne by local law enforce-
         ment agencies. Several participants also believed that there would be increased employer abuse
         and exploitation of undocumented immigrants. In addition, these fears, some participants
         believed, will deter immigrants from accessing other municipal services, such as health care
         and education.
            During the El Paso sessions, the issue of police misconduct arose. Participants supposed that
         immigrants’ fear of police and the threat of possible deportation would lead to an increase in
         police misconduct. As one police executive stated, “I might have issues out in the field with offi-
         cers who are doing things that they’re not supposed to be doing, but people are afraid to tell us,
         simply because they’re afraid.”



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    Many law enforcement participants stated that the economic and labor costs of police involve-
ment in immigration enforcement were high and would divert scarce resources from traditional
law enforcement activities. Those costs include the funds needed to temporarily detain immigrants,
medical costs for those in need of care while being detained by local authorities, and trans-
portation costs to the jail. Moreover, an agency would need to invest patrol resources to arrest,
to await federal response, and to process paperwork required by ICE. The federal 287(g) program
merely pays for training local officers; the federal government does not cover all of these other
costs. One participant explained, “You can’t deficit spend in Kansas but the federal government
can.”
    In the two Texas locations, participants also talked about the possibility of the federal gov-
ernment distributing funds to local agencies to enforce immigration laws. In the Arlington law
enforcement session, some participants felt the price to pay for accepting these funds was not worth
the gains. One participant noted federal funds are already being diverted to the Department of
Homeland Security from funds that used to be allocated to assist law enforcement with traditional
crime control efforts. He stated, “How many of you are getting money from Homeland Secu-
rity for that stuff that absolutely makes no sense in a rational world? . . . COPS grants have gone
. . . We don’t have our local law enforcement block grants. The [Byrne] grant situation is just
appalling. You have to get an earmark from a senator to get a grant.”
    Participants also discussed the impact of increased deportation on children and families.
When the principal earner is deported, how will those families manage? Will those families
who are eligible require assistance from the state? Citizen children of deported parents might need
to enter the foster care system if they do not have a legal relative that could care for them. One
participant believed that because of poor outcomes in the foster care system, these children
might eventually end up in the juvenile delinquency system.
    Another cost of immigration enforcement many law enforcement officials raised was poten-
tial litigation costs, especially those resulting from racial-profiling and civil rights lawsuits.
Across sites, law enforcement participants agreed that they could not legally arrest someone
solely on the basis that they look Latino. Participants in every site also agreed that police could
not just stop people on the street and ask about immigration status during a casual encounter. As
one Collier County participant stated, “If you start picking them up sitting on the sidewalk
because they look illegal, then I got a problem.” One Collier County law enforcement official
acknowledged that the department would be exposed to litigation were it to use the 287(g) pro-
gram to patrol for immigration violators. For this reason, the sheriff has limited the use of the 287(g)
program to target criminals who the department has already arrested and are detained in their
jails and those who are the subject of an ongoing criminal investigation. An El Paso participant
also noted that local agencies would expose themselves to litigation when officers mistakenly arrest
a citizen or legal permanent resident. Finally, one of the Topeka participants explained that con-
sequences of racial profiling extend beyond civil litigation in Kansas, which has a state statute pro-
hibiting the use of race or ethnicity as the sole criteria for arrest.
    Participants in Collier County, where the sheriff’s office participates in ICE’s 287(g) program,
raised most of the benefits of local enforcement of immigration laws. The Collier County Sher-
iff’s Office did an analysis of jail costs and found that approximately 24 percent of its jail popu-



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         lation was immigration violators and that the pure jail costs associated with their cases cost the
         county approximately nine million dollars. This was the principal argument they gave county offi-
         cials for entering into the 287(g) program. Currently, ICE removes one out of five detainees,
         which they contend saves the county jail costs.
            The sheriff also views immigration enforcement as a criminal enforcement tool to remove
         criminals from his community. As he explained, the Collier County sheriff limits 287(g) activity
         to immigrants arrested for an independent state law violation and those who are targets of crim-
         inal investigations. Another Collier County participant contended that sophisticated criminals
         are not going to get caught committing crimes but, if the agency discovers that they are unau-
         thorized residents, they could be removed from the community through deportation.
            In Topeka, one participant articulated his unease with releasing undocumented immigrants
         on bond because they may provide false identities and because of the difficulties police agencies
         have verifying their addresses due to a shortage of interpreters. Another participant in Topeka
         also feared the establishment of vigilante movements if local and federal government do not
         control immigration and, in fact, provided an example of a town in Kansas where a group of cit-
         izens made such threats.
            While law enforcement participants in Topeka clearly were opposed to sharing responsibil-
         ity for immigration enforcement with the federal government, they seem to make an exception
         for immigrants who commit criminal law violations, in particular gang members. Some felt it was
         important for criminals to serve their criminal sentence in a state or local correctional facility prior
         to deportation. On the other hand, another participant explained that at times during criminal
         prosecutions, the defendant is offered the option to voluntarily agree to deportation in exchange
         for a dismissal of charges. As this participant explained, if the defendant then returns to the
         country, he or she can be prosecuted on the federal charge of illegal reentry. Another Topeka
         participant pointed out the complexity of the issue of deportation of criminal law violators, stat-
         ing that while all agree that murderers should be deported, the issue becomes complicated with
         an undocumented immigrant who uses false documents to work in the country and has thus
         technically committed a felony offense.
            Interestingly, in all conversations about criminal aliens, they were referred to as “illegal immi-
         grants” who commit crimes. At no point did they mention legal permanent residents who are
         deported upon conviction of a crime; therefore, it is not clear if the participants’ opinions on
         the issue would vary based on the legal status of the immigrant.
         Counterterrorism and immigration enforcement
            While the topic of the attacks of September 11 and counterterrorism was surprisingly infre-
         quently mentioned during the sessions, a few participants commented on changes that have
         occurred post 9/11 and the relation between immigration enforcement and counterterrorism
         efforts. Due to changes that have occurred as a result of the increase in the budget and resources
         dedicated to homeland security and immigration enforcement, participants felt that ICE is much
         more responsive than the legacy Immigration and Naturalization Service (INS). Prior to 2001, it
         was very difficult to get INS to deport a criminal alien. Since then, at least regarding gang mem-
         bers, participants believed that ICE is more responsive. Moreover, comments were made that the



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federal government also has offered funds to local agencies to get them involved in border secu-
rity and immigration enforcement. As stated above, in Arlington, the participants warned that tak-
ing these funds diverts resources from traditional criminal law enforcement funding streams, such
as the COPS and Byrne grants.
   There was some disagreement between the various sites about the link between terrorism
and immigration. In Arlington, a participant stated that there was no relationship between ter-
rorism and the Hispanic community. In El Paso, one participant questioned the emphasis of
newer security measures on the U.S.-Mexico border versus the Canadian border. The participant
maintained that if counterterrorism were the primary objective, the government would not
make such a distinction. Participants in the El Paso civilian session related an incident where the
Uvalde County sheriff publicly stated that there were al Qaeda training camps on the other side
of the border, to justify seeking federal border security funds and actively participating in immi-
gration enforcement. When asked to substantiate his claim, the sheriff stated, “Well, that’s the
whole point. They’re terrorists.” The El Paso participants also recounted an incident where an
ICE official, attempting to justify raids in a town located in the region, alleged that a group of al
Qaeda operatives crossed the border with a group of undocumented Mexican migrants. When a
local congressional representative confronted the ICE official about the veracity of this claim, the
ICE official backed down. In sum, participants in these two Texas locations generally felt that there
was no connection between terrorism and immigration and that the government used fear of
terrorism to justify immigration enforcement initiatives.
   In the Collier County sessions, on the other hand, some expressed the position that failure to
enforce our nation’s immigration laws is a threat to national security. One of the law enforcement
participants suggested that potential terrorists might be coming in through Mexico, adopting Span-
ish surnames, learning Spanish and a Cuban accent, and being granted permission to stay in the
United States under sanctuary policies directed at Cubans. This participant also stated that both
President Chavez of Venezuela (who he claimed gave Venezuelan national identity cards to all that
apply) and Fidel Castro are known to have close relations with foreign terrorist organizations. Also,
one participant stated that they do not have access to government databases of many countries
either because of the lack of technology or privacy rights (as is the case with Europe) and, there-
fore, are unable to verify identity of immigrants from these countries. This, the participant felt,
was a national security threat.
Should undocumented immigrants and their children be entitled to public benefits?
    During the civilian sessions of the focus groups, a question posed was, “What type of benefits,
if any, do you think the government should provide to the undocumented immigrant who pays
taxes? What about those who do not pay taxes?” In all but Collier County, the participants
believed that undocumented immigrants were entitled to certain health and education bene-
fits (to the extent that U.S. citizens are entitled to these benefits) and that such a public policy would
generally benefit the country. Firstly, some participants explained that children have a constitutional
right to education, regardless of their immigration status. Moreover, in the event that the federal
government deports parents of U.S. citizen children, some commented that the government has
an obligation to provide support to that child. Even in Collier County, where participants generally



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         felt that immigrants should not receive government benefits, one participant stated that it would
         be morally difficult to deny benefits to a child but simultaneously argued that providing children
         with benefits could provide an incentive to the undocumented to migrate to the United States.
            There was much debate during several sessions over whether the undocumented pay taxes and
         whether these taxes outweigh public expenditures on the undocumented. One tax attorney in
         Topeka stated that he often prepares taxes for undocumented immigrants. An El Paso participant
         contended that anyone who pays rent is indirectly paying property taxes and undocumented
         immigrants at the very least pay sales taxes when they purchase items. Another participant
         argued that it would be very difficult to identify which undocumented immigrants pay taxes.
         In Collier County, on the other hand, several participants claimed that the expenses incurred in
         serving the undocumented outweigh the revenue gained through taxes.
         Proposed solutions and recommendations
            While there may have been disagreement on the central question of whether local law enforce-
         ment shares responsibility for enforcing federal immigration laws, common to both sides of the
         debate was a call for a national policy to provide policy consistency from locality to locality. As
         one Collier County participant stated, “How would we resolve what is fundamentally a national prob-
         lem when each jurisdiction deals with it differently?” In Arlington, law enforcement participants
         felt a national policy, or at least a regional one, would protect police chiefs against political pressure
         to enforce immigration laws. With a national policy (or at least regional), the public or politicians
         would not be able to pressure police chiefs using a comparison to a neighboring police chief’s pol-
         icy of collaboration with ICE. Moreover, participants in Arlington felt that the impact of an agency’s
         decision to actively participate in immigration enforcement is felt in neighboring cities and coun-
         ties and, therefore, it is important to have a uniform regional policy. In Topeka, where neighboring
         states such as Colorado, Oklahoma, and Nebraska have passed measures against unauthorized
         immigrants, concern was raised whether these states’ undocumented population would move to
         Kansas in the absence of similar Kansas state laws. One Arlington participant stated that Congress
         and the attorney general did an extreme disservice to local law enforcement agencies when giving
         them authority to enforce federal immigration laws. “The federal government needs to come in
         and say that enforcement of federal laws is our purview.”
            Across sites, there was also a general frustration with Congress’s inability to pass immigration
         reform and a belief that many of the problems associated with undocumented immigration could
         be resolved through both administrative and legislative reform of the federal immigration benefits
         and enforcement system. In Topeka and Collier County, some participants stated that Congress
         should increase funding to the various immigration departments within the Department of Home-
         land Security, including CBP, ICE, and U.S. Citizenship and Immigration Services, so that they can
         more effectively fulfill their respective missions. Others felt that Congress should create a pathway
         to legalization for the millions of undocumented immigrants currently in the country. Many also
         believed that the government must make the process easier for migrants to come legally to the
         United States and for the undocumented to adjust their status. In Collier County, one participant,
         who had had experience hiring temporary seasonal workers, argued that the federal government
         should make the process easier for businesses to hire temporary lawful workers.



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   Several recommendations were mentioned to improve the working relationship between police
and immigrant communities. In Topeka, the law enforcement group agreed that bilingual-pay
incentives would help attract more bilingual officers. They also believed that police departments
should offer Spanish-language training to officers. A couple of participants in different sites suggested
cultural sensitivity training for police officers. And in Arlington, participants also said that police
should teach immigrants about police and public safety issues.
   Several participants raised additional recommendations. In Collier County, for instance, a law
enforcement participant suggested broadening the T visa and U visa programs to include a broader
range of crimes (these are visas for victims of trafficking and victims of certain serious crimes that
assist in prosecutions). Also, they suggested that since it would be impractical to deport all undoc-
umented immigrants in the country, local and federal government should focus on the criminal
alien population. One civilian participant in Collier County suggested taking away all incentives for
undocumented migration, including jobs and benefits. In El Paso, where participants expressed
concern about civil rights abuses and misconduct of federal immigration officials, a participant
recommended creating civilian oversight commissions to oversee federal and local law enforcement
agencies involved in immigration enforcement. In Arlington, one participant suggested legislation
that would shield police executives from political influence.

Focus Group Sites
Topeka, Kansas
FIGURE 1. TOPEKA FOCUS GROUP SITE MAP




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            Topeka is the capital of Kansas and the most populous city in Shawnee County. The Census
         Bureau estimated Shawnee County’s population at 172,529 on average from 2005 to 2007,2 with
         Topeka’s at 121,184.3 The location is unique in that it was the only Midwest site of the focus group proj-
         ect and has a relatively small population compared with the other sites. Besides providing desired geo-
         graphical diversity, Topeka was chosen because of the importance of the immigration issue there and
         the Police Foundation’s prior history working with its police chief, Ron Miller. Chief Miller invited
         other law enforcement officials, including the Shawnee County Sheriff and members of his agency
         and a representative of the Shawnee County District Attorney and Kansas Highway Patrol.
            For the civilian session, the Topeka Police Department contacted community partners, such as
         the Law Enforcement Partnership Panel, the NAACP, and a number of Hispanic organizations,
         which were asked to extend invitations to their members. Once people started learning about the
         event, a number of additional people called the police department to request permission to attend.
         Ultimately, representatives attended the civilian session from the Topeka City Council, Kansas
         Human Rights Commission, Kansas Hispanic and Latino Commission, the NAACP, League of
         United Latin American Citizens, community-based organizations, private business, and the clergy.
         Given that Topeka is the most populous part of Shawnee County and the Topeka Police Department
         organized the event, it was no surprise that all of the community focus group participants were
         from the city of Topeka.
            During focus group discussions, reference was made to Topeka’s racial history. One of Topeka’s
         school districts was the defendant in Brown v. Board of Education, the landmark Supreme Court case
         requiring racial integration of American public schools. In addition, in the late 1980s, a group of cit-
         izens calling themselves the Task Force to Overcome Racism in Topeka formed to address the
         problems associated with racism in the city, including housing segregation, disproportionate minor-
         ity incarceration, and continuing school segregation.
            Of all the project sites, Topeka had the smallest immigrant population. According to the U.S.
         Census Bureau American Community Survey three-year estimates of 2005 to 2007, approximately
         5 percent of the population of Topeka4 and 4 percent of the population of Shawnee County5 was for-
         eign born. Of Topeka’s foreign-born residents, approximately 33 percent were naturalized citi-
         zens and 35 percent entered in the year 2000 or later.6 In both locations, only a slightly larger
         percentage of the population five years or older spoke a language other than English at home: 12 per-
         cent in Topeka7 and 8 percent in Shawnee County.8 In addition, approximately 11 percent of Topeka’s
         population identified as Hispanic or Latino of any race, 12 percent Black or African American, 1 per-
         cent Native American, and a little less than 2 percent Asian.9 Similarly, in Shawnee County, approx-
         imately 9 percent of the population identified as Hispanic or Latino of any race, 9 percent Black or
         African American, and a little over 1 percent identified as Asian and Native American.10 Shawnee
         County saw a 58.4 percent increase in its Hispanic or Latino population between 1990 and 2000,
         which is slightly above the national average growth rate of 57.6 percent.11 From 2005-2007, median
         household income in Topeka was $36,071 and median family income was $46,500; median house-
         hold income was $45,274 and median family income was $57,636 in Shawnee County. 12
            The Topeka Police Department is a medium-size police force with 338 full-time employees, 283
         of whom are sworn personnel. Of the sworn officers, 89 percent are White, 4 percent Black, 6 per-
         cent Hispanic or Latino, and 1 percent Native American.13 The Topeka Police Department saw



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slightly lower rates of reported violent and property crime in 2006 than in 1985 (see table 1),
although the number of those crimes increased during the period. For the Shawnee County Sher-
iff’s Office, the rate of reported violent crimes decreased slightly while the rate of reported prop-
erty crimes increased considerably. See table 1 for more detailed statistics.14

TABLE 1. CRIME STATISTICS FOR TOPEKA PARTICIPATING AGENCIES

  Agency                                1985                  1985             2006                  2006
                                        Violent Crime         Property Crime   Violent Crime         Property Crime
                                        Rate                  Rate             Rate                  Rate

  Topeka Police Department              580.6                 7,180            544.8                 7,123.4

  Shawnee County Sheriﬀ’s Oﬃce          226.7                 1,476.1          205.2                 3,310.6
Data Source: U.S. Department of Justice, Bureau of Justice Statistics, Crime & Justice Data Online, and Crime Trends from
FBI Uniform Crime Reports. Violent and property crime rates are number of crimes reported per 100,000 population.
Data are unavailable for some of the smaller agencies that participated. Violent crimes include murder and non-negli-
gent homicide, forcible rape, robbery, and aggravated assault. The definition of property crimes includes burglary, lar-
ceny/theft, motor vehicle theft, and arson.


    Overall, during the Topeka law enforcement session, participants made more comments about
lack of ICE responsiveness than during the other sessions. To support this claim, a representa-
tive of the Kansas Highway Patrol related an incident involving seizure of two hundred and fifty
thousand dollars worth of marijuana from undocumented immigrants. The officer called ICE to
respond but ICE did not have officers available to do so. Some participants felt that if ICE did not
respond to such a serious incident, it certainly would not have the resources to respond to all calls
for service were local law enforcement to start actively enforcing immigration law. Moreover,
because of ICE’s inability to respond in a timely manner, the local law enforcement agency
would incur significant detention (seventy-two dollars per day) and labor costs. The local agency
would also be forced to allocate valuable beds in the detention center to immigration detainees.
If the agency no longer had the space to detain all criminal law violators, it would be forced to pay
another jurisdiction to hold the prisoners. The reason this issue mainly arose in this site is
unclear, but perhaps it is due to the relatively fewer immigration resources allocated to this
region.




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         El Paso, Texas
         FIGURE 2. EL PASO FOCUS GROUP SITE MAP




            El Paso County, the westernmost county in Texas, borders New Mexico and the Mexican state of
         Chihuahua. El Paso City shares a border with Ciudad Juarez (the largest city in Chihuahua), which
         together make up the El Paso/Juarez Borderplex, the largest population center on any international
         border in the world. About 2.2 million live in the area.15 In the Borderplex region, there are four
         major border points of entry and pedestrian traffic of approximately 8.3 million annually.16 With a pop-
         ulation of 609,415, El Paso is the twenty-first largest city in the nation and was the seventh fastest grow-
         ing large city (cities with a population over 500,000) in the nation from 2000-2006.17 From 2005 to
         2007, El Paso County had an estimated population of 724,217.18 El Paso County includes El Paso City,
         Horizon City, Socorro, Anthony, Clint, and Vinton.
            Chief Richard Wiles of the El Paso Police Department, the host agency, invited law enforcement
         representatives from both El Paso County and bordering Doña Ana County, New Mexico. Doña Ana
         County includes the cities of Las Cruces and Sunland Park and borders the U.S.-Mexico border state
         of Chihuahua. A large number of the law enforcement session attendees were chiefs of police from
         these agencies. For the civilian session, Chief Wiles worked with community-based organizations to
         support efforts to get community participation. The final list of civilian session participants included



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representatives from the Border Network for Human Rights, Centro Mujeres de la Esperanza, Paseo
del Norte Civil Rights Project, Diocesan Migrant and Refugee Services, and a local private attor-
ney; most of the civilian participants were based in El Paso County.
   In addition to being border counties, El Paso County, and to a slightly lesser extent Doña Ana
County, compared with other selected sites, are unique in that Latinos are the majority population
and a significant percentage of them are eligible to vote (citizens). While the population of Latinos
is very high in the region—approximately 81 percent of El Paso County19 and 65 percent of Doña
Ana County identified as Hispanic or Latino according to three-year estimates from 2005 to 2007 of
the American Community Survey20—the growth rate in the Hispanic or Latino population in both coun-
ties was lower than the national average of 58 percent.21 El Paso County saw a 29 percent increase in
Hispanic or Latino population between 1990 and 2000,22 while Doña Ana County saw a 45 percent
increase.23
   Both El Paso County and Doña Ana County also have a foreign-born population well above the
national rate of 12.5 percent. From 2005 to 2007, the U.S. Census Bureau estimated that approxi-
mately 27 percent of residents of El Paso County were born outside the United States or its territories.
Of the foreign born, approximately 41 percent were naturalized U.S. citizens and 18 percent entered
the United States after 2000.24 In the same time period, the Census Bureau estimated that approximately
19 percent of Doña Ana County’s 193,888 residents were foreign born. Of the foreign born, 31 per-
cent were naturalized U.S. citizens and 22 percent entered the United States in 2000 or later. 25
   In both counties, the majority of the population speaks a language other than English at
home—approximately 76 percent in El Paso and 54 percent in Doña Ana County from 2005 to 2007.
During this period, median household income in El Paso was $33,684 and median family income
was $36,817. In Doña Ana County, median household income was $34,118 and median family
income was $39,453.26, 27
   The El Paso Police Department is the largest law enforcement agency in the region and has by far
the largest percentage of Hispanic or Latino officers of all agencies participating in the focus groups.
As of 2000, the El Paso Police Department had 1,351 full-time employees, 1,057 of whom were sworn.
Of the full-time sworn personnel, 24 percent were White (non-Hispanic), 2 percent Black (non-
Hispanic), 72 percent Hispanic, 1 percent Asian, and 1 percent Native American. The second largest
agency present at the El Paso law enforcement session was the Las Cruces Police Department, which
had 199 full-time employees, 141 of whom were sworn personnel. Of sworn full-time personnel, 46
percent were White (non-Hispanic), 7 percent Black (non-Hispanic), 45 percent Hispanic, and 1
percent Native American.28
   In the past twenty years, the rate of both violent and property crimes reported in El Paso City
declined considerably despite an appreciable increase in population size and despite focus group com-
ments that in recent years crimes relating to drug trafficking increased significantly and became
more violent. The El Paso County sheriff reported a slight increase in the violent crime rate, most of
this increase caused by a rise in aggravated assault charges. Murder/non-negligent manslaughter,
forcible rape, and robbery rates all declined. The other agencies with available data for the past
twenty years saw slight increases in the rate of violent crimes reported but large decreases in prop-
erty crime rates. Despite proximity to the border, El Paso City was named the second safest city in Amer-
ica (of cities with a population of 500,000 or more).29 See table 2 for more detailed statistics.30



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         TABLE 2. CRIME STATISTICS FOR SOME EL PASO PARTICIPATING AGENCIES

           Agency                               1985                    1985                 2006               2006
                                                Violent Crime           Property Crime       Violent Crime      Property Crime
                                                Rate                    Rate                 Rate               Rate

           El Paso Police Department            771.2                   6,324.9              393.5              3,370.6

           El Paso Sheriﬀ’s Oﬃce                243.7                   2,549.8              266.4              1,486.1

           Las Cruces Police Department         504.8                   8,749.9              614.6              4,661.4

           Doña Ana County Sheriﬀ’s Oﬃce        289.5                   2,231.1              331                1,367.3

         Data Source: U.S. Department of Justice, Bureau of Justice Statistics, Crime & Justice Data Online and Crime Trends from FBI
         Uniform Crime Reports. Violent and property crime rates are number of crimes reported per 100,000 population. Data
         are unavailable for some of the smaller agencies that participated. Violent crimes include murder and non-negligent homi-
         cide, forcible rape, robbery, and aggravated assault. The definition of property crimes includes burglary, larceny/theft,
         motor vehicle theft, and arson.

            Because El Paso is situated on the U.S.-Mexico border, participants had particular perspectives,
         issues, and concerns relating to the border that were not raised in other sessions. In El Paso,
         law enforcement interacts with immigrant residents, undocumented migrants who have recently
         crossed the border and are heading to the interior of the country, and Mexican visitors legally pres-
         ent in the United States with a border-crossing card. Furthermore, many residents of El Paso
         have family on both sides of the border, which influences their viewpoints on migration issues.
            El Paso and Doña Ana County law enforcement agencies, particularly those located in rural bor-
         der cities, often must respond to criminal activity specific to border communities, such as drug
         and human trafficking and the resulting violence. Some law enforcement participants expressed
         concern that these criminal problems have worsened in recent years. One participant contended
         that the Juarez and Sinaloa drug cartels have begun to enter the human trafficking business.
         These local law enforcement agencies feel overwhelmed by criminal enforcement demands
         placed on them, and for this reason the Border County Sheriff’s Coalition sought federal funds
         to address border criminal activity and to deter criminal activity by having more of a presence in
         the rural areas of the county. One participant reported a decline in trespass and burglary complaints
         from farmers since more deputies were placed in these areas.
            The discussions in El Paso often included comments about the role and presence of CBP in the
         region. In the past, as one civilian participant mentioned, the agency did not patrol beyond three
         miles of the border. Now, however, it is conducting enforcement activities further inland, patrolling
         public areas such as shopping malls. On occasion, some police agencies in the area have collab-
         orated with CBP on criminal investigations, particularly in jurisdictions where patrol resources
         are limited. For example, an officer in a more rural area may call CBP for backup.




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Arlington, Texas
FIGURE 3. ARLINGTON FOCUS GROUP SITE MAP




   Arlington, Texas, is part of the Dallas-Fort Worth-Arlington Metropolitan area, as named by
the U.S. Census Bureau, or as it is commonly named in the region, the Dallas-Fort Worth Metro-
plex. In 2006, the population of the Metroplex reached almost six million, making it the fourth-
largest metropolitan area in the United States.31 It is an enormous geographic area covering
9,286 square miles, which includes the third and fifth largest cities in Texas (Dallas and Fort
Worth). Fort Worth was the fastest growing city in the nation from July 2000 to July 2006, hav-
ing increased its population by more than 20 percent.32 The Dallas-Fort Worth Metroplex
includes the following counties that were represented in the law enforcement focus group: Dal-
las, Tarrant, Collin, Johnson, and Denton. Parker, Rockwall, Kaufman, Hunt, Ellis, and Wise
counties, also located in the metropolitan area, did not have their law enforcement agencies
represented at the law enforcement focus group session.
   According to estimates of the 2006 American Community Survey, the foreign-born population
of the Metroplex area was estimated at approximately 18 percent.33 In 2006, 56 percent of for-
eign-born residents were born in Mexico and 67 percent came from Latin America.34 In addition,
approximately 29 percent of the metropolitan area spoke a language other than English at home.35




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            Chief Theron Bowman of the Arlington Police Department invited local area police executives
         on the basis of their proximity to Arlington, agency size, and community similarities. Because this
         group regularly meets twice a month, they have had a lot of experience discussing complex
         issues, including challenges associated with immigration. Moreover, unlike other sites, almost all
         participants were chiefs of police. Sheriff’s offices in the metropolitan area were not repre-
         sented nor were the larger police departments in the region, specifically the Dallas Police Depart-
         ment and the Fort Worth Police Department.
            The Arlington Police Department collaborated with a variety of local-area partners, including
         faith-based organizations, police partners, and residential communities, to whom they drafted an
         invitation letter describing the purpose of the event and requesting that the community partners
         invite residents to attend. They used this approach to establish a layer of trust with members
         of the community who might normally feel uncomfortable attending an event hosted by a police
         agency.Many participants were too frightened to give their name and contact information, pre-
         ferring to remain anonymous; thus, we do not have specific information about the composition
         of this group, unlike the other sites.
            Since the Arlington Police Department invited focus group participants by using organiza-
         tions it worked with in the past, most civilian participants were from that city. Therefore, a more
         detailed description of its population is available. Arlington is a suburb of Fort Worth in Tar-
         rant County. The demographic profile for Arlington is quite similar to the entire metropolitan area.
         From 2005 to 2007, the U.S. Census Bureau estimated Arlington’s foreign-born population at
         19 percent, and 30 percent of the population five years old or over was estimated to speak a lan-
         guage other than English at home.36 Of the 30 percent, 71 percent spoke Spanish and approximately
         51 percent reported that they did not speak English “very well.”37 From 2005 to 2007, 32 per-
         cent of the foreign-born population were naturalized citizens and 32 percent entered in 2000 or
         later.38 Of the estimated 356,764 residents in Arlington from 2005 to 2007, 62 percent were
         White, 17 percent Black, 6 percent Asian, and less than 1 percent was Native American. Approx-
         imately 26 percent reported they were Hispanic or Latino (of any race). The city is relatively
         prosperous, with a median household income of $50,582 and median family income of $60,364.39
         According to Chief Bowman, Arlington’s population has almost doubled in the past twenty to
         twenty-five years, and most of that growth is due to increases in ethnic minority communities.
         Specifically, Arlington’s Hispanic population growth is significant, as is the unauthorized portion
         of this community, according to the chief.
            Table 3 presents brief demographic statistics of the five counties that had at least one police
         department represented in the law enforcement session and gives the reader a brief overview of
         the population served by this large number of police agencies. Important to note in this table is
         that a significant portion of the immigrant population possibly resides in the cities of Dallas and
         Fort Worth; those cities were not represented in the law enforcement session. All five counties
         experienced tremendous growth in the Latino community between 1990 and 2000. Tarrant
         County’s Latino population grew 104 percent; Dallas County’s, 110 percent; Collin County’s, 178
         percent; Denton County’s, 177 percent; and Johnson County’s, 106 percent.40 Some law enforce-
         ment group participants discussed growth not only in the Latino community but in various
         Asian and Middle Eastern communities as well.



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TABLE 3. DEMOGRAPHIC STATISTICS FOR ARLINGTON REPRESENTED COUNTIES - 2006

  County               Population           Foreign Born         Speak a Language     Hispanic       Asian
                                            (percent)            Other than English   (percent)      (percent)
                                                                 (percent)
  Dallas               2,336,012            24                   40                   37             4

  Tarrant              1,668,042            16                   26                   25             4

  Collin               695,317              17                   23                   14             10

  Johnson              146,663              6                    14                   15             .4

  Denton               585,139              13                   20                   16             5
Data Source: U.S. Census Bureau, American FactFinder, 2005-2007 American Community Survey 3-Year Estimates:
Data Profile Highlights.


   The Arlington Police Department was the largest agency represented in the law enforcement
session, with 643 full-time employees (485 sworn) in 2000 and the largest proportion of Hispanic
sworn officers, 13 percent. Sixty-nine percent of sworn full-time employees were White (non-His-
panic), 12 percent Black (non-Hispanic), 3 percent Asian, and 3 percent Native American. His-
panic composition of sworn personnel in the other police departments for which data on racial
makeup were available was less than 10 percent. See table 4 for more detailed statistics.41

TABLE 4. RACIAL MAKEUP OF ARLINGTON PARTICIPATING AGENCY SWORN PERSONNEL - 2006

  Agency               White                Black                Hispanic             Asian          Native American
                       (non-Hispanic)       (non-Hispanic)       (percent)            (percent)      (percent)
                       (percent)            (percent)
  Arlington PD         69                   12                   13                   3              3

  Irving PD            87                   4                    6                    1              1

  Plano PD             88                   5                    5                    0              1

  Grand Prairie PD     86                   7                    8                    0              0

  Mesquite PD          94                   3                    4                    0              1

  Carrollton PD        91                   2                    7                    0              0

  Denton PD            91                   2                    5                    0              2

Data Source: U.S. Department of Justice, Bureau of Justice Statistics, Crime & Justice Data Online, Law Enforcement Man-
agement and Administrative Statistics 2000 (LEMAS).




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           All police departments participating in the Arlington focus group, except for the Frisco Police
         Department, saw a decrease in property crime rates between 1985 and 2006. A little more than
         half of participating police departments also saw a decrease in violent crime rates. See table 5 for
         more detailed statistics.42

         TABLE 5. CRIME STATISTICS FOR ARLINGTON PARTICIPATING AGENCIES

           Agency                               1985                      1985                2006            2006
                                                Violent Crime             Property Crime      Violent Crime   Property Crime
                                                Rate                      Rate                Rate            Rate

           Arlington PD                         507                       8,461.1             731.2           5,271.2

           Bedford PD                           198.6                     6,414.4             510.4           3,239.5

           Burleson PD                          157.2                     6,137               187.2           3,881.5

           Carrollton PD                        195.5                     5,930.5             187.3           3,093.9

           Colleyville PD                       50.5                      3,398.6             39.1            1,311.4

           Denton PD                            666.8                     8,398.3             310.9           3,001.7

           Duncanville PD                       222.2                     6,059.4             304.3           4,014.3

           Farmers Branch PD                    210.7                     6,534.9             238.6           4,376.2

           Frisco PD                            598.1 (1988)              3,646.5             134.6           4,375.1

           Grand Prairie PD                     629.2                     8,162.2             330.1           5,038.8

           Haltom City PD                       342.8                     8,722               463.4           5,689.6

           Irving PD                            687.4                     9,095.3             426.8           4,842.9

           Keller PD                            264.8                     4,583.4             68.1            1,497.9

           Mesquite PD                          588.8                     8,315.7             371.3           4,023

           North Richland Hills PD              316.8                     6,724.6             299.1           3,758.3

           Plano PD                             167.4                     5,973.2             287.7           3,338.1

         Data Source: U.S. Department of Justice, Bureau of Justice Statistics, Crime & Justice Data Online, and Crime Trends from
         FBI Uniform Crime Reports. Violent and property crime rates are number of crimes reported per 100,000 population.
         Data are unavailable for some of the smaller agencies that participated. Violent crimes include murder and non-negli-
         gent homicide, forcible rape, robbery, and aggravated assault. The definition of property crimes includes burglary, lar-
         ceny/theft, motor vehicle theft, and arson.




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Collier County, Florida
FIGURE 4. COLLIER COUNTY FOCUS GROUP SITE MAP




   With the exception of a few representatives, law enforcement and civilian participants of the Col-
lier County focus group sessions were largely from two counties, Collier County and Lee County,
both located in Southwest Florida. In 1923, Collier split from Lee County and includes the incor-
porated cities of Everglades City, Marco Island, and the City of Naples. The unincorporated areas
of the county include Immokalee and East Naples (both had representatives at the focus group). The
population of Collier County from 2005 to 2007 was 311,926;43 Lee County’s was 567,711.44
   Both counties saw a more than doubling of their Hispanic or Latino populations from 1990 to 2000,
well above the national average. The growth rate in the Hispanic or Latino population was 137.8 per-
cent in Collier County and 178.5 percent in Lee County.45 The U.S. Census Bureau American Com-
munity Survey 2005-2007 3-Year Estimates also indicate that 25 percent of Collier County and 16
percent of Lee County were Hispanic or Latino (of any race). In addition, 24 percent of the pop-
ulation of Collier County was foreign born. Of the 76 percent of the population born in the United
States, merely 21 percent was born in Florida.46 During this same period of time, 14 percent of the
population of Lee County was foreign born. Of the 86 percent born in the United States, 24 percent
was born in Florida (similar to Collier County).47 Thirty percent of the population five years or



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         over spoke a language other than English at home in Collier County; 19 percent in Lee County did
         also. Median household income in Collier County from 2005 to 2007 was $57,166, and median
         family income was $66,846.48 In Lee County, median household income in 2006 was $49,742, and
         median family income was $57,475.49
            When county statistics for Collier and Lee Counties are disaggregated into smaller geographical
         areas, there is much variation in racial and ethnic makeup, median income, place of birth, and lan-
         guages spoken. Included within Collier County, for instance, is Immokalee, where, in 2000, 46
         percent of the population was foreign born, 71 percent was Hispanic or Latino, and 78 percent
         spoke a language other than English at home. Immokalee is also a very poor community, with
         median household income of $24,315 and a median family income of $22,628 in 2000.50 In con-
         trast, in this same year, Naples City, also in Collier County, had a foreign-born population of only 9
         percent, a Hispanic or Latino population of 2 percent, and only 10 percent of the population spoke
         a language other than English at home. Naples is also a wealthier municipality than Immokalee, with
         a median household income of $65,641 and median family income of $83,831.51
            Immokalee is the home base of the Coalition of Immokalee Workers (CIW), a community-based
         worker organization whose members are largely Latino and Haitian immigrants. It is well known
         nationally for boycotts against Taco Bell and McDonald’s, resulting in both companies agreeing to
         pay a higher price for tomatoes in order to increase workers’ wages. The CIW is also well known
         for its antitrafficking and antislavery programs with farm workers.
            Sheriff Don Hunter and his staff coordinated participation in the Collier County focus group.
         Twelve of the twenty-one law enforcement session participants were from the Collier County
         Sheriff’s Office. Seven members of the sheriff’s office attended the afternoon civilian session, six
         merely as observers. The civilian session included representatives from the Collier County School
         Board, East Naples Civic Association, Collier County Board of County Commissioners, City of
         Bonita Springs, Florida Fish and Wildlife Commission, Collier County government, Greater Naples
         Chamber of Commerce, Golden Gate Fire Commission, Collier County School District, and Marco
         Island City Council.
            No immigrant community representatives or organizations participated in the Collier County focus
         group. This site was added later in the project and there was a relatively short amount of time to
         organize the civilian session compared with the other focus group sites. Also, the Police Foundation
         had requested that elected and appointed government officials were included in the civilian session.
            In 2000, the Collier County Sheriff’s Office had 915 employees, 504 being full-time sworn per-
         sonnel. Of full-time sworn personnel, 87 percent were White (non-Hispanic), 2 percent Black
         (non-Hispanic), 11 percent Hispanic, and 1 percent Asian. The Lee County Sheriff’s Office had 910
         full-time employees, 410 of whom were full-time sworn personnel. Of full-time sworn personnel,
         94 percent were White (non-Hispanic), 3 percent Black (non-Hispanic), and 2 percent Hispanic.
         The Fort Myers Police Department had 238 full-time employees, 152 of whom were full-time sworn
         personnel. Of full-time sworn personnel, 84 percent were White (non-Hispanic), 11 percent Black
         (non-Hispanic), 5 percent Hispanic, and 1 percent Asian.52
            The Collier County Sheriff’s Office had a higher violent crime rate in 2006 than in 1985, although
         the rates have been decreasing slowly since 1999 (around the period when violent crime rates were
         relatively high in the jurisdiction). The county has seen consistent decreases in property crime



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rates since 1996. The Naples Police Department’s violent and property crime rates both dropped dur-
ing this period. As noted in table 6, the Lee and Charlotte County Sheriff’s Offices saw increases in
violent crime rates and barely any change in property crime rate between 1985 and 2006. The Fort
Myers Police Department’s property crime rate decreased; and while the violent crime rate was
slightly higher in 2006 than in 1985, the violent crime rate has been steadily decreasing since 1992,
when violent crime was at a high.

TABLE 6. CRIME STATISTICS FOR COLLIER COUNTY PARTICIPATING AGENCIES

  Agency                                1985                   1985             2006                 2006
                                        Violent Crime          Property Crime   Violent Crime        Property Crime
                                        Rate                   Rate             Rate                 Rate

  Collier County Sheriﬀ’s               383.2                  4,823.9          477.4                1,873.2

  Lee County Sheriﬀ’s                   188.4                  3,230            522.6                3,420.6

  Naples PD                             500.2                  7,218.8          240.1                3,891.3

  Fort Myers PD                         1,229.3                9,241.2          1,577.1              4,897.9

  Charlotte County Sheriﬀ’s             182.9                  3,360.6          483.9                3,505.8

Data Source: U.S. Department of Justice, Bureau of Justice Statistics, Crime & Justice Data Online, and Crime Trends from
FBI Uniform Crime Reports. Violent and property crime rates are number of crimes reported per 100,000 population.
Data are unavailable for some of the smaller agencies that participated. Violent crimes include murder and non-negli-
gent homicide, forcible rape, robbery, and aggravated assault. The definition of property crimes includes burglary, lar-
ceny/theft, motor vehicle theft, and arson.


   Because of the large Cuban population in Florida, participants in Collier County discussed
special immigration benefits and privileges granted to Cubans. Unlike immigrants from other coun-
tries, ICE will not initiate removal proceedings against a Cuban who has committed a criminal
law violation. One participant expressed his belief that Cubans should not receive such special
treatment because they are no worse off than immigrants from many other countries. Some par-
ticipants also claimed that the Castro administration provides support to Cuban smugglers, who
are smuggling not only Cubans but also other foreign nationals. One member of the U.S. Coast
Guard supported this claim, stating that the Coast Guard had recently intercepted a boat com-
ing from Cuba where nine out of eleven of the passengers were Chinese nationals. Others claimed
that Cubans are now entering the United States through the U.S.-Mexico border, and that their
smuggling networks are training migrants from other countries on Cuban accents and manner-
isms so that they can benefit from the immigration privileges extended to Cubans.




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         Endnotes
         1
          Throughout this report, the term “immigrant” is used to describe any foreign-born resident, including legal permanent residents and
         other legally present foreign nationals, naturalized citizens, undocumented immigrants, and out-of-status immigrants.
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22
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by Nancy Morawetz and Alina Das

 Introduction
   The question of whether and to what extent local police should be involved in the enforce-
ment of federal immigration law has sparked considerable debate in the current political cli-
mate. Local police departments are no doubt fielding concerns from political leaders and
residents about this issue and are struggling to determine how to respond. Some police depart-
ments may view civil violations of immigration law as being similar to violations of criminal
laws, and thus consider immigration enforcement as inherent in their law enforcement role.
They may also welcome a closer collaboration with federal authorities on these issues. At the
same time, however, some police departments may view direct involvement in federal immi-
gration law enforcement as being in tension with their traditional models of policing. Local en-
forcement of immigration law also does not mesh well with public safety models of policing,
since immigrants commit criminal offenses at lower rates than their citizen neighbors1 and local
police are already charged with the task of arresting individuals who do violate criminal laws.
In addition, local enforcement of immigration law does not appear to fit neatly into community-
based models of policing. As many police departments and community advocates have observed,
fear of deportation undermines the ability of police to garner trust in immigrant communities
and dissuades residents from contacting the police to report crime or otherwise engage in prob-
lem-solving partnerships.2
   Despite these disconnects, some localities have chosen to get involved in the direct enforce-
ment of immigration law, either by asserting that they have the inherent authority to enforce
federal immigration law or by entering into agreements with federal agencies. They have re-
vised their policing model to focus on the enforcement of an entirely different set of laws. In
doing so, however, some localities have not fully considered the legal challenges inherent in fed-
eral immigration law enforcement and the very real possibility that their actions may violate the
rights of the residents in their communities.
   This paper seeks to address these issues by delving into the legal complexities of local en-
forcement of immigration law and their implications for local liability. Who is directly affected
by the local enforcement of immigration laws and what rights do they have? What legal issues
do local police face if they become involved in enforcing immigration law on the street, in peo-
ple’s homes and workplaces, and in local jails? How is immigration enforcement different from
criminal law enforcement? What kind of liability do localities expose themselves to by taking on
immigration enforcement duties? To what degree can police count on other institutions to pro-
vide checks and balances that will mitigate these potential liabilities?
   As this paper will show, immigration enforcement is a complex business. The nuances of im-
migration law and the changing demographics of American communities create an environment
ripe for violation of the myriad rights of both immigrants of any status as well as citizens. The

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         arrest, detention, and/or transfer of custody of citizens and residents with lawful immigration
         status, the use of racial profiling to target immigrants without status, and the unlawful arrests,
         stops, and searches of immigrants in their homes and communities all raise real risks of liabil-
         ity for localities. The role of enforcing federal immigration law essentially requires localities to
         become familiar with a completely different set of rules of engagement by officers, thereby blur-
         ring lines about permissible police action and leading to the violation of the rights of the resi-
         dents of the communities they seek to protect and serve.
            The ultimate choice of any locality on its role in immigration enforcement will involve a wide
         range of factors. As part of the calculus, localities should weigh the complexity of the immigra-
         tion law enforcement task, the real risk that their actions will violate the rights of people in the
         community, and the resulting potential exposure to liability.

         I. Rights, Status, and the Changing Demographics of Immigrants
            in the United States
            Popular discussions of immigration enforcement tend to make three false assumptions about
         the people who will be affected by local enforcement of immigration law. First, they assume that
         noncitizens have little or no rights under local, state, and federal law. Second, they assume that
         the precise immigration status of individuals in the community will be easy to identify. Third,
         they assume that if enforcement does target an individual who has violated immigration law,
         only that individual will be affected by the enforcement action. Because of these false assump-
         tions, the debate over local enforcement of immigration law fails to consider significant poten-
         tial of liability for violations of the rights of community residents. This section of the paper
         clarifies the underlying misconceptions that frame the debate.
         A. The Rights of Immigrants in the United States
            Regardless of status in the United States, immigrants have numerous rights protected under
         the U.S. Constitution and local, state, and federal laws. Some people mistakenly believe that
         noncitizens have no rights under the U.S. Constitution because they lack citizenship. This is in-
         correct. Provisions under the U.S. Constitution that refer to “persons” rather than “citizens”
         apply to individuals regardless of immigration status. As the Supreme Court has explained,
         “[t]hese provisions are universal in their application, to all persons within the territorial juris-
         diction, without regard to any differences of race, of color, or of nationality.”3 Immigrants in the
         U.S. are considered “persons” within the territorial jurisdiction for purposes of constitutional
         protections regardless of how they entered the U.S. or whether they have lawful immigration sta-
         tus.4 Under this reasoning, the Supreme Court has had occasion to uphold noncitizens’ rights
         under a variety of provisions for over a century, including but not limited to the Fourth Amend-
         ment,5 the Fifth and Sixth Amendments,6 and the Due Process and Equal Protection clauses of
         the Fourteenth Amendment.7
            Some of the misconceptions over the constitutional rights of noncitizens may be due to a
         much more narrow debate over how the Fourth Amendment applies in immigration courts. For
         example, a split Supreme Court addressed the degree to which suppression rules would be re-



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laxed in the immigration court context.8 The majority denied suppression in the specific case,
but went on to say that it did “not condone any violations of the Fourth Amendment that may
have occurred” and explained that its “conclusions concerning the exclusionary rule’s value [in
immigration court] might change, if there developed good reason to believe that Fourth Amend-
ment violations by INS officers were widespread.”9 It further noted that there had been no as-
sertion that officers had violated the agency’s internal regulations or that there were any
egregious violations of the Fourth Amendment or other rights involved in that particular case.
Thus, as immigration enforcement has changed since this 1984 opinion, immigration practi-
tioners still bring motions to suppress in immigration court, addressing the issues outlined by
the Supreme Court. In any event, the decision was limited to the issue of suppression in immi-
gration court. Nothing in the opinion addressed application of the Fourth Amendment to dam-
age actions, and recent lawsuits have raised claims under the Fourth Amendment and other
rights in the U.S. Constitution.
   In addition to the rights under the U.S. Constitution, numerous rights and obligations also
flow from federal statutes, from civil rights legislation such as the Civil Rights Act of 196410 to
immigrant-specific legislation such as discrete provisions within the Immigration and Nation-
ality Act that specify rights and/or provide limits on government authority.11 Federal regulations
under these laws also provide immigrants with specific protections. At the state level, many
states have constitutional provisions that may be more expansive than U.S. constitutional rights.12
In addition, many states and localities have enacted laws to protect their residents that do not
distinguish on the basis of immigration status. Local ordinances and regulations may also pro-
vide strict guidelines delineating permissible actions towards residents and their rights to redress
violations.
   Thus, local police departments will have to account for a plethora of constitutional provisions
and laws that govern both the rights of immigrants and the obligations of law enforcement of-
ficials if they seek to expand their enforcement goals into the realm of immigration. To say that
immigration enforcement is somehow made easier by differences in the rights of immigrants
and citizens is extremely misleading. In many ways, law enforcement officers will have to con-
tend with a more complex set of laws and regulations governing immigration enforcement and
permissible state action than they usually contend with in their traditional criminal law en-
forcement activities.
B. Status and the Changing Demographics of Immigrants in the United States
   Another common misconception that has framed the debate over local enforcement of fed-
eral immigration law is the idea that the changing demographic Americans are witnessing in
their communities involves only immigrants without status and thus such individuals will be
easy to target through police efforts. This idea is flawed for two interrelated reasons. First, most
new immigrants in the U.S. have some form of legal status. Second, the status of each specific in-
dividual is not easily discernable.
   Contrary to popular belief, much of the changing demographic that Americans have witnessed
in recent years deals primarily with legal immigration to the United States. While the percent-



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          age of foreign-born individuals in the United States has risen dramatically in the last thirty years,
          the vast majority of these individuals have lawful immigration status or citizenship. The per-
          centage of foreign born in the United States population reached an historic low of 4.7 percent in
          1970; today that share has climbed to approximately 12.5 percent of the population, or 38 mil-
          lion persons residing in the U.S.13 The U.S. Department of Homeland Security (DHS), which ad-
          ministers the programs that provide immigration status and citizenship to the foreign born, does
          not maintain statistics about the size of the different components of this population.14 However,
          reliable estimates place the percentage of citizens or lawful permanent residents at approxi-
          mately 70 percent of the foreign born.15 The remaining 30 percent are unauthorized immigrants
          who overstayed their visas or those who entered the United States without permission. But even
          within this group, there are substantial numbers who have a form of lawful status or are on the
          verge of obtaining lawful status. About 300,000 have or will soon have Temporary Protected
          Status, a form of status that allows the person to work legally in the United States and that pre-
          cludes detention.16 An additional 617,000 have completed every step of the legal immigration
          process, have official permission to work, and are on the verge of being provided with lawful
          permanent resident status.17 Thus, even among those who are labeled as “undocumented” or “il-
          legal,” many have important intermediate forms of status.
             These numbers call into question whether a community is correctly characterizing the new
          immigrants that are residing in or passing through their neighborhoods. Legal immigration con-
          tinues at historically high levels. Each year, there are approximately one million new lawful per-
          manent residents in the U.S.18 Added to these are 320,000 temporary workers and dependents
          on a path to legal residence.19 Over 72 percent of new immigrants each year have lawful status.20
          On top of these numbers of permanent residents, there are millions of foreign born who come
          to the United States on temporary visas, such as student visas, business visas, and tourist visas.
          Approximately 1.1 million students study each year on student visas.21 Tourism varies by the time
          of the year, but the latest statistics are a reminder of how many foreign born visit each year. In
          February 2008, hardly the top tourist month of the year, there were 3.3 million international vis-
          itors to the United States, a 15 percent increase over the previous year.22
             There is no doubt that in some parts of the country the demographic shifts from immigration
          are striking, and residents are grappling with these demographic changes23. However, the
          changes may not reflect unauthorized immigration. In Virginia, for example, the fiscal years
          2005 through 2007 brought in almost one hundred thousand new lawful permanent residents.24
          That number constitutes 1.2 percent of the entire population of the state of Virginia.25 But these
          numbers are of lawful immigrants. While local residents might attribute changes in their envi-
          ronment to popular press discussions of illegal immigration, much of what they observe is legal
          immigration.
             Moreover, there are no readily discernable factors that accurately indicate a person’s immi-
          gration status. Some people may believe that foreign language use, or a lack of English skills, is
          necessarily a sign of unauthorized immigration. However, foreign language use is high across the
          foreign-born population. The vast majority of the foreign born use a language other than Eng-



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lish in the home.26 In addition, foreign language use is high among citizens. Nine percent of the
native-born population over the age of five—twenty-three million Americans—speaks a language
other than English at home.27 Of these native-born citizens, most speak English. But 4.7 million
report that they do not speak English “very well.”28 Thus, use of a foreign language or lack of
English skills does not necessarily mean that a person is likely to lack immigration status. Sim-
ilarly, a person’s surname is also not an accurate indicator of unauthorized immigration. For ex-
ample, while some localities particularly along the southern border might assume that a Spanish
surname is an indicator of unauthorized immigration, such an assumption is baseless—nearly 15
percent of the U.S. population is of Hispanic origin and the majority of Hispanic residents are
native-born U.S. citizens.29
   In summary, the categories of lawful immigration status are complex and commonly used in-
dicators to determine which individuals fall into which categories will often prove false. Tread-
ing into the local enforcement of federal immigration law will therefore entail a significant risk
of targeting residents with lawful status, including U.S. citizens, and may be motivated by false
assumptions about the demographic changes in the community.
C. Mixed-Status Families and the Ripple Effect of Immigration Enforcement
   Another common misconception related to the debate over local immigration enforcement is
that the purported targets of these efforts are somehow isolated from the rest of the community
by their lack of immigration status. There is no clear dividing line between citizens and nonci-
tizens within most communities, however. Nearly one in ten U.S. families with children is a
“mixed-status” family, i.e., a family with at least one noncitizen parent and at least one citizen
child.30 One in ten children living in the U.S. is a part of a mixed-status family.31 Approximately
85 percent of immigrant families (families with one noncitizen parent) are mixed-status fami-
lies.32
   Thus, the arrest and detention of an immigrant may very well affect a citizen spouse or child.
Recent studies and reports have noted the harms that U.S. citizen children have experienced
when a parent is arrested and detained during a home raid or workplace raid.33 The immediate
harms may include unlawfully detaining U.S. citizen children34 or leaving children unsupervised
while their primary caregivers are detained.35 Longer term effects for children and families may
include socioeconomic hardship, school disruptions, and emotional trauma.36
   As a matter of liability, mixed-status families present local officials engaged in immigration en-
forcement with two kinds of problems. First, they may improperly detain citizens or lawful res-
idents in the course of seeking a person without proper status. If they do so, they will be held
accountable for treading on these residents’ right to liberty. Second, they may leave minors un-
supervised as they detain their parents and thereby violate their general responsibility for the
care and well-being of the children residing in the community. Simply put, immigration en-
forcement cannot proceed on the assumption that these U.S. citizen children will not be affected
by their attempts to enforce immigration law.
   Thus, immigration enforcement is made infinitely more complex by misconceptions about
the well-ingrained legal rights of immigrants, the changing demographics of the immigrant pop-



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          ulation, and the intertwined nature of immigrants and citizens in local communities. The com-
          plexities of immigration law make it very difficult for even the most experienced and well-trained
          federal immigration officers to follow the letter of the law. These underlying complexities are
          important for localities to consider when evaluating the legal risks of undertaking immigration
          enforcement.

          II. Liability Issues in Local Police Enforcement of Immigration Laws
              In the past year, as both the federal government and local authorities have stepped up immi-
          gration arrests, the methods for identifying, arresting, and detaining those charged with viola-
          tions of the immigration laws have sparked significant litigation. These lawsuits range from class
          actions that challenge methods for arresting people in their homes or workplaces, to actions fo-
          cused on the wrongful detention or deportation of a specific individual. Some of these actions
          involve police action outside of a correctional institution. Some involve sheriffs or wardens who
          are identifying or detaining suspected immigration law violators in the local jail.
              This section of the paper serves to unpack the potential liability of state and local officials.
          First, it addresses the interplay between local and federal liability and how agreements between
          localities and the federal government affect local liability. Second, it takes a closer look at the spe-
          cific liability risks inherent in the local enforcement of federal immigration law and describes
          some of the lawsuits that community members and their advocates have initiated to challenge
          unlawful actions in the recent raids, arrests, detentions, and deportations.
          A. The Interplay Between Local and Federal Liability
             Police departments that engage in the enforcement of federal immigration law face potential
          damages, actions, and other lawsuits similar to those faced by federal authorities. A person who
          feels that a local law enforcement officer or police department violated his or her rights may
          sue to address those violations. The plethora of laws that may be at issue in a lawsuit may include
          but are not limited to numerous local and state laws, state constitutional provisions, Title VI of
          the Civil Rights Act of 1964, and various provisions of the U.S. Constitution, including the Fourth,
          Fifth, and Fourteenth Amendments. The exact contours of liability may depend both on the na-
          ture of the violations and the scope of the relationship between local and federal authorities.
             States and localities that act on their “inherent authority” to enforce immigration law, i.e., in-
          dependent immigrant enforcement efforts without a formal agreement with federal immigration
          authorities, also risk challenges to the underlying validity of their actions. Although this issue
          continues to be debated, there is substantial support for the view that localities are simply not
          permitted to engage in most forms of immigration law enforcement in the absence of a specific
          agreement with federal immigration authorities.37 There are two interrelated bases for this view.
             The first is the argument that states and localities have inherent authority to enforce federal
          law only as it pertains to criminal violations. Under this reasoning, states do not have inherent
          authority to enforce most immigration law because most immigration violations are civil, not
          criminal.38 The second argument is focused on the issue of federal preemption. Given that the
          federal government has a comprehensive scheme for enforcing immigration law, there is a strong



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argument that direct local enforcement of the immigration law is preempted by federal law.39 The
only forms of federal criminal enforcement that states and localities are arguably authorized to
engage in under this scheme are for specific federal crimes related to smuggling, transporting
or harboring,40 and illegal presence following reentry after a deportation order.41 But notably,
even in these areas, Congress has imposed limitations. With respect to reentry, Congress in-
cluded specific limitations on the reentry arrests, requiring that state and local officials first “ob-
tain appropriate confirmation from the Immigration and Naturalization Service of the status of
such individual and only for such period of time as may be required for the Service to take the
individual into federal custody for purposes of deporting or removing the alien from the United
States.”42 Indeed, the legislative history shows that Congress was careful not to provide broader
state and local authority to enforce immigration laws.43 As to smuggling, harboring, and trans-
porting, there are arguments that these provisions are meant to be interpreted narrowly to reach
classic smuggling operations and the harboring and transportation related to these operations.
Localities that seek to enforce federal immigration law through their “inherent authority” risk
making arrests that fall outside the scope of their actual legal authority.
   For these reasons and others, some states and localities seek to establish an agreement with
federal immigration authorities in an effort to prevent challenges to their authority. Section
287(g) of the Immigration and Nationality Act, a provision that Congress enacted as part of the
Illegal Immigration Reform and Immigrant Responsibility Act, authorizes the federal govern-
ment to enter into written memoranda of agreement (MOAs) with states and localities to pro-
vide for the local enforcement of federal immigration law.44 These “287(g) agreements” permit
“an officer or employee of the State or subdivision” to carry out the “function[s] of an immigra-
tion officer in relation to the investigation, apprehension, or detention of aliens . . . .”45 An offi-
cer or employee “acting under color of authority” of a 287(g) agreement may be treated as federal
employees for purposes of litigation under the Federal Tort Claims Act (FTCA), which provides
for the United States to assume tort liability for actions taken by federal employees under the
scope of their employment.46
   At first blush, these 287(g) agreements seem to provide some measure of protection for state
and local resources if facing suit over unlawful acts stemming from federal immigration law en-
forcement. However, the devil is in the details. The FTCA does not cover claims that are brought
directly under constitutional guarantees distinct from torts under state law.47 In addition, FTCA
protections do not extend to “discretionary functions” or actions taken outside the scope of the
officer’s employment.48
   Thus, lawsuits challenging a locality’s actions will inevitably focus on activities that lie out-
side the 287(g) agreement. The DHS Bureau of Immigration and Customs Enforcement (ICE)
has specified that the “287(g) program is not designed to allow state and local agencies to per-
form random street operations” and “is not designed to impact issues such as excessive occu-
pancy and day labor activities.”49 ICE guidelines have clarified that “[p]olice cannot randomly
ask for a person’s immigration status or conduct raids” and may not use traffic offenses as a pre-
text for questioning individuals about their immigrations status.50 Furthermore, 287(g) agree-



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         ments do not cover conduct that constitutes racial profiling.51 State officers operating under a
         287(g) agreement will not be treated as federal officers for purposes of the FTCA if they fail to
         follow these guidelines.
            Thus, as a whole, 287(g) provides very limited protection to localities and their officers, and
         may even introduce new dangers in liability. Section 287(g) provides that states and localities
         may carry out its functions only “at the expense of the State or political subdivision” and only “to
         the extent consistent with State and local law.”52 At the same time, however, the officer or em-
         ployee taking on this role will be “subject to the direction” of the Attorney General.53 If federal
         officers, untrained in state and local law, direct a state or locality to participate in an operation
         or series of arrests in a way that is inconsistent with state and local law, there are no protections
         under 287(g). Thus, regardless of federal officials’ involvement, states and localities must as-
         sure that their practices comport with local and state laws, including state court rulings on state
         constitutional analogs to the Fourth and Fifth amendments, as well as other requirements under
         federal guidelines, federal statutes, and the U.S. Constitution.
         B. Liability Risks: An Overview of Recent Lawsuits Challenging Immigration
            Enforcement Actions
            As the overview above describes, the local enforcement of federal immigration law involves
         a minefield of potential litigation and liability for police departments and localities. The Lawyers
         Committee in San Francisco alone reports that it has settled eight cases over the last ten years
         for a total of $642,500.54 This section of the paper describes some of the most recent public law-
         suits in varying locales that have exposed unlawful actions by states and localities, often in co-
         operation with or under direction of the federal government, when engaging in immigration
         law enforcement whether on the street, in people’s homes or workplaces, or in the local jail.
             1. Liability Stemming from the Arrest and Detention of U.S. Citizens
                and Other U.S. Residents
            Several localities have been sued in recent years due to the arrest and detention of U.S. citi-
         zens, lawful permanent residents, and other immigrants with lawful status. As explained above,
         immigration law is incredibly complex. Officers who make immigration arrests or detain indi-
         viduals on the street, workplace, home, or jail will rarely have firsthand evidence of the status
         of a person. Instead, assuming there is a lawful basis for a stop or other questioning, they will be
         making judgments about whether the person is a citizen, an immigrant with some other form of
         lawful status, or an individual who lacks status altogether. These are not easy judgments and
         erroneous determinations create a risk of liability.
            The first danger is of targeting U.S. citizens. This occurs when law enforcement officers im-
         properly arrest and detain U.S. citizens for immigration violations or misidentify U.S. citizens in
         the local jail as noncitizens, holding and transferring them into immigration custody. While
         shocking, such occurrences are not uncommon. Citizenship law is complicated. Many persons
         born abroad are citizens as a result of the status of their parents or grandparents.55 They may not
         know the details of their citizenship, or even that they are citizens. Other citizens do not carry
         or possess any proof of their status. As many as 13 million Americans do not have ready access



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to proof of citizenship (such as a birth certificate, U.S. passport, or naturalization certificate).56
The problem is more pronounced for various segments of the population. Citizens with incomes
under $25,000 are twice as likely to lack citizenship documents as citizens with incomes above
$25,000.57 Twenty-five percent of African Americans lack any form of government-issued photo
identification.58 As many as 32 million American women who have married do not have citi-
zenship documents reflecting their current name.59 Thus, lack of documentation does not nec-
essarily mean that an individual is not a U.S. citizen. When a question about citizenship arises,
however, there is no national database of citizens to resolve those questions. DHS can only an-
swer questions about people who have been processed by that agency. Most citizens, however,
have never had a file with DHS. DHS itself has reportedly detained and even deported U.S. cit-
izens despite its own purported expertise in this area of law.60 Similarly, local jails that attempt
to engage in screening make the predictable error of issuing detainers on some citizens, im-
properly holding them for transfer into immigration custody instead of releasing them.61
   A second danger is of arresting, detaining, holding, and transferring into immigration cus-
tody some immigrants with lawful immigration status who are not subject to removal. Immi-
grants who have been granted lawful permanent residence, for example, maintain that status
regardless of whether their permanent resident card (or “green card”) itself is expired; only a
final removal order can terminate lawful permanent residence status.62 Thus, many individuals
with expired lawful permanent resident cards have diligently applied for and are still awaiting
their replacement cards due to the government’s delay, as described in a recent lawsuit chal-
lenging DHS’s failure to provide cards in a timely manner for certain individuals.63 In any event,
such individuals still have lawful status and any false arrest and unlawful detention would be
grounds for a lawsuit.
   Similarly, individuals without lawful permanent residence status may nonetheless have other
forms of immigration status that would make their arrest and detention on immigration grounds
unlawful. For example, many individuals have been granted Temporary Protected Status (TPS),
which is granted to persons who are from countries that are suffering from natural disasters or
ongoing armed conflict or other extraordinary conditions.64 It is available to persons who crossed
the border without inspection and even to those with outstanding removal orders if they oth-
erwise meet eligibility requirements.65 The documentation for TPS, however, is chronically out
of date. Each year, applicants must apply to renew their status.66 The government does not
process their applications in time, however, for them to have a new document before their cur-
rent documents expire. Nonetheless, their status is considered valid and the government posts
a notice in the federal register stating that employment authorization is automatically extended
beyond the date on their existing cards.67 Individuals with TPS are statutorily prohibited from
being detained based on status.68
   Given the serious violations inherent in the arrest and detention of U.S. citizens and residents
with lawful immigration status in the name of immigration enforcement, such actions carry se-
rious liability risks. Recent lawsuits that have been made public chronicle outrageous cases of
botched federal and local enforcement of immigration law against U.S. citizens and other resi-



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          dents. In one recent case, federal and local Los Angeles officials, including the sheriff, were sued
          for improperly causing the detention and deportation of Pedro Guzman, a cognitively impaired
          United States citizen.69 Mr. Guzman was serving time for a misdemeanor charge in a local jail
          when local criminal justice officials, through a special pilot project established through an MOA
          with DHS, misidentified Mr. Guzman as a noncitizen, placing an immigration detainer on him
          in the local jail and then transferring him to ICE, which eventually deported him—despite the
          fact that Mr. Guzman was born in the U.S.70 Pedro Guzman’s case was a major news story since
          it took months for Mr. Guzman to be located and returned to his family.71 The particular facts of
          his case have yet to be fully developed, but it is possible that his cognitive impairment played
          some role in his deportation. If so, it would follow a reported pattern in which the cognitively
          impaired or mentally ill are misidentified as noncitizens.72
              In addition to actions resulting in unlawful deportation, unlawful stops, searches, question-
          ing, arrests, and detention of U.S. citizens and residents also carry serious liability risks. In one
          recent case, filed as a class action against Maricopa County, Arizona, Maricopa County Sheriff’s
          Office, and Maricopa County Sheriff Joe Arpaio, four U.S. citizens and one individual with law-
          ful status at the time of his arrest describe having been unlawfully stopped, detained, and ques-
          tioned by Maricopa County Sheriff’s Office officials based on their efforts to enforce immigration
          laws through a 287(g) agreement.73 In New Jersey, several U.S. citizens, lawful permanent resi-
          dents, and an individual with TPS joined other immigrants challenging home raids conducted
          by ICE and the Penns Grove Police Department, describing the raids, questioning, seizure of
          documents, and/or arrests in their homes despite their lawful status.74
              These are only a few public examples of the myriad cases involving lawsuits against locali-
          ties attempting to enforce complex immigration law. They add to the already long list of law-
          suits against ICE practices that ensnare people with lawful status, including highly publicized
          lawsuits such as a damages action following the wrongful arrest and detention of a nine-year-
          old U.S. citizen75 and a damages action with 114 administrative complaints challenging a work-
          place raid that involved the detention and search of scores of U.S. citizens and lawful permanent
          residents.76 Police departments that engage in federal immigration law enforcement can hardly
          expect to be better at identifying individuals without lawful immigration status than federal im-
          migration agents, and open themselves up to liability for violating the rights of community res-
          idents.
             2. Liability Stemming from the Use of Racial Profiling as a Method
                of Enforcing Federal Immigration Law
             Racial and ethnic profiling is a real risk in state and local immigration enforcement of federal
          immigration law. Enforcement without profiling requires some individualized suspicion related
          to the individual who is stopped and questioned or otherwise investigated. But what will con-
          stitute individualized suspicion? As explained above, immigration status is a complex legal issue.
          Local officers will not be able to “observe” an immigration violation the way they might observe
          a violation of criminal law. Under such circumstances, there is a serious risk that the grounds for
          suspicion will in fact be nothing more than a series of assumptions that begin with a profile



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about people who speak another language or have a particular racial or ethnic profile. Indeed,
the federal government has long been criticized for using racial profiling in its efforts to enforce
immigration law.77 A statistical study of data gathered through the Freedom of Information Act
found substantial evidence of profiling in the New York office of the Immigration and Natural-
ization Service, the precursor agency to DHS.78 Such tactics may well be ingrained in certain
federal immigration enforcement efforts.
   Despite its ubiquitous nature, racial profiling is unlawful and has subjected law enforcement
officers to liability.79 Even localities engaged in racial profiling under the direction of federal im-
migration agents will not escape liability for these actions. Under 287(g) agreements, localities
have no protection from claims that they have engaged in racial profiling. The 287(g) agree-
ments have specifically provided that officers exercising authority under the MOA are bound by
all federal civil rights statutes and regulations, explicitly including the U.S. Department of Jus-
tice 2003 guidance, “Guidance Regarding the Use of Race by Federal Law Enforcement Agen-
cies.”80 As the federal guidance states: “Reliance upon generalized stereotypes is absolutely
forbidden. Rather, use of race or ethnicity is permitted only when the officer is pursuing a spe-
cific lead concerning the identifying characteristics of persons involved in an identified crimi-
nal activity.”81
   In the lawsuit against Maricopa County, its Sheriff’s Office, and Sheriff Arpaio, allegations of
racial profiling are front and center. The plaintiffs allege that the defendants have engaged in a
pattern and practice of racial profiling that includes the use of sweeps involving “pretextual and
unfounded stops, racially motivated questioning, searches and other mistreatment, and often
baseless arrests” as well as “widespread, day-to-day targeting and mistreatment of persons who
appear to be Latino.”82 The named plaintiffs in the complaint detail several disturbing incidents
where police officers targeted individuals with Latino appearance during sweeps and arrests.83
The plaintiffs allege that these actions violate the civil and constitutional rights of the class, cit-
ing violations of constitutional rights including the right to equal protection and the prohibi-
tion against unreasonable search and seizure; violations of the prohibition against racial
discrimination by federally funded programs in Title VI of the Civil Rights Act of 1964, 42 U.S.C.
§ 2000d and its implementing regulations; and violations of the Arizona State Constitution Art.
II, § 8, which provides that “No person shall be disturbed in his private affairs, or his home in-
vaded, without authority of law.”84
   Similarly, several immigrant plaintiffs brought a lawsuit against ICE agents and the mayor, po-
lice chief, and individual police officers in Danbury, Connecticut, raising claims under state and
federal law.85 The lawsuit challenges the “discriminatory and unauthorized enforcement of fed-
eral immigration laws against Latino residents” and alleges that the police “have repeatedly and
knowingly made illegal civil immigration arrests, engaged in impermissibly discriminatory law
enforcement, and retaliated against residents for expressive activities secured by the First
Amendment.”86 The lawsuit challenges the city’s discriminatory targeting of a group of day la-
borers as well as its use of racial profiling and pretextual stops to enforce civil immigration law,
particularly in terms of the use of civil immigration violations found in the National Crime In-



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         formation Center database to make unauthorized civil immigration arrests.87 Because Danbury
         has taken on these actions without engaging in any 287(g) agreement with federal immigration
         officials, the lawsuit raises federal preemption arguments in addition to the other legal claims.88
            Racial profiling is also the focus of a lawsuit against Sonoma County and the Sonoma County
         Sheriff’s Department in Sonoma County, California. The lawsuit, brought by several individu-
         als and the Committee for Immigrant Rights of Sonoma County, alleges that sheriff’s deputies,
         both with and without assistance from DHS immigration agents, “use race as a motivating fac-
         tor in traffic stops and other detentions,” unlawfully targeting, interrogating, and detaining
         Latino residents of Sonoma County for purposes of immigration enforcement.89 The lawsuit
         challenges the authority of the county to engage in this immigration enforcement as well as the
         county’s denial of the constitutional, statutory, and regulatory rights of immigrants once held in
         the county jail for immigration purposes.90
            Allegations of racial profiling and bias have also been raised in the context of identifying—
         and misidentifying—individuals as deportable immigrants while in criminal custody in local
         jails. The lawsuit against the Los Angeles County Sheriff’s Department for the deportation of a
         U.S. citizen alleges that the plaintiff, Mr. Guzman, “was selected for interview [by the local law
         enforcement officer who works with DHS] based solely on his perceived race, ethnicity and na-
         tional origin” and that that the Los Angeles County Sheriff’s Department thus “unconstitution-
         ally discriminated against plaintiff Guzman on the basis of his race and ethnicity...by causing or
         participating in the illegal deportation of Mr. Guzman.”91 The lawsuit also alleges inadequate
         training of the local law enforcement officials.92
            Given the complexities of immigration law, it may not be uncommon for federal immigration
         agents and local police officers alike to fall back on racial profiling tactics to identify people who
         may be in violation of civil immigration law. Once such tactics are used, the violations may be
         widespread, as the plaintiffs in these lawsuits attest. Thus, states and localities that are consid-
         ering whether to engage in federal immigration law enforcement must question how their offi-
         cers will be able to conduct these activities and identify individuals who have violated
         immigration law without engaging in racial profiling.
             3. Liability Stemming from Unlawful Arrests, Searches, and Seizures and Other Common
                Immigration Enforcement Tactics
            In addition to the problems described above, local police also face a substantial risk of liabil-
         ity in performing immigration tasks due to the differing rules of engagement between tradi-
         tional police work and immigration law enforcement. As police departments are well aware, the
         laws of criminal enforcement are complex and regular training is essential to ensure that rights
         are respected and evidence is admissible in any subsequent prosecution. Adding immigration en-
         forcement into this mix, which differs in substantial ways from what is considered permissible
         police conduct in the criminal investigation context, changes the rules of engagement. Violating
         these complex rules could lead to significant liability for localities.
            A key area of confusion for local police who have been involved in home raids and arrests in-
         volves the scope of the arrest warrant. In the criminal sphere, an arrest warrant is issued by a



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judge upon a showing of probable cause.93 The underlying information for the warrant is likely
to be supplied by an affidavit of an officer who has investigated the case and can provide sworn
testimony about the probable cause for believing that the target has committed a crime.94 The
arresting officer may go to the home to execute the warrant and is expected to follow a knock
and announce procedure.95 If the suspect does not open the door, the officer may force open the
premises and arrest the individual named in the warrant.96 Once arrested, the individual is pro-
vided with a right to counsel and will be arraigned within a short time.97 If there is a major mis-
take in the original ground for the arrest, it may well be discovered by the prosecutor and defense
lawyer, and lead to a dismissal of the charges.
   Consider the contrasting rules and institutional structure for an immigration arrest. An admin-
istrative warrant is issued by one of a wide array of immigration officers, often on the basis of lim-
ited paper information. There is no process for a sworn statement reviewed by a neutral judge or
other officer. The warrant may be based on data that is old and out of date.98 Once the warrant is
prepared, the officers may go to the place believed to be the home of the person named in the war-
rant. They do not have the right, however, to enter the home without consent.99 Once they arrest
the individual on civil immigration grounds, they may detain the person and there is no right to an
attorney at government expense.100 As a result, it is very possible that a mistake will go undetected
and that an individual who was not in fact subject to arrest will remain detained.
   Because officers do not have the right on an administrative warrant to enter a home without
consent, the key to the execution of an immigration home arrest focuses on the issue of consent.
When an individual sees a police officer at her door, however, she may assume that she has no
choice in the matter. A person who consents believing that the police would otherwise be au-
thorized to gain entry forcibly cannot be said to have consented. Police officers may face simi-
lar confusions, not understanding the limitations of an administrative warrant. When the target
of a warrant does not answer the door, for example, local police might presume that they are
free to force their way into a home. Similarly, they may presume that the warrant bears the safe-
guards and relative reliability of the criminal law system and may be surprised to find that the
person specified in the administrative warrant is not the person they find in the targeted home.
Simply put, the “warrant” for an immigration arrest—a defining instrument of police authority
under other regimes—is a highly misleading document for police who are accustomed to en-
forcing criminal laws.
   Thus, it comes as no surprise that home raids have sparked litigation over the tactics in exe-
cuting administrative immigration warrants or otherwise attempting to enter homes and arrest
individuals without a valid warrant. In Minnesota, a group of U.S citizens, lawful permanent
residents, and other immigrants filed a lawsuit challenging the legality of methods used by ICE
and several local law enforcement officials as part of “Operation Crosscheck.”101 Through this op-
eration, an officer with Kandiyohi County Probation Service “collected information regarding
persons under her supervision who, in her determination, had been ‘born in foreign countries’
and concluded were ‘here illegally.’”102 She contacted ICE officials in Minnesota with a “‘dossier
of foreigners’ for their inspection.”103 ICE and local law enforcement officers from several area



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         police departments used this information to engage in warrantless home raids that resulted in
         the unlawful arrest and detention of numerous individuals, including children.104 The lawsuit as-
         serts that ICE and the local law enforcement officers violated the plaintiffs’ constitutional and
         statutory rights through these warrantless arrests, searches, and seizures and other unlawful
         practices during the raids.105
            Similar lawsuits have also arisen in response to home raids as part of “Operation Return to
         Sender,” a “fugitive” enforcement action that targets immigrants who have been ordered de-
         ported but have not left the country. In New Jersey, for example, a group of U.S. citizens, immi-
         grants with lawful status, and other immigrants filed a lawsuit challenging the legality of
         methods used by ICE and local police in carrying out “Operation Return to Sender.”106 Accord-
         ing to the lawsuit, the operation was carried out unlawfully and in fact did not target these al-
         leged absconders. The complaint alleges that the agents used deceptive tactics or force to gain
         entry into the home and proceeded to interrogate everyone in the home without any individu-
         alized suspicion.107 The complaint further alleges that these operations are conducted without
         adequate prior investigation, thereby leading to the harassment of people without reasonable
         cause to expect a “fugitive” to be in the relevant location.108 Many of the individuals were wrongly
         arrested despite having valid status and/or otherwise treated harshly while detained.109 For these
         violations of their rights, the plaintiffs are seeking compensatory and punitive damages as well
         as injunctive relief under federal and state constitutional law.
            A similar lawsuit was filed in New York as a class action, also challenging ICE’s tactics against
         residents under “Operation Return to Sender.”110 The complaint alleges that the agents used de-
         ceptive tactics—including announcing themselves as “police”—during predawn raids in people’s
         homes.111 The complaint further notes the lack of consent in ICE’s entry as well as the agents’
         questioning and rough treatment of residents who were not listed as “fugitives.”112 Notably, the
         complaint cites the statements of public officials within Nassau County government expressing
         their frustration with ICE. In a public letter to the local Agent-In-Charge of ICE, Nassau County
         Commissioner of Police Lawrence W. Mulvey stated that ICE had misled the Nassau County
         Police about the nature of the raids and that the people arrested were not the purported targets
         of the raids.113 Noting that the ICE agents acted with a “cowboy mentality,” Police Commissioner
         Mulvey criticized the inaccurate information they used for the investigation, including their use
         of incorrect addresses for the targeted homes and, in one instance, their attempt to look for a 28-
         year-old suspect using a photograph of the suspect when he was seven years old.114
            The inaccuracies that plagued these home raids described in these lawsuits are not iso-
         lated. A study by the DHS Inspector General has observed that the data relied upon by ICE’s
         fugitive teams is inaccurate in up to 50 percent of cases.115 Community groups have struggled
         to educate residents about their rights under the varying laws, but as the lawsuits demon-
         strate, many individuals are afraid and feel coerced when confronted with predawn opera-
         tions at their homes. Local police departments may seek to consider whether to get involved
         in any such operations given the inaccurate and incomplete information and unlawful prac-
         tices that are often involved.



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  4. Other Areas of Local Involvement in Potential Litigation
    While many of the most recent lawsuits have focused on the problems described above, the
local enforcement of federal immigration law may lead to numerous other types of unforeseen
areas of liability and increased involvement in litigation. These include but are not limited to
litigation over the conditions of confinement, the treatment of minors, the release of informa-
tion about the policies and practices of the police department, and increasing involvement in
immigration court litigation.
    First, localities face considerable litigation concerning the conditions of confinement in local
area jails that hold immigrant detainees. While localities may enter into formal agreements with
the federal government to hold immigrant detainees, the federal government has pointedly ar-
gued that the states and localities that agree to hold detainees are solely responsible for the qual-
ity of their care under applicable intergovernmental service agreements and contracts.116 They
argue that these state and local facilities are “independent contractors” and are therefore not
within the scope of the FTCA.117
    Second, localities must face the real and pressing question of how children will be treated if
and when police conduct arrests and raids. ICE has been highly criticized for detaining sole
caregivers and children present during raids. For example, during a workplace raid in New Bed-
ford, Massachusetts, community residents complained that ICE had given little notice to social
welfare agencies and a significant number of children were left unsupervised while their parents
were detained and even transferred out of state.118 In another example involving a highly publi-
cized home raid that resulted in a lawsuit, ICE agents arrested and detained a nine-year-old U.S.
citizen for twelve hours, after his father showed the agents the child’s U.S. passport and asked
to arrange for someone to watch him.119 In the Minnesota lawsuit challenging “Operation Cross-
check,” sixteen children are included as plaintiffs challenging warrantless home raids in which
the children themselves were arrested and detained.120 These types of acts have instigated law-
suits and will no doubt result in liability risks for states and localities that engage in similar prac-
tices.
    Third, many localities have been drawn into “freedom of information” litigation. In the Dan-
bury lawsuit, for example, the immigrants’ lawyers filed a state freedom of information law re-
quest to obtain documents related to the arrest of a group of day workers.121 The hearing on the
request involved testimony by the city police chief, the chief of detectives, the mayor’s chief of
staff, and the deputy corporation counsel.122 In some of these freedom of information cases, the
state may not be free to defend the action as it sees fit. In one case, the federal government ap-
peared in the state freedom of information action to present the position of the United States in
opposition to release of the records that the sheriff used to place an immigration detainer on an
individual who had a “hit” on the NCIC database.123 Ultimately the state was ordered to make the
disclosure.124 But in the meantime, the litigation was prolonged by the federal position against
release of information.
    Fourth, localities may find themselves being drawn increasingly into immigration court. Im-
migration proceedings differ significantly from criminal proceedings. In most cases, the court



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         decides a binary question—whether to deport or not deport. There is no opportunity to plead to
         reduced charges or otherwise achieve compromise. That means that in cases where the immi-
         gration law offers no relief if the case goes forward, there is a premium on proving that the ar-
         resting officers violated applicable regulations or otherwise made a wrongful arrest. Police errors
         are therefore more likely to be at the center of attention. This issue may arise in two different
         ways. First, an individual may move to terminate the proceedings based on an argument that
         the officer violated applicable regulations.125 This kind of claim necessarily involves questions
         about what happened in connection with the arrest. It is therefore standard procedure in these
         kinds of cases to subpoena the officer to testify about the arrest. Secondly, immigration cases, like
         criminal cases, may involve motions to suppress evidence, such as statements made by the per-
         son arrested or documents obtained through the arrest.126 These motions also involve subpoe-
         nas of the arresting officers to inquire into the circumstances surrounding the particular arrest
         but may also involve an inquiry into the general practices of the arresting agency. Thus locali-
         ties may find the actions of their officers and their general practices and policies increasingly at
         issue in immigration court.

         Conclusion
            Many of the issues surrounding state and local liability for immigration enforcement have yet
         to be resolved. Indeed, some of these issues may not be resolved for many years as immigration
         enforcement practices change and as cases work their way through the courts. But the risks for
         states and localities are very real. These risks must be considered as states and localities decide
         whether to take on enforcement of immigration law.




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         66
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         67
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                                                  APPENDIX C
       Making Civil Liberties Matter in Local Immigration Enforcement



by Raquel Aldana

   Every month, the United States Immigration and Customs Enforcement (ICE) Law Enforce-
ment Support Center (LESC) responds to over 60,000 queries from local law enforcement about
foreign nationals they encounter in the course of their daily duties.1 In fiscal year 2005 alone, LESC
responded to 676,502 such immigration queries,2 representing an exponential increase from
only 4,000 queries nearly a decade earlier.3 This trend coincides with the “force multiplier” that
has resulted from the involvement of local law enforcement in enforcing federal immigration laws,
particularly post 9/11.4 Thousands of local police, state troopers, correctional facilities staff, and
other law enforcement personnel assist ICE to detect, arrest, detain, and turn over foreign
nationals who are present in the United States in violation of civil or criminal immigration laws.
To do so, local law enforcement agencies either rely on express statutory authority or claim
inherent powers to enforce federal immigration laws. The claimed source of power to enforce
immigration laws is relevant to assess local law enforcement’s legality and scope of authority
to enforce federal immigration laws. In this paper, therefore, I first address the issue of source and
scope of local powers to enforce federal immigration laws, as this is also pertinent to the discussion
of civil liberties that belong to immigrants and citizens alike who encounter these practices.
Next, I explain the civil liberties concerns that arise from local law enforcement’s involvement
in immigration enforcement and offer recommendations for ensuring greater civil rights com-
pliance by law enforcement agencies if they choose to enforce immigration laws. Finally, I explain
immigrants’ rights during these police encounters.

I. The Source and Scope of Local Law Enforcement Agencies’ Power to Enforce
Federal Immigration Law
   Congress cannot compel local law enforcement to enforce immigration laws, but it can and has
conferred express authority to permit federal local law enforcement officers to voluntarily
enforce certain provisions of the Immigration and Nationality Act (INA). To date, Congress has
chosen to confer this power only with respect to a limited number of criminal provisions in the
INA (see subpart A below). In addition, in 1996, Congress authorized cooperation agreements
between federal immigration and state law enforcement agencies, which have in some cases
significantly expanded the scope of local immigration enforcement authority (see subpart C
below). The newness of these cooperation agreements and the limited resources for their imple-
mentation are the reasons why most local law enforcement agencies still rely on claims of inher-
ent authority to make arrests for violations of most federal immigration laws. This claimed
inherent local law enforcement power to enforce federal immigration laws minimally is plagued
with lack of clarity and, worse, its legality per se is still in question (see subpart B below).
   In understanding this debate, therefore, it is important to understand the legality—and consequently
the implicated civil rights of immigrants in relation to local law enforcement—of immigration laws.
Finally, not all localities have heeded the call to enforce immigration laws for various policy reasons,
including limited resources and concerns over hurting local police community relations with immi-

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         grant communities. Some of these cities, thus, have opted instead to enact so-called “sanctuary
         laws” to forbid all or certain types of local police collaboration with ICE. Since 1996, however, fed-
         eral law bans state laws that seek to forbid state employees from reporting immigration violations
         to ICE (see subpart D below). The issue therefore becomes the need for local law enforcement to
         resolve these seeming conflicts between state and federal law.
         A. Congressional Delegation of Authority to Local Law Enforcement to Enforce Specific
            Immigration Violations
            Most provisions of the INA codifying immigration violations do not delineate which law
         enforcement officers have the authority to enforce them. A few sections, however, expressly
         assert that state and local officers have the authority to enforce them. These sections are:
            I INA § 274: Arrest authority to enforce prohibitions against transporting and harboring cer-

              tain aliens.5
             I   INA § 276: Authority to arrest and detain re-entry offenders; that is, previously deported immi-
                 grants with a felony conviction who are found present in the United States.6
             I   INA § 103(a)(8): Confers emergency powers on the Secretary of Homeland Security (DHS)
                 to authorize “any State or local law enforcement officer” to enforce federal immigration
                 laws in the event the Secretary certifies that “an actual or imminent mass influx of aliens arriv-
                 ing off the coast of the United States or near a land border” exists.7
             I   INA § 287(g): Authorizes immigration enforcement agreements between the Immigration
                 and Customs Enforcement (ICE) and local law enforcement agencies (see subpart C below).
           In addition to these provisions delegating specific immigration enforcement powers to local
         law enforcement, Congress has provided some resources to defer costs and for information shar-
         ing to facilitate cooperation between local and federal agencies. In 1994, Congress appropriated
         funds for the creation of the LESC to serve as the point of contact between police who apprehended
         possible noncitizen felons and ICE.8 In 1996, Congress authorized the Attorney General (now the
         Secretary of DHS) to make payments to the states for the detention of undocumented immi-
         grants in nonfederal facilities.9 Then in 1998, Congress established Quick Response Teams
         (QRTs), used by INS and then ICE to respond to immigration arrests made by state and local
         police.10 Eventually, ICE discontinued QRTs, as such, and now offers states and localities enforce-
         ment assistance through various programs.
           The selective nature of congressional delegation of immigration enforcement powers strongly
         suggests that Congress did not intend for local law enforcement to possess broader authority
         than that expressly provided. If such broader authority exists, then the express delegation would
         be superfluous.11 The issue of whether states possess inherent authority to enforce immigration
         laws other than the authority expressly delegated by Congress is not settled, however. As the
         next section explains, the lack of clarity in this area of the law has led states and localities to
         reach contradictory conclusions on the issue.
         B. Local Law Enforcement’s Inherent Authority to Enforce Immigration Law?
            The question on inherent authority asks whether states have the power to make arrests for vio-
         lations to either criminal or civil federal immigration law or both without express congressional



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authorization. To date, there is fierce disagreement on the legal response. While some defend states’
inherent right to make both civil and criminal immigration arrests,12 others conclude that no
such state inherent power exists because the enforcement of immigration law is an exclusive
federal power that must be enforced uniformly by one sovereign in light of immigration laws’ impli-
cations on foreign policy.13 At a minimum, these scholars maintain that states can enforce federal
immigration laws only to the degree that express congressional delegation authorizes.14
   In practice, the legal resolution regarding the scope and nature of inherent local immigra-
tion enforcement authority does not apply to every encounter between noncitizens and local
law enforcement. Much of local immigration enforcement occurs in the course of ordinary local
policing work; e.g., during traffic stops or in the course of community policing functions or other
criminal investigations. Thus, local law enforcement officers possess an independent state
ground, even if pretextual, for detaining or even arresting the immigrant. As such, local law
enforcement need not rely on any inherent immigration law enforcement authority to effectuate
the detention or arrest. Moreover, almost always courts will treat inquiries, including by local law
enforcement agents, into the detainees’ immigration status as consensual encounters. There-
fore, such inquiries do not constitute a separate immigration-related seizure, at least not under
the Fourth Amendment. (see Part II.) Thus, in cases in which the immigrant is detained or
arrested pursuant to independent state grounds, local law enforcement officers need not rely
on the inherent authority doctrine at all to collaborate with ICE. Pretextual challenges to these
types of encounters, moreover, are unlikely to succeed, at least under the Fourth Amendment (see
Part II.) There may be other challenges to these types of encounters, such as the legality of
including civil immigration violations in the NCIC databases, or racial profiling challenges under
federal civil rights statutes (see Part II).
   Still, generally, the relevance of inherent authority to enforce immigration law violations
arises only when local law enforcement officers detain or arrest a person solely on the basis of an
immigration violation. Such would be the case, for example, when police encounter passengers
in a car during a routine traffic stop and detain or arrest the passengers, in addition to the driver,
for immigration violations unrelated to the traffic stop. In such cases, neither Congress nor the
courts, nor immigration federal agencies for that matter, have provided clear guidance to states
on the issue of inherent authority.15
   Congress’s delegation of some immigration enforcement powers to states, without more, does
not put to rest whether states are able to act beyond those delegated powers. The Supreme
Court16 and several federal appellate courts, including the Second,17 Fifth,18 and Seventh Cir-
cuits,19 have long recognized that state law controls the validity of state law warrantless arrests
for federal crimes, even when Congress has not directly authorized it. In the immigration con-
text, however, only three federal circuit courts, the Ninth, the Tenth, and the Fifth, have weighed
on the specific question of whether local law enforcement possesses inherent authority to make
arrests for immigration offenses which have not been preempted by federal law.20 A circuit split
exists between the Ninth Circuit recognizing an inherent, nonpreempted local law enforcement
power to make such arrests, but restricting it to violations of federal criminal immigration laws21
and the Fifth22 and Tenth Circuits23 subsequently concluding similarly on the preemption issue,
but without drawing the same distinction between civil and criminal offenses. In addition, the Third



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         Circuit has recently upheld the legality of a warrantless arrest executed by local law enforcement
         for an immigration criminal violation without expressly addressing local law enforcement’s
         authority to engage in that type of law enforcement in the first place.24
            The uncertainty of states’ authority to make arrests for immigration violations has been made
         worse by conflicting opinions issued by the Office of Legal Counsel (OLC) on the issue. In 1996,
         after the Ninth and Fifth, but before the Tenth Circuit, opinions, the OLC accepted the Ninth Cir-
         cuit limits and concluded that state and local police may constitutionally detain or arrest persons
         who have violated criminal provisions of the Immigration and Nationality Act (INA), subject to
         state law, but may not do so solely for civil violations.25 After the September 11 attacks on the
         World Trade Center and the Pentagon, however, the OLC issued a new 2002 opinion retracting
         its earlier position and concluding that state and local police possess inherent authority to make
         arrests for both criminal and civil violations that would render that person removable.26 The
         2002 OLC opinion remained unpublished until July 2005 when it was released after the Second
         Circuit granted a FOIA request, 27 although allowing some redactions to the opinion.28
            Given this lack of clarity in the law, it should not be surprising that state attorneys general con-
         tinue to receive requests for advisory opinions on the nature and scope of states’ inherent pow-
         ers to enforce immigration laws. Nor should the varied responses be a surprise. In 2007, for
         example, the Virginia attorney general responded to an inquiry by two state legislators as follows:
                It is my opinion that Virginia law-enforcement officers have authority to detain and
                arrest individuals who have committed violations of the laws of the United States
                and other states, subject to federal and state limitations. It further is my opinion
                that such authority extends to violations of federal criminal immigration law.
                Finally, because the federal appellate courts are ambiguous regarding state’s
                authority to arrest individuals for civil violations of federal immigration law, until
                the law is clarified, it would not be advisable to enforce such violations outside
                of the scope of an agreement with federal authorities.29
            In addition, some attorneys general are turning to state statutes to decide the issue, given
         that state law controls on the question of when it is legal for states to arrest for federal offenses.30
         In 2007, for example, the attorney general of Ohio concluded that a county sheriff may arrest and
         detain persons suspected of violating a criminal provision of federal immigration law but may not
         do so if the violation is purely civil, given that state statutes define the general powers and duties
         of a county sheriff as “preserving the peace,” a phrase that pertains only to criminal enforce-
         ment.31 South Carolina’s attorney general went even further and concluded that since South
         Carolina statutes only authorize state and local officers to enforce state criminal laws, no inher-
         ent authority to enforce federal immigration law exists in the state.32 In an earlier opinion, in fact,
         the South Carolina attorney general had concluded that “any authority to empower state and
         local law enforcement officers to arrest and detain individuals for violation of the criminal pro-
         visions of federal immigration law would have to be provided by enactment of the General
         Assembly.”33
            Another layer of complexity is the relationship between a state’s arrest warrant requirement
         and the inherent authority of local law enforcement to enforce immigration laws. The issue is that



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since some state statutes authorize warrantless arrests for misdemeanors solely when the crime
is committed in the presence of the arresting officer, then warrantless arrests of noncitizens for
federal immigration violations, whether for civil or minor crimes, violate this law.34 When pre-
sented with the question, the New York attorney general, for example, concluded that the power
to make warrantless arrests for federal immigration crimes more likely would be upheld, but
subject to the requirements of state arrest requirements such that “offenses” would need to be
committed in the presence of the officer and no arrest authority would exists for purely civil
violations.35
   Warrantless arrests that do not comply with state law requirements have been challenged in
motions to suppress in federal criminal cases when defendants have been arrested by local law
enforcement based solely on immigration violations. At least the Third Circuit, however, has
denied remedy, even after it recognized that a violation to the state law has occurred. That case
involved a member of the Marine Unit of the Virgin Islands Police Department (VIPD), who
arrested the defendants and turned them over to ICE to be tried for alien smuggling offenses.36
The Third Circuit affirmed the district court’s finding that the arrest was illegal under state law
because it was for a misdemeanor, which required the crime to be committed in the presence of
the officer to justify a warrantless arrest.37 Nevertheless, the Third Circuit reversed the initial grant
of a motion to suppress on the basis that “an arrest that is unlawful under state or local law is [not]
unreasonable per se under the Fourth Amendment.”38 As part of its rationale, the Third Circuit
noted that a different holding would lead to the anomaly that the same arrest would be legal so
long as local police conduct it jointly with ICE, given that ICE must not comply with the same
presence requirement under federal law.39 This type of potential watering down of state crimi-
nal procedural requirements as a result of local law enforcement of immigration laws is a civil rights
concern I highlight in Part II.
C. INA § 287(g) Agreements
   The Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (IIRIRA) added
Section 287(g) to the INA. This provision authorizes the Secretary of DHS to enter into an
agreement, known as a Memorandum of Agreement (MOA), with a state or local law enforce-
ment agency and to permit trained officers to perform immigration enforcement functions
under the supervision of ICE officers, at the expense of the state or political subdivision and to
the extent consistent with state and local law.40 As of June 2008, 55 local law enforcement
agencies, 765 officers in all, in 18 states have entered into such agreements, with approximately
80 more with pending requests.41 ICE credits the program with identifying more than 60,000
persons since January of 2006, mostly in jails, who are suspected of being in the country with-
out authorization.42
   I have reviewed thirty-four of the fifty-five MOA agreements to date, which are available
online after the Yale Law School Clinic filed a FOIA request with ICE.43 ICE has entered into
these MOAs directly with police departments, departments for public safety or state patrol,
sheriff’s offices, jails or correctional facilities, or with the city, the county, or the state. These MOAs
reveal that Section 287(g) allows ICE to confer on local law enforcement nearly all of its enforce-
ment powers under the INA. There are essentially eight types of immigration law enforcement



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         functions that have been delegated to local law enforcement through these MOAs:
           1. The power and authority to interrogate any person believed to be an alien as to his right to
              be or remain in the United States (INA § 287(a)(1) and 8 C.F.R. § 287.5(a)(1)) and to process
              for immigration violations those individuals who are convicted of state and federal felony
              offenses;
             2. The power to arrest without warrant any alien entering or attempting to unlawfully enter
                the United States, or any alien in the United States, if the officer has reason to believe that
                the alien to be arrested is in the United States in violation of the law and is likely to escape
                before warrant can be obtained. INA § 287(a)(2) and 8 C.F.R. 287.5(c)(1);
             3. The power and authority to arrest without warrant for felonies which have been commit-
                ted and which are cognizable under any law of the United States regulating the admission,
                exclusion, expulsion, or removal of aliens, if there are reasons to believe that the person
                so arrested has committed such felony and if there is likelihood of the person escaping
                before a warrant can be obtained. INA § 287(a)(4) and 8 C.F.R. § 287.5(c)(2). Notification of
                such arrest must be made to ICE within twenty-four (24) hours;
             4. The power and authority to serve warrants of arrest for immigration violations pursuant to
                8 C.F.R. § 287.5(e)(3);
             5. The power and authority to administer oath and to take and consider evidence (INA §
                287(b) and 8 C.F.R. § 287(a)(2)), to complete required criminal alien processing, including
                fingerprinting, photographing, and interviewing of aliens, as well as the preparation of affi-
                davits and the taking of sworn statements for ICE supervisory review;
             6. The power and authority to prepare charging documents (INA Section 239, 8 C.F.R. § 239.1;
                INA Section 238; 8 C.F.R. § 238.1; INA Section 241(a)(5), 8 C.F.R. § 241. INA Section 235
                (b)(1), 8 C.F.R. § 235.3), including the preparation of a Notice to Appear (NTA), applica-
                tion or other charging document, as appropriate, for the signature of an ICE officer for
                aliens in categories established by ICE supervisors;
             7. The power and authority to issue immigration detainers (8 C.F.R. § 287.7) and I-213 Record
                of Deportable/Inadmissible Alien, for processing aliens in categories established by ICE super-
                visors; and
             8. The power and authority to detain and transport (8 C.F.R. § 287.5(c)(6)) arrested aliens to
                ICE-approved detention facilities.44
            The MOAs greatly differ in terms of their nature and scope. The broadest of them take on all of
         the eight powers/functions to allow trained local law enforcement officers to enforce both civil and
         criminal immigration laws.45 Others also pertain to all types of immigration violations but may
         exclude certain of the delegated powers, usually the power to serve immigration warrants or the
         power to conduct warrantless arrests.46 One MOA, that of Mecklenburg County, North Carolina,
         stands out because while it deals with all immigration violations, it includes only five of the eight
         powers (to interrogate; to administer oaths; to issue detainers; to prepare charging documents; and
         to transport aliens).47 Most MOAs, however, restrict the cooperation agreement to assist ICE with



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criminal investigations in general; to certain types of criminal investigations, such as human traf-
ficking, gangs, drugs, to identity theft; to capture “criminal aliens;” or to address counterterrorism
and domestic security needs.48 Florida, which opted not to include the power to serve warrants,
is an exception to all other MOAs that include all power/functions.49 There were also quite a few
agreements with detention facilities, most of which did not include arrest powers in the MOAs as
their purpose was to identity and process immigration violators already in detention.50
   Thus, the MOA itself defines the scope and limitations of the authority to be designated to the
local law enforcement agency, as well as the number of local officers trained and authorized to
enforce federal immigration laws. Some MOAs are quite broad and grant all available powers to
the local officers, while others are restricted to specific types of enforcement and adopt only
some or a few of the enforcement powers. No one is monitoring how these agreements are actu-
ally being implemented, however, which raises concern over potential enforcement of immi-
gration laws beyond those expressly spelled out in the agreement.51
   Another issue is whether state law permits localities and/or local law enforcement agencies
to enter into MOAs with ICE. Responses by the states attorneys general on the issue have varied
among the states. In Ohio, for example, the attorney general concluded that a county sheriff
lacked state statutory authority to enter into agreements with ICE for the enforcement of civil
provisions of federal immigration law.52 In contrast, Virginia’s attorney general concluded that cur-
rent Virginia law already authorized localities to enter into an agreement with ICE under the terms
prescribed by INA § 287(g).53
   The distinction between civil and criminal immigration enforcement continues to be rele-
vant not only to the question of inherent local authority to enforce federal immigration laws
but also to the permissible and/or actual scope of MOAs under INA § 287(g). However, in many
instances this dichotomy under federal immigration law is unworkable as increasingly what
were once treated as purely civil immigration violations now also result in criminal penalties, sub-
ject to the discretion of ICE. In fact, there are at least forty-seven criminal provisions in the sec-
tions of federal immigration law.54 In addition, increasingly, ICE is relying on federal identity
theft or fraud statutes to charge noncitizens for the possession or use of false or a third party’s immi-
gration documents or social security numbers.55 Thus, while ICE is likely to simply institute
removal proceedings against most persons apprehended through collaboration with local law
enforcement, the potential applicability of a federal crime to any or most actions by the noncit-
izen is likely to conflate civil and criminal immigration enforcement to such degree as to make
the distinction untenable. The conflation of civil and criminal immigration violations also has impli-
cations for civil liberties concerns, which I explore in Part II.
D. Conflict with State Law: “Sanctuary Cities”
   At the same time that localities and/or local law enforcement agencies are engaging in the
enforcement of immigration laws, other local entities, including state and city governments,
have adopted “sanctuary policies” restricting local law enforcement collaboration with ICE on
the detection and detention of unauthorized immigrants. Most of the largest cities in the United
States today have some variation of such sanctuary policies.56 In all, about forty-nine cities and
towns and about three states have some type of sanctuary law.57 Such sanctuary policies are gen-



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         erally of three types: (1) they limit inquiries into a person’s immigration status (don’t ask); (2) they
         limit arrests or detention for violation of immigration law (don’t enforce); and (3) they limit
         provision to federal authorities of immigration status information (don’t tell).58 Localities prom-
         ulgate these policies through various means, including by adopting city council resolutions,
         municipal ordinances, mayoral executive orders, and police chief memoranda.59 The issues that
         arise with sanctuary policies are whether they are preempted by federal immigration law, as
         well as whether they are invalidated or made moot by conflicting local policies that seek greater
         local enforcement of immigration laws, including through adoption of INA § 287(g) agreements.
             Several potential conflicts exist between sanctuary policies and federal law. Some suggest,
         for example, that sanctuary policies violate the federal anti-harboring provision.60 The resolution
         is likely to depend on the federal court that decides the issue given that circuit courts interpret
         the harboring provision quite differently.61 The issue might turn on whether courts view “sanc-
         tuary policies” as active concealment, as has been required by the Sixth Circuit, as opposed to most
         other circuits (the Second, the Fifth, the Eighth, and the Ninth) that include in the definition of
         harboring the provision of services and the mere omission to report that person to immigration
         authorities.62 From a political perspective, however, such challenge is unlikely.63
             Congress, however, passed two laws in 1996 explicitly to counter local sanctuary policies.64 The
         first, Section 1373, mandates that “a Federal, State, or local government entity or official may
         not prohibit, or in any way restrict, any government entity or official from sending to, or receiv-
         ing from, [ICE] information regarding the citizenship or immigration status, lawful or unlawful,
         of any individual.”65 Section 1644 includes much of the same language as Section 1373, and states
         that “no State or local government entity may be prohibited, or in any way restricted, from send-
         ing to or receiving from the Immigration and Naturalization Service information regarding the
         immigration status, lawful or unlawful, of an alien in the United States.”66 Essentially, the broader
         provision, Section 1373, prohibits a government entity or official from restricting disclosure of immi-
         gration status to ICE. Section 1644 only prohibits the proscription as applied to government
         entities. In 1999, the Second Circuit decided the only case to date that assesses the application of
         these provisions to sanctuary policies (City of New York v. United States).67 In that case, the Giu-
         liani administration sought to enjoin the 1996 laws, arguing that these laws violated the Tenth
         Amendment because they forced New York City to collaborate with federal immigration enforce-
         ment and the Guarantee Clause of the Constitution by interfering with the city’s chosen form of
         government.68 The Second Circuit disagreed and found that the federal provisions preempted the
         city’s sanctuary policy, which proscribed voluntary cooperation with ICE by local police in
         immigration enforcement.
             Essentially, “don’t tell” sanctuary policies are vulnerable to preemption challenges in light of
         the Second Circuit opinion.69 In contrast, “don’t ask” and “don’t enforce” sanctuary policies are
         not vulnerable to preemption.70 Federal prohibition of such sanctuary policies, moreover, would
         run afoul of the anti-commandeering doctrine, under which the federal government could not
         require that state and local officials engage in immigration law enforcement.71
             Local protection against immigration enforcement by local police responds to the strong pol-
         icy objective of building trust and cooperation between immigrant communities and police.72
         Unfortunately, the effectiveness of the so-called sanctuary policies is weak for several reasons,



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including that violations of these policies by local police are not enforced, and that the policies
do not prevent removal of individual immigrants once they have been turned over to ICE.73

II. The Civil Liberties Pitfalls of Localized Immigration Enforcement
   Localizing immigration enforcement also means that local law enforcement agencies assume
immigration enforcement powers generally available only to ICE under the INA. Indeed, in
some localities this is already happening. Local law enforcement officers are not only asking all
persons detained and/or arrested during their routine police work for their immigration sta-
tus,74 but they are, alone or in collaboration with ICE, executing immigration raids,75 or con-
ducting raids,76 road blocks,77 street sweeps, or other investigations that target noncitizens for
violations of the federal immigration laws.78 Moreover, this localized policing work is being con-
ducted with increasingly greater access to immigration databases and immigration information,
either directly or though requests to the LESC. As a result, the very same civil liberties con-
cerns over trends in federal immigration enforcement by federal agents are simply transferred to
local agents who essentially take on the role of ICE. In other words, the more local police act like
ICE agents, the more the same civil liberties concerns will plague local immigration enforcement.
These civil liberties concerns include: the transference of immigration enforcement’s Fourth
Amendment exceptionalism and flexible administrative enforcement tools to local law enforce-
ment; the increased criminalization of immigration law in the context of few privacy protec-
tions; and racial profiling.
A. Fourth Amendment Exceptionalism in Immigration Enforcement
   The extremely limited application of the exclusionary remedy and the flexible application of
the consent doctrine to immigration enforcement practices risk creating a culture of aggressive
local law enforcement where abuses of power occur without judicial oversight. Essentially, the
deterrence rationale behind the exclusionary remedy is almost absent from immigration law
enforcement, given its nonapplication to nearly all immigration encounters, even when Fourth
Amendment violations have occurred. For this reason, ICE is criticized for committing many
civil rights violations in the course of immigration enforcement. Recently, ICE has been the
subject of much litigation, particularly in the way it has executed raids.79 Complaints against
ICE, for example, have included the dragnet-like and intimidating execution of warrants in peo-
ple’s homes and in the workplace, which have devastating effects on families and communi-
ties.80 In other cases, ICE has been accused of conducting forcible warrantless raids in people’s
homes, claiming they were police and aggressively interrogating all residents about their immi-
gration status.81 Still, more abuses include the racially charged nature in which these raids are being
executed, mostly against Latinos.
   Since 1984, the United States Supreme Court precluded the Fourth Amendment’s exclusion-
ary remedy in immigration proceedings, except within the narrow “egregious violations” excep-
tion.82 Also, the exclusionary remedy does not apply to suppress the identity of the person
arrested even in criminal trials, which has allowed ICE to successfully convict immigrants for cer-
tain immigration crimes, such as re-entry. In these cases, exclusion of any unlawfully seized
evidence does not remedy the Fourth Amendment violation because the defendant’s identity is



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         never suppressible as the fruit of an unlawful arrest and because the government can prove its case
         simply by providing proof of a prior removal order and the defendant’s renewed presence in
         the United States.83
            Moreover, the application of the consent doctrine in immigration enforcement under the
         most coercive circumstances increasingly defies the premise that reasonable people feel free to
         walk away from law enforcement encounters. In immigration enforcement, the Fourth Amend-
         ment doctrine assumes that a reasonable person is free to refuse questions of immigration agents
         at immigration checkpoints.84 The same assumption applies during unannounced workplace
         raids conducted by dozens of armed immigration agents, some of whom question workers while
         other agents guard the exits.85
            At the local level, the assumption has often applied when local police question drivers and pas-
         sengers about their immigration status during traffic stops86 or roadblocks87 even when, for
         instance, the encounter is prolonged when police seek information or direct assistance from
         ICE on the scene. The assumption has even applied during the execution of warrants in per-
         son’s home when the person who has been handcuffed and detained for more than two hours was
         asked, by local law enforcement this time, about her immigration status.88
            As a result, immigrants targeted for immigration enforcement have had almost no protection
         under the Fourth Amendment, either because the exclusionary rule has no application in removal
         proceedings or because it is limited in certain criminal trials. Moreover, even when the exclusionary
         rule does apply in removal proceedings, no Fourth Amendment protection is offered because
         most encounters are deemed nonseizures and nonsearches.
            A related concern involves the transfer of ICE’s broad regulatory and enforcement powers
         to local law enforcement, particularly through INA § 287(g) agreements. These transferred pow-
         ers could have substantial adverse effects on privacy, especially through the increased use by
         local police of immigration databases and civil warrants to conduct law enforcement. ICE’s reg-
         ulatory arm reaches into employer hiring practices, university requirements (for foreign stu-
         dents), the government’s distribution of public benefits, and driver’s licenses, among other areas.
            The regulatory function, in turn, has caused the proliferation of databases that, in most cases,
         grant ICE easy access to information about a person’s immigration status as a worker, student, or
         driver. With easy access to these databases, ICE can arm itself with civil warrants even where no
         particularized probable cause exists to conduct raids in private or quasi-private spaces. Similarly,
         the proliferation of local ordinances that, for example, make it illegal for undocumented immi-
         grants to loiter in public spaces, occupy housing, procure employment, or conduct business
         transactions,89 is possibly expanding the administrative policing arm of local law enforcement
         against noncitizens and could lead to the creation of immigrant databases and to the issuance of
         civil warrants similar to those already available to ICE and some local law enforcement though
         INA §287(g) agreements.
            The immigration warrants currently available to ICE are not that different from the general
         warrants that originally inspired the Fourth Amendment. The infamous general search war-
         rants in early United States history were issued by executives and legislators, without judicial inter-
         vention, with neither a probable cause requirement or oath, nor a description of the particular
         places to be searched and persons or things to be seized.90 Courts have upheld the constitu-



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tionality of immigration administratively issued warrants that lack particularized suspicion,
such as workplace warrants based on general reasonable belief that unauthorized workers may
be present, without having to name any particular worker.91 This is a very low threshold given that
ICE can establish a generalized reasonable suspicion of the presence of unauthorized persons in
many contexts given the spread of immigration databases. Today, immigration laws authorize the
compelled collection of information in ever-expanding databases over which persons retain no
expectation of privacy and which become the basis for the issuance of warrants. Moreover, these
databases, which were not intended to have a law enforcement purpose, often contain flawed infor-
mation such that warrants are issued with significant errors, which are also shielded from any
exclusionary remedy based on the “good faith” exception.92
   One prominent example of immigration databases that provide easy access to immigration
warrants are the databases established pursuant to the Immigration Reform and Control Act of
1986 (“IRCA”)93 to permit employer verification of immigration documents provided to employ-
ers by their employees at the time of hiring. In 1996, Congress created the Basic Pilot Employment
Eligibility Verification Program (Basic Pilot), an electronic employment eligibility verification pro-
gram which permits employers to match employee provided immigration information against the
United States Citizenship and Immigration Services (CIS) and the Social Security Administra-
tion (SSA) databases for verification.94 Basic Pilot is today known as E-Verify and contains over
444 million records in the SSA database and more than sixty million records in the DHS immi-
gration databases.95 Today, more than 69,000 employers are enrolled in E-Verify, with over four
million queries executed so far in fiscal year 2008.96
   IRCA data collection, along with E-verify, provide ICE with readily accessible information
to procure warrants to execute immigration raids. In some cases, to avoid IRCA liability, employ-
ers voluntarily report to ICE discrepancies in their employee records when checked against the
CIS and SSA databases.97 As well, IRCA authorized DHS access to examine evidence of any per-
son or entity under investigation for immigration violations and to compel such participation by
subpoena.98 Essentially, ICE can compel an employer to turn over all of its IRCA-mandated
employee records, which ICE then runs through the databases. Any mismatch becomes a ground
for an administrative warrant. Both the immigration and SSA databases are notoriously inac-
curate, however. A 2004 report commissioned by DHS, for example, noted that the SSA databases
are able to verify employment eligibility in less than 50 percent of the work-authorized noncit-
izens.99 The SSA itself estimates that 17.8 million of its records contain discrepancies related to
name, date of birth, or citizenship status.100 SSA further notes that 4.8 million of the approximately
46.5 million noncitizen records contained in the SSA’s database contain discrepancies.101 Also, a
government report reviewing immigration agencies’ records (the then INS and the Executive Office
of Immigration Review) found name, nationality, and case file number discrepancies, as well as
cases missing from electronic files.102
   Yet another database created to facilitate the execution of immigration warrants is based on
ICE’s implementation of its absconder initiatives in 2002 to arrest persons with a removal order
who are still in the country.103 The implementation of the absconder initiatives involved several
preliminary steps. First, the government prepared the cases of immigration absconders, also
called fugitives, for entry into the National Crime Information Center (NCIC) database,104 an



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         FBI-operated federal criminal database containing individuals’ criminal histories. In 1996, Con-
         gress authorized the inclusion of deported “felons” records in the NCIC database to help author-
         ities identify and prosecute persons for illegal re-entry.105 Until then, the long-standing policy had
         been to keep immigration law enforcement information separate from that of criminal law
         enforcement. Since 2001, the then INS also began including absconders’ names and informa-
         tion, of whom there are more than 465,000, into the NCIC system.106
            Now the NCIC database contains records of persons with civil immigration removal orders,
         regardless whether they also have a criminal history. The database contains around 247,500
         immigration warrants, more than half of which are for people with old removal orders, while the
         rest are records of persons removed for the commission of crimes.107 The presence of these
         names in the NCIC database gives local police the necessary information to make immigration
         arrests during the course of routine traffic stops since most police vehicles are equipped with lap-
         top computers connected to the NCIC system.108
            Unfortunately, much of the information that forms the basis for these fugitive warrants is
         unreliable. Immigration agencies have been notorious for atrocious record-keeping and faulty data-
         bases, including errors in removal order files.109 A 2003 study of immigration removal records
         revealed that discrepancies in the identity and address information occurred in 7 percent of the
         308 cases of immigrant files with final orders reviewed, and 11 percent of the 470 cases of aliens
         from countries believed to sponsor terrorism.110
            Absconder warrants are also served in people’s homes, relying on the final address recorded
         in immigration files. Several other factors, however, contribute to incorrect records. First, many
         of the removal orders date back for years,111 which increases the probability that persons other than
         the person subject to the removal order live at the address when the warrant is finally executed.
         Second, DHS relies on the addresses provided by noncomplying immigrants, who often move to
         avoid immigration authorities. Third, address changes reported to immigration agencies often are
         not recorded in the databases.112 As a result of these factors, the administrative warrants are
         often issued on the basis of incorrect information about a person’s place of residence.
            Reliance on faulty databases to issue immigration warrants could become a ground for a Fourth
         Amendment challenge, when a motion to suppress is available. Courts, however, have not required
         foolproof evidentiary reliability to substantiate probable cause and may tolerate some degree of data-
         base inaccuracy. In fact, challenges to the NCIC database have been upheld, despite their noted inac-
         curacies.113 In addition, the good-faith exception could very well provide an exception to the
         exclusionary rule.114 Finally, recent challenges by civil rights groups to the inclusion of immigra-
         tion information in the NCIC databases have been dismissed for lack of standing.115
            An additional concern over immigration warrants pertains to their indiscriminate and dragnet-
         like execution. The problem with general workplace immigration warrants, for example, is pre-
         cisely their undefined scope. Thus, what constitutes a reasonable execution of these warrants
         remains vague but is likely to lie somewhere between consensual encounters and indiscriminate
         seizures.
            Consider workplace raids, during which it is not uncommon for ICE to interrogate all work-
         ers about their immigration status. The INS v. Delgado precedent involving consensual encoun-
         ters during workplace raids already offers ICE significant flexibility to question the workers



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and, through the questioning, to acquire reasonable suspicion of unlawful presence.116 In Delgado,
the INS moved systematically through a garment factory, asked employees to identify them-
selves, and asked the employees one to three questions about their citizenship.117 During the
interrogations, armed INS agents were stationed near the exits while other agents moved through-
out the factory and questioned workers at their work areas.118 The agents showed badges, had
walkie-talkies, and carried arms, though they never drew their weapons.119 Despite all these
facts, the court still considered the encounter consensual.
   Usually, courts have drawn the line into nonconsensual encounters when immigration agents
specifically have targeted Latinos or persons who simply looked “foreign” for more than brief ques-
tioning.120 With absconder warrants executed in people’s homes, ICE strategic practice has been
to send several armed ICE agents to people’s homes at the crack of dawn and aggressively inter-
rogate everyone present about their immigration status and arrest those unable to provide it.121
B. The Criminalization of Immigration Law
   A significant explanation for the Fourth Amendment exceptionalism in immigration enforce-
ment is early treatment by courts of immigration law as civil as opposed to criminal enforce-
ment.122 The characterization of immigration enforcement as administrative, which has allowed
more flexible law enforcement practices, however, is becoming increasingly difficult to justify. In
the last twenty years, immigration control has increasingly adopted the practices and priorities
of the criminal justice system.123 Yet, the criminal justice parallels in immigration enforcement
have not resulted in correspondingly greater constitutional protections for immigrants, at least
not in those protections that traditionally apply to criminal investigations and trials.
   Professor Stephen H. Legomsky has called this trend “the asymmetric importation of the
criminal justice norms into immigration law.”124 In other words, the enforcement aspects of
criminal justice have been imported but without the bundle of procedural and substantive rights
recognized in criminal cases.125 The danger therefore is that law enforcement agencies are left with-
out a legal obligation to balance immigrants’ interests against the government’s interest to con-
trol immigration, despite the large liberty stakes involved for immigrants.
   Increasingly, what were once solely civil immigration violations have been criminalized,
resulting in an unprecedented cooperation between criminal and immigration law enforcement
agencies. Congress has created a host of new immigration crimes, ranging from illegal re-entry
to the most recent attempt to criminalize mere immigration presence.126 Further, criminal pros-
ecution for immigration violations has increased rapidly. A recent study by Syracuse Univer-
sity’s Transactional Records Access Clearinghouse documented that in March 2008, of 16,298
federal criminal prosecutions recorded, more than half (9,350) were for immigration violations.127
The increase is part of DHS Operation Streamline, which seeks to deter undocumented migra-
tion through harsher criminal sanctions.128
   Moreover, ICE is increasingly targeting for criminal prosecution persons who use false doc-
uments or documents belonging to third parties to procure work. An increasing number of per-
sons arrested during workplace raids are being criminally prosecuted and face felony charges with
a real threat of jail time for violating immigration or other United States laws related to identity
theft. In 2006, for example, the number of those criminally charged was 716 (or 16 percent of the



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         total number), up from only twenty-five (or 5 percent) in 2002.129 Then, in July 2008, in an
         unprecedented move, ICE criminally charged over 90 percent of the nearly 400 workers during
         the largest single-site workplace raid in the history of the United States at Postville, Iowa.130
         Also, at the local level, states are increasingly legislating to criminalize the aliens and those who
         associate with them. States are adopting laws, for example, that duplicate federal crimes, includ-
         ing in areas of human trafficking and document fraud.131 States have also passed ordinances that
         impose criminal penalties on landlords who rent to undocumented immigrants or on employers
         who hire undocumented workers.132
             Civil immigration enforcement, moreover, has become more punitive and difficult to distin-
         guish from criminal enforcement. Mandatory immigration detention, previously reserved for
         the most dangerous persons, is now broadly applied in almost all removal cases.133 Indeed, immi-
         gration detainees are currently the fastest growing segment of the jail population in the United
         States.134 Most persons picked up in the latest wave of immigration raids have been detained,
         for example. Only a few are released for humanitarian reasons or because they were eligible for
         some other type of immigration relief. Those charged with any immigration crime or those with
         a criminal history are not eligible, however, for bond or any other avenue of relief from detention.135
             Further, even when immigrants are criminally charged rather than placed in removal pro-
         ceedings, the Fourth Amendment exceptionalism that characterizes immigration enforcement
         still applies. Pretextual doctrines permit prosecutors to rely on the significantly more relaxed immi-
         gration-related Fourth Amendment doctrines to justify reasonableness of searches and arrests.
         Consider, for example, the workplace raids. ICE has made the detection of identity theft during
         these raids a priority, such that most who are arrested are being criminally charged, rather than
         put in removal proceedings.136 Still, ICE is conducting these raids, relying on its broad adminis-
         trative law enforcement powers. The pretextual Fourth Amendment doctrine will likely pre-
         clude a motion to suppress remedy even in the limited cases where it is available, however. In
         parallel cases, where the argument has been that the administrative function is only a pretext for
         criminal law enforcement, motions to suppress have not succeeded.137
             In Whren v. United States, the United States Supreme Court refused to consider whether the
         true motives of police officers who detained a group of young men for a traffic infraction were
         to investigate them for drug possession.138 The Court’s position instead was to avoid guessing the
         intent or motivation of the law enforcement officers when acting and to approve the action as long
         as the officers had “objective” Fourth Amendment grounds.139 Thus, even when many of the
         workers are being criminally charged, despite the evidence that DHS is shifting policy to crim-
         inalize the undocumented worker, the motion to suppress, when available, will likely fail, so
         long as removal proceedings are plausible when instituted.
             Pretextual claims have been successful only when the government’s stated primary purpose
         cannot be justified as administrative. For example, in City of Indianapolis v. Edmond, which
         involved random stops at a checkpoint to investigate drug crimes, police conceded that the
         checkpoint was primarily for the detection of drugs, which the Court considered primarily a
         criminal law enforcement purpose.140 Immigration enforcement, however, in the majority of
         cases carries both civil and criminal penalties, and it is unclear whether that fact alone would trig-
         ger a different holding from the courts on the continued use of the administrative function to con-



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duct criminal immigration enforcement.
   Some of the factors that a court may consider to distinguish Whren are that, unlike traffic
enforcement, which is predominantly civil, the transformation of immigration enforcement to a
dual civil/criminal system argues for a different result. Consider the absconder initiative, for
example, which has a clear criminal law enforcement purpose. Absconders are not solely immi-
gration violators but also criminals per se, as they could face up to four years of incarceration for
failure to depart after a removal order.141 The entry of absconders’ names into the NCIC database,
moreover, indicates immigration agencies’ shift to treat absconders as criminal, rather than
solely civil immigration violators. This interrelatedness of civil/criminal sanctions in the abscon-
der initiative could distinguish Whren. Until that happens, however, Whren is controlling in
immigration enforcement and is likely to shield against motions to suppress with regard to the
enforcement of immigration law during traffic stops, in the context of home raids, or in other types
of investigative practices, whether conducted by ICE or by local law enforcement.
C. Racial Profiling
   Another looming civil liberties concern of immigration law enforcement has been its racially
charged execution. Racial profiling in immigration enforcement in the form of the disproportionate
targeting of Latinos occurs in several contexts. ICE is commonly accused of racial profiling in the
execution of raids, for example. Consider the absconder initiative. When initially implemented,
the then INS specifically targeted “priority absconders,” a category that included persons with
removal orders from countries with an al Qaeda presence, namely Muslims and Arabs. As such,
the national origin discrimination was explicit.142 The program then included persons with a
criminal history and ultimately, in May 2006, DHS launched Operation Return to Sender, which
casts a wider net and targets all persons with preexisting removal orders.143 As such, the pro-
gram now is at least facially neutral. Its disparate targeting of Latino immigrants, however, is
documented in nearly all media stories detailing the raids.144 The disparate targeting of Latino work-
ers is also evident in workplace raids, which primarily occur in segregated workspaces occu-
pied primarily by brown or Latino workers.145 Allegations of racial profiling, moreover, are also
present in the “driving while brown” phenomena, insofar as immigration enforcement occurs in
the context of routine traffic stops disproportionately against Latinos.146
   Sheriff Joe Arpaio’s street raids in Arizona cities have also been heavily criticized for their
racially charged execution. Similar street raids conducted in Arizona by local police jointly with
immigration agents in the 1990’s, known as the “Chandler Roundup,” cost the city $400,000 as
part of a settlement of lawsuits in which plaintiffs alleged they were stopped and questioned
based exclusively on their apparent Mexican descent.147 Not surprisingly, Sheriff Arpaio faces today
similar lawsuits.148 Indeed, in that litigation, allegations include Arpaio’s reliance on citizen
“tips” to single out alleged undocumented immigrants, which are often placed with biased and
racialized stereotypes of who is or is not legally in the U.S.149 The complaint also documents
indiscriminate street sweeps that target “Latinos,” and the use of private volunteers to execute
the raids.150 Finally, even consensual encounters that fall beyond the scope of Fourth Amendment
seizures do not escape racial targeting to the extent that Latinos are disproportionately targeted
for questioning about their immigration status.



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            In racial profiling, too, few remedies are available, however. Courts are unlikely to consider these
         challenges, at least in the context of Fourth Amendment motions to suppress. First, the Court has
         directed parallel cases that have raised disproportionate law enforcement practices—such as in
         the “driving while black” phenomena away from Fourth Amendment challenges and into civil rights
         lawsuits.151 Yet, a civil rights remedy for selective immigration enforcement is unlikely to be
         available under equal protection grounds, absent a clear showing of intentionality, which evi-
         dentiarily is nearly impossible to establish.152
            Second, the United States Supreme Court has tolerated racial targeting in immigration enforce-
         ment, at least at immigration checkpoints and as a factor in the determination of reasonable
         suspicion in traffic enforcement.153 The Court has justified a degree of ethnic profiling flexibil-
         ity in immigration enforcement based partly on the questionable premise that civil immigra-
         tion enforcement is less intrusive of liberty interests than in the criminal context.154
            In addition, in dictum the Court noted that reliance on “Mexican appearance” as a factor for
         immigration law enforcement makes sense given that numerically it is largely Latinos, and pri-
         marily Mexican, who comprise the undocumented population.155 The problem with this approach
         is twofold. First, ICE’s enforcement statistics reveal that there is a notable disproportionate
         over-enforcement of immigration laws against Mexicans and other Latinos, even taking into
         account the large number of undocumented persons from these countries.156 Second, the num-
         ber of Latinos in the United States who are either citizens (by birth or naturalization) or possess
         immigration authorization to be in the United States is much larger than the number of unau-
         thorized Latinos. A May 2008 press release by the United States Census Bureau puts the popu-
         lation of Hispanic origin at 45 million, a group still constituting the largest minority in the nation
         and totaling more than four times the number of unauthorized (and uncounted) persons of His-
         panic origin.157
            At least the Ninth Circuit in 2000 rejected the Court’s dictum that Mexican appearance can
         be a factor to establish reasonable suspicion and reasoned that the much higher Latino per-
         centage of the local population now makes demographic links between Latino ethnicity and
         unlawful status unreliable and that racial profiling unfairly stigmatizes.158 In addition, the Ninth
         and the Third Circuits have found that stopping someone solely or partly because the driver is
         of Latino appearance constitutes “egregious” conduct, such that a motion to suppress is per-
         mitted in removal proceedings.159
         D. Civil Liberties Recommendations for Local Immigration Law Enforcement
            In light of the foregoing, I offer the following recommendations to states to improve civil lib-
         erties in immigration law enforcement:
            I States should exercise immigration enforcement powers only with express legislative

               approval, preferably by Congress. The lack of clarity regarding inherent authority to enforce
               immigration laws contributes to confusion and chaos about the nature and scope of this
               authority, such that it is best if the political branches of the government make the deter-
               minations. The legislative process also has the potential of providing adequate airing into
               the public and public participation about the policy reasons for and against authorizing
               local immigration enforcement.



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  I   Legislative authority should be clearly defined and monitored. As is the case of INA §
      287(g) agreements, their nature and scope vary widely, with some containing a greater
      degree of specificity and outlining clear priorities. Localities and law enforcement agencies
      that choose to enter into such agreements for collaboration with ICE should aim to be as spe-
      cific as possible regarding priorities and should detail as much as possible the scope and types
      of enforcement authorized. Ideally, localities should weigh the civil liberties implications
      of authorizing flexible immigration enforcement functions too broadly. For example, local-
      ities may wish to avoid local law enforcement collaborations in raids given the heightened
      civil liberties concerns that have been raised regarding their execution by ICE. Moreover,
      states should monitor and assure that the execution of the 287(g) agreements does not
      exceed the scope of their terms and establish complaint mechanisms through which civil
      rights groups may direct their concerns.
  I   Localities and/or agencies who enter into law enforcement collaboration agreements with
      ICE should also adopt policies to improve civil liberties in their execution, particularly
      taking into account the Fourth Amendment exceptionalism that characterizes immigra-
      tion law enforcement and the particular civil liberties concerns that are implicated with such
      enforcement. In other words, localities cannot rely on federal courts to offer the civil liberties
      protections they may find desirable but can prevent violations to civil liberties by adopting
      good practice policies to preempt concerns. Some of these policies could include:
      • Restrict the enforcement of immigration warrants in the NCIC database, particularly
        given the database inaccuracies. Localities might, for example, prioritize enforcing cases
        involving only persons with a felony criminal record.
      • Disallow questioning of persons regarding their immigration status without reasonable
        suspicion. So-called consensual encounters involving immigration inquiries into a per-
        son’s immigration status raise a host of civil liberties concerns that include judicial acqui-
        escence into their voluntary nature under coercive circumstances and racial profiling.
      • Do not authorize the enforcement of immigration civil warrants. These immigration
        warrants are plagued with too many privacy violations, beginning from faulty databases,
        to their generalized character, and relatedly to their undefined scope of enforcement.
      • Disallow local enforcement participation in certain types of immigration enforcement,
        including raids, when such practices have been implicated in civil rights litigation.

III. Immigrants’ Rights During Immigration Encounters
   Pro-immigrant groups, when devising strategies for immigrants on what to do to protect their
civil liberties during immigration encounters, whether with ICE or local law enforcement, are
aware of the following two circumstances: (1) too many immigrants “waive” their constitutional
rights by “voluntarily” even if unwittingly cooperating with law enforcement during consen-
sual encounters; and (2) even if a violation occurs, there is almost never an effective remedy
that could offer relief for the damage caused. As a result, civil rights groups follow two principal
strategies, both of which are focused on prevention. The first is to seek to enjoin law enforcement



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         from certain practices that raise civil liberties concerns through civil rights litigation. The sec-
         ond is to train individual immigrants to assert their rights better during personal encounters
         with law enforcement. Below, I detail the list of rights that immigrants do possess when confronting
         law enforcement on immigration matters.
         A. The Right to Refuse Cooperation
             1. During Consensual Encounters or Nonconsensual Encounters Unrelated to Immigration
                Enforcement
            Immigrants should assume that most encounters, irrespective of how coercive, are consensual
         and should always seek clarification about (1) whether they are being detained and (2) if so, why they
         are being detained. If they are not being detained or if the detention is unrelated to an immigration mat-
         ter, then it is very likely that police are asking about their immigration status without reasonable sus-
         picion. For this reason, as a general rule, civil rights groups advise immigrants to remain silent during
         all law enforcement encounters, under the assumption that these are consensual or that the inquiry
         into a person’s immigration status exceeds the reasonable scope of the seizure.
            Importantly, then, immigrants have a right not to cooperate with law enforcement by divulging
         their immigration status or providing identification in the absence of reasonable suspicion. Some
         have suggested that foreign nationals must produce immigration documents when requested
         in the course of consensual encounters and in the absence of individualized suspicion.160 This argu-
         ment is based on the fact that all foreign nationals over the age of 14, except temporary immigrants,
         must register with immigration agencies and be fingerprinted if they have been in the country more
         than 30 days.161 Failure to register constitutes a misdemeanor offense, punishable by a $100 fine,
         30 days maximum jail time, or both.162 Yet, in the absence of individualized suspicion, com-
         pelling identification would violate Fourth Amendment principles. In Hiibel v. Sixth Judicial
         District Court of Nevada,163 the United States Supreme Court upheld a Nevada statute that com-
         pelled having to identify oneself to the police but only when the police had reasonable suspicion
         for the stop. In contrast, consensual encounters have always presumed voluntariness, and, in
         fact, refusal to cooperate cannot then become the basis for reasonable suspicion.164
             2. During Nonconsensual Encounters Related to Immigration Enforcement
                a. Workplace Raids
                If ICE is executing a generalized immigration warrant and the person encountered or
             seized is not named in the warrant, then that person too has a right to remain silent and to refuse
             to cooperate. Here, too, refusal to cooperate cannot become the basis for reasonable suspicion,
             and persons over whom no legal justification to detain them exists should be allowed to leave.
             Moreover, it is not entirely clear that law enforcement can compel disclosure of identity under
             the warrant of persons not named in the warrant for purposes of locating the persons actually
             named in the warrant. Law enforcement could argue that finding the workers named in the war-
             rant requires engagement of all workers in brief questioning and that such questioning could
             potentially be permitted if done in an indiscriminate fashion. The legality of such approach,
             provided the validity of the warrant is upheld, is still being decided in current litigation against
             ICE.



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     b. Home Raids
     Often, immigration raids in people’s homes are under the absconder program. As such, the
  immigration warrant being executed is against a person or persons with prior removal orders.
  Immigrants have a right to see a copy of the warrant before opening the door to their homes
  and to refuse to answer the door if the person/s listed in the warrant does not live in the
  house or is not present at the time. Several questions arise here. The first question involves the
  constitutional “know and announce” requirement before the execution of warrants.165 With crim-
  inal warrants, the knock-and-announce requirement only requires law enforcement to wait a
  reasonable time for occupants to respond to their knock, after which law enforcement may enter
  by force.166 In contrast, ICE’s administrative warrants do not require immigrants to answer the
  door or allow entry.167
     If the person named in the warrant is present in the home, then during the execution of the
  warrant immigrants who are not named in the warrant, like the workers during a workplace
  raid, have a right to refuse cooperation. Again, it is unclear, however, if ICE can compel that those
  present disclose their identity unless it is necessary to identify the person named in the war-
  rant. Once that person has been identified, law enforcement’s justification for compelling the
  identity and/or immigration status of the rest of the persons present is questionable.
B. The Right against Self-Incrimination and to an Attorney While in Custody
   The Miranda warnings required in criminal proceedings are not required in removal pro-
ceedings, and the absence of a warning does not preclude use of the statement in removal pro-
ceedings.168 However, immigration regulations provide that a foreign national shall be advised of
the reason for his arrest, informed of his right to be represented by counsel of his own choice at
no expense to the government, provided with a list of available free legal services, and advised that
any statement he makes may be used against him.169 Thus, unlike defendants in a criminal trial,
immigrants in removal proceedings or facing civil immigration charges do not have a right to an
attorney provided by the state, but they do possess a statutory right to counsel at their own
expense.170 By requesting an attorney, foreign nationals in custody foreclose further questioning
by law enforcement and law enforcement should offer the foreign national the opportunity to call
his or her attorney.171
   Motions to suppress are also available to immigrants when law enforcement has procured
the statements illegally through coercion.172 In such a case, quite apart from the benefit of deter-
ring official lawlessness, the statement will be suppressed simply because of the dubiousness
of its probative value.

IV. Conclusion
  The civil rights costs of local immigration enforcement can be high and localities should duly
weigh these costs when deciding how and whether to enforce federal immigration laws.




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          Endnotes
          1
            287(g) Program: Ensuring the Integrity of America’s Border Security System Through Federal-State Partnerships: Before
          the House Committee on Homeland Security Committee on Management, Integration, and Oversight, July 27, 2005, at
          5 (statement of Paul M. Kilcoyne, Deputy Assistant Director of Investigative Serv. Div., USCIS),
          http://www.ice.gov/doclib/pi/news/testimonies/050727kilcoyne.pdf.
          2
              ICE, Partners, Law Enforcement Support Center, www.ice.gov/partners/lesc/.
          3
              ICE Law Enforcement Support Center, Fact Sheet, http://www.ice.gov/pi/news/factsheets/081204lesc.htm.
          4
           See Kris W. Kobach, The Quintessential Force Multiplier: The Inherent Authority of Local Police to Make Immigration
          Arrests, 69 ALB. L. REV. 179 (2005).
          5
              The statute reads in pertinent part:
                      No officer of person shall have the authority to make any arrests for a violation of any provision of
                      this section except officers and employees of the Service designated by the Attorney General,
                      either individually or as a member of a class, and all other officers whose duty it is to enforce crim-
                      inal laws.
          8 U.S.C § 1324 (2000) (emphasis added).
          6
            Congress enacted amendment to grant local law enforcement authority to make arrests under INA § 276 as part of
          the 1996 broad immigration reform laws. The relevant provision reads:
          In general
                      Notwithstanding any other provisions of law, to the extend permitted by relevant State and local law,
                      State and local law enforcement officials are authorized to arrest and detain an individual who:
          is an alien illegal present in the United States; and (2) has previously been convicted of a felony in the United States
          and deported or left in the United States after such conviction, but only after the States or local law enforcement
          officials obtain appropriate confirmation from [ICE] of the status of such individual and only for such period of time
          as may be required for the Service to take the individual into Federal custody for purposes of deporting or removing
          the alien from the United States.
                      The Attorney General shall cooperate with the States to assure that information in the control of
                      the Attorney General, including information in the National Crime Information Center, that would
                      assist the State and local law enforcement officials in carrying duties under subsection (a) of this
                      section is made available to such officials.
          8 U.S.C. 1256(c) (2000), amended by Illegal Immigration Reform and Immigrant Responsibility Act of 1996
          (IIRIRA), Pub. L. No. 104-208, § 372(3), 110 Stat. 3009.
          7
           Said provision reads:
                      In the event that the Attorney General determines that an actual or imminent mass influx of aliens
                      arriving off the United States or near a land border present urgent circumstances requiring an
                      immediate Federal response, the Attorney General may authorize any State or local law enforcement
                      officer, with the consent of the head of the department, agency or establishment under whose
                      jurisdiction of the individual is serving, to perform or exercise any of the power, privileges or
                      duties conferred or imposed by the Act or regulations issued thereunder upon officers or employ-
                      ees of the service.
           8 U.S.C. § 1103(a)(8) (2000), amended by Illegal Immigration Reform and Immigrant Responsibility Act of 1996
          (IIRIRA), Pub. L. No. 104-208, § 372(3), 110 Stat. 3009.
          8
           See Department of Commerce, Justice, and State, the Judiciary, and Related Agencies Appropriations for 1997: Hearings
          Before a Subcomm. of the H. Comm. on Appropriations, 104th Cong. 1140 (1996) (testimony of Doris Meissner, INS
          Comm’r).
          9
              8 U.S.C. § 1103(a)(9) (2000).
          10
           INS and the Executive Office for Immigration Review: Hearing Before the Subcomm. on Immigration and Claims of the
          H. Comm. on the Judiciary, 107th Cong. 10 (2001) (prepared statement of Kevin D. Rooney, Acting INS Comm’r).




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11
   Michael J. Wishnie, State and Local Police Enforcement of Immigration Law, 6 U. PA. J. CONST. L. 1084, 1095 (2004).
But see Kobach, supra, note at 4, 202-08 (listing other congressional actions as evincing an intent to preserve inherent
state arrest authority, including the establishment in 1994 of the Law Enforcement Support Center (LESC) to respond
to local police who make immigration arrests or the establishment in 1998 of QRTs for the express purpose of respond-
ing to immigration arrests made by state and local police).
12
     See, e.g., Kobach, supra note 4.
13
  See, e.g., Huyen Pham, The Inherent Flaws in the Inherent Authority Position: Why Inviting Local Enforcement of
Immigration Laws Violates the Constitution, 31 FLA. ST. U. L. REV. 965, 978-1000 (2004). See also Wishnie, supra note
11, at 1092-95.
14
     Wishnie, supra note 11, at 1092-95.
15
  See, e.g., U.S. Senator Jeff Sessions & Cynthia Hayden, The Growing Role for State & Local Law Enforcement in the Realm
of Immigration Law, 16 STAN. L. & POL’Y REV. 323 (2005).
16
  U.S. v. Di Re, 332 U.S. 581, 591 (1948) (“No act of Congress lays down a general federal rule for arrest without a war-
rant for federal offenses. None purports to supersede state law. And none applies to this arrest which, while for a
federal offense, was made by a state officer accompanied by federal officers who had the power to arrest. Therefore
the New York statute provides the standard by which this arrest must stand or fall.”). See also Miller v. U.S., 357 U.S. 301,
305 (1958) (in the circumstance of an arrest for violation of federal law by state peace officers, “…the lawfulness of the
arrest without warrant is to be determined by reference to state law”)
17
     U.S. v. Haskins, 228 F.3d 151, 152 (2d Cir. 2000), cert denied, 531 U.S. 1175 (2001).
18
     U.S. v. Bowdach, 561 F.2d 1160, 1168 (5th Cir. 1977).
19
     U.S. v. Janik, 723 F.2d 537, 548 (7th Cir. 1983).
20
     Sessions and Hayden, supra note 15, at 332-336.
21
  Gonzalez v. City of Peoria, 722 F.2d 468, 475-77 (9th Cir. 1983). The Ninth Circuit held, for example, that the enforce-
ment authority must distinguish illegal entry, which is a criminal immigration violation, from illegal presence, such
as overstaying a visa, which is only a civil violation. Id. at 477.
22
     Lynch v. Cannatella, 810 F.2d 1363, 1366, 1371 (5th Cir. 1987).
23
  See U.S. v. Vasquez-Alvarez, 176 F.2d 1294, 1295-1300 (10th Cir. 1999); U.S. v. Santana-Garcia, 264 F.3d 1188, 1190-1194
(10th Cir. 2001).
24
     U.S. v. Laville, 480 F.3d 187 (2007). See infra notes 35-36 and accompanying case for a discussing of the case.
25
  Theresa Wynn Roseborough, Deputy Assistant Att’y Gen., Office of Legal Counsel, U.S. Dep’t of Justice, Assistance
by State and Local Police in Apprehending Illegal Aliens (memorandum opinion for U.S. Attorney, S.D. Cal.) (Feb. 5,
1996), http://www.usdoj.gov/olc/immstopo1a.htm.
26
     Sessions and Hayden, supra note 15, at 337.
27
     Nat’l Council of La Raza v. Dep’t of Justice, 411 F.3d 350 (2nd Cir. 2005).
28
  Dep’t of Justice, Office of Legal Counsel, Non-preemption of the Authority of State and Local Law Enforcement Offi-
cials to Arrest for Immigration Violations (Apr. 3, 2002), available at www.aclu.org/FilesPDFs/ACF27DA.pdf.
29
     Op. Va. Att’y Gen. No. 07-086 (2007), 2007 *1 WL 3120673 (Va. A.G.).
30
     See supra note 8 and accompanying text.
31
     Op. Ohio Att’y Gen. No. 2007-018 (2007), 2007 WL 1953424 * 2 (Ohio A.G.).
32
     Op. S.C. Att’y Gen. (2003), 2003 WL 21471506 (S.C. A.G).
33
     Op. S.C. Att’y Gen. (2002), 2002 WL 399643 *1 (S.C. A.G.).
34
  See, e.g., Cecilia Renn, State and Local Enforcement of the Criminal Immigration Statutes and The Preemption Doctrine,
41 U. MIAMI L. REV. 999, 1005 (1987).
35
     Informal Op. N.Y. Att’y Gen. No. 2000-1 2(000), 2000 WL 420372 (N.Y. A.G.).
36
     U.S. v. Laville, 480 F.3d 187 (3rd Cir. 2007).
37
     Id. at 191.




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          38
            Id. Other courts grappling with the same issue have simply given the “presence” requirement an extremely broad
          interpretation, such that an officer who acts quickly in response to an alert to arrest a noncitizen for a misdemeanor
          immigration violation still meets the “presence” requirement. See, e.g., U.S. v. Daigle, No. CRIM. 05-29-B-W, 2005
          WL 1692648 (D. Me. Jul. 19, 2005).
          39
               Laville, 480 F.3d at 193.
          40
               8 U.S.C § 1357(g) (2000).
          41
           ICE, Partners, Delegation of Immigration Authority Section 287(g) Immigration and Nationality Act, April 18, 2008,
          www.ice.gov/partners/287g/Section287_g.htm.
          42
               Id.
          43
               Worker & Immigrant Rights Clinic, Yale Law School, http://islandia.law.yale.edu/wirc/287g_foia.html.
          44
             See, e.g., Memorandum of Agreement between the ICE and the Arizona Department of Public Safety, at 2-3, avail-
          able at http://islandia.law.yale.edu/wirc/287g_foia.html.
          45
             These include MOAs with the Arizona Department of Public Safety; with the Washington County, Arkansas, Sher-
          iff’s Office; with the Tulsa County, Oklahoma, Sheriff’s Office; with the Springdale, Arkansas, Police Department.
          46
           These include, for example, those MOAs signed by the State of Alabama (no serving warrants, but power arrest
          without a warrant); or the Sheriff’s Office of Alamance County, North Carolina (no warrantless arrests).
          47
             Memorandum of Agreement between the ICE and the Mecklenburg County, North Carolina, at 2-3, available at
          http://islandia.law.yale.edu/wirc/287g_foia.html.
          48
            These include MOAs with the State of Florida (counterterrorism and domestic security); the Town of Herndon, Vir-
          ginia, and the Herndon Police Department (be assigned and/or collocated as task force officers to assist ICE agents with
          criminal investigations); the Colorado Department of Public Safety/Colorado State Patrol (assigned or collocated as
          task force officers to assist ICE with criminal investigations, specifically human smuggling, human trafficking, and the
          exploitation of all persons); the State of Georgia Department of Public Safety (assigned or collocated as task force
          officers to assist ICE agents with criminal investigations, specifically transport of contraband, such as narcotics or pro-
          ceeds from illegal activities, and identity theft and document fraud, especially involving state driver’s licenses); the Hud-
          son Police Department in New Hampshire (assigned and/or collocated as task force officers to assist ICE agents with
          criminal investigations, specifically assisting local authorities in urban areas who have requested assistance due to per-
          vasive criminal activity occurring in hot spots within their communities); Benton County, Arkansas, Sheriff’s Office
          (to identify and remove criminal aliens from Benton County); Shenandoah County, Virginia, Sheriff’s Office (assigned
          and/or collocated as task force officers to assist ICE agents with criminal investigations, in particular illegal traf-
          ficking in narcotics investigations and gang investigations, or general criminal investigations of persons who are not
          authorized to be in the U.S.); the Collier County, Florida, Sheriffs’ Office (assigned and/or collocated as task force
          officers to assist ICE agents with criminal investigations, in particular identifying high-risk felons wanted for crimes
          or offenses that represent a significant threat to public safety, illegal trafficking of narcotics, gang activity, identifying
          enterprises and other forms of criminal activity, arresting and prosecuting all subjects involved in criminal activity, and
          investigating identity theft and fraudulent use of Florida driver’s licenses or identification cards); Maricopa County,
          in Arizona (assigned and/or collocated as task force officers to assist ICE agents with criminal investigations, in par-
          ticular with identifying high-risk felons wanted for crimes that represent a significant threat to public safety, crimi-
          nal enterprises and other types of organized crimes, gangs, illegal trafficking in narcotics, and assisting local authorities
          in urban areas who have requested assistance due to pervasive criminal activity; the Framingham, Massachusetts,
          Police Department (assigned and/or collocated as task force officers to assist ICE agents with criminal investiga-
          tions); and the Rockingham County, Virginia, Sheriff’s Office (assigned or collocated as task force officers to assist ICE
          with criminal investigations, in particular gangs and illegal trafficking in narcotics).
          49
             Memorandum of Agreement between ICE and the State of Florida, at 2-3, available at http://islandia.law.yale.edu
          /wirc/287g_foia.html.
          50
             These include MOAs with the Jail Board of the Prince William-Manassas Regional Adult Detention Center (Virginia);
          the Cabarrus County (North Carolina) Sheriff’s Office jail/correctional facilities; the Barnstable County (Massachu-
          setts) Sheriff’s Office correctional facilities; the Arizona Department of Corrections; the Cobb County (Georgia)
          Board of Commissioners and the Cobb County Sheriff jail/correctional facilities; the York County (South Carolina) Sher-
          iff’s Office detention facilities; the Massachusetts Department of Corrections; El Paso County (Colorado) Sheriff’s Office




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detention facilities; the Gaston County (North Carolina) Sheriff’s Office jail facilities; State of New Mexico Corrections
Department; the Davidson County (Tennessee) Sheriff’s Office jail and correctional facilities; the Los Angeles County
(California) jail facilities; San Bernardino County (California) Board of Supervisors county jail facilities; County of Orange
(California) jail facilities; and Riverside County (California) jail facilities.
51
 American Immigration Lawyers Association, Fact Sheet – “287(g)” Agreements, available at http://www.aila.org/search/
default.aspx?searchterm=fact%20sheet%20287(g).
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     Op. Ohio Att’y Gen. No. 2007-029 (2007), 2007 WL 2700588 (Ohio A.G.).
53
     Op. Va. Att’y Gen. No. 07-016 (2007), 2007 WL 1456159 (Va. A.G.).
54
     Kobach, supra note 4, at 220, Table 1.
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 Press Release, U.S. Immigration and Customs Enforcement, Fact Sheet: Frequently Asked Questions About Worksite
Enforcement (Oct. 15, 2007), http://www.ice.gov/pi/news/factsheets/worksite.htm.
56
  These include: Baltimore, Chicago, Denver, Detroit, Houston, Los Angeles, Minneapolis, New York City, Philadel-
phia, San Francisco, Seattle, and Washington, D.C. Orde F. Kittrie, Federalism, Deportation, and Crime: Victims Afraid
to Call the Police, 91 IOWA L. REV. 1449, 1466-74 (2006).
57
  Nat’l Immigration Law Ctr., Annotated Chart of Laws, Resolutions, and Policies, Instituted Across the U.S. Pro-
tecting Residents from Local Enforcement of Immigration Laws (2004).
58
  Kittrie, supra note 56, at 1455. See also Huyen Pham, The Constitutional Right Not to Cooperate? Local Sovereignty and
the Federal Immigration Power, 74 U. CIN. L. REV. 1373, 1388-91 (2006) (describing the characteristics of sanctuary
policies as follows: no discrimination; no enforcement of civil immigration laws; no inquiry into citizenship status; and
no notifying federal immigration authorities).
59
     Id. at 1474.
60
   This provision imposes criminal penalties on “[a]ny person who…knowing or in reckless disregard of the fact that
an alien has come to, entered, or remains in the United States in violation of law, conceals, harbors, or shields from detec-
tion, or attempts to conceal, harbor, or shield from detection, such alien in nay place, including any building or any means
of transportation.” 8 U.S.C. § 1324(a)(1)(A)(iii) (2000).
61
     Kittrie, supra note 56, at 1493-95.
62
     See id.
63
     Id. at 1495.
64
     Pham, supra note 58, at 1384-85.
65
     8 U.S.C. § 1373 (2000).
66
     8 U.S.C. § 1644 (2000).
67
     179 F.3d 29 (2nd Cir. 1999).
68
     Id. at 33.
69
     Kittrie, supra note 56, at 1498. See also Pham, supra note 58, at 1391-95.
70
     Kittrie, supra note 56, at 1499.
71
     Id. at 1487-93, 1499-1500.
72
     Id. at 1475-80.
73
     Id. at 1480-84.
74
   See, e.g., Muehler v. Mena, 544 U.S. 93 (2005) (involving the questioning of detainee about her immigration status dur-
ing the execution of a gang-related warrant in a home); Farm Labor Org. Comm. v. Ohio State Highway Patrol, 991 F.
Supp. 85 (N.D. Ohio 1997) (involving asking occupants in a car during a traffic stop about their immigration status); U.S.
v. Esparza-Mendoza, 386 F.3d 953 (10th Cir. 2004) (involving the discovery of an outstanding immigration warrant dur-
ing a community care-function encounter).
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  See, e.g., Flores v. Walla Walla Police, No. CV-06-166-MWL., 2006 WL 2850010 (E.D. Wash. Oct. 2, 2006) (involving
local police arrest based on a federal immigration warrant).
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     See, e.g., U.S. v. Vite-Espinoza, 342 F.3d 462, 464 (6th Cir. 2003) (involving the execution of a home raid with a fed-




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          eral immigration search warrant during a joint federal, state, and local police task force investigating the counterfeiting
          of immigration and identification documents).
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               See, e.g., State v. Bolton, 301 P.2d 98 (N.M. App. 1990) (involving participation of ICE agents in state road block).
          78
            U.S. v. Perez-Sosa, 164 F.3d 1082 (8th Cir. 1998) (involving state trooper’s consensual encounter that lead to proba-
          ble cause based on report that person was transporting undocumented persons).
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            See, e.g., Arias, et. al., v. ICE, Civ. No. 07-1959 ADM/JSM, 2008 WL 1827604 (D. Minn. Apr. 23, 2008). See also Orig-
          inal Complaint—Class Action Request for Injunctive Relief and Declaratory Relief and Damages, at 8-10, 12-14, United
          Food & Commercial Workers Int’l Union v. Chertoff, No. 07-000188 (N.D. Tex. Sept. 12, 2007), available at
          http://www.ailf.org/lac/chdocs/UFood-Complaint.pdf.
          80
               See, e.g., Randolph Capps, et. al., Paying the Price: The Impact of Immigration Raids on America’s Children, URBAN INSTI-
          TUTE, 2007, available at http://www.urban.org/url.cfm?ID=411566&renderforprint=1.
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            See, e.g., Arias, 2008 WL 1827604 at 3.See also Complaint for Violations of the Fourth and Fifth Amendments to
          the United States Constitution, Reyes v. Alcantar, No. 07-02271 (N.D. Cal. Apr. 26, 2007), available at
          http://www.ailf.org/lac/chdocs/Reyes-Complaint.pdf.
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             INS v. Lopez-Mendoza, 468 U.S. 1032, 1050 (1984). See also Joseph J. Migas, Exclusionary Remedy Available in Civil
          Deportation Proceedings for Egregious Fourth Amendment Violations, 9 GEO. IMMIGR. L. J. 207, 209 (1995).
          83
            Daniel P. Blank, Note, Suppressing Defendant’s Identity and Other Strategies for Defending Against a Charge of Ille-
          gal Reentry After Deportation, 50 STAN. L. REV. 139,140-41 (1997).
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               U.S. v. Martinez-Fuerte, 428 U.S. 543, 558 (1976).
          85
               INS v. Delgado, 466 U.S. 210, 218 (1984).
          86
             See, e.g., U.S. v. Urrieta, 520 F.3d 569 (6th Cir. 2008); U.S. v. Pasillas-Castanon, No. 06-CR-175-HDC, 2007 WL 43391
          (N.D. Okla. Feb. 2, 2007); U.S. v. Villanueva-Madriz, No. 05-CR-60073-HO, 2006 WL 278160 (D. Or. Feb. 3, 2006); U.S.
          v. Santana-Garcia, 264 F.3d 1188 (10th Cir. 2001); Farm Labor Org. Comm. v. Ohio State Highway Patrol, et al., 991 F. Supp.
          895 (N.D. Ohio 1997).
          87
               See, e.g., New Mexico v. Bolton, 801 P.2d 98 (N.M. App. 1990).
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               Muehler v. Mena, 544 U.S. 93, 100-01 (2005).
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               See Raquel Aldana, On Rights, Federal Citizenship, and the “Alien,” 46 WASHBURN L. J. 263, 284 (2007).
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             See, e.g., Blackie’s House of Beef, Inc. v. Castillo, 659 F.2d 1211, 1213 (D.C. Cir. 1981). See also Int’l Molder’s & Allied Worker’s
          Local Union No. 164 v. Nelson, 799 F.2d 547, 553 (9th Cir. 1986).
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               U.S. v. De Leon-Reyna, 930 F.2d 396 (5th Cir. 1991).
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               DHS, E-Verify, available at www.dhs.gov/xprevprot/programs/gc_1185221678150.shtm.
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            Raquel Aldana, Of Katz and “Aliens”: Privacy Expectations and the Immigration Raids, 41 U.C. DAVIS L. REV. 1081, 1098-
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Administration’s Numident File, at ii (2006) available at http://www.ssa.gov/oig/ADOBEPDF/audittxt/A-08-06-
26100.htm .
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      Id. at 11.
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      Id.
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      See Aldana, supra note 97, at 1109 for a description of ICE’s absconder initiative.
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U.S. Att’ys, § A, at 1 (Jan. 25, 2002), available at http://fl1.findlaw.com/news.findlaw.com/hdocs/docs/doj/absc-
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http://govinfo.library.unt.edu/911/hearings/hearing7/witness_ziglar.htm (statement of James W. Ziglar, INS Com-
missioner).
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arrest was acceptable. See also U.S. v. Davis, 568 F.2d 514, 515 (6th Cir. 1978).
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La Raza v. Gonzales, 468 F. Supp. 2d 429 (E.D. N.Y. 2007).
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Council v. Pilliod, 51 F. Supp. 1011, 1020-21 (N.D. Ill. 1982).
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64 WASH. & LEE L. REV. 469 (2007); Juliet Stumpf, The Crimmigration Crisis: Immigrants, Crimes, and Sovereign Power,
56 AM. U. L. REV. 367 (2006); Teresa A. Miller, Citizenship and Severity: Recent Immigration Reforms and the New
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          125
                Id. at 472.
          126
             In 2005, the House of Representatives passed a bill that would have created several additional crimes, including crim-
          inalizing the presence of the undocumented. Border Protection, Antiterrorism, and Illegal Immigration Control Act
          of 2005, H.R. 4437, 109th Cong. (2005).
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          http://articles.latimes.com/2008/jun/18/nation/na-immig18.
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                Id.
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             U.S. Immigration and Customs Enforcement, Fact Sheets: Frequently Asked Questions about Worksite Enforcement
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          TINEL, available at http://baltimorechronicle.com/2008/081108Lendman.shtml.
          131
            See, e.g., Overview of State Legislation Related to Immigrants and Immigration, January-March 2008, National
          Conference of State Legislatures, Immigrant Policy Project, April 24, 2008, available at
          http://www.ncsl.org/print/immig/immigreportapril2008.pdf (reporting that in the first three months of 2008 alone,
          24 bills on human trafficking and 198 bills on law enforcement were introduced).
          132
                Id.
          133
                Miller, supra note 123, at 614-15; Stumpf, supra note 123, at 391.
          134
                Miller, supra note 123, at 648-49.
          135
                Id. at 635-36.
          136
                Consider, for example, DHS Secretary Michael Chertoff’s remarks in defense of worksite raids:
                       [Document fraud] is a serious problem not only with respect to illegal immigration, but with
                       respect to national security. And that’s precisely the point made by the 9/11 Commission a couple
                       of years ago, because illegal documents are not only used by illegal migrants, but they are used by
                       terrorists who want to get on airplanes, or criminals who want to prey on our citizens. And so, as
                       part of this overall strategy of worksite enforcement, we’ve gotten very focused on the question of
                       those who exploit illegal documents and identity theft in order to pursue illegal acts. So yesterday’s
                       enforcement action [the Swift and Co. raids] demonstrate another step in this worksite enforcement
                       strategy. A tough stance against worksites that employ illegal aliens and against individuals and organ-
                       izations that commit or facilitate identity theft or fraud.
          Press Release, Dep’t of Homeland Security, Remarks by Secretary of Homeland Security Michael Chertoff, Immi-
          gration and Customs Enforcement Assistant Secretary Julie Myers, and Federal Trade Commission Chairman Deb-
          orah Platt Majoras at a Press Conference on Operation Wagon Train (Dec. 13, 2006), available at
          http://www.dhs.gov/xnews/releases/pr_1166047951514.shtm.
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                See Craig M. Bradley, The Reasonable Policeman: Police Intent in Criminal Procedure, 76 MISS. L. J. 339, 340 (2006).
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             Whren v. United States, 517 U.S. 806, 811 (1996) (holding that ulterior motives need not invalidate police conduct that
          is otherwise justified by reasonable belief that a violation of law has occurred).
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                Id.
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                531 U.S. 32, 50-51 (2000).
          141
                Immigration and Nationality Act (INA) of 1990, 8 U.S.C. § 1253 (2000).
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             See Kevin Lapp, Pressing Public Necessity: The Unconstitutionality of the Absconder Apprehension Initiative, 29
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    Undocumented Immigration and Rates of Crime and Imprisonment:
                Popular Myths and Empirical Realities



by Rubén G. Rumbaut

Introduction
   The perception that the foreign-born, especially “illegal aliens,” are responsible for higher
crime rates is deeply rooted in American public opinion and is sustained by media anecdote and
popular myth. In the absence of rigorous empirical research, stereotypes about immigrants and
crime often provide the underpinnings for public policies and practices, and shape public opin-
ion and political behavior (Chávez 2001; Hagan and Palloni 1999; Lee 2003; Martínez and Valen-
zuela 2006). Such stereotypes, reinforced through popular movies and television programs and
fueled by media coverage of singular events, project an enduring image of immigrant communities
permeated by criminal elements.
   The extent to which such views shape American public opinion was shown by the results of
the National Opinion Research Center’s 2000 General Social Survey, which interviewed a nation-
ally representative sample of adults to measure attitudes toward and perceptions of immigration
in a “multi-ethnic United States.” Asked whether “more immigrants cause higher crime rates,”
25 percent said “very likely” and another 48 percent “somewhat likely.” Thus about three-fourths
(73 percent) of Americans believed that immigration is causally related to more crime. That was
a much higher proportion than the 60 percent who believed that “more immigrants were [some-
what or very] likely to cause Americans to lose jobs,” or the 56 percent who thought that “more
immigrants were [somewhat or very] likely to make it harder to keep the country united” (Alba,
Rumbaut and Marotz 2005; Rumbaut and Alba 2003). A year later, the attacks of September 11,
2001, and the political and media reaction in the wake of a “war on terror,” further exacerbated
public fears of the foreign-born and conflated “illegal immigration” not only with crime but
with potential terrorism.
   But these perceptions are not supported empirically; instead, as demonstrated below, they
are refuted by the preponderance of scientific evidence. Both contemporary and historical stud-
ies, including official crime statistics and victimization surveys since the early 1990s, data from
the last three decennial censuses, national and regional surveys in areas of immigrant concentration,
and investigations carried out by major government commissions over the past century, have
shown instead that immigration is associated with lower crime rates and lower incarceration
rates.
   In what follows we examine the relationship of contemporary immigration, including undoc-
umented migration, to crime and imprisonment. First, at the national level, we analyze changes
in the rates of violent crimes and property crimes during the years of the surge in immigration.
Next we look at the incarceration rates of young men eighteen to thirty-nine, comparing the
foreign-born versus the U.S.-born by national origin and by education, and, among the foreign-
born, by length of residence in the United States. The analysis compares the rates of incarcera-
tion of foreign-born young men from nationalities the majority of whom are undocumented

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         immigrants with less than a high school education (Mexicans, Salvadorans and Guatemalans) ver-
         sus the rates for other immigrant nationalities as well as for native ethnic majority and minority
         groups. Finally, we summarize the available empirical evidence from a wide range of other stud-
         ies, compare it to prevailing public perceptions, and note their implications for criminological the-
         ory, research, and public policy.

         The Conflation of “Undocumented Immigrant” and “Crime”
            Periods of increased immigration have historically been accompanied by nativist alarms, per-
         ceptions of threat, and pervasive stereotypes of newcomers, particularly during economic down-
         turns or national crises (such as the 2000-2002 recession and the “war on terror” of the
         post-September 11 era, which spiked public anxiety), and when immigrants have arrived en
         masse and differed substantially from the native-born in religion, language, physical appear-
         ance, and world region of origin (Fry 2006; Johnson 2005; Kanstroom 2007). The present period
         is no exception—with the twist that “illegal immigrants” are now singled out with added animus
         and framed as harbingers of crime.
            Thus, California’s Proposition 187, which was passed with 59 percent of the statewide vote in 1994
         (but challenged as unconstitutional and subsequently overturned by a federal court), asserted in its
         opening lines that “the people of California…have suffered and are suffering economic hardship [and]
         personal injury and damage caused by the criminal conduct of illegal aliens in this state.” Simi-
         larly, the “Illegal Immigration Relief Act Ordinance” passed in 2006 by the city council of Hazleton,
         Pennsylvania—the first of hundreds of such ordinances passed by local councils throughout the
         U.S. since 2006—declared in part that “illegal immigration leads to higher crime rates” and sought
         accordingly to secure for the city’s legal residents and citizens “the right to live in peace free of
         the threat of crime” and to protect them from “crime committed by illegal aliens.” (The Hazleton
         ordinance too was overturned in 2007 as unconstitutional.)
            Such attitudes find support at the highest levels of political leadership. For example, in his May
         15, 2006, address to the nation on immigration reform, President George W. Bush asserted that
         “illegal immigration puts pressure on public schools and hospitals, it strains state and local budg-
         ets, and brings crime to our communities.” Two days later, CNN anchor Lou Dobbs, taking Presi-
         dent Bush to task for what he termed “woefully inadequate” proposals, framed the issue as follows
         in his televised commentary: “Not only are millions of illegal aliens entering the United States each
         year across that border, but so are illegal drugs. More cocaine, heroin, methamphetamine, and
         marijuana flood across the Mexican border than from any other place, more than three decades into
         the war on drugs…If it is necessary to send 20,000 to 30,000 National Guard troops to the border
         with Mexico to preserve our national sovereignty and protect the American people from rampant
         drug trafficking, illegal immigration and the threat of terrorists, then I cannot imagine why this pres-
         ident and this Congress would hesitate to do so.” About the only point of agreement between the pres-
         ident and Dobbs seemed to be the equation of “illegal immigration” and “crime.”
            The belief that immigration leads to increased crime is not solely an American phenomenon;
         we see similar trends at the international level. Kitty Calavita’s (2005) recent study in southern



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Europe, for example, reports that in Spain in 2002 a national poll found that 60 percent believed
that immigrants were causing increases in the crime rate, while a survey conducted in Italy
found that 57 percent of Italians agreed that “the presence of immigrants increases crime and delin-
quency.” These notions in turn were fanned by media accounts. A content analysis of newspapers
in southern Italy found that 78 percent of the articles regarding immigration were crime related,
while another study found that 57 percent of television reports on immigrants dealt with crime.

The Coincidence of Mass Immigration and Mass Imprisonment
   A new era of mass migration, accelerating since the 1970s, has transformed the ethnic and
racial composition of the U.S. population and the communities where they settle. This time the
flows have come largely from Latin America, the Caribbean, and Asia, not from Europe. Over the
past fifteen years, the number of immigrants—in varying legal statuses1—coming to the United States
has been the largest in history in absolute terms. In 2006 the foreign-born population surpassed
38 million, nearly 13 percent of the U.S. population.
   In 1970, the U.S. census had found that the foreign-born population accounted for only 4.7
percent of the total population—the lowest proportion since 1850, when it first recorded the
country of birth of U.S. residents. But by 1980, the foreign-born population had grown to 14.1 mil-
lion, or 6.2 percent of the national total; by 1990 it had grown to 19.8 million (7.9 percent); by
2000, to 31.1 million (11.1 percent); and it has been growing by more than one million per year since.
More immigrants came in the 1980s than in any previous decade but one (1901-10, the peak years
of mass migration from Europe when the foreign-born population reached 14.7 percent of the U.S.
total); and more immigrants came in the 1990s than in any other decade—a total that may be
surpassed in the present decade, adding to the largest immigrant population in history (both
legal and illegal). By 2008, over 70 million persons in the United States were of foreign birth or
parentage (first or second generations)—about 23 percent of all Americans, including 76 per-
cent of all “Hispanics” and 90 percent of all “Asians” (Rumbaut, 2008). Immigrants are heavily
concentrated in metropolitan areas, are predominantly nonwhite, speak languages other than Eng-
lish, reflect a wide range of religious and cultural backgrounds, and arrive with a mix of legal sta-
tuses (Alba and Nee 2003; Portes and Rumbaut 2006).
   More significant still is the diversity of their social class origins. By far the most educated and the
least educated groups in the U.S. today are immigrants, a reflection of polar-opposite types of
migrations embedded in different historical contexts—and inserted in a labor market increasingly
polarized into high-tech/high-wage and manual/low-wage sectors, which attracts both immigrant
professionals and undocumented laborers. They come through regular immigration channels, or with-
out legal authorization, or as state-sponsored refugees—legal statuses which interact with their
human capital to shape distinct modes of incorporation. One mode is exemplified by groups com-
posed of a majority of legal permanent residents with college degrees or more advanced credentials
(such as the Indians, Chinese, Koreans, and Filipinos); another is typified by groups composed of
a majority of unauthorized laborers with less than a high school education (principally Mexicans,
Salvadorans, and Guatemalans, who have the lowest levels of education in the U.S.); yet a third



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         involves groups admitted as refugees (such as the Vietnamese, Laotians, and Cambodians, and the
         Cubans, who benefit from a 1966 law that applies uniquely to them) (Rumbaut 2008).
            Unlike the Europeans who entered a rapidly industrializing society in the last era of mass
         migration a century ago, the incorporation of contemporary immigrants has coincided with a period
         of economic restructuring and rising inequality in income, wealth, and social well-being, during
         which the returns to education have sharply increased (Massey 2007). As the post-World War
         II era of sustained economic growth, low unemployment, and rising real wages ended for most
         workers by the early 1970s, men with only a high school degree or less were hardest hit. In this
         changing context, social timetables that were widely observed a half century ago by young peo-
         ple for accomplishing adult transitions have become less predictable and more prolonged, diverse,
         and disordered (Settersten, Furstenberg, and Rumbaut 2005).
            This new era of mass immigration has also coincided with an era of mass imprisonment in the
         U.S., which has further transformed paths to adulthood among young men with low levels of edu-
         cation (Pettit and Western 2004). The number of adults incarcerated in federal or state prisons or
         local jails in the U.S. skyrocketed during this period, quadrupling from just over 500,000 in 1980 to
         over 2.2 million in 2006. Those figures do not include the much larger number of those on proba-
         tion (convicted offenders not incarcerated) or parole (under community supervision after a period
         of incarceration); when they are added to the incarceration totals, over seven million adults were
         under correctional supervision in the U.S. in 2006 (U.S. Bureau of Justice Statistics 2007).
            Among some racial minorities in the U.S., becoming a prisoner has become a modal life event
         in early adulthood: astoundingly, as Pettit and Western (2004) have noted, a black male high
         school dropout born in the late 1960s had a nearly 60 percent chance of serving time in prison by
         the end of the 1990s, and recent birth cohorts of black men are more likely to have prison records
         than military records or bachelor’s degrees. In a cycle of cumulative disadvantage, young men with
         low levels of education are significantly more likely to become a prisoner than same-age peers with
         higher levels of education. Having a prison record, in turn, is linked not only to unemployment,
         lower wages, marital and family instability, and severe restrictions on social and voting rights
         (including lifetime disenfranchisement in many states) but also to stigmatized identities and
         pathways to criminal recidivism (Manza and Uggen 2006; Pager 2003; Sampson and Laub 1993;
         Western 2002; Western, Kling, and Weiman 2001; Visher and Travis 2003).
            In the wake of both phenomena—the rise of immigration and the rise of incarceration, which
         have occurred rapidly and in tandem, extending deeply into the fabric of American life—the
         research literatures on both immigration and incarceration have burgeoned, but independently
         of each other. Surprisingly, with some exceptions (e.g., Butcher and Piehl 1997; Hagan, Levi,
         and Dinovitzer 2008; Hagan and Palloni 1999; Lee 2003; Lee, Martínez, and Rosenfeld 2001;
         Martínez 2002; Martínez, Lee, and Nielsen 2004; Rumbaut, 1997, 2005), there has been scant schol-
         arly effort made to connect the respective literatures. Immigration scholars, focused on the
         incorporation of the latest waves of newcomers, have all but ignored the areas of crime and
         imprisonment—although those would be indispensable to tests of theories of segmented assim-
         ilation and modes of incorporation. And criminologists in turn have paid no attention to the



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surge in immigration (for instance, Zimring 2007). Contemporary criminology has focused
largely on the stratifications of race (still largely framed in black and white terms) and place,
class, age and gender, leaving out ethnicity, nativity, and generation (in part because official
criminal justice statistics are not collected by national origin, immigration or generational status).

Undocumented Immigration 1993-2006
   Today an estimated twelve million immigrants are unauthorized, or 30 percent of the foreign-
born population of the U.S.; those figures are unprecedented. The number of undocumented immi-
grants has quadrupled since 1994. The U.S. Department of Homeland Security estimated their
numbers at 11.6 million as of January 2006 (Hoefer et al., 2007). According to the Pew Hispanic Cen-
ter, two-thirds (66 percent) of the unauthorized population had been in the country for ten years
or less, and the largest share, 40 percent or 4.4 million people, had been in the country five years or
less. There were 1.8 million children who were unauthorized, or 16 percent of the total. In addition,
3.1 million children who are U.S. citizens by birth were living in households in which the head of the
family or a spouse was unauthorized. About 56 percent of the unauthorized population was from
Mexico, and another 8 percent from El Salvador and Guatemala, so that two-thirds of the total
came from those three countries alone. Another 14 percent came from other Latin American coun-
tries, and 22 percent from Asia, Europe, Canada, Africa, and elsewhere (Passel 2006).
   Since 1993, the militarization of the U.S.-Mexico border in four key sectors from San Diego to
El Paso and the lower Rio Grande Valley, including a tripling of the number of Border Patrol
agents and a quadrupling of the Border Patrol budget, has not deterred the flow of unautho-
rized migrants. Instead it has led to a booming industry of professional smugglers (coyotes) and
redirected the flow of undocumented immigrants through more isolated and dangerous desert
terrain, resulting in hundreds of deaths each year. Undocumented immigrants are now head-
ing to new destinations across all fifty states, rather than just traditional destinations in Cali-
fornia and Texas. Another unintended consequence of heightened border enforcement is that the
largely temporary population of “sojourner” workers that predominated in the past has been
transformed into a population of permanent “settlers” who bring their families and stay, since the
risks and costs of dangerous border crossings have sharply increased. For instance, in recent
years coyotes have charged Mexican migrants about $3,000 per person to cross the border (Cor-
nelius 2006; Massey, Durand and Malone 2002).
   Still, the undocumented immigrant population is disproportionately made up of poor young
males who have recently arrived from Mexico, El Salvador, and Guatemala, and a few other
Latin American countries to work in low-wage jobs requiring little formal education. These
migrants are responding to the growing demand for their labor generated by the U.S. economy,
which faces a demographic challenge to future labor-force growth as the fertility rate of natives
declines and a growing number of native-born workers retire (IPC 2005). As the Congressional
Budget Office put it in a recent report (2005: 25): “The baby-boom generation’s exit from the labor
force could well foreshadow a major shift in the role of foreign-born workers in the labor force.
Unless native fertility rates increase, it is likely that most of the growth in the U.S. labor force will



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         come from immigration by the middle of the century.”
             Conventional wisdom presumes a connection between the characteristics of workers who
         fill less-skilled jobs (i.e., young, male, poor, high-school dropout, ethnic minority)—which describe
         a much greater proportion of the foreign-born than of the native-born—and the likelihood of
         involvement with crime, all the more when those young male workers are unauthorized migrants.
         Federal Bureau of Investigation (FBI) statistics also show that late teens and young adult males
         exhibit the highest rates of violent and property crimes. But if immigration (legal or illegal)
         were associated with increasing crime rates, the official crime statistics would clearly reveal it.
         The opposite, however, is the case.

         Crime Rates 1993-2006
             Since the early 1990s, over the same time period as legal and especially illegal immigration was
         reaching and surpassing historic highs, crime rates have declined, both nationally and most notably
         in cities and regions of high immigrant concentration (including cities with large numbers of undoc-
         umented immigrants, such as Los Angeles and border cities like San Diego and El Paso, as well as New
         York, Chicago, and Miami). This is especially evident from national-level data on crimes and arrests
         reported by city, county and state law enforcement authorities to the FBI, as well as from the National
         Crime Victimization Survey (NCVS), an annual household survey ongoing since 1972 that inter-
         views about 134,000 persons age twelve or older in 77,200 households about their victimizations
         from crime (whether or not they were reported to the police). Data from the latter provide a more
         precise estimate of crimes that often go unreported to the police (in 2005, for example, only 47 per-
         cent of all violent victimizations and 40 percent of all property crimes were reported to the police).
            The Uniform Crime Reports released each year by the FBI demonstrate the decline of both
         reported violent crime and property crime at the same time that the foreign-born population has
         surged. From 1994 to 2005, property crimes and violent crimes reached lows in the United States not
         seen in decades. Over that period, the total number of reported property crimes declined significantly.
         Specifically, burglary rates stabilized after many years of decline, motor-vehicle theft rates were cut
         by more than half during the 1990s and leveled off after 2000, and theft rates reached the lowest level
         ever recorded in 2005. Even more significantly, in this same time period, the total number of
         reported violent crimes declined by 34 percent. In particular, homicide rates fell 38 percent to lev-
         els last seen in the late 1960s, robbery rates dropped 41 percent, and assault rates declined 32 per-
         cent; serious violent crimes committed by juveniles also decreased during this period. In fact, both
         overall property and violent crime rates reached their lowest levels in about thirty years, with rates
         for some reported crimes at all-time lows (U.S. Bureau of Justice Statistics 2007).
            Data from the NCVS document even more impressive reductions in serious violent crime and prop-
         erty crime during the same period. Between 1993 (when the NCVS was redesigned) and 2005,
         the rate of every major violent and property crime measured—rape or sexual assault, robbery,
         aggravated assault, simple assault, burglary, theft, and motor vehicle theft—fell significantly. Over-
         all, the violent crime rate decreased 58 percent, from fifty to twenty-one victimizations per 1,000
         persons age twelve or older. Property crime declined 52 percent, from 319 to 154 per 1,000 house-



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holds. Specifically, significant declines were measured in the rates of rape or sexual assault (down
69 percent), robbery (down 57 percent), aggravated assault (down 64 percent), and simple assault
(down 54 percent). The household burglary rate fell 49 percent; the motor vehicle theft rate fell 56
percent; and the theft rate fell 52 percent (Catalano 2006).
   Yet during these same years there was an unprecedented rise in the foreign-born and Hispanic
populations. From 1994 to 2006, the foreign-born population grew from 22.6 to 38.6 million peo-
ple in the United States (a 71 percent increase), and the Hispanic population increased from 26.6 to
43.2 million people (a 62 percent increase). “Hispanics” are often lumped together in both the
media and official statistics without regard to generational differences, national or class origins, or
immigration status, and are often categorically scapegoated for perceived increases in crime rates.
While correlation is not causation, it is telling that during a thirteen-year period when the immi-
grant population (and especially the undocumented population) was increasing sharply to historic
highs, the overall rates of property and violent crimes in the United States decreased significantly, in
some instances to historic lows.

Incarceration Rates 1980-2006
   On the other hand, paralleling the rise in immigration, the U.S. incarceration rate has become
the highest of any country in the world. There are more people behind bars in the United States
than in either China or India, each of which has a population roughly four times larger than
that of the United States (Walmsley 2005). The U.S., with less than 5 percent of the world’s pop-
ulation, now has almost a fourth of the world’s prisoners. The U.S. incarceration rate, which
had been relatively stable at some 110 prisoners per 100,000 people from 1925 to 1975, began
increasing sharply thereafter. Between 1980 and 2006, the rate grew from 139 prisoners for
every 100,000 people to 751 per 100,000. Of the more than two million people behind bars, two-
thirds are in federal or state prisons and one-third in local jails. The vast majority are young
men between eighteen and thirty-nine.
   Although official statistics are not kept by nativity or immigration status, they show that imprisonment
rates vary widely by gender (93 percent of inmates in federal and state prisons are men, most between
eighteen and thirty-nine); by racial/pan-ethnic groups (there were 4,834 black male prisoners per
100,000 black males in the U.S., compared to 1,778 Hispanic males per 100,000, and 681 white males
per 100,000, although since 1985 Hispanics have been the fastest group being imprisoned); and by level
of education (those incarcerated are overwhelmingly high school dropouts) (U.S. Bureau of Justice Sta-
tistics 2007). According to the National Center on Addiction and Substance Abuse at Columbia Uni-
versity (1998), about 80 percent of those in prison either violated drug or alcohol laws, were high at the
time they committed their crimes, stole property to buy drugs, had a history of drug and alcohol
abuse and addiction, or some combination of those characteristics—reflecting the impact of manda-
tory-sentencing and “three strikes” laws during this period.
Incarceration Rates of Foreign-born vs. Native-born Men
  Inasmuch as the incarcerated population is overwhelmingly composed of less educated young adult
males from ethnic minority groups—a profile which, as noted, fits a much greater proportion of the



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         undocumented immigrant population—it follows that immigrants would be expected to have higher
         incarceration rates than natives. And immigrant Mexican men—who comprise fully a third of all immi-
         grant men in the U.S. between eighteen and thirty-nine—would be expected to have the highest
         rates. The hypothesis is examined empirically in Tables 1 and 2. The results shown there turn those
         expectations on their head. Data from the 2000 census are used to measure the institutionalization
         rates of immigrants and natives, focusing on males age eighteen to thirty-nine, among whom the
         vast majority of the institutionalized are in correctional facilities (Butcher and Piehl 1997).
            As Table 1 shows, 3 percent of the 45.2 million males age eighteen to thirty-nine were in federal or
         state prisons or local jails at the time of the 2000 census (a total of over 1.3 million, coinciding with
         official prison statistics). However, the incarceration rate of the U.S.-born (3.51 percent) was five times
         the rate of the foreign-born (0.68 percent). The latter was less than half the 1.71 percent rate for non-
         Hispanic white natives, and seventeen times less than the 11.6 percent incarceration rate for native
         black men. The advantage for immigrants vis-à-vis natives applies to every ethnic group without excep-
         tion. Almost all of the Asian immigrant groups have lower incarceration rates than the Latin Amer-
         ican groups (the exception involves foreign-born Laotians and Cambodians—two refugee groups
         with the highest levels of poverty in the country—whose incarceration rate of 0.92 percent is still well
         below that for non-Hispanic white natives). Tellingly, among the foreign-born the highest incarceration
         rate by far (4.5 percent) was observed among island-born Puerto Ricans—who are not immigrants as
         such since they have statutory U.S. citizenship and can travel freely to the mainland as natives.
         Incarceration Rates by Education and Nativity
            Of particular interest is the finding that the lowest incarceration rates among Latin American
         immigrants are seen for the least educated groups, who are also the groups who account for the
         majority of the undocumented: the Salvadorans and Guatemalans (0.52 percent), and the Mexicans
         (0.70 percent). However, those rates increase significantly for their U.S.-born co-ethnics. That
         is most notable for the Mexicans, whose incarceration rate increases to 5.9 percent among the U.S.-
         born; for the Vietnamese, whose incarceration rate increases from 0.5 among the foreign-born to
         5.6 percent among the U.S.-born; and for the Laotians and Cambodians, whose rate moves up to
         7.3 percent, the highest of any group except for native blacks. (Almost all of the U.S.-born among
         those of Latin American and Asian origin can be assumed to consist of second-generation persons—
         with the exceptions of Mexicans and Puerto Ricans, who may include among the U.S.-born a
         sizable but unknown number of third-generation persons.) Thus, while incarceration rates are found
         to be extraordinarily low among the immigrants, they are also seen to rise rapidly by the second
         generation: except for the Chinese, Indians, Koreans, and Filipinos (who as noted earlier are the
         children of mainly professional immigrants), the rates of all other U.S.-born Latin American and
         Asian groups exceed that of the referent group of non-Hispanic white natives.
            For all ethnic groups, as expected, the risk of imprisonment is highest for men who are high
         school dropouts (6.9 percent) compared to those who are high school graduates (2.0 percent).
         However, as Table 2 elaborates, the differentials in the risk of incarceration by education are
         observed principally among native-born men, and not immigrants. Among the U.S.-born, 9.8 per-
         cent of all male dropouts age eighteen to thirty-nine were in jail or prison in 2000, compared to



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TABLE 1. PERCENTAGE OF MALES 18 TO 39 INCARCERATED IN THE UNITED STATES, 2000, BY NATIVITY AND LEVEL OF EDUCATION,
 IN RANK ORDER BY ETHNICITY

                                          Males, ages 18-39:               Percent incarcerated, by nativity and by education:

                                         Total        Percent                    Nativity:                High school graduate?
 Ethnicity
                                        in U.S.     incarcerated      Foreign-born      U.S.-born           No             Yes

                                          N              %                 %                   %            %               %

 Total:                              45,200,417         3.04             0.68b                3.51         6.91            2.00

 Latin American Ethnicities:          7,514,857         3.26              0.99                6.72         3.95            2.62
 Salvadoran, Guatemalan                 433,828         0.68              0.52                3.01         0.71            0.62
 Colombian, Ecuadorian, Peruvian        283,599         1.07              0.80                2.37         2.12            0.74
 Mexican                              5,017,431         2.71              0.70                5.90         2.84            2.55
 Dominican                              182,303         2.76              2.51                3.71         4.62            1.39
 Cuban                                  213,302         3.01              2.22                4.20         5.22            2.29
 Puerto Ricana                          642,106         5.06              4.55                5.37        10.48            2.41

 Asian Ethnicities:                   1,902,809         0.62              0.29                1.86         2.43            0.35
 Indian                                 393,621         0.22              0.11                0.99         1.20            0.14
 Chinese, Taiwanese                     439,086         0.28              0.18                0.65         1.35            0.14
 Korean                                 184,238         0.38              0.26                0.93         0.93            0.34
 Filipino                               297,011         0.64              0.38                1.22         2.71            0.41
 Vietnamese                             229,735         0.89              0.46                5.60         1.88            0.55
 Laotian, Cambodian                      89,864         1.65              0.92                7.26         2.80            1.04

 Other:
 White, non-Hispanic                 29,014,261         1.66              0.57                1.71         4.64            1.20
 Black, non-Hispanic                  5,453,546        10.87              2.47               11.61        21.33            7.09
SOURCE: 2000 U.S. Census, 5% PUMS. Data are estimates for adult males, ages 18 to 39, institutionalized at the time
of the census.
a
  Island-born Puerto Ricans, who are U.S. citizens by birth and not immigrants, are classified as “foreign born” for pur-
poses of this table; mainland-born Puerto Ricans are here classified under “U.S.-born.”
b
  The foreign-born incarceration rate is 0.68 percent when island-born Puerto Ricans (U.S. citizens) are excluded,
0.86 percent when included.



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         TABLE 2. PERCENTAGE OF U.S.-BORN AND FOREIGN-BORN MALES 18-39 INCARCERATED IN THE UNITED STATES, 2000,
          BY COMPLETION OF A HIGH SCHOOL EDUCATION, IN RANK ORDER BY ETHNICITY

                                                    Males, ages 18-39:                  Percent incarcerated, by education by nativity:
                                                   Total        Percent             If foreign-born:                        If U.S.-born:
           Ethnicity
                                                  in U.S.     incarcerated       High School Graduate?               High School Graduate?
                                                    N              %               No               Yes                No                   Yes

           Total:                              45,200,417         3.04            1.31             0.57               9.76              2.23
           Latin American Ethnicities:          7,514,857         3.26            1.11             0.81             12.42               4.22
           Salvadoran, Guatemalan                 433,828         0.68            0.58             0.43               4.70              2.16
           Colombian, Ecuadorian, Peruvian        283,599         1.07            1.54             0.54               7.01              1.58
           Mexican                              5,017,431         2.71            0.70             0.70             10.12               3.95
           Dominican                              182,303         2.76            3.99             1.24               8.67              1.82
           Cuban                                  213,302         3.01            3.18             1.78             11.32               2.90
           Puerto Ricana                          642,106         5.06            9.01             1.96             11.54               2.66
           Asian Ethnicities:                   1,902,809         0.62            1.03             0.18               9.66              1.00
           Indian                                 393,621         0.22            0.29             0.09               6.69              0.48
           Chinese, Taiwanese                     439,086         0.28            0.91             0.07               4.71              0.36
           Korean                                 184,238         0.38            0.58             0.24               2.05              0.82
           Filipino                               297,011         0.64            1.73             0.23               4.73              0.81
           Vietnamese                             229,735         0.89            0.85             0.32             16.18               2.85
           Laotian, Cambodian                      89,864         1.65            1.72             0.52               9.11              5.80
           Other:
           White, non-Hispanic                 29,014,261         1.66            1.63             0.43               4.76              1.23
           Black, non-Hispanic                  5,453,546        10.87            7.08             1.32             22.25               7.64

         SOURCE: 2000 U.S. Census, 5% PUMS. Data are estimates for adult males, ages 18 to 39, institutionalized at the time
         of the census.
         a
           Island-born Puerto Ricans are U.S. citizens by birth and not immigrants, but are classified as “foreign born” for pur-
         poses of this table; mainland-born Puerto Ricans are classified under “U.S.-born.”




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2.2 percent among those who had graduated from high school. But among the foreign-born,
the incarceration gap by education was much narrower: only 1.3 percent of immigrant men who
were high school dropouts were incarcerated, compared to 0.6 percent of those with at least a high
school diploma. The advantage for immigrants held when broken down by education for every
ethnic group. Indeed, nativity emerges in these data as a stronger predictor of incarceration than
education: as noted, native-born high school graduates have a higher rate of incarceration than
foreign-born non-high school graduates (2.2 to 1.3 percent).
   Among U.S.-born men who had not finished high school, the highest incarceration rate by
far was seen among non-Hispanic blacks, an astonishing 22.2 percent of whom were impris-
oned at the time of the census; that rate was triple the 7.6 percent among foreign-born black
dropouts. Other high rates among U.S.-born high school dropouts were observed among Viet-
namese (over 16 percent), followed by Colombians (over 12 percent), Cubans and Puerto Ricans
(over 11 percent), Mexicans (10 percent), and Laotians and Cambodians (over 9 percent). Almost
of all these can be assumed to consist of second-generation persons—with the exceptions of
Mexicans and Puerto Ricans, who may include among the U.S.-born a sizable but unknown
number of third-generation persons.
Incarceration Rates over Time in the United States
   The finding that incarceration rates are much lower among immigrant men than the national
norm, despite their lower levels of education and minority status, but increase significantly
among their co-ethnics by the second generation, especially among those with lower levels of edu-
cation, suggests that the process of “Americanization” can lead to downward assimilation and
greater risks of involvement with the criminal justice system among a significant segment of
this population. To explore this question further, we examined what happens to immigrant
men over time in the United States. The results are presented in Table 3.
   For every group without exception, the longer immigrants had resided in the U.S., the higher were
their incarceration rates. Here again, the rates of incarceration for island-born Puerto Ricans
are significantly higher—regardless of how long they have lived in the U.S. mainland—than the rates
for all the immigrant groups listed in Table 3, underscoring the unique status of the former. In
contrast, foreign-born Mexican men age eighteen to thirty-nine, by far the largest group (at over
three million), have a lower incarceration rate than many other ethnic and racial groups—even
after they have lived in the U.S. for over fifteen years. The Mexican incarceration story in par-
ticular can be very misleading when the data conflate the foreign-born and the native-born (as
official statistics on “Latinos” or “Hispanics” routinely do). Rather than a story of upward mobil-
ity often mentioned in the “straight-line” assimilation literature, the data in Tables 1-3 suggest
instead a story of segmented assimilation to the criminal norms of the native-born.
Incarceration Rates in California
   We also examined the same census data for California, the state with by far the greatest num-
ber of immigrants, legal and illegal (over a quarter of the national total), and the state with the great-
est number of persons in prisons and jails (in fact, California has one of the highest inmate
populations in the world, behind China and a handful of other countries). California also has



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         TABLE 3. PERCENTAGE OF FOREIGN-BORN MALES 18-39 INCARCERATED IN THE UNITED STATES, 2000, BY LENGTH OF U.S. RESIDENCE,
         IN RANK ORDER BY ETHNICITY

                                                             Total foreign-born males 18-39:             Years in the United States:
           Ethnicity
                                                                   N         % incarcerated      0-5 yrs          6-15 yrs         16 yrs+

           Total (foreign-born men 18-39):                      8,079,819         0.68b           0.50             0.77                1.39
           Latin American Ethnicities:                          4,535,269         0.99            0.57             0.89                1.70
           Salvadoran, Guatemalan                                407,147          0.52            0.37             0.46                0.88
           Mexican                                              3,082,660         0.70            0.46             0.66                1.12
           Colombian, Peruvian, Ecuadorian                       234,834          0.80            0.55             1.30                1.98
           Cuban                                                 127,399          2.22            1.28             1.99                3.07
           Dominican                                             144,387          2.51            1.48             2.49                3.40
           Puerto Ricana                                         240,713          4.55            2.57             4.01                6.06

           Asian Ethnicities:                                   1,510,298         0.29            0.14             0.25                0.50
           Indian                                                 343,834         0.11            0.05             0.11                0.27
           Chinese                                                347,029         0.18            0.07             0.22                0.27
           Korean                                                 152,785         0.26            0.10             0.15                0.50
           Filipino                                               205,167         0.38            0.31             0.35                0.45
           Vietnamese                                             210,331         0.46            0.46             0.41                0.51
           Laotian, Cambodian                                      79,489         0.92             †               0.33                1.19

           Other:
           White, non-Hispanic                                  1,266,100         0.57            0.36             0.41                0.88
           Black, non-Hispanic                                    441,263         2.47            1.64             2.10                3.80

         SOURCE: 2000 U.S. Census, 5% PUMS. Data are estimates for all foreign-born males, ages 18 to 39, institutionalized
         at the time of the census, regardless of age at arrival in the United States.
         a
           Island-born Puerto Ricans (who are U.S. citizens by birth) are classified as “foreign born” for purposes of this table.
         b
           The foreign-born incarceration rate is 0.68 percent when island-born Puerto Ricans (U.S. citizens) are excluded.
         † There are too few cases for an accurate estimate.




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one of the toughest mandatory-sentencing “three strikes” laws in the country (Domanick 2004).
The results of the state-level analysis further reinforce those reviewed above.
   Overall, native-born men age eighteen to thirty-nine in California have higher incarceration rates
than the rest of the U.S., while the foreign-born have lower rates in California compared to the rest
of the U.S. The total incarceration rate for the U.S.-born is more than 1 percentage point higher
in California than in the rest of the U.S. (4.5 to 3.4). In contrast, the rate for the foreign-born in
California was less than half the foreign-born rate in the rest of the country (0.4 to 1.0).

Survey Findings from Southern California
   Those incarceration estimates were drawn from U.S. census data. We can get more direct
evidence of actual lifetime experiences with the criminal justice system from comprehensive
regional surveys of immigrant-origin populations. Consider, for instance, two major surveys of
adult children of immigrants recently carried out in Southern California, the region with the
greatest number of immigrants (and of undocumented immigrants): the Immigration and Inter-
generational Mobility in Metropolitan Los Angeles (IIMMLA) survey, carried out in 2004 (Rum-
baut et al., 2003); and the third wave of the Children of Immigrants Longitudinal Study (CILS)
in San Diego, a decade-long panel study whose last phase of data collection ended in 2003 (Portes
and Rumbaut 2005).
   By the year 2000 one of every five immigrants in the United States resided in the region’s six
contiguous counties (San Diego, Orange, Los Angeles, Ventura, Riverside, and San Bernardino),
including the largest communities of Mexicans, Salvadorans, Guatemalans, Filipinos, Taiwanese,
Koreans, Vietnamese, Cambodians, and Iranians outside of their countries of origin, and to siz-
able contingents of many others (Rumbaut 2004). For this analysis the two data sets were merged
(n=6,135), since they are based on representative samples evenly divided by gender, of the same
approximate age (the mean age was 27.5) and national origins (Mexicans, Salvadorans, Guatemalans,
Filipinos, Chinese, Koreans, Vietnamese, Cambodians and Laotians make up 76 percent of the
merged sample, and other Latin American and Asian nationalities 10 percent), and surveyed at
about the same time in the same metropolitan region (the six contiguous Southern California coun-
ties). Our surveys collected data on criminal justice involvement of foreign-parentage (1.5- and sec-
ond-generation) young adults, compared to native-parentage (third-generation and beyond)
white, black and Mexican-American peers. (For details of the sampling and research design of
each study, see Rumbaut 2008.)
   We focus here on the arrest and incarceration histories of the males in the sample (n=2,971).
Table 4 looks at whether they had ever been arrested or incarcerated (which in most cases
involved being convicted and sentenced for the commission of a crime), broken down by ethnicity
and generation. There are striking differences between ethnic groups and generations. Inter-
generational differences are strongly significant overall, with the U.S.-born (second and third-plus
generations) much more likely to become ensnared with the criminal justice system than the
foreign-born (the 1.5 generation, who came to the U.S. as children), reflecting the national pat-
terns noted earlier among young adult men age eighteen to thirty-nine. The patterns are linear,



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         TABLE 4. ARREST AND INCARCERATION AMONG YOUNG MEN IN SOUTHERN CALIFORNIA, BY ETHNICITY AND GENERATION
         (MERGED IIMMLA AND CILS-III SURVEYS: N=2,971 MALES, AGES 20-39; MEAN AGE=27.5)

                                                                          Ever arrested                           Ever incarcerated

           Ethnicity                          Generationa         1.5          2nd        3rd+              1.5         2nd            3rd+
                                                   N               %            %          %                %            %              %

           Total sample (males 20-39):           2,971           13.2          20.7       36.3              7.8        12.1           23.8

           Latin American Ethnicities:
           Mexican                                 787           22.3          29.8       39.6             11.9        20.4           26.6
           Salvadoran, Guatemalan                  187           21.3          36.7                        11.2        17.3
           Other Latin American                    107           17.4          21.3                        15.2        11.5

           Asian Ethnicities:
           Chinese                                 245             5.8          7.4                         2.9         1.9
           Korean                                  201           11.6          18.1                         3.9         2.8
           Filipino                                475           13.3           9.6                         8.2         5.7
           Vietnamese                              294             8.1         12.7                         5.8         9.9
           Laotian, Cambodian                       88             8.4         20.0                         8.4        20.0
           All other nationalities                 200           12.3          21.7                         7.0        11.9

           Other:
           White, non-Hispanic                     201                                    29.4                                        18.1
           Black, non-Hispanic                     186                                    40.4                                        27.3

         SOURCE: Adapted from Rumbaut, 2008.
         a
           1.5 generation = foreign-born, arrived in the U.S. before teen years; 2nd generation = U.S.-born, one or both parents
         foreign-born; 3rd or higher generations = U.S.-born, both parents U.S.-born.


         but with the outcomes worsening over time and generation—and acculturation—in the United
         States: among the 1.5ers, 13 percent had ever been arrested and 8 percent incarcerated, com-
         pared to 21 percent and 12 percent respectively in the second generation, and 36 percent and
         24 percent in the third-plus generations. Indeed, the rates for all of the immigrants and U.S.-born
         children of immigrants in this sample are lower than the rates for native-stock majority-group
         whites. The rates of arrest and incarceration were highest by far for blacks (almost all of whom
         were fourth-plus generation African Americans), and lowest for Asians, with whites and Hispanics



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in between. Among native-parentage blacks, fully 40 percent had been arrested at some point by
the police and 27 percent had been incarcerated; among both native-parentage whites and His-
panics, 29 percent had ever been arrested and 18 percent incarcerated; and among Asians, the
respective figures were 10 percent and 6 percent.
    For the large Mexican-origin subsample, the intergenerational patterns are clear: among the
Mexican-born 1.5ers, 22 percent had ever been arrested and 12 percent incarcerated (signifi-
cantly lower than the rates for native whites), compared to 30 percent and 20 percent respectively
in the second generation (about the same as the rates for native whites), and almost 40 percent
and 27 percent in the third-plus. The latter figures are virtually identical to those for African Amer-
ican men—the highest observed in this sample, as well as nationally. Given the huge size of the
Mexican-origin second generation compared to other groups in the U.S., this is a finding fraught
with implications for the future—not only for the downward mobility prospects of men caught
in a cycle of arrest and imprisonment (who tend to have high rates of recidivism after release),
but also for both the short-term and long-term effects on their ethnic communities.
    In a multivariate analysis of the odds of having been convicted and jailed for a crime (among
the men in this merged sample), incarceration was found to be most strongly predicted by poor
educational attainment in adolescence and by the generational status variables: i.e., compared to
native-parentage non-Hispanic whites, the least likely to be incarcerated were the foreign-born
1.5-generation children of immigrants, followed by the U.S.-born second generation with two
immigrant parents, and more weakly by those with only one immigrant parent. Having been
raised in a two-parent family reduced the odds of incarceration, while having grown up in dan-
gerous neighborhoods (with major problems of drugs, crime and gangs) increased the odds. Eth-
nicity washed out of the logistic regression once the other predictor variables were controlled—that
is, none of the ethnic group variables was significantly linked to incarceration, despite the fact that
non-Hispanic blacks and Mexicans had the highest rates of arrest and incarceration, suggesting
that those other variables rather than ethnicity as such accounted for the association.

Confirmatory Results from Other Empirical Studies
   The evidence from the 2000 census demonstrating the lower rate of incarceration among immi-
grants is strongly supported by other studies conducted over the past century. For instance, a study
by economists Kristin Butcher and Anne Morrison Piehl based on data from the 1980 and 1990 U.S.
censuses yielded similar findings (1998). A more recent analysis by Butcher and Piehl (2005) demon-
strates that lower rates are not the result of increased deportations of non-citizen criminals or the impact
of harsher immigration laws in deterring immigrants from committing crimes. Rather, the authors
conclude that during the 1990s, “those immigrants who chose to come to the United States were
less likely to be involved in criminal activity than earlier immigrants and the native born.” Taken
together with the findings presented above, those studies provide consistent and compelling evi-
dence over a period of three decades that incarceration rates are much lower among immigrant
men than the national norm despite their lower levels of education and higher rates of poverty. In 2000,
these patterns applied to every ethnic group without exception.



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            Other scholars have addressed similar questions concerning immigration and crime and con-
         cluded that increased immigration is a major factor associated with lower crime rates. In a study
         of 180 Chicago neighborhoods from 1995 to 2002, Robert J. Sampson and his colleagues found that
         Latin American immigrants were less likely than the U.S.-born to commit violent crimes even when
         they lived in dense communities with high rates of poverty. First-generation immigrants (foreign-
         born) were 45 percent less likely to commit violent crimes than were third-generation Americans
         (children of native-born parents), adjusting for family and neighborhood background. The sec-
         ond generation (those born in the United States to immigrant parents) was 22 percent less likely
         to commit violence than the third or higher generation (Sampson, Morenoff, and Raudenbush 2005;
         see also Press 2006). These findings clearly echo those reported above.
            Recent empirical studies by sociologists Ramiro Martínez and Matthew Lee of homicides in
         three high-immigration border cities (San Diego, El Paso, and Miami) and of drug violence in Miami
         and San Diego came to similar conclusions, further refuting commonly presumed linkages
         between immigration and criminality (Martínez, Lee, and Nielsen 2004; Lee, Martínez, and
         Rosenfeld 2001). In addition, several other studies have examined homicide rates among the Cuban
         refugees who arrived in the United States as a result of the Mariel Boatlift of 1980. Although
         these marielitos frequently were depicted in the media as prolific criminal offenders, even mur-
         derers, they in fact were not overrepresented among either homicide victims or offenders. More-
         over, after only a short time in the United States, they were much less likely to commit crimes than
         Cubans who arrived in Miami before the Mariel Boatlift. As with South Florida in general, Miami
         experienced a sharp spike in homicides before the Mariel Cubans arrived in the city. Homicide
         rates continued to decline throughout the 1980s despite a steady inflow of Latin American immi-
         grants (see Martínez and Lee 2000).
            Data from the National Longitudinal Study of Adolescent Health (Add Health) demonstrate
         the intra- and inter-generational differences in delinquency and other risk behaviors among
         adolescents. Add Health is a nationally representative longitudinal survey of adolescents conducted
         in several “waves” since 1994. Drawing upon this survey, sociologists Kathleen Mullan Harris (1999),
         and Hoan Bui and Ornuma Thingniramol (2005), have found that second-generation youth were
         significantly more prone than foreign-born youth to engage in risk behaviors such as delin-
         quency, violence, and substance abuse—precisely the sorts of behaviors likely to lead to involve-
         ment with the criminal justice system and to cycles of arrests and incarceration. In their analyses,
         every foreign-born (first-generation) immigrant nationality engaged in significantly fewer risk
         behaviors than the comparison group of native-born non-Hispanic whites.
            Similarly, John Hagan and his colleagues (2008) used scores from a delinquency and drug use scale
         of two cohorts near Toronto to examine delinquency and violent behavior among Canadian youth.
         They separated the first, 1.5, and second generations from third-generation Canadians. Controlling
         for gender, age, socioeconomic background, ethnic origin, and cohort, they found generational sta-
         tus to be the most significant predictor of youth delinquency. That is, the foreign-born first and 1.5
         generations were significantly less likely than the native-born to engage in high-risk activities. As
         generational status increased, the odds of engaging in delinquent behavior also increased.



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   Survey research has consistently shown a striking relationship between acculturation and
risk behaviors, for both Hispanic and non-Hispanic ethnic groups. For example, data from the
Hispanic Health and Nutrition Examination Survey (HHANES), with a large regional sample, indi-
cated that marijuana use is five to eight times higher among highly acculturated Mexican Amer-
icans compared to those (Mexican immigrants) who are not, controlling for demographic factors.
Studies based on the HHANES and more recent survey data have also documented adverse
effects of acculturation among Hispanic groups with respect to cocaine use and alcohol con-
sumption (for a summary see Portes and Rumbaut 2006).
   A recent study in Washington State (Akins et al., 2008), with a rural and more dispersed His-
panic population, found that acculturated Hispanics were nearly thirteen times more likely to
report current illegal drug use and more than four times as likely to report current hard drug use
than non-acculturated Hispanics. Acculturated Hispanics were about twice as likely to report alco-
hol binge drinking (consuming five or more drinks in one day) and more than three times as
likely to report bender drinking (drinking for two or more days in a row without sobering up). Such
findings on substance abuse support the growing body of research indicating the negative con-
sequences of acculturation—and help in part to explain the significantly higher rates of arrest and
incarceration among acculturated U.S.-born groups as compared to the foreign-born. Increased
exposure to the U.S. brings, among other things, increased opportunities and risks for substance
use and abuse—particularly among the U.S.-born.
   In a sense, these findings should not come as news, for they are not new—merely forgotten and
overruled by popular myth. In the first three decades of the twentieth century, during the pre-
vious era of mass immigration, three major government commissions came to similar conclusions.
The Industrial Commission of 1901, the [Dillingham] Immigration Commission of 1911, and the
[Wickersham] National Commission on Law Observance and Enforcement of 1931 each sought
to measure how immigration resulted in increases in crime. Instead, each found lower levels of
criminal involvement among the foreign-born and higher levels among their native-born coun-
terparts (see Tonry 1996). As the report of the Immigration Commission concluded a century ago
(1911: 168): “No satisfactory evidence has yet been produced to show that immigration has
resulted in an increase in crime disproportionate to the increase in adult population. Such com-
parable statistics of crime and population as it has been possible to obtain indicate that immigrants
are less prone to commit crime than are native Americans.” More than eight decades later, not sur-
prisingly, the U.S. Commission on Immigration Reform concluded in a 1994 report that immigration
is not associated with higher crime. The Commission compared crime rates in U.S.-Mexico bor-
der cities such as El Paso with cities elsewhere in the United States and found that crime rates
generally were lower in border cities.

Conclusion and Implications
  Because many immigrants to the United States, especially Mexicans and Central Americans,
are young men who arrive with very low levels of formal education, popular stereotypes tend to
associate them with higher rates of crime and incarceration. The fact that many of these immi-



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         grants enter the country through unauthorized channels or overstay their visas often is framed
         as an assault against the “rule of law,” thereby reinforcing the impression that immigration and
         criminality are linked. This association has flourished in a post-September 11 climate of fear
         and ignorance where terrorism and undocumented immigration often are mentioned in the
         same breath. Thus in May 2007, as reported by the Associated Press, former U.S. Senator Fred
         Thompson, a star of the television series “Law & Order” and later Republican presidential can-
         didate, blamed the Immigration Reform and Control Act of 1986 for illegal immigration, adding:
         “Twelve million illegal immigrants later, we are now living in a nation that is beset by people
         who are suicidal maniacs and want to kill countless innocent men, women and children around
         the world.…We’re sitting here now with essentially open borders.”
            But political scapegoating and hyperbole are no substitute for scientific evidence. Since the early
         1990s, as the immigrant population (especially the undocumented population) increased sharply
         to historic highs, the rates of violent crimes and property crimes in the United States decreased
         significantly, in some instances to historic lows—as measured both by crimes reported to the
         police and by national victimization surveys. Moreover, data from the census and a wide range
         of other empirical studies show that for every ethnic group without exception, incarceration
         rates among young men are lowest for immigrants, even those who are the least educated. This
         holds true especially for the Mexicans, Salvadorans, and Guatemalans, who make up the bulk of
         the undocumented population. These patterns have been observed consistently over the last
         three decennial censuses, a period that spans the current era of mass immigration, and recall
         similar national-level findings reported by three major government commissions during the
         first three decades of the twentieth century, as did another U.S. commission in the 1990s.
            Given the cumulative weight of this evidence, the rise in immigration is arguably one of the rea-
         sons that crime rates have decreased in the United States over the past decade and a half—and even
         more so in cities of immigrant concentration. A further implication of this evidence is that if
         immigrants suddenly disappeared and the U.S. became immigrant-free (and illegal-immigrant free),
         crime rates would likely increase. The problem of crime and incarceration in the United States
         is not “caused” or even aggravated by immigrants, regardless of their legal status.But the uncrit-
         ical and evidence-optional assumption that the opposite is true persists among policymakers, the
         media, and the general public, thereby impoverishing a genuine understanding of complex phe-
         nomena—a situation that undermines the development of evidence-based, reasoned public
         responses to both crime and immigration.




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Endnotes
1
 As used here, “legal” immigrants consist of Legal Permanent Residents (LPRs)—about 40 percent of whom had
been in the United States in other statuses (refugee, temporary, or unauthorized) before becoming LPRs—as well as
former LPRs who subsequently became naturalized U.S. citizens. “Illegal” or undocumented immigrants are those who
entered the country without proper authorization, or who entered the country lawfully with non-immigrant visas but
subsequently over-stayed or violated the terms of their visas. Visa overstayers and violators may make up as much as
40 percent of the “illegal immigrant” population (see Passel, 2006: 16).


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                                               Undocumented Immigrant Youth
                           and Moving Beyond Enforcement



         by Roberto G. Gonzales

            Today’s immigration debates have brought to the fore conflicting visions within the United States
         over how to address a population of eleven to twelve million undocumented immigrants. In the
         absence of a comprehensive set of immigration policies at the federal level, individual states
         and localities are left to reconcile these problems on their own. Unfortunately, most of the pro-
         posed solutions, to date, fail to address the complexity and diversity of the undocumented pop-
         ulation and have focused chiefly on enforcement and less so on integration. As such, they have
         largely ignored the particular needs of families and children. While immigration enforcement is
         certainly a necessary ingredient for any comprehensive strategy, enforcement alone creates a
         deeper set of problems, particularly when not combined with integration policies.
            Of the more vocal complaints, have been those lodged against efforts to enlist community
         officials—educators, social service and health providers, teachers, and police—to carry out immi-
         gration enforcement. Opponents of these measures argue that immigration enforcement by the
         police or other community providers erodes community trust and compromises their ability to
         effectively carry out their jobs.
            A relatively understudied segment of the undocumented population, the youth, provides pol-
         icy makers and community officials, alike, a different lens through which to examine questions
         of immigrant reform and community responsibility. Undocumented youth represent a sizeable
         and vulnerable population.1 These children grow up and are schooled side-by-side with Amer-
         ican born youth. They experience childhood and early adolescence without many of the restric-
         tions that impact their parents, as the Fourteenth Amendment guarantees their access to a free
         public education.2 However, after high school they are excluded from participating in most
         forms of adult life. They cannot vote, participate in the labor force, and, in most states, drive.
         These young men and women are directly affected by a confusing and contradictory immigration
         system that leaves more questions than answers.
            Because the transition to adulthood marks their entry into undocumented life, these young peo-
         ple find many of the defining roles of adulthood to be beyond their legal limits. As a result, they
         spend much of their late adolescence and early adulthood contending with blocked opportuni-
         ties, stigma, and fear. However, many of these young people have to contribute to their families
         and take care of themselves. On a daily basis, they spend much of their time looking over their
         shoulders and worrying about what might happen to them and their family if they come in con-
         tact with their legal limitations.
            While the particular circumstances of these young people may warrant a broader discussion
         on legalization, immediate integration efforts are of equal importance. Undocumented youth, par-
         ticularly those transitioning to adulthood, are in need of a range of community services to ensure

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they grow up healthy, receive the benefits of an education, and develop trusting relationships with
community members. However, when they are in constant fear, they retreat into the shadows, do
not seek the help they need, and become susceptible to engaging in illicit activities. The findings
in this paper suggest that while enforcement efforts are counterproductive, police and other
community officials have an important role to play in the integration process of undocumented
youth.

Contemporary Immigration Enforcement
   It has become the contention of most Americans that the current immigration system is no
longer adequate and requires a major overhaul. However, there are diverging opinions on what
immigration reform may entail. On one hand, many Americans favor guest worker programs, a
pathway to legalization, and increased access to education. On the other hand, many others favor
tighter enforcement, an expansion and fortification of a fence along the border, and stricter pun-
ishment for those in this country without proper authorization. However, Congress has failed to pro-
vide any solutions to the nation’s complex immigration problems. And with efforts towards
comprehensive immigration reform stalled in Congress, states and local jurisdictions have attempted
to make their own reforms by drafting and passing piecemeal immigration legislation.
   As a result, the last two or three years have witnessed huge increases in state- and local-level
activity. In the first quarter alone of 2008, state legislators across the country considered more
than 1,100 proposals related to immigration in 44 states. Twenty-six states have enacted 44 laws
and adopted 38 resolutions or memorials. These numbers are comparable to those of 2007 at
the beginning of the first quarter, and double those of 2006 (National Conference of State Leg-
islatures 2008). While some states adopted measures to help immigrants by protecting them
from exploitation and by extending education and health care to immigrant children, the polit-
ical tide ran generally against immigrants (Olivas 2008). Many other states drafted a wide range
of legislation to limit undocumented immigrants, including: education, employment, driver’s
licenses, law enforcement, legal services, public benefits, housing and rental, alcohol and tobacco
purchases, gun and firearm permits, flag displays, and juvenile reporting requirements (Rumbaut
and Menjívar 2008). Further, municipalities and counties considered hundreds of harsh provi-
sions aimed at undocumented immigrant renters, use of English-only documents, the use of a pub-
lic library card, and prohibition of the sale of Mexican food from trucks (ibid). Many of these local
ordinances have been struck down in the courts, but many more are still pending.
   Meanwhile, immigration enforcement efforts have increased. The Department of Homeland
Security’s Immigration and Customs Enforcement (ICE) initiated Operation Return to Sender in
2006. Since then, ICE agents have carried out removal efforts in homes, shopping mall parking
lots, bus terminals, farms, meatpacking plants, and other public and work places across the coun-
try. As a result, thousands of unauthorized migrants have been deported, many more children have
lost their parents due to deportation, and increasing numbers of students have been targeted.
   In fact, since September 11, 2001, immigration enforcement has received a significant amount
of attention. The contention by some that the federal government is not equipped with resources



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         sufficient to enforce immigration law has prompted a discussion on state and local law enforce-
         ment’s role in the enforcement of immigration law (Seghetti, Viña, and Ester 2004). To date, a hand-
         ful of states and localities have entered into agreements to deputize officers and assist the federal
         government with enforcing certain aspects of immigration law. Georgia’s law, for example, con-
         tains a provision that allows state and local law enforcement to detain arrestees for federal immi-
         gration law violations, and several other counties and local municipalities have followed suit.
            Many other state and local enforcement agencies, however, contend that it is the federal gov-
         ernment’s role to enforce immigration law, in light of limited state and local resources and immi-
         gration expertise. Moreover, many police officials have expressed concern over proper training,
         finite resources at the local level, potential civil rights violations, and the overall impact on com-
         munities.
            The stance that many police officials have taken is that immigration enforcement by local police,
         among other things, erodes community trust. Already, ICE raids and local measures against unau-
         thorized immigrants have elevated a climate of fear within the immigrant community. A recent Pew
         Hispanic Center survey (2007) found that more than 50 percent of Latinos living in the U.S. fear
         that either they or someone they know will be deported. For many, the constant fear of deportation
         exacerbates physical and mental health problems. In San Pedro, California, “a school principal told
         reporters that the raids and presence of ICE agents near the school has created a climate of ‘ongoing,
         relentless terror’ with more students absent from school or distracted by the possibility of their par-
         ents being gone when they arrive home” (Rumbaut and Menjívar 2008).

         Defining the Problem
            Over the last three decades, however, dislocations in sending countries, increased labor recruit-
         ment, and dramatic changes in immigration policy have dramatically altered the complexity of
         international migration and the immigrant family. Until the 1980s, unauthorized immigrants were
         mostly seasonal labor migrants who left children and families home in their countries of origin. The
         unauthorized now consist of larger proportions of families and children who will grow up and be
         schooled in the U.S.3 These unauthorized children, who come to the U.S. before the age of twelve,
         represent a relatively new and vulnerable population. Given the size and relative recency of this pop-
         ulation, what happens to these children is of great scholarly and policy significance. To date, how-
         ever, there has been a dearth of scholarly research on undocumented youth (Abrego 2008, 2006;
         Gonzales 2008; Perez-Huber and Malagon 2007; Seif 2004), and a scattered few notable policy
         reports and articles (Gonzales 2007; Batalova and Fix 2006; McGray 2006; Passel 2003).
         The 1.5 Generation
            Unauthorized children find themselves betwixt and between two worlds. Most of them only
         know their country of birth through their parents’ stories. They may feel a nostalgic connec-
         tion to their homeland, but with every year lived in the United States they feel a growing distance
         between them and their parents, as they speak more English and less of their parents’ language.
         Ironically, though, each of these years also brings them closer to the realities of their parents’ undoc-
         umented lives.



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   These children, born abroad and brought to the U.S. before the age of twelve, represent a rel-
atively new but significant population. Their generation, referred to as the 1.5 generation, fit
somewhere between the first and second generations (Rumbaut 2004). They are not of the first
generation because they did not choose to migrate, but not of the second generation either, as they
were born and spent part of their childhood abroad. While they have some association with
their countries of origin, their primary identification is affected by experiences growing up
American. They straddle two worlds and are often called upon to assist their parents in the
acculturation and adaptation process. Their dual frames of reference provide both advantage
and difficulty. Those of the 1.5 generation tend to be bicultural and attain linguistic characteristics
similar to those persons born in the U.S. This unique positioning could provide them an advan-
tage in the global economy, as they are equipped with bilingual and bicultural skills. However, many
of these youngsters fail to experience these advantages.
   Rumbaut and Ima (1988) explain that the 1.5 generation faces two challenges: adolescence
and the transition from childhood to adulthood, and acculturation and the task of managing the
transition from one culture to another. Similar to their parents, they must successfully accul-
turate to the values and norms of the host society. Many will find more ease in this process than
will their immigrant parents. However, they must do so while simultaneously making transi-
tions from childhood to adulthood. Because of their legal status, these dual transitions are often
in great conflict.
   From childhood to early adolescence, legal status has little meaning in the lives of undocumented
youths. During this buffer period, undocumented children move through their own develop-
ment and participate in community institutions, notably the school system, and are sheltered
from the constraints their parents experience. Once undocumented youth reach late adoles-
cence, however, the limits imposed by their immigrant status make themselves known. Ameri-
can culture creates various needs and thus defines what it means to successfully pass from one
phase of development to the next: obtaining a library card, renting a movie, applying for a driver’s
license, obtaining a work permit, moving on to college, marrying, and buying a home. From
about the ages of fifteen to sixteen on, these various turning points mark and define successful
transitions from childhood to adolescence and adulthood. However, many of these important stages
require important forms of state-issued identification and legal status. Without the ability to
produce such forms of legitimizing identification, undocumented young adults are shut out of these
important activities and distanced from their peers.
   Exclusion from these important rites of passage circumscribes their limited roles within adult
society and sets them apart from their peers. While certain avenues are closed, others are
restricted. In order to help their families, support themselves, and pay for school, they must
face the dilemma of whether or not to work. And, in order to get to and from work and school,
they must make tough decisions about how to get around. In most states, the unauthorized can-
not obtain a driver’s license. Hence, they cannot purchase a car, buy insurance, or legally drive.
In cities with good public transportation systems like New York and Chicago, this is a viable,
yet limited, option as many of the manufacturing jobs have moved out to suburban areas. In



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         metropolitan areas like Los Angeles, however, the prospects are dim. Given the limited public trans-
         portation options and the sprawling nature of the municipality, reliance on public transportation
         limits employment and school options severely. Taken together, these numerous barriers severely
         limit the mobility of these young adults. At every turn, daily decisions are tantamount to putting
         their lives on the line as any of these pursuits can place them face-to-face with immigration
         authorities.
            Suddenly the world changes substantially for these youngsters, as does what it means to par-
         ticipate in society. Not only do undocumented youth experience exclusion, they are also unable
         to meet the demands of adult life and are forced to make important decisions that have conse-
         quences not only for the present but also for the future. This new status within society and their
         communities proves extremely difficult to overcome, both in terms of the numerous new barri-
         ers and the psychological effects.
            What happens in the early years has a strong bearing on later life chances. Blocked opportu-
         nities early on can cause these youth to retreat underground and to seek illicit alternatives.
         However, the longer the buffer period, the stronger the opportunities to successfully compete in
         school, develop positive self-image, and prepare themselves for full and active participation in the
         legal world. By the time they reach adulthood, the impediments and opportunities faced as ado-
         lescents play strong determining roles in how their adult lives will unfold.
            Without adequate education and requisite job skills, many undocumented youth will find dif-
         ficulties securing steady work, as options with or without legal status are both limited and lim-
         iting. However, early opportunities in education and community-based mentorship can help
         them hold on to aspirations and ready themselves for the possibility of a change in status.

         Data Section
            The following discussion draws from more than three years of fieldwork in Southern California,
         seventy-eight in-depth life histories, and observations of more than 250 young adults, ages
         twenty to thirty-six, who migrated clandestinely with parents before the age of twelve.4 While a
         portion of these young men and women have regularized their status, all of them began and
         spent most of their school years in unauthorized status. I have also stratified the interview sam-
         ple so as to be able to compare diverse experiences. Half of the interviewees went on to gradu-
         ate from high school and went to college, while the other half exited before college, either by
         dropping out of high school or ending their education upon completion of high school. This
         sampling choice helped me to draw out the various contexts and structural mechanisms that
         promoted upward trajectories and downward spirals.
         Transitioning to Illegal Lives
            Among my respondents, many described this period as one of great stress and anxiety. Because
         most of them were not required as children to produce forms of identification, when they
         attempted to insert themselves into the American mainstream, they found themselves without
         the proper credentials. And because their own status did not pose too many restrictions as they
         grew up, many of them simply did not think of legal status as an issue in their lives. In fact, many



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         believed themselves to be just like their U.S.-born peers. However, their status came as a surprise
         to many who were unaware they were not legal citizens.
             Rodolfo described to me this pivotal period and the moment he realized he was different.
                Rodolfo: Well you know what, I never actually felt like I wasn’t born here. ‘Cause
                when I came here, I was like ten and a half. I went to school, I learned the lan-
                guage. But it was like, I first felt like I was really out of place when I graduated
                from high school, when I tried to get a job.
             Roberto: Why was that?
                Rodolfo: Because I didn’t have a social security number…Well I didn’t even know.
                I mean, I didn’t even know what it meant. You know social security, legal, illegal.
                I didn’t even know what that was. I asked my mom and [she] said, “it’s in the
                process.” In the process? I didn’t even know what that meant. I don’t know why she
                would tell us that.
            Prior to this experience, Rodolfo was never required to produce his social security number for
         entry and acceptance and, as a result, his early life was not defined by his legal status. However,
         the process of looking for a job forced him to discover what he was missing and to confront the
         implications of not having legal status. This sudden discovery and hard lesson had immediate and
         severe consequences, as Rodolfo’s plans were quickly diverted and his hopes for some level of inter-
         generational mobility were quickly derailed.
            It took Rodolfo some time to come to terms with the meaning of his status, whether it was tem-
         porary or permanent, and what it meant for his day-to-day life. While his stepfather had gone
         through a local immigration attorney to try to sponsor his family, at the time of Rodolfo’s job
         search there were no legal options.
            I have talked to many adults who experienced similar discoveries of their limitations during
         this critical period, many blaming their parents for keeping them in the dark during their child-
         hood. While it was true that in most of those cases parents withheld information about their
         legal status, a social security number was not the defining factor of childhood and early adoles-
         cence that it became for late adolescence and early adulthood. It was not the decisions made
         by parents on whether or not to disclose to their children, but the intersection of late adolescence,
         the cultural requirements of that particular period, and legal restrictions that make the experi-
         ence of this transition so jarring and potentially traumatic. As one respondent described to me,
         “It’s like living a nightmare, but not being able to wake up.”
            Indeed, the sudden and dramatic changes that accompany these transitions alter the lives of
         undocumented young adults in profound ways. As these young people come to grips with their
         new status, the recognition of their limitations sets in. Many of my respondents described a
         sense of hopelessness as they looked ahead to an uncertain future. Miguel explained to me that
         during most of high school he believed he had his whole future laid out, but when his mother
         alerted him to the reality of his status, everything was “turned upside down.” As a result, his
         school work and attendance trailed off. When Cory found out, she ran away from home. Many other



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         of my respondents concurred that their levels of productivity and optimism about the future
         fell considerably during their last year or two of high school.
            This transition can also be quite stigmatizing, as it occurs during a corresponding period in which
         American-born peers and siblings are making similar, albeit unrestricted, transitions into adult-
         hood. Until then, they sit in the same classrooms, participate in the same social functions and com-
         pete uniformly for the attention of school personnel. However, legal limitations during late
         adolescence separate many undocumented youths from their peers and siblings.
            As the world of adulthood was opening up to their peers, a succession of doors was simulta-
         neously being shut on them. My respondents recounted numerous instances whereby they also
         felt as though they were forced to explain why they did not drive, could not meet their friends at
         bars, or could not travel to local destinations that led them across immigration checkpoints.
            The confusion and fear of unauthorized adult life leads many to a state of perpetual limbo. Many
         of the young people I met had gone through various processes of legalization, while others were
         waiting. Over my three-plus years in the field, I met many young people who were in the process
         of being sponsored by a family member or spouse for residency. However, many found the waits
         to be long and became discouraged and doubtful after long periods of waiting. However, the
         fear of something happening to jeopardize their immigration case renders many of these undoc-
         umented young adults immobile and afraid to invest time, money, or hopes in their future. Liv-
         ing their lives in a narrowly circumscribed present, several of these young men and women let
         go of their aspirations to have anything more.
            While the consequences of being caught while working and driving are severe, the effects of
         inactivity can be numbing. Many of these young adults stay frozen in a state of limbo for long peri-
         ods of time. They do not gain work experience and become increasingly dependent on others to meet
         their needs. Over time, many of them become so fearful, they stop holding on to things, such as
         material possessions, relationships, and aspirations. Living only for today, many of these young
         men and women lose a sense of the future, while only the past and present are their realities.
            Nevertheless, many feel as though they do not have the choice whether to work or drive, as fam-
         ily and individual circumstances necessitate the entry of these young adults into the workforce.
         The act of working also sets into motion a myriad of other decisions that have equally grave
         consequences. Faced with such dilemmas of needing to take care of themselves and their fami-
         lies, but not being able to legally meet these needs, their circumstances require many to take
         the risk. However, in doing so, they place themselves in direct contact with their legal limits
         and in a perpetual state of fear.
            Working without the proper authorization is always a precarious venture. The risks of getting
         caught include jail and deportation. However, many undocumented immigrants feel as though
         they have little choice. While some adult migrants have learned the ropes and are skillful at find-
         ing safer jobs and dealing with the consequences, for many of the undocumented 1.5 generation nav-
         igating the world of unauthorized work and the subsequent consequences is a daunting challenge.
            Similarly, many take the risk of driving without licenses. Driving, like work, is a necessity for
         most. Public transportation is neither highly accessible nor convenient for many. Those with



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children explain that getting to daycare and then to work require commutes of up to three to four
hours a day on the bus and waking up two hours early in order to get to work on time. Regard-
less of their situation, however, by driving they face potential legal trouble. Most of my respon-
dents were well aware of the consequences, yet felt as though they had little choice. Nevertheless,
even a minor traffic violation or accident can throw their lives into peril.
   Over time, the jarring transition, the day-to-day efforts to conceal their status, and the constant
stress and fear take their toll on these unauthorized young adults. Many of these young undoc-
umented men and women in my sample experienced stress, fear, and worry, as a result. A com-
mon experience among most is the continual looking over their shoulders. Many of these young
people, do not, however, have the luxury of time and space needed to pull their lives together. Faced
with impending deadlines for colleges and economic pressures to work, few experience com-
fortable transitions. As a result, the corresponding entrances into adulthood and the constraints
of undocumented life create numerous points of stress. Many find that the pressures of adulthood
and the numerous decisions they needed to make in order to survive—with respect to working,
driving, going to school, raising families—have tremendous consequences for their present and
future lives.
Community Support and Divergent Paths
   While the transition to adulthood and the accompanying constraints of unauthorized status
are stressful and difficult, unauthorized youth do not experience them uniformly. A range of
factors creates divergent outcomes, including family resources, individual choices, social ties, and
mentorship. Of crucial importance, assistance from adults within the family and community
can enable some unauthorized youth to seek out and access resources to alternative and legal
avenues. However, without such resources and support, limited and limiting options place unau-
thorized young adults in more direct contact with their legal constraints and further expose
them to stress, fear, and anxiety. Taken together, this confluence of unfavorable circumstances
pushes many of these youth underground and more vulnerable to fringe elements within the
community.
   Above all sources of support, mentorship from adults provides these young people with dis-
tinct advantages with respect to information and resources. High school teachers and coun-
selors, social workers, church officials, human service providers, and local police are important
sources of information, advice, and support. Many of these community-level officials have the
capacity to help youngsters access the needed financial support and continue their schooling.
   For unauthorized youth, the ability to seamlessly move from high school to college is tremen-
dously important. Because school is one of the few legal avenues accessible to the unauthorized,
staying in school allows young people a productive and viable pursuit. Moreover, the college
campus preserves a certain level of protection, sheltering unauthorized students from potential
run-ins with hate groups or immigration officials.
   César’s story provides further insight into the benefits of mentors and a post-secondary edu-
cation. Ever since he was young, science has been César’s passion. At the end of his senior year
of high school, he was accepted to the University of California, Berkeley. His excitement was short-



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         lived, however, after receiving a phone call from the office of admissions asking for his social secu-
         rity number. At that time, there was not an allowance for undocumented students to pay in-
         state tuition, and César’s family could not afford to send him to Berkeley. However, he had
         support from teachers and counselors who encouraged him to continue his schooling. The fol-
         lowing fall, he enrolled in a community college and finished with a 3.8 grade point average and
         honors. Meanwhile, his parents took extra jobs and saved enough money to pay for his tuition at
         UCLA at nearly $25,000 a year.
             César graduated two years later with a bachelor of arts in molecular, cell, and developmental
         biology. He was offered a job in a cytogenetics lab, analyzing chromosomes under a microscope,
         but lost out because of his undocumented status. Thanks to a tip from a leader within the com-
         munity, however, he was able to take an internship in a similar lab (albeit without pay). César con-
         tinued his schooling, finishing a master’s program in public health at a California State University
         campus and a one-year post-baccalaureate program in medicine at a nearby University of Cali-
         fornia campus. Upon acceptance to the program, community leaders pooled money together to
         come up with his tuition costs.
             César continues to pursue education, while waiting for a door to open to medical school. As
         he waits he tutors neighborhood children, runs a summer youth leadership program for low-
         income males, and speaks regularly at community events. To his advantage, he has a strong net-
         work of support and resources among his family, school personnel, and community members.
         Because of this extensive support system, César has successfully navigated obstacles at every
         step along his post-secondary educational journey. This important support has enabled him to
         find alternatives to work, access important sources of financial support, and actively pursue
         education while he waits for a change in his circumstances.
             Among the young people in my study who went on to college, each of them had similar systems
         of support that enabled them to push over barriers, access needed resources and opportunities,
         and participate in community service. On the other hand, not having such sources of support proved
         to be the chief difference between young adults experiencing productive educational and career
         pursuits and those facing day-to-day constraints and troubled involvement with neighborhood
         countercultures.
             Gabriel’s late adolescent-early adulthood trajectory helps to provide a contrast to that of
         César, and an example of the potentially debilitating effects of unauthorized status on 1.5 generation
         youth. After Gabriel’s family was evicted from an apartment in Anaheim, he decided to find a place
         of his own in order to alleviate the burden on his mother. He felt like a “dead weight,” not being
         able to contribute financially to the family because of his legal status. On his own, Gabriel needed
         to work in order to support himself. He found factory jobs and used someone else’s social secu-
         rity number in order to secure employment. However, he has twice received No-Match letters from
         the Social Security Administration stating that his social security number did not match the
         name he was using. He lost one job because of this and is fearful that future employers will also
         find out. Beyond being scared, Gabriel is frustrated and angry about his status. Moreover, Gabriel
         is increasingly turning to illicit means in order to support himself: he stopped taking the bus in



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lieu of driving after receiving a warning from an employer that his tardiness would cost him his
job; when he could not buy a cell phone through regular channels, he bought one from a guy in
his neighborhood only to find that the number had more than four hundred dollars of charges on
it. To further weigh him down, Gabriel served a three-year probation sentence for an attempted
robbery as an accomplice, after being pulled over with a group of guys with which he was hang-
ing out. As Gabriel’s situation indicates, restrictions due to immigrant status limit the scope of
choices and structure decisions.
    Based on my interviews and observations, Gabriel’s situation is not uncommon. In fact, many
others described to me similar limiting circumstances that they felt pushed them into illicit
activity. For many years Josue made his money selling drugs. Contemplating the alternative of work-
ing clandestinely in a factory or restaurant, he chose the street, where he felt he had some power.
As he looks ahead at his future, with little formal job training, he cannot help but to compare these
different experiences and outcomes.
     In a way it’s hard to get a job, you know? Get paid the way we want to be paid.
     And back then I used to skip that you know? You know what I’m not gonna work
     for a job. I’m not gonna bust my ass for someone who can be yelling at me for like
     $5.75, $5 bucks an hour. Nah nah hell no. If I get a job, I wanna get paid $20 bucks
     an hour. Because I thought that man, I speak English, I do good, I do that, but
     actually I didn’t have any experience and I decided to start selling drugs, you know,
     because I thought, this is easy. I got my own schedule, I can do whatever the hell
     I want to the whole day, I can scream at them, nobody is gonna scream at me.
     Nobody is gonna do nothing to me because I am the one in control.
  However, Josue’s activities caught up to him and put him in a life-threatening situation. At
twenty-six, he finds himself struggling to put his life together. He refuses to go back to selling drugs
but is having a hard time competing with adult migrant workers for low-wage jobs.

Discussion and Conclusion
   While undocumented young adults face limited choices and debilitating circumstances, some,
in fact, find sources of support to bring them into mainstream institutions, provide them with safe
and productive alternatives, and allow them to experience the transition to adulthood without
undue stress and anxiety. Comparing César and Gabriel, whose stories provide important ana-
lytical contrasts, suggests some clues about community-level contextual factors. At 27, these two
young men are the same age, both came to the U.S. before they were eight years old, grew up in
Southern California, and neither has regularized his immigrant status. While they share many com-
mon characteristics, the differences between the two are several.
   César has three degrees, including a master’s in public health, and runs a successful private tutor-
ing business. Gabriel, on the other hand, works in a factory with low-skilled immigrant cowork-
ers. He has been laid off from several jobs and has received No-Match letters from two of them.
Although he has community college credits, Gabriel is no longer in school after several inter-
ruptions. He lives on his own and from check to check.



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             None of the differences between César and Gabriel are coincidental. César’s parents both
         work and, before he began high school, managed to move to a quiet neighborhood with an aca-
         demically strong high school. With the constant encouragement of his parents to excel in school,
         he brought home good grades and attracted the attention of several teachers and counselors.
         His strong high school record earned him admission to several universities. The transition from
         high school was relatively smooth and without many of the constraints of his status. When he real-
         ized he could not attend his dream school because of family finances and had to attend com-
         munity college, his network mobilized resources and raised enough money for him to attend
         the University of California. With his degree, he was able to continue to pursue education while
         he waited for a change in his status.
             Gabriel, however, experienced the cumulative disadvantages of unauthorized status as he tran-
         sitioned out of school. He was kicked out of high school for excessive absences and did not finish on
         time. Although he eventually earned his diploma at a continuing education school, his progress was
         slowed considerably. While his mom wishes for him to be successful and to go to college, she has very
         little means to support those endeavors. Her monthly income is often insufficient to meet monthly
         expenses. A few years ago, Gabriel felt as though he was a burden on his mom and moved out. Over
         the years, he has gained work experience in low-wage sectors and has become conditioned to the lim-
         itations and hazards of low-wage work. Because two of his employers were sent No-Match letters from
         the Social Security Administration, he is fearful of getting caught at work and being deported. He takes
         the risk of driving, relies on underground means for providing basic needs, and is surrounded by a peer
         group that has, more than once, brought trouble.
             While parental experiences shape children’s trajectories, educational attainment determines
         whether or not the transition to adulthood will be successful. Gabriel was one of the almost 50
         percent of his entering freshmen class who left high school before completion. As a result, he did
         not have any mentors to guide him through the barriers that awaited. César went to a high school
         that was ethnically and economically diverse and enjoyed a range of honor’s and AP classes. He
         accumulated a strong network of supporters in high school, was active in extracurricular activ-
         ities, and carried his network and skills to college and community service. While he remained
         undocumented, he was, however, able to seamlessly move on to college and concentrate on his
         studies. As a result, he graduated within four years and moved on to attain two graduate degrees.
             The divergent trajectories of César and Gabriel provide important illustrations of the key
         determinants of mobility and incorporation of the undocumented 1.5 generation into the com-
         munity. There is good reason to be cautious attributing success to human characteristics alone,
         as family circumstances, quality of educational opportunities, the presence of adult mentors,
         and access to community resources structure opportunities for these young adults. Because of mod-
         est levels of family success, César was able to attend a stronger high school. His friends were of
         different ethnicities, and he experienced greater opportunity. He also benefited from a wide
         range of classes, teachers who advocated for him, and important school resources. Gabriel, on the
         other hand, went to a large, crowded high school that was over 80 percent low-income. His
         classes were large, and he had little contact with his teachers or school counselors. And when he



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left school, there was no one from his school reaching out to him. As a result, Gabriel was not able
to enlist the support needed to develop resiliency and coping strategies.
   The presence of adult mentors in the lives of unauthorized youth is of paramount impor-
tance. And because, in most states, college offers a legal and legitimate means to participate and
compete in American life, moving on to post-secondary institutions is critical. Adults in the
community can play an important role in not only helping these young people navigate these
stressful transitions but also providing guidance and resources that will enable these young men
and women to continue to play active and productive roles in communities.
   While the immigration debate stalls in Congress, on the ground local-level decisions regard-
ing health care, education, and law enforcement are shaping communities across the U.S. This paper
is an attempt to contribute to localized conversations about today’s immigrants and how we
respond to them.
   Contemporary immigration is taking shape differently than it did a century ago. The increased
presence of unauthorized immigrants—young as well as old—compels us to make important
decisions about their role in communities. However, in order to do so, it is important that we move
beyond one-size-fits-all approaches to this complex set of issues.
   Based on extensive observation in immigrant communities and in-depth interviews with
unauthorized young adults, this paper has focused on a particular subset of the unauthorized pop-
ulation and their experiences of unauthorized adult life. As I have found in my research, these expe-
riences prove to be quite difficult. Saturated with fear, stigma, paralysis, and physical and mental
health problems, day-to-day life can be challenging and unpleasant. For a group of young people
who grow into these limitations as they are acculturating, the net effect can be quite debilitating.
These experiences, however, provide evidence for the potential benefits of integration efforts. To
be sure, policies that criminalize the unauthorized fail to account for these unique circum-
stances. Moreover, increased enforcement efforts that keep these young people in fear and away
from critical services they require are limited and limiting.
   The transitions young people make from childhood to adolescence and to young adulthood are
of critical importance. Because of the circumstances of unauthorized youth, these transitions
are often traumatic. As a result, unauthorized youth require a range of services that cover edu-
cation, occupation, and physical and mental health issues. Moreover, their unique circumstances
require trusting relationships with institutions and mentors within their communities. How-
ever, when health care officials, social service providers, and community police perform immi-
gration-related duties, the level of fear and anxiety in communities is ratcheted up and exacerbates
mental and physical health problems. Moreover, unauthorized youth lose trust in community offi-
cials, do not seek out the help they need, and shy away from cooperating and participating in impor-
tant community-level institutional efforts. This scenario is neither good for unauthorized youth
nor the community.
   The youth are the future of our communities. What we must decide is whether we want a
healthy and productive generation of young people marching forward, or whether we are ready
to deal with the consequences of an undereducated, underground, frustrated population of



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         young men and women with limited access to mainstream opportunities.
                  By virtue of their status, unauthorized youth cannot work, vote, or drive in most states.
         However, they can go to school and make positive contributions to our communities. When they
         are presented with a narrow range of options, necessity forces them to move beyond the legal realm.
         Here is where they come in contact with increased exposure to fringe elements within the com-
         munity. While channels of legalization are beyond the scope of this particular discussion and the
         purview of community-level decision makers, we can strategize ways to eliminate dangerous
         and illicit choices by broadening the range of possibilities for unauthorized youth to participate
         in productive activities.
                  This research suggests a need for increased community awareness and for adult stake-
         holders better educated on the issues these youth confront. By mobilizing community resources,
         schools, community-based organizations, chambers of commerce, and police districts can work
         together to provide alternative solutions, a broader range of activities, and increased educa-
         tional access for the youth of the community.




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Endnotes
1
 According to recent estimates, undocumented youth who are under the age of 24 and who have lived in the U.S.
for 5 years or longer number 2.5 million. At 20 percent of the total undocumented population, these numbers are
significant enough to warrant attention.
2
 The Supreme Court ruled in Plyler v. Doe (1982) that, because these children are “persons” under the Constitution
and thus entitled to equal protection under the law according to the Fourteenth Amendment, they cannot be
denied access to public elementary and secondary education on the basis of their legal status. This decision has
enabled thousands of undocumented students to graduate from high school each year. See Michael A. Olivas, “The
Story of Plyler v. Doe, The Education of Undocumented Children, and the Polity,” in David A. Martin and Peter H.
Schuck, eds., Immigration Stories. New York, NY: Foundation Press, 2005, pp. 197-220.
3
  As of 2005, there were an estimated 4.9 million children of unauthorized parents living in the U.S. Of these, about
1.8 million are unauthorized, while an additional 3.1 million are U.S. citizens (Passel 2006; Passel and Suro 2005).
4
  This paper is based on ongoing research with adult children of unauthorized Mexican migrants. The entire sam-
ple consists of 102 in-depth interviews with 1.5 and 2nd generation young adults in the five-county Los Angeles
metropolitan area. For this paper, I am focusing only on the 1.5 generation respondents within that sample.


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by Randolph Capps


Introduction
   The Urban Institute has for years studied the unauthorized immigrant population, but for
the most part our research has focused on demographic trends, the incorporation of unauthorized
immigrants in the U.S. workforce, and the well-being of children with unauthorized parents.
Until the last few years, there has been little enforcement of laws that make it illegal for unau-
thorized immigrants to live and work in the United States. But following the events of Septem-
ber 11, 2001, and the creation of the Department of Homeland Security in 2002, U.S. policy has
moved rapidly toward increasing enforcement and criminalization of this population. While
most of the legal foundation for the current uptick in enforcement was grounded in legislation
enacted in 1996, if not before, there clearly was a sea change in the nation’s immigration enforce-
ment policies during the 2005-2008 period. With about twelve million unauthorized immi-
grants (including two million children) and an additional three million U.S.-born children of
unauthorized immigrants, these enforcement policies put an ever greater number of families
at risk of separation and other adverse consequences (Passel 2006).
   The Urban Institute modified its research agenda somewhat to reflect the change in our
nation’s approach to enforcing immigration laws. Starting in 2005, the new Department of
Homeland Security began investing substantial new resources in arrests of unauthorized immi-
grants at their workplaces, as well as using Fugitive Operation Teams (FOTs) to arrest immi-
grants with outstanding deportation orders. In 2007, we investigated three of the largest worksite
raids Immigration and Customs Enforcement (ICE) had conducted to that point, and published
a report that focused on the impact of parental arrest, detention, and deportation on children in
unauthorized families in these locations (Capps, Castañeda, Chaudry, and Santos 2007). ICE
arrested approximately 5,000 immigrants per year in worksite raids in fiscal years 2006-2008, about
ten times the pace of arrests by the old Immigration and Naturalization Service in its last year of
operation—2002.1 These worksite raids have received a lot of attention in the media and in Con-
gress recently, especially because of the large raids in May 2008 in Postville, Iowa, and in August
in Laurel, Mississippi.
   The 5,000 arrests in worksite raids, however, represent a small fraction of the now more than
275,000 arrests and deportations made annually by the Department of Homeland Security
(including by Customs and Border Protection (CBP) as well as by ICE).2 When compared to the
number of immigrants arrested in worksite raids by ICE, far more have been arrested, detained,
and deported by FOTs and by state and local law enforcement agencies (LEAs) that have signed
formal agreements with ICE granting them immigration authority, as authorized by Section
287(g) of the Immigration and Nationality Act. It is these memoranda of agreement (MOA)
between ICE and LEAs, known now as “287(g)s,” that are primary addressed here.

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prepared this paper while at The Urban Institute in Washington, DC.




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            The balance of this paper begins with a brief timeline and overview of the 287(g) program and
         discusses some of the broad outlines of how it has been implemented to date. Then, for further
         background, population and political trends that underlie the adoption of 287(g) programs across
         the country are discussed. As part of our ongoing research, we are investigating the impact of immi-
         gration raids at worksites on children in some new locations (including Postville) but also taking
         a look at the impact of FOT raids in Miami as well as the 287(g) program now active in Northwest
         Arkansas. Next presented are preliminary findings about the implementation of 287(g) in
         Arkansas, based on a site visit there in June 2008. The paper concludes with policy recommen-
         dations and general observations about potential impacts of 287(g) operations on cities, immigrant
         communities, and children.

         Overview of 287(g) Program
            Section 287(g) of the Immigration and Nationality Act was enacted as part of the Illegal Immi-
         gration Reform and Immigrant Responsibility Act (IIRIRA) of 1996. The mid-1990s were a period
         of anti-immigrant sentiment that led to 1994 Proposition 187 in California (which denied unau-
         thorized immigrants a range of public services) and of increasing enforcement along the U.S.
         border, beginning with Operation Hold the Line in El Paso in 1993. IIRIRA established the 287(g)
         program in order to help INS expand its resources for interior enforcement—resources which were
         at that time much more limited than they are today. It is important to remember also that the 1996
         law greatly expanded the categories of crime for which immigrants—both legal and unauthorized—
         could be deported; reduced their appeal rights after arrest; and added lengthy bars on legal
         reentry into the United State for those who are deported (Espenshade, Baraka, and Huber 1997).
         The 1996 law was the primary legal foundation not only for the 287(g) program but also for
         many of the tools and strategies that ICE uses today in enforcement. However, other than expan-
         sions in CBP operations and some modest increases in interior enforcement, the 1996 law did not
         result in major immediate changes in immigration enforcement strategies.
            If we turn specifically to the 287(g) program, the first agreement between the federal gov-
         ernment and a LEA was not implemented until 2002, with the State of Florida (Figure 1).3 The
         State of Alabama followed with an agreement in 2003, and there were a half dozen more agree-
         ments implemented in 2005 and 2006 in Arizona, California, and North Carolina. But the pro-
         gram really took off in 2007, with twenty-six LEAs signing on, and with twenty-eight more
         joining the program during the first seven months of 2008. According to ICE, in August 2008 there
         were sixty-two active 287(g) programs, and about seventy-five more LEAs were on a waiting
         list to execute agreements. By August 2008, more than 840 LEA officers had been trained under
         the 287(g) program, and over 65,000 individuals were identified as being in the country “illegally”
         between January 2006 and August 2008.




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FIGURE 1 (1 OF 2). 287(g) PROGRAMS IMPLEMENTED AS OF AUGUST 2008

  State              Memorandum of Agreement (MOA) Name               Type*            Signed
  AL                 AL State Police                                  TFO              9/10/2003
  AL                 Etowah County Sheriﬀ's Oﬃce                      JEO              7/8/2008
  AR                 Benton County Sheriﬀ's Oﬃce                      JEO/TFO          9/26/2007
  AR                 City of Springdale Police Department             TFO              9/26/2007
  AR                 Rogers Police Department                         TFO              9/25/2007
  AR                 Washington County Sheriﬀ's Oﬃce                  JEO/TFO          9/26/2007
  AZ                 AZ Department of Corrections                     JEO              9/16/2005
  AZ                 AZ Department of Public Safety                   TFO              4/15/2007
  AZ                 City of Phoenix Police Department                TFO              3/10/2008
  AZ                 Maricopa County Sheriﬀ's Oﬃce                    JEO/TFO          2/7/2007
  AZ                 Pima County Sheriﬀ's Oﬃce                        JEO/TFO          3/10/2008
  AZ                 Pinal County Sheriﬀ's Oﬃce                       JEO/TFO          3/10/2008
  AZ                 Yavapai County Sheriﬀ's Oﬃce                     JEO/TFO          3/10/2008
  CA                 Los Angeles County Sheriﬀ's Oﬃce                 JEO              2/1/2005
  CA                 Orange County Sheriﬀ's Oﬃce                      JEO              11/2/2006
  CA                 Riverside County Sheriﬀ's Oﬃce                   JEO              4/28/2006
  CA                 San Bernardino County Sheriﬀ's Oﬃce              JEO              10/19/2005
  CO                 CO Department of Public Safety                   TFO              3/29/2007
  CO                 El Paso County Sheriﬀ's Oﬃce                     JEO              5/17/2007
  FL                 Bay County Sheriﬀ's Oﬃce                         TFO              6/15/2008
  FL                 Brevard County Sheriﬀ's Oﬃce                     JEO              8/13/2008
  FL                 Collier County Sheriﬀ's Oﬃce                     JEO/TFO          8/6/2007
  FL                 FL Department of Law Enforcement                 TFO              7/2/2002
  FL                 Jacksonville Sheriﬀ's Oﬃce                       JEO              7/8/2008
  FL                 Manatee County Sheriﬀ's Oﬃce                     JEO              7/8/2008
  GA                 Cobb County Sheriﬀ's Oﬃce                        JEO              2/13/2007
  GA                 GA Department of Public Safety                   TFO              7/27/2007
  GA                 Hall County Sheriﬀ's Oﬃce                        JEO/TFO          2/29/2008
  GA                 Whitﬁeld County Sheriﬀ's Oﬃce                    JEO              2/4/2008
  MA                 Barnstable County Sheriﬀ's Oﬃce                  JEO              8/25/2007
  MA                 Framingham Police Department                     TFO              8/14/2007
*TFO means that LEA officers were trained as Task Force Officers. JEO means that officers were trained as Jail
Enforcement Officers.


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         FIGURE 1 (2 OF 2): 287(g) PROGRAMS IMPLEMENTED AS OF AUGUST 2008

           State               Memorandum of Agreement (MOA) Name                      Type*               Signed
           MA                  MA Department of Corrections                            JEO                 3/26/2007
           MD                  Frederick County Sheriﬀ's Oﬃce                          JEO/TFO             2/6/2008
           MO                  MO State Highway Patrol                                 TFO                 6/25/2008
           NC                  Alamance County Sheriﬀ's Oﬃce                           JEO                 1/10/2007
           NC                  Cabarrus County Sheriﬀ's Oﬃce                           JEO                 8/2/2007
           NC                  Cumberland County Sheriﬀ's Oﬃce                         JEO                 6/25/2008
           NC                  Durham Police Department                                TFO                 2/1/2008
           NC                  Gaston County Sheriﬀ's Oﬃce                             JEO                 2/22/2007
           NC                  Henderson County Sheriﬀ's Oﬃce                          JEO                 6/25/2008
           NC                  Mecklenburg County Sheriﬀ's Oﬃce                        JEO                 2/27/2006
           NC                  Wake County Sheriﬀ's Oﬃce                               JEO                 6/25/2008
           NH                  Hudson City Police Department                           TFO                 5/5/2007
           NM                  NM Department of Corrections                            JEO                 9/17/2007
           OH                  Butler County Sheriﬀ’s Oﬃce                             JEO/TFO             2/5/2008
           OK                  Tulsa County Sheriﬀ's Oﬃce                              JEO/TFO             8/6/2007
           SC                  Beaufort County Sheriﬀ's Oﬃce                           TFO                 6/25/2008
           SC                  York County Sheriﬀ's Oﬃce                               JEO                 10/16/2007
           TN                  Davidson County Sheriﬀ's Oﬃce                           JEO                 2/21/2007
           TN                  TN Department of Safety                                 TFO                 6/25/2008
           TX                  Carrollton Police Department                            JEO                 8/12/2008
           TX                  Farmers Branch Police Deptartment                       TFO                 7/8/2008
           TX                  Harris County Sheriﬀ's Oﬃce                             JEO                 7/20/2008
           VA                  City of Manassas Police Department                      TFO                 3/5/2008
           VA                  Herndon Police Department                               TFO                 3/21/2007
           VA                  Loudoun County Sheriﬀ's Oﬃce                            TFO                 6/25/2008
           VA                  Manassas Park Police Department                         TFO                 3/10/2008
           VA                  Prince William County Police Department                 TFO                 2/26/2008
           VA                  Prince William County Sheriﬀ's Oﬃce                     TFO                 2/26/2008
           VA                  Prince William-Manassas Adult Detention Center          JEO                 7/9/2007
           VA                  Rockingham County Sheriﬀ’s Oﬃce                         JEO/TFO             4/25/2007
           VA                  Shenandoah County Sheriﬀ’s Oﬃce                         TFO                 5/10/2007
         SOURCE: U.S. Immigration and Customs Enforcement, Partners: Delegation of Immigration Authority Section 287(g) Immi-
         gration and Nationality Act, August 18, 2008, available at http://www.ice.gov/partners/287g/Section287_g.htm.


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   What are these 287(g) programs? Essentially they are memoranda of agreement between
LEAs and ICE that allow LEA officers to enforce immigration laws. LEAs designate officers for
training by ICE in, among other things, immigration laws, identification of potential unauthorized
immigrants, procedures for verifying documents, and use of databases to validate identities.
Once trained, the designated officers then return to their home jurisdictions where they continue
their roles as state or local law enforcement officials but are supervised by ICE agents whenever
conducting immigration enforcement activities. There are essentially two different types of
287(g) agreements—“Jail Enforcement” and “Task Force” models. They differ depending on the
type of LEAs that enter into agreements. Through Task Force agreements, designated officers (and
only designated officers) may check the legal status of arrestees at the scene of arrest or partic-
ipate with ICE agents in joint enforcement operations. The Task Force agreements generally
designate officers to check immigration status as part of their regular policing duties and spell out
which officers will become part of the Task Force. Jail Enforcement officers check the legal sta-
tus of inmates as they are booked into jail, and Jail Enforcement agreements are mostly between
ICE and county sheriffs’ offices.
   As of August 2008, there were twenty-three LEAs with Task Force agreements, twenty-seven
with Jail Enforcement agreements, and another twelve with joint Task Force/Jail Enforcement
agreements (Figure 2). Forty-one county LEAs had adopted 287(g) programs, compared with just
eleven city and ten state agencies. All of the joint models and almost all of the Jail Enforcement
models were adopted by counties (as most of the jails in question are county jails), but the Task
Force models were fairly evenly distributed among cities, counties, and states.
FIGURE 2: TYPES OF 287(G) PROGRAMS AND PARTICIPATING AGENCIES

 Jurisdiction                       Task Force Programs    Jail Programs   Joint Programs     Total

 State                              7                      3               0                  10

 City                               10                     1               0                  11

 County                             6                      23              12                 41

 Total                              23                     27              12                 62
SOURCE: U.S. Immigration and Customs Enforcement, Partners: Delegation of Immigration Authority Section 287(g)
Immigration and Nationality Act, August 18, 2008, available at http://www.ice.gov/partners/287g/Section287_g.htm.




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         Demographics of 287(g) Program Location
            Where are 287(g) programs located? As Figure 1 shows, a majority of jurisdictions with these
         programs (thirty-seven of them) are in southeastern states, with the greatest frequency in North
         Carolina and Virginia. The Southwest is the other region of the country with a substantial num-
         ber (18), including programs in Arizona, California, Colorado, and Texas. There are only five
         programs in the Northeast (in Maryland, Massachusetts, and New Hampshire), and two in the
         Midwest (in Ohio and Missouri). It should not be surprising overall that the Southwest has such
         a high proportion of these programs, as that region of the country is closest to the U.S.-Mexico
         border, and so the proportion of unauthorized immigrants in the foreign-born and total populations
         is relatively high there. But why are there so many in the Southeast and so few in the rest of the
         country?
            If we look at recent patterns of immigration, the 287(g) programs are mostly located in states
         with either substantial immigrant populations or with fast-growing immigration populations
         (Figure 3). In 2000, two-thirds of all immigrants were located in just six “major destination”
         states shown in blue: California, New York, Florida, Texas, Illinois, and New Jersey. These are the
         states with the nation’s largest and most diverse cities; they also have a decades-long tradition of
         immigrant settlement. Half of these six major destination states—California, Florida, and Texas—
         had a combined total of thirteen 287(g) programs as of August 2008. In fact, these three states
         accounted for almost half (46 percent) of the estimated unauthorized population in 2005.4
            On the other hand, there were twenty-two “new growth” states (shown in red in Figure 3)
         with foreign-born populations that grew faster than the major destinations between 1990 and 2000,
         led by North Carolina with a 275 percent increase. These states generally had very low or min-
         imal immigrant populations in 1990, but by now all of them have substantial populations of new-
         comers.
            There are several demographic factors about new growth states that may cause anti-immigrant
         backlash and lead to 287(g) implementation: relatively high shares of immigrants who are unau-
         thorized and from Latin America, as well as a relatively low share who are citizens who can
         vote. North Carolina is among the nine new growth states that have 287(g) programs, and the state
         has eight such programs, more than any state except neighboring Virginia. There are forty-one
         programs overall in new growth states, far more than in the traditional states (all of which have
         much larger total populations). So clearly there is some correlation between rapid immigrant pop-
         ulation growth and the implementation of 287(g). But there are also thirteen new growth states
         without 287(g) programs, and seven states with 287(g) programs that are neither main desti-
         nation nor new growth states. It is worth noting that most of the southeastern new growth states
         have at least one 287(g) program, while none of the new growth states in the Midwest and
         Northwest have any programs.
            There are also some interesting geographic and demographic features worth noting in the
         pattern of 287(g) location at the metropolitan level. There are just three major immigrant des-
         tination cities with 287(g) programs: Houston, Los Angeles, and Phoenix. The other large cities
         in the U.S. with longstanding immigrant populations (e.g., Dallas, Chicago, Miami, and New




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FIGURE 3: 1990-2000 IMMIGRATION GROWTH PATTERNS AND LOCATION OF 287(G) PROGRAMS ACROSS THE STATES




York) do not have 287(g) programs. Atlanta (Cobb County, GA) is the next largest city with a
287(g) program, but it has a relatively recent immigrant population (Singer 2004). Nashville
(Davidson County, TN), along with Durham and Raleigh (Wake County) in North Carolina, rep-
resent other large southeastern cities with 287(g) programs. The four 287(g) programs in Arkansas
are all located in the two northwestern-most counties in the state—Benton and Washington—
which together include almost half of the state’s immigrants (Capps, Henderson et al. 2007).
Thus many of the southeastern 287(g) programs are in cities with substantial and rapidly grow-
ing immigrant populations; however, some are in very rural areas as well (e.g., Shenandoah and
Rockingham Counties in Virginia). Closer to the nation’s capital, the jurisdictions with 287(g) pro-
grams are all in suburbs of Washington, DC with small but rapidly growing immigrant popula-
tions (Frederick County, Maryland; Herndon, Manassas, Loudon County, and Prince William
County, Virginia). The Dallas suburban areas of Farmers Branch and Carrollton County also
have 287(g) programs.
   Two political scientists, Paul Lewis and Karthick Ramakrishnan (2007), analyzed the factors
that have led to the development of state and local legislation aimed at reducing the unauthorized
population. While they did not specifically model the development of 287(g)s, their findings
with regard to state and local legislation are informative. They found that immigrant popula-




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          tion sizes and recent growth rates were correlated with the legislation, but that the political
          context was far more important. Republican Party affiliation was the single most important fac-
          tor in predicting the passage of such laws. Thus it may be a combination of demographic and polit-
          ical factors that are at play in promoting the proliferation of 287(g) programs. It appears that the
          highest concentrations are in cities and suburban locations with new but rapidly growing immi-
          grant populations in conservative states in the Southeast and Southwest. With the exception of
          a handful of programs in Maryland and New Hampshire, there are no programs in the more lib-
          eral areas of the Northwest, Midwest, or Northeast. In fact, almost half (fifteen out of the thirty-
          one) states that went for George W. Bush in the 2004 presidential election have 287(g) programs,
          compared with about a fifth (four out of nineteen) states that went for John Kerry.5

          The 287(g) Program in Northwest Arkansas
             Our field research in northwest Arkansas offers a little more detail with regard to the factors
          underlying implementation, implementation itself, and some preliminary possible impacts.
          Rogers and Springdale are located in the northwest corner of Arkansas, in Benton and Washington
          Counties respectively. They are the home bases of two large U.S. corporations—Wal-Mart and
          Tyson’s—that have been on the receiving end of immigration raids in recent years. Their immi-
          grant populations were small in the 1980s but grew rapidly starting in the 1990s, and currently
          Latino immigrants are about a quarter of total population and a third of the school-age popula-
          tion in both locations (Capps, Henderson et al. 2007).
             The original motivation for the program came from the mayor of Rogers (located in Benton
          County), who campaigned on curtailing illegal immigration6 and championed a restrictive ordi-
          nance targeting unauthorized immigrants. It was modeled after one in Hazleton, Pennsylvania,
          before that ordinance was struck down in the courts.7 Once it became clear that a Hazleton-
          style ordinance (mostly restricting housing and government services for unauthorized immi-
          grants) either would not pass or would fail on implementation, the mayor started to pursue a 287(g)
          agreement.8 Due to lack of space to house unauthorized immigrants in Rogers’ facilities, Benton
          County came on board. Around the same time, neighboring Washington County was building a
          large jail, which has since become the main holding facility for immigrants arrested through
          the program. Springdale also joined the agreement. In a somewhat unique arrangement, ICE
          negotiated the 287(g) program with all four jurisdictions (Rogers, Springdale, Benton County, and
          Washington County) simultaneously.9 All four jurisdictions sent nineteen officers for training at
          the same time, and established a joint Task Force/Jail Enforcement model across all four juris-
          dictions.10
             The mayor of Rogers was the driving force behind the creation of the program, but there was
          reluctant support from other quarters in the area as well.11 Springdale proceeded somewhat
          more cautiously and established a Hispanic advisory committee for its program.12 The primary
          rationale behind asking for the program was based on a perceived uptick in crime, which included
          several gang-related incidents and the non-fatal shooting of a Rogers police officer by an unau-
          thorized immigrant.13 Like the mayor of Hazleton and other local leaders who have promoted meas-



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ures directed against unauthorized immigrants, the mayor of Rogers advocated the 287(g) pro-
gram as means to combat crime. Local leaders in Springdale also used the anti-crime argument
and, in public discussions with the Hispanic advisory committee, promised to focus solely on
deporting immigrants who committed serious crimes. Thus the rapid increase in the Latino
immigrant population, perceptions of a new crime wave among these recent immigrants, an
increase in county jail capacity, and the personal leadership of the mayor were the major driving
forces behind the pursuit of the 287(g) program in northwest Arkansas. Between October 2007,
when the program there was implemented, and May 2008, over four hundred people had been
arrested and identified as unauthorized immigrants to be deported.14
   Because the 287(g) program is a joint Task Force/Jail Enforcement model, some of those
immigrants were identified after they had already been arrested and booked at one of the county
jails. But on the Task Force side, there were a variety of different operations. The Rogers Police
Department has arrested a significant number of unauthorized immigrants through traffic vio-
lations, the most common of which is driving without a valid license. In some cases people were
picked up during routine traffic stops, but the department has also operated some roadblocks to
randomly check licenses.15 This practice has been controversial because Rogers was sued by the
Mexican American Legal Defense and Education Fund in 2001 for racial profiling against Lati-
nos during traffic stops.16 This suit was settled out of court, and the Rogers Police Department
agreed to adopt language in its regulations to avoid racial profiling and set up an advisory com-
mittee to monitor compliance.17 However, local advocates have accused the department of revert-
ing to racial profiling during traffic stops since the 287(g) agreement was implemented. The
Springdale Police Department has reportedly made far fewer arrests of unauthorized immi-
grants during traffic stops than has Rogers.
   Police from both Rogers and Springdale have also participated in investigations and raids on
worksites alongside ICE agents. The 287(g) Task Force there has concentrated heavily on iden-
tity theft and document fraud, much as ICE has across the country in recent large-scale worksite
raids, including the one in Postville in May 2008. The Task Force has focused on small-scale
investigations and, in the largest raid to date, arrested owners and about two dozen employees
of a Mexican restaurant chain in the area.18 ICE and other federal agencies had begun this inves-
tigation before 287(g) was implemented, but the designation of Rogers and Springdale police
officers as immigration agents added manpower to the investigation and the raid, which took place
in December 2007.19
   Many local advocates and some within the local governments of Rogers and Springdale have
questioned the implementation of the 287(g) program, as it has evolved from a focus on violent
and other serious criminals toward more routine violations and worksite enforcement. Many
local Latino leaders in Springdale were on board with the program originally, albeit reluctantly,
because they approved of a focus on deporting serious criminals. But as the net widened to
include traffic violations and it became clear that the designated Task Force officers were work-
ing on ICE worksite operations (such as the restaurant chain raid), many of the Latino leaders with-
drew their support and began criticizing the program.20 Relations between the police and the Latino



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         community deteriorated further during spring 2008 following a few well-publicized abuses by
         a Task Force officer acting alone to question people about their legal status without probable cause
         for an arrest. Then Task Force officers arrested an unauthorized immigrant while he was at an
         elementary school picking up his son, which upset both the school district and the local Latino
         community.
            One of the most troubling aspects of ICE’s immigrant enforcement strategies generally, which
         we have observed both in worksite operations and in the 287(g) arrests in Arkansas, is the secrecy
         surrounding arrest and detention. Those immigrants arrested for a state or local violation were
         given the same rights as any other arrestee—to a phone call and a lawyer. Information about all
         of those arrested on state and local charges is available for immigrants, just as for any other
         inmates at the county facility. But those immigrants arrested on federal charges such as identity
         theft, or merely referred to ICE as an “administrative arrest” for deportation (because they com-
         mitted no state or local crime), were generally not given access to a telephone, and often there was
         no information at all available about them.
            ICE generally only releases the numbers they assign unauthorized immigrants in detention,
         not their names or locations. Many of those who were not charged with a state or local violation
         were moved out of Arkansas quickly, along with those who had served their sentence in the
         county jail and were remanded to ICE custody. Although the federal government had jurisdic-
         tion over this group of detainees, they were originally arrested by local police officers in most cases.
         When they disappeared into the federal system, their family members, lawyers, and others had
         difficulty locating and communicating with them. This increased the panic and sense of hope-
         lessness among arrestees’ families, as they did not know the whereabouts and could not verify the
         safety and health of their loved ones.
            During June 2008 when we visited Rogers and Springdale, there was anecdotal evidence that
         the 287(g) program had led to strained relations between the police departments and local immi-
         grant communities. There were anecdotes of crimes going unreported, though no hard evidence
         that crime rates had increased. The school districts in Rogers and Springdale saw their enrollments
         stabilize in 2007-08 for the first time following twenty years of rapid growth led by Hispanic
         immigrants, and there was anecdotal evidence that large numbers of Latinos were leaving the area
         for other parts of the U.S. Tax receipts began to decline and housing vacancy and foreclosures
         increased. But like so much of the rest of the country, the area was experiencing a housing bust
         (which in turn created a downturn in construction employment—a major source of immigrants’
         jobs), and so it is difficult to disentangle economic from enforcement effects. It is probably too
         early to tell, but many local leaders (within and outside the local governments) believe that the
         enforcement has taken an economic and social toll on the communities there.

         Conclusions and Recommendations
           Our research to date in Arkansas, though preliminary, suggests that LEAs should proceed
         cautiously in entering into 287(g) agreements with ICE. Perhaps the first caution is that there
         should be a broad base of local support for the program; too often it seems that one or a handful



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of local government leaders are promoting the program without broad-based support, as appeared
to be the case in Rogers.
   Second, local community leaders including immigrants may support a 287(g) program if it is
directed at violent and other serious offenders, as they did initially in Springdale; however, their
support is likely to erode and distrust to grow between the community and the police if immigrants
are arrested for minor violations.
   Third—and this is a very important factor for LEAs to consider—we were told that once
trained, the Task Force officers were directly supervised by an ICE agent, and that all Task Force
operations however minor had to be either initiated by or cleared by ICE. This means that in effect
the Rogers and Springdale police departments were paying their staff to work for ICE, representing
a cost transfer from the federal to the local government. On the other hand, we also heard that
the Washington County Jail was reimbursed for housing those arrested on immigration charges,
and thus 287(g) may have brought a fiscal benefit to the county.
   Fourth, both because ICE initiated worksite operations and because one officer tested the
boundaries of his authority, it appeared that the local police departments had lost some measure
of control over the actions of their officers.
   Fifth, because of the large numbers of arrests (several hundred) over just a short period of
time (six months), a small wave of panic fell over the immigrant communities in Rogers and
Springdale. While their fear was not as great as what we found in communities with large-scale
single-day worksite raids (such as Postville, Iowa), nonetheless, this fear resulted in driving
some families out of the area and others into hiding, thereby somewhat reducing overall economic
activity.
   Finally—and this was the major topic of our investigation—we have been documenting the
impacts on families and children when parents are arrested in immigration raids, including
those by the local police in Rogers and Springdale. In our previous work on ICE raids on work-
sites, we found that children suffer from separation from their parents (which may be prolonged
if parents are detained for several months); economic hardship after parents are arrested (bear-
ing in mind that unauthorized families, unlike most other families with incarcerated members,
are by and large ineligible for or afraid to seek public assistance); social isolation as fear and
panic grip immigrant communities and families go into hiding; and the social stigma associated
with racial profiling and the labeling of parents as “illegal.”
   We have not yet investigated the longer-term impacts on children but are planning to do so both
in Arkansas and in our other study sites. We anticipate we may also find that over time, these types
of enforcement strategies not only sow distrust between law enforcement agencies and immigrants
but also may lead immigrants’ children to distrust authority and despise the laws that govern our
country, which they may rightfully perceive as unjust. This is the greatest long-run danger of our
current immigration enforcement regime—that it might create anti-social behaviors and increase
crime among immigrants and their children—and it is no less a danger when the enforcement is
conducted by local law enforcement than when conducted by federal authorities.
   Given these tentative conclusions and the likelihood that the number, scope, and breadth of



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         287(g) activities will increase substantially in the near future, the following recommendations to
         state and local LEAs derive from our research:
             I   Establish a broad base of support for agreements before they are signed, and bring on board
                 leaders from local immigrant communities. Seek the input of local immigrant leadership when
                 drafting the agreement and setting the parameters on enforcement, and meet with local
                 leaders regularly to monitor the program.
             I   Concentrate on deportation of immigrants already incarcerated (i.e., through the Jail
                 Enforcement model) and those who are arrested for very serious crimes. Do not extend
                 operations to include traffic and other routine violations.
             I   Avoid LEA involvement in potentially controversial worksite or other major ICE enforce-
                 ment operations; leave the federal law enforcement side to federal officers.
             I   Work out a supervision arrangement with ICE that allows greater control over operations
                 by the LEA, even if this requires tough negotiations with ICE or some overhaul of the pro-
                 gram at the federal level.
             I   Maintain control over individual officers that receive Task Force designation and disci-
                 pline those who step over the line.
             I   Establish and enforce prohibitions against racial profiling by designated Task Force officers
                 and be sure that the public is aware that racial profiling will not be tolerated.
             I   Be transparent with local leaders and the public about the types of arrests and operations
                 that Task Force officers are engaged in; provide data on numbers of arrests and allow fam-
                 ily members to visit loved ones who have been incarcerated (which is sometimes difficult
                 after people are moved into ICE custody). Providing accurate and timely information can
                 avoid the spread of rumors and panic, which may be detrimental both to law enforcement
                 and the local community.
             I   Provide resources for families whose members are arrested. Work with local schools, child-
                 care providers, health and social service agencies, and faith-based organizations to ensure
                 that they are aware of ongoing operations, get accurate and timely information about who
                 is arrested, and are able to locate and assist families and children as necessary.




         Acknowledgments
         The author would like to acknowledge Urban Institute colleagues Ajay Chaudry, Rosa Maria Castañeda, Juan
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         paper possible. A number of local elected officials, police officers, community leaders, and immigrant families were
         interviewed and gave their valuable input for this research project. The Urban Institute will release a full report on
         the impact on immigrant families and children of the 287(g) program in Arkansas—along with the impact of federal
         enforcement efforts—in early 2009.




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                       Immigration and Local Policing:
        Results from a National Survey of Law Enforcement Executives



by Scott H. Decker, Paul G. Lewis, Doris Marie Provine, Monica W. Varsanyi


   In the past several decades, the number of immigrants in the United States who lack legal doc-
umentation has grown to unprecedented levels—approximately twelve million, according to recent
estimates (Passel 2006)—and so has controversy surrounding their settlement in American com-
munities. Many immigrants are choosing new destinations. Cities, suburbs,and rural communities
in parts of the country that have not traditionally hosted large numbers of immigrants are now
more on par with traditional gateway cities like Los Angeles, New York,and Chicago (Zúñiga and
Hernández-León 2005). As evidence of this dramatic shift, the Mexican immigrant population
(both legal and undocumented) in “new gateway” states grew dramatically between 1990 and
2000: 200-400 percent in New York, Pennsylvania, Washington, and Wisconsin; 645 percent in Utah;
800 percent in Georgia; 1000 percent in Arkansas and Minnesota; and over 1800 percent in North
Carolina, Tennessee, and Alabama (Zúñiga and Hernández-León 2005, p. xiv).
   With immigrant settlement patterns shifting, undocumented immigration has become even more
of a hot-button political issue. An increasing number of state and local governments are asking
police to take a more active role in identifying and arresting immigrants for civil immigration vio-
lations. Two federal statutes adopted in 1996 created opportunities for this partnership between
federal immigration agents and local police. The Antiterrorism and Effective Death Penalty Act
(AEDPA) gives local police the authority to arrest previously deported non-citizen felons, and the
Illegal Immigration Reform and Immigrant Responsibility Act (IIRIRA) authorizes training of
local and state police to enforce federal immigration laws.

Federal Powers, Local Police, and Immigration
   The devolution of immigration policing authority from the federal to local governments rep-
resents a sharp break with a long-established tradition of federal control over all aspects of
immigration enforcement and is giving rise to what some observers are calling “immigration
federalism” (Spiro 1997; Huntington 2007). Although federal authority over immigration has
always involved a degree of cooperation and occasional conflict between local and federal offi-
cials, the federal government has historically been recognized to have plenary power in this
area. Being present in the U.S. without authorization is a civil violation under federal law, not a
prosecutable crime under the jurisdiction of localities. In the past, state and local police forces
played only a supportive role, sometimes sharing information about those they had detained as
criminal suspects or assisting in enforcement actions.
   The federal government cannot require local governments to do immigration policing. Police
powers are constitutionally reserved for the states and their jurisdictional subunits, an arrange-

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         ment that provides localities with significant flexibility and autonomy. But with the AEDPA and
         IIRIRA, the federal government has created an opening for localities to ask their police officers
         to be trained by and to join the federal government in enforcing immigration laws within the inte-
         rior of the United States.
            Beginning in 2002, informal working relationships between local police and federal immi-
         gration agents have developed in some departments. Others are seeking formal training from
         federal immigration authorities under the 287(g) program (referring to the section of the
         IIRIRA which authorizes such collaboration). Federal agents also are embedded in some police
         departments to assist in enforcement of drug and human smuggling laws. A number of state
         prisons and local jails send the names of criminal suspects to federal authorities to be checked
         for immigration violations. And an increasing number of police departments are electing to
         do their own immigration status checks. Within the past several years, the number of law
         enforcement agencies that have asked for training to make these checks has increased from
         eight to more than sixty (Immigration and Customs Enforcement 2008). Other local governments
         and police departments, stating concerns for public safety and the importance of police-com-
         munity relationships, have rejected local civil immigration enforcement entirely—a small num-
         ber have declared themselves to be sanctuary cities, while others follow a kind of informal
         “don’t ask, don’t tell” policy regarding contacts with possible unauthorized immigrants.
            This devolution of immigration policing to the local level presents police departments with
         several important challenges. One is the potential for conflict between commitments to com-
         munity policing and active involvement in immigration control. Community policing prac-
         tices emphasize close communication and collaboration between police and community.
         Engagement in identifying and removing unauthorized immigrants challenges these relation-
         ships in areas with large numbers of Hispanic residents. As the Immigration Committee of the
         Major Cities Chiefs (2006, p. 3) observed, “Local enforcement of federal immigration laws
         raises many daunting and complex legal, logistical and resource issues for local agencies and the
         diverse communities they serve.” While stopping short of endorsing one approach for local
         law enforcement in the debate over how best to respond to unauthorized immigration, the rec-
         ommendations highlight the many challenges to local law enforcement in carrying out its pri-
         mary function, including loss of trust among immigrant groups, inadequate resources, complexity
         of federal laws, lack of local legal authority for intervention, and risks of civil liability.
            A second concern is that immigration enforcement activities may discourage members of
         immigrant communities who are victims or witnesses of crime to come forward. Many new immi-
         grant groups that may be vulnerable to high rates of victimization come from countries where
         distrust of authorities—particularly law enforcement—is a valid concern. In such cases, build-
         ing community trust in the police is already a difficult task. A 2007 report by the International
         Association of Chiefs of Police notes that local immigration enforcement makes that task even
         more difficult. This report identifies eight specific areas of conflict between communities,
         elected officials, and federal and local law enforcement.
            A third concern is that the core commitment to local concerns in policing will be lost in the



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process of developing stronger links with federal immigration authorities. American polic-
ing spent the last half of the twentieth century elaborating on and strengthening local control.
During this period, the focus of police evolved from an emphasis on administrative and pro-
fessional issues, to community relations and interaction. Problem solving and fear reduction and
an emphasis on “zero-tolerance” have also been added to the policy mix (Greene 2001). Each
of these re-conceptualizations of American policing, despite their differences, has a decidedly
local character. Local communities have provided an important check on the expansion of
police authority and jurisdiction, reflecting the historical antipathy of the American populace
toward federalizing law enforcement (Mastrofski 1988).
   Finally, police commitments to avoid racial profiling are put at risk by active involvement in
immigration enforcement because the drive to eliminate unauthorized immigrants has focused
on people who have crossed the nation’s southern border from Mexico. Although many depart-
ments have developed antiprofiling policies, immigration enforcement subtly encourages offi-
cers to focus on people who “look Mexican” or who are heard to speak a foreign language.
Also, enforcement efforts that target unauthorized immigrants will inevitably draw some nat-
uralized citizens, legal permanent residents, and citizens into newly intrusive contacts with
the police. The climate is reportedly becoming inhospitable for many people: as detailed in a
recent Pew Hispanic Center report, over half of all Latinos in the United States fear that they
or someone close to them may be deported in the current enforcement climate (Pew Hispanic
Center 2007).
   How, then, should police respond? Will enforcing civil immigration laws erode commu-
nity policing ideals, particularly in towns and cities with significant immigrant populations? Are
other essential elements of local police services at risk?
   The growing involvement of local police in immigration enforcement has gained enormous
momentum with almost no systematic research or information base (though see Waslin 2007
and www.trac.syr.edu). Law enforcement executives, public officials, and scholars seeking
information on this topic have largely had to rely on media accounts, anecdotal information,
and reports by advocacy groups of one stripe or another. To respond to the need for systematic
information on this topic, the authors have launched a four-stage project, which includes two
rounds of survey research and two rounds of local, in-depth, comparative case studies. Our
research is geared toward describing the range of actions local police have taken in regard to unau-
thorized immigration and ultimately describing the context for these actions.
   This report presents the initial results of our first nationwide survey of police executives in
large U.S. cities. We report on several issues. These issues include the role of local politics in
setting police policy, the relationship of local police departments with federal Immigration
and Customs Enforcement authorities, the range of variation in local practices and policies,
and community relations. The results indicate that local police play a critical role in the ways
in which local communities relate to immigrants, particularly in their exercise of discretion
with regard to immigration enforcement.



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         Nature of the Sample
            A national web/mail survey of 452 law enforcement executives was initiated in November
         2007. We received 237 survey responses (a response rate of 52.4 percent). The sample chosen for
         this survey was large and medium-sized local (subcounty) jurisdictions. We began with a list of
         all U.S. cities and towns that were included in the Census Bureau’s American Community Sur-
         vey (ACS) in 2005; the Census Bureau aimed to include in the ACS all localities of 60,000 or
         higher population, although a few communities had slightly lower populations. We dropped
         from this list several communities that do not have their own police departments (such as cer-
         tain townships, and some municipalities that contract with other local governments for police serv-
         ices). This list yielded our 452-community sample and ultimately the 237 responses reported here.
            Most of these communities have a substantial number of foreign-born residents. Sixteen per-
         cent of the residents in the average locality represented in our survey were immigrants as of
         2005 (according to the ACS data). The share of immigrants in the cities we surveyed ranged
         widely from 1 percent to 60 percent of the population.

         Local Politics, Law Enforcement, and Immigration
            One of the critical issues for law enforcement in responding to immigration is the extent to which
         the attitudes of personnel in their department may differ from those of residents or political
         leaders of the jurisdiction they serve. The nature of law enforcement and the situations offi-
         cers encounter often cause the police to see their community from a somewhat different per-
         spective than other community members. In this section, we contrast the views of law enforcement
         leaders with their perceptions of the attitudes prevailing in the jurisdictions their departments
         are responsible for protecting.
            The responses suggest that on the issue of immigration, the difference between police depart-
         ments and their community is significant. Figure 1 depicts the degree to which unauthorized immi-

          Figure 1: Unauthorized immigration is a controversial topic...
          35%
          30%
          25%
          20%
          15%
          10%
           5%
           0%
                    Strongly Disagree            Disagree                 Neutral                  Agree                Strongly Agree

                                                                                                     in my department         in my locality



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gration is viewed as a controversial topic in a comparative format. Police executives are more
inclined to see unauthorized immigration as a controversial topic within their community than
within their department. Indeed, the differences on this question are quite striking. This sug-
gests a cleavage between the way that police and communities frame the immigration issue.
   A related issue is whether people believe that it is easy to determine who is in the country with-
out authorization. Figure 2 shows a contrast in views between departments and communities. Law
enforcement officials see community members as more likely than police personnel to think that deter-
mining someone’s immigration status is relatively easy. Chiefs also report that gaining the trust of unau-
thorized immigrants is a much greater priority for their department than for their locality. Fifty-two
percent note that gaining the trust of unauthorized immigrants is a priority in their departments, as
compared with 25 percent in their community. The difference may be attributable to the view, wide-
spread among police departments, that effective police work depends on law enforcement’s ability
to gain the trust and communication of all segments of the local population.

Figure 2: People believe that it is relatively easy to determine who is in this country without authorization...
40%
35%
30%
25%
20%
15%
10%
 5%
 0%
         Strongly Disagree          Disagree                Neutral                Agree                Strongly Agree

                                                                                     in my department         in my locality

   Figure 3 provides an additional perspective on the issue of trust in immigrant communities. The
majority of chiefs believe that immigrants are less likely than the general population to report to
the police situations in which they have been victims or witnesses of crime.
   A related issue is the potential for victimization of unauthorized immigrants by criminals. Chiefs
are split on whether unauthorized immigrants are more or equally vulnerable to street crime and
domestic violence. But on this topic, chiefs tend to see their communities as somewhat less likely
to appreciate the victimization of immigrants as a significant problem. Three in ten chiefs reported
that their own departments consider victimization of immigrants to be a significant problem, com-
pared to 23 percent who believe that the broader community feels the same way (see Figure 4).




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          Figure 3: How likely are immigrants in your community to contact law enforcement when they are victims or
          witnesses to crime, as compared with the general population?
         60%
         50%
         40%
         30%
         20%
         10%
           0%
                    Much less           Somewhat             Just as likely             Somewhat         Much more             Not sure
                      likely             less likely                                    more likely        likely

            A majority of the chiefs responding (59 percent) report a relatively high level of satisfaction
         from elected officials with their current level of immigration enforcement. Chiefs report wide
         variation, however, in what local officials expect. Nearly half (46 percent) report that their local gov-
         ernment has no official policy regarding unauthorized immigrants living or traveling through the
         jurisdiction. At the other end of the spectrum, 12 percent of chiefs report that their local govern-
         ments expect their departments to take a proactive role in deterring unauthorized immigration. Only
         4 percent of chiefs report that their local governments have openly declared themselves as “sanc-
         tuary cities” for unauthorized migrants who are not engaged in criminal activities, while another
         15 percent report that their cities unofficially operate under a “don’t ask-don’t tell” policy.

          Figure 4: Victimization of immigrants is considered a significant problem...
          40%
          35%
          30%
          25%
          20%
          15%
          10%
           5%
           0%
                    Strongly Disagree             Disagree                    Neutral                 Agree               Strongly Agree

                                                                                                       in my department         in my locality



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  Relationships with U.S. Immigration and Customs Enforcement (ICE)
   The relationship between local law enforcement and Immigration and Customs Enforcement,
an agency of the U.S. Department of Homeland Security, is an important part of the local response
to immigration issues. Our survey revealed interesting differences among local police chiefs in their
views regarding the relationship between their department and ICE (see Figure 5).

Figure 5: Which of these statements best describes the direction of your department’s current
communication with ICE?


Useful information mostly flows from our department to ICE


Useful information mostly flows from ICE to our department


         Useful information flows about equally both ways


               We have little or no communication with ICE


                                              Don’t know

                                                             0%      10%   20%        30%       40%      50%
   Although a plurality of chiefs (44 percent) believe that useful information flows equally between
their department and ICE, 20 percent report that the flow of useful information is mostly in one direc-
tion—from their department to ICE. Another 32 percent report little or no communication with ICE
at all.
   Whether a department has a formal agreement with ICE or not, a large majority (74 percent) report
that they contact ICE when a suspected unauthorized immigrant is held for a criminal violation. For-
mal written agreements with ICE are rare, however. Only 4 percent of departments report having
a 287(g) Memorandum of Agreement (MOA) that provides for federal training of local law enforce-
ment and cooperation in arrests and investigations of unauthorized immigrants, while 3 percent have
an MOA to help manage unauthorized immigrants who have been incarcerated. A slightly larger
share of departments (8 percent) have ICE officers embedded in one or more of their units. It
should also be noted that 14 percent of chiefs responded that their departments do not participate
or assist in ICE immigration-enforcement activities. (Note that respondents were allowed to
choose more than one of the above responses, if appropriate.) A majority of those who work with
ICE report satisfaction with this relationship.
   The survey also asked chiefs how their department and their communities assess the responsibilities
of the federal government in immigration control. The great majority of chiefs (72 percent) regard




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         immigration enforcement as the responsibility of the federal government (see Figure 6). A signifi-
         cantly smaller majority (58 percent) perceive support for this view within their local communities.

         Figure 6: Immigration enforcement is considered the responsibility of the federal government...
         45%
         40%
         35%
         30%
         25%
         20%
         15%
         10%
          5%
          0%
                    Strongly Disagree           Disagree                 Neutral                  Agree                Strongly Agree

                                                                                                    in my department         in my locality

         Practices and Policy of Immigration Enforcement
            The survey probed police practices in situations involving immigrants whose residence in the U.S.
         was unauthorized. Chiefs were asked how their officers would respond when faced with a num-
         ber of situations. In general, the more serious the violation, the more likely they believe that their
         officers are to check immigration status. Thus chiefs believe that in situations involving traffic
         violations and witnesses or victims of crime (except human trafficking), their officers are least
         likely to contact ICE or inquire of immigrant status. Chiefs believe that their officers are most
         likely to contact ICE in situations involving violent crime or a parole violation. Arrests for domes-
         tic violence and nonviolent crime fall somewhere between (see Figure 7).
            In many cases, these decisions are made without clear policy guidance. Just under one-half of
         departments have a policy regarding interactions with immigrants, with 39 percent reporting that
         these are written policies and 9 percent reporting that these are unwritten policies. Fifty-one per-
         cent of departments do not have a written or unwritten policy regarding how officers are to deal with
         immigrants, and 1 percent reported that they do not know whether they have a policy regarding inter-
         actions with immigrants.
            Furthermore, only 45 percent of departments offer training for sworn officers specifically related
         to incidents or calls involving unauthorized immigrants. This suggests that in many jurisdictions,
         local law enforcement is not well prepared to deal with the often complex and difficult decisions posed
         by unauthorized immigration and that decisions regarding immigrant-police interactions are more
         frequently made on an ad hoc basis.



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Figure 7: Percentage of police departments that typically check immigration status, contact ICE, or both, when
encountering possible unauthorized immigrants in these situations.

                              Arrested for a violent crime

Detained for parole violation or failure to appear in court

                           Arrested for domestic violence

     Interviewed as possible victim of human trafficking

   Arrested for a non-violent crime, with no prior record

                            Stopped for a traffic violation

  Interviewed as a crime victim, complainant, or witness
                                                              0%   10%    20%   30%   40%   50%   60%   70%   80%   90%

   Most chiefs report that their response to the problem of illegal immigration is largely a product
of their own departmental leadership, but some note the participation of local elected officials,
the district attorney’s office, federal officials, and the courts.

Community Relations and Local Law Enforcement
   Good community relations was a priority in the departments surveyed. Chiefs report a variety
of tools used to maintain relationships. A majority of chiefs rated the following activities as very effec-
tive: neighborhood meetings, visits to schools, churches and neighborhoods, bike patrols, cooperation
with nongovernmental organizations, and officer proficiency in foreign languages.
   Three-quarters of chiefs reported that their departments accept the Mexican consular ID card
(matrícula consular) or other foreign IDs as forms of identification under some circumstances.
However, only 17 percent of respondents said that their departments maintained a phone line for
confidential reports of criminal activity by members of the immigrant community. Only 40 percent
of chiefs report that their departments have enough officers proficient in foreign languages to
work effectively in their immigrant communities.

Conclusion
   The results of this survey suggest several important conclusions about immigration and local
police departments.
   First, chiefs perceive significant differences between their departments and the communities
they serve on important dimensions of the immigration issue. In the view of law enforcement lead-
ers, the community is more likely to view unauthorized immigration as controversial than is the
department, somewhat more likely to see immigration as a local rather than federal enforcement



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         problem, and more likely to see determining immigration status as relatively straightforward.
            Second, in many cases the police lack guidelines for their officers in the area of immigration.
         While nearly every department (91 percent) has a policy prohibiting racial profiling, the potential
         for conflict between these policies and immigration enforcement remains unresolved in many
         departments. A majority of police departments in our sample lack an official policy on how to deal
         with unauthorized residents and do not provide training to their officers on this issue. Norms may
         be developing on an ad hoc basis. The survey responses suggested that officers make distinc-
         tions between types of crime in deciding whether to inform federal authorities, with less seri-
         ous crimes being reported less often.
            Third, while most departments have some relationship with ICE, the vast majority have no
         formal agreement, such as a 287(g) MOA. Nevertheless, ICE is viewed as an important resource
         by local law enforcement, and levels of satisfaction with ICE are reasonably high. It is notewor-
         thy, however, that a significant minority of departments report no relationship with ICE.
            Fourth, chiefs report varied levels of interest in their communities in the issue of immigration
         enforcement. Nearly half of the communities in this survey have so far remained silent on this issue,
         and opinion in the remainder is split on whether police should be more involved. Most chiefs
         report that local authorities are satisfied with the department’s efforts in this area.
            Taken together, these results suggest that the leaders of local law enforcement are at an early
         stage of the development of policies and training to respond to unauthorized individuals. Com-
         munities and departments are both in need of information. It is imperative that more information
         be gathered about the nature of challenges facing local police in immigration issues so that the police
         and community can work together more effectively. As in most areas of public safety, immigration
         enforcement requires effective engagement of the community in order to be successful. Policies,
         programs, and training that enhance such relationships are likely to pay dividends in this area.




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          Law Enforcement Executive Views: Results from the Conference Survey



         by Karen L. Amendola, Kristin N. Williams, Edwin E. Hamilton,
         and Veronica Puryear

         Survey Respondents
            The Police Foundation conducted a survey of law enforcement executives who attended the
         August 2008 national conference, The Role of Local Police: Striking a Balance Between Immi-
         gration Enforcement and Civil Liberties. Only those who were the top executive or his/her
         designee were asked to complete the survey. This report shows the findings for the surveys
         returned at the conclusion of the conference.
         Respondents’ Roles
            A total of 54 attendees of the conference completed the survey as senior leaders in their
         respective agencies. As demonstrated in Figure 1 below, the majority of survey respondents
         (40) were police chiefs. The other respondents were deputy chiefs or assistant chiefs (9), sher-
         iffs (2), a police superintendent (1), and two others (a major and one who indicated he/she was
         both a sheriff and a chief ).

         Figure 1: Survey respondents by agency role
         80%
         70%
         60%
         50%
         40%
         30%
         20%
         10%
           0%
                      Chief          Sheriff       Assistant/        Other
                                                  Deputy Chief
         Respondents’ Jurisdictions and Agency Types
            Most of the participants were from urban agencies (n=29), while many were from urban/
         suburban areas (n=19). The remaining six claimed to be from rural type areas. The size of the juris-
         dictions ranged from just under 15,000 to more than 4 million. Also, the majority of respon-
         dents (n=47) were from municipal or local law enforcement agencies while one was from a
         county police department, four were from sheriffs’ offices, one was from an urban county met-


         This survey was the work of the following Police Foundation staff: Karen L. Amendola, Chief Operating Officer, Re-
         search, Evaluation, and Professional Services; Edwin E. Hamilton, Professional Services Director; Veronica Puryear,
         Senior Research Associate; Kristin N. Williams, Research & Administrative Coordinator.




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ropolitan area, and one was from both a sheriff’s office and a municipal department. The sizes
of the respondents’ agencies ranged from very small (<10 officers) to very large (>20,000 officers).

Agency Concerns
  Respondents were asked to list the five most critical issues facing them and their agencies. As
Table 1 (below) shows, resource concerns topped the list, with violent crime and gangs follow-
ing. Also among the top seven were community relations, drugs, and property crime, followed
by immigration issues.

Impact of Immigration Issues                        TABLE 1. HIGHEST RANKED AGENCY CONCERNS
   Almost three-fourths (74%) of respondents
agreed that they were facing new demands and        In general, what do you consider to be the most critical issues fac-
changing expectations as leaders as a result of     ing you and your agency? Please list them in priority order, from
the growing emphasis on immigration law             highest to lowest.
enforcement, and almost half (44%) said they        1. Resources
are responding to increasing political pressure     2. Staffing
in their communities as a result of this issue.     3. Violent Crime
   While just 26% of these leaders felt that their  4. Gangs
resources were being diverted from activities       5. Community Relations; Drugs (tie)
that would better serve the community as a          6. Property Crime
result of immigration enforcement, over three-      7. Immigration Issues
fourths (78%) said that they were engaging the
                                                    Rankings were based on a weighted scoring system. Those ranked
immigrant community more as a result of the
                                                    first were given a score of 5, second scored 4, third scored 3, and so
growing emphasis on immigration law enforce-
                                                    forth.
ment. They also expressed a high level of con-
fidence in their understanding of immigration issues pertinent to their communities (76%).
   Very few agencies were in favor of adopting a sanctuary policy (9%), whereas half (50%) were not
supportive of sanctuary policies in their communities. At the same time, the remaining 41% had no
opinion on that issue, perhaps indicating that they have not yet decided.
   It is important to note that participants generally did not believe that local law enforcement
should be even partially responsible for enforcement of immigration law (54%), whereas just 24% said
they should. The remaining 22% neither agreed nor disagreed that local law enforcement had at least
partial responsibility. However, the majority (62%) of law enforcement leaders believed that officers
should ask for documentation of citizenship status when in contact with those who break the law
(including those violating traffic laws), whereas only 17% agreed they should do so when in con-
tact with crime witnesses, and even fewer (15%) when in contact with crime victims. While 13% of
respondents felt such decisions should be at the discretion of officers, just 7% said that officers
should never ask for proof of citizenship.

Strategies for Engaging the Immigrant Community
  Respondents were asked to describe the strategies they have developed or would develop to
engage the immigrant community. The most frequently cited strategies in the forty-five received



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         responses were: organizing and/or attending community meetings, events, and forums (n=19),
         establishing community outreach programs or using community liaisons (n=17), attempting to edu-
         cate the community through the media and bilingual pamphlets (n=13), or creating specialized
         department positions or programs to focus on the immigrant community (n=13).

         Advantages and Disadvantages of Local Immigration Enforcement
            Respondents were asked to summarize the advantages and disadvantages of enforcing immi-
         gration law at the local level. Some indicated that local enforcement would help to fight crime
         in general (n=9) and would appease supporters in the community (n=9). A few suggested that there
         would be little or no advantage (n=3).
            Over one-third (n=22) of the respondents suggested that a potential disadvantage to local
         enforcement would be the corrosion of trust in the community, while almost one-third (n=16) said
         that it would put a strain on their resources, result in civil liability, or constitutional issues (n=7),
         as well as racial profiling (n=6), and reduce witness cooperation (n=5). These responses indicate
         concerns by local law enforcement about the complexity associated with enforcing federal law.

         Impact of Immigrant Population on Crime and Victimization
           Respondents were asked to indicate the likelihood of undocumented immigrants being crime
         perpetrators and crime victims. As Figure 2 shows, respondents believed that undocumented immi-
         grants were more likely to be crime victims (81%) than crime perpetrators (39%). It should be
         noted that two respondents said they were not sure about the likelihood of immigrants to be
         perpetrators or victims.
           While the aforementioned indicates that law enforcement leaders do not believe by and large
         that undocumented immigrants perpetrate crime, they have mixed views on the impact that
         undocumented immigrants have on various offenses. While less than half (44%) indicated that

          Figure 2: Likelihood of crime perpetration and victimization
          90%
          80%
          70%
          60%
          50%
          40%
          30%
          20%
          10%
           0%
                            Perpetrators                   Victims

                                                            Unlikely       Likely


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the presence of undocumented immigrants increases violent crime, youth crime (42%), or loitering
(46%), half or more of the participants felt their presence increases traffic offenses (75%), drug-
related crime (67%), gang-related crime (63%), and property crime (60%), followed by domes-
tic assault and/or battery (52%) and public intoxication (50%).

Local Enforcement of Immigration Law
   Nearly half (46%) of the survey respondents indicated that their department has decided not
to enter into a partnership with the federal government to enforce immigration law, while almost
a quarter (24%) of them considered such action. Conversely, 13% have implemented or are in the
process of implementing this relationship, with another 2% planning on doing so. The remain-
ing respondents indicated that their jurisdiction has done none of the above.
   Fully 87% of respondents said that aggressive enforcement of immigration law would some-
what or significantly impact budgetary resources in their agencies.
   The majority of respondents indicated that aggressive enforcement of immigration law would
have a negative impact on community relationships by decreasing: the community trust of the
police (74%), trust between community residents (70%), and reporting of both crime victim-
ization (85%) and criminal activity (83%). These important findings underscore the problem local
law enforcement would expect to face if they were to aggressively enforce immigration laws.
   Adding to those concerns are beliefs that aggressive enforcement of immigration laws would
weaken public trust initiatives (77%), community-policing efforts (77%), youth outreach (74%),
intelligence/information gathering (63%), criminal investigations (67%), and even recruitment
(31%), thereby impacting operations significantly.
   At the same time, respondents felt that aggressive enforcement of immigration law would
result in a decrease in various crimes (see Table 2). Crimes most likely to see a decrease accord-
ing to the respondents were gang-related crimes (56.5%), while domestic assault and battery
(21%) would be impacted the least.
                                                   TABLE 2. IMPACT OF AGGRESSIVE ENFORCEMENT ON CRIME
   The survey concluded with a request for
policies that the respondents have developed                                                        Expected to
or would develop for their agency in order to                                                        Decrease
strike a balance between the enforcement of        a. Violent Crimes                                   37%
immigration laws and the protection of civil       b. Property Crimes                                  37%
liberties. There were several respondents who      c. Gang-Related Crimes                              56%
said that they kept or would keep the local        d. Drug-Related Crimes                              45%
role to a minimum by only enforcing immi-          e. Loitering                                        46%
gration law in the event of an arrest (n=11), by   f. Domestic Assault/Battery                         21%
leaving the enforcement up to jail officials       g. Public Intoxication                              38%
(n=2), or by not enforcing immigration law at      h. Traffic Offenses                                 46%
all (n=3). Others offered a more general pol-      i. Youth Crime                                      25%
icy of ‘treating everyone fairly’ (n=6).




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  Jeffrey S. Passel is Senior Demographer of the Pew Hispanic Center in Washington, DC.



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         by Mayor Phil Gordon, Phoenix, Arizona


         August 21, 2008
         JW Marriott Hotel
         Washington, D.C.

            Before I begin, I just want to recognize all of you—the men and women who risk everything,
         every single day—and to thank you for your service.
            When this nation was founded, no one ever conceived or imagined that immigration enforce-
         ment was an issue that would ever fall to mayors and local police departments. But because of fed-
         eral neglect, here we are. As the federal government continues to do less with more, cities are forced
         to do more with less. Not only are we being forced to step up our immigration efforts but we
         also have an increased burden when it comes to gun crimes and white-collar crimes connected
         to illegal immigration and formerly handled at the federal level.
            In just the past two years, the Phoenix PD has arrested or turned over to ICE more than
         13,000 illegal immigrants. Clearly, the lack of federal enforcement has a direct impact on cities
         like mine. And cities like yours.
            Before I begin detailing that impact, let me give you just a little background on my city.
         Phoenix, Arizona, is the fifth largest city in the nation, the largest state capital in the United
         States, and continues to be the fastest growing major city in the nation. Slightly more than 42 per-
         cent of our population is Hispanic and, of the 3.4 million people in the greater Phoenix metropolitan
         area, about 275,000 persons are thought to be here illegally. That is a situation we did not create
         but it’s a situation that we must contend with.
            The question I have been asked to address this morning is an important one: What are the costs
         of enforcing immigration laws at the local level? Obviously, there are economic costs. But some
         costs go beyond dollars and cents. There are also public safety costs, social costs, and constitu-
         tional costs. There are human costs.
            Not all can be easily quantified. But let’s start with public safety personnel, which can be
         quantified. Quite simply, in order to deal with all the issues caused by our nation’s failed immi-
         gration policy, local police resources in cities like mine are strained. At a time when our city
         budget is being otherwise reduced, at a time when we’re eliminating positions and imposing
         hiring freezes in other departments, at a time when programs are being cut, we are hiring 600 new
         public safety personnel, mostly police officers. A large number of those new officers are the
         direct result of our growing population, but 100 of those new officers are directly related to the
         crimes associated with immigration, such as smuggling, kidnapping, and other felonies. And
         that equates to over $10 million a year.
            Those are the basic costs of hiring new officers. But there are other hard costs. The City of
         Phoenix is paying about $2 million a year in booking costs to Maricopa County to house the
         illegal immigrants we arrest for committing crimes in our city. That number is growing—and
         doesn’t include our sales and property taxes that help fund the increased jail costs—due to ille-
         gal immigration. I personally hand-delivered an invoice to the Department of Homeland Secu-



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rity last year seeking reimbursement for the hard costs directly tied to immigration. Do I expect
to recover a single cent? I do not. But for cities like mine, immigration has turned into a de facto
unfunded mandate and that’s a point that needed to be made and still needs to be made.
   Then there are operational costs. In my community, public protests and demonstrations are a
regular occurrence, on both sides of the immigration issue. Some protestors on both sides are
armed, sometimes with knives and guns, and sometimes with signs like these. For those of you
who can’t see it, here’s what it says: “Hooray for the slaughtering of the illegals. Boo to the Bean-
ers !!” And then it’s got a swastika at the bottom. You may not yet see this in Des Moines, or in Fargo,
or in Dover but you’ll see them soon if the federal government doesn’t act and act soon. It’s hate-
ful stuff and it’s dangerous. That means the Phoenix Police Department is called upon to main-
tain law and order under extremely dangerous conditions and that also means hundreds of
thousands of dollars of overtime.
   Unique to the immigration issue is the proliferation of “Drop Houses.” These are homes, in res-
idential neighborhoods, where dozens of illegal immigrants are warehoused after being brought
into the United States by various smuggling syndicates. Phoenix police rescue and turn over to
ICE about 1,200 people a year from drop houses. We investigate, track, and break up the human
smugglers known as coyotes. By the way, we are one of the very few police departments in the
nation to have ten ICE agents embedded within our department on a full-time basis to go after
violent criminals who are illegal. That, in terms of both cost and effectiveness, is a much better
model for local police departments than taking police officers and turning them into full time immi-
gration agents.
   Hand-in-hand with the drop house operations are the kidnapping operations. Almost every
night, Phoenix police will get one or more emergency calls with variations of the same story:
“My wife is being held in a Phoenix drop house and she will be tortured and killed if we don’t pay
them thousands of dollars.” That means Phoenix PD has to divert resources on the spot to find
and protect these kidnap victims. And again, this happens routinely. The overtime hours are
staggering and the personnel resources diverted from preventing or solving other crimes are
massive.
   Lastly, we have the cost of long-term, ongoing undercover and investigative operations designed
to cut the head off big smuggling operations—humans, drugs, guns and money—and interrupt that
activity, beginning at the top. We’ve taken down sophisticated syndicates, travel agents, and
transportation providers who smuggle and transport humans and who launder millions of dol-
lars in cash each month.
   Smuggling operations are becoming more sophisticated and more dangerous, which means local
police need more sophisticated intelligence and more strategic undercover work, which means
more costs. And as the smugglers use more sophisticated and costly armaments and armor, so must
we. Phoenix PD has just begun offering our officers 45-caliber Glocks and adding more rifles to
our arsenal.
   Then, we have another situation developing in Phoenix that is both difficult to describe and
difficult to deal with. It has always been the rule of law enforcement that the victims of crimes
and witnesses to crimes will be protected. If the witness to a homicide is in this country ille-
gally, it is more important for us to catch the killer than to turn the witness over to ICE. If the vic-



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         tim of a sexual assault is in this country illegally, it is more important for us to catch the rapist than
         to turn the victim over to ICE. That makes sense and it’s always been the rule. My police depart-
         ment absolutely protects innocent witnesses and victims, in order to catch the “really bad guys.”
         But our job has been made tougher because of a sheriff who doesn’t. Instead, he allows sexual
         assaults, homicides and other serious crimes to go unsolved, by arresting victims and witnesses
         and sending them to jail for violating immigration statutes. That’s a direction that makes our
         community less safe. And that’s a sad reality that creates public safety costs that are impossible
         to determine.
            Targeting illegal immigrants who have not broken a single law since they crossed the border
         comes at too high a cost for our communities. In order, for example, to concentrate on these
         immigrants, the county sheriff’s operations in El Mirage, Arizona, a city of just 32,000 people, failed
         to investigate at least thirty violent crimes, including a dozen sexual assaults last year. While
         crime rates are down in every category in Phoenix, in the parts of the county under the sole
         jurisdiction of the sheriff, crime rates soared in every category but one last year.
            Lastly, the dearest costs we are incurring in our city are social, constitutional and human
         costs. And again, it centers around our sheriff and a broken federal system.
            Maricopa County Sheriff Joe Arpaio has filled a political void created by the utter neglect
         and inaction on immigration issues by Congress and the president and he has exploited that
         void to suit his own political needs. Washington’s inaction has caused frustration in cities like
         Phoenix. The sheriff’s method is to profile people with brown skin and to ignore the civil rights
         we should all be enjoying. It is unconstitutional and wrong.
            On April 4th, I called for an investigation by the United States Department of Justice for civil
         rights violations, a call that has yet to be answered. The sheriff, himself, says he doesn’t need to
         engage in racial profiling because he can tell if someone is here illegally “by the way they dress
         and where they are coming from.” That is, as you know, the very definition of racial profiling. One
         of his chief deputies admits that when it comes to enforcing immigration laws, their depart-
         ment does not follow federal civil rights requirements. Citizens are being stopped because they
         are brown. Immigrants here quite legally, carrying their paperwork, are detained. Street ven-
         dors with current visas and properly licensed mobile businesses are also being detained.
            I’d like to tell you three quick but important stories that help to humanize these issues. The first
         is from an editorial in the Washington Post that was published earlier this month: “Manuel
         Ortega, a Mexican citizen, entered the United States legally last fall, using a visa valid until 2016 as
         well as a permit from the Department of Homeland Security. Ortega had every reason to believe he
         was on the right side of the law, except for one small misstep: being brown in Maricopa County.
             “He had been in the United States for barely three weeks last September when Arpaio’s deputies
         stopped the vehicle he was riding in. Despite showing the officers his documents, he was hand-
         cuffed, jailed ( for 9 hours) and finally turned over to federal immigration officials, who promptly
         released him…”
            That’s shameful. And it’s a cost no one should have to pay.
            Very close to home—a member of my own staff and her husband went “off-roading” with five
         other couples a few months ago. Deputies pulled all six vehicles over. One by one each couple was
         approached, and let go—until they got to the last vehicle, the one driven by my assistant and her



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husband, third generation Americans. The sheriff’s deputy didn’t ask for a driver’s license like he
did the others. He asked for a social security card. And he didn’t let them go like he did the oth-
ers. He wrote a citation. Their first names are David and Jessika. And their last name is Rodriquez.
And the only thing that made them different from the other five couples was the color of their skin.
   Finally, as reported by a Phoenix radio station reporter, a United States Marine, in full uniform,
was harassed, insulted, and called a traitor by a group of protestors posing as “Pretend Patri-
ots.” “It’s too bad you didn’t die in the war; you’re a disgrace to your uniform,” they shouted at
him. “Go back to your own country.” Well, this American hero of Hispanic heritage is in his own
country. He fought for this country.
   These stories have nothing to do with green cards. They have everything to do with brown skin.
They were about racism and nothing else. Yet despite these and other blatant violations—well doc-
umented in the Phoenix media—the Civil Rights Division of the United States Department of Jus-
tice, through its silence, continues to thumb its nose at both civil rights and justice.
   And how do you assign a cost to that? How can you put a price tag on the very promise of
America? Cemeteries here and around the world are filled with men and women who traded
their lives for our rights and freedoms—the same rights we see perched at the top of that famously
dangerous slippery slope.
   Those are big prices to pay. And here’s another one. Last September, one of Phoenix’s finest—
Police Officer Nick Erfle—was shot and killed by a man he was trying to arrest, a man who had
been arrested before, found to be in this country illegally, and deported to Mexico by our federal
government. Of course, because this Congress and this president have yet to find the time to
secure our borders, this man had no problem re-entering the country, and crossing paths with Offi-
cer Erfle on that tragically fateful day.
   My community paid too much on that day. But not as much as Officer Erfle’s wife and children,
who will continue to pay for our failed immigration policies and our do-nothing Congress for the
rest of their days. Julie Erfle is here today, and will help lead the fight for a secure border and immi-
gration reform so that, hopefully, no other officers and the people who love them will pay the con-
sequences for the inactions of Washington. Julie, will you please join me at the podium as I ask
everyone to join with me in thanking you for your service and the sacrifices you continue to
make.
   Julie, you said it best eight months after Nick’s tragic death: “We need comprehensive immigration
reform that puts safety and humanity on equal footing.” And that’s why I accepted the invitation
to come to Washington today. It is time for the federal government to take responsibility for the
situation they have created. They need to take responsibility today. They need to begin address-
ing each of these complex issues today.
   But the good news is they can fix the problem. When, as a nation, we roll up our sleeves, focus
on a goal, debate our options, outline a course, and act with conviction and principle there is
nothing we cannot accomplish. America is a great nation and Americans always live up to that
greatness. We have won freedom for much of the world. We have industrialized the world. We
have fed the world. In so many ways, we have changed the world. And we have shown the abil-
ity to change our own nation when change was needed. During my lifetime, African Americans
could not use public drinking fountains, sit at lunch counters, or ride in the front of a city bus. But



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         thanks to the greatness of individual Americans like Rosa Parks, Martin Luther King, Jr., and
         Robert Kennedy, and thanks to a responsible and compassionate Congress and White House,
         we changed all that. We lived up to the very promise of America. And on the issue of immigra-
         tion, this nation of immigrants will do it again.
            I am calling upon this Congress and the next one—this president and the next one—to make
         the dual issues of border security and immigration reform their first order of national business.
         I don’t believe that certain members of Congress understand what impact their neglect is hav-
         ing on cities. They don’t see the hate. They don’t see the division. They don’t hear the rhetoric.
         They don’t see the civil rights violations. And they don’t understand the costs.
            Phoenix is a good community, filled with good people. The many voices of compassion in our
         community have always prevailed over the voices of hate, racism, and violence. That’s why I
         am calling upon this nation’s investigative journalists and other members of the media to come
         to Phoenix and shine a light on the intolerant few. Let Congress and the White House finally see
         what their unconscionable neglect is costing us. Report on the racism and the hate. Turn your cam-
         eras into the eyes of American citizens whose civil rights don’t seem to matter anymore. Help us
         tell this story to our national leaders and help them—no, make them—see the light.
            It’s been seven years since our nation was attacked by terrorists. It’s been four years since the
         9-11 commission made its recommendations. It’s been three years since the United States House
         of Representatives debated the Border Protection, Anti-Terrorism and Illegal Immigration Con-
         trol Act. It’s been two years since the McCain/Kennedy Comprehensive Immigration Reform
         Act was defeated. And it’s been eleven months since we said goodbye to Officer Nick Erfle.
            And still there is no debate—meaningful or otherwise in House races, in Senate races, or
         between the two candidates for president of the United States. And that needs to change.
            In just the past few days, I was asked by the U.S. Conference of Mayors to head up a Task
         Force on Immigration Reform, to study the problem and to make recommendations to the 111th
         Congress and the 44th president.
            And I accepted that honor, with one important caveat: No more studying. No more hearings.
         No more task forces. No more white papers and executive summaries lining the shelves of Con-
         gress. This is an issue that has already been studied and studied and studied some more. Now it’s
         time for action. Now it’s time to implement.
            My message is as simple as it is urgent: Do not wait another day to figure out a way to secure
         our borders. We need more personnel. We need to make better use of technology. I recently
         went to the State of Israel. They have, through sheer necessity, figured out how to best secure their
         own borders. For them, it’s a literal matter of life and death. And I say to Washington, “If you can’t
         figure out how to secure our borders, then ask the Israelis for their advice and counsel.” I say to
         Washington, “If the greatest technological nation in the world can’t do it, bring in someone who
         can.”
            Second, I call upon Congress to change our failed immigration policies. For our economy and
         for the foreign workers who need to support their families, let’s use the technology that is avail-
         able to match up the skills of these workers with jobs in this country that are going unfilled.
         Make the work visa program make sense. And because half the immigrants who are in our coun-
         try illegally entered the United States quite legally but overstayed their visas, Congress needs to



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make this new visa system completely trackable.
   Third, not everyone who comes here to work will want to become a citizen. But for those
who do, we need a pathway to citizenship that doesn’t stretch out for ten years or more, the
way it does now. You wonder why so many ignore the system and come here illegally? It’s because
a ten year-plus process is no process at all. It is broken and it is ours to fix.
   Fourth, we need to recognize the human side of immigration. Consider a grandmother who has
lived here peacefully for decades, who has worked and raised a family, and paid taxes and con-
tributed to our social fabric and our economy—treating her the very same way we treat a drug dealer
who is in the United States illegally makes no sense at all. We should never paint with a brush that
broad. We need to recognize different circumstances and treat them differently.
   Two years ago, the Western Governors’ Association, under the leadership of Arizona Gover-
nor Janet Napolitano, issued a policy resolution very much like the proposal I just outlined. It, too,
is a reasonable proposal that a reasonable Congress should use as a road map. But here we are,
two years later, and that map still sits folded in some Congressional cloakroom.
   So one of the main reasons I’m here today is to force the Congress of the United States to
face the two-headed monster of hate and racism it has created and turned loose 2,000 miles
from this very room.
   If you’re a member of Congress, or the next president of the United States, you’ll be hearing
from me. And when you do, I’ll be standing right next to Julie Erfle because I want you to look
into her eyes and to see for yourself what the cost of your inaction has been.
   So, again, the research has been done and the papers have been written. Our mission is to
obtain the full backing of the US Conference of Mayors, law enforcement groups like this one, the
United States Chamber of Commerce, the faith community and with the support of the Western
Governors’ Association march over to Capitol Hill, proposal in hand, and knock Congress upside
its partisan head with it and tell them to fix… the damn…problem.
   Thank you and God bless you.
   Now, with the chair’s permission, I’d be happy to take a couple of questions.




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         by Don Hunter

         Introduction and Background
            There are an estimated 11.5-12 million illegal immigrants living in the U.S.1 In January 2007, the
         Collier County Sheriff’s Office determined approximately one-quarter of the jail population
         was comprised of illegally-present foreign nationals. At this time, the cost to house illegal immi-
         grants committing crimes in Collier County totaled more than $9 million per year.2 In addition,
         it was determined that approximately 40 percent of total felony warrants and 60 percent of
         murder warrants were for illegally-present foreign nationals.
            The Sheriff’s Office began formal efforts to address the problem of jail overcrowding and escalating
         costs associated with detaining criminal aliens. In June 2007, the Collier County Sheriff’s Office
         entered into a Memorandum of Agreement (MOA) with the United States Immigration and Customs
         Enforcement (ICE), a component of the Department of Homeland Security (DHS). Among other things,
         the MOA outlines the purpose, authority, policy, training, ICE supervision and length of agreement.
            Initially, in September 2007, 27 members of the agency graduated from extensive ICE train-
         ing. In August 2008, another seven members of the agency graduated from ICE training. These
         members are authorized to perform certain immigration enforcement functions as specified in
         the MOA and Section 287(g) of the Immigration and Nationality Act. From this authority, the Col-
         lier County Sheriff’s Office developed the Criminal Alien Task Force (CATF).

         CATF Strategy
            The agency designated members from various disciplines throughout the agency to receive the
         ICE training and certification. These members function under the authority and direction provided
         by the MOA. The various agencywide components are critical to the CATF strategy. In addition, the
         strategy outlines key concepts such as operational flexibility, and clear understanding and commu-
         nication agencywide and with ICE.
                                                           CATF Agency Components

                                      Road Patrol                      Jail                       Marine


                                 Human Smuggling Unit                                    Street Gang Investigators


                                Special Enforcement Team
                                                                 CATF                    Fugitive Warrants Bureau


                                    Driver’s License        Intelligence Investigators    Criminal Investigators
                                     Investigators


         Don Hunter was elected sheriff of Collier County, Florida, in 1988 and served in that office for twenty years.


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Corrections Component and Process
I CATF members initiate contact with newly arrested and/or already detained inmates to deter-

  mine legal status in the U.S.
I    Fingerprints and identification documents are used to search several databases, including
     the ICE Identification System.
I    Subjects qualifying for detainers enter the detention and removal process.
I    A deportation file (including arrest report, criminal history, detain order, etc.) is sent to ICE.
I    Upon final order from a Federal Immigration Judge, deportation orders are processed.
I    Subject is removed from the country once all sentences have been served.

Law Enforcement Component
   Phase 1: CATF members identify violent criminal aliens, including gang members, violent
felony offenders, career criminals and sexual predators. The primary goal is to apprehend vio-
lent criminal aliens representing the greatest threat to residents in Collier County.
   Phase 2: CATF members identify other felony criminal aliens, including those charged with
identify theft, narcotics and fraud.
  Phase 3: CATF members concentrate on lower level crime, such as DUI and driving with-
out a license. In addition, the CATF educates the community, particularly assisting local employ-
ers to assure they are hiring authorized workers.
  In all phases, no arrest is made until the subject is approved by ICE. Removing the most seri-
ous and violent offenders, as outlined in Phase I, will always remain a priority.

CATF — Descriptive Statistics and Program Activity
Corrections (October 1, 2007 – August 1, 2008)
   Interviews Conducted – In the jail, a total of 4,147 inmate interviews have been conducted to
determine legal status. Of those, 2,867 inmates (69%) were illegally present in the country and
1,271 (31%) were legally present.


Detainers Placed for Removal                               No.          Status of Detained Criminal Aliens              No.
Entry without Inspection (EWI)                            340           Removed from the U.S.                          344
Final Orders                                              137           In Collier County Custody                      130
Re-Entries                                                102           In ICE or U.S. Marshal Custody                  74
Legal Permanent Resident (LPR)                             32           Transferred to Other Facilities                 38
Overstays (expired Visas)                                  11           Case Terminated or Posted Bond                  11
Total Detainers Placed                                    622*          Total Cases                                    597
*25 lifted for various reasons for a total of 597 cases




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         Detainers Placed for Removal                                   Status of Detained Criminal Aliens
                                                 2% Overstay                                                    2% Terminate/Bond
                                                 5% LPR                                                         6% Other Transfer



                                                 16% Re-entry                                                   12% Federal Custody



                                                                                                                22% CCSO Custody
                                                 22% Final Order




                                                 55% EWI                                                        58% Removed



         Prior Arrest History — The total number of arrest charges for criminal aliens identified in the jail
         and detained for removal is 3,993 (2,899 misdemeanor and 1,094 felony arrest charges). On aver-
         age, each criminal alien has 1.8 prior felony and 4.8 prior misdemeanor arrest charges, for a total
         of nearly seven (7) prior arrest charges each.
           Jail Population — Overall, in 2008, the jail population has been at lower levels when com-
         pared to the same month in 2007. The time period of January through July 2007 was prior to CATF
         implementation (the CATF was implemented in the jail in October 2007). So far, the largest
         drop by month has been in July 2008, with a 14 percent decrease in the jail population from the
         previous year.

                 Average daily jail population 2007-2008, monthly comparison.

         1,300

         1,250

         1,200

         1,150

         1,100

         1,050
                        Jan.             Feb.                Mar.          Apr.              May             June                    July
             2007      1,198            1,209               1,215         1,209             1,209            1,245                  1,282
             2008      1,159            1,180               1,202         1,192             1,214            1,170                  1,107



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Law Enforcement (October 30, 2007 – August 10, 2008)
                                                                                                      49% Detained
Investigations - Status                                            No.
                                                                                                      9% Pending
Approved by ICE - detained by CATF                                 68
Approved by ICE - not yet located by CATF                          35
Current Investigation                                              32
Pending ICE Approval                                               15                                 20% Current
Detained by Other Agency                                           10
Total Investigations                                              160*
*CATF conducted 210 preliminary investigations; 50 did not meet
standards to continue into formal investigations

   Prior Arrest Charges—Criminal aliens detained by                                                   22% Approved
CATF investigations have extensive prior arrest his-
tories—a combined total of more than 1,300 prior                                 30% Other           1% Fraud
                                                                                 Misdemeanor         5% VOP
criminal charges. On average, each criminal alien
removed by CATF investigations has more than nine                                                    7% Drug
(9) previous arrest charges—with an average of 3.7
                                                                                                     7% Disorder
felony and 5.6 misdemeanor prior arrest charges each.
   In this chart, person crimes include robbery, sex-                                                8% Other Felony
ual assault, assault and battery, stalking and kidnap-
ping. Property crimes include burglary and theft                                                     13% Traffic
charges. Disorder crimes include disorderly conduct,
disturbing the peace and resisting arrest. Traffic crimes
include DUIs and all other traffic-related violations.                           15% Person          14% Property

  Examples of Phase I Cases—CATF investigations
have apprehended and detained many violent, felony career criminals who otherwise would
not have been identified.
I Subject with multiple prior arrests for robbery, burglary, drug/cocaine, and firearm charges was

  apprehended by CATF and charged federally. He used a false birth certificate to obtain US ID,
  including a passport and driver’s license.
I   Subject was previously arrested on multiple occasions for molesting children. He was appre-
    hended by CATF investigations before he could reoffend.
I   Subject had been previously deported and had a warrant in another state for rape of a child with
    a firearm. He is suspected of murdering his eight-month-old daughter and has been arrested
    by CATF on immigration charges.
I   Subject is a documented MS-13 gang member previously deported from another state after a
    gang-related shooting. He traveled to Collier County and has been arrested and detained by
    CATF on immigration charges.



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            Country of Origin — Due to geographic location, most illegally-present criminal aliens detained
         and removed by CATF are from Mexico (on average, 60 percent). However, the CATF has
         identified and interviewed aliens from more than 50 countries. These countries include:
            Albania              Costa Rica              Iran                     Russia
            Argentina            Cuba                    Israel                   Scotland
            Australia            Czech Republic          Jamaica                  Slovakia
            Bahamas              Dominican Republic Jordan                        South Africa
            Bangladesh           Ecuador                 Kazakhstan               South Korea
            Belize               El Salvador             Mexico                   St. Lucia
            Bolivia              England                 Nicaragua                Thailand
            Brazil               Germany                 Nigeria                  Trinidad & Tobago
            Bulgaria             Guatemala               Panama                   Turkey
            Canada               Haiti                   Peru                     Turks & Caicos
            Chile                Honduras                Philippines              Uruguay
            China                Hungary                 Poland                   Venezuela
            Colombia             India                   Romania                  Vietnam

         CATF Benefits
            This program promotes community safety, reduces jail overcrowding, reduces victimization
         and provides cost savings for Collier County. Early outcomes and indicators are promising. Our
         jail population has been reduced and our crime rate continues to decline, a remarkable accom-
         plishment particularly in this difficult economy.
            Further, this program has greatly improved intelligence gathering and identification—a crit-
         ical element in local enforcement in our country’s post-9/11 environment. Through this pro-
         gram, the Collier County Sheriff’s Office has been able to identify very violent criminal predators,
         including sexual offenders and gang members, using fraudulent identities to further their crim-
         inal careers. Without the necessary resources and support to pursue criminal investigations,
         these offenders would not be identified, arrested and removed from our country.

         Endnotes
         1
          Pew Hispanic Center, Size and Characterisics of the Unauthorized Migrant Population in the U.S., March 2006.
         2
          Cost was determined based on the number of self-admitting illegal immigrants, calculated at several times through-
         out the year. This does not include other justice costs such as court costs and victim services.




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Statement by Kareem Shora, JD, LLM
National Executive Director
American-Arab Anti-Discrimination Committee (ADC)

August 21-22 2008
JW Marriott Hotel
Washington, DC

   On behalf of the American-Arab Anti-Discrimination Committee (ADC), I wish to thank the Police
Foundation for this valuable opportunity. As key stakeholders and community partners, we welcome
the positive efforts already undertaken by the Police Foundation in coordination with key local law
enforcement agencies in addressing the vital issues of trust, fear and crime prevention. My statement
will highlight some of the challenges encountered by the Arab- and Muslim-American communities
in the area of civil rights and liberties as a result of certain U.S. government policies that have involved
local law enforcement agency enforcement of federal immigration law and the impact this has had on
the ability of our communities to actively participate, as members of civil society, in reaching our full
potential in assisting legitimate efforts aimed at combating crime in all its forms.
   ADC is the largest grassroots organization in the United States dedicated to protecting the civil rights
and liberties of Arab Americans. ADC was established in 1980 by a former U.S. senator and has
grown into a national organization with headquarters in Washington D.C., fully staffed regional
offices in Massachusetts, New York, New Jersey, Michigan, and California, as well as 38 volunteer-
based chapters throughout the United States.
   The unfortunate, ineffective, and cosmetic actions undertaken by the U.S. government in the
days, weeks, and months following the horrific September 11, 2001, terrorist attacks on our nation left
a bitter taste within the Arab, Muslim, and South Asian American communities and a mark of shame
on the fabric of our American society. To be just, in the past several years some government agencies
have undertaken constructive proactive steps at regular dialogue with the ADC and the Arab, Mus-
lim, and South Asian American communities. Many local police agencies have taken the lead, utilizing
the time proven method of “community policing” to build trust and work with the communities to
protect and serve everyone regardless of race, religion, gender, age, or ethnicity.
   Security cannot be assessed in a vacuum and must be addressed in light of the challenges encoun-
tered by members of most communities in the areas of civil and human rights and liberties as a
result of some government domestic policies with mandates to combat terrorism. We also cannot ignore
popular culture’s and the media’s portrayal of Muslims and Arabs, as well as some of the recent
hateful rhetoric made by some of our elected officials. One cannot ignore practices which have
involved some U.S. government agencies—practices that violate international human rights stan-
dards and U.S. constitutional standards—such as extraordinary rendition and secret detentions, the
continuing controversy of the Guantanamo enemy combatant detentions, or the Abu Ghoraib torture
scandal, all of which are factors in drumming up hate targeted against Arabs and Muslims.
   The need for such an assessment is vital in understanding the negative perceptions and stigmas



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        associated with anti-Muslim discrimination and the impact this has had on the relationship between
        these communities and local law enforcement. We must acknowledge and understand that some U.S.
        government policies designed to combat terrorism have both proven ineffective in fulfilling their man-
        dates and have had a devastating impact on the ability of the Arab and Muslim communities to
        actively participate, as members of their communities, in reaching our full potential as full partners
        with the police.
            Some of the policies the U.S. government undertook following the horrific September 11, 2001, ter-
        rorist attacks on our nation and some more recent decisions made in the name of combating terrorism
        have made it easier for those who promote hate, perpetuate violent extremism and radicalization, and
        others who engage in hate and anti-Muslim discrimination to operate regardless of the legal protections
        often afforded later to their respective victims.
            I would like to highlight a few challenges that have involved local police and the enforcement of
        federal immigration law, challenges that have caused additional strain on already overburdened
        police agencies and, at the same time, served to negatively impact the trust and communication that
        is required to maintain a safe and law abiding community that is free of crime. These policies include
        targeted immigration enforcement measures such as the National Security Entry-Exit Registration
        System (NSEERS), also know as “special registration;” perceived racial profiling in the approach to
        conduct voluntary interviews by the FBI in partnership with local police agencies; the increased
        reliance on the “watch” and “no fly” lists (also known as the “terrorism watch list”); the Immigra-
        tion Absconder Apprehension Initiative which, in 2002, targeted immigration absconders based
        specifically on national origin; and, most damaging to local police, the deeply flawed and now dis-
        credited reports by local law enforcement agencies, including the New York City Police Depart-
        ment (NYPD), advocating increased scrutiny of Muslims in the U.S. based on cultural affiliation and
        religious practices.
            As you might have read or heard in recent high-profile media reports, some accounts have claimed
        that the U.S. government “terrorism watch list” now contains over one million names or records. Anec-
        dotal examples suggest that Arab, Muslim, and South Asian Americans are more likely to be flagged
        by this watch list. Local police agencies are required to enforce this list when they conduct routine
        traffic enforcement, given that the list is maintained as part of the National Crime Information Cen-
        ter (NCIC) database operated by the FBI and accessed by all local law enforcement agencies.
        Although the U.S. government’s position states that it does not profile individuals based on race,
        ethnicity, or religion, the “watch” and “no fly” list challenges, and the involvement of local police with
        this controversy, have created a tremendous level of mistrust and the perception of ethnic and racial
        profiling in Arab, Muslim, and South Asian American populations. It is clear that local police agen-
        cies have inherited, sometimes involuntarily, the mistakes born out of the federal government.
            Another example is NSEERS or “special registration.” NSEERS is a poorly constructed program
        that has outlived any constructive purpose it may have once served and is in need of replacement by
        the more extensive and reliable US-VISIT program. US-VISIT relies on biometric technology to obtain
        information about anyone entering the United States. While the port-of-entry phase of this pro-
        gram has been implemented, we are hopeful that the U.S. government, namely the United States



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Congress, will provide the necessary funding for US-VISIT so that it can be fully implemented at ports
of departure.
    The U.S. Department of Justice (DOJ) created NSEERS, also known as “special registration,” in 2002
allegedly as an anti-terrorism program that required male visitors from certain countries—and oth-
ers whom an immigration inspector decides meet certain confidential criteria—to be fingerprinted,
photographed, and questioned by immigration officers. The most controversial part of this pro-
gram, known as the “domestic call-in” phase, required men from twenty-five predominantly Muslim
and Arab countries to report to immigration offices around the country for fingerprints, photo-
graphs, and lengthy questioning by officers. There are criminal and civil penalties associated with
NSEERS, including arrest, detention, monetary fines, and/or removal from the United States.
    Although initially portrayed by the Department of Justice (and, in turn, understood by those who
voluntarily complied with the program) as a tool to combat terrorism following the devastating ter-
rorist attacks against our country on September 11, 2001, NSEERS has apparently become just
another tool used in immigration law enforcement, and law enforcement more generally. NSEERS
raises serious constitutional issues since the program discriminates on the basis of national origin and
it further burdens local police with enforcing yet another federal program without receiving addi-
tional funding or resources.
    Indeed, like the “watch list,” NSEERS is also part of the National Crime Information Center
(NCIC) database maintained by the FBI and routinely enforced by local police. A system designed
to arrest those who are alleged to have committed serious crimes, such as bank robberies, murder, child
molestation, and rape, is now using limited police resources to arrest or detain civil immigration
violators. Ironically, it was those who complied with NSEERS that were subject to penalty. Nearly
14,000 men who complied with call-in registration were placed in removal proceedings. If a goal of
special registration was to track possible terrorists, deporting those who complied with the pro-
gram undermines this aim, by reducing future compliance and serving to destroy trust between the
police and the community.
    Because of the poor implementation of NSEERS, thousands of men who were required to regis-
ter failed to do so—many no doubt due to lack of notice—and are therefore now vulnerable to
NSEERS penalties. Although the NSEERS program was modified in December 2004, many ele-
ments remain and are subject to abuse, including departure registration, registration at ports of
entry, as well as the potential for the re-initiation of domestic “call-ins” and enforcement action
based on information collected through the program.
    While some Bush administration officials have expressed apprehension about the continued use
of NSEERS, the program is still being utilized. In fact, Asa Hutchinson, former Undersecretary of Bor-
der and Transportation Security at DHS, recognized the problems with NSEERS and has gone on
record as saying “It is our hope to completely end this special registration program because our
long-term goal is to treat everybody the same way and not based upon where you come from” (June
11, 2004, speech to ADC National Convention, Washington, D.C.).
    It should be noted that the perceived injustice of singling out people based on national origin
(and ultimately religion) and, in turn, penalizing them for their cooperation with a government pro-



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         gram may have significantly harmed the relationship of trust between law enforcement and the
         Arab and Muslim American and immigrant communities—a relationship that is vital to the national
         security of the United States.
            ADC has diligently sought to cast a public light on the NSEERS program and has maintained a dia-
         logue with DOJ and DHS in hopes of curbing abuses of the program and ultimately seeing it retired.
         However, ADC’s repeated efforts to obtain information on implementation and use of the NSEERS
         program and resulting databases have been rebuffed and multiple FOIA requests have gone unan-
         swered, either under the guise of the “law enforcement exception” or have simply been ignored.
            More recently, the U.N. Committee on the Elimination of Racial Discrimination (CERD) stated, in
         its February 2008 recommendations to the United States, that “Measures taken in the fight against
         terrorism must not discriminate, in purpose or effect, on the grounds of race, color, descent, or
         national or ethnic origin.” The CERD urged the U.S. “to put an end to the National Security Entry-
         Exit Registration System (NSEERS) and to eliminate other forms of racial profiling against Arabs, Mus-
         lims, and South Asians.”
            I would like to describe a case example of the negative impact and fear the enforcement of federal
         immigration law by local police has had on the Arab, Muslim, and South Asian communities. In
         February of 2004, ADC was contacted by Mr. X. Mr. X is a United States citizen who lives in Tennessee
         and owns a small business. In February of 2004, Mr. X drove to a neighboring town in Mississippi
         to park one of his driver’s cars and pick up his personal vehicle. When he arrived, Mr. X noticed a police
         car shining the lights on his vehicle. When Mr. X got out of the car while speaking on his cell phone,
         the officer pulled a gun and asked him not to move. The officer allegedly started screaming and
         asking Mr. X to put his cell phone down. Mr. X allegedly complied and within minutes three more
         sheriff cars arrived and with guns drawn the officers shouted, “Don’t move or we will kill you. Any
         sudden moves, we will kill you!”
            Complying with police orders, Mr. X got on the ground and placed his hands behind his back.
         The police handcuffed him and threw his money and wallet on the ground. Mr. X allegedly heard one
         of the officers using a cell phone, calling what appeared to be the FBI and saying, “We got him, we
         got him!” Mr. X alleged that while he was handcuffed and on the ground the other three officers con-
         tinued to point their guns at him shouting, “If you move, we will kill you!”
            Mr. X alleged that one of the sheriff deputies said, “I want to see your nose touching the ground.
         I know your kind of people; I worked for the CIA for ten years,” all the while pointing his weapon at
         him and saying, “If you breathe wrong, I will kill you!” Mr. X alleged that the same officer said,
         “You need to go back to whatever Sand Ni**er country you came from,” and he then allegedly called
         Mr. X a terrorist and a baby killer. Mr. X further alleged that the officer asked him if he was scared
         and then added, “Your kind of people don’t care if they die. I want to see your nose touching the
         ground, you terrorist!” The officer allegedly kept walking back and forth, repeating his threats and
         racial epithets.
            Mr. X reported that while this was taking place, the other officers were on their phones saying that
         his name came up on a terrorist watch list. The older officer who initially stopped Mr. X found a hand-
         gun permit in his wallet. He walked to Mr. X with his gun drawn and said, “I found a gun permit; don’t



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let me find a gun or I will shoot you with it.” Mr. X then alleged that a third officer walked to him and
asked whether the car is “going to blow up in my face” if he turns on the ignition. Mr. X was then
allegedly asked by the same officer whether Mr. X knew how to fly airplanes.
   After over an hour on the ground, Mr. X saw his driver, the owner of the car approach. He later
told Mr. X that he saw him on the ground and heard one of the police officers call him a baby killer.
The driver also reported that he was asked by the police, “Why did you let him use your car? He is
a well known terrorist. His information came up on our computer.”
   Finally, the officers took Mr. X’s handcuffs off and permitted him to collect his belongings. One
of the officers asked, “Do you know why we stopped you?” Mr. X said, “No, it doesn’t make any
sense to me, what you did does not make any sense to me.” Mr. X then walked to the officer that called
him a baby killer to ask why he was treated in this fashion, and the officer allegedly responded by yelling,
“If you don’t get out of (Mississippi) we will take you in!” and a second officer allegedly yelled, “If I
see you back in Mississippi, I will personally kill you!”
   Mr. X was permitted to leave with no federal agents being involved and without being read his
Miranda rights or being arrested or charged with anything. When Mr. X got in his car he called the
FBI in Memphis and gave them a description of the incident and the officers involved. He then
called the FBI office in Jackson, Tennessee, and provided the same information. After a week, an FBI
special agent interviewed both Mr. X and his witness and recommended that Mr. X file an internal
affairs complaint with the same sheriff’s department whose officers allegedly were involved in the
incident. The sheriff’s department failed to investigate the incident or address Mr. X’s concerns.
Unfortunately, when ADC filed a complaint with the DOJ Civil Rights Division, asking for an inves-
tigation, and when Mr. X followed up with the FBI on this matter, he received a letter from the DOJ
Civil Rights Division, Criminal Section, stating that no further action would be taken by the DOJ and
telling him he may wish to pursue the matter in civil court.
   In conclusion, government agencies, including law enforcement agencies, have taken many proac-
tive steps at constructive dialogue and communication in the past few years. These steps have gone
a long way in improving trust and in turn effectively combating crime. However, the unfortunate poli-
cies I have mentioned here continue to reverberate with their negative and destructive effects on the
Arab, Muslim, and South Asian communities and on the relationship between those communities and
local police.
   The lesson we have learned as a people is not to strip the most valuable treasure we have as a
nation by ignoring the basic rights and liberties and inherently weakening the great American val-
ues of freedom, fairness, and equality we have championed for decades. With the exception of our
friends in the Native American nations, we are indeed a nation of immigrants. Our African-Ameri-
can communities are primarily here as a result of another historical injustice, namely slavery, a form
of cruel involuntary immigration. Most of the rest of us are here because of the great immigration tra-
dition that has crafted this mosaic we hold so dear.
   Thank you.




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                                                          Remarks



        By Julie Erfle

        August 21-22 2008
        JW Marriott Hotel
        Washington, DC

           It would have been easy to cling to hate when my husband was killed last September. I was cer-
        tainly angry. Angry that my husband—a good man, a wonderful father, a two-time cancer survivor, a
        highly decorated officer—was killed by a street thug with a record almost as long as his life. It would
        have been easy to say, “Deport his family, deport them all!” They killed my husband, and they deserve
        no mercy. They showed no mercy for Nick, no mercy for me or my children, or the hundreds of
        other family members and friends and fellow officers left to pick up the pieces of their lives.
           Except, “they” didn’t kill Nick. A felon named Eric Martinez killed my husband, and Eric Martinez
        isn’t a “they.” But he certainly is a powerful example of a failed immigration policy, isn’t he?
           When Nick was killed, I knew deep in my heart that there had to be some greater purpose, some
        deeper meaning for his senseless death. I found that reason when just hours later, the media focus
        turned to the immigration status of his killer. It was then that the cries for deportation began, the lines
        were drawn, the political pundits on their game. They all had an opinion and they also had a great deal
        of anger and hate to go with it.
           In some ways, I wished I could have joined in the yelling matches, screamed my way out of my pain,
        and found reasons as to why simple deportation was the answer. Except it wasn’t that easy for me,
        and I knew better. I wanted the answer, the solution. So I did my research, read about the issue,
        talked to the real experts in the field like immigration attorneys and law enforcement officers—
        those dealing with this issue every day—and I listened to others like me who lived with the conse-
        quences of a failed system. And that’s when I realized that it’s a little more complex than some of our
        politicians and media would have us believe.
           But I also realized that there were and are solutions out there. This issue has been researched
        very thoughtfully by people who are not seeking political office or hyped-up listeners to bolster
        their ratings. It isn’t just a pro- or anti-immigration or Republican or Democratic solution. There is
        middle ground. We’ve just failed in our efforts to make that the focus of our discussions.
           And so that’s why I’m here today, to work with individuals, like Mayor Gordon, who have decided
        the time to move this discussion forward is now. I have asked the mayor and others to join me in sup-
        porting a comprehensive immigration policy outline put forth by the Western Conference of Governors.
        The mayor will address this policy in more detail shortly but know that this policy outline addresses
        all major areas of concern within the immigration debate. I hope you will join us in pushing this
        policy forward.
           I will not stand idly by and wait for the day when our legislators finally decide, “Now is the time
        for action.” That time has passed and, sadly, some of us have paid dearly because of it. Let’s not wait
        any longer for a solution. The lives of our officers and their families are far, far too precious to just stand
        by and wait.

        Julie Erfle is an advocate for immigration reform. The widow of Phoenix police officer Nick Erfle, she lives in Phoenix
        with her two children.



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                                       Focus
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                                          Agenda   Summary
                                                 and Presenters’ Bios
WEDNESDAY, AUGUST 20
4:00-7:00 pm    Registration
THURSDAY, AUGUST 21
7:00-8:00 am    Registration/Continental breakfast

PLENARY         Opening remarks                                                          Hubert Williams, President
8:00-8:15 am                                                                             Police Foundation
8:15-8:45 am    Keynote address                                                          The Honorable Phil Gordon
                                                                                         Mayor of Phoenix, Arizona
8:45-9:00 am    Report of Police Foundation focus group findings                         Anita Khashu, Special
                                                                                         Advisor, Center on
                                                                                         Immigration & Justice, Vera
                                                                                         Institute of Justice; consult-
                                                                                         ant, Police Foundation

9:00-10:00 am   Panel 1: Enforcing federal immigration law at the local level: why and   Moderator: Anita Khashu,
                why not?                                                                 Special Advisor, Center on
                                                                                         Immigration & Justice, Vera
                States and local municipalities have been encouraged to participate      Institute of Justice; consult-
                in the enforcement of federal immigration laws. Some local law en-       ant, Police Foundation
                forcement agencies have entered into a Memorandum of Agreement           Panelists: Sheriff Donald
                (MOA) with Immigration and Customs Enforcement (ICE) under               Hunter, Collier County, FL
                Section 287(g) added to the Immigration and Nationality Act by the
                Illegal Immigration Reform and Immigrant Responsibility Act of           Chief Harold Hurtt,
                1996 (IIRIRA). MOAs authorize designated officers to perform civil       Houston, TX
                immigration law enforcement functions, provide them with access to       James Pendergraph,
                the ICE database, and enable them to fill out the necessary forms to     Executive Director, Office of
                initiate the deportation process. The purpose of this panel is to ex-    State & Local Coordination,
                amine the challenges, problems, and opportunities encountered by         U.S. Immigration & Customs
                local police and sheriffs engaged in the enforcement of federal immi-    Enforcement
                gration laws.


10:00-10:15 am Break

10:15-10:35 am Legal issues in local police enforcement of federal immigration law       Professor Nancy Morawetz,
                                                                                         New York University
                As local police consider taking on enforcement of federal immigra-       School of Law
                tion law, they should carefully consider the legal complexity of their
                role and legal constraints on methods of enforcement in a legal and
                institutional system that operates quite differently from local crimi-
                nal justice systems. Local police enforcement of federal immigra-
                tion law must account for local, state, and federal laws that govern
                the rights of community residents and the obligations of localities.
                It must also account for the civil nature of most immigration viola-
                tions. Most importantly, it must be conducted in a way that avoids
                several common misconceptions about the supposed targets of im-
                migration law enforcement, including confusion over their rights,


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                     migration law enforcement, including confusion over their rights,
                     status, and place in the community. The risk of error is high, and al-
                     ready several localities have been subject to lawsuits over unlawful
                     arrests and detentions, the use of racial profiling in enforcement,
                     poor conditions of confinement, and other violations of law. This
                     panel discusses the legal complexities of federal immigration law
                     enforcement in the local setting and the changing demographics of
                     communities. Risks of liability provide yet another factor for police
                     departments to consider before making a decision about whether to
                     tread into this new field of enforcement.

 10:35-11:15 am Panel 2: A balanced perspective on the undocumented immigrant                              Professor Stephen
                                                                                                           Legomsky, Washington
                     The presentation will begin with a short summary of the issues                        University School of Law
                     raised, and some of the data, concerning the characteristics of the un-               Professor Raquel Aldana,
                     documented population in the United States. It will continue with a                   William S. Boyd School of
                     summary of the overall impact of this population. The presentation                    Law, University of Nevada,
                     concludes by highlighting some of the most frequently debated policy                  Las Vegas
                     responses, including enforcement, legalization, legal issues, and the
                     bundle of more recent strategies that aim to encourage “self-deporta-
                     tion.” It will seek to lay out, as objectively as possible, the pros and
                     cons of the various strategies.

 11:15 am-           Panel 3: Crime, violence, disorder, victimization: patterns and trends                Moderator: Professor
 12:15 pm            associated with the undocumented immigrant population                                 William McDonald,
                                                                                                           Georgetown University
                     It has been estimated that there are 12 million undocumented immi-                    Panelists: Professor
                     grants in America and hundreds of thousands crossing our borders                      Roberto Gonzales,
                     illegally each year or overstaying their visas. Americans are troubled                University of Washington
                     by, and fearful of, the existence of such a large undocumented immi-
                     grant population. Shocking violent criminal acts committed by                         Jeffrey Passel, PhD, Senior
                     gangs such as MS-13 are frequently reported in newspapers, televi-                    Demographer, Pew
                     sion, and the radio. This has heightened the anxieties and concerns                   Hispanic Center
                     about the undocumented community as a whole, and resulted in the                      Professor Rubén Rumbaut,
                     passage of tough new statutes and more rigorous enforcement of                        University of California-
                     immigration laws by some states and localities. The purpose of this                   Irvine
                     panel is to examine research on crime within the undocumented
                     community, discuss how the undocumented crime rate comports
                     with that of other groups within the nation, and explore pattern and
                     trends related to crime and victimization within the undocumented
                     community.

 12:15-1:15 pm       Luncheon (Salon 1)

 1:15-1:30 pm        Break

 1:30-2:30 pm        WORKSHOPS (repeated at 5:00 pm)                                                       Facilitator:

                     Workshop #1: How does law enforcement enhance cooperation with                        Chief (Ret.) Richard Wiles,
                     the undocumented and documented communities?                                          El Paso, TX

                     Workshop #2: What are the positive and negative impacts of 287(g)?                    Chief Ron Miller,
                                                                                                           Topeka, KS

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               Workshop #3: How can law enforcement work within the undocu-             Chief (Ret.) Arturo Venegas,
               mented community?                                                        Sacramento, CA

               Workshop #4: What strategies should law enforcement executives em-       Chief Theron Bowman,
               ploy to effectively manage the political pressures associated with the   PhD, Arlington, TX
               enforcement of federal immigration laws? (chiefs and sheriffs only)

2:30-2:45 pm   Break

2:45-3:45 pm   Panel 4: What is the cost of enforcing immigration law at the local      Moderator: Muzaffar
               level? When state and local laws addressing undocumented immi-           Chishti, Director, Migration
               grants are enacted, what are the social and economic impacts on:         Policy Institute at New
               (1) police operations; (2) municipal budgets; (3) the quality of life    York University School of
               of community residents?                                                  Law
                                                                                        Panelists: Randolph
               Although the federal government has the primary role in directing        Capps, PhD, Senior
               overall policy regarding immigration and refugees, the effects of        Research Associate,
               such policy on local communities present challenges that cannot be       The Urban Institute
               ignored by state and local governments. There is concern about the
               impact of local law enforcement of immigration law on already            Mayor John Cook,
               strained state and local resources, and particularly on the ability of   El Paso, TX
               local law enforcement to maintain its core mission of protecting         Mayor Phil Gordon,
               communities and promoting safety. There is also concern about un-        Phoenix, AZ
               dermining law enforcement efforts to build trust and support in im-
               migrant communities so that witnesses and victims are not fearful
               of reporting crime.

3:45-4:45 pm   Panel 5: Fear, crime, and community trust: community perspectives        Moderator: Professor
               on immigration enforcement by local police                               Rubén Rumbaut, University
                                                                                        of California-Irvine
               Although there are common threads that link fear, crime, and com-        Panelists: Tuyet Duong,
               munity trust, these issues are influenced significantly by public per-   Senior Staff Attorney,
               ceptions of the police, and differentiated by class, race, ethnicity,    Immigration and Immi-
               religion, culture, and national origin. Many of these differences are    grant Rights Program,
               rooted in historical experiences or encounters with the police, di-      Asian American Justice
               rectly or indirectly, that affect the way people view the police and     Center
               the manner in which they respond to police authority.
                  In an era of community policing, in which the police acknowl-         Clarissa Martinez De
               edge public trust to be among their highest priorities, understand-      Castro, Director,
               ing these differences and developing constructive solutions to           Immigration & National
               problems that separate the police from the public are essential for      Campaigns, National
               building and sustaining community partnerships that enhance pub-         Council of La Raza
               lic trust and public support for the police.                             Kareem Shora, Executive
                  The purpose of this panel is to consider the influence of immi-       Director, American-Arab
               gration enforcement from the perspectives of different communi-          Anti-Discrimination
               ties whose experiences may provide the police with insights into         Committee
               the impact of policy and practice at the ground level, and establish a
               new feedback loop that will facilitate improvement in both areas.
                  It is our hope that the panelists’ presentations, audience ques-
               tions, and subsequent discussion will generate greater clarity and a
               more nuanced and in-depth understanding of the concerns and
               problems faced by diverse communities, as well as the types of poli-
               cies and strategies necessary to effectively address them.

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 4:45-5:00 pm        Break
 5:00-6:00 pm        WORKSHOPS (repeat)                                                                    Facilitator:
                     Workshop #1: How does law enforcement enhance cooperation with                        Chief (Ret.) Richard Wiles,
                     the undocumented and documented communities?                                          El Paso, TX
                     Workshop #2: What are the positive and negative impacts of 287(g)?                    Chief Ron Miller, Topeka,
                                                                                                           KS
                     Workshop #3: How can law enforcement work within the undocu-                          Chief (Ret.) Arturo Venegas,
                     mented community?                                                                     Sacramento, CA
                     Workshop #4: What strategies should law enforcement executives em-                    Chief Theron Bowman,
                     ploy to effectively manage the political pressures associated with the                PhD, Arlington, TX
                     enforcement of federal immigration laws? (chiefs and sheriffs only)
 6:00-7:30 pm        Reception (Salon 1)
 FRIDAY, AUGUST 22, 2008
 7:30-8:15 am        Continental breakfast
 PLENARY             Day 2: Opening remarks                                                                Hubert Williams, President,
 8:15-8:30 am                                                                                              Police Foundation
 8:30-9:45 am        Panel 6: Immigration and local policing: results from a survey of                     Moderator: Doris Marie
                     local law enforcement executives                                                      Provine, Professor, Arizona
                                                                                                           State University
                     One of the most important challenges for law enforcement agencies                     Panelists: Scott Decker,
                     in many communities is how to respond to immigration and the
                                                                                                           Professor, Arizona State
                     presence of undocumented residents. Departments often face con-
                                                                                                           University
                     flicting pressures from local politicians, federal authorities, commu-
                     nity groups, and the private sector. Yet they have little available in-               Paul Lewis, Asst. Professor,
                     formation to help them make sound policy decisions. This panel                        Arizona State University
                     reports on the results of a recent nationwide survey of police execu-                 Monica Varsanyi, Assoc.
                     tives on several issues, including differences between departments                    Professor, John Jay College,
                     and communities and their attitudes about immigration and local                       CUNY
                     law enforcement; relationships with federal immigration and cus-
                     toms enforcement authorities; and the range of policies on immigra-
                     tion policing being developed by cities and departments. The survey
                     also explores levels of commitment to community policing practices
                     and the potential for conflict with enforcement of immigration laws
                     by local police.

 9:45-10:00 am       Break
 10:00-11:00 am Open forum                                                                                 Facilitator: Chief
                                                                                                           William Matthews,
                                                                                                           Coatesville, PA, Police
                                                                                                           Department
 11:00-11:30 am Conference summation                                                                       Professor Stephen
                                                                                                           Legomsky, Washington
                                                                                                           University School of Law
 11:30-11:45 am Closing remarks                                                                            Hubert Williams, President
                                                                                                           Police Foundation
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Raquel Aldana is professor of law at William   ecutive Research Forum, and a host of oth-       the New York Immigration Coalition,
S. Boyd School of Law, University of Ne-       er organizations. Dr. Bowman serves as           and the Asian American Federation of
vada Las Vegas, where she teaches im-          chair for the Texas Intelligence Council         New York. He has served as chair of the
migration law, criminal law and criminal       and as a commissioner for the Commis-            board of directors of the National Immi-
procedure, international human rights, and     sion on Accreditation for Law Enforce-           gration Forum, and as a member of the Co-
international public law. She also co-         ment Agencies.                                   ordinating Committee on Immigration of
teaches experiential learning courses, in-                                                      the American Bar Association. His pub-
cluding a course in Nicaragua on do-           Randolph Capps, a demographer with sub-          lications include: America’s Challenge:
mestic violence in a post-conflict society     stantial expertise in immigrant popula-          Domestic Security, Civil Liberties, and
and a course on the criminalization of im-     tions, is a Senior Research Associate at the     National Unity After September 11 (co-au-
migrants. Prior to coming to the Boyd          Urban Institute. He has a PhD in sociol-         thored); “Guest Workers in the House of
School of Law, Professor Aldana worked         ogy from the University of Texas, and has        Labor” in the New Labor Forum; “The Role
for the Center for Justice and International   analyzed data on immigrants from a               of States in US Immigration Policy” in the
Law, representing victims of gross human       wide variety of sources, at the national,        NYU Annual Survey of American Law
rights violations in the Inter-American Sys-   state, and local levels. Dr. Capps recent-       (2002); “Employer Sanctions Against Im-
tem on Human Rights. She is the author         ly published national-level reports on           migrant Workers” in WorkingUSA; and
of numerous books, articles, and other pub-    trends in the immigrant labor force, the         “Rights or Privileges,” in the special issue
lications, including Everyday Law for          health and well being of young children          on the Promise of Immigration in The
Latinos (with S. Bender & J. Avila) (forth-    of immigrants, and the characteristics of        Boston Review. Mr. Chishti was educated
coming 2008); Of Katz and “Aliens”: Pri-       immigrants’ children in elementary and           at St. Stephen’s College, Delhi; the Uni-
vacy Expectations and the Immigration          secondary schools. He is currently con-          versity of Delhi; Cornell Law School; and
Raids, ___ 41 U.C. Davis Law Rev. 101___       ducting a study of the impact of immi-           the Columbia School of International
(forthcoming 2008); The Subordination          gration enforcement operations on chil-          Affairs.
and Anti-Subordination Story of the U.S.       dren of unauthorized immigrants and re-
Immigrant Experience in the 21st Centu-        cently participated in an evaluation of em-      John Cook was elected Mayor of El Paso,
ry, __ 7 Nev. L. J. 713__ (2007) (Lat Crit     ployment services in the federal refugee         Texas, in 2005. From 1999 to 2005, he
Symposium Cluster Introduction); On            resettlement program.His recent work at          served on the City Council, representing
Rights, Federal Citizenship, and the           the state and local level includes a de-         El Paso’s 4th district. Mayor Cook has
“Alien”, 46 Washburn L. Rev. 101 (2007).       mographic profile of immigrants in               lived in Northeast El Paso for most of his
Professor Aldana earned her JD from Har-       Arkansas; a study of immigrant integra-          life where his family has owned and op-
vard Law School, where she served as ar-       tion in Louisville, Kentucky; a description      erated several Northeast businesses. He
ticles editor of the Harvard Civil Rights-     of the unauthorized population in Cali-          has been deeply involved in El Paso’s com-
Civil Liberties Law Review.                    fornia and Los Angeles; a study of tax pay-      munity affairs, as a businessman, a teacher,
                                               ments by immigrants in the Washington,           coach, founder and member of the board
Theron Bowman began his law enforcement        DC, metropolitan area; an assessment of          of many civic and veterans’ organizations.
career in 1983 as an officer with the Ar-      immigrants’ health care access in Con-           He served in the United States Army from
lington, Texas, Police Department, and         necticut; and an analysis of the involve-        1966 to 1971, seeing service as a Special
served in numerous positions before be-        ment of children of immigrants in the            Agent Military Intelligence. He holds a
ing appointed chief of police in 1999. A       Texas child welfare system.                      business degree from the University of
Fort Worth native, he received his bach-                                                        Texas at El Paso.
elor’s, master’s, and doctorate degrees        Muzaffar Chishti, a lawyer, is director of the
from the University of Texas at Arlington.     Migration Policy Institute’s office at New       Alina Das is a supervising attorney and
Chief Bowman is a graduate of the Sen-         York University School of Law. His work          teaching fellow with the Immigrant
ior Management Institute for Police, the       focuses on US immigration policy, the in-        Rights Clinic at New York University
FBI National Academy, and the FBI Na-          tersection of labor and immigration law,         (NYU) School of Law. She works with
tional Executive Institute. He has served      civil liberties, and immigrant integra-          clinic students to defend the rights of im-
on the faculty of three local universities,    tion. Prior to joining MPI, Mr. Chishti was      migrants facing deportation and deten-
teaching sociology, criminology, and           director of the Immigration Project of the       tion and to provide support for commu-
criminal justice classes. He is a member       Union of Needletrades, Industrial & Tex-         nity organizations’ immigrant rights cam-
of the International Association of Chiefs     tile Employees (UNITE). Mr. Chishti              paigns. Prior to joining the Immigrant
of Police, National Organization of Black      currently serves on the boards of directors      Rights Clinic, Alina was an attorney and
Law Enforcement Executives, Police Ex-         of the National Immigration Law Center,          Soros Justice Fellow with the New York


Biographical information current at the time of the Police Foundation conference, August 21-22, 2008.


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         State Defenders Association Immigrant           in Los Angeles, California, and at the         Phil Gordon was elected Mayor of Phoenix,
         Defense Project, where she engaged in a         Texas Civil Rights Project.Ms. Duong is        Arizona, on September 9, 2003, and was
         wide range of litigation and advocacy on        a frequent speaker and trainer on immi-        re-elected in September 2007. Gordon was
         immigration and criminal justice issues.        gration and language issues. She currently     recently appointed by the U.S. Conference
         Prior to joining the Immigrant Defense          chairs the Board of Directors of BPSOS,        of Mayors to chair its Comprehensive Im-
         Project, Alina clerked for the Hon. Ker-        Inc. and is a founding board member of         migration Reform Task Force. As Mayor,
         mit V. Lipez of the U.S. Court of Appeals       the Vietnamese American Bar Association        Gordon lists his three priorities for the city
         for the First Circuit. Alina’s recent pub-      in Washington, DC. Ms. Duong received          as public safety, education, and jobs.
         lications include Immigrants and Problem-       her JD degree from the University of           Phoenix invests more than 60 percent of
         Solving Courts in the Criminal Justice Re-      Texas Law School at Austin, and a bach-        its budget in public safety. A new crime lab
         view (forthcoming 2008) and Addressing          elor’s degree in English from the Uni-         is open, new precincts are under con-
         Unintended Consequences in Civil Advo-          versity of Texas at Austin.                    struction, and 600 new police officers and
         cacy for Criminally Charged Immigrants                                                         firefighters will be hired over the next two
         in the Clearinghouse Review Journal of          Roberto G. Gonzales earned his PhD in the      years. In education, a downtown Phoenix
         Poverty Law and Policy (July-August             department of sociology from the Uni-          campus is a second home to both Arizona
         2007). Alina is a graduate of Harvard Uni-      versity of California, Irvine, and in Sep-     State University and the University of Ari-
         versity, NYU Wagner School of Public            tember 2008 will join the faculty of the       zona. Additionally, Phoenix has invested
         Service, and NYU School of Law.                 School of Social Work at the University        in small high schools to prepare students
                                                         of Washington in Seattle. He received his      for immediate careers in specific areas like
         Scott H. Decker is professor in the School      undergraduate degree from Colorado             public safety and nursing. Phoenix has led
         of Criminology and Criminal Justice at          College and an AM from the School of So-       the nation for three years straight, creat-
         Arizona State University. He received           cial Service Administration at the Uni-        ing 45,000 new jobs each year. Before serv-
         the BA in Social Justice from DePauw            versity of Chicago. He combines fifteen        ing in elected office, Gordon was a leader
         University and the MA and PhD in Crim-          years of direct service and formal train-      in the movement to revitalize, preserve,
         inology from Florida State Universi-            ing in social work and sociology to shape      and redevelop central Phoenix. Gordon
         ty.His main research interests are in the       his research and teaching interests. His       has a bachelor’s degree in education from
         areas of gangs, criminal justice policy, and    most recent research took place in South-      the University of Arizona and graduated
         the offender’s perspective.His most recent      ern California and explores the effects of     cum laude from Arizona State Universi-
         books include European Street Gangs             legal status on the adult children of          ty School of Law.
         and Troublesome Youth Groups (winner            unauthorized Mexican migrants. In par-
         of the American Society of Criminology          ticular, his doctoral dissertation, “Born in   Don Hunter has served as Sheriff in Col-
         Division of International Criminology           the Shadows: the Uncertain Futures of the      lier County, Florida, since1988, when he
         Outstanding Distinguished book award            Children of Unauthorized Mexican Mi-           was first elected. Prior to joining the Col-
         2006) and Drug Smugglers on Drug Smug-          grants,” examines the role of policy and       lier County Sheriff ’s Department in
         gling: Lessons from the Inside (Temple          mediating institutions in shaping the          1979, he served as administrator for the
         University Press, 2008).                        on-the-ground realities and options avail-     Southwest Florida Regional Planning
                                                         able for unauthorized Mexican youth as         Council. Hunter serves on the Com-
         Tuyet G. Duong is a senior staff attorney for   they move into adulthood. Gonzales’ re-        mission on Accreditation for law En-
         the Immigration and Immigrant Rights            search and teaching interests include          forcement Agencies and is a member of
         Program with the Asian American Justice         international and unauthorized migration,      the National Sheriffs Association and the
         Center (AAJC) in Washington, D.C. Pre-          urban studies, the one-and-a-half and sec-     International Association of Chiefs of Po-
         viously, Ms. Duong led AAJC’s language          ond generations, and Latino communities        lice. He has a BS and MS in criminolo-
         access and emergency preparedness pro-          and families. He is the author of Wasted       gy from Florida State University and is
         gram, advocating for Asian Americans im-        Talent and Broken Dreams: The Lost Po-         a graduate of the FBI National Academy.
         pacted by Hurricanes Katrina and Rita,          tential of Undocumented Students pub-          Sheriff Hunter is active in a number of
         and as an immigration staff attorney for        lished by the Immigration Policy Center        community and civic organizations in
         Boat People SOS, Inc. (BPSOS) in Hous-          and coauthor of Debunking the Myth of          Collier County.
         ton, where she provided legal assistance        Immigrant Criminality: Imprisonment
         on citizenship, human trafficking, fami-        Among First- and Second-Generation             Harold L. Hurtt, was appointed Chief of Po-
         ly-based sponsorship, and domestic vio-         Young Men. He has served on several lo-        lice of Houston, Texas, in 2004. A veter-
         lence matters. During law school, she           cal level and national boards, including the   an of the United States Air Force, he be-
         clerked at the Department of Justice            Crossroads Fund and the American               gan his law enforcement career in 1968 as
         Executive Office of Immigration Review          Friends Service Committee.                     a patrolman in the Phoenix Police De-




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partment. During his tenure with the            with the police. Her publications include    leagues, Lewis has begun work on a na-
Phoenix PD, he attained many promo-             Building Strong Police-Immigrant Com-        tional study of the responses of local po-
tional achievements, including the ranks        munity Relations: Lessons from New           lice departments to unauthorized im-
of patrolman, sergeant, lieutenant, captain/    York City, Justice and Safety in America’s   migration. He also coauthored a prior
commander, major, assistant chief, and          Immigrant Communities, and Overcom-          study focused on such issues as Cali-
eventually executive assistant chief of         ing Language Barriers: Solutions for         fornia municipalities, “Policing Practices
police. In 1992, Hurtt retired from the         Law Enforcement. Anita received her BA       in Immigrant-Destination Cities,” which
Phoenix Police Department to become             in economics, cum laude, from Tufts Uni-     appeared in Urban Affairs Review in July
chief of police for the Oxnard, California,     versity and a JD, cum laude, from Boston     2007. In addition to examining the re-
Police Department. In 1998, he returned         University School of Law.                    lationship between immigrants and lo-
to Phoenix as that city’s chief of police. In                                                cal governments, his research has fo-
2002, and again in 2004, Chief Hurtt            Stephen Legomsky is the John Lehmann         cused mainly on issues of land-use pol-
was selected by his peers as president of       University Professor at the Washington       icy and suburbanization. He is coau-
the Major Cities Chiefs Association, an or-     University School of Law in St. Louis. He    thor of a forthcoming book, Custodians
ganization of the 63 largest police de-         is the author of Immigration and Refugee     of Place: Governing the Growth and
partments in the United States and Cana-        Law and Policy (now in its fourth edi-       Development of Cities, which will be
da. Chief Hurtt is a noted proponent of the     tion), which has been the required text      published by Georgetown University
“community policing” concept and has led        for immigration courses at 163 U.S. law      Press in 2009, and his prior published
efforts to increase the number of officers      schools. His other books, published by       work includes one book and numerous
who speak Spanish, Chinese, and Viet-           the Oxford University Press, include Im-     journal articles and policy reports.From
namese in the diverse Phoenix commu-            migration and the Judiciary: Law and Pol-    1996-2005 Lewis was a research fellow
nity. Chief Hurtt graduated from Ari-           itics in Britain and America; and Spe-       at the Public Policy Institute of Cali-
zona State University with a bachelor’s de-     cialized Justice. Legomsky founded the       fornia, a think tank focused on state and
gree in sociology, and earned a master’s de-    immigration section of the Association       local policy issues, and from 2002-2005
gree in organizational management from          of American Law Schools and has              he also served as program director for the
the University of Phoenix.                      chaired the Law Professors Committee         Institute’s governance and public fi-
                                                of the American Immigration Lawyers          nance program. He holds a PhD from
Anita Khashu was the first director of The      Association and the Refugee Committee        Princeton University.
Vera Institute of Justice’s Center on           of the American Branch of the Interna-
Immigration and Justice, initiating and         tional Law Association.He has testified      William F. McDonald is Professor of Soci-
managing the Institute’s various projects       before Congress and has been a con-          ology and Co-Director of the Institute of
involving immigrants in the justice sys-        sultant to President Clinton’s transi-       Criminal Law and Procedure at George-
tem. She currently serves as Senior Ad-         tion team, the first President Bush’s        town University. Since 1995, his re-
visor to the Center. Anita is also currently    Commissioner of Immigration, the UN          search has focused on the nexus be-
working as a consultant for the Police          High Commissioner for Refugees, and          tween immigration and crime. He is cur-
Foundation on the project, The Role of          several foreign governments, on migra-       rently editing a volume entitled Immi-
Local Police: Striking a Balance Be-            tion and refugee issues.Legomsky is an       gration, Crime and Justice and is begin-
tween Immigration Enforcement and               elected member of the American Law In-       ning a survey of unauthorized immi-
Civil Liberties. Anita was a 2007-08            stitute.He has been a senior visiting fel-   grants to determine their experiences as
Fulbright Scholar in residence at Insti-        low at Oxford University and a visiting      victims of crime and their willingness to
tuto Tecnologico Autonomo de Mexico             fellow at Cambridge University.He has        cooperate with the police. His work in-
in Mexico City, where she conducted re-         had other teaching or research ap-           cludes: “Immigrants As Victims of Crime:
search on Mexican policy and practice           pointments in the United States, Mex-        An Introduction,” International Review
of detention and deportation of Central         ico, New Zealand, Switzerland, Ger-          of Victimology (1) (2007); “Police and Im-
American unaccompanied migrant mi-              many, Italy, Austria, Australia, Suri-       migrants: Community & Security in Post-
nors. She joined Vera at the Bureau of          name, and Singapore.                         9/11 America,” in Justice and Safety in
Justice Assistance in South Africa in                                                        America's Immigrant Communities: A
2002, where she managed Vera’s tech-            Paul G. Lewis is an assistant professor of   Conference Report, Martha King, Ed.
nical assistance to the Legal Aid Board         political science at Arizona State Uni-      (Policy Research Institute for the Region
of South Africa. In 2003, Anita returned        versity in Tempe, AZ. His area of re-        at Princeton University: Princeton, NJ)
to New York and moved to the Institute’s        search and teaching expertise is Amer-       “Crime and Illegal Immigration: Emerg-
planning department, where she worked           ican local government, urban affairs, and    ing Local, State, and Federal Partner-
on projects involving immigrant relations       public policy. With three ASU col-           ships,” National Institute of Justice Jour-




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         nal, June 2-10, 1997. He has a doctorate of     major law enforcement projects for na-         Laws Altering the Consequences of Crim-
         criminology from the University of Cal-         tional associations. He also assisted in the   inal Convictions, 30 Ford. Urb. L. J. 1743
         ifornia, Berkeley.                              development of graduate courses at             (2003); Understanding the Impact of the
                                                         Howard University, and in the develop-         1996 Deportation Laws and the Limited
         Clarissa Martínez De Castro is Director of      ment of national standards for law en-         Scope of Proposed Reforms, 113 Harv. L.
         Immigration and National Campaigns for          forcement agencies and the creation of the     Rev. 1936 (2000); and Rethinking Retroac-
         the National Council of La Raza (NCLR),         Commission on Accreditation for Law En-        tive Deportation Laws and the Due Process
         and oversees the organization’s work on         forcement Agencies. A native of New            Clause, 73 N.Y.U.L. Rev. 97 (1998). Pro-
         immigration and efforts to expand op-           York and a military veteran, Chief             fessor Morawetz is a graduate of Prince-
         portunities for Latino engagement in            Matthews is an experienced instructor,         ton University and NYU School of Law,
         civic life and public policy debates. She       speaker, and group facilitator. He has a BS    where she served as Editor-in-Chief of the
         previously managed NCLR’s state policy          degree from Howard University and a MS         New York University Law Review. She is
         advocacy efforts and civic engagement           degree from the American University of         a former clerk to the Hon. Patricia M.
         work, and in 2007 served as manager of          Washington, DC.                                Wald of the United States Court of Ap-
         the Coalition for Comprehensive Im-                                                            peals for the District of Columbia Circuit.
         migration Reform, a broad network of na-        Ronald Miller was appointed chief of po-
         tional, state, and local organizations com-     lice in Topeka in 2006. He has served in       Jeffrey S. Passel is the Senior Demogra-
         mitted to advancing policy solutions on         law enforcement in the State of Kansas for     pher at the Pew Hispanic Center in
         immigration.Prior to NCLR, she served           thirty-six years, joining the Kansas City,     Washington, DC, which he joined in
         as public policy coordinator for the            Kansas, Police Department in 1972, rising      January 2005. His research interests in-
         Southwest Voter Research Institute, as as-      through the ranks to serve as the chief of     clude the demography of Hispanics
         sistant director of the California-Mexico       police for six years. Chief Miller holds a     and immigrants, measurement of immi-
         Project at the University of Southern           bachelor’s degree from the University of       gration (particularly undocumented), in-
         California, as organizer with the Ladies’       Central Missouri and a master’s degree         tegration of immigrants into Ameri-
         Garment Workers Union, and as union             from Wichita State University. He is a         can society, and the impacts (fiscal,
         representative with the Hotel Employees         graduate of the FBI National Academy, the      demographic, and social) of immi-
         and Restaurant Employees Union (HERE)           Southern Police Institute, and the Senior      grants. He also works on generational
         Local 11.A Salzburg Seminar Fellow, she         Management Institute for Policing at           dynamics, population projections, defin-
         received her undergraduate degree from          Harvard/Boston University. Chief Miller        ing racial/ ethnic groups, and measur-
         Occidental College, and her master’s de-        is active on several committees and            ing census undercount. Previous posi-
         gree from Harvard University. A natu-           boards in Topeka and also serves with na-      tions include principal research asso-
         ralized U.S. citizen, she was born and          tional police organizations. He received       ciate at The Urban Institute and various
         raised in the Mexican State of Sinaloa.         the Clarence M. Kelley Award for Ex-           positions at the Census Bureau, where
                                                         cellence in Law Enforcement Adminis-           he directed programs of population es-
         William H. Matthews is Chief of Police for      tration in the Kansas City Metropolitan        timates, projections, and demographic
         the City of Coatesville, PA. Prior to his ap-   area, and is a graduate of Leadership          methods for measuring census under-
         pointment in Coatesville, Matthews              Greater Topeka.                                count. Dr. Passel has served on com-
         served as deputy director of the Police                                                        mittees of the Population Association of
         Foundation in Washington DC, and as ex-         Nancy Morawetz is a Professor of Clinical      America, panels of The National Acad-
         ecutive director of the Community Polic-        Law at New York University School of           emy of Sciences, and on the Social Se-
         ing Consortium, a national project of           Law, where she has taught since 1987. She      curity Advisory Board’s Technical Pan-
         the Office of Community Oriented Polic-         currently teaches in the Immigrant Rights      el on Assumptions and Methods. He is
         ing Services of the US Department of Jus-       Clinic (IRC). Professor Morawetz’s recent      a fellow of the American Association for
         tice. Matthews’ extensive criminal justice      writings include Citizenship and the           the Advancement of Science and the
         and policing background includes serv-          Courts, 2007 U. Chi. Legal F. 447 (2007);      American Statistical Association. In
         ing as director of community policing pro-      The Invisible Border: Restrictions on          2004, American Demographics magazine
         grams for the International City-Coun-          Short-Term Travel By Noncitizens, 21           selected him as a “demographic dia-
         ty Management Association (ICMA); as            Geo. Imm. L. J. 201 (2007); INS v. St. Cyr:    mond,” one of the five demogra-
         executive director of the National Or-          The Campaign to Preserve Court Review          phers/social scientists most represen-
         ganization of Black Law Enforcement Ex-         and Stop Retroactive Application of De-        tative of influential work in the last 25
         ecutives (NOBLE); as chief of the Balti-        portation Laws, in David Martin and Pe-        years. Passel has a bachelor’s degree in
         more, MD, Housing Authority Police;             ter Schuck, Immigration Stories (2005);        mathematics from MIT, a master’s de-
         and as CEO of a private firm that managed       Determining the Retroactive Effect of          gree in sociology from the University of




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                                                         APPENDIX N
                              Conference Agenda and Presenters’ Bios



Texas at Austin, and a PhD in social re-       publications explore the politics and         ican Sociological Association and the
lations from The Johns Hopkins Uni-            practices of courts at various levels, from   Thomas and Znaniecki Award for best
versity.                                       town and village justice courts (Judging      book in the immigration field. He re-
                                               Credentials: Non-lawyer Judges and the        cently completed work with a panel of
James Pendergraph is executive director of     Politics of Professionalism), to the Unit-    the National Academy of Sciences on two
Office of State and Local Coordination, US     ed States Supreme Court (Case Selection       volumes on the Hispanic population of
Customs and Immigration (ICE). The first       in the US Supreme Court) and courts at        the United States: Multiple Origins, Un-
person to hold this position, Mr. Pen-         the international level.Her more recent       certain Destinies, and Hispanics and the
dergraph heads an office responsible for       work focuses on policy issues, including,     Future of America. His doctoral disser-
coordinating U.S. Immigration and Cus-         most recently, racism in the war on drugs     tation, on “The Politics of Police Reform,”
toms Enforcement (ICE) participation in        (Unequal Under Law: Race and the War          was based on three years of research in
programs and activities that relate to         on Drugs). Currently Provine is studying      the San Diego Police Department in
state and local governments and their re-      policy responses to settled but unau-         the mid-1970s, supported by Police
spective law enforcement entities. Mr.         thorized immigrants.With the support of       Foundation grants.
Pendergraph joined ICE in December             a Fulbright North American Studies re-
2007 after serving for 13 years as the sher-   search grant, she spent the past aca-         Kareem W. Shora is Executive Director of
iff of Mecklenburg County, N.C. During         demic year studying policies related to       the American-Arab Anti-Discrimina-
that time he was recognized for his in-        unauthorized immigration in Canada            tion Committee (ADC). Shora, who
novative thinking and partnership with         and Mexico. She is currently writing a        joined ADC in 2000, is a recipient of the
federal authorities on immigration en-         book about these policies, from the van-      2003 American Immigration Lawyers
forcement. As Mecklenburg’s sheriff, he        tage point of three cities, one in Canada,    Association (AILA) Arthur C. Helton
spearheaded the use of the 287(g) pro-         one in the United States, and one in          Human Rights Award. He has testified
gram, through which ICE provides train-        Mexico. At the same time, with three Ari-     before major international human rights
ing and supervision that allow state and       zona State University colleagues, and         bodies, including regular testimonies be-
local authorities to provide targeted im-      with support from the National Science        fore the Organization for Security and
migration enforcement. Mr. Pender-             Foundation, she is examining how police       Cooperation in Europe (OSCE) and the
graph’s law enforcement career began           departments are responding to calls from      United Nations Human Rights Com-
when he served as military policeman           city officials to become more engaged in      mission. He was selected by the Ford
with the U.S. Army.Following his military      enforcing federal immigration laws.           Foundation as a member of the Foreign
service, he became a police officer with                                                     Policy Task Force designing their 2008
the Charlotte/Mecklenburg Police De-           Rubén G. Rumbaut is Professor of Sociol-      Laboratory for New Thinking on Foreign
partment, where he served for 23 years,        ogy at the University of California,          Policy. He was selected by the Police
reaching the rank of deputy chief.He was       Irvine. He is the founding chair of the       Foundation in 2008 to serve on their ad-
first elected Mecklenburg County Sher-         Section on International Migration of the     visory board on the study of the role of
iff in 1994 and was re-elected to three ad-    American Sociological Association, a          local police in immigration enforce-
ditional terms before joining ICE. Mr. Pen-    member of the Committee on Population         ment. Shora is also the civil society
dergraph is a graduate of Harvard Uni-         of the National Academy of Sciences, and      representative on the G8 Experts Round-
versity’s John F. Kennedy School of Gov-       a former fellow at the Center for Ad-         table on Diversity and Integration. He
ernment. He also has an associate’s degree     vanced Study in the Behavioral Sci-           has been published by the National
in criminal justice and is a graduate of the   ences at Stanford, and visiting scholar at    Law Journal, TRIAL Magazine, the
FBI National Academy and FBI Nation-           the Russell Sage Foundation in New            Georgetown University Law Center’s
al Executive Institute. He has served in       York. A leading authority on immigration      Journal on Poverty Law and Public Pol-
leadership positions with numerous law         in the United States, Dr. Rumbaut co-di-      icy, the Harvard University JFK School
enforcement associations, including the        rects the landmark Children of Immi-          of Government Asian American Policy
National Sheriffs’ Association and the In-     grants Longitudinal Study; and a large-       Review, the American Bar Association
ternational Association of Chiefs of Po-       scale study of Immigration and Inter-         (ABA) Air and Space Lawyer, and the
lice.                                          generational Mobility in Metropolitan Los     Yeshiva University Cardozo Public Law
                                               Angeles. He is the author of more than        Policy and Ethics Journal. Born in Dam-
Doris Marie Provine is a professor in the      one hundred scientific papers on im-          ascus, Syria, Shora is a native of Hunt-
School of Justice & Social Inquiry at          migrants and refugees in the U.S., and        ington, West Virginia, is fluent in Arabic,
Arizona State University and a past di-        coauthor or coeditor of a dozen books,        and holds a JD degree from the West Vir-
rector of the School (2001-2007).She is a      including Legacies, which received the        ginia University (WVU) College of Law
lawyer and political scientist.Many of her     Distinguished Book Award of the Amer-         and the LLM specialty in International




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                                        Conference Agenda and Presenters’ Bios



         Legal Studies from the American Uni-            mental cuts to the police and other city
         versity Washington College of Law.              departments. He assisted in the delivery
                                                         of training in various topic areas to com-
         Monica Varsanyi will be an associate pro-       munities and agencies across the nation
         fessor in the Government Department at          for the national Community Policing
         John Jay College of Criminal Justice, City      Consortium. From August 1, 2006,
         University of New York, beginning in the        through February 15, 2008, under a con-
         Fall of 2008, after a two-year tenure in the    tract with the New Jersey Attorney Gen-
         School of Justice and Social Inquiry at Ari-    eral, he served as Supersession Executive
         zona State University.She is an urban and       over the Camden, NJ, Police Depart-
         political geographer whose research ad-         ment, providing day-to-day oversight of
         dresses the politics of unauthorized im-        the department. Chief Venegas has a BA
         migration in the United States. She is cur-     degree from the University of San Fran-
         rently working on two related projects:         cisco and a MS degree from California
         one which explores growing tensions             State University Polytechnic, Pomona. He
         between local and state grassroots im-          is a graduate of the FBI National Acade-
         migration policy activism and the feder-        my, the FBI National Executive Institute,
         al government’s plenary power over im-          the California Law Enforcement Com-
         migration and citizenship policy; and           mand College, and other California POST
         the second with Scott Decker, Paul Lewis,       accredited studies. He is a member of
         and Marie Provine, a national study             IACP, PERF, HAPCOA, NOBLE, Cal
         which explores the growing involve-             Chiefs, and the Fresno Peace Officers As-
         ment of city police in immigration en-          sociation.
         forcement and the impact this is having
         on the relationship of local police and
                                                         Richard D.Wiles served as chief of police in
         (unauthorized) immigrant communities.
                                                         El Paso, Texas, from 2003 through 2007.
         Prior to joining the faculty at John Jay, she
                                                         As chief, Wiles was committed to the im-
         was a postdoctoral scholar at the Centers
                                                         plementation of a culture of integrity and
         for Comparative Immigration Studies
                                                         honesty within the El Paso Police De-
         and US-Mexican Studies at the Univer-
                                                         partment. During his 27-year public serv-
         sity of California, San Diego, an assistant
                                                         ice career, he served with both the police
         professor at Arizona State University,
                                                         and fire departments of El Paso. Wiles is
         and received her PhD in Geography
                                                         currently the democratic nominee for
         from UCLA. Varsanyi’s articles have ap-
                                                         Sheriff of El Paso County. He earned a
         peared in academic journals such as Ur-
                                                         bachelor of science in criminal justice
         ban Geography, Geopolitics, Annals of the
                                                         from the University of Texas at El Paso
         Association of American Geographers,
                                                         and a master of science in criminal jus-
         Citizenship Studies, Antipode, and Space
                                                         tice from Sul Ross State University. Wiles
         and Polity, and popular outlets such as the
                                                         is a graduate of the Bill Blackwood Law
         Los Angeles Times. She is currently editing
                                                         Enforcement Management Institute of
         a book on state and local immigration pol-
                                                         Texas, the FBI National Academy, and the
         icy activism in the United States.
                                                         FBI National Executive Institute.

         Arturo Venegas, Jr. was the chief of police
         in Sacramento, California, from January
         1993 through February 2003. He instituted
         community-oriented policing during the
         difficult economic times of the 1990s and
         led the agency through a number of ma-
         jor financial reductions while maintain-
         ing a focus on community service and
         problem solving. He was credited with
         preventing the city from making detri-




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                                                                                       APPENDIX O
                                                                                                A
           Sample Police Department PoliciesSummary
                              Focus Group    on Immigration Enforcement



Arlington, Texas . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 216

Dallas, Texas                          ...................................................................................................                                                            219

Detroit, Michigan                                   ..........................................................................................                                                       220

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Los Angeles, California. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 225

Mesa, Arizona                            .................................................................................................                                                           226

Milwaukee, Wisconsin                                            ...................................................................................                                                  232

State of New Jersey                                      .......................................................................................                                                     234




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                                   Focus Group
                Sample Police Department PoliciesSummary
                                                  on Immigration Enforcement

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                                                          A
    Sample Police Department PoliciesSummary
                       Focus Group    on Immigration Enforcement

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 |   THE ROLE OF LOCAL POLICE: Striking a Balance Between Immigration Enforcement and Civil Liberties




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                                    Dallas Police Department General Order
                                   315.00 Arrests Requiring Special Handling
                                                                                                                     Revised 09/24/08


315.00    ARRESTS REQUIRING SPECIAL HANDLING

315.02    Arrests Made on NCIC, TCIC, and NCTCIC Checks

          A.   Arrests made on NCIC, TCIC, and NCTCIC (Regional) Hits will be in accordance with Communications Section,
               Detention Services Section, General Investigations Section, and Records Section Standard Operating Procedures.
          B.   No arrest or confiscation of property without a warrant will be made solely on an NCIC, TCIC, or NCTCIC hit on a
               computer or radio check. In all cases, the name of the confirming individual from the originating agency must be
               included in the report.
          C.   An NCIC or TCIC hit alone is not probable cause to arrest. A hit indicates a warrant has been issued and the date of
               the warrant. A hit is only one fact that an officer must add to other facts in arriving at sufficient legal grounds for
               probable cause to arrest. It is imperative that officers compare sufficient identifiers to verify that the person in
               custody is the same person named in the warrant.
               1. To verify a person’s identity, consider the following possible identifiers:
                    a. Name.
                    b. Race.
                    c. Sex.
                    d. Date of birth (DOB).
                    e. Place of birth.
                    f.    Driver’s License number (DL).
                    g. Social Security number (SSN).
                    h. Address.
                    i.    Complete physical description to include height, weight, hair, eye color, scars, marks, and tattoos.
               2. Every effort must be made to verify an arrested person’s identity prior to incarceration. When there is a doubt
                    that an individual is the wanted subject, he/she will be fingerprinted prior to incarceration.
               3.   In instances where there is less than substantial evidence to identify the person in custody, a field supervisor
                    must be contacted to make the final determination. An arrest will not be made if the field supervisor determines
                    there are not enough significant identifiers to connect the individual to the warrant.
               4. If a field release is made, comply with General Order 313.08 (Release of Erroneously Arrested Persons in the
                    Field).


315.04    Illegal Immigrants

          A.   The U.S. Immigration Code denies us the authority to enforce its provisions; therefore, we do not enforce immigration
               laws. All other laws apply to illegal immigrants.
          B.   Officers will not stop or contact citizens for the sole purpose of determining immigration status.
          C.   Arrest reports will contain arrest elements only and not refer to immigration status.
          D.   INS agents have the sole responsibility for determining the immigration status of incarcerated persons.
          E.   The INS must confirm outstanding NCIC detainer hits for INS violations. Confirmed hits will be booked as Hold for
               INS.
          F.   Detention Services Supervisors will release city charges when requested by INS.




NOTE: Only relevant sections of General Order 315 are included by the Police Foundation for this publication.




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                                                                                                                                Numbered Directives shall
                                                          Detroit Police Department                                             be retained by all members
                                                                                                                                Number: 07-04

                                                  Training Directive
                         ________________________________________________________________________________________________
                                                                                                                                Date: July 10, 2007



                        SUBJECT: SOLICITATION OF IMMIGRATION INFORMATION BY POLICE
                        DEPARTMENT PERSONNEL

                                The Detroit City Council has enacted an ordinance concerning the
                        solicitation of immigration status by public servants and several provisions
                        pertain directly to police officers. This Training Directive provides an explanation
                        of the ordinance. The full text of the ordinance has been placed on the DPD
                        Intranet.

                        BACKGROUND: The responsibility for enforcement of immigration laws rests
                        with the federal government.          Federal immigration laws are extremely
                        complicated as there are several immigration status classifications and
                        depending on the particular circumstances, the matter can be a criminal offense
                        or a non-criminal matter handled through a civil deportation process. Under
                        Michigan law, an officer's arrest powers do not extend to non-criminal offenses.
                        Proper enforcement in this complex area requires specialized training beyond the
                        training of members of this agency and improper enforcement could result in
                        officers exceeding their authority and exposure to civil liability.

                               Additionally, persons whose immigration status prohibits their lawful
                        presence in the country are nevertheless a significant part of the population that
                        need police protection and service. Cooperation and assistance to the police in
                        reporting crimes or coming forward with information to solve crimes require
                        confidence and trust which can be undermined by unnecessary solicitation of
                        immigration status, particularly if the only basis for inquiry is a person's surname
                        or language fluency. It is with this background that Sections 27-9-1 through
                        27-9-7 of the Detroit City Code has been enacted.

                        1. What does the ordinance prohibit?

                        It prohibits an officer from soliciting information concerning immigration status in
                        certain circumstances. The circumstances where solicitation of immigration
                        information is prohibited are:

                                  x     If the solicitation of information concerning immigration status is for the
                                        purpose of ascertaining a person's compliance with federal
                                        immigration law.

                                  x     If the person from whom the immigration information is solicited is:
                                             1. A victim
                                             2. A witness
                                             3. A person who is seeking police services
                         ________________________________________________________________________________________________
                                                                                                    Detroit Police Department
                                                                                Page 1 of 2
            This Training Directive is for internal departmental use only, and violations of the procedures outlined in this Training Directive may form the basis for
            Departmental administrative sanctions. This document is not intended for third-party use or benefit. No criminal or civil duty or standard of care is
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             2. Under what circumstances does the ordinance permit police officers to
             solicit information concerning immigration status?

             There are three circumstances in which the ordinance expressly authorizes the
             solicitation of information concerning immigration status. These are:

                  x    A police officer is authorized to solicit information concerning immigration
                       status if the officer is performing public safety functions while assisting
                       federal law enforcement in the investigation of a criminal offense.

                  x    A police officer is authorized to solicit information concerning immigration
                       status from the subject of an investigation only when relevant to the
                       investigation or prosecution of a criminal offense.

                  x    A police officer is authorized to solicit information concerning immigration
                       status when processing an arrested person.

             3. What is the purpose of this ordinance?

             As previously mentioned, the job responsibilities of a Detroit police officer do not
             include enforcement of federal immigration laws because, among other reasons,
             not all immigration violations are criminal offenses and police officers do not have
             the statutory authority to arrest or detain an individual in a non-criminal
             immigration matter. Further, the ordinance reflects the recognition that victims
             and witnesses may avoid contact with the police if they believe the consequence
             of cooperation is deportation. On the other hand, the ordinance recognizes that
             police officers at times have valid reasons for inquiring into immigration status
             and permits such inquiries.

             4. What is an example where immigration status can be solicited from the
             subject of a criminal investigation?

             During a proper investigative detention supported by reasonable suspicion (Terry
             v. Ohio), officers may properly make inquiries into a person's identity and run a
             name check in the LEIN system to determine if the person is wanted. In
             response to a possible hit, officers ask follow-up questions about his identity and
             the person claims that he is not the person named in the arrest warrant because
             he only recently came to the country. Because immigration status is relevant to
             the officer's investigation into whether the person is wanted, the officer is not
             prohibited from asking questions in that regard.




              ________________________________________________________________________________________________
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                        5. Can a person be asked about immigration status during arrest
                        processing?

                        Yes. The ordinance specifically permits questioning concerning immigration
                        status during the processing of an arrestee. Members are reminded that federal
                        law and department policy impose a duty to inform foreign nationals who are
                        arrested, without delay, of their right to have a consular officer from their country
                        notified of their detention. Furthermore, with regard to certain countries that are
                        known as "Mandatory Notification Countries," the consular office must be notified
                        by the law enforcement agency regardless of the wishes of the foreign national.
                        This policy is delineated in Section 202.6 - 7 of the Detroit Police Manual. For
                        purposes of consular notification, a "foreign national" is any person who is not a
                        United States citizen, and includes lawful permanent resident aliens ("green
                        card" holders) as well as persons in the country in violation of immigration laws.

                        6. Does the ordinance prohibit contacting or requesting assistance from
                        federal agencies, such as Immigration & Customs Enforcement (I.C.E.)
                        (formerly known as Border Patrol); concerning suspected violations of
                        federal immigration laws or other law enforcement matters?

                        No. The ordinance only addresses the solicitation of immigration status and
                        does not prohibit reporting suspected violations of immigration laws to
                        appropriate federal agencies.

                        7. Should officers routinely ask that I.C.E. officers respond to the scene to
                        translate when an individual does not speak English?

                        No. Members are advised that department policy is not to routinely request
                        response by I.C.E. personnel solely to provide translation assistance. This policy
                        does not prohibit the use of any law enforcement personnel already at the scene
                        to assist in translating nor does it apply in emergency or serious situations
                        requiring immediate action. Members requiring translation services should notify
                        Communications for assistance.

                        8. Does the ordinance apply to city employees who are not police officers?

                        Yes. However, solicitation of immigration status by public servants is permitted if
                        required by law as a condition of eligibility for a government program, for
                        completing legally mandated employment forms, and with regard to the issuance
                        of subpoenas.

                        Questions concerning the content of this Training Directive may be directed to
                        Legal Affairs at 596-2161.


                         ________________________________________________________________________________________________
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            This Training Directive is for internal departmental use only, and violations of the procedures outlined in this Training Directive may form the basis for
            Departmental administrative sanctions. This document is not intended for third-party use or benefit. No criminal or civil duty or standard of care is
            intended to be, or is, created by the issuance of this Training Directive.




 |   THE ROLE OF LOCAL POLICE: Striking a Balance Between Immigration Enforcement and Civil Liberties




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                                       HPD Immigration Policy
                                       Questions & Answers




  1.       Is it true that immigrants should now be afraid of reporting any crimes to HPD because if they do, they may be turned
           over to Immigration and Customs Enforcement (ICE)?

  No. We hope and encourage immigrant communities to continue to call us when they need assistance from the police.
  Immigrants who are victims of crime or have information regarding criminal activity should contact the police. They should
  not fear that HPD will call federal immigration agents on them. HPD will contact ICE when the person is confirmed to have a
  deportation warrant or a notice that they are a previously deported felon.

  2.       Will HPD officers detain me simply because they think I am here illegally?

  No. HPD officers are not authorized to arrest or detain a person solely on a belief that the person is in the country illegally.
  Officers are authorized to arrest and detain persons they have reasonable basis to believe have committed a criminal
  violation.

  3.       Is it true that HPD officers are going to ask all people they encounter for proof of legal residence/status?

  No. Once a person has been arrested and taken to a jail facility, HPD jail personnel will then ask the person for his/her legal
  status. Jail personnel will ask the arrested person if they are a citizen of the United States or if they were born in the U.S.

  4.       Is it true that HPD will arrest any foreign person?

  No. Officers are not authorized to detain or arrest a person solely on the basis of their nationality or ethnicity. Officers are
  authorized to arrest and detain persons they have a reasonable basis to believe have committed a criminal violation.

  5.       Is it true that HPD will run a background check on all people they encounter?

  No. Officers will check the wanted status of all persons who are ticketed, arrested, or who have been jailed. Officers also
  have the discretion to check the wanted status of all persons they have legally detained.

  6.       Is it true that HPD will call ICE on all people they encounter?

  No. ICE will be contacted if during a check of their wanted status, the person is confirmed to have a deportation warrant or a
  notice that they are a previously deported felon or have other criminal warrants issued by ICE.

  7.       If I am arrested or taken to jail by HPD will ICE be called?

  HPD will contact ICE when a person is arrested and taken to jail and the person is confirmed to have a deportation warrant,
  a notice that they are a previously deported felon or any other criminal warrant with ICE. ICE officials will be allowed full
  access to HPD jail facilities.

  8.       If I am driving without a license and get stopped by HPD, will I get arrested? Will ICE be called?

  If a person drives without a license and is stopped by HPD, that person will be asked to provide valid identification. If the
  person cannot provide valid identification and the HPD officer cannot verify their identity, the person will be taken to jail for
  driving without a license so the person can be can be positively identified and fingerprinted. ICE will be contacted only if the
  person is confirmed to have a deportation warrant, a notice that they are a previously deported felon or any other criminal
  warrant with ICE.
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            9.       What forms of identification will HPD officers accept?

            Officers will accept driver’s licenses and identification cards issued by any state of the United States of America. Also, the
            officers will accept most other forms of government ID like a military ID, passport, etc. Additionally, officers are advised that
            a matricula consular card issued by the Mexican government is presumed valid unless the totality of the circumstances calls
            the validity of the card into question.

            10.      If I am a suspect in a crime or the HPD officer believes that I may be involved in a criminal episode, can he/she ask
                     me for identification?

            Yes. The officer is authorized to ask a person who the officer has a reasonable basis to believe has committed or was involved
            in a criminal episode for identification.

            11.      If I do not have identification, can I be arrested?

            No. Not unless you have been suspected of committing a crime. If you have committed a crime or a traffic violation and
            cannot provide identification to the officer and the officer cannot verify your identity, the officer has the authority to take you
            into custody for the criminal violation and so that you can be identified and fingerprinted by AFIS (Automated Fingerprinting
            Identification System). For safety reasons, the HPD officer needs to know whom he/she is dealing with at the time.

            12.      If the officer stops me for a minor traffic violation, will I be arrested?

            An officer has the discretion to arrest you if the officers cannot verify your identity. You will be arrested if it is confirmed that
            you have an NCIC and/or SETCIC warrant hit. Officers will check the wanted status of all persons arrested, ticketed or jailed.
             Officers have the discretion to check the wanted status of anyone legally detained, including persons detained on minor traffic
            violations.

            13.      If the officer stops me for a minor traffic violation, will I be deported?

            If the officer’s computer check verifies you have a deportation warrant or a notice that you are a previously deported felon,
            the officer will take you to a city jail facility and ICE will be contacted accordingly. The federal immigration authorities will
            determine whether or not you will be deported. HPD does not make decisions on deportation.

            14.      If I am found to have city warrants (like unpaid traffic tickets), will I eventually be deported?

            If you have city warrants you are subject to arrest for those warrants. If during such arrest, you are also confirmed to have a
            deportation warrant, a notice that you are a previously deported felon or any other criminal warrant with ICE, the officer will
            take you to a city jail and ICE will be contacted. Only ICE will make decisions on deportation matters.

            15.      If I am an illegal immigrant in possession of a firearm, can I be arrested and deported?

            Yes! Illegal immigrants are prohibited from possessing a firearm and are s subject to arrest by HPD officers. If during
            such arrest, you are also confirmed to have a deportation warrant or are a previously deported felon, the officer will take
            you to a city jail and ICE will be contacted. ICE will decide on deportation matters. More importantly, you can be
            charged federally with a felony that carries a sentence of up to 10 years in prison and subject to deportation after serving
            that sentence. Should you return to the U.S. after being convicted of the felony of being in possession of a firearm, the
            federal authorities can prosecute you for illegal re-entry with a penalty of up to 20 years in prison. The Harris County
            District Attorney’s Office has agreed to refer all cases of an illegal immigrant in possession of a firearm to the U.S.
            Attorney’s Office for federal prosecution.




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                            LOS ANGELES POLICE DEPARTMENT



  264.50 ENFORCEMENT OF UNITED STATES IMMIGRATION LAWS. Officers shall
  not initiate police action where the objective is to discover the alien status of a person. Officers
  shall neither arrest nor book persons for violation of Title 8, Section 1325 of the United States
  Immigration Code (Illegal Entry).

  675.35 PLACEMENT AND DISPOSITION OF ILLEGAL ENTRY HOLDS. Supplemental
  holds charging illegal entry against persons in the custody of this Department for an unrelated
  criminal offense shall only be authorized by officers of the United States Immigration and
  Naturalization Service (INS). Arrestees against whom the INS has placed a hold shall be released
  to the custody of INS within 24 hours after:

     x   All local charges are dismissed; or,
     x   Bail is deposited on the local charges; or,
     x   The arrestee is determined to be eligible for release on his/her own recognizance on the
         local charges.

  Note: Under no circumstances shall any person be held longer than 24 hours when an illegal
  entry hold is the only remaining charge. There is no extension of the 24 hour detention limit
  because of an intervening holiday or weekend period. Procedures governing the booking and
  detention of prisoners held enroute are unaffected by this section.

  390. UNDOCUMENTED ALIENS. Undocumented alien status in itself is not a matter for
  police action. It is, therefore, incumbent upon all employees of this Department to make a
  personal commitment to equal enforcement of the law and service to the public regardless of
  alien status. In addition, the Department will provide special assistance to persons, groups,
  communities and businesses who, by the nature of the crimes being committed upon them,
  require individualized services. Since undocumented aliens, because of their status, are often
  more vulnerable to victimization, crime prevention assistance will be offered to assist them in
  safeguarding their property and to lessen their potential to be crime victims.

  Police service will be readily available to all persons, including the undocumented alien, to
  ensure a safe and tranquil environment. Participation and involvement of the undocumented alien
  community in police activities will increase the Department's ability to protect and to serve the
  entire community.




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                                                      MESA POLICE DEPARTMENT

                                                              SPECIAL ORDER

                                                                                                            George Gascón
                                                                                                             Chief of Police

               SO#:                         Effective date:        Termination date:             Superseded Order(s):
                        2009-01                 01/01/09                 01/01/10                 FLD 441


                              IMMIGRATION AND CUSTOMS ENFORCEMENT PROTOCOL

               1.       STATEMENT OF PURPOSE

               The purpose of this protocol is to provide guidelines for the management of undocumented
               foreign nationals (UFN) that come in contact with law enforcement officers.

               Where the contents of this special order conflict with earlier department statements,
               policies, procedures or rules, this order will control.

               2.       POLICY

               The Mesa Police Department (MPD) is committed to improving the quality of life in our community
               by implementing strategies to reduce crime whether committed by citizens, visitors, and/or
               undocumented foreign nationals.

               In 1996, the United States Congress passed the Illegal Immigration Reform and Immigrant
               Responsibility Act, 8 U.S.C. 1101, et. seq (IIRIRA). IIRIRA made many changes to immigration
               laws including adding immigration consequences to certain crimes and requiring mandatory
               detention of UFNs convicted of certain crimes. IIRIRA also addressed the relationship between
               the federal government and local governments by permitting certain designated officers to
               perform immigration law enforcement functions provided they receive the appropriate training and
               agree to function under the supervision of officers from Immigration and Customs Enforcement
               (ICE) to identify, process, and when appropriate, detain UFNs they encounter during their regular,
               daily law-enforcement activity.

               Federal immigration laws are complicated in that they involve both civil and criminal aspects.
               Federal agencies such as ICE have the authority to determine if a person will be criminally
               prosecuted for their violations of immigration laws or be dealt with through a civil deportation
               process. Immigration violations are different from the typical criminal offenses that patrol officers
               face every day, whose law enforcement activities revolve around crimes such as murder,
               assaults, narcotics, robberies, burglaries, domestic violence, traffic violations and the myriad of
               other criminal matters. The immigration status of any particular person can vary greatly and
               whether they are in violation of the federal immigration regulations, civilly or criminally, can be
               very difficult to determine without a special expertise.

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   The MPD is committed to partnering with federal agencies and others to the extent allowable
   under federal, state and local laws to address criminal activity within our community. This practice
   is consistent with our duty to ensure the safety and well-being of all persons, regardless of their
   immigration status.

   3.     PROCEDURES

   The MPD provides law enforcement services and enforces the laws of the City of Mesa, the State
   of Arizona, and the United States Constitution impartially. While the investigation and enforcement
   of federal laws relating to illegal entry and residence in the United States is specifically assigned
   to ICE, the MPD commits to cooperating with ICE and others, to the extent permitted by law, on
   any criminal activity that threatens the safety and well-being of our community.

   In enforcing the laws, officers may legally stop, detain or arrest anyone when reasonable
   suspicion or probable cause exists that a crime has occurred. Officers, however, shall not engage
   in bias-based profiling, also referred to as “racial profiling”, when conducting stops, detentions, or
   arrests of any subject.

   In order to combat state and local crime effectively the following policies apply:

          Arrested - Booked

          x       Adults, not including juveniles (unless chargeable for a crime covered in
                  ARS 13-501A 1-5, Persons under eighteen years of age; felony charging)
                  who are arrested for committing a state or local crime shall be asked about
                  their immigration status and, if the officer(s) develop information that the
                  suspect is in the United States unlawfully, the information shall be detailed
                  in the DR (Department Report). The detention supervisor shall contact ICE
                  (Law Enforcement Agency Response Team (LEAR)), complete an ICE
                  Inquiry (NLLQ) as needed, and shall notify the Support Services Lieutenant
                  as soon practical. A copy of the NLLQ and any ICE response shall be
                  forwarded to the Support Services Lieutenant.




          Cite and Release Or Long Form

          x       If the person arrested is being cited and released or a long form complaint
                  is being sought for a state or local crime he or she may be asked about
                  their immigration status, and if the officer(s) develop information that the
                  suspect is in the United State unlawfully, the officer(s) shall document it in
                  a DR and shall refer the individual to ICE by completing an ICE Request
                  for Inquiry Form, noting in the remarks sections that the person was cited
                  and released, and forwarding the form to the affected District
                  Coordinator/Metro Resources Lieutenant. The District Coordinator/Metro
                  Resources Lieutenant is responsible for ensuring the notice to ICE (NLLQ)

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                                is completed. The ICE Request for Inquiry Form, NLLQ and any response
                                from ICE shall be kept at the affected district.

                NOTE: If an officer develops information that the individual is in the United States illegally without
                asking about his/her immigration status, the officer may complete the ICE Request for Inquiry
                Form and the District Coordination shall refer the information to ICE.

                The officer should take into consideration the following factors in determining whether to cite and
                release or arrest:

                        ties to the community, including family ties and relationships, and length of
                        residence, prior criminal activity, and any other facts bearing on the risk of
                        nonappearance or danger to the public.

                        Unsolicited Information

                        x       If the officer comes upon unsolicited information during the course of his or
                                her enforcement efforts about a UFNs immigration status, of the person(s)
                                being investigated, it shall be documented in a Field Interview Card (FI)
                                and it may be detailed in the ICE Request for Inquiry Form and forwarded
                                to the affected District Coordinator/Metro Resources Lieutenant.
                        x       The ICE Request for Inquiry Form shall be routed to ICE through the
                                District Coordinator/Metro Resources Lieutenant for investigation.

                        NOTE

                Consistent with our efforts to protect the safety and well-being of the community and to encourage
                the public to report criminal activity, department personnel shall not ask a person about his or her
                immigration status who is:

                        x       a victim of a crime,

                        x       a witness to a crime,

                        x       a juvenile, unless chargeable for a crime covered in ARS 13-501A 1-5,
                                Persons under eighteen years of age; felony charging;

                        x       stopped and/or cited for a civil traffic violation with a valid driver’s license or
                                evidence of identity pursuant to ARS 28-1595(B),

                        x       seeking medical assistance,

                        x       a victim of domestic violence incident, or

                        x       a community volunteer in police service (including but not limited to police
                                service based programs such as neighborhood watch, community forums,
                                or community advisory board; youth programs, Making Every Student
                                Accountable (MESA) Program or the citizens police academy or similar
                                volunteer organization).


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          Detention and Removal Order (DRO) Hold

   The Detention and Removal Office is a unit of ICE that has the responsibility of detaining and
   transporting UFNs apprehended by ICE, Customs and Border Protection and local law
   enforcement.

          x       Once a person has been identified as being in the United States illegally,
                  ICE issues a DRO hold, which can be for criminal or civil violations.

          x       This hold is similar to a hit from a warrant when a person’s information is
                  run through NCIC.

   x      If an Officer receives a DRO hit, the following shall be done:

          x       Call the telephone number on the DRO hit to determine whether the DRO hold is
                  criminal or civil.

   x      If an Officer receives a DRO hit, the subject may be detained for the length of time it takes
          to determine whether the DRO hold is criminal or civil.




          DRO - Civil Hold

   Arizona law authorizes police officers to enforce provisions of the criminal law. The authorization
   is limited to criminal and does not include civil. Therefore, officers shall not transport for civil
   violations or continue to detain if the only violation is a civil DRO hold.

          x       If the officers develop Information that the suspect is in the United States
                  unlawfully, the information shall be detailed in the FI and forwarded to the
                  affected District Coordinator/Metro Resources Lieutenant.

          x       The ICE Request for Inquiry Form shall be completed and routed to ICE
                  through the District Coordinator/Metro Resources Lieutenant.

          x       Once the ICE Request for Inquiry Form has been completed, the subject
                  may be released.

          x       An FI shall be completed containing all of the relevant information.

          DRO - Crim inal Hold

          x       Detain and transport for criminal DRO holds, if requested to do so by ICE.


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                        x       A DR entitled “Possible Federal Immigration Violation” shall be completed
                                for all arrests and transports for ICE on a criminal DRO hold or criminal
                                violations of a federal immigration law.

                        x       The questions and answers to the following shall be asked of all parties
                                involved and documented thoroughly in the DR:

                                    x    What is your country of birth?

                                    x    Are you in the United States legally?

                        ICE Contact for Drop Houses, Human Smuggling and Load Vehicles

               When dealing with drop houses, human smuggling, and/or load vehicles, the following steps shall
               be taken:

                        x       A patrol supervisor shall contact the on duty shift lieutenant and provide a
                                detailed account of the incident.


                        x       The on duty shift lieutenant shall contact ICE to advise of the
                                circumstances.

                        x       The on duty shift lieutenant shall document each reported incident along
                                with the response by ICE in a supplement to the DR.

                        x       The on duty shift lieutenant shall advise the patrol supervisor of a response
                                by ICE and/or other investigative details.

                        x       Officers shall cooperate with ICE agents in ICE law enforcement activities
                                consistent with the mandates of MPD policy.

                        x       Officers may transport ICE prisoners at the request of an on-call ICE agent
                                and with the approval of an on-duty supervisor when they come in contact
                                with undocumented persons in regards to a smuggling operation/drop
                                house, or a load vehicle.

                        x       The command duty officer (CDO) or the affected division commander and
                                the on-duty or on-call media relations officer (MRO) shall be notified as
                                soon as possible for on scene assistance by ICE or other high profile
                                incidents involving undocumented persons.

                    Community and Victim Services

               Officers may refer community members to the Chicanos Por La Causa and/or Friendly House
               assistance; contact Communications or Victim Services for telephone numbers and locations.

               For additional referral services contact Community Information & Referrals at (602) 263-8856.


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   U- Visa Certification Forms

   U-Visas are available through United States Citizenship and Immigration Services for immigrants
   who are current or former victims, witnesses, or affected family who are assisting or have assisted
   officials in the criminal justice system investigate or prosecute criminal activity.

   If the applicant is requesting a U-Visa based upon past cooperation, the assigned detective may
   document specific details they believe merit consideration.

          x       All requests for U-Visas shall be forwarded to the affected Division
                  Commander.


          x       The affected division commander shall determine if the applicant meets the
                  conditions required on the U-Visa Certification Form in regards to type of
                  crime committed and involvement (for example, the applicant is a victim,
                  witness, or possesses relevant information for a successful resolution to the
                  case).

          x       The affected division commander shall forward his or her written
                  recommendation to the Chief of Police through the chain of command.

   4.     CONCLUS I ON

   MPD recognizes its role in the community to fight crime and the fear of crime by implementing
   strategies and utilizing all available tools to do so. Our commitment to this mission extends to all
   persons that engage in criminal activity within our community irrespective of their immigration
   status.

   This policy evidences our intent to cooperate with ICE and others, to the extent permitted by law,
   on any criminal activity that threatens the safety and well-being of our community.




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                                              FOREIGN NATIONALS – DIPLOMATIC IMMUNITY – RACIAL
           General Order 2008-39
                                                   PROFILING – IMMIGRATION ENFORCEMENT

                                          MILWAUKEE, WISCONSIN, POLICE DEPARTMENT

               130.25 RACIAL PROFILING POLICY
                       A.  DEFINITION

                                  Racial profiling is any police-initiated action that relies upon the race, ethnicity, or national
                                  origin of an individual rather than the behavior of that individual, or information that leads
                                  the police to a particular individual who has been identified as being engaged in or having
                                  been engaged in criminal activity.

                             B.    POLICY

                                  It shall be the policy of the Milwaukee Police Department that police members, during the
                                  performance of their duties, shall not engage in the practice of racial profiling. Police
                                  members shall not use racial or ethnic stereotypes as factors in selecting whom to stop
                                  and whom to search. Police members may use race or ethnicity to determine whether a
                                  person matches a specific description of a particular suspect.

               130.30 IMMIGRATION ENFORCEMENT
                       A.  POLICY

                                  It shall be the policy of the Milwaukee Police Department to implement an immigration
                                  enforcement strategy that is consistent with the mission of reducing the levels of crime,
                                  fear, and disorder in the City of Milwaukee. However, this strategy must also be in
                                  balance with the jurisdictional responsibilities of the federal government and the
                                  corresponding jurisdictional limitations of local law enforcement. The following procedures
                                  not only achieve that balance but also comply with the Wisconsin Attorney General’s law
                                  enforcement guide to immigration enforcement.

                                  With a policing philosophy that is community-based, problem-oriented, and data-driven,
                                  we are committed to ridding the city’s streets of violent offenders regardless of whether
                                  such offenders are in the United States legally or illegally. We are also committed to
                                  facilitating safe, sustainable communities where citizens are encouraged to report crime
                                  and provide the police with useful information and intelligence. However, proactive
                                  immigration enforcement by local police is inherently detrimental to our mission and
                                  policing philosophy when doing so ultimately deters some citizens from participating in
                                  their civic obligation to assist the police. It is therefore expected that each police member
                                  follow the procedures set forth below regardless of one’s personal opinion or political
                                  ideology on the issue of immigration.

                        B.    Enforcement of the nation's immigration laws is the responsibility of the federal government,
                                particularly the United States Bureau of Immigrations and Customs Enforcement (ICE).
                                Accordingly, the Milwaukee Police Department shall not unilaterally undertake
                                immigration-related investigations and shall not routinely inquire into the immigration
                                status of persons encountered during police operations. This prohibition does not
                                preclude the Department from cooperating with federal immigration officials when
                                requested, or from notifying those officials in serious situations where a potential threat to
                                the public is perceived.

                                  Note: Most immigration violations are civil and fall under the jurisdiction of the
                                      federal government. As such, local law enforcement officers have no right of
                                      arrest in these matters.




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                               FOREIGN NATIONALS – DIPLOMATIC IMMUNITY – RACIAL
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                           MILWAUKEE, WISCONSIN, POLICE DEPARTMENT

            C.   A person's right to file a police report, participate in police-community activities, or
                   otherwise benefit from police services is not contingent upon their immigration status.
                   Consequently, Department members shall not question any person about his or her
                   immigration status unless that person is reasonably believed to be involved in one or
                   more of the activities identified in (F) below.

            D.     Department members shall not request passports, visas, "green cards," or other
                   documents relating to one’s immigration status in lieu of, or in addition to, standard forms
                   of identification such as a driver’s license, state identification card, etc. Immigration
                   related documents shall only be requested when standard forms of identification are
                   unavailable, or when the member is proceeding under (F) below.

            E.     Police members shall not contact, detain, or arrest a person solely for a suspected
                   immigration violation unless such contact, detention, or arrest is in cooperation with and
                   at the direction of federal immigration officials.

            F.     Police members shall not inform federal immigration officials of the whereabouts or
                   behavior of any suspected illegal immigrant or foreign visitor, except when the immigrant
                   or foreign visitor:

                 1. Is arrested for a felony

                 2. Is arrested for a misdemeanor involving the possession or use of a dangerous weapon

                 3. Is arrested for a terrorism-related offense, or is otherwise reasonably
                    suspected of involvement in terrorism and/or subversive activities

                  4. Is arrested for any offense involving the entry or fraudulent assimilation of
                      undocumented foreigners into the country, or is reasonably suspected of participating
                      in an organized venture to bring or fraudulently assimilate undocumented foreigners
                      into the country

                   5. Is a previously deported felon

                   6. Is reasonably suspected of participating in criminal street gang activity

            G.     In the event a police member needs to contact ICE, they shall first attempt to contact the
                   local office at (414) 297-1571. If the local office is closed or if an agent is unavailable, the
                   police member shall contact the ICE Law Enforcement Support Center (LESC) at 1-802-
                   872-6050.

            H.     Only federal immigration officials can determine a person’s immigration status; therefore,
                   citizens wishing to report immigration violations shall be referred to the local office of ICE
                   at (414) 287-6326, fax (414) 287-6344.




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     More Than 50,000 Sign Up to Enroll in City's New
     Municipal Identification Program in First Week
     By Melissa Russo


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                                                                                                               TRENDING STORIES
                                                                                                                PHOTOS   Massive Blaze at Luxury
                                                                                                               Apartment Complex Accidental:
                                                                                                               Officials
       New Yorkers are coming forward by the tens of thousands to get their hands on new identification
       cards being offered by the city. The demand is so high the wait is already several months long.
       Government Affairs Reporter Melissa Russo reports. (Published Friday, Jan 16, 2015)
                                                                                                               Man Buys Lottery Tickets to Break
                                                                                                               $100 Bill, Wins $10M
       Updated at 8:23 PM EST on Friday, Jan 16, 2015

                                                                                                               Teacher Accused of Sex Crimes
       Thousands of New Yorkers have enrolled in the city's new municipal identification                       Against 16-Year-Old Boy
       card program since it launched Monday, and more than 50,000 others have
       booked appointments to learn how it can give them access to key city services
                                                                                                                VIDEO  NY Man Bulldozes Home
       they were previously unable to obtain, officials said Friday.                                           Without Telling Wife: Police


       The card, dubbed IDNYC, was approved last year and is aimed at those who do
                                                                                                               WATCH: News 4 New York
       not currently have a government­issued ID, including the elderly, homeless and an
       estimated 500,000 immigrants in the city who live in the U.S. without legal
       documentation.
                                                                                                                  WEATHER FORECAST
            Man Buys Lottery Tickets to Break $100 Bill, Wins $10M                                              WEATHER ALERTS                  View All »




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       Mayor de Blasio hailed the program, the largest of its kind in the nation, as a                                               New York, NY
       "gateway to city services," enabling those otherwise lacking documentation to
       have acces to crucial benefits and participate in all aspects of civic life.


       New Yorkers without IDs lined up all week to apply for them. On Friday, the line
                                                                                                                                       39°                Clear
                                                                                                                                                          Feels Like 34°



       included one person whose job is to deliver food but can't get into most buildings
       without a government­issued ID and an Upper West Side resident who wants one
                                                                                                                        Radar             Forecast           Maps
       in order to get access to museum discounts. A grandmother waiting in line said
       she needed an ID to pick up her grandchildren from school.




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                                NYC Launches Municipal ID Card Program


            New York City has launched its municipal identification card program, the largest in the country, which
            officials say will allow immigrants living in the country illegally to access key city services they were
            previously unable to obtain. Andrew Siff reports. (Published Monday, Jan 12, 2015)



       "Most buildings like Rockefeller Center, World Trade Center, they ask for a state
       ID," said the delivery worker, Luiz, adding that customers have gotten annoyed
       when they had to come down and pick up their deliveries when he can't produce
       ID.


       Ken Thomas said he's in it for the discounts and memberships.

            Sad Miami Monkey Gets Comforted by Pal


       "Just about every museum in the city ­­ the Met, MoMA, the Whitney and Frick,"
       she said.


       Appointments are required for enrollment; the city says it is no longer accepting
       walk­ins. In total, nearly 55,000 appointments have been made since the program
       launched, including 14,000 secured on Friday alone. Nearly 5,700 have already
       enrolled. The city has been so flooded with interest in the program that its next
       available appointment is not until the middle of April.

            Target Launches New Plus­Size Clothing Line


       "Before we launched, people were saying things like nobody's going to come out
       because they're concerned [about privacy], immigrants aren't going to step
       forward," said Nisha Agarwal, commissioner of the mayor's office of immigrant
       affairs.


       But it's clear that tens of thousands of people in just the first few days of the rollout

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       have set aside any confidentiality concerns to get the card.

            Will Ferrell Hurls Basketball at "Cheerleader's" Head


       A city official said there have been some glitches with the rollout, but they've been
       worked out. Extra work stations have been opened at existing locations so there's
       more staff on hand to process appointments, and two more enrollment centers will
       be up and running in the next two weeks ­­ one at LaGuardia Community College
       in Queens and another at the Center for Family Life in Brooklyn.


       To help mitigate long lines at the enrollment centers, the city has been reminding
       New Yorkers they can call 311 or use the IDNYC website to schedule
       appointments. A spokesperson for the mayor's office said 311 wait times were an
       issue earlier in the week, but they were down to 4 minutes and 23 seconds by
       Friday afternoon. It wasn't clear how long the average wait time was at launch.

            Abraham Lincoln's Hair Up for Auction


       As one city official put it, New Yorkers want the cards now. Membership is free,
       though a fee may be applied in the future, city officials have said, and is not limited
       to a calendar year, so if someone doesn't get a card until April, his or her
       membership will be valid until next April.


       All New Yorkers age 14 and older are eligible, as long as they can prove their
       identity and city residency. Applicants without a home address may prove
       residency by providing a letter from a city agency, nonprofit organization, religious
       institution, hospital or health clinic where their mail is received.

            UPDATED   Man Left Twin 9­Year­Old Boys Home Alone for Months: Police


       To prevent any possible stigma that the ID is only carried by immigrants who are in
       the country illegally, the city has created an incentive program to entice all New
       Yorkers, regardless of their immigration status, to get a card. Cardholders are
       eligible for free memberships at many of the city's signature cultural institutions as
       well as other discounts.

       Follow Melissa Russo on Twitter @MelissaRusso4NY, Facebook or email her:
       melissa.russo@nbcuni.com

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        New York man's driver license photo is
        making his life very awkward                     New York

        Natives


        What Does Your Last Name Say About
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        Copper Thieves Beware: Planted Plant
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                       Carl Wolf ·      Top Commenter · Jacksonville, Florida
                       Conservatives hate this, as noted by the idiot below.
                       Reply · Like ·     2 · January 16 at 5:34pm

                                     Jo Burm ·        Top Commenter
                                     Who are you calling an idiot
                                     Reply · Like · January 16 at 6:18pm

                       Letticia Rosado ·       Top Commenter · Survey Taker / Writer at Work at home
                       On Monday, I waited nearly 11 hours to get mine! Took a toll on the body, but it was worth the wait. I
                       got served by 8:00 PM! It's the perks that got me to sign up.
                       Reply · Like · January 17 at 9:48am

                       Jo Burm ·        Top Commenter
                       They are not new yorkers they are illegals who should be sent back to where they came from
                       Reply · Like · January 16 at 4:50pm

                                     Mary O'Shaughnessy ·           Top Commenter · New York, New York
                                     I am a second-generation native Manhattanite and I was there in the morning on Monday
                                     to sign up for mine. Where are you planning to send me?
                                     Reply · Like ·     2 · January 17 at 6:11am

                                     Jo Burm ·        Top Commenter
                                     If you are an illegal immigrant you don't deserve any of the benefits that come with this id
                                     Reply · Like · January 17 at 4:07pm

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PSYCHOSOCIAL IMPACT OF DETENTION & DEPORTATION


                      The Psychosocial Impact of Detention and Deportation on
                               U.S. Migrant Children and Families


                        A Report for the Inter-American Human Rights Court

                                                   August, 2013


        Julia1, a Guatemalan indigenous Mayan woman, was detained in a raid at a
Massachusetts factory where she was manufacturing backpacks for U.S. soldiers in Iraq
(Brabeck, Lykes, & Hershberg, 2011). Julia’s two-year-old son was with a babysitter when his
mother was detained; he was waiting by the windowsill, as was his habit, for his mother on the
day she did not return from work. Julia was transported to a Texas detention center. She was
prohibited from placing a phone call to her family for the first few days there. She pleaded with
immigration officials: her son had asthma, a condition for which he had previously been
hospitalized, and the babysitter didn’t know how to operate his oxygen machine. Julia recalled
that she was threatened by immigration officials that her children would be taken from her if she
continued to ask for “special treatment,” and was informed that her processing could take
anywhere from one month to one year to complete. Julia was separated from her son for nine
days during her detention. According to Julia, the raid and resulting separation precipitated her
son’s tantrums and nightmares; difficulty sleeping, eating, and speaking; and extreme separation
anxiety.

Unauthorized2 Migrants and Their Children: A Population at Risk and under Stress

       Current estimates indicate that 82% of the children born to the United States’ 11.1
unauthorized migrants are U.S.-born citizen children; this amounts to 4.5 million U.S. citizen
children living in “mixed status families”, that is, families wherein at least one member is
authorized and one member is not (Passel & Cohn, 2011)3. Additionally, there are approximately
1.15 million unauthorized children in the U.S., comprising 10% of the total unauthorized
population (Capps, Bachmeier, Fix & VanHook, 2013). Between July, 2010 and September,
2012, 205,000 deportees reported having at least one U.S.-citizen child, resulting in an estimated
annual average of approximately 90,000 parental deportations (Wessler, 2012). A study
conducted by the New York University School of Law Immigrant Rights Clinic found that
between 2005-2010, 87% of processed cases of noncitizens with citizen children resulted in

1
  Pseudonyms have been used to protect participant confidentiality.
2
  The language that is used in much public and media discourse to describe non-citizens in the U.S., i.e., “illegal
alien,” “illegal immigrant,” “illegal,” creates a blurring of boundaries between the “immigrant” and the “criminal,”
and is not neutral, reflecting rather the U.S.’s history with immigration, race, and ethnicity. In this report, we use
“unauthorized,” although we acknowledge that others who share the concerns articulated here use the term
“undocumented.” No single term fully reflects the complexities articulated and discussed in this report.
3
  While these numbers represent best estimates, it is difficult to accurately count the number of unauthorized
migrants in the U.S. due in part to individuals “living in the shadows” out of fear of discovery and deportation.
Researchers have used different methods to estimate the size of the unauthorized population; the numbers reported
by Passel and Cohn (2011) were calculated using the “residual” method, i.e., an estimate of the authorized foreign-
born is subtracted from the total foreign-born, and the residual is assumed to be unauthorized.

                                                                                                                         1



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PSYCHOSOCIAL IMPACT OF DETENTION & DEPORTATION


deportation (NYU School of Law Immigrant Rights Clinic, 2012). An increasing body of social
scientific literature, which includes both qualitative and quantitative methodologies, documents
the adverse impact of U.S. immigration policies and their enforcement on U.S. migrant families
and children.

        From the cumulative risk perspective (Rutter, 1979), adverse effects from a single event,
such as a parent’s deportation, are more likely to result in negative outcomes when they occur
against the backdrop of multiple risk factors. Deportation most typically occurs within the
context of exploitation, stigma, discrimination, economic disadvantage, and social
marginalization, factors which contextualize the lives of most unauthorized migrants and mixed
status families in the U.S. (Henderson & Baily, 2013).

         Specifically, although the majority of unauthorized adults (especially men) are employed,
unauthorized families are typically low-income or poor, with 32% of adult parents and 51% of
children in 2011 living below the federal poverty level (FPL), and 44% of unauthorized adult
parents and 63% of children living below 138% FPL, the cutoff for Medicaid eligibility (Capps,
et al., 2013)4. Only 30% of unauthorized adults are English proficient (as defined by the U.S.
Census Bureau), and the vast majority (71%) lack health insurance. Unauthorized immigrant
adults (compared to authorized) are more likely to experience economic hardship (Kalil & Chen,
2008), occupational stress (Yoshikawa, 2011), social isolation (Yoshikawa, 2011), decreased
ability to access social service programs (Capps & Fortuny, 2006; Cleveland & Ihara, 2013),
psychological distress (Furman, Ackerman, Iwamoto, Negi, & Mondragon, 2013; Human Impact
Partners, 2013; Sullivan & Rehm, 2005), and acculturative stress (Arbona, Olvera, Rodriguez,
Hagan, Linares, & Wisener, 2011). Migrant adults who fear deportation (regardless of legal
status) are more likely to experience employment challenges, physical health problems,
psychological distress, acculturative stress, and decreased access to services (Arbona et al., 2011;
Cavazos-Regh, Zayas & Sptiznagel, 2007; Hacker, et al., 2011). They are also less willing to
report a crime (Hacker et al., 2011), more likely to avoid public spaces (e.g., churches,
organizations, schools) (Menjivar, 2011), and more likely to experience discrimination and racial
profiling (Human Impact Partners, 2013).

        In summary, unauthorized parents and their children experience a multitude of risk
factors. Research has documented that children who experience multiple risks (e.g., family
disruption, low socioeconomic status, high parental stress) are more prone to behavioral and
emotional problems later in life (Appleyard, Egeland, Dulmen, & Sroufe, 2005). From the
cumulative risk perspective (Rutter, 1979), a parent’s detention and/or deportation may be
expected to have an even more profound effect because it occurs against the backdrop of the
challenges and risk factors described above (Henderson & Bailey, 2013).

        The effects of growing up in a family wherein family members are at risk for deportation
can also be understood from the perspective of toxic stress, that is, the notion that adverse
experiences (such as those noted above) that upset a child, parent, and household, can result in

4
  The federal poverty level is an inclusive term that connotes two measures used by the federal government: 1) the
federal poverty threshold, which is used for statistical purposes, e.g., to count the number of Americans living in
poverty, and 2), the federal poverty guidelines, which are used to determine eligibility for certain federal programs.
(See: http://aspe.hhs.gov/poverty/13poverty.cfm.)

                                                                                                                         2



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PSYCHOSOCIAL IMPACT OF DETENTION & DEPORTATION


biological, neurological, and psychological changes (Shonkoff, Boyce & McEwen, 2009). As
noted in a recent report issued by Human Impact Partners (2013), a child’s health and wellbeing
is predicated upon the parent’s ability to provide family and economic stability, to access needed
services (e.g., childcare and medical care), and to maintain her/his own physical and emotional
wellbeing. Research consistently finds that parental psychological and economic stress impacts
parenting and child outcomes (Conger et al., 1994; Webster-Stratton, 1990). Thus, it is not
surprising, given the multiple stressors unauthorized parents experience, that parent legal status
is a predictor of multiple adverse outcomes for children, including emotional wellbeing,
academic performance, and health status (American Psychological Association Task Force,
2012; Brabeck & Xu, 2012; Dreby, 2012; Human Impact Partners, 2013; Suarez-Orozco,
Yoshikawa, Teranishi & Suarez-Orozco, 2011). Some research with children of unauthorized
immigrants has found that they are more likely to report anxiety, fear, sadness, posttraumatic
stress symptoms, anger, and withdrawal (Human Impact Partners, 2013; Potochnick & Perreria,
2010). In a nationally representative birth cohort study, Yoshikawa (2011) followed children of
low-income mothers from birth to age six. While all low-income mothers experienced significant
challenges, Yoshikawa (2011) found that stressors that were more associated with unauthorized
status (e.g., occupational stress, psychological distress, lower social support, and lower access to
center-based childcare) affected children’s cognitive development at 24- and 36-months. Other
researchers have found that children of unauthorized parents are at greater risk for developmental
delay (Fuller et al., 2009; Ortega, et al., 2009) and school readiness (Crosnoe, 2006). U.S. citizen
children with two undocumented parents or an undocumented mother are estimated to have 1.18
fewer years of education (Bean, Leach, Brown, Bachmeier, & Hipp, 2011). Children of
unauthorized parents are also less likely to be medically insured (Capps et al., 2013; Ku &
Jewers, 2013), less likely to have seen a physician in the past year (Human Impact Partners,
2013), less likely to be reported as being in good health (Human Impact Partners, 2013; Kalil &
Ziol-Guest, 2009), and less likely to have good eating, sleep, and exercise habits (Human Impact
Partners, 2013). Even when children are eligible for services, unauthorized parents may be
reluctant to apply for public assistance or seek medical care for them (Ku & Jewers, 2013) due
the fear of disclosing their status and being deported.

Untenable Decisions

        When an unauthorized parent of a U.S.-citizen child is arrested, that parent must make
what Zayas (2010) calls a “Solomonic decision” (p. 809): He/she may move the child to a
linguistically and culturally foreign environment, where the child likely loses access to the
educational, health, and other benefits afforded to her/him as a U.S.-citizen, or he/she may leave
the child in the U.S. in the care of others (Brabeck et al., 2011; Dreby, 2012; Lykes, Brabeck &
Hunter, 2013). These “others” may include extended family or friends, but may also include the
child welfare system. Family reunifications are complicated by legal status, increasing the
likelihood that the child will remain in the child welfare system (Wessler, 2011). Placement with
relatives also can be complicated by requirements of legal background checks for adults and
careful consideration of housing conditions in a potential placement (Reed & Karpilow, 2002).
Parents, then, must decide whether it is better for children to remain with the parent, but with
potentially limited access to healthcare and educational opportunities, or to remain in the U.S.
with its array of opportunities and supports, but without one or both parents’ present nurturing
and support (Zayas, 2010).

                                                                                                  3



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PSYCHOSOCIAL IMPACT OF DETENTION & DEPORTATION



Research Findings on Welfare of Children and Adults during the Detention Process

         When detained, parents are typically not released pending deportation hearings, but
rather, are held in detention as they await the hearing, leaving no time to see family or to make
preparations, including for childcare (Androff, et al., 2011). Sometimes detained migrants are
transferred to a facility far away from their family members (McLeigh, 2011). A study following
workplace raids in three communities found that fear, lack of access to telephones, and being
detained left approximately 500 children in the care of others without information on the
whereabouts or conditions of their parents (Capps, Castaneda, Chaudry & Santos, 2007). This
kind of sudden “disappearance” of a family member can be particularly traumatic for migrants
who experienced state-sponsored kidnapping and murders in their countries of origin (Brabeck,
et al., 2011). Following arrest, many parents are reluctant to disclose that they have children, for
fear that the children will be permanently removed from their custody (Capps, et al., 2007).
Amnesty International (2009) and the investigative branch of Department of Homeland Security
(DHS) (2006) found instances of mistreatment and neglect of detainees, e.g., inadequate
healthcare and lack of due process for reporting human rights violations. Philips, Hagan, and
Rodriguez (2006), drawing on a random sample of Salvadoran deportees (upon arriving in El
Salvador following deportation from the U.S.), reported that 25% of the deportees reported racial
slurs during arrest, 26% reported racial slurs during detention, 31% reported being denied access
to adequate food and water in detention, 45% reported being denied access to a phone during
detention, and 20% reported some form of force (e.g., shoving, throwing to the ground) during
arrest; among these instances of force, 84% involved excessive force. According to the authors,
deportees were 1.5 times more likely than citizens to report force during arrest (Phillips et al.,
2006).

        The nature of detention, compounded by the uncertainty of its length, is regarded as a
major contributing factor to mental deterioration, despondency, suicidality, anger, and frustration
(Physicians for Human Rights & Bellevue/New York University, 2003). In 2003, the
Bellevue/NYU Program for Survivors of Torture and Physicians for Human Rights interviewed
70 asylum seekers in U.S. detention centers. They documented high levels of psychological
distress, which worsened during the course of detention, and inadequate or non-existent mental
health services within detention centers (Physicians for Human Rights & Bellevue/NYU, 2003).
Researchers have also documented that female detainees in Arizona experienced inadequate
prenatal and mental health care (Southwest Institute for Research on Women, 2009).

        Unfortunately, children’s basic rights may also go unprotected during arrest and
detention. A report issued by the Center for Public Policy Priorities on workplace raids found
that noncitizen children in deportation proceedings have experienced maltreatment by
Immigration and Customs Enforcement (ICE) officials, failure of ICE to notify Child Protective
Services, denied access to a lawyer, denied access to country of origin consulates, holding for
unreasonable periods of time, and removal to unsafe conditions (Benjet, et al., 2009). Thus, the
process of arrest and detention results in negative consequences for physical and mental health
for detained adults and children.




                                                                                                   4



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PSYCHOSOCIAL IMPACT OF DETENTION & DEPORTATION


Research Findings on the Short- and Long-term Impact of Detention and Deportation on
Children and Families

        Not only is there detrimental impact on the wellbeing of immigrant individuals as they
either anticipate or experience detention or deportation, there is also deterioration of the family
members and of the community of those left behind. Studies are beginning to document the
short- and long-term effects of detention and deportation on children and families of the deported
individual. This mounting empirical research confirms what social scientists, mental health
professionals, and advocates have predicted, based partly on the much more established literature
on the impact of parental incarceration on child and family wellbeing. Specifically, this latter
research reveals that children with an incarcerated parent are 3-4 times more likely than those
without an incarcerated parent to engage in delinquent behavior, and 2.5 times more likely to
experience mental health problems (e.g., anxiety and depression) (Makariev & Shaver, 2010).
Later in life, the children of incarcerated parents are more likely to have substance abuse
problems and to be unemployed (Murray & Murray, 2010), and to experience poor romantic
relationships, divorce, and separation from their own children (Murray, 2007). In the wake of
parental incarceration, family members must deal with the sequalae of traumatic separation,
loneliness, stigma, how to explain the separation to children, strained parenting, reduced family
income, unstable childcare arrangements, and home and school instability and transitions
(Murray et al., 2012).

        The trauma of sudden and imposed family separation. The detrimental effects of forced
and unexpected parent-child separation, even when children are well cared for in a safe
environment, have long been documented in the psychological and psychiatric literature (e.g.,
Freud & Burlingham, 1943). Unlike separations involved in voluntary migration decisions,
which may include economic benefits but social/emotional costs, forced separations due to
deportation incur the social/emotional cost without the economic benefit (in fact, economic
situations typically deteriorate further following deportation) (Dreby, 2012). Deportations
involve a double or triple trauma for children, who may witness the forcible removal of the
parent, suddenly lose their caregiver, and/or abruptly lose their familiar home environment
(McLeigh, 2011). From the attachment theory perspective (Bowlby, 1969), a child’s sense of
security is rooted in relationships with familiar caregivers; this secure base is a necessary
foundation for developing social, cognitive, and emotional regulation skills that are fundamental
throughout life. The physical separation between a parent and child, particularly when
unexpected as in the case of deportation, disrupts this essential secure base, risking internalizing
symptoms (depression, anxiety), externalizing behaviors (withdrawal, aggression), and social
and cognitive difficulties (Makariev & Shaver, 2010).

       The Urban Institute and National Council of La Raza (NCLR) explored the short- (two
month), intermediate- (six month), and long-term (one year) impact of worksite raids on three
communities where a total of 500 children, mostly U.S. born citizens, temporarily or
permanently lost parents (Capps, et al., 2007; Chaudry et al., 2010). Chaudry et al. (2010)
reported that the most common short-term effects to children’s psychological wellbeing
following a parent’s arrest included eating (e.g., loss of appetite) and sleeping changes (e.g.,
nightmares); this was followed by crying and feeling afraid. Anxiety, withdrawal,
anger/aggression, and clinginess were less common but still reported by many respondents.

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These hardships were especially prevalent among children whose household structure and
primary caregiving relationships changed after a parent’s arrest (Chaudry et al., 2010). At
follow-up, Chaudry et al. (2010) reported that the more frequently cited behavioral and
emotional changes (eating, sleeping, crying, fear, and anxiety) reduced over time, but less
frequently cited changes (withdrawal and angry/aggressive behaviors) persisted at similar or
higher levels in the longer terms. Additional short- and long-term consequences for children
following a parent’s arrest included developmental difficulties (e.g., speech delay) and
behavioral and academic decline at school. Similar results were found by Brabeck, Lykes, and
Hershberg (2011) who conducted interviews with Guatemalan and Salvadoran immigrant
families impacted by detention and deportation.

        From the theoretical perspective of ambiguous loss (i.e., the parent is physically absent
but psychologically present) (Boss, 2006), when ambiguity and loss are experienced
simultaneously, individuals may internalize stress and experience negative psychological
symptoms (e.g., depression and anxiety). Children whose parents are deported may experience
confusion over whether their parent is a “criminal”, messages that the loss should be kept a
secret, and confusing explanations about what happened, all of which compound the loss and
increase the likelihood for adverse psychological effects. Unfortunately, while such adverse
effects can be profound, they may not be considered “exceptional and extremely unusual
hardship” under the current immigration policies (e.g., the Antiterrorism and Effective Death
Penalty Act (AEDPA) (Hagan, Castro & Rodriguez, 2010).

        Financial, health, and psychological consequences for the deported individual. Deportees
often face high levels of stigma upon their return to their countries of origin. Although not
always the case (McMillan, 2011), they are sometimes seen by communities of origin or their
own families as failures and as criminals, despite any evidence to this effect (Barrios &
Brotherton, 2011). They typically face employment difficulties and feel demoralized (Barrios &
Brotherton, 2011). Research has also found that deportation is associated with more frequent
drug use and less interaction with medical or treatment services (including HIV testing, medical
care, and substance abuse treatment) (Brouwer, et al., 2009). As a result of the employment
challenges and inability to fulfill the provider role, as well as the stigma, shame, and depressive
symptoms, many deported fathers lose contact with their children in the U.S. In this way,
deportation severs paternal bonds, and forces many single mothers into very difficult positions as
both family caretakers and providers (Dreby, 2012). For female deportees, deportation increases
the risk for physical and sexual assaults, and increased prostitution in the context of financial
insecurity and ineffective law enforcement (Robertson, et al., 2012).

        Changes in family structure and stability. A parent’s deportation can lead to a permanent
change in family structure and in the extreme cases, family dissolution (Dreby, 2012). From the
perspective of Social Control theory and Strain theory (Cullen & Agnew, 2006), a parent’s
detention and deportation disrupts family processes and family resources; specifically, income,
parental involvement, and parental supervision all decline, while school and housing instability
increase. Dreby (2012) found that ¼ of families in her sample that experienced deportation were
unable to keep the family together post-deportation. Although changing trends in migration have
led to increased numbers of female deportees, overwhelming deportees continue to be male
(Brotherton & Barrios, 2011; Kohli, Markowitz & Chavez, 2011). Thus, as Dreby points out

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(2012), when parental deportation results in a single parent household, it’s typically a single
mother household, and often that single mother has a tenuous legal status herself. Unlike a single
breadwinner whose husband was laid off or injured, these newly single mothers are not going to
receive worker’s compensation or unemployment benefits to help make ends meet (Dreby,
2012). Children in a single parent household are 4.2 times more likely to live in poverty, and the
poverty rate is double for single mother households compared to single father (Women’s Legal
Defense and Education Fund, 2010). For the remaining family members, loss of the deported
person’s income can lead to housing insecurity, food insecurity, psychological distress, and
slipping from low-income into poverty. Additionally, the loss of the deported parent can create a
crisis in childcare, and older siblings may be increasingly relied on for care of younger siblings
(Dreby, 2012).

        Economic costs for families. As alluded to above, caregiver detention and/or deportation
have important implications for the family’s economic wellbeing. Parents often lose employment
and income, and even detained parents who are granted work release experience subsequent
difficulty finding employment. Related economic hardships include difficulty paying bills,
increasing debts, housing instability, food insecurity, inability to send remittance money, and
apprehension about applying for public assistance (Chaudry et al., 2010). Economic crises are
especially prevalent among families who have not yet paid off the debt incurred in migration
(Brabeck, et al., 2011; Menjivar & Abrego, 2012).

         Consequences for the “de facto” deportees. While children left in the U.S. face abundant
challenges, children who return with parents to the host country—children Luis Argueta calls “de
facto deportees”— also face a myriad of difficulties. According to the Pew Hispanic Center
(2012), 300,000 U.S. citizen children have returned to Mexico alone since 2005 (Passel, Cohn &
Barrera, 2012). These children often feel like exiles, and experience difficulties with language
and discrimination (Boehm, 2011). As noted previously, they are deprived of the benefits of U.S.
citizenship, including access to healthcare, educational opportunities, and social service
programs (Hagan et al., 2011). The transition between schooling systems can be a challenge,
particularly if returning to a rural area (Zuinga & Hammam, 2006). As a result of these
cumulative experiences, children may begin to lose their aspirations and dreams, and may have
lower educational and vocational readiness, as well as untreated mental health disorders (Zayas,
2010). They may be returned to living situations of extreme poverty, as documented in a 2012
article in the Guatemalan newspaper, La Prensa, which described the experiences of an 11-year-
old U.S.-born girl who returned with deported parents to a remote Guatemalan village; as a result
of the extreme change in standard of living, she began to experience health problems, dietary
issues, academic regression, and loss of English fluency (Ventura, 2012).

        Impact on the broader community. The aftermath of deportation impacts entire
communities as it instills fear of family separation and distrust of anyone assumed to be
associated with the government, including local police, school personnel, health professionals
and social service professionals (Dreby, 2012; Menjivar & Abrego, 2012). Unauthorized adults
drive less (Human Impact Partners, 2013), unauthorized crime witnesses and victims are
reluctant to disclose information to the police (Hacker et al., 2011; Human Impact Partners,
2013; Sladkova, Garcia Mangado, & Reyes Quinteros, 2011), and children of unauthorized
parents may be kept out of school (Androff et al., 2011; Capps et al., 2007). Thus, while smaller

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numbers of individuals are directly impacted and suffer the worst consequences of deportation,
the entire community suffers adverse effects (DeGenova, 2010; Dreby, 2012). Importantly, this
fear extends beyond the unauthorized population, to include authorized Latino immigrants who
still fear deportation, experience discrimination, and, as a result, feel less optimistic about the
future for their children and more mistrusting of their government (Becerra, et al., 2013).
Additionally, the psychological and financial sequelae of detention and deportation extend to
family members living in the country of origin, who also experience the sudden panic of losing
contact with their family member, and often go for weeks or months with no information
regarding loved ones’ whereabouts (Brabeck et al., 2011).

        Finally, growing up in a climate of fear, distrust, and “in the shadows” impacts a child’s
(including U.S. citizen children’s) self-concept and relationship with the US, its government, and
authorities more generally. Research has found that children in immigrant families begin to
associate all immigrants with illegal status, and to associate being “illegal” with being a criminal;
as a result they may reject their own immigrant heritage. Moreover, children may conflate police
with ICE officials, thereby growing up seeing the police as a threat and not a resource (Dreby,
2012; Hacker, et al., 2011). These mixed messages may be confounded by the ways in which
adults may try to protect children, either by avoiding direct communication with children about
status, detention, and deportation, or by interpreting the events in ways that may not be entirely
accurate, e.g., “deported people are criminals but we are not at risk because we haven’t
committed a criminal act” (Lykes, et al., 2013).

Conclusions

        In this document, we have reviewed the considerable evidence that confirms that current
U.S. immigration policies and their enforcements have detrimental effects for migrant adults,
children, families, and communities, both in the U.S. and abroad. At the same time, it is critical
to note that in the midst of these abundant and extreme challenges, unauthorized migrants and
their families fight for family unity, improved lives for their children, and the betterment of their
communities. Despite the harsh treatment they may receive, many maintain strong ties and
patriotic attitudes toward the U.S. and its citizens (McMillan, 2011). Many migrants, including
those who are unauthorized, learn to successfully navigate two cultures, two languages, and
family obligations on both sides of the U.S. border. They have demonstrated resilience, figuring
out ways to make their income flow in three directions: paying off debt incurred in migration,
covering bills and expenses in the U.S., and sending remittance money home (Brabeck, et al.,
2011). Despite parents’ contributions to their children’s wellbeing, the research presented herein
confirms that U.S. immigration policies and practices harm these children, adults, families, and
communities. The specific requests presented in accompanying briefs are critical to redressing at
least some of these injuries to these children and their families, as they seek the dignified life
promised them by the U.N. Declaration on Human Rights and its conventions.




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                                      How Today’s Immigration
                                      Enforcement Policies Impact
                                      Children, Families, and Communities
                                      A View from the Ground

                                      Joanna Dreby		    August 2012



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 How Today’s Immigration
 Enforcement Policies Impact
 Children, Families, and
 Communities
A View from the Ground

Joanna Dreby		                August 2012




 Documenting the Undocumented Series

 This report is the third in a Center for American Progress series that looks at the daily
 lives, struggles, and strategies of undocumented immigrants who must live through the
 assault of harsh laws designed to make their lives unbearable. Throughout 2012 we
 will release reports that lift the veil on our nation’s undocumented, providing a win-
 dow into the lives of the 11 million who live in the United States without papers and
 how our nation’s immigration policies impact us all–documented or not.




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 Introduction and summary

 What happens to children when their parents are deported? How do these depor-
 tations, now more numerous than ever,1 affect families and the communities in
 which they live? This report looks at how immigration enforcement shapes family
 life in the United States, both among immigrant and mixed-status families, and in
 their wider communities.

 Even as the United States has failed to pass comprehensive immigration reform in
 the past decade, it has increasingly taken a hardline stance on immigration enforce-
 ment, particularly in targeting unauthorized immigrants living in the country.2

 The number of immigrants removed has steadily risen, from close to 190,000
 deportations in 2001 to close to 400,000 per year in the past four years.3 Even
 more troubling, in the first six months of 2011 alone, more than 46,000 parents of
 U.S. citizen children were deported.4

 With more than 11 million unauthorized immigrants living in the country, these
 deportations affect a wide swath of the population,5 including the undocumented
 and the citizen alike. Undocumented immigrants do not live separate and walled-
 off lives from the documented, but instead live side by side in the same com-
 munities and in the same families. A total of 16.6 million people currently live in
 mixed-status families—with at least one unauthorized immigrant—and a third of
 U.S. citizen children of immigrants live in mixed-status families.6

 Additionally, having citizen children or even being the primary provider for U.S.
 citizen children is little help in removal proceedings: A recent report by the NYU
 School of Law’s Immigrant Rights Clinic found that between 2005 and 2010, 87
 percent of processed cases in New York City of individuals with citizen children
 resulted in deportation.7

 As individuals face the threat of deportation,8 ripple effects split families and
 entire communities apart.




 1   Center for American Progress | How Today’s Immigration Enforcement Policies Impact Children, Families, and Communities
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 We argue in this report that deportations break families up and have a wider effect
 on the community as a whole—not just the individual and the family involved.



 Deportations rip apart families

 Deportations have a large effect on families, forcing children into foster care as
 their parents are shipped out of the country and leaving single mothers struggling       This research
 to make ends meet.
                                                                                          finds that the
 • They leave children in foster care. As the Applied Research Council has found,
   many U.S. citizen children of undocumented deportees may end up in the foster          knowledge alone
   care system, often for no other reason than the undocumented status of a par-
   ent. Legal status complicates reunifications, placing the burden for the care of       that deportations
   these children on state and federal governments. The total costs to foster each
   child (between administrative and maintenance costs) are significant—close to          are occurring in
   $26,000 per year.9
                                                                                          one’s community
 • They create a large number of single mothers struggling to make ends meet.
   While many single parents in the United States face similar circumstances, in          puts children
   this case it is the government’s own policies that create the conditions for single
   parenthood. In addition, the tenuous legal status of many parents left behind          and families—
   adds a double burden on these families to provide for their families while also
   raising their children.                                                                and thus entire
                                                                                          communities—
 Deportations affect communities, as well as families
                                                                                          on edge and
 Deportations’ consequences ripple out from those individuals with a family mem-
 ber that has been deported, affecting the larger community as well. This research        heightens fears
 finds that the knowledge alone that deportations are occurring in one’s com-
 munity puts children and families—and thus entire communities—on edge and                about family
 heightens fears about family separation.
                                                                                          separation.
 • Children and their parents live in constant fear of separation. Often children
   who do not know anyone deported still fear for their own families based on the
   knowledge that they could be separated at a moment’s notice.




 2   Center for American Progress | How Today’s Immigration Enforcement Policies Impact Children, Families, and Communities
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 • Because of fears of deportation, children routinely conflate the police with
   immigration officials. This is true even in areas where local law enforcement
   have no official agreements to work with the Department of Homeland Security.
   These children—who are U.S. citizens—grow up afraid of the police.

 • Children begin to associate all immigrants with illegal status, regardless of
   their own identity or legal status. As a result, children are dissociating them-
   selves with their immigrant heritage.

 To better support children and families, we make the following policy
 recommendations:

 • Enact a commonsense and comprehensive policy change. In the long term only
   comprehensive immigration reform with a pathway to earned legalization for
   unauthorized immigrants can grant security to parents and children in mixed-sta-
   tus families. Children need not be afraid that their family will be broken up due to
   irregular statuses. They must not learn to be ashamed of their immigrant heritage.

 • Modest legislative fixes can help as well. On July 16, 2012, Rep. Lucille Roybal-
   Allard (D-CA) introduced the Help Separated Families Act, H.R. 6128, to
   ensure that children are not taken away from their relatives simply because of
   their parents’ immigration status. In July 2011 Sen. Al Franken (D-MN) and
   Rep. Lynn Woolsey (D-CA) introduced the Humane Enforcement and Legal
   Protections for Separated Children Act, which would mandate standards for
   immigration enforcement when children are involved. The bill would ensure
   that parents are kept informed of and are able to continue to make decisions
   about the care of their children, and that the interests of the children are taken
   into account in detention, release, or transfers. Passing these bills would go a
   long way toward preventing children from ending up in foster care while their
   family members are detained or deported.10

 • Expand executive action. In the short term administrative action can greatly
   alleviate threats to immigrant families. President Barack Obama can and should
   allow parents, especially those supporting U.S. citizen children, to stay in the
   country if they have committed no crimes and are only guilty of the civil offense
   of being in the country without status.11

 In this report we focus specifically on children in Mexican immigrant households,
 as enforcement policies disproportionately affect them. Mexicans are approxi-




 3   Center for American Progress | How Today’s Immigration Enforcement Policies Impact Children, Families, and Communities
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 mately 30 percent of the foreign-born population and 58 percent of the unauthor-
 ized population in the United States.12 In 2010, however, Mexicans comprised 83
 percent of the detained, 73 percent of those forcibly removed, and 77 percent of
 voluntary departures.13 More than 7 million children in the United States live with
 parents from Mexico, and half of these children are estimated to be U.S. citizens
 living with noncitizen parents.14

 This report draws on findings from the author’s ethnographic study with Mexican
 immigrant families in two sites—one in central New Jersey and the other in north-
 east Ohio. The data include in-depth interviews with 110 children and 91 parents,
 and home and school visits with 12 families. Similarities in family members’ experi-
 ences, even across two vastly different local contexts, illustrates that the results
 reported here are likely true for children living in other settings around the country.15

 Certainly the deportation of people who have committed certain serious crimes
 and are threats to our national security will inevitably break up families. But there
 are ways to recognize the importance of family unification and to mitigate the
 devastating effects of deportation—especially for those who have committed no
 crimes, save for the civil penalty of being in the country without status.




 4   Center for American Progress | How Today’s Immigration Enforcement Policies Impact Children, Families, and Communities
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 Ramped-up immigration
 enforcement and deportation
 in the United States

 Over the past few years, the United States has ratcheted up the number of people
 it removes from the country each year.16 The nearly 400,000 people deported each
 year since 2009 represents more than twice the 189,000 deported in 2001.17

 Mexicans are the most adversely affected by such policies. While they are not the only
 group to be unauthorized—nor are all Mexican immigrants unauthorized18—they are
 overrepresented in apprehensions, detentions, removals, and returns.19

 And while the president’s June 15 announcement granting deferred action to
 DREAM Act-eligible youth will go a long way to protecting unauthorized children
 from deportation, the program is of no help to their parents.20

 Other programs of prosecutorial discretion such as the one announced in the
 summer of 2011, meant to prioritize resources toward deporting criminals first
 and foremost—have not lived up to their promises. A recent study by Syracuse
 University found that only 1.9 percent of pending deportation cases have been
 closed because of the this program.21



 Shifts in immigrant settlement patterns

 A national emphasis on enforcement coincides with a major shift in patterns of
 Mexican migration to and from the United States. In the past Mexican migration
 was primarily seasonal and temporary, but since the 1990s settlement has sharply
 increased.22 Mexican immigrants today live in various types of settled families:

 • 3.5 million U.S. citizen children have noncitizen Mexican parents.
 • 755,000 noncitizen Mexican children have parents who are also noncitizens.
 • 79,000 noncitizen Mexican children have parents who are U.S. citizens,23 but
   those children are likely to be on backlogged waiting lists to naturalize. Some




 5   Center for American Progress | How Today’s Immigration Enforcement Policies Impact Children, Families, and Communities
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     may be permanently stuck without a pathway to legalization based on immigra-
     tion re-entry bars of either three years or 10 years, depending on how long they
     have been in the country without status.24

 With the economic recession, jobs in the United States have dried up; new inflows
 of people from Mexico have ceased.25 Nonetheless, the Mexican American unau-
 thorized population continues to grow, and with it the number of mixed-status
 families—those with at least one unauthorized resident and one U.S. citizen.

 In the 1980s and 1990s, most growth in the Mexican population in the United
 States was due to immigration; between 2000 and 2010 the Mexican American
 population in the United States primarily grew as a result of new births.26 This shift
 attests to an unprecedented number of young people who will likely be affected by
 U.S. enforcement policies.



 Local effects of enforcement

 Immigration policy is under federal jurisdiction, but the consequences are felt locally.

 Between 2009 and 2011 the author completed an ethnographic study in Ohio
 and New Jersey. Both are newer destinations for Mexican migrants—places where
 Mexican communities did not exist prior to the 1990s. Neither site has been plagued
 by the overt tensions fueled by a specific controversy over unauthorized migration.
 At the time of the study, for example, neither had signed an agreement under section
 287(g) of the Immigration and Nationality Act—which deputizes local law enforce-
 ment to act as immigration officials, something usually reserved for federal offi-
 cers—or participated in the Secure Communities program. Yet the characteristics of
 each site—and the Mexican communities within them—vary considerably.

 In the midsize urban area of the site in northeast Ohio, the Mexican community
 is small and relatively invisible. It is an economically depressed region that has
 suffered severe job loss with deindustrialization. Most Mexicans work in the food
 service industry or in area factories. Some men work in construction and some
 women in domestic service. Families live dispersed throughout the city and sur-
 rounding suburbs. Small businesses catering to Latinos are scattered, often located
 in strip malls. Mexicans enjoy relatively low housing costs. Most rent their own
 homes or apartments on minimum-wage incomes. Many mothers choose not




 6    Center for American Progress | How Today’s Immigration Enforcement Policies Impact Children, Families, and Communities
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 to work, a decision they described as more affordable than child care. Children
 attend schools with very few other Latino children. Most are the only Mexican
 children in their grades, if not in their schools.

 In the more bustling site in a midsize city in central New Jersey, the declining
 industries of the 1970s and 1980s were replaced by growths in manufacturing, as
 well as a vibrant service sector—especially in landscaping and construction. This
 attracted many Mexican migrants in the 1990s and 2000s. Of the approximately
 50,000 city residents, 33 percent are foreign born and 39 percent are Hispanic.27
 Many residents call one area of the midsize city “Little Mexico,” as nearly every
 storefront boasts Spanish names.

 Most Mexicans in this area are relatively low-wage workers surviving in a commu-
 nity where the cost of living is high. They typically double up, with two or three
 families in each housing unit. Both mothers and fathers work, often at alternate
 times so they do not have to pay for child care. At one district elementary school,
 80 percent of students have Mexican immigrant parents.

 Mexican families across America face challenges as they navigate differing local
 environments. In some places, such as the site in New Jersey, they have access to
 transportation and translation or interpretation services, which greatly improve
 their access to social services in the area. In other places, such as the study site in
 Ohio, Mexican families are more isolated.

 Yet in both types of settings, Mexican immigrant families describe confrontations
 with local law enforcement as being an area of great concern. Community mem-
 bers in each site are highly aware of and carefully monitor their relationships with
 police and other law enforcement agencies, as the rest of this report will show.



 Methodology

 This report draws from the author’s interviews with 91 parents and 110 children in
 northeast Ohio (between 2009 and 2011) and central New Jersey (from 2011 to
 2012). The local context is crucial, but in this report we focus on the experiences
 that were similar for families in New Jersey and Ohio. The cross-site comparison
 identifies themes that may apply to Mexican children living elsewhere.28




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 The study purposefully sampled different types of families, including those in
 which children were U.S. born, legal migrants, and undocumented, as well as
 parents in the same three categories. The author interviewed parents and children
 in a total of 80 families. Of the parents, 63 were undocumented, 18 were legal
 migrants, and 10 were U.S. born. Of the children, 31 were undocumented, 8 were
 legal migrants, and 71 were U.S. born. Sixteen families described experiences with
 detention or deportation.29

 In addition, the author did home and school visits with a smaller group of 12 fami-
 lies. This allowed for observation of the children in these families, as well as other
 children interviewed in their neighborhoods and schools. Contact with families out-
 side the interview setting contextualized the information gathered in interviews.30




 8   Center for American Progress | How Today’s Immigration Enforcement Policies Impact Children, Families, and Communities
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 Direct effects: Deportation’s
 disastrous consequences
 for families

 We first turn to the direct effects that deportations have on families. It is important
 to note that even in the vastly different local contexts of Ohio and New Jersey
 (particularly in light of the differing approaches by local law enforcement toward
 immigration), this report finds that children in both places experience similar
 consequences of enforcement policies.

 Children are most directly affected when a parent is arrested, detained, or deported.
 These forced separations mean an abrupt shift from living with two parents to living
 with just one. For some children, the experience of living with one parent may be
 short lived; parents typically try to reunite as soon as possible. Some do so by return-
 ing to Mexico, but many U.S. citizen children remain in the United States, where
 their families attempt to reunite by returning to America.31 For others, there may be
 more longstanding effects even after the family has been reunited, as financial and
 emotional hardships rarely vanish even after the immediate trauma of such an event.
 Finally, for some children, a parent’s deportation leads to a permanent change in
 their family structure and, in extreme cases, family dissolution.32

 It is important to note that deportation is a gendered process. While the
 Department of Homeland Security does not release the gender composition
 of deportees, research suggests that, in most cases, men are the ones who are
 arrested, detained, and deported.33 A recent report on Secure Communities by the
 Warren Institute of the University of California, Berkeley, found that 93 percent of
 detainees under the program were male, even though only 57 percent of the unau-
 thorized population is such.34 Researchers Brotherton and Barrios interviewed
 Dominican deportees and found that 84 percent were male,35 while Hondagneu-
 Sotelo and Golash-Boza report that studies in Mexico estimate that 89 percent of
 those who are repatriated are male.36

 Thus these incidents do not just result in single parenthood but single mother-
 hood. Nationwide, children in single-parent households are 4.2 times more likely
 to live in poverty than are children with married parents. The poverty rate for




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 single-mother families is 40.7 percent, compared to just 24.2 percent for single-
 father families.37 Enforcement policies leave women—more so than men—in
 extremely vulnerable situations.

 Here we examine both the immediate effects of deportations on families, as well
 as their long-term consequences.



 Families torn apart

 Most of the mothers the author met successfully kept their families together after
 a deportation or detention, but one-quarter were unable to. For these families, a           One of the biggest
 deportation marks a permanent change in the composition of the household.38
 Children may be placed in foster care, the mother may become a single mother, or            fears that families
 the family may try to return to Mexico.
                                                                                             expressed in
 Children placed in foster care                                                              interviews is that
 One of the biggest fears that families expressed in interviews is that parents may          parents may lose
 lose custody of their U.S.-born citizen children as a result of a detention or depor-
 tation. The author asked a 12-year-old girl, “What scares you?” She replied:                custody of their
      I don’t know … maybe they’re gonna report you. You know on the news they say           U.S.-born citizen
      they report them. And then the kids stay here, but they get adopted.39
                                                                                             children as a result
 Later in the interview she went on to explain:
                                                                                             of a detention or
      Yea, ‘cause I’m scared, ‘cause maybe one day, they take her [Mom], and maybe
      we’re at the mall, or we’re walking around. Just leave us all by yourself, like what   deportation.
      happened when this girl … just because she went to the store to buy diapers …
      and her daughter that was 10 or 11, they said that they took her.40

 This concern is not simply hypothetical. A recent report by the Applied Research
 Council estimates that at least 5,100 children are currently in the U.S. foster care
 system and cannot be reunited with their parents due to a parents’ detention or
 deportation—and 15,000 more could face similar circumstances in the next five
 years. On average it costs state and federal governments just under $26,000 per




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 year to foster a child (between maintenance and administrative costs), so this glut
 of entries into the foster system does not come cheaply.41

 The Applied Research Council report details three pathways by which children of
 deportees end up in foster care.

 1. Some parents are deported after they have been involved with Child Protective
    Services and are then reported to Immigration and Customs Enforcement, the
    agency involved in investigating immigration cases. It is important to note that
    being involved with Child Protective Services does not expressly mean that
    children suffered abuse in the households: Seventy-two percent of child welfare
    issues involving Child Protective Services come from neglect rather than actual
    abuse, and, as the Applied Research Council report illustrates, oftentimes the
    neglect can be synonymous with poverty, as it becomes difficult to adequately
    feed or clothe the child.42

 2. Other times, the initial report of abuse or neglect leads to the discovery of the
    undocumented status. Such was the case of a California father who was deported
    after leaving his children with a babysitter, who then left them unattended. Police
    responded to call and arrested him. He was subsequently deported.43

 3. But, most troubling, many parents have never had a reason to be involved with
    Child Protective Services but still lose their children because of an immigra-
    tion violation. In these cases many Child Protective Services view the tenuous
    nature of unauthorized status as a reason to place the children with a foster
    family. This happened to a mother in Tucson, Arizona, who was arrested for
    driving without a license. If she had been a U.S. citizen, she would have been
    released the same day and returned to her children. But when she was detained
    and held for Immigration and Customs Enforcement officials, her children were
    left unattended overnight, which was viewed by the state as being neglected,
    and they ended up in the foster care system. The source of the “neglect” was the
    mother’s arrest and prolonged detention by police, who kept her in custody for
    Immigration and Customs Enforcement.44

 It is the final scenario that parents and children fear the most: Parents will lose
 custody of their children—not for being bad parents but due solely to their
 undocumented status.




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Moises: Children fear being separated from their parents

One fifth grader, Moises—born in Mexico but came to New Jersey                  “Do you ever talk to your parents about it? What do they tell you
when he was 1 year old and does not remember living anywhere                    when you tell them you’re scared?” the author continued.
else—eloquently explained the fears that both parents and children
harbor about foster care. The 10-year-old lives with his parents, an            “That that’s how life is. That’s how life is when someone doesn’t have
8-year-old citizen brother, two aunts and uncles, and four cousins. His         the papers. You have to go to the country you were born in. And you
father has worked in New Jersey for more than 20 years, only bringing           never go back to America.”
his family to the United States with him after Moises was born because
he no longer wanted to be separated from his son. Moises has only               “Do you think it will be really hard if you had to go back? What would
attended schools in the United States, and, although he speaks Spanish          happen to your brother if you went back?”
so that he can communicate with his mother, he prefers English.
                                                                                He paused for a moment, sober, and then answered, “He’ll just have
“Have the police ever been here?” the author asked.                             to take care of himself. Maybe they’ll adopt him.”45

“My dad got a ticket. He needed to show his license,” he replied. “He
still had it. They didn’t say ‘Let me see the papers.’ They just said, ‘Let
me see the license.’ He was lucky!”




             Single-parent households

             Single parenthood is financially and emotionally costly for children.46 But it is
             especially costly and devastating when it is the result of a deportation, as these
             cases illustrate.

             Perla’s oldest daughter was an infant the first time her ex-husband was arrested.
             Accused of a gang-related assault, he awaited trial in prison. As a new mother
             suffering from post-partum depression, Perla struggled, so she moved in with her
             in-laws, who supported her even though she was angry with her husband and
             considered this period a trial separation.

             When the evidence against him was found insufficient, he was released. They
             reconciled. Yet the relationship was tumultuous, as he became physically and
             emotionally abusive. “Sometimes I ended up sleeping all alone on the floor of the
             room,” she explained.

             Pregnant with their second child, Perla stayed with him. Then he was arrested again.
             This time he was found guilty, served a five-year sentence, and was deported.



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 Perla resolved, at first, to wait for him, but with time she gained perspective on his
 abuse and moved on. She does not talk to her ex-husband, and he has no relation-
 ship with his two daughters.

 The deportation of Perla’s ex-husband may be viewed as a blessing in disguise
 because she was ultimately able to get out of an abusive relationship. Yet Perla
 struggled as a single mother. She worked two jobs, one at a gas station in the
 mornings and another cleaning at night. She would not be able to afford her
 one-room apartment if her younger brother had not moved in with her. She also
 depended on him for child care. Although her ex-husband’s family supported
 her during both of his incarcerations, they have all but disappeared since he was
 deported. “Only once did his brother come and take the girls out to eat.” Perla’s
 ex-husband only called from Mexico once, but he did not seem to know what to
 say and has not called back since.47

 Gladys’s story is similar. Her husband was deported after he was arrested for
 involvement in illicit business activities. Gladys described him, too, as being
 abusive, and her life turned upside down after his arrest. Before he was deported,
 she was a stay-at-home mother. They had separated once temporarily, but Gladys’s
 husband supported her financially. With his arrest, however, she was on her own.
 She began to work an afternoon shift.

 When interviewed three years later, Gladys saw her children, ages 14 and 7, only
 a few hours per day during the week.48 Her ex-husband occasionally called from
 Mexico, but 14-year-old Marjorie had little to say about her father. “I don’t really
 have much contact with him,” she said. Her 7-year-old brother said, “I just say hi
 and pass it [the phone] on to my sister.”49

 When temporarily separated from their children, due to incarceration in Perla’s
 case and a trial separation in Gladys’s case, both fathers remained in contact with
 their children. As deportees, neither did. In the absence of economic ties to their
 children, the fathers’ emotional connections faltered.

 The separation of fathers from their children is not all that uncommon. But
 research shows that when fathers voluntarily migrate, they maintain contact with
 their children via regular phone calls, gift giving, and remittances.50 Children still
 feel resentful toward their fathers for leaving, but their fathers remain a part of
 their lives, much the same as a divorced father who shares custody and visits with
 his children regularly.




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 Deportation, in contrast, severs paternal bonds with children. Scholarship shows
 that deportees face high levels of stigma upon their returns; they are viewed as failed
 migrants and oftentimes as criminals, even if the deportation had nothing to do with
 a criminal offense. Deportees have trouble finding stable work, and they cannot sup-
 port their children from their home countries. They are also demoralized.51               While many
 While many American families face single parenthood, in this case it is the actions       American families
 of the federal government that make the families so. Likewise, the precarious legal
 status of many of the parents left behind leaves a double burden on these families.       face single
                                                                                           parenthood,
 Repatriation to Mexico
                                                                                           in this case it
 Children and parents fear adoption due to a deportation, but an equally likely
 scenario—at least according to the families interviewed for this report—is that           is the actions
 the entire family returns to Mexico. This is what self-deportation advocates want.
 By making life extremely difficult for unauthorized migrants here, some hope they         of the federal
 will return home, taking their U.S.-born children with them.
                                                                                           government that
 For these folks a return to Mexico is a success story. But Sofia’s experiences show
 why a return to Mexico is not a story of triumph but rather one of defeat—one             make the families
 in which U.S.-born children’s lives are negatively affected, and their educational
 opportunities are curtailed.                                                              so. Likewise, the
 The author first met Sofia after Immigration and Customs Enforcement released             precarious legal
 her from a detention center. At the time, Sofia was struggling to support her four
 U.S.-born citizen children after her husband had been deported.                           status of many of
 Sofia’s problems started when local police detained her and her husband one night         the parents left
 when they went to Wal-Mart for diapers. They had left the couple’s four children
 with Sofia’s brother, who lived with them. The arresting officer said Sofia’s husband     behind leaves a
 had not stopped at a stop sign in the parking lot. The couple was taken to the local
 jail for two days before being sent to an immigration facility. They got word home        double burden on
 about what happened, but Sofia was not able to talk to her children for the four
 days she was detained. A friend went for the children and sent a lawyer to get Sofia      these families.
 released. Sofia’s husband was deported directly to Mexico.52 Sofia was released
 with an ankle monitor strapped to her leg to keep track of her whereabouts until
 her next court date, when her deportation would be ordered.




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 Sofia’s children knew little about life in Mexico other than the accounts from
 their mother. When the author asked her 8-year-old daughter if she had an idea
 of what life was like in Mexico, she answered simply, in a hushed voice, “Nope.”
 The 6-year-old was even harder to interview; she had a speech impediment and
 had been born with a birth defect. Still, due to early intervention and extra help at
 school, by age 6 she was able to talk—just not at length with a stranger. She smiled
 and nodded “yes” or “no” instead in response to the questions.

 The oldest, age 12, verbalized more of what she knew of Mexico, which was sec-
 ondhand accounts from the stories her mother told.

      It’s poor there … my mom tells me about how she lived and that when her shoes
      ripped, they had to buy it, but maybe like a year.53

 Sofia wanted to stay in the United States, saying that, “I don’t want to go, that is
 what I am going to say [to immigration judge], that I don’t want to go. Here I have
 the means to give things to my children, and there [in Mexico], no, there I don’t
 have anything, not a house, nothing.”54

 She could have tried to fight the deportation, and with a good lawyer she might
 have been eligible for a waiver of deportation based on her daughter’s disability.
 But she was still afraid that she would be deported, and that her children would be
 stuck without her in the United States. She said:

      I am not leaving without my children because I don’t want to leave them here.
      Because I have seen on the news how they take them away, and I don’t want that. I
      don’t know, I mean, you see I don’t have enough money right now. But I feed them
      from the food I have, they have enough to eat. I am not going to leave them.55

 Ultimately Sofia decided to return with her children to her parents’ rural home in
 Chiapas, Mexico, a home she left because there was no work. Her husband remained
 in a neighboring town in the home of his own parents. It took her months, however,
 to orchestrate a return. “What I want to do is to get their passports and then send
 them first … that is my decision,” she explained.56 But she did not have enough
 money for the passports and flights, and she had to scramble and borrow funds over
 the next four months before she finally left with her children. All four did not speak
 Spanish well, having been educated in U.S. schools for all of their lives.

 A return to Mexico can be very disruptive for U.S.-born children, who have been
 raised in the United States. The Pew Hispanic Center estimates that 300,000



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 U.S.-born children have moved from the United States to Mexico since 2005.57
 Research shows U.S.-citizen children who return to Mexico with their deported
 parents feel like exiles. One teenage girl reported to researcher Deborah Boehm,
 for example, that, “At home, I was on the phone all the time or texting. Now we
 don’t even have phone reception. I hate school. I even got in a fight with another
 student. I’m glad I can be with my mother, but I wish I were back in the U.S.”58
                                                                                            Not only is the
 U.S.-born children who move to Mexico with their parents are also deprived of
 the benefits of U.S. citizenship such as access to health care and insurance.59 Sofia’s    return disruptive,
 6-year-old daughter, for example, will no longer receive speech therapy in her
 school, and she will have to learn to read and write in Spanish, something that will       but it robs the
 be difficult for her in a rural school with few educational resources.
                                                                                            United States of
 U.S.-citizen children who have previously attended schools in the United States
 suffer when they return to school in Mexico; the transitions between school systems        these children’s
 are not easy, and they are especially difficult in rural areas.60 Children who return to
 Mexico find adjusting to the educational system to be a challenge, both in terms of        future potential
 language and access issues and in discrimination against the children of returnees.61
 Not only is the return disruptive, but it robs the United States of these children’s       and productivity,
 future potential and productivity, losing out on the talent of native-born citizens.
                                                                                            losing out on the
 Perhaps most disturbing is the permanent loss of U.S.-citizen children’s aspirations
 when they return to Mexico. Sofia’s 12-year-old daughter, a U.S. citizen, dreamed          talent of native-
 of being a lawyer. “When she grows up, she says she is going to study, and that she
 wants to be a lawyer, that she can help Hispanics,” explained Sofia. “Since I talk         born citizens.
 with her about how we used to live over there [Mexico], she doesn’t want to go.
 I tell her that I don’t want her to go through the same things that I went through
 when I was a little girl because I grew up in the countryside.”62

 Sofia, similar to most parents, wanted to provide a better future for her children
 than the one she had—that’s why she came to the United States in the first place.
 The return to Mexico represents the defeat of that dream. Yet the return also repre-
 sents the end of her daughter’s dreams for the future.




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 Long-term consequences


 The economic fallout

 The economic fallout of a deportation is perhaps the most significant of the long-
 term consequences of immigration enforcement. Being thrust from a family in
 which a father is the primary breadwinner to one in which a mother is the sole
 provider has a large impact on children’s daily lives. Unlike when a husband is
 laid off or hurt at work, sudden single mothers cannot rely on unemployment or
 worker’s compensation. And because many are undocumented, they cannot apply
 for welfare or food stamps for themselves and their families.

 But while their U.S.-citizen children are eligible for social service benefits, research
 shows that undocumented parents underuse the social services available to their
 children due to their fears of disclosing their legal status in the application pro-
 cess—for example taking up preschool education or community health services.
 Other parents wrongly believe using social services at a young age would hinder
 their children’s ability to get future benefits such as student loans.63

 As Harvard Professor Hirokazu Yoshikawa has illustrated, this avoidance of
 social services results in far lower enrollment rates in programs such as child
 care or food stamps that can help their children’s early cognitive development, a
 process that greatly influences children’s abilities and achievements throughout
 the rest of their lives.64

 Prior to a detention or deportation, families constitute a class of low-wage work-
 ers. With a detention or deportation, families slip easily into poverty. For families
 experiencing a detention or deportation, household income drops drastically from
 one day to the next, which is a shock for families already getting by on low wages.
 Of the 16 cases of deportation in this study, every single one described financial
 hardship as a direct consequence of their partner’s detention or deportation.
 Mothers scrambled to find enough work and arrange for child care. “However it
 turns out, one suffers so, so much,” explained one mother whose husband had
 been deported twice.65

 Even mothers who continue to live with their spouses described the financial
 impacts from these enforcement acts. Clara lives with her husband in northeast
 Ohio. Two years ago he was detained, but he refused to sign the voluntary removal




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 form and was never actually deported. After a nine-day stint in detention, Clara
 managed to find a lawyer to have him released. Clara had to come up with $5,000
 for bail and then another $5,000 in legal fees over the next few years. Clara bor-
 rowed money to pay off the debts they had accrued. During an interview with the
 author two years later, she said, “Right now, we are in the red. … sometimes we
 don’t have enough even for food.”66

 A related impact is housing insecurity. One mother, for example, relocated eight
 times with her two children in the three years after her husband’s deportation.67
 Another had to move in with her sister: After her husband was deported, she
 could no longer afford their two-bedroom condo on her salary as a restaurant
 hostess alone.68 A third woman could not pay the rent after her husband was incar-
 cerated for a speeding ticket; she was only able to stay in the house where she lived
 with her two U.S. citizen children because the landlord, also her husband’s former
 boss, allowed her to skip paying the rent.69

 Sofia was detained with her husband, who was deported; she was eventually
 released, with the help of a lawyer, to her U.S. citizen children. When she returned
 home with the ankle monitor locked around her leg, her cousins—who shared her
 home with her—moved out because they did not want to risk Immigration and
 Customs Enforcement finding them there. She fell behind on the rent, unable to
 afford the four-bedroom home on her own.70

 It is also costly for mothers to orchestrate the reunification of their families. One
 struggled for months to save enough money for each of her four children’s pass-
 ports in order to be able to take them back with her to her husband, who was pre-
 viously deported, in Mexico.71 Another wanted to stay in the United States with
 her three U.S.-born children, but the hours at her factory job had been cut back,
 and she was not able to make ends meet. She decided that the best recourse was to
 return to Mexico. Still, she did not have enough money saved. She explained:

      It’s just that right now I cannot leave because they don’t have their passports and
      then … the baby … he doesn’t have his social security number yet. You see, I have to
      get the social security card in order to apply for his passport. You see the problem?72

 Although the financial consequences are the most striking, as these cases illus-
 trate, mothers also face a tremendous amount of stress figuring out how to reunify
 and support their families financially during a husband’s absence.




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 Emotional stress

 The stress of a separation is felt by all members of a family. Mothers take on the
 burdens of family subsistence. They also may withdraw, traumatized by the intrusion
 of the government into their families. Vanessa, for example, said, “I don’t feel safe
 talking to the police … sometimes I want to dye my hair blond and have blue eyes.”73

 But the emotional stress for children, who are often less verbal, is especially
 disturbing. A report by the Urban Institute found numerous changes in behavior                 The stress of a
 among children whose parents were detained or deported, as reported by their
 families, including increased frequency of crying, loss of appetite, sleeplessness,            separation is felt by
 clingy behavior, and an increase in fear and anxiety.
                                                                                                all members of a
 A large literature on child development shows the detrimental effects that such anxi-
 eties and the overall social environment can have on early childhood development,              family. Mothers take
 and with it these children’s future successes, including things such as school achieve-
 ments and earnings as adults. Ensuring the successful development of all citizen               on the burdens of
 children, regardless of their parents’ immigration status, should be paramount.74
                                                                                                family subsistence.
 Parents repeatedly reported how distressed their children were during the periods
 of their husbands’ detentions or deportations. Although many described their                   But the emotional
 children as too young to really understand what had happened, young children
 interviewed expressed awareness of the circumstances surrounding a deportation.                stress for children,
 Women also described the trauma their partners experienced after a deportation or              who are often less
 detainment. Vanessa explained how hard it was for her husband back in Mexico:
                                                                                                verbal, is especially
      You see, in your country, when you go back, everyone adores you. But he arrived
      [back to his hometown] and everything was bad, and he was ashamed. He                     disturbing.
      almost never went out of the house. He felt awful. He didn’t have money.75

 Maria’s Honduran husband also felt defeated after he was deported to Mexico. The
 day of his arrival, he was robbed and had his Mexican ID stolen. She said:

      They were going to deport him all the way to Honduras, and I said to him, “Here;
      I have some copies of the IDs,” and I said, “I will send you the papers.” And he
      said, “What for?” I told him, “I sent a copy to my father so that he can go and get
      you wherever you are, or give me a fax number, something where I can send some
      proof, the children’s birth certificates that prove you are their father or our wedding
      certificate. That way they can let you go.” He said, “No, don’t do anything.”76



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 Daily routines

 Aside from the long-term financial and emotional consequences, a detention or
 deportation directly affects families’ lives on a more minute level by drastically
 altering their daily routines. Again, many of the issues that newly single immigrant
 parents face are similar to those faced by other single parents, but the trauma of
 having a loved one deported, coupled with their own precarious legal statuses,
 makes their situation doubly disadvantaged.

 For one, suddenly single mothers described crises with child care. To illustrate:
 One mother entered the workforce for the first time in 12 years after her husband
 was imprisoned and then deported. Her daughter Marjorie, 11 years old at the
 time, became the primary child care provider for her 4-year-old brother in the
 after-school hours. Now 14 years old, the teenager explained, “My mom started
 working when I was in fifth grade. So I’ve been pretty much taking care of my
 brother since like fifth grade … it was a lot harder for me because I never really
 experienced my mom going to work.”

 At the end of the interview, when asked how she thought that immigration
 affected young people, Marjorie added:

      I guess it’s hard for us because my mom can’t really get an official professional
      job. So I guess, not trying to sound negative, but we’re probably gonna have
      money problems most of the time. Maybe until I can work or something … I
      don’t know. I’ve noticed that many Hispanic kids, they grow up faster than white
      kids … because most Hispanic kids and their parents, well, both their parents
      are working. So we usually have to grow up faster than usual kids do.77




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 Wider ramifications: Deportation’s
 destabilizing effects on children
 and communities

 Enforcement actions have a devastating impact on families, tearing parents and
 children apart and leaving a slew of economic and psychological trauma in their
 wake. They also potentially deny U.S.-citizen children the rights other children
 born in America enjoy—to live in stable families with their parents.

 Yet this is not the full story. Focusing solely on these acts of deportation obscures
 the insidious effects deportation policies have had on a much larger segment of
 the population. Interviews with children and families show that it is crucial to
 look past the experiences of families in which parents have been either detained
 or deported. Even children in families who never have had a family member in
 Immigration and Customs Enforcement custody talk about the possibility of
 being separated from their parents, equate immigration with illegality, and associ-
 ate a stigma with immigrant status.

 The threat of deportation has significant consequences on children, their families,
 and entire communities, introducing instability and insecurity into the lives of
 thousands of children growing up in the United States.78



 Fears of separation

 Research shows that the threat of deportation affects entire communities, with
 members avoiding public spaces and feeling afraid to interact with the police.79
 Communitywide fears seep into the consciousness of children, many of whom are
 U.S. citizens, despite parents’ best efforts to shield their children from these types
 of distresses that are ultimately out of their control.

 These fears were perhaps best illustrated in May 2010, in the wake of the passage
 of Arizona’s anti-immigrant law, S.B. 1070. Speaking at an elementary school
 in Silver Spring, Maryland, a second grader expressed her own concern for her




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 parents, telling First Lady Michelle Obama that, “My mom … she says that Barack
 Obama is taking everybody away that doesn’t have papers. … my mom doesn’t
 have any papers.”80

 Even places such as public schools, which are supposed to be safe spaces and for
 which there is a constitutional right to education without regard for immigra-
 tion status, are under attack. Anti-immigrant laws such as Alabama’s H.B. 56,
 which mandates that school officials report on the immigration status of their
 students and their students’ parents, are a concerted effort by restrictionists to go
 after unauthorized immigrant children. Not surprisingly, then, the day after H.B.
 56 went into effect, 2,285 Latino students were absent from Alabama schools.
 Although the school-reporting provision of H.B. 56 is on hold pending legal chal-
 lenges, it marks a new frontier for restrictionist action.81



 Parents try to shield children from the threats of deportation

 Parents view as one of their primary roles to protect their children. The major-
 ity of the 91 parents interviewed felt compelled to shield their children from the
 threat of deportation. As a result, many avoided talking to their children about
 legal status. Some felt their children were too young to understand the nuances of
 immigration policy. One mother insisted that her two U.S.-born children do not
 know that she is undocumented:

      No, no, they don’t know … but they do ask about it. My son asks me why I don’t
      have a license. And I tell him that I don’t have a social security number but, no
      … I think about them, and I don’t want to tell them because it’s a lot, it’s long to
      explain, it’s too complicated.82

 Parents believed it was important to protect their children from adult worries. A
 mother of an 8-year-old explained, “No ... I have never talked to her about it. ... I have
 not put any of these ideas in my daughter’s head. I have never told her because her
 mind is, right now, with her childhood, with playing … with her life as a girl.”83

 But despite parents’ efforts to protect children from any fears related to legal
 status, interviews with children show that they are highly cognizant of the impli-
 cations legal status has for their everyday lives. Children, regardless of their own
 legal status, fear the authorities and being separated from their parents.




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 Undocumented children fear law enforcement

 Undocumented children especially fear the police. The understanding that they
 need to be careful around the police appears to kick in early, even though parents
 prefer to shield their children from anxieties about immigration.

 One 9-year-old recounted the story of crossing the border with his 7-year-old
 brother two years earlier, when they were 5 years old and 7 years old. “When we
 came here, the first time the police found us, the second time they sent us back to
 Mexico, the third they let us go, and the fourth time they let us go too.”84 Neither
 brother distinguished between the police and immigration officials in the retelling.

 In Ohio, they continued to view police as synonymous with trouble, as their
 mother explained:

      They know [about their legal status], and sometimes when I see a patrol car, I
      say “Police in sight,” and they know that they have to sit up straight … then they
      see that it has gone by, and the danger is gone, then they relax.85

 Another mother explained that her 11-year-old daughter, who was 9 years old when
 she came to the United States from Mexico, “has a great fear of the police. She was
 afraid that they would send her back to Mexico.” She went on to say that at school:

      Her biggest worry is this [her legal status]. She used to evade people so they
      would not ask her questions because she was afraid that they would ask her for a
      social security number … she started biting her nails out of worry.86

 How do young undocumented children learn to be afraid of the police? In a
 hostile environment, parents may try to protect their children by not talking about
 legal status. But they also need to communicate something about the threat of
 deportation to keep their children safe.




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Maria and Brandon: Young children fear law enforcement

Maria had met and married her Honduran husband in her hometown           “My dad and my uncle … they got them,” he answered.
of Tamaulipas, Mexico. Unable to make a living there, the couple
decided to come north in 2005, as members of Maria’s family had          “Who got them?”
already done. In Ohio both found work in factories; once their son,
Brandon, was born, they alternated shifts—Maria at night and her         “The police.” Brandon went on to explain, “Well, they were going to
husband in the morning—so that they would not have to leave their        work, and they went down a street they didn’t know. And there was a
son alone. They could not afford child care. The day before the inter-   police there. My uncle was driving, but they took them.”
view, Brandon had just turned 5 years old.
                                                                         The incident occurred six months earlier, when Brandon was only 4
The author asked Brandon, who said his mother was Mexican and his        years old. But he was not too young to understand the consequences.
father Honduran, if anyone in his family had been back to Honduras.      The incident clearly stuck out in his mind. Maria then explained how
                                                                         Brandon continued to be fearful of the police.87




            One undocumented 10-year-old, for example, said he does not talk to his parents
            about his legal status, but then admitted that he is often worried about being
            sent back to Mexico. When the author asked him what his parents say to this, he
            answered, “They just say if we see a cop, don’t tell them we were born in Mexico,
            or they will take us away.”88

            The relative silence between parents and children about illegality increases chil-
            dren’s stress about the potential impact that legal status has on their lives.

            In addition, studies show that the threat of deportation makes families and com-
            munity members less trusting of police and other government officials, while
            researchers at the University of California, San Diego, found that immigrants in
            hyperactive enforcement jurisdictions such as North County, San Diego, were
            reluctant to contact the police to report crimes. When immigrants do not trust the
            police, they are less likely to reports crimes or to cooperate, and it limits the ability
            of law enforcement to do their jobs keeping our communities safe.89




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 U.S.-citizen children also fear being separated

 It is not only undocumented children who fear for their families. U.S.-citizen chil-
 dren worry that their families will be ripped apart starting at very young ages.

 The author asked a 6-year-old if she ever feels scared that her parents are immi-
 grants. She said yes, “because if I am here, and my mom goes to Mexico, I am
 going to be sad because I would miss her.”90 A 10-year-old U.S. citizen whose
 mother has severe kidney disease and receives dialysis biweekly thinks her family         It is not only
 is going to have to go back to Mexico someday, “[be]cause the policiales [sic.] are
 looking for people that don’t have papers to be here.”91 A 12-year-old boy is scared      undocumented
 his parents are immigrants because “we might be apart.”92
                                                                                           children who fear
 Some of these children had a friend or extended family member detained by
 immigration officials. One mother, for example, said that after a close friend of the     for their families.
 family was deported, she and her husband, both undocumented, got their three
 children—two U.S.-born citizens and one undocumented—passports. She was                   U.S.-citizen children
 explicit in explaining to them that if something similar happened to them, they
 would all go back to Mexico together.93                                                   worry that their
 Most of the children the author interviewed, however, did not have such explicit          families will be
 plans of action with their parents. None of the children interviewed, for example,
 carried around information with their vitals or contact phone numbers in the              ripped apart
 event their parents were detained, as has been occasionally reported in the news.
                                                                                           starting at very
 It is, in fact, the aura of ambiguity and insecurity that is especially scary for chil-
 dren. U.S.-born citizens and undocumented children alike experience the threat of         young ages.
 deportation but feel powerless to do anything about it.



 The media’s influence

 One contributing factor to children’s feelings of powerless is the news media. Children
 may not know anyone in their families or communities who has been detained or
 deported, but they hear about this potential outcome. Often this is because they have
 seen news coverage about the increase in enforcement tactics nationwide.

 While research has shown that Spanish-language media tends to adopt a more
 positive perspective on immigration stories than English-language media, it has




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 also shown that the Spanish-language news focuses far more on immigration than
 English-language outlets, leading to far more exposure about the prevalence of
 deportations across the nation.94

 A 10-year-old, when asked if she had ever seen someone have their parents taken
 away, told the author, “Yes, I’ve seen it on TV.”95 A 12-year-old girl said she is
 scared that the members of her family are immigrants “because when that hap-
 pened on the news that a lot of people were getting catched, like, um, came on
 the door random and just took them. Yeah, I got really scared that time.”96 When
 a 9-year-old was asked about what she thinks it is like to be an immigrant, she
 answered “sad.” When the author asked why, she responded:

      I saw a video of people, and they are immigrants, and one time they were going
      back to Mexico, and the policeman caught them, and they took them. And they
      had a daughter, and they left the daughter in the car.97

 U.S.-born children who have never had any interaction with Immigration and
 Customs Enforcement or with the police hear rumors about deportations on the
 news and feel afraid that this might affect their own families.



 Misunderstandings about immigration

 Children are not only afraid of family separation, but they also are confused
 about it. As is evident above, their accounts conflate immigration officials with
 police and vice versa. With more and more police districts collaborating with the
 Department of Homeland Security today, children are probably right. But the
 children interviewed did not live in districts with formal agreements between
 local law enforcement and the Department of Homeland Security, attesting to the
 trickle-down effects of policies on local communities nationwide.

 Moreover, their misunderstandings go a step further: They not only conflate the
 police with the immigration, but they also begin to view immigration as equiva-
 lent to illegal.




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            Equating immigration with illegality

            Children in both Ohio and New Jersey equated immigration with illegality. The
            author asked children what they thought it was like to be an immigrant. A 12-year-
            old U.S.-citizen boy said, “They must be scared when they, if they catch them, then
            they have to go back to their country.”99 Another, age 12, said “Scary, because you
            never know if they’ll want your passport. They catch you out of nowhere. They come
            and put you in a truck and send you back to Mexico.”100 A 10-year-old said that while
            most in his family are immigrants, he thinks it would be “weird” to be an immigrant.
            “What’s weird about it?” the author asked him. “I think that, like, the people that are
            not from here, they are not supposed to be here” he answered.101

            Interestingly, children responded this way even after given a definition for an
            immigrant as simply being someone who is born in one country and then moves
            to another country to live.




Andrea: Children equate immigrant with undocumented

Ten-year-old Andrea was born in the United States in 2001. Her            Her eyes started to water when she then said her parents are immi-
mother, Leticia, left the university in Mexico, where she was studying    grants. The author asked if she is proud that her parents are immi-
law, to join her boyfriend in New Jersey. Leticia got pregnant as soon    grants. She said “no.”
as she arrived in New Jersey and had Andrea at the age of 21.
                                                                          “Do you ever feel scared that they are immigrants?”
The relationship with Andrea’s father did not last; he became abusive
and, with the help of her in-laws, Leticia decided to raise Andrea on     “Yeah,” she said, her chin quivering. “What scares you?” the author
her own. She worked two jobs, one in the morning and one after she        continued.
picked up Andrea from school in the afternoon. Andrea spent most
evenings with her cousins at her paternal aunt and uncle’s house.         “When the police-ICE come, they will take them.”

Andrea’s father had returned to Mexico; she never saw him. She spoke      Andrea confused being an immigrant with being undocumented.
both Spanish and English but had never herself been to Mexico. She        “What do you think it is like to be an immigrant?”
knew a lot about Mexico, however, as her paternal grandmother
visited her grandchildren every year on a tourist visa.                   “I think it is hard because you have to try not to be caught by police-
                                                                          ICE, and you would like to stay in this country to have jobs and
The author asked Andrea if she knew what an immigrant is.                 children to be legal in this country.”98

“Yeah, it is when someone is illegal in this country, and police-ICE
come to look for them to send them back to their country.”




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 Even if young children do not fully understand immigration, they are aware at very
 young ages that there are social differences based on legal status even if this is diffi-
 cult for them to articulate. Children, of all ages, have begun to associate immigration
 with illegality, regardless of their own family members’ legal status and experiences
 with immigration. The conflation is potentially devastating for children’s sense of
 self, as they grow up as children of immigrants in the United States.
                                                                                             Under the current
 The stigma of immigration                                                                   enforcement
 For young children, “immigrant” has almost become a dirty word, something they              regime, children
 are ashamed of. Children, especially at young ages, frequently associated negative
 perceptions with immigration in interviews. In fact, only 25 of the 110 children            are learning
 interviewed across the sites said they were proud of their immigrant heritage. This
 compares to 77 children who said they were proud of their Mexican heritage.                 to associate a
 Under the current enforcement regime, children are learning to associate a stigma           stigma with their
 with their immigrant heritage, hindering their social integration as they grow up in
 the United States.                                                                          immigrant heritage,
                                                                                             hindering their
 Ashamed
                                                                                             social integration
 Young children believe that immigration has a negative connotation. In fact,
 many children preferred that others not know that either they or their parents are          as they grow up in
 immigrants.
                                                                                             the United States.
 One 8-year-old girl said she needed to be careful about who she told. “Would you
 want your friends to know your mom is an immigrant?” the author asked. “Not
 every, every single friend, but some of them,” she replied. “How come?” “They are
 mean because I was born in a different place from my mom.”103

 Older children agree. Twelve-year-old Osvelia—a U.S. citizen—wavered when
 asked if she wanted people to know about her parents’ undocumented status. “I
 really don’t—I want some people to know.” “So which people would you feel okay
 knowing?” the author asked. “My friends that I feel like keep secrets well.”104 A
 10-year-old boy said that only one person in his class knows that he is an immi-
 grant. “What was his reaction?” I asked.




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                 “I told him, ‘Don’t tell anybody. It’s a secret. Not the teacher, not the principal.
                 Or else I won’t be your friend anymore.’”

                 “What did he say?”

                 “‘I promise, I won’t tell anybody about it.’”105

            Remarkably, even a 10-year-old boy whose mother is a U.S.-born citizen expressed
            reservations about others learning that some members of his family are immigrants.
            “If somebody finds out about that,” he explained, “they might make fun of me.”106

            Children learn, in school, that this is a nation of immigrants. But under the threat
            of deportation, “immigration” and “undocumented” become synonymous, and
            children associate a stigma with immigration—turning it into a mark of shame
            rather than one of pride.




Elizabeth and Kevin: Children internalize a stigma of immigrant status

Elizabeth’s husband came to the United States first, to live with Eliza-    Mexico but did not know anyone in his family who is an immigrant.
beth’s sister, when his job as a taxi driver was not enough to support      This was after the author gave him a definition of an immigrant as
Elizabeth and the couple’s two young sons. Within months he felt            someone who is born in one country and then moves to another
defeated, ready to return to Mexico, depressed without his family and       country to live. But when later asked point blank, “Are you an immi-
without any more money to support them.                                     grant?” he admitted, “Yes.”

At this point Elizabeth decided to join him in Ohio, where she could        “Would you want your friends to know that you are an immigrant?”
work alongside him and help him save money. She left her boys, tod-         the author asked.
dlers at the time, with her mother in Mexico. But the child care strat-
egy did not last: Elizabeth’s mother called, and said she could not look    “No,” he answered.
after the two boys, so Elizabeth and her husband sent for the boys.
                                                                            “Why?”
Kevin, age 7, had lived in the United States for four years when the
author first met him. He had only attended school in the United             “Because I would be ashamed.”102
States. In an interview with the author, Kevin said he was born in




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 Conclusion and policy
 recommendations

 Deportation policies are bad for children and their families. They may perma-
 nently restructure families, and they have severe repercussions for families’ daily
 routines. Deportations also have financial and emotional consequences for all
 family members. They especially shape the experiences of women who become
 sudden single mothers when a father is deported. Specifically, they alter children’s
 relationships with their fathers.107

 Deportation policies are also especially harmful for children in the communities
 in which they live. Most children interviewed had never had a direct interac-
 tion with the Department of Homeland Security. But they described the fears of
 potential separation from their parents. They also expressed many misunderstand-
 ings about the roles of the police, Immigration and Customs Enforcement, and
 immigration in general. Finally, children express a stigma attached to immigration,
 as they conflate “immigration” with “illegality.” They dissociate from their immi-
 gration heritage.108

 Certainly the deportation of people who have committed certain serious crimes
 and are threats to our national security will inevitably break up families. But there
 are ways to recognize the importance of family unification and to mitigate the
 devastating effects of deportation, especially for those who have committed no
 crimes, save for the civil penalty of being in the country without status.

 To better support children and families, we make the following policy
 recommendations:

 • Enact commonsense and comprehensive policy change. In the long term, only
   comprehensive immigration reform with a pathway to earned legalization for
   unauthorized immigrants can grant long-term security to parents in mixed-status
   families. Children need not be afraid that their family will be broken up due to
   irregular statuses. They must not learn to be ashamed of their immigrant heritage.




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 • Modest legislative fixes can help, as well. On July 16, Rep. Lucille Roybal-
   Allard (D-CA) introduced the Help Separated Families Act, H.R. 6128, to
   ensure that children are not taken away from their relatives simply because of
   their parents’ immigration status. In July 2011 Sen. Al Franken (D-MN) and
   Rep. Lynn Woolsey (D-CA) introduced the Humane Enforcement and Legal
   Protections for Separated Children Act, which would mandate standards for
   immigration enforcement when children are involved. The bill would ensure
   that parents are kept informed and are able to continue to make decisions about
   the care of their children, and that the interests of the children are taken into
   account in detention, release, or transfers. Passing these bills would go a long
   way toward preventing children from ending up in foster care while their family
   members are detained or deported.109

 • Expand executive action. In the short term, administrative action can greatly
   alleviate threats to immigrant families. President Obama can and should
   allow parents, especially those supporting U.S.-citizen children, to stay in the
   country if they have committed no crimes and are only guilty of being in the
   country without status.




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 child care affect children. Her current work explores how legal status affects
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 32   Center for American Progress | How Today’s Immigration Enforcement Policies Impact Children, Families, and Communities
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    deportation themselves, but, that being said, obtaining
    permanent legal status can be difficult. One such case        32 For a visual depiction of the burden of deportation
    emerged from the author’s interviews: Anita’s husband,           on children, see the deportation pyramid in Dreby,
    for example, came to work in the United States in 1992           “The Burden of Deportation on Children in Mexican
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    for Anita and their only daughter at the time. For the           Homeland: Dominican Deportees and their Stories of
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 Shattered Families
The Perilous Intersection of Immigration
Enforcement and the Child Welfare System




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I: Introduction
Shattered Families: The Perilous Intersection of
Immigration Enforcement and the Child Welfare System
Josefina’s baby was just 9-months old and Clara’s1 children were 1 and
6 when they were placed in foster homes with strangers. Clara and
Josefina, sisters in their early 30s who lived together in a small New
Mexico town, had done nothing to harm their children or to elicit the
attention of the child welfare department.
    In the late summer of 2010, a team of federal immigration agents
arrived at the front door of Clara and Josefina’s trailer home in New
Mexico. Immigration and Customs Enforcement (ICE) had received a
false tip that the sisters, who were undocumented immigrants, had
drugs in their home. Though they found nothing incriminating in the
trailer and the sisters had no criminal record, ICE called Child Protec-
tive Services (CPS) to take custody of the children and ICE detained the
sisters because of their immigration status.
    For the four months that ICE detained them, Josefina and Clara
had no idea where their children were. In December, the sisters were
deported, and their children remained in foster care. Josefina was very
quiet as she talked by phone from Mexico a year after she was deport-
ed: “I don’t know where my child is; I have no contact with my baby. I
didn’t do anything wrong to have my children taken away from me.”


“Shattered Families,” a report by the Applied
Research Center (ARC), is the first national investigation on threats
to families when immigration enforcement and the child welfare system in-
tersect. It explores the extent to which children in foster care are prevented
from uniting with their detained or deported parents and the failures of the
child welfare system to adequately work to reunify these families. ARC’s
yearlong research project found that Clara and Josefina’s children are among
thousands of children currently in foster care who are separated from their
family because of immigration enforcement.
    Immigration policies and laws are based on the assumption that
families will, and should, be united, whether or not parents are
deported.2 Similarly, child welfare policy aims to reunify families
whenever possible. In practice, however, when mothers and fathers are
detained and deported and their children are relegated to foster care, fam-
ily separation can last for extended periods. Too often, these children lose
the opportunity to ever see their parents again when a juvenile dependency
court terminates parental rights.
    In fiscal year 2011, the United States deported a record-breaking 397,000
people and detained nearly that many. According to federal data released
to ARC through a Freedom of Information Act request, a growing number
and proportion of deportees are parents. In the first six months of 2011,
the federal government removed more than 46,000 mothers and
fathers of U.S.-citizen children. These deportations shatter families and
endanger the children left behind.
    Anecdotal evidence drawn from news and advocacy reports and ARC’s
initial research over the last half decade have shown that a disturbing number
of children with detained or deported parents are now in foster care.3

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                               Systematic research on this topic is challenging, because child welfare
                            departments and the federal government fail to document cases of families
                            separated in this way. This “Shattered Families” report is the first to provide
                            evidence on the national scope and scale of the problem. As more noncitizens
                            are detained, the number of children in foster care with parents removed by
                            ICE is expected to grow. Without explicit policies and guidelines to protect
                            families, children will continue to lose their families at alarming rates.

                            Key Research Findings
                               • ARC conservatively estimates that there are at least 5,100
                                  children currently living in foster care whose parents have
                                  been either detained or deported (this projection is based on data
                                  collected from six key states and an analysis of trends in 14 additional
                                  states with similarly high numbers of foster care and foreign-born
                                  populations). This is approximately 1.25 percent of the total children in
                                  foster care. If the same rate holds true for new cases, in the next five
                                  years, at least 15,000 more children will face these threats to
                                  reunification with their detained and deported mothers and
                                  fathers. These children face formidable barriers to reunification with
                                  their families.
                               • In areas where local police aggressively participate in immigration
                                  enforcement, children of noncitizens are more likely to be separated
                                  from their parents and face barriers to reunification. For example, in
                                  counties where local police have signed 287(g) agreements with
                                  ICE, children in foster care were, on average, about 29 per-
                                 cent more likely to have a detained or deported parent than in
                                 other counties. The impact of aggressive immigration enforcement re-
                                 mains statistically significant when our research controls for the size of a
                                 county’s foreign-born population and a county’s proximity to the border.
                               • Immigrant victims of domestic violence and other forms of
                                  gender-based violence are at particular risk of losing their
                                  children. Approximately one in nine of the stories recounted
                                  to ARC in interviews and focus groups involved domestic
                                  violence. As a result of ICE’s increased use of local police and jails
                                  to enforce immigration laws, when victims of violence are arrested,
                                  ICE too often detains them and their children enter foster care. Many
                                  immigrant victims face an impossible choice: remain with an abuser or
                                  risk detention and the loss of their children.
                               • ARC has identified at least 22 states where these cases have
                                  emerged in the last two years. This is a growing national problem,
                                  not one confined to border jurisdictions or states. Across the 400
                                  counties included in our projections, more than one in four (28.8
                                  percent) of the foster care children with detained or deported parents
                                  are from non-border states.

                            Whether children enter foster care as a direct result of their parents’
                            detention or deportation, or they were already in the child welfare system,
                            immigration enforcement systems erect often-insurmountable barriers
                            to family unity.




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The ANATOMY of a CASE
How Families are Separated at the Intersections of the Child Welfare System and
Parental Detention/Deportation
IMMIGRATION                               THE FAMILY                                                         CHILD WELFARE
ENFORCEMENT                               BARRIER: Aggressive Immigration Enforcement                        AND JUVENILE
                                                Police arrive at the home of an undocumented immigrant
                                                                                                             DEPENDENCY
 Immigration and Customs                        mom of two U.S. citizens after neighbor calls 911 to
 Enforcement: ICE is the federal                                                                             When an allegation of
                                                report what sounds like domestic violence. Police arrest
 agency tasked with detaining                                                                                maltreatment is reported to
                                                both the mother and her boyfriend. Police call Child
 and removing noncitizens from                                                                               Child Protective Services
                                                Protective Services (CPS).
 the interior of the U.S. ICE also                                                                           (CPS), a caseworker
 conducts raids and investigates                                                                             investigates. If deemed to
 immigration violations.                                    CPS investigator places children in              be unsafe, child may be
                                                            temporary foster care with strangers             placed in foster care.
                                                            instead of with loving undocumented aunt.
                                                            CPS says undocumented relatives cannot take
         Local Immigration                                                                                    After children are removed
                                                            custody because they “could be deported at
         Enforcement: The                                                                                     from home, CPS petitions
                                                            any time”. Mother is charged with assault.
         increasing use of local                                                                              juvenile dependency
         police to enforce federal                                                                            court to stop child from
         immigration law turns                                                                                being returned home.
                                       At the time of booking, mother’s fingerprints are automatically
         any interaction with the      sent to Immigration and Customs Enforcement (ICE) and checked
         police into a possible        against the Secure Communities database. ICE flags her for
         route to detention and                                                                               Parent is issued a case
                                       deportation and issues “hold.”                                         plan, an outline of tasks
         deportation. “Secure
         Communities” checks                                                                                  to complete to regain
         immigration status of                                                                                custody of children. Case
         anyone booked into          BARRIER: Detention Obstructs                                             plans can include finding
         local jail and will soon                                                                             new housing or enrolling
                                     Communication Between Parent and CPS                                     in parenting classes, drug
         be operational in every
         county in the country.       Within three days, mother is sent to immigration detention              treatment, or domestic
         The federal government       center 300 miles away. Her court-appointed attorney cannot              violence prevention
         forces states to partici-    find her, and she misses dependency court hearing. Court keeps          courses.
         pate in the program          children in foster care.
         despite resistance from
         numerous governors                                                                                   Once child has been in
         and local law enforce-        Three months later, mother’s attorney locates her and informs          foster care for one year,
         ment officials.               her of next hearing, but ICE refuses to transport her. After           and in some cases less
                                       much effort, mother arranges to call the court. CPS presents           than a year, child welfare
                                       “reunification plan” that includes visiting her children, parenting    department drafts a
                                       classes and securing housing. ICE detention prevents mother            “permanency plan.”
                                       from complying with any part of child welfare case plan.               Permanency plans include
         ICE “Hold”: When ICE
                                                                                                              a goal for the placement
         identifies a noncitizen
                                                                                                              of the child, which might
         in a local jail, through
                                      Nine months pass. Children remain in foster care; the youngest          be reunification with
         Secure Communities or
                                      begins to forget Spanish. CPS writes “permanency plan” with             parents, adoption or
         another program, the
                                      two possible outcomes: 1) If mother is released, CPS will attempt       guardianship with kinship
         agency will issue an ICE
                                      to reunify the family; 2) Children will be put up for adoption with     caregivers or others. If
         “hold” to require local
                                      foster care providers after mother’s parental rights are terminated.    parent fails to complete
         authorities to keep the
                                                                                                              case plan, or child is out
         person in custody until
                                                                                                              of parent’s custody for 15
         ICE can move them to a
                                                                                                              months of any 22-month
         detention center.
                                                            BARRIER: Lack of CPS Policy on                    period, federal law
                                                            Reunification with Deported Parents               requires CPS to petition
                                                                                                              the court to terminate
                                                  After 11 months in detention, mother is deported to         parental rights.
 Detention: Detainees are held                    Mexico. CPS does not know where to find her
 for an indeterminate length of                   and does not contact Mexican consulate for help.
 time while their case is being                                                                               Permanency Outcome: If
 processed and are transferred                                                                                parent completes case plan
 an average of 370 miles from             The mother arrives at relative’s house in Mexico. She contacts      and is deemed fit to care
 their homes. In 2010, ICE                the child welfare caseworker to say she wants her children in       for child, CPS will reunify
 detained 363,000 people in a             Mexico. CPS replies that it will not consider reunification         the family. If not possible,
 network of 350 detention centers         in Mexico unless mother arranges a home study,                      CPS must first seek
                                          completes parenting classes and finds a job.                        placement with a relative.
                                                                                                              However, if CPS decides
                                                                                                              not to place child with
 Deportation: The federal               Within 8 months, mother completes the plan.                           relatives, CPS petitions
 government deported close to           Still, CPS petitions to terminate parental                            the court to terminate
 400,000 people in 2010.                rights as federal deadline approaches.                                parental rights.


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                            Key Barriers to Family Unity
                               • Federal immigration enforcement uses local police and jails
                                  to detain noncitizens. As a result of aggressive local immigration
                                  enforcement, especially the expansion of Secure Communities,
                                  any interaction with police can spur ICE involvement and lead to
                                  detention and deportation. An incident with police that would not
                                  separate children from a citizen parent can result in a long-term or
                                  permanent separation if the parent is not a U.S. citizen.
                               • ICE does not protect families at the time of apprehension. ICE
                                 and arresting police officers too often refuse to allow parents to make
                                 arrangements for their children. Existing ICE guidelines are largely out-
                                 dated and insufficient for the current immigration enforcement context
                                 in which ICE has shifted from high-profile raids to more-hidden and
                                 devolved forms of enforcement that operate through local police and
                                 jails and smaller-scale ICE enforcement actions.
                               • ICE detention obstructs participation in CPS plans for family
                                 unity. ICE consistently detains parents when they could be released
                                 on their own recognizance or expand the use of community-based
                                 supervisory programs. Once detained, ICE denies parents access to
                                 programs required to complete CPS case plans. Due to the isolation of
                                 detention centers and ICE’s refusal to transport detainees to hearings,
                                 parents can neither communicate with/visit their children nor partici-
                                 pate in juvenile court proceedings. Child welfare caseworkers and attor-
                                 neys struggle to locate and maintain contact with detained parents.
                               • Child welfare departments lack proactive policies to reunify
                                 children with deported parents. ARC’s research found that chil-
                                 dren are reunited with their deported parents only if foreign consulates
                                 are involved with the case. However, few child welfare departments
                                 systematically contact a foreign consulate when they take custody of
                                 the U.S. citizen children of a detained or deported noncitizen.
                               • Systemic bias against reunifying children with parents in other
                                 countries is pervasive in child welfare practice. CPS administra-
                                  tors, caseworkers, judges, and attorneys (including the children’s own
                                  lawyers) often believe that children are better off in the United States,
                                  even if those children are in foster care. This belief often supersedes
                                  the child welfare system’s mandate to move toward family reunification
                                  and places borders on family and parental rights.
                               • Structural barriers and systemic bias against undocumented
                                  parents and relatives threaten the reunification of families.
                                  Despite clear child welfare policy that prioritizes placing children with
                                  their own families, many child welfare departments will not place
                                  children with their undocumented non-custodial parents, aunts, uncles,
                                  grandparents or other relatives. As a result, children of detained and
                                  deported parents are likely to remain in foster care with strangers
                                  when they could be with their own family.

                            As the federal government continues to expand its immigration enforcement
                            infrastructure, detention and deportation will continue to pose barriers to
                            family unity for families involved in the child welfare system. Federal, state
                            and local governments must create explicit policies to protect
                            families from separation.



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   These polices should stop the clock on the child welfare process and the
immigration enforcement process to ensure that families can stay together           A Note on Methodology
and allow parents to make the best decisions for the care and custody of            To arrive at our national esti-
their children.                                                                     mates, ARC gathered county-level
                                                                                    survey data from child welfare
structure of the report                                                             caseworkers, attorneys and judges
                                                                                    in 19 jurisdictions in six key states:
This “Shattered Families” report will explore the treacherous intersection of       Arizona, California, Florida, North
immigration enforcement and the child welfare system. The report is divided         Carolina, New York and Texas.
into six sections. Section II, “Background on Immigration Enforcement, Child        These states account for more
Welfare and Anti-Immigrant Bias,” will provide important background of the          than half of the noncitizen popula-
immigration enforcement and child welfare/juvenile dependency                       tion in the U.S. and more than
systems. It will then present ARC’s findings on systemic anti-immigrant bias        one-third of the children in foster
in the child welfare system. Section III, “Immigration Enforcement,                 care. Jurisdictions were selected
                                                                                    to provide a mix of border and
Detention and Shattering of Families,” explores ARC’s research findings on
                                                                                    non-border regions, varied levels
the treacherous intersection of immigration enforcement and child welfare
                                                                                    of aggression in local immigration
and maps the paths that lead to children entering or remaining in foster care       detention practices, and high and
while their parents are detained or deported. Section IV, “Deportation,             low foreign-born populations.
Systemic Bias and Barriers to Reunification”, discusses ARC’s findings on
threats to family unity after a parent is deported and the failure of the child     The foster care cases with deport-
welfare system to adequately move toward reunifying these children with             ed or detained parents ranged
their parents or place them with family members in the United States.               from under 1 percent to 8 percent
This report concludes with a set of recommendations for change. An                  of the total foster care cases for
appendix that includes a full explanation of ARC’s research methods                 each of the counties surveyed.
follows the report.                                                                 Using these percentages, we then
                                                                                    utilized regression analysis to
                                                                                    calculate the typical independent
About ARC
                                                                                    impact of three variables: the bor-
The Applied Research Center (ARC) is a 30-year-old racial justice think tank        der county status, the presence of
that uses media, research and activism to promote solutions. ARC’s mission          287(g) immigration enforcement
is to popularize racial justice and prepare people to achieve it. For more          agreements, and the percent-
information on ARC’s work, please visit www.arc.org.                                age of foreign-born individuals in
                                                                                    each state. We then projected the
                                                                                    prevalence of detained/deported
                                                                                    parent cases in the remaining ma-
                                                                                    jor jurisdictions in these six states
                                                                                    and in 14 other similarly situated
                                                                                    states (Colorado, Georgia, Illinois,
                                                                                    Indiana, Maryland, Michigan, Mis-
                                                                                    souri, New Jersey, New Mexico,
                                                                                    Ohio, Oregon, Pennsylvania,
                                                                                    Virginia and Washington) using
                                                                                    the resulting coefficients from
                                                                                    the regression analysis. These
                                                                                    20 states account for almost 85
                                                                                    percent of the country’s undocu-
                                                                                    mented population and more than
                                                                                    70 percent of foster care rolls.

                                                                                    The estimates provided in this
                                                                                    report are conservative as far as
                                                                                    the actual number of children
                                                                                    affected nationally. Therefore,
                                                                                    many more children in foster care
                                                                                    may be adversely affected by
                                                                                    the detention and deportation of
                                                                                    noncitizen parents.4



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               II: Background on Immigration
               Enforcement, Child Welfare and
               Anti-Immigrant Bias
                            Before exploring how immigration enforcement
                            and child welfare intersect, it’s important to have a clear
                            understanding of how each system works (or in some cases, doesn’t work).
                            To this end, this section of the report introduces the following topics:
                            Immigration Enforcement, Child Welfare and Juvenile Dependency and
                            ARC’s findings on the systemic racial and anti-immigrant bias in the child
                            welfare system.


                            Immigration Enforcement
                            For the last decade and a half, rates of deportation have steadily risen. In
                            1992, the U.S. government removed 44,000 people, a historical number at
                            the time. In less than two decades, that number has grown ninefold. In fiscal
                            year 2011, a record-breaking 397,000 people were removed from the U.S.
                            because of their immigration status. 5 There are an estimated 22 million non-
                            citizens living in the U.S., and of those noncitizens, 11 million have some sort
                            of documentation that allows them to stay in the U.S. on a provisional basis.
                            About 11 million immigrants are undocumented, which means that either
                            they came to the U.S. without paperwork or their documentation is expired
                            and they now live in a state of immigration limbo. Though undocumented im-
                            migrants are at risk of deportation based on their immigration status alone,
                            all noncitizens, including green card holders, can be deported if they are
                            convicted of a crime. As hundreds of thousands of noncitizens are removed
                            from the U.S. each year—over one million in the last three years—their
                            children are often left behind.
                                There are approximately 5.5 million children in the U.S. who have an un-
                            documented parent, and about 4.5 million of these children are U.S. citizens.6
                                Federal immigration enforcement policy is based on the assumption that
                            families will remain together. The Bureau of Immigration Appeals has held
                            that “When an alien-parent’s child is a United States citizen and the child is
                            below the age of discretion, and if the alien-parent is deported, it is the par-
                            ent’s decision whether to take the minor child along or to leave the child in
                            this country.”7 The U.S. Supreme Court affirmed that the Immigration and
                            Naturalization Act “establishes that congressional concern was directed at ‘the
                            problem of keeping families of United States citizens and immigrants united.’”8
                            In practice, however, many families are separated by parental deportation. As
                            this “Shattered Families” report shows, when children of deported parents are
                            in foster care, families are at risk of extended and even permanent separation.




THERE ARE APPROXIMATELY                                                        ABOUT 4.5 MILLION
5.5 MILLION CHILDREN WITH                                                      OF THESE CHILDREN
AN UNDOCUMENTED PARENT                                                         ARE U.S. CITIZENS




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Deporting Parents                                 8%                           d]
By submitting a Freedom of Information Act request to Im-                     or
                                                                                 te
                                                                                           1998-2007 (fiscal years)
migration and Customs Enforcement, ARCdwas     ] able to obtain         [d
                                                                           ep



                                         r te of immigrant
previously unreleased data on the deportation
                                                                                           2,200,000 total deportations

                                    e
parents in the U.S. According to this ponew data, in the six       8% were parents of U.S.-citizen children.
months between January and       [d June 2011, Immigration
and Customs Enforcement removed 46,486 parents                                                      2011 (fiscal year)
of U.S.-citizen children from the United States. This                                           d ]
                                                                                            rte
                                                                                                    397,000 total deportations
signifies a marked increase in the deportation rate of parents                            o
                                                                                       ep
of U.S. citizens. The last time the federal government released                     [d
equivalent data, the Department of Homeland Security, Office
of the Inspector General reported that it carried out more
than 180,000 removals of noncitizen parents of U.S.-citizen        22% were parents of U.S.-citizen children.
children between 1998 and 2007.9 The new figures obtained by
ARC suggest that if parent deportation continues at the cur-
rent rate, ICE will deport more parents in just two years as it
did in the previously reported ten year period. (The current figure represents
a 400 percent increase in annual removals of parents of U.S. citizens.)                                                            40
Modes of Immigration Enforcement
There are two primary modes of immigration enforcement that lead to
detention and deportation: border enforcement and interior enforcement.
                                                                                        Secure Communities
Border enforcement: The mandate of the BorderJULY               Patrol,2011
                                                                        which           When ICE launched Secure
is a division of the DHS U.S. Customs and Border Protection, it to regulate
migration at ports of entry as well as prevent undocumented immigrants
                                                                                        Communities in 2008,   46,486       parents of
                                                                                                                   the feder-
                                                                                        al government described it as a
from crossing borders into the U.S. without authorization. The vast majority                         U.S.-citizen children removed by
                                                                                        good faith partnership between
of border enforcement funding is allocated to the southwest, near the U.S.              the federal government and
border with Mexico. The Border Patrol maintains checkpoints at border                   localities—states and jurisdic-
crossings, on public transportation, on various roads, and in local jails to            tions that wished to participate
verify citizenship. In federal courts, the Border Patrol also prosecutes                in the program could do so and
undocumented immigrants who cross the border without permission.                        others could opt out. However,
                                                                                        the federal government recently
                                                                                        announced that Secure Com-
Interior enforcement: The apprehension and detention of non-                            munities is mandatory and that
citizens who are already within U.S. boundaries, including areas that overlap           all local jails will participate in
with Border Patrol territory within 100 miles from the border. This was                 identifying and holding non-
originally one of the functions of the DHS Immigration and Naturalization               citizens.11 Despite widespread
Service, but in 2003, Immigration and Customs Enforcement (ICE)                         resistance from states, counties
was created to coordinate these interior enforcement efforts.                           and cities around the country
                                                                                        as well as from advocates, the
   • Local enforcement: ICE relies increasingly on local jails and police
                                                                                        Obama Administration plans to
     to detain noncitizens. Its local enforcement policy is primarily based on          implement Secure Communities
     three programs: 287(g), the Criminal Alien Program (CAP), and Secure               in every jurisdiction across the
     Communities. ICE claims that all three programs focus on identifying               U.S. by 2013.12 The program is
     and deporting noncitizens convicted of serious crimes. However, these              already expanding rapidly and,
     programs have thus far operated somewhat indiscriminately, targeting               according to ICE statistics, is now
     all noncitizens.                                                                   operational in 1508 jurisdic-
                                                                                        tions in 44 states covering 74.7
   •2
     87(g) program: The 287(g) program establishes agreements be-
                                                                                        percent of the total population
    tween ICE and a local police department that gives that department                  of noncitizens in the U.S.13 As of
    the authority to essentially act as ICE agents—questioning people                   August 31, 2011, Secure Com-
    about their immigration status and detaining them until ICE can take                munities has led to the depor-
    custody. Effectively, the program empowers local police officers to turn            tation of over 134,000 people
    an alleged traffic violation or an arrest of any kind into an immigration           since it started in 2008.14
    enforcement operation.

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                                                • Criminal Alien Program (CAP): This program operates within
287(g): Currently, 287(g) pro-
                                                   federal prisons and under agreement with state and local jails to
grams operate in 69 jurisdic-
tions, including the state police
                                                   identify, detain and deport noncitizens. ICE does not release infor-
or highway patrol in 24 states.15                  mation on the reach of the program, but it is operational in many
Last year, almost 50,000 people                    federal and state prisons and some local jails.
were detained through 287(g)                    • Secure Communities: Starting in 2008, ICE began broadly
programs.16 The program has                        implementing Secure Communities across the country. Unlike CAP
been widely criticized for facilitat-              and 287(g), Secure Communities does not rely on local agreements
ing racial profiling by local police
                                                   with ICE. Instead, when local police departments run a stan-
departments17 and for obstructing
effective community policing.18
                                                   dard background check through the FBI database, that
287(g) agreements have been                        data is automatically sent to ICE.
established between county law                        The overwhelming majority of those detained and
enforcement agencies and the                       deported through the Secure Communities program were
federal government in seven of                     convicted of no crime at all or some low-level violation like
the 19 counties where ARC                          driving without a license or petty theft.10
conducted surveys (Pima and
Maricopa counties in Arizona;
Cabarrus and Mecklenburg
counties in North Carolina; Los         Detention
Angeles County, California; and         When ICE identifies noncitizens for deportation, many are transported
Duval and Collier counties              to one of over hundreds of immigration detention centers scattered
in Florida).                            around the country. The number of people detained during fiscal year 2010
                                        was 363,000. On averages, 33,400 people were detained each day, at a cost
                                        of $122 per day per detainee.20 In the year to come, the government is
                                        expected to spend over $2 billion on immigration detention.21 ICE operates
ICE “Holds”: Through local im-          some detention centers, but the majority are owned and operated by private
migration enforcement programs,         correctional companies or by county governments with contracts to detain
ICE flags noncitizens for deporta-      noncitizens. Immigrants may be held in detention centers (many of which
tion and issues a hold, asking the      are like jails and prisons) for an indeterminate length of time while their case
jail or prison to maintain custody      is being resolved. Detainees are often moved to detention centers in other
of an individual after the per-         parts of the country, an average distance of 370 miles from their homes.22
son’s jail or prison term ends. ICE     These transfers make it very difficult for detained parents to maintain
may then detain the suspect and         contact with their families.
move toward deportation.19 Im-
                                            In late 2009, the Obama Administration announced plans to reform the
migration holds are the primary
                                        detention system. These reforms include stated efforts to decrease the
tool that ICE employs to detain
noncitizens who come to the at-
                                        number of immigrants and asylum seekers held in penal jails or jail-like
tention of local, state or federal      facilities, and to detain people closer to their homes by building new facilities
criminal justice systems. The           near urban centers. Yet, detainees continue to be held in prisons far away
purpose of an ICE hold is to move       from their families. According to an October 2010 report by Human Rights
noncitizens into ICE custody and        First, “In July 2009, approximately 50 percent of ICE’s [detained] population
to initiate their removal from the      was held in actual correctional facilities that also housed criminal detainees.23
U.S. Holds block the release of         Since DHS announced its intention to reform the detention system, there
noncitizens even if their charges       has been no decrease in that proportion. The remaining 50 percent of ICE
are dropped, preclude release           immigration detainees—those who are not held in actual jails or prisons—
on bail, and prevent access to          are still held in jail-like facilities.” 24
alternatives to incarceration pro-
                                            All indications from ARC’s visits to detention centers confirm that these
grams. Once ICE issues a hold,
the agency has 48 hours to take
                                        detention reforms have been scarcely implemented and significant change
that person into custody after          remains to be seen. Even if current planned changes are implemented and new
the time when the person would          facilities are built, only approximately 14 percent of detainees will be housed in
otherwise have been released.           these facilities while the remaining 86 percent will remain in penal facilities.25
                                            Perhaps more significantly, the construction of these new facilities is likely
                                        to correspond with a net growth in the number of noncitizens detained and
                                        incarcerated even if some are held in more “humane” facilities. For example,
                                        ICE recently announced plans to close one facility, Willacy Detention Center
                                        in South Texas, which held close to 1000 detainees when ARC visited it in

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early 2011. The facility, which has been cited for a number of serious abuses
and in which detainees were housed in cavernous Kevlar tents with dozens
of others and no privacy, will not actually be closed. Instead, it will shift to
the control of Federal Bureau of Prisons and will hold thousands of non-
citizens convicted in federal court of charges like “illegal reentry”. 26 They
will be deported immediately following their incarceration. Meanwhile, the
federal government has announced any clear plans to construct facilities for
several thousand new detention beds around the country without any plans
to close other facilities.27


Child Welfare and Juvenile Dependency
Parents have a constitutional right to the custody of their children, and
unless parents are deemed unfit, families are supposed to be protected from
state-sanctioned separation and parents safeguarded from losing custody of
their children without cause.28 However, when children are unsafe or have
been the victims of maltreatment, the federal government requires that
states protect them.29
    Once a child is removed from the home, the integrity of that family
becomes a matter of intense intervention by the state. While placement of
children in substitute care is meant to be a temporary remedy for child
maltreatment, if a court determines that a father or mother is ultimately
unfit to care for his or her children, that parent’s right to legal custody of
the child in question can be terminated.
    Foster care is the institutional mechanism to provide children deemed
unsafe with an alternative place to live. Foster homes, which can be provided
by institutions, strangers or relatives (“kinship care”) receive government
subsidies to serve as caregivers. At the end of fiscal year 2010, there were
                                                                                                      re]
                                                                                                    ca
408,000 children in foster care.30 254,000 of all foster children in 2010 were
removed from their homes that year. 31 The remaining 154,000 children were                        r
still in foster care after entering it in a previous year.32 Though foster care is             ste
designed as a temporary living arrangement for children, in 2010 the average
amount of time that a foster child spent in foster care was 25 months, and
                                                                                            [fo
many children remained in foster care much longer. 33 Most children who exit
foster care return to their parents or live with other relatives. Just over half
of the children who exited foster care last year were reunified with their             408,OOO children
parent or caregiver.34 A fifth of children were adopted by strangers or by                in foster care at end of
relatives, and others remain in foster care or in long-term guardianship                      fiscal year 2010
arrangements with other caregivers. 35
    Child Protective Services (CPS), which exists in every state, inves-
tigates reports of child maltreatment, removes children from homes when
children are deemed unsafe (even if simply because children’s parents are
detained), supervises the placement of children with alternative caregivers
and manages the process of a child welfare or “dependency” case. In some
states, the control and administration of CPS is tightly run from a state
office, while in others, counties retain vast power to make rules about the
child welfare process. A number of states have contracted out parts of their
child welfare work to private entities. 36

How the Child Welfare System Works
Once a report of child maltreatment is called into CPS, the department will
start an investigation and make an initial determination about the veracity of
the report. If the investigation does not substantiate the report, the mal-
treatment case will generally be closed. But if the investigator believes that


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                                                    the child’s safety may be at risk, then the child is either allowed to stay with
                                                    their families and services are provided to minimize the risk of harm, or the
                                                    child is removed from their family and placed in foster or kinship care.


     SAMPLE TIMELINE FOR CHILD WELFARE AGENCY AND DEPENDENCY
                                                                                                                                                 e
         COURT ACTIONS AFTER A CHILD ENTERS FOSTER CARE                                                                                 i n  car
                                                                                                                                       n st
                                                                                                                                   bee
                                                                                       s                           t h s       h as he mo s.
                                  fter                fter                        o nth                         on          ld      t
                                                                                                                         chi 15 of mon
                                                                                                                                            th
                             ays
                                 a
                                                 ys a                          6m                          1 2m              r      2
                            d                  da                        hin                           hin                fo nt 2
      Child            30                 60                          wit                          wit                         e
    removed                                                                                                                rec
  from home.




                                                                                                           Petitions court to
            Identifies and                                                                                 terminate parental
            notifies all             Continues to work with family on case plan                            rights unless an
            adult relatives                                                                                exception applies

                      Develops case plan
                      that outlines steps
                      needed to reunify child
                      with parent or place in
                      an alternative home.




Court determines      • May approve foster              Reviews status of       • Holds a permanency
that child should     care placement and                case, such as           hearing to determine
be removed.           case plan.                        whether child’s         whether reunification                         Sometime later,
                                                        placement is still      or other option should                        holds a hearing
                      • Determines if                   appropriate and         be pursued                                    to terminate
                      reasonable efforts                the progress with                                                     parental rights
                      to prevent removal                case plan goals.        • Determines whether                          if determines
                      were made or                                              reasonable efforts                            appropriate
                      excused.                                                  were made
                                                                                to finalize the
                                                                                permanency plan
 Source: GAO analysis of federal laws and other information sources.

 Note: This timeline is illustrative. For example, it does not include instances in which a court determines that reasonable efforts to reunify
 the family are not required or when a child is removed through a voluntary placement agreement with the child’s parent or legal guardian.
 As a result, this timeline may vary based on a child’s individual circumstances.



                                                    Once a child is removed from their parent’s care, or if the child welfare
                                                    department seeks to remove a child, CPS is required to file a petition to
                                                    a juvenile dependency court (sometimes called family court or child
                                                    protective court). These courts make essential decisions about family
                                                    reunification and parental rights.
                                                        Once CPS files a petition to the court, the department creates a
                                                    permanency plan that moves a case toward closure. Federal law mandates
                                                    that courts hold “permanency hearings” no later than 12 months after a

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child enters foster care. In over half of all CPS cases, the permanency plan
goal is to reunify children with their parent or caregiver. In another quarter
of all cases, the end goal is termination of parental rights and adoption by
someone else. The goal of the remaining cases is permanent placement with
relatives or other caregivers or long-term foster care. 37
   Parents with children in the child welfare system are issued a set of tasks,
or a reunification plan, that they are required to complete if they are to
be reunified with their children. If a child is removed from their mother or
father because he or she left them unattended, for example, then the parent
might be required to attend parenting classes and find childcare. Additional
tasks can be added to a reunification plan that have nothing to do with the
reason for the initial removal but that the child welfare department and/or
dependency court deem would make the home safer.
    Federal laws require child welfare agencies to make “reasonable
efforts” to help families access the services they need in order to reunify.
According to the U.S. Department of Health and Human Services:
    Laws in all States, the District of Columbia, Guam, and Puerto Rico
    require the provision of services that will help families remedy the
    conditions that brought the child and family into the child welfare
    system. Generally, these efforts consist of accessible, available, and
    culturally appropriate services that are designed to improve the ca-
    pacity of families to provide safe and stable homes for their children.
    These services may include family therapy, parenting classes, drug
    and alcohol abuse treatment, respite care, parent support groups,
    and home visiting programs. 38

    However, if a child welfare department has made reasonable efforts and a
court determines that a parent is incompliant with her or his case plan, or if
the child was removed for a reason that’s especially egregious and extreme,
then the permanency plan changes to either long-term foster care, permanent
custody with a relative, or adoption. A child cannot be adopted unless the
dependency court terminates the parental rights of their mother and father.
    Research shows that as a general matter, except for cases of extreme
abuse or neglect, children are better off in the long run if they stay with
their families than if they are placed in foster care. Studies find that foster
youth are more likely than other children to become homeless, abuse drugs,
be arrested or drop out of school. An MIT economist performed a study of
15,000 child welfare cases in Illinois, which provided empirical evidence that
children who faced similar home circumstances consistently had better life
outcomes if they stayed with their own families than if they were placed in
foster care.39 Other research has shown that children in foster care are
actually more likely to be abused than children out of foster care.40

Termination of Parental Rights (TPR)
The Adoption and Safe Families Act (AFSA), enacted in 1997, is a
federal law designed to make it easier for children in the child welfare
system to be adopted or placed in permanent homes through the speedy
termination of parent’s rights. At the time of its passage, many advocates
were concerned that children were languishing in foster care without any
hope of a permanent home. By requiring the rapid termination of parental
rights, ASFA sought to “free” children for adoption.
   ASFA requires that if a child has been out of their parent’s custody for
15 of the last 22 months, the state child welfare department must petition
the dependency court for the termination of parental rights. Broadly, ASFA

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                                       curtailed the reach of parental rights so that the extended separation of
     Children in families              children and parents can itself be a basis for the severance of family bonds.
  with an annual income                    Importantly, parental rights can be terminated before 22 months. Once
                                       the child welfare department can show that it has made “reasonable efforts”
  below $15,000 were                   to reunify a family and that the parent has nonetheless failed to comply with
  22 times more likely                 the reunification plan, the department can stop offering parents services
                                       toward that end and change the plan to termination of parental rights and
      to be considered                 adoption. Terminating parental rights does not necessarily lead
  maltreated than those                to adoption. Many children remain in foster care after they are
                                       severed from their parents and become, in effect, legal orphans.
   in families with incomes
                                           Importantly, ASFA created a number of exceptions to the TPR time clock.
           above $30,000.              If children are placed in a permanent guardianship arrangement or another
                                       legal custody arrangement with a relative, the child welfare department does
                                       not need to petition to terminate parental rights. As a result, placement with
                                       family leaves open the possibility that families may be reunified even if a child
                                       is out of a parent’s custody for longer than 22 months.


                                       Race, Poverty and the Child Welfare System

  Poverty as Neglect
  As noted above, children enter        neglect, as opposed to physical         who perform the day-to-day
  CPS custody because the child         or sexual abuse.42                      functions of the child welfare
  welfare department suspects that          The predominance of neglect         system rarely name economic
  those children are unsafe, often      as the reason for child welfare         inequality outright. Martin Gug-
  because of parental maltreat-         system involvement should raise         genheim, a professor of law at
  ment, abuse or ne glect. In some      concerns because neglect, which         New York University (NYU) ana-
  instances, children are indeed        is already ill-defined by federal       lyzed the case of a mother found
  seriously harmed and the child        and state law, can be practically       to be neglectful because she was
  welfare system responds appro-        indiscernible from the effects of       discovered living with her seven
  priately. In other cases, however,    poverty.43 Indeed, poverty is           children inside “an unsafe and
  child welfare practice results in     the single best predictor of            unsanitary motel room.” In his
  the unnecessary removal of            allegations of abuse and neglect.       analysis, Guggenheim noted
  children from their mothers           A 1996 study which remains              the following:
  and fathers.41                        among the clearest research on              It is important to observe
      The terms abuse and neglect       the links between poverty and               that poverty is unmen-
  can be misleading because they        child welfare found that chil-              tioned anywhere in
  are broad categories, subject         dren in families with an annual             the case. This is almost
  to the interpretation and dis-        income below $15,000 were 22                always true. The point
  cretionary judgment of a long         times more likely to be consid-             about the connection be-
  list of actors, from the person       ered maltreated than those in               tween poverty and child
  who initially makes a report to       families with incomes above                 neglect prosecutions is
  the investigating caseworker,         $30,000.44 If a parent is too               not that any [parent] is
  long-term caseworker, attorneys,      poor to feed, clothe or house her           charged explicitly with
  children’s advocates and judges.      child, or to pay for childcare, she         being poor. It is, rather,
  Importantly, the majority of child    may be deemed neglectful.                   that but for being poor,
  welfare cases involve neglect,            Though the effects of poverty           there would never be a
  not abuse. Seventy-two percent        are often the basis of abuse and            prosecution.45
  of children come to the atten-        neglect allegations, the attor-
  tion of child welfare because of      neys, caseworkers and judges




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   racial disproportionality

   Poverty does not operate in            and for longer periods of time           (Black children in particular) from
   isolation. Children in foster care     than white children.46                   their parents rather than offering
   are disproportionally children of          One reason for these dispari-        services to help them stay to-
   color. Black children make up 14       ties is that children of color are       gether.47 This is not because these
   percent of children in the U.S.        far more likely to live in poor          children are more likely to be
   but 29 percent of foster children.     families and so are more vulner-         abused—when the child welfare
   American Indian children are 1         able to face the conditions of           system deems that white children
   percent of the total population        poverty that child welfare depart-       have been abused or neglected,
   but 2 percent of foster care popu-     ments consider neglect. Another          it is twice as likely to offer that
   lation. White children are signifi-    reason that children of color are        family services so that the child
   cantly underrepresented in foster      more likely to enter and remain          can stay at home as compared to
   care. While Latino children enter      in foster care is child welfare          Black families.48
   foster care at rates just slightly     practice is laden with exten-                 Importantly, bias in the child
   lower than their representation in     sive discretion at every point a         welfare system is rarely intention-
   the general population—21 and          decision is made. As a result, the       al. It is usually the result of the
   23 percent respectively—they           unconscious biases held by child         complex interplay of disparities in
   are more likely to be in foster        welfare investigators, casework-         poverty, income and wealth with
   care than white children and are       ers, attorneys and judges can sig-       unconscious and systemic racial
   overrepresented in many states         nificantly shape the outcomes of         biases that play out in the every-
   with large foster care popula-         a case. Even when controlling for        day and often mundane decision
   tions. Black and Latino children       poverty, research shows that child       making of child welfare practice.49
   are both more likely to be placed      welfare departments are more
   in out-of-home care more quickly       likely to remove children of color




Child Welfare System Bias against
Undocumented Parents
In the context of immigrant families, it is important to note that immigrants
are more likely to be poor and face significant racial and anti-immigrant bias.
Consequently, immigrant families, who face both economic and political ex-
clusion as well as the constant threat of deportation, are situated inequitably
in relation to the child welfare system.
    Many child welfare caseworkers interviewed for this project described a
pervasive relationship of fear on the part of immigrant communities because
of anxieties that involvement with the child welfare system could result in
deportation. As a result, immigrant families are likely to make particular
efforts to stay clear of the child welfare system. However, once children of
undocumented immigrants enter foster care, our research indicates that
their families face significant barriers to family reunification.
    There are no firm figures on the number of children of noncitizens in
foster care though research shows that children of foreign-born parents are
less likely to come to the attention of CPS investigations. 50 However,
ARC’s research clearly indicates that once children of noncitizens
are removed from the custody of their parents, their families are
subjected to particular and deep systemic barriers to reunification.
As this report makes clear, this is especially true for families when parents
have been detained or deported, but it is also the case for families with un-
documented parents in general.



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                              A judge in Southwest Florida described the effect of a parent’s undocu-
                            mented status when combined with related factors:
                                Our child protection system has had very little, almost non-existent
                                success at reunifying children, whether born in the USA or in a for-
                                eign country, with parents who come the USA (1) undocumented, (2)
                                poor, (3) uneducated/illiterate, (4) unable to communicate in English,
                                (5) culturally segregated. …If children of these parents come into
                                care, they are virtually doomed by these five factors and the prob-
                                ability of permanent loss of these children is overwhelmingly high.

                            The judge added, “It’s been my impression over the years that even if a par-
                            ent has some of these other factors—like lack of English language ability and
                            cultural segregation—they still have a fighting chance of getting their kids
                            back but if you had the factor of being an undocumented immigrant, it makes
                            it impossible.”

                            Disproportionate Immigrant Poverty
                            Like other communities of color, noncitizens, especially undocumented
                            immigrants who are predominantly from Latin America and Asia, are con-
                            centrated in low-wage job sectors and are more likely to be poor. Children
                            of immigrants are significantly more likely than children of non-immigrant
                            parents to live in low-income families (below 200% poverty line)—35% to
                            49%. 51 In the context of the current rise in deportation rates, families who
                            previously relied on two incomes but were still low income, or those that
                            relied on one parent’s income while the other parent cared for children, be-
                            come especially vulnerable to deep poverty when a breadwinner is deport-
                            ed. Meanwhile, the threat of deportation is often wielded as a mechanism
                            of control by employers, making it difficult for noncitizen parents to secure
                            more equitable labor practices.

                            Parents Are Denied Access to Services
                            Economic inequity is compounded by legal bans on immigrants’ access to
                            many public programs, such as Medicaid and Temporary Aid for Needy
                            Families (TANF), that might help them avoid the worst conditions of deep
                            poverty. The Personal Responsibility and Work Opportunity Act of 1996,
                            which limited access to TANF for all U.S. residents, explicitly barred all un-
                            documented immigrants from access to TANF and non-emergency Medicaid
                            services. The Act also barred permanent residents who have lived in the U.S.
                            less than five years from access to these programs. The federal government
                            has given each state significant power to determine whether undocumented
                            immigrants are eligible for state benefits, but many of these states have
                            continued to block undocumented immigrants from most programs. 52
                               Though most of the children of noncitizen parents are U.S. citizens
                            themselves and are therefore eligible for many government programs, the
                            exclusion of their mothers and fathers from these vital services means that
                            immigrant families are marginalized from systems of support. 53
                               Respondents in ARC’s focus groups and interviews described undocu-
                            mented parents struggling to maintain custody of their children because of
                            immigration status–related barriers to services, 54 including lack of access to
                            Medicaid, public housing or TANF. 55 A child welfare caseworker in Orlando
                            (Orange County), Florida, recalled a recent case of a mother of two
                            U.S. citizens who could not regain custody because federal laws block
                            undocumented immigrants from accessing many services:



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    We removed the kids because of a dirty house issue, poverty
    basically, and we reunified [initially] with her because there was
    no reason not to.
        But then once we placed we were caught in a situation where she
    could not get a baby sitter because all her network is undocumented
    and they would not be approved by our background check, she
    could not drive without a license and she could not get services…
    Not having papers was the number one barrier for her. This has
    nothing to do with this woman maliciously abusing or neglecting her
    children but it was a situation where we did not feel safe reunifying
    with her because she does not have the means to get the services or
    help she needed. We ended up having to remove them from her.

   With the clock ticking, undocumented parents who are unable to access
services due to their status can lose parental rights because they have not
completed their plan in time. The longer the period that a child stays out of
their parent’s custody, the greater the chances that their family will never be
reunified. 56 Ultimately, if these barriers are so great that a child cannot be
reunified with their family before the ASFA deadline approaches its end, bar-
riers that immigrants face can themselves lead to the legal end of a family.
   A parents’ attorney in Durham, North Carolina, described a mother who
was ordered to get a psychiatric evaluation but could not because of her               Children of immigrants
immigration status. “The judge brings [the psychiatric exam] up every time             are significantly more likely
we go to court,” said the attorney. “[The mother] keeps getting the find-
ing against her that she’s not doing it, and it’s been slightly over a year now.       than children of non-im-
There’s a possible adoptive parent waiting, and this woman wants her kids              migrant parents to live in
back but she’s not getting the services because she can’t pay for them.”
   For undocumented parents who are more likely to work in low-wage                    low-income families
jobs, paying for services out-of-pocket may be simply impossible. An attor-            (below 200% poverty
ney who has represented many undocumented parents in New York City
said that the lack of access to Medicaid can be an insurmountable barrier for
                                                                                       line)—35% to 49%.
undocumented parents struggling with mental health issues:
    There are very few places that will offer free services. There are
    some places where you can get someone in on a sliding scale but
    even then it’s very hard and without Medicaid that can be too ex-
    pensive. This is especially hard for mental health issues where they
    are told they simply cannot get their kids back without treatment.
    When your client is bi-polar, say, and needs meds and you can’t get
    anyone to see them or prescribe them drugs or pay for them, that’s
    a problem. If you need services and you can’t get them then you
    can’t get your kids back.

   Caseworkers said they often have to get creative to find alternatives to
traditional services. In Duplin County, North Carolina, a rural county with a
significant immigrant farm labor population and a thin infrastructure of social
services, several caseworkers said they have approached clergy to provide
undocumented parents with counseling and other services. These clergy
do not have any formal training but, according to one of the caseworkers,
“sometimes it works.”
   A clergy member from Duplin County said that he had been asked to
provide an undocumented mother with counseling services even though, as
he said, “I’m trained in spiritual counseling.”




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                            Discrimination Against Parents with
                            “Unverifiable” Employment
                            In some jurisdictions, undocumented parents face barriers to completing
                            their case plans because their income is not considered “verifiable or legal.”
                            Child welfare laws do not require parents to have a job in order to reunify
                            with their children. They must only prove that they can support their chil-
                            dren. However, in some jurisdictions, undocumented parents are not given
                            the opportunity to do so.
                                In Osceola County, Florida, a caseworker said, “If we can’t show that
                            [parents] have a legal source of income, we have to note in that part of the
                            file that they are not complying. It slows up the case when a parent can’t
                            show that they are working. If a parent can’t show that they are working, it
                            makes it difficult to move forward with these cases.”
                                In Maricopa and Pima counties in Arizona, dependency attorneys said
                            they had recently faced barriers to reunifying families because undocument-
                            ed parents cannot be legally hired.
                                “Undocumented parents face the issue where the parent’s rights are sev-
                            ered and the fact that they are undocumented and working under the table
                            plays a factor,” said one Maricopa County attorney. “Their status is never
                            asked outright; well sometimes it is, but usually it’s ‘do you have a job, do
                            you have pay stubs?’ It’s usually about work and not being able to prove it.”

                            Driving Without a License
                            In some rural areas that lack significant public transportation infrastruc-
                            ture, ARC found that child welfare departments and dependency courts are
                            barring family reunification because undocumented parents cannot acquire
                            driver’s licenses. A case manager in Duplin County, a small farming area in
                            North Carolina said:
                                I had a case yesterday; the mother is transporting the children with-
                                out a license. She has no means of getting a license. She has to work.
                                She has to get her kids to school. She is going to keep driving. That
                                definitely reflects badly in the eyes of the judge but she really does
                                not have a choice. A lot of times the judge will say they have to abide
                                by the law. The judge is saying that she is not complying with the plan.

                               According to two Texas caseworkers who spoke on the condition of ano-
                            nymity, it may be official policy there that children are not to be placed with
                            people without licenses. One of these caseworkers had this to say:
                                What I’m hearing now from Austin is that if they are illegal and don’t
                                have a driver’s license, you can’t place the child. The problem is that
                                if you place with an illegal immigrant or someone without a license,
                                if they get stopped or arrested, then we have to go pick up the kids.
                                The problem comes more from Austin, from the policy makers in
                                [the child welfare department]. From a caseworker perspective,
                                there’s no problem placing with illegal families. We try to ignore it
                                if possible. But meanwhile, Austin is saying that we can’t place the
                                children if the people don’t have a valid driver’s license because if
                                they get picked up it’s a danger.




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    In border regions, undocumented immigrants face additional barriers to
mobility because of Border Patrol checkpoints. Near Nogales, an Arizona
border town south of Tucson, an undocumented man could not make it to
his children’s juvenile dependency court hearings because he would have
to cross a border checkpoint. As a result, he’s been excluded from the
dependency process.

Conclusion
As more noncitizens are deported, families are being shattered. Immigration
enforcement practices, most significantly the rapid spread of local immigra-
tion enforcement programs, threaten to make any interaction with local
police into a path to deportation. Meanwhile, undocumented immigrant
parents and their children in the child welfare system face significant barri-
ers to reunifying as a result of bans on access to services and social support
systems as well as a systemic bias against immigrants. Children of immigrants
often experience the worst outcomes, including extended periods in the
child welfare system and the prospect of losing their parents forever.
    Child welfare departments should make every attempt to locate services
for undocumented parents and nonprofits should step in to help provide
needed services. States should also provide funding to child welfare agencies
for services that can help families reunify. In addition, child welfare depart-
ments should ensure that parents are not penalized because they are poor
or because their income from an informal job is not considered verifiable.




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III: Immigration Enforcement, Detention
and the Shattering of Families
                            Inside the Baker County Jail, a few minutes outside of the 4500 person
                            town of Macclenny in northeastern Florida, several hundred immigrants
                            are held in prison cells because of their immigration status. A few times
                            a day, guards enter the pods and yell for the men and women to line up
                            so they can be counted. Then the detainees move back into groups of
                            four or five around metal tables where they wait again until night, when
                            they can sleep, and yet again until morning, when the whole waiting
                            cycle begins again. What they wait for varies, but for some in detention,
                            the wait could mean they lose their children.
                               In March, ARC spoke with several dozen men and women inside the
                            cell-lined pods in the Baker County jail where detainees eat, sleep and
                            wait. One of the women, who’d immigrated to the United States from
                            Jamaica two decades ago and lived for years in central Florida, could
                            not say where her four U.S.-citizen children were; she knew only that
                            they were in foster care and that she’d had no contact with her case-
                            worker since she arrived in detention.
                               Through tears, the woman said, “They stole my babies from me. They
                            took them from me.” With the prospect of deportation looming, she
                            added, “I don’t know if I’ll ever see them again.”
                               Two pods away, a British woman also struggled from inside the de-
                            tention center to maintain contact with her daughter in foster care. She
                            had received a letter in the mail from a child welfare case management
                            agency with a list of tasks she was required to complete to reunify with her
                            daughter—parenting classes and visits with her daughter. But the sheriff
                            who runs the jail and the federal immigration authorities do not allow
                            detainees to participate in classes and her child is too far away to visit
                            her, so she waited inside as the clock ticked further and further toward the
                            termination of her parental rights.
                               On the other side of the detention center, a Jamaican man who lived
                            in Brooklyn for most of his adult life said he had not been able to call
                            his wife even once since he arrived in the detention center, because
                            collect calls home were too expensive for his family. He worried that
                            his wife would not able to support their daughters without his help, and
                            feared that his children might slip into foster care.



                            How many children are affected?
                            Based on data collected from six key states and an analysis of
                            trends in 14 other states with similarly high numbers of foster care
                            and foreign-born populations, ARC estimates that there are at
                            least 5,100 children who are presently in foster care whose parents
                            have been detained or deported. These children and their parents face
                            formidable barriers to reunification. ARC’s projection is consciously conser-
                            vative, and many more children may currently be affected.
                               ARC’s research found that an increasing number of families are separated
                            by the intersection of immigration enforcement and the child welfare system.
                            Immigration and child welfare policies must change to address the needs of


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families; otherwise, thousands more children will be subjected to the same
treatment. ARC’s conservative estimate of at least 5100 detained/deported
parent foster care cases comprise approximately 1.25% of the total children
in foster care. If these rates continue through the next five years, at
least 15,000 additional children will face threats to reunification
with their detained and deported mothers and fathers.


Until now, no research has sys-       raids left children alone without         the Women’s Refugee Commis-
tematically explored the extent to    caregivers, that one child was            sion concluded that ICE is not
which children of detained and        affected for every two immigrants         doing enough to protect parents
deported parents are pushed           arrested, and that after the heat         from losing their children.59 And
into or remain in foster care, and    of the raids cooled, the children         a study released in May 2011 by
only a few studies have explored      who were left behind experienced          the Southwest Institute for Re-
the impact of parental deporta-       growing isolation, fear, economic         search on Women at the Univer-
tion on children in general. One      hardships, depression and other           sity of Arizona found that in Pima
such study, called “Paying the        psychological effects.58                  County, Arizona, parents who are
Price: The Impact of Immigration          For years, the media has pub-         detained are at significant risk los-
Raids on America’s Children,” was     lished accounts of detained and           ing their parental rights.60 “Shat-
released by the Urban Institute in    deported parents struggling to            tered Families” is the first study
2007 in the wake of workplace-        maintain custody of their children.       to systematically investigate the
based immigration raids in Colo-      Policy advocates have warned of           extent to which children of de-
rado, Nebraska and Massachu-          a growing trend. A policy report          tained or deported parents enter
setts.57 The report found that the    released in December 2010 by              or remain in foster care.




   Over the course of our research, ARC visited six detention
centers and interviewed almost 70 parents. Nineteen had children
in foster care. Many more feared that their children might enter
foster care because the child welfare system might decide that
their children are not safe with their current caregiver or that the
caregiver is too poor to support them.
   Each parent was clear: their children’s well-being was their
greatest concern. For parents with children in the custody of
the child welfare departments, that concern became a matter of
consuming distress. These parents faced the already devastating
prospect of separation from their children as well as the very real
possibility that their legal right to parent their sons and daughters
could be terminated. Their children—at least 5100 of them today
                                                                                          d ]
                                                                                      rte
and thousands more in the future—face a corresponding nightmare:
that they will never see their mothers and fathers again.
                                                                                 p  o
   The federal government has expanded immigration detention
                                                                            [ de                               e]
and deportation dramatically in the last decade, and in the last                                              r
three years, deportation rates have taken a particularly steep
                                                                                                          r ca
                                                                                                       ste
upward turn. Before immigrants are deported, they are usually
detained in a network of hundreds of immigration detention
                                                                                                    [fo
centers scattered across the country. While the average length of
detention is 32 days, many detainees spend far longer behind bars,
especially those who are legally challenging their deportation.
Detained parents interviewed for this report almost                          5100 children who
                                                                      At least
uniformly challenged their deportation, because it
threatens to separate them from their children.
                                                                                in foster care
                                                                      are presently
                                                                      whose parents have been
                                                                       detained or deported
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          Geography and Demographics of the Problem
                             Children of detained and deported parents are entering foster care in every
                             corner of the U.S. While rates of detained/deported parent cases vary from
                             place to place, foster care populations in states from the East Coast to the
                             West Coast, on the border and in the interior, from large urban counties
                             to small agricultural counties include a growing number of children sepa-
                             rated from their parents by immigration enforcement and stuck in the child
                             welfare system. While the cases did not approach a majority of the foster
                             care population in any one jurisdiction, they accumulate at the national
                             scale and in some places account for one in every 12 children in foster care.
                             The following table shows the local percentages and numbers of children
                             in foster care with detained or deported parents from a selection of the
                             jurisdictions where ARC conducted field research. Local differences in rates
                             of detained/deported parent foster cases vary. Rates depend on a number of
                             factors, including the number of noncitizens in the county, the aggressiveness
                             with which local authorities participate in immigration enforcement and the
                             county’s proximity to the border.

                Selected Jurisdictions from ARC’s Research: Estimated Current
                Children in Foster Care with Detained/Deported Parents
                                                                             Current Number of
                             County               Percentage                 Children in Foster Care
                             Maricopa             4.5%                       274
             Arizona         Pima                 5.2%                       130

                                                                             Current Number of
                             County               Percentage                 Children in Foster Care
                             Los Angeles          6.2%                       1178
            California       San Diego            5.9%                       219

                                                                             Current Number of
                             County               Percentage                 Children in Foster Care
                             Collier              6.6%                       17
                             Duval                1.8%                       19
                             Lee                  2.6%                       10
                Florida
                             Orange               3.0%                       26
                             Polk                 2.9%                       28

                                                                             Current Number of
                             County               Percentage                 Children in Foster Care
                             Cabarrus             5.5%                       3
            North Carolina   Mecklenburg          4.5%                       28

                                                                             Current Number of
           New York          County               Percentage                 Children in Foster Care
                             Bronx                0.7%                       30

                                                                             Current Number of
                             County               Percentage                 Children in Foster Care
                             El Paso              7.5%                       46
                             Rio Grande           7.8%                       55
             Texas           Valley East,
                             Child Protection Court jurisdiction

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    In addition to the six states where ARC collected quantitative data on
the percent of current foster care cases with detained/deported parents,
we spoke to attorneys, child welfare caseworkers and foreign consulates in
10 other states where these cases have recently emerged in the past several
years and tracked media reports of cases from at least six additional states.
Collectively, that means ARC has identified at least 22 states where cases in
which the detention or deportation of mothers and fathers put families at
risk of permanent separation.


States Where ARC Identified Detained/Deported Parent Foster Care Cases

         WA




                                                                                                        NY
                                                                                            MI
                                                                      IA                                 PA
                                                    NE                                           OH
                                                                                IL                            MD
                        UT
                                                                                       IN
                                                                                                      VA
                                                                                      KY
          CA                                                                                          NC


                        AZ                                                 AR
                                      NM
                                                   TX                                   AL       GA



                                                                                                         FL



                              States where quantitative data                         States where detention
                              was collected                                          centers were visited

                              Additional states where media and                      States where caseworkers,
                              advocate reports establish that these                  attorneys and foreign consulates
                              cases have occured                                     were interviewed


    The parents we interviewed and those we heard about from interview
and focus group respondents were immigrants from all over the world.
The distribution of their countries of origin was roughly equivalent to the
countries of origin of all deportees. The significant majority of the noncitizen
parents we interviewed or heard about were from Mexico, and the majority
of the others were from South and Central America (El Salvador, Ecuador,
Honduras, Guatemala or Peru) and the Caribbean (Jamaica, Bahamas or
Haiti). ARC also heard accounts of parents from England, Germany, Pakistan,
Portugal and the Democratic Republic of the Congo.




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Undocumented Children:                 Paths to Separation
Although in the overwhelming           Detained parents’ children enter foster care for a variety of reasons, and the
majority of cases reported to ARC,     child welfare system and immigration enforcement can intersect in a number
the children in foster care with de-   of ways. However, there are three common routes that lead to the
tained and deported parents were       separation of families in this way. In each of these scenarios, detention
themselves U.S. citizens, some         and deportation resulted in extended family separation and left children in
of these children were undocu-         foster care for long periods.
mented. Their status raises some
important issues. Undocumented
children who are deemed to have        Straight Path
no fit caregiver are eligible to ap-   The first common route is that children entered foster care as a direct
ply for Special Immigrant Juvenile     result of their parent’s arrest or detention. In these cases, when parents are
Status (SIJS). In order to qualify     detained by ICE directly or arrested by police and then issued an ICE hold,
for SIJS, a juvenile court must        parents are not able to care for their children because they are detained
first declare the child dependent      so CPS takes custody. A dependency attorney in Tucson, Arizona (60 miles
on the court or a child welfare        from the U.S.-Mexico Border) described a case where a mother’s detention
department. The child must not         kept her family from being together:
be able to reunify with at least
one of their parents and the court         A mother was picked up on charges that were entirely unrelated to
must determine that it is not in           the children. Considering the nature of the relatively minor allega-
the child’s best interest to be            tions, had she been a citizen, there is no doubt that she would have
returned to the home country. In
                                           bonded out in a day or two. We have here a good mom who had
most cases, SIJS is a vital path for
                                           some issues. In this particular case, it was her inability to be with
undocumented children without
caregivers to gain status. Howev-          her kids because of detention and deportation that got them into
er, SIJS also poses concerns about         care. The kids are a little older and if she had been a citizen, the
parental rights, because in certain        children would have made do for a day and then she would have
instances reported to ARC, child           been out and back with them. But the fact that she was incarcerated
welfare departments are con-               with an ICE hold and then detained and deported means it’s consid-
fronted by a difficult choice: help        ered to be neglect now by our state’s statutory regime. This case
an undocumented child to gain              has been open two months and the kids are still in foster care.
authorized immigration status
and terminate parental rights, or         In these cases, even if parents are released from detention after a long
reunify children with their parents    period, the fact that their children are in CPS custody can mean that the
in another country. As discussed       family is not immediately reunified. In Phoenix, Arizona, a 2-year-old girl was
in Section IV, bias against plac-      placed in foster care when her mother was pulled over by police and arrest-
ing children in other countries        ed because she was undocumented and was driving without a license. ARC
can sway CPS decision-making
                                       spoke with the girl’s foster care provider who said without equivocation,
against placement in other coun-
                                       “The only reason they’re not back together yet is the bureaucracy of the
tries even when the parents of
these children are deemed fit.         system. Before they can return her to her mother, they have to verify that
                                       the mom has a stable home, everyone else in the home passes background
                                       checks and that takes time.” He added if the mother had not been detained,
                                       the child welfare system would never have been involved in this family’s life.
                                       “None of these were made into problems until she was detained.”

                                       Parallel Path
                                       The second route that results in children of detained/deported parents
                                       entering foster care is similar to the first. These cases entail an allegation
                                       of child maltreatment that brings a family to the attention of both CPS
                                       and ICE at the same time. When police are involved in CPS investigations,
                                       what might have been a normal CPS case that would likely have resulted in
                                       prompt reunification, leads to an ICE hold, detention and extended separa-
                                       tion when parents are undocumented. Parents in detention are denied the
                                       due process right to advocate for themselves in juvenile court, and the child
                                       welfare system poses obstacles to reunifying families.



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A California man was arrested and his babies placed in foster care
because a babysitter left the children alone for less than an hour and
the police were called. When he arrived home, he was arrested for child
endangerment, and when his information was run through the Secure
Communities database, he was picked up and moved to detention.

Interrupted Path
The third route to this sort of separation involves families that were already
involved with the child welfare system when parents are detained. In these
cases, parental detention interrupts, sometimes irreparably, the process of
family reunification. ARC heard many of these stories including one from a
woman in a Florida detention center who was just weeks away from fully
reunifying with her son when she was detained:

Magda, a green card holder from Portugal, and her U.S.-citizen son
were weeks away from reunification, when she was detained in
January after stealing clothes for her son. At the time, the son was
already in foster care because Magda had previously struggled with
addiction, but mother and son were soon to be reunified. They were
spending the afternoon together on one of their biweekly supervised
visits when Magda’s son soiled his pants. With little money to spare, she
decided to go to the dollar store across the street and steal the clothes
he needed. She wanted to avoid taking her son back to the foster home
without changing his clothes first. The security guard called the police,
who arrested Magda for petty theft. The officers drove her son back to
his foster home and Magda was placed in deportation proceedings.
From detention, she could do little to maintain contact with her son,
and their path to reunification was interrupted.

   As a result of expanding local immigration enforcement, an interaction
with police that for a U.S. citizen might not have entailed temporary family
separation, threatens to sever family bonds permanently for noncitizen
mothers and fathers and their children. Parents’ due process right to mean-
ingfully participate in their case is denied. As long as aggressive immigration
enforcement continues, parents are at risk of being detained and deported.


Impact of Local Immigration Enforcement
on Child Welfare
As most of the stories included in this report suggest, in jurisdictions where
local police aggressively participate in immigration enforcement (e.g. 287(g)
and Secure Communities), children are more likely to be separated from
their parents and face barriers to reunification.
   ARC’s research found that in counties included in our surveys
where local police have signed 287(g) agreements with Immigra-
tion and Customs Enforcement, children in foster care were, on
average, about 29 percent more likely to have a detained or de-
ported parent than in other counties (an average of 4.9% of foster
care kids in 287(g) counties compared to 3.8% in others). This type
of aggressive immigration enforcement exerts a statistically significant impact
when ARC controls for the size of the noncitizen population and proximity
to the border.
   The significance of aggressive local enforcement is put in clear relief when
comparing counties that except for 287(g) programs are otherwise similar.
Based on our survey data, Collier and Lee counties (two adjacent counties in

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                            Southwest Florida) have vastly divergent rates of foster children with
         Secure             deported or detained parents. The average percent of such cases reported
         Communities        by respondents in Collier County was 6.6% as opposed to 2.6% in Lee
                            County. While Collier has a higher foreign-born population—23 percent
         resulted in        compared to Lee County’s 14 percent—the difference is not great enough
         277,826            to account for the significantly higher rate of deported/detained parent cas-
         detentions         es. The fact that Collier County has implemented a 287(g) agreement while
                            Lee County has not may account for much of that difference. Additionally,
         between 2008       significantly larger numbers of people have been deported per month from
         and June 2011.     Collier County through Secure Communities as compared to Lee County.
                            Local immigration enforcement drives up the likelihood that children in
                            foster care have detained and/or deported parents.
                                This finding is of particular importance because as the federal govern-
                            ment implements Secure Communities in more and more counties around
                            the country, the rate of detained/deported parents foster care cases is likely
                            to increase. Secure Communities is an ICE program that checks the im-
                            migration status of anyone booked into a local jail that resulted in 277,826
                            detentions between 2008 and June 2011.



           Child Welfare Caseworkers and Attorneys Lack
           Knowledge about Immigration Enforcement
                            Often, attorneys, caseworkers and judges who work in the juvenile depen-
                            dency and child welfare system know little about immigration law and policy.
                            Despite the expansion of Secure Communities, few caseworkers and
                            attorneys interviewed for this study were aware of the program, although
                            it operates in most of the counties we examined. In counties where ICE
                            operates 287(g) agreements, child welfare workers were only slightly more
                            aware of that program.
                                The lack of knowledge about immigration policy is manifest in an inac-
                            curate assumption among many child welfare workers that to be deported,
                            immigrants must have committed a serious crime.
                                An attorney who works in the child welfare system in Florida said, “It
                            comes up when there is an ICE hold and that typically happens when the
                            parent has a criminal background and becomes incarcerated for whatever
                            reason. They don’t come in solely because of immigration status [emphasis added
                            by ARC]. Once law enforcement finds out they are illegal, that’s when the
                            deportation ball gets rolling. Law enforcement only gets involved in these if
                            there is a criminal issue.” But as the data on the rates of Secure Communi-
                            ties deportations of people without convictions makes clear, “criminal
                            issue” does not mean a person has been convicted of a crime but
                            rather that an individual without immigration status interacts
                            with local police and is booked into a local jail.
                                ARC’s research found that expanding local, police-based immigration
                            enforcement has increasingly meant that the trigger that pushes chil-
                            dren into foster care or that bars parents from carrying out a reunifi-
                            cation plan only appears to be criminal justice system involvement. In
                            fact, it is often immigration detention absent of a conviction.
                                Yet most child welfare workers remain unclear about how immigration
                            enforcement works and who gets detained and deported. This misunder-
                            standing about the routes to deportation affects the way in which child
                            welfare workers think about detained and deported parents.



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Few Protections for Parents at the Time of Apprehension
ICE has offered few protections for families. Following a series of work-
place raids in the mid-2000s that left a number of children uncared for, ICE
released “Guidelines for Identifying Humanitarian Concerns among Admin-
istrative Arrestees When Conducting Worksite Enforcement Operations.”
These guidelines demand that ICE screen those who are detained in raids to
ensure that sole caretakers of minors are not detained for extended periods.
    These time-of-apprehension guidelines, however, apply only to ICE-
administered raids of 25 or more people.61 They do not pertain to smaller-
scale ICE-enforcement actions or Border Patrol activities. Most significantly,
the protections are largely outdated and insufficient for the cur-
rent context in which ICE has shifted from high-profile raids to more
hidden and devolved forms of enforcement that operate through local police
and jails or smaller-scale ICE enforcement actions. Now, whether or not
parental rights and children’s needs are respected is increasingly contingent
upon the policies and practices of local law enforcement agencies and on the
discretion of single ICE agents.
    In stories told to ARC by parents and attorneys, local police officers and
federal ICE agents did not allow mothers and fathers to arrange for their
children’s care when they were arrested or detained. If local police or ICE
had allowed parents to contact relatives or friends of their own choosing,
children may never have entered foster care in the first place.

Late one December night, in Tucson, Arizona, police arrived at Elena’s
home to break up a party that her 16-year-old son was hosting. Elena
came home shortly after the police arrived. The police arrested her
for buying alcohol for minors, though she said her son threw the party
without her permission and she had not bought any alcohol. Before the
police took her away, Elena asked one of the officers if she could call a
friend who could come and pick up her children. The police officer threw
her phone on the ground and told her that she could not make any calls.
The officer then called CPS, put Elena in cuffs, led her into the back of a
cruiser and booked her in the county jail.
    Her three children were placed in foster care and Elena was detained
an hour and a half north of her home.

    Elena’s case is not uncommon and could have been avoided. Numerous
detained parents whose children were not in foster care said that they’d
avoided this because they were allowed to make arrangements for their
children at the time of apprehension.


ice Discretion Is Allowed, But Not Used
After failing to allow parents to make appropriate arrangements for their
children at the time of arrest and apprehension, ICE has continued to
needlessly separate families once a mother or father is detained. While ICE
officials hold broad discretion in determining who to continue detaining and
who to release, many parents remain behind bars for extended periods while
their families move closer and closer to permanent severance.
    In many cases, this extended detention without release is in direct con-
tradiction with ICE’s own instructions for its staff. In June 2011, ICE Director
John Morton released a memo reiterating past ICE memos stating that ICE



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                            officers and attorneys have broad power to determine who they will target,
                            seek to deport, detain, or release from detention.62 The long list of factors
                            to be considered by ICE officials when deciding whether to detain nonciti-
                            zens or pursue a removal case against them is divided into 19 categories,
                            including the following:
                               • The person’s ties and contributions to the community, including family
                                 relationships
                               • Whether the person has a U.S.-citizen or permanent-resident spouse,
                                 child, or parent
                               • Whether the person is the primary caretaker of a person with a mental
                                 or physical disability, minor, or seriously ill relative

                                Though the memo could have significant impact, all indications from
                            our research suggest that this discretion has been used inconsistently at
                            best for mothers and fathers who risk losing their parental rights. One
                            reason that ICE may not be using discretion to release the parents is that
                            ICE officers and agents are simply not consistently asking detainees whether
                            they have children.
                                Only four of the almost 70 detained parents we met in six
                            detention centers said that ICE officers had actually asked them
                            if they had children. The four who said they’d been asked were detained
                            in the Hutto Detention center in Texas, a women’s detention center that
                            ICE says is a model facility, despite a record of sexual abuse by guards.63 The
                            other seven mothers interviewed in Hutto said that they had not been asked
                            about children. Since only 16 of all detainees have legal representation and
                            few have information about their ability to petition for themselves, many
                            who might be eligible for release are not granted relief.64
                                When ICE discretion appeared to be used to release parents, which ac-
                            cording to ARC’s research happens with some greater regularity for single
                            mothers than for other parents, mothers and fathers almost always had to
                            petition for their own release and often spent significant periods of time in
                            detention— in some cases close to a year—before they were released. This
                            contradicts the language of the memo, which states that it is “preferable for
                            ICE officers, agents, and attorneys to consider prosecutorial discretion in
                            cases without waiting for an alien or alien’s advocate or counsel to request a
                            favorable exercise of discretion.”

                            Limits of Discretion
                            The ICE discretion memo is also very clear about its limits, and lists the fol-
                            lowing broad categories as “negative factors” that should weigh against release:
                               • Individuals who pose a clear risk to national security
                               • Serious felons, repeat offenders, or individuals with a lengthy criminal
                                  record of any kind
                               • Known gang members or other individuals who pose a clear danger to
                                 public safety
                               • Individuals with an egregious record of immigration violations, including
                                  those with a record of illegal re-entry and those who have engaged in
                                  immigration fraud

                               While discretionary relief does result in some parents being released or
                            avoiding detention altogether, the narrow field of eligibility raises questions
                            about the extent to which the memo can protect children from remaining

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in foster care and parents from losing their parental rights. The list contains
“lengthy criminal record of any kind [italics added by ARC],” a broad cat-
egory that can include minor violations. For example, “Criminal Traffic Of-
fenses” comprise the third largest group. This can include violations as small
as driving without a license. There are indications that ICE may slow depor-
tations for this particular violation; however, ARC’s research found that, as
of June 2011, parents continued to be deported for such minor infractions.
    As immigration enforcement is increasingly devolved to local police de-
partments, the day-to-day risks of becoming detained grow, especially when
undocumented immigrants are driving because that augments their expo-
sure to police. When parents in jurisdictions without public transportation
infrastructure are undocumented, their only option is to drive. Only three
states—Washington, New Mexico and Utah—continue to allow undocu-
mented immigrants to get driver’s licenses, and these policies are embattled.

Fernando, a father of three U.S.-citizen children, had lived in North
Carolina for a decade when he was deported after repeatedly be-
ing pulled over by North Carolina police for driving without a license.
Because the state of North Carolina does not permit undocumented
immigrants to get licenses, Fernando was forced to drive to work with-
out one. He was arrested and quickly issued an ICE hold. According to
Fernando’s attorney, Fernando’s girlfriend could not afford to pay rent
or to pay for other basics for their children without her boyfriend’s
support. As a result, the children are now in foster care.
   Fernando has been deported, and both he and the children’s mother
are facing the termination of their parental rights. Fernando’s attorney
said, “Here in this area, it seems like before, to get deported you had to
do something with blood involved. Now, a simple traffic violation gets
you deported and a slew of other consequences happen.”



“Illegal Reentry”
Also included in the discretion memo’s list of “negative factors” are indi-
viduals with a “record of illegal re-entry and those who have engaged in
immigration fraud.” Immigration-related criminal charges were the second-
largest category of deportable offenses among those deported as a result
of a conviction. Both “illegal re-entry” and “immigration fraud” charges
criminalize the very act of being an undocumented immigrant, because most
undocumented immigrants, with no route to gain documentation use some
sort of fake paperwork just to obtain work to support themselves.65
   The charge of “illegal reentry” has put parents behind bars who, after
they’ve been deported, cross back over the border into the U.S. just to
be with their children. In October 2011, The New York Times reported that
about half of all noncitizens detained by Border Patrol at the U.S.-Mexico
border had been deported previously.66 The report stated that a growing
number of immigrants who are caught reentering the U.S. had previously
been living in this country for many years and are merely attempting to
rejoin their families.67
   In certain border areas, respondents said that parents who had been
deported regularly risk a return journey so that they can make it to court.
Because juvenile courts usually maintain a “don’t ask, don’t tell” policy on
reporting immigration status, these parents are sometimes able to return to
participate in their hearings and regain custody of their children. But in some
instances, they are picked up by Border Patrol and prosecuted criminally,
sometimes for extended periods, before being deported again.

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                                            Many immigrants who enter without inspection or proper documenta-
                                        tion are subject to misdemeanor and felony charges and can be sentenced to
                                        significant periods in jail or prison. First-time entrants can be sentenced to
                                        as much as 180 days in jail. Those convicted of “illegal reentry” for entering
                                        without papers after a previous deportation can be charged with a felony
                                        that carries prison terms from 2 to 20 years.68 Immigration-related criminal
                                        prosecutions have overwhelmed the federal courts. In 2009, there were
                                        91,899 federal criminal prosecutions related to immigration issues in the
                                        country. Fifty-four percent of these were for immigration charges, mostly
                                        “illegal entry” and “illegal reentry”.69
                                            In Brownsville, Texas, a mother’s parental rights were terminated and her
                                        children were put up for adoption because she is undocumented and was
                                        charged with “illegal reentry.” A dependency attorney who represented the
                                        children described the case:
                                            I had a case where the single mom of six U.S.-citizen children lived
                                            close to a major thoroughfare and the kids were out near the highway
                                            playing. Someone saw them and was afraid that the 3-year-old was
                                            going to wander into the road. The police and CPS arrived and the
                                            mother was arrested on neglectful supervision and child endanger-
                                            ment charges. Because she is undocumented, Border Patrol checked
                                            her criminal record, found she had been deported before so she got
                                            an illegal reentry charge and was not released. If she hadn’t gotten the
                                            ‘hold’... she probably would have been released and the child endan-
                                            germent charges would have been dropped. But here, the feds pros-
                                            ecute her for illegal reentry. It was a minimum of two years’ incar-
                                            ceration and she was going to be deported after that. We terminated
                                            her parental rights. Now, we are having difficulty getting the sibling
                                            group adopted together. If she were a citizen, she would have been
                                            bonded out in 24 hours. She would not have lost her kids.


                                   unrepresented in mandatory detention
                                        While our research did uncover instances in which ICE agents used their dis-
                                        cretion to release parents with children in foster care, most were among the
                                        shockingly low 16% of detainees with legal representation70 or were among
                                        a very small number of parents whose caseworker actively contacted ICE to
                                        ask for their release.
                                           Without a broader basis for relief, many families will continue to be
                                        separated by detention and deportation. For some parents, ICE discretion
 The Child Citizen                      offers little hope because their detention and deportation is mandatory based
 Protection Act: “Amends the            on federal law. Mandatory detention and deportation means that even
 Immigration and Nationality Act,
                                        immigration judges are denied the prerogative to release detainees or cancel
 in the case of an alien subject to
                                        an order of removal. Immigrants convicted of a broad category of charges are
 removal, deportation, or exclu-
 sion who is the parent of a U.S.
                                        subject to mandatory detention and deportation. Others are detained for
 citizen child, to authorize an         extended periods because ICE officers believe that if they were released while
 immigration judge to decline to        waiting for the decision of an immigration judge, they would flee. However,
 order such removal if the judge        immigration attorneys as well as parents interviewed for this report made it
 determines that such action is         very clear that parents with children in foster care are categorically
 against the child’s best interests.”   a low flight risk because their primary concern is almost always to
                                        regain custody of their children. Few parents would leave town without
                                        their sons and daughters.




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Victims of Gender-Based Violence at Risk
In a disturbing number of cases uncovered by ARC, ICE detained victims of
family and gender-based violence, and their children entered foster care.
Immigrant victims of gender-based violence are at particular risk of losing
their children to foster care for several reasons. First, victims of domes-
tic violence and human trafficking are often isolated from their networks
because traffickers and abusers cut them off from families and friends. As a
result, if they are detained by ICE, their children may have no other family or
close family friends who are available to care for them. Second, police often
call CPS automatically when children are present in homes where family
violence occurs. As a result, children are sometimes automatically removed
from their homes. In some instances, victims are also arrested and ICE
detains them because of their immigration status.
    Many of these women should have been protected from detention in the
first place, because victims of crimes can apply for visas in the U.S. Federal
law maintains specific categories of visas for victims of domestic violence and
human trafficking in particular. Additionally, in his June 2011 memo on ICE
discretion, ICE director John Morton explicitly included “victim[s] of domes-
tic violence, human trafficking, or other crime,” in the long list of factors that
“ICE officers, agents, and attorneys should consider” when deciding who to
detain and deport. Nonetheless, victims appear to be detained in immigra-
tion detention centers with disturbing regularity and for extended periods.

Domestic Violence                                                                        Immigrant victims
The Applied Research Center found that victims of domestic violence are
                                                                                         of domestic violence
too often detained in immigration detention centers and their children enter
foster care. Immigrant victims of domestic violence are faced with an                    are faced with an
impossible choice: remain with an abuser or risk detention and loss                      impossible choice:
of their children. Approximately one in nine of the stories recounted
to ARC in interviews and focus groups involved domestic violence.                        remain with an
    In most jurisdictions, if a report of domestic violence is made to the               abuser or risk
police and children are present, the police department will call CPS immedi-
ately and an investigation will ensue. A parents’ attorney in Maricopa County,           detention and loss
Arizona, described a case in which a report of domestic violence caused the              of their children.
initiation of the CPS case and a mother’s arrest and detention:
    I have a Mexican immigrant client detained by ICE for a year. She
    was a [domestic violence] victim and the police got involved and
    that’s when they found out that she was undocumented and so they
    had to go ahead and detain her. Eventually, they released her and
    permitted her to stay here in the U.S. based on a Violence Against
    Women Act visa. But the fact that she was detained by ICE was
    enough to push the kids into foster care.
        Her kids were in care for a whole year and there was no other
    family to take them. Now CPS is trying to help her get her sons
    back but the process is slow.

   In numerous cases, police arrested victims of domestic violence while
investigating a report of abuse. At least two women that ARC met in deten-
tion centers said that their abusers reported them to ICE. In other cases,
victims were arrested on assault charges after they defended themselves.




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                                        Hilaria was arrested in Phoenix, Arizona, because she tried to defend
Violence Against Women
                                        herself against her abusive husband. In October 2010, her husband
Act (VAWA): (From: “Protecting
Children: The Intersection of
                                        attacked her and she says she fought back, drawing blood. A neighbor
Migration and Child Welfare:            heard screams and called the police. When officers arrived, they
Emerging Issues and Implications”)71    arrested Hilaria for assault. ICE quickly detained her.
“A collection of federal laws,              Because their children were home at the time of the report, the
known generally as VAWA, was            police called CPS. When the CPS caseworker arrived, the officers and
first enacted in 1994 to address a      Hilaria’s husband said that Hilaria was the assailant, so the caseworker
widespread problem: non-citizen         left the children with the husband. Two weeks later, the child welfare
spouses who stay in abusive             department returned to check on the children. The caseworker suspect-
relationships because their             ed that Hilaria’s husband was using drugs and removed the children
partners and abusers have U.S.          from him, placing them in foster care.
citizen or legal permanent resident
                                            Two months later, sitting in a visitation room over an hour from her
status and are sponsoring the
                                        children, Hilaria said tearfully, “I’ve had domestic violence before but I
family’s visa petition. Until a non-
citizen has legal immigration status,   took it for my kids. Now they’ve robbed me. I did what I did to defend
she or he can be deported at any        myself and my kids.”
time and cannot get permission to
work legally. Often, the abusive
spouse will use the immigration
                                        Victims of Human Trafficking
sponsorship as a way to control         ARC also met victims of human trafficking, who were detained and are at
the undocumented spouse. The            risk of permanently losing their children.
VAWA legislation attempted to
acknowledge and address these           In May, 30-year-old Paula was one of almost 1000 detainees held at
complexities by helping lawful
                                        the time inside the Willacy Detention Center, in the Rio Grande Valley
permanent residents leave danger-
                                        of Texas. For more than a dozen years, Paula lived with a man 20 years
ous situations without prejudicing
pre-existing immigration petitions.
                                        her senior who she says brought her to the U.S. after he met her in
                                        Mexico. The man presented himself to the outside world as her partner,
…Domestic violence clients only         but behaved more like her owner, keeping her on a short leash and
qualify for VAWA when their             forcing her to work without pay cleaning the homes of his family and
abusers are either legal permanent      contacts. He forbade her from having contact with her family in Mexico
residents or U.S. citizens. While a     and she has not spoken with them for more than a decade. An attorney
VAWA petition is not automatic,         who represents her says she is a victim of human trafficking.
it can lead to residency for the            She had seven children with him since she came to the U.S. One of
spouse and children in question.        her daughters was very ill and at intervals required a machine to breath.
Credible evidence of abuse must             Paula tearfully recalled the night that, while the man slept, she piled
be provided, but this does not nec-
                                        her children into his vehicle and drove away. Because of the hasty
essarily include a police record.”
                                        escape, Paula could not take her daughter’s breathing machine. The
                                        next day, knowing that her girl could not survive without this machine,
                                        she drove to the closest CPS office and made the decision to voluntarily
                                        place her daughter in foster care until she could arrange to get the
                                        breathing machine or a buy a new one. She took her other children to
                                        a domestic violence shelter. But several months later, a sheriff’s deputy
                                        arrived and arrested Paula, charging her with neglect because she’d
                                        failed to provide her ill child with necessary care. She was brought to
                                        the local jail and the rest of her children were placed in foster care.
                                        Rather than being released on bond or spending a short time in jail,
                                        Paula was soon moved to Willacy. When ARC interviewed her, she had
                                        already been at Willacy for seven months, with no word of when she
                                        might be released or deported.

                                        Victims of trafficking may be at particular risk of having their children placed
                                        in foster care if they are detained. As an attorney familiar with the case
                                        explained, “Trafficking victims are by definition isolated. They have no
                                        support network at all. A lot of immigrants have extended networks, but
                                        trafficking victims don’t. Because of that, there’s nobody to take the kids to.”

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Failure to Protect
In a number of cases reported to ARC, children were removed from their
homes after incidents of domestic violence or sexual assault perpetrated
by the mother’s partner. These mothers were then themselves charged
with neglect because the child welfare department claimed that the moth-
ers knew about the violence or abuse and did nothing to stop it. Immigrant
women who fear that calling police will result in deportation are at particular
risk of being charged with “failure to protect.” These charges can result in
jail time and then lead immediately to ICE detention.

In New York State, an advocate reported the story of an undocumented
woman who was convicted on a “failure to protect” charge when her
adolescent daughter was sexually abused by the mother’s boyfriend.
The man battered the mother for years and regularly threatened to
have her deported if she reported the violence. When she found out
that he was sexually molesting her daughter, however, she reported
him to police. She was charged with “failure to protect” based on the
assumption that she knew about the abuse but failed to stop it. Her
two children were removed from her custody and placed in foster care.
After several months in jail, her attorneys succeeded in convincing the
criminal court judge that the woman was not a perpetrator but rather a
victim whose charges should be dropped. But before she was released
from jail, ICE moved her to a detention center. Collectively, she was in-
carcerated and detained for a year until she was finally released on her
own recognizance while waiting for the conclusion of her deportation
proceedings. The family is still not reunified.

    When a parent is charged with “failure to protect,” or any other kind
of child maltreatment, it may be held against her/him if she/he applies for
immigration status, including VAWA-based immigration relief. The fact that
a victim is charged criminally as a perpetrator may stand in the way of that
parent’s ability to regain custody and block access to immigration relief.

Children of Detained Mothers Remain                                                   Numerous detained
With Abusers                                                                          women said that since
Numerous detained women said that since being detained, their children
were now in the custody of their abusers. Unlike Hilaria, whose children              being detained, their
were removed from her abuser, these women were tormented by a dual                    children were now
fear: on the one hand, they worried that their children were unsafe living
with men who abused them; on the other hand, they feared that if they                 in the custody of
called CPS to protect the children, they themselves might lose their parental         their abusers.
rights if they remained in detention or were deported.

A 34-year-old Ecuadoran woman named Maria who has lived in
Minneapolis, Minnesota, for almost a decade was pulled over by a state
police officer as she drove her daughter to school one morning. The
Minnesota Department of Public Safety has signed a 287(g) agreement
with ICE, and when Maria rolled down her window, the officer asked
her for her papers. Because she is undocumented, she had no driver’s
license, so the officer arrested her.
    Before taking her to the station, the police officer said that she could
call someone to pick up the girl, but Maria told the officer that she had
no family in the area. When the officer told her that the only other
option was to call CPS, Maria called her elderly landlady who agreed

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                            to take the girl. Maria was soon detained by ICE and moved over 1000
                            miles away to the Hutto women’s detention center in Texas.
                                A few days later, Maria’s former boyfriend, who was the girl’s father
                            and who had abused Maria for years, arrived at the caregiver’s house
                            and took his daughter away. The girl had no previous relationship with
                            the man, who now has several other children and according to Maria,
                            makes her daughter sleep in the living room. Maria does not know
                            whether to call CPS and risk losing her daughter, or leave the girl in
                            what might be an unsafe home with a man who she knows is violent.


                            ICE obstructs Due Process
                            Once parents are detained and their children are in CPS custody, parents
                            are largely separated from their children and are prevented from participat-
                            ing in case plans and advocating for their families. Detention makes it nearly
                            impossible for mothers and fathers to comply with court-mandated case
                            plans, denies them access to services in which they are required to partici-
                            pate to get their children back, erects barriers to visits between children and
                            parents, and makes it very difficult for parents to communicate with their
                            attorneys or caseworkers or to appear in court.
                                In none of the accounts shared by detained parents with children
                            in foster care or by attorneys, caseworkers and judges was a detained
                            parent allowed to physically appear at their dependency hearings.

                            Ricardo has spent nine months in immigration detention 800 miles
                            away from his two babies, who are now almost 1-year-old and 2-years-
                            old and living in foster care with strangers in Napa, California. Ricardo
                            looked through the double-paned window of the visitation booth at
                            the Pinal County Jail in Arizona where he is detained and said, “I love
                            them like nothing else.” He has not seen the younger one since she was
                            2-weeks-old. His children were removed from his custody because a
                            babysitter left them alone for less than an hour and he was arrested for
                            child endangerment. When his information was run through the Secure
                            Communities database, ICE moved him to detention.
                               None of his family, let alone the caseworker responsible for his
                            children’s case, can make the drive to visit him. Even if they did, the
                            detention center forces visitors to communicate with detainees through
                            a video feed from another room in the facility.
                               Weeks after the fact, Ricardo learned that the dependency court
                            held a hearing about his case without informing him. His children have
                            now been in foster care for 10 months and he has been almost fully
                            excluded from proceedings because he is detained. He does not know if
                            he has been issued a case plan and the CPS worker, whom Ricardo was
                            finally able to call Collect from the detention center, says the attorney
                            for the child welfare department in Napa is pushing to have the children
                            adopted by the foster home where they now live. From inside detention,
                            there is little he can do to stop the dissolution of his family.

                            A judge in Pima County, Arizona, explained:
                                Detention becomes a factor because [detainees] can’t participate in
                                court hearings. If they are in a detention center, hardly anyone knows
                                how to find them. … Parents [should] have an absolute right to be
                                present in a court hearing. … We order that if they are in custody
                                they appear, but these orders are not honored by the detention
                                facilities. We don’t have the authority over the federal center.

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Parents are often cut off entirely from the juvenile court and child welfare
process when they are detained. “If [parents] are in detention,” said a chil-
dren’s attorney in Charlotte, North Carolina (Mecklenburg County), “they
have to do the work to get in touch because we can’t reach them. It ends
up being like a black hole.” Caseworkers and attorneys say that contacting
and adequately involving detained parents in the dependency legal process is
often impossible.
    From the perspective of detained parents with children in foster care,
detention is experienced as a legal no-man’s-land as they struggle to contact
their attorneys and CPS caseworkers and are often left in the dark as to the
progress of their dependency court case or the whereabouts of their chil-
dren. “I don’t know anything about a reunification plan,” said one detainee.
“They haven’t told me anything. The CPS lawyer has not called or contacted
me; the caseworker hasn’t either. I’m in the dark here.”
    Some child welfare workers stop trying to contact detained parents
altogether. A child welfare investigator in another county in North Carolina
lamented, “We are supposed to make contact with them and supposed to in-
volve them in the process. When they’re in detention, we don’t. We contact
them before they are moved there, but when they are detained, we can’t talk
to them.”
    Attorneys and judges made clear that ICE obstructionism is a matter of
policy. Even detainees in the same jurisdiction as where their de-
pendency hearings are held were not allowed to appear in court. In
San Diego, an attorney who represents parents said, “You can basically see
where the detainees are held, you could walk right over there, but ICE won’t
bring them over for court, ever.”

Inconsistent Phone Access
Typically, juvenile dependency courts allow parents who are unable to be
physically present in the court to appear by phone. While ICE detainees are
sometimes able to arrange telephone calls for their juvenile court dates, ICE
appears to have no uniform practice to ensure that this can happen. Detain-
ees said that their ability to arrange calls depended entirely on the discretion
of the particular ICE officer in charge of their case. All of the parents we
interviewed with children in foster care missed at least one and
usually more than one of their hearings because they were de-
tained and could not appear in person or by phone.                                     “Basically, ICE is
A Maricopa County, Arizona parents’ attorney said:                                     obstructionist to
    In general, one of the problems we’ve had as attorneys is that when                the process. It
    clients are in ICE detention, [juvenile] courts will routinely allow               makes it basically
    them to appear telephonically for the hearings, but the problem
    is that a lot of times ICE detention for whatever reason doesn’t                   impossible for the
    let them get on the phone. I have had that problem on a couple of                  court to do its job.”
    cases, even though there’s an order from the [juvenile] court [for
    ICE to produce the parent].

   In all of the six states that ARC focused on, some of the attorneys inter-
viewed said that they have not once had a detained client who was allowed
to participate in a hearing, even by phone. As a result, parents lose the op-
portunity to advocate for their families as courts are deliberating their future
relationship with their children.
   The legal processes of determining where a child should be placed either
temporarily or long-term and then whether a parent is fit to maintain or


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                            regain legal custody almost always occur without the detained parent’s
                            regular involvement. A county attorney who represents CPS in El Paso Coun-
                            ty, Texas, juvenile court put it most clearly: “Basically, ICE is obstructionist to
                            the process. It makes it basically impossible for the court to do its job.”


             Detention Excludes Parents from Participation
             in Family Reunification Plan
                            Parents in detention are almost universally denied access to the services
                            they need to comply with their reunification plans because ICE, or the coun-
                            ties and private companies contracted to run many detention centers, simply
                            do not provide detainees access to any services. As a result, the termination
                            of parental rights and permanency timelines move forward while detained
                            parents are largely powerless to complete their case plans.
                                A caseworker in the Compton neighborhood of Los Angeles described an
                            open case involving a detained mother: “It’s kind of like a catch-22. You know,
                            in a sense, we’re asking her to do something, but we’re not allowing her to do
                            it. You know, so it’s kind of like [detainees] are not in a good position.”

                            In the Baker County Jail in Florida, Sarah, a British woman who’d been
                            a U.S. resident for almost two decades, was one of two women among
                            over 20 in the detention pod whose children were in CPS custody. Sarah
                            was able to contact her caseworker through a friend. The caseworker,
                            who was employed by a private case management agency, sent Sarah a
                            letter that read as follows:
                                 This letter is to advise you that as part of your outstanding
                               dependency case plan tasks, you are court ordered to complete:
                                   1. Parent Educational Training for Teens
                                   2. Psychological Evaluation and follow all Court approved
                                      recommendations
                                   3. Substance Abuse Evaluation and follow all Court approved
                                      recommendations
                                   4. Family Counseling upon release
                                   5. Stable Housing and Income….

                            Sarah could do none of these things from within detention.
                               The document that the caseworker sent to Sarah went on to read,
                            “One of the tasks in your case plan is to visit with your child.”

                                Most reunification plans require parents to visit with their children. In a
                            normal case plan for a family in which the children have been taken from the
                            parents, parents are first allowed to visit with their children under caseworker
                            supervision and then move to unsupervised visits and eventually to reunification.
                                However, visitation can be impossible for detained parents. Detainees
                            are often transferred to detention centers far from their homes, and child
                            welfare departments and dependency courts have little knowledge of where
                            immigrant detainees are taken or how to find them. In New York City, an
                            advocate for parents said a client was incarcerated locally and then just be-
                            fore she was to be released, “ICE grabbed her and brought her to detention.
                            We could not find her. Turns out, she was transferred to Pennsylvania and
                            then to Arizona. We ended up connecting with an immigration attorney and
                            finally found her after several months.”
                                Detainees are transported an average of 370 miles from the place of their
                            initial detention.72 Many are moved even farther. Non-citizens identified by


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ICE in New York City’s Rikers Island, for example, are
often moved first to Pennsylvania or New Jersey and then
flown to South Texas—a total of almost 1800 miles.
    While the Obama administration has said
that it plans to overhaul immigration detention
practices, including making efforts to keep
detainees closer to home, as of August 2011, this
promise does not appear to have taken effect
in any significant way. Most of the detainees we
interviewed and those we heard about had been
transferred far away from their children.
    In the summer of 2010, ICE implemented an online
detainee locator system, which anyone with accurate
                                                                   Detainees are   transferred
basic information about a detained person can use to find            an average of  370 miles
out where that detainee is being held. When discussions                     from their homes.
of detainee transfers arose among focus groups in the
six key states we explored, few child welfare case-
workers or dependency attorneys had ever heard of the locator
system. Furthermore, while the locator is a needed step in the process
of making immigration detention more transparent, when detainees are
                                                                                                 408,OOO child
located, it does not mean they are able to communicate any more easily with                        in foster care at en
those on the outside.                                                                                  fiscal year 2010
    Even when parents are detained close enough to their homes to make
visits possible, those visits rarely happen. First, ICE detention centers are
not hospitable places and it can sometimes be difficult to organize visits. The
Eloy Detention Center in Arizona, for example, is a sprawling barbed wired
complex. To get in, visitors must be buzzed through two locked gates, all
surrounded by barbed wire, and then wait in line at a metal detector for a
guard to check if they’ve been approved for the visit. In at least two of the
six detention centers where we travelled, visitors can only speak with their
family members through video feeds.

Sarah is detained at the Baker County Jail where, if her daughter’s
caseworker were to drive her to see her mother, they would not be
allowed to have a contact visit.
    Sitting at a metal table in the common area outside, a large open
concrete triangle lined on its hypotenuse with two stories of prison cells
where the women sleep, Sarah spoke over the voices of other detain-
ees. “Look at this line,” she said,” pointing to a part of the letter from
the child welfare agency that read, “Should the services that you need
to complete your case plan tasks not be available at your present facil-
ity, you should inquire… about transferring to another facility where you
can complete your case plan tasks.”

   ICE detainees cannot request their own transfers, and even if they could
no detention center offers services.
   For many parents, incarceration in jail or prison can actually be more
conducive to completing a case plan than detention. Many local jails provide
inmates with drug treatment programs, parenting classes and counseling,
among other programs that can help a parent to carry on with the tasks in
their case plans. None of this is available to ICE detainees.
   A caseworker in Mecklenburg County, North Carolina, explained:
    In local jails they can get parenting and domestic violence classes and
    counseling, but not in detention. I have had cases where parents were


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                                engaged in services in the local jail and then when they got moved to
                                Georgia, we lose touch. …If you are [detained], you are not given the
                                same opportunities even as those given in the jail system.

                                The caseworker added that even those detainees held in local jails are not
                            allowed to participate in services available to other inmates. “They offer ser-
                            vices to people inside the jails, but these services are not available to the ICE
                            detainees in the local jail because they don’t want to waste their resources in
                            the jail on people who will be sent away quickly.”
                                Courts sometimes fault parents who are detained for their inability to
                            participate in their case plan. An attorney in Maricopa County, Arizona,
                            explained: “The court will find them to not be compliant with case plan tasks
                            and parental rights are terminated. Once ICE gets a hold of an individual and
                            they’re in the system, they’re likely going to be deported [and] parents usu-
                            ally end up losing their kids.”


       Long Detention and Short Permanency Deadlines
                            Even when courts recognize the significant barriers facing detained parents
                            and do not find them to be incompliant, courts will rarely slow the ASFA
                            time clock or wait to move forward with a permanency plan to account
                            for the needs of families when parents are detained. According to focus
                            group participants and interviewees, judges usually deny requests to issue a
                            “continuance” based on a parent’s detention. A San Diego parents’ attorney
                            explained, “We can always request a continuance but really, the courts have
                            never granted one in my experience for a detained parent.”
                               The attorney said judges deny requests to extend a case while parents
                            are detained because, “ICE holds are indefinite. They have no clear time
         Detention itself   period attached to them and we have no concrete idea of when they can get
                            them to court. [The court] won’t extend for that because they don’t know
            can result in   how long they’re extending for.”
       children moving         Because courts generally will not stop the clock for detained parents,
                            detention itself can result in children moving into permanent placements
        into permanent      and ultimately into adoption. An attorney who represents the child welfare
       placements and       department in Hardee County, a small rural area in southeast Florida, told a
                            story about a mother whose detention contributed directly to the termina-
          ultimately into   tion of her parental rights and the adoption of her children. In the case, the
               adoption     central problem with detention was the extended time she spent in it.
                               As a general matter, the attorney said:
                                A delay could well mean that if returning the child to that parent
                                was a viable option, we are delayed just trying to find out what is
                                going on, if that parent is looking at being deported or is looking at
                                being detained a long time, then all of a sudden the gears shift on
                                where we are going with that case.

                            In one of these cases, the attorney explained:
                                The children have now been adopted. We spent five months locating
                                this father, figuring out whether he will be deported, whether they
                                will be released. We were moving toward reunification locally with
                                the father and then he was deported. The detention slowed down the
                                reunification process. It delayed the process. It would have just taken
                                a week to get a home study and it would have been finished and done.
                                Had he not been detained, we would have reunified and we would
                                have closed the case. If he had been released after arrest [rather than


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    being detained] he could have reunified. Then, if he’d been deported,
    he could have been on his way to Mexico [with his son].

    In at least three state states—Nebraska, New York and Colorado—there
now exist statutory exceptions to termination of parental rights deadlines
when parents are incarcerated. Colorado law does not require courts
terminate parental rights in the normal deadline of 15 of the most recent
22 months if the child’s extended stay in foster care is due to circumstances
beyond the parent’s control, including a parent’s incarceration.73 New York
allows child welfare agencies stop the termination of parental rights clock and
extend it beyond standard timelines in cases where a parent is incarcerated.74
    However, although immigration detention is certainly “beyond a parent’s
control” and very similar to incarceration (albeit more isolating), the aforemen-
tioned exceptions do not apply. Because states have not passed exceptions for
detainees, detention can lead directly to the termination of parental rights.



Child Welfare Caseworkers and Attorneys Lack
Knowledge about Immigration Enforcement
Because detainees have such a difficult time advocating for themselves in
juvenile dependency courts, and few are represented by attorneys in im-
migration court, child welfare caseworkers and departments are among the
only possible voices that detainees have in advocating discretionary release
of a parent. To be clear, the instances in which this advocacy occurs are
exceedingly rare. Of all the hundreds of cases reported to ARC, there were
only five where CPS involved itself in advocating for a parent’s release.
   In at least one jurisdiction we explored—Maricopa County, Arizona—
administrators of the child welfare department reportedly prohibited case-
workers from assisting an immigration attorney who was advocating for the
discretionary release of a detainee. The caseworker, who spoke with one
of our researchers on the condition of anonymity, explained that an immigra-
tion attorney representing a detained mother of several children called the
caseworker to ask for some information about the children that could help
win her release:
    I had to go through my attorney general to get these documents and
    I asked her and she said the department is absolutely not open to
    sharing anything. She said, ‘You are not to pass on these children’s
    birth certificates or anything else.’ Of course these things would
    help her to argue for release.

In a handful of cases, caseworker involvement did help secure a parent’s
release. In Cabarrus County, North Carolina, a case manager described a
2009 case in which a mother was arrested for driving without a license and
then detained by ICE. Her children were in CPS custody at the time she was
detained but were about to be reunified with her. According to a supervisor
in Cabarrus County, the department “provided ICE a letter saying that it was
our intention to place the child with her but that we needed to ensure that
she would not be deported. ICE actually released her and we returned the
child to her and closed the case.”
    In a county in Maryland, a supervising attorney in a dependency represen-
tation office called a friend who worked for ICE in Washington, D.C.,
to advocate for the release of a parent. “It was a very, ‘who do you know’
kind of scenario,” said an attorney involved with the case. The parent was
eventually released.

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                               Because child welfare departments are tasked with reunifying children
                            with their parents whenever possible, this sort of advocacy would seem well
                            within the bounds of their mandate. In fact, not doing so could be liberally
                            construed as a failure to make “reasonable efforts” to reunify families.

                            The Trauma of Separation
                            The prolonged separation of children from their parents has traumatic
                            effects on both parent and child, according to parents, caseworkers, and
                            others involved in the child welfare system to whom we spoke. This includes
                            foster care providers, who are intimately involved in the lives of children
                            separated from their parents.
                                A man in Arizona who has served as a foster parent for dozens of chil-
                            dren over the past decade described the impact of extended separation of
                            a mother from her baby daughter after the mother was detained for driving
                            without a license and her 2-year-old baby was placed in foster care. The baby
                            was with a babysitter when the mother was detained. At day’s end, when the
                            woman did not arrive as she always did to pick up her daughter, the babysit-
                            ter called CPS.
                                The girl, now 3-years-old, has lived in foster care with this man and his
                            wife for a year. The man helped the girl’s mother secure pro bono im-
                            migration legal representation, and after six months in detention, she was
                            released. The department is now moving toward reunification, but that
                            process is slow and, according to the foster father, is only happening because
                            “this particular caseworker is totally committed to getting them reuni-
                            fied. She said from the onset, ‘we are going to reunify this family here or in
                            Mexico.’ If it were a different caseworker who didn’t speak Spanish and had a
                            different outlook, this girl would have been on her way to adoption.”
                                If eventually this girl is able to return to her mother, they have been
                            through more than any family should have to endure. Speaking of the emo-
                            tional impact that the separation has had on the 3-year-old, the foster care
                            provider said:
                                The girl is so deeply tormented now. First was the initial trauma of
                                the separation. Now she spends time with her mother three times
                                a week as they move toward reunification. They have weekend
                                sleepovers when we can get them approved. But she’s been with us
                                for a long time. She calls my wife mommy and me daddy. You can
                                tell she’s tormented. It’s like, ‘who am I supposed to love, these
                                strangers who I call mommy and daddy or this woman who speaks
                                Spanish?’ She has to speak English in our house because my wife
                                does not speak Spanish. She’s lost some of her Spanish. That was
                                a significant source of contention. The mom was furious that her
                                daughter does not speak Spanish.

                               Caseworkers and attorneys repeatedly described cases in which children
                            were placed with foster families where a language other than the parent’s
                            language was spoken. In some cases, children’s attorneys and caseworkers
                            actually argued that because of this loss of language, reunification no longer
                            made sense for the child since communication between parent and child
                            would become difficult.
                               A parents’ attorney in Maricopa County, Arizona, recounted, “I have a
                            case that has been open for three years. [The department] will not give her
                            kids back, in large part because the case has been open for so long and the
                            older girls don’t speak Spanish anymore and the younger one has virtually no
                            relationship with mom.”


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    Other interviewees talked about a number of other troubling results
of time spent in foster care. A Mexican woman, detained for nine months
before she was deported, says her 14-year-old daughter, the oldest of her
five children, became pregnant while living in a foster care group home. She
also believes two of her younger children were abused in the foster home
where they now live. Indeed, numerous studies have found that rates of
physical and sexual abuse of children in foster care are significantly higher
than the rates in the general population.75

Conclusion
After long periods of isolation while in detention, parents are often deported
with little notice and are not allowed to reunify with their children between
detention and deportation. While some deported parents choose to leave
their children in the U.S. with family or friends, all of the 19 detained or
previously detained parents with children in foster care that we interviewed
said they wanted to take their children with them if they were deported.
   As the federal government sets deportation records, children and families
are shattered. Parents in detention are not only separated from their chil-
dren but also denied the ability to meaningfully participate in their court-
ordered reunification plans. Immigration enforcement is obstructing the
juvenile justice system and violating families’ rights to remain together.
   Immigration and Customs Enforcement should halt deportations of
parents of U.S.-citizen children. If deportation proceedings occur, ICE should
release parents on their own recognizance and expand the use of commu-
nity-based supervisory programs. Meanwhile, child welfare departments
should develop clear policies for ensuring that detained parents can maintain
contact with their children and are not penalized because they are detained.
Child welfare departments should also work to support undocumented
victims of family violence who may be eligible for relief from deportation
through the Violence Against Women Act.

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IV: Deportation, Child Welfare Practice
and Threats to Family Reunification
                            In January, Roberta was deported to Mexico after spending seven
                            months in an Arizona detention center. Roberta’s five young children
                            were placed in foster care.
                               A children’s attorney familiar with Roberta’s case explained, “The
                            mom is detained right now and she’s likely going to be deported.” The
                            attorney said that as long as Roberta remained in detention and there
                            was still a chance that she might be released, the child welfare depart-
                            ment would maintain a plan to reunify the family. “But it’s only going to
                            remain that way until she’s deported. In that case, then it’s likely going
                            to be severance and adoption.”
                               Separated now by the U.S.-Mexico border, Roberta cannot make the
                            journey back to fight for her kids. An arrest for a heedless mistake in
                            Phoenix that would likely have triggered only a short interruption in the
                            custody of her children were she a citizen, threatens to result in the ter-
                            mination of the 35-year-old’s parental rights because she was deported.
                               Roberta’s children are now in two different foster homes, while
                            Roberta is in Mexico with no money and only a shallow network of
                            connections to support her. She has lost all contact with her children
                            and caseworker.


                            reunification with deported parent
                            Parental deportation too often marks the end of any prospects for family
                            unity when children are in the child welfare system. Child welfare depart-
                            ments and courts often move to terminate the parental rights of mothers
                            and fathers who have been deported. Even when undocumented parents are
                            not detained, some child welfare departments and attorneys object to placing
                            children with them because of the possibility that they might be deported.
                            The assumption is clear: children should not be allowed to live with their
                            parents if their parents have been deported to another country or if they
                            are at risk of being deported. Although research shows that outcomes for
                            children are ultimately better when they are reunified with their own parents
                            or placed with relatives, children of deported parents and with adult family
                            members who are undocumented face barriers to this end. Parental
                            deportation should not be tantamount to the termination of family bonds.

                            Lack of Policy
                            With some exceptions, most child welfare departments lack clear protocols
                            on reunifying children with deported parents.
                               An attorney for Florida’s child welfare department in Tallahassee
                            explained: “[The child welfare department] does not have policies on much
                            of anything because we make it all case by case. We want to make the best
                            decision for the child. But of course, sometimes people’s ideology gets in the
                            way when we don’t have policy.”
                               In some jurisdictions, policy has not been created because relevant cases
                            do not emerge with enough regularity to generate the will to do so. In other
                            states, however, it is clear that child welfare department administrators have
                            made the intentional decision to forego explicit policy to remain under the
                            radar of anti-immigrant politicians and groups.


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   In Arizona, a child welfare administrator spoke to ARC on the condition
of anonymity and said, “There’s no policy here because there is pushback
from the powers that be in the state… There are legal objections from the
attorney general and policy objections from administrators. Ever since SB
1070 was passed, there’s no discussion at all.”

   state anti-immigration bills
   In 2010, the state of Arizona               ARC’s interviews with case-        ARC conducted research in
   passed what at the time was             workers and attorneys in Ari-          Florida at the same time that the
   the most extreme immigration            zona, and in Florida where an SB       state’s legislature was debating an
   restriction bill ever passed by a       1070-like bill was proposed but        SB 1070-like bill. Even though the
   state legislature. The bill, SB 1070,   defeated, found that the pres-         Florida bill did not become law,
   required local police to check          ence of such laws, or the prospect     caseworkers and attorneys said
   the immigration status of anyone        of their passage, significantly        that its introduction alone had a
   suspected of being an undocu-           impacts child welfare work. In         chilling impact on child welfare
   mented immigrant and made it            Arizona, numerous caseworkers          work and made it more difficult to
   a criminal violation for undocu-        and attorneys said that the law        work with immigrant communities
   mented immigrants to be present         generated significant confusion        to maintain family unity.
   within the state. A federal court       among child welfare staff as to            Importantly, while ARC’s
   blocked most components of the          what services and supports they        research found that state im-
   bill, yet numerous other states         are allowed to provide to fami-        migration restriction legislation
   soon moved to pass similar laws.        lies with undocumented parents.        had a negative effect on day to
   While the legislation was defeated      Meanwhile, child welfare staff in      day child welfare work, the most
   in most states, Georgia, Alabama,       Arizona said that since the pas-       significant driver of detained/
   Indiana and Utah all passed laws        sage of SB 1070, it has become         deported foster care cases is the
   that mimic Arizona’s. Alabama’s         more difficult to locate relatives     federal government’s immigration
   bill went significantly further than    willing to act as kinship caregivers   policy, especially regarding its use
   Arizona’s by requiring schools to       for their young family members.        of local jails and law enforcement
   verify students’ immigration sta-       Caseworkers said that these fami-      to deport noncitizens.
   tus. A court recently blocked that      lies now fear that if they come
   portion of Alabama’s bill.              forward, they will be deported.

    In other cases, the failure to make policy is articulated as a means of
protecting the department from conservative attack. A CPS administrator
in Texas said, “We keep the policies vague. Every so often we get an inquiry
from a conservative legislator who wants to know what we are doing with
our funding so we don’t try to make any policy about it to stay away from
that controversy.”
    A parent’s attorney in North Carolina, who had represented several
deported parents, asked a CPS administrator whether there was a policy
on working with parents in another country. The response: “We specifically
do not put it in writing. We don’t want to be bound by anything like that. …
Once we come out with a [policy], we’ll get a backlash.”

Systemic Bias and Borders on Parental Rights
Whatever the reason, this policy silence leaves a wide-open space for sys-
temic bias to prevent reunification of children and parents. Without explicit
or enforced policies to facilitate reunification with detained or deported
parents, systemic bias against placing children with their parents in other
countries can take hold. One of the central barriers to the reunification of
children with parents who have been deported is a deep bias often articulat-
ed as a belief that children are better off in the U.S., regardless of who they
live with. The objection often supersedes the child welfare system’s mandate
to move toward family reunification whenever possible, and places borders
on family and parental rights.


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                               Because most child welfare departments lack explicit policy or practice
                            guidelines for addressing the needs of children and deported parents, includ-
                            ing little protocol for involving foreign consulates to pursue an international
                            reunification process, these biases can flourish.
                               An attorney in a rural county in North Carolina said, “There is no educa-
                            tion or policy really about how to deal with these cases.”

                            The attorney’s client, an undocumented father, was recently deported to
                            Mexico for driving without a license and his children are in foster care.
                                Before the father’s deportation, he was supporting his family and by
                            all accounts, a loving father. But when he was deported, his children en-
                            tered foster care because their mother could not afford to support them
                            without his income. Now the man wants his children to be placed with
                            him in Mexico, but the department has thus far refused to do so because
                            of concerns that it is not in the children’s best interest to live in the rela-
                            tive poverty that their father has found himself in since deportation.
                                According to the father’s attorney, “He is a good father and the fact
                            that he may be living in different standards now because he’s in Mexico
                            should not prevent children from reunifying with their father.”

                                Many of the attorneys, social workers, children’s advocates and judges
                            who we spoke to raised questions about whether any consideration should
                            be given to reunifying U.S.-citizen children with their deported noncitizen
                            parents. These biases were especially pronounced from children’s attorneys
                            and advocates and some caseworkers.
                                An attorney in El Paso, Texas, who represents parents and children said,
                            “When you break down the cases, placement with parents in Mexico happens
                            very rarely. In my cases it might have happened every five years. The kneejerk
                            reaction of almost everyone is that the children are better off in U.S.”
                                A parents’ and children’s attorney in Brownsville, Texas, said, “With the
                            climate in Mexico, nobody wants to send any of the kids to that—it’s unsafe
                            there now. Most of the attorneys don’t want to send the kids back to
                            Mexico and their arguments are, one, poor conditions in that county and,
                            two, they only get public education up to a certain age before the parents
                            have to pay for it. Most of our parents don’t have education themselves; they
                            are poor and they don’t have the ability to pay for further education.”
                                After clearly stating that the barrier to reunification in these cases is an
                            objection to the conditions in Mexico, not to the parents’ ability to parent,
                            the attorney argued that life in the U.S. provides a better alternative:
                                “The kids can stay here, get a good education, and get it publicly paid for.
                            It would be contradictory if we want to protect the kids but then we send
                            them to Mexico...”
                                As this attorney’s comments suggest, these concerns appear to arise not in
                            relation to the parent’s “fitness” or ability to raise children but, rather, stereo-
                            types about conditions in the country to which a parent has been deported.
                            Because child welfare systems are tasked primarily with reunifying children
                            with fit parents, the impact of this bias raises serious due process questions.
                                A CPS caseworker in Los Angeles objected to what he sees as a systemic
                            bias against placing children with their parents internationally. “Ultimately, as
                            social workers our role is to reunify families. I’m not saying that ICE is right
                            or wrong; what I’m saying is, let us do our job, let us reunify families. We are
                            not here to deal with immigration; we are here to reunify children [with par-
                            ents]. That’s our goal and that’s our job. That’s what social workers do.”



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    A central barrier to placing children in other countries is an anxiety
among child welfare attorneys and courts about giving up jurisdiction over a
dependency case, even if that case was near closure.
    A judge in Pima County took this position explicitly. “As a general matter,
everyone is hesitant about placing a kid in another country because from a
practical standpoint we are going to lose control of the case. Once I place
the child [in another country], the judge basically ends up being asked to
dismiss the dependency.”
    Child welfare departments and courts object with some regularity to
placing children internationally because they cannot continue to supervise
a family. Stories of these objections emerged from almost every county we
explored. While these concerns may sometimes be justified, there appears
to be a clear predisposition against sending U.S.-citizen children to another
country, regardless of the considerations of a parent’s fitness.
    A case described by a parents’ attorney in Orange County, California, makes
it clear that the final obstacle to reunification in another country is often less
about the parent and more about a belief that children are better off in the
U.S. The attorney described a case that did not involve a deported parent, but
rather, an undocumented father who wished to take his children with him back
to Mexico because he felt that life in Mexico would be safer for his children
based on the rising number deportations and the lack of access to medical care
for undocumented immigrants in the U.S. The attorney explained:
    The father had taken sole custody of the children after charges were
    filed against the mother. He had never been accused of any neglect-
    ful behavior. Through the judge was otherwise ready to close the
    case entirely and let the family live without CPS supervision, the
    judge refused to do so because the father said he wanted to go to
    Mexico. The lawyer for the department made the allusion that the
    kids couldn’t be better off in Mexico, so why would we want them
    to go there? I argued that it was in best interest of children to let
    them be with their father, but the court did not see it that way.

   The most serious effect of this reluctance to turn over jurisdiction com-
bined with objections to placing children in other countries is that deporta-
tions can lead almost seamlessly to termination of parental rights.


Consulate Involvement
The deportation of parents with children in foster care does not always spell
the irreparable shattering of that at family. However, child welfare depart-
ments must make particular efforts to facilitate reunification after parents
are deported.
   ARC’s research found that children are reunified with their families fol-
lowing parental deportation only if foreign consulates are involved in a case.
Consulates can serve as a bridge between deported parents and the child
welfare departments. They can help parents access case plan services in
other countries, facilitate home studies, conduct searches for parents who
may have been deported and now have a child in foster care, process pass-
ports so that children are allowed to leave the U.S., and help facilitate visits
between parents and their children in border regions. Consulates can also
transport children to be reunified with parents who have been deported.
    Few child welfare departments systematically contact consulates when
child welfare departments take custody of the U.S.-citizen children of a
detained noncitizen. Based on interviews, the practice of involving consulates
when a foreign national is involved in a case is increasing in some jurisdictions.


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                            However, even in these jurisdictions, rarely are those relationships formal-
                            ized. As a result, consulates interviewed for this report believed that they
                            heard of only a fraction of cases involving detained or deported parents from
                            their countries. Our research confirms this.
                                ARC surveyed 14 Mexican consulates in 10 states and the Dominican
                            Consulate in New York. All of these consulates were currently involved
                            in reunification efforts for families with deported parents. However,
                            consular offices are aware of only a fraction of the cases that
                            emerge in their regions.
                                For example, in Maricopa County, Arizona, ARC’s analysis found that
                            there are approximately 250 children currently in foster care with detained
                            or deported parents. However, the Mexican consulate in Maricopa County
                            reported that it is currently assisting with only 31 cases involving detained
                            or deported parents. The average child welfare investigation involves two
                            children, which would mean the consulate is likely involved with 62 children.
                            This suggests that the consulate in Maricopa County may be aware of only
                            about one in four cases. In certain areas, the consulates were aware of an
 BORDER COUNTY              even smaller proportion of cases.

                            Consulates in Border Counties
                            Counties we explored that are adjacent to the border with Mexico were

                re]         more likely than non-border counties to have high rates of CPS cases involv-

              ca
                            ing detained and deported parents. This comes as no surprise because child
            r               welfare departments in border counties have higher rates of cases with de-
         ste                tained and deported parents. ARC’s research found that in counties
      [fo                   included in our within Border Patrol’s jurisdiction 100 miles from
                            the border, children in foster care were, on average, about 32
                            percent more likely to have a detained or deported parent than
                            in other counties (an average of 4.9% of foster care kids in border
children in foster care     communities compared to 3.7% in others). Aggressive border
are 32% more likely         enforcement exerts a statistically significant impact when ARC research
                            controls for the size of the noncitizen population and existence of a
to have a detained or       287(g) agreement.
                                Perhaps because of the relatively high percentages of detained/deported
   deported parent          parent cases in border areas, border counties are generally more
                            likely than others to have established policies or protocols for
                            dealing with cross-border cases. The result is that border counties
                            may ultimately be more likely to successfully reunify families with
                            deported parents.
                                Of the counties we explored on the U.S.-Mexico border, several have
                            established formal or semi-formal relationships with the Mexican consulates
                            and in some instances with Mexico’s federal child welfare agency called DIF
                            (Desarollo Integral de la Familia). Among the counties where we conducted
                            focus groups, El Paso, Texas, San Diego, California, and Los Angeles, Califor-
                            nia, have established international liaison positions to coordinate with foreign
                            consulates and with DIF.
                                A judge in El Paso said: “The liaison will be in touch regularly with the Mexi-
                            can authorities and will also work with the TV stations in Mexico to get the
                            word out that CPS is looking for parents. The liaison arranges for home stud-
                            ies and services in Mexico. He is an employee of State of Texas, Region 10.”
                                San Diego’s international liaison works similarly to El Paso’s, and inter-
                            view respondents there explained that the liaison has even helped work
                            directly with parents in detention. Interview respondents in Los Angeles said
                            that the liaison position there works predominantly on cases involving un-
                            documented youth and is less involved with detained/deported parent cases.

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    In El Paso, San Diego, and parts of the Rio Grande Valley in Texas, and
to a lesser extent in Los Angeles, child welfare staff, attorneys, judges and
consulates described facilitating visitation between parents in Mexico and
their children in the U.S. CPS would take children to the border and parents
would meet them there for a designated period of time. In El Paso and the
Rio Grande Valley, Texas, judges and attorneys said that on occasion, parents
who had been deported were even escorted over the border by an officer of
the court to attend hearings.
    As a general matter, respondents in border counties with these agree-
ments between child welfare departments and consulates were more
likely to say that reunification with deported parents happens with greater
regularity, although respondents were unanimously clear that even in these
jurisdictions, immigration enforcement significantly diminishes the chances
of reunification.
    And not all border counties have developed these policies and practices.
For example, in Pima County, Arizona (which comprises both the city of
Tucson and a swath on the U.S.-Mexico border), the judges, attorneys and
caseworkers we spoke to said that the Arizona child welfare administration
has refused to sign agreements with the Mexican Consulate to create clear
protocols for facilitating international reunifications. Staff at the Mexican
Consulates in Pima and Maricopa counties said that while particular case-
workers and supervisors may sometimes be in touch with the consulates,
there is no uniform practice.

Consulates in Non-Border Jurisdictions
Counties and states without the benefit of geographic proximity to Mexico
face additional challenges and more pronounced hesitation about inter-
national reunification. A staff person in a Mexican consulate that covers
Michigan and Northern Ohio said that she will randomly be called by Child
Welfare caseworkers from both states, but she says they usually get her
phone number through colleagues and there is nothing formal in place to
ensure that consulates are contacted:
    There is no signed agreement with CPS in either state. It’s more on
    the case-by-case basis. It’s on the level of individual caseworkers. I
    have been here for five years. What I do see is an increase of case
    managers or social workers hearing about us. So more and more
    I get calls from social workers saying, ‘I have a case, can you help
    me?’ But it really is not formal. The connection is even less strong in
    Ohio because we are far away from there and it can be hard to get
    there through the snow.

    And even in places where some policy has been established, it is often
vague and there can be a lack of uniformity in implementation. A Mexican
consular staff person in Santa Ana, California, described the relationship
between the consulate and the Orange County Child welfare department:
“We have a Memorandum of Understanding but it really does not say much.
All it says is that CPS and [the consulate] will work together to exchange
information, and that’s it. It doesn’t say to what extent the social worker has
to have contact with us. This has been a black hole for us.”
    The staff person also described the effect of caseworker discretion when
polices are not clearly established: “We have issues such as social workers
saying to us, ‘Why do I have to talk to you about this case? This child is a
U.S. citizen.’ And I respond, ‘Because this child is also protected by the
Mexican constitution, because at least one parent is Mexican.’”


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      CPS gives me a        Diligent Searches
                            Some consulates say that CPS only contacts them when they need help
        name, maybe         finding a parent. Child welfare departments are required to conduct what’s
  something like Jose       called a “diligent search” for parents involved in dependency cases whose
                            location is unknown. In practice, child welfare departments in many
    Perez. They don’t       jurisdictions do little to contact parents who have been deported.
      tell us anything          Further, most Mexican consulates said that they encountered serious
                            problems locating parents in other countries because the information that
 more than this. They       the child welfare department gives them is often very sparse. A Mexican
   don’t even give us       consular staff person explained: “CPS gives me a name, maybe something
                            like Jose Perez. They don’t tell us anything more than this. They don’t even
   the full name with       give us the full name with both last names. When we look for that name, it’s
     both last names.       impossible. There are millions of men with the name Jose Perez in Mexico. I
                            try to ask more questions to figure out what state they are in. We would at
                            least need the complete name and date of birth.”
                                A Mexican consular staff person in South Texas said that when child wel-
                            fare departments give the consulate names of parents to locate, it’s usually
                            only in order to inform parents that their parental rights are being termi-
                            nated. The staff person explained: “Last year, CPS asked us to find parents in
                            Mexico about 40 times. In almost every single one, we do not have enough
                            information to actually find the person. Sometimes [CPS] contacts us to
                            see if they can place the kids in Mexico, but normally it’s just to be
                            able to terminate on the parent’s rights.”[Emphasis added by ARC.]


                            Home Studies and Case Plans after Deportation
                            For parents in other countries, completing case plans can be difficult.
                            However, some foreign governments have child welfare agencies that can
                            help facilitate the process of reunification, provide services to deported
                            parents and even take jurisdiction over a case. By contacting the Mexican
                            consulate, for example, child welfare departments in the U.S. can coordinate
                            with DIF (Desarollo Integral de la Familia) to conduct home studies, offer
                            services to children and parents and conduct background checks. The
                            structure of child welfare in other countries varies, but consulates can
                            usually help facilitate the provision of needed case plan services.
                                However, caseworkers and attorneys said that child welfare departments
                            in the U.S. do not always respect these home studies, even when the home
                            studies report on the parents in a positive light.

                            In 2010, a father who was deported from a county in Washington state
                            lost his parental rights and his children were adopted despite what the
                            attorney described as “a glowing home study” that had been provided
                            by DIF.
                               After his deportation, the man had established himself in Mexico,
                            was living in his own house, had a car and was working at a decent-
                            paying job. DIF conducted a home study and found the house and
                            father to be a fully fit placement for the children. When it was time
                            to reunify, the [child’s attorney] objected because at least one of the
                            children was asthmatic. “It’s dusty there and we don’t know what kind
                            of care they’d get,” the GAL apparently said. The department filed for
                            termination, and the children were adopted.




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Geographic Disparities
Barriers to international reunification efforts increase dramatically based
on geography. ARC did not identify agreements between child welfare
departments and the consulates of any country other than Mexico. This
does not mean that children of parents from countries other than Mexico
are never reunified with their deported parents. However, it does indicate
that these reunifications to countries other than Mexico are always facili-
tated on an ad hoc basis.
    Meanwhile, high barriers exist to reunification with parents in countries
without established infrastructures of social services or rural and remote
areas without significant services in any country. When parents are not easily
able to access case plan services, child welfare departments appeared less
willing to consider reunification. Geography appeared to exacerbate existing
blanket biases against placements with parents in other countries.
    A child welfare department attorney in Miami, Florida, said that the
department sometimes encountered issues with maintaining a case and
supervising a placement in areas with thin service infrastructure. “The issue
is how you do placement and post placement supervision when they are
living up in the mountains. A lot of these places are up in the mountains and
you can only get there by taking a car, a bicycle, and then a donkey.
    A dependency attorney from San Diego county said, “The problems you
see come up are when people are not in the major metro areas and some
delivery by way of a donkey did not happen. The border area with Mexico
works well, but go farther into the country or to a country like Guatemala,
and there is a struggle to get evidence about whether the services will work.
Trying to work with the agencies there is very difficult.”




Bars and Barriers to Placement
with Undocumented Caregivers
In Washtenaw County, Michigan, an 11-year-old boy has languished
in foster care with strangers for 16 months because the child welfare
department refuses to allow his aunt and uncle to care for him for no
other reason than that they are undocumented.
    The boy entered foster care in 2010 after both of his parents were
deported. The boy’s aunt and uncle tried to take custody of their neph-
ew, but the child welfare department would now allow it even though
they had a strong relationship with their nephew, have lived in the U.S.
for a decade and half, and have their own children. The child welfare
department argued that the chance that they could be deported makes
it too risky for their nephew to live there.
    Michigan’s child welfare department maintains no written policy that
requires foster parents or family guardians to be documented, and in
lieu of guidelines is blocking kinship placement. The foster home where
the boy now lives has allowed his aunts and uncle to maintain contact
with their nephew; however, that foster family says that they are
uninterested in adopting, which means the boy may well remain in
foster care indefinitely or be moved to another family of strangers for
adoption. That family may not be willing to allow him to maintain
contact with his family.




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                                Child welfare experts agree that as a general rule, children are better
                            off living with their mothers, fathers or other relatives than in foster care.
     Children in foster     Federal policy supports this by requiring child welfare departments to make
                            diligent efforts to reunify families. In a more recent policy shift, in 2008
           care whose       Congress passed “Fostering Connections,” a bill that increased federal
          parents and        funding for subsidized family guardianship and encouraged child welfare
                            departments to more fully include extended family members in the
    extended families       dependency process.
   are undocumented             Research studies indicate that children who enter the child welfare
                            system and are placed with family or friends are less likely to be moved
      are less likely to    around from foster home to foster home,76 are more likely to continue
     reunify with their     living with their siblings77 and, perhaps most importantly, are more likely to
     parents and then       say that they “always felt loved.”78 Because of this, Fostering Connections
                            eased requirements on relatives who wished to care for their own young
          less likely to    family members.
            be placed           Ultimately, child welfare departments are not required to petition for the
                            termination of parental rights when children live with their own family. As a
         with relatives     result, children in kinship care are more likely to reunify with their
                            parents later. For detained or deported parents who may be sepa-
                            rated from their children for long periods through no fault of their
                            own, kinship care can stop the total dissolution of their families.
                                Yet, despite the focus and clear benefits of relative placement, child
                            welfare departments regularly conjure objections to placement with
                            undocumented relatives. ARC’s research indicates that children in
                            foster care whose parents and extended families are undocu-
                            mented are less likely to reunify with their parents and then less
                            likely to be placed with relatives. Previous research supports this. A
                            study of the child welfare system in Texas found that “Latin American im-
                            migrants were placed with relatives much less frequently than other children
                            in care.”79 The study also found that Latin American children “were much
                            less likely than other children to have reunification and relative adoption as
                            case goals.” 80 Among the reasons for this disparity listed in the study was the
                            undocumented immigration status of potential relative caregivers.81

                            “Could be Deported at Any Time”: CPS
                            Refusal to Place Children With Their Families
                            Child welfare departments, caseworkers, childrens’ advocates and attorneys
                            too often argue that they cannot place children with undocumented family
                            members because they believe that the caregiver “could be deported at any
                            time.” These objections arise when children have entered foster care and child
                            welfare departments are moving to place the children in permanent homes.
                            CPS and attorneys regularly say that this possibility of caregiver deportation
                            puts children at risk of an interruption in their permanent placement.

                            for parents
                            These objections emerge not only in the context of placement with extend-
                            ed family, but also with non-custodial parents (usually fathers) who wish to
                            take custody of their own children in the foster care system.
                               In Jacksonville, Florida, a children’s attorney expressed the opinion that
                            undocumented parents are sometimes considered unfit because they might
                            be deported. The attorney explained:
                                Typically, as a policy, we are reluctant to recommend a placement
                                with a parent that we know is not legally here, because our position


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    representing the best interests of the child is to ensure [they] have
    permanency and not set them up for further disappointment. To be
    placed back with a parent that may at any time be deported is not
    truly in the best interest of children… [A]s a policy for the program,
    we typically don’t like to make those recommendations knowing full
    well that the parent is not documented.

    The attorney stressed that the Guardian ad Litem program he/she works
for always tries to help locate relatives with whom a child can live rather than
place them in non-relative foster care. However, ultimately, the bias against
undocumented parents can result in children remaining in foster care.
    In a handful of instances, child welfare departments have gone so far as to
include the possibility of deportation in the list of allegations against a par-
ent. In Michigan, a non-custodial father was actually named in a dependency
petition by the child welfare department. According to an attorney involved
in the case, the department argued not only that his undocumented status
made him an unfit caregiver, but also that “he is abusive or neglectful of his
child because he is an illegal alien who is in danger of being arrested every
time he walks out the door. The attorney added, “Basically, the theory is
that because of his immigration status and lack of contingency plans for his
child, should he be arrested on an immigration hold, he places his child at a
substantial risk of harm.”
    Similarly, in Maricopa County, Arizona, a parents’ attorney said that the
child welfare department had “recently started including in the allegation             “Typically, as a
section of dependency petitions, ‘since the parent is undocumented, they are           policy, we are
at risk of deportation and not a secure placement.’”
    Once a parent is detained, that assumption is exacerbated. In some in-
                                                                                       reluctant to
stances, judges refuse to slow the permanency clock and CPS moves toward               recommend a
terminating parental rights because they assume that detention will neces-             placement with
sarily lead to deportation. Many child welfare departments and dependency
courts treat deportation as the end of all prospects for family reunification.         a parent that
    In Cabarrus County, North Carolina, a case supervisor told ARC about               we know is not
a Central American woman facing deportation who was not issued a reuni-
fication plan because she was detained and the child welfare department                legally here.”
expected that she’d be deported:
    When [the children entered foster care], the mom was detained
    and facing deportation so trying to reunify with this mother is
    futile, Reunification has been taken off the table on this one in part
    because of the deportation that’s coming. We would have been
    working toward reunification had it not been for the fact that she’ll
    be deported. So we made no case plan at all.

    It would be totally different if she were a citizen… If she were not
    going to be deported, we could work toward reunification while she
    was in jail and then see what happened when she was released.

    Even when a parent manages to maintain contact with the dependency
court while detained and the department and the judge keep open the pos-
sibility of reunification after release, deportation can signal the end of the
road for that family.
    Collier County in Southwest Florida, has a 287(g) agreement and a
population of undocumented immigrants that’s grown significantly in the
last decade. A caseworker from that county said that as soon as a parent is
deported, the default is often to terminate their parental rights. “As long as



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                            they are not deported, we give them a case plan, even in detention, but as
                            soon as [they’re] deported, a lot of times it goes straight to termination of
                            parental rights… Once they’re gone, it’s usually over for them.”

                            for Relatives
                            Child welfare departments and agencies are turning away family members
                            and family friends who wish to care for their young kin because of their
                            immigration status. This practice, which is not actually supported by any
                            written policy, means that children are remaining in foster care when they
                            could be placed with their own families.
                               Undocumented relatives and family friends face these “could be deport-
                            ed” objections with even more regularity than parents. A children’s attorney
                            in Bartow, Florida, told of one such case:
                                In one recent instance, placement was denied because the individual,
                                who was not a family member but a friend, had limited documenta-
                                tion, expired visa and was subject to deportation and so the worry
                                was that we were trying to create stability and permanency for that
                                child and we place them there and then two months later, we’d be
                                back to the same place. They could have been deported.

                                Even in jurisdictions where caseworkers assume that children can be
                            placed with undocumented family, the dearth of policy means that the biases
                            of caseworkers or the internal policies of case management agencies can
                            derail the maintenance of extended families. In South Texas, the CPS
                            caseworkers and supervisors, attorneys and judges we interviewed were
                            in almost unanimous agreement that immigration status should not impede
                            placing children with their families. Yet, this belief is not always put into prac-
                            tice, as evidenced by a home study that a CPS worker in San Antonio, Texas,
                            read to one of our researchers. The home study, which had been conducted
                            by a private case management agency, recommended against placing two
                            foster children with their grandparents because of the couple’s immigration
                            status. The grandparents had a strong relationship with the children and
                            their home was deemed to be an otherwise perfectly safe place for their
                            grandchildren, who they loved and had helped raise. The home study reads:
                                [The grandparents have] many years of child care experience. [Their
                                home] seems stable with regard to physical and emotional health,
                                … [for] happy, healthy thriving kids [who] went to the caregivers for
                                love and attention. [Although the] caregivers appear willing and able
                                and…agreed to install cabinet locks, have the yard cleaned… and get
                                a fire extinguisher and carbon monoxide alarm… it’s a major concern
                                that both of the caregivers are undocumented aliens… both unable
                                to remain here permanently. Should they be deported [the children]
                                would be put at risk of displacement; Their ability to maintain a crime
                                free lifestyle is a concern considering their immigration status and
                                their current use of a vehicle without a Texas driver’s license.

                            The San Antonio caseworker was livid that the home study read as it did,
                            but said that a bad home study from the agency can affect the case in
                            negative ways even if she were to present a different view in court.

                            Barriers to Services and Subsidies For Undocumented Relatives
                            Even in instances where departments consider placement with undocument-
                            ed relatives, federal and state bans on access to public benefits and on foster
                            care reimbursement funds for undocumented immigrants exclude relatives


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from taking custody of their young kin. While caseworkers are instructed by
federal policy to pursue family placements, undocumented relatives cannot
receive many of the federal subsidies available to citizen families who care
for their young family members.82
   In Brownsville, Texas, an attorney said that sometimes the lack of subsi-
dies mean that children have to be removed from their caretakers:
    [They] have a grandma who can probably care of them, but the
    problem is then [the] grandma needs financial assistance. And
    because she’s not a citizen, she’s undocumented, there are no
    programs within the department or federal programs that will help
    her financially to take care of these kids long term. It’s kind of an
    ‘immigration makes poverty’ issue.


Background Checks on Undocumented Caregivers
Many caseworkers and attorneys said that undocumented family members
could not take custody of children because in order to license a relative
as a caregiver, the relative must produce a Social Security number and be
fingerprinted to pass a background check. Many caseworkers and attorneys
mistakenly believed that it is impossible to check the criminal histories of un-
documented immigrants because they lack Social Security numbers. In other
jurisdictions, caseworkers said that immigrants’ fear of deportation and a
worry that they may be denied future citizenship because they will become a
“public charge” stops potential relative caregivers from coming forward.
    In fact, child welfare departments could run background checks on
undocumented immigrants with a name and date of birth. However, because
there is a lack of clear policy establishing this practice, it rarely happens. A
foster care supervisor in Arizona said, “The problem is that it’s not written
in policy. If it comes to my section, then we’ll do a check. But a lot of the
workers in the field, because we don’t have a policy, they don’t know if they
can place with illegal [immigrant] relatives so the workers in the field don’t
place with them, they rule it out. The case managers are scared because
there is no clear policy. They are scared to run a background check and that
if they work with illegal immigrant family members, [they] will get in trouble
or get indicted if something happens.”
    Even relatives who are citizens but live with an undocumented person can
have trouble gaining custody of the child, because CPS requires fingerprint-
ing from everyone who lives in the household. Child welfare departments’
failure to proactively address the needs of mixed immigration status families
threatens to leave children in foster care.

Community Fears of Deportation
Some undocumented relatives decline to come forward to take custody of
children who they have relationships with because they fear that interacting
with the foster care system could result in their detention and deportation.
As local law enforcement is increasingly implicated in immigration enforce-
ment, fear of local government workers may grow. Respondents in every
one of our focus groups indicated that this fear is a significant problem.
    A caseworker in Mecklenburg County, North Carolina, said, “I think
when [family] are undocumented, they are afraid to come to the system. In
one of my cases, the father in Honduras has provided me with three family
members in North Carolina and in Virginia. But they are afraid of us getting
involved in their lives and getting deported.”



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                               A caseworker in Miami, Florida, echoes this: “There are cases where they
                            have a lot of family, but the family members are scared to get involved with
                            the state because then they [fear they] could have their kids removed or it
                            could get them deported. They are worried about all of this.”
                               The caseworker was clear that these fears have increased in Miami in
                            recent years. “In the past, there was not a fear of deportation. A lot of the
                            families I dealt with were much more cooperative. Now… they are scared
                            because of the laws and the culture around. Because of what’s been
                            happening in the last couple years, people are more fearful.”

                            Policy Confusion
                            The blanket policy silence when it comes to placing children with undocu-
                            mented relatives leads to understandable confusion, and sometimes
                            disagreement among child welfare staff. In Polk County, Florida, a casework-
                            er and her supervisor argued about placing children with family members
                            who are undocumented.

                            The supervisor said to the caseworker, “We can’t do a background check
                            on an undocumented person. We can’t do a placement without a back-
                            ground check….they can’t get any services so that’s a big problem too.”
                                The caseworker responded, “But if we want to place a child with
                            someone that does not have paperwork, we would rather do that than
                            place a child in foster care.”
                                The supervisor continued to object. “Yes but you would have to take
                            into account that if they are illegal, where were they working, how are
                            they working, where is their income coming from…”
                                The caseworker became upset at the idea that the department would
                            have to keep a child in foster care when there was loving family willing
                            to take custody. She said, “But I’m saying if this guy is picking oranges,
                            he gives us documentation that he makes X amount a week? I don’t
                            want to place a kid in the foster home!
                                The supervisor replied: “If it’s under the table though…,” and then
                            stopped and changed the subject.



                            Conclusion
                            The children of deported parents in the child welfare system are subjected
                            to extended periods of separation and the risk of termination of parental
                            rights while their parents are detained. However, because of barriers and
                            biases to reunifying U.S.-citizen children with their parents in other coun-
                            tries, many of these families remain in the custody of child welfare depart-
                            ments. Despite laws that explicitly privilege kinship placement over foster
                            care with non-relatives, many child welfare departments refuse to place
                            children with their families. The result is that children, who were once sepa-
                            rated from their parents and denied the opportunity to be reunified, may
                            also be severed from the other adults in their communities. Policy changes
                            are necessary to ensure that families may stay together regardless of their
                            immigration status.




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V: CONCLUSION AND RECOMMENDATIONS
In late September 2011, Josefina and Clara, the
sisters whose story opened this report, received a call
in Michoacán, Mexico from the Mexican consulate in New Mexico.
    “They told us to go to the airport the next day,” said Clara.
    In the morning, they drove three hours to the airport. Two employees
of the Mexican government escorted the three children off the plane. In the
middle of a waiting room at the airport, after 14 months apart, Josefina and
Clara took the children into their arms. The next day, now back at their
mother’s home, Clara said over the phone, “It hurts me so much to talk
about this. I don’t want to remember anymore.”
    Their family was separated for well over a year and the sisters say that
the younger two children, who are now both walking and talking, did not
remember their mothers when they arrived. Indeed, Josefina’s baby, who was
9 months old when they were separated, is now almost two; he’s spent more
of his life in foster care than with his own mother. They will have to work to
rebuild a family that few could argue should ever have been separated.
    Ultimately, Clara and Josefina and their children are only now back
together because of the concerted efforts of the Mexican Consulate. Yet,
their reunification should not have taken so long. Even worse, many others
are never reunified—their families are irreparably shattered because there
are no policies in place to facilitate their reunification. As the federal govern-
ment continues to expand its immigration enforcement infrastructure, and
continues to detain and deport parents at historical levels, more families will
face threats to family unity.

Policy Recommendations
Federal, state and local governments must create explicit
policies to protect families from separation and facilitate family
unity. These polices should stop the clock on the child welfare process
and the immigration enforcement process to ensure that families can stay
together and allow parents to make the best decisions for the care and
custody of their children.

Congress
   • Institute protections for detained parents including: alternatives to
      detention for parents; provisions to enable detained parents to comply
      with child welfare case plans and participate meaningfully in dependency
      proceedings; and policies to facilitate family unity at the time of depor-
      tation if a parent wishes to leave the country with their child. (i.e., the
      Humane Enforcement and Legal Protections for Separated Children Act).
   • Reinstate judicial discretion to consider the best interests of children
      and families in decisions about deportation (i.e., the Child Citizen
      Protection Act).




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                            Executive Branch, Department of
                            Homeland Security (DHS)
                              • Suspend the Secure Communities program and other programs includ-
                                 ing 287(g) and the Criminal Alien Program that use local criminal justice
                                systems as arms of the immigration enforcement apparatus.
                              • Amend the June 2011 ICE discretion memo to clarify that all parents of
                                minor children in the U.S. should be granted discretionary relief with an
                                emphasis on parents with children in foster care.
                              • Release parents on their own recognizance and expand the use of
                                community-based supervisory programs.
                              • The DHS Office of Inspector General should initiate a study on the
                                prevalence of practices that result in children entering or remaining in
                                foster care as a result of detention and deportation.

                            State Legislatures
                              • Create exceptions to the termination of parental rights timelines for
                                 incarcerated, detained and deported parents.
                              • Institute “time-of-arrest” protocols for local law enforcement agencies
                                to enable parents to decide who should take custody of their children.

                            State Child Welfare Departments
                            and Juvenile Dependency Courts
                              • State child welfare departments should initiate research to explore
                                 the extent to which children in foster care have detained or
                                deported parents.
                              • All caseworkers, supervisors, attorneys and judges who practice in
                                dependency court should be mandated to participate in training on
                                immigration law and immigration enforcement policies.
                              • All state and/or county child welfare departments should sign
                                agreements with foreign consulates to ensure that as soon as
                                noncitizen parents of foster children are detained, consular
                                involvement is commenced.
                              • Adopt clear policies ensuring equal treatment of undocumented parents
                                and families in the child welfare system, including clear guidelines on the
                                rights of undocumented parents and extended families to be treated
                                equitably as viable caregivers for children.
                              • Create state- or county-level staff positions dedicated to facilitating
                                reunification for families impacted by immigration enforcement.




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VI: Methodology
This study explores the extent to which immigration enforcement threatens
parental rights and creates barriers to family reunification for families in the
child welfare system.
    The research consisted of three parts: interviews, focus groups, and
quantitative data collection.

Interviews: Between August 2010 and August 2011, ARC conducted ap-
proximately 200 interviews with individual caseworkers and supervisors,
dependency attorneys, immigration attorneys and advocates, dependency
judges, foreign consulates and detained parents.
    Interviews were also conducted with 60 parents in six detention
centers (in Arizona, Florida and Texas) and with seven other parents who
had already been deported or were released from detention. Nineteen
of these parents had children in foster care. Many more feared that their
children were unsafe and might enter foster care. ARC interviewed ap-
proximately nine juvenile court judges, 120 dependency attorneys, 10 im-
migration attorneys, and did eight not-for-attribution interviews with child
welfare caseworkers in jurisdictions where we were not able to conduct
focus groups because the child welfare departments declined to work with
ARC on this study.
    Child welfare departments in the states of Texas and Arizona and in San
Diego County, California all declined to participate in focus groups. In Texas
and San Diego, the departments cited excessive workloads and budget cuts
as the reason. In Arizona, several mid-level supervisors informed ARC that
the department would not allow staff to speak with ARC researchers but
no reason was given. After receiving these responses, ARC did not seek
permission from the state child protection agency to conduct focus groups
or interviews.
    In many jurisdictions, attorneys were contacted randomly from full lists
of private-contract attorneys made available by the county court administra-
tion. Other attorneys, as well as caseworkers, other advocates and judges,
who we reached out to as a means of gathering stories and/or to better
understand the dynamics at the intersections of immigration and child
welfare, were contacted in a snowball approach where existing respondents
suggested future respondents from among their professional circles.
    Interview questions with judges, caseworkers, attorneys and advocates
generally remained consistent but were tailored slightly to the particulars of
each category. Like focus groups, questions were divided into three catego-
ries: immigration status, detention/deportation, and reunification.
    Detained parents were contacted in three ways: 1) through nonprofit
legal organizations that represent detained noncitizens; 2) through sign-up
sheets that ICE agreed to hang on the walls of “pods” in several detention
centers; and 3) randomly during detention center visits. All detainees were
informed at the beginning of the interviews that ARC was a research
organization, not a legal advocacy organization. Many of their stories are
included in this report.
    ARC spoke with an additional seven parents who had already been
deported or released from detention and had children in foster care.
ARC contacted these parents through their immigration attorneys and
while visiting centers for deportees in Mexico.




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                            Focus groups: ARC conducted 35 focus groups in 23 counties in six states
                            over an eight-month period beginning in January 2011. Focus groups were
                            approximately one hour long and included between 4 and 10 child welfare
                            caseworkers or attorneys who represent parents or children in juvenile
                            dependency court. Because of county-by-county variations in the particu-
                            lar structure of the child welfare/dependency system and varying degrees
                            of openness on the part of child welfare departments to participate in our
                            study, we were not always able to complete focus groups with precisely
                            comparable respondents in each jurisdiction. Focus groups also varied in
                            terms of recruitment. In some jurisdictions, attorneys and caseworkers were
                            compelled to come by their supervisors, though in most jurisdictions, they
                            came voluntarily. Focus groups were audio-recorded, but participants were
                            informed that their names would not be used in the report or in any other
                            resulting publications.
                                Focus group questions were broken down into three subsections: 1)
                            Impact of immigration status on child welfare cases; 2) Impact of parental
                            detention or deportation on child welfare cases; 3) Policies and practices for
                            facilitating reunification of children with detained or deported parents.

                            Quantitative data: To arrive at our national estimates, ARC began by
                            gathering select survey and focus group data from child welfare casework-
                            ers, attorneys and judges to determine the average percentage of foster care
                            cases involving detained or deported parents in their respective counties.
                            These individuals were located in 19 jurisdictions in six key states—Arizona,
                            California, Florida, North Carolina, New York and Texas—which account
                            for more than half of the noncitizen population in the U.S. and more than
                            one-third of the children in foster care. Jurisdictions were selected to pro-
                            vide a mix of border and non-border regions, more and less aggressive local
                            immigration detention practices, and high and low foreign-born populations.
                                 Based on these local percentages, which ranged from under one percent
                            to eight percent of all child welfare cases in a given jurisdiction, we utilized
                            regression analysis to calculate the typical independent impact of three
                            variables on this percentage of foster care cases with deported or detained
                            parents: 1) the percentage of foreign born individuals, 2) the presence of
                            287(g) immigration enforcement agreements, and 3) border county status.
                            The regression analysis provided an estimated “average” impact of each of
                            these variables on a hypothetical county’s rate, which allowed us to then
                            project the extent of the problem in the remaining major jurisdictions in
                            these six states and in 14 other similarly situated states (Colorado, Georgia,
                            Illinois, Indiana, Maryland, Michigan, Missouri, New Jersey, New Mexico,
                            Ohio, Oregon, Pennsylvania, Virginia and Washington). These 20 states
                            account for almost 85 percent of the country’s undocumented population
                            and more than 70 percent of foster care rolls.




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    ARC’s estimates are a conservative count for a variety of reasons. First,
because our regression did not include every state, there are hundreds of ju-
risdictions in the remaining 30 states that contain approximately 15 percent
of the undocumented population, as well as almost 30 percent of the foster
care rolls that are not included in our projection. Second, when survey
respondents reported a range of relevant cases, we only included the low
end of that range. (For example, when a respondent said, “About three to
five of my 36 current cases involve a detained or deported parent,” we used
3 of 36 cases, or 8.3% of cases.) Third, given our analysis of interviews and
survey data, we utilized a dampening weight on non-border counties where
the federal government had not yet implemented the Secure Communities
program for at least three months, and where the county had not entered
into a 287(g) agreement. This dampening weight prevented an over-count
from our regression-based projections in areas with similarly passive
enforcement of immigration laws (at least in comparison to many other areas
of the nation). Because our projected number is a conservative count, many
more children may be affected than we were able to estimate.
    The federal government does not make sufficient data available on immi-
gration enforcement. For example, Immigration and Customs Enforcement
releases little data about its local jail–based Criminal Alien Program. As a
result, we were not always able to account for variables that might drive up
the local rate of deported/detained parent cases.




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notes
1. The names of all parents in this report have been changed to        6. Passel, Jeffrey S. and Cohn, D’Vera Cohn. “A Portrait of Unau-
protect the identity of families with ongoing child welfare cases      thorized Immigrants in the United States.” Pew Hispanic Center,
                                                                       April 14, 2009.
2. The Bureau of Immigration Appeals has held that “When an
alien-parent’s child is a United States citizen and the child is       7. B & J Minors, 279 Mich. App. 12, 20 n.5 (2008) (citing Liu v.
below the age of discretion, and if the alien-parent is deported,      United States Dep‘t of Justice, 13 F.3d 1175, 1177 (CA 8 1994).
it is the parent’s decision whether to take the minor child along
or to leave the child in this country.” B & J Minors, 279 Mich.        8. Fiallo v. Bell, 430 U.S. 787, 795 (1977).
App. 12, 20 n.5 (2008) (citing Liu v. United States Department of
Justice, 13 F.3d 1175, 1177 (CA 8 1994). The U.S. Supreme Court
                                                                       9. Department of Homeland Security (DHS), Office of Inspec-
affirmed that the Immigration and Naturalization Act “estab-
                                                                       tor General. “Removals Involving Illegal Alien Parents of United
lishes that congressional concern was directed at ‘the problem
                                                                       States Citizen Children,” p. 4. January 2009.
of keeping families of United States citizens and immigrants
united.’” Fiallo v. Bell, 430 U.S. 787, 795 (1977).
                                                                       10. Kohli; Aarti, Markowitz, Peter; Chavez, Lisa, “Secure Com-
                                                                       munities by the Numbers: An Analysis of Demographics And
3. Sources included the following: Nacha Cattan, “Courtroom
                                                                       Due Process,” Chief Justice Earl Warren Institute on Law and
Skype Helps Reunite Mexican Family.” The Christian Science
                                                                       Social Policy, Berkeley Law, October 2011.
Monitor, July 22, 2011, www.csmonitor.com/World/Americas/
Latin-America-Monitor/2011/0722/Courtroom-Skype-helps-re-
unite-Mexican-family (accessed September 1, 2011); Julianne Hing       11. Hing, Julianne. “DHS Tells States: We Don’t Need Your
and Seth Wessler, “When An Immigrant Mom Gets Arrested,”               Approval for Secure Communities.” Colorlines, August 9, 2011.
Colorlines.com, July 1, 2008, 216.92.102.223/archives/2008/07/         http://colorlines.com/archives/2011/08/dhs_tells_states_we_
when_an_immigrant_mom_gets_arrested.html (accessed Sep-                dont_need_your_approval_for_secure_communities.html
tember 1, 2011); Nina Rabin, “Disappearing Parents: A Report           (accessed August 10, 2011).
on Immigration Enforcement and the Child Welfare System,”
University of Arizona, May 2011; Emily Butera, “Torn Apart By          12. U.S. Immigration and Customs Enforcement. “Secure Com-
Immigration Enforcement: Parental Rights and Immigration               munities.” http://www.ice.gov/secure_communities/ (accessed
Detention,” Women’s Refugee Commission, December 2010.                 October 6, 2011).

4. We consider our estimates conservative for a host of reasons,       13. U.S. Immigration and Customs Enforcement. “Secure
including: a) The fact that while states with medium to small          Communities: IDENT/IAFIS Interoperability Monthly Statistics
numbers of foreign-born residents and foster care rolls were           through August 31, 2011.” http://www.ice.gov/doclib/foia/sc-stats/
left out of this analysis, there is no reason to assume that no        nationwide_interoperability_stats-fy2011-to-date.pdf (accessed
children within those jurisdictions are impacted by this problem;      October 1, 2011).
b) We consistently utilized our respondents’ more conservative
estimates when they reported a range of affected cases within          14. U.S. Immigration and Customs Enforcement. “IDENT/IAFIS
their current caseloads to calculate a county average (e.g., when      Interoperability Monthly Statistics Through August 31, 2011.”
a caseworker reported that “three to five percent of my current        http://www.ice.gov/doclib/foia/sc-stats/nationwide_interoperabil-
cases involve a detained/deported parent,” we invariably utilized      ity_stats-fy2011-to-date.pdf (accessed October 10, 2011).
the lower bound for our calculations); c) to buffer against pro-
jecting an over-count, we placed a dampening weight on counties        15. U.S. Immigration and Customs Enforcement. “Fact Sheet:
where the federal government had not yet implemented the               Delegation of Immigration Authority Section 287(g) Immigra-
Secure Communities program and a buoying weight on counties            tion and Nationality Act.” http://www.ice.gov/news/library/
with 287(g) agreements; d)The federal government does not              factsheets/287g.htm#signed-moa (accessed October 6, 2011).
make sufficient data available on immigration enforcement. For
example, Immigration and Customs Enforcement releases little
                                                                       16. Capps, Randy, Rosenblum, Marc R., Rodriguez, Cristina and
data about its local jail-based Criminal Alien Program. As a re-
                                                                       Chishti, Muzaffar. “Delegation and Divergence: A Study of 287(g)
sult, we were not always able to account for variables that might
                                                                       State and Local Immigration Enforcement.” Migration Policy
drive up the local rate of deported/detained parent cases.
                                                                       Institute, January 2011. www.migrationpolicy.org/pubs/287g-
                                                                       divergence.pdf.
5. Of those deported in 2010, 282,000 were removed to Mex-
ico, and another 93,000 to other Latin American countries and
the Caribbean. The remaining 11,000 were deported to other
countries all over the world.




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17. Weissman, Deborah M., Headen, Rebecca C. and Parker,                26. Brezowski, Lynn. “ICE Will Relocate Crowded Detention
Katherine Lewis. “The Policies and Politics of Local Immigration        Center.” Houston Chronicle. June 9, 2011. http://www.chron.
Enforcement Laws: 287(g) Program in North Carolina.” Ameri-             com/news/article/ICE-will-relocate-crowded-detention-cen-
can Civil Liberties Union of North Carolina Legal Foundation            ter-1689843.php (accessed Oct. 6, 2011).
and Immigration and Human Rights Policy Clinic University of
North Carolina at Chapel Hill, February 2009. http://acluofnc.          27. Human Rights First. “Jails and Jumpsuits: Transforming the
org/files/287gpolicyreview_0.pdf.                                       U.S. Immigration Detention System—A Two-Year Review. 2011.

Garnder II, Trevor and Kohli, Aarti. “The C.A.P. Effect: Racial         http://www.humanrightsfirst.org/wp-content/uploads/pdf/HRF-
Profiling in the ICE Criminal Alien Program.” The Warren Insti-         Jails-and-Jumpsuits-report.pdf.
tute, University of California, Berkeley Law School, September
2009. www.law.berkeley.edu/files/policybrief_irving_FINAL.pdf.
                                                                        28. Guggenheim, Martin. What’s Wrong with Children’s Rights.
                                                                        Cambridge, MA: Harvard University Press, 2005.
18. Police Foundation. “The Role of Local Police: Striking a Bal-
ance Between Immigration Enforcement and Civil Liberties.”
                                                                        29. Ibid.
April 2009. http://www.policefoundation.org/pdf/strikinga-
balance/Executive%20Summary.pdf.
                                                                        30. U.S. Department of Health and Human Services, Administra-
                                                                        tion for Children and Families. “The AFCARS Report – Prelimi-
19. Wessler, Seth Freed. “Collaborating with ICE Has Conse-
                                                                        nary FY 2010 Estimates as of June 2011 (18).” http://www.acf.
quences.” Colorlines. February 19, 2008. http://colorlines.com/ar-
                                                                        hhs.gov/programs/cb/stats_research/afcars/tar/report18.htm
chives/2008/02/collaborating_with_ice_has_consequences.html.
                                                                        (accessed Oct. 6, 1011).
ICE and participating localities contend that CAP targets only
serious criminal offenders. For example, the Deputy Sheriff in          31. Ibid.
Travis County, Texas, told Colorlines magazine in 2008, “We
know for a fact that we are only getting the bottom of the bar-         32. Ibid.
rel, so to speak. These guys are really the undesirables. Most
people wouldn’t want them getting out of jail and being their           33. Ibid.
neighbor. They’d like to see them deported out of the country.”
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aboutdetention.                                                         departments to prepare simultaneously for reunification and for
                                                                        another outcome like adoption in case that reunification fails. Ul-
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vs. Family Preservation: The Track Record on Safety and Well-         mostly people of color. Over two-thirds of children of immi-
being.” January 3, 2011. www.nccpr.org/reports/01SAFETY.pdf.          grants who come to the attention of the child welfare system
                                                                      are Latino, almost 15 percent are white, 10 percent are Black
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of the Child and Family Services Agency’s Performance When It         underrepresented among those who come to the attention of
Removes Children from and Quickly Returns them to their Families:     the child welfare system. Children with at least one foreign-born
Findings and Recommendations from the Citizens Review Panel.”         parent make up about 24 percent of the population, but only 9.6
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Immigration                 31,585               18.7                  Well-being.” January 3, 2011. www.nccpr.org/reports/01SAFETY.
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                                                                                                                  Facing Our Future
                                                                                                                 Children in the Aftermath of
                                                                                                                   Immigration Enforcement
                                                                                                                                            Ajay Chaudry




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     Children in the Aftermath of
       Immigration Enforcement
                                                 Ajay Chaudry
                                                 Randy Capps
                                          Juan Manuel Pedroza
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                                                Robert Santos
                                                Molly M. Scott




                                                 February 2010




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EXECUTIVE SUMMARY

        he United States is engaged in an intense debate about immigration policy, particularly with regard to unauthorized

T       immigrants. Debates rage about the economic contributions of immigrants to the U.S. economy, job competition, tax
        payments and fiscal costs, and the integration of immigrants in communities and the larger society. Largely absent from
the discussion are the children of immigrants. Today there are an estimated 5.5 million children with unauthorized immigrant
parents, about three-quarters of whom are U.S.-born citizens. The nation builds its own future by investing in the futures of
children, spending billions of dollars annually on education and health care, preventing abuse and neglect, and supporting
when necessary their basic needs for housing and food. Yet, unlike other children in this country, the children of unauthorized
immigrants live with the fear that their parents might be arrested, detained, or deported. The federal government spends bil-
lions each year to arrest, detain, and deport immigrants, many of whom are parents. By one estimate, in the last 10 years, over
100,000 immigrant parents of U.S. citizen children have been deported from the United States.


This report examines the consequences of parental arrest,         Worksite Arrests and Other Forms
detention, and deportation on 190 children in 85 families         of Enforcement in Our Study Sites
in six locations across the country. Building on our 2007
report Paying the Price: The Impact of Immigration Raids on       Our site selection captured a range of community character-
America’s Children, the current study documents the effects       istics and enforcement circumstances. Four of our six
on these children after their parents were arrested in work-      study sites experienced large-scale worksite raids by U.S.
site raids, raids on their homes, or operations by local          Immigration and Customs Enforcement (ICE) agents. One
police officers. We researched impacts on children in the         site involved arrests in homes and other locations by ICE
days and weeks after parental arrests, in the intermediate        Fugitive Operation Teams (FOTs), which seek immigrants
and long term while parents were detained or contested            with outstanding deportation orders or who have commit-
their deportation, and in some cases, after parents were          ted immigration-related crimes. The sixth site included
deported.                                                         arrests of immigrants in their homes and workplaces as well
      We interviewed arrested parents or their spouses shortly    as on the street by local police officers trained to enforce fed-
(2 to 5 months) after arrest, in the long term (9 to 13 months    eral immigration laws under the 287(g) program—so
after arrest), and sometimes twice, both shortly after arrest     named for the section of U.S. immigration law that author-
and in the long term. We used semi-structured protocols           izes it.
that included standardized assessments of child behavior,               Two of the worksite raid sites—Grand Island, Nebraska,
parental mental health, family food sufficiency, housing          and New Bedford, Massachusetts—were included in our
characteristics, and other conditions. We also interviewed        earlier study, Paying the Price. For the current study we
community respondents in each site, including public offi-        conducted interviews with affected families and community
cials, teachers, social workers, attorneys, consular officials,   interviews more than a year after the raids. The other two
and staff at community organizations. Our study popula-           worksite raid sites that we studied—Van Nuys, California,
tions included immigrant families mostly from Mexico,             and Postville, Iowa—experienced raids in the first half of
Guatemala, El Salvador, and Haiti. We recruited families          2008. In these sites we interviewed families and conducted
to reflect a range of circumstances and experiences.              community interviews twice—in 2008, a couple of months

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       after the raids, and again in 2009 about a year later. The four   most common change in family structure that resulted from
       sites included between 100 and 400 arrests each, which            parent separation following arrest was that two-parent fami-
       received considerable media attention and resulted in com-        lies became single-parent families, although in a few cases
       munity-wide responses.                                            children stayed with other relatives or friends for an
             Our other two study sites involved smaller numbers of       extended period when either a single parent or both
       arrests over long time spans, and these arrests received less     parents were detained.
       media attention and weaker community responses. We                      Between the time of the earlier worksite raids in Grand
       visited Miami in December 2008, where we interviewed              Island and New Bedford and the 2008 Van Nuys and
       Haitian families that had a parent arrested at home or in         Postville worksite raids, ICE issued humanitarian guidelines
       another setting by ICE FOTs during the previous two years.        for large-scale worksite raids, which mandated release of sin-
       About 30,000 of the more than 500,000 immigrants on               gle parents and those with needy children. These guidelines
       ICE’s fugitive list are Haitian; many of this group applied       reduced the frequency of family separation, especially in
       for asylum and were rejected, or overstayed a valid visa. Our     the Van Nuys raid. The application of ankle bracelets with
       sixth site was Rogers-Springdale in Northwest Arkansas,           tracking devices allowed ICE to continue to monitor arrestees
       which we visited in May 2008, six months after the local          without requiring detention. This clearly was a better out-
       police signed 287(g) agreements with ICE to enforce               come from the families’ point of view, though parents faced
       immigration laws. Police screened immigrants in the               some stigma and some other difficulties while wearing the
       county jails for their legal status and conducted a number        ankle bracelets. Yet, in Postville—where many parents were
       of operations in the community—including raids on                 also charged criminally for identity theft—and in the non-
       homes, roadblocks to check drivers’ licenses, traffic stops       worksite arrests in Miami and Rogers-Springdale, children
       for minor offenses, and a raid on a local Mexican restau-         faced prolonged separations from at least one parent in a
       rant chain. More than 400 immigrants were arrested in             majority of cases.
       this six-month period.                                                  In the long term, at least 20 families in our study expe-
                                                                         rienced the deportation of a parent and were forced to
                                                                         confront painful decisions about whether children would
       Findings
                                                                         leave the country with the deported parent or remain in the
       The children in the study experienced severe challenges,          United States with either the other parent or another rela-
       including separations from parents and economic hardships         tive. In eight of these families, some or all of the children
       that likely contributed to adverse behavioral changes that        went with one or both parents to the parents’ countries of
       parents reported.                                                 origin, and in 12 cases, children remained in the United
                                                                         States, separated from one of their parents. The whole fam-
       Family Separation                                                 ily left to join the deported parent in some of these cases,
                                                                         while in others the parents and siblings were split between
       Parent-child separations pose serious risks to children’s         countries. Our time frame was not long enough to assess the
       immediate safety, economic security, well-being, and longer-      impacts on children who faced separations following depor-
       term development. Such separations were common in our             tation or, in most cases, to know the ultimate outcome
       study, though for a majority of children at least one parent      regarding deportations and longer-term separations. Finally,
       was able to remain, either because they were not arrested or      in a few cases, parents returned illegally to the United States
       because they were released under supervision. About half of       to be reunited with their children and families. The return
       the families had parents released on the day of their arrest,     journeys were rough, and one parent died the day after he
       often with electronic monitoring devices (EMDs) affixed           was reunited with his family.
       to their ankles. In many cases parents were detained for an
       extended period following their arrests, including nearly a
                                                                         Family Economic Hardship
       quarter where a parent was detained for more than a month
       and a handful where separations lasted more than six              Most families in our sample lost a working parent, because
       months, though our sample likely underrepresents these cases      they were detained, deported, or released but not allowed
       because we could not interview parents in detention. The          to work. Following job loss, households experienced steep
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declines in income and hardships such as housing instability       Child Behavior Changes
and food insufficiency. Many families experienced pro-
                                                                   Widespread changes in child behavior. In the short term, six
longed hardship in part due to extended efforts to contest
                                                                   months or less after a raid or other arrest, about two-thirds
deportation that took months and often more than a year to
                                                                   of children experienced changes in eating and sleeping
adjudicate.
                                                                   habits. More than half of children in our study cried more
      Job and income loss. After the worksite raids, families
                                                                   often and were more afraid, and more than a third were
lost workers who almost always had full-time jobs, consis-
                                                                   more anxious, withdrawn, clingy, angry, or aggressive. A
tent employment histories, and earnings that made their
                                                                   majority of children experienced four or more of these
families generally self-sufficient. Families with workers at the
                                                                   behavior changes. These behavioral changes subsided some-
meatpacking plants in Grand Island and Postville averaged
                                                                   what over time but were still widespread more than six
$650 per week in income before the raids. Each of the fami-
                                                                   months after the raids or other arrests, with shares on most
lies in Grand Island, New Bedford, and Postville lost all, or
                                                                   of these indicators still above 40 percent. Younger children
nearly all, of its income in the first few months following the
                                                                   experienced greater difficulties eating and sleeping, exces-
raids, and the Postville families still had almost no income
                                                                   sive crying, and clinging to parents, while aggressive and
more than nine months after the raid. It was difficult to find     withdrawn behavior was more common among the older
new jobs in small communities like Postville, and families         children.
relied on informal supports, private charity, and public ben-            Behavioral changes were more common following parent-
efits to survive. EMD bracelets represented an additional          child separation and following parental arrests in the home.
barrier to work for families in Postville, Van Nuys, and           Children who were separated from detained parents were
Miami due to the stigma. Across all six sites, average             more likely to experience behavioral changes in both the
incomes after the raids or other arrests were half or less         short term and the long term. In the short term, about three
than what they had been before.                                    out of four of the children separated from parents experi-
      Housing instability. Lost incomes in our sample were         enced changes in eating habits, while these changes were
associated with housing instability. Many families started         experienced by only half of the children who were not sepa-
out in crowded conditions, but conditions worsened when            rated from their parents. About two-thirds of the children
families needed to move in with other relatives to control         separated from their parents began crying, and about half of
costs. One in four families moved in with others to save on        them exhibited fear. Of the children who were not separated
housing costs. Of the eight families that had owned their          from parents, about half cried more than before and about a
homes before the parental arrest, four lost their homes after-     third felt afraid. In the long term, children who did not see
ward. Across our study sites, many children wound up               their parents for a month or more exhibited more frequent
moving often. Such instability can have adverse conse-             changes in sleeping habits, anger, and withdrawal compared
quences for children, especially when coupled with other           with children who saw their parents in the first month after
hardships and added family stress.                                 arrest.
      Food hardship. Families in our study reported food                 The children in our sample who saw their parents
hardship at levels many times greater than those found in          arrested in home raids had even greater changes in sleeping
nationally representative samples. Nearly three out of five        and eating patterns, and much higher degrees of fear and
households reported difficulty paying for food “sometimes”         anxiety. Children whose parents were arrested at home
or “frequently” in the months following parental arrest.           exhibited multiple behavioral changes more often than
Parents offered less variety of food to their children and cut     children whose parents were arrested elsewhere.
back on their own consumption so that their children                     Children’s experience in schools. Schools provided stability
could eat. Nearly two out of three parents reduced the size        and a safe haven for many of the children in our sample, help-
of their meals, over half ate less than before, and more than      ing them adjust to life after their parents’ arrests. As we found
a fifth reported having experienced hunger because they did        in our previous study, Paying the Price, schools across all sites
not have enough to eat. These food-related hardships per-          worked with parents and community leaders to prevent chil-
sisted in our long-term sample, in some cases for more             dren from going to empty homes. Despite efforts by school
than a year.                                                       officials to keep children in school, many children initially
                                                                                                                                        ix

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    experienced disruptions in the short run, including missed            many of their cases continue to be adjudicated. The Rapid
    days of school. Some of the children’s grades slipped in the          Response Network of Los Angeles assembled 45 attorneys to
    short term. However, more often, parents and teachers told            help defend the Van Nuys arrestees from deportation. These
    positive stories about children’s long-run adjustments and the        attorneys challenged the legality of the raid itself, leading to
    school’s role in offering stability and structure for children.       the temporary dismissal of deportation cases against almost
    Students appear to have benefited from school routines and the        half of all the arrestees. Following the New Bedford raid,
    support they received from teachers and school personnel—             Greater Boston Legal Services and legal staff at Catholic
    including counseling for a significant number of students in          Social Services assembled a group of attorneys to represent
    New Bedford and Postville. In several cases students who had          the arrested workers, and a local philanthropist contributed
    struggled at first recovered their academic performance or saw        to paying the bonds for many of the immigrants placed in
    improvements in the long term.                                        detention. More than 100 of the New Bedford arrestees
                                                                          were still in the United States contesting their deportation
    Community Responses                                                   two years after the raid.
                                                                                Fewer people were able to contest their deportation in
    Aside from schools, significant responses to the raids and            Postville, because most had also been charged criminally;
    other arrests were made by churches and faith-based organi-           however, more than a dozen had received relief from depor-
    zations, community-based organizations (CBOs) and non-                tation a year and a half after the raid. Legal assistance was
    profit service providers, lawyers, and, to a lesser extent,           least successful in Grand Island, the earliest of our raid sites,
    public human services and child welfare agencies.                     where more parents took voluntary departure and fewer
         Humanitarian assistance. In the immediate aftermath of
                                                                          contested their deportation. It may be that over time, owing
    the large worksite raids in three sites—Grand Island, New
                                                                          to national and state-level organizing efforts, lawyers became
    Bedford, and Postville—communities mobilized assistance
                                                                          somewhat better equipped to assist immigrants caught up in
    for affected families quickly, developing what might be con-
                                                                          raids. It is also likely that assembling legal responses to
    sidered disaster-relief operations. Sources of support varied,
                                                                          worksite raids proved more difficult in the smaller, more iso-
    but in general these relief efforts were expensive, possibly
                                                                          lated communities of Postville and Grand Island than it did
    surpassing $1 million in Postville. A confluence of partici-
                                                                          in Los Angeles and New Bedford (which is near Boston and
    pants were usually involved, including churches, community
                                                                          Providence). It may also be that some legal remedies—such
    organizations, nonprofit service providers (e.g., United Way
                                                                          as U-visas, which can be issued for victims of crime—
    agencies), state and local government agencies, employers,
                                                                          became more widely used. This was certainly the case in
    and labor unions. These relief efforts were complicated
                                                                          Postville, where most of those who succeeded in contesting
    because of the families’ many needs (e.g., housing, utilities,
    food, and other basic needs) and the need to coordinate               their deportation received U-visas.
    services across multiple providers, and because in many cases               In our two nonworkplace raid sites, however, there was
    these needs lasted a long time.                                       no organized legal response. Also, legal remedies were much
         Unlike Paying the Price, our current study also focuses          less of an available option. Almost all of the Haitians
    on impacts and community responses in sites where immi-               arrested in Miami were on a final deportation order list,
    grants were arrested in smaller-scale operations. Without a           meaning that relief from deportation was very difficult.
    well-publicized raid as a catalyst, there was no such mobiliza-       Immigrants in Rogers-Springdale were in some cases
    tion in Rogers-Springdale and Miami, leaving families there           arrested for working illegally, but most were brought in on
    without an emergency response safety net. Family hardship             traffic violations and other criminal charges. Once they were
    was just as high, if not higher, in these two sites, but the levels   charged criminally, obtaining immigration relief became
    of assistance to affected families were much lower.                   much more difficult.
         Legal assistance. Among our study’s workplace raid sites,
    legal assistance and efforts to contest deportation appear to
                                                                          Conclusion
    have been most effective in New Bedford and Van Nuys. In
    these two sites many of those arrested have contested their           The U.S. Department of Homeland Security (DHS) has
    deportations, a significant number have been successful, and          continued to promote a policy of strict enforcement in the
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absence of progress on immigration reform legislation. The       Policy Recommendations
President, the Secretary of Homeland Security, ICE’s leader-
                                                                 We make several recommendations to address the hardships
ship, and congressional leaders have all emphasized that
                                                                 of children within the context of ongoing enforcement of
strict enforcement would be a pillar of any credibly
                                                                 immigration laws. These include changes in U.S. immigra-
reformed system. Although comprehensive reform remains
                                                                 tion law, in immigration enforcement strategies, and in how
as elusive as it has been over the past several years, the new
                                                                 community and public agencies respond to the needs of
DHS leadership initiated some important smaller-scale
                                                                 children affected by immigration enforcement.
changes in immigration enforcement.

  䡲 Humanitarian guidelines delineating terms for parental       Changes to current immigration laws.
    release during large-scale worksite raids were expanded       1. Congress should modify immigration laws to take into
    to include smaller-scale raids (down to 25 arrests).             account the circumstances and interests of children, espe-
  䡲 Large worksite raids have ended for now, with the last           cially U.S. citizen children, during deportation proceed-
    small raid in Bellingham, Washington, in February                ings. Arrested parents should be allowed to argue
    2009.                                                            hardship to U.S. citizen children before immigration
  䡲 Worksite enforcement is focusing instead on electronic           judges, even when they do not meet other conditions for
    verification of worker eligibility, audits of employers’         relief. Minor children who are U.S. citizens should be
    personnel records, and fines against employers.                  allowed to petition for their parents to become legal per-
  䡲 The 287(g) program was revised, with stricter federal            manent residents (through a court-appointed legal
    oversight and a focus on arresting and detaining serious         guardian who can advocate for their interests).
    criminals.
  䡲 Some greater discretion has been exercised in the deten-     Changes in immigration enforcement strategies.
    tion of FOT arrestees, with a large group released under      2. ICE should maintain the de facto moratorium on
    supervision recently in New Jersey.                              worksite raids and instead concentrate on electronic
                                                                     verification, audits of employers, and other mechanisms
     In addition, the DHS is considering reforms to the              to enforce laws against hiring immigrants illegally.
detention system, including releasing more arrestees with         3. ICE should develop alternatives to detention for parents
supervision, detaining people in more humane conditions,             who represent neither a danger to the community nor a
and allowing better communication with attorneys and                 flight risk. ICE should consider expanding use of super-
family members.                                                      vised release, including ankle bracelets, to nonworksite
     Overall, the number of arrests, detentions, and deporta-        enforcement operations—as it appears ICE has done in
tions of unauthorized immigrants has remained consistent at          some FOT operations. As DHS and ICE review deten-
the historically high levels seen since 2006. ICE’s FOTs             tion policies, they should prioritize keeping families to-
continue their operations, and the number of 287(g) pro-             gether and outside of detention settings whenever possible.
grams has expanded slightly. ICE has reemphasized its com-        4. ICE should allow family members greater access to
mitment to deporting immigrants with criminal records and            arrested immigrants during their processing and detention.
has concentrated resources toward this aim, though what              ICE should minimize the transfer of detainees to remote
amounts to a “serious criminal offense” has yet to be                locations and support children’s communication and
defined.                                                             visitation with detained parents, as recommended by
     Given that any overall abatement in the need for                recent reports from the DHS Office of Inspector General
enforcement is not likely and that in many cases arrested            and the U.S. Government Accountability Office.
unauthorized immigrants will have children, most of whom          5. ICE should allow parents who have a potentially valid
are U.S. citizens from birth, the nation must act to protect         claim the opportunity to work while contesting their
these children. Balancing enforcement imperatives against            deportation, by issuing work permits early on and by
the best interests of children is a challenge the country must       expediting U-visas for parents who are legitimate victims
face squarely, whether or not the immigration system is              of crimes. Allowing parents to work would substantially
more comprehensively reformed.                                       reduce family economic hardship, the burden on
                                                                                                                                   xi

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          faith-based and other community-based providers, and          9. State and local child welfare agencies, along with founda-
          use of public benefits for U.S. citizen children.                tions, experts, and advocates, should consider appropriate
                                                                           avenues to protect and advance the interests of children
      Changes in community responses and services to affected              whose parents are caught up in immigration enforcement.
      children and families.                                               The U.S. Children’s Bureau in the Administration of
        6. DHS and the U.S. Department of Health and Human                 Children and Families in DHHS should support work to
           Services (DHHS) should work together to develop                 identify positive practices and provide funding for techni-
           strategies to support state and local governments and           cal assistance if best practices are identified.
           nonprofit organizations to ensure the well-being of chil-   10. National, state, and local networks of deportation
           dren when their parents are deported. Such plans should         defense lawyers should be established, perhaps through
           provide for education, health, and family stability.            the American Bar Association and the American
        7. The special role of schools and early childhood pro-            Immigration Lawyers Association. Such networks will
           grams should be strengthened through policies that              be hardest to develop, yet most essential, in smaller
           ensure early alerts from ICE and local law enforcement.         cities and rural areas. Their services should be extended
           Schools and early childhood providers should develop            to immigrants caught up in both worksite and non-
           plans to protect children immediately following raids or        worksite raids.
           other arrests to provide safe havens and responsive         11. Both legal and humanitarian assistance should be coor-
           learning environments. The U.S. Department of                   dinated by and offered through trusted community
           Education and DHHS should work with ICE to offer                institutions such as faith-based and immigrant-serving
           technical assistance or federal guidance on best ways to        organizations. Such organizations should be prepared to
           ensure a positive learning environment for children in          continue assistance over the long term. We also recom-
           the aftermath of enforcement activities and provide             mend that government agencies work closely with these
           resources for counseling children in schools.                   organizations to plan service delivery to affected fami-
        8. Lawyers, community leaders, immigrant-serving orga-             lies, including benefits for eligible U.S. citizen children.
           nizations, faith-based organizations, and other trusted     12. Nongovernmental institutions such as churches, CBOs,
           community members and institutions should educate               foundations, and advocacy organizations, alongside
           parents about the best ways to respond when they are            state and national governments, should consider strate-
           detained and asked whether they have children. This             gies for developing and coordinating health, education,
           can be based on guidelines already developed by                 and other essential services for citizen children who
           national groups and those used in states with large             cross back and forth between nations as a result of
           immigrant populations.                                          parental deportation.




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1. INTRODUCTION

  mmigration persists as a national concern, engendering contentious debate, with most of the attention revolving around the

I estimated 12 million unauthorized immigrants living in the United States. Between 1990 and 2008 the number of unautho-
  rized immigrants has risen from fewer than 5 million to nearly 12 million.1 Recent legislative attempts in Congress—in 2006
and in 2007—failed to attract consensus on how to reform the immigration system or what to do about unauthorized immi-
grants. Immigration reform has been controversial with strongly held and competing viewpoints on issues such as the rule of
law, the labor market demand for immigrants, their economic contributions, their fiscal costs and contributions, and how their
integration affects local communities and schools.


     Largely absent from the discussion and nearly invisible            raising them and developing their potential, and thereby
in the portraits of the illegal immigrant population have               the nation’s. Yet unlike other U.S. children, the children
been the millions of children living with unauthorized par-             of the unauthorized live under constant threat that their
ents.2 In 2008, an estimated 5.5 million children (more                 parents might be arrested and deported, leaving them vul-
than 7 percent of all children living in the United States)             nerable to family separation, instability, economic hard-
had unauthorized parents. Almost three-quarters of these                ship, dramatic changes in their life courses, and potentially
children were U.S.-born citizens.3 Like other U.S. chil-                severe psychological and behavioral impacts. This report
dren, these children grow up needing economic security, a               focuses on children who have experienced the arrest of at
stable home environment, strong and supportive families,                least one of their parents in a worksite raid or other immi-
and access to quality schools, health care, and social ser-             gration enforcement action.
vices. Their parents, even when they are unauthorized, work
hard to provide these necessities for their children. Like all
                                                                        Immigration Enforcement
U.S. children, the nation invests in their future and relies
in turn on their families to provide the primary support for            Absent consensus on immigration reform, the unauthorized
                                                                        immigrant population in the United States and their fami-
                                                                        lies have been subject to increasingly strict enforcement.
1
  Jeffrey S. Passel and D’Vera Cohn, 2009, A Portrait of Unauthorized   Hundreds of thousands of children have experienced the
Immigrants in the United States, Washington, DC: Pew Hispanic           arrests of their parents in recent years; a report by the
Center.
2 The parents and many other family members discussed in this           U.S. Department of Homeland Security (DHS) estimated
report were or are for the most part in the country illegally.          that over 100,000 parents with U.S. citizen children were
There has been controversy over whether they should be called           deported over the past 10 years—most likely a significant
“illegal” or “undocumented.” They are most often both. We use
                                                                        underestimate since parents often do not divulge the pres-
the term “unauthorized” in this report because it makes the
fewest assumptions about their status. As discussed in later chap-      ence of children when they are arrested.4
ters, many have entered and live and work here illegally. Some
are immigrants who have invalid documents, and some are
found after adjudication to have legitimate claims for legal resi-
dence or may be pursuing such claims.                                   4
                                                                         U.S. Department of Homeland Security, 2009, Removals Involving
3 An estimated 4 million children with unauthorized parents were        Illegal Alien Parents of United States Citizen Children, OIG-09-15,
U.S.-born citizens. Passel and Cohn, 2009, p. 7.                        Washington, DC: DHS, Office of Inspector General.

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         Our report describes the experiences of nearly 200 of         focus on three forms of enforcement:9 worksite raids, arrests
    these children in six sites where recent immigration enforce-      by fugitive operations teams (FOTs) in homes and other
    ment activities have taken place. These enforcement activities     locations, and arrests by state and local police officers
    include four large-scale worksite raids—each involving more        through the 287(g) program.
    than 100 arrests—as well as scattered, smaller-scale arrests of
                                                                             Worksite enforcement. In FY 2005, a total of about
    immigrants in their homes, on the street, and in other loca-
                                                                       1,300 unauthorized immigrants were arrested at work-
    tions in two other sites.
                                                                       sites; by FY 2008 this total had increased to 6,300.10
         The enforcement activities in our six study sites took
                                                                       Because of the large scale of these operations—which
    place between December 2006 and May 2008, a period of
                                                                       have at times involved a few hundred arrests—they
    heightened immigration enforcement. From federal fiscal
                                                                       have attracted widespread media attention. Despite the
    years (FY) 2005 to 2009 the budget for U.S. Immigration
                                                                       large numbers of people arrested in a single location,
    and Customs Enforcement (ICE), the agency within DHS               worksite raids have led to fewer arrests of unauthorized
    responsible for interior enforcement, grew from $3.6 to            immigrants than other forms of enforcement activities
    $5.9 billion and its personnel rose from 15,000 to 19,000.         we studied.
    Of the total budget of about $6 billion in FY 2010,                      Fugitive operations teams. In one site, we studied
    $2.5 billion is dedicated to “detention and removal                arrests that had been made by FOTs, which have
    operations”—including most of the activities we describe           been active in arresting immigrants in homes and other
    in this report.5                                                   locations. “Fugitives” are defined as immigrants who
         The number of immigrants in ICE detention on an               have “failed to leave the United States based upon a
    average day rose by 45 percent from about 21,000 in FY             final order of removal, deportation, or exclusion; or
    2005 to about 31,000 in FY 2008.6 The total number of              who have failed to report to ICE after receiving
    unauthorized immigrants deported annually increased                notice to do so.”11 Between FY 2003 and FY 2008,
    from 206,000 in FY 2005 to 357,000 in FY 2008.7
    Although most of the immigrants detained and deported              9 These are not all of the enforcement activities under ICE’s
    are apprehended through border enforcement efforts in              responsibility, and our report is not a review of all of ICE’s
    areas near the Southwestern border, those arrested by ICE          enforcement activities. We did not study two other major pro-
    in the interior of the country through raids of worksites,         grams that identify unauthorized immigrants when they come into
                                                                       contact with state and local law enforcement authorities. The first
    homes, and other locations number in the tens of thou-             of these—the Criminal Alien Program—places ICE officers in state
    sands each year.8                                                  and local jails, where they identify unauthorized immigrants and
         During our study period (2006–08), ICE increased its          put them in deportation proceedings (see ICE, 2008, “Criminal
                                                                       Alien Program,” Fact Sheet, November 19, http://www.ice.gov/pi/
    immigration enforcement activities, and in this report we          news/factsheets/criminal_alien_program.htm). This program has
                                                                       resulted in a large number of referrals and deportations (over
                                                                       200,000 in FY 2008), but it nets only criminals who are already
    5 ICE, 2009, “ICE Fiscal Year 2010 Enacted Budget,” Fact Sheet,
                                                                       serving time in state and local jails—and so does not result in
    November 5, http://www.ice.gov/doclib/pi/news/factsheets/          any arrests. The second—Secure Communities—is a program
    2010budgetfactsheet.doc.                                           just created in 2008 that allows state and local officers to screen
    6 ICE, 2008, “Detention Management,” Fact Sheet, November 18,
                                                                       immigrants for legal status via FBI and DHS databases, using
    http://www.ice.gov/pi/news/factsheets/index.htm. A recent          their fingerprints; ICE plans to extend this program to all state
    report estimates that 379,000 immigrants in 2008 (and a similar    and local jails in the coming years (see ICE, 2009, “Secure
    number in 2009) passed through ICE detention or were super-        Communities,” Fact Sheet, September 1, http://www.ice.gov/
    vised under threat of deportation. Dora Schriro, 2009,             doclib/pi/news/factsheets/secure_communities.pdf).
    Immigration Detention Overview and Recommendations,                10
                                                                          DHS, 2009, “Worksite Enforcement Overview,” Fact Sheet,
    Washington, DC: U.S. Department of Homeland Security,              April 30, http://www.ice.gov/pi/news/factsheets/index.htm.
    Immigration and Customs Enforcement, October 6.                    11 ICE, 2009, “ICE Fugitive Operations Program,” Fact Sheet,
    7 ICE, 2009, ICE Fiscal Year 2008 Annual Report, http://www.ice.
                                                                       August 19, http://www.ice.gov/pi/news/factsheets/NFOP_FS.htm.
    gov/pi/reports/annual_report/index.htm.                            Some fugitives are criminals who have orders of removal; however,
    8 Kristen McCabe and Jeanne Batalova, 2009, “Immigration
                                                                       the majority of those who have been arrested in recent years are
    Enforcement in the United States,” Washington, DC: Migration       people who have a deportation order because they missed a depor-
    Policy Institute; Schriro, 2009, p. 12.                            tation hearing or failed to leave after being ordered deported.

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the number of FOT arrests nationally increased dra-                   made some significant changes in the enforcement of
matically from just 1,900 to over 34,000—and there                    immigration laws. Large-scale worksite raids have all but
were a total of nearly 100,000 arrests during this six-               ended, with the last major raid in February 2009 in
year period.12                                                        Bellingham, Washington. Instead, the administration has
     Arrests by state and local police with 287(g) agree-             focused on electronic verification of workers’ legal status,
ments. One of the study sites was a setting for arrests               increased audits of employer records and pressure on
made by local law enforcement officers through the                    employers to fire unauthorized workers, and fines against
287(g) agreements—so named for the section of immi-                   employers who hire them. However, the administration
gration law that allows state and local law enforcement               has continued FOTs and other operations to pursue immi-
officers to become trained and then work under ICE                    grants who have committed crimes or who have outstanding
supervision to enforce immigration laws.13 In 1996, as                deportation orders.
part of the Illegal Immigration Reform and Immigrant
Responsibility Act (IIRIRA),14 Congress empowered
                                                                      Goals of the Study
ICE to delegate authority to make immigration arrests
to state and local law enforcement agencies (as long                  In 2007, we published Paying the Price: The Impact of
as the agencies entered into formal agreements). This                 Immigration Raids on America’s Children, a report focusing
287(g) program experienced rapid growth during our                    on the short-term impacts of three large-scale worksite raids
study period from just eight agreements in 2006 to                    on immigrant families, communities, and schools, along
66 by 2009. As of November 2009, 1,075 officers                       with public and community response efforts that took place
had been trained and about 130,000 potentially                        within six months after the raids.16 Like that initial
deportable immigrants had been identified, mostly                     exploratory work, our current study relies primarily on
through screening of inmates in state and local jails.15              structured interviews with community respondents and
                                                                      families with children that had at least one parent arrested,
      Immigration enforcement policies also changed during            detained, or deported.
the period of our research and have continued to change                    We have extended our previous work by capturing
since. For changes that occurred during our research—such             long-term raid impacts and community responses, monitor-
as a new humanitarian policy to release parents of young              ing changes in worksite raid implementation over time,
children more expeditiously pending adjudication when                 studying multiple types of enforcement activities beyond
they are picked up during worksite raids, or to make greater          worksite raids, representing the diversity of populations and
use of electronic monitoring devices (EMDs) to track                  communities affected by the raids, documenting more thor-
released arrestees—we have sought to provide evidence                 oughly family and child well-being after enforcement
about their implementation and effects.                               actions, and understanding how enforcement and commu-
      In addition, the report provides information to inform          nity contexts affect community responses.
ongoing and future policy reviews. Since we were in the
field in 2008 and early 2009, the new Obama administra-
tion has reviewed a number of enforcement policies and
                                                                      Capturing Long-Term Consequences
                                                                      and Community Responses
                                                                      We returned to two of the original worksite raid sites
12
   Margot Mendelson, Shayna Strom, and Michael Wishnie, 2009,         (Grand Island and New Bedford) for follow-up interviews
“Collateral Damage: An Examination of ICE’s Fugitive Operations
Program,” Washington, DC: Migration Policy Institute.                 more than one year after the raids. We visited two new
13 Anita Khashu, 2009, The Role of Local Police: Striking a Balance   (2008) worksite raid sites (Van Nuys and Postville), twice—
between Immigration Enforcement and Civil Liberties, Washington,      within a couple of months after the raids and 10 months to
DC: Police Foundation.
14 Public Law 104-208.

15 ICE, 2009, “Delegation of Immigration Authority Section 287(g)     16
                                                                        Randy Capps, Rosa Maria Castañeda, Ajay Chaudry, and Robert
Immigration and Nationality Act,” Fact Sheet, November 13,            Santos, 2007, Paying the Price: The Impact of Immigration Raids on
http://www.ice.gov/pi/news/factsheets/section287_g.htm.               America’s Children, Washington, DC: National Council of La Raza.

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    one year later. In all four sites we interviewed a subset of     enforcement agencies are from Mexico and Central
    affected families as well as leaders in the community twice.     America.17 We also sought to include at least one non-
                                                                     Latino population and chose Haitians in Miami—a large
                                                                     unauthorized population that has been affected by thou-
    Monitoring Changes in Worksite Raid
                                                                     sands of arrests and deportations in recent years. To obtain
    Implementation over Time
                                                                     diversity of community size, we included two of the nation’s
    There has been considerable evolution in the way that            largest metropolitan areas (Miami and Van Nuys—which is
    worksite raids are carried out. During the earlier raids         part of Los Angeles); two medium-sized metropolitan areas
    (Grand Island and New Bedford), ICE deported many                (New Bedford and Rogers-Springdale); one small city
    people quickly or detained them for a period of time,            (Grand Island); and Postville—a small town with an official
    though a few parents were released on their own recogni-         population of just over 2,000 people. Our sites are also
    zance or with bonds. In the more recent raids (Van Nuys          regionally diverse: one is in the Northeast, two in the
    and Postville), a significant number of parents were released    Midwest, two in the Southeast, and one on the West Coast.
    almost immediately with EMDs on their ankles. Our study
    samples included many parents with EMDs on their ankles
                                                                     Documenting More Thoroughly Family
    at these two sites. In Postville, a majority of the arrested
                                                                     and Child Well-Being after Enforcement Actions
    immigrants were convicted of misuse of Social Security
    Numbers (SSNs) and held for five months.                         In our previous study, Paying the Price, we documented
                                                                     short-term family separations, economic hardship, and the
                                                                     need for social assistance following three large-scale work-
    Studying Multiple Types of Enforcement Activities
                                                                     site raids. The current study built on this previous work by
    beyond Worksite Raids
                                                                     documenting specific impacts on families and children.
    Two study sites—Miami and Northwest Arkansas—were                We still primarily relied on one-on-one conversations with
    included to capture other types of enforcement activities. In    arrested parents or their spouses, partners, or other rela-
    Miami, the study respondents or their spouses or partners        tives. The current study included the domains in the first
    were arrested in their homes through FOT operations or at        study as well as others. The primary domains included
    immigration hearings or appointments. The Miami study            family separation, economic hardship, changes in chil-
    population was comprised of Haitian immigrants, most of          dren’s behavior, schooling interruptions, and parents’
    whom were on ICE’s list for deportation because their asy-       mental health. Where possible we added more structured
    lum claims had been rejected or they had overstayed their        questions to enhance data analysis across sites and other
    visa status. In Northwest Arkansas, local law enforcement        dimensions of our sample.
    agencies had entered into 287(g) agreements with ICE to
    enforce immigration laws and had arrested immigrants at
                                                                     Understanding How Enforcement and Community
    worksites, during traffic stops, on the street, and in one
                                                                     Contexts Affect Community Responses
    case, just outside an elementary school. Because both of
    these types of enforcement activities result in arrests spread   In our initial exploratory study we found significant varia-
    over a long period of time, rather than a massive number         tion in the ways that organizations—including state and
    of arrests all at once, they often attract less attention and    local government agencies, nonprofit human services
    receive less of a community response than more dramatic          providers, legal assistance groups, schools, and community-
    worksite raids.                                                  based organizations (CBOs)—responded to enforcement
                                                                     actions. In the current study, we also analyzed how the
                                                                     responses varied by community context: for instance, large
    Representing the Diversity of Populations
                                                                     cities versus rural areas and areas with more positive or neg-
    and Communities Affected by the Raids
                                                                     ative attitudes toward immigration. We also looked at how
    The vast majority (almost 90 percent) of unauthorized
    immigrants arrested and detained by ICE and local law            17
                                                                          Schriro, 2009, p. 6.

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community responses differed following worksite raids ver-        ods, describes the sample of families with children that we
sus FOT home raids and local policing operations.                 interviewed, and discusses the study’s limitations. The second
                                                                  chapter of the report discusses the different enforcement oper-
                                                                  ations in the study sites. This chapter also addresses the effects
Research Questions
                                                                  of enforcement activities on parent-child separations when a
To achieve our research goals, the study and report focus on      parent is arrested, detained, or deported. Chapter 3 discusses
the following central questions:                                  other enforcement impacts on families, including changes in
                                                                  family income, housing instability, and food hardship. This
  1. What are the effects of enforcement actions on parent-
                                                                  chapter also describes the assistance that families received to
     child separation? How do these differ in the short,
                                                                  cope with some of these difficulties. Chapter 4 describes in
     intermediate, and longer terms?
                                                                  detail the consequences for children in terms of behavioral
     䡲 In the short term—the days and weeks following
                                                                  changes at home and at school. Chapter 5 focuses on commu-
        arrest,
        䡲 How many parents are released, detained, or
                                                                  nity response efforts, including both legal efforts to contest
                                                                  deportation of parents and humanitarian assistance to families
           deported?
        䡲 How long do parent-child separations last, and
                                                                  and children over the short, intermediate, and longer term.
          what are the consequences for children?                 The final chapter discusses the study’s main findings and con-
     䡲 In the intermediate and longer terms,                      clusions, describes recent policy changes, and makes recom-
        䡲 How many families remain in the community where         mendations for developing effective and humane immigration
          they were arrested? In another U.S. community?          enforcement policies.
        䡲 How many parents leave the country, either volun-

          tarily or by deportation?                               Study Sites
        䡲 When parents leave the community or the country,

          do they take their children with them?                  ICE conducted large-scale single-day raids on manufactur-
  2. What are some of the specific effects of enforcement         ing plants in four of our study sites: Grand Island, New
     actions on children’s well-being?                            Bedford, Van Nuys, and Postville. The other two sites—
     䡲 How does family income change?                             Miami and Rogers-Springdale—were sites where other
     䡲 What types of material hardship do families face?          enforcement actions took place over extended periods
        How are their housing stability, food sufficiency,        (table 1.1). In Miami, FOTs, along with local police and
        and other material conditions affected?                   Border Patrol agents, arrested immigrants at their homes;
     䡲 How do children respond to the stresses? Are there         other immigrants were arrested during their immigration
        noticeable changes in children’s behavior at home         appointments and hearings with immigration officers. In
        or in school?                                             Rogers-Springdale, the local police entered into a 287(g)
  3. What types of services and social support did immigrant      agreement with ICE to enforce immigration laws, con-
     families receive in the immediate and longer-term            ducted joint worksite raids with ICE, and arrested immi-
     aftermath of parental arrests?                               grants during routine policing operations.
     䡲 How were community (public and private) services
        delivered, and what kinds of response models were
                                                                  Grand Island, Nebraska
        developed?
     䡲 What lessons can be learned from the successes             Grand Island is a small city of about 45,000 people located
        and challenges of providing community and public          100 miles west of Omaha, Nebraska, and just off of Inter-
        services intended to benefit children?                    state 80, one of the nation’s main East-West highways.
                                                                  More than 10 percent of the city’s population is foreign
                                                                  born, and Latino immigrants are dispersed across the city.
Organization of the Report
                                                                  Mexico is the largest country of origin among Latino immi-
The remainder of this introduction outlines the characteristics   grants, but there are many recent arrivals from Guatemala,
of the six study sites, provides an overview of the study meth-   including indigenous Maya K’iche who speak neither
                                                                                                                                       5

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    TABLE 1.1. Characteristics of the Six Study Sites

                                      Grand Island,       New Bedford,             Van Nuys,             Postville,              Miami,                Rogers-Springdale,
                                       Nebraska           Massachusetts            California              Iowa                  Florida                   Arkansas

       Region                         Midwest             Northeast             West                  Midwest               South                   South
       Metro area                     Rural               Providence, RI        Los Angeles, CA       Rural                 Miami, FL               Fayetteville, AR
       Total populationa              45,000              94,000                3.8 millionb          2,300                 352,000                 47,000/64,000c
       Foreign-born population        6,000               20,000                1.5 millionb          750                   206,000                 9,000/13,000c
       Primary origins of sample      Guatemala,          Guatemala,            Mexico,               Guatemala,            Haiti                   Mexico
                                         Mexico              Honduras, El          El Salvador           Mexico
                                                             Salvador
       Location of raid/arrests       Worksite            Worksite              Worksite              Worksite              Home, at appoint-       Local policing operations, at
                                                                                                                              ments                   appointments
       Date of raid or arrests        December 2006       March 2007            February 2008         May 2008              Ongoing                 Ongoing, starting in fall 2007
       Date(s) of our visit(s)        June 2007,          May 2007,             April 2008, May       July 2008, March      December 2008           May 2008
                                        June 2008           May 2008              2009                   2009


    a. Population from American Community Survey, 2005–2007 3-year average, for all sites except Postville. 2000 Census population for Postville.
    b. Total and foreign-born populations for Los Angeles City.
    c. Total and foreign-born populations for Rogers and Springdale, respectively.




    English nor Spanish well. The surrounding area is agricul-                                   2007 following investigations of alleged worker abuses, and
    tural and in town there are several manufacturing plants                                     361 immigrants were arrested. Most of those arrested held
    including the meatpacking plant, employing about 3,000.                                      sewing jobs that generally paid $7–$9 per hour, which was
    This plant was raided in December 2006 as part of a single-                                  low relative to the cost of living in the area. The plant ini-
    day raid on six Swift and Company plants simultaneously,                                     tially closed soon after the raid and was later sold to Eagle
    netting over 1,297 arrests—the largest worksite raid con-                                    Industries of Missouri, which started new sewing operations
    ducted by ICE. Two hundred seventy-three unauthorized                                        at the factory.
    workers were arrested at the Grand Island plant. Before
    the raid, workers at the plant were unionized and earned
                                                                                                 Van Nuys, California
    $10–$15 hourly for full-time work, and many enjoyed sig-
    nificant overtime pay. Swift and Company was bought out                                      Van Nuys is a suburban area within the City of Los Angeles,
    by a Brazilian company in summer 2007 and the plant has                                      located in the San Fernando Valley, just northwest over the
    remained in operation.                                                                       hills from downtown and Hollywood. Los Angeles is the
                                                                                                 second-largest city in the United States, with a 2005–2007
                                                                                                 population of 3.8 million, 40 percent of whom are foreign
    New Bedford, Massachusetts
                                                                                                 born. Los Angeles has immigrants from all over the world,
    New Bedford is near the Providence and Boston metropoli-                                     but more than half come from Mexico or Central America—
    tan areas and has a population of almost 100,000, of whom                                    600,000 from Mexico alone.18 Van Nuys is a working-class
    just over 20 percent are immigrants. Located on the New                                      community that includes several major manufacturing
    England coast between Rhode Island and Cape Cod, the                                         plants, including the Micro Solutions Enterprises plant that
    city is a seaport with an old and declining manufacturing                                    was raided by ICE in February 2008. The raid was based on
    base. Portuguese, Brazilian, and Cape Verdean immi-                                          a warrant for eight employees suspected of holding falsified
    grants form the nucleus of the long-term immigrant com-                                      documents. The vast majority of the 138 arrestees were
    munity, yet there are many recent arrivals from Central                                      immigrants from Mexico or El Salvador. Micro Solutions
    America—including the Hondurans, Salvadorans, and                                            makes supplies for computer printers and is still in business.
    Guatemalans (mostly Maya K’iche as in Grand Island) who
    worked at the Michael Bianco sewing plant that made back-                                    18
                                                                                                  American Community Survey, 2005–2007 three-year average,
    packs for the U.S. military. That plant was raided in March                                  American Factfinder, http://factfinder.census.gov.

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Postville, Iowa                                                             Our study focused on Little Haiti, a poor community
                                                                      in Miami which has been a major settlement area for
Postville is a small town in rural northeast Iowa, located almost
                                                                      Haitian immigrants since 1980. Haitians in Miami-Dade
200 miles northeast of the state capital of Des Moines and
                                                                      County had a poverty rate of 30 percent, and the overall
nearly 200 miles south of Minneapolis. According to the 2000
                                                                      population of Little Haiti had a poverty rate of 44 percent
Census, Postville had a population of just 2,300 (about a
                                                                      in 2000. Many Haitians are employed in tourism and
third of whom were immigrants), making it by far our smallest
                                                                      related industries, which are often seasonal, part-time, and
study site. However, unofficially there were more than 1,000
                                                                      low paying. Retail and food industry jobs, which are also
Latino immigrants in Postville, mostly workers at the town’s
                                                                      low paying, are also common among Haitians in Miami.
largest employer: the Agriprocessors kosher meatpacking plant.
                                                                      Although both English and Spanish are commonly spoken
Agriprocessors reportedly employed over 1,000 people—half
                                                                      across Miami, most Haitians speak a Creole dialect of
the town’s official population—just before it was raided in
April 2008. The majority of the 389 arrested immigrants were          French, for which interpretation and translation are often
Guatemalans, while others were from Mexico and Russia.                difficult to obtain.
Postville also had a large orthodox Jewish population that                  Haiti is the poorest country in the Western Hemisphere,
included plant managers and other employees.                          has had a significant amount of political unrest and vio-
     Agriprocessors was investigated before and after the             lence, and was struck by four hurricanes in 2008. However,
raid for a range of violations including fraudulent business          unlike some Latin American and Caribbean nations, its
transactions, underage hiring, worker physical and sexual             nationals are not generally eligible for asylum or temporary
abuse, withholding of pay, and environmental infractions.             protected status (TPS) due to political upheaval or natural
Agriprocessor’s vice president and senior manager was con-            disasters. As a consequence, there are a large number of
victed on 72 counts of fraud in November 2009 and faces               Haitians living in Miami who are unauthorized and subject
significant potential jail time. The company, which also              to arrest and deportation. Most of our study participants
operated a kosher plant in Nebraska, filed for bankruptcy in          lived in the Little Haiti section of Miami, although a few
November 2008 and closed for a period of weeks. In fall               lived farther north in the Miami metropolitan area. Little
2009 a Canadian company bought the plant and kosher                   Haiti and other communities in Miami have been subject to
meatpacking operations continue, but at about a third of the          a wave of sweeps by FOTs and other enforcement activities
capacity before the raid. Postville has been devastated by the        since 2005, which appear to have begun to decline very
plant’s bankruptcy and near closure, and the surrounding,             recently.
mostly agricultural, area has few other employment or eco-
nomic development options.
                                                                      Rogers-Springdale, Arkansas
                                                                      Rogers and Springdale are neighboring cities in the Fayetteville
Miami
                                                                      metropolitan area, located in the northwest corner of
Miami is the other major city in our study, with a 2005–2007          Arkansas, adjoining the states of Oklahoma and Missouri.
population of 350,000—over half of whom are immigrants.               The metropolitan area has a 2005–2007 population of just
The greater Miami area is much larger, with a population of           over 400,000, with about 10 percent immigrants—half of
over 5 million—an estimated 200,000 of whom are of                    whom are from Mexico. Rogers has a population of about
Haitian origin.19                                                     50,000 and Springdale, about 60,000. Rogers is located near
                                                                      the corporate headquarters of Wal-Mart, and Springdale is
                                                                      home to Tyson chicken processing. Employment growth in
19
  The statistics about the Haitian population and Little Haiti pre-
sented here are taken from Ana Cruz-Taura and Jessica LeVeen
                                                                      manufacturing (mostly food processing) and construction
Farr, 2008, “Miami, Florida: The Little Haiti Neighborhood,”          spurred rapid immigration to the area during the 1990s and
pp. 47–56 in The Enduring Challenge of Concentrated Poverty in        since 2000.
America: Case Studies from Communities across the U.S., edited by          In the fall of 2007, Rogers and Springdale, along with
David Erickson, Carolina Reid, Lisa Nelson, Anne O’Shaughnessy,
and Alan Berube, Washington, DC: The Federal Reserve System           the surrounding counties of Benton and Washington, signed
and The Brookings Institution.                                        agreements with ICE that allowed local police officers to be
                                                                                                                                         7

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                 trained to enforce immigration laws. After about one month                            supporting our work also provided input on approach and
                 of training, 19 officers from the four jurisdictions (Rogers,                         protocol development for our research.
                 Springdale, and the two surrounding counties) returned and                                 We developed two protocols—one for community
                 began checking the legal status of arrestees in the county                            respondents and the other for interviews with arrestees or
                 jails, during traffic stops and other routine policing opera-                         their spouses/partners:
                 tions, and in small worksite raids. Most of the several hun-
                                                                                                         䡲 Community interview protocol. The community inter-
                 dred arrested immigrants were from Mexico or other Latin
                                                                                                           views were guided by semi-structured protocols, which
                 American countries.
                                                                                                           allowed for comparison across interviews within sites as
                                                                                                           well as across sites, but also encouraged open-ended
                                                                                                           responses. Community interviews centered on ques-
                 Study Methods
                                                                                                           tions about the local economy and social characteristics
                 The central goal of the current study is to assess changes in                             of immigrant communities, as well as the conditions of
                 children’s well-being over time in the aftermath of immigra-                              immigrant families before the raids, experiences of fam-
                 tion enforcement activities, within the context of each                                   ilies during the raids, and their legal disposition. We
                 community. This goal guided the development of our                                        explored faith-based, nonprofit, community-based, and
                 research protocols.                                                                       public response efforts in detail, as we did in the 2007
                                                                                                           Paying the Price study.
                                                                                                         䡲 Parent interview protocol. The parent protocol included
                 Research Protocols                                                                        the characteristics of the family before parental arrest;
                 We worked with an advisory committee (table 1.2) of ten                                   the arrest itself, detention, supervised release, and
                 experts from the fields of immigration law, child develop-                                deportation afterward; family economic hardship before
                 ment, child psychiatry, education, sociology, and demogra-                                and after the arrest; parental mental health; children’s
                 phy to design the study approach and protocols for data                                   behavior and school performance; informal support
                 collection. Board members and staff from the foundations                                  offered by family and community members; and use
                                                                                                           of public social services. The protocol was structured
                                                                                                           around key indicators of child and family well-being
TABLE 1.2. Study Advisory Committee                                                                        but was also flexible enough to allow for conversation
                                                                                                           to flow from different starting points. It was important
    Vincent Eng                                      Krista Perreira, PhD                                  for parents feel comfortable telling their stories, and
    Deputy Director                                  Professor of Public Policy
                                                                                                           a flexible interviewing approach yielded valuable
    Asian American Justice Center                    The University of North Carolina at Chapel Hill
    Washington, D.C.                                 Chapel Hill, North Carolina                           information.
    Donald J. Hernandez, PhD                         Andres J. Pumariega, MD
                                                                                                             In all sites we attempted to obtain data from the local
    Professor of Sociology                           Chair, Department of Psychiatry
    Hunter College and the Graduate                  The Reading Hospital and Medical Center           schools on children’s attendance, behavior, and academic
      Center (CUNY)                                  Reading, Pennsylvania                             performance before and after the raids. However, we were
    New York, New York
                                                                                                       only successful in obtaining such academic records from one
    Bill Ong Hing, JD                                Nestor Rodriguez, PhD
    Professor of Law and Asian American Studies      Professor, Department of Sociology
                                                                                                       school district—Postville, Iowa—and thus, we make only
    University of California, Davis, School of Law   University of Texas at Austin                     limited use of these data in this report.
    Davis, California                                Austin, Texas                                           Confidentiality of responses. We ensured the confiden-
    Alan Jenkins, JD, MA                             Selcuk R. Sirin, PhD                              tiality of all the information shared with us by both family
    Co-Founder and Executive Director                Assistant Professor of Applied Psychology
    Opportunity Agenda                               New York University                               and community respondents. Parent interviews were
    New York, New York                               New York, New York                                audiotaped and fully transcribed in Spanish, except for
    Kathleen A. Moccio, JD                           Carola Suárez-Orozco, PhD                         interviews in Miami, which were conducted in Creole
    Consulting Attorney to Dorsey & Whitney LLP      Professor of Applied Psychology                   and summarized in English. The resulting recordings,
    Minneapolis, Minnesota                           New York University
                                                     New York, New York                                transcriptions, and summaries in the study’s database
                                                                                                       included only unique identifiers, not names or other
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identifying information on the families. All material from        where Spanish was not spoken by the respondents. All inter-
the family interviews was stored on encrypted computers.          views were conducted where the family felt most comfort-
Targeted transcripts of our interviews with community             able. These locations included respondents’ homes,
respondents did not include identifying information, and all      churches, and community centers.
“off the record” comments were omitted from this report.
We screened all material in this report to make sure that
                                                                  Study Sample
details cannot identify any respondents. Our data collection,
storage, analysis, and reporting procedures were approved         Our sampling methodology involved subjective sampling of
by the Urban Institute’s institutional review board.              sites and respondents within sites. As outlined in the earlier
     Contacting and interviewing respondents. Following           explanation of the goals of the study, we chose our sites to
the successful methodology used in our 2007 study, we             capture the diversity of enforcement activity and its impacts
communicated with national, state, and local organizations        on children by selecting those that
and contacted local leaders from community organizing
                                                                    䡲 spanned a range of enforcement activities (e.g., worksite
groups, CBOs, churches and other faith-based organizations
                                                                      raids, home raids, 287(g) sites),
(FBOs), and service providers. We then identified and
                                                                    䡲 included immigrants from a range of home countries
interviewed the following groups of community
                                                                      and regions (e.g., Mexico, Central America, Haiti),
respondents:
                                                                    䡲 included a diversity of community environments and
  䡲 employers and union locals;                                       responses, and
  䡲 state and local elected officials, board members, and           䡲 allowed for a longitudinal impact investigation.
    service providers;
                                                                       To the extent possible we aimed to interview a diverse
  䡲 law enforcement officials;
                                                                  group of families to capture the range of experiences that
  䡲 nonprofit service providers;
                                                                  they and their children encountered. Specifically, we aimed
  䡲 churches and other FBOs;
                                                                  for a sample of families that included
  䡲 teachers, administrators, other staff at schools, and
    child care providers;                                           䡲   children ranging from infants to teenagers,
  䡲 grassroots organizations and local community leaders;           䡲   both U.S. native and foreign-born children,
  䡲 health care and mental health providers;                        䡲   families with different countries of origin, and
  䡲 immigration lawyers; and                                        䡲   parents who were detained for various lengths of time.
  䡲 consular officials for countries with nationals arrested in
                                                                       We asked the groups that helped us recruit families to
    immigration enforcement activities.
                                                                  identify as diverse a sample as possible using these criteria.
     Through CBOs, FBOs, and other local contacts we were         In each site we were able to obtain a variety of children by
able to obtain contact information for a number of families       age and citizenship. However, since the conditions of arrests
in each site. In the worksite raid sites, we generally worked     in each site strongly influenced the family structure and
through one or two local CBOs or FBOs—usually the groups          length of separation for families we interviewed, we have
that organized and provided legal or humanitarian services        more diversity across than within sites on these criteria.
to arrested immigrants and their families. However, because            Our study includes a final sample of 87 respondents
arrests were scattered over long time periods and across larger   across six sites (table 1.3). The 87 respondents were in
geographic areas, recruiting families in Miami and Rogers-        85 families and 83 households. About half our respon-
Springdale required collaboration with more local contacts to     dents in Grand Island and New Bedford were also inter-
help identify and locate respondents.                             viewed in 2007 for our previous study. We interviewed
     Two Urban Institute bilingual/bicultural (Spanish/           the largest numbers of families in Van Nuys and Postville
English) researchers worked with local contacts to recruit        because our central contacts there were in communication
and interview the sample and interviewed the family respon-       with many families right after the raids and because we
dents in all sites except Miami. We hired a professionally        wanted to develop a broad base for follow-up interviews
trained Haitian Creole interpreter in Miami, the only site        a year later.
                                                                                                                                   9

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                 TABLE 1.3. Study Respondents and Household Characteristics by Site

                                                                                                                                        Average children
                                                                                                                   Families or           under 18 in U.S.            Interviews           Interviews
                     Site                            Children          Respondents             Householdsa          couplesb               per familyc                 (2008)d               (2009)

                     Postville, IA                       55                 18                       18                  18                      3.1                      17                   11
                     Van Nuys, CA                        48                 28                       26                  27                      1.8                      26                   12
                     Grand Island, NE                    27                 12                       12                  12                      2.3                       9                    0
                     Rogers-Springdale, AR               27                 10                        8                   9                      3.0                       8                    0
                     Miami, FL                           19                  9                        9                   9                      2.1                      10                    0
                     New Bedford, MA                     14                 10                       10                  10                      1.4                      10                    0
                     Total                              190                 87                       83                  85                      2.2                      80                   23

                 Source: Urban Institute surveys of families in study sites.
                 a. Reflects two cases where respondents moved in together after parental arrest and two other cases where both the mother and the father were interviewed. There were 83 separate
                 households before arrest.
                 b. Data were collected on four families in the two households where families moved in together, yielding two more families than households in the sample.
                 c. Children in the primary care of respondent, respondent’s partner (or children’s parent), or respondent’s family member at time of interview. The total does not include (1) offspring
                 age 18 years or older living in the household or (2) children who were living in their parents’ country of origin at the time of the interview.
                 d. In most 2008 interviews, respondents were interviewed individually. In two cases, partners were interviewed together. In Grand Island, four unrelated respondents were interviewed
                 together.




                      In 2009, we interviewed 23 respondents (12 in Van                                                 Our study sample was drawn from Mexican and
                 Nuys and 11 in Postville) and collected data on 55 chil-                                         Central American immigrants in five of the six sites and
                 dren during a second round of interviews. We did not                                             from Haitian immigrants in Miami. Mexican immigrants
                 reinterview respondents in either Miami or Rogers-                                               were majorities of our Van Nuys and Rogers-Springdale
                 Springdale because their arrests were more dispersed over                                        samples. Approximately half of the respondents in Postville
                 time and across locations than the worksite raids in the                                         and Grand Island were from Guatemala and half were from
                 other sites.                                                                                     Mexico. Nearly all New Bedford respondents were born in
                      We collected data on nativity and age for 187 chil-                                         Central America, mainly in El Salvador and Guatemala.
                 dren, two-thirds of whom (124 children) were U.S.-                                                     Most of the families in our sample included long-term
                 born citizens. In the overall sample, all children under                                         U.S. immigrants. More than a third (37 percent) had been
                 2 years old, and nearly all (34 out of 38) children                                              in the country 10 years or longer, another third (36 percent)
                 age 3 to 5 were U.S. born. Almost half of children age 6                                         between 5 and 10 years, and less than a third (27 percent)
                 to 11 and a third of those ages 12 to 17 were born in the                                        for fewer than five years. There was substantial variation by
                 U.S. (table 1.4).                                                                                site, with respondents in Arkansas and Grand Island averag-
                                                                                                                  ing the longest U.S. tenure of 10 and 13 years, respectively,
                                                                                                                  while respondents in Miami, Postville, Van Nuys, and New
TABLE 1.4. Characteristics of Children in Study Sample                                                            Bedford averaged only six to eight years. A few respondents
                                                                                                                  in Arkansas, Grand Island, and Van Nuys had lived in the
                                                   All children              U.S.-born children                   U.S. for nearly 20 years.
                             Gender
                                                            Percent                         Percent of
     Child age        Male       Female       Number        of total      Number            age group
                                                                                                                  Study Limitations
     0 to 2             23          23            46           25%            46              100%
     3 to 5             21          17            38           20%            34               89%                The primary limitation of the study lies in the recruitment
     6 to 11            28          36            64           34%            31               48%
     12 to 17           18          21            39           21%            13               33%                of parent respondents. For this qualitative research study
     Total, all         90          97           187a         100%           124               66%                we worked through local intermediaries to screen and
        age groups
                                                                                                                  recruit respondents. As with most qualitative research
                                                                                                                  studies, there are limitations that accompany our recruit-
Source: Urban Institute surveys of families in study sites.
a. Does not include 3 children (out of 190) whose parent did not provide age or nativity.                         ment and sampling processes:
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  䡲 Respondents were mostly recruited through FBOs and              A number of other limitations also apply to this study.
    CBOs, so they may have been more connected to these        To document family experiences, interviewers were tasked
    institutions and more likely than other families to have   with eliciting information across a broad range of domains.
    received services.                                         Doing so required building and maintaining strong rapport
  䡲 Arrestees who had already left the country with their      with respondents. We avoided lengthy closed-ended collec-
    families were not included, although in some cases we      tion instruments so as not to disrupt the flow of conversa-
    did interview families where one parent had been           tion or trust between interviewers and respondents. We did
    deported and another remained behind. This potential       not always ask short scales and closed-ended questions in the
    source of bias is more pronounced in our follow-up         specific order and wording required for sophisticated scale
    interviews, when some of the families we interviewed in    construction. We used such questions more to elicit open-
    the first round may have since left the country, and so    ended responses than to develop quantitative indicators of
    are not included in second-round data.                     health and well-being.
  䡲 Arrestees who were in detention at the time of our site         Using parental reports as the primary source of data
    visits were also not included, unless a spouse or other    about the effects on children has both strengths and weak-
    family member was available to talk to us. As a result,    nesses. Parents may be limited in their ability to answer some
    we also somewhat underrepresent families with parents      questions, such as those about their children’s school per-
    in long-term detention.                                    formance, since they may not readily observe it. Parents’ own
  䡲 Respondents who were more difficult to locate because      experiences may also affect their reporting. For example,
    they avoided seeking assistance, went into hiding,         parents experiencing stress for an extended period of time
    moved multiple times, or did not have telephones were      may interpret their children’s behavior in a gloomy light.
    more likely to be excluded from or underrepresented in     Conversely, parents may underreport less visible internalizing
    the sample—and more so in the follow-up sample.            symptoms of anxiety or depression. Parents may also be
                                                               reluctant to admit that their own arrest or detention has
     Because this is a qualitative research study that uses    negatively affected their children. Further, parents may not
nonrandom sampling, it would be inappropriate to draw          equally understand what was meant by each of the questions
conclusions about the statistical significance of events and   we asked. For all of these reasons, the protocols were designed
conditions we studied. We provide relevant data for docu-      to ask to the extent possible about changes in specific observ-
mentation purposes, to illustrate the diversity of the sam-    able behaviors, and to probe further using nontechnical
ple we drew and the range of their experiences. The            terms that parents could understand.
tabulations and statistics based on our sample cannot be            Finally, we asked respondents about events and con-
generalized to the population arrested in raids or other       ditions in their families and for their children before and
enforcement activities.                                        after the worksite raids and other enforcement activities.
     We included open-ended questions as well as some          Based on their responses, we drew some conclusions about
closed-ended questions or short scales used in surveys to      the impacts of immigration raids on children. We did not,
address issues such as housing, food sufficiency, and child    however, collect sufficient data in a structured fashion
behavior. In the report we at times refer to prevalence of     that would permit broader generalizations. Nonetheless,
certain behaviors or conditions in order to provide a foun-    the information in this report should provide useful
dation for our more in-depth qualitative analysis. In other    insights for understanding how these raids and other
words, we use some numbers to support our stories and          arrests affect families and communities. From these data we
give the reader a sense of how many other respondents in       draw what we believe to be appropriate policy conclusions
the sample reported similar experiences.                       and recommendations.




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2. THE SEPARATION OF PARENTS
   AND CHILDREN FOLLOWING
   IMMIGRATION ENFORCEMENT

        his chapter answers the first set of research questions about parent-child separations that followed worksite raids and

T       other immigration enforcement activities. We begin with family separation because it poses serious risks to children’s
        immediate safety, economic security, well-being, and longer-term development. Separation from a parent can be
immediately traumatic and mean less—or less safe—supervision of a child. It can also mean less attention and reduced
parent-child bonding. Children experiencing prolonged separation may experience emotional difficulties and have less
assistance with their development and schooling.


     There is a growing body of research that has explored          separations played out for the families and children involved.
the effects of family separation, either as a result of families    Beyond this overall description, the chapter also identifies
migrating to the United States without their children or            differences in parent-child separation as a result of changes
due to removal and deportation. These studies examine               in enforcement policy, and it looks at differences based on
how children and parents respond and adjust to family               the type of enforcement action—worksite raids compared
separation. The circumstances surrounding separation                with fugitive operations and arrests by state and local police.
(especially who is separated from whom), family and house-
hold dynamics, reunification or the prospect of reunification,      20 A number of studies examine how families cope after being
the immigration status of individual family members, and            separated during the migration process. For a review of the
length of separation can complicate or relieve the damaging         impacts resulting from family separation during migration, see
consequences of parent-child separation.20                          Carola Suárez-Orozco, Irina L. G. Todorova, and Josephine Louie,
                                                                    2002, “Making Up for Lost Time: The Experience of Separation
     This chapter describes the effects of enforcement actions
                                                                    and Reunification among Immigrant Families,” Family Process 41:
on parent-child separation not only in the short term—the           625–43; Carola Suárez-Orozco, Hee Jin Bang, and Ha Yeon Kim,
days and weeks following arrest—but also in the intermediate        “Psychological and Academic Implications of Transnational
and longer terms. In this chapter, we cover three phases that       Immigrant Family Separations,” under review; and Cecilia Manjívar
                                                                    and Leisy Abrego, 2009, “Parents and Children across Borders:
we have found best describe the complex experiences of              Legal Instability and Intergenerational Relations in Guatemalan
families: the immediate aftermath of a raid or parental arrest,     and Salvadoran Families,” pp. 160–89 in Across Generations:
the limbo period when parents are detained or are released          Immigrant Families in America, edited by Nancy Foner, New York
                                                                    and London: New York University Press. For a study of family
but contest their deportation, and the final disposition of cases
                                                                    separation stemming from removal and deportation, see Nestor
leading to deportation or granting of U.S. residency. The way       Rodriguez and Jacqueline Maria Hagan, 2004, “Fractured Families
our sample of families was selected means that we do not have       and Communities: Effects of Immigration Reform in Texas, Mexico,
                                                                    and El Salvador,” Latino Studies 2: 328–51; and Jacqueline Hagan,
representative quantitative information about the proportion
                                                                    Karl Eschbach, and Nestor Rodriguez, 2008, “U.S. Deportation
of families or children experiencing various kinds and dura-        Policy, Family Separation, and Circular Migration,” International
tions of separation, but our qualitative data describe how          Migration Review 42: 64–88.

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          The descriptions in this chapter set the stage for the                                   should be seen as examples but are not necessarily represen-
     next two chapters, which trace important consequences for                                     tative of all the arrested parents in our sites. Our sample
     children that may flow from parent-child separation. The                                      includes examples of many different family experiences, but
     next chapter describes children’s and families’ experiences                                   the sample may somewhat overrepresent parents—usually
     of economic hardship, including crowded housing and food                                      mothers—who were released, and it may underrepresent
     insecurity, after the arrest of a working parent. After that,                                 those who experienced longer detention or deportation.
     chapter 4 describes the behavioral, psychological, and
     developmental effects on children.
                                                                                                   Early Release of Some Parents in the Sample
                                                                                                   The parents in our study experienced detention periods
     Overview of Parent-Child Separations                                                          ranging from just a few hours up to 10 months. Forty-two
     A few different scenarios might follow from the arrest of a                                   parents were released on the day of their arrest, primarily for
     parent for an immigration violation, all of which have                                        humanitarian reasons—for example, to take care of their
     implications for the well-being of children and other family                                  children (table 2.1). The vast majority of the parents released
     members. First, parents may be released promptly after their                                  the same day were women (37), and most of these (34) also
     arrest to care for their children or for other humanitarian                                   had children under age 6. Ten of those released on the same
     reasons. These parents—who may be released on their own                                       day were single mothers.
     recognizance, after posting a bond, or with an ankle moni-                                         A nearly equal number of parents (45) spent at least
     toring device or another form of supervision—often remain                                     one night in jail. In 17 cases, the parent was held for
     in the communities in which they were arrested for months                                     between 24 hours and one week before being allowed to
     or even years awaiting resolution of their deportation cases.                                 rejoin his or her family; 10 more were held for up to one
     Second, parents may be detained for prolonged periods,                                        month. Eighteen parents were detained longer than one
     during which they are separated from their children. Third,                                   month, and of these, eight were eventually released, four
     parents may be deported or choose voluntary departure,                                        remained in detention at the time of our interviews, and six
     either immediately after their arrest or after prolonged                                      were detained for an extended period and then deported.
     detention. Deportation represents a potentially permanent
     geographic separation of children from their parents. Some
                                                                                                   Arrests of Both Parents
     of the parents who take voluntary departure are allowed to
     spend time with their families before leaving, but others                                     Arrests of both parents (or a parent and unmarried partner)
     leave the country without having this opportunity.                                            occurred in 12 families in the sample. In eight cases, the
          We summarize below the experiences of parents in our                                     mother alone was released on the same day to take care of
     sample as they moved through this process. These experiences                                  the children while her husband, partner or—in one case—


     TABLE 2.1. Length of Separation of Parents from Children for Sample Respondents

                                                                                             Length of Separation

        Site                              Released same day               1 day–1 week         1 week–1 month       1 month–6 months     > 6 monthsa      Total

        Grand Island, NE                             7                            1                    2                    0                 2             12
        New Bedford, MA                              2                            5                    2                    0                 1             10
        Van Nuys, CA                                18                           10                    0                    0                 0             28
        Postville, IA                               11                            0                    0                    6                 1             18
        Miami MSA, FL                                4                            0                    2                    2                 1              9
        Rogers-Springdale, AR                        0                            1                    4                    3                 2             10
        Total                                       42                           17                   10                   11                 7             87

     Source: Urban Institute surveys of families in study sites.
     a. Includes four cases in which parents were still detained at the time of interview.

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ex-husband remained in detention. In one case, both the           final deportation. Many of these longer-term deportations
mother and father were released on the day of the raid to         were in Postville, where the majority of arrestees overall (but
care for their infant child.                                      not in our sample) spent five or six months in detention.
     In three cases, both parents were held beyond the day             These overall findings reflect considerable differences
of arrest. A New Bedford mother was held until the next           among our sites due to different enforcement strategies,
day because immigration agents thought she looked too old         including changes in ICE policies over time. We now turn
to have an infant at home. She had given birth to a girl          to variation in children’s experiences of separation by type
three months before the raid. Agents ignored her pleas for        of immigration enforcement and study site.
release. The father, who was held for two months, had also
informed the agents that his wife needed to pick up the
                                                                  Parent-Child Separations in Workplace Raids
infant from the babysitter. In Grand Island, a father who
had a work permit was held because he did not want to             Our 2007 report Paying the Price focused exclusively on
reveal where his wife was hiding. He was released three days      three large-scale worksite raids which all took place in late
later, but his wife was arrested and remained in detention        2006 or early 2007. The current study includes worksite
over a year and a half after the raid. Two parents from           raids that occurred over a longer time frame—between late
Arkansas were both held on immigration violation charges          2006 and early 2008, allowing us to examine changes in
for an extended period. The mother was detained for three         ICE worksite enforcement tactics over this period. During
weeks before her release and the father was held for three        the earlier Grand Island and New Bedford raids, there was
months. The grandparents took care of the children while          greater inconsistency in releasing parents soon after the raid
the parents remained in detention. This was the only case in      versus keeping them in detention. More parents were held
our sample in which both parents were detained for an             for long hours or extended periods lasting a week in the ear-
extended period, and it involved arrest by the local police       lier raid sites, especially in New Bedford.21 In November
rather than ICE agents.                                           2007, after the Grand Island and New Bedford raids, ICE
                                                                  released new guidelines for worksite raid operations—
                                                                  guidelines developed at least in part to respond to criti-
Parental Deportation
                                                                  cisms of how the New Bedford raid was conducted. These
Twenty of the 85 families—and 49 out of 190 children in           guidelines specified that in worksite raids of 150 arrests or
our sample—experienced the deportation of a parent by the         more, all single parents and primary caregivers, as well as
time of our last interview with the family. Many of our           arrestees with serious medical conditions, should be
interviews took place within six months after the raid or         immediately released.22
other form of arrest. Sometimes the parent was still in                 The Postville and Van Nuys raids occurred in 2008,
detention. Even in our second-round interviews, more than         after the guidelines were developed, and were large enough
nine months after arrest, many families were still contesting     for them to apply. During these raids, ICE followed the
their deportation and the outcome was uncertain. Of               guidelines by releasing primary or sole caregivers of minor
the 12 men and eight women deported, nine were from               children and those with acute medical conditions quickly—
Postville, five from Grand Island, four from Miami, one           usually the same day—and often directly from the raid site.
from New Bedford, and one from the Rogers-Springdale              Consequently, there were no accounts of children left
area. Seven parents returned to Mexico, nine to Guatemala,        unattended or neglected for a significant amount of time in
and four to Haiti.                                                either Van Nuys or Postville. In fact, the large majority of
     Some of the parents who were eventually deported were
detained for varying periods of time before their removal.
Five parents chose to leave voluntarily immediately after their   21
                                                                    Capps et al., 2007.
                                                                  22
same-day release from detention. Another six deportees were         On April 30, 2009, the new Obama administration extended
                                                                  these guidelines to include worksite raids with 25 or more arrests.
detained for between several days and one month prior to
                                                                  For more detail, see ICE, 2009, “Worksite Enforcement Strategy,”
their removal. The remaining nine parents were in detention       Fact Sheet, Washington, DC, April 30, http://www.ice.gov/doclib/
for extended periods averaging about six months before their      pi/news/factsheets/worksite_strategy.pdf.

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     the cases in which parents had been released on the same                  granted asylum, had domestic violence or marriage claims
     day as the raid—as described above in table 2.1—occurred                  that were accepted, or were young people who had been
     in these two sites.                                                       placed in foster care and would become eligible for SIJS.
           In Van Nuys and Postville, all of the single mothers in                  The remainder of this section details the separation
     our sample returned to their families on the day of the raid,             experiences of parents and children in the different worksite
     though a single grandmother in charge of a young child was                study sites. In addition, we take this opportunity to provide
     held for two days. In these raids, mothers also generally                 more detail on immigration operations in each site and
     reported somewhat shorter arrest and processing periods on                briefly explain the degree to which our sample reflects the
     the day of arrest than did those arrested in the New Bedford              experiences of other arrestees in each site.
     or Grand Island raids. All were reunited with their families
     by evening and most were released earlier in the day.
                                                                               Grand Island, Nebraska
           In the longer term, many parents in all four of our
     worksite raid sites were deported. However, due to the efforts            The first of our study sites was part of the largest single-day
     of immigration defense attorneys, several dozen immigrants                operation that ICE has ever conducted. On December 12,
     in New Bedford, Van Nuys, and Postville received work                     2006, ICE conducted “Operation Wagon Train” in which
     permits while contesting their deportations or cooperating                agents simultaneously raided six Swift and Company
     with prosecution of their employers. In Postville, about two              meatpacking plants in Greeley, Colorado; Grand Island,
     dozen received “U-visas” for crime victims—mostly due to                  Nebraska; Marshalltown, Iowa; Worthington, Minnesota;
     sexual and other harassment at work—and another group of                  and Cactus, Texas, arresting over 1,200 immigrants.25 Swift
     30 received temporary work permits for cooperating with the               and Company had used the DHS electronic verification sys-
     federal immigration case against their employers.23 In New                tem for its employees, and false SSNs had been discovered.
     Bedford, at least 15 of the workers were able to acquire per-             ICE obtained warrants to raid the plants to find and arrest
     manent resident status through the granting of asylum                     those with false SSNs. There were also small numbers of
     claims, U-visas, or special immigrant juvenile status (SIJS).24           arrests in people’s homes for at least a week in Grand Island
     In Van Nuys, a group of 30–35 received temporary work                     and some of the other Swift sites.
     permits for cooperating in the investigation against their                     A total of 273 workers were arrested at the Swift plant
     employer, and 60–70 others had their deportation withheld                 in Grand Island. They were taken by bus to Camp Dodge,
     while the legality of the raid was contested. Across the study            a National Guard facility in Iowa, for initial processing—
     sites, small numbers of other arrested immigrants were                    checking identities against ICE and criminal databases; taking
                                                                               fingerprints; and making initial determinations about who
                                                                               should be released, detained, or allowed to leave the country
     23
        U-visas were authorized by Congress in the Victims of Trafficking      voluntarily. More than a quarter of arrestees (72 out of 273),
     and Violence Protection Act of 2000 (Public Law 106-386) and are          many of whom were fathers in two-parent families, opted to
     granted to victims of crime or people who possess information about
     a range of crimes committed in the United States. To qualify for a
                                                                               take voluntary departure shortly after their arrest.26 Only a
     U-visa, immigrants must cooperate with U.S. law enforcement offi-
     cials in prosecuting the crime. For more information, see National
     Immigration Law Center, 2000, “Congress Creates New ‘T’                   25 Two of these raid sites—Greeley and Grand Island—were included

     and ‘U’ Visas for Victims of Exploitation,” Immigrant Rights              in our 2007 report, Paying the Price.
     Update, 14(6), October 19, http://www.nilc.org/immlawpolicy/              26 Voluntary departure has several advantages over formal deporta-

     obtainlpr/oblpr039.htm.                                                   tion. First, voluntary departure is faster: immigrants can leave the
     24 To qualify for SIJS, an immigrant youth must be under the              country (and get out of detention) as soon as they are able to make
     jurisdiction of a juvenile court and eligible for long-term foster care   travel arrangements. Contesting deportation can take months or even
     due to drug abuse, abandonment, or neglect. Generally, this means         years—as was the case for many parents in our sample. Voluntary
     that the youth is in long-term foster care and not eligible for family    departure is often a way to end this process before it becomes
     reunification. SIJS petitions lead to permanent residency but must        prolonged. Second, formal deportation makes immigrants ineligible
     be filed before youth turn age 18 and while they are still in custody     for a visa to reenter the country legally for 3 to 10 years, which is
     of the state. For more information, see Center for Human Rights           not the case for immigrants taking voluntary departure. Third,
     and Constitutional Law, 2004, “Special Immigrant Juvenile                 immigrants who have been formally deported are charged with a
     Status,” October 20, http://immigrantchildren.org/SIJS/.                  felony if they are caught reentering the United States illegally.

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limited number of parents that we know of (six single mothers      were held for prolonged periods of time, resulting in hard-
and three parents whose spouses had also been arrested) were       ship for their families. A federal agent had been working
released promptly after the raid to care for their children.27     undercover at Michael Bianco, Inc.—a contractor making
These early releases were achieved through the pressure of         backpacks for the U.S. military—and through this investiga-
lawyers and community groups, some of whom showed up at            tion, ICE obtained a warrant for violations of working con-
the factory with children to demand their parents’ release.        ditions and workers’ rights. On March 6, 2007, ICE agents
Most of the rest of the arrestees were placed in continuing        raided Michael Bianco with a large show of force, which
detention, and many workers were sent to facilities in Georgia     local leaders compared to an invasion by land, air, and sea.
and Alabama, far removed from their families. For the great        A total of 361 immigrants were arrested and most were
majority of Grand Island arrestees, detention and separation       transferred to Fort Devens, a U.S. Army training facility just
from their children lasted for extended periods of time.           outside of Boston, where lawyers and consular officials were
      The length of detention and the nature of the legal          unable to see them.28
process for families varied. By the six-month mark, 26 arrestees         The length of parents’ separation from their children
(10 percent of the total) had been criminally charged and were     in this site varied substantially. About 60 New Bedford
serving one-year sentences. The remaining workers had been         arrestees were released within the first three days on
either released on bond or deported. Those released paid           humanitarian grounds. However, most of the remaining
bonds ranging from $1,500 to $10,000.                              arrestees (211) were flown to three different detention facili-
      Lawyers initially estimated that fewer than 10 percent       ties in Texas two days after their initial arrest. This compli-
of those who stayed in the U.S. could contest their deporta-       cated the efforts of lawyers, consular officials, and workers
tion based on asylum, marriage to a U.S. citizen, domestic         from the Massachusetts Department of Social Services
violence, or another claim. At least a dozen arrestees were        (MDSS) to contact them and inquire about the presence of
still contesting their deportation as of August 2009, and we       children in their homes.29 Eventually, the lawyers and a con-
only heard of two cases in which arrestees had been granted        tingent of MDSS workers travelled to the detention centers
permanent residency. These examples from Grand Island as           in Texas. It took two very long days of interviews by MDSS
well as in the other sites show that legal battles to fight        workers, along with the intervention of Massachusetts’s gover-
deportation can keep families in limbo for years.
                                                                   nor and its two U.S. senators, to get about two dozen women
      The families in our sample differed from other families
                                                                   with children released in the week following their visit.30 Two
who experienced the Grand Island raid in important ways.
                                                                   months after the raid, the majority of workers (191) were still
First, while same-day release from ICE custody was rare in
                                                                   in detention, though about 42 percent of the workers (149)
Grand Island, more than half of our respondents (7 of 12)
                                                                   had been released to await the result of their immigration
had this experience. Second, only two of the workers we
                                                                   cases, most with bonds ranging from $1,500 to $32,000.31
interviewed experienced long-term detention even though
this was the norm for this site. Third, none of the parents
                                                                   28
with whom we spoke mentioned that a spouse had taken                  Following both the Grand Island and New Bedford raids, ICE
voluntary departure, while among all the arrestees voluntary       initially denied attorneys access to the facilities where most of the
                                                                   detainees were held because these were military facilities.
departures predominated and many formal deportations had           29 The arrestees from El Salvador were generally kept within

already occurred by the time of our second visit in June           Massachusetts, but most of those from Guatemala and other
2008. Five of the families we interviewed were ultimately          countries were flown out of state.
                                                                   30 See for example Senator Edward M. Kennedy, 2007, “Making
affected by deportation.
                                                                   an Example of New Bedford Workers Doesn’t Solve the Problem,”
                                                                   New Bedford Standard Times, March 13; and Shane Harris, 2007,
                                                                   “Raid, ‘Rashomon’ Style,” National Journal, April 14. Outrage
New Bedford, Massachusetts                                         over this situation prompted the Congressional hearings which led
                                                                   to the issuance of the new humanitarian guidelines for workplace
Our second study site experienced one of the most contro-
                                                                   raids referred to in the overview of this section.
versial worksite raids because so many immigrant parents           31 Many of the bonds were paid by a local philanthropist, Robert

                                                                   Hildreth, who initially remained anonymous and later identified
                                                                   himself. This philanthropist also later started a bond fund for
27
     Capps et al., Paying the Price, 2007.                         detainees in other raids.

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           By the one-year anniversary of the raid, all of the           varied. Some parents were released without any conditions,
     detainees had been released and many cases had been                 while others’ were released after posting a $1,000 bond or
     closed. About 44 percent of those who were originally               wearing an EMD.34
     arrested (160) had been deported; of these, slightly less                 In our study sample, 18 out of 28 respondents were
     than half (75) had signed voluntary departure agreements.           released on the day of the raid, and the other 10 were
     However, another 190 cases were still being contested               released within the first week—exemplifying the implemen-
     by families’ immigration lawyers. Two years after the               tation of ICE’s new humanitarian release policies. Twelve
     raid, 15 of the workers had been able to acquire perma-             workers in our sample were released with an ankle bracelet
     nent status in the U.S.; another hundred or more were               initially. ICE agents expedited the processing of several
     still awaiting decisions or were still in the process of con-       respondents so that they could make it home to their chil-
     testing their cases. New Bedford and Van Nuys were the              dren on the same day as the raid, even though this resulted
     two study sites with the largest numbers of deportation             in their being released without bracelets. Those released
     cases that were still being contested more than a year              without EMDs were all required to return for a follow-up
     after the raids.                                                    appointment to complete their paperwork. Thus there were
           As in Grand Island, the parents we interviewed in             no cases in our Van Nuys sample of prolonged detention or
     New Bedford experienced shorter separations from their              immediate deportation following arrest. Our sample fit the
     children than other workers at the same workplace raid.             profile of the arrested population in Van Nuys, where virtu-
     While more than half of those detained at Michael Bianco            ally everyone was released quickly and almost no one was
     were held for more than two months after their arrest,              deported.
     only one of the parents with whom we spoke had been in                    By June 2009, 15 months after the raid, 30–35 arrestees
     detention for more than a month. Similarly, despite the             had decided to cooperate with ICE in testifying against
     prevalence of deportation and voluntary departure among             Micro Solutions managers, and their deportation cases were
     detained workers in New Bedford, only one of our sample
                                                                         put on hold at the discretion of the government. Within
     families experienced this kind of separation.
                                                                         this group, some were given work permits, while others were
                                                                         not. Aside from these cases that were put on hold, most of
     Van Nuys, California                                                the immigrants arrested in Van Nuys were still contesting
                                                                         their deportation as of December 2009—more than a year
     In our third study site, ICE put its new humanitarian release
                                                                         and a half after the raid. About half of the arrestees (60–70)
     policy into practice. On February 7, 2008, ICE executed a
                                                                         had their deportation withheld after their attorneys challenged
     search warrant and raided the headquarters and a manufac-
                                                                         the legality of the raid itself. ICE did not have evidence that
     turing plant for Micro Solutions Enterprises, which makes
                                                                         any of this group were in the country unlawfully; only 8 of
     printer cartridges for computers.32 However, in contrast to
                                                                         the 138 arrestees were listed by name on criminal arrest
     the earlier raids, ICE called civil rights groups and social
                                                                         warrants. A handful of other arrestees were pursuing relief
     service agencies beforehand to alert them of an imminent
                                                                         from deportation individually.
     raid in the area.33 ICE systematically screened and identified
                                                                               Finally, a small but unknown number of Van Nuys
     for early release those workers with health problems or
                                                                         arrestees had left the country voluntarily or had been
     minor children. Of the 138 immigrants arrested, 48 were
     released the same day under the new guidelines—some with
     EMDs on their ankles.
                                                                         34
          Within a few days, the majority (99) of the arrestees            ICE has an extensive monitoring infrastructure for unauthorized
                                                                         immigrants with deportation orders in Los Angeles, including a
     had been released, though the conditions of their release           new program called the Intensive Supervision Appearance Program
                                                                         (ISAP). ISAP is one of ICE’s initiatives to create alternatives to
                                                                         detention and includes use of ankle bracelet EMDs, telephone
     32
       Two or three of these arrests were in people’s homes.             calls, required office visits, and unannounced home visits.
     33                                                                  See ICE, 2009, “Alternatives to Detention,” Fact Sheet,
       Editorial, 2008, “Immigration Evolution: As Legislative Reforms
     Stall, Those on the Front Lines Are Hammering Out Workable          Washington, DC, March 16, http://www.ice.gov/pi/news/
     Compromises,” Los Angeles Times, April 3.                           factsheets/2009_immigration_detention_reforms.htm.

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deported because they had previous deportation orders                  humanitarian grounds in Postville were required to wear the
when they were arrested. Most of the ankle bracelets were              ankle EMDs for a prolonged period of time—more than a
removed within a few months after the raid.35                          year in a few cases. In the summer of 2008, 15 of this group
      In our sample, at the time of the follow-up interview            agreed to depart voluntarily and left the country. The
in May 2009, four parents were qualified to receive work               remaining 32 worked with lawyers to contest their deporta-
permits. Two had received a work permit and two were                   tion with claims for asylum, domestic violence, or victimiza-
still waiting to receive a work permit. The others still               tion at the plant.37
found themselves without permits while awaiting the final                    In our Postville sample, 11 of the 18 parents we
outcomes of their legal cases.                                         interviewed were processed at the worksite and released on
                                                                       the same day. One of these 11 respondents said that ICE
Postville, Iowa                                                        did not ask whether she had young children, and she did
                                                                       not volunteer the information until late in the day. She
The experiences of arrested parents were very different in             and her husband, parents of two daughters (ages 1 and 5),
our fourth site, Postville, which was the largest single-site          were arrested at the plant and put in buses to be trans-
raid we studied (389 arrests) and took place in a small-town           ferred to Waterloo, Iowa. At 6:30 p.m. before the bus
setting (just 2,300 official population). Agriprocessors, a            left, an agent asked her why she was crying so much. She
kosher meatpacking plant, had been under investigation by              told the agent that she was worried about her daughters.
various federal and state agencies for underage hiring,                At that point, she was removed from the bus and
worker abuses, and environmental infractions for some time             reprocessed for release by 8:30 that evening. Another
when it was raided on May 12, 2008. Almost 1,000 agents                mother in Postville did not disclose she had children
descended on the town along with helicopters and multiple              at home, but rather told ICE officials that her children
vehicles; this was the largest show of force in any site we
                                                                       were on vacation, fearing they might be taken away if
visited. Most of the 389 arrested immigrants were arrested
                                                                       ICE visited her home. As a result, she was detained for
at the work site and then moved to the Cattle Congress in
                                                                       five months. Reflecting on her experience during the
nearby Waterloo, Iowa, where ICE and the U.S. District
                                                                       interview, she said she would have let ICE know she had
Attorney’s Office set up trials over a period of about 10 days.
                                                                       children if she had been informed that this would have
Among the 389 arrested, most were men and most did not
                                                                       made her eligible for early release.
have children in the United States.
                                                                             Parents in Postville who were detained beyond the first
     On the day of the raid, 47 adults (44 women and 3 men)
                                                                       day of the raid had longer detention periods than in any of
were released under humanitarian guidelines because they
                                                                       our other workplace raid sites. One of the unique features of
were parents; all of them were outfitted with EMDs on their
                                                                       the Postville raid was the leveling of criminal charges against
ankles. About 20 other adults were held by ICE without
                                                                       a large majority of arrested immigrants. Over 300 immigrants
criminal charges. In addition, 22 underage workers were
                                                                       were threatened with aggravated identity theft—a felony
arrested; 17 of these minors were released, and 5 were sent
                                                                       carrying a two-year prison term—because they had used
into the custody of the U.S. Office of Refugee Resettlement
                                                                       someone else’s SSN. Charges were dropped against about
as unaccompanied minors.36 The 47 adults released on
                                                                       35 of these immigrants because the SSNs they used did not
                                                                       actually belong to someone else (i.e., they used completely
35
   Alex Garcia, 2009, “Uncertainty Remains for Immigrants              invalid SSNs), but the remaining 270 pled guilty to the
Detained during Van Nuys Raid,” San Fernando Valley Sun,               misdemeanor charge of misusing SSNs and served five-
January 1.                                                             month terms in state and federal facilities scattered across
36 In Iowa it is against the law for meatpacking plants to employ

people under age 18, but Agriprocessors had employed at least two
dozen minors, not all of whom were arrested during the raid. The
illegal employment of these minors was one of the most controver-      37
                                                                         In particular, there were numerous accusations of sexual and
sial elements of plant operations and has led to charges against the   physical harassment of female employees at Agriprocessors, and
owners, as well as U-visas for some of the minors—as they were         these alleged incidents formed the basis for U-visa applications for
victims of underage hiring.                                            many of the women in the ankle EMD group.

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     the Midwest.38 Seven parents in our Postville sample were                   In December 2009, more than a year and a half after
     detained for three to five months and then released with               the raid, 29 women and minors—beyond those released as
     work permits.                                                          material witnesses—had received U-visas or work permits,
           In May 2009, about a year after the raid, the U.S.               and there were 30 deportation relief cases still pending.
     Supreme Court struck down the convictions of SSN misuse,               Some of those who received visas and permits were not
     finding that the distinction between having an invalid SSN             caught up in the raid.
     and using someone else’s SSN was meaningless, and that the
     immigrants could not possibly have understood that they                Parent-Child Separations in
     had stolen someone else’s identity.39 The decision came too            the Nonworkplace Raid Sites
     late for most of the 270, who had already served their five-
     month terms and been deported. However, 41 were released               Besides the arrests at workplaces, immigration enforcement
     in October 2008—after their terms were over—to testify                 activities can take the form of FOT sweeps conducted by
     against Agriprocessors, and most of this group received work           ICE agents and 287(g) arrests made by local police and sher-
     permits.40 Thirty-five of them were adults released to testify         iffs. Our current study expands the scope of the research
     in the federal immigration case against Agriprocessors vice            described in our 2007 report Paying the Price to include these
     president Shalom Rubashkin. These 35 adults (including                 activities in addition to worksite raids. Because these arrests
     seven in our sample) were released with ankle EMDs in                  are most often the result of investigations of individuals
                                                                            rather than large employers, ICE’s humanitarian guidelines
     November 2008, and in February 2009 a court ordered
                                                                            around detention do not apply. Moreover, the scale of the
     their EMDs removed. In November 2009, the federal
                                                                            arrests in any given operation is generally too small—less than
     government dropped its immigration charges against
                                                                            150 arrests at the time (less than 25 now)—for the guidelines
     Rubashkin, as he had already been convicted on 86 counts
                                                                            to apply. The fact that humanitarian guidelines do not apply,
     of financial fraud and faced likely significant jail time. In
                                                                            along with the relative invisibility of these operations in com-
     December 2009, these 35 immigrants awaited their likely
                                                                            parison to workplace raids, makes parents and children par-
     imminent deportation.41 The other six who were released
                                                                            ticularly vulnerable to long separations. Nonetheless, there
     after serving their sentences were minors expected to testify
                                                                            were instances in Miami when ICE released parents quickly
     in the State of Iowa’s case against Agriprocessors for hiring
                                                                            for humanitarian reasons.42 There were no such releases—
     underage workers, a case still expected to go forward.
                                                                            and detention periods tended to be long—following arrests
                                                                            by the local police in Rogers-Springdale, Arkansas.

     38 The speedy processing of these immigrants in group trials at the

     “Cattle Congress,” their coercion into signing the pleas, and the      Miami, Florida
     lack of adequate interpretation and translation (as many immigrants
     were Guatemalans who spoke neither English nor Spanish well)           Our research took place in the Miami metropolitan area,
     were roundly criticized by the media, immigration attorneys, and       which in 2005–2007 was home to about one-third of the
     some of those present during the proceedings. Eventually there were
     Congressional hearings on the topic. For a full accounting see the
     Congressional testimony of one of the Spanish language interpreters,   42
                                                                              ICE has issued guidelines stating that FOTs should not take
     Erik Camayd-Freixas, 2008, “Statement of Dr. Erik Camayd-Freixas,      into custody children under age 18 who are citizens or perma-
     Federally Certified Interpreter at the U.S. District Court for the     nent residents but instead should refer them, in order, to child
     Northern District of Iowa Regarding a Hearing on ‘The Arrest,          welfare authorities, local law enforcement agencies, or a third
     Prosecution, and Conviction of 297 Undocumented Workers in             party designated by the parent. These guidelines prioritize refer-
     Postville, Iowa,’ from May 12 to 22, 2008, before the Subcommittee     ral to child welfare or law enforcement over placement with
     on Immigration, Citizenship, Refugees, Border Security and             relatives or friends of arrested immigrants. In practice it is not
     International Law,” July 24.                                           known the extent to which the FOTs follow the guidelines, and
     39 Adam Liptak and Julia Preston, 2009, “Justices Limit Use of         we did not encounter referrals of children to child welfare or local law
     Identity Theft Law in Immigration Cases,” New York Times, May 4.       enforcement during our visit to Miami. See ICE, 2007, “Juveniles
     40 Some of this group of 41 actually served an additional month in     Encountered during Fugitive Operations,” Washington, DC: Office
     jail before they were released as material witnesses.                  of Detention and Removal Operations, http://www.ice.gov/
     41 Grant Schulte, 2009, “Postville Immigrants Face Likely              doclib/foia/dro_policy_memos/juvenilesencounteredduring
     Deportation,” Des Moines Register, December 6.                         fugitiveoperations.pdf.

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nation’s Haitian immigrants (about 175,000 out of                          and detained at meetings with immigration officers after
500,000).43 Miami is home to a large Haitian unauthorized                  their petitions were approved.47 Some Haitians were also
population, many of whom are on ICE’s list for final depor-                arrested by local police in traffic stops.
tations—a list estimated at 30,000 people nationally.44                          Our sample is comprised of immigrant parents—and
Many of the Haitian immigrants in the area applied for but                 spouses or partners of parents—who were arrested in one
were denied asylum, and others overstayed visas. There have                of the FOT sweeps or during court appearances or inter-
not been many Haitian arrivals in the past few years, and                  views between 2006 and 2008. Because many of the
most of the Haitians apprehended by ICE have resided in                    parents had outstanding deportation orders requiring
the United States for a long time.45                                       mandatory detention, deportation and long-term deten-
     The arrests of Haitians in Miami occurred in small                    tion were common both among our respondents and
batches over a period of a few years. In 2008 there were                   among other Haitians who were arrested during the same
many sweeps by FOTs—sometimes alongside Border                             period. Three parents in our sample were deported and
Patrol agents or the local police—as well as arrests of                    three were held for more than five months. However, there
Haitians during court dates and at ICE interviews. For                     were four cases in which parents were immediately released
example, in November 2008—a month before our visit—                        with ankle bracelets so they would be able to take care of
71 immigrants of various nationalities, including Haitians,                their children. For example, one single mother was arrested
were arrested by Miami FOTs.46 A number of arrested                        at her home one morning but was released and ordered to
Haitians were married to U.S. citizens who had petitioned                  visit the immigration processing center later that morning.
for their legal residency. Nevertheless, some of this group                Immigration agents then told her that her deportation
had outstanding deportation orders and were arrested                       would be put on hold because she had no one else who
                                                                           could care for her daughter. This is a rare case in which
43
                                                                           ICE actually held up deportation because of a parent’s
   American Community Survey, 2005–2007 three-year average,
estimates from American Factfinder, http://factfinder.census.gov.          caregiving responsibilities—and indicates that ICE has
44 Kirk Semple, 2009, “Haitians in U.S. Illegally Look for Signs of
                                                                           some capacity for discretion in such cases.
a Deporting Reprieve,” New York Times, May 27.
45 There has been a long-running political battle in Congress and

the media over whether the U.S. government should grant                    Rogers-Springdale, Arkansas
Haitians either permanent asylum or TPS—as has been given
to immigrants from several other countries in the Western                  In September 2007 the police departments of Rogers and
Hemisphere. TPS, which allows immigrants to work and reside                Springdale joined with the sheriff’s offices of the surround-
temporarily in the U.S., has been designated through September
2009 for some immigrants from Somalia, through May 2010 for                ing counties—Benton and Washington—to enter into four
Sudan, through July 2010 for Honduras and Nicaragua, and                   linked 287(g) agreements for a local Immigration Criminal
through September 2010 for El Salvador. See U.S. Citizenship and           Apprehension Task Force. Once this new task force was
Immigration Services, 2009, “Temporary Protected Status,”
                                                                           formed, local officers began pursuing unauthorized immi-
Washington, DC, April 30, http://www.uscis.gov/portal/site/uscis/
menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=                      grants aggressively, arresting them not for serious crimes but
609d3591ec04d010VgnVCM10000048f3d6a1RCRD&vgnext                            for less serious infractions or for no crimes at all.48 By May
channel=609d3591ec04d010VgnVCM10000048f3d6a1RCRD.                          2008, task force officers had arrested 419 immigrants during
    Haiti is the poorest country in the Western Hemisphere, and
suffers perennial political instability and violence. It was hit by four
                                                                           the first seven months of the program, but after May 2008
hurricanes in 2008 causing nearly a billion dollars in damages. The
United States has had a consistent policy—in both Republican and
Democratic administrations—of denying TPS, asylum, and other               47
                                                                              In these cases, the outstanding deportation orders appear to
protective statuses regardless of the severity of circumstances in         have trumped the petition for residency based on marriage to a
Haiti. The Bush administration suspended deportations to Haiti in          U.S. citizen.
September 2008—following the hurricanes—but then resumed                   48 ICE recently released data on the characteristics of immigrants

them in December. There were a small number of deportations in             brought into ICE detention through the 287(g) program. In FY
early 2009, but as of June 2009 it was unclear whether the Obama           2008, 72 percent (27,000 out of 38,000) of all 287(g) detainees
administration would resume deportations on a significant scale.           were not criminal aliens—in other words, they had not committed
46 ICE, 2009, “ICE Arrests 71 Florida Residents in Targeted                any nonimmigration-related crimes at the time of their arrests and
Immigration Fugitive Operation,” Press Release, November 26.               had no prior criminal history. See Schriro, 2009, p. 13.

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     no further data on the program were released.49 For exam-            the same day after police routinely stopped the truck full of
     ple, the Rogers police department arrested some immigrants           laborers that his employer was driving.
     during routine traffic stops, reviving charges of racial profil-          None of the parents with whom we spoke had been
     ing.50 Further, the Benton County Sheriff’s Office set up a          granted early release for humanitarian reasons. Respondents
     New Year’s Eve roadblock and arrested 14 immigrants—                 from Arkansas on average had much longer detention peri-
     4 for driving under the influence and the other 10 for               ods than the parents we interviewed in other sites. Notably,
     driving without a license.51                                         three single mothers in Arkansas were held in detention
          In a controversial enforcement activity, officers from          between 12 days and six months. Finally, we heard of very
     both Rogers and Springdale joined ICE agents in conduct-             few cases in Rogers-Springdale where arrested immigrants
     ing mini–workplace raids on a chain of Mexican restau-               were able to contest their deportation.53 Because of the
     rants in December 2007. During these raids four owners               additional criminal charges they faced, the likelihood of
     and relatives were arrested and charged criminally, and              humanitarian release or relief from deportation was very
     another 19 employees were charged administratively.52                low among immigrants arrested by 287(g) officers in
     The owners’ home was raided as well, and their assets were           Rogers and Springdale.
     confiscated. This amounted to a worksite raid conducted by
     the local police.
                                                                          Reliance on Spouses, Partners,
          The types of arrests among our sampled families
                                                                          and Extended Family for Children’s Care
     reflected the wide array of enforcement activities being
                                                                          during Arrest and Detention
     carried out in the area. About half of the arrests occurred at
     the families’ homes, while the rest took place where respon-         One of the key concerns surrounding parent-child separa-
     dents worked or during routine traffic stops or immigration          tion is the well-being of children in the care of someone
     appointments. The reasons for the parents’ arrests were also         other than their parent. In our sample, detained parents
     varied. Three of the nine arrests captured by our sample             primarily relied on their spouse or extended family mem-
     were related to the investigation of the Mexican restaurant          bers to take care of the children during parental deten-
     chain. Two others involved outstanding deportation orders            tion, over both the short and longer term. As a result,
     similar to those issued for the arrest of Haitians in Miami.         children were almost never left unattended following a
     One parent was initially arrested for shoplifting and had her        parent’s arrest.
     immigration status checked in the process. One woman’s                    In 33 out of our 85 sampled families, parents were
     abusive boyfriend reported her as unauthorized to local              released and reunited with their families on the day of their
     police. In the final case, a man was arrested and deported           arrest. This included 11 single-parent families and 22 two-
                                                                          parent families; in the 22 two-parent cases, children saw
                                                                          both their parents again by the end of the day. As discussed
     49
        The local police departments and ICE refused to release data
                                                                          earlier, in one case, both parents had been detained and
     on who was arrested and why (i.e., what their criminal charges
     were)—citing “privacy concerns” and other factors. See Melissa       released the same day to care for their infant. Sixty-one out
     Sherman, 2008, “Information Scarce on 287(g) Program: Task           of 190 children in our study sample saw their parents
     Force Officers Arrest 419 in First Seven Months,” Morning News       before the end of the day and did not experience separation
     (Northwest Arkansas), May 14.
     50 The Rogers police department settled a racial profiling lawsuit   resulting from a parent’s arrest. Also, as discussed earlier,
     brought by Hispanic motorists in 2003. See Mark Minton, 2008,        there were eight instances in which two parents were both
     “Rogers Task Force Revives Fears of Bias: City Says Profiling        arrested and one parent was released to care for the chil-
     Worries Are Baseless,” Arkansas Democrat-Gazette, January 15;        dren. In each instance the mother was reunited with the
     and Liz Boch, 2006, “Immigration Plan by Rogers Mayor Worries
     Hispanics: They See Racial-Profiling Dangers,” Arkansas
     Democrat-Gazette, November 17.
     51 Jon Gambrell, 2008, “Hispanic Community Fears New Powers          53
                                                                            In August 2009, nearly two years after the program’s implemen-
     Given To Local Police in Arkansas,” Associated Press Financial       tation, we only heard of one documented case where an arrested
     Wire, March 10.                                                      immigrant might get a visa under through the Violence against
     52 Dave Hughes, 2008, “Two Plead Innocent in Alien-Hiring            Women Act (VAWA). The VAWA case had started long before
     Case,” Arkansas Democrat-Gazette, January 15.                        the arrest.

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children, but the children were separated from their fathers,      Arkansas was arrested by the local police for a traffic violation
who remained detained.                                             and narrowly avoided having her toddler left at a Head Start
      In the remaining 52 families, 129 children experienced       facility. She was not allowed a phone call by her arresting
separation beyond the day of arrest: 44 lived in two-parent        officer but managed to secretly make a quick call on her
families and 8 lived with single parents. Among the two-           cell phone before it was taken from her. The mother
parent families, 36 detained parents primarily relied on their     called a friend and asked her to pick up her daughter
spouses to take care of the children. In 28 of these families,     from Head Start.
an arrestee’s wife or female partner took care of the children
while her husband or partner remained in detention, and
                                                                   Local Community Members Helped Coordinate Care
eight fathers (or male partners) became the primary care-
                                                                   for the Children of Detainees
givers when mothers were arrested. Eight two-parent house-
holds relied on extended family members or friends to care         In addition to spouses, partners, extended family, and
for their children during parental detention, including two        friends, clergy members and community leaders played
cases where both parents were detained and extended family         important roles in caring for children separated from their
cared for the couples’ children. In the other six of these         parents. In Postville, the entire community quickly mobi-
cases, a mother was detained while female family and friends       lized because the raid was so large relative to the size of
assumed primary caretaking responsibilities, with support          the community (as over a quarter of the town’s official
from the children’s father. In the eight cases where a child       population was arrested). St. Bridget’s Catholic Church
had lived with a single parent before that parent’s arrest,        became a safe haven for families. The principal and a
extended family and friends cared for the child while the          counselor at the local public school coordinated all of the
parent remained in detention.                                      pick-ups and drop-offs of children from school, and child
      A mother in New Bedford and a custodial grandmother          care center staff did the same for younger children. More
in Van Nuys were held for days before being released. Close        than 100 children of all ages stayed at the church with
friends and relatives took care of their children during their     their parents who had not been arrested or other relatives
absence. In Arkansas, a divorced mother was released after         for almost a week after the raid. Schools and churches
12 days, while another single mother remained in detention         played similar supporting roles following the New Bedford
for weeks, and a third single mother was held for months. In       and Grand Island raids, but the families there did not stay
these three cases, the mother’s extended family, an ex-partner,    in churches for extended periods. In all three of these sites,
and a close friend, respectively, took care of the children. Two   churches, schools, and community organizations worked
divorced parents were detained and then deported. In both of       together to help families arrange care for their children and
these cases, extended family looked after the deportees’ chil-     weather the storm in the immediate aftermath of the raids.
dren, and in one case, the deportee later returned illegally to         There was no large-scale coordinated effort in Van
the United States to reunite with her children.                    Nuys, although there were individual instances in which
      Among the families we spoke with, there were only a few      nonrelated caregivers stepped up to look out for children.
cases in which children were left unsupervised or unattended       An immediate, coordinated effort to locate children of
for long periods, including one instance when a parent was         arrested parents and find arrangements for them was less
released late on the day of the raid. A single mother of three     necessary in Van Nuys than the other raid sites, because the
in Van Nuys said her children were left unsupervised for           arrestees in Van Nuys were released quickly—including all
several hours before she was released on the evening of the        of the single parents on the same day of the raid. One of our
raid. Her 16- and 17-year-old children arrived home from           Van Nuys respondents told us that one of her children’s
school that day and then took care of their 4-year-old             teachers heard about the raid and held two of her students
brother by themselves for several hours after he was dropped       late at school. The teacher arranged for another parent to
off from child care. A couple to whom she rented a separate        drive them to their adult sister’s house that evening.
bedroom in her home arrived late in the evening and helped         Teachers also stayed late to supervise children in Grand
take care of the young boy until the mother was released           Island, but there, too, all the children went to their own
from detention very late that same night. One mother in            home or to a relative’s home by the end of the day.
                                                                                                                                       23

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     Parental Communication with Children                                  Families Where Children Traveled to Parents’
     during Detention                                                      Countries of Origin
     Most of the parents who were held for more than one day               Five families decided that some or all of the children should
     reported difficulties communicating with their children dur-          accompany the deported parent while their other parent
     ing detention. One man who was detained for six months                stayed behind in the United States. In three of these cases,
     said he was not permitted to make phone calls from the first          the mothers made this decision quickly, opting for volun-
     detention center where he was held for a week.54 A mother             tary departure after their same-day release, and they took
     from Arkansas had a similar experience. During the first two          their children with them. One mother, whose husband and
     months, she was only allowed to write letters. After that, she        brothers had fled Postville after the raid, explained that leav-
     could call once or twice a week but had to call collect, and it       ing was preferable given the extreme economic hardship that
     was expensive. Other respondents, including a mother from             she and her three children were facing.
     Grand Island, registered the same complaint: “The calls were
                                                                               The truth is here [St. Bridget’s] they’re helping us,
     very expensive. Ten dollars for five minutes to talk about every-         but this month I’ve said that I’m going to move out
     thing you could in five minutes. So, I was always depressed               because now the situation is that you can’t be with
     [when I hung up].” Those held in some of the detention                    your kids . . . With a family, it’s a little more difficult,
     centers were eventually able to use calling cards, which facil-           and so I’m going to turn over the house and I’m going
     itated greater contact with loved ones at home. One mother                to take my children. I’m going to take either two or
     said, of her detained spouse, “In the beginning . . . they                three children to Guatemala. I’m taking them in
     weren’t letting him use the card to call. But later, when they            August because you can’t survive like this.
     changed him to the detention center where he is now, they let
                                                                                For the other two families that sent at least one child
     him use a calling card.”
                                                                           to be with a parent outside the United States, the trigger
                                                                           was deportation rather than voluntary departure, and the
     Family Separations after Deportation                                  reunification of the deported parent and children outside
     and Voluntary Departure                                               of the United States came after a period of separation. One
                                                                           11-year-old U.S.-born girl in Postville was separated from
     The 20 families in our sample where a parent either chose
                                                                           her mother for five months during the mother’s detention
     voluntary departure or was formally deported were forced to
                                                                           and for sixth months following the mother’s deportation;
     confront difficult and often painful decisions about whether
                                                                           after six months the two were reunited in Mexico. This
     to send children out of the country with the deported parent.
                                                                           meant leaving behind the father and two older siblings, who
     In eight of these families, some or all of the children went
                                                                           were all undocumented and could not travel freely between
     abroad with one or both parents, while in 12 other cases,
                                                                           the United States and Mexico. In another case, a Miami
     children remained in the United States, separated from one
                                                                           mother sent her 2-year-old son to live with his deported
     of their parents. In some of these cases, the whole family
                                                                           father in Haiti, because she could not afford to keep him
     left to join the deported parent, and in others, parents and
                                                                           with her in the United States anymore. “The thing is, I
     siblings were split between countries. Finally, in a few cases,
                                                                           cannot find any work and I have to support him. And if I’m
     parents returned illegally to the United States to be reunited
                                                                           not working I cannot rely on my parents all the time.”
     with their children. This section describes the experiences of
                                                                                A total of three other whole families also opted to
     these families with deported parents and the decisions that
                                                                           reunite with their deported family member in the parent’s
     parents made about the future of their children.
                                                                           country of origin. In one of the Iowa families facing depor-
                                                                           tation, the decision for everyone to return to Mexico has-
     54
       The U.S. Government Accountability Office has documented            tened plans that were already in place to return to their
     difficulties with telephone communication between immigrants in       country of origin. The mother told us that before the raid
     ICE detention and their families. See GAO, 2007, Telephone Access
                                                                           occurred, she and her husband had planned on moving back
     Problems Were Pervasive at Detention Facilities; Other Deficiencies
     Did Not Show a Pattern of Noncompliance, GAO 07-785, July,            to Mexico after earning enough money to finish construc-
     http://www.gao.gov/new.items/d07875.pdf.                              tion on a home they were building there. She said that she
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had even started encouraging their 9-year-old son to                  The border crossing took a tragic toll on one family in
improve his Spanish grades at school so he would be ready        particular. After spending six months in jail, the father was
to transition to school in Mexico. When both parents were        deported to Guatemala and then traveled back through
arrested, they chose voluntary departure and moved back to       Mexico to New Bedford to rejoin his wife and 4-year-old
Mexico as a family. In another instance, a mother, who fol-      child. He succumbed to a fatal heart attack just hours after
lowed her husband back to Guatemala after his deportation,       their reunification.
shared how no one in the family had any will left to remain           One of these deportees was able to reunite with his
in Iowa, especially given the economic toll that the arrest      family members through legal means. A Miami man, who
had taken on their household. “They don’t want to be here        took voluntary departure after he was arrested and released
anymore, practically, they don’t want to anymore and neither     with an ankle bracelet on the same day, was able to petition
does their dad.” Moving back reunited this mother and her        for his legal residence because of his marriage to a U.S. citi-
four children not only with their deported father but also       zen. He returned legally after about 14 months of separation
with two of their older siblings who had been separated          from his family.
from the family when their parents had migrated to the                                         *****
United States to look for work.                                  Taken together, our six study sites provide a detailed picture
                                                                 of family separations following immigration enforcement
                                                                 operations by ICE and local police officers. There was
Families Where Children Remained in the
                                                                 considerable variation in the length of time after initial
United States, Separated from a Deported Parent
                                                                 arrests that parents were detained and separated from their
At the time of the interview, the children in five of our sam-   children, ranging from several months for many parents
pled families remained in the United States, separated from      in Arkansas, New Bedford, and Postville, to less than a
their deported parent. One Miami mother, whose husband           week for everyone in Van Nuys. The shares of parents
was deported after six months in detention, leaving her          overall and in our sample who were deported also varied
alone with her three children, lamented, “I just can’t take      significantly, with more deportations and voluntary
care of them anymore. It’s only me and I cannot take care of     departures in Arkansas, Grand Island and Postville than in
them. I have no help.” She found herself working all the time    the other sites. Our sample, however, was biased toward
just to keep the family afloat economically, but she could       the parents who were released on the same day as their
not bear the idea of sending their children back to Haiti.       arrest or early on, because we could not interview those in
      Six of the deported parents reported that they did         detention or those who had already been deported by the
everything possible to make it back the United States to be      time of our interviews. Nonetheless, about half of the
with their children. For most of these parents, this meant       sample consisted of two-parent families where at least one
facing a dangerous border crossing. One mother, who had          parent was arrested and detained for a significant period
been separated from her two children for more than four          of time.
months, described the harrowing experiences she endured               ICE humanitarian guidelines, which arose out of the
to be reunited with her children, who were being taken           controversies surrounding parent-child separations after the
care of by an elderly aunt and uncle who had a hard time         New Bedford raid, appear to have been fully implemented
caring for them. After borrowing money from friends in           by early 2008, when the raids occurred in Van Nuys and
Guatemala to fly to Mexico City, the mother was driven to        Postville. In both of these sites—as well as in Miami, where
the river in a trailer with other migrants. They then walked     the guidelines did not formally apply because the raids did
for 21 hours until a truck picked them up and brought            not occur in workplaces—a significant share of our inter-
them to Houston.                                                 viewed parents were released on the same day as their
    When they dropped us off up here in Houston, we              arrest. Requirements to wear EMDs on their ankles compli-
    couldn’t even stand up. We couldn’t stand the pain,          cated matters for many of these parents, but release with an
    our feet covered with blisters. But in spite of that, I      EMD was better than prolonged detention from the stand-
    gave thanks to God that I had made it and that I was         point of maintaining the relationships between these chil-
    here, and I went to see my kids.                             dren and their parents.
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           On the other hand, the findings highlight the poten-        deportation, and we know of only a handful of cases in
     tially far greater level of parent-child separation in enforce-   which they were successful.
     ment actions carried out by local police through 287(g)                 As we shall see later in the report, much of this varia-
     agreements. The ICE humanitarian guidelines did not apply         tion in outcomes has to do with the thorough legal defense
     to the arrests by local police in Rogers and Springdale, where    efforts mounted in New Bedford and Van Nuys—and to a
     all of the sampled families experienced prolonged parent-         lesser extent in Postville. These legal defense efforts have
     child separations. In both Postville and Rogers-Springdale,       been mounted on a variety of avenues to contest deporta-
     the application of criminal charges mandated detention for        tion. Thus far the most successful of these across the sites
     many arrestees—in Rogers-Springdale most were arrested at         appears to be pursuit of U-visas for immigrants who are
     their workplace or for minor traffic violations.                  crime victims (as many were in the terrible working condi-
           Another interesting and somewhat surprising finding         tions in New Bedford and Postville). In Van Nuys, defense
     was the variation in the final disposition of cases across our    attorneys used a more unusual strategy, challenging the
     sites, particularly the differences in the likelihood of depor-   legality of the raid itself and the validity of the warrants
     tation across the workplace raid sites. In Van Nuys, only a       served on immigrants there.
     small minority of arrestees were deported; about half were              Immigrants arrested in the nonworkplace raid sites—
     contesting their deportation as of December 2009, and             through FOT home raids, at court dates, or in local policing
     another 30–35 had their deportation withheld for cooperat-        operations under the 287(g) program—fare worse, with far
     ing in the immigration case against Micro Solutions. More         less prospect of staying together as a family in the United
     than half of the New Bedford arrestees were still contesting      States. The Haitians arrested in Miami generally had no
     their deportation two and a half years after their arrests,       chance to contest their deportation because they already had
     and 15 that we know of have been granted asylee status,           final deportation orders. According to respondents, only one
     visas, or work permits. In Postville, by contrast, the major-     person had his deportation order of removal canceled—out
     ity of arrestees (but only a minority of those in our sample)     of hundreds of arrests—in Rogers-Springdale.
     were held for five months and then deported. Among those                Regardless of the eventual outcomes, the vast majority of
     detained for a prolonged period, a significant minority           our sample from the workplace raids experienced long limbo
     were eventually released and some were granted work per-          periods while their deportation cases were contested. The next
     mits for cooperating with the investigation against               chapter turns to the experience of families during these limbo
     Agriprocessors. Others in Postville continue to contest           periods, with a particular focus on economic hardship as a
     their deportation as victims of crime or on other grounds.        consequence of separation—a parent detained or deported—
     In Grand Island only a few arrestees ever contested their         or as a consequence of a parent’s inability to work.




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3. THE EFFECTS OF IMMIGRATION
   ENFORCEMENT ON FAMILY
   WELL-BEING

       his chapter addresses the second set of research questions—the effects of immigration enforcement on child and family

T      well-being—and focuses specifically on economic hardship, including food insecurity and housing instability. We pro-
       vide a detailed description of families’ economic circumstances from several perspectives, but we focus in detail on lost
income, food insecurity, and housing instability because these hardships can pose particular risk to children.55 We then discuss
where families turned for assistance and how much assistance they were able to receive.


Changes in Families’ Economic Hardship                             cient for them to support their families. Several of them had
                                                                   worked many years for the same company and had managed
The arrest of an immigrant parent has severe consequences
                                                                   to obtain supervisory positions with higher wages. One
for the economic well-being of children and families because
                                                                   woman in Van Nuys said she had worked nearly eight years
the family generally loses a breadwinner. This is always the
                                                                   for a company that merged with Micro Solutions, working
case in a worksite raid, where by definition the arrest is of a
                                                                   her way up from a line worker to a supervisor, teaching lower-
working parent, but it is also often the case when immigrants
                                                                   level employees how to do their jobs. “I taught people how to
are arrested at home or other locations. The loss of a bread-
                                                                   work, looked over their work, kept track of production . . . and
winner occurs not only when parents are detained or
                                                                   at the end of the day, I had to give a report to my supervisor . . .
deported, but also when they are released with a pending
                                                                   about what had been produced that day.” Another worker in
immigration case without authorization to work. Thus, in
                                                                   Postville recounted how he had started at Agriprocessors
the vast majority of our cases, family incomes dropped
                                                                   when he was 14, working the night shift, taking dead chick-
severely following the raid or other parental arrest. Lost
                                                                   ens and turkeys to the garbage for $6.25 per hour. Over the
income triggered further economic hardships for families,
                                                                   next five years, he slowly worked his way up, aided by his
including difficulty paying bills, housing instability, and
                                                                   burgeoning English skills, and transferred to the quality
food hardship.
                                                                   control team where he was making $9.25 per hour at the
                                                                   time he was arrested. Other workers had managed to build
Lost Employment and Income                                         solid lives for themselves and were slowing breaking into
Before their arrest, most parents we interviewed—or their          the middle class. One woman explained, “Everything was
spouses—were working steadily and earning incomes suffi-           going well. I was in school, I had a good job, I had a magazine
                                                                   called Contigo, money coming in and going out, I owned a
                                                                   three-bedroom house, I paid my bills, I had a car. Everything
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 Greg J. Duncan and Jeanne Brooks-Gunn, eds., 1997,
                                                                   was good.”
Consequences of Growing Up Poor, New York: Russell Sage
Foundation; Jane Waldfogel, 2006, What Children Need,                    Changes in employment. Across our study sites, one in
Cambridge, MA: Harvard University Press.                           four households had no workers at all at the time of our
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     interviews. Even those parents who were released often felt                                    her because they were afraid of having problems with ICE.
     it would jeopardize their release to work or had difficulty                                    “You want to look for work, everybody knows already that you
     finding employment. After being arrested in her home by                                        got picked up, and so they are all afraid and no one wants to give
     police investigating unauthorized workers, a mother in                                         you work, because you, even though you’re afraid, go out to look
     Arkansas said that even though immigration had not expressly                                   and everyone closes their doors to you.” This was particularly the
     forbidden her to work after she was released, she was afraid                                   case in Postville, a small community in which the plant that
     that they would arrest her again if she did. “They didn’t for-                                 was raided was the only significant employer.
     bid me to work, or release me with any provisions, but, in                                           Declines in household income. Household incomes before
     truth, I don’t have a way to work anymore. I’m afraid that                                     the raids or other arrests were modest and varied by site,
     immigration will grab me.” Another mother in Arkansas                                          reflecting differences in parental occupations and household
     said that local police often used their knowledge of illegal                                   structures. Household incomes before arrest were highest in
     employment to pressure immigrants to cooperate with                                            the worksite raid sites, in part because these parents were
     investigations of their employers.                                                             working longer hours. In Postville, where the great majority of
           Respondents released on supervision with ankle moni-                                     households (15 of 18) had two or more workers who routinely
     toring devices (most of whom were in Postville or Van Nuys)                                    worked more than eight hours a day, median weekly house-
     were the least likely to be working. These monitoring devices                                  hold income was relatively high compared with all of the other
     have GPS locators, allowing ICE to track immigrants.                                           sites except Grand Island, where the Swift meatpacking plant
     Respondents wearing bracelets were afraid ICE would find                                       workers were unionized (table 3.1). In contrast, families in
     out they were working and this would lead to another arrest.                                   Arkansas and Miami had lower household incomes and
     One mother with an ankle bracelet said she could not stay                                      depended on fewer workers to support them. Six of nine
     in any particular location for an extended period of time                                      Arkansas families and five of nine Miami families relied on
     because ICE might suspect she was working. Others felt they                                    only one paycheck before parental arrest. In both of these
     could not physically do the work because of the discomfort                                     sites, parents worked in a variety of occupations that often
     of the bracelet. “In fact, you can’t work. It’s uncomfortable even                             offered part-time hours and paid lower wages than manufac-
     just to walk.”                                                                                 turing. These occupations included service sector jobs in
           Some workers found that even if they overcame their fear                                 restaurants and hotels, as well as seasonal work in construc-
     of going back into the labor force, no one would hire them.                                    tion and plant nurseries.
     One mother noted that everyone in her community knew she                                             Household incomes dropped precipitously in each of the
     had been detained and that none of the employers would hire                                    four sites we visited within two months after a raid or within



     TABLE 3.1. Average Weekly Household Income and Workers Before and After Arrest

                                                                                                                             Time elapsed

                                                                                    Less than                                               More than
                                                                                     6 months                   % Change                     6 months                     % Change
        Site                        N                Before arrest                 since arrest                since arrest                since arresta                 since arrest

        All                         85                 $509 (1.8)                   $154 (1.1)                     −70%                       $238 (1.3)                    −53%
        Grand Island                12                 $652 (1.6)                      –                             –                        $154 (1.3)                    −76%
        New Bedford                 10                 $553 (2.1)                      –                             –                        $300 (1.1)                    −46%
        Van Nuys                    27                 $428 (2.1)                   $221 (1.4)                     −48%                       $255 (2.0)                    −40%
        Postville                   18                 $654 (2.1)                    $74 (0.6)                     −89%                        $51 (0.5)                    −92%
        Miami                        9                 $290 (1.1)                   $158 (1.0)                     −46%                       $121 (1.0)                    −58%
        Arkansas                     9                 $376 (1.2)                   $159 (1.0)                     −58%                       $160 (0.6)                    −57%


     Source: Urban Institute surveys of families in study sites.
     Note: Values in parentheses represent the average number of workers per household.
     a. For Postville and Van Nuys, these consist of follow-up interviews. For Grand Island and New Bedford, “–” refers to “not applicable” because these data were not collected for our
     earlier study, Paying the Price, and are therefore not available for the current report.

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six months after a parent’s arrest in a nonworksite enforce-      to three-quarters for those interviewed at later points in
ment action. Postville had the steepest drop in incomes—          time. Difficulty paying bills remained relatively stable in
to zero in most households—because the parents we                 Van Nuys between the first and second round of interviews,
interviewed who had been released with ankle bracelets            but the rate actually declined in Postville where families
were prohibited from working and could not find employ-           received sustained support for rent and utilities from
ment in the community. In Van Nuys where more families            St. Bridget’s Church.
had some members still working after the raid, the loss in              Because families often ended up delaying utility pay-
earned income was still nearly half of the pre-raid level,        ments in order to pay their rent, these kinds of debts were
and many households that had two working members                  the first to start piling up. Two out of every five families said
now had one.                                                      that they had missed at least one payment for basic utilities
     In the instances where we interviewed families at a later    such as water, electricity, and gas; and about a fifth had not
point in time, including the raid sites where we returned,        paid a bill for telephone, cable, or internet service. Missed
some families had stabilized their incomes somewhat, bring-       payments led to late fees that compounded difficulties pay-
ing up the average, but overall household earnings were still     ing bills and, in some cases, service cut-offs. Four families
lower than the pre-raid levels. Households in New Bedford         reported having at least one of their basic utilities cut off
and Van Nuys were the only ones where weekly incomes              and another 12 families said their phone, cable, or Internet
were over half their pre-raid average more than a year after      service had been discontinued.
the raids there. On the other hand, families in Postville               Parents tried a number of things to keep up. Some cut
mostly experienced continuing unemployment. Among the             off nonessential services like cable and cell phones to pay
10 Postville families we reinterviewed nine months after the      the rent or reduced their use of essential services further
raid, six had little or no change in the number of workers or     beyond already low levels. In Van Nuys, several families
earnings in their households, and two families had lost the       managed to stay in their homes by negotiating with their
one income that they had had at the time of the first inter-      landlords over the amount and timing of rental payments,
view. Only one family increased its income between the first      as well as waiving the cost of utilities. In one case, a father
and second interviews. This family, which had no workers          said that the only way he was able to stay in his apartment
immediately after detention, had one member who was               was that the landlord let him apply his security deposit to
working informally making and selling jewelry, but the            the incomplete rental payments he had made. Another
income earned from this activity was nominal and sporadic.        worker shared that he had worked out a deal with the land-
Our four follow-up visits suggest that substantial declines in    lord for reduced rent in exchange for repair and mainte-
family incomes can persist up to a year or more following         nance work on his properties.
raids and other immigration arrests.                                    In Van Nuys, keeping up with bills was even more dif-
                                                                  ficult for those who were released with EMDs on their ankles,
                                                                  because these EMDs were linked to a telephone landline for
Difficulty Paying Bills
                                                                  ICE to verify their location. At a time when many other fami-
As families lost workers and their incomes declined follow-       lies were discontinuing their phone service, those with ankle
ing the raids or arrests, they began to have more and more        bracelets were being forced by ICE to take on another expense.
difficulty paying bills. Nearly two-thirds of families (54 of     Some of these families only had cell phones before the raid and
85) reported having difficulty paying their household bills at    had difficulty getting the phone company to install a landline
the time of their first interview. These difficulties were most   without having a formal credit history. Many times, their
acute in Miami where all nine families were affected and in       only alternative was to pay an out-of-pocket security deposit.
New Bedford where all but one of the 10 families testified to
having economic problems of this type. The economic well-
                                                                  Housing Instability
being of families seemed to become more precarious over
time. Across our entire sample, a little more than half of        Housing was the area in which the steep loss of income became
those interviewed between two and six months following            the most apparent, particularly over time, largely because this
parental arrest had trouble paying bills, and this share rose     was the families’ biggest expense.
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          Crowded housing. Many of the families started in very        Nuys had recurring housing problems because she wore an
     tight housing conditions and were doubled up with relatives       ankle bracelet. The couple that was living with her and her
     and other families, but the arrests worsened these condi-         kids was sharing the rent at the time of her arrest but moved
     tions significantly. For many families we interviewed, the        out when they saw she had an ankle bracelet. They were
     burden of rent and other household bills was unsustainable        afraid immigration would come to the house. “So, they said
     during the first few months after an arrest, and this burden      to me that if they put an ankle bracelet on me, they were going
     spurred them to look at other housing alternatives to cut         to move to another place because it made them afraid. I told
     costs. For one in four families, this meant moving in with        them, ‘Don’t be afraid’ and they said, ‘No, we’re going to
     friends or family or having others move in with them to           leave.’ And they left.” She then left that apartment and
     pool resources.                                                   attempted to rent a room in another apartment, but once
          This doubling up, however, was often less than ideal, as     the man there found out about the bracelet, he told her
     crowded households only became more overcrowded. One              that he was going to leave the apartment if she did not
     family of three in Van Nuys initially moved from their one-       move out. Given the ultimatum, the mother and her three
     bedroom apartment to a garage after the raid, only to find        children moved into the living room of an apartment that
     that they could not afford the rent there either. From there,     four men were also renting.
     they moved into a two-bedroom house with seven other                   Others reported voluntarily separating from loved ones
     family members. Another mother, who had been left alone           to protect them, because living together could have exposed
     with her four children after her husband was detained, faced      them to immigration enforcement. One father made the
     a similar reality. She had no choice but to move the five of      decision to move in with other workers who had to wear
     them into the three-bedroom house where her mother,               bracelets and sent his partner and her children to live with a
     father, sister, and niece were already living. Doubling up        relative. A woman encouraged her nephew, who lived with
     with others changed family situations and affected children.      her family at the time of her arrest, to move out after she
     One family in Van Nuys rented out their bedroom to another        started wearing an ankle bracelet. She did not want to put
     couple and their two children for $250 when money was             him at risk.
     especially tight. The experience was particularly hard for the
                                                                           So he left because, since I have [an ankle] bracelet and
     children, who had conflicts with each other. The children
                                                                           supposedly they’ve been calling a lot and are going to
     lacked the space to run around inside the apartment and
                                                                           come and check on me, I imagine he had to have
     had to go play outside in the building’s patio. They told
                                                                           thought, “It’s better if I go.” And I told him, “It’s OK.
     their mother, “I don’t like to live like this.” But, there was        I don’t want to put you in a bad position.”
     nothing she could do.
          In most cases, housing assistance did not lead to greater         Other families felt that they had to keep moving in
     housing stability in the long run, because the amount of assis-   order to avoid problems with immigration. One mother
     tance received was insufficient to sustain families in their      was deported and returned to the United States to be
     prior accommodations. Most of the housing assistance was          reunited with her husband and two children. Shortly after
     also short term, for just three or four months after the          she returned, immigration officers came to the house.
     raids. One exception was Postville, where charitable assis-       After that, she went to live with her adult son for two
     tance through the church persisted for over year after the        months for fear of them coming back again, even after her
     raid. However, even in Postville, about a third of the par-       husband reassured her that the immigration officers
     ents interviewed one year after the raid had moved to apart-      thought she was still in Mexico. When she moved back in
     ments with lower rents or moved in with family members            with her family briefly, immigration officers came back
     or nonrelatives.                                                  again, but she did not open the door. On that day, she
          Frequent moves. The stigma the arrests carried some-         moved back in with her son and had a friend pick up her
     times led to housing instability. In one case in Van Nuys, a      children from school.
     landlord heard about the raid and asked one of the women               Loss of homeownership. Not surprisingly, the large
     who was arrested to move out because he wanted to avoid           majority of families in our sample rented their homes, but
     having problems in his building. Another mother in Van            eight families across four of our sites—all but Miami and
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TABLE 3.2. Short-Term Food Hardship in Households Following Arrest

                                                                Were not able to eat
                              Could not afford                   (could not afford)                    Reduced size                   Ate less than                  Experienced
                               enough food                        balanced meals                         of meals                        before                         hunger
   Response                      (n  51)                             (n  50)                           (n  50)                       (n  49)                       (n  50)

   Never                              14                                   20                                 18                             21                            39
   Sometimes                          21                                   14                                 14                             12                             7
   Frequently                         16                                   16                                 18                             16                             4


Source: Urban Institute surveys of families in study sites.
Notes: These results are combined from 54 households across four sites—Van Nuys (27), Postville (17), Arkansas (6), and Miami (4)—interviewed two to six months after parental
arrest. The total numbers of responses across the columns are different due to incomplete data and refusals to answer. All households included in the table answered at least four of
the five items. One household is not included at all due to insufficient data.



Grand Island—owned homes and paid a mortgage prior                                              Food Hardship
to the parental arrest. All of these families struggled to
                                                                                                Most of our study families had difficulties affording food
make mortgage payments in the aftermath of the arrest,
                                                                                                after immigration enforcement.56 In the four sites where
because of the loss of the main breadwinners’ income.
                                                                                                we interviewed families two to six months after a raid or
Half of the families had actually lost their homes by the
                                                                                                arrest (table 3.2), nearly three out of five of these house-
time they were interviewed. This devastated families who
                                                                                                holds reported difficulty paying for food “sometimes” or
had managed to establish themselves in the community
                                                                                                “frequently” immediately following detention; nearly two
and provide what they expected would be more substantial
                                                                                                out of three reduced the size of their meals; over half ate
stability for their children. One mother explained how
                                                                                                less than before; and more than a fifth reported having
crushed her 5-year-old daughter was when she realized
                                                                                                experienced hunger because they did not have enough to
that the family had to sell the home they had lived in for
                                                                                                eat, including four respondents who said they experienced
seven years. “When my daughter saw the ‘For Sale’ sign, she
                                                                                                hunger frequently.
started to cry and she said to me, ‘I don’t want my house to be
                                                                                                      These findings are far above national norms (table 3.3)
sold, it’s our house.’ ”
                                                                                                and show considerable distress in our study sample. Well
     One mother in Arkansas lost her home when the father of
                                                                                                over half of the parents we interviewed said that, at least
her two sons, from whom she was estranged, took advantage
                                                                                                once in the past month, the food that they bought did not
of her six-month detention to refinance her three-bedroom
                                                                                                last, they could not afford to buy more food, or they could
home in his name, gain custody of their children, and move
                                                                                                not afford to eat balanced meals. This contrasts with fewer
into her house with his new wife. When the mother was
finally released and sent home on a Greyhound bus, she did
not have anywhere to stay. Some friends offered a place for
a while, but then they got tired of this arrangement. So,                                       56
                                                                                                   Our study employed four questions from a broadly used food
she stayed in a motel until she was able to find a room-                                        security scale developed by the U.S. Department of Agriculture.
                                                                                                We did not employ the full scale, so we do not report “food secu-
mate. The worst part of losing her home was that she                                            rity” results here but instead discuss the individual items. Moreover,
could not apply to regain custody of her children because                                       we cannot directly ascribe difficulties affording food to the raids or
she did not have anywhere for them to live. “I can’t, I don’t                                   arrests, although we know that most of these families experienced
have a place to . . . for them to be with me right now.” She                                    severe drops in income following these events. We did not ask food
                                                                                                security questions about the period before the arrest, so we cannot
was only able to see her sons a couple of times a week.                                         gauge how much of the food hardship pre-dated immigration
“Sunday is my day off so I see them from two to eight, eight                                    enforcement. We rely mostly on our qualitative data from the inter-
thirty. And then between the week I go and see them for a                                       views to interpret the results from these food security items. For the
                                                                                                full scale, refer to Mark Nord and Gary Bickel, 2002, Measuring
couple of hours because they live [here] and I live [there] and
                                                                                                Children’s Food Security in U.S. Households, 1995–99, Food
you know with all the gas prices I barely have money for gas to                                 Assistance and Nutrition Research Report No. (FANRR25) 38,
take me to work.”                                                                               Washington, DC: USDA, Economic Research Service.

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     TABLE 3.3. Short- and Long-Term Food Hardship in Households Following Arrest

                                                                                                                            Time Elapsed (UI Sample)

                                                                                                Less than 6 months                   More than 6 months
        Food hardship itema                                                                          (n  54)b                           (n  46)c                        Nationald

        Food bought didn’t last and respondent didn’t have money to get more                            72.5%                                82.6%                           12.4%
        Respondent couldn’t afford to eat balanced meals                                                60.0%                                78.3%                           11.3%
        Adults cut the size of meals or skipped meals                                                   64.0%                                60.9%                            6.5%
        Respondent ate less than felt he/she could                                                      57.1%                                57.8%                            6.5%
        Respondent was hungry but couldn’t afford to eat                                                22.0%                                28.3%                            3.3%


     Source: Urban Institute surveys of families in study sites.
     Note: Actual numbers for individual items may sometimes be lower because of refusals or missing data.
     a. Share reporting condition “sometimes” or “frequently” within the past month.
     b. Includes first interviews from families in Van Nuys (27) and Postville (17), as well as interviews with families from Arkansas (6) and Miami (4).
     c. Includes follow-up interview in Van Nuys (12) and Postville (11) as well as interviews from four other sites: New Bedford (9), Grand Island (8), Miami (4), and Arkansas (2)—
     interviewed more than nine months after parental arrest. 22 of the families were also interviewed in the first round in Van Nuys and Postville.
     d. These statistics come from Mark Nord, Margaret Andrews, and Steven Carlson, 2008, Household Food Security in the United States, 2007, ERR-66, Washington, DC: USDA,
     Economic Research Service.




     than one in eight American families being affected by these                                   they endured hunger because they could not afford to buy
     conditions. More frequently than other U.S. families, our                                     food.
     parents also reported that they cut the size of meals or                                           There was some variation in responses to these ques-
     skipped meals, ate less than they felt they could, or felt                                    tions across the study sites, with the highest reports of food
     hungry but did not eat because they could not afford to                                       insufficiency and hunger in the nonworksite raid sites:
     buy food. The parents we spoke with were seven times                                          Miami and Rogers-Springdale. Haitian families in Miami
     more likely to report experiencing hunger than the U.S.                                       reported the highest levels on each of the five food hardship
     average.                                                                                      measures, particularly hunger. All nine families interviewed
           The families interviewed across all of the sites in our                                 indicated they went hungry and were more likely to report
     sample more than six months after arrests reported difficul-                                  that they “frequently” experienced food hardship. For exam-
     ties securing enough food over the long term (table 3.4).                                     ple, a Haitian single mother who was arrested at home one
     Among the families in the study sample—which includes                                         morning three months before the interview said, “Not only
     22 follow-up interviews—these difficulties generally per-                                     did we have to cut the size of our meals we had to skip meals,
     sisted and sometimes increased. In the long term, a higher                                    because it’s not whenever you want a meal that you can have a
     percentage of parents reported that the food they bought                                      meal.” Another single mother, caring for her own two chil-
     did not last, they could not afford to eat balanced meals, or                                 dren as well as her niece, reported great difficulty finding



     TABLE 3.4. Long-Term Food Hardship in Households Following Arrest

                                                                    Were not able to eat
                                   Could not afford                  (could not afford)                    Reduced size                     Ate less                   Experienced
                                    enough food                       balanced meals                         of meals                     than before                     hunger
        Response                      (n  46)                            (n  46)                           (n  46)                       (n  45)                     (n  46)

        Never                               8                                  10                                 18                            19                           33
        Sometimes                          18                                  18                                  8                            16                           10
        Frequently                         20                                  18                                 20                            10                            3


     Source: Urban Institute surveys of families in study sites.
     Notes: These results are combined from 46 households across six sites—Van Nuys (12), Postville (11), New Bedford (9), Grand Island (8), Miami (4), and Arkansas (2)—interviewed
     more than nine months after parental arrest. 22 of the families were also interviewed in the first round in Van Nuys and Postville. The total numbers of responses for questions may
     be lower due to a missing response. 45 households answered each of the five items.

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work since her work permit expired three years earlier. With           become untenable to make ends meet. She said, “It doesn’t
her brother deported, things have only gotten harder, since            last. If I’m going to pay the bills, I have nothing for food.”
she could no longer count on his income to help put food               Another mother of two toddlers ages 1 and 2 who was given
on the table. She said,                                                an ankle bracelet during a home raid four months earlier said
                                                                       that she constantly negotiated which bills to pay. “Sometimes
     The kids have a lot of problems because sometimes I
     have five dollars for whole week and the kids only have           we don’t pay the water so we can buy food. Sometimes we don’t
     noodles and the kids will only eat noodles. And I’ll buy          pay the insurance so we can buy food. Sometimes we don’t pay
     a gallon of water and they’ll drink water and just go to          the light so that we can buy food.”
     bed like that.                                                          Some parents reported eating less or going without
                                                                       food so that their children could eat more. A single mother
      Even so, food hardship was by no means limited to
                                                                       of three in Van Nuys said that during the first few months,
Miami. A family from Postville with two children said that
                                                                       her children refused to eat dinner because they thought
they cut their food purchases from about $180 per week to
                                                                       that there wasn’t enough food for the household. Every
between $30 and $50 per week in the first few months
                                                                       night before starting to eat dinner they asked her if there
after the raid. The mother described their situation: “It was
                                                                       was enough food for everyone. She told them constantly
really hard because since then, we’ve been here but it isn’t easy at
                                                                       that there was enough, and she would eat less herself so
all because we can’t work and I would like to work and, well, so
                                                                       they would have more to eat. She would say, “Sons, eat,”
that my daughters can have what they ask for because . . . Now
                                                                       and they would respond, “Mommy, you eat first.” Once she
we don’t buy . . . fruit, yogurt, and all those things.
                                                                       saw how concerned they were over her reduced portions,
We don’t buy [them] because . . . we can [only] buy the
                                                                       she began to hide her food intake as much as she could
necessities.” A mother of four in Postville explained to her
                                                                       from them. After she obtained a work permit and began
children when they asked for some variety in their meals
                                                                       working work again, she took salads for lunch because she
after the raid, “We don’t have it right now. Eat this now,
                                                                       wanted to save the rest of the food for the family dinner.
even if it’s beans. You know the situation we’re in. I can’t
                                                                       Another father of two in Van Nuys said that he and his
buy you everything.” In Arkansas, one interviewee related
                                                                       partner regularly ate less so that his two boys, ages 12 and
how her sick mother’s health has been compromised by
                                                                       8, would not notice the scarcity as much. He said with
food hardship.
                                                                       some hesitation,
     My mother, she has an illness, she has arthritis, and she
                                                                           Up until now, the boys—we, as adults, well, I—the
     has to take pills. But the pills make her sick to her stom-
                                                                           truth, yes, I’ve endured, well, sometimes I haven’t
     ach. So, she has to drink a lot of milk and sometimes
                                                                           eaten, um, one day, two days, for the same reason that
     she’s had to go without so that the baby
                                                                           I’ve had to reduce my expenses, but we try to manage
     can have it.
                                                                           so the boys . . . don’t go through that.
      For families in Postville that were interviewed twice, food
                                                                            One of the most common strategies for stretching food
hardship abated for some by the time of the second interview
                                                                       was to buy less expensive items, cheaper ingredients, or
nine months after the raids. In Postville, the number of fami-
                                                                       more processed foods to save on food costs. A mother in
lies reporting milder forms of food hardship declined, and by
                                                                       Grand Island said,
the second interview no families reported hunger. Although
some families in Postville continued to struggle to get enough             So, I can change their meals to something more
food to eat on a regular basis, they fared better than families            economical but not start measuring things out, under-
in our other sites because of sustained assistance from                    stand? I think that would be very cruel, that you say
                                                                           “ay—only this or only that.” I prefer to change the
St. Bridget’s Church and local organizations.
                                                                           menu and make it cheaper.
      Several families talked about juggling between food and
other basic needs. In Arkansas, a mother of four children,                  Several parents mentioned that buying cheaper food
ages 2, 8, 13, and 16, who was picked up for a traffic viola-          was a lot harder at a time when the prices of basics like milk,
tion six months prior to the interview said that it had                eggs, and rice were increasingly expensive.
                                                                                                                                         33

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     Families’ Coping Strategies                                             don’t want to get a job at a company because I don’t want to
     and Forms of Assistance after Arrests                                   ruin my case.” The most commonly held informal jobs
                                                                             included house and office cleaning, babysitting for relatives
     Employment after Parental Arrests                                       and friends, doing odd jobs and construction as day labor-
     During this difficult adjustment period when many of the                ers, recycling, selling raffle tickets, and making and selling
     arrested parents were unable to work, spouses often took                handicrafts. One couple in Van Nuys reported working
     on extra hours to help make ends meet. One interviewee                  more than eight hours a day collecting bottles and cans for
     reported that her husband was working 12-hour shifts, from              recycling and buying and reselling used items. “We sell
     3:00 in the afternoon to 3:00 in the morning. “More hours,              dishes, clothing, appliances, like . . . and we walk around gath-
     overtime. He works from three in the afternoon to three in the          ering up aluminum and plastic containers to sell.” Though
     morning . . . and he tries to make sacrifices, I’ll tell you, because   these activities helped families piece together some much-
     there are expenses, lots of expenses.” Another interviewee said         needed income for their families, they could not adequately
     her husband sometimes worked double shifts twice a week.                replace the full-time steady wages that many had earned
     “He stays to work a double shift and nowadays that’s how it’s           prior to their detention.
     been, only him working. Sometimes two times he has to stay to                 A small number of respondents had received work per-
     work a double shift, two times a week and it’s hard because             mits, due to their cooperation with ICE in testifying against
     eight hours and you’re really worn out and you still have to            their employers or successful appeals of deportation on other
     work more, but like he says, it’s a necessity.”                         grounds. However, even this group sometimes had difficulty
           In a few families, the parents decided to separate geo-           finding work. At the time of their second follow-up inter-
     graphically so that one of them could find employment. One              view, five detainees in Postville and Van Nuys had been
     family separated after the children’s mother was arrested and           released and obtained work permits. However, only one of
     the father could no longer find work in Postville. He moved             them had actually been able to find work because of the eco-
     to a nearby town where he found work to help support the                nomic conditions in their communities. One woman in Van
     wife and children, but because of his work schedule he rarely           Nuys told us that she had taken two different temporary
     visited and could no longer take as much of a role in helping           jobs and looked for months before finally finding a night-
     with the children. Their older son regularly asked about him            shift job, working from 11:00 p.m. to 5:00 a.m. “The sched-
     and worried he would be arrested, too. By the time we                   ule is uncomfortable but because it was stable, I preferred to
     returned to Postville for the second round of interviews with           stay there for now while things get better, to see what happens.
     families, the father had returned after eight months and was            If I can get a better job, I’ll take it but there aren’t any . . .
     living with his family. In Grand Island, a father raising two           Everyone is looking for work and can’t find any.”
     children on his own because his wife was deported lost his
     job a few months later and could not find a job nearby with
                                                                             Back Pay and Assistance from Former Employers
     a good enough income. He took a job working at an energy
     plant that was six hours away, and was only able to come                The initial economic impact of some families’ loss of earned
     home three days per week. During the months his wife was                income during the first weeks after an arrest was mitigated
     in detention, the teenage children mostly stayed home alone             by the back wages and unused vacation or sick days that
     and on occasion were looked after by relatives.                         families were able to claim from the arrested workers’
           In the long term, many workers who had been arrested              employers. In three of the four worksite raids (Grand Island,
     found ways to go back to work because of economic neces-                Postville, and Van Nuys), families reported being paid for
     sity. Most of the parents who worked after their arrest found           back wages and unused vacation or sick days. In Grand
     themselves in the informal labor market to avoid being                  Island, Swift and Company set up a fund disbursed through
     detected by ICE again. One father in Grand Island said he               local United Way agencies to provide rent and other assis-
     mostly worked mowing lawns and doing odd jobs, though                   tance for a number of months after the raid.57 Several of our
     he could easily have found steady factory work, because he
     didn’t want to do anything that might complicate his legal              57
                                                                               Swift and Company did this for employees arrested in all six
     case. “I want to work. I do house repairs here and there. But I         plants that were raided by ICE in December 2006.

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respondents in Grand Island told us that their employer                reported that members of their new households entered the
made payments of $200 a month for three months                         labor force to help support the household as a whole.
following the raid.                                                         Forty-three families in our sample received direct
      In addition to back wages, one worker in Van Nuys                material support from their network of family and friends.
was able to get her employer, Micro Solutions, to pay out              Two out of five of these families received support in the
disability benefits for a repetitive motion injury that she            form of cash. One of our respondents related how a friend
incurred while operating a drill at the work site. At the time         of hers went to look for her, gave her money to buy food,
of our follow-up interview more than a year after the raid,            and offered to help her with whatever else she needed.
she was still receiving biweekly checks and regular medical
                                                                            After about two weeks, I didn’t have any food . . . and
treatment for the injury, although these payments were                      this American friend came looking for me here,
about to expire at that time.                                               and was cheering me up and he says to me, “Do
      In Grand Island, local community organizations were                   you have anything to eat in your house today?” and
largely successful in getting the final paychecks and vacation              I told him yes so I didn’t have to tell him no, I’m
pay for immigrants arrested in the raid there, but getting                  embarrassed, and he pulls sixty dollars out of his bag
final paychecks for arrested workers in Postville was not an                and gives it to me and says, “If you need anything,
easy undertaking. Staff at St. Bridget’s Church spent a con-                call me.”
siderable amount of time pursuing Agriprocessors to obtain
                                                                             Another one out of six families in our sample received
final paychecks, and then had difficulty getting local banks
                                                                       food assistance from friends or relatives, who often offered
to cash them. The check-cashing problem became so severe
                                                                       to share everything they had with affected families. One
that parish staff had to cash them in their own names. “They
                                                                       woman recounted: “My dad brought fish, the basic stuff, milk
didn’t want to cash their checks at the bank either. Sister Mary       and cereal for my kids because we didn’t have any milk . . . and
or the priest, I believe they were cashing checks for several people   my sister was working and she said, ‘Don’t worry, it’s OK, take
because they [the banks] didn’t want to cash them.”                    whatever we have here.’ ” A mother of a 3-year-old in Van
      In instances where people were not arrested in a work-           Nuys said that when her daughter aged out of WIC nutri-
site raid, families generally had more difficulty getting final        tion assistance, a friend whose daughter still received WIC
paychecks. One Arkansas woman explained that four weeks                regularly brought her extra milk.
after her brother-in-law’s detention and deportation, his                    In some cases, help came from unexpected people. One
employer still had not paid back wages to the workers’ fami-           woman noted that circumstances had prompted a noncusto-
lies. She retained a lawyer because the employer, who was a            dial parent to step up to the plate: “For the first time in thir-
subcontractor for a larger company, wanted to keep the                 teen years, he took responsibility as a father . . . that is, he’s
money for himself and thought that the families would not              taken charge of them and I know that they’re not lacking food,
or could not do anything about it. “The man . . . played               shelter, a doctor, and all that.” Others reported getting assis-
dumb when it all happened because he thought that the families         tance from complete strangers. A father in Arkansas whose
wouldn’t do anything about it . . . He was always a little harsh       wife was detained said that a neighborhood store owner had
because he didn’t want to . . . he wanted to keep their money.”        lent them $300 to help them post bail. “He knows us from
                                                                       when we first got here because we used to go to that store and
                                                                       buy things there and that’s how he met us. We told him about
Assistance from Family and Friends
                                                                       the situation and he didn’t think twice [and gave us the
More than three of every four families in our sample                   money, saying,] ‘It’s all that I have.’ ” Another woman
reported receiving some sort of support from their networks            related how a school counselor had volunteered to pay the
of family and friends. As discussed earlier, this often meant          phone bill for the family so that she could comply with
moving in with friends or family or having others move in              ICE’s requirement that all detainees released with a bracelet
with them to pool resources. One interviewee described her             have a landline.
extended family helping each other by talking, going to                      Informal assistance from friends and family members
immigration appointments together, sharing money for                   was critical in the days and weeks following the raids and
gasoline, and offering each other food. Some families even             arrests, but was not sustainable for those families needing
                                                                                                                                            35

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     assistance for longer periods while they waited for parents to         for here, at the church.” Most of the families interviewed in
     be released from detention or for deportation cases to be              New Bedford received substantial assistance with rent and
     decided. In most cases, the friends or family members pro-             utilities for a period of months from a network of com-
     viding assistance were themselves low income and could not             munity organizations spearheaded by the Massachusetts
     afford to help more than once or twice. Additionally, in               Immigrant and Refugee Advocacy coalition (MIRA), while
     three of our sites—Grand Island, New Bedford, and                      local United Way agencies provided similar assistance for
     Postville—the whole immigrant community was affected                   most of the families in Grand Island.58 However, by the
     economically by the raids and so it was difficult for local            time of our second interview for this study, more than a
     community members to find the necessary resources. One                 year after these two raids, these forms of assistance had
     respondent described how her coworkers made tamales for                ended in both sites.
     her to sell to raise money when she was first detained but                   In Van Nuys, the only other worksite raid, there was
     quickly forgot about her as time went on. “All of my cowork-           little coordinated response by community organizations to
     ers supported me but afterward . . . When this happens they            meet the immediate needs of families. As a result, the assis-
     help you the first few times, ‘We’ll make tamales and you can          tance that families received was limited to food from local
     sell them.’ But further on they start to forget you need [help]        churches and food banks. Six of the 27 families reported
     and you have to find other ways to survive.” Another intervie-         getting this kind of aid. The only institutional monetary
     wee said that after all that her friends had done for her fam-         assistance that families received was from local consulates.
     ily, she was ashamed to ask them for anything else. “I don’t           More than a third of families in Van Nuys received cash
     know. It’s really . . . our friends have, they’re the ones that lent   assistance from the Mexican or Honduran consulates.
     us little by little [the money] for my bail, so . . . we’re ashamed          Families in Arkansas and Miami were far less likely to
     to approach them and ask them for even more.”                          receive any assistance from churches or community organi-
                                                                            zations. No families interviewed in Arkansas or Miami
                                                                            reported receiving such assistance. Without a high-profile
     Assistance from Local Churches
                                                                            raid to draw attention to the plight of the families of
     and Community Organizations
                                                                            arrested immigrants, there was no organized response effort
     More than half of the families we interviewed reported                 to the arrests in either location.
     receiving some type of assistance from a local nonprofit
     organization or a church. These types of organizations pro-
                                                                            Public Assistance
     vided food to almost half of our study families, as well as
     rental and utility assistance to one in five families and cash         As described earlier, food hardship was common in our study
     assistance to one in ten. All of the cash assistance came from         families, and government assistance programs provided cru-
     churches, as did the majority of the food, rental, and                 cial aid for many of them. Many parents said they counted on
     utility assistance.                                                    cash welfare; the Supplemental Nutrition Assistance Program
           Churches and community organizations played more                 (SNAP), formerly known as the Food Stamp Program;59 the
     prominent roles in assisting families in some sites than in            Supplemental Nutrition Program for Women, Infants and
     others. St. Bridget’s Church in Postville provided some                Children (WIC); free and reduced-price school meals; and in
     assistance to all of our respondents, with most receiving              one case, free meals at a child care center. All but 10 of our
     ongoing monthly packages of food, cash, rental, and utility            study families were mixed-status families with unauthorized
     assistance. In fact, St. Bridget’s fully covered rent and utilities    parents and at least one citizen child. If these families received
     for a few dozen families—including most of our sample—                 welfare or food stamp benefits, they were generally prorated
     for more than nine months after the raid there. One                    to include only the citizen children. WIC and school meal
     Postville interviewee said that he was more comfortable                programs are available to all age- and income-eligible chil-
     accepting help from the church than from friends and fam-
     ily. “A relative told me he’d help with anything I needed and          58
                                                                              Capps et al., 2007.
     another friend as well, anything I needed, but . . . you shouldn’t     59
                                                                              Throughout the rest of the report, we refer to SNAP benefits using
     be asking and asking, those one hundred dollars I would ask            their older, more commonly understood name: “food stamps.”

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TABLE 3.5. Receipt of Temporary Assistance for Needy Families and Food Stamps by All Study Families

                                               Less Than 6 Months after Arrest                                                  More Than 6 Months after Arrest

                                          TANF                                  Food stamps                                 TANF                                  Food stamps

     Site                        Yes                   %                  Yes                   %                  Yes                   %                  Yes                   %

     All                           8                 15%                   14                 26%                   14                 27%                   25                 48%
     Grand Island                  –                  –                    –                   –                     5                 42%                    6                 50%
     New Bedford                   –                  –                    –                   –                     4                 40%                    5                 50%
     Van Nuys                      0                  0%                    1                  4%                    0                  0%                    3                 25%
     Postville                     8                 47%                   12                 71%                    5                 45%                    9                 82%
     Miami                         0                  0%                    1                 25%                    0                  0%                    2                 50%
     Arkansas                      0                  0%                    0                  0%                    0                  0%                    0                  0%

Source: Urban Institute surveys of families in study sites.
Notes: Short-term percentages are based on data from 54 households and exclude one interview due to insufficient data. Long-term percentages are based on data from 52 households.
For Grand Island and New Bedford, “–” refers to “not applicable” because these data were not collected for our earlier study, Paying the Price, and are therefore not available for the
current report.


dren, regardless of their citizenship or legal status.                                           In these sites, churches and community organizations
       Receipt of nutrition assistance. Nutrition support pro-                                   developed coordinated response efforts, and state social
grams were the most widely used before the arrests. WIC                                          services agencies were heavily involved. In Postville, a
was the most common. In fact, more than 60 percent of                                            Spanish-English bilingual worker from a nearby Iowa
study families with children under age 5 received WIC prior                                      Department of Human Services (DHS) office had devel-
to parental arrest. About one-quarter of families with                                           oped a good working relationship with the immigrant
school-age children received free or reduced-price lunches                                       community and already had a substantial caseload of
for those children before parental arrest. One mother in                                         Agriprocessors workers and families before the raid. She
Postville said that her two children were better fed during                                      and other Iowa DHS employees came to St. Bridget’s
the week because they got breakfast and lunch at school.                                         Church to screen for eligibility and take applications sev-
On the weekends, they only ate twice a day. After parental                                       eral times after the raid. The regional director of Nebraska
arrest, WIC and free or reduced-price lunch participation                                        Department of Health and Human Services (DHHS), her-
remained largely the same as before.                                                             self a bilingual immigrant, worked hard to connect affected
       Receipt of public benefits. Receipt of Temporary Assistance                               families with public benefits after the Grand Island raid.
for Needy Families (TANF) benefits and food stamps was                                           MDSS was involved in obtaining the release of two dozen
uncommon before arrest but increased somewhat afterward.                                         parents from detention following the New Bedford raid and
Before parental arrest, about one in ten families reported hav-                                  coordinated relief efforts with MIRA and local organiza-
ing ever received TANF benefits. Among families interviewed                                      tions that distributed humanitarian assistance.
within six months of arrest, this proportion had increased to a                                        No families in Arkansas, Miami, or Van Nuys took up
little more than one in seven (table 3.5).60                                                     cash assistance after the raid, including three families who
       Families which had no previous experience with welfare                                    had used TANF at some point in the past. The state and
benefits took up TANF benefits, but only in half of our                                          county social services agencies in these locations were,
sites: Postville, Grand Island, and New Bedford (table 3.6).                                     according to our interviews, uninvolved in any relief efforts
                                                                                                 following raids or arrests and generally disconnected from
60
  While unauthorized immigrants are ineligible for TANF, U.S.-                                   local immigrant communities.
born citizen children are eligible for what is commonly referred to                                    Food stamp receipt was higher than TANF every-
as “child-only” TANF benefits. Child-only benefits are lower than                                where and mostly showed the same pattern as TANF use,
they would be if the whole family qualified, and unauthorized par-
                                                                                                 with the highest use rate in Postville (87 percent). This
ents with children receiving child-only benefits do not qualify for
support services such as child care and employment referral that                                 pattern suggests a stronger connection between state social
other TANF parents may receive.                                                                  service agencies and immigrant communities, as well as
                                                                                                                                                                                          37

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     TABLE 3.6. Receipt of Temporary Assistance for Needy Families and Food Stamps by Previously Unenrolled Eligible Families

                                           Short-Term Interviews (26 Months after Arrest)                              Long-Term Interviews (9–15 Months after Arrest)

                                              TANF                                Food stamps                               TANF                                 Food stamps

        Site                         Yes                 %                  Yes                  %                 Yes                  %                  Yes                 %

        All                           8                 16%                  11                24%                  12                 26%                  23                 50%
        Grand Island                                      –                                      –                  3                  38%                   4                 50%
        New Bedford                                       –                                      –                  4                  40%                   5                 50%
        Van Nuys                      0                  0%                  0                  0%                   0                  0%                   3                 25%
        Postville                     8                 50%                  10                71%                   5                 45%                   9                 75%
        Miami                         0                  0%                   1                33%                   0                  0%                   2                 67%
        Arkansas                      0                  0%                   0                 0%                   0                  0%                   0                  0%


     Source: Urban Institute surveys of families in study sites.
     Note: Nine households in the sample used welfare at some point before arrest and 14 used food stamps. For Grand Island and New Bedford, “–” refers to “not applicable” because
     these data were not collected for our earlier study, Paying the Price, and are therefore not available for the current report.



     greater involvement by these agencies in the response                                             Other families did not apply for food stamps, TANF in
     efforts in these sites.                                                                      particular, because they feared that it would cause problems
          Attitudes, fears, and other barriers to public assistance                               for them in the future if and when they were able to fix their
     receipt. Even though many families sought public assistance                                  immigration status. One mother confided:
     following parental arrest, some of our study respondents
                                                                                                        I’ve always been told that whoever . . . when someone
     expressed a general aversion to public benefits, most notably
                                                                                                        receives a check from the government . . . when you
     food stamps and TANF. Some respondents said they felt                                              want to fix your papers . . . that causes problems. So
     they were already indebted to the government and did not                                           my husband says we’ll only get it when we really need
     want to be a burden.                                                                               it.
           Because my husband was one of those people who pre-                                         Another respondent agreed: “We haven’t wanted to get
           ferred to work, he used to say that he didn’t want to                                  mixed up in that so we don’t jeopardize [things] in the future
           be a burden for this government. We already owe
                                                                                                  if we have the chance to fix our papers.”
           because we owe taxes, we owe hospitals, but we wanted
                                                                                                       Still other families feared that the information they
           to give back. That’s why he struggled so hard. We
                                                                                                  needed to provide in order to receive public assistance could
           wanted to get our papers and be able to work, and
                                                                                                  be accessed by ICE. A Grand Island respondent related
           pay all of those debts because we didn’t want to take
           advantage of this government, and we have bills but                                    the story of a woman who was found by immigration
           we’re going to pay.                                                                    through information she had given to a WIC office. “I’d
                                                                                                  been hearing . . . women talk . . . that they [immigration] had
           Some indicated that their primary motivation in immi-                                  gone to pick up a young girl . . . because of WIC. . . .
     grating was the opportunity to work hard to support their                                    Immigration got her information from WIC.” Another
     families and that they preferred labor to handouts. One                                      respondent was particularly wary of applying for food
     woman stated that she wanted to prove to immigration                                         stamps because both she and her husband had to be
     that she was not looking for any handouts, no matter how                                     fingerprinted as part of the application process.
     difficult things might be:                                                                        Some families reported believing that they risked losing
           I want them to see that I’m not a burden for anybody, I                                custody of their children by signing up for public benefits.
           don’t want to ask for anything, I know people can give                                 One mother in Grand Island admitted that she thought her
           you [things] but I won’t ask even if I’m drowning, even                                children would be taken away if she chose to leave the
           now that I have the water coming up to here, I haven’t                                 United States. “I used to think that . . . at the time that you
           done it.                                                                               went back to your country, they would take your children away
                                                                                                  because you’re receiving help from the government.” Another
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mother thought that she would be surrendering the custody        cases, families had to put away their misgivings about
rights for her son if she applied for aid. “I told them no       seeking aid and apply out of pure economic necessity.
because I was scared that in the long term that . . . maybe it   One mother whose husband had been working a lot of
was something, like I said, my ignorance . . . that they could   overtime to compensate for the income they lost when she
take away my son and my custody . . .” Yet another mother        was detained said, “Seeing myself in a situation where I
didn’t want to enroll in any kind of public assistance           needed to help my husband a little, I wanted to do it.”
because she believed this would give the government the
                                                                                               *****
right to take her children away if she spanked them:
                                                                 The stories described in this chapter detail the economic
    I was afraid. I said no because supposedly if I scold my     hardships that families with children faced after family
    children or spank them . . . This was my thinking, if        members were arrested in a worksite raid or other immigration
    one day I hit them, the government won’t have any            enforcement action. Almost all of the families lost workers
    reason to take them away from me if I’ve never taken
                                                                 in the raid, either because they were detained and deported
    money from them.
                                                                 or because a parent who was released was prohibited from
      Finally, some respondents related confusing or frustrat-   working. Their incomes declined substantially, leading to
ing prior experiences applying for public benefit programs,      increased economic hardship and dependency on charity
especially food stamps and TANF. One mother had applied          and government assistance. A large majority of families
once for food stamps but was very confused, because she was      experienced significant difficulty paying for food and a few
first told she would qualify but was told later that she did     parents experienced hunger. Many families had difficulty
not. The process was so frustrating that she never appealed      paying their bills, and their housing situations, already
the decision.                                                    crowded, became more crowded and unstable. Hardship
                                                                 was prolonged for many families either because it took
    I went to the place and filled out the papers and
    everything, and they told me that they would let me          several months for parents to be released from detention
    know by mail. It was really strange because at               or—in many cases—because attempts to contest deporta-
    the beginning . . . they sent me something and made          tion took months or even more than a year to adjudicate.
    it seem like I qualified, but days afterward, they sent            In the face of extreme economic hardship, in many
    me another notice saying I didn’t qualify . . . and          cases, families pieced together the resources they could to
    that I had to send them I don’t know what . . . well,        provide food and shelter for their children. Well-coordinated
    I went in again, and they said that they                     relief efforts that included links to government agencies
    were going to mail me an answer and finally they             helped provide needed housing, cash, and food assistance
    told me that I didn’t qualify . . . I didn’t under-          in three of the sites—Grand Island, New Bedford, and
    stand . . . I wasn’t going to go in anymore. I didn’t
                                                                 Postville—but in other sites families largely relied on
    like that.
                                                                 informal networks of friends and family members or
     Even with these concerns, many families ended up            fended for themselves.
applying for public assistance after the raids or arrests              The next chapter of the report describes how children
because of their low income, food hardship, and other acute      fared emotionally and behaviorally during these difficult
economic needs. In some cases respondents felt better able       periods following raids and other arrests. Child development
to access benefits because people they trusted (e.g., clergy,    research suggests that, in addition to children’s experience of
social workers, educators, and community advocates) were         their parents’ arrest and detention, the consequences
able to reassure them that receiving the assistance they         described in this chapter—food hardship, housing instabil-
needed and their children were entitled to would not             ity, and prolonged economic deprivation—pose risks to
harm them. Many families in Postville, who depended              children’s development, behavior, and success in school.
primarily on donations from St. Bridget’s Church, felt a         These findings provide the backdrop for the next chapter
responsibility to sign up for public benefits to relieve the     which examines the well-being and behavior of the children
burden on the church and the local community. In other           in these families.


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4. CONSEQUENCES FOR CHILDREN:
   CHILD BEHAVIORS, CHANGES,
   AND ADJUSTMENTS

        his chapter continues to address the second set of research questions, regarding the specific effects of immigration enforce-

T       ment on children, by focusing on changes in children’s behavior and emotional well-being. To describe behavior changes,
        we draw on interviews with parents and other family respondents. In our previous study, Paying the Price, we described
changes in children’s behavior in general terms, but in the current study we consistently documented changes in specific types of
behavior. Based on advice from the child development and methods scholars on our advisory board, we used open-ended probes
that borrow key items from a number of instruments designed to gauge child well-being by documenting instances of externalizing
and internalizing behavior: changes in eating and sleeping patterns, crying or whining, fear, clinginess, withdrawal, anxiety, aggres-
sion, and anger. We focused particularly on children’s adjustment to their parents’ arrest and related consequences, including sepa-
rations of uncertain lengths, economic hardship, housing instability, and continuing uncertainty about their fate in the limbo
period that followed arrests.


Changes in Children’s Behavior                                        our interview. This short-term group includes 133 children
                                                                      from 55 families in these four sites.
Parents in this study reported observing significant behav-
                                                                           The long-term analysis is based on second wave
ioral changes, most but not all of which were adverse, in             interviews in Grand Island, New Bedford, Van Nuys,
their children. Each family had a unique set of circum-               and Postville, more than nine months after the worksite
stances before parental arrest, and there were differences            raids in those locations. Interviews with families that
across families in their arrest and detention experiences, as         had experienced arrests in Miami and Rogers-Springdale
described in the prior chapters. Nevertheless, children in            more than nine months before our visits are also included
each of the sites exhibited significant behavior changes              in our long-term sample for a total of 115 children in
following their parent’s arrest.                                      52 families.
      We organize the analysis below in terms of short-term
and long-term effects. The short-term analysis includes
interviews conducted within six months of parental arrest.
                                                                      Short-Term Changes
These interviews include first wave interviews in two sites           Table 4.1 summarizes the most frequent child behavioral
(Van Nuys and Postville) conducted about two months after             changes described by respondents interviewed in the short
worksite raids and making up a majority of the short-term             term (within six months of a parent’s arrest). Eating and
cases we studied. Also included in the short-term analysis            sleeping changes were the most common effects in the
are some observations from interviews conducted with fami-            short term, followed by crying and feeling afraid. Anxiety,
lies that experienced home raids or arrests by local police (in       withdrawal, and clinginess, while a bit less common, were
Miami and Rogers-Springdale) within the six months before             still problems reported among many of the children.

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     TABLE 4.1. Children Experiencing Behavior Changes in Four Sites (Short-Term Interviews)

        Age group             Eating          Sleeping            Crying            Afraid          Anxious            Withdrawn              Clingy           Angry or aggressive

        0 to 5                 62%               55%                61%               43%              38%                  16%                42%                      36%
        6 to 11                81%               69%                60%               61%              46%                  51%                42%                      37%
        12 to 17               61%               79%                57%               60%              43%                  62%                35%                      34%
        All ages               68%               66%                60%               54%              42%                  42%                40%                      36%


     Source: Urban Institute surveys of families in study sites.
     Notes: The short-term interviews were conducted within six months of a worksite raid or other form of parental arrest. Data were collected on 133 children from 55 families in
     4 sites—Arkansas, Miami, Van Nuys, and Postville. All changes were reported by responding parents or other adult caregivers, and the frame of reference for the changes is prior to
     parental arrest. The percentages exclude missing data and employ different denominators, ranging from 92 to 120 (out of 133 children)




          Children age 6 to 11 exhibited the most frequent                                                Children in our short-term sample whose household
     changes in eating habits. Parents reported that these children,                                structure and primary caregiving relationships changed after
     along with adolescents (ages 12 to 17), became noticeably                                      an arrest were more likely to experience changes in eating,
     withdrawn more often than younger children. The fact that                                      crying, and fear, compared with children whose caregiving
     younger children are less able to express their emotions in                                    did not change. Among children in families that did not
     words may explain these apparent differences to some extent.                                   remain intact, about three out of four experienced changes
          In general, boys and girls responded similarly after their                                in eating habits, about two-thirds began crying, and about
     parent’s arrest with two exceptions. First, girls cried more                                   half exhibited fear. Only about a third of children in our
     often than boys, though nearly half of all boys and male                                       sample remained in intact families (i.e., remained with both
     adolescents also cried in response to their parent’s arrest.                                   their parents or their single parent). Children of intact fami-
     Second, in the few households where children assumed                                           lies also exhibited similar changes, though much less fre-
     additional responsibilities, girls and young women more                                        quently: about half experienced changes in eating habits,
     often stepped in to help their parents.                                                        about half cried more than before, and about a third felt
          Parents reported many instances in which children exhib-                                  afraid. In addition, children of intact families also exhibited
     ited multiple behavioral changes (table 4.2). Children over                                    multiple behavioral changes less frequently than other chil-
     age five exhibited a higher rate of multiple behavioral changes,                               dren. Although parents in all sites reported sleeping and eat-
     which may attest to their ability to communicate and express                                   ing problems and fear in their children, children exhibited
     their feelings more outwardly than younger children.                                           these changes less frequently among intact families, espe-
                                                                                                    cially in Van Nuys where a large number of families were
                                                                                                    reunited on the same day.
                                                                                                          In addition to household changes, children whose par-
     TABLE 4.2. Children Experiencing Multiple Behavior                                             ents were arrested at home exhibited multiple behavioral
     Changes in Four Sites (Short-Term Interviews)
                                                                                                    changes more often than children whose parents were
                                3 or more             4 or more             5 or more
                                                                                                    arrested elsewhere. Since Arkansas and Miami conducted
        Age group               changes               changes               changes                 home arrests, children in these two sites comprised most of
                                                                                                    our sample of children whose parents were arrested at home.
        0 to 5                     57%                   45%                    30%
        6 to 11                    76%                   65%                    48%                 Eleven families experienced home raids, including four in
        12 to 17                   74%                   59%                    44%                 Miami, four in Arkansas, two in Van Nuys, and one in
        All ages                   68%                   56%                    40%
                                                                                                    Grand Island. In almost all cases, at least one child wit-
     Source: Urban Institute surveys of families in study sites.
                                                                                                    nessed his or her parent’s arrest. Although home raids com-
     Notes: The short-term interviews were conducted within six months of a worksite raid           prised a relatively small number of cases in the sample,
     or other form of parental arrest. Data were collected on 133 children from 55 families
     in 4 sites—Arkansas, Miami, Van Nuys, and Postville. All changes were reported by              respondents reported some of the more noticeable and out-
     responding parents or other adult caregivers, and the frame of reference for the               ward signs of children’s behavioral changes among those who
     changes is prior to parental arrest. The percentages exclude missing data and employ
     different denominators, ranging from 92 to 120 (out of 133 children).                          witnessed the arrest.
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Long-Term Changes                                                                             TABLE 4.4. Children Experiencing Multiple Behavior
We returned to Grand Island, New Bedford, Van Nuys,                                           Changes in Six Sites (Long-Term Interviews)
and Postville more than nine months after raids in those
                                                                                                                         3 or more              4 or more             5 or more
locations; several of the families we interviewed in Miami                                       Age group               changes                changes               changes
and Rogers-Springdale had experienced parental arrest more
                                                                                                 0 to 5                     21%                    13%                    8%
than nine months before our visits there. Over time, the                                         6 to 11                    49%                    33%                   28%
number and frequency of parents’ reports of behavioral                                           12 to 17                   48%                    39%                   22%
changes remained relatively high, but they did not become                                        All ages                   36%                    25%                   18%

more severe for most children, and some children seemed to
                                                                                              Source: Urban Institute surveys of families in study sites.
adjust somewhat in the longer term. Some of the more fre-                                     Notes: The long-term interviews were conducted at least nine months after a worksite
                                                                                              raid or other form of parental arrest. Data were collected on 115 children from 52 fam-
quent behavior changes (eating, sleeping, crying, feeling                                     ilies in 6 sites—New Bedford, Grand Island, Arkansas, Miami, Van Nuys, and
afraid, and anxiety) seem to have moderated somewhat by                                       Postville. All changes were reported by responding parents or other adult caregivers,
                                                                                              and the frame of reference for the changes is prior to parental arrest. The percentages
the time of our long-term interviews. But other behaviors                                     exclude missing data and employ different denominators, ranging from 55 to 77 (out
that were less frequent during the short-term (withdrawn                                      of 112 children).

and angry/aggressive behaviors) persisted at the same or
higher levels in the longer term (table 4.3).
                                                                                              ily when compared with children who saw their parents a
     Children over age five continued to be withdrawn more
                                                                                              month or less after arrest. Children separated from at least one
often than younger children in the long term, and children
                                                                                              parent for at least one month were also more likely to con-
age 6 to 11 continued to have frequent disruptions to their
                                                                                              tinue crying in the long term.
eating habits. Girls and young women (rather than their
                                                                                                   The sections below discuss some of the major changes
brothers) usually continued assuming responsibilities at
                                                                                              in children’s behavior and recount families’ experiences. The
home. However, compared with the short term, parents
                                                                                              examples are organized according to the central behavior
reported fewer instances of multiple behavior changes in the
                                                                                              patterns that parents observed.
long term (table 4.4).
     Similar to short-term changes in children’s behavior, the
changes reported at least nine months after arrest were more
                                                                                              Eating and Sleeping Changed Frequently
frequent among households where parents had been detained
                                                                                              in Tandem
longer than a month and where parenting and caregiving
responsibilities changed. Among children whose families did                                   In the short term, families identified disruptions to chil-
not remain intact or were separated longer than one month,                                    dren’s eating and sleeping as the two most common behav-
some behavioral changes continued to be more frequent in                                      ioral changes. Nearly half of the children in our short-term
the long run. For instance, children who did not see their                                    sample experienced changes in eating and sleeping patterns
parents within a month of arrest exhibited more frequent                                      in tandem. These patterns were consistent across age groups
changes in sleeping habits, anger, and withdrawing from fam-                                  (see table 4.1).



TABLE 4.3. Children Experiencing Behavior Changes in Six Sites (Long-Term Interviews)

   Age group            Eating           Sleeping            Crying           Afraid          Anxious            Withdrawn              Clingy           Angry or aggressive

   0 to 5                39%                30%               48%              21%                7%                  17%                 56%                      18%
   6 to 11               56%                46%               52%              35%               35%                  54%                 63%                      56%
   12 to 17              29%                53%               35%              55%               31%                  67%                 38%                      56%
   All ages              43%                41%               47%              33%               23%                  43%                 54%                      41%


Source: Urban Institute surveys of families in study sites.
Notes: The long-term interviews were conducted at least nine months after a worksite raid or other form of parental arrest. Data were collected on 115 children from 52 families in
6 sites—New Bedford, Grand Island, Arkansas, Miami, Van Nuys, and Postville. All changes were reported by responding parents or other adult caregivers, and the frame of
reference for the changes is prior to parental arrest. The percentages exclude missing data and employ different denominators, ranging from 55 to 77 (out of 112 children).

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           Disruptions to families’ daily routines unsettled chil-            basement, and their sleeping patterns changed considerably.
     dren’s regular eating and sleeping patterns. For example, the            Their mother struggled to get them to go to sleep at a regular
     lives of two sisters (ages 7 and 9) in Van Nuys changed dra-             time and sometimes had to resort to punishment. At the time
     matically. Before the raid, their mother and her partner had             of our visit, her oldest was staying up late and would some-
     both worked at Micro Solutions. The mother had quit her                  times leave the house and stay out until 10:30 p.m. The oldest
     job upon hearing rumors of an impending raid and the father              daughter’s eating habits also changed:
     was arrested at the factory. Prior to the raid they maintained a
                                                                                  She stopped for a few days after the raid but it was as
     daily family routine: they would rise early to prepare the kids              a result of what was happening . . . You would tell
     for school and then go to work; in the afternoon the girls                   her, “Do you want strawberries?” And you take them
     returned home and spent time on their homework; in the                       to her but she wouldn’t eat them. And she would
     evenings the family ate dinner and prepared for the next day.                always say, “I’m not hungry” . . . and she was the
     After the raid, the family’s eating patterns revolved around                 same at school. At school, they also told me, “She’s not
     much more unpredictable work schedules because both par-                     eating,” “We’re worried that she won’t eat” . . . I beg
     ents began working odd jobs to make up for the loss of both                  her to eat. I tell her, “Go eat.” She loves peanut butter
     jobs. The girls’ mother said, “We used to have a stable schedule,            and jelly sandwiches . . . and I give her one . . . [but]
     a stable job. Now the girls have to get up earlier because we all            she lost her appetite. She’s not very hungry.
     get up earlier and eat quickly.” The family altered their routine        Despite her mother’s best efforts, the oldest girl’s eating
     to make sure both the mother and father could work when-                 habits remained irregular and she lost weight.
     ever possible, including in the early morning hours. As a                     Children who experienced a change in parenting after
     result, the girls began to get less sleep after the raid. She            arrest often underwent greater loss of appetite and more
     described how these adjustments affected her daughters:                  severe sleep disruptions. Children separated from a parent or
                                                                              caregiver struggled during these periods of great uncertainty
          We don’t have a schedule anymore. Before, we would
          have breakfast at eight in the morning . . . Sometimes              for the family, especially since they did not know if or when
          they don’t eat [at home] until five, after they get out of          their parent would return. For instance, a 2-year-old boy in
          school, and it’s not because we don’t want to eat but               New Bedford was apart from his mother for two weeks. He
          because that’s our schedule . . .                                   did not want to engage with family members who were car-
                                                                              ing for him. “He had a fever,” said the boy’s aunt who took
          As a result of disruptions to families’ daily routines,             care of him. “[He was] sad, very sad. He couldn’t eat. And
     children spent less time with their parents and caregivers.              when the night came . . . even though we’re family, he would
     Children experienced lower levels of the daily interaction               just watch us . . . He didn’t want to play.” In Arkansas, a
     and support they enjoyed and needed from a parent. For                   mother was in detention for three days, long enough to
     instance, the younger daughter in the family described above             unnerve and disorient her four daughters (ages 16, 13, 8,
     had been struggling academically at school before the raid.              and 2). The girls stayed with a family friend who watched
     Her parents’ sustained attention and help with homework                  after them while the mother was in jail. “While they were in
     helped her academically. Amid disruptions in family routines             the house,” the friend said, “they did not want to eat. During
     and absent the support her parents used to provide, the                  the days they spent there, I had to beg them to eat. They were
     daughter’s progress in school eroded.                                    very depressed. They couldn’t sleep because I would wake up at
          Changes in eating and sleeping patterns were also associ-           dawn and the girls were crying.” Even after their mother was
     ated with disruptions to families’ living arrangements and the           released, the family feared going back to their apartment
     increased housing instability described in chapter 3. For exam-          because they were afraid the entire family would be arrested.
     ple, when a father of four children (ages 11, 9, 5, and 4) was           The youngest became so depressed that she only wanted to
     detained in Postville, his partner and their children moved in           sleep. Her mother thought about taking her daughter to a
     with their extended family. As described in the last chapter, the        specialist to see if anything could be done to help the girl.
     children’s mother had to sell the family home because they                    Sometimes fears that drive families to go into hiding
     could no longer afford the payments, to the distress of the chil-        affected children’s sleep and eating patterns. For example,
     dren. After the move, the children lived in their grandparents’          after he was arrested in the Micro Solutions raid, a father sent
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his family to live in a nearby county because he feared ICE            walking episodes almost every night and sometimes woke up
would come to his home. His wife and their three children              in other people’s rooms.
(ages 6, 5, and 3) moved on the day of the raid. The children
left quickly with a few of their belongings. Two months after
                                                                       Crying Regularly
the raid, the children were crying at night on a regular basis
and had trouble sleeping at night. Their father explained,             Children often expressed anxiety about their family’s situation
“They’re afraid. They say that they’re afraid, but when we ask         by crying. Parents and caregivers we interviewed reported that
them, ‘What are you afraid of?’ they say, ‘We’re just afraid.’ We      just over half of the children cried frequently after a family
tell them, ‘Nothing’s going to happen’ . . . [they respond,] ‘But      member’s arrest. Among children who experienced changes in
we’re scared.’ ” The oldest, a 6-year-old, was also bedwetting         eating or sleeping, nearly half also began crying more often. In
immediately after the raid. She had not wet the bed for years.         the short term, a third of all children had problems sleeping
Since the raid, the family has remained separated and the              and eating and were crying a lot—all at once.
children have had less food available to eat. Their father was               Many of these children cried from the anxiety of being
unable to secure steady employment to provide financial                physically separated from their parents and the uncertainty
support for his family.                                                associated with the circumstances of that separation. To illus-
                                                                       trate, three very young children (2 years old and younger),
                                                                       whose mother was arrested in Arkansas, showed signs of
Nightmares and Sleepwalking
                                                                       missing their mother, who had not been home for a week.
While discussing sleeping problems, a few parents described            According to the children’s father, the 1-year-old boy regu-
how their child began having nightmares after their parents’           larly “woke up with eyes swollen from crying so much . . . Last
arrest. In each case, the nightmares persisted more than nine          night, between twelve at night and three thirty in the morning I
months after the arrest. A mother who spent six months in              couldn’t cheer him up. That’s why I missed work, because I spent
detention said her children had not been the same since her            all morning with him and, seeing him crying, I didn’t know
detention. They had trouble focusing at school, and the chil-          what to do.” Their father continued, “I was really sad, and I
dren fought all the time. Her 13-year-old son complained               was crying in my room, and my little girl [the youngest child]
that his 8 year-old sister kept him up at night because she was        came in and saw me and then she started to cry . . . She’s very
having nightmares. A father of two (12- and 3-year-old girls)          young and she’s noticing more or less what’s happening.” His
in Miami was arrested in the spring of 2007 and was                    2-year-old daughter had grown more and more anxious,
deported within a month. Since then, the youngest girl had             biting her nails and acting out as never before.
become physically aggressive. A family doctor told her                       Some children were emotionally sensitive after their
mother that her behavior stemmed from the instability at               parents returned home and started crying in situations
home after her father’s deportation. The youngest girl did             that would not ordinarily have upset them. For example,
not want to sleep in her own bed, began screaming at                   a 7-year-old boy whose father was arrested in Van Nuys
night, and also had nightmares.                                        started crying at school when classmates took his toys,
       In another case, a Postville mother who was arrested and        which he had never done before.
released described how her 12-year-old son had been affected.                Similar to disruptions to sleeping and eating, crying
Right after the raid, her children were afraid to answer the           happened less often over time although it did not disappear
door and became clingy. Her son appeared to be no more                 completely more than nine months after arrest. Children who
traumatized by the raid than his siblings. However, nine               experienced a long-term separation from a parent cried more
months after the raid, she was considering taking him to a             often than children whose parent or family member was
counselor because his behavior had become exceedingly wor-             detained and released on the same day.
risome. “He’s, like, traumatized because sometimes he’s sleeping
. . . he gets up screaming at his uncle [who was arrested], some-
                                                                       Increased Fear and Anxiety
one he loved a lot and he gets up screaming, crying . . . And if you
grab him, he walks and leaves [the house]. Then, when you talk         Parents reported that about half of the children expressed fear
to him, he wakes up from his sleep.” He repeated similar sleep-        and anxiety within the first six months after a parent’s arrest.
                                                                                                                                          45

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     Parents said their children were most afraid of “immigration”     would return to the home. Her mother spent a few weeks in
     and were anxious that law enforcement would come back to          jail. Her mother said, “She made me a note that said that we
     arrest their family. In the short term, feeling afraid was more   should go to another house; that she didn’t want to stay here,
     frequent among children who experienced a change in parent-       that she was afraid that ICE would come here again.” She and
     ing and primary caregiving. In the long term, fear generally      her siblings worried that ICE would take their parents away
     dissipated for most children although it persisted for several    again, as her mother recounted:
     children whose parents were required to wear an EMD.
                                                                            If we get [to school] late, after the time we always pick
          Parents mentioned that some of the older children
                                                                            them up, they worry that we have not gone for them,
     understood the circumstances surrounding their parents’
                                                                            that something has happened, so they have this, for
     arrest, and this fed their fears. In Grand Island ICE arrested         example, the day that [the raid] happened, they all got
     a few people in their homes in the days after the initial              picked up at school late. Very late. In addition, [my
     worksite raid, and many immigrant families went into hid-              daughters] leave school at two forty-five. They got
     ing for weeks after that. An 8-year-old boy whose mother               picked up at school after three thirty. [Ever since, if
     was arrested in Grand Island often worried that immigration            we’re late picking them up, they think,] “Why don’t
     would visit their home:                                                they get here?” . . . Where were we [they say]—that
                                                                            they’re worried that we haven’t come.
         Since my son is older, he understands things well and,
         since [the raid], he’s remained afraid. He always
         [thinks] that immigration is taking people . . . He           Generic Fears of Law Enforcement Authorities
         gets nervous, he starts to cry, closes the curtains and
                                                                       In other cases involving raids by federal agents, children did
         when someone knocks he tells me, “Mommy: immi-
                                                                       not differentiate between local police and immigration
         gration” . . . He sees someone walk by and says,
                                                                       authorities. An 8-year-old boy in Van Nuys who witnessed
         “Mommy, someone went by, hopefully it’s not immi-
         gration.” Yesterday, we were getting ready to go to           his father’s arrest by ICE agents—in the family home, at
         church—and I don’t know what he saw through the               gunpoint—no longer trusted the police. According to his
         window—he said, “Mommy, look, there goes someone              father, “They see the police and they run home . . . Sometimes I
         from immigration. Who are they looking for?” he               go to visit them and, well, I’m there and they come in running
         asked me. He has those moments all the time.                  and shutting the door because they say that the police is com-
                                                                       ing.” A 5-year-old boy whose mother was arrested at the
          A 14-year-old boy whose mother was arrested during           Swift plant in Grand Island also feared both immigration
     the Postville raid exhibited similar fears. His father was not    and the police. “Like it or not, they take notice of all of this—
     arrested because Agriprocessors fired him shortly before the      [everything we say about] immigration, immigration, immi-
     raid, demanding that he return with new identification if he      gration. It’s like they also think that they are bad in the eyes of
     wanted to work at the plant again. The boy was afraid that        the police. [My oldest son] is even afraid of the police . . .
     ICE would come back to Postville to arrest his father. In the     When he sees a police officer, he goes away and hides.”
     words of the mother, who was arrested at Agriprocessors and
     then released, the boy “sometimes says that he’s afraid. My
                                                                       Increased Clinging and Attachment
     husband was working and [some people] said that immigra-
     tion was in Waterloo [a nearby town] and that they had taken      In the short term, roughly one third of the children
     people. He started to cry and said, ‘I hope God doesn’t want      responded to a family member’s arrest by a steady desire for
     [my father] taken away because I don’t want him to leave.’ ”      attention or a compulsion to be constantly in the presence of
     Rumors swirled in the community that ICE would come               their parent or family. In some cases, children became very
     back for workers who were at home at the time of the raid.        clingy toward their parents and often hesitated to be apart
     After the raid, fears of a second wave of arrests gripped         from their family or to open the door to their home. In New
     many families.                                                    Bedford, a 2-year-old boy seemed initially not to recognize his
          A 14-year-old girl whose mother was detained during a        mother when she was released after spending four days in
     home raid in Rogers, Arkansas, was afraid that officers           detention. After their reunion, he was perpetually at her side.
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    He’s more attached to me . . . The day I was released . . .    he would do is put his bookbag down. He would leave it and go
    when I opened the [car] door and he saw me, it was             outside with [a neighbor]. After the raid, he just sleeps.”
    like he was scared to see me. I don’t know what he                   A mother whose husband was arrested and detained for
    thought. I know that he was scared . . . he started to         three months in Arkansas mentioned that their oldest son
    cry, to cry and to reach for my husband’s arms. Then,          (13 years old) began withdrawing from the family. “He iso-
    when I told him . . . that it was me, that is, his mom,        lates himself a lot; he almost doesn’t come around with us.” She
    then it was like he kept looking at me . . . Then he           attributed this to her son having a difficult time coping after
    hugged me right there and he started to cry and, well,
                                                                   being apart from his father for so long. The boy withdrew
    he hugged me hard and he just said, “Mommy” . . .
                                                                   from everyone except his 15-year-old cousin—whose father
    But it was just that moment, since then he has always
                                                                   was also detained—as they were lending each other support.
    been attached to me.
                                                                         In another example, three brothers became withdrawn
      Clinging to parents was also evident in cases where a par-   after ICE arrested their mother and her partner, whom the
ent was released on the same day as their arrest. After the sin-   boys treated as their father. The children’s biological father
gle mother of two girls (6 and 2 years old) was arrested and       had not been involved with the family for years, and the boys
released the same day, the girls became excessively clingy. The    had become very close to their mother’s partner. The mother
girls grew up in Postville and were used to going to the park      was released on the day of the raid, but her partner remained
and walking around town with their mother. After the raid,         in detention for five months and then was deported. The
both clung closely to their mother when a police car drove by      children were told that he had left to find work and that he
their home and hesitated to leave the house. Almost immedi-        would return soon. They did not find out that he had been
ately after the raid, as she became clingier toward her mother,    detained until much later. His absence affected the boys
the older girl also began asking questions. The girl was too       deeply. The youngest (4 years old) would not talk to anyone,
young to understand the full consequences of the raid, but she     and the middle child (5 years old) kept to himself most of the
wanted to know what had happened. “She understands,” her           time after the raid and spent a lot of time in his room. The
mother said about her inquisitive daughter.                        oldest (13 years old) became very quiet and withdrawn until
                                                                   he was able to reconnect with his mother’s partner:
    She says, “Tell me the truth. I don’t want you to lie
    to me. Don’t cry anymore because we’re with you.                    He was sick from depression because he was very
    Nothing happened to us but nothing happened to you                  sad . . . and he would tell me, “Don’t talk to me”
    either, right?” I told her, “No” . . . I told her I was fine        and he was like that for almost an entire month.
    and not to worry, and I told myself that she would                  Now [that happens] less because they talk to my
                                                                        partner by telephone and . . . we talk with him
    forget about questioning me.
                                                                        sometimes once a week.

                                                                   Nearly nine months after the arrest, and after the mother’s
Withdrawing
                                                                   partner was deported, the middle child grew more distant,
While some children became increasingly clingy after the           and his mother described him as being “distracted” and less
raids, nearly half of all children—and more than half age 6        affectionate than he used to be before the raid.
and older—showed signs of withdrawal within months of                    In some cases, older children continued to withdraw
their parents’ arrests. As their parents recounted, some were      after their parents were released and returned home. For
anxious and worried about being arrested, having to move           instance, an Arkansas mother was arrested in her home by
to another country, and not knowing what might happen to           the Rogers police. Before the arrest, the mother was able to
their family.                                                      talk to her daughter, especially when something was wrong
     Signs of withdrawal were more common among older              or when the girl would misbehave and talk back rudely. Her
children. In a typical example, an only son who was 7 years        mother said, “Before I used to say, ‘Watch how you talk to me’
old withdrew from others and lost his appetite after his father    and that was it. [My daughter would reply,] ‘Okay, mom,
was arrested and held in detention for six days before being       sorry.’ ” After the arrest, the girl’s mother found it very diffi-
released. Before the raid, the boy was active and energetic.       cult to talk to her daughter, who spent long periods of time
His father said, “When he got home from school, the first thing    in silence and told her mother that nothing was wrong. The
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     mother lamented not knowing how the arrest had affected              his mother used to charge her monitor out of the wall. “To
     her daughter. In addition to being more reserved, the girl           begin with,” his mother said, “he didn’t listen much but ever
     began to shout back when her mother would try to ask her             since that day he’s gotten worse. He’s more violent and throws
     what she was thinking: “Shut up! Don’t talk to me!” Her              stuff on the floor and hits himself. Sometimes he pulls the thing
     mother worried she had lost touch with her daughter, whose           from my foot. But I can’t explain it to him because he won’t
     behavior was growing increasingly aggressive.                        understand.”


     Aggression and Rebellion                                             Speech and Other Developmental Difficulties
     Anger, aggression, or rebelliousness were reported for one-          In addition to the behavioral changes described above, some
     third of all children in the short-term sample, though the           parents of young children (under 6 years old) voiced concern
     way parents described the behavior differed according to             about related changes in their children’s development and
     the child’s age. Parents of younger children described how their     speech patterns. For example, a 3-year-old who witnessed his
     children began lashing out angrily, while parents of older           mother’s arrest in the family’s home underwent a dramatic
     children said their children had become disobedient or less          reversal in developmental milestones. Before the arrest, he was
     respectful. Angry behavior toward others, for some children,         a well-adjusted young boy who had begun learning to feed
     also became a way to voice their frustrations or redirect their      and dress himself. His mother said the boy took great pride in
     outrage after their parent’s arrest.                                 getting ready in the morning and making sure that his shoes,
          Children’s anger was often directed toward other chil-          shirt, vest, and hair all came together just right. Immediately
     dren. A mother in Arkansas said that her 11-year-old daugh-          after the raid, his mother described a boy whose behavior and
     ter would get angry before the raid but had become very              demeanor changed almost completely. The boy became very
     temperamental since then. “She doesn’t want us to say any-           clingy toward his mother and no longer wanted to do things
     thing to her . . . she’s almost come to say that we don’t love her   for himself.
     because we don’t let her go wherever she wants.” She quarreled
     with her siblings and cousins more often, and with less                   Before this happened, I had bought him a trainer
                                                                               [toilet] and he sometimes used the trainer to pee but
     provocation than before.
                                                                               not anymore. He doesn’t want to go. He goes around
          In Iowa, a 4-year-old boy, who had both parents
                                                                               saying that he has to pee and I take him, and he cries
     arrested and one kept in prolonged detention, began quar-
                                                                               and cries and cries and doesn’t [use the trainer].
     reling with his older brother:
                                                                               Before, he would go to the kitchen table on the bench
          Before, they played fine, but not anymore; sometimes                 and would say, “Give me milk with a straw, milk
          they fight. I don’t see them being closer; instead, well,            with a straw” . . . He used a bottle but he wasn’t as
          we used to support each other and when something                     attached to the bottle—before, he only used it in the
          would happen my husband would tell them, “Don’t                      morning and at night, and now he uses it all day. He
          fight” and now they don’t listen and when the little boy             sometimes doesn’t want to eat his food . . . Sometimes
          fights with the older boy he says, “I want my daddy,”                I give him a bowl of soup, and [he says,] “I don’t
          and I don’t like it.                                                 want soup, I want my teta [bottle].”

          In Miami, a 3-year-old girl whose father was arrested and            The boy refused to dress himself and, for the first time,
     deported began acting out. She kicked other children, talked         would often run around the apartment wearing nothing but a
     back to her mother, and frequently got angry. Her mother             diaper. His older sister, by contrast, withdrew while the son
     was surprised because the girl had never behaved that way            begged for attention all the time and acted out (e.g., throwing
     before. A 2-year-old boy in Miami whose mother was arrested          the television remote control in the garbage, breaking things
     at home and fitted with an EMD on her ankle also started             in the apartment, putting keys in the microwave) when he did
     behaving more aggressively, and his anger appeared directed          not get attention. Such a regression in terms of toilet training
     toward the ankle bracelet. When she charged her bracelet             and dressing worried his mother.
     for two hours each day, her son tried to be patient but soon              A few parents also noted increased difficulty in speak-
     wanted his mother’s attention. He sometimes pulled the cord          ing in their children. For example, a 5-year-old girl and a

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4-year-old boy whose fathers were arrested at Agriprocessors               However, many parents noted that their children were bring-
and detained for months both developed speech problems.                    ing home stable or improving report cards.
The girl stuttered slightly before the raid, but this worsened
after her father’s arrest. Her mother said, “She talks with a
                                                                           Schools as Safe Havens
little bit of a stutter . . . I’ve noticed that she started doing it
more . . . She gets stuck trying to say a word.” After her father’s        Schools provided stability and a safe haven for many stu-
release, her mother said her stuttering was not as notice-                 dents, which helped children adjust to life after their parents’
able. The boy, on the other hand, developed a stuttering                   arrest. Parents and school officials both agreed that most
problem after the raid. He stuttered especially when he was                children benefited from support and guidance at school. In
afraid, at which point he ran to his mother’s side and                     New Bedford, teachers emphasized that students affected by
clenched her hands.                                                        the raid were well behaved and voiced concern about the
      In another case, a 4-year-old girl had a speech delay that           instability they experienced at home. One educator said,
her mother believes stemmed from witnessing years of domes-                “They might be thriving in school but it’s difficult to survive in
tic abuse. Her mother left the abusive boyfriend, and he                   general.” Teachers and administrators in Postville voiced sim-
became enraged and turned her in to immigration authorities.               ilar concerns and worked to make sure students returned to
Authorities left the abusive boyfriend in charge of the children           school and received support services such as counseling. In
while their mother was in detention for more than two weeks.               Springdale, Arkansas, teachers and administrators worked
When she was released, the girl began to have intensified                  closely with students who feared that their parents would be
speech problems. Her mother said, “Since she was a little girl,            arrested, and the staff described how siblings comforted and
she never spoke perfectly well but as a result of all of this [i.e., her   looked after each other following a wave of arrests. An
arrest, the order of removal, and a two-week stay with the                 immigration-related arrest in front of an elementary school
abusive boyfriend], it’s like she went through a reversal in how           stoked the children’s fears, but administrators and teachers
she talks.”                                                                responded quickly to calm children and allay parents’ fears.
                                                                           This rare event only reinforced the school district’s resolve to
                                                                           assure parents that schools are safe havens.
School Behavior and Performance
In addition to asking parents about changes in their chil-
                                                                           Missed Days
dren’s behavior at home, we asked them to discuss their chil-
dren’s performance or behavior at school. Two-thirds of the                Despite efforts by school officials to keep children in school,
children in our sample were enrolled in school when we                     parents in each of the sites were initially wary of going outside
interviewed their parents. Approximately one-tenth were                    and hesitated to send their children back to school. Many stu-
enrolled in an early education program (Head Start, pre-                   dents missed at least a few days of school after their parents’
kindergarten), three-quarters in elementary or middle school               arrests. Two kindergarten students, a boy and a girl, in two
(kindergarten through 8th grade), and the rest in high                     different Postville families missed school after their mothers
school. The analysis below relies primarily on parents’ obser-             were arrested. Like their siblings and other students in town,
vations about their children’s experiences in school, obser-               neither attended summer school as they had planned to do
vations which are more limited than those at home. The                     before the raid. The boy was afraid to be apart from his
descriptions below also rely on interviews with teachers                   mother and preferred to be home. The boy’s mother told us
and school administrators in three sites (Postville, Rogers-               how her children had grown fearful.
Springdale, and New Bedford). We obtained attendance and
                                                                                They’re afraid. They’re also afraid of going outside and
academic performance data for 26 elementary school chil-                        even going to school. They missed a week. “We don’t
dren in Postville, but we have no school data for children in                   want to go, mom. [What if] they take us from the bus?”
any other sites.                                                                . . . “No,” I tell them, “they won’t do anything to you.”
     In general, parents viewed schools as safe havens, though                  It’s very difficult . . . I’ve sent them to study. Their
some students missed days of school, struggled to maintain                      teacher [sent for them] on Tuesday and they’re
their academic performance, or started misbehaving at school.                   studying [at school].
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          The girl’s day-to-day routine changed so much that she                Almost a year after the Postville raid, the boy’s grades
     said she did not feel like getting up in time for summer              fluctuated with his mood. When he could set aside what
     school. Their mother said,                                            happened to his family, his grades improved. His mother
                                                                           said, “There are times when he doesn’t think about what’s hap-
         They don’t want to go to summer [school]. They sleep
                                                                           pening to us and he gets [his grades] up and there are weeks or
         late—eleven, twelve, one in the morning and they’re
                                                                           semesters when they go down . . . And, well, I can’t help him
         still [awake], which is a change for them; it wasn’t
         like that because they would leave for school [in the             either because I don’t understand what it’s all about.” Some
         morning]. They would go out to have fun. Not                      other students who missed days of school also had problems
         anymore. They stay in the house.                                  keeping their grades up within the first few months after
                                                                           their parent’s arrest.
          The two unrelated children initially lost interest in                 A few older students sometimes dropped out of school
     school. Both mothers eventually left the country with their           altogether following a parent’s arrest. Two high school stu-
     children while their husbands—neither of whom was                     dents started missing school after their mother was arrested at
     arrested—remained in the United States.                               Micro Solutions. The mother tried to convince the girls to
          Some parents kept their students out of school when              keep attending, but they eventually stopped going altogether.
     scrambling to deal with the consequences of arrest. Reeling           One of her daughters was close to finishing school. According
     from the shock of her husband’s apprehension in a worksite            to the girl’s mother, “She had already passed her exam . . . [col-
     raid, a mother in Arkansas kept her two school-age boys out           leges] were already calling her by telephone . . . [because] they
     of school for 20 days. The children moved from house to               saw that she was a good student . . . [saying] that they were going
     house during those three weeks. Their mother was afraid to            to help her and that, but, well, everything came down after that
     send them to school because the arrest made local headlines,          day and they did not want to go [to school] . . . they told me,
     and she did not want her children to be taunted. Her                  ‘We don’t want to go’ and ‘Not anymore.’ ” Two months
     mother recalled interactions with the school:                         after the raid, the girls stayed home to be with their mom
         My sons missed a lot of school. And I sent my niece to            and their 4-year-old brother.
         tell the school that my son had not gone to school for                 As time passed, most parents sent their children back to
         some days, and the secretary said that . . . they were            school. At school, many students received support from
         going to fail him because he had missed a lot, but my             teachers, counselors, and after-school program coordinators
         niece said that the principal came out . . . and that he          that provided them with stability.
         heard the name and that he said, “No,” he said, “I
         know what problems he’s going through,” and they
         supported him.                                                    Behavior Problems

          In this case, the school continued communicating with            Some children exhibited behavioral and emotional changes in
     the family to ensure the children returned to school once             the classroom, according to both parents and educators we
     their living arrangements and home life became more stable.           interviewed. In these instances, students had difficulties focus-
          Some students struggled to achieve consistently good             ing at school across all ages. For example, after attending an
     grades and contemplated skipping school to start working.             immigration court appointment at which authorities placed a
     A 7th-grade boy decided to skip summer school and told his            monitoring bracelet on her mother’s ankle, a girl started pay-
     mother he wanted to look for a job instead. His mother                ing less attention and lost focus in her pre-kindergarten class.
     recalled,                                                             The 5-year-old would drift and, according to her teacher, go
                                                                           to “La La Land.”
         My oldest did not want to go [to summer school]                         Another 5-year-old girl also experienced problems paying
         anymore, he went last year but he didn’t want to this             attention after her mother was arrested at a worksite raid. Her
         year, because he tried to go see at McDonald’s if they
                                                                           teacher noticed major changes. According to her mother, the
         couldn’t give him some hours to work . . . but since he
                                                                           girl’s feelings of sadness had extended into the classroom:
         is only 15 years old they told him no and he got really
         sad, almost wanting to cry and he told me, “It’s too bad               She is really sad at school . . . her teacher says that she
         that they didn’t want to help me.”                                     sometimes sees her, well, sad and that she doesn’t want
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     to pay attention to what she’s doing . . . and she gets               Her mother’s encouraging words were meant to trans-
     home and tells me that she has a lot—a lot of sadness in          form difficult times into an opportunity to teach her daughter
     her eyes, she tells me. And I tell her, “And why?” and she        about life’s challenges.
     tells me, “Because I know that they are going to take
     you, mommy, I know that the police is going to take you
     and I don’t want it,” she says, “I don’t want it,” she says,      Declining School Performance
     “and if we go, don’t leave me here, don’t leave me here.
                                                                       Within the first six months after their parents’ arrest, stu-
     I want to go with you.”
                                                                       dents’ study and work habits began to change and children’s
     More than a year after the raid, the girl had started biting      academic performance started to suffer. In the short term,
her nails at school, although not at home. When her teacher            about one in five students in the sample could not keep up
asked her what was wrong, she said that her mother was going           their grades, according to their parents. A 2nd grader in
to be taken away and she would start crying.                           Miami, whose father was arrested in their apartment and
     A 9-year-old girl whose mother was detained for five              deported, was no longer doing his homework five months
months became rebellious at school in her mother’s absence.            later. The boy’s teacher called to tell his mother that he was
A family member said, “She didn’t want us to tell her how to do        failing and might have to repeat 2nd grade. A case detailed
things . . . She began to have a very aggressive attitude toward her
                                                                       earlier in this chapter described a student who struggled with
teachers.” Her report cards reflected a steady decline, and she
                                                                       changes in the family routine in the first few months after a
stopped participating in class as she had done before.
                                                                       raid. The ongoing disruptions in her family’s life continued
     School officials in Springdale and Postville mentioned
                                                                       to unhinge and dampen her day-to-day routine:
that students who began rebelling were often responding to
the absence of a parent. For instance, a 3rd grader’s misbehav-            She was a little behind but we had to punish her . . .
ior began to worsen after he was separated from his mother,                because she is very—it’s not that she doesn’t know but
who had been detained at Agriprocessors and spent five                     that she doesn’t want to do . . . Everything that’s hap-
months in four different jails across the country. He banded               pened has a lot to do with it because, like I said,
together with a group of children at school, and they proudly              instead of sitting down to study with them, instead of
and defiantly referred to themselves as the “bad kids.” His                sitting down to talk with them, to go to the park, well,
teachers expressed concern about the boy. When his mother                  no, we have to leave them with someone to go work.
was released, she noticed that he was disobedient. “He was                 We have to leave them overnight.
always mischievous,” she said nine months after the raid, “but              Students had difficulties keeping up their grades in the
now he became more—he got a piercing to wear an earring . . . I        long term about as often as they did within the first six
took out the earring, I scolded him, and I said, ‘Just watch out if    months after their parent’s arrest. For example, nine months
you start leaving [the house].’ ”
                                                                       after the Postville raid, a 10th grader asked her mother why
     An 8th-grade student also exhibited outward behavioral
                                                                       she should continue studying if they are going to be sent
problems. She had generally excelled in school before her
                                                                       away. Her mother recounted, “She does pay attention to her
mother’s arrest, and while she continued to perform well
                                                                       studies but a lot less.” As of the spring of 2009, the family
academically, she began crying a lot at school. Her mother
                                                                       remained in Iowa waiting for her mother’s court date sched-
recounted her daughter’s disobedient behavior at school:
                                                                       uled toward the end of 2009, almost a year and a half after
     In her mind, anything was better than whatever                    the raid.
     her teacher was talking about. She started talking
     back . . . she became kind of aggressive . . . Everything
     affected her at once. Then we talked and she was the              Academic Resilience
     one who cried the most, not even the little one cried as
     much as she did. And I would tell her, you have to be             Some parents in our sample noted stable or improved aca-
     very strong, that’s how life is and you’ll learn from this        demic performance among their children. For example,
     because you never know what will happen to you,                   educators in New Bedford mentioned that students’ aca-
     learn to cherish and to mature from your experiences              demic performance remained generally stable. Similarly,
     because it’s going to hurt a lot.                                 school officials in Postville and Springdale noted that most
                                                                                                                                        51

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     students were performing at the same level as they were               left Postville to look for work, and their uncle had been
     before the arrests.                                                   deported.
            Even students who struggled at first were able to recover
     their academic performance in the long term. For instance,
                                                                           School as a Beneficial Routine
     two months after the raid in Van Nuys, a mother worried
     that her daughter might drop out because the girl would say           Some younger children in our sample appear to have benefit-
     she did not see the point of graduating from high school if her       ted from the routines provided by preschool and kinder-
     mother was going to be deported. A year later, the daughter’s         garten classrooms. For example, a 4-year-old girl started
     grades improved after an initial slump and she began doing            pre-kindergarten soon after her mother was arrested in Van
     better than before the raid. The mother proudly said that her         Nuys. School became an outlet for the girl, who was a bit
     daughter wants to succeed.                                            quiet and shy in the classroom but learned a lot and made
            In another example, after an initial drop in her children’s    friends easily. One year after the raid, the girl was well
     grades, a mother in Arkansas saw an opportunity to encourage          adjusted and had become less clingy. Two siblings enrolled in
     them to do better at school. She recalled that their grades           Postville’s Early Head Start and Head Start programs stayed
     “came down, they came down a lot but I talked with them and           in summer school after the raid. Attending school allowed
     I told them to do their best, because when I would go before the      these children to have a daily routine at a time when many
     immigration judge, the judge would say . . . ‘These children don’t    things were changing, including the prolonged detention
     even do their part, why should I let you stay here?’ So we have all   of their father and a change of residence. A mother of a
     tried to lift ourselves up.” Her children (in 3rd, 6th, and 10th      kindergarten student in Van Nuys had feared that her son
     grades) all made improvements.                                        would have trouble at school, but her son did well. She said:
            In Postville, several elementary and middle school stu-            School is what surprised me. I thought the boy would
     dents in our sample made efforts to maintain or improve their             be doing badly but no. The teacher told me, “Look,
     grades. Two children (3rd and 5th grades) missed a week of                since that time [since the raid], the boy—” I said,
     school after their mother’s arrest. She encouraged them to try            “Well, he’s fallen,” the teacher said, “No, he’s progress-
     harder and not give up on school and told them, “You have to              ing a lot.” And I thought the teacher was going to tell
     go . . . it’s a moment when they will go and distract themselves a        me that [his grades] fell. “Look,” the teacher said, “he
     little, they will take their mind off of this.” Nine months after         has dedicated to learning a lot of words . . . he dedi-
     the raid, the younger child maintained a B average, and her               cated himself and he knows them.” [I said,] “Well,
     older brother’s report card improved dramatically from a                  teacher, it seems strange to me, I thought he was bound
     C average to better than a B+ average. Similarly, a girl in               to fall.” But the teacher told me, “No, it’s been the
                                                                               opposite since [that time] until now.”
     5th grade at the time of the raid improved her grades.
     Nine months after the raid, an 8th-grade boy in Postville was              A kindergarten student was able to adjust at school
     taking some high school classes and earning an A in nearly            despite many changes since the Postville raid. He was enrolled
     every subject. His steady improvement came after an initial           in Head Start before the raid, which allowed him to get
     period of disillusionment when he withdrew from school                acquainted with school and meet other students. After his
     activities and friends. Near the end of the 2008–09 school            mother was arrested, the family prepared to move back to
     year, he had joined the band and the basketball team and              Mexico because they expected her imminent deportation. The
     was poised to skip a grade. A family member said, “It was             5-year-old boy spent four months in Mexico before returning
     really complicated but now . . . I think that [school] is like a      to the United States after his mother was released.
     refuge for him. I don’t know if it’s to forget everything that has    Remarkably, nine months after the raid, he was doing well
     happened or to make sure that his mother’s sacrifice is worth it.     and his report card reflected some improvement despite the
     I don’t know but, well, it makes him feel good.” Three siblings       hectic events following his mother’s arrest.
     (in 5th, 6th, and 8th grades) were averaging near or above a               Some older children also demonstrated an ability to
     B+ through most of the 2008–09 academic year, despite                 focus on their school life and perform well in the face of
     ongoing behavioral problems at home and being apart from              tremendous stress. A high school student in Arkansas was
     their father and uncle. Their father was not arrested but had         doing well in school and excelling in sports. Despite years of
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domestic abuse and his mother’s pending deportation, the           term, children who were separated from their parents due to
boy focused on school. His mother was proud that he was            detention or deportation seemed to have experienced particu-
doing well, even as she struggled emotionally:                     larly severe effects. Children whose parents were arrested at
    Before having these problems . . . I was different . . .       home in front of their children also exhibited drastic changes.
    happier, and now, well, lately, people tell me,                      In the long term, more than nine months after parental
    “What’s the matter? You’re, like, really sad” . . . it’s       arrest, the frequency of children’s reported behavioral changes
    like they ask to be foolish, knowing that it’s impossi-        fell somewhat but remained common. While the frequency of
    ble for me to be well in the situation that I’m in . . .       changes related to eating, sleeping, crying, and feeling afraid
    right now, I only go to take my two children and the           had declined modestly, at least 40 percent of children in the
    oldest one to school . . . right now, he’s doing very          long-term sample still exhibited each of these behavioral
    well in school. In sports, things are going very well, in      changes. Withdrawal and aggression were especially persistent
    high school, and . . . I don’t want to move him. And           and troubling for children who were separated from their
    my sister tells me, “Well, in the meantime, leave him          parents for long periods.
    with me.”
                                                                         Children in the sample displayed both positive and nega-
                              *****                                tive changes at school. Many children experienced disruptions
Parents in our sample observed substantial and wide-ranging        in school in the short run, including missing days of school as
behavioral changes in children following parental arrest, deten-   well as behavioral and academic problems. However, many
tion, and deportation. A majority of the children in the study     parents and teachers also relayed positive stories about chil-
displayed changes in such basic areas as sleeping, eating, and     dren’s long-run adjustments and the schools’ role in offering
controlling their emotions. Parents of more than half the chil-    stability and structure. Schools were generally safe havens for
dren reported that their children cried and complained about       children (and often parents) in four of our sites (Grand
being afraid after the raid. Many children displayed increased     Island, New Bedford, Postville, and Rogers-Springdale), but
anxiety and were more withdrawn, clingy, and aggressive.           we were unable to collect sufficient data on the other two
These behavior changes apply to children with parents arrested     sites. Students appear to have benefitted from school routines
in worksite raids, in home raids, and during routine police        and the support they received from teachers and school per-
operations. Behavioral change symptoms coexist for many            sonnel at a time when their lives at home were unstable. As
children in the sample, with more than three of five of the        we detail in the next chapter on community impacts, schools
children exhibiting three or more behavioral changes, and two      in these four sites went out of their way to continue welcom-
of five exhibiting five or more behavioral changes. In the short   ing students, educating them, and keeping them safe.




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5. COMMUNITY RESPONSES TO
   RAIDS AND OTHER ARRESTS

       reviously in this report we described the enforcement activities that took place in our six study locations and their impacts

P      on families and children. Our study communities were selected to reflect a diversity of settings: a small town in rural
       Northeast Iowa (Postville), a medium-sized city in rural central Nebraska (Grand Island), two medium-sized cities together
in a rural-urban area of Northwest Arkansas (Rogers and Springdale), a medium-sized city near Boston (New Bedford), neighbor-
hoods in a one of the nation’s largest cities (Miami), and a suburb of the nation’s second largest city, Los Angeles (Van Nuys).


     In this chapter we present our findings regarding the           Community Response Efforts
community responses to worksite raids and other enforcement          in the Study Sites
activities, and how these responses helped ameliorate impacts
on families and children. We seek to answer the central              Grand Island
research questions we developed about community responses:           Grand Island is one of the three sites we included in our
  䡲 How were community responses (both public and pri-               2007 study Paying the Price, and short-term response efforts
    vate) implemented in the sites, and what kind of                 are also described in that report. On the morning of the
    response models were developed?                                  raid, December 12, 2006, ICE notified the Grand Island
  䡲 What lessons can be learned from the sites about how             chief of police who in turn notified government institutions
    to deliver assistance to affected families and children?         including the Nebraska DHHS and the Grand Island public
  䡲 What were the successes and challenges of the institu-           schools. Subsequent rapid communication to community
    tions providing assistance?                                      leaders resulted in the mobilization of the Grand Island
                                                                     Multicultural Coalition (MC), which consisted of over
     Our findings primarily come from our interviews with            20 CBOs, churches, DHHS, and the public schools. The
community respondents—local government officials, law                MC organized and conducted a meeting the day after the raid
enforcement officers, service providers, and faith-based and         to develop a coordinated response.
other community leaders. As with our interviews of parents,               Many of the response efforts focused on meeting the
our community-respondent interviews in the four sites—               immediate material needs of affected families. Swift gave
Grand Island, New Bedford, Van Nuys, and Postville—                  $62,000 to the local United Way (an MC member) for relief
occurred at two points in time: within six months after the
                                                                     to families whose members were detained in the raid.61
raids and nine months or more after the raids. The inter-
                                                                     Churches conducted fundraising and food drives, and pro-
views in the other sites—Miami and Rogers-Springdale—
                                                                     vided sanctuary and food to affected families. There was also
occurred at single points in time.
                                                                     significant assistance from the United Food and Commercial
     As in our chapters describing impacts on families and
children, we focus here on both short- and long-term
response efforts in our study communities. One of the                61
                                                                      Swift donated several hundred thousand dollars to the United
important themes we discuss is the extent to which response          Way to assist arrested workers across all six company plants that
efforts are sustainable over time.                                   were raided on December 12, 2006.

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     Workers (UFCW), as the plant was unionized. Just after the         drew curtains, and refused to open the door for neighbors and
     raid, public service announcements on Spanish language             trusted community members. Residents also reported that a
     radio and in the newspaper provided information about              number of Latino local businesses suspended operations tem-
     services available to affected families.                           porarily as their customer base dwindled. According to school
           The Grand Island public schools acted immediately            officials, about 275 Latino public school students—most, but
     through a coordinated effort led by the district superinten-       not all, from immigrant families—failed to report to school in
     dent. Principals and teachers were briefed and a plan was          the days following the raid.
     implemented to protect the safety of the immigrant students.             Church and school officials reported conducting out-
     The superintendent announced that the schools would be             reach, going door to door to draw families out and reassure
     safe havens, and within a few days parents trusted the schools     them that schools were a secure place for their children.
     enough to send their children back. The local public health        Representatives from churches, schools, and CBOs reported
     department and the DHHS provided access to services for            that even with this outreach, they had difficulty getting
     families, including welfare, food stamps, and health benefits      some to open their doors to receive basic assistance such
     to eligible applicants.                                            as food baskets.
           While not a member of the MC, the Grand Island                     During our first visit six months after the raid, in spring
     police chief declared publicly that his department was not         2007, the Swift plant continued to have difficulty replacing
     connected to the raid and did not support it. The mayor of         lost workers. Somali immigrants moved into the community
     Grand Island and state elected officials made no public state-     to fill jobs vacated by the Latino community, but many
     ments about the raid.                                              left after a short time for better employment opportunities
           Grand Island had no experienced immigration attorneys        elsewhere. Schools secured funding to add social workers
     before the raid, and this opened the door to notarios—notary       through a federal grant, allowing them to provide counseling
     publics who posed as immigration consultants—who report-           and other services to help children acclimate to the post-raid
     edly provided misinformation to unwitting immigrants.              environment.
     After the raid, UFCW and the Mexican consulate contacted                 By the time of our second visit in spring 2008, more
     lawyers in the state capital of Lincoln and the state’s largest    than a year after the raid, a number of families had moved
     city of Omaha.62                                                   elsewhere in the United States to seek work or had returned
           Roughly three-quarters of the money from the Swift           to their home countries following deported or voluntarily
     fund was disbursed in the first six months. The United Way         departed family members. Since a large majority of arrested
     imposed strict accounting and proof of eligibility on the          immigrants were deported or left voluntarily right after the
     funds, limiting the assistance to families that included an        raid, some families found themselves separated for pro-
     arrested immigrant. Central Nebraska Community Services            longed periods. The Mexican consulate provided assistance
     (CNCS)—a local United Way agency—was the main                      to some of the families who chose to return to Mexico.
     provider of assistance for housing, food, medical bills, and       There was little cash assistance, with just $9,000 in funds
     other daily living expenses. CNCS served more than 100 fam-        still available through the United Way. However, there were
     ilies with almost 200 children. Families were allocated about      only a few affected families still living in Grand Island, and
     $200 for the first month, then up to $700 in total assistance      a handful of them continued to receive this assistance.
     in subsequent months. Most families tapped into this assis-              For the families who remained in Grand Island, trans-
     tance for three or four months.                                    portation remained a persistent problem. Often, the male
           The worksite raid and subsequent home raids led to           householder was the only driver in a family, so if he was
     widespread fears in the immigrant community that were seen         detained or deported, the remaining spouse was unable to
     in immigrants’ hiding behaviors, businesses shutting down for      transport herself or her family to school, to legal proceed-
     periods, workers fearful of returning to work, and children        ings, or to receive services.
     absent from schools. Some immigrants hid in their homes,                 In hindsight, legal assistance was generally acknowledged
                                                                        to be the biggest unmet need after the raid. A small number
     62
        Lincoln is about an hour’s drive from Grand Island, and Omaha   of families were able to get legal representation through
     is about two hours away.                                           UFCW or private attorneys, but most of the arrested immi-
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grants chose voluntary departure fairly quickly or wound          Their efforts quickly raised more than $200,000 and were
up getting deported within months following the raid.             distributed mostly in the first three months after the raid.
Another unmet need stemmed from the large bonds—up to                   Institutions in New Bedford and Boston were active
$10,000—that immigration judges imposed on some arrested          during this critical 90-day period. In New Bedford, Our
immigrants as a condition of their release. None of the groups    Lady of Guadalupe parish offered sanctuary to families in
involved in response efforts—the consulates, UFCW, state          need of emergency shelter. CBOs such as Maya K’iche,
and local agencies, or local churches—were able to provide        MIRA, Catholic Social Services (CSS), and the Community
assistance in paying these bonds.                                 Foundation of Southeastern Massachusetts coordinated dis-
                                                                  tribution of the Niños Fund and triaged services. CSS and
                                                                  Greater Boston Legal Services (GBLS) assisted detainees
New Bedford
                                                                  with legal proceedings. A Boston-based philanthropist,
New Bedford was the second of our study sites, and commu-         Robert Hildreth, personally contributed more than
nity responses there are also outlined in Paying the Price. The   $132,000 for bonds to get 37 detainees released. In the sin-
community response to the New Bedford raid on March 6,            gle most expensive case across our study sites, the judge
2007, was noteworthy because of the broad-based federal,          required a $37,000 bond, and the philanthropist paid
state, and local government support in the aftermath of the       $32,000 of it.63 The public schools mobilized to make sure
raid, and the effective coordination among different institu-     that students were not stranded at school on the day of the
tions immediately after the raid. MDSS played a key role in       raid, and that parents felt comfortable sending their children
gaining access to detainees in order to assess whether they       back to class.
were parents. Their actions included securing a commitment              At the time of our second visit about a year after the
from ICE (via court order) to allow MDSS social workers to        raid (in spring 2008), when about 200 deportation cases
meet with detainees, half of whom had been transferred to         were still being contested, the resources of the Niños Fund
Texas detention centers. The local MDSS office also worked        had diminished to about $50,000. After the first few
with the New Bedford schools to identify needs and coordi-        months, the fund’s use shifted to preserving intact families
nate services to students.                                        (e.g., obtaining passports for U.S.-born children who might
      State and local elected government officials soon became    return to their parents’ countries of origin) and helping with
involved in the community response. Soon after the raid, the      emergency situations (e.g., providing rent money to fami-
governor visited New Bedford and met with community               lies facing imminent eviction). MIRA substantially reduced
leaders. The mayor and other city officials expressed concern     its coordination role, while a pool of local CBOs and
about the manner in which the raids were conducted. The           churches continued to support the remaining immigrant
state’s U.S. senators and the local congressional representa-     families. More generally, fewer families sought assistance
tive were active in voicing their support for MDSS to gain        from organizations, preferring instead to work if they could
access to detainees in Texas, and their efforts were successful   or rely on family or social networks for support. Some
in gaining the release of about two dozen mothers.                immigrant families found work locally, mostly in fisheries.
      New Bedford is located near Boston, a hub for many          However, these replacement jobs were mostly temporary
different immigrant-serving organizations. Unlike in Grand        and paid less than their jobs at Michael Bianco before the
Island, the New Bedford response included substantial finan-      raid. Some community organizations shifted their emphasis
cial, legal, and other resources raised from within the state.    to English language learning programs and immigrant
MIRA, a statewide coalition comprised of over 100 commu-          rights workshops.
nity organizations, helped coordinate service delivery imme-            Transportation remained a major ongoing need, with
diately after the raid. MIRA established a special fund called    MIRA and Our Lady of Guadalupe parish teaming to pro-
the New Bedford Immigrant Families/Niños Fund with                vide such services. In particular, there was a need to regularly
donations from foundations, CBOs (from as far away as             transport families an hour away to Boston for scheduled
Seattle), Boston-area businesses, and the general public. The
fund covered basic needs for more than 100 families affected      63
                                                                     Miriam Jordan, 2008, “Boston Financier Steps In to Bail Out
by the raid with assistance for housing, utilities, and food.     Illegal Immigrants,” Wall Street Journal, March 19.

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     hearings and to provide transportation to the ICE field                 Independent School District had no official reaction to the
     office, which was more than an hour away, for monitoring                raid. Mexican and Salvadoran consular staff were present at
     meetings.                                                               the Los Angeles detention center, where they met with their
                                                                             nationals, provided advice, and made legal referrals.
                                                                                   After the raid, CHIRLA convened weekly Sunday meet-
     Van Nuys
                                                                             ings with victims to triage needs and create solidarity toward
     On February 7, 2008, the day of the raid of Micro Solutions,            a common cause. A fundamental objective of these meetings
     ICE contacted the Coalition of Humane Immigrant Rights                  was community organizing and advocacy (which are central
     of Los Angeles (CHIRLA) and the Central American                        to CHIRLA’s mission). To meet basic needs on an emer-
     Resource Center (CARECEN). Both are part of the Los                     gency basis, families were referred to churches (e.g., Holy
     Angeles Rapid Response Network (RRN), a coalition of                    Rosary, Immaculate Conception, and Sacred Heart), which
     community-based organizations, legal service organizations,             conducted fundraising and food drives. Families were also
     and labor organizers whose objective is to respond to ICE               directed to other service providers, such as the Los Angeles
     work raids. Prior to the raid, members of the RRN had                   Department of Public Social Services and local food banks.
     received training from Yale University Law School professor             Independently, other organizations such as Mujeres Unidas
     Michael Wishnie, which centered on the rights of immi-                  conducted their own separate fundraising and relief efforts.
     grants when arrested or detained by ICE.64                              The Mexican consulate provided $19,000 in cash assistance
          RRN was prepared by this training and mobilized                    to 50 families within the first year after the raid. As in
     quickly upon notification of the raid. RRN members were                 Grand Island, the consulate also paid some families’
     dispatched to Micro Solutions and to the downtown Los                   expenses associated with returning to Mexico. The
     Angeles detention center to provide detainees with advice               Honduran consulate distributed food baskets to 80 families
     and legal counsel. Roughly 45 RRN attorneys were involved.              (irrespective of nationality) for two weeks after the raid.
     The National Lawyers Guild filed a suit against ICE on                  Finally, Unite Here Local 11 worked with Campaign Car
     behalf of the detainees and negotiated the presence of legal            Wash to raise funds to offset legal expenses of the immigrants
     counsel when ICE interviewed the detainees. About a third               who chose to fight deportation in court. This was a point of
     of the detainees were released with supervision on the day of           contention because the victims wanted to use some of the
     the raid, and most of them had electronic monitoring devices            funding to offset basic economic needs.
     affixed to their ankles.                                                      Our study respondents told us that fundraising to help
          The day after the raid, CHIRLA, Unite Here Local 11                the families affected by the raid was difficult, despite the sub-
     (a union), and local businesses conducted a joint press con-            stantial resources available in the Los Angeles area. In the
     ference to highlight community outrage over the raid. But               case of Van Nuys it was much easier to recruit legal assistance
     neither the City of Los Angeles nor the State of California             than to find funding for humanitarian assistance—the oppo-
     issued an official reaction. Attempts by a city council mem-            site of the pattern we observed in Grand Island and Postville.
     ber to pass a resolution were unsuccessful. The Los Angeles                   More than a year and a half after the raid, a large major-
                                                                             ity of the Van Nuys arrestees was still in the United States.
                                                                             The immigrant community was buoyed by legal victories,
     64
        The training, based in part on lessons learned in Wishnie’s study
     of the New Bedford experience, had two goals: first, to educate key
                                                                             including two deportation hearing dismissals, which led
     people in the community who could then inform immigrants how            other arrestees to more actively challenge their cases. In addi-
     to respond in the case of a worksite raid or home arrest, and sec-      tion, over 30 arrested immigrants had their deportation put
     ond, to prepare local lawyers on the related constitutional law         on hold in exchange for cooperating with the immigration
     issues to put them in position to mount an adequate defense for those
     detained. For more detail on the key constitutional law issues sur-     investigation against Micro Solutions. Staff at CHIRLA and
     rounding immigration arrests, see J. Cox and M. J. Wishnie, 2009,       other CBOs said that these legal victories had led more of the
     “Appendix: The Constitutional Law of Immigration Enforcement,”          arrested immigrants to engage in community organizing
     pp. 63–68 in Raids on Workers: Destroying Our Rights, Washington,
                                                                             activities. At the same time, there were also signs that the
     DC: United Food and Commercial Workers, http://www.ufcw.org/
     docUploads/UFCW%20ICE%20rpt%20FINAL%20150B_061                          protracted legal battles to contest deportation were associated
     809_130632.pdf?CFID=7532992&CFTOKEN=84036596.                           with continuing economic hardship among some families in
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Van Nuys because the arrested immigrants were unable to             either ran to St. Bridget’s or fled the town altogether. Some
work. Even those with work permits had difficulty finding           families even fled into nearby fields, where they stayed for
employment due to California’s severe recession.                    several days.65 It was not until more than a week after the raid
                                                                    that families began leaving St. Bridget’s and returning to their
                                                                    homes. During this week, St. Bridget’s provided food, bed-
Postville
                                                                    ding, clothing, medical care, and all of the basic needs for
In the immediate aftermath of the May 12, 2008, raid, lead-         hundreds of parents and children. This intensive experience
ers from the local Catholic, Presbyterian, and Lutheran             cemented the church’s role as a sanctuary and the foundation
churches and their statewide networks began organizing a            of support for the immigrant community.
humanitarian response. Local religious leaders, working with              The depth of humanitarian support and the length of
a statewide network, successfully tapped resources from             time for which it was delivered were greater in Postville than
Luther College in Decorah (just a half hour away) as well as        the other sites, although there was substantial long-term
from more distant locales such as Des Moines, Minneapolis,          support in New Bedford as well. By March 2009, at the
and Chicago. Collectively they raised relief funds, developed       time of our second visit and nine months after the raid,
service delivery infrastructure, and secured legal assistance.      St. Bridget’s had already spent more than $500,000 to assist
More than $900,000 was raised—a large sum relative to               about 200 families.66 The church was still supporting more
amounts that were raised in the other sites we studied. Most        than 50 families, including minors who had been arrested
of the resources were devoted to humanitarian assistance.           and released, and mothers who were still wearing ankle
      The relief operation was centrally organized out of           bracelets and unable to work. At its peak, the St. Bridget’s
St. Bridget’s Catholic Church in Postville, where the local         relief operation expended more than $80,000 per month.
clergy, the Sisters of Mercy (based out of nearby Waterloo),        Relief was limited to families with members arrested in the
and faculty and students from Luther College ran the opera-         raid, and support mostly went for housing, utilities, food, basic
tion. The clergy and volunteers developed a service delivery        necessities, and—in some cases—medical bills. St. Bridget’s
infrastructure from scratch, since none existed before the          paid up to $600 monthly for rent directly to landlords, and
raid. Notably, St. Bridget’s developed their own financial          paid electric and gas bills directly to utilities. Food was pro-
and accountability systems, and found outside resources             vided through the local food bank and food drives; hot meals
for basic infrastructure such as upgraded phone lines, com-         were available once or twice per week. St. Bridget’s estimated
puters, and fax machines. An existing Hispanic ministry at          that in some months up to $1,200 was needed to support an
St. Bridget’s had an established relationship with members          individual family.
of the Postville Latino community. Before the raid, the                   The mayor and other city leaders spoke out against the
ministry periodically assisted families and had become a            raid but were not actively involved in St. Bridget’s relief
well-known source of support for families seeking trans-            efforts. The lieutenant governor came to Postville in the fall
lation and other services. St. Bridget’s had previously             of 2008, more than six months after the raid and after
coordinated a short-term relief effort five years earlier           Agriprocessors went bankrupt. At that time, the City had
when Postville’s then second-largest employer, a turkey             declared a local economic and humanitarian disaster and
processing plant, was destroyed in a fire.                          asked the State of Iowa for disaster assistance. The State did
      St. Bridget’s Catholic Church was not the only immi-
grant congregation before the raid, since many immigrants
were Protestants from Guatemala. However, St. Bridget’s
                                                                    65
quickly established itself as a relief hub by providing sanctuary      We were told that many of the Guatemalan immigrants in
                                                                    Postville had experienced raids by the military or other forces dur-
to over 400 family members of arrested immigrants in the            ing the country’s civil war and had fled into the fields to escape
week that followed. The raid so terrified Postville’s immigrant     capture and violence. This pattern appears to have repeated itself
families (not just those with arrested members) that many           during the Postville raid.
                                                                    66 St. Bridget’s support was also essential to the survival of land-
were afraid to stay in their own homes. This is remarkable
                                                                    lords and other local businesses, many of which would likely have
because in our other sites, we mostly heard that immigrants         failed if so many immigrant families had lost the means to pay rent
hid in their homes. In Postville, however, most families            and other basic expenses.

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     not declare Postville a disaster area, in part because so many    the last week of the school year). While enrollment declined
     other Iowa communities had been affected by recent major          for summer school, it rebounded in the fall. As of March
     floods and plant closings.                                        2009, 10 months after the raid, about 100 students out of
           However, the State and City worked together to obtain       350 had left the elementary/middle school, but there were as
     a $700,000 grant from the U.S. Department of Housing and          many new students. Enrollment had stabilized.
     Urban Development for disaster relief in the form of hous-             As in Grand Island, the efforts of the Postville admin-
     ing and utility assistance to families affected by the plant      istrators to make schools safe havens paid off with better
     closing. This funding served the larger population in             attendance over the long run. Teachers and administrators
     Postville affected by the plant closing, including some of the    said that academics had not suffered and children’s behav-
     families of arrested immigrants. The Postville Relief             ior remained good. However, they did report that there
     Coalition was set up as a nonprofit organization specifically     were still some lingering impacts of the raid months later,
     to disburse these funds. Families were limited to $3,000 or       and that between September 2008 and January 2009 there
     three months of assistance, and this grant had mostly been        were over 100 counseling sessions for schoolchildren with
     spent by March 2009, because the majority of the population       arrested parents, as well as dozens of sessions for other
     of Postville was affected by the plant closing. It was unclear    children—with both immigrant and U.S.-born parents—
     how much of this grant went to immigrant families caught          who were strongly affected by the events surrounding and
     up in the raid, but some of our respondents received some         following the raid.
     assistance through this program.                                       One of the most important participants in the Postville
           St. Bridget’s was also effective in linking affected fam-   response effort was an immigration lawyer based out of Des
     ilies with health care and public assistance. The free clinic     Moines, who represented over 50 of the arrested immigrants.
     in nearby Decorah, which had seen several workers from            She was successful, with limited paralegal assistance, in
     Agriprocessors before the raid, sent a doctor and a nurse         obtaining visas for more than half of her clients, as described
     to St. Bridget’s during the week after the raid. A bilingual      in chapter 2. There were a handful of other immigration
     social worker from the Iowa DHS office in nearby Decorah          lawyers involved, but their caseloads were much smaller. As
     already had some Agriprocessors workers on her food               was the case in Grand Island, the remoteness of Postville lim-
     stamps caseload before the raid, and she came to St. Bridget’s    ited the availability of legal assistance, and this single lawyer
     several times during that first week to reassess the needs of     handled most of the caseload by herself. In December 2009,
     her existing clients and to sign up new ones. St. Bridget’s       more than a year and a half after the raid, 29 women and
     worked closely with the free clinic and Iowa DHS in the           minors had received U-visas or other forms of relief from
     months following the raid to ensure that families received        deportation, and 30 cases were still pending. Most of these
     needed health care and benefits for their eligible citizen        60 women and minors were caught up in the raid, but
     children.                                                         a few were other workers at the plant. Additionally,
           The Postville public school system was also active in       35 adults and six minors were released as material wit-
     responding to the raid, just as the schools had been in Grand     nesses and were still in the country, although the 35 adults
     Island and New Bedford. Postville has a single high school        were no longer needed for trial and likely to be deported
     and one elementary/middle school, and most teachers and           within a short period.
     administrators live in the community. On the day of the raid,
     one of the principals and the lead counselor visited both the
                                                                       Miami
     plant and St. Bridget’s Church to speak with arrestees and
     their families. Over the course of the next week, the principal   The raids by ICE’s fugitive teams and other officers on
     and counselor communicated directly with the families stay-       Haitians in their homes and across the community had a
     ing at St. Bridget’s and convinced worried parents to allow       fundamentally different effect on the community compared
     their children to be transported by bus to and from the           with the large-scale worksite raids we studied in other loca-
     school. They also went door to door in search of students. As     tions. The Miami raids lacked a single, defining traumatic
     a result, most students with immigrant parents were back in       event and did not generate the same community reaction
     school by the second week after the raid (although that was       that characterized workplace raid sites such as New Bedford
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and Postville.67 Worksite raids can instill a sharp, intense fear    number of immigration lawyers. In Miami, as in Grand
in the immigrant community. The Miami enforcement                    Island, our community respondents reported increased busi-
activity, on the other hand, instilled a more chronic fear in        ness for notarios who are suspected of providing poor legal
the Haitian community, a fear that subsided less over time           advice while charging immigrants excessive fees. Because
because of a perception of ICE’s continuing and conspicuous          Haitian immigration cases often involve asylum requests,
presence.                                                            which are complex and difficult to substantiate, competent
      In contrast to the sites with large-scale worksite raids, in   legal assistance is particularly important.
Miami there was far less community and media attention to                 The Haitian families in Miami we studied also had little
the situation of affected families and less of a community           recourse to contest deportation, because they mostly had out-
effort to raise funds and coordinate relief efforts. Though as       standing prior deportation orders. These orders were the rea-
described earlier, families in Miami experienced material            son for their arrest by FOTs and could rarely be contested.
hardship as great as or greater than families in our other
sites, no special relief operation was available to help them.
                                                                     Rogers-Springdale
They sought services through informal channels or through
CBOs on a case-by-case basis.                                        In Rogers and Springdale, Arkansas, we studied the after-
      While there appeared to be no coordinated effort to pro-       math of arrests and raids by the local police, who were acting
vide relief to the families of detainees, a number of CBOs,          under 287(g) agreements with ICE to enforce immigration
churches, and legal service organizations provided assistance        laws. These raids occurred over about six months, starting in
independently to the Haitian community as a whole, includ-           October 2007 and leading up to our visit in May 2008. As in
ing the families of arrested immigrants. Church Notre Dame           Miami, there was no single large-scale raid to generate signif-
D’Haiti, through its affiliated Haitian Center, counseled            icant media attention and coordination of relief efforts.
families affected by ICE activity on both psychological and          There was one set of small-scale raids on a chain of Mexican
spiritual matters. The church also sent letters to immigration       restaurants in December 2007 that attracted some media
judges documenting the residency period of detainees and             attention (especially on Spanish language radio stations) and,
immigrants seeking permanent residency. The Florida                  for a short time, a community response. Leaders in the
Immigrant Advocacy Coalition (FIAC) had been working                 business community and the Latino community generally
with the Haitian consulate and the Florida Department of             complained that these raids were not targeted at serious
Families and Children to protect the interests of detainee           criminals—but instead at Latino business owners more
children and developed materials for families before and after       generally. These raids served to drive a wedge between local
arrest, as well as during detention.68 Other organizations           police departments and most of the Latino community
(e.g., Haitian’s Women’s Association, Sant La) offered par-          leaders who had originally supported the 287(g) program.
enting classes, after-school care, and limited legal services.            Overall, however, there was not much media attention
They also assisted families with applications for aid such as        to the 287(g) program and the impacts that arrests had on
Medicaid, food stamps, and WIC.                                      families. Additionally, many of our respondents said the
      Organizations such as Catholic Legal Services and FIAC         constant threat of arrest by local authorities, for instance, for
provide legal services to the Haitian community, as well as          driving violations, deterred immigrants from seeking services
others affected by home raids. Due to thousands of arrests in        from government offices or CBOs such as food pantries.
the Miami area each year, the demand for legal services                   There was no apparent coordination among service
exceeds capacity—even in Miami, which has a relatively high          providers, CBOs, FBOs, or schools after the 287(g) pro-
                                                                     gram was implemented and the restaurant raids took place.
                                                                     Individuals and organizations provided assistance as best as
67 Our interviews in December 2008 included families with parents    they were able. St. Vincent de Paul church provided ad hoc
arrested over a two-year period beginning in early 2007.             cash assistance to cover bills. Legal assistance was available
68 Florida Immigrant Advocacy Center, no date, “Detainees with
                                                                     through a Catholic Charities affiliate and several local
Minor Children: Frequently Asked Questions” Miami; Florida
Immigrant Advocacy Center, 2008, “Immigration Raids: How to          lawyers, but their capacity was limited. A few organizations
Protect Yourself in Case of a Raid,” Miami, July 16.                 provided families with referrals to appropriate services. A
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     number of service providers and advocacy organizations that       and faith-based groups, schools, and legal services
     are centrally located in the Jones Center in downtown             organizations.
     Springdale did not generally coordinate their efforts. The
                                                                       Churches and faith-based groups generally played the most
     Mexican consulate in Little Rock—about four hours away—
                                                                       important roles in providing short-term humanitarian relief
     provided some help with emergency funding. There were
                                                                       and long-term spiritual support to families affected by ICE
     limited housing services available; in fact, the only general
                                                                       enforcement activity. Churches were often the first places
     overnight shelter in the area was provided by the Salvation
                                                                       that families would turn for emergency assistance. Churches
     Army and they did not serve unauthorized immigrants.
                                                                       were conduits for food and clothing drives and cash-based
     Local domestic violence shelters, however, took unautho-
                                                                       fundraising efforts. Some churches like St. Bridget’s in
     rized victims and their children.
                                                                       Postville and Our Lady of Guadalupe in New Bedford
           Neither the state nor the city governments of Rogers
                                                                       played key roles as safe havens and in the distribution of
     and Springdale—which were participating alongside ICE in
                                                                       humanitarian relief. Faith-based organizations such as
     enforcement activities—offered support for the affected
                                                                       Catholic Charities were involved in humanitarian relief
     families or the immigrant community in general. However,
                                                                       efforts in Grand Island, New Bedford, and Postville. They
     both a congressional representative and a former representa-
                                                                       also provided legal services in New Bedford, Miami, and
     tive communicated their concerns to the federal government
                                                                       Rogers-Springdale.
     about ICE enforcement activity in Arkansas.
                                                                             Other community groups were also important contribu-
           Beyond the lack of coordination there were other barri-
                                                                       tors. Organizations like the United Way, the Salvation Army,
     ers to accessing services. One problematic area was transla-
                                                                       and local community health centers provided humanitarian
     tion and interpretation, for which government service
                                                                       assistance and referred families to other service providers.
     agencies in the area had limited capacity. A handful of
                                                                       United Way–based organizations were especially involved in
     CBOs (e.g., Catholic Charities and St. Francis Community
                                                                       Grand Island, because Swift had funneled their relief funding
     Clinic) had ample bilingual staff but some others (e.g.,
                                                                       through these organizations. In Grand Island, Postville, and
     Economic Opportunity Agency and the local Head Start
                                                                       Rogers-Springdale, local nonprofit community clinics played
     programs) did not.
                                                                       important roles in health screening and delivery. CBOs also
           As in other sites, transportation emerged as another
                                                                       worked with local government and businesses to coordinate
     important barrier. The two cities are spread out geographi-
                                                                       service delivery. However, as described below, while these
     cally with minimal public transportation, and many immi-
                                                                       organizations were able to step up in the immediate after-
     grants said they were afraid to drive because of the arrests
                                                                       math of the raids, their resources were tested during the
     during traffic stops.
                                                                       longer limbo periods of months or even a year or more
           Finally, as in Miami, arrested immigrants had little hope
                                                                       when parents were contesting their deportation. Moreover,
     of relief from deportation. Because they had been charged with
                                                                       in some sites these organizations were not well prepared to
     other crimes most avenues of relief were unavailable to the
                                                                       address the needs of a culturally diverse, non-English-
     immigrants arrested through the 287(g) program, even in cases
                                                                       speaking population.
     where the charges may have been for relatively minor offenses.
                                                                             Public schools offered strong support for children with
                                                                       arrested parents in four of our sites. In Grand Island and
     Lessons Learned about                                             New Bedford, the districtwide coordinated strategy ensured
     the Delivery of Assistance                                        that children were not stranded at school on the day of the
                                                                       raid. In Postville, school staff provided secure transportation
     This section describes briefly what we learned about the
                                                                       to and from school for a week after the raid, to get the chil-
     types of organizations providing assistance, the frameworks
                                                                       dren back in school. Moreover, these school systems estab-
     or models they used for service delivery, and the types of
                                                                       lished themselves as “safe places” for immigrant children. This
     assistance they offered.
                                                                       helped reduce absenteeism stemming from parents’ fear that
     1. Across most sites, many organizations participated in          their children would be detained. All three also provided
     providing community assistance, including community-              counseling to a significant number of students following the
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raids. In Springdale, the district worked hard to maintain a       few sought assistance despite their needs, a significant con-
sense of safety after police arrested parents outside of an ele-   cern for families was the perception that presenting them-
mentary school as they waited to pick up their children. We        selves for benefits and services at government agencies could
did not find comparable evidence of school involvement in          subject other family members to arrest and detention. This
Miami or Van Nuys.                                                 was especially apparent in Rogers-Springdale, where the local
      Organizations that provide legal services, community         police were involved in arresting and detaining immigrants.
organizing, and advocacy were important partners in several             When churches, advocacy groups, and CBOs served as
sites, although they were constrained by limited capacity.         intermediaries or when public agencies directly conducted
Even in a large urban environment like Van Nuys, a coali-          outreach, they were better able to connect eligible family
tion of legal service organizations, including the American        members with needed benefits. In Grand Island, New
Civil Liberties Union and the National Lawyers Guild, was          Bedford, and Postville, social service workers went into the
collectively unable to meet the needs of all of the arrested       community to discuss eligibility and help with the application
immigrants. Advocacy organizations such as CHIRLA in               process. Prior experiences also affected the degree to which
Van Nuys were central in the effort to create a unified group      public agencies were able to deliver services to a community.
of immigrants willing to fight deportation. In New Bedford,        In Postville, a bilingual social service worker from nearby
MIRA played a similarly important role, although one that          Decorah, Iowa, who already had immigrant families on her
was more focused on helping to bring attention to the needs        caseload before the raid, came to St. Bridget’s Church during
of arrested immigrants and their families and to coordinate        the week following to help others apply for benefits. In Grand
the activities of local groups to engage in ongoing response       Island, immigrants distrusted the Nebraska DHHS because
efforts.                                                           an immigrant mother had nearly lost custody of her children
                                                                   before the raid following a child protective services removal
2. While public agencies in many sites stood ready to
serve eligible immigrant family members, some overcame             and her deportation. Yet outreach efforts there still proved
families’ suspicion and fear more successfully than others.        successful in getting public benefits to a significant number of
                                                                   families caught up in the raid—at least in our study sample.
State departments of human services, social service agencies,
child welfare agencies, and health departments offered a vari-     3. Many community responders, especially in worksite
                                                                   raid sites, used a “disaster-relief model.”
ety of services to at least some family members of arrested
immigrants. Benefits included food stamps, Medicaid, and           When a worksite raid captures a sizeable number of immi-
the Children’s Health Insurance Program (CHIP) for eligible        grant workers, it sends a shockwave throughout the resident
U.S.-born children of immigrants, and more generally, WIC          community of immigrants, as well as the broader community.
for families with young children. In New Bedford, MDSS             The community reaction is typically swift. Three of the study
helped secure the release of two dozen parents to be with          communities that experienced worksite raids—Grand Island,
their children, and a few minors who were arrested while           New Bedford, and Postville—developed, to one degree or
working at Michael Bianco were taken into foster care. In          another, what could be considered a disaster-relief approach for
Postville, one minor who was not arrested but left his job at      addressing the short-term needs of affected families.
Agriprocessors came to St. Bridget’s several months after the            On the day of the raids, community organizations,
raid and was taken into foster care.                               churches, and local government engaged in rapid information
      In some sites, families continued to be very cautious        dissemination to initiate an immediate response. While in Van
about presenting themselves to apply for benefits, while com-      Nuys the Los Angeles Independent School District had virtu-
munity responders in other sites helped encourage and facili-      ally no reaction, the schools in Grand Island, New Bedford,
tate a much broader use of public benefits in this time of         and Postville conducted teacher briefings and launched efforts
economic necessity. We found much higher use of public             to ensure children were not stranded and had access to services
benefits soon after the raid and over the longer term in the       to address the emotional trauma associated with these raids.
sites with well-coordinated disaster-relief efforts—Postville,           As in natural disasters, the media played an important
Grand Island, and New Bedford—than in the other three              role in disseminating information to community leaders
sites. In Arkansas, Miami, and Van Nuys, where relatively          and officials. Community organizations and churches
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     commenced fundraising and preparing their facilities for          Van Nuys was the one site we studied in which legal
     use as sanctuaries. Community organizations mobilized             resources exceeded humanitarian assistance following the
     their staffs to be present at the worksite and (when              raid. However, the legal strategy began to show success a year
     response staff included lawyers) at the detention centers. If     after the raid when an immigration judge dismissed one of
     they did not already exist, coalitions consisting of commu-       the deportation cases because of inhumane treatment at the
     nity organizations, churches, schools, and sometimes local        detention center. As described earlier in chapter 2, lawyers in
     government were quickly formed to more effectively coor-          Van Nuys were also successful in contesting the legality of
     dinate efforts, pool resources, and provide centralized           the raid itself, which suspended the deportation of between
     triage to match and refer services to eligible families.          60 and 70 immigrants. Further, they were able to get work
           Response efforts typically featured one or more central-    permits for 30–35 immigrants for cooperating with the pros-
     ized locations (e.g., churches, CBOs) where affected immi-        ecution against Micro Solutions. These legal victories have
     grants could present themselves to receive relief services. In    generated momentum for immigrant-organizing efforts there
     both Postville and New Bedford families were able to use cen-     (with help from CHIRLA), and community support for
     tral points of distribution: St. Bridget’s Church in Postville    these efforts has grown with their success.
     and Our Lady of Guadalupe parish as well as the offices of
                                                                       5. All sites, particularly those using a disaster-relief
     Catholic Social Services in New Bedford. This approach, by
                                                                       model, had to confront the challenge of long-run as well
     all accounts, worked well for distributing short-term resources
                                                                       as short-run assistance.
     and services to victims seeking assistance. In the other sites,
     distribution centers had more difficulty reaching out to immi-    As each of these sites illustrated, children and families often
     grants gripped by fear that they might be arrested while seek-    had long-term needs, particularly given the time required for
     ing assistance. Outreach to immigrant families in their homes     the legal process to play out. For the most part, CBOs, local
     was somewhat effective in Grand Island.                           governments, and churches in our study sites adjusted their
           Short-term humanitarian relief packages typically           responses over time due to funding constraints and changes
     included food, housing and utility assistance, clothing, health   in the volume and needs of immigrant families. The short-
     services, and occasionally cash or gift cards and coupons for     term disaster model was often effective in soliciting one-time
     gas or food. In some cases the hubs referred families to state    or limited-duration donations from organizations, businesses,
     and federal aid programs such as Medicaid, CHIP, food             and, in one case, a philanthropist. Moreover, there was a
     stamps, and unemployment insurance if the adults or children      noticeable synergy produced by cooperating organizations in
     were eligible, which the U.S.-born children usually were.         response to a common emergency. Over time, however,
                                                                       maintaining that momentum and dedication can be taxing to
     4. In Van Nuys, responders used a “community
                                                                       individual donors and staff alike, especially for those organi-
     organizing model.”
                                                                       zations for which direct relief is not specifically a part of
     The Van Nuys response, driven by a community organizing           their mission.
     model of the problem, was unique in that it was largely                 Two sites merit special attention for their ability to pro-
     developed with a longer-term plan in mind. CHIRLA                 vide longer-term support to immigrant families: Postville
     focused its energies primarily on organizing affected fami-       and New Bedford. In Postville, over the course of a year,
     lies to join in a common effort to contest deportations.          St. Bridget’s Church raised over $900,000 from a web site,
     CHIRLA’s legal service partners and other CBOs (e.g., Unite       faith-based networks, and national fundraising appeals. This
     Here Local 11) implemented a strategy to identify arrestees,      sum was necessary to support families for over a year after the
     train them in leadership and organizing techniques, and           raid, with humanitarian relief costing $80,000 per month at
     work with them to galvanize the other arrestees in support of     its peak. St. Bridget’s also provided some funding to offset
     their common cause.                                               legal costs (e.g., costs of filing applications for visas), although
           In a mirror image of the strengths and weaknesses of the    most legal assistance was provided pro bono.
     disaster-relief model, this alternative model generated some            In New Bedford, because some affected immigrants were
     concerns in the Latino community that the humanitarian            able to find temporary work, the demand for emergency assis-
     needs of victims’ families might not be adequately addressed.     tance for basic needs diminished about three months after the
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raid. This allowed much more of an ongoing focus on the              have been available for deportation defense in Miami, but
legal cases of detainees and their families. Catholic Charities,     most of our sample of arrested Haitians there had little to no
GBLS, and other legal aid organizations continued to provide         recourse available to them against deportation.
representation services as immigrants applied for U-visas and              The availability of humanitarian assistance followed a
other forms of relief from deportation. Transportation               different pattern across our sites. Surprisingly, the greatest
emerged as another long-term need that was continually met           funding for humanitarian resources was raised following the
by CBOs, especially for getting individuals to court hearings.       raid in the smallest site: Postville. Grand Island, which is also
Our Lady of Guadalupe and Maya K’iche partnered to                   a relatively small and isolated community, also benefitted
address this need. A sewing cooperative was started with             from a significant fundraising effort including the raided
donated sewing machines, and this proved to have therapeutic         employer and FBOs. The arrestees in New Bedford benefitted
benefits to participants, as well as leading some of them to         from their proximity to Boston in terms of humanitarian
start their own businesses selling bags. A year after the raid,      assistance, just as they had in terms of legal representation:
New Bedford school teachers were regularly meeting with the          MIRA and the local church dioceses raised significant sums
Community Foundation of Southeastern Massachusetts to                in the Boston area, and the Community Foundation of
continue discussing the needs of affected children, and com-         Southeastern Massachusetts also provided support.
munity organizations began shifting their services to immi-                The other two major urban areas in our study—Los
grant integration (e.g., English language instruction).              Angeles and Miami—had much less thorough fundraising
                                                                     and humanitarian response efforts. In both sites, the small
6. Humanitarian assistance and legal representation
                                                                     number of arrestees relative to the overall immigrant popula-
were both important.
                                                                     tion (and relative to large, ongoing ICE operations across the
One significant finding from the sites is the importance of          area) meant much less media and community attention to
legal representation to help immigrants contest their deporta-       the plight of arrestees. This made fundraising and mounting
tion. In fact, the most important benefit an immigrant can           a relief operation more difficult in these areas.
receive after being arrested in a raid is a work permit, visa, or          Finally, in Rogers-Springdale, both humanitarian and
other mechanism to stay in the country legally and work.             legal resources were limited. This partly reflected the climate
Only legal presence in the United States and the opportunity         toward immigrants in the area, including the active partici-
to work can ameliorate parent-child separation and economic          pation of city and county governments in immigration
hardship among affected families in the long run. As illus-          enforcement as well as anti-immigrant sentiment in those
trated in the site descriptions above, there was great uneven-       communities more generally. It also reflected the fact that, as
ness in the availability of high-quality legal advice. Smaller,      in Miami, the arrests were scattered across a widespread area
more isolated places like Grand Island and Postville were able       over a long period of time and generated far less media and
to generate significant disaster-relief efforts aimed at providing   community attention than the large workplace raid sites we
humanitarian assistance, but they had much more difficulty           studied.
finding needed legal resources. This was because these
resources are much more specialized and less dispersed across
                                                                     Successes and Challenges of Institutions
the country. A handful of lawyers took on all the cases in both
                                                                     Providing Assistance
of these sites, and in both sites most arrested immigrants went
unrepresented. In Postville, one pro bono lawyer launched a          We next summarize the characteristics of community
deportation defense effort on behalf of more than 50 clients.        responses that appeared to be effective in addressing the
By contrast, the Rapid Response Network in Van Nuys                  needs of families, as well as some of the challenges faced by
included 45 attorneys. The majority of New Bedford arrestees         response efforts.
who chose to fight deportation and the entire Van Nuys
group found representation. Even though most cases in New
                                                                     Successes
Bedford and Van Nuys were still pending more than a year
after the raids, in the long-term a number of some significant           Coalitions. In general, a single CBO, church, or agency
legal victories were obtained. Greater resources possibly could      cannot address the myriad of family needs that result from
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     ICE enforcement in a community. The more effective coali-           significant responses to raids and arrests in those locations,
     tions covered many basic needs as well as legal and health          and we do not know how well children fared academically
     services, and some included psychological counseling. These         afterward.
     coalitions included churches, faith-based and community                   Engagement by state and local government. Government
     organizations, legal services, public schools, local government,    support was evident and helpful in several of the sites. In
     and businesses.                                                     Grand Island and Postville, government support provided
           St. Bridget’s Church was somewhat of an exception,            public benefits to help families through difficult economic
     because it was able to raise funding and sustain an extraordi-      periods, even though in these sites the elected officials were
     nary humanitarian relief effort (costing almost $1 million) for     not outspoken. In New Bedford, having staff from public
     more than a year. However, even though St. Bridget’s coordi-        agencies such as MDSS argue on behalf of children for their
     nated and disbursed virtually all of this assistance, the           families’ reunification, as well as having elected officials raise
     fundraising and media efforts were coordinated with commu-          concerns about the impacts of the raid on immigrant families
     nity leaders and other religious organizations both within and      and the broader community, helped restore some trust in
     outside Postville. St. Bridget’s also benefitted from significant   needed civic institutions, such as local schools.
     logistical support from a statewide network that included                 Culturally tailored outreach. A solid understanding of the
     Catholic Charities of Iowa and staffing during the relief effort    languages and cultures in immigrant communities is a key to
     from Luther College in Decorah.                                     providing effective services to these communities. Across our
           Balanced combination of humanitarian and legal                sites, churches and CBOs showed the most cultural compe-
     services. As we have seen, both humanitarian and legal services     tency in addressing the needs of affected families. In general,
     were very important to families. On the one hand, good              churches were active in Latino communities and had Spanish-
     legal services, while hard to find, turned out to be crucial.       speaking capacity, although this capacity was somewhat lim-
     Legal services allowed some arrested immigrants to obtain           ited in the smaller study communities of Grand Island and
     legal status that allowed them to stay in the United States         Postville. In Grand Island, New Bedford, and Postville, lan-
     with their families and obtain employment. On the other             guage access and cultural competency were further compli-
     hand, the longer their deportation cases were open, the more        cated by the fact that many arrestees were from groups such as
     humanitarian assistance these families needed. The compre-          the Maya K’iche from Guatemala that speak rare indigenous
     hensive relief efforts in New Bedford and Postville were able       languages. Community leaders who were originally from
     to adequately support legal assistance and humanitarian needs       Guatemala played instrumental roles in the delivery of services
     until immigrants either succeeded in obtaining relief from          in all three of these sites.
     deportation or were deported. But these operations were very              Public agencies also showed a degree of cultural and lin-
     well coordinated and expensive (or required intensive in-kind       guistic competence in some of our sites. In Postville, a bi-
     and pro bono labor), and lasted for more than a year.               lingual English-Spanish caseworker from the Iowa DHS office
           Schools as safe havens. In three of our sites—Grand           in nearby Decorah worked closely with St. Bridget’s Church
     Island, New Bedford, and Postville—schools provided safe            to link affected families with public assistance. In Grand
     havens for children in the immediate aftermath of the raids         Island, the regional Nebraska DHHS director was from
     and were able to retain students in the longer term. These          Guatemala, as were some of the social workers; they were
     schools were successful in retaining the trust of the immi-         also able to connect some affected families with benefits. The
     grant community, including affected families. They were             public resources available to the New Bedford arrestees were
     also by and large successful in keeping students engaged in         much greater: the leadership of MDSS and three dozen bi-
     learning. All three districts provided counseling for affected      lingual social workers were all involved in obtaining the
     students. In Springdale, the schools also attempted to              release of parents.
     address the impacts of parental arrests on students, but the
     effectiveness of their efforts was more difficult to gauge,
                                                                         Challenges
     because the scattered nature of the raids there made it diffi-
     cult to pull a sample of affected children in any one school.            Sustaining service delivery. Sustaining relief after a period
     The public schools in Miami and Van Nuys did not mount              of three to six months was a principal challenge in all of our
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sites except for Postville. Persistent needs included legal          to approach community leaders for support. There was also
services, transportation (especially in larger communities and       very little basis for targeted outreach under such circum-
those lacking public transportation), counseling, and humani-        stances, because there was no single employer, neighborhood,
tarian assistance in cases where arrested immigrants remained        or period of time on which to focus outreach efforts.
in limbo and could not work. In the early months, fundrais-                Finding legal representation can be difficult in more remote
ing and donations were generally secured within the commu-           communities. Finally, securing legal services was much more
nity and from nearby communities. With the progression of            difficult in remote locations like Grand Island, Postville, and
time, contributions faded while the needs of families in peri-       Rogers-Springdale, where there were few or no practicing
ods of prolonged detention or with drawn-out deportation             immigration attorneys. Efforts following the Postville raid to
cases increased (as resources from friends and families              link Iowa attorneys with a national base of legal support were
declined). Thus, fundraising from a broader base of support—         largely ineffective. Attorneys specializing in deportation
as was done with national campaigns for Postville—became             defense simply could not be recruited to work in remote, rural
important to sustain service delivery.                               Iowa on a pro bono basis, and even with nearly $1 million in
      Translation and interpretation. The need for bilingual         funding, the St. Bridget’s relief effort could not afford to pay
staff for triage and service delivery was another common             salary and travel costs for attorneys to come to Postville from
challenge across the sites. In communities like Postville and        outside Iowa.
Rogers-Springdale, where immigrant communities were                                                  *****
newer and relatively small, it was difficult to find Spanish         The community responses we studied across our six sites
language capacity. Even in the larger, more diverse areas, it        illustrate some of the complexities and difficulties of support-
was difficult to find interpretation for rarer languages such        ing families with children in the aftermath of immigration
as those spoken by indigenous Guatemalans. In Miami,                 enforcement activity. As we described earlier, whether a par-
Haitian Creole interpreters were difficult to find.                  ent is arrested, deported, or released under supervision, fami-
      Transportation. In Postville, Grand Island, and New            lies typically lose a breadwinner, resulting in economic
Bedford, it was difficult to obtain transportation to and from       hardship and reliance on charity or public benefits. In the
immigration hearings, appointments with lawyers, and bond            immediate aftermath of the large worksite raids in three of
postings—as ICE and attorneys’ offices were mostly located           our sites—Grand Island, New Bedford, and Postville—
several hours away. In some cases, appointments with attor-          communities mobilized assistance for affected families.
neys had to be done over the phone or on site, requiring the         Sources of support varied, but in general these relief efforts
lawyers to travel frequently over long distances. Arrestees in       were expensive, approaching $1 million in Postville. Without
Postville also had to travel to nearby Decorah for medical           a well-publicized raid as a catalyst, there was no such mobi-
appointments at the free clinic and for renewal of public assis-     lization in Arkansas and Miami, leaving families there with-
tance. In both New Bedford and Postville, the church and             out an emergency response safety net.
community organizations arranged private transportation                    A confluence of participants were involved, including
for these immigrants.                                                churches, community organizations, nonprofit service
      In Rogers and Springdale it became dangerous for               providers (e.g., United Way agencies), state and local gov-
unauthorized immigrants to drive at all, given that many of          ernment agencies, employers and labor unions. These relief
the 287(g) arrests were from roadblocks or traffic stops.            efforts were complicated because of the families’ many needs
Advocates and community leaders arranged transportation              (housing, utilities, food, and other basic needs) and because
for immigrants in Rogers and Springdale on an ad hoc basis.          they had to be maintained for so long (for several months in
      Mobilizing community efforts when there is no single, large-   Grand Island and New Bedford, and for more than a year in
scale raid. It was relatively difficult to mobilize responses in     some cases in Postville).
Miami and Rogers-Springdale because there was no single cri-               Legal assistance was a crucial component of these relief
sis in need of a response and no major coverage of events in         efforts, and it was often expensive and difficult to obtain.
the media. Very few people in the community knew who the             Immigration law is a complex field, and there is a limited sup-
arrested immigrants were, as they were not identified by a sin-      ply of qualified attorneys to defend deportation cases across
gle employer. It was generally left to their families or friends     the country. In general, it was easier to find legal resources in
                                                                                                                                          67

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     locations near some of the major cities—New Bedford and              large-scale raids. The families affected by individual enforce-
     Van Nuys—than in the smaller, more remote communities                ment activities do not get the publicity, the mobilized
     we studied. In Grand Island and Postville there were no quali-       response, or the community support that many of those
     fied lawyers in the community, and so a handful of outside           arrested in worksite raids receive. While the new leadership at
     lawyers had to take on these cases. The deportation cases still      the Department of Homeland Security has significantly cur-
     being contested more than two years after the Grand Island           tailed the use of large-scale worksite raids, the 287(g) program
     and New Bedford raids show how long the need for this assis-         has recently expanded to deputize immigration enforcement
     tance can last, and how long the families contesting their           powers to more local police departments, and FOT arrests
     deportation remain in limbo.                                         have continued at much the same rate. As long as immigra-
           Our review of impacts on children and families, along          tion enforcement activities continue, we need to consider how
     with the community responses described in this chapter, show         to meet the goals of enforcement while mitigating the very
     the many difficulties experienced by families following a par-       serious impacts on the thousands of children directly affected
     ent’s arrest. These difficulties are especially apparent following   and the millions more potentially at risk. This is the focus of
     many of the individual arrests that were not the result of           attention in the concluding chapter of this report.




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6. FACING OUR FUTURE: CONCLUSIONS
   AND RECOMMENDATIONS

        he U. S. government is embarking on what promises to be a renewed round of spirited debate about reforming the

T       country’s immigration system. In November 2009, Secretary of Homeland Security Janet Napolitano called on the
        Congress to reconsider a comprehensive approach to immigration reform that would include some form of legal status
for most of the country’s 11 to 12 million unauthorized immigrants.69 Many of the issues underlying the immigration debate
are perennial: the aging U.S. workforce and need for immigrant workers, competition with U.S.-born workers, the fiscal costs
of immigration, security and sovereignty concerns, respect for the law, civil rights, and the potential benefits of diversity in an
increasingly globalized economy.


     This report, like our predecessor report Paying the Price,      ing the loss of parental support, economic hardship, and
focuses on one of the issues that has not been central in the        emotional difficulties.
debate: the impact of our current immigration policies on                 About two-thirds of the children in our study sample
the 5.5 million U.S. children with unauthorized parents.             are U.S.-born citizens,72 entitled to remain in the country
These children account for 7 percent, or 1 in 14, of all chil-       and to receive the full benefits and responsibilities of citizen-
dren living in the United States. They and their families are        ship. As American children they are a critically important
by and large well integrated into the communities where              component of the future U.S. workforce, needed to support
they live, with the vast majority of the parents working70           a growing economy and an aging population. Their futures
and the children attending school.71 However, these chil-            are for the nation to support or circumscribe, and the
dren have an uncertain future in this country. Because their         nation’s future is theirs to make. The question, then, is what
parents can be arrested and removed at any time, they live in        future we choose.
tenuous circumstances, not knowing whether they can
count on their families remaining whole or on this country
                                                                     Summary of Findings
remaining their home. Children who find themselves with a
parent arrested for an immigration violation suffer further          Many of the findings discussed in the preceding chapters pro-
potential barriers to their well-being and integration, includ-      vide ample cause for concern. Our findings highlight the dif-
                                                                     ficulty of balancing different policy objectives: the need for
                                                                     enforcement of immigration laws and our desire to preserve
69
   Melanie Trottman, 2009, “Immigrant Bill Is Back on the
                                                                     the integrity of families and promote the best interests of chil-
Table,” Wall Street Journal, November 14.
70 Passel and Cohn, 2009.                                            dren. Despite the actions of their parents, the children bear
71 For a full discussion of the integration of immigrants and
                                                                     no fault and as this report has shown, they experience deeply
their children—along with difficulties they face in poor urban       damaging consequences from immigration enforcement. In
communities—see Alejandro Portes and Rubén G. Rumbaut,
2001, Legacies: The Story of the Immigrant Second Generation, Los
Angeles: University of California Press, and Rubén G. Rumbaut        72
                                                                       This is comparable to the estimated 73 percent of all 5.5 million
and Alejandro Portes, 2001, Ethnicities: Children of Immigrants in   children of unauthorized immigrants that are U.S.-born citizens,
America, Los Angeles: University of California Press.                Passel and Cohn, 2009.

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     several other areas of U.S. policy—child welfare, education,       their families intact or leave their children behind in the
     and the distribution of public benefits—the primary objec-         United States with the other parent or another relative.
     tives are to protect children from harm and to advance their       There currently is no legal remedy for deportation of a
     prospects regardless of their starting points in life. Yet such    parent based on harm to a child, unless a child is very sick
     protections and opportunities to prosper are jeopardized           or in other extremely unusual circumstances.73 Thus, in
     when parents are caught up in immigration enforcement              our sample, arrested immigrants had to seek other forms
     actions.                                                           of relief—asylum, domestic violence, and crime victimiza-
           The discussion in the previous chapters highlights several   tion, primarily, rather than separation or harm to their
     significant findings that the American public and its leaders      children, to try to avoid deportation.
     should take into account as part of the immigration debate.              There is no clear or easy choice in this heart-wrenching
                                                                        decision that no parent ever wants to face, as illustrated by the
                                                                        mixture of responses in our sample, with some parents leaving
     Family Separation
                                                                        children and others taking them with them. In a significant
     The separation of children from their parents is one of the        number of cases, couples were split and siblings were split—
     most direct results of immigration arrests. Such separations       some leaving and some staying. Our time frame was not long
     were common in our sample, though in a large majority of           enough to assess the impacts on children who faced separa-
     cases at least one parent was able to remain with the children     tions following deportation. Some deported parents were
     because he or she was either not arrested or released under        clearly worried enough about their children and families to
     supervision. Our sample included many cases in which par-          risk illegal reentry to be reunited with them. In one case, a
     ents were held for weeks or months in detention following          parent died making the return journey.
     their arrest, and it likely underrepresents these cases because
     we could not interview parents in detention. In most of our
                                                                        Family Economic Hardship, Housing Instability,
     sample, two-parent families became single-parent families,
                                                                        and Food Insufficiency
     although in a few cases children stayed with other relatives or
     friends for an extended period.                                    Steep declines in household income, economic hardship, and
          ICE’s humanitarian guidelines for large-scale worksite        reliance on informal support, community charity, or public
     raids, which mandate release of single parents and those with      assistance were typical of sampled families with arrested par-
     needy children, reduced the frequency of family separation,        ents. In all of the worksite raids, families lost breadwinners—
     especially in the Van Nuys raid. The application of ankle
     bracelets with tracking devices allowed ICE to continue to
     monitor arrestees without requiring detention—clearly              73
                                                                           Before 1996, when determining deportation cases, immigration
     a better outcome from the families’ point of view. Yet in          judges could weigh length of U.S. residency, standing in the com-
                                                                        munity, and hardship to children against immigration and criminal
     Postville—where so many parents were charged criminally—
                                                                        charges. But in 1996 IIRIRA narrowed judicial discretion by man-
     and in the nonworksite arrests in Miami and Rogers-                dating deportation for immigrants convicted of a wide range of
     Springdale, detentions were more widespread and caused             crimes and those without 10 years of continuous physical presence
     prolonged separations from at least one parent in a majority       in the United States—regardless of potential harm to children in
                                                                        the family (8 U.S.C. § 1229b). As a practical matter, this means it
     of cases. When criminal charges mandating detention are            is almost impossible for immigrants who entered the country ille-
     involved, it may be more difficult for ICE to consider alter-      gally or those with even minor criminal offenses to have their
     natives to detention.                                              deportation canceled by immigration judges, even when severe
          We also documented short-term family separations in           hardship to their children could result. For more on the difficulties
                                                                        of appealing deportation based on hardship to children, see James
     our previous study, Paying the Price, but in the current           D. Kremer, Kathleen A. Moccio, and Joseph W. Hammell, 2009,
     study we interviewed some families more than a year after          “Severing a Lifeline: The Neglect of Citizen Children in America’s
     the parent was arrested. In our long-term sample, a signif-        Immigration Enforcement Policy,” Minneapolis: Dorsey and
                                                                        Whitney, LLP. For a fuller description of the IIRIRA provisions
     icant number of parents had been or were soon to be
                                                                        affecting deportation decisions, see Donald Kerwin, 1999, “How
     deported. Deportation created difficult choices for par-           Our Immigration Laws Divide, Impoverish, and Undermine
     ents, who had to decide whether to leave the country with          American Families,” Interpreter Releases 31(76): 1213–26.

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who almost always had full-time jobs and consistent               six months in almost every case, more than a year in many
employment histories, albeit at mostly low-wage jobs. Family      cases, and more than two years (and counting) in some cases.
breadwinners were also arrested in the cases we studied in        In the cases of home raids and arrests by local police in our
Miami and Rogers-Springdale. In all of the sites in our           sample, parents were less likely to be released and were gener-
sample—with the exception of Van Nuys—very few families           ally detained for a period of months and then deported.
had access to work following arrests. It was more difficult for
people to find work in the smaller communities, especially
                                                                  Child Behavior
Postville, where the raided plant was the area’s primary
employer. When parents were released with ankle bracelets         Changes in child behavior represented a new focus of the
and monitored, it was nearly impossible for them to find          current study, and parents in our sample reported many sig-
another job.                                                      nificant changes following raids and other arrests. Parents
      We found that lost incomes were associated with hous-       reported a large majority of children had difficulties sleeping
ing instability. Some families lost their homes or their          and eating in the months immediately following the raids and
ability to pay rent, while others moved in with relatives to      other arrests, and a majority of children also cried often and
control costs, and still others—in Postville—were asked by        clung to their parents. These behavioral changes subsided
charities to move in together to save on rental assistance.       somewhat over time, but were still widespread more than
Across our study sites, many children wound up moving             six months after the raids or other arrests. Difficulties eating
often and living in crowded conditions. Such instability can      and sleeping, excessive crying, and clinging to parents were
have adverse consequences for children, especially when           most common among younger children, while aggressive and
coupled with other related material hardships and increased       withdrawn behavior was more common among the older
family stress.                                                    children. There were mixed effects on children’s behavior in
      Families in our study sample reported high levels of food   school, and in many cases schools were supportive environ-
hardship—many times the levels in nationally representative       ments that helped children cope. School absenteeism often
samples—as indicated by difficulty affording food and by          increased in the short run, and in some cases, children lost
parents cutting meals, skipping meals, or going hungry to         their motivation for school. Overall, however, the evidence
feed their children. As in other studies of food hardship,        about academic difficulties among children in the sample
parents reported that the children themselves rarely went         was mixed, and in the longer term, some children were
hungry, but in many cases they worried that their children’s      reported to be doing a little better than before the arrest,
diets were not adequate to ensure good health.                    while others showed a bit of a slide. We may not have had a
      These findings reinforce some of the short-term hard-       time frame long enough to observe deterioration in academic
ships we reported in Paying the Price, while also showing that    performance. Moreover, the schools were very supportive
some of these conditions can persist over a much longer time      of the children in the smaller communities we studied—
frame. Housing instability and food hardship lasted for many      especially Grand Island, New Bedford, and Postville—
months, and even more than a year for some of the families        which may have ameliorated some of the psychological
in our long-term sample.                                          impacts on children following parental arrest.
      Economic hardship was prolonged by parental detention
and by the inability of parents to work while they were con-
                                                                  Community Response
testing their deportation. We did not interview many families
where parents were deported right away after their arrest—        St. Bridget’s Church in Postville launched the most compre-
a common outcome in the first raid we studied in Grand            hensive humanitarian response of any group that we studied,
Island—because we did not interview parents after they left       but there were also large-scale community responses to the
the country. Most parents in our workplace raid sites were        workplace raids in New Bedford, Grand Island, and Van
either detained for a period and then released, or released       Nuys. Coordination of services by a coalition or church,
under bond or with electronic monitoring. Most of the par-        strong fundraising and publicity efforts, and provision of
ents chose to stay and contest their deportation. Their           services through trusted locations such as churches and
attempts to obtain relief from deportation lasted more than       community-based organizations were common features in
                                                                                                                                     71

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     Postville, Grand Island, and New Bedford. Provision of             criminally, obtaining relief from immigration enforcement
     charity for housing, utilities, food, and other necessities        became much more difficult.
     for a period of months was common in all three of these
     sites. Humanitarian assistance was less comprehensive and
                                                                        The Policy Context
     less well coordinated in Van Nuys, where the response
     focused more on linking families to legal assistance. Nearly       Our research was conducted during 2008 and early 2009,
     all the arrestees in Van Nuys were released, and it was com-       and the parents in our sample were arrested between 2006
     paratively less difficult—though by no means easy—for              and 2008. The period of study was one of intense enforce-
     them to find new work following the raid.                          ment activity, with a significant increase in the total number
           Unlike Paying the Price, our current study also focuses      of arrests, detentions, and deportations over previous years
     on impacts and community responses in sites where immi-            overall—and specifically in worksite and home raids. This
     grants were arrested in smaller-scale operations. This focus is    was a period of rapid expansion in enforcement and deten-
     especially important given the trend away from large-scale         tion for ICE and its partner agencies. Some of the wide-
     worksite raids toward more widespread arrests through FOTs         spread confusion and difficulties faced by the families,
     and the 287(g) program. In two of our sites—Miami and              communities, lawyers, and other responders in our study
     Rogers-Springdale—there were no large-scale raids, and as a        may have been the result of inevitable growing pains due to
     result, no significant publicity, fundraising, or private assis-   rapid expansion of ICE’s operations during this period. One
     tance for affected families in these locations. We found           beneficial policy change during the period of study was the
     family hardship to be just as high, if not higher in Miami         release of humanitarian guidelines for parents arrested in
     and Rogers-Springdale than in the other sites, but we found        workplace raids of 150 or more arrests.
     levels of assistance to affected families to be much lower.
           Among our study’s workplace raid sites, legal assistance
                                                                        Replacing Worksite Raids with Other Employer
     and efforts to contest deportation appear to have been most
                                                                        Enforcement Strategies
     effective in New Bedford and Van Nuys, where most of those
     arrested contested their deportations. A significant share have    Enforcement has continued at a rapid pace since the Obama
     been successful, and many of the remaining cases continue to       administration took office in 2009, but there have also been
     be adjudicated. Fewer people were able to contest their depor-     several significant shifts in enforcement policy. First, there
     tation in Postville, because most had also been charged            has been a major change of direction in worksite enforce-
     criminally; however, about two dozen had received relief           ment. ICE applied the humanitarian guidelines to all work-
     from deportation a year and a half after the raid. Legal assis-    site raids of 25 or more arrests, and following a small raid in
     tance was least successful in Grand Island, the earliest of our    Washington State in February 2009, there have been no fur-
     raid sites, where more parents took voluntary departure and        ther workplace raids. Instead, DHS has focused on expanding
     fewer contested their deportation. It may be that over time,       and improving E-Verify, an electronic system for verifying
     owing to national- and state-level organizing efforts, lawyers     work authorization that was piloted several years ago and is
     became better equipped to assist immigrants caught up in           now mandatory for all federal contractors and voluntary for
     raids. It may also be that new legal remedies—such as the          most other employers. In November 2009, approximately
     U-visa for victims of crime—became more widely used. This          170,000 U.S. businesses were using the system.74 During
     was certainly the case in Postville, where most of those suc-      2009 ICE also concentrated on auditing employers, leading
     ceeding in contesting their deportation received U-visas.          to fines against several dozen employers and the firing of
           In our two nonworkplace raid sites, however, legal reme-
     dies like U-visas were unavailable. Almost all of the Haitians
     arrested in Miami were on a final deportation order list,          74
                                                                          Immigration and Customs Enforcement, 2009, “Secretary
     meaning that relief from deportation was very difficult.           Napolitano, ICE Assistant Secretary Morton and USCIS Director
                                                                        Mayorkas Announce New Campaign to Recognize Employers
     Immigrants in Rogers-Springdale were in some cases arrested
                                                                        Committed to Maintaining a Legal Workforce,” Press Release,
     for working illegally, but most were brought in on traffic vio-    November 19, http://www.ice.gov/pi/nr/0911/091119washingtondc.
     lations and other criminal charges. Once they were charged         htm.

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several thousand unauthorized workers.75 These audits and            and 287(g) agreements could theoretically lead to a much
firings may inflict economic hardship on immigrant families          larger number of arrests and deportations, but targeting the
as parents lose their jobs—a topic worthy of further study.          focus of these efforts on immigrants who have committed
However, they avert some of the most adverse consequences            serious crimes could potentially reduce the scope of these
for families, including the stigma of arrest, family separation,     programs.78
and anxiety about parental deportation.

                                                                     Continuing Arrests by Fugitive Operations Teams
Expanding Operations to Arrest
                                                                     ICE has also stated that it will continue operations to identify,
and Deport Criminal Aliens
                                                                     detain, and deport unauthorized immigrants with outstanding
ICE has continued to expand its operations to arrest, detain,        deportation orders. ICE is continuing large sweeps by FOTs
and deport unauthorized immigrants with criminal histo-              but focusing more on immigrants who have committed serious
ries. Despite the controversies surrounding the program,             crimes. For instance, during three days in early December
ICE signed 287(g) agreements with several new state and              2009, FOTs conducted their largest single sweep to date.
local law enforcement agencies in late 2009.76 ICE also rene-        The FOTs arrested almost 300 immigrants in California,
gotiated most of the older agreements, and a few jurisdic-           about 80 percent of whom had committed violent or other
tions dropped out of the program. During the negotiations            serious crimes.79 At the same time, ICE is releasing some of
and in new contracts, ICE emphasized that 287(g) programs            those caught up in the FOT sweeps.80 About 30,000 Haitians
should focus primarily on serious criminals, and that partici-       remain on a final deportation list, and ICE may continue
pating agencies should not conduct random sweeps or                  to target this population for deportation.81 Advocates have
arrest immigrants without criminal histories. But ICE has            requested that the federal government extend TPS to Haitians
allowed participating jurisdictions to continue some street-         to prevent their deportation, but as of late 2009 there had
level operations. Moreover, ICE has expanded the Secure              not been any progress on this issue.
Communities program, which allows for electronic screen-
ing of the immigration status of all inmates when they are
                                                                     Redesigning the Detention System
booked, with the goal of screening all inmates in state and
local prisons by 2013.77 Together with an expanded set of            There have been criticisms—some of which are reflected in
287(g) agreements, Secure Communities will cast a much               this report—of ICE detention policies for separating families,
wider net to find and deport unauthorized immigrants with            detaining children, moving detainees to inaccessible locations,
criminal histories. The expansion of Secure Communities              preventing communication with lawyers and family members,
                                                                     and contracting out detention to private companies with poor


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   In May 2009, American Apparel, a garment manufacturer in Los
                                                                     78
Angeles, fired 1,800 immigrants after an ICE audit (Neil A. Lewis,      A significant concern remains that 287(g) and other state and
2009, “Immigration Officials to Audit 1,000 More Companies,”         local coordination programs have resulted in increasing numbers of
New York Times, November 20). For an overview of ICE’s new           immigrants being referred to ICE due to immigration violations or
worksite enforcement policy, see Immigration and Customs             minor crimes. For statistics on the charges against immigrants
Enforcement, 2009, “Worksite Enforcement Strategy,” Fact Sheet,      referred into ICE detention from these various programs, see
April 30, http://www.ice.gov/doclib/pi/news/factsheets/worksite_     Schriro, 2009, pp. 12–13.
                                                                     79
strategy.pdf. For a description of results of the new policy as of      Randal C. Archibald, 2009, “Immigration Officials Arrest 300 in
November 2009, see Immigration and Customs Enforcement,              California,” New York Times, December 11.
                                                                     80
2009, “ICE Assistant Secretary John Morton Announces 1,000              For example, a group of immigrants arrested by FOTs in New
New Workplace Audits to Hold Employers Accountable for Their         Jersey were recently released, under supervision and with work per-
Hiring Practices,” Press Release, November 19,                       mits, while they contest their deportation. A local church has
http://www.ice.gov/pi/nr/0911/091119washingtondc2.htm.               developed a compact with ICE to help supervise these immigrants.
76 Randal C. Archibald, 2009, “U.S. Alters Disputed Immigration      Nina Bernstein, 2009, “New Jersey Church Works with U.S. to
Rules for Police,” New York Times, October 16.                       Spare Immigrants Detention,” New York Times, December 12.
77 Chris Strohm, 2009, “Search for Illegal Immigrants Widens,”       81
                                                                        Kirk Semple, 2009, “Haitians in U.S. Illegally Look for Signs of
Congress Daily, November 12.                                         a Deporting Reprieve,” New York Times, May 27.

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     track records in how they treat detainees. In October 2009,         continuing pressure to prove that enforcement is working,
     DHS released a report with recommendations for a major              and this could lead to increasing arrests and deportations.
     overhaul of the immigration detention system,82 which would
     include keeping only persons with serious criminal records in       Recommendations
     secure settings, developing less secure facilities for detainees
     without criminal records or who otherwise present little risk       In this climate of change, it is particularly important that the
     to others, using alternatives to detention more often, keeping      evidence about impacts of immigration enforcement on chil-
     detainees in major metropolitan areas closer to their families      dren informs policy decisions and implementation. The fol-
                                                                         lowing recommendations draw on the findings of our research:
     and attorneys, and providing easier access to and communica-
     tion with detainees. Given the size of the current system—
     over 30,000 detainees in more than 200 facilities on any            Changes to Current Immigration Laws
     given night—such an overhaul would be a large and com-              1. Congress should modify current immigration law to
     plex undertaking. But further increasing alternatives to            take into account the circumstances and interests of all
     detention and developing a system that allows family mem-           children, especially U.S. citizen children, during depor-
     bers better access to detainees would clearly benefit children      tation proceedings.
     with arrested parents.
                                                                         In 1996, IIRIRA set the stage for many of the sweeping
                                                                         enforcement operations undertaken by ICE and state and
     Setting the Context for Immigration Reform
                                                                         local law enforcement agencies in recent years. It authorized
     The Obama administration has announced its intention to             the federal government to enter into agreements with state
     seek another round of debate over comprehensive immigra-            and local agencies to enforce immigration laws, and expanded
     tion reform starting in 2010, although the amount of support        the range of crimes for which immigrants must be detained
     in Congress is uncertain. Comprehensive reform bills failed         and can be deported. Most importantly for our research,
     twice in 2006 and 2007, in part due to the impression that          the 1996 law limited relief from deportation. Among other
     enforcement efforts had not been successful. The Obama              changes, it removed the discretion of immigration judges to
     administration and one of the key proponents of reform,             weigh the significant harm that would result to a U.S. citizen
     Senator Charles Schumer, have stated that any new reform            child of a deported parent in considering this relief.85
     effort would focus on enforcement first, followed by legaliza-            We recommend modification of these provisions, either
     tion.83 The administration and DHS are making the case that         as part of a comprehensive reform bill or as stand-alone legis-
     enforcement is succeeding, based on an historic reduction in        lation, as follows.
     Southwest border apprehensions (which are down about                      First, the law should be amended so that a U.S. citizen
     two-thirds since 2000), a high level of deportations (which         child under age 18, with representation from a legal guardian
     rose 65 percent to 387,000 in the fiscal year ending in             (i.e., a guardian ad litem), should be allowed by law to peti-
     September 2009), and employer enforcement efforts via               tion for the lawful admission and residency of his or her
     E-Verify alongside a growing number of workplace investiga-         parent through the family immigration process for immedi-
                                                                         ate relatives. This would require an amendment to the defini-
     tions and fines.84 As was the case in 2006 and 2007, there is a
                                                                         tion of “immediate relative” in current law (which includes
                                                                         spouses and children of adult legal residents) to include the
                                                                         parents of minor children.86
     82
        Schriro, 2009.
     83
        Julia Preston, 2009, “White House Plan on Immigration Includes
     Legal Status,” New York Times, November 13; Senator Charles E.
                                                                         85
     Schumer, 2009, “Schumer Announces Principles for Comprehensive         Kremer, Moccio, and Hammell, 2009; Kerwin, 1999.
                                                                         86
     Immigration Reform Bill in Works in Senate,” June 24, http://          It would also be necessary to revise the requirements in IIRIRA
     schumer.senate.gov/new_website/record.cfm?id=314990.                around the affidavits of support, which require sponsors to docu-
     84 Melanie Trottman, 2009, “Immigrant Bill Is Back on Table,”       ment family incomes at or above 125 percent of the federal poverty
     Wall Street Journal, November 14; Manuel Valdes, 2009, “Crimi-      level to petition for their relatives. This requirement would pre-
     nal Deportations Spike in Pacific Northwest,” Associated Press,     clude most children from sponsoring their parents. For more on
     November 19.                                                        affidavits of support see Kerwin, 1999.

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      Prioritizing the admission of parents with minor citizen                Policy changes regarding the arrest, detention, and
children would be the broadest change to current law and                 release of parents can only go so far in ameliorating the
could be an important provision of a comprehensive reform                hardship of children in these circumstances. Deportation
bill. Comprehensive reform efforts could also make the par-              inevitably results in either prolonged separation of the family
ents of citizen children a priority group for establishing legal         or the de facto deportation of children to the parents’ coun-
residency, while requiring them to meet the same require-                try of origin. Additionally, the removal of parents results
ments as others in the population to be legalized (i.e., to pay          in economic hardship for children whether the children
fines for illegal entry).                                                remain in or leave the United States. Ultimately, children
      Second, the rights and interests of children during                would best be protected if immigration judges could weigh
deportation proceedings should be recognized by law.                     the harm to children against other factors in considering
Before IIRIRA, the law allowed immigration judges to                     their parents’ deportation.
grant relief from deportation when it would cause hardship                    Finally, while it may seem largely symbolic, the
to children, but IIRIRA raised the bar for such a determi-               United States should indicate its strong commitment to
nation to “exceptional and extremely unusual hardship”—a                 protecting the interests of children by signing on to and
standard that is seldom met in practice.87 In addition,                  ratifying the International Convention on the Rights of
IIRIRA made immigrants with criminal charges and those                   the Child and bring detention and deportation standards
with insufficient consecutive time in the United States inel-            for parents to international norms.91 Signing on to the
igible for such relief. We would recommend that Congress                 convention would signal that the U.S. government is seri-
establish an alternative standard such that if a parent’s                ous about extending protections to children into all aspects
deportation were likely to cause substantial economic, psy-              of federal policy, including immigration enforcement. It
chological, or development hardship to children, the parent              could also facilitate harmonizing protections for children
could remain in the United States.88 We also recommend                   during immigration proceedings along the lines of those in
that Congress allow immigration judges to evaluate depor-                other countries. Only the United States and Somalia have
tation cases individually, as they did before 1996, and                  not signed the convention.92
weigh the potential harm to children against the seriousness                  Signing on to the convention, and most importantly,
of immigration offenses, danger to the community, flight                 making the appropriate adjustments to immigration laws
risk, and other factors.89 Legislation revising the criteria for         consistent with these international norms and with
relief from deportation based on hardship to a citizen child             American values are the main and most far-reaching
has been introduced in recent years, and such legislation                changes that the United States should make to protect
would directly address this issue.90                                     children from any harm that may result from the arrest of
                                                                         their immigrant parents.




87
   8 U.S.C. § 1229b. A related issue is whether or not parents can
legally return to the United States after their deportation. Bars on     pass. Such protections for children against parental deportation are
legal reentry currently run from 3 to 10 years for most deportees,       also included in a Democratic comprehensive reform bill introduced
and hardship to a child is not a consideration in establishing these     in the House in December 2009: the Immigration Reform for
bars (Kremer, Moccio, and Hammell, 2009).                                America’s Security and Prosperity Act of 2009. For more informa-
88
   For a fuller explanation, see Kremer, Moccio, and Hammell, 2009.      tion see, Immigration Policy Center, “Summary of the Immig-
89
   For more on this recommendation, see Kerwin, 1999.                    ration Reform for America’s Security and Prosperity Act of 2009,”
90
   In the 111th Congress, Rep. José Serrano and 33 cosponsors            December 15, 2009, http://immigrationpolicy.org/just-facts/
introduced House Resolution 1176, the “Child Citizen Protection          summary-comprehensive-immigration-reform-americas-security-
Act,” which would “provide discretionary authority to an immigra-        and-prosperity-act-2009.
tion judge to determine that an alien parent of a United States citi-    91 UNICEF, “Convention on the Rights of the Child,” August 28,

zen child should not be ordered removed, deported, or excluded           2008, http://www.unicef.org/crc/, accessed November 20, 2009.
from the United States.” OpenCongress bill summary, http://www.          92 Amnesty International USA, “Convention on the Rights of the

opencongress.org/bill/110-h1176/show. Rep. Serrano and others            Child,” http://www.amnestyusa.org/children/convention-on-the-
sponsored similar legislation in previous Congresses, but it failed to   rights-of-the-child/page.do?id=1101777.

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     Changes in Immigration Enforcement Strategies                           arrests by FOTs and referrals from state and local law
                                                                             enforcement agencies. The humanitarian guidelines ICE
     ICE should also continue to review and revise its enforcement
                                                                             issued in November 2007 regarding the quick release of par-
     policies in a number of critical areas.93 This is important
                                                                             ents in large-scale worksite raids made a significant differ-
     because, given the difficulties experienced in 2006 and 2007 in
                                                                             ence for many families and children in Van Nuys and
     passing comprehensive immigration reform, the prognosis for
                                                                             Postville.
     a successful bill in 2010 is uncertain. In addition, stand-alone
                                                                                  We observed worse impacts on family hardship and
     legislation protecting the rights of children in deportation pro-
                                                                             children’s behavior in those cases where parents were
     ceedings has also been considered but not passed recently.
                                                                             detained for long periods of time. The extension of these
     Without such legislative changes, the law instructs ICE to
                                                                             humanitarian guidelines to cover raids in which 25 or more
     arrest, detain, and deport unauthorized immigrants for a broad
                                                                             workers are arrested and the absence of large-scale worksite
     variety of charges, and the agency will continue to experience
     pressure to show results in terms of deporting large numbers of         raids in the past year are positive developments. However,
     immigrants, finding and removing criminal aliens, and target-           until these guidelines cover the full range of enforcement
     ing employers who hire unauthorized workers. Our specific               activities by ICE and its partner agencies, which result in a
     recommendations for enforcement changes are as follows:                 larger number of arrests, most children will remain unpro-
                                                                             tected and family separations will continue to be a signifi-
     2. ICE should continue the de facto moratorium on
                                                                             cant problem. On a broader scale, DHS and ICE are
     worksite raids.
                                                                             currently reviewing detention policies, and as they do so, the
     We applaud ICE’s apparent decision to stop large-scale                  agencies should consider further developing alternatives to
     worksite raids and focus instead on investigating and fining            detention for parents.
     employers and increasing use of E-Verify. Our current and
                                                                             4. As ICE reforms the system, the agency should
     previous work, along with the research of many others, has
                                                                             develop supervised release policies and other alternative
     highlighted the harmful child-specific and community-wide
                                                                             forms of detention with the needs of parents and chil-
     effects of such raids due to their large numbers of arrests and
     shows of force, which have overwhelmed many communities.                dren in mind.
     It is much more humane, practical, and effective to focus on            Our research also suggests that parent-child separation has
     changing employer behavior, rather than punishing parents               harmful effects on children over the long term. ICE has in
     for working and children for having working parents.                    many cases established alternative forms of detention for par-
     3. Law enforcement should allow alternatives to deten-                  ents during the period of weeks, months, and sometimes years
     tion for arrested parents who represent neither a danger to             between arrest and eventual deportation. In particular, ICE
     the community nor a flight risk in all types of enforce-                should consider alternatives to using ankle bracelets for longer
     ment operations, as long as mandatory detention rules do                periods of time when other types of supervised release—
     not apply to these parents.                                             having less impact on mobility for the parent and less stigma
                                                                             for the whole family—could be implemented, particularly if
     The humanitarian release rules that applied to the worksite
                                                                             this can be done without significantly compromising the goal
     raids we studied in Postville and Van Nuys should apply to
                                                                             of monitoring.

                                                                             5. ICE should improve screening and data collection on
     93
        Congress might choose to weigh in on ICE procedures during
                                                                             arrests, detentions, and deportations that involve parents
     enforcement operations, including several of the issues discussed
     below. For instance, in the 111th Congress, Representative Lynn         and release such data publicly.
     Woolsey and seven cosponsors have introduced H.R. 3531, the
     Humane Enforcement and Legal Protections for Separated                  Here, too, ICE made significant progress in the later work-
     Children Act (HELP Act). The HELP Act would require ICE to              site raids: we heard that ICE was thorough in screening par-
     identify parents and other vulnerable populations apprehended dur-      ents in Postville and Van Nuys, and only heard of one case
     ing immigration enforcement activities, establish procedures for
                                                                             in Postville where a parent served a full five-month sen-
     treating parents and children respectfully during arrest and deten-
     tion, and set guidelines for their release or placement into alterna-   tence because she was afraid to reveal that she had young
     tives to detention programs.                                            children. But there are no published, comprehensive data
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on the number of parents who are arrested—the DHS                  lies and communities, and that families be informed of
Inspector General’s report provides only a limited estimate        impending transfers.96
over a 10-year period.94 In order to determine whether
                                                                   7. Allow parents who have a potentially valid claim the
arrestees have children, ICE should provide full access to
                                                                   opportunity to work while contesting their deportation,
immigration lawyers, home country consulates, social service
                                                                   by issuing work permits early on and expediting process-
providers, and child welfare representatives. This may be
                                                                   ing of U-visas for parents who are victims of crimes.
more difficult for isolated arrests and smaller operations
than for larger-scale worksite raids, but if ICE were to better    In our long-term sample, we found substantial food hard-
centralize investigative and detention operations, then such       ship and housing instability in families where parents were
procedures could be institutionalized. Improved screening          released but could not work while contesting their deporta-
and data collection should be required as part of the training     tion. In a large number of cases—a majority of our sample in
and activities of state and local officers in the 287(g) pro-      Postville—the legal procedures and resulting hardship lasted
gram as well, with ICE officers screening for children a sec-      for several months. In some cases in Postville, parents con-
ond time when detained immigrants are picked up from               testing deportation remained monitored by ankle bracelets,
state and local facilities.                                        could not work, and were entirely dependent on charity for
6. Law enforcement should allow greater access to                  their survival for over a year. We recommend that ICE pro-
arrested immigrants during their processing and deten-             vide work permits early on for parents who have put forth
tion, including minimizing transfer of detainees to remote         what may be a valid claim for temporary or permanent resi-
locations and supporting children’s communication and              dency (for example, as a victim of crime or abuse, a coopera-
visitation with detained parents.                                  tive witness, or an asylum claimant). The parents in this
                                                                   category amounted to a fraction of all the cases in our study
For those parents who are detained, it is important to             sites—thus far, less than 10 percent in Grand Island and
grant access not only to third parties to screen for children,
                                                                   New Bedford, and about 15 percent in Postville. DHS
but also to lawyers to provide for their defense and to con-
                                                                   should expedite processing of U-visas, as many immigrants
sular officials to address other needs. In this area we noted
                                                                   who are illegally employed may be the victims of crimes, as
fewer improvements over time: access was as problematic
                                                                   was the case at Agriprocessors in Postville and Michael
in Postville, the last raid we studied, as it was in the earlier
                                                                   Bianco in New Bedford.
raids in Grand Island and New Bedford. Detainees need
access to these resources not only in the initial period fol-      8. ICE should work with other agencies, state and local
lowing the raid, when consulting a lawyer is critical, but         governments, and the nonprofit sector to develop plans for
also when detention lasts for days, weeks, or months.              the well-being of children when their parents are deported.
Communication with children throughout a parent’s                  Absent changes in immigration law, only a small fraction of
detention is important for children’s psychological well-          parents will be able to contest their deportation. In the
being, as we noted in some examples in this report. The
DHS report on reforming immigration detention sug-
gested developing less punitive facilities for detainees who
                                                                   96
do not have criminal records or otherwise are not a danger            A more recent report by the DHS Office of Inspector General
                                                                   found that detainees are frequently transferred without regard to
to others.95 ICE should develop such facilities to allow           eligibility for release and with incomplete information about their
children and other family members frequent and easy                status, legal counsel, and other factors. The report concludes that
access to detained parents, in those cases where supervised        poor information exchange among ICE offices and between ICE
                                                                   and the immigration courts results in detainees getting lost in the
release is not possible. We also recommend, as did the
                                                                   system and being transferred far from legal counsel and family
DHS report, that immigrants be detained near their fami-           members. This is consistent with what we heard from the com-
                                                                   munity and family respondents we interviewed. See Department
                                                                   of Homeland Security, Office of Inspector General, 2009,
                                                                   “Immigration and Customs Enforcement Policies and Procedures
94
     Department of Homeland Security, 2009.                        Related to Detainee Transfers,” OIG 10-13, Washington, DC:
95
     Schriro, 2009.                                                Department of Homeland Security.

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     majority of cases where deportation is a likely result, deporta-     dren were left without parents after school. We recommend
     tion should be timed such that a plan for the well-being of          that local law enforcement agencies also inform local school
     children can be developed, either in the United States or in         districts, early childhood programs, and social service agen-
     the parents’ return country. Such a plan should provide for          cies of impending raids and ongoing small-scale enforcement
     education, health, and family stability. For example, in a situ-     activities. Schools and other community institutions for their
     ation where a parent is being deported and the rest of the           part should develop plans to ensure the safety of children in
     family is likely to return to the parent’s country of origin as      the event of a raid or other form of parental arrest.
     well, it may be important for children to be able to complete              Children and families experiencing parental arrest may
     the academic year in the United States. If children are receiv-      need counseling and other mental health services over the
     ing special medical treatment, arrangements to continue treat-       long term. Due to their universal presence, schools may be
     ment should be made in their new place of residence.                 the best place to provide children with counseling, but many
                                                                          school districts may be unable to afford counseling for large
                                                                          numbers of children over a long period of time. Significant
     Changes in Community Response Efforts and                            numbers of children in both New Bedford and Postville
     Services to Affected Children and Families                           received counseling following the raids in these communities.
     Absent comprehensive reform or other legislation to prevent          Finding resources for counseling adults may be more diffi-
     deportation, there will continue to be large numbers of              cult, and we only heard about significant or sustained coun-
     arrests, detentions, and deportations of parents. Changes in         seling efforts for adults in Postville. Finding counselors who
     ICE procedures can only go so far to ameliorate family sepa-         understand the language and culture of affected immigrants
     ration, economic hardship, and other consequences for chil-          may be another hurdle. Additionally, immigrants are often
     dren. ICE is limited in its ability to be responsive to children’s   reluctant to attend counseling; they may respond better to
     needs by its primary law enforcement mission. The welfare of         interventions by clergy or from more informal healing activi-
     children with arrested and deported parents is also the respon-      ties, like the sewing circles many of the women formed in
     sibility of community institutions—here defined broadly as           New Bedford.
     institutions in affected communities, nationally in the United       10. Lawyers, community leaders, immigrant-serving
     States and transnationally in communities of origin. Our             organizations, faith-based organizations, and other
     research demonstrated both the successes of and the chal-            trusted community actors should educate parents about
     lenges experienced by these institutions in supporting families      the current protocols used by immigration enforcement
     during and after enforcement actions, and we draw a number           agents and how best to respond in the circumstances
     of recommendations from this evidence.                               where parents are detained and asked whether they
     9. The special role of schools and early childhood pro-              have children.
     grams, amply demonstrated in the study, should be                    In Massachusetts, local community-based organizations and
     strengthened through policies that ensure early alerts from          legal service agencies have conducted trainings and produced
     ICE and local law enforcement and through plans devel-               concise, easy-to-read guides about how families, individuals,
     oped in advance by schools themselves to protect children            and institutions can respond to home or workplace raids.
     in the immediate aftermath of raids or other arrests and to          These guides discuss individuals’ rights if they are detained, as
     provide safe havens and comfortable learning environ-                well as how to notify attorneys, family members, and others
     ments.                                                               about their arrest.97 Before the Postville raid, lawyers and
     Public schools are a universal institution, operating in every       community leaders across Iowa had developed a network to
     U.S. community and which all children are entitled to
     attend. Schools in our study sites provided both short- and          97
                                                                            For a comprehensive guide for families and communities on how
     long-term support to children and families. School districts         to prepare for immigration raids and other arrests, as well as a list of
                                                                          resources developed at the state and local levels, see National
     in three of our sites—Grand Island, New Bedford, and
                                                                          Council of La Raza, 2009, “Community Responses to Immigration
     Postville—were able to obtain information about the raids            Raids: A Collection of Resources,” http://www.nclr.org/files/
     relatively quickly and developed plans to ensure that no chil-       54953_file_Comprehensive_Raids_Resources.pdf.

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disseminate such information and develop plans to respond            Trusted community institutions should conduct outreach to
to raids, but the network did not reach Postville in time for        affected families and facilitate their enrollment in public assis-
the raid.                                                            tance programs. The best example of this was in Postville,
                                                                     where St. Bridget’s Church centralized services and hosted
11. State and local child welfare agencies, along with
                                                                     staff from a nearby health clinic and from the Iowa DHS,
foundations, experts, and advocates specializing in child
                                                                     which took food stamp applications on site and significantly
welfare issues, should consider appropriate avenues to
                                                                     lessened the level of food hardship in this community relative
protect and advance the interests of children whose par-
                                                                     to the other sites. Churches also played important roles in
ents are caught up in immigration enforcement.
                                                                     relief provision, to one degree or another, in all of our other
Public child welfare agencies may in some circumstances be           study sites. Many nonprofit and faith-based organizations lack
able to assist families, as in the example of MDSS during the        the financial resources or infrastructure to sustain large-scale
New Bedford raid, where the agency maintained a focus on             or long-term relief so it is also important for these organiza-
the best interests of children, pressed ICE to release parents,      tions to help link eligible families with public benefits to help
and avoided removal of children from their homes after               them overcome the material hardships that children in partic-
parental arrest. However, the role of child welfare agencies is      ular might otherwise experience.
not always clear-cut, and there is some danger that their                  We recommend that state and local government agencies
involvement could lead to separation of children from par-           work as closely as possible with faith-based organizations and
ents. These risks are particularly great if agency staff do not      community organizations in immigrant communities to
have expertise in reaching out to extended families, knowl-          develop plans for service delivery to families affected by immi-
edge of immigration laws (or access to such knowledge), and          gration arrests.
considerable cultural competence. Further work to identify
positive practices and roles for the child welfare system            14. Institutions such as churches and community organ-
would be helpful.                                                    izations that provide humanitarian assistance should be
                                                                     prepared to continue assistance over the long term.
12. National, state, and local networks of deportation
defense lawyers should be established, for instance,                 Detentions often last for months, and deportation proceed-
through chapters of the American Bar Association and                 ings, including subsequent appeals, can last for years, but the
the American Immigration Lawyers Association.                        relief efforts we studied were mostly concentrated in the first
                                                                     days and weeks following worksite raids. The exceptions
Legal resources were uneven across our study sites, with the         were in Postville, where religious groups managed to raise
strongest networks in New Bedford and Van Nuys, where                enough money to continue supporting families for more
lawyers helped the largest numbers of immigrants contest
                                                                     than a year, and in New Bedford, where local organizations
their deportation. Lawyers across Iowa had begun setting up a
                                                                     such as Catholic Charities kept up intensive efforts to sup-
network before the Postville raid, but it was too small and too
                                                                     port families for many months. Housing is generally a fam-
far from Postville to be of much assistance. As a result, a single
                                                                     ily’s most expensive basic need, and families often wind up
lawyer out of Des Moines wound up handling most of the
                                                                     crowding together to reduce costs. Over the long term,
cases. Deportation defense is a difficult task under current
                                                                     responding institutions should concentrate on housing as
U.S. immigration law, and it is seldom profitable, especially
                                                                     well as other forms of support.
when deportees do not have the resources to pay lawyers—as
was the case for families in our sample. Thus, we would rec-         15. Nongovernmental institutions such as churches,
ommend that foundations, large law firms, and other institu-         CBOs, foundations, and advocacy organizations, along-
tions develop and support networks of deportation defense            side state and federal governments, should consider strate-
lawyers at the national, state, and local levels.                    gies for coordinating health and education services for
                                                                     citizen children who cross back and forth between nations
13. Both legal and humanitarian assistance should be
                                                                     as a result of parental deportation.
coordinated by and offered through trusted community
institutions such as those in faith-based and immigrant-             Even though many of the parents in our study contested
serving organizations.                                               their deportation, the majority of them have been or may
                                                                                                                                          79

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     eventually be deported. Parents faced heart-wrenching deci-     hardship, and changes in children’s behavior. As the U.S.
     sions about whether to take their children with them or leave   government shifts its attention from controversial large-scale
     them in the United States with another parent or relative.      workplace raids to other forms of enforcement, protections
     There has been little documentation of conditions that await    for children during parental arrest, detention, and deporta-
     children after deportation, but in general the receiving com-   tion are critical. Comprehensive immigration reform could
     munities in Mexico, Central America, and elsewhere are          consider the presence of U.S. citizen children as a central cri-
     poor, with limited infrastructure in health, education, and     terion for legalization. Absent comprehensive reform, the
     other basic necessities for children. Even when schools and     most important protection for children would be allowing
     other services are relatively strong, they are not well         immigration judges to consider the harm that children would
     coordinated with U.S. school and health systems, and chil-      face if deported or separated from deported parents, but this
     dren who move back and forth may lose ground and fall into      would require legislation reforming the process for contesting
     gaps. The numbers of U.S. deportees—hundreds of thou-           deportation. It is likely that comprehensive reform or other
     sands every year—are now sufficient to warrant partnerships     immigration legislation would take some time to pass
     between U.S. and receiving community service providers          and possibly might not pass at all. In the meantime, ICE
     (such as schools) and potentially, investments in receiving     should continue to reform its enforcement and detention
     communities as well. Without such linkages and invest-          operations—keeping the best interests of children in mind.
     ments, the children of deportees will continue to experience    And national, state, and local institutions involved in protecting
     hardship and limited opportunities for their future.            children and integrating immigrants should continue to plan
                                                                     strategies to respond to immigration operations—both large
                                                                     and small. The substantial resources that community institu-
     Conclusion
                                                                     tions have expended on supporting affected families in the
     In conclusion, our report finds substantial economic hard-      aftermath of ICE operations—alongside the large sums ICE
     ship and emotional difficulties for children with parents       has spent on the operations themselves—show how costly
     arrested in immigration raids. Worksite raids have received     our current broken immigration system has become in finan-
     the most attention—both from the press and in terms of          cial terms. However, the underlying price that is paid by
     community responses—but other forms of arrest such as           children poses a much longer-term burden that will continue
     those by FOTs and the state and local police have similar       to extend into the future unless it is faced squarely and prac-
     impacts on children—long-term family separation, economic       tically by the United States.




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                                                                                                                         Facing Our Future
                                                                                                                        Children in the Aftermath of
                                                                                                                          Immigration Enforcement
                                                                                                                                                   Ajay Chaudry




                                                                 Facing Our Future
                                                                                                                                                   Randy Capps
                                                                                                                                            Juan Manuel Pedroza
                                                                                                                                           Rosa Maria Castañeda
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   In the Child’s Best Interest?
             the consequences of losing a
        lawful immigrant parent to deportation
                                            March 2010




International Human Rights Law Clinic    Chief Justice Earl Warren Institute     Immigration Law Clinic
    University of California, Berkeley    on Race, Ethnicity and Diversity     University of California, Davis
             School of Law                University of California, Berkeley           School of Law
                                                    School of Law


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               In the Child’s Best Interest?
                the consequences of losing
         a lawful immigrant parent to deportation



                                  March 2010




                   International Human Rights Law Clinic
                 University of California, Berkeley, School of Law

       Chief Justice Earl Warren Institute on Race, Ethnicity and Diversity
                  University of California, Berkeley, School of Law

                            Immigration Law Clinic
                  University of California, Davis, School of Law




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INTERNATIONAL HUMAN RIGHTS LAW CLINIC, UNIVERSITY OF CALIFORNIA, BERKELEY, SCHOOL OF LAW

The International Human Rights Law Clinic (IHRLC) designs and implements innovative human
rights projects to advance the struggle for justice on behalf of individuals and marginalized commu-
nities through advocacy, research, and policy development. The IHRLC employs an interdisciplinary
model that leverages the intellectual capital of the university to provide innovative solutions to emerging
human rights issues. The IHRLC develops collaborative partnerships with researchers, scholars, and
human rights activists worldwide. Students are integral to all phases of the IHRLC’s work and acquire
unparalleled experience generating knowledge and employing strategies to address the most urgent
human rights issues of our day. For more information, please visit: www.humanrightsclinic.org.

CHIEF JUSTICE EARL WARREN INSTITUTE ON RACE, ETHNICITY AND DIVERSITY
UNIVERSITY OF CALIFORNIA, BERKELEY, SCHOOL OF LAW

The Chief Justice Earl Warren Institute on Race, Ethnicity and Diversity (Warren Institute) is a multi-
disciplinary, collaborative venture to produce research, research-based policy prescriptions, and curricu-
lar innovation on issues of racial and ethnic justice in California and the nation. The Warren Institute’s
mission is to engage the most difficult topics related to civil rights, race and ethnicity in a wide range of
legal and public policy subject areas, providing valuable intellectual capital to public and private sector
leaders, the media and the general public, while advancing scholarly understanding. Central to its meth-
ods are concerted efforts to build bridges connecting the world of research with the world of civic action
and policy debate so that each informs the other, while preserving the independence, quality and cred-
ibility of the academic enterprise. For more information, please visit: www.warreninstitute.org.

IMMIGRATION LAW CLINIC, UNIVERSITY OF CALIFORNIA, DAVIS, SCHOOL OF LAW

The Immigration Law Clinic (ILC) provides legal representation to indigent non-citizens in removal
proceedings before U.S. Immigration Courts, the Board of Immigration Appeals, and federal courts,
including the Ninth Circuit Court of Appeals. The ILC provides this necessary service to Northern Cali-
fornia’s immigrant communities, offering education and legal services to low-income immigrants ­facing
deportation while enabling students to gain practical, real-world experience. ILC students take on all
major aspects of litigation, including interviewing clients and witnesses, preparing legal briefs, drafting
pleadings and motions, and arguing complex legal issues. ILC students regularly conduct naturalization
workshops and organize various other community legal workshops. Recognizing the increased collabo-
ration between criminal and immigration enforcement agencies, the ILC has been at the forefront of
indigent detention and deportation defense. For more information, please visit: www.law.ucdavis.edu.




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                                executive summary
Congress is considering a comprehensive overhaul                   enact the CCPA, either alone or as part of com-
of the nation’s immigration laws more than a decade                prehensive immigration reform legislation.
after the enactment of strict immigration measures.             »» Revert to the pre-1996 definition of “aggravated
Lawmakers should take this opportunity to reaffirm                 felony.” Before the legislative changes in 1996,
the nation’s historic commitment to family unity by                the aggravated felony category was reserved for
addressing the discrete provisions that currently                  the most serious offenses. The designation of a
undermine it. Current U.S. immigration laws man-                   conviction as an aggravated felony results in ineli-
date deportation of lawful permanent resident (LPR)                gibility for discretionary relief regardless of the
parents of thousands of U.S. citizen children, without             equities involved. With such grave consequences
providing these parents an opportunity to challenge                for LPR parents and their U.S. citizen children,
their forced separations. Through a multi-disciplinary             Congress should amend the current aggravated
analysis, this policy brief examines the experiences of            felony definition and revise it to include only seri-
U.S. citizen children impacted by the forced deporta-              ous felony offenses.
tion of their LPR parents and proposes ways to reform
U.S. law consistent with domestic and international             »» Collect data on U.S. citizen children impacted
standards aimed to improve the lives of children.                  by deportation of an LPR parent. DHS should
   This report includes new, independent analysis                  ­collect information on the number, age, gender,
of U.S. Department of Homeland Security (DHS)                       and other demographics regarding U.S. citizen
data. We estimate that more than 100,000 children                   children who are separated from one or both LPR
have been affected by LPR parental deportation                      parents as a result of parental deportation. DHS
between 1997 and 2007, and that at least 88,000 of                  should also record whether the U.S. citizen child
impacted children were U.S. citizens. Moreover, our                 of the LPR remains in the United States or accom-
analysis estimates that approximately 44,000 chil-                  panies his or her deported parent. Independent
dren were under the age of 5 when their parent was                  research should be commissioned to study the
deported. In addition to these children, this analysis              psychological, educational, social, and economic
estimates that more than 217,000 others experienced                 impact of separation on U.S. citizen children.
the deportation of an immediate family member who               »» Establish guidelines for the exercise of discretion in
was an LPR.                                                         cases involving the deportation of LPRs with U.S.
                                                                    citizen children. U.S. immigration laws recognize
WE PROPOSE THAT THE UNITED STATES:                                  that children constitute a vulnerable group that
»» Restore judicial discretion in all cases involving the           requires special protection. The Executive Office
   deportation of LPRs who have U.S. citizen chil-                  for Immigration Review should issue guidelines
   dren in order to give parents a meaningful opportu-              applicable in all cases in which discretion is avail-
   nity to present evidence of the adverse impact that              able to assist immigration judges in consider-
   their deportation will have on their U.S. citizen                ing the impact on citizen children of deporting
   children. There is a bill pending before Congress,               an LPR parent. Immigration judges should also
   the Child Citizen Protection Act (CCPA), that                    receive appropriate training from experts to ade-
   would restore discretionary authority to immigra-                quately balance the needs of U.S. citizen children
   tion judges to determine whether a non-citizen                   against the interests of the government in remov-
   parent of a U.S. citizen child should be ordered                 ing certain LPRs from the United States. The
   removed from the United States. This bill would                  establishment of guidelines and access to training
   restore judicial decision-making power when the                  for judges is necessary to ensure reasoned out-
   best interests of a U.S. citizen child hang in the               comes that do not inadvertently cause dispropor-
   balance. We recommend that Congress move to                      tionate harm to U.S. citizen children.




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                                                  in the child’s best interest?


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                                                    A Family Portrait
     Sann Chey* sat at a picnic table at his father’s house in California’s Central Valley, three of his sons at
     his side, and talked about the future.
        “I knew what I did was wrong, and I did not want to fight the charge,” Sann said. “I honestly never
     thought I could be deported. I had been here for so long, more than 20 years, so I thought I would go
     to jail and that would be it.”
        Sann, a father of five, came to the United States in 1981. He and his family fled Cambodia when the
     Khmer Rouge seized power in the mid-1970s and launched a brutal genocide that left approximately
     1.5 million people dead in the country’s infamous “killing fields.” His family escaped to a refugee camp
     across the border in Thailand, and then, in 1981, the U.S. government resettled them in the United
     States. Sann has built a successful life in his adopted country. Sann graduated from high school, served
     in the U.S. Army, married, found steady work as a mechanic, and had five children, all of whom are
     U.S. citizens.
        Today, however, his future is again in jeopardy. Sann awaits deportation to Cambodia, and his
     children, ranging in age from 11 to 18, risk losing their father. The government classified Sann’s
     misdemeanor domestic violence conviction resulting from a fight with his wife as an “aggravated felony”
     because Sann received a 365-day sentence. A sentence of just one day less would have avoided the
     aggravated felony classification and given Sann the opportunity to persuade an immigration judge not
     to deport him because of the impact it would have on his children. However, based on that one-day
     difference, the law denied the immigration judge the power to fully hear Sann’s case and to consider all
     the facts before ordering him removed.
        According to Sann, his wife had a gambling addiction. Their marriage suffered, and in 2002, the
     police came to Sann’s home to settle a dispute. Police charged Sann with domestic battery. He accepted
     responsibility, pleaded guilty, and served his time. After his release, a California family court awarded
     Sann custody of his five children because it determined he was most qualified to care for them.
        For four years after his release, Sann and his children went on with their lives. But in 2006, Sann
     lost his green card and applied for a replacement. When a package arrived from the federal government
     more than a year later, Sann thought it was his replacement green card. Instead, it was a court
     document informing Sann that he was facing deportation to Cambodia because of his five-year-old
     misdemeanor conviction.
       In spring 2009, U.S. Immigration and Customs Enforcement officers came to his home and arrested
     him. They held Sann for six months in immigration detention. The immigration judge eventually
     determined that under the strict definition Congress imposed in 1996, Sann’s conviction constituted an
     aggravated felony. Under the law, the judge had no choice but to order Sann’s removal.
        Today, Sann is back home with his family only because the government has not yet been able to
     obtain travel documents from Cambodia for his return. Sann is living in immigration limbo. He could
     be deported at any time. When this happens, Sann fears his children will suffer most.
       “What would happen to his children if both parents were gone?” said Paul, Sann’s brother. “If all you
     have is a broken family, is that a family, or just the remnants of one?”

     *The names of individuals interviewed in this policy brief have been changed to protect their privacy.



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                                             introduction


Introduction                                              severe immigration consequences.9 Currently, a
                                                          conviction may fall into this category without
Congress is considering a comprehensive                   being a felony and without involving any
overhaul of the nation’s immigration laws more            aggravated circumstances.10 Even expunging such a
than a decade after the enactment of strict               crime from an individual’s record does not remove
immigration measures. Lawmakers should take               the immigration consequences it triggers.11
this opportunity to reaffirm the nation’s historic
commitment to family unity by addressing the
discrete provisions that currently undermine                Non-Violent Aggravated Felonies
it. For example, the United States currently
deports lawful permanent resident (LPR)1                    Under the 1996 legislation, the following
parents of thousands of U.S. citizen children,              non-violent crimes may constitute aggravated
without providing these parents an opportunity              felonies:
to challenge their forced separations. Through              »» Non-violent theft offenses
a multi-disciplinary analysis, this policy brief            »» Non-violent drug offenses
examines the experiences of U.S. citizen children           »» Forgery
impacted by the forced deportation of their                 »» Receipt of stolen property
LPR parents and proposes ways to reform U.S.                »» Perjury
law consistent with domestic and international              »» Fraud or deceit, where the loss to the
standards aimed to improve the lives of children.               victim exceeds $10,000
    LPRs, also known as green card holders, have            »» Tax evasion, where the loss to the
legal status to live and work in the United States.             government exceeds $10,000
Some green card holders enter as infants or young           Source: INA § 101(a)(43), 8 U.S.C. § 1101(a)(43).
children. More than 20,000 LPRs currently
serve in the U.S. military.2 While many green
card holders are eligible to become U.S. citizens            Until 1996, most lawful permanent residents
through naturalization, immigration experts               with criminal convictions facing deportation
speculate that many do not take advantage of              were entitled to a hearing before an immigration
this option because of the hefty fees required to         judge who would balance an individual’s
apply or a mistaken belief that their “permanent          criminal convictions against his or her positive
resident” status protects them from deportation.3         contributions to the United States.12 At this
In fact, LPRs make up nearly 10 percent of those          hearing, an immigration judge could consider the
who are deported from the United States.4 Most            impact that deportation of an LPR parent would
LPRs facing deportation on the basis of criminal          have on U.S. citizen children and, if warranted,
convictions have already served their criminal            could decide to allow an LPR to remain in
sentences.5                                               the country. However, the 1996 immigration
    In 1996, Congress passed the Antiterrorism            laws eliminated such hearings for LPRs facing
and Effective Death Penalty Act (AEDPA)6 and              deportation based on convictions classified as
the Illegal Immigrant Reform and Immigrant                aggravated felonies.13
Responsibility Act (IIRIRA),7 which together                 Despite claims by U.S. Immigration and
introduced additional immigration restrictions            Customs Enforcement (ICE) that it focuses
on LPRs convicted of crimes. The law expanded             on deporting the “worst of the worst” criminal
the category of crimes designated as aggravated           offenders,14 analysis of data from the U.S.
felonies to encompass a broad range of minor              Department of Homeland Security (DHS) by
and non-violent offenses.8 Lawful permanent               the nongovernmental organization Human Rights
residents convicted of an aggravated felony are           Watch found that more than 68 percent of LPRs
subject to mandatory deportation and other                are deported for relatively minor, non-violent

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                                          in the child’s best interest?



              Figure 1: Legal Permanent Residents (LPRs) Deported by Year




  Source: U.S. Department of Homeland Security.
  Note: Data for 1997 includes only the months of April–December and data for 2007 includes only the months of
  January–August.


offenses.15 Our independent analysis of data from            Number of U.S. Citizen Children
DHS estimates that more than 100,000 children                Affected By Deportation of an
have been affected by parental deportation
between 1997 and 2007, and that at least 88,000
                                                             LPR Parent
of these children were U.S. citizens.                        In the ten-year period between April 1997 and
    Against this backdrop, this policy brief draws           August 2007, the United States deported 87,884
attention to the impact of the 1996 immigration              LPRs for criminal convictions at an average
laws on U.S. citizen children of LPR parents. U.S.           rate of approximately 8,700 per year (see
Customs and Border Patrol recently confirmed                 Figure 1).18
that on October 1, 2009, it increased efforts to                Lawful permanent residents deported during
identify LPRs with criminal convictions.16 It                this time period lived in the United States an
is likely that a greater number of LPRs will be              average of approximately ten years, long enough
detained and placed into removal proceedings.                to form families (see Table 1). The majority
    This analysis is based on data provided by               (53 percent) of these LPRs had at least one
DHS as well as the 2008 American Communities                 child living with them. In the ten-year period
Survey, a representative survey of the U.S.                  described above, the United States deported the
population administered by the U.S. Census                   lawful permanent resident mother or father of
Bureau. We have also reviewed relevant social                approximately 103,000 children. At least 88,000
science literature as well as international and              (86 percent) of these children were U.S. citizens.
domestic laws and standards regarding family                 Moreover, approximately 44,000 of these children
separation. We interviewed several LPRs and                  were under the age of 5 when their parent was
their family members living in California who                deported. In addition to these children, more
have been affected by deportation or potential               than 217,000 other immediate family members—
deportation.17 We note that all children,                    including U.S. citizen husbands, wives, brothers,
regardless of immigration status, may be impacted            and sisters—were affected by the deportation
by forced separations from their parents.                    of LPRs. See the Appendix for a detailed
Although U.S. citizen children are the focus of              explanation of the methodology used to estimate
this research, this policy brief does not assert that        the length of residency and family composition of
other children are any less deserving of protection          deported LPRs.
under domestic law.



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                           Costs of detention and Deportation of LPR Parents



    Table 1: Number of LPRs Deported and Estimated Children/Family Members
                            Impacted from 1997–2007

  Total Number of LPRs Deported                                                                         87,884
  Estimated percent of LPRs that had at least one child living with them                                  53%
  Estimated Total Number of Children Under 18 Impacted by Deportation of
                                                                                                        103,055
    an LPR Father or Mother
  Estimated Total Number of Children Under 5 Impacted by Deportation of
                                                                                                        44,422
    an LPR Father or Mother
  Estimated Total Number of U.S. Born Children Under 18 Impacted by Deportation
                                                                                                        88,627
    of an LPR Father or Mother
  Estimated Total Number of Immediate Family Members Impacted by Deportation
                                                                                                        217,068
    of an LPR in Household
  Source: U.S. Department of Homeland Security. Estimates of the number of children and family members are based
  on a 95 percent confidence interval and were derived from the 2008 American Communities Survey. See Appendix for
  details.


Costs of Detention and                              incarceration. These data show that children of
Deportation of LPR Parents                          incarcerated parents are much more likely to
                                                    experience psychological disorders and to exhibit
Individuals who are detained by DHS are in          behavioral problems.22 Children of incarcerated
custody pending resolution of their removal cases. parents are more likely to experience trouble in
ICE spends approximately $2.55 billion each         school, including poor grades and behavioral
year on Detention and Removal Operations, the       problems, than children of non-incarcerated
largest single portion of its annual budget. Of
                                              19    parents. One study found that 70 percent of
this total, approximately $1.77 billion is spent    children under age 6 with incarcerated mothers
incarcerating immigrants in local jails, while      exhibited poor academic performance.23 Removal
another $221 million is spent on legal proceedings of an LPR parent increases the likelihood of
related to individual removal hearings.20 Because   poor education outcomes for children, leading
LPRs make up an estimated 10 percent of             to a greater number of U.S. citizens who may be
those deported from the United States, it can
                                           21       relegated to low-income employment as adults.
be reasonably assumed that at least 10 percent         It is also likely that many U.S. citizen
of ICE’s detention and removal budget, or           children separated from an LPR parent will
approximately $255 million each year, is spent      suffer economic strain, requiring additional
detaining and deporting lawful permanent            public assistance for the families left behind.
residents, half of whom have children living        A recent study by the Urban Institute on the
with them.                                          consequences of arrest, detention, and deportation
   By removing a lawful permanent resident          of immigrant parents on children in the United
parent of a U.S. citizen child, the government also States found that parental arrest results in severe
creates immense secondary social and economic       economic hardship for families because they
effects. While little data exists on the impact on  lose a breadwinner.24 The study found that most
U.S. citizen children of deporting LPR parents,     households experienced lower incomes, housing
a great deal of data exists regarding the impact    instability, and food insufficiency.25 Households
of removing a parent from the home due to           surveyed in all six cities in the study reported


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a significant average drop in income after a              unity in cases where the deportation of a parent
parent’s arrest.26                                        would arbitrarily interfere with this right.34 The
   The Urban Institute found that the vast                Convention on the Rights of the Child also
majority of affected families received some sort of       enshrines the principle that in all legal actions,
assistance from family and friends, yet informal          “the best interests of the child shall be a primary
support was not sustainable for families facing           consideration.”35
long deportation proceedings.27 More than half               U.S. federal law and the laws of many states
the families studied relied on private or public          also protect family integrity. Laws in all fifty states
financial support to sustain the household                require the use of the best interests of the child
including food, rent, and utility assistance.28           standard in decisions “regarding a child’s custody,
Public benefits for U.S. citizen children affected        placement or critical life issues.”36 Federal laws
included cash welfare, Supplemental Nutrition             such as the Family Medical Leave Act also protect
Assistance Program (formerly known as the Food            the rights of individuals to take leave from their
Stamp Program), the Supplemental Nutrition                jobs to care for a family member.37 Certain states,
Program for Women, Infants and Children, and              such as California, have also passed similar family
free and reduced-price school meals.29                    leave laws that allow parents to take unpaid leave
                                                          to attend their child’s school activities.38

Legal Protection for the Most
                                                          Application of the Principle of
Vulnerable Members of Society
                                                          Family Unity to Deportation of
International human rights law and domestic               LPR Parents
family law recognize children as among the
most vulnerable members of society. Nearly                In drafting the Immigration and Nationality
every major human rights treaty recognizes the            Act of 1952 (INA), Congress’s primary purpose
need for special protection of children.30 In the         was to ensure the unification of mixed families
United States, immigration is governed primarily          of U.S. citizens and immigrants.39 This priority
by federal law. Nevertheless, a human rights              was reiterated in 1981, by the Select Commission
framework provides a useful lens for analyzing the        on Immigration and Refugee Policy, a body
impact of deporting lawful permanent resident             appointed by Congress to study immigration
parents and supplies an important source of               policies and recommend legislative reform,
norms that may guide domestic lawmakers in                which stated:
their efforts to reform the U.S. immigration                  [R]eunification . . . serves the national
system.                                                       interest not only through the humaneness
   International human rights treaties recognize              of the policy itself, but also through the
the family as the natural and fundamental unit                promotion of the public order and well
of society.31 The International Covenant on Civil             being of the nation. Psychologically and
and Political Rights (ICCPR) provides that the                socially, the reunion of family members
                                                              with their close relatives promotes the
family is “entitled to protection by society and
                                                              health and welfare of the United States.40
the State.”32 The right to a family also requires
that states take appropriate measures “to ensure             Courts also have recognized the importance
the unity or reunification of families.”33 As such,       of the INA’s emphasis on family unity. In the
states cannot arbitrarily or unlawfully interfere         1977 case Fiallo v. Bell, the U.S. Supreme Court
with this essential social unit. The United               recognized that the legislative history of the
Nations Human Rights Committee, which                     INA “establishes that congressional concern was
oversees state compliance with the ICCPR, has             directed at ‘the problem of keeping families of
found that states must respect the right to family        United States citizens and immigrants united.’” 41

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            Application of the Principle of Family Unity to Deportation of LPR Parents


Numerous appellate courts have affirmed this
interpretation of the INA as consistent with its             Impacts of Forced Separation
goal of preventing the “continued separation of
families.”42                                               Emilio Martinez has been a green card holder
   However, current immigration laws undermine             since he came to the United States from
these foundational principles. In more than half           Mexico as a toddler. His problems started
the cases documented in the Urban Institute                when he was 18 years old. Police picked
study, children remained in the United States              him up with some friends and charged him
after the deportation of a parent.43 Sann’s story          with illegal possession of a firearm. Emilio
exemplifies how immigration laws interfere                 pleaded guilty, and a judge sentenced him
with family unity. When Sann was detained, his             to six months in jail. As a condition of his
sister, a high school teacher, took care of Sann’s         probation, the judge ordered Emilio to stay
daughter, and his younger brothers took care of            away from gang members.
Sann’s four sons. The children continue to live in            For three years, life continued as normal.
separate homes.                                            Emilio bought a house, married Cathy, a U.S.
   “Nothing was the same when he was gone—                 citizen, and started his career as a welder.
Sann was the glue that held this family together,”         But in 2008, Emilio got a call at work from
said his brother, Paul. Sann’s sister said she fears       his sister saying that her husband had been
what will happen to her brother if he returns to           arrested. She asked Emilio to stop by her
Cambodia. She believes that his absence will tear          house to check on her children. When Emilio
all of them apart.                                         went to his sister’s house, the police accused
   Sann was ordered removed without the                    him of “associating with a gang member”—
opportunity for a hearing to consider the effects          simply by visiting his brother-in-law’s
his deportation would have on his five U.S. citizen        house—and they arrested him for violating
children, ranging in age from 11 to 18. Had                his parole. Emilio was jailed for thirty days.
such a hearing been available, the immigration             Just before he was scheduled for release,
judge could have considered the impact of Sann’s           officials told him he had an “Immigration
deportation on his dependent U.S. citizen                  and Customs Enforcement hold.” As a result,
children, consistent with the INA’s commitment             he was transferred to another jail where he
to family unity.                                           has been held in the custody of the U.S.
                                                           Department of Homeland Security for nearly
IMPACT ON HEALTH                                           a year and a half.
Removing a lawful permanent resident parent                   During this time Cathy and their children
from the home also negatively impacts the                  have been separated from Emilio. “I have
physical and mental health of U.S. citizen                 had to be a dad and a mom—I just barely
children. The right to health is widely recognized         get by,” Cathy said. She was unsure how to
by numerous human rights treaties.44 The scope of          explain their father’s absence to their children.
this right has been held to include the “enjoyment         “I didn’t want to tell the kids at first, because I
of the highest attainable standard of physical and         thought he would be home soon,” she said.
mental health.”45 The first post-World War II              “But after a while, it had been so long that
treaty to establish the right to health, the 1946          I had to tell them something.” When she did
Constitution of the World Health Organization,             tell her 5-year-old son, she explained: “[He]
describes “health” as “a state of complete physical,       told me I should go to the jail for a couple
mental, and social well-being and not merely the           of days to trade positions, so he could see
absence of infirmity.”46                                   his dad.”



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                                       in the child’s best interest?


   In recent years, Congress has passed a number            eating, and controlling their emotions.55 More
of laws aimed at promoting the welfare of                   than half cried more frequently and were more
children on issues relating to health, education,           afraid, and more than a third were more anxious,
and protection from crime.47 For example, the No            clingy, withdrawn, angry, or aggressive following
Child Left Behind Act requires schools to track             their parent’s arrest.56 Although the severity of
the academic performance of limited-English                 these psychological impacts tended to decrease
speaking children and other groups that include             in the long term, at least 40 percent of children
children of immigrants.48 Policies requiring                exhibited signs of these behavioral changes after
the deportation of LPR parents of U.S. citizen              nine months.57
children directly contradict the purposes of                    Christine Sun, a Chinese immigrant who
these laws and place the welfare of these children          lives in the San Francisco Bay Area, arrived in
at risk.                                                    the United States in 1996, to begin her new
   Available data on children whose parents are             life with her husband, a U.S. citizen. However,
absent as a result of incarceration suggest that            the marriage was unsuccessful and the couple
these children may suffer a number of health                divorced in 1998. In 2007, as Christine returned
problems. Studies of this population show that              from a trip to China to visit relatives, immigration
children who witness a parent’s arrest often                officials asked about her criminal history. She
suffer psychological harm, including persistent             admitted that she had two prior shoplifting
nightmares and flashbacks.49 Additionally, studies          offenses. As a result, the officials seized her green
have shown that incarceration of parents results in         card and told her that she would be placed in
the introduction of new caregivers in a child’s life,       deportation proceedings.
which significantly increases the likelihood a child            Christine’s deportation proceedings affected
will be victimized.50                                       her daughter, Jamie, an 11-year-old U.S. citizen.
   Limited research has been conducted that                 “I got depressed,” said Jamie. Jamie explained
documents adverse health impacts on children                that every time her mother left the apartment,
living in the United States when a parent is                even to take out the trash, Jamie “felt cold,
deported. Anthropologists Marcelo and Carola                nervous, and would start crying” because it gave
Suárez-Orozco recently completed a study                    her a sense of what it would be like to live without
that examined 385 early adolescents in the                  her mother.
United States from China, Central America,                      Similarly, Juan, the 12-year-old U.S. citizen
the Dominican Republic, Haiti, and Mexico, 85               child of an LPR from Mexico, had a hard
percent of whom experienced separation from                 time sleeping and playing when his father was
one or both parents for extended periods because            detained by immigration officers. His older sister
of immigration, divorce, or death.51 Marcelo                said she feared she would never see her father
and Carola Suárez-Orozco found that children                again.
from separated families were more likely to show                Although the Suárez-Orozco study noted
signs of depression than children who had not               the resilience of children, it also stressed the
been separated.52 Their data also indicated that            importance of considering how the child
separations from loved ones, particularly parents,          understands the separation.58 If a child is well
led to feelings of loss and sadness in both adults          prepared for the separation and the time apart is
and children.53                                             framed as temporary and necessary, the separation
   The Urban Institute study also found                     will be more psychologically manageable than if
significant behavioral changes among most                   the child feels that he or she has been abandoned
children who had experienced immigrant                      by the parent.59 Because the context and
parental separation.54 A majority of the children           circumstances of separations due to detention
displayed changes in such basic areas as sleeping,          and deportation are likely neither prepared


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             Application of the Principle of Family Unity to Deportation of LPR Parents


for in advance nor framed as temporary, these                 struggled to maintain good grades, and others
separations likely will be psychologically difficult.         considered dropping out of school.68 Following
   In fact, uncertainty is a hallmark of detention            the arrest of a parent, academic performance
and deportation of LPR parents. There is no pre-              suffered and grades dropped for about one in
determined, fixed period of detention, and it is              five students.69
not clear until a final decision has been rendered               The families interviewed for this policy brief
in each case whether the parent will be released or           demonstrate how detention can hinder the
deported.60                                                   education of U.S. citizen children. When Sann
                                                              was detained, his childrens’ performance in school
IMPACT ON EDUCATION AND SOCIAL DEVELOPMENT
                                                              plummeted. Sann’s youngest son, Vithu, 13, went
Parents contribute to their children’s academic               from being an A student to flunking 7th grade
success by reading to them, helping with                      English.
homework, taking their children to and from                      Christine Sun’s daughter Jamie, is an honor
school, and providing a stable home environment               student in the Gifted and Talented Education
where children learn and grow. However,                       program (GATE). While her mother’s case was
each year, the education of thousands of U.S.                 pending, Jamie said it took her longer to finish her
citizen children is affected by the detention and             homework because she was distracted by thoughts
deportation of a parent who is a lawful permanent             of her mother’s possible deportation. Her mother’s
resident.                                                     deportation proceedings also affected Jamie’s
   The right to education is firmly established in            social life. She found herself getting angry more
international human rights law,61 which defines               often. She said she became upset that her normal
education as encompassing the broad range of                  homework took longer than usual and was quicker
activities that contribute to the development of              to become angry at her fellow classmates.
children.62 For example, the Committee on the                    Another U.S. citizen, Daniel, is a 14-year-old
Rights of the Child, the body that enforces the               who had to change schools when his LPR mother,
international Convention on the Rights of the                 a Mexican national, was detained for a year.
Child, notes that education includes activities               Daniel—also a student in the GATE program—
“beyond formal schooling” which “enable children,             saw his grades drop. “I didn’t concentrate as much
individually and collectively, to develop their               because I was in a place that I didn’t recognize,”
personalities, talents and abilities and to live a full       he explained. Daniel said that he used to be
and satisfying life within society.”63                        more playful and socially engaged before he
   The U.S. Supreme Court has recognized the                  had to transfer schools. He said he has become
importance of education, noting the “lasting                  withdrawn in his new learning environment and
impact of its deprivation on the life of the child.” 64       does not like talking to his peers.
Access to education is also protected under U.S.
federal and state law. The stated goal of the No              U.S. Deportation Law and
Child Left Behind Act is to improve access to a               Policy Should Be Informed by
quality education for all children.65 In addition,            European Court of Human Rights
certain states such as California have declared
education to be a fundamental right.66
                                                              Jurisprudence
   The Urban Institute study also documented the              The European human rights regime provides one
effects that parental detention and deportation               model for addressing potential family separation
can have on a child’s education.67 A significant              in deportation hearings involving a lawful
number of children in the study experienced                   permanent resident parent of a U.S. citizen child.
disruptions in their schooling: many missed                   Many European nations have immigration systems
school following their parent’s arrest, some                  that, like the United States, confront the problem


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of deporting long-term legal residents who                    right to family unity protected by Article 8 of the
commit crimes, but who have citizen children and              European Convention.74
extensive ties to the country. European countries                The European Court has often found that the
have incorporated a judicial balancing test that              right to family unity outweighs the state’s interest
considers the nation’s interest in public safety              in deporting an immigrant convicted of a crime.
in light of the right to the family and the best              In the case of Mehemi v. France, the European
interests of the child.                                       Court considered the case of an Algerian national
    The European Court of Human Rights                        sentenced to six years imprisonment for illegal
(European Court), the judicial body that enforces             importation of a controlled substance.75 The
the European Convention on Human Rights                       European Court weighed Mehemi’s family
(European Convention),70 has repeatedly upheld                connections, including his wife and three minor
the right of a state to expel immigrants convicted            children of French nationality, and found that
of crimes to maintain public order.71 Further,                his right to family life outweighed the state’s
the court has emphasized that the European                    interest in deporting him. Because his crime
Convention does not guarantee the right of                    was a non-violent drug offense, the court found
an immigrant to live in a particular country,                 his deportation was disproportionate to the
especially after committing a crime.72 However,               public interest aims pursued, and thus violated
the European Court has held that a state’s                    Article 8.76
decision to deport an individual is justified only               The Inter-American Commission has followed
if the interference with family life is not excessive         a similar balancing test to determine whether the
compared to the public interest that is protected.73          deportation of a parent violates the right to family
In cases in which an individual convicted of a                under the American Convention on Human
crime poses little threat to public security and has          Rights77 and the American Declaration of the
extensive family ties to the country, the European            Rights and Duties of Man.78 The Commission’s
Court has held that deportation may violate the               report on Canada’s immigration system concedes


                                       European Court Model
 The European Court for Human Rights criteria for evaluating whether a particular deportation
 violates the right to family unity include:
 (1) the nature and seriousness of the offense;
 (2) the duration of the individual’s stay in the country;
 (3)	the time which has elapsed since the commission of the offense and the applicant’s conduct
      during that period;
 (4) the nationalities of the various persons concerned;
 (5)	the applicant’s family situation, including the length of the marriage and other factors that
      reveal a genuine family life;
 (6)	whether there are children, and, if so, their age;
 (7)	the best interests and well-being of the children, in particular the seriousness of the difficulties
      which any children of the applicant are likely to encounter in the country to which the applicant
      is to be expelled; and
 (8)	the strength of social, cultural and family ties with the host country and with the country of
      destination.

 Sources: Mehemi v. France, 1997-VI Eur. Ct. H.R. 1959; Boultif v. Switzerland, 2001-IX Eur. Ct. H.R. 120.


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                                 Conclusions and Recommendations


that while states have the right and duty to         WE RECOMMEND THE FOLLOWING MEASURES:

maintain public order through expulsion of           »» Congress should restore judicial discretion in
immigrants, they must balance this right with the       all cases involving the deportation of LPRs
potential harm to the rights of the individuals in a    who have U.S. citizen children in order to
specific case.79 The Commission also accepted the       give parents a meaningful opportunity to
European Court’s determination that a balancing         present evidence of the adverse impact that
test should be applied on a case-by-case basis and      their deportation will have on their U.S.
that states must have a compelling justification for    citizen children. Restoring discretion will give
interference with the right to family.80                immigration judges an opportunity to make
   Similar to U.S. immigration law prior to             informed decisions based on all relevant facts,
1996, the current European model provides a             including the health, well being, and educational
feasible alternative to mandatory detention and         needs of U.S. citizen children. Currently
deportation. This model could be adapted to             there is a bill pending in Congress that would
restore the authority of U.S. immigration judges        provide this needed reform. The Child Citizen
to conduct a practical balancing test that considers    Protection Act (CCPA)81 was introduced by
the rights of the LPR parent, the U.S. citizen          Congressman Jose Serrano (D-NY) on January
child, and the state. Because of the particular         6, 2009, in the 111th Congress as H.R. 182.82
vulnerabilities of children, U.S. immigration           This bill would provide discretionary authority
judges need flexibility in applying a multi-factored    to immigration judges to determine whether a
analysis to ensure that the needs of all parties are    non-citizen parent of a U.S. citizen child should
given proper consideration. Such an approach            be ordered removed, deported, or excluded
would bring current immigration laws in line with       from the United States. This bill would return
the basic American values of public safety and          the decision-making power to judges when
family unity, as well as with international human       the best interests of a U.S. citizen child hang
rights standards.                                       in the balance. This bill would not interfere
                                                        with the power of immigration judges to order
                                                        LPRs removed. If enacted, this bill will restore
Conclusions and                                         discretion in cases in which relief is foreclosed
Recommendations                                         by a statutory bar.83 We recommend that
                                                        Congress move to enact the CCPA, either alone
Reform of the nation’s immigration system is            or as part of comprehensive immigration reform
urgently needed. Thousands of U.S. citizen              legislation.
children have been adversely impacted by the
expansion of the “aggravated felony” definition.     »» Congress should revert to the pre-1996
Reforming the nation’s immigration laws to              definition of aggravated felony. Before the
take into consideration the best interests of U.S.      legislative changes in 1996, the aggravated
citizen children will reduce unnecessary costs to       felony designation was reserved for the most
our social welfare system. Such modifications           serious offenses. At that time many convictions
also will bring the United States in line with          that fell into this category required sentences
international law and the practice of many              of five years or more.84 Today, a sentence of
European countries. By strengthening legal              just one year qualifies many offenses under
protections for these children, Congress can            the aggravated felony designation.85 The
reaffirm its historic commitment to the principle       designation of a conviction as an aggravated
of family unity.                                        felony results in ineligibility for discretionary
                                                        relief, regardless of the equities involved. With
                                                        such grave consequences for LPR parents and
                                                        their U.S. citizen children, the aggravated

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  felony definition should be revised to limit this         in these circumstances.89 The Executive Office
  category to only serious felony convictions.              for Immigration Review should issue similar
  On February 8, 2010, the American Bar                     guidelines to assist immigration judges in
  Association voted to urge Congress to change              considering the impact on citizen children of
  current immigration laws, in part by changing             deporting an LPR parent.
  the current definition of aggravated felony. The             In some situations, deportation of an
  ABA recommends limiting this category to                  LPR parent will result in dependent U.S.
  felony convictions in which a sentence of more            citizen children being left without any family
  than one year has been imposed, and excluding             caretakers in the United States. In other
  suspended sentences.86                                    situations, U.S. citizen children will accompany
                                                            their parents to foreign countries. Immigration
»» The U.S. government should collect data on
                                                            judges should receive appropriate training. A
   U.S citizen children impacted by deportation of
                                                            greater understanding of the needs of children,
   an LPR parent. Currently, we know very little
                                                            how children process information and events,
   about the numbers of U.S. citizen children
                                                            and the effect of removing an LPR parent from
   affected by deportation of an LPR parent.
                                                            the home of a U.S. citizen child will better
   Such information is critical to gain a fuller
                                                            prepare immigration judges to adequately
   understanding of the real impact of deportation
                                                            balance the needs of citizen children against
   laws on the nation’s youngest citizens. U.S.
                                                            the interest of the government in removing
   Department of Homeland Security should
                                                            certain LPRs from the United States. The
   collect information on the number, age, gender
                                                            establishment of guidelines and access to
   and other demographics regarding U.S. citizen
                                                            training for judges is necessary to ensure well
   children who are separated from one or both
                                                            reasoned outcomes that do not inadvertently
   LPR parents as a result of parental deportation.
                                                            cause disproportionate harm to U.S. citizen
   The agency should also record whether the
                                                            children.
   U.S. citizen child remains in the United States
   or accompanies his or her deported parent.
   The social impacts of deportation of an LPR
   parent should also be investigated. Independent
   research should be commissioned to study the
   psychological, educational, social, and economic
   impacts on U.S. citizen children of LPR
   parental deportation.
»» The Executive Office for Immigration Review
   should establish guidelines for the exercise of
   discretion in cases involving the deportation
   of LPRs with U.S. citizen children. U.S.
   immigration laws recognize that children
   constitute a vulnerable group that requires
   special protection.87 In 2007, the Chief
   Immigration Judge issued guidelines for
   adjudicating cases in which the respondent is
   an unaccompanied minor who is not a U.S.
   citizen.88 These guidelines applied the principle
   of the best interests of the child to modify the
   court procedures and environment to account
   for the special needs of unaccompanied minors

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                                                              appendix



                                                      appendix
                                 data sources and methodology

The U.S. Department of Homeland Security (DHS) provided data to the nongovernmental organization Human Rights
Watch, which published an analysis in their April 2009 report Forced Apart (By the Numbers): Non-citizens Deported
Mostly for Nonviolent Crimes.90 Human Rights Watch made available a subset of the data covering lawful permanent
residents (LPRs) to the authors of this report for our independent analysis.

The estimates of the number of family members affected by the deportations of LPRs were generated in a two-step
process. First, using the DHS data, we identified the 18 countries of deportation that accounted for 90 percent of
the 87,844 LPRs who were deported between 1997 and 2007. These countries are Mexico, the Dominican Repub-
lic, Jamaica, El Salvador, Colombia, Philippines, Haiti, Guatemala, Trinidad and Tobago, Guyana, Honduras, Canada,
United Kingdom, Portugal, Ecuador, Peru, and South Korea. Second, we made use of the 2008 American Communities
Survey, a representative survey of the U.S. population administered by the U.S. Census Bureau, to generate estimates of
non­citizen family sizes.91 We analyzed noncitizen survey respondents who met two requirements: they were age 30 and
their country of birth was one of 18 countries listed above. A 1996 Bureau of Justice Statistics publication “Noncitizens
in the Federal Criminal Justice System, 1984-94” found that the median age of noncitizens prosecuted in federal courts
was 30, thus we used that age for our analysis. The estimates are based on the following assumptions (after accounting
for age and country-of-birth as described here): (1) The population statistics generated from the 2008 American Com-
munities Survey adequately describes the non-citizen population for years 1997-2007; (2) the characteristics of the
LPR population are similar to those of non-citizens in general (the American Communities Survey does not distinguish
between different types of non-citizens); and (3) deported LPRs have similar characteristics to the general population
of non-citizens.

This analytical population of noncitizens reported an average of 10.6 years living in the United States. We calculated
average family size, average number of own children, and average number of children under age 5 living in the house-
hold as well as 95th confidence intervals for each mean using the ACS household weight. The rounded means were 3.7,
1.3 and .53, respectively. Finally, we calculated estimates of the number of family members (total, children, and children
under age 5) affected by total LPR deportations between 1997 and 2007 by multiplying the upper and lower limits of
each unrounded mean’s estimate by 87,844 (see table below). For the purpose of estimating the number of family mem-
bers affected by a deportation, 1 was subtracted from the mean of 3.72885 to account for the respondent. Finally, an
Urban Institute study found that 86 percent of all children of immigrants are U.S. citizens.92 To estimate the number of
children under 18 impacted by a parent deportation who were U.S. citizens, we multiplied 103,055 by .86.


               Table A.1: Estimates of Children and Family Members of LPRs Deported
                                         Between 1997–2007

                                                                               Estimate     Estimated Range
         Total Number of Children Under 18 Impacted by Deportation
           of an LPR Father or Mother                                           103,055    98,143 to 107,968
         Total Number of Children Under 5 Impacted by Deportation
           of an LPR Father or Mother                                           44,422      41,801 to 47,044
         Total Number of Immediate Family Members Impacted by
           Deportation of LPR in Household                                      217,068 209,590 to 224,547
         Note: Estimates are based on 95 percent confidence interval.


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Notes                                                                   admission is deportable; INA § 240A(a)(3), 8 U.S.C.
                                                                        § 1229b(a)(3) states that individuals convicted of any
                                                                        aggravated felony are not eligible for cancellation of removal.
1 Also commonly referred to as “green card holders,”                    Additionally, Congress has taken further action to restrict
the term “lawful permanent resident,” or LPR, refers to                 the ability of federal judges to review immigration court
individuals who enjoy the legal status to reside permanently            decisions. See REAL ID Act of 2005, Pub. L. No. 109-13,
in the United States as an immigrant in accordance with                 119 Stat. 231 (2005) (barring federal courts from reviewing
the immigration laws. Immigration and Nationality Act                   discretionary denials of relief ).
[hereinafter INA] § 101(a)(20), 8 U.S.C. § 1101 (2000)
                                                                        9 In this policy brief, we use the term “mandatory
(all INA citations in this report are to the official print
                                                                        deportation” to refer to deportation without a discretionary
version of the U.S. Code (2000) unless otherwise noted).
                                                                        hearing to consider circumstances specific to the individual
Individuals may obtain this status a number of ways
                                                                        case. Individuals convicted of aggravated felonies are subject
including through family members or employment. See
                                                                        to mandatory detention, ineligible for asylum, permanently
generally INA § 203, 8 U.S.C. § 1153.
                                                                        barred from entering the United States, and are subject to a
2 Jeanne Batalova, Migration Policy Institute,                          sentence of up to twenty years if they re-enter the country
Immigrants in the US Armed Forces (May 2008),                           without permission from the Secretary of Homeland
available at http://www.migrationinformation.org/                       Security. INA § 236(c), 8 U.S.C. 1226(c); INA § 208(b)
USFocus/display.cfm?ID=683#1 (accessed Feb. 24, 2010).                  (2)(B)(i), 8 U.S.C. 1158 (b)(2)(B)(i); § 212(a)(9)(A)(ii), 8
3 See Ly Diem, Deported! Surprising Details On Who                      U.S.C. § 1182(a)(9)(A)(ii); § 276(b)(2), 8 U.S.C. § 1326(b)
Can Get the Boot, In’l Examiner, vol. 34, No. 24, Jan. 10,              (2).
2008, available at http://www.detentionwatchnetwork.org/                10 Many state law misdemeanor crimes which are
node/518 (accessed Feb. 21, 2010).                                      punishable by sentences of one year are included in the
4 See Human Rights Watch, Forced Apart (By                              aggravated felony category in federal immigration law.
the Numbers): Non-citizens Deported Mostly                              These crimes include non-violent offenses because the word
for Nonviolent Offenses, April 15, 2009 [hereinafter                    “aggravated” has no legal bearing on the circumstances of the
“Forced Apart (By the Numbers)”], available at http://                  offense.
www.hrw.org/en/reports/2009/04/15/forced-apart-                         11 The INA definition of a conviction for immigration
numbers-0 (accessed Feb. 21, 2010).                                     purposes does not exclude a conviction that was expunged or
5 The U.S. Supreme Court has found that deportation                     eliminated on the basis of rehabilitative relief. See 8 U.S.C. §
does not legally constitute punishment. Fong Yue Ting                   1101(a)(48).
v. United States, 149 US 698, 728 (1893). However, the                  12 Before 1996, lawful permanent residents were eligible
practical effect of deportation based on criminal convictions           for relief from deportation under INA § 212(c) as long as
is that immigrants are punished once by the criminal                    they had not been convicted of aggravated felonies for which
justice system, and then again by the immigration system.               they had served sentences of five years or more. 8 U.S.C.
Lea McDermid, Deportation is Different: Noncitizens and                 § 1182(c) (1952), repealed by Antiterrorism and Effective
Ineffective Assistance of Counsel, 89 Cal. L. Rev. 741, 763             Death Penalty Act of 1996, Pub. L. No. 104-208, Div. C.,
(2001)(“The technical distinction between collateral and                Title III, § 304(b), 110 Stat. 3009-597 (1996).
direct consequences does nothing to ameliorate the suffering
                                                                        13 INA 237(a)(2)(A)(iii), 8 U.S.C. § 1227(a)(2)(A)(iii),
of those who are subject to the double punishment of a
                                                                        states that any alien who is convicted of an aggravated felony
prison sentence plus removal.”); Forced Apart (By the
                                                                        at any time after admission is deportable; INA 240A(a)(3),
Numbers), supra note 4, at 5 (stating that non-citizens
                                                                        8 U.S.C. § 1229b(a)(3), states that individuals convicted
convicted of crimes are “subject to deportation after they
                                                                        of any aggravated felony are not eligible for cancellation of
have finished serving their criminal sentences.”).
                                                                        removal. Additionally, Congress has taken further action to
6 Anti-Terrorism and Effective Death Penalty Act                        restrict the ability of federal judges to review immigration
(AEDPA), Pub. L. No. 104-132, 110 Stat. 1214 (1996).                    court decisions. The 2005 REAL ID Act, Pub. L. No. 109-
7 Illegal Immigration Reform and Immigrant                              13, 119 Stat. 231 (2005), bars federal courts from reviewing
Responsibility Act (IIRIRA), Pub. L. No. 104-208, 110                   discretionary denials of relief, including discretionary
Stat. 3009 (1996).                                                      relief still available to lawful permanent residents, such as
8 When the category was first established in 1988, the                  cancellation of removal, voluntary departure, and adjustment
term “aggravated felony” applied to serious crimes such as              of status. INA § 242(a)(2)(B), 8 U.S.C. § 1252(a)(2)(B)
murder, drug trafficking crimes, and certain illicit trafficking        (removing jurisdiction to review “any judgment regarding the
offenses. Anti-Drug Abuse Act of 1988, Pub. L. No. 100-                 granting of relief under section 212(h), 212(i), 240A, 240B,
690, § 7342, 102 Stat. 4181 (1988). INA § 237(a)(2)(A)                  or 245,” or “any other decision or action... .”).
(iii), 8 U.S.C. § 1227(a)(2)(A)(iii), states that any alien             14 U.S. Immigration and Customs Enforcement
who is convicted of an aggravated felony at any time after              (ICE), Fiscal Year 2008 Annual Report, Protecting

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                                                             notes


National Security and Upholding Public Safety                          26 Urban Inst., supra note 24, at xiii (stating that one in
3, available at http://www.ice.gov/pi/reports/annual_                  four of the households did not have any wage earners after
report/2008/ar_2008_page1.htm (accessed Jan. 6, 2010).                 the arrest, and about two-thirds of the families interviewed
15 The most common criminal offenses are driving under                 stated that they had trouble paying their monthly bills as a
the influence of liquor, simple assault, and drug possession.          result of the parental detention).
See Forced Apart (By the Numbers), supra note 4, at 39.                27 Urban Inst., supra note 24, at 35.
16 American Immigration Lawyers Association, AILA                      28 Urban Inst., supra note 24, at 36 (stating that
InfoNet, Doc. No. 09100122, available at http://www.aila.              while only one in ten of the families interviewed reported
org/content/default.aspx?docid=9826 (accessed Feb. 25,                 receiving Temporary Assistance for Needy Families benefits
2010).                                                                 before the arrest, about one in seven received benefits
17 The names of those interviewed for this policy brief                following the arrest).
have been changed to protect their privacy.                            29 Urban Inst., supra note 24.
18 This was based on the average across years 1998-2006;               30 See, e.g., International Covenant on Economic, Social
data for years 1997 and 2007 are not for those full years.             and Cultural Rights, Dec. 16, 1966, 993 U.N.T.S. 3, 10,
19 U.S. Dept. of Homeland Security, Office of                          art. 24, S. Exec. Doc. D, 95-2 (1978); S. Treaty Doc. No.
Public Affairs, Fact Sheet: ICE Fiscal Year 2010                       95-19, 6 I.L.M. 360 (1967) [hereinafter ICESCR]: (every
Enacted Budget 2, Nov. 5, 2009, available at http://www.               child has “the right to such measures of protection as are
ice.gov/pi/news/factsheets/index.htm (accessed Feb. 21,                required by his status as a minor”). See also, UN Human
2010).                                                                 Rights Committee, General Comment 17, ¶ 2 (stating that
                                                                       the ICCPR requires that states adopt “special measures to
20 Id. at 1-2.
                                                                       protect children” to ensure that they enjoy all of the rights
21 Forced Apart (By the Numbers), supra note 4,                        provided in the Covenant). See also, Convention on the
at 24.                                                                 Rights of the Child, Nov. 20, 1989, 1577 U.N.T.S. 3, 28
22 Based on a qualitative study of 30 children who had                 I.L.M. 1456 (1989) [hereinafter CRC].
witnessed the arrest of their mothers, Jose-Kampfner                   31 See, e.g., ICESCR, supra note 30, art. 10(1) (stating
posited that the high levels of anxiety and depression found           “[T]he widest possible protection and assistance should be
among participants were associated with the experience                 accorded to the family.”).
of maternal incarceration and with trauma related to the
                                                                       32 International Covenant on Civil and Political Rights,
arrest event itself. C.J. Jose-Kampfner, Post-Traumatic Stress
                                                                       Dec. 16, 1966, 999 U.N.T.S. 171, 177, 179, arts. 17, 23
Reactions in Children of Imprisoned Mothers, in Children
                                                                       [hereinafter ICCPR].
of Incarcerated Parents (K. Gabel & D. Johnston eds.,
1995). In her sample of 56 mothers incarcerated at women’s             33 Human Rights Committee, General Comment No.
prisons in Kentucky and Washington State and their                     19: Article 23 (The Family) Protection of the Family,
children, Baunach found that 70 percent of the children                the Right to Marriage and Equality of the Spouses, ¶ 5
exhibited symptoms of social and psychological disorders,              (27/07/90).
such as aggression, hostility, and withdrawal. Phyllis Jo              34 See, e.g., Winata v Australia (No. 930/2000), 16
Baunach, Mothers in Prison (Transaction Books                          August 2001, U.N. Doc. No. CCPR/C/72/D/930/2000
1985).                                                                 (referring to case of a stateless married couple from
23 Ann M. Stanton, When Mothers Go to Jail                             Indonesia, where the Human Rights Committee found
(Lexington Books 1980).                                                that deporting the parents would violate articles 17, 23,
                                                                       and 24 of the ICCPR). The Committee noted that the fact
24 Ajay Chaudry et al., Urban Inst., Facing
                                                                       that non-citizen parents may have a child who is a citizen
Our Future: Children in the Aftermath of
                                                                       does not necessarily classify the deportation as an arbitrary
Immigration Enforcement 27 (2010) [hereinafter
                                                                       interference with the right to a family. On the one hand, this
Urban Inst.]. The study included 190 children in 85
                                                                       statement highlights that under the ICCPR, non-citizens
families living in six U.S. cities. For more information on the
                                                                       do not have an absolute right to remain in the host country.
effect of deportation on families in the United States, see
                                                                       On the other hand, it illuminates the need for states to
the work of Families for Freedom, a New York-based multi-
                                                                       evaluate possible unlawful interferences with the right to
ethnic defense network run by and for families confronting
                                                                       family. In this instance, because the child had been born
deportation, http://www.familiesforfreedom.org.
                                                                       and raised in Australia, “attending Australian schools as an
25 Urban Inst., supra note 24, at ix. Because of these                 ordinary child would and developing the social relationships
financial difficulties, one in four families moved in with             inherent in that,” the Committee ruled that Australia had to
friends and family to reduce their housing costs, and of the           present additional factors to justify the deportation of his
eight families that owned their homes prior to the detention           parents “in order to avoid a characterization of arbitrariness.”
of their parent, four lost their homes as a result.


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                                             in the child’s best interest?


35 CRC, supra note 30, at 46, art. 3.                                1249 U.N.T.S. 13, 18-9, arts. 11(1)(f ), 12 and 14(2)(b)
36 U.S. Dept. of Health and Human Services,                          (1980) [hereinafter CEDAW]; International Convention
Administration for Children and Families,                            on the Protection of the Rights of All Migrant Workers
Determining the Best Interests of the Child:                         and Members of Their Families, New York, Dec. 18, 1990,
Summary of State Laws, April 2008, available at http://              entered into force July 1, 2003, 2220 U.N.T.S. 93, 105, 108,
www.childwelfare.gov/systemwide/laws_policies/statutes/              109, arts. 28, 43(e), and 45(c) (1991) [hereinafter Migrant
best_interestall.pdf (accessed Feb. 21, 2010).                       Workers Convention]; International Convention on the
                                                                     Protection and Promotion of the Rights and Dignity of
37 Family and Medical Leave Act, Pub. L. 103-3, 107
                                                                     Persons with Disabilities, G.A. res. 61/106, Annex I, U.N.
Stat. 6, 29 U.S.C. § 2601 (1993).
                                                                     GAOR, 61st Sess., Supp. No. 49, at 65, U.N. Doc. A/61/49
38 See, e.g., Cal. Lab. Code § 230.8 (prohibiting employers          (Dec. 13, 2006), 46 I.L.M. 443, art. 25; CRC, supra note 30,
who employ 25 or more employees from discriminating                  at 52, art. 24; ICESCR, supra note 30, at 10, art. 12.
against employees for taking off up to 40 hours each year
                                                                     45 ICESCR, supra note 30, at 10, art. 12(1).
to participate in school or child care activities for his or
her child).                                                          46 Constitution of the World Health Organization,
                                                                     preamble, July 22, 1946.
39 This key purpose is mentioned in the legislative history
of the Act and in subsequent litigation. See also Solis-             47 See, e.g., The No Child Left Behind Act of 2001,
Espinoza v. Gonzales, 401 F.3d 1090, 1094 (9th Cir. 2005)            20 U.S.C. 6301 (2002) [hereinafter No Child Left
(quoting H.R. Rep. No. 85-1199, pt. 2 (1957), reprinted in           Behind Act]; State Child Health Insurance Program
1957 U.S.C.C.A.N. 2016, 2020); see also Colon-Navarro,               Reauthorization Act of 2009, 42 U.S.C. § 1320, 1396-97
Fernando, What Happened to Family Unity?, 19 Fla. J. Int’l           2009.
L. 491, 492 (2007).                                                  48 Randy Capps et al, Urban Inst., The New
40 Colon-Navarro, supra note 39, at 497 (quoting U.S.                Demography of America’s Schools: Immigration &
Select Commission on Immigration and Refugee Policy,                 The No Child Left Behind Act 1 (2005), available at
U.S. Immigration Policy and the National Interest 112-               http://www.urban.org/publications/311230.html (accessed
13 (1981)). Until the 1996 changes, family reunification             Feb. 21, 2010).
had been at the foundation of U.S. immigration policy. In            49 D. Johnston, Jailed Mothers (Pacific Oaks Center
1965, Congress passed the Immigration Reform Act of                  for Children of Incarcerated Parents 1991).
1965, which changed “the primary focus of the criteria for           50 See R. Whelan, Broken Homes and Battered
admission from nationality to family reunification.” Id. at          Children: A Study of the Relationships Between
496 (quoting National Research Council, Statistics on U.S.           Child Abuse and Family Type (London, Family
Immigration: An Assessment of Data Needs for Future                  Education Trust 1993) (finding that the presence of other
Research (1996)).                                                    adults other than blood relatives in a child’s home increases
41 Fiallo v. Bell, 430 U.S. 787, 795 (1977) (quoting                 the chances of victimization).
H.R. Rep. No. 85-1199, at 7 (1957)). Specifically, in Lau v.         51 Marcelo and Carola Suárez-Orozco, Making Up for
Kiley, the Second Circuit upheld the importance of family            Lost Time: The Experience of Separation and Reunification
reunification in visa preference laws when it stated that the        among Immigrant Families, in The New Immigration: An
“foremost policy underlying the granting of preference visas         Interdisciplinary Reader 179, 185 (Marcelo and Carola
under our immigration laws [is] that of the reunification of         Suárez-Orozco ed., 2005) [hereinafter Suárez-Orozco].
families.” Lau v. Kiley, 563 F.2d 543, 547 (2d Cir. 1977).
                                                                     52 Suárez-Orozco, supra note 51, at 179.
42 Kaliski v. Dist. Dir. of INS, 620 F.2d 214, 217 (9th
                                                                     53 Suárez-Orozco, supra note 51, at 191.
Cir. 1980). In a later case, Solis-Espinoza v. Gonzales,
401 F.3d 1090, 1094 (9th Cir. 2005), the Ninth Circuit               54 Urban Inst., supra note 24, at 53.
reaffirmed that the primary purpose of the INA is to                 55 Urban Inst., supra note 24, at ix.
“keep families together” and that public policy “supports            56 Urban Inst., supra note 24, at ix (stating that a
recognition and maintenance of a family unit.”                       majority of children experienced four or more of these
43 Urban Inst., supra note 24, at 24, 70.                            behavior changes) and at 53 (stating that children who
44 The right to health has been formally recognized by               experienced long-term separation from their parents were
six international human rights treaties. See, International          most prone to withdrawal and aggression).
Convention on the Elimination of All Forms of Racial                 57 Urban Inst., supra note 24, at 53.
Discrimination, Dec. 21, 1965, S. Exec. Doc. C, 95-2                 58 Suárez-Orozco, supra note 51, at 193.
(1978); S. Treaty Doc. 95-18; 660 U.N.T.S. 195, 212,
                                                                     59 Suárez-Orozco, supra note 51, at 193.
220, art. 5(e)(iv); Convention on the Elimination of all
Forms of Discrimination Against Women, Dec. 18, 1979,                60 Additionally, in a policy report that focused on family
                                                                     separation due to migration of parents to the United States,


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                                                             notes


University of Maryland professors found that parents and                |%20v.%20|%20Netherlands&sessionid=47796967&skin=
psychologists in their study believed that family separation            hudoc-en.
has negative psychological effects for both parents and                 72 European Convention, supra note 70, art. 8. Article 8
children during their separation and after reunification.               of the European Convention on Human Rights provides:
T.H. Gidling & Sara Poggio, Family Separation and                       “Everyone has the right to respect for his private and family
the Educational Success of Immigrant Children                           life, his home and his correspondence. There shall be no
2 (2009) available at http://globalchild.rutgers.edu/pdf/               interference by a public authority with the exercise of this
Family_Separation-Policy_Brief.pdf (accessed Feb. 21,                   right except such as is in accordance with the law and is
2010). The mothers in their focus group were intensely                  necessary in a democratic society in the interests of national
aware of the emotional burden of separation their children              security, public safety or the economic well-being of the
experienced. Id. Many mothers were very concerned that                  country, for the prevention of disorder or crime, for the
their children would become involved in gangs as a “refuge              protection of health or morals, or for the protection of the
from emotional problems.” Id.                                           rights and freedoms of others.”
61 See, e.g., ICESCR, supra note 30, at 8, art. 13(1)                   73 Berrehab v. the Netherlands, 138 Eur. Ct. H.R. (ser.
(mandating that the “States Parties to the present Covenant             A) (1988); see also Beldjoudi v. France, 234 Eur. Ct. H.R.
recognize the right of everyone to education”). See also CRC,           (1992), Mehemi v. France, 1997-VI Eur. Ct. H.R. 1959; and
supra note 30, at 53, art. 28.                                          El Boujaïdi v. France, 1997-VI Eur. Ct. H.R. 1980.
62 The right to education extends beyond basic skills                   74 Boultif v. Switzerland, 2001-IX Eur. Ct. H.R. 120.
instruction. See, e.g., CRC, supra note 30, at 54, art. 29(1)(a)
                                                                        75 Mehemi v. France, 1997-VI Eur. Ct. H.R. 1959.
(stating that education should be directed to “development
of the child’s personality, talents and mental and physical             76 Despite the fact that the amount of drugs in question
abilities to their fullest potential”). The Committee                   was substantial, 142 kilograms of hashish, the European
on the Rights of the Child has also recognized that                     Court of Human Rights gave considerable weight to the
developing social relationships is a key part of education.             fact that Mehemi had no prior convictions and that his
The Committee has interpreted the right to education to                 deportation had completely separated him from his wife
encompass the purpose of “ensuring that essential life skills           and children because it was impossible for them to resettle
are learnt by every child and that no child leaves school               together in Algeria or any other country. Id. The court also
without being equipped to face the challenges that he or                noted that Mehemi “was completely integrated into French
she can expect to be confronted with in life.” Committee                society and had no link whatsoever with Algeria other than
on the Rights of the Child, General Comment 1: Aims of                  his nationality.” Id. See also Amrollahi v. Denmark, (No.
Education, Article 29 (1), ¶ 9 (4/17/01) [hereinafter CRC               56811/00) Eur. Ct. H.R. ( July 11, 2002) available at http://
General Comment 1]. The committee went on to define                     cmiskp.echr.coe.int/tkp197/view.asp?item=1&portal=hbk
“basic skills” as “not only literacy and numeracy but also life         m&action=html&highlight=Amrollahi%20|%20v.%20|%20
skills such as the ability to make well-balanced decisions; to          Denmark&sessionid=47796967&skin=hudoc-en (holding
resolve conflicts in a non-violent manner; and to develop a             that the deportation of an Iranian national from Denmark
healthy lifestyle, good social relationships and responsibility,        for a serious drug offense violated Article 8 under the Boultif
critical thinking, creative talents, and other abilities which          test because Amrollahi was married to a Danish national,
give children the tools needed to pursue their options in               had two Danish citizen children, and it was impossible for
life.” Id.                                                              them to relocate to Iran). It is important to note that the
                                                                        European Court often does not find an Article 8 violation. In
63 CRC General Comment 1, supra note 62, at ¶ 2.
                                                                        Grant v. United Kingdom, the court held that because Grant,
64 Plyer v. Doe, 457 U.S. 202, 221 (1982).                              a national of Jamaica living in England, had committed
65 See, No Child Left Behind Act, supra note 47.                        over fifty offenses, had continued to re-offend, and never
66 Serrano v. Priest, 487 P.2d 1241 (1971).                             cohabited with his citizen children, his deportation to
                                                                        Jamaica was not a violation of Article 8. Grant v. United
67 Urban Inst., supra note 24, at 53.
                                                                        Kingdom, (No. 10606/07), Eur. Court. H.R. ( Jan. 8, 2009)
68 Urban Inst., supra note 24, at 49-50.                                available at http://cmiskp.echr.coe.int/tkp197/view.asp?ite
69 Urban Inst., supra note 24, at 51 (stating that among                m=2&portal=hbkm&action=html&highlight=Grant%20
the number of children who showed signs of behavioral                   |%20v.%20|%20United%20|%20Kingdom&sessionid=47
changes at school, most had trouble focusing).                          796967&skin=hudoc-en. Although the European Court
70 Convention for the Protection of Human Rights and                    acknowledged that the majority of his offenses were non-
Fundamental Freedoms, Sept. 3, 1953, 213 U.N.T.S. 222                   violent, it could not ignore the “sheer number of offences” he
[hereinafter European Convention].                                      committed and the fact that with the exception of one four-
                                                                        year period, there was no prolonged period during which
71 See Uner v. Netherlands, 2006-XII, Eur. Ct. H.R. ___,
                                                                        he was out of prison and did not re-offend. Id. The court
available at http://cmiskp.echr.coe.int/tkp197/view.asp?it
                                                                        recognized that his deportation would affect his youngest
em=1&portal=hbkm&action=html&highlight=Uner%20

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                                               in the child’s best interest?


daughter, but maintained that it would not affect her in the            eligibility for a discretionary waiver. Id. The American
same manner it would have if they had been living together              Bar Association adopted Resolution 114A on February
as a family. Id. Thus, the court held that a fair balance was           8, 2010, urging Congress to amend the Immigration and
struck and that Grant’s deportation was proportionate to                Nationality Act to restore an immigration judge’s authority
the legitimate aim pursued. Id.                                         to consider a discretionary application “to deserving lawful
77 American Convention on Human Rights, Nov. 21,                        permanent residents barred from cancellation by the offense
1969, O.A.S. T.S. No. 36; 1144 U.N.T.S. 143, 150, art.                  ‘clock-stop’ provision.” ABA Comm’n on Immigration,
17(1) (stating “The family is the natural and fundamental               Recommendation 114A Adopted by the House of
group unit of society and is entitled to protection by society          Delegates (Feb. 8, 2010), available at http://www.abanet.
and the state” ), Art. 19 stating: “Every minor child has               org/leadership/2010/midyear/docs/daily_journal.pdf.
the right to the measures of protection required by his                 [hereinafter Resolution 114A].
condition as a minor on the part of his family, society, and            84 See Immigration Reform and Immigrant
the state”) (1969).                                                     Responsibility Act, Pub. L. No. 104-208, § 321(a), 110
78 American Declaration of the Rights and Duties of                     Stat. 3009-546 (1996), reducing the sentence required
Man, Res. XXX, Final Act of the Ninth International                     for defining less serious crimes as aggravated felonies. See
Conference of American States (Pan American Union),                     also Banished For Minor Crimes: The Aggravated Felony
Bogota, Colombia, Mar. 30-May 2, 1948, at 38; reprinted in              Provision Of The Immigration And Nationality Act As A
Handbook of Existing Rules Pertaining to Human Rights,                  Human Rights Violation, 23 B.C. Third World L.J. 293
OEA/Ser.L/V/II.23 Doc. 21 Rev. 6, at 5 (1979); 1 Annals                 (2003).
of the O.A.S. 130 (1949); Basic Documents Pertaining                    85 See, e.g., 8 U.S.C. § 1101(a)(43)(F), (G), (R), (S).
to Human Rights in the Inter-American System, OAS/                      86 Resolution 114A, supra note 83.
Ser.L/V/I.4 Rev. 9 (2003); and 43 Am. J. Int’l L. Supp. 133
                                                                        87 See, e.g., INA § 240A(b)(1)(D), 8 U.S.C. § 1229b(b)
(1949). Art. V (stating “Every person has the right to the
                                                                        (1)(D), which requires that undocumented immigrations
protection of the law against abusive attacks upon his honor,
                                                                        seeking cancelation of removal establish “that removal would
his reputation, and his private and family life.”) Art. VI
                                                                        result in exceptional and extremely unusual hardship to the
(stating “Every person has the right to establish a family, the
                                                                        alien’s spouse parent, or child,” or INA § 240A(b)(2)(A),
basic element of society, and to receive protection therefor.”).
                                                                        8 U.S.C. § 1229b(b)(2), which provides special rules for
79 Report on the Situation of Human Rights of Asylum                    battered spouses and children.
Seekers Within the Canadian Refugee Determination
                                                                        88 Dep’t of Justice, Executive Office for Immi­
System, Inter-Am. C.H.R., OEA/Ser.L/V/II.106, doc.
                                                                        gration Review, Office of the Chief Immigration
40 (2000) [hereinafter Report on Canadian Refugee
                                                                        Judge Operating Policies and Procedures Memo­
System]. The Commission found that in instances in which
                                                                        randum 07-01: Guidelines for Immigration Court
immigration proceedings may potentially separate families,
                                                                        Cases Involving Unaccompanied Alien Children
the resulting interference with family life may only be
                                                                        (2007) [hereinafter Guidelines].
justified where necessary to meet a pressing need to protect
public order, and where the means are proportional to                   89 The Chief Immigration Judge suggested that while
that end.                                                               “the concept of ‘best interests of the child’” does not provide
                                                                        relief that is not sanctioned by law, it is nevertheless a
80 Report on Canadian Refugee System, supra note 79.
                                                                        factor that relates to the immigration judge’s discretion
81 The changes proposed by the Child Citizen Protection                 in taking steps to ensure that a ‘child-appropriate’ hearing
Act also appear in the Comprehensive Immigration Reform                 environment is established ….” Guidelines, supra note 88,
for America’s Security and Prosperity Act, H.R. 4321,                   at 4.
introduced by Congressman Luis V. Gutierrez (D-IL)
                                                                        90 Forced Apart (By the Numbers), supra note 4.
in December 2009. Under Section 315, the bill restores
discretionary authority to decline to order “removed,                   91 Steven Ruggles, Matthew Sobek, Trent Alexander,
deported, or excluded from the United States” the parent of             Catherine A. Fitch, Ronald Goeken, Patricia Kelly Hall,
a child who is a U.S. citizen. H.R. 4321, 111th Cong. § 315             Miriam King, and Chad Ronnander. Integrated Public Use
(1st Sess. 2009).                                                       Microdata Series: Version 4.0 [Machine-readable database].
                                                                        Minneapolis, MN: Minnesota Population Center [producer
82 H.R. 182, 111th Cong. (1st Sess. 2009).
                                                                        and distributor], 2008.
83 In addition to the aggravated felony bar to
                                                                        92 Urban Inst., Children of Immigrants: A
discretionary relief, the “stop-time” or “clock stop” rule found
                                                                        Statistical Snapshot (2009), available at http://www.
in immigration law bars discretionary relief to individuals
                                                                        urban.org/publications/901294.html (accessed Feb. 24,
who have been convicted of certain crimes based on how
                                                                        2010).
soon after their admission the convictions took place. 8
U.S.C. § 1229b(a)(2), 8 U.S.C. § 1229b(d)(1). Even minor,
non-violent, and non-aggravated felony offenses can bar

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   April 20, 2012



   Depor ting Par ents Hu r ts K ids
   By HIROKAZU YOSHIKAWA and CAROLA SUÁREZ-OROZCO
   LAST May, President Obama told an audience in El Paso that deportation of immigrants would
   focus on “violent offenders and people convicted of crimes; not families, not folks who are just
   looking to scrape together an income.”

   Two weeks ago, however, the Department of Homeland Security released a report that flatly
   belies the new policy. From January to June 2011, Immigration and Customs Enforcement
   removed 46,486 undocumented parents who claimed to have at least one child who is an
   American citizen.

   In contrast, in the entire decade between 1998 and 2007, about 100,000 such parents were
   removed. The extraordinary acceleration in the dismantling of these families, part of the
   government’s efforts to meet an annual quota of about 400,000 deportations, has had
   devastating results.

   Research by the Urban Institute and others reveals the deep and irreversible harm that
   parental deportation causes in the lives of their children. Having a parent ripped away
   permanently, without warning, is one of the most devastating and traumatic experiences in
   human development.

   These children experience immediate household crises, starting with the loss of parental
   income. The harsh new economic reality causes housing and food insecurity. In response to
   psychological and economic disruptions, children show increased anxiety, frequent crying,
   changes in eating and sleeping patterns, withdrawal and anger.

   In the long run, the children of deportation face increased odds of lasting economic turmoil,
   psychic scarring, reduced school attainment, greater difficulty in maintaining relationships,
   social exclusion and lower earnings. The research also exposes major misconceptions about
   these parents.
                                                                                                     MORE IN OPINION
   First, statistics about those who were deported in 2011 show that 45 percent were not
                                                                                         Op-Ed Con
   apprehended for any criminal offense. Those who were, were usually arrested for relatively
                                                                                         Isn't Tu r ni
   minor offenses, not violent crimes.
                                                                                                     Read More »
http://www.nytimes.com/2012/04/21/opinion/deporting-parents-ruins-kids.html?_r=1&&pagewanted=print           1/3
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                                                          onKids
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   Second, most American-born children of undocumented parents are not “anchor babies”; most
   of the parents have lived and worked in the United States for years before having their first
   child. “Birth tourism” is a xenophobic myth.

   Finally, our studies in New York City and elsewhere show that these parents are extremely
   dedicated to their children’s well-being and development. Undocumented parents typically
   work 12 hours a day, 6 days a week, at the lowest of wages. Deporting them worsens the already
   precarious lot of their children.

   A more humane deportation policy would not, as Mr. Obama pledged last May, target those
   with strong family ties who posed no public safety threat. Immigration and Customs
   Enforcement, in fact, began implementing such a “prosecutorial discretion” policy last fall,
   aimed at considering family ties and other factors in deportation decisions and closing low-
   priority cases.

   But preliminary data from Immigration and Customs Enforcement raise the question of how
   committed the agency is to identifying and closing those cases. As John Morton, the agency’s
   director, testified in March, of 150,000 deportation cases the agency has reviewed nationwide,
   about 1,500 — a mere 1 percent — have been closed.

   What does that mean for affected families? Consider Sara Martinez, 47, whose daughter is an
   American citizen. Since arriving from Ecuador, Ms. Martinez has paid her taxes, learned
   English and never broken a law, according to the New York Immigration Coalition, which has
   taken up her case. In January 2011, she was on a bus in Rochester with her daughter when
   three border patrol agents asked her for identification. She could produce only her Ecuadorean
   passport, and was arrested.

   She has applied to Immigration and Customs Enforcement for prosecutorial discretion three
   times and been denied, without explanation, even though she meets new criteria for such
   discretion: she has close ties to the community and is not a threat to public safety.

   Ms. Martinez’s six-year-old daughter has suffered from nightmares, had trouble sleeping and
   eating and expressed fear that the “police” will come again and take away her mother (who is
   not in detention while the case is pending) for good.

   The United States should not be in the business of causing untold hardship by separating
   children from the love and care of their hard-working parents.

   Hirokazu Yoshikawa, the academic dean at the Harvard Graduate School of Education, is the
   author of “Immigrants Raising Citizens: Undocumented Parents and Their Young Children.”

http://www.nytimes.com/2012/04/21/opinion/deporting-parents-ruins-kids.html?_r=1&&pagewanted=print   2/3
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1/23/2015       Case 1:14-cv-00254 Document 127 Parents
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                                                                 - NYTimes.com

   Carola Suárez-Orozco, co-director of immigration studies at New York University, is an author of
   “Crossroads: The Psychology of Immigration in the New Century.”




http://www.nytimes.com/2012/04/21/opinion/deporting-parents-ruins-kids.html?_r=1&&pagewanted=print    3/3
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  U.S. Depor ts 46K Par ents With Citizen Kids in J ust Six Months
  Guillermo Campos-Ojeda says goodbye to his wife Adela and daughter Paloma before boarding a deportation flight chartered by U.S.
  Immigration and Customs Enforcement (ICE) in 2010. (Photo by Scott Olson/Getty Images)

  by Seth Freed Wessler

  Thursday, November 3 2011, 9:30 AM EST

  Between January and June of 2011, the United States carried out more than 46,000 deportations of the parents of U.S.-citizen
  children, according to previously unreleased federal data obtained [http://act.colorlines.com/acton/attachment/1069/f-007d/0/-/-
  /-/-/file.pdf] by Colorlines.com’s publisher, the Applied Research Center. The figures reflect a striking increase in the rate of
  removals of parents and raise serious concerns about the impact of these deportations on children, many of whom are left behind.

  Congress demanded two years ago that the Department of Homeland Security begin to compile this data by July 2010, but it had not
  been made available to the public. The Applied Research Center obtained it through a Freedom of Information Act request.

                                 The data on parental deportations does not reveal how many children each of these parents had, or
   Shatter ed                    whether their children remained in the U.S. or left with their mothers and fathers. However, the Applied
   Fam ilies                     Research Center has also found a disturbing number of children languishing in foster care and separated
                                 from their parents for long periods. After a year-long national investigation, we estimate there are at least
   Thousands of Kids             5,100 children in foster care who face barriers to family reunification because their mother or father is
   Taken From Parents            detained or deported. That number could reach as high as 15,000 in the next five years, at the current rate
   In U.S. Deportation           of growth.
   System
                           The rising number of parental deportations has corresponded with an overall increase in immigration
   [http://colorlines.com/archives/2011/11/thousands_of_kids_lost_in_foster_homes_after_parents_deportation.html]
                           enforcement under the Obama administration; in fiscal year 2011, a record 397,000 people were deported.
   Obama: Kids Stuck             Yet parental deportation has also increased as a proportion of all removals. Between 1998 and 2007, the
   in Foster Care “Real          last period for which similar data is available [http://www.nytimes.com/2009/02/14/us/14immig.html] ,
   Problem”                      approximately 8 percent of almost 2.2 million removals were parents of U.S.-citizen children. The new
                           data, released to the Applied Research Center in September, reveals that more than 22 percent of all
   [http://colorlines.com/archives/2011/11/obama_responds_kids_stuck_in_foster_care_due_to_deportation_a_real_problem.html]
                           people deported in the first half of this year were parents of citizen kids.
     DOW N LOAD FULL
            R EPOR T             If rates of parental deportation remain steady in the year to come, the country will remove about as many
  arc.org/shatteredfamilies parents in just two years as it did in the ten-year period ICE tracked previously. The number of children of
                            non-citizens placed in the U.S. child welfare system will no doubt shoot up as well. Already, according to
  [http://www.arc.org/shatteredfamilies]
                                 our research, one in 16 kids in Los Angeles’ child welfare system are the children of detained or deported
                                 parents. Certain jurisdictions on the U.S.-Mexico border and at least one Florida county included in our
                                 field research had even higher rates.

                                 The Obama administration has accepted the deportation of parents as an acceptable consequence of its
                            immigration enforcement policy. In an interview aired on PBS’ “Frontline” last month, Cecilia Munoz, the
  [http://arc.org/shatteredfamilies]
                            administration’s top advisor on immigration, said that unless Congress passes a comprehensive
     A mother tells her     immigration reform bill to provide a path to lawful status for undocumented immigrants, the deportation
           story.         of parents will continue.
  [http://www.arc.org/shatteredfamilies]
                                 “At the end of the day, when you have immigration law that’s broken and you have a community of 10
http://colorlines.com/archives/2011/11/shocking_data_on_parents_deported_with_citizen_children.html                                              1/3
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1/23/2015       Case 1:14-cv-00254U.S.Document       127With
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   Support                       million, 11 million people living and working in the United States illegally, some of these things are going
   Colorlines.com                to happen,” said Munoz.
   Investigative
                                 “Even if the law is executed with perfection, there will be parents
   reporting is costly.
                                 separated from their children,” Munoz added. “It is a result of
   DONATE today!
                           having a broken system of laws.”
   [http://www.colorlines.com/donate]
                                 The Obama administration has been clear that ICE holds vast power
  to determine who it will and will not detain and deport. In July, ICE director John Morton
  released a memo affirming that agents have discretion in enforcement decisions. The memo
  instructed agents to consider “whether the person has a U.S. citizen or permanent resident
  spouse, child, or parent” when determining who to detain or deport.

  Yet, Munoz’s comments and the data we’ve obtained suggest that indiscriminate deportation of parents may be an inevitable result
  of a rapidly growing immigration-enforcement juggernaut. It is less a matter of a broken system than of the Obama administration’s
  very intentional policy of deporting 400,000 people a year.

  Par ents Retu r n to Find Their K ids

  In October, the New York Times reported [http://www.nytimes.com/2011/10/03/world/americas/mexican-immigrants-repeatedly-
  brave-risks-to-resume-lives-in-united-states.html?pagewanted=all] that almost half—48 percent—of undocumented immigrants in
  the U.S. arrived before 2000. Long-term residents, who are more likely to have children with U.S. citizenship, are increasingly the
  targets of federal immigration enforcement.

  Indeed, the flow of immigrants crossing over the U.S.-Mexico border has declined in the last several years. And of the majority of the
  diminishing numbers of people still picked up crossing the border have already lived in the U.S. In 2010, 56 percent of people caught
  at the border had been deported before, up from 44 percent in 2005. Advocates say many of those who are returning are coming
  back to be with their children, who were left behind when they were deported.

  These long-term residents of the U.S. are targeted by a federal deportation policy that relies increasingly on local police. A
  controversial program called Secure Communities, which has elicited protest from governors in three states, now turns a traffic stop
  or other run-in with police into a path to deportation.

  Immigration and Customs Enforcement maintains that parents who are deported have control over what happens to their children.
  “The parent can decide whether to have the child leave with them or stay in the U.S.,” an ICE spokesperson wrote in an email to the
  Applied Research Center, explaining the new data.

  Yet, as our research on the intersections of immigration enforcement and the child welfare system shows, that is not always the case.
  Detained and deported parents regularly face the prospect of permanently losing their parental rights because their children are in
  the foster care system. These parents are often left out of decisions about where their children should live.

  According to policy advocates, ICE has for years said that it does not believe significant numbers of families are separated in this
  way.

  Emily Butera, senior program officer at the Women’s Refugee Commission, a policy advocacy organization in Washington, said, “ICE
  tends to say, ‘We think these are isolated incidents.’ Everyone we’ve talked to from DHS and ICE say that they can’t do anything
  unless they know how big the problem is.”

  Our research suggests the problem is substantial. In just six months, 46,486 parents of an unknown number of U.S.-citizen children
  were removed. According to our national study, thousands of their children face extended and sometimes permanent separation
  from their parents.

  The data on parents of U.S.-citizens deported is overdue.

  In 2009, after Homeland Security’s inspector general released earlier data [http://www.gpo.gov/fdsys/pkg/CRPT-
  111hrpt298/html/CRPT-111hrpt298.htm] on the number of deported parents, Congress directed ICE to “begin collecting data on the
  deportation of parents of U.S.-born children no later than July 1, 2010” and to report that data at least semi-annually. Despite these
http://colorlines.com/archives/2011/11/shocking_data_on_parents_deported_with_citizen_children.html                                             2/3
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  demands, no data has been released to the public until now.

  The new data suggest that parents living in certain parts of the country are particularly likely to be deported. The breadth of
  removals includes not only known deportation hubs like Arizona, Texas and California, but also parts of the South and Midwest. The
  ICE office covering Georgia, South Carolina and North Carolina ordered large numbers of deportations, as did the one based in
  Chicago and covering seven states in the Midwest. These geographic trends provide further evidence of the changing orientation of
  immigration enforcement; it is moving increasingly to communities in the interior of the country.

  As immigration enforcement spreads across the country and more parents of United States citizen children are deported, the
  collateral effects are likely only to grow.



  Read this online at
  http://color lines.com /ar chives/2011/11/shocking_data_on_par ents_depor ted_w ith_citizen_childr en.h


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                       READING BETWEEN THE LINES
                     Women’s Poverty in the United States, 2010

The Census Bureau poverty data for 2010 show the largest number of poor people in the 52 years
that poverty has been measured, 46.2 million, and the highest overall poverty rate, 15.1%, since
1993.1 The growth in poverty in 2010 reflects the continuing impact of the great recession that
began in 2007 and that officially ended in June 2009. Since unemployment has remained high in
2011, the poverty rate may increase again this year.

There has been a large gender poverty gap in every year since the official poverty standard was
created. In 2010, adult woman were 29 percent more likely to be poor than adult men, with a
poverty rate of 14.5% compared to a 11.2% rate for adult men. There were 17.2 million poor adult
women compared to 12.6 million poor adult men.

The Census Bureau has done little to publicize the gender poverty gap. While its annual poverty
reports highlight poverty rate differences based on categories such as age and race, the Bureau has
resisted giving similar attention to poverty rate differences based on gender. As the lack of attention
to gender distorts the public perception of poverty in this country, this Legal Momentum report
focuses on women’s poverty, using the detailed poverty information that the Census Bureau makes
available on its website.2 The Census statistics reveal a deep gender gap in poverty rates, even when
factors such as work experience, education, or family structure are taken into account.


                POVERTY RATES FOR ADULT WOMEN AND MEN IN 2010

                                                                                Increased incidence of
                                      Women                     Men                poverty among
                                                                                 women compared to
                                                                                         men
  All adults (18 or above)             14.5                     11.2                    29%
  Age 65 or above                      10.7                      6.7                    60%
  Single parents                       40.7                     24.2                    68%
  Worked                                7.7                     6.3                     22%
  Not High School grad                 29.4                     23.4                    26%
  High School grad only                17.3                     12.4                    40%
  College less than 4 yrs              12.3                      9.3                    32%
  College 4 yr degree                   5.0                      4.3                    16%




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Overall Poverty
Poverty is measured by comparing annual income with the federal poverty standard which the
federal government updates annually for inflation. In 2010, the official poverty guidelines were
$10,830 for an individual, $14,570 for a family of 2, $18,310 for a family of 3, and $22,050 for a
family of 4.

Adult women were 29 percent more likely to be poor than adult men in 2010, with a poverty rate of
14.5% compared to 11.2% for men. About one of every seven women was poor, compared to about
one of every nine men. Aged women were 60 per cent more likely to be poor than aged men.

While the gender poverty gap has been persistently large, it has become smaller. The 1.29 ratio of
women’s poverty rate to men’s poverty rate in 2010 was the lowest since at least 1987, and perhaps
the lowest ever.

Work Experience
Work outside the home reduces the likelihood of being poor for both men and women. However,
women who worked outside the home in 2010 were 22 percent more likely to be poor than men
who worked outside the home, with a poverty rate of 7.7% compared to 6.3% for men.

Education
While education reduces the likelihood of being poor for both men and women, women are more
likely to be poor than men with the same level of education. In 2010, at every education level
women were again more likely to be poor than men.

Single Parents
The 37.1% poverty rate for single parents in 2010 was 4.2 times the 8.8% poverty rate for married
parents. However, comparing married parents with all solo parents gives a misleading impression of
the significance of family structure by concealing the sharp difference in poverty rates between solo
fathers and solo mothers. The 40.7% poverty rate for solo mother families was 68 percent greater
than the 24.2% rate for solo father families.

BEYOND THE SIMPLE NUMBERS

Child Care Costs
Poverty is measured based on gross income, rather than on income net of child care expenditures,
perhaps because mothers were much less likely to be in the paid labor force when the poverty
standard was formulated in the 1960’s. If poverty were measured based on income net of child care
expenditures so as to exclude income that is unavailable for other basic needs, many more women
(and men) would be counted as poor. In 2006, the most recent year for which this data is available,
child care expenditures for employed mothers with child care costs averaged $115 a week.3




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Hardship
Poverty is strongly associated with hardship. A 2001 study by the Economic Policy Institute found
that about 30% of those below the poverty line experienced critical hardship, defined as being
evicted, having utilities disconnected, doubling up in others’ housing due to lack of funds, or not
having enough food to eat; and that an additional 30% to 45% experienced other serious hardships.4
In 2009, 43% of poor households were found by the federal government to be “food insecure.”5

International Comparisons
Many studies have found that poverty rates in the United States are much higher than in other rich
countries. One study concluded that the United States had the highest poverty rate for female-
headed households among the 22 countries studied, 30.9% compared to the 10.5% average for the
group.6 This study defined poverty as an income less than 50% of the median income and was
based on national income surveys conducted in the early 1990’s. In another study reporting on
poverty rates for single persons in twenty three high income countries, the United States had the
largest gender poverty gap.7 Our own recent study found that in the mid-2000s the poverty rate for
single mothers in the United States was almost twice the average rate in the other 15 high income
countries in the study.8

The exceptionally high poverty rate for single mothers in the United States is not the result of below
average work effort. In a study of single mothers’ employment rates (full or part time) in eight rich
countries in the mid-1990’s, the 69% employment rate for single mothers in the United States was
the highest rate and was twenty percentage points higher than the 49% average employment rate for
single mothers in the other seven countries (United Kingdom, Australia, Netherlands, Germany,
Norway, Finland, Denmark).9 In a study reporting on average annual hours worked by poor single
parents around 2000, the 1,087 average hours of work for poor single parents in the United States
was the highest total, and almost twice the 582 average in the other six countries (Canada,
Netherlands, Austria, Germany, Belgium, Ireland).10

One reason for the exceptionally high poverty rates in the United States seems to be that the U.S.
invests less in social welfare programs: in 2000 the United States spent less than 3% of Gross
Domestic Product on social assistance to the non-elderly, and this was less than half the spending on
the non-elderly by Canada and Great Britain; less than a third of the spending by Germany, the
Netherlands, and Belgium; and less than a fourth of the spending by Finland and Sweden.11 The
United States also has much less generous parental leave than other rich countries and far less public
support for child care.12

Rising Living Standards
There is a broad consensus that poverty should be defined relative to contemporary living standards
and consequently that any poverty line must be revised periodically. However, the official U.S.
poverty line has not been adjusted in response to the rise in real income and the changes in general
living standards since it was formulated over 40 years ago. If the poverty standard were adjusted to




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reflect the 30% increase in real household median income since 1967, many more women (and
men) would be counted as poor.

For further information, contact Timothy Casey, Senior Staff Attorney: (212) 413-7556 or
tcasey@legalmomentum.org

    Founded in 1970 as NOW Legal Defense and Education Fund, Legal Momentum is the nation's oldest legal
    advocacy organization dedicated to advancing the rights of women and girls. Legal Momentum occupies a unique
    position as a multi-issue organization dedicated solely to women’s rights. It is a national leader in developing and
    implementing litigation, advocacy, and public education strategies to open and expand opportunities for women,
    and to ensure that all women can build safe and economically secure lives for themselves and their
    families. Among its many and historic contributions to the advancement of women's rights, Legal Momentum was
    instrumental in the passage of the Violence Against Women Act (VAWA) and the Freedom of Access to Clinic
    Entrances Act (FACE).




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   PRE S S REL EASE          THU RS DAY , NO VE M BER 2 0 , 2 0 1 4


   MPI: As Many as 3.7 Million Unauthorized Immigrants
   Could Get Relief from Deportation under Anticipated New
   Deferred Action Program
   With Existing DACA Program Included, Anticipated Actions Could Benefit More than
   5.2 Million in Total — Nearly Half of U.S. Unauthorized Population


   WASHINGTON — As many as 3.7 million unauthorized immigrants who
                                                                                                                 U.S. & State Estimates
   are parents of U.S. citizens or legal permanent residents could apply for
                                                                                                                 To get estimates for the
   temporary relief from deportation under the new deferred action program
                                                                                                                 United States, 41 states, and
   that President Obama is expected to unveil this week, the Migration Policy
                                                                                                                 the District of Columbia,
   Institute (MPI) estimates. In addition, widespread reports of apparently
                                                                                                                 click here    .
   imminent changes to the Deferred Action for Childhood Arrivals (DACA)
   program — which has been in place since 2012 and has provided relief                                          County Estimates
   from deportation to more than 580,000 young unauthorized immigrants                                           To get estimates for the 94
   — could expand the immediately eligible DACA population by 290,000,                                           counties with the largest
   bringing it to close to 1.5 million.                                                                          unauthorized populations,
                                                                                                                 click here   .
   In total, MPI estimates the anticipated new deferred action program and
   expanded DACA initiative could benefit as many as 5.2 million people —
   nearly half of the 11.4 million unauthorized immigrants living in the United States (see table below for
   national and top state breakdowns).

   “The president’s anticipated actions could have a significant effect on the lives of millions of unauthorized
   immigrants, improving job and educational prospects, the ability to apply for driver’s licenses and expanding
   engagement in their communities,” said MPI President Michael Fix.

   Under the anticipated announcement, 3.7 million parents of U.S. citizens or legal permanent residents (aka
   green card holders) could apply for a grant of relief from deportation and work authorization under a new
   deferred action program, provided they have lived in the United States for five years or more. The potential
http://migrationpolicy.org/news/mpi-many-37-million-unauthorized-immigrants-could-get-relief-deportation-under-anticipated-new                     1/7
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   DACA changes would reportedly eliminate the age cutoff (currently applicants must be under age 31) and
   move forward DACA’s U.S. residency requirement from 2007 to 2010.

   MPI NATIONAL ESTIMATES OF EXECUTIVE ACTION IMPACTS
   MPI has produced the following estimates of those potentially eligible for the new and expanded deferred
   action programs under the anticipated actions, using an innovative methodology to estimate the size and
   characteristics of the unauthorized immigrant population based on analysis of U.S. Census Bureau data
   from the 2008-2012 American Community Survey (ACS) and the 2008 Survey of Income Program
   Participation (SIPP).




   Notes: Because a certain number of individuals could appear in more than one category, these estimates model these overlaps. The estimates for the new
   deferred action program for parents exclude individuals eligible for DACA.


   Sources: For DACA estimates: Migration Policy Institute (MPI) analysis of U.S. Census Bureau data from the 2012 American Community Survey (ACS) and
   the 2008 Survey of Income and Program Participation (SIPP) by James Bachmeier of Temple University and Jennifer Van Hook of The Pennsylvania State
   University, Population Research Institute. For estimates of the new deferred action program for parents, sources are MPI analysis of 2008-2012 ACS data,
   pooled, and 2008 SIPP data by Bachmeier and Van Hook. For more detail on the methodology, see DACA at the Two-Year Mark: A National and State
   Profile of Youth Eligible and Applying for Deferred Action (Washington, DC: MPI, 2014).



   SELECTED STATE ESTIMATES OF EXECUTIVE ACTION IMPACTS
   MPI has also developed estimates of the populations potentially eligible for the anticipated deferred action
   program for key states. The top 20 states are presented here; for data on the 41 states that MPI was able
   to estimate, see: www.migrationpolicy.org/sites/default/files/datahub/US-State-Estimates-u...




http://migrationpolicy.org/news/mpi-many-37-million-unauthorized-immigrants-could-get-relief-deportation-under-anticipated-new                                2/7
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                       as 3.7 Million Unauthorized              127
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   Sources: For DACA estimates: MPI analysis of U.S. Census Bureau data from the 2012 ACS and the 2008 SIPP by Bachmeier and Van Hook. For estimates
   of the new deferred action program for parents: MPI analysis of 2008-2012 ACS data, pooled, and 2008 SIPP data by Bachmeier and Van Hook.


   The DACA experience makes clear that not all potentially eligible applicants will apply. MPI has estimated
   that as of July 2014, 55 percent of those who met the DACA criteria had applied for relief. Application costs,
   fear of self-identifying as unauthorized or potentially exposing other unauthorized relatives to government
   scrutiny and lack of information about the program and its temporary nature were among the barriers.

   For more on unauthorized immigrant populations nationally and by state, including size of the overall
   population, countries of origin, top languages and more, check out a unique new MPI data tool with detailed
   profiles for the U.S., 41 states and the District of Columbia: http://migrationpolicy.org/programs/us-
http://migrationpolicy.org/news/mpi-many-37-million-unauthorized-immigrants-could-get-relief-deportation-under-anticipated-new                         3/7
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   immigration-policy-program-data-hub/unauthorized-immigrant-population-profiles.

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   The Migration Policy Institute (MPI) is an independent, non-partisan, non-profit think tank in Washington,
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